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                  EXHIBIT A
                        Part 1
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Claim Coversheet Report
    Find
    Find            Clear
                    Clear        Print
                                 Print          Save
                                                Save           New
                                                               New             Help

      Notes Claim
Admin Notes Claim Class
                  Class Correspond Doc List Medical SPELL Letters
                                                          Letters

  Claim NumberREDACTED               Claim Last Updated 10/16/2015
                                                        10/16/2015                         1/10/2017
                                                                                 Printed On11/10/2017
    Claimant Information
   Name
   Name    HALEY A SPEARS                                                  SSN
                                                                           SSN                     REDACTED
                                                                                                  'REDACTED                Date REDACTED
                                                                                                                     Birth DateIREDACTED
            9000 WEST WILDERNESS WAY
   Address 19000                                                           Salary Amount $ 4421.92                   Mode      1($,
                                                                                                                                M
              #190
              #190                                                                 Hire
                                                                           Date of Hire           12/19/2005
                                                                                                  12/19/2005
                                                                           Last Work
                                                                           Last Work Date
                                                                                     Date 09/26/2008
                                                                                          09/26/2008
               SHREVEPORT, LA 71106-0000
              'SHREVEPORT,    71106-0000                                           Tax
                                                                           Federal Tax            Employee Option
                                                                                                  Employee Option State
                                                                                                                  State Tax No
                                                                                                                            No
   Phone 1(860)
   Phone  (860) 930-0887
                930-0887                                                        Demands Sedentary
                                                                           Phys Demands Sedentary

   JobDesc IADMIN
   JobDesc  ADMIN ASST
                  ASST

   Claim Status
   Claim Status       Denied               Status Reason      EP Not Met                                    01/22/2009
                                                                                             Received Date 101/22/2009

              Date
   Disability Date    09/27/2008
                           /21:1 1         Close Date
                                           Close Date         09/27/2008
                                                              09/27/2008                     Reopen Date
                                                                                             Reopen Date

   Sick Days
   Sick Days Left
             Left     182                  Max Ben Date       10/10/2042
                                                              10/10/2042                     RTW FT / PT

             Date 03/28/2009
   Ben Begin Date  3/2E 11:19             Apprv Thru Date
                                          Appry      Date                                    Gross Ben $
                                                                                             Gross     $

   Diagnosis 1
   Diagnosis 1 Code/Desc
               Code/Desc 784.0
                         784.0                    Headache
                                                 'Headache

   Diagnosis 2
   Diagnosis 2 Code/Desc
               Code/Desc

    Policyholder Information
   Customer ID
   Customer ID 01           - REDACTED             IUTC
                                                    UTC CHOICE

   Subsidiary
   Subsidiary     0106
                  0106                              PRATT & WHITNEY
                                                   'PRATT

   Location       01430000                          MILITARY ENGINES
                                                   'MILITARY

        GF
   Symb 1V            Numeral 01            Product LTD                       CON
                                                                     Funding 1CON            Bank Y        Calcs Y            Cntr Eff 10/01/2006

   Class 02
   Class                ALL EMPLOYEES ENROLLED IN 60% PLAN
                       'ALL

                   New/Mode-Current/Mode 131
   Waiting Period: New/Mode-Current/Mode  31                       Day
                                                                   Day              31
                                                                                   171             Day
                                                                                                   Day         Days in WRKWK                  Pre-X NO11,7
               Period: Days/Type
   Elimination Period: Days/Type         180            Sickness
                                                        Sickness                   COLA: Mode/Duration
                                                                                   COLA: Mode/Duration

   Successive Period:
   Successive Period: Period/Mode
                      Period/Mode 180    fisc           Day
                                                        Pay                        SS Integration:TypeNalue
                                                                                   SS Integration:Type/Value            PSS

           Disability Type/Pct
   Partial Disability Type/Pct            QRP
                                         FQRI                                                   Months/Wait Period
                                                                                   Survivor Ben Months/Wait Period 16
                                                                                                                    6                   180
                                                                                                                                       1180     .

   Non-Verifiable Symptoms Limit 1-                    Own Occupation Definition Limit 24                M/N Limit

   Benefit %
   Benefit %                       Benefit $
                               Max Benefit $                       Benefit $
                                                               Min Benefit $                  Employer Contr
                                                                                              Employer Contr %
                                                                                                             % 1100.Mi
                                                                                                               100.00             Subro Ind
                                                                                                                                  Subro Ind Y

   Selected Benefits
   Selected Benefits
  I Symbol        0
                Numeral                  0 Product Type 0 Class
                                           Product Type   Class                            Date
                                                                               Eligibility Date
   GF           01                        LTD                 02               01/19/2006
                                                                               01/19/2006
   PD           02                        STD                 01               01/18/2006
                                                                               01/18/2006




    Additional Information:




                                                                                                                                      Liberty002278
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Note Report
   Report
   Report        Clear
                 Clear   Print
                         Print       Help

AS Accom
AS Accom AS
         AS Event Add Note
            Event Add Note Appeal
                           Appeal Claim
                                  Claim Coord Claim Note
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                                                    Note Correspond Doc List
                                                                        List Employee
                                                                             Employee Leave
                                                                                      Leave Life
                                                                                            Life Claim
                                                                                                 Claim Lve
                                                                                                       Lve Addtl
                                                                                                           Addtl Info
                                                                                                                 Info
Lve Correspondence
Lve Correspondence Lve
                   Lve Program
                       Program Lve
                               Lve Work
                                   Work Sched
                                        Sched Medical
                                              Medical Medical
                                                      Medical History
                                                              History Note
                                                                      Note SPELL
                                                                           SPELL Letters
                                                                                 Letters Scheduled
                                                                                         Scheduled Pmt
                                                                                                   Pmt Task
                                                                                                       Task Print
                                                                                                            Print Task
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Tasks
Tasks

    Claim                                                                                               Sort Order
                                                                                                Primary Sort Order         Sec
                                                                                                                           Sec
                                 REDACTED
  ** Claim/Event/Leave
     Claim/Event/Leave Number
                       Number                          Accommodation Number
                                                       Accommodation Number                         Note Type
                                                                                                    Note Type              •
    Note type:
    Note type:                                                                                      Note Number
                                                                                                    Note

                                                                                                •   Note Date/Time
                                                                                                    Note Date/Time

                                                                                                    Accm. No.
                                                                                                    Accm. No.




                             Note 79
 12/14/2016 3:03 PM - CLAIM Note  79
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject    LTR to
                    to Atty
 Other Subject
 Other  Subject ::
 Text: [12/14/2016 - WINTERER, NANCY]LETTER FAXED TO ATTY TODAY: YOUR LETTER DATED JULY 13, 2016, STATED YOU
 WERE REQUESTING A REVIEW OF THE JUNE 16, 2016 REMAND REVIEW DETERMINATION TO UPHOLD THE LONG TERM
 DISABILITY DENIAL. YOU FURTHER STATED, ADDITIONAL DOCUMENTATION WILL BE SUBMITTED AT A LATER TIME. ON
 JULY 13, 2016, LIBERTY LIFE RECEIVED DR. SAUL S STATEMENT DATED JULY 13, 2016. ON AUGUST 9, 2016, LIBERTY LIFE
 RECEIVED DR. SAUL S CORRECTED JULY 13, 2016 STATEMENT. NEARLY THREE MONTHS LATER, LIBERTY LIFE RECEIVED
 DR. RAXLEN S 54 PAGE DOCUMENT ON SEPTEMBER 26, 2016. YOUR COVER LETTERS PROVIDED NO INFORMATION
 REGARDING THE STATUS OF THE APPEAL. THEREFORE, IT IS UNCLEAR WHETHER YOU PLAN TO SUBMIT ADDITIONAL
 DOCUMENTATION OR WHETHER THE APPEAL IS COMPLETE. PLEASE ADVISE WHETHER OR NOT THE APPEAL IS
 COMPLETE SO THAT LIBERTY LIFE CAN BEGIN THE APPEAL REVIEW.

 09/27/2016 2:12 PM - CLAIM Note 78
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject : FROM ATTY
 Text: [09/27/2016 - WINTERER, NANCY]ON 9/26/16, RECEIVED FAX FROM ATTY THAT INCLUDED UNDATED REPORT BY DR.
 BERNARD RAXLEN REGARDING HIS RESPONSE TOE THE MULTI-DISCIPLINARY PEER REVIEW THAT WAS COMPLETED
 DURING THE REMAND REVIEW.

 08/10/2016 11:37 AM - CLAIM Note 77
 08/10/2016
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : FROM ATTY
 Text: [08/10/2016 - WINTERER, NANCY]ON 8/9/16, RECEIVED FAX FROM ATTY WITH CORRECTED 7-13-16 LETTER FROM DR
 SAUL.

 07/14/2016 6:56 AM - CLAIM Note 76
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : LETTERS FROM ATTY
 Text: [07/14/2016 - WINTERER, NANCY]RECEIVED 2 LETTERS FROM ATTY ZIMBERLIN BY FAX- DATED 7-13-16. FIRST LETTER
 INDICATES, -WE ARE REQUESTING A REVIEW OF THE DENIAL. ADDITIONAL DOCUMENTATION WILL BE SUBMITTED AT A
 LATER TIME.- SECOND LETTER IS A COVER LETTER DATED 7-13-16, WITH 1 PAGE LETTER FROM AP DR SAUL DATED 7-13-
 16, IN WHICH HE DISAGREES WITH THE FINDINGS OF THE PANEL PEER REVIEW.

 06/27/2016 8:53
 06/27/2016  8:53 AM - CLAIM Note 75
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [06/27/2016 - WINTERER, NANCY]RECEIVED INVOICE DATED 5/24/16 FROM DR RISSENBERG, NEUROPSYCHOLOGIST.
 AT LIBERTY'S REQUEST, DR RISSENBERG SUBMITTED A RESPONSE TO NEUROPSYCH PEER REVIEW WHICH LARGELY
 COMMENTED ON HER TESTING. NO INVOICE NUMBER. INVOICE WAS DATED 5/24/16. AMOUNT WAS $1250.00. PAYMENT
 RELEASED TO DR RISSENBERG TODAY.

 06/16/2016 3:16 PM - CLAIM Note 74
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : CERTIFIED MAILING
 Text: [06/16/2016 - PILAR, SARAH]LETTER SENT TO ATTY VIA USPS CERTIFIED 91 7199 9991 7036 3674 5597.

 06/16/2016 1:36
 06/16/2016 1:36 PM - CLAIM Note 73
 Claim/Event/Leave: REDACTED

                                                                                                          Liberty002279
                                                                                                          Li berty002279

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 Claim/Event/Leave: REDACTED
 Lold1111/Mfe111/LedVe.
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: REMAND OUT
                          OUT
 Text: [06/16/2016 - WINTERER, NANCY]LTD DENIAL AND APPEAL UPHOLDS UPHELD BASED ON REMAND REVIEW. BASED ON
 REVIEW OF ALL INFORMATION ON FILE, PLUS DURING THIS REMAND REVIEW A MEDICAL PANEL REVIEW OF NEUROLOGY,
 INFECTIOUS DISEASE, NEUROPSYCHOLOGY, AND ENDOCRINOLOGY/INTERNAL MEDICINE, AND A PM&R IME, DENIAL
 UPHELD AS CLMNT DID NOT FULFILL THE POLICY'S ELIMINATION PERIOD, MEET THE POLICY'S DEFINITION OF TD OWN
 OCCUPATION, AND DEFINITION OF TD ANY OCCUPATION. DETERMINATION LETTER FAXED TODAY TO ATTY ZIMBERLIN
 TODAY. LETTER ALSO SENT VIA CERTIFIED MAIL.

 05/02/2016 2:23 PM - CLAIM Note 72
 05/02/2016
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [05/02/2016 - WINTERER, NANCY]RECEIVED NEUROPSYCHOLOGY AND NEUROLOGY PEER REVIEW ADDENDUM AND
 INVOICE FROM
 INVOICE   FROM R3 R3 CONTINUUM.
                      CONTINUUM. INVOICE
                                 INVOICE IS
                                         IS DATED
                                            DATED 4/29/16.
                                                  4/29/16. INVOICE
                                                           INVOICE #
                                                                   # IS
                                                                     IS 577726=3.
                                                                        577726=3. AMOUNT
                                                                                  AMOUNT IS
                                                                                         IS $846.98.
                                                                                            $846.98. PAYMENT
                                                                                                     PAYMENT
 RELEASED TODAY TO R3 CONTINUUM.

 04/27/2016 3:28 PM - CLAIM Note 71
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Other
 Other Subject
 Other  Subject : CERTIFIED MAILING
 Text: [04/27/2016 - BLANCHETTE, JACOB]CERTIFIED MAILING SENT 4/27/16 TRACKING NUMBER 91 7199 9991 7036 3664 5415
                                                                                                             5415

 04/27/2016 8:14 AM - CLAIM Note 70
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject        LTR to
                         to Atty
 Other Subject
 Other   Subject :: RESPONSE
 Text: [04/27/2016 - WINTERER, NANCY]RECEIVED LETTER FROM ATTY ZIMBERLIN DATED 4/25/16, RE COPY OF THE FILE
 SENT 4/15/16. ATTY ALSO ASKED IS LIBERTY IS GOING TO PAY AP'S FOR THEIR -NEW REPORTS.- RESPONSE FAXED AND
 SENT BY CERTIFIED MAIL TODAY.[04/27/2016 - WINTERER, NANCY]YOUR FAX HAS BEEN SUCCESSFULLY SENT TO W
 ZIMBERLIN AT 860-247-4194. ------------------------------------------------------------ FROM: WINTERER, NANCY ---------------------------------------
 --------------------- TIME: 4/27/2016 8:26:39 AM SENT TO 860-247-4194 WITH REMOTE ID 8602474194 RESULT:    RESULT: (0/339;0/0)
                                                                                                                        (0/339;0/0)
 SUCCESSFUL SEND PAGE RECORD: 1 - 4 ELAPSED TIME: 02:23 ON CHANNEL 9

 04/25/2016 1:33
 04/25/2016  1:33 PM
                  PM -- PHONE
                        PHONE Note
                              Note 33
                                   33
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called
 NoteSubject    Called Other
                       Other
 Other Subject : MCN
 Text: [04/25/2016 - WINTERER, NANCY]CHECKED 0
                                             O STATUS OF IME ADDENDUM- ATTY ZIMBERLIN'S LETTER OF COMPLAINTS
 PREVIOUSLY SENT TO MCN, AND REQUEST IME PHYSICIAN- DR COURTNEY, TO RESPOND.[04/25/2016 - WINTERER, NANCY]
 MCN INDICATED THEY DO NOT HAVE DR. COURTNEY'S RESPONSE AS YET, HE IS WORKING ON IT, AND IT IS A PRIORITY.

 04/19/2016 2:41 PM - LIFE Note 3
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject : COPY WORK
 Text: [04/19/2016 - LANGHAMMER, HEATHER]DOC LIST COPIED (3/17/16 THROUGH 4/11/16) VIA A THUMB DRIVE AND SENT
 OVERNIGHT SAVER WITH SIGNATURE REQUIRED TO ATTORNEY WINONA ZIMBERLIN. TRACKING #: 1Z 248 96X 24 9665 4070.
 TRACKING LABEL SAVED TO THE DOC LIST.

 04/19/2016 9:57 AM - PHONE Note 32
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject          Called
                Other Called
 Other Subject
 Other  Subject :: ATTY RUSS ZIMBERLIN
 Text: [04/19/2016 - WINTERER, NANCY]RECEIVED CALL FROM ATTY RUSS ZIMBERLIN AT 4:57PM ET MONDAY 4/18/16. ATTY
 ZIMBERLIN STATED THEY RECEIVED THUMB DRIVE WITH UPDATED RECORDS FROM MS SPEARS' CLM- PASSWORD DID
 NOT WORK, HE TRIED 5 TIMES, AND IS NOW LOCKED OUT. AFTER VERIFYING WITH HOADMIN- CALLED RUSS ZIMBERLIN.
 ADVISED WE ARE OVERNIGHTING NEW THUMB DRIVE TODAY, WITH PASSWORD INSTRUCTIONS. IF THIS DOES NOT WORK,
 WE WILL SEND IN PAPER FORM. HE ASKED IF HE COULD CALL ARC IF HE IS HAVING DIFFICULTY- STATED YES.

 04/18/2016 8:16
 04/18/2016  8:16 AM
                   AM -- CLAIM
                         CLAIM Note
                               Note 69
                                    69
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [04/18/2016 - WINTERER, NANCY]INVOICE RECEIVED FROM R3 CONTINUUM FOR 4 SPECIALTY PANEL PEER REVIEW.
 IM- ID- NEURO- NEUROPSYCH. INVOICE IS DATED 4/11/16. INVOICE NUMBER IS 577720-1. AMOUNT IS $37,701.75.
                                                                                            $37,701.75. SINCE
                                                                                                        SINCE
 AMOUNT IS OVER ARCS  ARC'S AUTHORIZATION, EMAIL SENT TO ARU MANAGER TO RELEASE PAYMENT TO R3 CONTINUUM.

 04/18/2016 7:46 AM AM -- CLAIM
                          CLAIM Note
                                Note 68
                                     68
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: DR GIANNINI- PCP
 Text: [04/18/2016 - WINTERER, NANCY]RECEIVED A FAX TODAY VIA SCU. THIS FAX IS DATED 4/14/16 FROM ATTY ZIMBERLIN.
 THERE IS A COVER LETTER FROM ATTY WITH A STATEMENT FROM CLMNT'S PCP- DR GIANNINI. DR GIANNINI REPORTED
 MS SPEARS WAS TOTALLY DISABLED DURINGTHE PERIOD IN QUESTION.



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 04/15/2016 1:31 PM - LIFE Note 2
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: COPY WORK
 Text: [04/15/2016 - LANGHAMMER, HEATHER]COPIED DOC LIST FROM 3/17/16 THROUGH 4/11/16 PER CM'S REQUEST ONTO A
 THUMB DRIVE. SENT REQUEST WITH COPY OF THE COVER LETTER VIA CERTIFIED MAIL TO THE ATTORNEY WINONA
 ZIMBERLIN. TRACKING LABEL SAVED TO THE DOC LIST

 04/14/2016 12:11 PM - CLAIM Note 67
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : IME/IPE
 Other Subject
 Other  Subject :: ADDENDUM RQST
 Text: [04/14/2016 - WINTERER, NANCY]REQUEST SENT TODAY TO MCN FOR IME ADDENDUM. REQUESTED IME PHYSICIAN
 REVIEW AND COMMENT ON ATTY ZIMBERLIN'S 3/14/16 LETTER REGARDING CLMNT'S STATEMENTS ABOUT THE IME.

 04/14/2016 8:58
 04/14/2016  8:58 AM
                  AM -- CLAIM
                        CLAIM Note
                              Note 66
                                   66
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject : COPY OF FILE
 Text: [04/14/2016 - WINTERER, NANCY]PER ATTY ZIMBERLIN'S 4/11/16 REQUEST FOR ALL DOCUMENTS IN FILE SINCE HER
 PREVIOUS 3/17/16 REQUEST, SENT COVER LETTER AND REQUEST FOR COPY OF DOCLIST THIS AM TO HO ADMIN FOR
 COPY OF
 COPY    OF DOCUMENTS SINCE 3/17/16- TO BE SENT CERTIFIED-RETURN RECEIPT TO ATTY ZIMBERLIN.

 04/12/2016 8:56 AM - CLAIM Note 65
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR to AP
 NoteSubject
 Other Subject : EMAIL
 Other
 Text: [04/12/2016 - WINTERER, NANCY]AS RECOMMENDED BY HIS OFFICE STAFF, EMAILED DR RAXLEN 4:55PM 4/11/16 TO
 AGAIN REQUEST HIS RESPONSE TO THE PEER REVIEW AND/OR TO SET UP A DISCUSSION WITH DR CROSSLEY, ID PEER
 REVIEWER. REQUESTED RESPONSE FROM DR RAXLEN ON OR BEFORE 5/15/16.

             4:21 PM - PHONE Note 31
 04/11/2016 4:21
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject : DR RAXLEN
 Other
 Text: [04/11/2016 - WINTERER, NANCY]FOLLOW-UP CALL TO NAYALIE AT DR RAXLEN'S OFFICE TODAY AT 1:50PM ET. SHE
 WAS TO
 WAS   TO CHECK
           CHECK WITH
                    WITH DR
                          DR RAXLEN
                             RAXLEN RE
                                    RE WHETHER
                                       WHETHER HE
                                               HE PLANNED
                                                  PLANNED TO
                                                          TO RESPOND
                                                             RESPOND TO
                                                                      TO LIBERTY'S
                                                                         LIBERTY'S 3/16/16
                                                                                   3/16/16 FAX
                                                                                           FAX AND/OR
                                                                                               AND/OR HIS
                                                                                                      HIS
 AVAILABILITY TO SPEAK WITH REVIEWING ID PHYSICIAN-DR CROSSLEY. TODAY NAYALIE SUGGESTED ARC EMAIL DR
 RAXLEN DIRECTLY, AS HE IS VERY BUSY AND THE BEST WAY TO REACH HIM IS BY EMAIL.

 04/11/2016 11:00 AM - PHONE Note 30
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: DR SAUL- KAREN
 Text: [04/11/2016 - WINTERER, NANCY]SPOKE TO KAREN AT DR SAU;'S OFFICE. KYTHA, PREVIOUS CONTACT IS AWAY FOR
 THE WEEK. EXPLAINED PURPOSE OF CALL TO KAREN. KAREN WILL SPEAK WITH DR SAUL TO FIND OUT IF HE PLANS TO
                                                                                  ARC'S PHONE NUMBER TO CALL
 RESPOND TO LIBERTY'S 3/16/16 REQUEST.[04/11/2016 - WINTERER, NANCY]KAREN TOOK ARCS
 BACK WITH DR. SAUL'S ANSWER, AS DR SAUL WAS WITH PATIENTS AT THAT TIME.

 04/08/2016 7:50 AM - CLAIM Note 64
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : DR. ZAGAR
 Text: [04/08/2016 - WINTERER, NANCY]RECEIVED NARRATIVE RESPONSE FROM DR ZAGAR (NEUROLOGY) TO PEER REVIEW
 REPORT.

 04/08/2016 7:26
 04/08/2016  7:26 AM
                   AM -- CLAIM
                         CLAIM Note 63
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Other
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [04/08/2016 - WINTERER, NANCY]RECEIVED INVOICE FROM MCN FOR 3/14/16 PM&R IME. INVOICE IS DATED 4/5/16.
                                                                        ARC'S AUTHORIZATION, EMAIL SENT TO ARU
 INVOICE NUMBER IS # N101453. AMOUNT IS $3850.00. SINCE AMOUNT IS OVER ARCS
 MANAGER TO RELEASE CHECK

 04/06/2016 8:29
 04/06/2016  8:29 AMAM -- PHONE Note 29
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: RISSENBERG
 Text: [04/06/2016 - WINTERER, NANCY]CALLED DR RISSENBERG TO FOLLOW UP REGARDING HER WRITTEN RESPONSE TO
 THE PEER REVIEW REPORT. WHEN WE SPOKE ON 3/22/16, DR RISSENBERG ADVISED SHE WOULD RESPOND IN WRITING
 BY APPROXIMATELY 3/30/16. AS OF THIS TIME, NO RESPONSE HAS BEEN RECEIVED. LEFT MESSAGE FOR DR RISSENBERG,
 FOR REMINDER TO SUBMIT HER RESPONSE + IF SHE DOES NOT PLAN TO RESPOND AT THIS POINT, TO PLEASE LEAVE
 ARC A MESSAGE. ARC PHONE NUMBER PROVIDED.

 04/05/2016 2:30
 04/05/2016 2:30 PM
                 PM -- PHONE Note 28
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 ni,+oQ do :• AP
 NoteSubject      Called
              AD rs•mlletrl




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                                                                                                 Liberty002281

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 NoteSubject
 rv v~cvuvJctn :. I'll
                  AP   - Called
                         VGIIIGU

 Other Subject
 Other  Subject : DR ZAGAR
 Text: [04/05/2016 - WINTERER, NANCY]RECEIVED CALL FROM DR ZAGAR. HE STATED HE WOULD WRITE SOMETHING UP, IT
 WOULD BE BRIEF AS IT HAS BEEN SOME TIME SINCE HE SAW MS SPEARS. HE WOULD STATE-WHERE HIS HEAD WAS AT-
 AT THE TIME. DR. ZAGAR INDICATED HE WOULD SEND TO ARC BY THE END OF THE WEEK.

 04/01/2016 2:44 PM - PHONE Note 27
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject : DR RAXLEN
 Other
 Text: [04/01/2016 - WINTERER, NANCY]FOLLOW UP CALL TO NAYALIE AT DR RAXLEN'S OFFICE. SPOKE TO NAYALIE WHO
 STATED DR RAXEL DOES NOT HAVE TIME TO REVIEW THE PAPERWORK SENT BY LIBERTY, BUT HE WOULD SPEAK WITH
 LIBERTY/ARC. ADVISED NAYALIA THE BEST OPTION WOULD BE FOR US TO SET UP A TIME IN WHICH HE COULD SPEAK
 WITH DR CROSSLEY- THE ID PHYSICIAN WHO REVIEWED MS SPEARS DISABILITY CLAIM FILE. NAYALIE TO DISCUSS W/ DR
 RAXLEN AND CALL ARC BACK WITH AN ANSWER.

 03/31/2016 11:57 AM - PHONE Note 26
 03/31/2016
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject : DR BAEHRING
 Text: [03/31/2016 - WINTERER, NANCY]FOLLOW UP CALL TO KAY AT DR BAEHRING'S OFFICE. DR BAEHRING WAS OUT OF
 THE OFFICE UNTIL 3/28/16. KAY INDICATED DR BAERHING DOES NOT THINK HE SHOULD COMMENT AND RESPOND TO
 LIBERTY'S REQUEST.
 LIBERTY'S   REQUEST. DR DR BAEHRING
                            BAEHRING HAS
                                     HAS NOT
                                         NOT SEEN
                                             SEEN PT
                                                  PT SINCE
                                                     SINCE 2013 AND SHE
                                                           2013 AND SHE HAS
                                                                        HAS MOVED
                                                                            MOVED AND
                                                                                  AND IS
                                                                                      IS BEING
                                                                                         BEING TREATED
                                                                                               TREATED IN
                                                                                                       IN LA.
                                                                                                          LA.
 ARC EXPLAINED WE ARE ASKING FOR INFORMATION FROM THE TIME PERIOD DR BAEHRING WAS TREATING MS SPEARS.
 KAY INDICATED AGAIN DR BAEHRING DOES NOT THINK HE SHOULD RESPOND TO LIBERTY'S REQUEST.

 03/30/2016 2:55
 03/30/2016  2:55 PMPM -- PHONE Note 25
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: DR
                   DR SAUL
 Text: [03/30/2016 - WINTERER, NANCY]FOLLOW UP CALL TO KYTHA- DR SAUL'S OFFICE. HE WAS ON VACATION WHEN WE
 PREVIOUSLY SPOKE AND RETURNED 3/28/16. KYTHA STATED DR SAUL HAS FAX AND REPORT- HAS NOT GOTTEN TO
 REVIEW IT AS YET. IS PLANNING ON REVIEWING. KYTHA AGREED TO REMIND DR SAUL TO COMPLETE THE REVIEW OF THE
 REPORT AND MAKE COMMENTS. WE AGREED THAT HIS REVIEW WOULD BE COMPLETE BY WED 4/6/16.

 03/29/2016 1:34 PM - PHONE Note 24
 03/29/2016
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Other Subject : RAXLEN
 Other
 Text: [03/29/2016 - WINTERER, NANCY]FOLLOW UP CALL TO DR RAXLEN'S OFFICE. SPOKE TO NAYALIE. SHE CONFIRMED
 FAXED WAS
 FAXED   WAS RECEIVED,
                RECEIVED, ALTHOUGH
                          ALTHOUGH DR
                                    DR RAXLEN
                                       RAXLEN HAS
                                              HAS NOT
                                                  NOT GOTTEN
                                                      GOTTEN TO
                                                             TO REVIEW
                                                                REVIEW AS
                                                                        AS YET.
                                                                           YET. HE
                                                                                HE MIGHT
                                                                                   MIGHT GET
                                                                                         GET TO
                                                                                             TO IT
                                                                                                IT SOON,
                                                                                                   SOON, AND
                                                                                                         AND
 NAYALIE WILL MENTION THE FAX/ARC CALL TO DR RAXLEN. ADVISED NAYALIE ARC WILL CALL BACK IN 2-3 DAYS TO FIND
 OUT IF DR RAXLEN PLANS TO RESPOND.

 03/29/2016 7:33 AM - CLAIM Note 62
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [03/29/2016 - WINTERER, NANCY]RECEIVED INVOICE FROM BMI FOR RECENT NEUROPSYCHOLOGICAL PEER REVIEW
 ADDENDUM. INVOICE IS DATED 3/23/16. INVOICE NUMBER IS 577726-2. AMOUNT IS $121.88. PAYMENT RELEASED TODAY TO
 BMI.

 03/22/2016 2:34 PM - PHONE Note 23
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject : DR BAEHRING
 Text: [03/22/2016 - WINTERER, NANCY]CALLED DR BAEHRING AT 203-785-7284. SPOKE WITH DR BAEHRING'S SECRETARY-
 KAY. KAY EXPLAINED SHE WAS IN ONE OFFICE AND WILL CHECK DR BAEHRING'S OTHER OFFICE TO CONFIRM 3/16 FAX
 WAS RECEIVED. KAY INDICATED DR. BAEHRING IS AWAY UNTIL 2/28/16.

 03/22/2016 2:23 PM - CLAIM Note 61
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : LTR to AP
 Other Subject : RAXLEN
 Other
 Text: [03/22/2016 - WINTERER, NANCY]PEER REVIEW REPORT AND REQUEST FOR DR RAXLEN TO REVIEW AND RESPOND,
 WAS REFAXED THIS PM. CONFIRMATION RECEIVED: YOUR FAX HAS BEEN SUCCESSFULLY SENT TO BERNARD RAXLEN,
           516-336-8440. ------------------------------------------------------------ FROM: WINTERER, NANCY ---------------------------------------------------
 MD AT 516-336-8440.
 --------- TIME: 3/22/2016 2:05:03 PM SENT TO 516-336-8440 WITH REMOTE ID RESULT: (0/339;0/0) SUCCESSFUL SEND PAGE
 RECORD: 1 - 2 ELAPSEDTIME: 00:57 ON CHANNEL 8

             2:21 PM - PHONE Note 22
 03/22/2016 2:21
 Claim/Event/Leave: REDACTED
 NoteSubject :: AP
 NoteSubject    AP Called
                    Called
 Other Subject
 Other  Subject :: DR RISSENBERG
 Text: [03/22/2016 - WINTERER, NANCY]DR RISSENBERG RETURNED ARCS
                                                            ARC'S CALL. SHE CONFIRMED THAT SHE DID RECEIVE
 LETTER OVERNIGHTED TO HER LAST WEEK (DR RISSENBERG DOES NOT HAVE INCOMING FAX). DR. RISSENBERG
 INDICATED SHE WOULD RESPOND TO THE PEER REVIEW, BUT COULD NOT DO SO BY 3/25. SHE WILL BE ABLE TO SEND A


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 RESPONSE ON OR BEFORE WED 3/30/16. SHE WILL CALL ARC WHEN SHE FAXES OUT HER RESPONSE.

 03/22/2016 1:59 PM - PHONE Note 21
 03/22/2016
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: DR
                   DR SAUL
 Text: [03/22/2016 - WINTERER, NANCY]CALLED DR SAUL'S OFFICE AT 203-383-4466. SPOKE TO KYTHA. CONFIRMED FAX
 RECEIVED. KYTHA INDICATED DR SAUL HAS BEEN ON VACATION AND WILL RETURN 3/23/16.

 03/22/2016 1:57 PM - PHONE Note 20
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: DR
                   DR RISSENBERG
                      RISSENBERG
 Text: [03/22/2016 - WINTERER, NANCY]CALLED DR RISSENBERG AT 914-232-6245. RECEIVED DR RISSENBERG'S VOICEMAIL
 IN HER VOICE. LEFT MESSAGE FOR PURPOSE OF THE CALL AND REQUESTED A CALL BACK. ARC PHONE AND FAX
 NUMBERS LEFT.

 03/22/2016 1:55 PM - PHONE Note 19
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject : DR RAXLEN
 Other
 Text: [03/22/2016 - WINTERER, NANCY]CALLED DR RAXLEN'S OFFICE AT 212-799-1121. SPOKE TO RECEPTIONIST. SHE
 STATED THEY DID NOT RECEIVE THE FAX FROM LIBERTY. ARC OBTAINED CORRECT FAX NUMBER- 516-336-8440. THIS IS
 THE FAX NUMBER USED FOR THE 3/16/165 FAX.WILL RE-FAX TODAY.

 03/22/2016 1:52 PM - PHONE Note 18
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject : DR KAGE
 Text: [03/22/2016 - WINTERER, NANCY]CALLED DR KAGE'S OFFICE AT 860-646-9929. RECEPTIONIST PLACED ARC ON HOLD
 AND SECOND PERSON PICKED UP. DID NOT PROVIDE HER NAME. CONFIRMED DR KAGE RECEIVED FAX. UPON ARCS    ARC'S
 INQUIRY, SHE INDICATED DR KAGE WOULD PROBABLY REVIEW THE FAX/REPORT, BUT DOUBTED DR KAGE WOULD
 RESPOND, AS -THEY HAVE NO PART IN THAT NOW.-

 03/22/2016 1:48 PM - PHONE Note 17
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: GOUIN
                   GOUIN YOUNG, ND
 Text: [03/22/2016 - WINTERER, NANCY]CALL TO DR GOUIN YOUNG AT 860-533-0179. SPOKE WITH DEBBIE. DEBBIE
 CONFIRMED 3/16/16 FAX WAS RECEIVED. SHE WILL PASS ON REMINDER FOR RESPONSE BY 3/25/16.

 03/22/2016 1:45 PM - PHONE Note 16
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : AP Called
 Other Subject
 Other  Subject : DR GIANNINI
 Text: [03/22/2016 - WINTERER, NANCY]CALL PLACED TO DR GIANNINI AT 860-872-8321. RECEPTIONIST CONFIRMED 3/16/16
 FAX WAS RECEIVED.

 03/18/2016 7:24 AM - PHONE Note 15
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: AP
 NoteSubject    AP Called
                    Called
 Other Subject
 Other  Subject :: DR ZAGAR OFFICE
 Text: [03/18/2016 - WINTERER, NANCY]LATE ENTRY. BRITTANY FROM DR ZAGAR'S OFFICE CALLED ARC AT APPROX 1:30PM
 ON THURS 3/17/16, IN RESPONSE TO THE 3/16/16 FAX. BRITTANY STATED DR ZAGAR HAS NOT SEEN MS SPEARS SINCE
 2011 AND THEREFORE HE IS NOT ABLE TO COMMENT. ARC EXPLAINED WE ARE LOOKING BACK TO REVIEW HER MEDICAL
 CONDITIONS FROM 2009 AND FORWARD. BRITTANY INDICATED SHE WOULD SEND SOMETHING IN WRITING THAT DR
 ZAGAR WILL NOT BE COMMENTING.[03/18/2016 - WINTERER, NANCY]CONFIRMED BRITTANY HAD ARCSARC'S FAX NUMBER.

                                 60
 03/17/2016 7:11 AM - CLAIM Note 60
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Peer Review
 NoteSubject
 Other Subject
 Other  Subject : NP ADDENDUM
 Text: [03/17/2016 - WINTERER, NANCY]PER BMI, DUE DATE FOR NEUROPSYCH ADDENDUM IS 3/30/16.

 03/16/2016 2:23
 03/16/2016  2:23 PM
                   PM -- CLAIM
                         CLAIM Note
                               Note 59
                                    59
 Claim/Event/Leave: REDACTED
 NoteSubject :: Peer Review
 NoteSubject
 Other Subject
 Other  Subject : ADDENDUM
 Text: [03/16/2016 - WINTERER, NANCY]UPON FURTHER REVIEW OF THE NEUROPSYCHOLOGICAL PORTION TO THE PANEL
 PEER REVIEW REPORT, HAD ADDITIONAL QUESTIONS FOR NP REVIEWER. ADDENDUM QUESTIONS SEN TO BMI TODAY.

 03/16/2016 1:54
 03/16/2016   1:54 PM
                    PM -- CLAIM
                          CLAIM Note
                                 Note 58
                                      58
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Peer Review
 NoteSubject
 Other Subject
 Other  Subject :: TO ATTENDING PHYSIC!
                                   PHYSICI
 Text: [03/16/2016 - WINTERER, NANCY]PANEL PEER REVIEW REPORT FAXED TODAY TO CLMNT'S ATTENDING PHYSICIANS
 INCLUDING
 inni          DRS RAYI
      I ininin MR    RAXLEN;FN• GOUIN vni
                                       YOUNG;  SAUL;
                                          INS• CAI      BAEHRING; ZAGAR;
                                                   II • RAFHRIN(•        KAGE; GIANNINI Rpni
                                                                  7A(AR• KA(F•          REQUESTED    PHYSICIANS RFVIFW
                                                                                             IFRTFrl PHVRINAKIR REVIEW


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 INCLUDING DRS. RAXLEN; GOUIN YOUNG; SAUL; BAEHRING; ZAGAR; KAGE; GIANNINI. REQUESTED PHYSICIANS REVIEW
 REPORT AND FAX BACK IN WRITING ANY DISAGREEMENTWITH ANY OF THE MEDICAL FINDINGS IN THE REPORT WITH
 THEIR MEDICAL OPINION AND THE MEDICAL BASIS FOR ANY DISAGREEMENT, BY 3/25/16. ALSO REQUESTED BY 3/25/16,
                                                                                                 3/25/16, AP-
                                                                                                          AP-
 S CALL ARC TO SET UP MUTUALLY AGREEABLE TIME TO SPEAK WITH REVIEWING PHYSICIAN. FAX TO DR RISSENBERG
 WAS ABANDONED. THEREFORE, LETTER AND PEER REVIEW REPORT WAS OVERNIGHT TO DR RISSENBERG.

 03/14/2016 10:24 AM - CLAIM Note 57
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: IME
                   IME QUESTIONS
                       QUESTIONS
 Text: [03/14/2016 - WINTERER, NANCY]FINAL IME QUESTIONS FOR TODAY'S PM&R IME SENT TO MCN ON 3/11/16 PM.

 03/07/2016 3:06
 03/07/2016  3:06 PM
                   PM -- CLAIM
                         CLAIM Note
                               Note 56
                                    56
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Peer Review
 NoteSubject
 Other Subject
 Other  Subject : REPORT
 Text: [03/07/2016 - WINTERER, NANCY]RECEIVED COMPLETED PEER REVIEW REPORT TODAY FROM BMI. REPORT
 INCLUDES REVIEWS BY NEUROLOGY, INFECTIOUS DISEASE, ENDOCRINOLOGY/INTERNAL MEDICINE, AND
 NEUROPSYCHOLOGY.
 NEUROPSYCHOLOGY.

 03/07/2016 7:56
 03/07/2016  7:56 AM
                   AM -- CLAIM
                         CLAIM Note
                                Note 55
                                     55
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [03/07/2016 - WINTERER, NANCY]RECEIVED INVOICE FROM MCN FOR NO SHOW FEE FOR IME SCHEDULED FOE 2/29/16.
 INVOICE DATED
 INVOICE   DATED 2/29/16.
                    2/29/16. INVOICE  NUMBER IS
                             INVOICE NUMBER  IS N100271.
                                                N100271. AMOUNT
                                                         AMOUNT IS $675.00. PAYMENT
                                                                IS $675.00. PAYMENT RELEASED
                                                                                    RELEASED TO
                                                                                             TO MCN
                                                                                                MCN TODAY.
                                                                                                    TODAY.

 03/01/2016 3:03
 03/01/2016  3:03 PMPM -- CLAIM
                          CLAIM Note 54
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : IME/IPE
 NoteSubject
 Other Subject
 Other  Subject :: 3/12/16
                   3/12/16
 Text: [03/01/2016 - WINTERER, NANCY]PM&R IME RESCHEDULED FOR MONDAY 3/14/16 AT 12PM

 03/01/2016 1:22 PM - CLAIM Note 53
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : IME/IPE
 NoteSubject
 Other Subject
 Other  Subject :: NO
                   NO SHOW-LTTR TO ATTY
 Text: [03/01/2016 - WINTERER, NANCY]CLMNT DID NOT ATTEND IME ON 2/29/16.[03/01/2016 - WINTERER, NANCY]ON 2/29/16,
 RECEIVED FAX FROM ATTY DATED SATURDAY 2/27/16 ARGUING LL'S 2/9/16 REFUSAL TO ALLOW ANOTHER PERSON IN THE
 EXAM ROOM WITH THE CLMNT OR TO VIDEOGRAPH THE EXAM IS NOT SUPPORTED BY THE POLICY. ALSO ATTY WANTED
 TO KNOW WHICH RECORDS WERE BEING SENT TO THE IME PHYSICIAN, AS SHE WOULD PROVIDE RECORDS TO THE
 PHYSICIAN IF LIBERTY DID NOT PROVIDE COMPLETE RECORDS. ALSO RECEIVED LETTER FROM ATTY DATED 2/29/16,
 STATING CLMNT HAD FAMILY EMERGENCY AND COULD NOT ATTEND IME, ATTY SPOKE TO MCN AND MCN STATED THEY
 COULD RE-SCHEDULE BUT LIBERTY HAD TO AUTHORIZE. ATTY REQUESTED NOTICE AS TO WHEN LL REAUTHORIZES
 RESCHEDULING APT FOR IME. LETTER TO ATTY TODAY: MS. SPEARS DISABILITY CLAIM FILE CURRENTLY CONTAINS OVER
 4700 PAGES OF MEDICAL DOCUMENTATION. A COMPLETE COPY OF THE MEDICAL DOCUMENTATION ON FILE WAS SENT
 FOR THE IME PHYSICIAN S REVIEW. MS. SPEARS IS COVERED UNDER A GROUP DISABILITY INCOME POLICY SPONSORED
 BY HER EMPLOYER, AND WHICH IS GOVERNED BY THE EMPLOYEE RETIREMENT INCOME SECURITY ACT (ERISA). WE
 RESPECTFULLY DISAGREE WITH YOUR POSITION THAT WE MUST ALLOW MS. SPEARS TO VIDEOTAPE THE IME. WE ARE
 UNABLE TO AGREE TO YOUR REQUEST TOHAVE THIRD PARTIES OR VIDEOGRAPHERS PRESENT DURING THE IME. IT WILL
 INTERFERE WITH THE INDEPENDENT NATURE OF THE EXAMINATION TO HAVE THIRD PARTIES PRESENT DURING THE
 EXAMINATION. IF MS. SPEARS AGREES TO ATTEND THE IME WE WILL AGREE TO PROVIDE HER WITH TRANSPORTATION
 AND IF SHE WISHES TO HAVE YOU OR A THIRD PARTY ACCOMPANY HER TO THE IME, WE WOULD REQUEST THAT YOU OR
 THE THIRD PARTY REMAIN IN THE WAITING ROOM WHILE THE IME IS CONDUCTED AND MS. SPEARS COULD CONSULT  CONSULT
 WITH YOU OR THE THIRD PARTY IN THE WAITING ROOM, IF NECESSARY. AT THIS TIME, WE ARE PROCEEDING TO
 RESCHEDULE THE IME. MCN WILL CONTACT YOU DIRECTLY REGARDING THAT APPOINTMENT.

                                1
 02/10/2016 3:12 PM - LIFE Note 1
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject : COPY WORK
 Text: [02/10/2016 - BRETON, CINDY]EXPORTED DOC LIST, CORRESPONDENCE AND DOC FROM ARC NW ONTO THUMB
 DRIVE..MAILED 0/NO/N TO MCN
                         MCN

 02/10/2016 1:16 PM - CLAIM Note 52
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: TOLLING
 Text: [02/10/2016 - WINTERER, NANCY]CLAIM RECEIVED IN ARU FOR REMAND/APPEAL REVIEW ON 10/16/15. REQUESTS
 SENT TO MS SPEARS' 27 PROVIDERS FOR THEIR TREATMENT RECORDS, WITH FOLLOW UP REQUESTS MADE BY ATTY
 ZIMBERLIN. AS OF 1/12/16, ALL MEDICAL WAS RECEIVEDTHAT ATTY WAS GOING TO PURSUE. DAYS WERE TOLLED FOR
 CLMNT TO SUBMIT MEDICAL TO BE CONSIDERED ON APPEAL- FROM 10/25/15 THROUGH 1/12/16- 85 DAYS. THEREFORE,
 DAY 45 AFTER TOLLING IS 3/25/16 AND DAY 90 AFTER TOLLING IS MAY 8, 2016.

 02/10/2016 12:44 PM - CLAIM Note 51
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
                    _   .
 Oth S bj t STATUS LATE ENTRY

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 Other Subject
 Other  Subject :: S
                   STATUS-LATE     ENTRY
                     IA I US-LAI L EN I KY
 Text: [02/10/2016 - WINTERER, NANCY]ON 2/4/16, RECEIVED FAXED LETTER FROM ATTY THAT CLMNT WILL ATTEND IME. ON
 2/9/16, REFERRED TO MCN FOR PM&R IME IN SHREVEPORT LA AREA. ALSO ON 2/9/16, SENT REVISED PEER REVIEW
 REFERRAL TO BMI- PEER REVIEW OF ALL RECORDSBY IM/ENDORCRINE, ID, NEURO, AND NP. ALSO LETTER FAXED TO
 ATTY ON 2/9/15 STATING: THANK YOU FOR YOUR LETTER OF FEBRUARY 4, 2016 INDICATING MS. SPEARS WILL ATTEND AN
 IME. AS WE DISCUSSED ON THE TELEPHONE LAST WEEK, THE IME WILL BE COMPLETED BY A PHYSICIAN SPECIALIZING IN
 PHYSICAL MEDICINE & REHABILITATION. AN INDEPENDENT MEDICAL VENDOR WILL BE DIRECTLY IN TOUCH WITH YOU
 REGARDING SPECIFIC ARRANGEMENTS FOR THE EXAMINATION, INCLUDING THE NAME OF THE EXAMINING PHYSICIAN.
 MS. SPEARS MAY BE ACCOMPANIED TO THE IME, HOWEVER, THAT PERSON WOULD NEED TO STAY IN WAITING ROOM AND
 NOT BE PRESENT DURING THE ACTUAL EXAMINATION.

 02/10/2016 2:34
 02/10/2016  2:34 AMAM -- CLAIM
                          CLAIM Note
                                Note 50
                                     50
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 2/9/2016 - REFERRED TO MEDICAL CONSULTANT NETWORK FOR IME.

 02/02/2016 3:04
 02/02/2016  3:04 PM - CLAIM Note 49
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject    LTR to
                    to Atty
 Other Subject
 Other  Subject ::
 Text: [02/02/2016 - WINTERER, NANCY]FAXED LETTER TO ATTY THIS PM. STATED: THIS LETTER IS IN FOLLOW UP TO OUR
 TELEPHONE CONVERSATION YESTERDAY, FEBRUARY 1, 2016. YOU CALLED REGARDING LIBERTY LIFE S PLAN TO HAVE
 MS. SPEARS ATTEND AN INDEPENDENT MEDICAL EXAMINATION (IME). WE DISCUSSED THE PURPOSE OF THE IME IS DUE
          COURT S RECOMMENDATION, AND TO HAVE MS. SPEARS MEDICAL CONDITION AS OF 2008 AND 2009 AS WELL AS
 TO THE COURTS
 HER CURRENT CONDITION, ASSESSED BY WAY OF THE EXAMINER S REVIEW OF ALL THE MEDICAL RECORDS AND
 PHYSICAL EXAMINATION. LIBERTY LIFE IS REQUESTING THAT YOU ADVISE US IN WRITING, WHETHER MS. SPEARS
 AGREES TO ATTEND AN IME. TIME IS OF THE ESSENCE IN THIS MATTER AND THE IME NEEDS TO BE ARRANGED AS SOON
 AS POSSIBLE. PLEASE ADVISE IN WRITING, ON OR BEFORE FRIDAY, FEBRUARY 5, 2016, AS TO WHETHER MS. SPEARS
 AGREES TO ATTEND AN IME.

 02/02/2016 2:32 AM - CLAIM Note 48
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 1/29/2016 - REFERRED TO BEHAVIORAL MANAGEMENT, INC. FOR PEER REVIEW.

 02/01/2016 2:56 PM - PHONE Note 14
 02/01/2016
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject          Called
                Other Called
 Other Subject : ATTY ZIMBERLIN
 Other
 Text: [02/01/2016 - WINTERER, NANCY]ATTY LEFT MESSAGE AT 11:59AM TODAY. ARC CALLED BACK AT 2:25PM AND SPOKE
 WITH ATTY ZIMBERLIN. SHE QUESTIONED IF IME WOULD BE TO ASSESS CLMNT AS OF 2008/2009, OR PRESENT-
                                                                                           PRESENT- ARC
                                                                                                     ARC
 REPLIED BOTH- WOULD REQUEST IME MD REVIEW ALLMEDICAL AS WELL AS EXAMINE CLMNT. ATTY ASKED WHAT
 SPECIALTY- INDICATED PM&R. ATTY ZIMBERLIN STATED SHE THOUGHT THAT PM&R IS AN APPROPRIATE SPECIALTY FOR
 THIS CASE. ATTY ALSO ASKED WHO WHO WOULD
                                    WOULD DO
                                           DO EXAM-
                                               EXAM- ARC ADVISED DO NOT KNOW- WILL GO THROUGH INDEPENDENT
 VENDOR. ARC ALSO ADVISED CLMNT MAY NEED TO TRAVEL FOR EXAM AND IF SO, TRANSPORTATION AND LODGING
 EXPENSES WILL BE COVERED. ATTY TO CALL CLMNT TO DISCUSS IME AND GET BACK TO ARC. ARC REITERATED 2/3/16
 DATE FOR RESPONSE REGARDING CLMNT'S ATTENDANCE TO IME. ATTY STATED -SHE WILL DO WHAT SHE CAN= TO GET
                     2/3/16.
 BACK TO ARC BY 2/3/16.

 02/01/2016 2:46 PM - CLAIM Note 47
 02/01/2016
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject    LTR to
                    to Atty
 Other Subject : LATE ENTRY
 Other
 Text: [02/01/2016 - WINTERER, NANCY]FAXED LETTER TO ATTY ON 1/25/16 ASKING ATTY IF SHE AND CLMNT WOULD AGREE
 TO IME AS COURT HAS RECOMMENDED IME, WHILE ATTY STATES SHE DOES NOT WANT PRESENT DAY MEDICAL
 CONSIDERED. REQUESTED RESPONSE BY 2/3/16.

 01/25/2016 8:50 AM - CLAIM Note 46
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [01/25/2016 - WINTERER, NANCY]ON 1/12/16, CLMNT'S ATTY ADVISED SHE IS NOT SUBMITTING ANY FURTHER MEDICAL
 DOCUMENTATION. THUS APPEAL REVIEW BEGINS 1/13/16

 01/12/2016 3:46 PM - CLAIM Note 45
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject    LTR to
                     to Atty
 Other Subject
 Other  Subject :: OUTSTANDING MEDICAL
 Text: [01/12/2016 - WINTERER, NANCY]THIS NOTE IS IN FOLLOW UP TO OUR TELEPHONE DISCUSSION THIS AFTERNOON.
 FOR YOUR INFORMATION, REGARDING THE REQUESTED TREATMENT RECORDS FROM ALL 27 PHYSICIANS MS. SPEARS
 LISTED ON THE SEPTEMBER 8, 2015 CLAIMANT INFORMATION FORM, AS OUTLINED IN OUR LETTER DATED DECEMBER 10,
 2015, NO RESPONSE HAS BEEN RECEIVED FROM DR. DONALDSON (ALTHOUGH HIS JANUARY 20, 2009 CONSULTATION
 NOTE IS ON FILE), FROM LORI FITTS, MD, NOR FROM GAURAB BASU, MD. THE RECORDS FROM TALIARINI CHIROPRACTIC
 WERE RECEIVED FROM YOUR OFFICE ON DECEMBER 22, 2015. I APOLOGIZE THIS INFORMATION WAS NOT READILY
 AVAILABLE AT THE TIME OF OUR DISCUSSION.


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 01/12/2016 3:02 PM - PHONE Note 13
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called
 NoteSubject    Called Other
                       Other
 Other Subject : ATTY ZIMBERLIN
 Other
 Text: [01/12/2016 - WINTERER, NANCY]CALL TO ATTY THIS PM. SHE RETURNED ARCS
                                                                        ARC'S 12/31/15 CALL ON 1/11/16 IN ARCS
                                                                                                          ARC'S
 ABSENCE. ATTY STATED THEY DO NOT WANT CURRENT MEDICAL CONSIDERED IN THIS APPEAL REVIEW, AS CLMNT IS
 SEEING NEW PHYSICIANS, HAVING NEW TESTS, RESULTING IN ENDLESS CYCLE. THEY WANT APPEAL FOR 2009 LTD
 DENIAL DECIDED ON MEDICAL IN FILE THROUGH 2015. ATTY ZIMBERLIN DID FAX THE OVN OF AN ENDOCRINOLOGY VISIT
 FROM DECEMBER 2015. WHEN ASKED ABOUT THE 3-4 PROVIDERS FROM THE CLMNT'S CIF COMPLETEDIN SEPT 2015 THAT
 HER OFFICE WAS STILL TRYING TO GET RECORDS FROM, ATTY ZIMBERLIN KEPT STATING SHE DOES NOT WANT CURRENT
 MEDICAL TO BE INCLUDED IN THE APPEAL REVIEW. ARC ATTEMPTED TO POINT OUT THAT THOSE RECORDS MIGHT BE
 FROM THE 2009 TIME PERIOD- WE DO NOT KNOW BECAUSE THE CLMNT PROVIDED NO TREATMENT DATES. AGAIN ATTY
 ZIMBERLIN REITERATED SHE WANTS NO CURRENT RECORDS CONSIDERED, WANTS THE APPEAL REVIEW TO PROCEED
 BASED ON MEDICAL IN FILE AS OF END OF DECEMBER 2015. ATTY STATED SHE WOULD FAXA STATEMENT TO MAKE HER
 POSITION CLEAR.

 12/31/2015 8:24 AM - PHONE Note 12
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called
 NoteSubject    Called Other
                       Other
 Other Subject : ATTY ZIMBERLIN
 Other
 Text: [12/31/2015 - WINTERER, NANCY]RECEIVED CORRESPONDENCE THAT ATTY OFFICE MOVED ON 12/29/15. CALLED
 OFFICE AND SPOKE W/ RUSS. OFFICE IS OPEN AND ATTY ZIMBERLIN EXPECTED IN APPROX. 9AM. ADVISED CALLING RE
 CLMNT'S APT WITH NEW PHYSICIAN AND WHEN MEDICALIS TO BE EXPECTED. ALSO WANTED TO AGAIN DISCUSS
 DEADLINE FOR ALL MEDICAL TO BE SUBMITTED AND ESTABLISH DATE APPEAL TO MOVE FORWARD. ATTY ZIMBERLIN TO
 CALL BACK TODAY.

 12/17/2015 9:45 AM - CLAIM Note 44
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject : TOLLING
 Text: [12/17/2015 - WINTERER, NANCY]TOLLING SINCE 10/20/15 FOR ATTY TO SUBMIT MEDICAL FROM REMAINING
 PHYSICIANS, OUT OF THE 27 PHYSICIANS IDENTIFIED BY THE CLMNT ON THE CIF, THAT DID NOT YET RESPOND TO LL'S
 REQUEST.

 12/17/2015 9:39 AM - PHONE Note 11
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called
 NoteSubject    Called Other
                       Other
 Other Subject : ATTY ZIMBERLIN
 Other
 Text: [12/17/2015
       [12/17/2015 - WINTERER, NANCY]CALLED ATTY ZIMBERLIN THIS AM TO DISCUSS STATUS OF ADDITIONAL MEDICAL
 RECORDS SHE INTENDS TO SUBMIT FOR APPEAL REVIEW. ATTY ZIMBERLIN STATED HER OFFICE IS STILL WAITING ON
 MEDICAL FROM 3-4 ADDITIONAL PHYSICIANS. SHE ALSO STATED CLMNT HAS HAD TO WAIT A LONG TIME, BUT WILL BE
 SEEING A NEW PHYSICIAN SHORTLY- ATTY IS NOT CERTAIN OF THE DATE. ATTY ZIMBERLIN STATED SHE WOULD LIKE THE
 OVN FROM THIS UPCOMING TREATMENT VISIT TO BE CONSIDERED IN THE APPEAL REVIEW. STATED CLMNT IS AGAIN
 EXPERIENCING SIGNIFICANT FATIGUE. ARC ASKED ATTY IF SHE WOULD AGREE TO DATE FOR ALL MEDICAL TO BE
 SUBMITTED BY. ATTY ADVISED SHE WOULD LIKE TO SET SUCH A DATE, BUT WOULD LIKE TO SPEAK TO CLMNT FIRST, TO
 FIND OUT WHAT DATE SHE WILL BESEEING THE NEW PHYSICIAN, AND THEN DETERMINE LAST DATE FOR MEDICAL TO BE
 SUBMITTED. WE AGREED THAT ARC WILL CALL BACK ATTY NEXT WEEK TO DISCUSS.

 12/15/2015 3:14 PM - CLAIM Note 43
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: STOP PAID CHECK
 Text: [12/15/2015 - COPP, JENNIFER]STOP PAID CHECK 30020188 AS IT WAS REISSUED ON 4/29/15.

 12/10/2015 10:46 AM - CLAIM Note 42
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : LTR to Atty
 Other Subject
 Other  Subject ::
 Text: [12/10/2015 - WINTERER, NANCY]ADVISED ATTY LL RCVD COMPLETED TEE. ADVISED RECVD RAXLEN RECORDS FORM
 HER OFFICE ON 11/25/15. REQUESTED CLMNT'S EARNINGS INFO FROM 6/1/15 THROUGH THE DATE SHE LEFT WORK- IN
 HER 12/7/15 LETTER ATTY STATED MS. SPEARS LAST WORKED IN AUGUST 2015 AND HAS HAD A RECENT DECLINE IN
 HEALTH. ASKED ATTY TO CONTACT ARC SHOULD SHE REQUIRE TIME BEYOND 12/16/15 FOR THE REMAINDER OF THE
 MEDICAL TO BE SUBMITTED. THIS IS FROM - DR. DONALDSON (ALTHOUGH HIS JANUARY 20, 2009 CONSULTATION NOTE IS
 ON FILE); LORI FITTS, MD; GAURAB BASU, MD; TALIARINI CHIROPRACTIC; AND ANY OTHER MEDICAL INFORMATION THAT
 YOU WISH TO SUBMIT IN SUPPORT OF MS. SPEARS CLAIM.

                                  41
 12/10/2015 10:00 AM - CLAIM Note 41
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Med
 NoteSubject    Med Records
                    Records Rcvd
                            Rcvd
 Other Subject
 Other  Subject : RHEUM
 Text: [12/10/2015 - WINTERER, NANCY]65 PAGES RHEUMATOLOGY- DR KAGE- RECORDS RECEIVED TODAY. INVOICE
 PREVIOUSLY PAID ON 11/12/15.

 12/01/2015 12:04 PM - CLAIM Note 40
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
    —    .
 NoteSubject : LTR to Atty

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 NoteSubject :: L
 NoLeuojeci     LTR   to Arty
                  I r to Atty
 Other Subject : TEE
 Other
 Text: [12/01/2015 - WINTERER, NANCY]APPEARS NOT ALL THE USUAL LTD CLAIMANT FORMS WERE FORWARDED TO
 CLMNT'S ATTY
 CLMNT'S    ATTY IN IN JULY
                       JULY 2015   BY OUTSIDE
                              2015 BY         COUNSEL, FOR
                                      OUTSIDE COUNSEL, FOR CLMNT'S
                                                           CLMNT'S COMPLETION.
                                                                   COMPLETION. IN
                                                                               IN ORDER
                                                                                  ORDER FOR
                                                                                        FOR LIBERTY
                                                                                            LIBERTY LIFE
                                                                                                    LIFE TO
                                                                                                         TO FULLY
                                                                                                            FULLY
 ASSESS MS. SPEARS ELIGIBILITY FOR LONG TERM DISABILITY BENEFITS IN ACCORDANCE WITH THE UNITED
 TECHNOLOGIES CORPORATION GROUP DISABILITY INCOME POLICY, REQUESTED ATTY HAVE MS. SPEARS COMPLETE THE
 ATTACHED TRAINING-EDUCATION-EXPERIENCE FORM, AND RETURN TO MY ATTENTION BY DECEMBER 18, 2015.

 11/25/2015 7:47 AM - CLAIM Note 39
                                 39
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [11/25/2015 - WINTERER, NANCY]LETTER AND CD RECEIVED FROM ATTY ZIMBERLIN. CD CONTAINS DR RAXLEN'S
 TREATMENT RECORDS FROM 4/21/09 THROUGH 10/11/13. SENT TO HO ADMIN TO BE PLACED INTO DOCLIST.

                         CLAIM Note
 11/24/2015 11:31 AM - CLAIM   Note 38
                                    38
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject :: COPY
                   COPY JOB
                        JOB
 Text: [11/24/2015 - PILAR, SARAH]COPY OF CLAIM DOC LIST MEDICAL FILES FROM 10/22/2015-11/16/2015 ON THUMB DRIVE
                                    1Z24896X0298470010.
 SENT TO ATTY VIA UPS 2ND DAY 1Z24896X0298470010.

                             Note 37
 11/24/2015 9:39 AM - CLAIM Note  37
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject    LTR to
                    to Atty
 Other Subject :
 Text: [11/24/2015 - WINTERER, NANCY]LETTER TO ATTY DATED 11/24/15. AS PER OUR 11/19/15 PHONE CONVERSATION,
 LETTER TO BE SENT BY HO ADMIN WITH A COPY OF ALL MEDICAL RECEIVED FROM CLMNT'S PROVIDERS IN RESPONSE TO
 OUR 10/23/15 REQUEST FOR TREATMENT RECORDS T027  TO27 PROVIDERS IDENTIFIED BY MS. SPEARS. LETTER ALSO
 IDENTIFIES THE 5 PHYSICIAN THAT HAVE NOT RESPONDED, AND WHAT IF ANY OF THEIR TREATMENT RECORDS ARE
 ALREADY ON FILE. REQUEST ATTY SUBMIT REMAINDER OF MEDICAL TO LL ON OR BEFORE 12/16/15. TOLLING UNTIL
 12/16/15- WILL MOVE FORWARD WITH APPEAL REVIEW AT THAT TIME.

 11/19/2015 11:05 AM - PHONE Note 10
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject          Called
                Other Called
 Other Subject : ATTY ZIMBERLIN
 Other
 Text: [11/19/2015 - WINTERER, NANCY]ATTY LEFT MESSAGE FOR ARC AT 3:50PM ET ON 11/18/15. CB TO ATTY AT 10:35AM
 TODAY. SHE WAS CHECKING TO SEE IF ALL MEDICAL HAD BEEN RECEIVED, AND REQUESTED A COPY OF ALL MEDICAL LL
 HAS RECEIVED IN RESPONSE TO REQUEST. ADVISED MS ZIMBERLIN THAT WE HAVE NOT RECEIVED A RESPONSE FROM
 DR. REXLAN. SHE INDICATED THEY WOULD FOLLOW-UP WITH DR ZIMBERLIN. ALSO ARC TO MAKE LIST OF OTHER
 PROVIDERS FROM WHOM MEDICAL HAS NOT BEEN RECEIVED.[11/19/2015 - WINTERER, NANCY]AND ATTY WILL FOLLOW-
 UP. ATTY EMPHASIZED THEY WANT TO ASSIT IN GETTING ALL MEDICAL.

 11/12/2015 10:08 AM -- CLAIM
                        CLAIM Note
                              Note 36
                                   36
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [11/12/2015 - WINTERER, NANCY]ON 11/11/15 RECEIVED INVOICE FROM RHEUM AND ALLERGY INSTITUTE - DR
 BARBARA KAGE- FOR REQUESTED MEDICAL RECORDS. NO INVOICE NUMBER. AMOUNT IS $43.55. PAYMENT ISSUED TO
 RHEUMATOLOGY AND ALLERGY INSTITUTE TODAY.

 11/06/2015 10:16 AM - PHONE Note 9
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: PCP
                   PCP MED RECORDS
 Text: [11/06/2015 - WINTERER, NANCY]ON 11/2/15 RECEIVED PCP- DR GIIANNINI- ON DISC. AS PER GENNY DILLION-NOVITEX-
 LIBERTY LIFE SOFTWARE WOULD NOT ALLOW MEDICAL RECORDS TO BE LOADED FROM THE PCP TRUECRYPT
 SOFTWARE. CALLED RACHEL IN MEDICAL RECORDS AT DR GIANNINI'S OFFICE.- 860288-4104. RECORDS ARE 528 PAGES.
 SHE WILL MAIL THE RECORDS TO ARU LONDON, KY ADDRESS TODAY.

 11/02/2015 8:23 AM -- CLAIM
                       CLAIM Note
                             Note 35
                                  35
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [11/02/2015 - WINTERER, NANCY]RECEIVED INVOICE FROM CONNECTICUT NATURAL HEALTH SPECIALISTS FOR
 TREATMENT RECORDS REQUESTED FOR PERIOD 9/1/08 TO PRESENT. NO INVOICE NUMBER. INVOICE DATED 10/26/15.
 AMOUNT IS $177.20. PAYMENT RELEASED TODAY TO CT NATURAL HEALTH SPECIALISTS.

                             Note 34
 10/28/2015 3:25 PM - CLAIM Note  34
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [10/28/2015 - WINTERER, NANCY]RECEIVED INVOICE FROM CT MULTISPECIALTY GROUP FOR REQUESTED
 PULMONARY MEDICAL RECORDS. INVOICE DATED 10/27/15. NO INVOICE NUMBER. AMOUNT IS $7.15. PAYMENT RELEASED
 TODAY TO CT MULTISPECIALTY GROUP FOR REQUESTED MEDICAL RECORDS.



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 10/26/2015 10:16 AMAM -- CLAIM
                          CLAIM Note
                                Note 33
                                     33
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Other
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [10/26/2015 - WINTERER, NANCY]INVOICE RECEIVED 10/21/15 FOR REQUESTED MEDICAL RECORDS FROM
 ASSOCIATED NEUROLOGISTS OF SOUTHERN CONNECTICUT PC. NO INVOICE NUMBER. AMOUNT IS $45.50. TAX ID NUMBER
 IS 061009699. PAYMENT RELEASED TODAY FOR REQUESTED MEDICAL RECORDS- DR ZAGAR.

 10/23/2015 2:29 AM - CLAIM Note 32
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Ref to Special Invest
 Other Subject : SCORE REFERRAL
 Text: 10/22/2015 - REFERRED TO SIU FOR DATABASE SEARCH. TYPE OF SERVICE(S) REQUESTED: - ISO CLAIM SEARCH -
 CHOICEPOINT - SSN TRACE - CHANGE OF ADDRESS - PROFESSIONAL LICENSING - SOCIAL MEDIA.

 10/22/2015 4:48 PM - CLAIM Note 31
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: SIU DATABASE INFO
 Text: [10/22/2015 - LOTO, FRANK]DATABASE REQUEST RECEIVED. ISO REPORT LOADED TO EDM. REMAINDER OF REQUEST
 SENT TO ICS MERRILL, THEIR REPORT WILL BE LOADED TO EDM WHEN COMPLETED.

                        CLAIM Note
 10/21/2015 3:24 PM - CLAIM   Note 30
                                   30
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Other
 Other Subject
 Other  Subject :: COPY
                   COPY JOB
                        JOB
 Text: [10/21/2015 - PILAR, SARAH]COMPLETE PAPER COPY OF REQUESTED FILES (TOTAL 27 DOCUMENTS: 25 LETTERS-
 DOCUMENTS DATED 10/20/15 TYPE- REQUEST TITLE- PROVIDER 1  1 LETTER- DOCUMENT DATED 10/21/15 TYPE- MEDICAL
 TITLE- CORRESPONDANCE 1 LETTER-DOCUMENT DATED 10/21/15 TYPE- REQUEST TITLE- PROVIDER) SENT VIA UPS NEXT
      1Z24896X0191130446.
 DAY 1Z24896X0191130446.

                             Note 8
 10/21/2015 2:45 PM - PHONE Note  8
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: MARGARET-DR ZAGAR
 Text: [10/21/2015 - WINTERER, NANCY]CALLED MARAGERT AT DR ZAGAR'S OFFICE. SHE WANTED TO CONFIRM THAT WE
 WANTED THE RECORDS FROM 2009 THROUGH 2011, EVEN THOUGH CLMNT WAS NOT SEEN IN THAT OFFICE IN AFTER
 2011. CONFIRM THAT IS THE MEDICAL WE NEED. MARGARETWILL CALL TOMORROW WITH NUMBER OF PAGES AND COST
 FOR COPYING.

 10/21/2015 2:12 PM - CLAIM Note 29
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject :: MEDICAL RCRDS RQST
 Text: [10/21/2015 - WINTERER, NANCY]BASED ON THE CIF COMPLETED BY MS. SPEARS ON SEPTEMBER 8, 2015, THE
 PERIOD OF SEVEN YEARS FROM MS. SPEARS DATE OF DISABILITY THROUGH HER FULL TIME RETURN TO WORK, AND
 ARC'S INITIAL
 ARCS    INITIAL REVIEW OF THIS CLAIM, IT IS DETERMINEDADDITIONAL MEDICAL INFORMATION IS NEEDED FOR THIS
 APPEAL REVIEW. ON 10/20/15 + 10/21/15, REQUESTS SENT TO 27 PROVIDERS FOR TREATMENT REOCRDS DURING THE
 PERIOD SEPTEMBER 1, 2008 THROUGH MARCH 31, 2015. 26 REQUESTS WERE SUCCESSFULLY FAXED AND ONE WASSENT
 BY USPS. LETTER TO ATTY W ZIMBERLIN AND COPIES OF 27 MEDICAL REQUESTS TO BE OVERNIGHTED TO ATTY. LETTER
 INDICATES LL EXPECTS ATTY TO CONTACT CLMNT'S PROVIDERS TO MAKE CERTAIN THEY RESPOND TO LL'S REQUEST.
                                  11/9/15.
 ALL MEDICAL IS REQUESTED BY 11/9/15.

 10/20/2015 4:56 PM - PHONE Note 7
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : AP Called
 Other Subject
 Other  Subject : ZAGAR
 Text: [10/20/2015 - MILLS, SUSAN]I RECEIVED A CALL FROM DR. ZAGAR S OFFICE REGARDING REQ FOR MEDICAL. I SPOKE
 WITH MARGARET REGARDING RECORD REQ FOR PERIOD 9/1/2008- 3/31/15. SHE SAID PATIENT WAS FIRST SEEN 1/12/09
 AND LAST SEEN 8/19/11. SHE WANTED TO BE SURE DCM WANTED ALL OF THOSE RECORDS AS THEY WILL HAVE TO
 CHARGE AND SHE SAID IT IS 65 CENTS PER PAGE. I ADVISED I AM SURE DCM DOES AS THESE DATES ARE WITHIN THE
 TIME PERIOD OUTLINED IN THE REQ LETTER. I ADVISED I WOULD PASS ON THIS MESSAGE SO DCM CAN CALL HER WITH
 ANY QUESTIONS. SHE DID SAY SHE WILL SEND THE INFO TO DCM FOR THE TIME PERIOD PATIENT SEEN 2009-2011. HER
                       203-333-1133 X125.
 PHONE NUMBER IS 203-333-1133       X125.

 10/19/2015 1:24 PM - CLAIM Note 28
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject ::
 Text: [10/19/2015 - WINTERER, NANCY]CLAIM FILE UNDER REVIEW.

 10/16/2015 9:52 AM - CLAIM Note 27
 10/16/2015
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject : IN
 Text: [10/16/2015 - PATTON, LAURA]SECOND LEVEL APPEAL ASSIGNED TO NANCY WINTERER



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 10/16/2015 2:27 AM - CLAIM Note 26
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Appeals
                        Appeals
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 10/14/2015 - REFERRED TO APPEALS UNIT FOR CLAIM REVIEW AND DETERMINATION.

 04/20/2015 12:26 PM - CLAIM Note 25
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Legal
 NoteSubject    Legal
 Other Subject
 Other  Subject :: CK
                   CK REISSUED
                      REISSUED
 Text: [04/20/2015 - ODGAARD, EDITH]CK # 30020188 WAS NEVER CASHED AND IS NOW BEYOND 6 MONTHS AND
 CONSIDERED STALE. REISSUING THE CHECK TODAY PER VENDOR REQUEST.

 06/19/2014 12:57 PM - CLAIM Note 24
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [06/19/2014 - DURLING, BARBARA]VENDOR PAYMENT RELEASED

 12/19/2011 12:59 PM - CLAIM Note 23
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Legal
 NoteSubject    Legal
 Other Subject
 Other  Subject :: LAWSUIT FILED
 Text: [12/19/2011 - ODGAARD, EDITH]CLAIMANT HAS FILED A LAWSUIT. PLEASE DIRECT ANY FURTHER INQUIRY ON THIS
 CLAIM TO THE LITIGATION MANAGER.

 06/15/2011 10:04 AM - CLAIM Note 22
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: OUT
                   OUT
 Text: [06/15/2011 - CARIGNAN, HEATHER]MAINTAIN DENIAL EFF 9/27/2008 NOT DISABLED FROM HER OWN OCCUPATION
 THROUGHOUT THE ELIM. PERIOD (9/27/08 -3/27/09). THE INFORMATION CONTAINED IN THE CLAIM FILE AND RECEIVED ON
 APPEAL DOES NOT ALTER THE PREVIOUS CLAIM DECISION. TWO PAPER CLAIM FILES RETURNED TO RE-FILE AREA.
 REMAINDER IS PAPERLESS. DETAILED LETTER SENT TO ATTY ZIMBERLIN TODAY VIA USPS. UTC NOTIFIED VIA GENERIC
 LETTER.[06/15/2011 - CARIGNAN, HEATHER]COPY OF THE 9/27/10 PEER REVIEW REPORT WAS SENT TOATTY ZIMBERLIN
 WITH THE APPEAL DECISION LETTER UPHOLDING THE DENIAL. ADVISED ATTY THAT WE WILL NOT AGREE TO HOLD THE
 APPEAL REVIEW OPEN FOR HER REVIEW OF THIS REPORT AS THE CLMT WAS PROVIDED 180 DAYS TO APPEAL AND THE
 RIGHT TO A COPY OF HER FILE IN THE 11/16/10 DENIAL LETTER, WITH THE APPEAL SUBMISSION AT NEAR THE
 EXHAUSTION OF THE 180 DAYS.

 05/13/2011 12:28 PM - CLAIM Note 21
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject : IN
 Text: [05/13/2011
 Text: [05/13/2011 - COOK, MARILYN]ASSIGNED TO HEATHER CARIGNAN

 05/13/2011 3:05
 05/13/2011  3:05 AM - CLAIM Note 20
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Appeals
                        Appeals
 Other Subject
 Other  Subject :: SCORE
                   SCORE REFERRAL
                           REFERRAL
 Text: 5/12/2011 - REFERRED TO APPEALS UNIT FOR CLAIM REVIEW AND DETERMINATION.

 05/12/2011 4:07 PM - CLAIM Note 19
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject : WLFD SHIPPED FILE
 Other
 Text: [05/12/2011 - NIEVES, JANICE]FILE SHIPPED TODAY VIA UPS GROUND TO THE DOVER OFFICE FOR ARU

 05/12/2011 2:27 PM - CLAIM Note 18
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX CONFIRMATION
 Text: [05/12/2011
 Text: [05/12/2011 - FURGALACK, MONIQUE]YOUR FAX HAS BEEN SUCCESSFULLY SENT TO WINONA ZIMBERLIN AT
 18602474194. RE: CLAIM: REDACTED- SPEARS - FAX: (860) 247-4194 ------------------------------------------------------------
 FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ------------------------------------------------------------
 TIME: 5/12/2011 2:16:41 PM SENT TO 18602474194 WITH REMOTE ID 8602474194 RESULT: (0/339;0/0)      (0/339;0/0) SUCCESSFUL
                                                                                                                  SUCCESSFUL SEND
                                                                                                                             SEND
 PAGE RECORD: 1 - 2 ELAPSED TIME: 00:34 ONCHANNEL 38

 05/12/2011 2:16 PM - CLAIM Note 17
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR
 NoteSubject    LTR to
                    to Atty
 Other Subject
 Other  Subject ::
 Text: [05/12/2011 - FURGALACK, MONIQUE]FAXED APPEAL ACKNOWLEDGEMENT LETTER TO ATTY WINONA ZIMBERLIN

 05/12/2011 2:11 PM - CLAIM Note 16
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:


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 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Appeals
                        Appeals
 Other Subject
 Other  Subject :: ARU
                   ARU
 Text: [05/12/2011 - FURGALACK, MONIQUE]REFERRED TO ARU FOR APPEAL REVIEW
 Text:

 05/12/2011 1:18 PM - CLAIM Note 15
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject : REFERRAL REVIEW
 Other
 Text: [05/12/2011 - MASSARO, TIFFANY]I AM IN AGREEMENT WITH THE RECOMMENDATION OF THIS CLAIM TO BE SENT TO
 APPEALS BY MONIQUE FURGALAK AS DOCUMENTED IN PRIOR CLAIM NOTE AND FOR THE RATIONALE SET FORTH
 THEREIN.

 05/12/2011 11:26 AM - CLAIM Note 14
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject : REFERRED FOR MGR RVW
 Text: [05/12/2011 - FURGALACK, MONIQUE]REFERRED FOR MGR REVIEW FOR REFERRAL TO ARU FOR LTD APPEAL
 REVIEW / APPEAL RECEIVED FROM ATTY WINONA ZIMBERLIN, APPEAL LETTER & ATTACHED ARTICLES/NEWSLETTER ON
 LYME DISEASE, SS FAVORABLE DECISION, RECORDS DATED 8/8/10- 4/29/11. LTD HAD BEEN DENIED FOR EP NOT MET &
 NOT MEETING DEFINITION OF DISABILITY AS PER APPEAL REVIEW ON STD, THE STD APPEAL DETERMINATION WAS AN
 UPHOLD BY THE APPEAL REVIEW UNIT FOR STD, STATING MEDICAL DID NOT SUPPORT IMPAIRMENT PRECLUDING
 RTWBEYOND 2/8/09 BASED ON TWO PEER MEDICAL REVIEWS CONDUCTED DURING THE APPEAL REVIEW PERIOD. THE ER
 REQUESTED STD BENEFITS ISSUED FOR 2/9/09 THROUGH REMAINDER OF STD PERIOD TO 3/27/09 FOR ASO ER ADMIN
 OVERRIDE.

 01/25/2011 3:55 PM - CLAIM Note 13
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject : OTHER
 Text: [01/25/2011 - JOHNSON, CHARLES]RECD AN EMAIL FROM DAVID DURGINS AT UTC ASKING IF THE CLMT HAS FILED AN
 APPEAL - RESPONDED TO HIM THAT THE CLAIM WAS CLOSED ON 11/16/2010 AND TO DATE NO ADDITIONAL INFORMATION
 OR APPEAL REQUEST HAS BEEN RECD - HOWEVER -SHE DOES HAVE 180 DAYS FROM 11/16/2010 TO FILE HER APPEAL

 11/16/2010 9:19 AM - CLAIM Note 12
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Other
 Other Subject : REFERRAL - DENIAL
 Other
 Text: [11/16/2010 - RUPE, BRIAN]STD CLAIM HAS BEEN REOPENED AND PAID THROUGH THE MAX BEN DATE BASED ON A ER
 OVERRIDE. ARU UPHELD THE INITIAL DECISION TO DENY BENEFITS BEYOND 2/8/09 ON THE STD CLAIM. BASED ON THIS
 INFORMATION WE ARE REISSUING THE LTD DENIAL LETTER TO RESTATE THE REASONS FOR DENIAL OF THE LTD CLAIM
 AND THAT THE DECISION TO REOPEN AND EXT THE STD CLAIM DOES NOT CHANGE THE DECISION ON THE LTD CLAIM.
 DCM TO SEND OUT THE REVISED LETTER TO THE EE

 02/09/2009 1:30
 02/09/2009  1:30 PMPM -- PHONE
                          PHONE Note 6
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                     Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [02/09/2009
 Text: [02/09/2009 -- FURGALACK, MONIQUE]CLMT RETURNED CALL - I ADVISED HER I HAVE REQUESTED HER PARTIAL PAY
 FROM ER-CARLOS
 FROM    ER-CARLOS DEL PORTAL FOR REVIEW OF HER PARTIAL STD THROUGH 2/8/09. CLMT STATED SHE LAST WORKED ON  ON
 2/2/09 AND ON 2/3/09 HAD A SPINAL TAP WITH ADR ZAGER, AND HAS BEEN HAVING ONGOING COMPLICATIONS, SO DR
 KAGE HER RHEUMATOLOGIST HAS TOLD HER SHE NEEDS TO REMAIN ON PART TIME STATUS LONGER THAN 2/8/09. SHE
 HAD SOME BLOODWORK/TESTING FOR HER SYMPTOMS. SHE HAS NOT WORKED SINCE 2/2/09 BUT HOPES TORTW AGAIN
 THIS WEEK, HER MOTHER IS DRIVING HER TO THE DR TODAY. CONFIRMED THAT THE STD WAS CLOSED AS OF 2/9/09 PER
 RELEASE FROM DR SILVER ON FILE, PART TIME AS OF 1/8/09 FOR ONE MONTH, THROUGH 2/8/09. ADVISED CLMT THAT TO
 REVIEW FOR STD/PARTIAL STDBEYOND 2/8/09, SHE WILL NEED TO SUBMIT ANY ADDTL MEDICAL RECORDS SHE WISHES
 TO SUPPORT HER STD CLAIM, AND WE WILL REFER FOR MEDICAL REVIEW WHEN RECD.  REC'D.

 02/09/2009 11:47 AM - PHONE Note 5
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [02/09/2009
 Text: [02/09/2009 - FURGALACK, MONIQUE]CALLED CLMT PER PRIOR PHONE NOTE #4 - CLMT STATED SHE WAS ON THE
 PHONE WITH HER DR AND WOULD HAVE TO CALL BACK

 02/09/2009 11:41 AM - CLAIM Note 11
 02/09/2009                       11
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject :: REQUEST TO ER
 Text: [02/09/2009
 Text: [02/09/2009 -- FURGALACK, MONIQUE]PER PRIOR CLAIM NOTE, CLMT CALLED AND REQUESTED WE OBTAIN HER PART
 TIME PAY INFO FROM ER - SENT REQUEST TO ER-CARLOS DEL PORTAL REQUESTING PART TIME PAY INFO FOR STD
                                                                                           OOW.
 CLAIM FOR PERIOD OF 1/8/09 - PRESENT, ALSO ASKED HIM TO CONFIRM LDW & 1ST DATE CLMT BACK 00W.

 02/09/2009 10:25
 02/09/2009  10:25 AMAM - PHONE Note 4
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: 00W
                   OOW AGAIN
 Text: [02/09/2009
 Tcvr• rn9inamna      SMITH RAADVDI
                      DRAITI-1 MARYELLEN]PER   EE Innen
                                     I DAIIDDD DD WK'D RArIAIrl 2/2/09 uftri
                                                        MOND 9/9/r10   HAD DDIAIAI
                                                                             SPINAL TAD
                                                                                    TAP AT DR ZAGAR'S
                                                                                        AT rID                  9P4in0 R.
                                                                                               7ArLIAD.0 OFFICE 2/3/09 & I-IAD
                                                                                                                          HAS


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 Text: [02/09/2009 - SMITH, MARYELLEN]PER EE WK D MOND 2/2/09--HAD SPINAL TAP AT DR. ZAGAR S OFFICE 2/3/09 & HAS
 BEEN OFF WK SINCE DUE TO COMPLICATION OF EXCRUCIATING HA'S--IS FLAT ON HER BACK & MAY NEED ANOTHER
 PROCEDURE***EE STATES ALSO SAW RHEUM DR. KAGELAST WK & HAS RESTRICTIONS FOR PART TIME HOURS ONLY***EE
 STATES HER PAY HAS BEEN INCORRECT---PAYROLL IS OUTSOURCED TO JAMAICA & STUB DOESN'T INDICATE # OF HOURS
 WK'D---EE REQ'D ADCM CONTACT BENEFITS REP TO GET STRAIGHTENED OUT***ADVSD EE WILL NOTIFYADCM OF
 SITUATION & HAVE ADCM RTN CALL--EE STATED CALL AT HOME FIRST 860-308-2050 -- IF NO ANSWER COULD BE AT AP'S
    CALL CELL
 SO CALL    CELL 860-930-0887
                 860-930-0887

 01/30/2009 1:25 PM - CLAIM Note 10
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject :: &
                   & NOTICE TO ER
 Text: [01/30/2009
 Text: [01/30/2009 - FURGALACK, MONIQUE]LTD EP NOT MET LETTER SENT TO CLMT // SENT EP NOT MET NOTICE TO ER-
 CARLOS DEL PORTAL.

 01/30/2009 12:51
 01/30/2009  12:51 PM
                   PM - CLAIM Note 9
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject : Other
 Other Subject : REFERRAL - DENIAL
 Other
 Text: [01/30/2009 - RUPE, BRIAN]MGR AGREES WITH THE CLOSURE OF THIS CLAIM FOR EP NOT MET AS THE EE HAS
 INDICATED THAT SHE IS RELEASED AND WILL BE RTW FULL TIME ON 2/9/08. THE DENIAL LETTER CAN BE SENT TO THE EE.

 01/29/2009 10:59
 01/29/2009  10:59 AM
                    AM -- CLAIM
                          CLAIM Note
                                Note 8
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject
 Other  Subject : MGR REVIEW
 Text: [01/29/2009 - FURGALACK, MONIQUE]REFERRED TO MGR FOR REVIEW - FULL TIME RTW 2/9/09 PRIOR TO LTD BEGIN
 DATE, EP NOT MET

 01/29/2009 10:59
 01/29/2009  10:59 AMAM -- PHONE
                           PHONE Note
                                 Note 3
                                      3
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [01/29/2009
 Text: [01/29/2009 -- FURGALACK, MONIQUE]CALLED CLMT WORK PH# 860-565-0242 - ADVISED MEDICAL REVIEW COMPLETED,
 PER MDS REVIEW ON THE STD CLAIM, MEDICAL SUPPORTS THE ONE MONTH OF PART TIME THROUGH 2/8/09, AND STD
 APPROVAL IS EXTENDED THROUGH 2/8/09 FOR PARTTIME, STD WILL CLOSE AS OF 2/9/09 FOR FULL TIME RTW. ADVISED
 CLMT THAT THE LTD CLAIM WILL BE DENIED FOR EP NOT MET AS HER FULL TIME RTW OCCURS PRIOR TO LTD BEGIN
 DATE, CLMT ASKED IF SHE NEEDS TO COMPLETE THE LTD FORMS AS SHE IS NOT SEEKING LTD, ADVISED CLMT SHE DOES
 NOT NEED TO COMPLETE THE LTD FORMS. CLMT STATED IN AGREEMENT AND THANKED FOR THE CALL.

 01/26/2009 8:44
 01/26/2009  8:44 AM - CLAIM Note 7
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: LTD COVERAGE
 Text: [01/26/2009
 Text: [01/26/2009 -- FURGALACK, MONIQUE]REC'D CONFIRMATION FROM ER/CARLOS DEL PORTAL THAT CLMT LTD
 COVERAGE IN EFFECT AT DOD WAS CLASS 2 60%. SYSTEM UPDATED.

 01/22/2009 1:04 PM - CLAIM Note 6
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject
 Other  Subject :: MDS
                   MDS
 Text: [01/22/2009 - FURGALACK, MONIQUE]FILE IS REFERRED TO MDS FOR MEDICAL REVIEW UNDER COMPANION STD
 CLAIM

 01/22/2009 1:04 PM - CLAIM Note 5
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Notice/Proof Review
 NoteSubject
 Other Subject : INITIAL LTD FORMS
 Other
 Text: [01/22/2009 - FURGALACK, MONIQUE]INITIAL LTD/N&P FORMS LETTER SENT TO CLMT, FORMS DUE 4/28/09

 01/22/2009 12:59 PM - CLAIM Note 4
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: NO
                   NO PRE-EXIST / SS
 Text: [01/22/2009 - FURGALACK, MONIQUE]THIS LTD POLICY DOES NOT HAVE A PRE-EXIST PROVISION / THIS LTD POLICY
 DOES NOT OFFSET FOR SS DEPENDENTS

                         CLAIM Note
 01/22/2009 12:58 PM - CLAIM   Note 3
                                    3
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: LTD
                   LTD COVERAGE INQUIRY
 Text: [01/22/2009 - FURGALACK, MONIQUE]*** 2 REQUESTS SENT TO ER/CARLOS DEL PORTAL, REQUESTING CONFIRMATION
 OF LTD COVERAGE IN EFFECT AT DOD, ELIGIBILITY SCREEN INDICATES CLASS 3, 66 2/3% AS OF 1/1/09, DOD
                                                                                               DOD OCCURRED
                                                                                                   OCCURRED IN
                                                                                                            IN
 2008. (SEE NOTES ON COMPANION STD CLAM
 2008.                                  CLAIM# REDACTED))***
                                                         ***

 01/22/2009 12:57 PM - PHONE Note 2
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:


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 NoteSubject :: EE
 NoteSubject    EE Called
                   Called
 Other Subject
 Other  Subject ::
 Text: [01/22/2009 - FURGALACK, MONIQUE]REC'D RETURN CALL FROM CLMT - ADVISED HER OF MEDICAL RECD
                                                                                             REC'D ON STD,
 FOR RECENT N&P THAT WAS SENT BY STD DCM AND FILE WILL BE REFERRED FOR MEDICAL REVIEW FOR REVIEW OF STD
 BEYOND 1/7/08, ADVISED CLMT INITIALLY WE WEREINFORMEDSHE COULD RTW FULL TIME ON 1/8/09 AND THEN NOTE
 CAME FROM DR SILVER INDICATING PART TIME AND WORK UP TO FULL TIME APPROX A MONTH - CLMT STATED THAT
 MEANS APPROX 2/8/09 BUT SHE WAS NOT SURE WHEN WOULD BE RTW FULL TIME - ASKED CLMT WHAT CHANGED FROM
 BEING ABLE TO RTW FULL TIME TO THE PART TIME STATUS, AS ER INDICATED SHE HAD DRS APPTS SO WOULD BE PART
 TIME - ADVISED CLMT THAT HAVING DR APPTS IS NOT A SOLE REASON FOR DISABILITY - CLMT STATED IT WAS DUE TO
 HER SYMPTOMS AND MEDICAL CONDITION THAT SHE WAS ADVISED TO BE PART TIME FOR NOW. SHE STATED THAT DR
 SILVERS IS THE DR PROVIDING RESTRICTIONS REGARDING DISABILITY STATUS, AND DID NOT KNOW WHY STD DCM
 REQUSTED MEDICAL FROM ALL HER OTHER DRS, BUT THEN STATED THAT SHE HAS A NEW DR, DR OBERSTEIN, PH# 860-
 547-1278 THAT SHE SAW FOR FOV ON 1/21/09, COULD NOT PROVIDE SPECIALTY OVER PHONE AS SHE IS AT WORK, & SHE
 STATED THIS DR INFO SHOULD BE PART OF THE REVIEW OF HER CLAIM. ADVISED CLMT I WILL CONTACT DR OBERSTEIN'S
 OFFICE FOR THEIRFAX # AND SEND REQ FOR THE 1/21 OV NOTES TO ADD TO HER STD FILE REVIEW WHEN RECD.
                                                                                                REC'D. CLMT
 ASKED HOW LONG SHE HAS ON N&P ON STD TO PROVIDE MEDICAL, ADVISED HER PER THE N&P LETTER SENT, UNTIL
 3/1/09. ADVISED CLMT OF REVIEW FOR LTD ALSO AND LETTER TO BESENT TO HER WITH LTD FORMS. ALSO ADVISED CLMT
 THAT DR KAGE'S OFFICE HAS STATED THEY NEED AUTH FROM HER IN ORDER TO RESPOND TO THE MED REQUEST SENT
 ON STD CLAIM - CLMT STATED SHE WILL PROVIDE AUTH TO THEM. SHE ALSO STATED THAT ALTHOUGH DR BAEHRING
 RESPONDED THAT THEY HAVE NOT SEEN HER SINCE 1/1/09 AND ARE NOT TX HER FOR A DISABILITY, SHE HAS UPCOMING
 OV WITH THEM.

                                  1
 01/22/2009 12:54 PM - PHONE Note 1
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [01/22/2009 - FURGALACK, MONIQUE]SEE NOTES ON COMPANION STD CLAIM : CALLED CLMT TODAY 1/22/09, WORK
 PH# 860-930-0887 - SHE STATED SHE WILL NEED TO CALL BACK, AND WILL PROVIDE INFO ON A NEW DR SHE NEEDS TO
                                                                                  REC'D FROM DR IS THAT SHE
 REPORT TO US *** WHEN CLMT RETURNS CALL, NEED TO CONFIRM ERTW FULL TIME, INFO RECD
 WAS RELEASED TO RTW PART TIME ON 1/8/09 WHICH ER CONFIRMED SHE DID, AND ERTW FULL TIME IN A MONTH FROM
 THAT DATE..NEED TO CONFIRM DATE OF FULL TIME RTW. ALSO REMIND FOR MED INFO STD DCM REQUESTED ON N&P
 FOR ONGOING REVIEW OF HER STD CLAIM.***

 01/22/2009 12:52 PM - CLAIM Note 2
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject
 Other Subject : RTW PART TIME
 Other
 Text: [01/22/2009
 Text: [01/22/2009 -- FURGALACK,
                      FURGALACK, MONIQUE]PER
                                 MONIQUE]PER NOTICE
                                             NOTICE ON
                                                    ON FILE
                                                       FILE FROM
                                                            FROM ER,
                                                                 ER, CLMT
                                                                     CLMT RTW
                                                                          RTW PART
                                                                              PART TIME
                                                                                   TIME ON
                                                                                        ON 1/8/09,
                                                                                           1/8/09, WITH
                                                                                                   WITH ERTW
                                                                                                        ERTW
 FULL TIME IN ONE MONTH

                                  1
 01/22/2009 12:51 PM - CLAIM Note 1
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject :: REQUEST TO ER
 Text: [01/22/2009 - FURGALACK, MONIQUE]2 REQUESTS SENT TO ER/CARLOS DEL PORTAL, REQUESTING CONFIRMATION
 OF LTD COVERAGE IN EFFECT AT DOD, ELIGIBILITY SCREEN INDICATES CLASS 3, 66 2/3% AS OF 1/1/09, DOD
                                                                                               DOD OCCURRED
                                                                                                   OCCURRED IN
                                                                                                            IN
 2008. (SEE NOTES ON COMPANION STD CLAIM# REDACTED)
 2008.




                                                                                                 Liberty002292
                                                                                                 Li berty002292

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Note Report
   Report
   Report        Clear
                 Clear     Print
                           Print       Help

AS Accom
AS Accom AS
         AS Event Add Note
            Event Add Note Appeal
                           Appeal Claim
                                  Claim Coord Claim Note
                                         oord Claim      Correspond Doc
                                                    Note Correspond Doc List
                                                                        List Employee
                                                                             Employee Leave
                                                                                      Leave Life
                                                                                            Life Claim
                                                                                                 Claim Lve
                                                                                                       Lve Addtl
                                                                                                           Addtl Info
                                                                                                                 Info
Lve Correspondence
Lve Correspondence Lve
                   Lve Program
                       Program Lve
                               Lve Work
                                   Work Sched
                                        Sched Medical
                                              Medical Medical
                                                      Medical History
                                                              History Note
                                                                      Note SPELL
                                                                           SPELL Letters
                                                                                 Letters Scheduled
                                                                                         Scheduled Pmt
                                                                                                   Pmt Task
                                                                                                       Task Print
                                                                                                            Print Task
                                                                                                                  Task Rpt
                                                                                                                       Rpt
Tasks
Tasks

    Claim                                                                                                           Sort Order
                                                                                                            Primary Sort Order            Sec
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  ** Claim/Event/Leave
     Claim/Event/Leave Number
                       Number      REDACTED                   Accommodation Number
                                                              Accommodation Number                              Note Type
                                                                                                                Note Type                 •
    Note type:
    Note type:                                                                                                  Note Number
                                                                                                                Note

                                                                                                            •   Note Date/Time
                                                                                                                Note Date/Time

                                                                                                                Accm. No.
                                                                                                                Accm. No.




                                1
 02/10/2016 3:12 PM - LIFE Note 1
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: COPY WORK
 Text: [02/10/2016 - BRETON, CINDY]EXPORTED DOC LIST, CORRESPONDENCE AND DOC FROM ARC NW ONTO THUMB
 DRIVE..MAILED 0/N  O/N TO MCN
                           MCN

 03/10/2011 10:02 AM - CLAIM Note 112
 03/10/2011
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [03/10/2011 - KRUCZEK, KATHLEEN]RECEIVED INVOICE FROM CM. VENDOR PAYMENT ISSUED TODAY TO MCMC, PO
 BOX 809302,
 BOX   809302, CHICAGO,
                CHICAGO, IL
                         IL 60680-9302
                            60680-9302 FORA
                                       FOR A PEER REVIEW-INVOICE # 65570-11/3/10 FOR $ 2,208.75. INVOICE IN DOC LIST.

 11/11/2010 2:22 PM - CLAIM Note 111
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject : FED TAX - ADDRESS
 Text: [11/11/2010 - FURGALACK, MONIQUE]REC'D FAX FROM CLMT CONFIRMING CURRENT MAILING ADDRESS FOR STD
 CHECK: 1008 TROUTBROOK DRIVE WEST HARTFORD CT 06119, & REQ $20.00 PER WEEK FED TAX.

 11/09/2010 2:10 PM - CLAIM Note 110
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX CONFIRMATION
 Text: [11/09/2010
       [11/09/2010 - FURGALACK, MONIQUE]YOUR FAX HAS BEEN SUCCESSFULLY SENT TO HALEY SPEARS AT 18606465807.
                                 FAX: (860)
 RE: CLAIM: REDACTED- SPEARS - FAX:   (860) 646-5807
                                            646-5807 ------------------------------------------------------------
 FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ------------------------------------------------------------
 TIME: 11/9/2010 1:57:36 PM SENT TO 18606465807 WITH REMOTEREMOTE ID     ID 8606465807
                                                                            8606465807 RESULT:RESULT: (0/339;0/0)
                                                                                                            (0/339;0/0) SUCCESSFUL
                                                                                                                        SUCCESSFUL SEND
                                                                                                                                   SEND
 PAGE RECORD: 1 - 3 ELAPSED TIME: 00:52 ON CHANNEL 13

                                 109
 11/09/2010 1:57 PM - CLAIM Note 109
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : FAX TAX FORM
 Text: [11/09/2010 - FURGALACK, MONIQUE]PER CLMT REQ, FAXED TAX FORM TO ATTN OF HER MOTHER CHRIS, FAX # 860-
 646-5807. REQ THAT CLMT FWD ANY AMT OF FED /STATE TAX SHE WISHES WITH HELD AND WILL APPLY TO PROCESS THE
 STD PAYMENT - REQ THAT CLMT ALSO PROVIDE CURRENT MAILING ADDRESS FOR HER STD PAYMENT

                             Note 108
 11/08/2010 11:33 AM - CLAIM Note 108
 Claim/Event/Leave: REDACTED
 NoteSubject :: Reopen
 NoteSubject    Reopen
 Other Subject
 Other  Subject : MANAGER REVIEW
 Text: [11/08/2010 - POURESHMENANTALEMY, RAMINE]AGREE WITH THE RECOMMENDATION PUT FORTH BY MONIQUE. RP

 11/04/2010 7:57 AM - CLAIM Note 107
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject
 Other  Subject : MGR REVIEW
 Text: [11/04/2010 - FURGALACK, MONIQUE]REFERRED TO MGR FOR REVIEW - CORRESPONDENCE IN DOC LIST FROM ARU --
 ER SENT CONFIRMATION TO ARU STATING ER REQUESTS OVERRIDE OF THEIR STD APPEAL DETERMINATION AND REQ
 THAT STD BE REOPENED AND ISSUE REMAINDER OF STD BENEFITS.

 11/03/2010 3:44 PM - PHONE Note 47
 Claim/Event/Leave: REDACTED

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 Claim/Event/Leave: REDACTED
 Lold1111/CVelll/LedVe:
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: QUESTS
                   QUESTS ON
                           ON CLM
                              CLM
 Text: [11/03/2010 - SMITH, MARYELLEN]EE CALLED RE: LTR RECVD ADVSING CLM BEING REOPENED***EE HAD QUESTIONS
         DATES/PAY/TIMEFRAMES/TAXES***EE STATES WANTS TAXES TAKEN OUT OF ANY BENEFIT PAYMENTS---IF NEEDS
 AS TO DATES/PAYTTIMEFRAMES/TAXES***EE
 TO COMPLETE FORM TO HAVE TAXES W/H--IT CAN BE FAXED TO 860-646-5807 ATTN: CHRIS B(EE'S MOTHER)***ADVSD EE
 WILL HAVE ADCM CALL HER TOMORROW--EE PROVIDED CONTACT # AS 860-308-2050--PER EE BEST TIME TO CALL IS IN
 P.M.[11/03/2010 - SMITH, MARYELLEN]EMAIL TO ADCM

                10:31 AM
 10/18/2010 10:31     AM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15356022
              15356022
 Service Date:
 Service   Date: 10/18/2010
                  10/18/2010
 Activity: PHONE CONTACT, CLAIMS
                             CONTACT, ,
 Contact Information: NO CONTACT„
 Note Type: ACTION PLAN DESCRIPTION
 Text: NO FURTHER NCM ACTIVITY INDICATED. REMOVE FROM ASSIGNMENT.

 10/18/2010 10:31 AM - MDS Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:#: 15356022
              15356022
 Service Date:
 Service   Date: 10/18/2010
                 10/18/2010
 Activity: PHONE CONTACT, CLAIMS
 Contact Information: NO CONTACT„
 Contact                   CONTACT, ,
 Note Type: INFORMATION OBTAINED DESC
 Text: DISCUSSED PEER REVIEW WITH ARC C. JOHNSON. DISCUSSED THAT PEER REVIEWER STATES NO R&LS FROM AN
 INFECTIOUS DISEASE PERSPECTIVE. FURTHER DISCUSSED THAT THIS PROVIDER IS ALSO BOARD CERTIFIED IN IM AND
 ALTHOUGH MENTIONED ADDITIONAL DIAGNOSES, HE DID NOT STATE THERE ARE ANY R&LS FOR THESE CONDITIONS.

 10/15/2010 4:06
 10/15/2010     4:06 PM
                     PM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15355686
              15355686
 Service Date:
 Service   Date: 10/15/2010
                  10/15/2010
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information: NO CONTACT„
 Contact                    CONTACT, ,
 Note Type: ACTION PLAN DESCRIPTION
 Text: UPDATE ARC.

 10/15/2010 4:06
 10/15/2010     4:06 PM
                     PM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15355686
              15355686
 Service Date:
 Service   Date: 10/15/2010
                  10/15/2010
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information: NO CONTACT„
 Contact                    CONTACT, ,
 Note Type: INFORMATION OBTAINED DESC
 Text: PEER REPORT RECD AND REVIEWED. PEER REVIEWER DR. JOHN BRUSCH [BOARD CERTIFIED INTERNAL MEDICINE,
 GERIATRIC MEDICINE AND INFECTIOUS DISEASE) OPINED IN HIS REPORT OF 9/27/10 THAT MANY DISEASES HAVE BEEN
 INVOLVED TO EXPLAIN THE CLMNTS CLINICAL PICTURE BUTTHERE ARE VERY FEW SUBSTANTIATED CLINICALLY. AMONG
 THESE ARE PEPTIC ULCER DISEASE, HASHIMOTO S THYROIDITIS, AUTOIMMUNE DISORDERS, MIGRAINE HEADACHES,
 ASTHMA AND IRRITABLE BOWEL SYNDROME. FROM AN INFECTIOUS DISEASE EVALUATION, THE CLAIMANT DOES NOT
 HAVEANY RESTRICTIONS AND LIMITATIONS TO HER ACTIVITY FROM 02/08/2009 FORWARD. THE TREATMENT OF HER
 PURPORTED INFECTIOUS DISEASES, INCLUDING LYME DISEASE, DOES NOT MEET STANDARDS OF CARE. REGARDING
 QUALIFICATIONS OF DR. RAXLAN DR. BRUSCH OPINES THAT HE IS TRAINED PRIMARILY AS A PSYCHIATRIST. HE DOES NOT
 HAVE ANY FORMAL INFECTIOUS DISEASE ID TRAINING AND IS NOT ID BOARD-CERTIFIED. BASED ON HIS SUBMITTED
 DOCUMENTATION, HIS PRACTICE PATTERN OF THE DIAGNOSIS AND MANAGEMENT OF LYME DISEASE DOES NOT ADHERE
 TOTHE GUIDELINES ESTABLISHED BY THE INFECTIOUS DISEASES SOCIETY OF AMERICA. THE BEST PHYSICIAN TO
 MANAGE LYME DISEASE IS A BOARD-CERTIFIED INFECTIOUS DISEASE PHYSICIAN. HE FURTHER NOTES THE CLAIMANT
                                               OF 02/08/2009.
 DOES HAVE A SUSTAINABLE FULL TIME CAPACITY AS OF 02/08/2009.

 10/14/2010 1:43 PM - MDSMDS Note
                             Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15355028
              15355028
 Service Date:
 Service   Date: 10/14/2010
 Activity: PHONE CONTACT, VENDOR
 Contact Information: VENDOR, , MCMC
 Contact
 Note Type: ACTION PLAN DESCRIPTION
                               10/15/10.
 Text: WILL F/U FOR REPORT 10/15/10.


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 10/14/2010 1:43 PM - MDSMDS Note
                             Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15355028
              15355028
 Service Date:
 Service   Date: 10/14/2010
 Activity: PHONE CONTACT, VENDOR
 Contact Information: VENDOR, , MCMC
 Contact
 Note Type: INFORMATION OBTAINED DESC
 Text: VENDOR CONTACT PAULA CALLED AND ADVISED THE REVIEW HAS BEEN COMPLETED, HOWEVER DUE TO
 TECHNICALLY ISSUES THE COMPLETED WRITTEN REPORT WILL NOT BE AVAILABLE UNTIL TOMORROW.

                10:31 AM
 10/04/2010 10:31     AM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15349575
              15349575
 Service Date: 10/04/2010
                  10/04/2010
 Activity: COORD SERVICES, PEER REVIEW
 Contact Information: VENDOR, , MCMC
 Contact
 Note Type: ACTION PLAN DESCRIPTION
 Text: F/U FOR FINAL REPORT 10/18/10.

                10:31 AM
 10/04/2010 10:31     AM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15349575
              15349575
 Service Date:
 Service   Date: 10/04/2010
                  10/04/2010
 Activity: COORD SERVICES, PEER REVIEW
 Contact Information: VENDOR, , MCMC
 Contact
 Note Type: INFORMATION
               INFORMATION OBTAINED DESC
 Text: VENDOR CONFIRMATION RECD.

 09/28/2010 4:18
 09/28/2010  4:18 AMAM - CLAIM Note 106
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 9/27/2010 - REFERRED TO MCMC, LLC FOR PEER REVIEW.

                12:39 PM
 09/27/2010 12:39     PM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15346258
              15346258
 Service Date:
 Service   Date: 09/27/2010
                  09/27/2010
 Activity: COORD SERVICES, PEER REVIEW
 Contact Information: VENDOR, , MCMC
 Contact
 Note Type: ACTION PLAN DESCRIPTION
 Text: F/U FOR VENDOR CONFIRMATION.

                12:39 PM
 09/27/2010 12:39     PM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15346258
              15346258
 Service Date:
 Service   Date: 09/27/2010
                  09/27/2010
 Activity: COORD SERVICES, PEER REVIEW
 Contact Information: VENDOR, , MCMC
 Contact
 Note Type: INFORMATION OBTAINED DESC
 Text: FILE REFERRED TO VENDOR MCMC. SPOKE WITH CONTACT JODI REGARDING REFERRAL FOR INFECTIOUS DISEASE
 FOR THE DIAGNOSIS OF LYME DISEASE. FILE PREPARED AND GIVEN TO SUPPORT FOR COPY AND MAILING.

 09/24/2010 11:01 AM - MDS Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 4
               4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service   #: 15345557
              15345557
 Service Date:
 Service   Date: 09/24/2010
                 09/24/2010
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information:
 Contact   Information: NO
                        NO CONTACT, MONIQUE, FURGALACK
 Note Type: ACTION PLAN DESCRIPTION
 Text: DISCUSS WITH ARC AND REFER FILE FOR PEER REVIEW.

 09/24/2010 11:01 AM - MDS Note
 Claim/Leave: REDACTED
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 Claim/Leave:
 VIC.1111/1-GGIVG.
                   REDACTED

 Episode #:
 Episode      #: 4
                 4
 Nurse Name: SCARPONI, TAMMY
 Nurse
 Service #:
 Service     #: 15345557
                15345557
 Service Date:
 Service     Date: 09/24/2010
                   09/24/2010
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information:
 Contact     Information: NO
                          NO CONTACT, MONIQUE, FURGALACK
 Note Type: INFORMATION OBTAINED DESC
 Text: THE CLMNT HAS BEEN TREATING SINCE 2008 FOR MULTIPLE COMPLAINTS, BUT A PRIMARY DIAGNOSIS OF LYME
 DISEASE. SHE HAS BEEN SEEN BY MULTIPLE SPECIALTY PROVIDERS THROUGHOUT TREATMENT INCLUDING GI,
 NEUROLOGY, RHEUMATOLOGY, NATUROPATH, CARDIOLOGY, AND DR. RAXLENWHO IS A PSYCHIATRIST, BUT NOTES
 INDICATE HE IS A LYME SPECIALIST. THE CLMNT AND PROVIDERS CONTINUE TO INDICATE THE CLMNT HAS THE INABILITY
 TO PERFORM IN AN OCCUPATIONAL SETTING. MULTIPLE PEER REVIEWS HAVE BEEN COMPLETED FROM NEUROLOGY,
 INTERNAL MEDICINE AND INTERNAL MEDICINE WITH INFECTIOUS DISEASE SPECIALTY. PEER REVIEWS HAVE CONTINUED
 TO INDICATE THE CLMNT DOES NOT HAVE A SUPPORTED DIAGNOSIS OF LYME DISEASE. PROVIDER CONTACT HAS BEEN
 MADE WITH MULTIPLE SPECIALISTS, HOWEVER DR. RAXLEN HAS NOT RETURNED PHONE CONTACT DESPITE MULTIPLE
 ATTEMPTS. IT HAS BEEN NOTED THAT TREATMENT HAS NOT BEEN CONSISTENT WITH THE STANDARD OF CARE. THE
 CLMNT HAS REPORTEDLY NOT IMPROVED DESPITE ONGOING TREATMENT WITH MULTIPLE SPECIALISTS. GIVEN THE
 COMPLEXITY OF THIS FILE, RECOMMEND FURTHER REVIEW.

 09/21/2010 2:51 PM - CLAIM Note 105
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [09/21/2010 - JOHNSON, CHARLES]REVIEWING
                              CHARLES]REVIEWING THE INFORMATION THAT WAS RECD FROM THE ATTY - SENT FILE TO
 MDS FOR A MEDICAL REVIEW

 09/08/2010 2:41 PM - CLAIM Note 104
 09/08/2010
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [09/08/2010
 Text: [09/08/2010 -- JOHNSON, CHARLES]WE RECD A LARGE PACKET OF INFORMATION FROM THE ATTY - CURRENTLY IN THE
 PROCESS OF REVIEWING THOSE RECORDS AND DETERMINING ACTION PLAN...

 05/13/2010 4:13 PM - CLAIM Note 103
 Claim/Event/Leave: REDACTED
 NoteSubject : Appeal
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [05/13/2010 - JOHNSON, CHARLES]COMPLETED ADDITIONAL APPEAL REVIEW - THE INFORMATION IN THE FILE DOES
 NOT SUPPORT ONGOING IMPAIRMENTS - MAINTAIN DENIAL

 04/26/2010 8:28
 04/26/2010     8:28 AM
                     AM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 3
               3
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #: 15274449
 Service
 Service Date:
 Service   Date: 04/26/2010
                  04/26/2010
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information:
 Contact   Information: OTHER, CHUCK, JOHNSON
 Note Type: ACTION PLAN DESCRIPTION
 Text: REMOVE FILE FROM MDS QUEUE.  QUEUE.

 04/26/2010 8:28
 04/26/2010     8:28 AM
                     AM -- MDS
                           MDS Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 3
               3
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #: 15274449
 Service
 Service Date:
 Service   Date: 04/26/2010
                  04/26/2010
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information:
 Contact   Information: OTHER, CHUCK, JOHNSON
 Note Type: INFORMATION OBTAINED DESC
 Text: RECEIVED UPDATED REPORT FROM PEER REVIEWER SILVERMAN MD. ARC INDICATES NO FURTHER NCM ACTIVITY
 REQUIRED AT THIS TIME.

 04/01/2010 4:23 AM - CLAIM Note 102
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject : SCORE REFERRAL
 Text: 3/31/2010 - REFERRED TO CONSULTING PHYSICIAN FOR CLAIM CONSULT - MEETING ATTENDANCE ONLY.

 03/31/2010 11:12 AM - MDS Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 3
               3
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:
 Service   #: 15262090
              15262090
 Service Date:
 Service   Date: 03/31/2010
                 03/31/2010
 Activity: PHONE CONTACT, CLAIMS


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 Contact Information:
 Contact Information: OTHER, CHUCK, JOHNSON
 Note Type: INFORMATION OBTAINED DESC
 Text: DISCUSSED NEWLY RECEIVED DOCUMENTS W/ ARC TO FORMULATE ACTION PLAN: DOCUMENTS WILL BE
 FORWARDED TO PEER REVIEWER DR. SILVERMAN FOR COMMENT. ADDITIONALLY, WILL REQUEST HE SEND A LETTER TO
 DR. RAXLEN LISTING THE DATES/TIMES CONTACT WAS ATTEMPTED AND INVITING DR. RAXLEN TO PROVIDE INPUT
 REGARDING MEDICALLY SUPPORTED R/LS. WILL REQUEST DR. SILVERMAN ATTEMPT TO SPEAK WITH RHEUMATOLOGIST
 DR. KAGE; IF THIS IS UNSUCCESSFUL WILL REQUEST THE SAME LETTER BE SENT TO HER. NCM SPOKE WITH ELAINE
 CHATLIN AT VENDOR MLS TO DISCUSS. RECORDS FAXED TO HER AT 11:10 AM.

 03/31/2010 10:13
 03/31/2010  10:13 AM - CLAIM Note 101
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: CALL TO EE
 Text: [03/31/2010 - JOHNSON, CHARLES]PLACED A CALL TO THE EMPLOYEE - LEFT HER A MESSAGE - WE HAVE NOT RECD
 Text:
 THE ADDITIONAL PACKET OF INFORMATION SHE STATED WAS FORTHCOMING...WE WILL BE PROCEEDING WITH OUR NEXT
 REVIEW STEPS

 03/09/2010 12:30
 03/09/2010  12:30 PMPM -- CLAIM Note 100
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: SPOKE WITH ER
 Text: [03/09/2010
       [03/09/2010 - JOHNSON, CHARLES]SPOKE WITH DAVE DURGINS - 860-728-6523 - DISCUSSED THE CURRENT STATUS OF
 THE APPEAL - DEADLINE FOR ADDITIONAL INFORMATION FROM THE CLMT IS 3/19/10...WE DID RECEIVE A RESPONSE FROM
 THE CT ATTORNEY GENERAL - NO NEW MEDICAL INFORMATION WAS INCLUDED - I WILL TOUCH BASE WITH THE PERSON
 WHO IS IN CHARGE OF RESPONDING TO THOSE COMPLAINTS AND WE WILL HAVE A STRATEGY FOR THE NEXT STEP WITH
 THIS CLAIM - IF THERE IS ADDITIONAL INFORMATION RECD BY 3/19 AND IF THERE IS NOT...

 02/11/2010 3:33
 02/11/2010  3:33 PMPM -- CLAIM
                          CLAIM Note
                                Note 99
                                     99
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: OTHER
 Text: [02/11/2010 - JOHNSON, CHARLES]AS
                                 CHARLES]AS AGREED UPON WITH THE EMPLOYER - SENT CLMT A COPY OF HER FILE TODAY -
 PER VOICEMAIL FROM DIANE SCHILLINGER - SHE IS STAYING WITH HER FATHER, PLEASE MAIL THE FILE THERE...SENT
 FILE TO 635 RADCLIFF STREET FREEPORT LA 71104...CLMT'S CELL PHONE NUMBER IS 860-930-0887...FILE SENT 2ND DAY
 AIR TO
 AIR TO THIS
         THIS ADDRESS
                ADDRESS -- PROVIDED
                             PROVIDED HER
                                        HER UNTIL
                                            UNTIL MARCH
                                                  MARCH 19,
                                                        19, 2010
                                                            2010 TO
                                                                 TO SUBMIT
                                                                    SUBMIT RECORDS...
                                                                           RECORDS...

 02/11/2010 3:31 PM PM -- CLAIM
                          CLAIM Note
                                Note 98
                                     98
 Claim/Event/Leave: REDACTED
 NoteSubject : Appeal
 Other Subject
 Other  Subject :: SPOKE WITH ER
 Text: [02/11/2010 - JOHNSON, CHARLES]LATE ENTRY - CONVERSATION WITH DAVID DURGIN - 860-728-6523 - DISCUSSED
 THE STATUS OF THE APPEAL - THAT THE DECISION TO MAINTAIN THE DENIAL WAS MADE...THE CLMT IS STATING THAT
 SHE CONTINUES TO HAVE MULTIPLE PROBLEMS...WEAGREED THAT WE WOULD SEND THE CLMT ANOTHER COMPLETE
 COPY OF HER FILE AND PROVIDE HER WITH AN ADDITIONAL 30 DAYS TO SUBMIT ANY AND ALL ADDITIONAL MEDICAL
 RECORDS TO BE CONSIDERED WITH HER APPEAL...WE WILL CONDUCT ANOTHER REVIEW IF AND WHEN INFORMATION
 COMES IN...IF NOTHING RECD - CLAIM TO REMAIN CLOSED

 01/29/2010 2:40 PM - CLAIM Note 97
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject : CALL WITH ER
 Text: [01/29/2010 - JOHNSON, CHARLES]SPOKE WITH DIANE SCHILLINGER AT THE EMPLOYER - 860-565-8019...HAD
 QUESTIONS ABOUT THE STATUS AND IF THE CLMT WISHED TO TAKE ADDITIONAL STEPS...THE CLAIM WAS REVIEWED BY A
 PHYSICIAN PRIOR TO DENIAL AND ANOTHER MD ON APPEAL...THE APPEAL PHYSICIAN PEER REVIEWER MADE THE
 STANDARD 3 CALLS TO THE PCP AND THEN 3 ADDITIONAL CALLS IN AN ATTEMPT TO SPEAK WITH HIM - HOWEVER - NO
 RETURN CALLS WERE RECD...BASED ON THE RECORDS IN THE FILE - IMPAIRMENT WAS NOT SUPPORTED...INFORMED
 HER WE TYPICALLY PROVIDE ONE LEVEL OF APPEAL REVIEW...
                                                  REVIEW...ANYTHING
                                                            NYTHING AFTER THAT CAN BE LOOKED AT ON AN
               BASIS...
 INDIVIDUAL BASIS...

 01/29/2010 12:50 PM PM -- CLAIM
                           CLAIM Note
                                 Note 96
                                      96
 Claim/Event/Leave: REDACTED
 NoteSubject : Appeal
 Other Subject
 Other  Subject :: OUT
                   OUT
 Text: [01/29/2010 - JOHNSON, CHARLES]MAINTAIN DENIAL - FILE SENT TO CLOSED

 01/29/2010 12:50 PM - CLAIM Note 95
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [01/29/2010 - JOHNSON, CHARLES]COMPLETED APPEAL REVIEW - THE INFORMATION IN THE FILE DOES NOT SUPPORT
 ONGOING IMPAIRMENTS...PROVIDED THE CLMT'S PCP ADDITIONAL TIME TO RETURN THE CALL TO THE PEER REVIEWER,
 TO DATE - NO RETURN CALL HAS BEEN MADE...MAINTAIN DENIAL

 12/17/2009 2:40 PM - CLAIM Note 94
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject     Appeal
 Other  Subject :• (AI
 flthar Siihiart   CALL  FROM FP
                       I FRCIM EE


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 Other Subject : CALL FROM EE
 Text: [12/17/2009 - JOHNSON, CHARLES]SPOKE WITH THE CLMT ABOUT THE CURRENT STATUS OF THE PEER REVIEWER
 AND HER PCP - BASED ON WHAT INFORMATION I HAVE - IT APPEARS THE PEER REVIEWER MADE ANOTHER ATTEMPT ON
 12-14 AND DR. RAXLEN'S OFFICE STATED THEY WOULD CALL HIM BACK AT THE END OF THE DAY...APPEARS THE PEER
 REVIEWER IS DRAFTING AN ADDENDUM...CLMT IS BECOMING VERY FRUSTRATED WITH THE PROCESS AND THE LENGTH
 OF TIME IT HAS TAKEN...I ASSURED HER THAT WE ARE DOING EVERYTHING WE CAN TO GET A DECISION AS QUICK AS
 POSSIBLE...

 12/04/2009 1:49 PM PM -- CLAIM
                          CLAIM Note
                                Note 93
                                     93
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: CALL TO EE
 Text: [12/04/2009 - JOHNSON, CHARLES]SPOKE WITH THE CLMT AND GAVE HER AN UPDATE ON THE PHYSICIAN REPORT -
 DR. RAXLEN ATTEMPTED TO CALL THE PEER REVIEWER AND WAS TOLD THAT HE WAS TOO BUSY AND HE WOULD HAVE
 TO CALL BACK...TOLD HER THAT WE WOULD REQUEST THE VENDOR TO STEP IN AND SET UP A TIME FOR THE
 TELECONFERENCE SO THEY CAN SPEAK ABOUT HER CLAIM...

                                 92
 11/24/2009 3:34 PM - CLAIM Note 92
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: CALL FROM EE
 Text: [11/24/2009 - JOHNSON, CHARLES]RECD A VOICEMAIL FROM THE CLMT - RETURNED HER CALL - NO ANSWER - LEFT
 HER A MESSAGE - AS OF NOW WE DO NOT HAVE ANY INFORMATION ABOUT A CONVERSATION BETWEEN HER PCP AND
 THE PEER REVIEWER...ONCE THE CONVERSATION TAKES PLACE, IT STILL HAS TO GO THRU DICTATION AT THE VENDOR -
 SO IT CAN TAKE UP TO 3-5 DAYS FOLLOWING THE CONVERSATION TO GET TO ME...
 SO

 11/23/2009 3:45 PM - CLAIM Note 91
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: CALL TO EE
 Text: [11/23/2009 - JOHNSON, CHARLES]PLACED A CALL TO THE CLMT - THE PEER REVIEWER MADE 3 ATTEMPTS TO REACH
 DR. RAXLEN AND LEFT MESSAGES, BUT DID NOT RECEIVE A RETURN CALL...SHE SAID SHE WILL CONTACT THEM AND ASK
 HIM TO CALL DR. SILVERMAN...

 11/23/2009 3:32
 11/23/2009     3:32 PM
                     PM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 2
               2
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:#: 15208712
 Service Date:
 Service   Date: 11/23/2009
                  11/23/2009
 Activity: INPERSON CONTCT, CLAIMS
 Contact Information: CLAIMS, CHARLES, JOHNSON
 Contact
 Note Type: ACTION PLAN DESCRIPTION
 Text: REMOVE FILE FROM MDS QUEUE.  QUEUE.

 11/23/2009 3:32
 11/23/2009     3:32 PM
                     PM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 2
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:
 Service   #: 15208712
 Service Date:
 Service   Date: 11/23/2009
                  11/23/2009
 Activity: INPERSON CONTCT, CLAIMS
 Contact Information: CLAIMS, CHARLES, JOHNSON
 Contact
 Note Type: INFORMATION OBTAINED DESC
 Text: DISCUSSED PEER REVIEW W/ ARC. NO FURTHER NCM ACTIVITY REQUIRED AT THIS TIME.

 11/23/2009 3:05 PM - MDS Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 2
               2
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:#: 15208676
 Service Date:
 Service   Date: 11/23/2009
                 11/23/2009
 Activity: NURSE REVIEW, MEDICAL RECORDS REVIEW
 Contact Information: NO CONTACT„
 Contact                   CONTACT, ,
 Note Type: ACTION PLAN DESCRIPTION
       DISCUSS W/
 Text: DISCUSS     W/ ARC.
                      ARC.

 11/23/2009 3:05
 11/23/2009     3:05 PM
                     PM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 2
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:
 Service   #: 15208676
              15208676
 Service Date:
 Service   Date: 11/23/2009
                  11/23/2009
 Activity: NURSE REVIEW, MEDICAL RECORDS REVIEW
 Contact Information: NO CONTACT„
 Contact                    CONTACT, ,
 Note Type: INFORMATION OBTAINED DESC
 Text: RECEIVED AND REVIEWED PEER REVIEW BY ID DR. SILVERMAN. R/LS ARE NOT SUPPORTED. REPORT IN DOC LIST.


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 11/06/2009 3:15 PM - CLAIM Note 90
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: CALL FROM EE
 Text: [11/06/2009 - JOHNSON, CHARLES]SPOKE WITH THE CLMT - PROVIDED HER AN UPDATE OF THE STATUS OF HER
 APPEAL AND THE PROCESS WE ARE GOING THROUGH...SHE ASKED THAT IF WE HAVE A HARD TIME HAVING THE PEER
 REVIEWER CONTACT HER PCP TO LET HER KNOW BEFORE MAKING A DECISION

 10/30/2009 4:07
 10/30/2009  4:07 AMAM -- CLAIM
                          CLAIM Note
                                Note 89
                                     89
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 10/29/2009 - REFERRED TO MEDICOLEGAL SERVICES FOR PEER REVIEW.

 10/29/2009 1:10
 10/29/2009  1:10 PM
                  PM -- CLAIM
                        CLAIM Note
                              Note 88
                                   88
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject : ID PEER REVIEW REF
 Other
 Text: [10/29/2009             JENNIFER]DOES THE RECORD SUPPORT THE PRESENCE OF LYME DISEASE OR ANY OTHER
       [10/29/2009 - SULLIVAN, JENNIFER]DOES
 INFECTIOUS PROCESS? IS THE TREATMENT WITHIN THE STANDARD OF CARE? IS THE DIAGNOSIS AND TREATMENT OF
 LATE STAGE LYME DISEASE WITHIN THE AREA OF EXPERTISE OF A PHYSICIAN TRAINED IN PSYCHIATRY? IS THERE
 EVIDENCE OF IMPAIRMENT FROM 2/8/09 TO THE PRESENT? IF SO, PLEASE INDICATE SUPPORTED RESTRICTIONS AND
 LIMITATIONS AS WELL AS THEIR DURATION.

 10/29/2009 12:32 PM - MDS Note
 10/29/2009
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 2
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:
 Service   #: 15198208
              15198208
 Service Date:
 Service   Date: 10/29/2009
                 10/29/2009
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information: NO CONTACT„
 Contact                   CONTACT, ,
 Note Type: ACTION PLAN DESCRIPTION
 Text: NCM TO REFER FILE FOR ID PEER REVIEW.

 10/29/2009 12:32 PM - MDS Note
 10/29/2009
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 2
               2
 Nurse Name: SULLIVAN, JENNIFER
 Nurse
 Service #:
 Service   #: 15198208
              15198208
 Service Date: 10/29/2009
                 10/29/2009
 Activity: NURSE REVIEW, FILE REVIEW
 Contact Information: NO CONTACT„
 Contact                   CONTACT, ,
 Note Type: INFORMATION OBTAINED DESC
 Text: REVIEWED NOTES 2/9/09-10/6/09
                            2/9/09-10/6/09 AS WELL AS CP REVIEWS BY DR. POTTS [NEUROLOGY) AND DR. TAIWO
 [OCCUPATIONAL MEDICINE). ON APPEAL THE CLMT HAS SUBMITTED LETTER BY MULTIPLE PROVIDERS ATTESTING TO HER
 INABILITY TO RTW DUE TO SYSTEMIC LYME DISEASE. THE PROVIDER WHO IS THE PRIMARY PHYSICIAN FOR THIS
 DIAGNOSIS, DR. RAXLEN [PSYCHIATRY) INDICATES THAT THE CLMT HAS BEEN TREATED FOR THIS DIAGNOSIS SINCE 4/09
 AND IS CURRENTLY RECEIVING IV ANTIBIOTICS FOR A MINIMUM OF THREE MONTHS. NOTES BY THE CLMTS
 NEUROLOGIST, RHEUMATOLOGIST, AND NATUROPATH REITERATE THE CLMTS INABILITY TO RTW DUE TO HER MULTIPLE
 SYMPTOMS. THERE IS NO NEW CLINICAL INFORMATION TO CONTRADICT THE OPINIONS OF DRS. POTTS AND TAIWO. THE
 CLMTS TREATING PROVIDER FOR LYME DISEASE IS A PSYCHIATRIST WHICHWOULD APPEAR TO BE OUTSIDE THE AREA
 OF EXPERTISE FOR THIS SPECIALTY. RECOMMEND AN INFECTIOUS DISEASE PEER REVIEW TO CLARIFY WHETHER THIS
 DIAGNOSIS IS SUPPORTED AND WHETHER R/LS ARE WARRANTED.

 10/28/2009 9:08
 10/28/2009  9:08 AMAM -- CLAIM Note 87
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [10/28/2009 - JOHNSON, CHARLES]REVIEWING
                                 CHARLES]REVIEWING THE INFORMATION CONTAINED IN THE FILE - REFER FILE TO MDS FOR
 A MEDICAL REVIEW

 10/16/2009 11:03 AM - CLAIM Note 86
 Claim/Event/Leave: REDACTED
 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject : IN
 Text: [10/16/2009 - COOK, MARILYN]FILE ASSIGNED TO CHUCK JOHNSON.

                         CLAIM Note
 10/15/2009 4:12 AM - CLAIM     Note 85
                                     85
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Appeals
                        Appeals
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 10/14/2009 - REFERRED TO APPEALS UNIT FOR CLAIM REVIEW AND DETERMINATION.

 10/14/2009 12:22 PM - CLAIM Note 84
 Claim/Event/Leave: REDACTED


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 NoteSubject :: Appeal
 NoteSubject    Appeal
 Other Subject
 Other  Subject :: FILE TO ARU
 Text: [10/14/2009 - FURGALACK, MONIQUE]FILE GIVEN TO SUPPORT TO SEND TO ARU. APPEAL ACKNOWLEDGEMENT
 Text:
 LETTER SENT TO CLMT.

 10/14/2009 10:26 AMAM -- CLAIM
                          CLAIM Note
                                Note 83
                                     83
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : REFERRAL - ARU
 Text: [10/14/2009 - RUPE, BRIAN]MGR AGREES WITH THE DECISION TO REFER THE CLAIM TO ARU.

 10/14/2009 8:35
 10/14/2009  8:35 AM
                   AM -- CLAIM Note 82
 Claim/Event/Leave: REDACTED
 NoteSubject : Appeal
 Other Subject
 Other  Subject : RECEIVED
 Text: [10/14/2009 - FURGALACK, MONIQUE]APPEAL LETTER RECD
                                                      REC'D FROM CLMT, ATTACHED 2/9/09 PART TIME 00W
                                                                                                 OOW SLIP
 FROM DR KAGE, 4/21/09 LYME DISEASE PATIENT CHECKLIST, LETTERS FROM DR RAXLEN, DR KAGE, DR GOUIN, AND DR
 ZAGAR STATING CLMT IS UNABLE TO WORK PART TIMEOR FULL TIME. REFERRED TO MGR FOR REVIEW FOR APPEAL
 REFERRAL.

 05/19/2009 7:57
 05/19/2009  7:57 AM - CLAIM Note 81
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [05/19/2009
 Text: [05/19/2009 - FURGALACK, MONIQUE]SENT LETTER TO CLMT ASKING FOR CONFIRMATION BY 6/2/09 IF THE MEDICAL
 RECORDS RECDREC'D FROM DR RAXLEN ARE A REQUEST FOR APPEAL.

 05/18/2009 11:56
 05/18/2009  11:56 AM
                    AM -- CLAIM
                          CLAIM Note
                                Note 80
                                     80
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject : DR RAXLEN
 Other
 Text: [05/18/2009
 Text: [05/18/2009 -- FURGALACK, MONIQUE[REC'D
                                  MONIQUE]REC'D RECORDS DATED 4/21/09 FROM DR RAXLEN, EVAL FOR LYME DISEASE.

 05/13/2009 4:04
 05/13/2009  4:04 PM - CLAIM Note 79
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject :: REFERRAL - CLOSURE
 Text: [05/13/2009 - RUPE, BRIAN]MGR AGREES WITH THE DECISION TO REOPEN THE CLAIM AND DENY FOR NOT TD.
 MEDICAL INFORMATION FOR THE TIME PERIOD IN QUESTION DOES NOT SUPPORT DISABILITY. THE EE INDICATED THAT
 DR. KAGE WAS KEEPING HER 00W   OOW WORK DURING THE TIMEPERIOD IN QUESTION (2/9 - PRESENT). ALTHOUGH THERE
 WAS A LETTER THAT WAS SENT TO DR. KAGE FROM THE BCP ON 5/12/09 TO CLARIFY THE CLAIMANTS
                                                                                    CLAIMANT'S HEALTH STATUS
 AND RTW PLAN, THIS WAS THE SECOND REQUEST FOR THIS INFORMATION (1ST REQUEST WAS ON 3/9/09). THE CLAIMANT
 HAS INDICATED THAT SHE IS TREATING WITH A NEW DOCTOR (NEURO-PSYCH) AS OF THE END OF APRIL BUT THIS IS
 OVER TWO MONTHS AFTER THE CLOSURE DATE OF 2/9/09. THE CLOSURE LETTER CAN BE SENT TO THE EE.

 05/13/2009 3:06
 05/13/2009  3:06 PM
                   PM -- CLAIM Note 78
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject
 Other  Subject : MGR REVIEW
 Text: [05/13/2009 - FURGALACK, MONIQUE]REFERRED TO MGR FOR REVIEW FOR NOT TD ONGOING: CP REVIEW REPORT
 Text:
                                             ONGOING R&LS.
 STATES MEDICAL RECORDS DO NOT SUPPORT ONGOING       R&LS.

 05/13/2009 3:03
 05/13/2009  3:03 PMPM -- CLAIM Note 77
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: CP REVIEW REPORT
 Text: [05/13/2009 - FURGALACK, MONIQUE]CP REVIEW REPORT STATES: RECORDS DO NOT SUPPORT ANY SPECIFIC
 Text:
 LIMITATIONS OR RESTRICTIONS THAT WOULD PREVENT SITTING, STANDING OR WALKING AT A SEDENTARY PHYSICAL
 DEMAND LEVEL. / 34-YEAR-OLD W/CHIEF COMPLAINT OF HEADACHE ASSOCIATED WITH VISUAL DISTORTION, NAUSEA AND
 VOMITING AND AN EPISODE OF BLACKOUT SPELL. SHE HAD A PAST MEDICAL HISTORY OF MICROSCOPIC COLITIS,
 MIGRAINE HEADACHE AND THYROID DISORDER. HER PHYSICAL EXAMINATION DID NOT REVEAL ANY FOCAL
 NEUROLOGICAL DEFICIT. MRI OF HER BRAIN AND EEG SHOWED NON-SPECIFIC ABNORMALITIES. SHE WAS DIAGNOSED
 WITH DAILY TENSION TYPE HEADACHE AND CLASSIC MIGRAINE AND SHE WAS TREATED WITH NEURONTIN WITH NO
 LASTING RELIEF OF HER SYMPTOMS. SHE WAS ALSO EVALUATED BY A RHEUMATOLOGIST WHO CONCLUDED THAT HER
 PRESENTATION OF GENERALIZED PAIN, RAYNAUDS, SICCA AND HIGHLY POSITIVE ANA WAS SUGGESTIVE OF AN IMMUNE
 MEDIATED INFLAMMATORY DISORDER AND SHE WAS STARTED ON PLAQUENIL. THE UPDATED MEDICAL INFORMATION
 INDICATES THAT SHE WAS SEEN BY ANOTHER PHYSICIAN WHO WAS CONVINCED THAT HER DIAGNOSIS WAS LYME
 DISEASE. HOWEVER, SHE WAS SEEN BY ANOTHER RHEUMATOLOGIST WHO DOES NOT THINK SHE HAS LYME DISEASE.
 SHE HAS ALSO REPORTED THAT SHE IS NOW RECEIVING CARE FROM A NEUROPSYCHOLOGISTWHO SPECIALIZES IN LYME
 DISEASE AND A NATUROPATH. RECORDS FORM THESE PRACTITIONERS WERE NOT AVAILABLE FOR REVIEW. CP CALLED
 INTERNIST/GASTROENTEROLOGIST WHO RECENTLY SAW HER. PREVIOUSLY CONTACTED HER RHEUMATOLOGIST DR.
 KAGE, WHO STATED THAT SHE PREFERRED REQUEST IN WRITING. CP FAXED A LETTER TO DR. KAGE REQUESTING FOR
 CLARIFICATION OF HEALTH STATUS AND PHYSICAL CAPACITY, HOWEVER, DR KAGE DID NOT RESPOND TO CP LETTER. CP
 SPOKE WITH DR. 0     O BRIEN ON 05-11-09 AND HE STATED THAT HE WAS TAKING CARE OF HER GASTROINTESTINAL
 PROBLEMS. SHE HAS A HISTORY OF MICROSCOPIC COLITIS AND PEPTIC ULCER DISEASE CURRENTLY TREATED WITH ON
 ACID SUPPRESSANT THERAPY. HER LAST ENDOSCOPY SHOWED THAT THE ULCER HAS HEALED. SHE CURRENTLY HAS
 NON SPECIFIC UPPER AND LOWER GASTROINTESTINAL SYMPTOMS AND IT IS DIFFICULT TO DETERMINE HOW MUCH HER

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 NON-SPECIFIC
 NUN-N-'t011     UPPER
            - 10 li1        AND LUVVLK
                    -1-'th< ANU LOWER UAW
                                       GASTROINTESTINAL
                                           MAN I LW INAL SYMPTOMS    AND IT
                                                         J7Ml-'1UIVI ANL/     IS U11
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                                                                                    - 1- 1LJL I TO DETERMINE
                                                                                                10 Lit I th<MINt HOW   MUCH Nth<
                                                                                                                 Y1UVV Mlitall HER
 GI SYMPTOMS ARE CONTRIBUTING TO HER OTHER PROBLEMS. HE ALSO STATED THAT HE DID NOT RESTRICT HER
 ACTIVITIES.

             5:11 PM - PHONE Note 46
 05/12/2009 5:11
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: RETURNED CALL
 Text: [05/12/2009 - RUPE, BRIAN]MGR RECEIVED VMX FROM EE. MGR RETURNED CALL. MGR EXPLAINED THAT THE MEDICAL
 INFORMATION RECEIVED FOR THE TIME PERIOD IN QUESTION DOES NOT SUPPORT DISABILITY AND WE WILL BE CLOSING
 HER CLAIM FOR NOT TD AS OF 2/9/09. MGR REVIEWED MEDICAL INFORMATION RECIEVED. EE STATED THAT WE DIDN'T
 RECEIVE UPDATED INFORMATION FROM DR. ZAGAR AND QUESTIONED WHY THE BCP DID NOT CALL DR. ZAGAR. MGR
 STATED THAT THE BCP REVIEWED THE INFORMATION AND REACHED OUT TO THE TREATING PHYSICIANSDURING THE
 TIME PERIOD IN QUESTION BASED ON THE MEDICAL RECEIVED. MGR EXPLAINED THAT APPEAL PROCESS AND ADVISED
 THAT IF THERE IS ANY INFORMATION THAT WAS NOT RECEIVED, SHE CAN SUBMITT THAT ON APPEAL. MGR STATED THAT
 ALTHOUGH WE REQUESTED INFORMIAOTN FROM THE NEUROPSYCHOLOGIST SHE HAS STARTED SEEING, IT WAS NOT
 UNTIL RECENTLY AND WE ARE REVIEWING THE CLAIM FOR BENEFITS BACK TO 2/9/09. MGR EXPLAINED THE APPEAL
 PROCESS. EE UNDERSTOOD AND HAD NO FURTHER QUESTIONS.

 05/12/2009 10:04 AM - PHONE Note 45
 05/12/2009
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: RETURNED CALL
 Text: [05/12/2009 - RUPE, BRIAN]MGR RECEIVED VMX FROM EE WITH QUESTIONS AS TO THE STATUS OF HER CLAIM. BCP
 REPORT HAS BEEN RECEIVED AND MGR WOULD LIKE TO DISCUSS THE RESULTS OF THE REVIEW. MGR CALLED EE, T#
 (860) 308-2050
 (860) 308-2050 AND LEFT VMX FOR RETURN CALL.

 05/11/2009 3:06
 05/11/2009  3:06 PM
                  PM - PHONE Note 44
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                   Called
 Other Subject : STATUS
 Text: [05/11/2009 - BUDER, CHARLES]EE CALLED TO CHECK STATUS. DCM ADVISED ADDITIONAL FAX WAS SENT TO DR.
 GOUIN AND DR. RAXLEN. EE ADVISED SHE HAD PREVIOUSLY SPOKEN TO MGR AND WISHED TO DISCUSS FURTHER
 W/MGR. MGR WAS UNAVAILABLE AND EE WISHED TO BE PUT INTOMGR'S VMX. DCM TRANSFERRED EE. DCM EMAILED
 MGR AND CM

 05/06/2009 9:15
 05/06/2009  9:15 AMAM -- CLAIM Note 76
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX CONFIRMATIONS
 Text: [05/06/2009
 Text: [05/06/2009 -- FURGALACK,
                      FURGALACK, MONIQUE]YOUR FAX HAS BEEN SUCCESSFULLY SENT TO LAUREN GOUIN AT 18606775406.
                                        (860) 677-5406
 RE: CLAIM: REDACTED- SPEARS - FAX: (860)     677-5406 ------------------------------------------------------------
 FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ------------------------------------------------------------
 TIME: 5/6/2009 9:02:23 AM SENT TO 18606775406 WITH REMOTE ID            ID 8606775406        RESULT: (0/339;0/0)
                                                                             8606775406 RESULT:             (0/339;0/0) SUCCESSFUL
                                                                                                                        SUCCESSFUL SEND
                                                                                                                                   SEND PAGE
                                                                                                                                        PAGE
 RECORD: 1 - 3 ELAPSED TIME: 01:58 ON CHANNEL 6 YOUR FAX HAS BEEN SUCCESSFULLY SENT TO BERNARD RAXLEN AT
 12127992377. RE: CLAIM: REDACTED- SPEARS - FAX: (212) 799-2377 ------------------------------------------------------------
 FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ------------------------------------------------------------
 TIME: 5/6/2009 9:03:30 AM SENT TO 12127992377 WITH REMOTE ID 2127992377 RESULT: (0/339;0/0) SUCCESSFUL SEND PAGE
 RECORD: 1 - 3 ELAPSED TIME: 01:02 ON CHANNEL 19

 05/06/2009 9:15
 05/06/2009  9:15 AMAM -- CLAIM Note 75
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject :: RVW
                   RVW W/MGR - MED REQ
 Text: [05/06/2009
 Text: [05/06/2009 -- FURGALACK, MONIQUE]PER REVIEW WITH MGR, FAXED REQ TO DR GOUIN & DR RAXLEN FOR MEDICAL
 RECORDS 1/2009 TO PRESENT, AND ASKED THEM TO RESPOND WITHIN 7 BUSINESS DAYS. SENT LETTER TO CLMT
 ADVISING FILE CURRENTLY UNDER MEDICAL REVIEW FOR PERIOD OF 2/9/09
                                                                 2/9/09 TO PRESENT, AND OF
                                                                                        OF FAXES SENT TO DR
 GOUIN & DR RAXLEN WITH REQ TO THEM TO RESPOND IN 7 BUSINESS DAYS, ALSO ADVISED IN LETTER TO CLMT IF ANY
 OTHER TX PROVIDERS DURING PERIOD OF 2/9/09 TO PRESENT, TO HAVE THEM FORWARD THEIR MEDICAL RECORDS.

 05/04/2009 12:41 PM - PHONE Note 43
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: WITH CONCERNS
 Text: [05/04/2009 - RUPE, BRIAN]MGR RECEIVED CALL FROM EE WITH CONCERNS ABOUT THE TIMEFRAME FOR A DECISION
 TO BE MADE ON HER CLAIM. MGR STATED THAT WE RECEIVED MEDICAL INFORMATION ON 4/23 AND IT WAS SENT TO A
 BCP FOR REVIEW WITH AP CONTACT. MGR STATED THAT WE WILL BE ABLE TO GIVE HER AN UPDATE BY 5/8. EE
 UNDERSTOOD. EE ASKED WHY HER CLAIM WAS CLOSED WHEN SHE NEVER RTW FULL TIME. MGR STATED THAT WE WERE
 INFORMED THAT SHE WAS RTW FULL TIME AS OF 2/9/09 AND WE CLOSED THE CLAIM. MGR STATED THAT WE NEED
 MEDICAL INFORMATION PRIOR TO REOPENING THE CLAIM THAT EXPLAINS WHY SHE COULD NOT RTW FULL TIME ON
 2/9/09. WE ARE NOW REVIEWING THE CLAIM TO DETERMINE IF IT WAS SUPPORTED FOR HER TO BE OUT OF WORK PT
 FROM 2/9/09 - 3/25/09 AND THEN TD THERE AFTER. EE STATED THAT SHE IS WORKING WITH TWO NEW DOCTORS. DR.
 DERNARD RAXLEN (NEURO PSYCH - SPECIALTY SYSTEMIC LYMES DISEASE) T# 212-799-1121 F# 212-799-2377 ADDRESS:
 123 W 79TH ST, 1ST FLOOR, NEW YORK, NEW YORK 10024. SHE IS ALSO SEEING A NATUROPATHIC DOCTOR IN AVON, CT
 NAME DR. LAUREN GUIN T# 860-674-0111, F# 860-677-5406. MGR ASKED IF THE LYMES DISEASE IS HER PRIMARY DX AND
 SHE STATED YES. MGR ASKED IF DR. KAGE WAS THE DOCTOR KEEPING HER OUT OF WORK AND SHE STATED THAT
 THERE ARE MANY DOCTORSTHAT SHE IS SEEING BUT ALL FORMS AND MEDICAL RECORDS HAVE BEEN GOING THROUGH


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 DR. KAGE TO SIMPLIFY THE PROCESS. MGR ASKED IF DR. KAGE REFERRED HER TO DR. RAXLEN, AND SHE STATED THAT
 SHE FOUND HIM ON HER OWN AS HER DOCTORS TOLD HER THAT SHE NEEDED TOSEE A LYMES SPECIALIST (SHE STATED
 THAT HER CONDITION IS CONTROVERSIAL). MGR ASKED THE EE WHAT SYMPTOMS ARE KEEPING HER FROM WORKING.
 SHE INDICATED THAT SHE WAS READING OFF A LIST B/C ONE OF HER SYMPTOMS IS MEMORY LOSS. SHE STATED HER
 SYMPTOMS WERE HEADACHES, MUSCLE PAIN, DYSLEXIA, BRAIN FOG, ABDOMINAL PAIN, NIGHT SWEATS, SHE CUT SHORT
 B/C SHE HAD TO GET TO A DOCTORS APPOINTMENT WITH DR. GOUIN. SHE ALSO INDICATED THAT SHE WAS PUT ON
 SEVERAL NEW MEDICATIONS BY DR. RAXLEN AND HER NEXT OV WITHHIM IS JUNE 2ND.

 04/24/2009 4:01 AM - CLAIM Note 74
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 4/23/2009 - REFERRED TO CONSULTING PHYSICIAN FOR COMPLETE REVIEW.

 04/23/2009 8:00
 04/23/2009  8:00 AM
                   AM -- CLAIM Note 73
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject
 Other  Subject : CP REVIEW
 Text: [04/23/2009 - FURGALACK, MONIQUE]FILE REFERRED FOR CP REVIEW OF ADDTL MEDICAL INFO RECD
                                                                                          REC'D FOR
 ASSESSMENT OF MEDICAL STATUS, R&LS/CAPACITY, PROVIDER CONTACT WITH ANY QUESTIONS.

 04/23/2009 7:46
 04/23/2009  7:46 AM - CLAIM Note 72
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                    Records Rcvd
                            Rcvd
 Other Subject
 Other  Subject : DR KAGE
 Text: [04/23/2009 - FURGALACK, MONIQUE]REC'D FAX OF RECORDS FROM DR KAGE DATED 1/2009 - 3/31/09 DX: MIGRAINE
 HEADACHES, FATIGUE, DIFFICULTY CONCENTRATING, MEMORY LOSS, ACHY LEGS/ARMS/FACE/NECK/SPINE/FEET.
 AUTOIMMUNE INFLAMMATORY DISORDER SUSPECTED DUETOMULTIORGAN INVOLVEMENT-THYROID, GI TRACT, SICCA,
 RAYNAUDS PHENOMENON, ARTHRALGIA.[04/23/2009 - FURGALACK, MONIQUE]CONSULT INFECTIOUS DISEASE FOR LYME.
 HAD SUPRASCAPULAR NERVE BLOCK. 3/24/09 PATIENT CALL IN TO DR OFFICE, DR NOTE STATES PATIENTWOULD LIKE
 THEM TO COMMUNICATE TO DISABILITY CARRIER THAT AS OF THAT DATE SHE HAS FULL RESTRICTED HOURS MEANING
 THAT SHE WILL NOT BE ABLE TO WORK ANY HOURS, WILL BE COMPLETELY OUT OF WORK, 3/24/09 DR NOTE ALSO STATES
 THAT PER LAST OV NOTE PLAN WAS TO CONTINUE DECREASED SCHEDULE.

 04/15/2009 9:01
 04/15/2009  9:01 AMAM - PHONE Note 42
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: LEFT
                   LEFT MESSG
 Text: [04/15/2009
 Text: [04/15/2009 -- FURGALACK, MONIQUE]LEFT MESSG ON VM FOR CLMT ADVISING WE HAVE NOT RECD
                                                                                         REC'D ANY ADDTL MED
                                                                     OOW, AND AT THAT TIME SHE HAD INFORMED
 INFO TO DATE SINCE HER CALL TO US ON 3/25/09 STATING SHE WAS BACK 00W,
 US SHE WAS HAVING DR KAGE SEND US ADDTL MEDICAL. ADVISED CLMT THAT A FAX WAS SENT TO DR KAGE PER HER
 REQUEST, AND WHEN ADDTL MEDICAL IS RECD REC'D IT WILL BE REVIEWED.

 04/15/2009 7:33
 04/15/2009  7:33 AM - CLAIM Note 71
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: MED REQUEST
 Text: [04/15/2009 - FURGALACK, MONIQUE]SEE PRIOR CLAIM NOTE FROM STD DCM, STD DCM FAXED A MED REQUEST TO
 DR KAGE PER CLMT'SCLMT'S REQUEST
                          REQUEST ON                                                                     4/14/09
                                  ON 4/14/09[04/15/2009 - FURGALACK, MONIQUE]REC'D FAX TRANSMISSION THAT 4/14/09
 FAX DID NOT GO THROUGH TO DR KAGE, CONFIRMED FAX# WITH THEIR OFFICE THIS MORNING, FAX # WE HAVE IS
 CORRECT 860-646-7999. REFAXED AND RECD REC'D CONFIRMATION THAT FAX WENT THROUGH.

 04/14/2009 4:15 PM - PHONE Note 41
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [04/14/2009 - LEIDINGER, CORLITA]EE CALLED TO CONFIRM IF MED INFO WAS REC'VD.... AVISED THAT CM WAS
 UNAVAIL TO CONFIRM.... EE REQUESTED CM TO SEND MED REQ TO DR. KAGE.... EE WOULD LIKE A C/B FROM CM.

 04/06/2009 8:28
 04/06/2009  8:28 AM
                   AM -- CLAIM Note 70
 Claim/Event/Leave: REDACTED
 NoteSubject :: Action Plan
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [04/06/2009
 Text: [04/06/2009 -- FURGALACK, MONIQUE]SEE PRIOR CLAIM NOTE, CLMT REPORTED SHE IS BACK 00W
                                                                                         OOW AND WILL SUBMIT
 ADDTL INFORMATION FOR REVIEW - FILE TO BE REFERRED BACK TO CP FOR REVIEW UPON RECEIPT OF ADDTL INFO

 03/25/2009 1:12
 03/25/2009    1:12 PM - PHONE Note 40
 Claim/Event/Leave: REDACTED
 NoteSubject : EE Called
 Other Subject
 Other  Subject ::
 Text: [03/25/2009 - FURGALACK, MONIQUE]CLMT CALLED AND STATED WE WILL BE GETTING A FAX FROM DR KAGE OF
 Text:
 UPDATED MEDICAL INFORMATION, SHE WAS WORKING PART TIME THROUGH YESTERDAY 3/24/09, AND AS OF TODAY
 3/25/09 SHE IS 00W   OOW FULLY AGAIN PER HER DR, CLMT STATEDSHE DOES NOT WANT TO GET INTO IT RIGHT NOW AS TO
 WHAT OCCURED TO CAUSE THE CHANGE IN STATUS, BUT HER DR'S INFORMATION WILL INCLUDE THIS INFORMATION.
 ADVISED CLMT I HAVE NOT YET RECD           REC'D THIS FAX FROM DR KAGE THAT SHE IS MENTIONING, CLMT STATED SHE WILLCALL
 DR OFFICE TO MAKE SURE THIS IS SENT TO US. CLMT STATED SHE HAS A TEMPORARY CHANGE OF ADDRESS, WILL BE
 STAYING
 CTAN/I,,Ill
             WITH HER MOTHER FOR
             IA/11- 1J LJCO iiin -rucco cno
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                                                          SHE  WILL HAVE LJCO
                                                          CIAC IA/II I URI=
                                                                            HER MOTHER
                                                                                iiin -ruco
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                                                                                                                                                             1 1- 11.7

 WEEK. CLMT STATED SHE WILL ALSO SEND USREQUEST FOR FEDERAL AND STATE TAX WITH HOLDING FROM BENEFITS.
 ADVISED CLMT THAT ADDTL MEDICAL WILL BE REVIEWED WHEN RECD                          REC'D FOR REVIEW OF STD BEYOND THE LAST
 APPROVED THROUGH DATE WHEN CLAIM HAD BEEN CLOSED FOR FULL TIME RTW.

 03/05/2009 9:46
 03/05/2009  9:46 AM
                  AM -- CLAIM
                        CLAIM Note
                              Note 69
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : PARTIAL STD
 Other
 Text: [03/05/2009 - FURGALACK, MONIQUE]PARTIAL STD BENEFITS FOR PERIOD OF 1/8/09 - 2/8/09 ISSUED TO CLMT - WORK
 INCENTIVE BENEFIT
 INCENTIVE    BENEFIT CALC
                        CALC SHEET
                             SHEET COMPLETED
                                    COMPLETED FORFOR FILE.
                                                     FILE. SICK
                                                           SICK ABSENCE
                                                                ABSENCE TIME
                                                                        TIME FOR
                                                                             FOR PERIOD
                                                                                   PERIOD OF OF 1/8/09
                                                                                                1/8/09 -- 2/8/09 WAS
                                                                                                          2/8/09 WAS
 PROVIDED BY ER. HOURS WORKED DURING 1/8/09- 2/8/09 = 85.6 HOURS X HOURLY PAY RATE OF $25.51 = $2183.65 WHICH
 IS 48.63% OF PRE-DISB EARNINGS. OFFSET FOR PARTIAL DISABILITY = $387.66.[03/05/2009
                                                                      $387.66.[03/05/2009 -- FURGALACK,
                                                                                             FURGALACK, MONIQUE]GROSS
                                                                                                             MONIQUE]GROSS
 STD BENEFIT
 STD  BENEFIT FOR 1/8/09 - 2/8/09 = $2693.94, LESS OFFSET FOR PARTIALOF $387.66 = $2306.28 PARTIAL STD BENEFIT.

 02/26/2009 3:09
 02/26/2009  3:09 PMPM -- PHONE
                          PHONE Note
                                 Note 39
                                      39
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                     Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [02/26/2009 - FURGALACK, MONIQUE]REC'D CALL FROM CLMT - SHE STATED SHE HAS CONTINUED TO WORK PART
 Text:
 TIME SINCE 2/8/09, DR KAGE IS THE DR KEEPING HER ON PART TIME RESTRICTIONS AT THIS TIME - ADVISED CLMT THAT
 FILE IS UNDER MEDICAL REVIEW INCLUDING PROVIDER CONTACT, FOR DETERMINATION OF PARTIAL DISABILITY BEYOND
 2/8/09, AS
 2/8/09, AS HER CLAIM WAS CLOSED AS OF 2/9/09 FOR FULL TIME RTW PER PRIOR MEDICAL ON FILE FROM DR SILVERS.
 CLMT STATED THAT DR KAGE IS NOW THE DR THAT HAS THE PART TIME RESTRICTIONS IN PLACE. ADVISED CLMT THAT
 WILL REVIEW PARTIAL EARNINGS INFO FROM ER FOR PARTIAL STD BENEFITS THROUGH 2/8/09. ADVISED HER ONCE
 MEDICAL REVIEW IS COMPLETED, DETERMINATION WILL BE MADE ON ELIGIBLITY FOR PARTIAL STD BEYOND 2/8/09. CLMT
 GOT ANOTHER CALL ON HEROTHER LINE AND STATED SHE WAS WAITING FOR HER DR TO CALL HER BACK, AND SHE
 ASKED IF SHE DID NOT COME RIGHT BACK TO THE PHONE TO PLEASE HANG UP. WAS ON HOLD FOR SEVERAL MINUTES,
 DISCONNECTED THE
 DISCONNECTED         THE CALL
                           CALL PER
                                PER CLMT'S
                                    CLMT'S REQUEST.[02/26/2009
                                           REQUEST.[02/26/2009 -- FURGALACK,
                                                                  FURGALACK, MONIQUE]CLMT
                                                                             MONIQUE]CLMT CALLED
                                                                                          CALLED BACK
                                                                                                 BACK AND
                                                                                                      AND STATED
                                                                                                          STATED
 SHE WAS TALKING TO HER DR ON THE OTHER LINE SO SHE WAS SORRY TO KEEP US HOLDING. REVIEWED WITH CLMT
 THAT STD WAS APPROVED THROUGH 2/8/09 FOR PARTIAL, CLOSED AS OF 2/9/09 FOR FULL TIME RTW. FILE UNDER
 MEDICAL REVIEW FOR ANY STD PARTIAL BEYOND 2/8/09 WITH INFO ON FILE. ADVISED CLMT OF MOST RECENT MED INFO
 REC'D FROM DR KAGE & DR ZAGAR. CLMT STATED THAT THE REASON SHE CANNOT RTW FULL TIME IS DUE TO HER
 RECD
 MULTIPLE DX'S AND DRS DO NOT KNOW WHAT TO DO WITH HER, AND IT IS IMPORTANT THAT SHE ONLY WORK PART TIME
 AND THEN HAS TO REST, FATIGUE IS LIMITING HER PHYSICALLY AND COGNITIVELY. SHE STATED THAT SHE WAS
 RECENTLY DX WITH LYME DISEASE THAT HAS AFFECTED HER BRAIN AND WILL BEGIN TX FOR THAT, AND DRS ALSO THINK
 SHE MAY HAVE AN AUTOIMMUNE DISORDER BUT THEY CANNOT CONFIRM THIS. ADVISED CLMT THAT WE DO NOT SEND
 OUT MEDICAL REQUESTS ON CLOSED CLAIM AND IF THERE IS ANY ADDTL INFORMATION SHE WISHES CONSIDERED FOR
 HER CLAIM OTHER THAN THE INFORMATION WE RECD,   REC'D, TO SUBMIT TO US. ADVISED WOULD REVIEW FOR PARTIAL STD
 BENEFITS THROUGH 2/8/09. CLMT THANKED FOR THE INFORMATION.

 02/26/2009 8:17 AM - CLAIM Note 68
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR OBERSTEIN
 Text: [02/26/2009
       [02/26/2009 - FURGALACK, MONIQUE]REC'D FAX OF RECORDS FROM DR OBERSTEIN DATED 1/21/09 - 2/17/09, THYROID
 FOLLOW UP[02/26/2009 - FURGALACK, MONIQUE]FORWARDED THIS FAX TO CP FOR MEDICAL FILE REVIEW IN PROCESS.

 02/24/2009 3:46
 02/24/2009      3:46 PM
                      PM -- PHONE
                            PHONE Note
                                  Note 38
                                       38
 Claim/Event/Leave: REDACTED
 NoteSubject :: AP
 NoteSubject       AP Called
                       Called
 Other Subject : RE: FAX
 Other
 Text: [02/24/2009 - FURGALACK, MONIQUE]REC'D CALL FROM WEDNESDAY AT DR OBERSTEIN'S OFFICE STATING THEY
 REC'D OUR MEDICAL RECORDS FEE CHECK AND SHE CANNOT LOCATE THE 1/22/09 MED REQUEST, SHE ASKED THAT THIS
 RECD
 BE REFAXED - DID THIS TODAY. ADVISED HER OF SAME.SHE STATED SHE WILL FAX THE MEDICAL RECORDS AS SOON AS
                                                MONIQUE]***** REFAX CONFIRMATION: YOUR FAX HAS BEEN SUCCESSFULLY
 THE FAX IS REC'D.[02/25/2009 - FURGALACK, MONIQUE]
 SENT TO DR. OBERSTEIN AT 18605471301. RE: CLAIM: REDACTED- SPEARS - FAX: (860) 547-1301 --------------------------------------------
 ---------------- FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
                         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ---------------------------------------------------
 --------- TIME: 2/24/2009 5:15:35 PM SENT TO 18605471301 WITH REMOTEID
                                                               REMOTEID 860
                                                                         860 5471301 RESULT: (0/339;0/0)
                                                                             5471301 RESULT: (0/339;0/0) SUCCESSFUL
                                                                                                          SUCCESSFUL
 SEND PAGE RECORD: 1 - 3 ELAPSED TIME: 01:06 ON CHANNEL 11 ***

 02/19/2009 2:50
 02/19/2009  2:50 PM
                   PM -- CLAIM Note 67
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject : VENDOR PAYMENT
 Text: [02/19/2009
 Text: [02/19/2009 -- FURGALACK, MONIQUE]SENT REQUEST TO SYSTEM TO ADD VENDOR INFO - REC'D INVOICE FROM DR CT
 MULTISPECIALTY GROUP, P.C. DEPT. OF ENDOCRINOLOGY 100 RETREAT AVE SUITE 400 HARTFORD CT 06106. $45.00
 MEDICAL RECORDS FEE FOR RECORDS FROM DR OBERSTEIN.[02/20/2009 - FURGALACK, MONIQUE]REC'D CONFIRMATION
 OF VENDOR INFO ADDED TO SYSTEM - ISSUED MEDICAL RECORDS FEE $45.00 TODAY TO ABOVE ADDRESS. CALLED
 WEDNESDAY IN MEDICAL RECORDS DEPT, PH# 860-547-1278 AND LEFT HER A VM MESSG CONFIRMING RECEIPT OF HER
 INVOICE AND THAT PAYMENT IS ISSUED, PROVIDED OUR FAX # FOR HER TO FAX RECORDS TO.[02/20/2009 - FURGALACK,
                                                                                                 FURGALACK,
 MONIQUE]DATE AND INITIALS WRITTEN ON INVOICE AND PLACED IN FILE.

 02/18/2009 9:22
 02/18/2009 9:22 AMAM - PHONE Note 37
 Claim/Event/Leave: REDACTED
 NoteSubject :: AP
 NoteSubject    AP Called
                   Called
 Other Subject
 Other Subject :: DR OBERSTEIN


                                                                                                                                                Liberty002303
                                                                                                                                                Li berty002303

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 Text: [02/18/2009
 Text: [02/18/2009 - FURGALACK, MONIQUE]REC'D CALL FROM WEDNESDAY AT DR OBERSTEIN'S OFFICE STATING THEY
 HAVE ADDTL MEDICAL RECORDS TO SEND US THAT REQUIRES A PREPAY FEE, SHE IS REFERRING TO A FAX WE SENT
 THEM FOR RECORDS BACK ON 1/22/09, SHE WILL FAX AN INVOICE TODAY.

 02/17/2009 8:09 AM - CLAIM Note 66
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: REQUEST TO ER
 Text: [02/17/2009 - FURGALACK, MONIQUE]SENT AN ADDTL REQUEST TO ER-CARLOS DEL PORTAL, FOR COPY OF CLMT'S
 PAY STUBS FOR DATES OF 1/8/09 - PRESENT, THIS IS NEEDED TO REVIEW/CALCULATE PARTIAL STD FOR THE DATES OF
 1/8/09 -- 2/8/09.
 1/8/09    2/8/09. THIS INFORMATION HAS NOT BEENREC'D TO DATE.

 02/11/2009 3:59
 02/11/2009  3:59 AMAM -- CLAIM
                          CLAIM Note
                                Note 65
                                     65
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 2/10/2009 - REFERRED TO CONSULTING PHYSICIAN FOR COMPLETE REVIEW.

 02/10/2009 12:52
 02/10/2009  12:52 PM - CLAIM Note 64
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Other
                       Other
 Other Subject
 Other  Subject : CP REVIEW
 Text: [02/10/2009
 Text: [02/10/2009 -- FURGALACK,
                      FURGALACK, MONIQUE]REFERRED
                                 MONIQUE]REFERRED FOR
                                                  FOR OCC
                                                      OCC MED
                                                          MED CP
                                                              CP FILE
                                                                 FILE REVIEW:
                                                                      REVIEW: REFERRAL
                                                                              REFERRAL FOR
                                                                                       FOR FILE
                                                                                           FILE REVIEW
                                                                                                REVIEW WITH
                                                                                                       WITH
 PROVIDER CONTACT. 1) REFERRAL QUESTIONS: DOES MEDICAL INFORMATION SUPPORT ONGOING IMPAIRMENT/PARTIAL
 IMPAIRMENT BEYOND 2/8/09? CLAIMANT WAS RELEASED TO PART TIME AS OF 1/8/09 FOR A MONTH BY DR. SILVERS, THEN
 TO BE FULL TIME. CLAIMANT HAD ADDITIONAL MEDICAL INFORMATION SUBMITTED FROM RHEUMATOLOGIST AND
 NEUROLOGIST FOR REVIEW. 2) CP TO CONDUCT PROVIDER CONTACT WITH DR. ZAGAR AND CONFIRM IF CLAIMANT HAS
 RELIEF FROM THE 2/9/09 EPIDURAL BLOOD PATCH, CURRENT MEDICAL STATUS/CAPACITY, AND IS HE KEEPING HER OUT
 OF WORK. 3) CP TO CONDUCT PROVIDER CONTACT WITH RHEUMATOLOGIST DR. KAGE TO CONFIRM CURRENT MEDICAL
 STATUS/CAPACITY AND DURATION OF PARTTIME RESTRICTIONS.

 02/10/2009 12:33 PM - CLAIM Note 63
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                      Records Rcvd
                              Rcvd
 Other Subject
 Other  Subject :: 2
                   2 DRS
 Text: [02/10/2009 - FURGALACK, MONIQUE]REC'D FAX OF MEDICAL RECORDS FROM ASSOC NEUROLOGISTS- DR ZAGAR,
 DATED THROUGH 2/9/09 - DX: MIGRAINE, LUMBAGO - 2/3/09 LUMBAR PUNCTURE, 2/9/09 EPIDURAL BLOOD PATCH. RECD
                                                                                                     REC'D
 FAX OF MEDICAL RECORDS FROM RHEUMATOLOGY-DR KAGE DATED THROUGH 2/5/09, CHEIF COMPLAINT 2/5/09 FATIGUE,
 HEADACHE, DIFFICULTY CONCENTRATING, MEMORY LOSS, ACHY ARMS & LEGS

 02/10/2009 10:17 AM - CLAIM Note 62
 02/10/2009
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX CONFIRMATION
 Text: [02/10/2009
 Text: [02/10/2009 -- FURGALACK, MONIQUE]YOUR FAX HAS BEEN SUCCESSFULLY SENT TO DR. DARIO ZAGAR AT
                                                       333-3937 ------------------------------------------------------------
 12033333937. RE: CLAIM: REDACTED- SPEARS - FAX: (203) 333-3937
 FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ------------------------------------------------------------
 TIME: 2/10/2009 9:50:45 AM SENT TO 12033333937 WITH REMOTE ID RESULT: (0/316;0/0) ANSWER (PROBABLY HUMAN)
 DETECTED PAGE RECORD: NONE SENT ELAPSED TIME:01:04 ON CHANNEL 10 ------------------------------------------------------------
 TIME: 2/10/2009 10:10:17 AM SENT TO 12033333937 WITH REMOTE ID  ID 11 203
                                                                        203 333
                                                                             333 3937      RESULT: (0/339;0/0)
                                                                                   3937 RESULT:         (0/339;0/0) SUCCESSFUL
                                                                                                                        SUCCESSFUL SEND
                                                                                                                                   SEND
 PAGE RECORD: 1 - 3 ELAPSED TIME: 01:16 ON CHANNEL 17

 02/10/2009 9:43
 02/10/2009  9:43 AMAM -- CLAIM Note 61
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX TO DR ZAGAR
 Text: [02/10/2009 - FURGALACK, MONIQUE]PER CLMT'S REQUEST IN PRIOR CLAIM NOTE - FAXED MED REQUEST TO DR
 Text:
 ZAGAR, FAX#
 ZAGAR,   FAX# 203-333-3937, FOR RECORDS FROM JAN.2009 TO PRESENT, ALSO ASKED DR ZAGAR AS OF WHAT DATE CLMT
 WAS ADVISED TO CEASE WORK BY THIS DR AND DATE OF RTW FULL TIME.

 02/09/2009 4:18
 02/09/2009  4:18 PM
                   PM -- PHONE
                         PHONE Note
                               Note 36
 Claim/Event/Leave: REDACTED
 NoteSubject : EE Called
 Other Subject
 Other  Subject : MED INFO
 Text: [02/09/2009 - VALENTIN, FRANCES]EE CALLED. AP ZAGAR (PHONE# 203-333-1133, FAX#203-333-3937)
                                                                                 FAX#203-333-3937) IS REQUESTING
                                                                                                   IS REQUESTING
 THAT WE SEND REQUEST FOR ADDTL MED INFO IN WRITING. PER EE, PLEASE FORWARD REQUEST TO AP. AP ALREADY
 HAS A RELEASE ON FILE TO SEND TO US. IF ANYQUESTIONS, MAY CONTACT EE AT ANYTIME. INFORMED EE WOULD
 NOTATE CALL ON CLAIM AND ADVISE ADCM. EMAIL TO ADCM.

 02/09/2009 1:33
 02/09/2009  1:33 PMPM -- CLAIM
                          CLAIM Note
                                 Note 6060
 Claim/Event/Leave: REDACTED
 NoteSubject : Other
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [02/09/2009
 Text: [02/09/2009 -- FURGALACK, MONIQUE]SEE LTD CLAIM #REDACTEDFOR CLAIM NOTES RE: PHONE CALLS FROM/TO CLMT
 TODAY 2/9/09. ADVISED CLMT I HAVE REQUESTED HER PARTIAL PAY FROM ER-CARLOS DEL PORTAL FOR REVIEW OF HER
 PARTIAL STD THROUGH 2/8/09. CLMT STATED SHELAST WORKED ON 2/2/09 AND ON 2/3/09 HAD A SPINAL TAP WITH A DR
 mr=g)
 ZAGER AND mur-, HAS 12
                      BEEN   HAVING ONGOING
                           M 1-1AVIA1r2 flAlf2r11Alf2 COMPLICATIONS
                                                      nr1R/1131 InATIrIAIC SO DR KAGE
                                                                                 L(4(= HER RHEUMATOLOGIST
                                                                                               IRAATrIl   HAS TrIl
                                                                                                              TOLD HER SHE


                                                                                                                      Liberty002304
                                                                                                                      Li berty002304

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 ZAGER, AND HAS BEEN HAVING ONGOING COMPLICATIONS, SO DR KAGE HER RHEUMATOLOGIST HAS TOLD HER SHE
 0-1 - 1,01-11,   B- 11 \I-0   1 11- 1,0   1-01-1-1   \   1 11- 11/ 11 \   10•1 1•\.0,011   1.0,01•11   1-1,0B   - 11   vsa,   1-01 \   1 \I - 1 1..01—   1 11-1   \   1 \I   11—WIVIB - 11,01-10,..01,0   1   1 11- 1,0   1 1.01-1-0   1 11-1   \   —


 NEEDS TO REMAIN ON PART TIME STATUS LONGER THAN 2/8/09. SHE HAD SOME BLOODWORK/TESTING FOR HER
 NEEDS
 SYMPTOMS. SHE HAS NOT WORKED SINCE 2/2/09 BUT HOPES TO RTW AGAIN THIS WEEK, HER MOTHER IS DRIVING HER
 TO THE DR TODAY. CONFIRMED THAT THE STD WAS CLOSED AS OF 2/9/09 PER RELEASE FROM DR SILVER ON FILE, PART
 TIME AS OF 1/8/09 FOR ONE MONTH, THROUGH 2/8/09 THEN FULL TIME. ADVISED CLMT THAT TO REVIEW FOR STD/PARTIAL
 STD BEYOND 2/8/09, SHE WILL NEED TO SUBMIT ANY ADDTL MEDICAL RECORDS SHE WISHES TO SUPPORT HER STD
                                                     REC'D.
 CLAIM, AND WE WILL REFER FOR MEDICAL REVIEW WHEN RECD.

 01/29/2009 10:56 AM - CLAIM Note 59
 Claim/Event/Leave: REDACTED
 NoteSubject :: Status
 NoteSubject    Status Report
                       Report
 Other Subject
 Other Subject ::
 Text: STD APPROVED THRU 2/8/09 FOR PARTIAL, CLOSED 2/9/09 FOR FULL TIME RTW.

 01/29/2009 10:56
 01/29/2009  10:56 AMAM -- PHONE
                           PHONE Note
                                 Note 35
                                      35
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [01/29/2009
 Text: [01/29/2009 -- FURGALACK, MONIQUE]CALLED CLMT WORK PH# 860-565-0242 - ADVISED MEDICAL REVIEW COMPLETED,
 PER MDS REVIEW, MEDICAL SUPPORTS THE ONE MONTH OF PART TIME THROUGH 2/8/09, AND STD APPROVAL IS
 EXTENDED THROUGH 2/8/09 FOR PART TIME, STD WILL CLOSE AS OF 2/9/09 FOR FULL TIME RTW. PROVIDED CLMT WITH
 FAX# TO FORWARD HER PART TIME PAY STUBS AS SHE RECV'S THEM, FOR REVIEW & CALCULATION OF PARTIAL STD
 BENEFITS THROUGH 2/8/09. CLMT ASKED THAT IF FOR SOME REASON IN FUTURE SHE HAS TO GO 00W   OOW AGAIN, WHAT IS
 THE SUCCESSIVE PERIOD FOR STD, ADVISED CLMT THAT STD SUCCESSIVE PERIOD IS 90 CONSECUTIVE CALENDAR DAYS,
 AND SHE WOULD NEED TO SUBMIT MEDICAL AND REPORT INFO RELATED TO BEING 00W     OOW AGAIN, FOR A CLAIM REVIEW TO
 DETERMINE IF A SUCCESSIVE OR NEWCLAIM. ADVISED CLMT THAT THIS STD CLAIM IS APPROVED THROUGH 2/8/09 FOR
 PART TIME, & CLOSED AS OF 2/9/09 FOR RTW FULL TIME & THE LTD WILL BE DENIED FOR EP NOT MET, ALSO SHE DOES
 NOT NEED TO COMPLETE THE LTD FORMS. CLMT STATED IN AGREEMENT AND THANKED FOR THE CALL.

 01/29/2009 10:43
 01/29/2009     10:43 AM
                      AM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 1
               1
 Nurse Name: DAHLMEYER, MAUREEN
 Service #:
 Service   #: 15087714
 Service Date:
 Service   Date: 01/29/2009
                  01/29/2009
 Activity: INPERSON CONTCT, CLAIMS
 Contact Information:
 Contact   Information: CLAIMS, MONIQUE, FURGALACK
 Note Type: ACTION PLAN DESCRIPTION
 Text: DCM INDICATED UNDERSTANDING. ALSO AGREED THAT, IF RECOVERY IS LENGTHIER, DCM WILL F/U FOR ADDL
 RECORDS AND, GIVEN COMPLEX HX AND NUMBER OF PROVIDERS INVOLVED IN TX , CONSIDER REFERRAL TO INT MED /
 OCC MED CP FOR OPINION RE: PRIMARY DISABLING CONDITION, LEVEL OF IMPAIRMENTS AND PROGNOSIS. NO FURTHER
 MDS ACTIVITY REQUIRED. CASE REMOVED FROM ASSIGNMENT.

 01/29/2009 10:43
 01/29/2009     10:43 AM
                      AM -- MDS
                            MDS Note
                                Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 1
               1
 Nurse Name: DAHLMEYER, MAUREEN
 Service #:
 Service   #: 15087714
 Service Date:
 Service   Date: 01/29/2009
                  01/29/2009
 Activity: INPERSON CONTCT, CLAIMS
 Contact Information:
 Contact   Information: CLAIMS, MONIQUE, FURGALACK
 Note Type: INFORMATION OBTAINED DESC
 Text: MET WITH DCM TO DISCUSS OUTCOME OF REVIEW.

 01/29/2009 10:33
 01/29/2009 10:33 AMAM -- CLAIM
                          CLAIM Note
                                Note 58
                                     58
 Claim/Event/Leave: REDACTED
 NoteSubject :: Status
 NoteSubject    Status Report
                       Report
 Other Subject
 Other Subject ::
 Text: STD APPROVED THROUGH 2/8/09 FOR PART TIME CAPACITY CLOSED 2/9/09 FULL TIME RTW

 01/29/2009 10:33
 01/29/2009  10:33 AMAM -- CLAIM Note 57
 Claim/Event/Leave: REDACTED
 NoteSubject :: Extended
 NoteSubject    Extended Benefits
                           Benefits
 Other Subject
 Other  Subject :: PARTIAL STD TO 2/8
 Text: [01/29/2009
 Text: [01/29/2009 -- FURGALACK, MONIQUE]APPROVED THROUGH 2/8/09 FOR PARTIAL STD - PER MDS REVIEW, MEDICAL
 SUPPORTS PART TIME CAPACITY FOR THE ONE MONTH PERIOD OF 1/8/09 - 2/8/09, TO PROVIDE TIME FOR TRANSITION TO
 FULL TIME ACTIVITY.

 01/28/2009 3:40
 01/28/2009    3:40 PM
                    PM -- MDS
                          MDS Note
                              Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 1
 Nurse Name: DAHLMEYER, MAUREEN
 Service #:
 Service   #: 15087340
 Service Date:
 Service   Date: 01/28/2009
                 01/28/2009
 Activity: NURSE REVIEW, MEDICAL RECORDS REVIEW
 Contact Information: NO CONTACT„
 Contact                   CONTACT, ,
 Note Type: ACTION PLAN DESCRIPTION


                                                                                                                                                                                                                                  Liberty002305
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 Text: WILL DISCUSS WITH DCM.

 01/28/2009 3:40
 01/28/2009     3:40 PM
                     PM -- MDS
                           MDS Note
                               Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 1
               1
 Nurse Name: DAHLMEYER, MAUREEN
 Service #:
 Service   #: 15087340
              15087340
 Service Date:
 Service   Date: 01/28/2009
                  01/28/2009
 Activity: NURSE REVIEW, MEDICAL RECORDS REVIEW
 Contact Information: NO CONTACT„
 Contact                    CONTACT, ,
 Note Type:
 Note  Type: ASSESSMENT DESCRIPTION
 Text: CONT....COMORBIDS: SEE ABOVE. MEDS: NEURONTIN, PAMELOR, FROVA, VICODIN, ZOFRAN, NAPRALEN, SINGULAIR,
 AMITIZA, ASACOL, PREVACID, CITRUCEL AND TAPERING PREDNISONE { 12/08 }. STUDIES: BRAIN CT { 08/08 }: RIGHT
 TEMPORAL LOBE CHANGES; BRAIN MRI { 09/08 }: NON-SPECIFIC RIGHT TEMPORAL LOBE CHANGES; EEG { 09/08 }: NO  NO
 DEFINITIVE FINDINGS; C-SPINE MRI { 10/08} ; NORMAL; BRAIN MRI { 10/08} : NO CHANGES FROM PRIOR STUDY; 24 HOUR
 EEG { 10/08 }: NO ABNORMALITIES. R&LS/ ERTW : SEE ABOVE. ASSESSMENT: MED INFO SUPPORTS R&LS, RELATED TO
 EE'S NEURO STATUS, FOR REDUCED SCHEDULE PROGRESSING TO FULL TIME WITHIN ONE MONTH OF RTW. DURATION OF
 R&LS IS NOTED TO BE C/W THE RECOVERY PERIOD WHICH THE NEURO CP ORIGINALLY FELT IMPAIRMENTS SUPPORTED,
 AND GIVEN THE LENGTH OF ABSENCE ASWELL AS CLMT'S COMPLEX MEDICAL HX AND TX NEEDS, USE OF A
 PROGRESSIVE WORK SCHEDULE SEEMS A REASONABLE WAY TO PROVIDE A TYPE OF WORK CONDITIONING THAT
 SHOULD FACILITATE HER SUCCESSFUL TRANSITION TO A FULL RANGE OF ACTIVITIES.

 01/28/2009 3:39
 01/28/2009    3:39 PM
                    PM -- MDS
                          MDS Note
                              Note
 Claim/Leave: REDACTED
 Episode #:
 Episode    #: 1
 Nurse Name: DAHLMEYER, MAUREEN
 Service #:
 Service   #: 15087340
              15087340
 Service Date:
 Service   Date: 01/28/2009
                 01/28/2009
 Activity: NURSE REVIEW, MEDICAL RECORDS REVIEW
 Contact Information: NO CONTACT„
 Contact                   CONTACT, ,
 Note Type: INFORMATION OBTAINED DESC
 Text: 31 YOF, ADMIN ASST, DOD 09-27-08 W/ MIGRAINE HEADACHES. RECORDS ARE ON FILE FROM MULTIPLE PROVIDERS
 INCLUDING PCP, DR. SCHIFF{ 10-18-08 }; NEUROLOGISTS: DR. GORDON{ DOD TO 11-13-08 }; DR. SILVERS { 11-14-08 TO 01-
 13-09 }; DR. ZAGAR { CONSULT 01-12-09 }; NEURO-ONCOLOGIST DR. BAEHRING { CONSULT 11-25-08 RE: MRI }; GI SPEC, DR.
 O'BRIEN { 04-08-08 TO 12-16-08 }; RHEUMATOLOGIST, DR. KAGE { 01-07-09 } AND NEUROLOGY CP, DR. POTTS { 12-18-08 AND
 12-23-08 }. BASED ON HIS REVIEW OF EXAM AND DX FINDINGS ON FILE IN 12/08, DR. POTTS FELT IMPAIRMENTS AND MED
 MGMT TX NEEDS ASSOC WITH EE'S MIGRAINES SUPPORTED R&LS THRU 01/09. S/P CP CONTACTS WITH DR. SILVERS AND
 DR. GORDON, CP INDICATED THAT EE HAD ACTUALLY BEEN CLEARED TO RTW 01-07-09. CP ASSESSMENT DETAILS ARE
 OUTLINEDIN HIS 12-18-08 REPORT WHICH HAS BEEN RETAINED IN THE FILE. DR. SILVERS LATER SENT A F/U NOTE
 INDICATING RTW WOULD BE PART-TIME, WITH PROGRESSION TO FULL TIME OVER ONE MONTH. FILE HAS NOW BEEN
 REFERRED FOR NCM REVIEW. QUESTION: DOES MED INFO SUPPORT PART-TIME R&LS ? REVIEWED CP REPORT AND
 RECORDS RECD SINCE12-23-08. DR. O'BRIEN'S TX NOTES RELATE TO INTERMITTENT F/U AND MED MGMT FOR PEPTIC
 ULCER DISEASE AMD MICROSCOPIC COLITIS. LABS { 09/08 AND 01/09} SHOWED ELEVATED LFT'S. ABDOMINAL US { 11/08 }}
 WAS C/WMILD FATTY LIVER. BY LOV 12-16-08, CLMT REPORTED CRAMPING AND BLOATING HAD IMPROVED WITH USE OF
 AMITIZA. AP NOTED 10 # WEIGHT GAIN BUT NO SIGNIFICANT EXAM ABNORMALITIES. CLMT WAS TO SEE DR. KAGE FOR W/U
 RE: ELEVATED ANA TITER { POSSIBLE INDICATOR OF AUTOIMMUNE DISEASE }} AND, IF THAT WAS NEGATIVE, DR. O'BRIEN
 PLANNED TO OBTAIN A LIVER BX TO ASSESS FOR AUTOIMMUNE HEPATITIS.
                                                              HEPATITIS. COPIOUS
                                                                           COPIOUS LAB
                                                                                   LAB TESTS
                                                                                       TESTS {{ 01-07-09
                                                                                                01-07-09 } WHICH WERE
 ORDERED BY DR. KAGE ARE ON FILE BUT NO RHEUM CONSULT REPORT HAS BEEN RECD. EE ALSO CONSULTED W/ DR.
 ZAGAR 01-12-09 RE: MIGRAINES WHICH HAD IMPROVED W/ NEURONTIN BUT WHICH STILL OCCURRED 1-2 X / WEEK,
 LASTED APPROX 4 HR AND WERE ACCOMPANIED BY VISUAL AURA, NAUSEA AND OCC VOMITING. DR. ZAGAR'S REPORT IS
 INCOMPLETE. CONT BELOW...

 01/23/2009 8:32
 01/23/2009  8:32 AMAM -- PHONE
                          PHONE Note
                                Note 34
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: DR OBERSTEIN
 Text: [01/23/2009 - FURGALACK, MONIQUE]REC'D VM MESSG FROM WEDNESDAY AT DR OBERSTEIN'S OFFICE, SHE STATED
 Text:
 SHE WAS CALLING ABOUT MED REQUEST WE SENT, PH# 860-547-1278, EXT. 250...RETURNED HER CALL, REACHED
 RECEIPTIONIST WHO STATED WILL PROVIDE MESG TO THE OFFICE TO CALL ME BACK. LEFT NAME/PH# & EXT.

 01/22/2009 12:45 PM - CLAIM Note 56
                                  56
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX CONFIRMATION
 Text: [01/22/2009
       [01/22/2009 - FURGALACK, MONIQUE]YOUR FAX HAS BEEN SUCCESSFULLY SENT TO DR. OBERSTEIN                     OBERSTEIN AT 18605471301.
                                          547-1301 ------------------------------------------------------------
 RE: CLAIM: REDACTED- SPEARS - FAX: (860) 547-1301
 FROM: /O=LIBERTYMUTUAL/OU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345
         /0=LIBERTYMUTUALJOU=HOMEOFFICE/CN=RECIPIENTS/CN=N0045345 ------------------------------------------------------------
 TIME: 1/22/2009 12:40:27 PM SENT TO 18605471301 WITH REMOTE ID 860 5471301       5471301 RESULT:
                                                                                               RESULT: (0/339;0/0)
                                                                                                            (0/339;0/0) SUCCESSFUL
                                                                                                                        SUCCESSFUL SEND
                                                                                                                                   SEND
 PAGE RECORD: 1 - 3 ELAPSED TIME: 00:40 ONCHANNEL 13

                               Note 55
 01/22/2009 12:41 PM - CLAIM Note   55
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: FAX TO DR OBERSTEIN
 Text: [01/22/2009 - FURGALACK, MONIQUE]CALLED DR OBERSTEIN'S OFFICE (ENDOCRINOLOGY) PH# 860-547-1278, AND
 OBTAINED FAX # 860-547-1301. FAXED REQUEST TO DR OBERSTEIN TODAY FOR RECORDS FROM INITIAL OV 1/21/09 TO
 PRESENT.
 PRFRFNT


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 PRESENT.

 01/22/2009 12:31 PM - CLAIM Note 54
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: REQUEST TO ER
 Text: [01/22/2009 - FURGALACK, MONIQUE]SENT 2ND REQUEST TO ER/CARLOS DEL PORTAL, FOR CONFIRMATION OF LTD
 COVERAGE IN EFFECT AT DOD, IN ORDER TO CONVERT TO LTD

 01/22/2009 12:30 PMPM -- CLAIM
                          CLAIM Note
                                Note 53
                                     53
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Managed
                       Managed Care
                               Care
 Other Subject
 Other  Subject : MDS FILE REVIEW
 Text: [01/22/2009 - FURGALACK, MONIQUE]REFERRAL FOR MDS FILE REVIEW - DOES MEDICAL INFORMATION SUPPORT
 R&LS/IMPAIRMENT BEYOND 1/7/09 FOR PART TIME CAPACITY? AP INDICATES PART TIME APPROX ONE MONTH. PROVIDER
 CONTACT IF INDICATED.

                   PM -- PHONE
 01/22/2009 12:05 PM     PHONE Note
                               Note 33
                                    33
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                   Called
 Other Subject
 Other  Subject ::
 Text: [01/22/2009 - FURGALACK, MONIQUE]REC'D RETURN CALL FROM CLMT - ADVISED HER OF MEDICAL RECD
                                                                                             REC'D ON RECENT
 N&P THAT WAS SENT BY STD DCM AND FILE WILL BE REFERRED FOR MEDICAL REVIEW FOR REVIEW OF STD BEYOND
 1/7/08, ADVISED CLMT INITIALLY WE WERE INFORMEDSHE COULD RTW FULL TIME ON 1/8/09 AND THEN NOTE CAME FROM
 DR SILVER INDICATING PART TIME AND WORK UP TO FULL TIME APPROX A MONTH - CLMT STATED THAT MEANS APPROX
 2/8/09 BUT SHE WAS NOT SURE WHEN WOULD BE RTW FULL TIME - ASKED CLMT WHAT CHANGED FROM BEING ABLE TO
 RTW FULL TIME TO THE PART TIME STATUS, AS ER INDICATED SHE HAD DRS APPTS SO WOULD BE PART TIME - ADVISED
 CLMT THAT HAVING DR APPTS IS NOT A SOLE REASON FOR DISABILITY - CLMT STATED IT WAS DUE TO HER SYMPTOMS
 AND MEDICAL CONDITION THAT SHE WAS ADVISED TO BE PART TIME FOR NOW. SHE STATED THAT DR SILVERS IS THE DR
 PROVIDING RESTRICTIONS REGARDING DISABILITY STATUS, AND DID NOT KNOW WHY STD DCM REQUSTED MEDICAL
 FROM ALL HER OTHER DRS, BUT THEN STATED THAT SHE HAS A NEW DR, DR OBERSTEIN,PH# 860-547-1278 THAT SHE
 SAW FOR FOV ON 1/21/09, COULD NOT PROVIDE SPECIALTY OVER PHONE AS SHE IS AT WORK, & SHE STATED THIS DR
 INFO SHOULD BE PART OF THE REVIEW OF HER CLAIM. ADVISED CLMT I WILL CONTACT DR OBERSTEIN'S OFFICE FOR
                                                                          REC'D. CLMT ASKED HOW LONG SHE
 THEIR FAX # ANDSEND REQ FOR THE 1/21 OV NOTES TO ADD TO HER FILE WHEN RECD.
 HAS ON N&P ON STD TO PROVIDE MEDICAL, ADVISED HER PER THE N&P LETTER SENT, UNTIL 3/1/09. ADVISED CLMT OF
 REVIEW FOR LTD ALSO.[01/22/2009 - FURGALACK, MONIQUE]ALSOADVISED CLMT THAT DR KAGE'S OFFICE HAS STATED
 THEY NEED AUTH FROM HER - CLMT STATED SHE WILL PROVIDE AUTH TO THEM. SHE ALSO STATED THAT ALTHOUGH DR
 BAEHRING RESPONDED THAT THEY HAVE NOT SEEN HER SINCE 1/1/09 AND ARE NOT TX HER FOR A DISABILITY, SHEHAS
 UPCOMING OV WITH THEM.

 01/22/2009 10:31 AM - PHONE Note 32
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject ::
 Text: [01/22/2009
 Text: [01/22/2009 -- FURGALACK, MONIQUE]CALLED CLMT PH# 860-930-0887 - SHE STATED SHE WILL NEED TO CALL BACK,
 AND WILL PROVIDE INFO ON A NEW DR SHE NEEDS TO REPORT TO US *** WHEN CLMT RETURNS CALL, NEED TO CONFIRM
 ERTW FULL TIME, INFO RECDREC'D FROM DR IS THATSHE WAS RELEASED TO RTW PART TIME ON 1/8/09 WHICH ER CONFIRMED
 SHE DID, AND ERTW FULL TIME IN A MONTH FROM THAT DATE..NEED TO CONFIRM DATE OF FULL TIME RTW. ALSO REMIND
 FOR MED INFO STD DCM REQUESTED ON N&P FOR ONGOING REVIEW OF HER STD CLAIM.***

 01/22/2009 9:59
 01/22/2009  9:59 AM
                   AM -- CLAIM Note 52
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                    Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject : DR. BAEHRING
 Text: [01/22/2009 - HAYDEN, MARY]RECD FAXED RETURNED REQUEST FROM DR. BAEHRING ADVISING EE NOT SEEN FROM
 1/1/09 - PRESENT. NO TX PLAN AND NOT TREATING HER FOR DISABILITY ISSUES.

 01/22/2009 9:58
 01/22/2009  9:58 AM
                   AM -- PHONE Note 31
 Claim/Event/Leave: REDACTED
 NoteSubject : AP Called
 Other Subject
 Other  Subject : DR. KAGE
 Text: [01/22/2009 - HAYDEN, MARY]RECD CALL FROM DR. KAGE'S OFFICE. NO AUTH ON FILE TO RELEASE MED RECORDS.
 EE WILL NEED TO COME TO OFFICE TO SIGN AUTHORIZATION BEFORE ANY INFO IS RELEASED. DCM ADVISED THAT
 CLAIMANT HAS AUTH, WILL BE NOTIFIED. NO FURTHER QUESTIONS.

 01/20/2009 1:40 PM - CLAIM Note 51
 01/20/2009
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : RTW PART TIME
 Text: [01/20/2009 - FURGALACK, MONIQUE]PER NOTICE RECD
                                                   REC'D FROM ER, CLMT RTW PART TIME ON 1/8/09, WITH ERTW FULL
 TIME IN ONE MONTH

 01/20/2009 10:30 AM - CLAIM Note 50
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                    Records Rcvd
                            Rcvd
 Other Subject
 Other  Subject : DR. ZAGAR
 Text: [01/20/2009 - HAYDEN, MARY]RECD FAXED MED RECORDS FROM DR. ZAGAR, NEUROLOGY. OV NOTE 1/12/09. EEG
 REPORT DATED 9/17/08 MRI REPORT DATED 10/6/08 MRI REPORT DATED 9/2/08 CT HEAD REPORT DATED 8/28/08 LAB

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 REPORTI LJA
 KtFIJK  DATED    9/17/08.
             I tU U/1        MRI REPORT
                      //U15. MK! 1-(t FIJK I DATED
                                             LJA I tU 10/6/08.   MRI REPORT
                                                      1ll/b/U15. MK!             DATED
                                                                     1-(t FIJK I LJA      9/2/08.CTI IltAU
                                                                                     I tU U/Z/U15.t.; HEAD REPORT      DATED
                                                                                                           1-(t FIJK I LJA      8/28/08. LAB
                                                                                                                           I tU 15/Z15/U15. LAI:5
                    1/7/09, 9/24/08,
 TEST RESULTS DATED 1/7/09, 9/24/08, 9/18/08,8/28/08.
                                     9/18/08,8/28/08.

 01/20/2009 10:23
 01/20/2009  10:23 AM - CLAIM Note 49
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR. SILVERS
 Text: [01/20/2009 - HAYDEN, MARY]RECD FAXED MED RECORDS FROM DR. SILVERS. OV NOTES 11/14/08, 9/8/08 INCLUDED.
                                           REPORT DATED
 CT HEAD REPORT DATED 8/28/08, MRI BRAIN REPORT   DATED 9/2/08, EEG STUDY
                                                        9/2/08, EEG STUDY 10/7/08-10/8/08,
                                                                          10/7/08-10/8/08, ABDOMINAL ULTRASOUND
 DATED 11/19/08.
          11/19/08.

 01/20/2009 10:21 AM - CLAIM Note 48
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                    Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject : DR. O'BRIEN
 Text: [01/20/2009 - HAYDEN, MARY]RECD FAXED MED RECORDS FROM DR. O'BRIEN, DIGEST HEALTH SPEC. OV NOTES
 4/8/08, 10/14/08,
 4/8/08, 10/14/08, 12/16/08 INCLUDED.

 01/20/2009 8:48
 01/20/2009  8:48 AM - CLAIM Note 47
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: LTD COVERAGE
 Text: [01/20/2009
 Text: [01/20/2009 -- FURGALACK, MONIQUE]SENT INQUIRY TO ER - CARLOS DEL PORTAL, TO CONFIRM WHAT LTD COVERAGE
                                                                                    CLASS 3
 CLMT HAD IN EFFECT AS OF HER DOD IN 2008. ELECTRONIC ELIGIBLITY FEED SHOWS LTD CLASS       66 2/3%
                                                                                          3 66      AS OF
                                                                                               2/3% AS    1/1/09,
                                                                                                       OF 1/1/09,
 BUT NEED CONFIRMATION OF WHAT COVERAGE WAS IN EFFECT ON DOD IN ORDER TO CONVERT TO LTD.

 01/19/2009 10:35
 01/19/2009  10:35 AMAM -- CLAIM Note 46
 Claim/Event/Leave: REDACTED
 NoteSubject :: Escalation
 NoteSubject    Escalation
 Other Subject
 Other  Subject :: COMPLETED
 Text: [01/19/2009 - HAMLIN, LORI]FILE ESCALATED TO LTD CASE MANAGER.

 01/19/2009 8:13
 01/19/2009  8:13 AMAM -- CLAIM Note 45
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject :: ESCALATION
 Text: [01/19/2009 - HAYDEN, MARY]SENT ESCALATION LTR TO EE. STATUS EMAIL TO ER.

 01/19/2009 8:05
 01/19/2009  8:05 AMAM -- CLAIM Note 44
 Claim/Event/Leave: REDACTED
 NoteSubject : Escalation
 Other Subject
 Other  Subject :: TO SEVERE
 Text: [01/19/2009 - HAYDEN, MARY]STD MAX BEN DATE 3/27/09. APPROVED THRU 1/6/09. 31 YOF. JOB: ADMINSTRATIVE
 SUPPORT. PROVIDE SECRETARIAL AND ADMINISTRATIVE SUPPORT TO P&W/MILITARY ENGINES DIRECTOR, DOMESTIC
 BUSINESS DEVELOPMENT AND THE MANAGER, AFTERMARKETBUSINESS DEVELOPMENT. REQUIRES DECISION MAKING
 AND PROBLEM SOLVING WITH MINIMAL DIRECTION. ABLE TO WORK UNDER PRESSURE TO MEET PROJECT
 DEADLINES/SCHEDULES. INDIVIDUAL SHOULD PROJECT A HIGH LEVEL OF CONFIDENCE AND JUDGMENT IN A HIGHLY
 VISIBLE ADMINISTRATIVE POSITION. ABILITY TO BE FLEXIBLE & ABLE TO WORK IN A TEAM ENVIRONMENT AND INTERACT
 WITH ALL LEVELS OF ORGANIZATION. OVERTIME MAY BE REQUIRED - ON AN AS NEEDED BASIS. SIT 40%, LIFT 1%, WALK
 5%, STAND 4%, TYPE 50%. SEDENTARY JOB DESC. EE RTW PART-TIME EFFECTIVE 1/8/09. ONGOING MEDICAL REQUESTED
 FOR POSS EXTENSION. MEDICAL HX: MIGRAINES, DAILY TENSION HEADACHES. MOST RECENT MDS RECOMMENDATIONS:
 CP REVIEW COMPLETED 12/23/08 - ADVISED ERTW DATE OF 1/7/09 APPEARS REASONABLE. FULL REPORT IN FILE.
 CURRENT R&LS: PER AP, DUE TO PATIENTSPATIENT'S MEDICAL CONDITION, RECOMMENDATION THAT EE RETURN TO WORK ON
 PART-TIME BASIS, AND WORK HER WAY UP TO FULL-TIME STATUS WITHIN NEXT MONTH. OUTSTANDING MED INFO: FAXED
 PART-TIME
 MED REQUEST TO DR. O'BRIEN, DR. DONALDSON,DR. KAGE, DR. BAEHRING, DR. ZAGAR, ANDR. SILVERS (OV NOTES &
 TEST RESULTS 1/1/09 - PRESENT, TX PLAN, ERTW DATE). N&P DUE 3/1/09. QUESTIONABLE ACTIVITY OR CIRCUMSTANCES:
 EE IS TREATING W/ SEVERAL DIFFERENT DOCTORS, CONTINUES TO BE REFERRED TO OTHERDOCTORS. MEDICAL
 INFORMATION FROM ALL CURRENT PHYSICIANS HAS BEEN REQUESTED. EE INDICATES THAT SHE IS UNABLE TO RETURN
 TO WORK FULL TIME DUE TO ONGOING DOCTOR APPOINTMENTS AND HER CURRENT HEALTH CONDITION. ACTION PLAN:
 REVIEW MED RECORDS ONCE RECD FOR ONGOING DETERMINATION. MISC NOTES: EE REQUESTED TO BE REACHED AT
        PHONE #
 CELL PHONE         860-930-0887.
                  # 860-930-0887.

 01/16/2009 3:40
 01/16/2009  3:40 PMPM -- CLAIM Note 43
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject :: N&P
                   N&P DUE
                       DUE 3/1/09
                             3/1/09
 Text: [01/16/2009               MARY]ADD'L MED INFO NEEDED TO EXTEND. FAXED MED REQUEST TO DR. O'BRIEN, DR.
       [01/16/2009 - HAYDEN, MARY]ADD1
 DONALDSON, DR. KAGE, DR. BAEHRING, DR. ZAGAR, ANDR. SILVERS (OV NOTES & TEST RESULTS 1/1/09 - PRESENT, TX
 PLAN, ERTW DATE). N&P DUE 3/1/09. LTR TO EE. EMAIL TO ER CONTACT.

 01/16/2009 3:38
 01/16/2009  3:38 PM
                   PM -- PHONE
                         PHONE Note
                               Note 30
                                    30
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : UPDATE
 Text: [01/16/2009 - HAYDEN, MARY]CALLED EE T# 860-930-0887 REGARDING STATUS. EE ADVISED THAT SHE RTW 1/8/08
 PART-TIME. DR. SILVERS ADVISED HER TO WORK PART TIME DUE TO ONGOING APPOINTMENTS AND HEALTH. EE STATED
 THAT SHE IS NOT ABLE TO FUNCTION. DCM ASKED HOW MANY HOURS SHE HAS BEEN WORKING. EE REPLIED THAT SHE


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 WAS NOT PREPARED TO ANSWER QUESTIONS, BUT DIDN'T WORK MONDAY OR TUESDAY, THINKS SHE WORKED 5-6
 HOURS NO WED - THURS. EE STATED THAT SHE HASN'T SEEN DR.SILVERS RECENTLY, BUT SPOKE WITH HIM ON
 THEPHONE. DR. SILVERS IS THE ONLY DOCTOR INVOLVED IN HER BEING OUT OF WORK AT THIS TIME, BUT SHE IS
 TREATING W/ SEVERAL OTHER DOCTORS. DCM CONFIRMED CURRENT TREATING PROVIDERS: DR. O'BRIEN, DR.
 DONALDSON, DR. KAGE, DR. BAEHRING, DR. SILVERS, AND DR. ZAGAR. DCM TO N&P ALL DOCTORS FOR FURTHER
                           QUESTIONS.
 INFORMATION. NO FURTHER QUESTIONS.

 01/16/2009 9:50 AM - PHONE Note 29
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called ER
 NoteSubject
 Other Subject
 Other  Subject :: RTW CLARIFICATION
 Text: [01/16/2009 - HAYDEN, MARY]CALLED ER CONTACT CARLOS DELPORTAL, T# (860)565-4118 REGARDING RTW PT. LEFT
 VMX FOR RETURN CALL.[01/16/2009 - HAYDEN, MARY]RECD RETURN CALL FROM ER CONTACT CARLOS DELPORTAL. EE
 ADVISED CARLOS THAT SHE WOULD HAVE TO GO TO SEVERAL DOCTORS APPOINTMENTS IN THE UPCOMING WEEKS. EE
 WAS CONCERNED THAT SHE WOULDN'T GET PAID FOR TIME MISSED WHEN SHE COULD BE ON DISABILITY. CARLOS
 ADVISED THAT SHE WOULD NEED SUPPORTING DOCTOR INFORMATION. DCM ADVISED OF RELEASE FOR PT RTW RECD,
 CARLOS ADVISED THAT EE STATED SHE MIGHT BE RETURNING TO WORK FT B/C SHE COULDN'T GET RELEASE FROM
 DOCTOR. UNDERSTANDING IS THAT EE WILL WORK 4-8 HOURS PER DAY DEPENDING ON DOCTORS APPOINTMENT AND
 TREATMENTS. EE ADVISED CARLOS THAT 'TREATMENTS' COULD LAST ALL DAY. DCM ADVISED THAT SHE WOULD
 CONTACT EE TO DISCUSS, REQUEST UPDATED MEDICAL RECORDS. ER AGREED. NO FURTHER QUESTIONS.

 01/14/2009 12:44 PM - CLAIM Note 42
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR. SILVERS
                                                                                         PATIENT'S MEDICAL
 Text: [01/14/2009 - HAYDEN, MARY]RECD FAXED NOTE DATED 1/13/09 FROM DR. SILVERS. DUE TO PATIENTS
 CONDITION, RECOMMENDATION THAT EE RETURN TO WORK ON PART-TIME BASIS, AND WORK HER WAY UP TO FULL-TIME
 STATUS WITHIN NEXT MONTH.

                                   41
 01/14/2009 10:13 AM - CLAIM Note 41
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: 90 DAY REVIEW
 Text: [01/14/2009 - BUDER, CHARLES]CLAIM REVIEWED BY SR DCM, PLAN AND DURATION APPROPRIATE. DX: MIGRAINE
 HEADACHES. MED INFO IN FILE SUPPORTS RESTRICTIONS THRU PARTIAL RTW DATE. CLAIM REVIEWED BY MDS. CM TO
 F/U AND CONFIRM EE WAS RELEASED FT BY AP AND CLOSE CLAIM, IF EE RTW PARTIALLY AND IS CLAIMING DISABILITY,
 CM TO REQ UPDATED MED INFO, SEND FOR LONG AUTH, AND FIND NEW ERTW FT. NO PAYMENT ERRORS. JOB DESC IN
 FILE. TASK TO ESCALATE IN 51. S1.

 01/13/2009 8:57
 01/13/2009  8:57 AM
                   AM -- CLAIM Note 40
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject : EMAIL TO ER
 Text: [01/13/2009
       [01/13/2009 - HAYDEN, MARY]EMAILED ER CONTACT CARLOS DELPORTAL TO CLARIFY IF EE WAS RELEASED PT OR FT.
 EE INDICATED ON 1/7/09 THAT AP RELEASED HER FT, BUT HR WANTED HER TO RTW PT DUE TO ONGOING AP APPTS.
 [01/14/2009 - HAYDEN, MARY]RECD REPLY FROM ER CONTACT. ADVISED INFORMATION IS CORRECT.

 01/13/2009 8:44 AM - CLAIM Note 39
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : RTW PT
 Other
 Text: [01/13/2009 - HAYDEN, MARY]RECD REPLY FROM ER CONTACT CARLOS DELPORTAL. EE RTW PART-TIME ON 1/8/09.
 WILL BE ON PARTIAL DAYS FOR A COUPLE FO WEEKS, AS THE AP RECOMMENDS.

 01/09/2009 7:43
 01/09/2009  7:43 AMAM -- CLAIM
                          CLAIM Note
                                Note 38
                                     38
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: RTW CONFIRMATION
 Text: [01/09/2009 - HAYDEN, MARY]EMAILED ER CONTACT HALEY SPEARS TO CONFIRM RTW.[01/09/2009 - HAYDEN, MARY]
 CORRECTION: ER CONTACT CARLOS DELPORTAL

 01/07/2009 10:43
 01/07/2009  10:43 AM - PHONE Note 28
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : UPDATE
 Text: [01/07/2009 - HAYDEN, MARY]CALLED EE C# 860-930-0887 FOR UPDATE. EE STATED THAT SHE PLANS TO RTW 1/8/09,
 BUT SPOKE W/ SUPERVISOR AND THEY SAID THEY WANT HER TO RTW PART-TIME. EE TOLD THEM SHE HAS EXTENSIVE
 DOCTOR APPTS TO ATTEND. DCM ASKED ABOUT RTWRELEASE FROM AP. AP RELEASED EE TO RTW FULL-TIME. EE
 AWAITING RETURN CALL FROM HR REGARDING STATUS. DCM ADVISED OF EXPECTED RTW FULL-TIME PER AP, WILL
 CONFIRM W/ HR. EE TO CONTACT ADCM W/ ANY FURTHER QUESTIONS.

 01/06/2009 4:15
 01/06/2009  4:15 PM - PHONE Note 27
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : UPDATE
 Text: [01/06/2009 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 FOR UPDATE. RTW DATE? LEFT VMX FOR RETURN CALL.
 Text:



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 01/05/2009 1:36
 01/05/2009  1:36 PM
                  PM -- CLAIM Note 37
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : WLFD RECD
 Other                  REC'D FILE
 Text: [01/05/2009 - GIAIMO, BONNIE]FILE RECD
                                         REC'D VIA UPS FROM LM OFFICE DOVER PBMS DELIVERED FILE TO DCM

 12/31/2008 7:56
 12/31/2008  7:56 AM
                  AM -- CLAIM
                        CLAIM Note
                              Note 36
                                   36
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : FILE SHIPPED
 Other
 Text: [12/31/2008 - PLAISTED, SHELLEY]FILE SHIPPED TO THE WALLINGFORD OFFICE BY UPS GROUND SERVICE.

                               Note 35
 12/29/2008 12:41 PM - CLAIM Note   35
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR. SILVERS
 Text: [12/29/2008 - HAYDEN, MARY]RECD PREVIOUSLY FAXED REST FORM DATED 11/11/08 FROM DR. SILVERS. ERTW 1/8/09.
 ALSO RECD RETURNED LTR FROM DR. SILVERS ADVISING ERTW 1/8/09.

 12/23/2008 11:09 AM - PHONE Note 26
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: EXTENSION
 Text: [12/23/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 AND C# 860-930-0887 TO ADVISE OF EXTENSION. LEFT VMX
 FOR RETURN CALL.[12/23/2008 - HAYDEN, MARY]RECD RETURN CALL FROM EE. DCM ADVISED OF EXTENSION THRU 1/6/09.
 ERTW 1/7/09, BUT EE HAS SEVERAL DOCTORS APPTS. EE HOPES TO BE ABLE TO RTW THEN. DCM ADVISED THAT IF NO
 RTW, UPDATED MED INFO FROM ALL TREATING PROVIDERS WILL BE NECESSARY FOR FURTHER REVIEW. ADCM
                                                                                               NEUROLOGIST DR.
 REVIEWED ALL PROVIDERS W/ EE: OV W/ RHEUMATOLOGIST DR. BARBARA CAGE ON 1/6/09; OV W/ NEUROLOGIST           DR.
 DONALDSON AT UCONN ON 1/20/09; OV W/ NEUROLOGIST DR. BAEHRING AND MRI ON 12/27/08; ALSO TREATING W/ GI
 PHYSICIAN DR. O'BRIEN IN MANCHESTER, CT. NOV UNKNOWN. NOV W/ DR. SILVERS IS 1/21/09. EE BEGAN PHYSICAL
 THERAPY EFFECTIVE 12/22/08 AT PHYSICAL THERAPY OF ROCKY HILL, T# 860-513-1431. DCM ADVISED OF PAYMENT INFO
                               QUESTIONS.
 AND PROCESS. NO FURTHER QUESTIONS.

 12/23/2008 11:04 AM - CLAIM Note 34
 Claim/Event/Leave: REDACTED
 NoteSubject :: Status
 NoteSubject    Status Report
                       Report
 Other Subject : EXTENDED BENEFITS
 Other
 Text: EXTENDED BENE THRU 1/6/09. ADD'L MED INFO NEEDED TO EXTEND.

             11:03 AM
 12/23/2008 11:03    AM -- CLAIM
                           CLAIM Note
                                  Note 33
                                       33
 Claim/Event/Leave: REDACTED
 NoteSubject :: Extended
 NoteSubject    Extended Benefits
                           Benefits
 Other Subject
 Other  Subject :: THRU
                   THRU 1/6/09
                         1/6/09
 Text: [12/23/2008 - HAYDEN, MARY]EXTENDED APPROVAL THRU 1/6/09 (ERTW 1/7/09, R&LS SUPPORTED, CP REVIEW). DX:
 DAILY TENSION TYPE HEADACHE, CALLIC MIGRAINE HEADACHE, NONSPECIFIC MRI ABNORMAILITY, NONSPECIFIC EEG
 ABNORMAILITY. R&LS: EE 00W     OOW UNTIL 1/7/09. JOB:ADMIN ASSISTANT (SEDENTARY). ACTION PLAN: CALL EE FOR UPDATE.

 12/23/2008 11:02 AM - CLAIM Note 32
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : CP REVIEW COMPLETE
 Text: [12/23/2008 - HAYDEN, MARY]RECD COMPLETED CP REVIEW. SUMMARY: A RETURN TO WORK DATE OF 1/7/09
 APPEARS REASONABLE.

 12/17/2008 2:36 PM - CLAIM Note 31
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject : FILE RECEIVED
 Other
 Text: [12/17/2008 - PLAISTED, SHELLEY]FILE RECEIVED IN THE DOVER OFFICE AND PLACED IN THE CP CABINET FOR DR.
 POTTS
 POTTS

 12/15/2008 8:53
 12/15/2008  8:53 AM
                   AM -- CLAIM
                         CLAIM Note
                               Note 30
                                    30
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                    Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject : DR. BAEHRING
 Text: [12/15/2008 - HAYDEN, MARY]RECD FAXED REST FORM DATED 12/11/08 FROM DR. BAERING. LOV 11/25/08. NOV 1/27/08.
 DX: 794.09. ABNORMAL BRAIN SCAN. R&LS NOT ASSESSED. ONLY SEEING PT FOR MRI SCAN ABNORMALITY. R&LS: N/A.

 12/12/2008 3:53 AM - CLAIM Note 29
 Claim/Event/Leave: REDACTED
 NoteSubject :: Ref
 NoteSubject    Ref to
                     to Other
                        Other
 Other Subject
 Other  Subject :: SCORE REFERRAL
 Text: 12/11/2008 - REFERRED TO CONSULTING PHYSICIAN FOR COMPLETE REVIEW.

 12/11/2008 1:01 PM - CLAIM Note 28
 Claim/Event/Leave: REDACTED


                                                                                                     Liberty002310
                                                                                                     Liberty002310

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 NoteSubject :: Ref
 NoteSubject    Ref to
                    to Managed
                       Managed Care
                               Care
 Other Subject
 Other  Subject : FULL FILE REVIEW
 Text: [12/11/2008 - HAYDEN, MARY]REFERRED TO DOVER OFFICE FOR FULL FILE REVIEW.

 12/11/2008 1:00 PM - CLAIM Note 27
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to AP
 NoteSubject
 Other Subject
 Other  Subject : DR. BAEHRING
 Text: [12/11/2008 - HAYDEN, MARY]FAXED MED REQUEST TO DR. BAEHRING (OV NOTES & TEST RESULTS 11/1/08 --
 PRESENT, REST
 PRESENT,    REST FORM).
                    FORM).

 12/11/2008 12:45 PM - PHONE Note 25
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : ADD'L PROVIDERS?
 Text: [12/11/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 FOR UPDATE AND TO CONFIRM IF EE TREATING W/ ANY
 OTHER PROVIDERS. EE STATED THAT SHE DID SEE DR. BAEHRING, OV DATE UNKNOWN. AP FOUND CYST ON BRAIN FROM
 MRI FINDINGS. EE STATED THAT DR. GORDON ANDDR. SILVERS REVIEWED SAME RESULTS, BUT DID NOT FIND CYST. EE
 REFERRED TO HEADACHE CLINIC. CONTACT INFO AND APPT INFO UNKNOWN. NOV W/ DR. BAEHRING IS JANUARY 2009. EE
 ALSO HAS NODULES ON HER THYROID. REFERRED BY GI DR. JAMES O'BRIEN TO ENDOCRINOLOGYAND RHEUMATOLOGY.
 EE NEEDS AN ULTRASOUND OF THYROID AND POSSIBLE BIOPSY OF LIVER. APPTS ARE IN JANUARY. DCM ASKED WHEN
 LOV W/ DR. O'BRIEN WAS. EE STATED THAT SHE DOESN'T RECALL, S/W HIM OVER THE PHONE, ORDERED ULTRASOUND.
 DCM ADVISED THAT CLAIM WILLBE REFERRED FOR CP REVIEW. NO FURTHER QUESTIONS.

 12/10/2008 9:29
 12/10/2008  9:29 AM - CLAIM Note 26
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR. SILVERS
 Text: [12/10/2008 - HAYDEN, MARY]RECD FAXED NOTE DATED 11/14/08 FROM DR. SILVERS. PROBLEM LIST: MIGRAINE W/
         H/O 'BLACKOUTS,
 AURA, H/0   'BLACKOUTS', ASTHMA, COLITIS, PEPTIC ULCER DISEASE. HX: F/U. NOW ON NEURONTIN RECENTLY INCREASED
 AND NOW ON 1200 MG TWICE DAILY. IN EARLYOCTOBER WENT ON PAMELOR 25 MG AT BEDTIME. HEADACHES HAVE
 IMPROVED PARTIALLY. DESCRIBES HAVING SIGNIFICANT H/A ABOUT 4 TIMES PER WEEK. NAUSEOUSNESS BUT NO
 VOMITING. SHE DOES GET SMELL BUT NO LIGHT OR SOUND SENSITIVITY. HEADACHE CAN LAST ANYWHERE FROM4-8 HRS
 OR MORE. ALSO USES HYDROCODONE. ALSO GETS MINI BLACKOUT SPELLS. AGANI NOTES A SENSE OF SOMETIMES NOT
 SEEMINGLY THERE OR STUTTERING. HAD A 24 HR EEG THAT WAS NEGATIVE. MRI SHOWED SOME THYROID NODULES
 WHICH MAY NEED TO BE FOLLOWED UP ON. ALSOSUFFERS FROM INSOMNIA. NOW ALSO FINISHING A PREDNISONE TAPER
 WHICH SHE FEELS IS HELPING A BIT. OTHER COMPLAINTS INCLUDE A SENSE OF BLOCKAGE IN EARS, PERSISTENT
 ELEVATIONS OF LIVER FUNCTION TESTS, SOME TRANSIENT RT-SIDED FLANK PAIN. SHE CORRECTS ME AND TELLS ME
 THAT SHE IS NO LONGER IRRITABLE AS WAS WRITTEN IN MY FIRST NOTE. MEDS: NEURONTIN 1200, PAMELOR 25,
 SINGULAIR, PREVACID, ASACOL, CINTRACAL, NAPRELAN, FROVA, ZOFRAN, VICODIN. B-COMPLEX. IMPRESSION: TOLD HER
 SHE CAN F/U EITHER W/ MYSELF OR DR. GORDON. FOR NOW WILL CONTINUE ON NEURONTIN 1200 MG, INCREASE AFTER
 A COUPLE OF WEEKS IF HEADACHES ARE NOT IMPROVING. ALSO ADD ON RIBOFLAVIN AND MAGNESIUM FOR
 PHOPHYLAXIS. SHOULD CHECK W/ GASTRONEUROLOGIST ABOUT LIVER FUNCTION AND OTHER GI SYMPTOMS,THOUGH
 MAY BE MEDICATION RELATED. CAN MAKE A 3 MONTH F/U IF SHE WISHES. PREVIOUSLY RECD REST FORM DATED 11/11/08
 ALSO FAXED.

 12/09/2008 4:06
 12/09/2008  4:06 PMPM - PHONE Note 24
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                     Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [12/09/2008 - DELPO, GAYLE]TCF EE FOR STATUS. S/W ADCM. CONFD THAT ADCM DID RECV MIN INFO FROM AP.
 ADVISED THAT ADCM WILL DOC THE INFO AND WILL ALSO HAVE THE INFO REVD BY A CP. ADVISED EE OF GEN CP REVIEW
 PROCESS. CONFD THAT ADCM WILL PROVIDE UPDATE, EITHER EXTENSION OR DENIAL. EE MAY CALL BACK TO FIND OUT
 DATE OF CP REVIEW OR DUE DATE FOR CP REVIEW.

             3:11 PM - PHONE Note 23
 11/24/2008 3:11
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [11/24/2008 - HAYDEN, MARY]RECD CALL FROM EE REGARDING STATUS OF NOTES FROM DR. SILVERS. DCM ADVISED
 NO ADD'L INFO RECD FROM DR. SILVERS. ADCM READ THROUGH INFORMATION RECD FROM DR. SILVERS TO EE. EE
 ASKED IF ADCM CONTACTED AP OFFICE TO OBTAIN MED INFO VIA TELEPHONE. DCM REITERATED THAT INFO MUST BE IN
 WRITING, LM NEEDS OV NOTES FOR FURTHER DETERMINATION. EE WANTED TO CONFIRM THAT CELL NUMBER WAS
 LISTED IN FILE. DCM CONFIRMED. EE TO CONTACT DR. SILVERS OFFICE. NO FURTHER QUESTIONS.

 11/20/2008 4:29 PM - PHONE Note 22
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: WITH CONCERNS
 Text: [11/20/2008 - RUPE, BRIAN]MGR RECEIVEED CALL FROM EE WITH CONCERNS ABOUT THE STATUS OF HER CLAIM. EE
 STATED THAT DR. SILVER'S NOTES WILL NOT BE DICTATED FOR TWO WEEKS AND WOULD LIKE US TO CALL THE AP'S
 OFFICE TO DISCUSS THE CLAIM. MGR STATED THAT THE OFFICE VISIT NOTES FROM DR. SILVERS WOULD BE NECESSARY
 IN ORDER TO DETERMINE ONGOING DISABILITY. MGR EXPLAINED DISABILITY PROCESS IN DETAIL. EE UNDESTOOD. EE
 HAD QUESTIONS ABOUT HER JOB SECURITY. MGR DIRECTED HER TO HER HR. EE STATED THAT SHEIS ALSO GOING TO PT
 FOR HER NECK PAIN. MGR ASKED ABOUT THE ETIOLOGY OF HER NECK PAIN OR IF SHE HAS EVER SEEN AN ORTHO. EE
 STATED THAT SHE HASN'T AND IT WAS PRESCRIBED B/C DR. SILVERS FELT IT MAY HELP. EE ASKED THAT WE USE HER C#
 860 930 naa7
 Dan
          0887 AS    HER PRIMARY# MGR AGREED AND
                  AO LICO MOIRAAON/41. RA/2O Anoccrt
                                                         EE HAD NO FURTHER QUESTIONS
                                                     /WM CC LJAr Alfl CI 101- 1_1C0 IC01 - 1/11k10




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                                                                                                 Liberty002311

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 860-930-0887
 VVV - .7JV - VVVI AS HER
                   AJ I IGII PRIMARY#.         MGR
                             r 1111V111, I tl. IVIV    AGREED 111,11..I
                                                    II AVIIGGU AND EE   GC HAD       NO 1FURTHER
                                                                           I 1111..I Pala - U, I I IGII QUESTIONS.
                                                                                                        %AUG,' I lialYsJ.



                                  21
 11/20/2008 11:57 AM - PHONE Note 21
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called
 NoteSubject    Called EE
                       EE
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [11/20/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 TO ADVISE ADD'L INFO FROM DR. SILVERS NEEDED FOR
 FURTHER DETERMINATION. LEFT VMX FOR RETURN CALL.

 11/18/2008 9:54 AM - PHONE Note 20
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: DR. SILVERS
 Text: [11/18/2008 - HAYDEN, MARY]CALLED DR. SILVERS' OFFICE, T# 860-522-4429. S/W EMILY WHO ADVISED THAT OV
 NOTES ARE SENT OUT FOR TRANSCRIPTION, TAKES 2 WEEKS FOR THEM TO COME BACK. DCM ASKED IF HANDWRITTEN
 NOTES COULD BE FAXED TO ADCM. EMILY TO CHECK W/AP AND WILL FAX IF POSSIBLE. NO FURTHER QUESTIONS.

 11/18/2008 9:49 AM - CLAIM Note 25
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR.
                   DR. GORDON
 Text: [11/18/2008 - HAYDEN, MARY]RECD FAXED MED RECORDS FROM DR. GORDON. OV NOTE 11/3/08: 30 YOF LAST SEEN
 ON 10/1/08.
 ON  10/1/08. AT
              AT THAT
                   THAT TIME,
                        TIME, HAD
                              HAD DAILY
                                  DAILY TENSION
                                        TENSION TYPE
                                                TYPE HEADACHE,
                                                     HEADACHE, CLASSIC
                                                               CLASSIC MIGRANE,
                                                                       MIGRANE, NONSPECIFIC
                                                                                NONSPECIFIC MRI
                                                                                            MRI ABNORMALITY
                                                                                                ABNORMALITY
 AND NONSPECIFIC EEG ABNORMALITY. WAS TO REMAIN ON NEURONTIN 600 MG. SENT FOR 24 HR EEG RECORDING AND
 F/U MRI. TODAY PT REPORTS SHE CONTINUES TO HAVE DAILY HEADACHE. THERE IS DISTORTION OF VISION, DIZZINESS.
 TYPICALLY MEDICATE W/ FROVA THEN HYDROCODONE. REPORTS THAT SHE ZONES OUT, AWAKE BUT NOTRESPONSIVE.
 REPORTS INSOMNIA, INCREASE IN STUTTERING. F/U MRI OF 10/6/08 REVEALS NO CHANGE IN RT TEMPORAL LOBE LESION.
 HAS A NONSPECIFIC WHITE MATTER LESION IN RT TEMPORAL LOBE WHICH DOES NOT ENHANCE W/ CONTRAST.
 UNCHANGED SINCE PREVIOUS EXAM. 24 HREEG IS NORMAL. ABNORMALITY ON PREVIOUS EEG WAS DEEMED NOT
 SIGNIFICANT. LIVER ENZYMES SLIGHTLY ELEVATED. PLAN: WILL CONTINUE W/ NEURONTIN 600 MG. ADDED PAMELOR.
 GIVEN SAMPLES OF TREXMEIT. F/U 2 WEEKS. TEST RESULTS INCLUDED.

 11/18/2008 9:43 AM - CLAIM Note 24
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR. SILVERS
 Text: [11/18/2008 - HAYDEN, MARY]RECD FAXED NOTE FROM DR. SILVERS ADVISING EE WAS SEEN ON 11/14/08. NO
 MEDICAL INFORMATION RECD.

                             Note 19
 11/17/2008 3:18 PM - PHONE Note  19
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [11/17/2008 - HAYDEN, MARY]RECD CALL FROM EE REGARDING STATUS OF MED RECORDS FROM DR. SILVERS. DCM
 CHECKED MAIL, ADVISED NO INFO FROM DR. SILVERS RECD. EE TO CONTACT AP. NO FURTHER QUESTIONS.

 11/13/2008 3:16 PM - PHONE Note 18
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [11/13/2008 - BUDER, CHARLES]EE CALLED TO ADVISE DR. GORDON'S OFFICE WILL BE SENDING IN ADDITIONAL
                                                 SILVER'S 11/14/08. DCM ADVISED FOR EE TO HAVE AP FAX MED AT
 MEDICAL INFO. EE WAS ABLE TO GET OV WITH DR. SILVERS
 THAT TIME. EE HAD NO QUESTIONS ON THE CLAIM PROCESS.[11/13/2008 - BUDER, CHARLES]DCM EMAILED DCM

 11/13/2008 2:56 PM - PHONE Note 17
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                   Called
 Other Subject
 Other  Subject : OTHER
 Text: [11/13/2008 - FERREIRA, LISA]SPOKE TO EE ADVISED EE REST FORMS RECD FROM DR. GORDON AND DR. SILVERS.
 DCM SENT 2ND REQUEST TO DR. GORDON FOR OV NOTES. FORM FROM DR. SILVERS ADVISES THAT EE HAS NOT BEEN
 SEEN SINCE 9/8/08 (PRIOR TO DOD) AND NOV IS NOTUNTIL 1/28/09. EE ADVISED SHE SPEAKS TO DR. SILVERS SEVERAL
 TIMES PER WEEK AND HE HAS JUST ADJUSTED HER MEDS LAST WEEK. EE WILL SEE HER PCP ON 11/17/08 DR. SCHIFF PH
 860-561-7171 EE WILL DR. BAEHRING ( NEURO ) PH 203-785-7284 ON 11/25/08 EE WAS SUPPOSED TO SEE DR, DONALDSON
 (NEURO) ON 860-679-4888 ON TUESDAY BUT APPOINTMENT WAS CANCELLED AP WAS OUT OF TOWN, EE ADVISED SHE IS
 APPLYING FOR SPECIALTY CLINIC. ERTW: UNKNOWN POSSIBLY STARTING IN DEC PART TIME EMAIL TO DCM[11/13/2008 --
 HAYDEN, MARY]RECD TRANSFERRED CALL FROM DCM. ADCM EXPLAINED INFO RECD FROM DR. GORDON AND DR.
 SILVERS. INFO FROM DR. SILVERS ADVISED THAT EE WASN'T SEEN SINCE 9/8/08 AND NOV ISN'T UNTIL JANUARY. EE
 STATED THAT SHE TREATS W/ DR. SILVER, WHO IS A NEUROLOGIST, OVER THE PHONE. FIRST OFFICE VISIT AVAILABLE IS
 JANUARY. AP CHANGES HER MEDICATIONS REGULARLY. DCM ASKED ABOUT DOCUMENTATION, SUCH AS PHONE NOTES
 OR PRESCRIPTIONS. AP SHOULD HAVE RECORD OF THE PHONE CALLS. EE TO CONTACT AP TO HAVE ALL INFO FAXED TO
 ADCM. DCM ADVISED THAT INFO FROM DR. GORDON ADVISED OF A DX OF POST CONCUSSION SYNDROME. EE ASKED IF
 THERE WAS A HEAD INJURY. EE STATED NO HEAD INJURY, FIRST TIME THAT EE HEARD OF THIS DX. EE FRUSTRATED W/
 AP, STATED THAT HE WRITES THE OPPOSITE OF WHATSHE SAYS IN HIS NOTES. EE HAS COPY OF NOTES BUT DOES NOT
 WANT TO SEND THEM TO ADCM B/C SHE DOESN'T AGREE W/ WHAT AP WROTE. DCM ADVISED THAT THEY WERE
 REQUESTED FROM DR. GORDON'S OFFICE AND ARE NEEDED FOR FURTHER DETERMINATION. EE DOES NOT LIKE THE
 PHYSICIANS SHE HAS BEEN SEEING, TRYING TO GET INTO THE MAYO CLINIC NOW. EE ALSO ASKED ABOUT PART-TIME
 RTW FROM HOME. ADCM ADVISED THAT ER WILL NOT ALLOW EE TO RTW W/ ACCOMMODATIONS. EE STATED THAT SHE


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 WAS TOLD SHE COULD WORK PART-TIME WHEN SHE WENT OUTOF WORK BY HR. DCM ADVISED EE TO CONTACT HR
 REGARDING ACCOMMODATIONS. EE ASKED ABOUT ADA AND FEDERAL REGULATIONS THAT REQUIRE EMPLOYERS TO
 BRING THEIR EMPLOYEES BACK W/ ACCOMMODATIONS. DCM ADVISED EE TO CONTACT HR. DCM SUMMARIZED THAT
 ADD'L MED INFOWAS NEEDED FOR FURTHER DETERMINATION OF CLAIM. EE TO CONTACT APS. NO FURTHER QUESTIONS.

 11/13/2008 12:09 PM - CLAIM Note 23
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to AP
 NoteSubject
 Other Subject
 Other  Subject :: DR.
                   DR. GORDON
 Text: [11/13/2008 - HAYDEN, MARY]FAXED 2ND REQUEST FOR OV NOTES & TEST RESULTS TO DR. GORDON.

 11/13/2008 12:08 PM - PHONE Note 16
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : UPDATE
 Text: [11/13/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 FOR UPDATE. REST FORMS RECD FROM DR. GORDON AND
 DR. SILVERS. 2ND REQUEST SENT TO DR. GORDON FOR OV NOTES. FORM FROM DR. SILVERS ADVISES THAT EE HAS NOT
 BEEN SEEN SINCE 9/8/08 (PRIOR TO DOD) AND NOV IS NOT UNTIL 1/28/09. ANY OTHER PROVIDERS? STATUS? LEFT VMX
 FOR RETURN CALL.

 11/13/2008 12:03 PM - CLAIM Note 22
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject     Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR.
                   DR. GORDON
 Text: [11/13/2008 - HAYDEN, MARY]RECD FAXED REST FORM FROM DR. GORDON DATED 11/13/08. LOV 11/4/08. NOV 1/7/09.
 DX: POST CONCUSSION SYNDROME (310.20). MEDIUM WORK RESTRICTION. DUE TO TREMOR. RESTRICTIONS IMPOSED
 8/12/08 -- 1/7/09.
 8/12/08    1/7/09. NO ADD'L INFO RECD.

 11/13/2008 12:01 PM - CLAIM Note 21
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR. SILVERS
 Text: [11/13/2008 - HAYDEN, MARY]RECD FAXED RESTRICTIONS FORM DATED 11/11/08 FROM DR. SILVERS, NEUROLOGY.
 LOV 9/8/08. NOV 1/28/09. DX: MIGRAINE (346.10), ENCEPHALOPATHY (348.30). EE RESTRICTED FROM 9/29/08 - 12/8/08. MEDS:
 NEURONTIN, PREDNISONE, FROVA, ZOFRAN, NAPROLEN. OFFICE NOTES N/A.

                              Note 20
 11/12/2008 10:05 AM - CLAIM Note  20
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject    Other
 Other Subject
 Other  Subject :: INVOICE
 Text: [11/12/2008 - HAYDEN, MARY]RECD INVOICE FOR MED RECORDS FROM HEALY, MACINSKI, RAO, AND WADE, 1000
                                                                                      AMOUNT DUE:
 ASYLUM AVE, SUITE 4304, HARTFORD, CT 06105. STATEMENT DATE: 11/5/08. ACCOUNT # 2909. AMOUNT DUE: $5.85
                                                                                                  $5.85 FOR
                                                                                                        FOR
 MED RECORDS. VENDOR IN SYSTEM. DCM ADDED VENDOR PAYMENT FOR $5.85. INITIALED INVOICE AND PLACED IN FILE.

 11/10/2008 8:37 AM - CLAIM Note 19
 Claim/Event/Leave: REDACTED
 NoteSubject :: No
 NoteSubject    No Mod
                   Mod Duty
                       Duty
 Other Subject : 3
                 3 POINT
 Text: [11/10/2008 - HAYDEN, MARY]RECD REPLY FROM ER CONTACT CARLOS DELPORTAL. EE NOT ABLE TO RTW FROM
 HOME OR PART-TIME. JOB IS OFFICE-FOCUSED AND PREFER FOR HER NOT TO RESUME WORK UNTIL SHE IS WELL, FULLY
 CAPABLE AND FUNCTIONA,L AND CAN RETURN TO THE OFFICE AND RESUME FULL-TIME EMPLOYMENT.

 11/07/2008 3:47 PM - PHONE Note 15
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                   Called
 Other Subject
 Other  Subject : UPDATE
 Text: [11/07/2008 - HAYDEN, MARY]RECD CALL FROM EE REGARDING STATUS. DCM ADVISED OF N&P AND PROCESS. EE
 STATED TAHT SHE IS NOT ABLE TO RTW AT THIS TIME. DCM ADVISED THAT UPDATED MED INFO WILL BE NEEDED TO
 EXTEND CLAMI. NO FURTHER QUESTIONS AT THIS TIME.

 11/06/2008 4:45 PM - CLAIM Note 18
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject :: N&P
                   N&P DUE
                       DUE 12/20/08
                           12/20/08
 Text: [11/06/2008 - BUDER, CHARLES]ADDITIONAL INFO NEEDED FOR POSSIBLE EXT. FAXED MED REQ TO DR.SILVERS AND
 DR. GORDON
 DR. GORDON (OV   (OV NOTES
                      NOTES 10/1/08-PRESENT,
                             10/1/08-PRESENT, CURRENT TX PLAN, LAB AND TEST RESULTS, AND COMPLETED RESTRICTIONS
                                             12/20/08
 FORM). LTR TO EE, EMAIL TO HR, N&P DUE 12/20/08

             4:41 PM - PHONE Note 14
 11/06/2008 4:41
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [11/06/2008 - BUDER, CHARLES]EE CALLED TO CHECK STATUS OF CLAIM. EE STATED SHE IS NOT RETURNING
 PARTIALLY AT THIS TIME. EE HAS FOV WITH DR. DAVIDSON 12/2/08. EE STATED THAT SHE SAW DR. GORDON 11/3/08. DCM
 ADVISED UPDATED MED WILL BE REQUESTED AND ADVISED N&P PROCESS. EE STATED SHE IS ONLY CURRENTLY
 TREATING WITH DR. SILVERS AND DR. GORDON AND TO SEND MED REQS TO THEM UNTIL SPECIALIST IS INVOLVED. EE
 ADVISED
 AnyiPpn SHE       TALKS
            CI-IF TM      TO DR
                      KC Tr)     SILVERS
                             flR CII         OVER TI-IF
                                     X/F1:2C M/F1:2 THE PHCINF
                                                        PHONE FrIp
                                                               FOR nnnici
                                                                   CONSULTATIONS
                                                                          II TATIMIC DCM
                                                                                     nnrin ADVISED
                                                                                           AflVI!  N&P PI:iItlf!FCC
                                                                                                   MAP PROCESS AND  Anil FOR FP
                                                                                                                             EE


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 .ADVISED
   — ..--. SHE
             .— TALKS TO DR. SILVERS OVER THE PHONE FOR CONSULTATIONS. DCM ADVISED N&P PROCESS AND FOR EE
  TO CALL IF ANYTHING CHANGES. EE WISHED FOR CALL FROM CM WHEN SHE RETURNS TO OFFICE. EE HAD NO
  QUESTIONS ON THE CLAIM PROCESS. DCM EMAILED DCM
  QUESTIONS

 11/06/2008 12:51 PM - CLAIM Note 17
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: 3
                   3 POINT
 Text: [11/06/2008 - HAYDEN, MARY]EMAILED ER CONTACT CARLOS DELPORTAL TO CONFIRM IF EE ABLE TO RTW FROM
 HOME.

 11/06/2008 12:49 PM - PHONE Note 13
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : UPDATE
 Text: [11/06/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 FOR UPDATE. LEFT VMX FOR RETURN CALL.

 11/05/2008 4:22 PM - PHONE Note 12
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: STATUS
                   STATUS
 Text: [11/05/2008 - SMITH, KIMBERLY]REC'D CALL FROM EE REGARDING CLAIM STATUS. EXPLAINED CLAIM CURRENTLY
 APPROVED THRU 11/3/08. EE STATES SHE HAS NOV WITH DR. GORDON ON 11/10/08. EE STATES SHE HAS HAD SOME
 CHANGES MADE TO HER MEDICATIONS. MIGRAINE MEDS HAVE BEEN INCREASED AND SHE IS NOW ON ORAL STEROIDS
 AND ANTI- INFLAMMATORY MEDS. EE ASKED IF WORK FROM HOME WOULD BE AN OPTION. EXPLAINED ADCM CAN
 CONTACT ER PERTAINING THAT. EE STATES SHE IS VERY ANXIOUS TO RTW BUT UNABLE TO PREDICT WHEN A MIGRAINE
 WILL COME ON. EE STATES 9 OUT OF PAST 10 DAYS SHE HAS SUFFERED FROM A MIGRAINE. EE ASKED FOR RETURN CALL
 FROM ADCM TO FURTHER DISCUSS TX PLAN AND RTW OPTIONS. NO FURTHER QUESTIONS AT THIS TIME. EMAIL TO ADCM.

 10/29/2008 3:40 PM - CLAIM Note 16
 Claim/Event/Leave: REDACTED
 NoteSubject :: Job
 NoteSubject    Job Description
 Other Subject : IN FILE
 Other
 Text: [10/29/2008 - HAYDEN, MARY]RECD JOB DESC FROM ER CONTACT. ADMINSTRATIVE SUPPORT. PROVIDE
 SECRETARIAL AND ADMINISTRATIVE SUPPORT TO P&W/MILITARY ENGINES DIRECTOR, DOMESTIC BUSINESS
 DEVELOPMENT AND THE MANAGER, AFTERMARKET BUSINESS DEVELOPMENT. REQUIRES DECISION MAKING AND
 PROBLEM SOLVING WITH MINIMAL DIRECTION. ABLE TO WORK UNDER PRESSURE TO MEET PROJECT
 DEADLINES/SCHEDULES. INDIVIDUAL SHOULD PROJECT A HIGH LEVEL OF CONFIDENCE AND JUDGMENT IN A HIGHLY
 VISIBLE ADMINISTRATIVE POSITION. TYPICAL DUTIES AND RESPONSIBILITIES INCLUDE THE FOLLOWING: 1) PROVIDE
 ROUTINE SECRETARIAL AND CLERICAL SUPPORT; 2) PLAN AND ARRANGE DOMESTIC & INTERNATIONAL TRAVEL; 3)
 SCHEDULE APPOINTMENTS AND MEETINGS, RESERVE FACILITIES, OBTAIN/ASSEMBLE SUPPORTING MATERIAL; 4)
 MAINTAIN FILES, REVIEW MAIL, HIGHLIGHT IMPORTANT ITEMS; 5) ASSIST IN PREPARING, GATHERING AND MAINTAINING
 EXPENSE REPORTS, VACATION SCHEDULES, DISTRIBUTION LISTS, ETC.; 6) ASSIST WITH MAIL DISTRIBUTION, MAINTAINING
 COPIERS/PRINTERS AND ORDERING OFFICE SUPPLIES. HIGH SCHOOL DIPLOMA OR BETTER. EXCELLENT COMPUTER
 SKILLS INCLUDING WORD, EXCEL, POWERPOINT AND OUTLOOK. DEMONSTRATED ADMINISTRATIVE & SECRETARIAL
 ABILITIES INCLUDING STRONG WRITTENNERBAL
                                WRITTEN/VERBAL COMMUNICATION SKILLS; WORKING KNOWLEDGE OF MICROSOFT
 OFFICE PRODUCTS; ABILITY TO BE FLEXIBLE & ABLE TO WORK IN A TEAM ENVIRONMENT AND INTERACT WITH ALL LEVELS
 OF ORGANIZATION. OVERTIME MAY BE REQUIRED - ON AN AS NEEDED BASIS. SIT 40%, LIFT 1%, WALK 5%, STAND 4%,
 TYPE 50%. SEDENTARY JOB DESC.

 10/29/2008 3:06
 10/29/2008  3:06 PMPM - PHONE Note 11
 Claim/Event/Leave: REDACTED
 Claim/Event/Leave:
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: EXTENSION
 Text: [10/29/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 TO ADVISE OF EXTENSION. EE HAS NOV 11/3/08 AND WILL
 DISCUSS THE POSSIBILITY OF A PART-TIME RTW AT THAT VISIT. EE IS CONSIDERING SEEING A SPECIALIST OUT OF STATE.
 DCM EXPLAINED PARTIAL DISABIITY PROVISION AND PROCESS. ADCM TO CALL EE FOR UPDATE AFTER OV. NO FURTHER
 QUESTIONS.
 QUESTIONS.

 10/29/2008 2:46 PM - CLAIM Note 15
 10/29/2008
 Claim/Event/Leave: REDACTED
 NoteSubject :: Status
 NoteSubject    Status Report
                       Report
 Other Subject : EXTENDED BENEFITS
 Other
 Text: EXTENDED BENE THRU 11/3/08. ADD'L MED INFO NEEDED TO EXTEND.

 10/29/2008 2:45 PM - CLAIM Note 14
 10/29/2008
 Claim/Event/Leave: REDACTED
 NoteSubject :: Extended
 NoteSubject    Extended Benefits
                         Benefits
 Other Subject
 Other  Subject :: THRU
                   THRU 11/3/08
                        11/3/08
 Text: [10/29/2008 - HAYDEN, MARY]EXTENDED APPROVAL THRU 11/3/08 (NOV, R&LS SUPPORTED). DX: DAILY TENSION TYPE
 HEADACHE, CALLIC MIGRAINE HEADACHE, NONSPECIFIC MRI ABNORMAILITY, NONSPECIFIC EEG ABNORMAILITY. R&LS: EE
 OOW UNTIL FURTHER NOTICE, REFERRED FOR 24 HOUR EEG AND MRIS. JOB: ADMIN ASSISTANT (REQUESTED). ACTION
 00W
 PLAN: CALL EE FOR UPDATE.

 10/29/2008 2:38
 10/29/2008 2:38 PM
                  PM -- PHONE Note 10
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Oth S bj t DR GORDON

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 Other Subject
 Other  Subject :: DR.
                   DR. GORDON
 Text: [10/29/2008
       [10/29/2008 - HAYDEN, MARY]CALLED DR. GORDON, T# (860) 522-3711.
                                                              522-3711. S/W MADELINE. CONFIRMED NOV POSTPONED
         11/3/08.
 UNTIL 11/3/08.

 10/27/2008 4:30 PM PM -- PHONE
                          PHONE Note
                                Note 9
                                     9
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: OV
                   OV
 Text: [10/27/2008 - SMITH, KIMBERLY]REC'D CALL FROM EE STATING NOV WITH DR. GORDON ON 11/3/08, DATE WAS
 CHANGED FROM 11/1/08. EE CURRENTLY TRYING TO GET OV WITH ADD'L NEUROLOGIST FOR SECOND OPINION. 51     S1
 UPDATED WITH CONTACT INFO. EXPLAINED DR. GORDON WILL NEED TO BE CONTACTED TO CONFIRM OV ON 11/3/08 FOR
 EXTENSION. EE UNDERSTOOD. EE STATES SHE WOULD LIKE TO RTW, ON PART TIME BASIS AFTER NOV IF POSSIBLE. EE
 ASKED FOR RETURN CALL FROM ADCM ONCE OV HAS BEEN CONFIRMED AND EXTENSION HAS BEEN MADE. NO FURTHER
 QUESTIONS. EMAIL TO ADCM.

 10/17/2008 3:39
 10/17/2008  3:39 PMPM -- PHONE
                          PHONE Note
                                Note 8
                                     8
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: RETURN CALL
 Text: [10/17/2008 - HAYDEN, MARY]RECD RETURN CALL FROM EE. DCM ADVISED OF EXTENSION THRU 11/1/08. EE HAS NOV
 W/ DR. GORDON ON 11/24/08. DCM TO CALL EE FOR UPDATE. ADCM ADVISED EE TO DISCUSS RTW W/ AP AT OV. ADVISED
 OF POSSIBILITY OF PART-TIME RTW IF APPLICABLE. EE UNDERSTOOD, NO FURTHER QUESTIONS.

 10/16/2008 1:02 PM - PHONE Note 7
 10/16/2008
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: EXTENSION
 Text: [10/16/2008
 Text: [10/16/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 TO ADVISE OF
                                                                        OF EXTENSION AND OBTAIN
                                                                                         OBTAIN UPDATE. LEFT VMX
 FOR RETURN CALL.

 10/16/2008 12:42 PM - CLAIM Note 13
 Claim/Event/Leave: REDACTED
 NoteSubject :: Job
 NoteSubject    Job Description
 Other Subject
 Other  Subject :: REQUESTED
 Text: [10/16/2008 - HAYDEN, MARY]EMAILED ER CONTACT CARLOS DELPORTAL W/ JOB DESC REQUEST.

 10/16/2008 12:40 PM - CLAIM Note 12
 Claim/Event/Leave: REDACTED
 NoteSubject :: Status
 NoteSubject    Status Report
                       Report
 Other Subject : EXTENDED BENEFITS
 Other
 Text: EXTENDED BENE THRU 11/1/08. ADD'L MED INFO NEEDED TO EXTEND.

 10/16/2008 12:40 PM - CLAIM Note 11
 Claim/Event/Leave: REDACTED
 NoteSubject :: Extended
 NoteSubject    Extended Benefits
                         Benefits
 Other Subject
 Other  Subject :: THRU
                   THRU 11/1/08
                        11/1/08
 Text: [10/16/2008 - HAYDEN, MARY]EXTENDED APPROVAL THRU 11/1/08 (1 MONTH FROM LOV, R&LS SUPPORTED DUE TO
 FURTHER TESTING). DX: DAILY TENSION TYPE HEADACHE, CALLIC MIGRAINE HEADACHE, NONSPECIFIC MRI
 ABNORMAILITY, NONSPECIFIC EEG ABNORMAILITY. R&LS: EE OOWUNTIL FURTHER NOTICE, REFERRED FOR 24 HOUR EEG
 AND MRIS. JOB: ADMIN ASSISTANT (REQUESTED). ACTION PLAN: CALL EE FOR UPDATE.

 10/16/2008 12:37 PM - CLAIM Note 10
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR.
                   DR. GORDON
 Text: [10/16/2008 - HAYDEN, MARY]RECD FAXED MED RECORDS FROM DR. GORDON, NEUROLOGY. MRI BRAIN DATED
 10/6/08: STABLE NONENHACING WHITE MATTER LESION IN RT TEMPORAL LOBE. DIFFERENTIAL DX FAVORS
 DEMYELINATING PLAQUE OVER A LOW GRADE GLIOMA BUT CONTINUED SURVEILANCE IS RECOMMENDED W/ REPAET MRI
                                                     ENHANCEMENT ARE
 IN 6 MONTHS. NO NEW LESION OR ABNORMAL AREAS OF ENHANCEMENT      ARE IDENTIFIED.
                                                                      IDENTIFIED. MRI
                                                                                  MRI C-SPINE DATED 10/6/08: NO
 EVIDENCE OF ABNORMAL CORD SIGNAL, BILATERAL THYROID NODULES THAT SHOULD BE FURTHER EVALUATED W/
 ULTRASOUND.OV NOTE DATED 10/1/08: 30 YOF DX W/ HEADACHES ASSOCIATED W/ VISUAL DISTORTION, NAUSEA AND
 VOMITING. EPISODE OF BLACKOUT SPELLS. ROUTINE EEG WAS ABNORMAL. AGREE TO PROCEED W/ 24 HOUR EEG
 RECORDING PLANNED FOR NEXT WEEK. CONTINUE W/ NEURONTIN. F/U IN 1MONTH.

 10/16/2008 12:31 PM - CLAIM Note 9
 Claim/Event/Leave: REDACTED
 NoteSubject :: Med
 NoteSubject    Med Records
                     Records Rcvd
                             Rcvd
 Other Subject
 Other  Subject :: DR.
                   DR. SCHIFF
 Text: [10/16/2008 - HAYDEN, MARY]RECD FAXED REST FORM DATED 10/15/08 FROM DR. SCHIFF. LOV 9/20/08. DX:
 HEADACHES, ABNORMAL MRI. SEVERE MIGRAINES. GOING THROUGH WORKUP WITH NEUROLOGIST. HIS DISCRETION AS
 TO RTW DATE.

 10/09/2008 4:06 PM - CLAIM Note 8
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject :: N&P
                   N&P DUE
                       DUE 11/22/08
 Text: F10/09/2008
 Text  [10/09/2008 - HAYDEN_
                      HAYDEN, MARY]ADD'L
                               MARY1ADD'L MED INFO NEEDED TO EXTEND. FAXED MED REQUEST TO DR. SCHIFF AND DR.


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 Text: [10/09/2008 HAYDEN, MARY]ADD L MED INFO NEEDED TO EXTEND. FAXED MED REQUEST TO DR. SCHIFF AND DR.
 GORDON (OV NOTES & TEST RESULTS 9/27/08 - PRESENT, REST FORM). N&P DUE 11/22/08. LTR TO EE. EMAIL TO ER
 CONTACT.

 10/09/2008 4:03 PM - CLAIM Note 7
 Claim/Event/Leave: REDACTED
 NoteSubject :: LTR to EE
 NoteSubject
 Other Subject
 Other  Subject : TAX WITHOLDING
 Text: [10/09/2008 - HAYDEN, MARY]SENT TAX WITHOLDING FORM TO EE.

 10/09/2008 4:01
 10/09/2008  4:01 PMPM -- PHONE Note 6
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                    Called
 Other Subject
 Other  Subject :: RETURN CALL
 Text: [10/09/2008 - HAYDEN, MARY]RECD RETURN CALL FROM EE. EE WAS VERY FRUSTRATED, DID NOT UNDERSTAND WHY
 CLAIM WAS ONLY APPD THRU 10/8/08. DCM EXPLAINED DISABILITY PROCESS FROM BEGINNING TO END, ADVISING OF
 NEED FOR ONGOING MEDICAL INFORMATION. DCM CLARIFIED EE'S CURRENT TREATMENT. PCP IS DR. SCHIFF. EE DOES
 NOT HAVE SCHEDULED F/U VISIT AT THIS TIME. EE HAS BEEN AT THE HOSPITAL FOR PAST 3 DAYS FOR TESTING
 THROUGH DR. GORDON. EE DOES NOT KNOW IF SHE WILL CONTINUE TREATING W/ DR. GORDON. EE MAY CHOOSETO
 TRANSFER TO A NEUROLOGIST MORE SPECIALIZED. EE IS NOW WAITING FOR A RETURN CALL REGARDING TEST
 RESULTS. LESION WAS FOUND ON BRAIN, POSSIBLE BRAIN TUMOR. EE HAS BEEN IN A LOT OF PAIN, NO RELEASE TO RTW.
 ERTW UNKNOWN. EE NOT TREATING W/ ANY OTHER DOCTORS AT THIS TIME. DCM ADVISED OF THE NEED FOR MED INFO
 TO EXTEND CLAIM. DCM TO REQUEST RECORDS FORM DR. SCHIFF AND DR. GORDON. EE WAS VERY CONCERNED ABOUT
 MED RECORDS RELEASE, DID NOT UNDERSTAND WHY TEST RESULTS AND INFO WAS NEEDED. EE EXPLAINED
 CONFIDENTIALLY OF MED RECORDS, HIPPA, AND NEED FOR RECORDS TO ISSUE PAYMENTS AND APPROVE CLAIM. EE
 UNDERSTOOD AND WILL CALL ADCM W/ ANY CHANGE IN STATUS OR PROVIDERS. EE ASKED ABOUT TAXES AND
 PREMIUMS. DCM TO SEND FED TAX WITHOLDING FORM TO EE. NO FURTHER QUESTIONS.

 10/09/2008 2:19
 10/09/2008  2:19 PMPM -- PHONE Note 5
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject :: APPROVAUUPDATE
                   APPROVAL/UPDATE
 Text: [10/09/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 TO ADVISE OF APPROVAL AND OBTAIN UPDATE. NEED ALL
 Text:
 TREATING PROVIDER CONTACT INFO. LEFT VMX FOR RETURN CALL.

 10/08/2008 2:45
 10/08/2008  2:45 PM - PHONE Note 4
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called EE
 NoteSubject
 Other Subject
 Other  Subject : APPROVAL
 Text: [10/08/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 TO ADVISE OF APPROVAL. LEFT VMX FOR RETURN CALL.
 Text:

 10/08/2008 2:41
 10/08/2008 2:41 PM - CLAIM Note 6
 Claim/Event/Leave: REDACTED
 NoteSubject :: Status
 NoteSubject    Status Report
                       Report
 Other Subject
 Other Subject : APPROVAL
 Text: DOD 9/27/08, BBD 10/4/08, APPD THRU 10/8/08, POSS EXTENSION.

 10/08/2008 2:40
 10/08/2008  2:40 PMPM -- CLAIM Note 5
 Claim/Event/Leave: REDACTED
 NoteSubject :: Approved
 NoteSubject    Approved
 Other Subject
 Other  Subject :: THRU
                   THRU 10/8/08
                          10/8/08
 Text: [10/08/2008 - HAYDEN, MARY]LDW 9/26/08, DOD 9/27/08, BBD 10/4/08 (7 DAY EP FOR SICKNESS). 5 DAY
 Text:
 REIMBURSEMENT FOR CHOICE. DX: MIGRAINE HEADACHES. R&LS: EE REFERRED TO NEUROLOGIST FOR FURTHER
                                                                                           NEUROLOGIST, R&LS
 WORKUP. JOB: ADMIN ASSISTANT (JOB DESC REQUESTED). APPROVED THRU 10/8/08 (OV W/ NEUROLOGIST,           R&LS
 SUPPORTED). FINANCIAL INFO: NO SICK PAY. ACTION PLAN: CALL EE FOR UPDATE AFTER NEUROLOGIST VISIT.

 10/08/2008 2:28
 10/08/2008  2:28 PM
                   PM -- PHONE Note 3
 Claim/Event/Leave: REDACTED
 NoteSubject :: AP
 NoteSubject    AP Called
                   Called
 Other Subject
 Other  Subject ::
 Text: [10/08/2008
 Text: [10/08/2008 -- BURGESS,
                      BURGESS, LYNDSEY]S/W LOUISE FROM DR. SCHIFF'S OFFICE, FOV 9/20/08, C/O SEVERE HEADACHES,
 REFERRED TO NEUROLOGIST, 00W    OOW 9/29-10/1/08. FOR ANY ADD'L INFO, MED REQUEST NEEDS TO BE FAXED TO #860-561-
 7272. WILL EMAIL DCM.

 10/07/2008 2:07 PM - MIR Note 2
 10/07/2008
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: N/A
                   N/A
 Text: [10/07/2008 - HAYDEN, MARY]CALLED DR. SCHIFF, T# (860) 561-7171. LEFT VMX FOR NURSE TO CONFIRM DX, R&LS,
 OOW INFORMATION.
 00W

 10/07/2008 12:14 PM - PHONE Note 2
 Claim/Event/Leave: REDACTED
 NoteSubject :: EE
 NoteSubject    EE Called
                   Called
 Other Subject : INITIAL INTERVIEW
 Other
 Text: [10/07/2008 - LEIDINGER, CORLITA]EE RTN DCM'S CALL. CONFIRMED LDW 9/26/2008. EE 00W
                                                                                       OOW FOR PERSISTANT
 MIGRAINS & HEADACHES. EE WENT TO EMERG ROOM AT ST FRANCIS IN HARTFORD ON 8/28/2008 FOR SEVERE PAIN/
 HEADACHES EE'S HAS HAD 2 MRI'S 2 EEG'S & A CATSCAN HOSPITAL WAS CONCERNED THAT EE MAY HAVE A POSSIBLE

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 HEADACHES.      EE'S I-IAb
 1-1LAUAL,1-1Lb. LL   HAS I-IAU
                            HAD 2 MRI'S, 2 LLU"b,
                                           EEG'S, di
                                                  & AA (AI
                                                       CATSCAN.
                                                           JEAN. HOSPITAL
                                                                 1-10b1-. I I AL WAS  CONCERNED THAT
                                                                                 VVAb UUNULIINLU        EE MAY
                                                                                                 I HA I LL MAY I-IAVL
                                                                                                               HAVE AA l'Ubbll:SLL
                                                                                                                       POSSIBLE
 TUMOR. PER EE, CAT SCAN SHOWED A MASS. EE STATED THAT DR. SCHIFF IS CURRENTLY TX'N EE & WOULD LIKE DCM TO
 FAX A REQ FOR MED INFO TO AP. EE CURRENTLY EXPERIENCING CHONIC PAIN IN NECK & HEAD, SEVERE NAUSEA,
 VOMITING. NOV 10/8/2008: EE GOING TO HARTFORD HOSP FOR ADDITIONAL TESTING & 10/24/2008 WITH NEUROLOGIST.
 CO-MORBIDS ARE ASTHMA, CHONIC BRONCH. EE HAS NO AVAIL SICKPAY. EE WAS CONCERNED ABOUT ACCRUING
 VACATION TIME & BEING ELIGIBLE FOREDUCATIONAL BENEFITS WHILE OUT ON STD. EE WAS ADVISED TO CONTACT HR
 FOR INFO. DCM EXPLAINED CLAIMS PROCESS TO EE. EE HAD NO ADDITIONAL QUESTIONS. EMAIL TO DCM.

 10/03/2008 3:14
 10/03/2008  3:14 PM - MIR Note 1
                                1
 Claim/Event/Leave: REDACTED
 NoteSubject :: Called AP
 NoteSubject
 Other Subject
 Other  Subject :: N/A
                   N/A
 Text: [10/03/2008 - HAYDEN, MARY]CALLED DR. GORDON, T# (860) 522-3711 TO CONFIRM DX, R&LS, 00W
                                                                                            OOW INFORMATION.
 LINE RANG SEVERAL TIMES, NO ANSWER. UNABLE TO LEAVE MESSAGE.

 10/03/2008 3:12
 10/03/2008  3:12 PM - PHONE Note 1  1
 Claim/Event/Leave: REDACTED
 NoteSubject :: Initial EE Interview
 NoteSubject
 Other Subject
 Other  Subject : 1ST ATTEMPT
 Text: [10/03/2008 - HAYDEN, MARY]CALLED EE T# (860) 308-2050 FOR INTERVIEW. LEFT VMX FOR RETURN CALL.
 Text:

 10/03/2008 8:43 AM - CLAIM Note 4
 Claim/Event/Leave: REDACTED
 NoteSubject :: Other
 NoteSubject
 Other Subject
 Other  Subject :: ACKNOWLEDGMENT RECD
 Text: [10/03/2008
 Text: [10/03/2008 -- HAYDEN,
                      HAYDEN, MARY]RECD
                              MARY]RECD ACKNOWLEDGMENT
                                        ACKNOWLEDGMENT INFORMATION
                                                       INFORMATION FROM
                                                                   FROM ER
                                                                        ER CONTACT.
                                                                           CONTACT. LDW
                                                                                    LDW 9/26/08. SALARY:
                                                                                        9/26/08. SALARY:
 $53,063.04. NO
 $53,063.04.  NO SICK PAY. HT
                            F/T NON EXEMPT. RTW TBD.

 10/02/2008 4:15
 10/02/2008  4:15 PM - CLAIM Note 3
 Claim/Event/Leave: REDACTED
 NoteSubject : Ref to Other
 Other Subject
 Other  Subject :: TRIAGE TO COMPLEX
 Text: [10/02/2008 - RODRIGUEZ, ELENI]** TRIAGED CLAIM FOR CASE MANAGEMENT. ***MISSING INFO: E-MAIL TO HR CARLOS
 DELPORTAL FOR EE'S INFO***

 10/02/2008 3:25
 10/02/2008 3:25 PM - CLAIM Note 11
 Claim/Event/Leave: REDACTED
 NoteSubject :: Telephonic
 NoteSubject    Telephonic Intake
 Other Subject
 Other Subject :: REPORTED CLAIM NOTE
 Text: VARENDT MISH 2ND SPVR TO CONTACT CLIFF STONE 860-557-2480 DEE DEE HADERT-PAYTON 860-557-0452 ALSO
 SPVR TO CONTACT VARENDT MISH 10-2-08

 10/02/2008 3:25
 10/02/2008 3:25 PM - CLAIM Note 2
 Claim/Event/Leave: REDACTED
 NoteSubject :: Telephonic
 NoteSubject    Telephonic Intake
 Other Subject
 Other Subject :: MEDICAL CONDITION
 Text: HEADACHES




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Liberty Life
Liberty Life Assurance
              Assurance Company
                        Company of
                                of Boston
                                   Boston
Group Benefits
Group Benefits Disability
                Disability Claims
                           Claims
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         7213
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        KY 40742-7213




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ATTORNEY AT LAW
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267 MAIN
267      STREET
    MAIN STREET
MANCHESTER
MANCHESTER CT 06042
           CT 06042




                                                                         Liberty002318
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                                                                 Liberty Life
                                                                 Liberty Life Assurance
                                                                              Assurance Company
                                                                                         Company ofof Boston
                                                                                                      Boston
                                                                 Group
                                                                 Group Benefits  Disability Claims
                                                                        Benefits Disability Claims
             Liberty-                                            P.O. Box
                                                                 P.O.      7213
                                                                      Box 7213
                                                                 London, KY
                                                                 London,  KY 40742-7213
                                                                              40742-7213
             MutuaL                                              Phone No.:
                                                                 Phone  No.: (888)
                                                                 Secure Fax
                                                                 Secure
                                                                             (888) 437-7611
                                                                         Fax No.:
                                                                                   437-7611
                                                                             No.: (603) 334-5708
                                                                                  (603) 334-5708
              INSURANCE



December 14,
December     2016
         14, 2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim    REDACTED
             #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

This correspondence
This correspondence is
                    is regarding Haley Spears’
                       regarding Haley Spears' Long Term Disability
                                               Long Term Disability claim.
                                                                    claim.

Your letter
Your letter dated
            dated July
                  July 13,  2016, stated
                        13, 2016,  stated you
                                            you were
                                                 were requesting
                                                      requesting aa review
                                                                    review of
                                                                           of the
                                                                              the June
                                                                                  June 16,  2016 remand
                                                                                        16, 2016 remand
review determination
review determination toto uphold
                          uphold the
                                  the Long    Term Disability
                                       Long Term     Disability denial.
                                                                denial. You
                                                                         You further stated, "Additional
                                                                             further stated, “Additional
documentation will
documentation   will be
                     be submitted
                        submitted atat aa later
                                          later time."
                                                time.”

On July
On July 13, 2016, Liberty
        13, 2016,          Life received
                   Liberty Life received Dr. Saul’s statement
                                         Dr. Saul's statement dated  July 13,
                                                              dated July      2016. On
                                                                          13, 2016. On August
                                                                                       August 9,
                                                                                              9,
2016, Liberty
2016, Liberty Life received Dr.
              Life received Dr. Saul's
                                 Saul’s corrected
                                        corrected July
                                                  July 13, 2016 statement.
                                                       13, 2016 statement.

Nearly three months
Nearly three months later,
                    later, Liberty
                           Liberty Life
                                   Life received
                                        received Dr.
                                                 Dr. Raxlen’s 54 page
                                                     Raxlen's 54 page document
                                                                      document on
                                                                               on September 26,
                                                                                  September 26,
2016.
2016.

Your cover
Your cover letters provided no
           letters provided     information regarding
                             no information            the status
                                             regarding the status of
                                                                  of the
                                                                     the appeal.
                                                                         appeal. Therefore,
                                                                                  Therefore, it
                                                                                             it is
                                                                                                is
unclear whether
unclear whether you
                you plan  to submit
                     plan to submit additional
                                     additional documentation
                                                documentation oror whether
                                                                   whether the
                                                                            the appeal
                                                                                appeal is
                                                                                       is complete.
                                                                                          complete.

Please advise whether
Please advise whether or
                      or not the appeal
                         not the appeal is
                                        is complete
                                           complete so
                                                    so that
                                                       that Liberty Life can
                                                            Liberty Life     begin the
                                                                         can begin the appeal
                                                                                       appeal review.
                                                                                              review.

If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




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                                                 Law LLC
                                      Zimberlin Larvv
                                      Zimielrlin
                                     267 Main Street IIManchester, CT 06042
                                     (p) 860.783.5999
                                     (p) 860.783.59991(f)86   0.783.5996
                                                       I tO 860.783.5996
                                     www.zimberlinlaw.c
                                     www.zi.mberlinlaw.com om

      Winona W. Zimberlin                                                                By appointment only;
                                                                                         By             l'mly;
      Russell D. Zimberlin                                                                Hartf1;1rd Office
                                                                                         Hartford
                                                                                                        Street
                                                                                             Congre!'is Strect
                                                                                         22 Congress
                                                                                                      CT 06114
                                                                                          I Tan'ford, Cr
                                                                                         Hartford,        06114


                                          September 22, 2016

                 1-603-334-5708, 55 p.
     Facsimile: L603-334-5708,
     Nancy Winterer
     Appeals Review Consultant
                                     of Boston
     Liberty Life Assurance Company of
     PO Box 7213
     London, KY 40742-7611

     Dear Ms. Winterer:

             RE:    Haley Spears
             DOB: REDACTED
                  claim#: 250039
             Your claimTh

     Enclosed please find:

                                Raxlen, M.D., and attachments, 54 p.
         1. Report from Bernard Ra,xlen,



                                                                       ly yours,
                                                               Very truly




     WWZ:
                                                               ~qJmO.lm
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                                 Dr. Bernard
                                 Dr. BernariJRa.xlen, M ..D., P.C.
                                              Raxten, M.D.,   P.C.
                                 566 7th
                                 566  7tbA1•enue,      502
                                         Avenue, Suite 502
                                                 NY 10018
                                          York, NY
                                     New York,
                                 Ewnuiil: DrRaxlen@aoleam
                                 E-mail:  DrRa..xle11@aol.cmn
                                     Phone:   (212) 799-1121
                                     Phone: (212)   799wl 121
                                     Fa.x: (516)
                                     F.     (516) 5564440
                                                  556w8440




             Attorney Winona Zimberlin has asked me to respond to a disability
             evaluation for Haley Spears she is representing her in her disability appeal
             against Liberty Mutual.
             Her complete record was received by three physicians: Dr. Crossley
             (Infectious Disease and Internal Medicine) and Dr. Cooper
             "                                          "
                                                                 Coop. er (Endocrinology
             Internal Medicine) and Dr. Kitei -DO and/MA (Neurology) Dr. Raymond
             PhD Neuropsychology.

             Dr. Cooper stated:
             "A reasonable degree of clinical probability, that the evidence does not
             support global impairment. Claimant is able to work without restrictions for
             the time frame 9/27/08 through 3/29/09 - 3/28/09 - 3/31/15
                                                                  3/31115
             Dr. Crossley stated:
             "There is a reasonable degree of clinical probability that there is no evidence
             that claimant has had Lyme disease or other infection that would be
             functionally limiting."
             Dr. Kitei Stated:
             "Within a reasonable degree of clinical probability, evidence does not
             support impairment from a neurological standpoint".
             Dr, Raymond Stated;
                            Stated:
             There is no valid evidence to support neurologic deficits associated with
             chronic headache or a plethora of other reported etiologies within the time
                    of9/27/08-
             frame of  9/27/08- 3/31/15.
                                3/31115.

             Based on my observations of this patient over a four-year period, I would
             have to take exception to the findings of the reviewers. lI would sharply
             disagree with their conclusions.

             Since li am a psychiatrist, there were several places in the document that




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             "tongue in cheek" comments such as "self-designated Lyme Disease
             expert," were used to describe my qualifications to treat and diagnose Lyme
             Disease. For this reason, I would like to highlight several aspects of my
             biography to show that I am in fact eminently qualified to diagnose and treat
             Lyme disease.

             I have had 30 years experience in diagnosing and treating the different types
             ofTBD.
             of TBD,

             I Received a BA in philosophy and anthropology from Stanford University.
                                                                 Toronto. Internship with
                                             from. University of Toronto,
             I received an MD in medicine from
             McGill hospital system in Montreal. One year in    ER  and house call medicine
             in Toronto, Ontario. I studied approximately one year (9 months), in Brazil
             in parasitology (Chaga's disease, schistosomiasis, entamoeba histolytica.)

             Lived in the Amazon with the indigenous native population, where I studied
             herbal medicine.

             I completed a psychiatric residency at University of Chicago and post
             residency fellowship for 2 years at the University of Pennsylvania in family
             and child psychiatry.

             I practiced in Connecticut from 1975- 2006 and now in NYC from 2007-
             2016. My practice was in Greenwich Ct. a high Lyme endemic area. I
             became interested in the connection between
                                                 between. neuropsychiatric,
             neurocognitive and neurologic symptomatology as it related to Lyme
             Disease and to microbial inflammatory disease as represented by the CFIDS
                                                                                  CFJDS
             (Chronic Fatigue) viral diseases (Epstein-Barr) and Neuroborreliosis (Lyme
             disease and co-Infections.)

             In addition I have a special interest in childhood fatigue, depression,
             cognitive impairment and psychiatric illness as related to BB and TBD Tick
             Borne Disease. Approximately 10- 12% of my practice are children who
             have been affected and have undiagnosed TBD. TED.

             In addition I see adults of all ages from all sectors of the country.
             I have concentrated my practice in the diagnosis and treatment of TBD
             within a psychiatric specialty for 30 years. I.I have treated by conservative
             estimate 20 new cases I/ month, roughly 11 per day or 220 new + per year or
             6500 over a 30 year period. My patients are drawn from all parts of the




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                                                                 TED'S are now
             USA, especially throughout the northeast, where the TBD'S
             reaching epidemic numbers. They present with a spectrum of persistent
             symptoms from all systems.

             As a result of major discrepancies both in diagnostic and treatment
             philosophy between IDSA members and those of us who differed from their
             orthodoxy we founded ILADS. I was one of the original 10 physicians who
             founded ILADS (International Lyme and Associated Diseases Society) an
             international organization devoted to the study, research, diagnosis and
                       ofTBD.
             treatment of TBD. The organization has grown to more than.
                                                                      than 500 member
             physicians and other allied health professionals concerned with TBD.
             Thave presented my work at numerous scientific conferences over the last
             15 years and recently have been elected chairman of the Ethics committee of
             ILADS.

             I and a number of my colleagues were responsible for writing and publishing
             ILADS treatment guidelines in 2005. They have been upgraded and recently
             updated and published again in 2016. (a copy enclosed for review)

             TBD affects all systems of the human body. Particularly vulnerable are the
             nervous system. (CNS and peripheral nerves) the musculoskeletal systems:
             (Joint and muscles) The endocrine system: (thyroid, adrenals, male/female
                                            (mitochondrial deficiency)
             hormones) The energy system: (mitochondria'

             The early case definition and description of what constitutes Lyme Disease
             and by extension TBD, was for reporting purposes only in 1975. It was to be
             used only for "statistical analysis" and for public health purposes.
             Unfortunately, those physicians who have had minimal experience in
             diagnosing and treating Lyme disease fall into the trap of defining all Lyme
             cases by the narrow definition proposed 35 years ago by the CDC, in spite of
             the agencies own admonition not to do so.

             There is in my judgment, having reviewed again all my own records
             including testing, treatment, response to treatment, persistence of symptom,
             more than ample evidence to support a working diagnosis of chronic TBD.
             This is the most likely reason for her painful, protracted multisystemic
             symptoms. In particular her neurocognitive, neuropsychiatric symptoms and
             her profound exhaustion.
             her


             So what are we to make of these persistent debilitating symptoms? What




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                        its her problem?
             diagnosis fits

             The reviewing physicians may question the diagnosis of TBD although it
             seems to me as disingenuous to state as Dr. Crossley does, that their is no
             evidence that the claimant has had Lyme disease or other infections that
             would be functionally limiting.
             Certainly, in my opinion, there is sufficient evidence in her medical,
                                                                           medical history,
             if one choses to acknowledge it, for TBD.
             Notwithstanding the four years I worked with Miss Spears, other specialists
             also saw the patient after I did, and confirmed the diagnosis.
             The following physicians all had personal contact with the patient and
             treated her for TBD.

              Dr. Zane Saul (infectious disease), Dr. Zagar (neurology), Dr. Patterson
             Marshall (Neurology), Dr Sam Donta (infectious disease), Dr Gianni ((PCP) PCP)
             and myself all had numerous contact with the patient and prescribed
             treatment protocols for Lyme Disease. (IM (IM,, IV and oral medication) These
             treatments were not spurious. They were based on the evidence obtained in
                                                      findings. The reason for her
             the clinical assessment and laboratory findings.
             multisystemic illness, all five specialists agreed was late stage Lyme and co-
             infecti ons.
             infections.

             Miss Spears' medical history, reveals a young woman whose health has been.  been
             plagued with a multiple of serious conditions. Some symptoms from her
             history include the following:
                                 following:
             Age 16- Began with knee pain that extended to both knees, unable to walk
             without discomfort; no history of injury, persistent calf pain and cramping.
             Age 20- 21 Serious foot pain- "Pain horrific"
             Age 20-
                  20· Diagnosed with exercise induced Asthma and SOB on,    on minimal
             exercise. Chronic cough. Given steroids that did not help. Pulmonary
             function tests negative.
                      TMJ diagnosis surgery suggested by oral surgeons
             Age 18- TIvii
                                                       erythematous rash.
             2001-2003- Spider bite or tick bite - Red erythern.zttous rash
             Contracted multiple infections over the years. But sports minded.
             During High School, had chronic insomnia not being abl.eable to sleep until 2-
             3am.
             2004- Hashirnotos
                    Hashimotos thyroiditis. Suspected,
                                            Suspected thyroid cancer.
             2005- Severe upper and lower CIGI inflammation; positive GI autoi.mmune
                                                                            autoimmune
                    GI inflammation; positive IBD specific AHCA
             2006- severe exhaustion and crippling muscle pain.




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             2007- severe migraine headaches, facial pain, visual disturbances.
             2008- EEG abnormal, but non-focal. MRI - Positive for white matter
             ....... lesions in the right temporal lobe other lobulated lesions scattered in
                    the white matter. venous anomaly posterior right parietal lobe...
                                                                                 lobe ...
                   Various abnormalities posterior right parietal lobe; pineal cyst;
                   question low
                              .low grade astrocytoma.
                                            astrocytoma
             2009- Hemobartonel.la
                      Hemobartonella or protozoa ...
             2009- Igenex IGM pos39/1nd.41/Ind
                                     pos39/Ind.4 l/Ind 83-931
                                                         83-931
                                 IGG -— IND
                                 IGG             31/41
                                            IND 31/41
                               1/20
                                I/20 T...
                                     T ... Babesiosis
             2009- ANA Positive
                      Cardiolipin antibody -i-ve.„
                                                +ve ...
                      Anti DNA +ve.....
                                   +ve .....
             2009- CSF Borrelia Burgdorferi IgG      IgG 441/ 9/30/18 +ve
                                                           l/39/30/18
             7009-
             2009- Vit D 18.8 Low
             2009- Increased Choline; Low creatinine; and.     and NAA in temporal lobe lesions.
             2010- Generalized systemic complaints particularly, muscles, joints, and
                      severe cognitive decline.

             In Haley Spears' case, the above named specialists were selected to conduct
             a "thorough" chart review (doctors chosen by the insurance company) Based
                      findings, they were asked to determine the patient's disability status
             on their findings,
             currently and over the past 10
                                         10 or so years.

             The reviewers concluded that in spite of the medical conditions listed above,
             "there is no evidence that the claimant has had Lyme disease or other
             "infections" that would be "functionally limiting."

             ** The primary issue in question is, does Miss Spears have in her medical
             record, a history of multi-systemic chronic persistent symptoms, that wax
             and wane in intensity, duration, and frequency.
                                                    frequency. It
                                                               It was not the reviewers task
             to determine whether or not the claimant had an "infection" that would be
             responsible for her symptoms. They were to determine if the patient was
             disabled by her .illness
                              illness and if her recurring symptoms would constitute
                          impairm.ent".
             "functional impairment".

             The important question is not whether Miss Spears had "Lyme disease and
             co -infections, (and there is indisputable evidence to show that in fact she did
             co-infections,
             have it validated by five different specialists over time, including myself)
                                                                                  rnyselJ)
             but the question is did her illness or her combined illnesses leave her




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             "disabled." Not in the physical sense that she can stand for however long, or
             "disabled.."
             sit for however long, or lift five pounds or 20 pounds, but could she mentally
             function?
             Based on her personal testimony and the neuropsychological findings, and
             her health history, I think not!
                                         not!
             The records show that her greatest difficulty appears to be a major
             neurocognitive deficit, found on neuropsychological testing, as well as
             positive antibody findings in CSF, (IgG+ve), lesions on CAT scan, and
             lesions on MRI, (positive findings), all consistent with Neuroborreliosis.

             But, if Lyme disease is what the reviewers are disputing as a major
             contributor to Miss Spears disability, then their conclusions as they pertain
             to her "disability" and "Lyme disease" are seriously flawed. And the reason
             they are flawed is that they have based their conclusions on an obsolete
             clinical definition of Lyme disease and not the more complete updated
             ILADS description of a multi systemic microbial symptom complex.

             This extremely narrow clinical definition has now been successfully
             expanded to include the subjective and non-specific symptoms of the Lyme
             patient. Especially when it concerns the severe and devastating
             neurocognitive symptoms (brain fog, distractibility, short and long term
             memory difficulties, word search, lack of concentration, severe migraine
             headaches, autoimmune lupus like syndromes), as well as profound
             neuropsychiatric symptoms (anxiety, depression, panic attacks, OCD,
             depersonalization, suicide thinking), physical symptoms (fatigue, SOB,
             irritable bowel, severe joint pain hemorrhagic colitis) and many more, all
             published in the scientific literature.

             Because this definition has been found to be so narrow and restrictive over
             the past 30 years, a physician cannot accurately diagnose Lyme disease, if he
             uses the old CDC clinical criterion. In fact, if the reviewers followed IDSA
             guidelines in their analysis, they would have had to believe, that chronic
             relapsing Lyme disease does not exist, as well as completely ignoring the
             subjective world of the patient.

             The conclusions of at least five other treating physician specialists, all who
             had treated Miss Spears, confirmed the Lyme diagnosis, and also confirmed
             the extent of her disability. They acknowledged
                                                ack11owledged her disability and her
             inability to work.




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             Their conclusions are not based on the appearance of physical symptoms
             only, and instead subjective and nonspecific symptoms are weighed equally
             in their approach to her disability. Miss Spears does not exaggerate when
             describing her neurocognitive deficits because her scores on her
             neuropsychological testing showed that the patient was suffering from an
                                         functioning. Some of the scores are listed below.
                                  mental functioning.
             alarming decline in mental.

             Working memory 12th percentile. (Impairment of attention and
             concentration)
             Arithmetic 2nd percentile
             Auditory immediate memory 13th percentile
             Auditory delayed memory (storage) 6th percentile
             Delayed recall of material.
                               material 2nd percentile.!
                                             percentile.!
             Scores consistent with frontal lobe encephalopathy.

             These scores indicate unequivocally major deficiencies in cognitive
             functioning.
             functioning.

             At one time or another Miss Spears has been diagnosed by a number of
                                                                        autoimmune
             specialists with a series of serious illness, many with an autoi.mm,une
             component. Those included Hashimotos disease, possible Lupus,
             demyelination in CNS, hemorrhagic colitis, fibromyalgia, chronic fatigue
             syndrome, severe intractable migraines, severe neurocognitve dysfunction,
             severe memory loss, limiting joint pain, and insomnia.
             Either Miss Spears is one of those unfortunate chronically ill patients,
             struggling under a series of autoimmune, multi-systemic, recurring illnesses
             or like so many of my patients is suffering from "chronic relapsing
             Borreliosis with a high likelihood of co-infections".
             These type of patients in my practice can improve significantly in the
             physical sense with proper treatment, but frequently can have intermittent
             return of these physical symptoms.
             What tends not to improve is the severe neurocognitive deficits as shown by
             her disastrous scores on her neuropsychological evaluation. Short term
             memory, concentration and distractibility remain largely inconsistent and
             can change and rapidly fall even lower, depending on the work load and
             stress level. This, and her extreme exhaustion, can make Miss Spears unable
             to function consistently for any sustained period of time in a work
             environment.
             environment,




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       !LADS Guidelines"·i§.________________________
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     ILADS Evidence-Based
     (LADS                Gu.idelines for
           Evidence-Based Guidelines
         Management of Lyme Disease
     the Management
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      1O. Increasing
      10.                                                                     41. Validation of guidelines
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      Ill Diagnostic
      III                  concerns                                                                    evidence·based
                                                                              43. Grading system for evidence    based guidelines
      13.
      13. Atypical early presentations                                        44. Table 1:                               ILADS guidelines
                                                                                         1: Comparison of key IDSA a: 1d (LADS
       14. Chronic Lyme disease presentations
      14,                                                                     45. Criteria for evidence-based guidelines
      15.                   ot"physical
       15. The limitations of   physical findings
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       17. Seronegative Lyme disease                                              Lyn             & disclaimer
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     · 18. Importance                                                                            ent guideline; are intend
       19. Clinical judgment                                                                     d other ht al hdare pr vi
       20. Testing for coinfection                                                                n94PM,$0..,91114i
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      21. Prompt use of an antibiotic
      22. Choosing an antibiotic
      23. Oral antibiotic options
      24. Intravenous option
          lntramuscµlar option
      25. Intramuscular
      26. Combination antibiotic treatment
      27. Sequential treatment
      28. Dosage
      28,
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      29. Duration of therapy                                                                    ygl~i~H
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                                                                                                             , • ,: •   •• : • •   '.'   , , : , ', ,.', , " :   , ·.: , , , , " .... .', :· " '• •'   : : , : :: :, : : , , ,'·   ~   .:'·: ·., : ,,'   ,                    ~
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                                                                                                                                                                                                                                                             ·'. :· , , , • : '•' : , / ' '.' \ ·.'.: ,I
                                                                                                                                                                                                                                                                                                           ,
      30. Empiric treatment                                                                               wera·.publish~d
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                                                                                                             8ons:tantly evolving      these,;' :; . · :
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      Rcpr.intf.:d from Expert Review of Anti   -Infective Therapy                                  ay be considered current'enly,Loty,at.
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      2(1), Suppl~1ncnt (2004) by the kind pertnisaion
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             I ILADS
                ";lt}j@@ll:\f
                      Guidelines....______________________
             The ILADS Guidelines focus on which patients to                                                             21.5 Lymi
                                                                             By these definitions, almost two-thirds of 215   Lym•
             evaluate, what tests to order, what antibiotics to use
                                            what.antibiotics                 disease patients in a recent retrospective cohort
                 wh•.t steps to take to ensure that concerns over
             and what                                          oYer                             region had chronic Lyme disease
                                                                             from an endemic cegion
             antibiotic use are addressed.                                   [4]. Case definitions for Lyme disease have evolved
             The ILADS Working Group that formulated these          these.   and will continue to develop as a better understand-
                                                                                                                       understand·
             guidelines included primary care  ca.re clinicians, research-
                                                                 research·   ing of chronic Lyme disease emerges to shape a
             ers, community healthcare providers and patient                 common lexicon.
             advocates. In developing these treatment         guidelines,
                                                   tteatmentguidelines,      5. Competency and training
             the group considered factors
                                        fa<:tors such as incidence of
             Lyme disease; severity of disease in terms of Mor-     mot-     The appropriateness
                                                                                  appropria.teness of treatment hinges on the
             bidlty; comorbidities and determinants of when
             bidity;                                                                                in treating Lyme disease.
                                                                             clinician's experience in.
             Lyme disease
                    disease;, is most
                                 rnosr likely to become chronic;                           requires diagnostic and treatment skills
                                                                             Competence.reguires
                                                                             Competence
             feasibility, efficacy and cost of antibiotic treatment;         heretofore not offered in medical school or
                                     thernpy on quality of life,
             impact of antibiotic therapy                                    postresidency
                                                                             postreside11cy training.
             including adverse drug events; and the potential for            CliniciaM more practiced in treating Lyme disease
                                                                             Clinicians
                   resiHapcc to develop,
             drug resistance       develop.                                  achieve better outcomes and an.cl encounter fewer
              Because of the complexity and variability
                                              Yatiability of Lyme            complications because of an enhanced ability to
              disease symptoms, the guidelines are flexible. Treat-
                                                             Treat·          interpret clinical data, the prompt prescription of
              ment
              mcnt depends on the severity of each case, the                 antibiotics and the use of measures to reduce
              patient's response to therapy and the physician's              adverse events, e.g., employing acidophilus to
              Own
              6wn clinical judgment.                                         replace normal intestinal flora that    is depleted by
                                                                                                                tho.tis
                                                                             antibiotics.
                 A problem of definitions
              4. A
                                                                             6. The increasing role of primary care
              Lyme disease was initially investigated
                                          im·estigated by CDC
              epidemiologists focusing
                                foc:using on erythema migrans,               The  primary-care physician has an important role as
                                                                             The.primary.care
              heart block, meningitis and arthritis. The ELISA               the first and at times, the principal medical contact
              test and later, the western blot, were introduced for          for the person with Lyme disease.
              seroepidemiologic studies,
                                   studies. Chronic, persistent,             Primary care physicians focus on the resolution of
              recurrent and refractory Lyme disease were not                 symptoms, monitoring for side effects, maintenance
              indu.ded in these studies; consequently cases of
              included                                                       or improvement of functional status and prevention
              chronic Lyme disease still go unrecognized.                    of recurrent symptoms.
              For the purpose of the th" ILADS guidelines, 'chronic           These guidelines incorporate the evidence used by
              Lyme disease'
                     dis,,ase' is.inclusive of persistent symptoma-
                                                          symptoma·           primary care physicians for the care of patients with
              tologies including
                       includi.ng fatigue, cognitive dysfunction,             Lyme disease.
              headaches, sleep disturbance and other neurologic
                                                           neuro!ogic
              features, such as demyelinating    disease, peripheral
                                  demyelinatingdisease,                       7. Highlights of guidelines
              neuropathy and sometimes motor neuron disease;
              rieuropathy                                                      • Since
                                                                                 Sin.ce there is .currently
                                                                                                 currently no definitive test for
              neutopsychiatric
              neuropsychiatric presentations; cardiac
                                                  cai:diac presenta-             Lyme disease;
                                                                                        disease, laboratory results should not be
              tions including electrical conduction delays and                   used to exclude
                                                                                          e11clude an individual from treatment
              dilated cardioniyopathy;
                      cardiomyopa>hy; and anisculaskeletal
                                               musculoskeletal prob-          -•Lyme   diseose is a clinical diagnosis and
                                                                               ' Lyme disease                          ancl tests
              lems. Symptoms may continue despite 30 days of                     should be used to co support
                                                                                                      suppon rather than supersede
              treatment (persistent Lyme disease). The patient                   the physician's. judgment
                                                                                     physician's judgmcm
              may relapse in the absence of another tickbite or
              erythema
              etythema migrans rash (recurrent Lyme disease), or               ▪• The early use of antibiotics can prevent persis-
                                                                                  tent, recurrent and refractory Lyme disease
              be poorly responsive to antibiotic treatment
                                                     tteatment (refrac-
              tory Lyme disease).
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                    DADS Guidelines

              ods [14]. In fact, there is no reliable, commercially
                                                       conunercia.lly      fibromyalgia patients is consistent with a persistent,
                                                               eradica~
              available culture assay that can confirm the eradica-        inadequately treated infection with B. burgdorftri   (24).
                                                                                                                  b urgelorteri (24].
                          organism. Using
              tion of the organisth.
              don                             experimental   tech-
                                                                           The increasing successes of repeated and prolonged
              niques, however,
                       however,B. B. burgdorferihas
                                     bar rgdoeri has been detected in      antibiotic treatment in chronic Lyme disease are
              virtually every organ in the body, and the spirochete        more consistent with a persistent infection mecha-
                                                                           More
                     sttong predilection for the central nervous
              has a strong                                                 nism.
                                                                           rusm.
                                                       centtal nervous
              system. Oral antibiotic levels in the central,   n"rvous
              system are low, and this fact may necessitate the            12. Severity of chronic Lyme disease
              addition of drugs with good penetration across aci:oss the   For patients with chronic Lyme disease, the quality     <:jUaliry
                                      (15], such as intravenous
               blood-brain barrier [15),
              blood—brain                                                  ofl.ife
                                                                           of  life has been  evaluated  in   a clinical trial
                                                                                                                         ttial   spon-
               ceftriaxone or cefotaxime.                                  sored by the National Institutes of Health (N11-1)     (NIH)
               Most studies demonstrate a beneficial effect of             using a standardized questionnaire (23].   [23]. The quality
                                                                                                                                   <:jUality
                antibiotics in the management of chronic
                                                     clu:onic Lyme         of life of the 107 individuals with chronic Lyme
                         but the extent ofoptimal treatment is still
                disease, hut                                               disease was worse than that of patients with Type 2
                           [4,12, 13, 16-22]. Recent
                uncertain [4,12,13,16-22].    Recrnt clinical trials       diabetes or a recent heart attack, and equivalent to
                questioning the benefits of antibiotics have been          that of patients with congestive heart failure or
              . criticized for enrolling patients with
                                                  'W-ith refractory Lyme   osteoarthritis. Moreover, the average Lyme disease
                disease who were sick for a mean of 4.7 years               duration of 4.7 years in subjects enrolling in the
.. ~
                despite an average of three courses of antibiotics,        study emphasized the chronic nature of the condi-        con.di •
                and for relying only on one treatment protocol (1           tion.
                                                                            tion*  Finally, the failure of  1 month    of
                                                                                                                       of  i.v.
                                                                                                                           i.-,.
                month of i.v. ceftriaxone
                                ccftriaxone followed by 2 months of         ceftriaxone followed by 2 months of oral doxycy-
                low-dose oral doxycycline) [23]. In view of these           cline delineated the potential for a poor outcome in
                methodological problems, persistent infection               chronic Lyme disease [25],[25).
                 remains a continuing concern for physicians.

               11. Disappointing results of symptomatic
               11.                                                                  Ill: Diagnostic concerns.
                                                                            Section III:
                      treatment                                             The most important method for preventing chronic
               A theoretical immune mechanism has been pro-                 Lyme disease is recognition of the early manifesta-
               posed to explain persistent symptoms in chronic              tions of the disease.
               Lyme disease, but no clinical or laboratory test can
               confo:m this theory. The immune mechanism
               confirm                                                      13. Atypical early presentations
               theory is based on physiological events (often in the      Eady Lyme disease classically
                                                                          Early                             presents with a single
                                                                                               classicallypi:esents
               form of                  are not reversed by simply
                      of cascades) that arc                               erythcma
                                                                          erythema   migrans  (EM   or  `bull's-eye)
                                                                                                        'bull's-eye') rash. The EM
               killing the infecting organism.                            rash may be absent in over 50% of     of Lyme disease
                The presentation of chronic Lyme disease can be           cases, however   [25]. Patients  should   be made aware
                identical to that of other multisystem
                                               multisvstem disorders,     of the significance of a range of rashes beyond the
                                                                          of
                including systemic lupus erythematosus, rheumatoid classic EM, including multiple, flat, raised or blister-
                arthritis and fibromyalgia. In the seminal article        ing rashes. Central clearing was absent in over half
                describing fibromyalgia in a Lyme disease popula-                                     [26]. Rashes can also
                                                                          of a series of EM rashes [26).
                tion, antibiotic treatment failure and relapse of   of    mimic   other common     presentations    including a
                symptoms were~.:vere considered to be proof of the        spider bite, .dngworm,       cclluliris, One series of
                                                                                       ringworm, or cdlulitis.
                           of B. buTdoiteriinfection,
                absence ofB.      burgdorjeri infection, and persistent   ele\•en
                                                                               en EM   rashes was  misdiagnosed      and treated as
                symptoms were assumed to be due to postinfectious cellulitis, with all eleven patients showing clinical   dinical
                seguelae [24].
                sequelae   [24). However, the failure of  ofshor.t-course
                                                            short-course   evidence  of Lyme   disease  progression    [27].
                (2-4 week) antibiotic treatment in 14 (94%) of 15                                 awa.<e that fewer than 50% of
                                                                          Physicjan.s should be aware
                                                                          Physicians

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            ods [14]. In fact, there is no reliable, commercially            fibromyalgia patients is consistent with a persistent,
            available culture assay that can confirmconfu:rn the eradica-
                                                                 eradica·                                           burgdorftri (24).
                                                                             inadequately treated infection with B. brogriocki  [24].
            tion of the organism. Using experimental tech-                   The increasing successes of repeated and prolonged
                       however, B. burgdodiii
            niques, however,.8.                        bee'n detected in .
                                       burgdorferi has been                  antibiotic treatment in chronic Lyme disease are
            virtually every organ in the body, andthc and the spirochete     ~ore consistent with a persistent infection mecha-
                                                                             more                                        mecha·
            has aa strong predilection for the central nervous               nlsm.
                                                                               SCR.
            system. Oral antibiotic levels in the central nervous
             system are low, and this fact may necessitate the               12. Severity of chronic Lyme disease
             addition of drugs with good penetration across the                                   chronic Lyme disease, the quality
                                                                             For patients with chronk
             blood—brain
             blood-brain barrier [15), such suc:h as intravenous                 life has been evaluated
                                                                             of lifo                        in a clinical trial spon-
                                                                                                evaluated. iu
             ceftriaxone
             cdtriaiwne or cefotaxime,
                               cefotaxime.                                   sored by the N    atlonal Institutes of Health (NIH)
                                                                                            National
                     srndk.s demonstrate a beneficial
             Most studies                       bendicial effect of          using a standardized questionnaire [23]. The quality
             antibiotics in the management of chronic Lyme                   of life of the 107 individuals with chronic Lyme
              disease, but the extent ofoptimal treatment is still           disease was worse than that of patients with Type 2
                         [4, 12, 1.3, 16-22). Recent clinical trials
              uncertain [4,12,13,16-22].                                     diabetes or a recent heart attack, and equivalent to
              questioning the benefits of antibiotics have been              that of patients with congestive heart failure or
            . criticized for enrolling patients with refractory Lyme         osteoarthritis. Moreover, the average Lyme disease
                                                                             osteoarrhritis.
              disease who were sick for a mean of 4.7 years    yenrs         duration of 4.7 years in subjects enrolling in the
              despite an average of three courses of antibiotics,            study emphasized the chronic nature of the condi-
              ana for relying only on one treatment protocol (1 ,.
              and                                                                                 fail.me of 1 month of
                                                                              tion. Finally, the failure                    i.v.
                                                                                                                        ofi.v.
              month of i.v. ceftriaxone followed by 2 months of               ceftriaxone followed by 2 months of oral doxycy-
              low-dose oral doxycycline)
                               doxycydine) [23]. In      view of these
                                                      In.view                 dine delineated the potential
                                                                              cline                    potential for a poor outcome in
              methodological problems, persistent infection                   chronic Lyme disease [25].
              remains a continuing concerncontern for physicians.
                                                        physicians .
.J           11. Disappointing results of symptomatic                                 ILi: Diagnostic concern
                                                                              Section 11,1:           concerns.
                 treatment                                                    The most important method for preventing chronic
                                                                                                                          chronit
             A theoretical immune mechanism has been pro-                                                        eady manifesta-
                                                                              Lyme disease is recognition of the early manifesta· .··
             posed ioto explain persistent symptoms in chronic                dons  ofthe
                                                                              tions of     dis.ease.
                                                                                       the disease.
             Lyme disease, but no clinical or laboratory test can
             confirm this theory. The immune mechanism                        13. Atypical early presentations
             theory is based on physiological events (often in the            Early Lyme disease classically presents with aa single
             form of cascades) that are not reversed by simply                erythema    migl'.ans (EM or 'bull's-eye') rash. The EM
                                                                              crythema migrans
             killing the infecting organism.                                  rash may be absent in overove1· 50% of Lyme
                                                                                                                        r.yme disease
             The presentation of chronic Lyme disease can be                                     (25]. Patients should be made
                                                                              cases, however [25].                           nude aware
             identical to that of other multisystem disorders,                of the significance of aa range of rashes beyond the
             including systemic lupus erythematosus, rheumatoid               classic EM, including multiple, flat, raised or blister-
             arthritis and fibromyalgia. In the seminal article               ing rashes. Central clearing was absent
                                                                                                                   abseo.t In        balf
                                                                                                                             in over half
             describing fibromyalgia in a Lyme disease popula-                                             [26]. Rashes can also
                                                                              of a series of EM rashes (26].
             tion, antibiotic treatment failure and relapse of
             don,                                                             mimic other common presentations including  including aa.
             symptoms were considered to be proof of the                      spider bite, ringworm, or  o~ cellulitis. One series of

                       of .B. burgdoiertinfection,
             absence ofB.     burgdorftriinfection, and persistent            eleven EM rashes was misdiagnosed and treated as
             symptoms were assumed to be due to postinfeetious
                                                       postinfectious         cellulitis, with all eleven patients
                                                                              celiulids,                  patiencs showing clinical
             sequelae   (24). However, the failure of short-course
             scguelae [24].                                                                                  progtession (27).
                                                                                             Lyme disease progression
                                                                              evidence of Lyrne                             [27).
             (2-4 week) antibiotic treatment
                                     trnatment in 14 (94%) of 15               Physidaos should be aware that fewer than 50% of
                                                                               Physicians

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     Lvme disease patients recall
 all Lyme                               tickbite [24
                              rcc•ll a• tickbitc (28). Early   or confirmatory
                                                                  confumatoty laboratory testing.
 Lvm"e disease should also be considered in an
 Lyme
                                                                                    physical findings, such as a
                                                               Factors other than Physical
 e~aluation of 'off-season' onset
 evaluation                    ouset when flu-like
 symptoms, fever and chills occur in the summer and            history of potential exposure, known tickbites,
 fall. Eady  rccoguition of
       Early recognition   of atypical early Lyme disease      rashes or symptoms consistent with the typical
                                                               multlsystem presentation
                                                               triultisystem prese11.tation of Lyme disease, must also
 pi:escntation is most
 presentation     rn,ost likely to occur when the patient
 has been educated on this rhis topic,
                                topic.                         be considered in determining
                                                                                  detcrm.ining whether an individual
                                                               patient is a candidate for antibiotic therapy.
 14,
 14. New chronic Lyme disease
                                                               16. Sensitivity limitations of testing
     presentations
                                                                                      shoWd not be based mutlndy
                                                               Treatment decisions shoUld                      routinely
                              hdpful for suggesting a
 A detailed history may be helpful
                                                               or exclusively on laboratory findings [2;24
                                                                                                         [2;25]. The
 diagnosis of chronic Lyme disease. Headache, stiff
                                                               two-tier diagnostic criteria, requiting both a positive
 n.eck, sleep
 neck,   skep disturbance and problems with memory
                                                               ELISA and western blot,            sen,sitivity and leaves
                                                                                      bloc, lacks sensitivity
 and concentration are findings frequently associated
                                                                 signJ.ficant number of indi,,iduals
                                                               a significant               individuals with Lyme
 with neurologic Lyme dis~ase.             dues to Lyme
                           disease, Other clues
                                                               disoase
                                                               disease  undiagnosed    and   untreated [29,30].  Them!
                                                                                                       (29,30). These
 disease have been identified, although these have
                                                               diagnostic criteria were intended to improve the
 not been consistently present in each patient:
                                                               specificity of tests to aid in identifying well-defined
                            mus cl~ twitching, photosen-
 numbness and tingling, muscle                 photoscn-
                                                               Lyme disease cases for research studies [31]. Though
 sitivity,                        l.ightheadedness and
        y, hyperacusis, tinnitus, lightheadedness
                                                               arbitrarily chosen, these criteria have been used as
 depression.
                                                               rigid diagnostic benchmarks that have prevented
 Most patients diagnosed with chronic Lyme disease             individuals 1:vith
                                                                             with Lyme disease from obtaining
 have an indolent onset and variable course. Ncuro-
                                               Neuro-          treatment. Diagnosis of Lyme disease by two-tiertvm-tier
             rheumatologk symptoms are characteris-
 logic and rheumatologic                                       confo:mation fails to detect up to 90% of.cases and.
                                                               confirmation                                           and_
 tic,,
 tic   and increased severity of symptoms on waken-            does not distinguish between acute, chronic, or
 ing is common. Neuropsychiatric symptoms alone                resolved infection [21).
                                                                                    (21 ].                       '·
       mor.e often seen in chronic than acute Lyme
 are more
                                                               The CDC considers a western blot positive if at
 disease. Although many studies have found that
                                                                                                    IgM bands are
                                                               least 5 of 10 IgG bands or 2 of 3 IgNI            ate
 such clinical features are often not unique to Lyme
                                                                         (31]. However, other definitions for western
                                                               positive [31].
 disease, the striking association of musculoskeletal
                                                                                               pi:oposed to improve
                                                               blot confirmation have been proposed
 ,n;:J neuropsychiatric symptoms,
 and                     symptorns, the variability of
                                                                                    (30,32-36). ln
                                                               the test sensitivity [30,32-3G]: In fact, several studies
  these symptoms and their recurrent nature may
                                                               showed that sensitivity and specificity for both the
 support a diagnosis of the disease.
                                                               lgM and IgG western
                                                               IgM             west1ttn blot range from 92 to 96%
  15. The limitations of physical findings                     when only two specific bands are positive [34-36).
  A comprehensive physical examination should be             Lumbar puncture has also been disappointing as a
  performed, with special attention to neurologic,
                                       neu.rologic,       .. diagnostic test to rule out Concomitant
                                                                                          concomitant central
  rheumatologic and cardiac symptoms associated              nervous system infection. In Ill Lyme disease, evalua-
  with Lyme disease,
            disease.                                         tion of
                                                                  ofcerebrospinal              uru:eliable for a diagno-
                                                                     cerebrospinal fluid is unreliable           diagno·
                                                             sis of encephalopathy and neuropathy because of
  Physical findings are nonspecific and
                                      a,nd often normal,
                                                             poor sensitivity (see Section 11.8).
                                                                                             II.8). For example,
  but arthritis, meningitis and Bell's palsy may some-
                                                             pleocytosis was present in only one of 27 patients
                              data suggest that objective
  times be noted. Available datasuggest
                                                             (sensitivity 3%) and with only seven cells [12]. The
  evidence alone is inadequate to make treatment
                                           tr.eatment
                                                                       in,dex was positive (>1)
                                                             antibody index                   (> 1) in only one of 27
              b~cause a significant number of chronic
  decisions, because
                                                             patients (sensitivity 3%)   [12). An index is the ratio
                                                                                   3D/o) [14
  Lyme disease cases may occur in symptomatic
                                                             between Lyme ELISA antibodies in the spinal fluid
  patients without objective features on examination

  LymeTimes/Summer 200 4
  LymeTimes/Summer2004                                                                                                  39

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          llAD5 Guidelines       _____________,_,______..__......,_
                   ELISA,antibodies in.the serum.
         and Lyme ELISA.antibodies          scrum. The                                         fibromyalgia and chronic
                                                                        indistinguishable from fibrornyalgia      chr:onic
         proposed            1,3 would be expected to have
         prop;sed index of 1,3                                          fatigue syndrome. These illnesses must be closely
         even worse sensitivity.                                                                                      B.
                                                                        scrutinized for the possibility ofetiological B,
                   •d.dition<>l tests for Lymedisease
          Several additional                                   been
                                          Lyme disease have be.en       burgdorferi infection.
                                                                        burgdmien'infection.
          evaluated. These include antigen
                                        antige.n capture, urine         19,
                                                                        19. Clinical judgment
                                                                            Clinicaljudgrnent
          antigen and polymerase
                          po,lymerase chain reaction. Each has
          advantages and disadvantages in terms of conve-
          advamages                                                     Clinical judgment remains necessary in the diagnosis
          nience, cost, assay standardization, availability and         of late Lyme disease. A problem in some studies
          reliability. These tests remain an option to identify         that relied on objective evidence was that treatment
          people at<1.t high risk for persistent, recurrent
                                                  recu.rrent and        occurred too late, leaving the patient at risk for
          refractory Lyme disease but have not been standard-
                                                            standard·   pefsistent and
                                                                        persistent  ~nd refractory Lyme disease.

          ized.                                                                    time-honored beliefs in objective findings
                                                                        As noted, time-honofed
                                                                                                       h~ve not withstood
                                                                        and two-tier serologic testing have
          17. SeronegativeLyme
          17, Seronegative, Lyme diSease
                                 disease                                close scrutiny [21,30,34,37],
                                                                        dose           [21,3Q,34,3(]. Lyme disease should be
          A patient who has'tested
                          has tested seronegative
                                     seronegatlve may have a                          patients with newly acquired or chronic
                                                                        suspected in patiencs
          clinical presentation consistent with Lyme disease,           symptoms (headaches, memory and concentration
          especially if there IS
                              is no evidence to indicate another                        jointpain). Management of patients
                                                                        problems and joint.pain).
          illne$S..   .                                                 diagnosed
                                                                        dfagnosed on the basis of clinical judgment needs to
            Although many individuals do not have confirma-             be tested further in prospective trials, and diagnostic
            tory serologic test's,
                           tests, surveillance studies show that        reproducibility must be verified.
            these patients may have a similar risk of developing         20. Testing for
                                                                         20,             coinfection
                                                                                     forcoinfection
         ,: persistent, recurrent and refractory Lyme disease
            compared with the seropositive population,
                                               population. A             Polym.ic.robial infection is a new concern for Mai.=
                                                                         Polymicrobial                                           incli~
            prospective observational study of 1094 patients             viduals with Lyme disease, and coinfection is in-
,:.·                                                                                                 criticilly ill individuals [25,38].
            [21] and the Klempner clinical trials [23)
                                                    (23] found no        creasingly reported in critically                      [25,38).
            difference in measured outcomes (e.g., success of            Although B,  B. btogdod'eri
                                                                                          burgdoifari remains the most common
            retreatment) among seropositive or seronegative              pathogen in tickbornc
                                                                                         tickbome illnesses, coinfections includ-
            Lyme disease
                   diseMe patients.               '                      ing Ebnlichia
                                                                             EhriichidQndand Babesia strains are increasingly
                                                                         noted in patients with Lyme disease, particularly in
           18,
           18. Continued importance of differential                      those with chronic illness,
                                                                                                 illness. Bartonella
                                                                                                           Bartone/la is another
               diagnosis                                                 organism that is carried
                                                                                              carded by the same ticks that are
           The differential diagnosis of Lyme disease requires                                burgdoiferi, and evidence suggests
                                                                         infected with B. Infrteloderi,
                                                                         that it is a potential coinfecting agent in Lyme
           consideration of both infectious and noninfectious
                                                     noninfettious
                                                                         disease (251
                                                                                   (25].
           etiologies. Among noninfectious.causes
                                noninfectious causes are thyroid
           disease, degenerative arthritis,
                                   artbr.itis, metabolic disorders       Recent animal and human studies suggest that Lyme
           (vitamin 1312
                     B 12 deficiency, diabetes), heavy metal ,                                            ~esistant to therapy
                                                                         disease may be more severe and resistant
           toxicity, vasculitis and primary
                                    pdmaty psychiatric disorders.
                                                           disordeu.     in coinfected patients [25,38).
                                                                                                [25,38]. Thus, concurrent
           Infectious causes can mimic certain aspects of the            testing and treatment for coinfection is mandatory
                                                                         in Lyme disease patients,
                                                                                          patients.
           typical roultisystero
                   muldsystem illness seen in chronic Lyme
           disease. These include viral syndromes such as
           parvovirus 819
                       Bl 9 or West Nile virus
                                          vi.J:us infection, and
                                                             Qnd
           bacterial mimics such as relapsing fever, syphilis,
           leptospirosis and mycoplasroa.
                              mycoplasma.
           The clinical features of chronic Lyme disease an
                                                         can be

           An                                                                                                 ymeTimesl5urrirner2004
                                                                                                             Lyme Times/ Su mm er 200 4
                                                                                                                   Liberty002333
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   !LADS Guidelines

 Section IV: Treatment                                                                    pfr:ssute io·ti:cai
                                                                      considerations and pressure             patiehts with
                                                                                                     oticat patients
             considerations                                                        with the least int~rventicin,
                                                                      Lyme disease with               tervention, thete
                                                                                                                   there is
 Since Lyme disease can become persistent, recur-                     growing interest in the use of oral
                                                                                                      or.al therapy. •
 rent and refractory even in the face of antibiotic                   First-line drug theraPies.
                                                                                      therapies for Lyine
                                                                                                       Lyme disease may
 therapy, evaluation and treatment must be prompt ·                   include (in alphabetical order): oratarnOxicillin,
                                                                                                          oi:oJamoxicillin,
     aggressive,
 and aggressive.                                                                     [3 9-41 ], celitroxinne
                                                                      adthrornyci.n [39-41],
                                                                      azithronCycin                           [42],
                                                                                                cefotoxi.me [42],
                                                                                       (43), doxycycline and tetracycline.
                                                                      clarithromycin [43],
                                                                      clarithrornycin
 21, Prompt use of antibiotics                                        These antibiotics have similar favorable              in·
                                                                                                                    results in
                                                                                                         faVotable resUlts
 Although no well designed studies have been carried                  comparative trials ofof early
                                                                                              eady Lyme disease. In one  oo.e
 out, the available darn
                     data support      prnmpt Lise
                          "ipport the prompt     use of               study, azithromycin
                                                                              azithromydn performed slightly less well
                                         disea>e. Antibi-
 antibiotics to prevent chronic Lyme disease,     Amibi-               when compared to amoicicillin
                                                                                            amoxic.illin and doxycycline.
 otic therapy may need to be initiated
                               in.itiated upon
                                          upo11 suspicion             However, the efficacy of azithromycin was underes-
 of the diagnosis,
        dfagnosis, even without definitive proof.                      timated because the antibiotic was only given for 10
 Neither the optimal antibiotic dose nor the duration                       [39].
                                                                      days [39).
 of therapy has been standardized, bur
 of                                    but limited data                                                    ~oxycycline (100
                                                                      One study has suggested that oral doxycycline      (iOO
 suggest a~. benefit from increased dosages and longer                mg twice daily for 30 days) is as effective as
                                                                                                                  u inttave·
                                                                                                                     intrave-
 treatment, comparable to the data on tuberculosis                    nous ceftriaxone (2 g daily for 30 days)
                                                                                                          doys) in early
                                                                                                                   eady
                                               slmv-
 and leprosy which are caused by similarly sloW-                                    Lyrne
                                                                      disseminated Lyme   disease  [40). 'TwoEur.opean
                                                                                                   [40]. Two  European
                       [25].
 growing pathogens [25],                                                                           similax efficacy of oral
                                                                      studies have demonstrated similar
 22. Choosing an antibiotic                                                                        penicillin and ceftriaxonc
                                                                      doxycycline and parenteral pehicillin
                                                                      in
                                                                      irfcarly              [44,45].
                                                                         eatly Lyme disease [44,451
 In acute Lyme disease, the choice of antibiotics
                                                                      Ther.e are no studies comparing oral with intrave-
                                                                      There
 should be tailored to the individual and take into
                                                                                                                     refrac'
                                                                      nous antibiotics for persistent, recurrent and refraCi
 account the severity of the disease as wdl well as the
                                                                      tory Lyme disease.
 patient's age, ability to tolerate side effects, clinical
                            comorbidities, prior
 features, allergy profile, comotbidities,   prio.t expo-             24. Intravenous antibiotic options
 sure, epidemiologic
       epiderniologic setting and cost.
                                                                      It
                                                                      It is common
                                                                            comm.on practice to Consider
                                                                                                consider intravenous
                              rdractory Lyme disease
  Conversely, persistent and refractory                                                              om! medication's
                                                                       antibiotics upon failure of oral  medications in
                                      inuavcnous and/
  treatment is more likely to include intravenous                                                            or. refractory
                                                                                      persi$tent, recurrent or
                                                                       patients with persistent,
  or intramuscular antibiotics. The choices depend in                  Lyme disease, and as the first line of therapy for
  part on the patient's response to antibiotic therapy                                      (Le., encephalitis, meningitis,
                                                                       certain conditions, (i.e.,
  and on the success of antibiotics in treating other                  optic neuritis, joint effusions and heart
                                                                                                            hearc block).
                               bdow),
  Lyme disease patients (see below).
                                                                       Ideally, the intravenous antibiotic should be selected
  Therapy usually starts with oraloi:al antibiotics, and               on the basis of in vitro sensitivity testing or clinical
  some            recommend
  soine experts recomme11d high dosages.dc.isages. The choice          experience [101]. Intravenous antibiotics are also
                              gLtid~d by weighing
  of antibiotic therapy is guided         weigbing the                 justified by concern for penetration into the central
                                                                       jLtstified
  gr.eater activity of
  greater               intrav~nous antibiotics in the
                    ot" intravenous                                                      [15).
                                                                       nervous system [15].
  cenmtl nervous
  central  nervoc1s system against the lowerI.owe.~ cost and
        adminlst.radon of oral antibiotics for e.
  easy administration                                13. blirgefor-
                                                         burgdor-                       ceftriaxone,. cefotaxime and
                                                                       Until recently, ceftriaxone,,              a.nd penicillin
                                                                                                                       penicUlin
 flri..                                                                      t:he only intravenous antibiotics
                                                                       were the                     a,ntibiotics routinely
 fin                                                                   studied for use in Lyme disease.
                                                                                                  disease, Intravenous
  23. Oral antibiotic options                                          irnipenern,
                                                                       imipenem, azithromycin
                                                                                    azithromyci.n arid
                                                                                                   and doxycycline have an
  For many Lyme disease patients, there is no clear                    adequate antispirochetal spectrum
                                                                                                   specti·um of activity and
                                                                       may
                                                                       ma,y represent suitable alternative therapies. How-
  advantage of parentcral
               parenteral therapy. Along with cost

  LymeTimes/Summer2 004
  LymeTimes/5ummer2004                                                                                                         41
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  ever, the latter two drugs are often considered for               tloo therapy in Lyme disease patients failing single
                                                                    tion
  intravenous use only if they arc
                                are not tolerated orally.                  [47-4 9).
                                                                    agents [47-49).
  There is a paucity of data on alternative
                                 alte.rnative intravenous           27. Sequential treatment
  antibiotics, and their success is less predictable in
                                                               Clinicians increasingly use the sequence o
                                                               Clinicians                                             of an
  chronic Lyme disease,
                 disease.
                                                                                  antibiotic, followed by an oral or intra-
                                                               intravenous antibiotic.
  25. Intramuscular antibiotic options                                                    [19,37,101,47 ,48]. Io
                                                               muscular antibiotic [19,37,101,47,48].               In two recent
                                                               case series that employed combination therapy and
  intramuscular
  Intramuscular benzathine penicillin (1.2 to 2.4
  million units per week) is sometimes effective in            sequential therapy, most patients were successfully
  patients who do not respond to oral and inuave-  inttave·                [19 ,47). A logical and attractive sequence
                                                               treated [19,47).
  nous antibiotics. If   If intramuscular benzathine
                                            bcnzathlne peni-
                                                         peni· would     be    to use intravenous therapy fi.t:st       (e.g.,
                                                                                                                  first (e.g„
  cillin is used, long-term therapy may be necessary           intravenous  ous   ceftriaxone),   at least  until   disease  pro-
                                                                                                                             pro·
  clue
  due to the low serum s~rum concentration of this form of
                                                               gression      is  arrested  and  then   follow    with   oral
  penicillin [46],
                [46]. Luft and colleagues
                                 col.leagues report, "It was
                                                      "!twas                      peuistent and tecurr~nt
                                                                therapy for persistent             recurrent Lyme disease,difoase,
   demonstrated that while 13,    13. bu7,dorfarimay
                                      btagdoorerimay be sensi-  28. Dosage
   tive to relatively small concentrations of penicillin
   and eeftriaxone,          org~nism is killed slowly. This
        cdtriaxone, the organism                                Increasingly, clinicians recommend that certain
             \hat, as in syphilis, prolonged blood levels of drugs used for Lyme disease be given at higher.
   implies that,                                                                                                           bet daily
   these drugs
          dryigs may be  rie necessary in order to ensure       doses:    for   example,
                                                                                ex11m.ple, 300C-6000
                                                                                           3000-6000      mg    of  arrio
                                                                                                                ofamo:idcillin,
           (46):·
   cure" [46].                                                  300-400 mg doxycyclin
                                                                                    doxycyclincc and 500-600 mg of
                                                                azithromycin. Some clinicians prescribe antibiotics
   One-third of a chronic Lyrritelisease
                                 Lyme.disease population        •lslng
                                                                using blood levels to guide higher doses. Close
   responded to intramuscular
                     intrao:rnsculai: benzathine penicillin.    monitoring of complete blood counts and chemis-
                                             (16-18].
   (1.2 to 2.4 million units per week) [16-18].                 tries are
                                                                       ar:e also required with this approach.
   Benzathine penicillin has mainly been used in
   Ben:zathine
   patients who have had multiple relapses while                With higher doses, there may be an increase. in
   receiving oral
                or.al or intravenous antibiotic therapy or       adverse events in general and gastrointestinal prob-
   who are intolerant of oral or intravenous antibiotics. lems in particular. Acidophilus has reportedly
                                                                reduced the        incidence of C
                                                                              theincidence         C. diffidle
                                                                                                      a'ifficile colitis and non-
   26. Combination antibiotic treatment                          e. difficile andbiodc-related
                                                                 C              antibiotic-related diarrhea.
   Combination therapy vrithwith two
                                   two or
                                       or more antibiotics           Serious adverse effects of antibiotics, however, were
                                                                                                                       were· ·
   is now increasingly used for refractory Lyme disease              kss common than previous estimates. In a recent
                                                                     less
   [11,41,45,46-49] and has also been gh'engiven as initial          clinical trial of chronic Lyme disease, the overall
                                                                                                                 ovorall
   therapy for some chronic presentations.                           serious adverse event rate was
                                                                                                  was 3% after three
   This approach is already used for another tickborne
                                                  tickbornc          months of antibiotics, including 11 month of intra-
                                                                                                                     inti:a-
   illness, babesiosis [50]. Oral amoxicillin, cefuroxime            venous antibiotics [23]. Clinicians who have experi-
   or (more   recently) cefdinir combined with a mac-
       (moi:e i:ecently)                                             ence with higher-dose antibiotic therapy must
   rolide (azithromycin or ciarithromycin)
                               clarithromycin) are examples          balance the benefit of higher drug levels achieved
   of combination regimens that have proven success-                                             th~ modest risk ofgas-
                                                                     with this therapy against the               of gas-
                                                    success·
   fol in clinical practice, although controlled
   ful                                  contrnlled clinical          trointestinal and other side effects.
   trials are lacking in persistenti
                         persistent, recurrent and :refra.c-
                                                     refrac-         Research is needed to determine
                                                                                           determin.e the added benefits
   tory
   tor.y Lyme disease.                                               of higher doses of antibiotics in chronic Lyme
   Combination therapy in patients with Lyme disease                 disease.
   raises the risk of adverse events. This risk must be
   weighed against the improved response to combina-

   42                                                                                                   LymeTimes/Summer2004
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    29. Duration of therapy
                                   Jong-term outcome
    Because of the disappointing long-term                                            inany experts believe that this
                                                                  additional therapy, Many
    with shorter courses of antibiotics, the practice of          condition should be treated with repeated and
    stopping antibiotics to allow for a delayed recovery          prolonged antibiotics. Physicians should extend the
    is no longer recommended for patients with persis-            duration of antibiotics to prevent or delay recurrent
    tent, recurrent and refractory Lyme disease. Reports                         Lyme· disease.
                                                                  and refractory Lyme
    show failure rates of 30-62% within 3 years of                32. Recurrent Lyme disease
                                                thought.to
    short-course treatment using antibiotics thought    to
    be effective for Lyme disease [3,4,12].
                                   (3,4, 12]. Conversely          Despite previous antibiotic treatment, Lyme disease
    for neurologic complications of Lyme disease,                 has a propensity for relapse and requires careful
    doubling the length of intravenous ccftriaxone
                                          c.cftt:iaxone           follow-up for years. The data suggest that failure to
     treatment from  2 to 4 weeks improved the success            eradicate the organism may be the reason for a
    rate from 66 to 80% [12,511
                          [12,51].                                recurrence                [12]. Early and aggressive
                                                                  recurrenc" of symptoms [12).
                                                                  treatment with antibiotics is indicated for recurrent
    The management of chronic Lyme disease must be                Lyme disease. The ultimate impact from retreating
    individualized, since patients will vary according to                          recuuent Lyme disease is currently
                                                                  each episode of recurrent
    severity of presentation and response to previous
                                                                  unclear.
    treatment.
    Concurrent risk factors (i.e., coin
                                    coinfections,
                                         Eections, previous       33. Refractory Lyme disease
               failur~s, frequent relapses, neurologic
    treatment failures,                                           Refractory Lyme disease is a devastating condition
    involverilent, or previous use of corticosteroids) or
    involvernent,                                                 that usually affects patients with persistent symp-
                                                                                                                symp"
                             severi:. Lyme disease should
    evidence of unusually severe.                                 tomatology and long-term disability. Prompt and
                                           and/ or intrave-
    lead to the initiation of prolonged and/or                    aggressive institution of antibiotic therapy may be
    nous antibiotic treatment. Physicians should always           essential to prevent refractory disease. Increasing
    assess the patient's response to treatment before             evidence shows that antibiotics have a beneficial
    deciding on appropriate duration of therapy (i.e.,            effect on the course of refractory Lyme disease
    weeks versus months).                                         even in cases where the patient is intolerant of
                                                                  antibiotics or when a previous regimen has failed.
     30. Empiric treatment                                        Several months of therapy are often required to
    .The                  establishlng the diagnosis of
    The importance of establishing                                produce clear evidence of improvement. During
     Lyme disease is heightened in light of increasing
                                               in.creasing         this time, symptomatic treatment may be combined
     concern about antibiotic over-use. After an appro-           with antibiotic treatment.
     pdate history, physical examination and laboratory
     priate
     testing are completed, empiric antimicrobial therapy          34. Treatment failure
                                                                   34.
     should be initiated on the basis of clinical clues, the       When patients fail to respond or their conditions
     severity of the patient's acute illness, underlying           deteriorate after initiation of empiric therapy, a
     disease and the likelihood of B. burgdooreri
                                        burgdoiferi infection.     number of possibilities should be considered other
     The ILADS working group recommends that                            Jarisch-Hen:heimer reaction. These include
                                                                   than Jarisch-Hentheimer
     empiric treatment be considered routine for patients          adverse events that limit treatment, allergic history
     with a likely diagnosis of Lyme disease.                      to medication, inappropriate or inadequate dosing
                                                                   regimen, compliance problems, incorrect medica-
     31. Persistent Lyme disease
                                                                                                  sequesteting ofthe
                                                                   tion, immune sequelae and sequestering
                                                  treat·
     Persistent Lyme disease is more resistant to treat-           organism (e.g., in the central nervous system). An
     ment and more likely to produce aa relapse. Al-                                          coinfection
                                                                   alternative diagnosis or coin   fiction should also be
     though persistent Lyme disease may resolve without            considered.
                                                                                                       Continued on page
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     LymeTimos/Summer 2004                                                                                                43

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                 35. Symptomatic treatment                                 Lyme disease and/or exacerbation of an undiag-
                                                                           nosed persistent infection and is not recommended.
                 Although there may be a potential role for symp-          Increasingly, clinicians do not feel comfortable
                 tomatic treatment in chronic Lyme disease, this                    fibrnmyalgia in Lyme disease without
                                                                           treating fibromyalgia
                 approach has little support due to the strong possi-
                                                                           antibiotics.
                 bility of persistent infection. Owing to the potential
                 hazard of immunosuppression and the poor out-             37. Decision to stop antibiotics
                 come in one study, steroid therapy is not recom-
                                                                        Several studies of patients
                                                                                              pa ti ems with Lyme disease have
                 mended (52]. Surgical synovectomy is associated
                                                                        recommended that antibiotics be discontinued after
                 with significant morbidity and does not address
                                                                        30 days of treatment. Complicating the decision to
                 neurologic presentations; it should he reserved for
                                                                                           is the fact that some patients ..
                                                                        stop antibiotics is.the
                 knee pain failing antibiotic treatment [53]. Intra-
                                                                        present with disease recurrence
                                                                                                  recur.rence after the resolution
                                                                                                                        resoluaon
                  articular steroid injection may be useful as a tempo-
                                                                        of their initial Lyme disease symptoms. This is
                                                                        of
                  rizing procedure in patients with persistent knee
                                                                        consistent with incomplete
                                                                                          in.complete antibiotic therapy.
                  pain but this runs the risk ofmasking persistent
                                                                        Although.
                                                                        Although the optlinal
                                                                                        optfrnal time to discontinueantibiotie
                                                                                                            discontinue antibiotics
                  infection.
                                                                        is unknown, it appears to be dependent on the
                 Symptomatic therapy (particularly anti-inflammatory extent of smptothatology,
                                                                                    simptomatology, the patient's previous
                 medications, tricyclic antidepressants, selective       response to antibiotics and the overall response to
                 serotonin re: uptake inhibitors and                     therapy (see below),
                                                                         therap)'      below).
                 hydrOxychlotoquine) may be useful in concert with
                                                                         Rather than an arbitrary
                                                                                          arbittai:y 30-day treatment course,
                 antibiotics and in individuals failing antibiotics.
                                                                                       clinical response should guide duration
                                                                         the patient's clinidal                            duration.
                 Hyperbaric oxygen therapy (HBOT.) is under study
                                                                         of therapy. Patients must therefore be carefully
                 but is not recommended for routine therapeutic use
    '•                                                                   evaluated
                                                                         enluated for persistent infection before aa decision
    ' .i ~       [25,54]. Other treatments, including cholestyramine
    "~ i:                                                                is made to withhold therapy.
                 (CSM), antifungal therapy arid antiviral agents
                 require further study.                                  The decision to discontinue antibiotics should be
                                                                         made in consultation with the patient and should
                 Since patients are becoming more interested in
                                                                         take into account suchs4ch factors as the frequency and
                 alternative therapies (e.g., traditional Chinese medi-
                                                                         duration of persistent infection, frequency of
                 cine, anti-oxidants, hyperthcrmia, bet venom,
                                                                         recurrence, probability of refractory Lyme disc   disease,
                 naturopathy and homeopathy), physicians should be
                                                                         gains with antibiotics, the importance to the patient
.   -.           prepared to address questions regarding these
                                                                         of discontinuing antibiotics and potential for careful
                 topics,                                                  followup.
                      Fibromyalgi·a
                  36. Fibromyalgia                                          The ideal approach would be to continue therapy
                  The outcome of tr.eating
                                     treating fibr.omyalgia
                                              fibromyalgia secondary
                                                            seeondaty to    for Lyme disease until the Lyme. spirochete is
                  Lyme disease with nonantibiotic regimens has been         eradicated. Unfortunately there is currently no test
                  poor
                  poor. The most encouraging clinical trial showed          available to determine
                                                                                         detem1ine this point 125],
                                                                                                                (25]. Therefore, the
                  success in only
                             (;inly one of 15 patients and only modest      clinician must rely on the. factors outlined above to
                  improvement in G6of15of 15 individuals with               decide on the length of antibiotic therapy for
         '~
             i                                                 [24],
                  fibromyalgia despite 2 years of treatment [241,                          disease.
                                                                            chronic Lyme dis6.se.
                  Antibiotic therapy has been much motemore   effective         Alternative, antibiotics
                                                                            38. Alternative
                  than supportive therapy in symptomatic patients
             I    with fibromyalgia secondary to Lyme disease,
                                                           disease.         There is compelling evidence that Lyme disease can
                                                                            result in serious and potentially refra.ctory illness.
                                                                                                              refractoryillness.
             l    Fibtompllgia
                  Fibromyalgia treatment alone without antibiotics
                  r.aiscs the risk
                  raises      tlsk of conversion
                                      comrctsion to refractory chronic
                                                               chr.onic
                                                                            Use of alte.mative:antibiotics
                                                                                    alternative antibiotics to treat early Lyme
         "
             I                                                              disease with erythema migrans is generally
                                                                                                                gen.er.ally not
                  44                                                                                      · LymeTirnes/Sumrner2004
                                                                                                            LymeTimes/Surffner2004

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    indicated unless coinfection is suspected..
                                    suspected_                     Section V: Research needs
    The 'LADS
         ILADS Working Group believes that the risk                The !LADS
                                                                        ILADS Working Group encourages centers
    of alternative antibiotics is acceptable in selected           that treat large numbers of Lyme disease patients
    Lyme disease patients presenting with chronic Lyme             symptomatically using IDSA treatment guidelines to
    disease. Alternative antibiotics include
                                      in dude less com-
                                                   c_om-           perform a formal evaluation of their own programs.
                                                                                                              progi:a.ms.
    monly used oral antibiotics (cefudriae,
                                  (cefixime, cefdinir,
                                              cefdini.t,                 wiU allow researchers to compare the results of
                                                                   This will
    metronidazole) and intravenous
                         imravenous antibiotics                    treatment guidelines that use more antibiotics with
    (imipenem, azithromycin).
                  azithromydn). The role of alternative            those that do not.
    antibiotics in low-risk patients is less certain and
    there is less consensus within the Working
                                          \Xlorking Group as        40. Ongoing development of treatment
    to whether the potential
                     pmential benefits outweigh the risks.              guidelines
    39. Therapy for coinfection
    39,                                                             The IDSA guidelines recommending one-time
                                                                    short-term antibiotic therapy have not been suc-
                                                                                                                  sue·
    Therapy for polymicrobial
                  polymicrnbial infection in Lyme disease           cessful. Physician demands foz
                                                                                                 for better outcomes
                                                      (25).
    is a rapidly changing area of clinical practice [25).           have led to the development
                                                                                     devdopment of the !LADS
                                                                                                          ILADS 'gllide-
                                                                                                                 guide-
    Uncomplicated Lyme disease may be managed                       llnes , and the continued evolution of an evidence-
                                                                    lines,
    without addressing coinfection by means of     of stan-         based approach is critical for the treatment of
    dard oral or parenteral
                  parente,<al antibiotic therapy. Some, but         persistent, recurrent and refractory Lyme disease.
    not all, experts recommend therapy for subclinical
                                                subclinicaJ
                                   Elm'ithia, Babesia
                 coinfection with Ehrichia,
    or chronic coinfection.                   Babuia or                               guiqelines
                                                                    41. Validation of guidelines
    Bartone/la on the basis of their belid
    &Monello                          belief that responses                       of Lyme disease were retrospective,
                                                                    Most studies of
    are more prompt with this approach.                             unblinded and uncontrolled. Furthermore, the
          dose; duration and type of
    The dose,                         of treatment for              antibiotic dose and duration of
                                                                                                 of therapy
                                                                                                    thera.py were not
    coinfeccions have not been defined. Published
    coinfection.s                                                   standardized.
    repons of coinfection
    reports     coinfeccion are limited to a small number                                                 found•thatweekly
                                                                    The first double-blind clinical trial foundithatweekly
    of patients treated in open    -label, non-randomized
                            open-label,                             benzarhine penicillin for 3 weeks was more effective
                                                                    benzathine
    studies. Doxycycline has been indicated for Ehrlichia.                                             (56]. At the other
                                                                    than placebo for Lyme arthritis [56j.
    A recently published randomized trial  triaJ determined         end of the spectrum,
                                                                                speca:um, a recently completed random-
    that
    th.at treatment              Bahesia mi
          treatme:n.t of severe. Babesia  mic.roti\l;rith
                                            trod with the           ized clinical trial failed to demonstrate any efficacy
    combination of atovaquone and azithrornycin
                                          azirbromycin was          of 90 days of antibiotic therapy in previously
    as effective as the use of standard oral therapy with           treated patients with neurologic Lyme disease [23].
    clindarnycin
    clindamycin and quinine [55].(55).
                                                                    Two additional randomized trials are examining the  tbe
     Tbe decision to use alternative antibiotics should be
     The                                                            practice of retreating chronic Lyme disease patients
     based on the individual    c~,se, including a careful
                   ind.ividllal case,                      fu       with antibiotics, and these results should be available
     asse~sment of the patient's
     assessment           patienr's risk factoi:s
                                            factors and personal            [5 7,58]. The re
                                                                    shortly [57,58].         treatmen t approach is being
                                                                                           re.treatment
     preferences. Patients managed in this    rhis way must be      validated using a single-center,
                                                                                       single-centei:, prospective surveil-
     carefully
     carefolly selected
               sckcted and considered
                              consideredrelfable
                                              reliable for          lance database.
     follow-up. Further controlled ;studies
     folloivup. FL1rtner                ;t1:;die$ are needed to
     address the optimal
                  opr.irml antimicrobial agents for                  42. Comparative studies
     coinfections and the optimal
     coinfecti()m            optim.al duration of   of therapy,
                                                       therapy.                        /LADS Guidelines differ
                                                                     The IDSA and IL.ADS                           ~ubstan­
                                                                                                            dlffer substan-
     Additional research
                  reseai:ch is needed to determine which             cially,
                                                                     tially, revealing the wide variation in diagnosis and
                  wo,;k best for Bartonella, but
     antibiotics work                                                treatment (TABLE
                                                                                 (TABJ-E 1) [59,60].   This variation sug-
                                                                                              (59,60]-This
     fluotoquinolones,
     t1uo,roquinolones, azithromycin, doxycyclinc
                                          doxycycline and            gests that physicians do not use a uniform strategy
     rifatr pin have goodie
     rifampin        good in vitro activity.
                                   activity,                         to diagnose and treat Lyme disease. Physicians often

     1.yme Tim es! Summer zoo 4
     LymeTimes/5ummer7,004                                                                                                 45
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               CLADS Guidelines

            treat for Lyme disease longer than 4 weeks and also              44. Table 1. Comparison of key IDSA and
            retreat [8,19,47,48,57-62].
                    (8,19,47,48,57-62]. These decisions are made             !LADS guidelines.
                                                                             ILADS
            despite warnings against overdiagnosis and
                                                                              Condition                                            IDSA                ILADS
            overtreatment
            o\•ertteatment [63-65],
                            (63-GSJ
                                                                              Lyme arthritis                                       B ·II
                                                                                                                                   B   II              A.• II
                                                                                                                                                       A
             Community-based clinicians and academic centers
                                                                              Encephalopathy                                        AA·• HII            AA·• II
             often have different criteria for diagnosis and
                                                                              Retreatm ent                                           None                AA·• II
              divergent goals of care [8]. The guidelines and
                                                                              Prolonged antibiotics                                 None                AA·• II
             standards of practice used for diagnosis of Lyme                                                                       D •·Ill
                                                                                                                                         III            B.- Ill
                                                                                                                                                            III
                                                                              Benzathlne penicillin
                                                                              Benzathine                                            D
            , disease in academic .research
                                   research settings may not be               lntra·articular steroid                               B •·Ill
                                                                                                                                         Ill            D.
                                                                                                                                                        D • Ill
                                                                                                                                                            III
                                                                              Intra-articular                                       S
              applicable or appropriate
                            appropriate for community-based ·                 Arthroscopic Synovectomy
                                                                              Arthroscoplc                                          B - II              D •• II
                                                                                                                                                        0
-'"           settings. Moreover, the clinical manifestations of              Co infection                                          B -- Ill             B
                                                                                                                                                         B -- Ill
              Lyme disease are
                             arc often subtle or atypical in the ,            Seronegative Lyme disease                             None                AA.• Ill
                                                                                                                                                              III
              community,
              community.                                                       Combination treatment                                None                B
                                                                                                                                                        B -- Ill
\
             Because important data concerning the treatment                  Empiric treatment                                     None                8 -- Ill
                                                                                                                                                        B
             of chronic Lyme disease was  W1\S not considered by the
             IDSA expert panel, ILADS introduced an evidence-
             based review to determine which recommendations                 45. Criteria for evidence-based guidelines
             warranted revision. This evidence-based review gave
                                                                                  ILADS recommendations are based on two
                                                                             The !LADS
             rise to .the current
                  to,the  curre'?t guidelines.
                                                                                      (1 OJ:
                                                                             criteria [10]:
                                                                              • The strength of the evidence (denoted by
            ,Section VI: Periodic review of                                               A-E)
                                                                               categories A—E)
                         guidelines                                           • The quality of the data (denoted by Roman
                                                                                numerals I-III)
                                                                                         I—III)
             New data on treatment of Lyme disease is emerg-   erg-
             ing, and randomized conttolled
                                    controlled trials that address           Recommendations rated 'A' are considered good
             various unresolved issuesin
                                  issues in Lyme disease are                 evidence to support the recommendation. Those
             ongoing.iThe
             ongoing:The ILADS
                            ILi\.DS Working Group has thei:efore
                                                            therefore        r.ated B'
                                                                             rated  'B' have moderate
                                                                                             modei:ate evidence to support the
             developed a mechanism for routinely and periodi-                recommendation. Those rated 'C' are considered
             cally reviewing this information and for updating               optional. Measures
                                                                                        Measur.es designated 'D' generally should
             the guidelines on a regular basis. The most recent                                                 'E' are contraindi-
                                                                             not be offered; those designated (F,'
             information will be available from the ILADS                    cated. A rating of I indicates that at least one
             website atwww.ILADS.org.
                       at www ILADS.org.                                     randomized controlled trial supports the recom-
                                                                             mendation; II, evidence from at least one well-
             43. Grading system for evidence-based                           designed clinical trial without randomization sup-
                   guidelines                                                ports the recommendation; and III, 'expert opin-
                                                                             ion'.
                                                                             ion"
            , The ILADS system for grading
                                       g,tadingrecommendations
                                               recommendations is
              similar to that used by the expert panel of the                Sources
              IDSA. However, the ILADS
                                    ILll.DS panel includes primary                 d~t~ sOlIttt9
                                                                             Our data    sources ace   :i.~e English-languagearticles
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             care                    researchers and international leaders              Th~ selection
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                                                                                                                        !l}'nthi::sizc:d the
                                                                                                                                           he .recommcnd11:don::;
                                                                                                                                               recommendations from
             in the treatment of Lyme disease. Thus, the ILADS               published    and expert
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             group is more inclusive and clinically oriented than                        arcicles and
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             the IDSA panel,
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                                       ILADS guidelines                      m:tte:riil presented
                                                                             material   p:rei;en,tcd at                         ro~etlng:~ and the collective
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             this diversity.                                                 e:xpericncc: of the ILADS -Working
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                  randomized comparison ofceftriaxorie       of ce£t.ti~xorte and
               penicillin. !.An«/
               penicillin,                  1191-1194 (1988),
                                  Lance/1191-1194             (1988).
               53 Schoen RT, Averse        Avers. JM, Rahn r)W,.$tccce
                                                                     DW, Stec«
                       Tro•tm•nt of refractory
               AC. Treatment                   re£r.actQry chronic -Lyme     Lyme                                                                                                                                            i•·'··~~
               :tttb.ritis             :\rthroscopic: :synovectomy,
                                                                                                                                                                                                                            ;.".~/;
               arthritis with arthroseopie                  eynovectomy,


                                                                                                                                                                              i; ;.i,!_'.; ~i!f:f-~y;J,~;~[~~~~r;~~~j
              Arthritis Ahearn,
              Artadtts         RD'""· 34,1056-1060
                                            34, 1056-!0GO (1991).
.:;·           54 Pavia
                    PA'Y'iill CS.      CtH·.r.~nt and
                                CS. Current        ~nd novel therapies
                                                                   tl'iet'11.pie$ for
.;•
              Lyme disease.             ExptrtOpi•. Investig.
                          di"ue. Eten'Opip.                 l•vmi,g. DramDrugr 12,l ?.,
              1003-1016 (2003),      (2003).                                                                                                                                 ;,ie:ll~ndatitoAi wiiw~df!li;:m!ii•!:,
               55  !<'""'
               55 Krause 11,        PJ, Lepore
                                        Lope"' T, Sikand VIC       VI< et  If al.                                                                                            ,· inw~si;;ru
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               Atov~q1.1on41 and a.:tithrornyclo
               Atovaquone                    nithromycln for      for: the                                                                            ' .'; •·" ,~i~pi\!{il~.~'··~·t:;t~~,~,IJ,1#~1i~~i';;i;\il~;:           '.
               trmment of
               treatment               b•besiosi;. N.
                                  ol babesiosis,        N, B•tl
                                                             Ertg1,1 J. Med. 343,                                                                     .'¢;::.~'.~~~:a:~~~    1
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              1454-1458 (2000).                                                                                                                                                                                       ",', ·<·>

              48                                                                                                                                                                            OTitlartie    ICurnmelr,1,11A


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                                Treatment of Lyme disease:
                                a medicolegal assessment
                                              asses~ment
                                   orraine Johnson and Raphael B
                                  Lorraine                     BStrickert
                                                                 Strickel
                                  Lyme d i _ Is               l110$I common liok-bome
                                                     ls the most                                                WQl'ld today. Despite
                                                                                               dl$6Q$G In the world
                                                                                  tick-bane disease
                                  exlemlvil research Into the complex nature of Borrego
                                  extensive                                                               burqdOrfetl, the
                                                                                                Borrello bufgdorferf,     lhe spirochetal
                                                                                                                               q:,ln:><:hetal agent
                                  of Lyme disease, controversy continues                           ~and.
                                                                           oonffnll9$ over the diagnosis             treatment of this pratoan
                                                                                                              and llOOlmenl                protean
                                  11100$$. This
                                  illness.                 wli1 focus
                                                 roport will
                                            this report          foeu$ on Iwo
                                                                            lwo aspectkof           lr~nt of Lyme chase.
                                                                                  aspec:tt·ol the treatment                clllCS(I. First, the
                                  rnGdioal basis
                                  medical      basts for diagnostic            the~ uncertainty
                                                           dlagnasffe and therapaitic          uneorlatnty inIn Lynio   d~. batwing
                                                                                                                LyrllO disease,     lncl\Kling
                                   varlablllly In clinical
                                   variability                  presentafion, shortcomings
                                                   cffnlcal presentation,        lhorleamlngs in                   kl$11ng procedures,
                                                                                                  In laboratory testing     proced1119$, and
                                   design    dofecis in
                                   dedgn defects        In lhorapeullc
                                                           therapeutic ltlals.                    ~ of care
                                                                           trials. Second, the standard          oare and legal Issues that
                                   have
                                   hav& resulted from tram lhe
                                                             the clinical
                                                                   ollnleol uncertainty
                                                                            unc;ertalnty of ol Lyme disease diagnosis
                                                                                                                dlagnads and treatment.
                                                                                                                                    lrealment.
                                                         di~ therapeutic
                                   Specifically, the divergent         fherapeufiC standards tar   for Lyme disease          Cld<lro$sed, and the
                                                                                                             dlsea$9. are addressed,             Ille
                                   dltllc;ult
                                   engulf     piocess.
                                              process    of  e~
                                                             creating   treatment
                                                                         lfealmenl    guidelines
                                                                                      guldellnes   for this complex     infection
                                                                                                                        lntoctlon    is
                                                                                                                                     Is explored.
                                                                                                                                        exPIOl&d.
                                                            heantloare providers of the medicolegal
                                   Comldetallon by healthcare
                                   Consideration                                               medicofegaf Issues
                                                                                                               bsues outlined
                                                                                                                        oufflned In this review
                                                                                                                                            rev1ew
                                   will               moie rational
                                    wtll support a more        iational approach lo    to Rue  diagnosis
                                                                                          the dlqgnosb     and  treatment
                                                                                                                treatrrN:ml   of  Lyme    cfsease
                                                                                                                                          di-
                                   and Sated       tick-borne Illnesses,
                                          reklled Hck-borM          HlneSSGS.
                                   E1:Jmt Rea
                                   Es-prrt Jin. Anti-in fret Th<r.
                                                Allti-infoa. 77ter. 2(4), 533-557 (2004)
                                   Lyme disease
                                            cft$QaM &    l diagnosis
                                                             dlQgnOISls                                           4'nu: disease c.ues arc :..;tually
                                                                                                                  Lyme                           actually reported 1121.1u1, It
                                                                                                                                                                             it
                                   Cha«lcteddcs 'of
                                   Chorooforlstfcs          of Lyme
                                                                L)'l"IW Moose
                                                                          dlsea$e                               · is estimated that the     U.. true
                                                                                                                                                   ttu• number of cases  ca.;..
                                 .....::nck..~-of~eOMI
                                           -bare-heou-calloi4awars-o                                              tbce~t '11.e USA, .,,,.,. oroeed iB'i'~-
                                                                                                           us—theougheili                                                r,630 ..
                                   di-e'. Hard-shelled
                                                 Hud-sly,iillcd (Ixeeks)([;;.,;,,,) ticks J(.,.pable              o.nnu:illy. The highest i:eported
                                                                                                           Its annusiiy.                                        incidenoe of
                                                                                                                                                    reported incidence
                                                             Born& brawler,
                                               mining &,,..fill
                                   of twismitting                           bu:rg.l<>tfori, the agent~t Lyme      L)'l"lUI disease occurs in children under
                                   of Lymec disease,
                                                  dl$tW!<l; and         other pathogens
                                                               .uid ocher         pathoFnS such   sw::h as 15      15 }""'t1I  of ogc Dalt
                                                                                                                       rasa of.age                            ~tcd with
                                                                                                                                        (!ZJ· Morbidity associated
                                   Flr4htUi, Ehrlichia and Bartonella.     Bartone/Ja. Thus, the                   pe,.i.stent Lyme clisrsse
                                                                                                          dtc persistent                    di_,., is significant,
                                                                                                                                                            slgnifleant, with
                                    tetm Lyme           dis""-!lc often signifies
                                               yme disease                        signlfios a poorly
                                                                                                   p<><:>rly !"'-tionu         suffecing al degree of physical
                                                                                                                   patients suffering                         physioal health
                                    defined polytnierobial
                                                 polymiorobW lnfuction.   infection, aintections
                                                                                           Coinfu::tions deterioration equal          cqwd to that of patients with
                                    m11)7 alterr the rourse
                                                          course of Lyme disease and nay                may congestive
                                                                                                                   ronptive heart  ho::art failure
                                                                                                                                            fuilur:e NI.
                                                                                                                                                       (HJ. Although it is    ls
                                    make tho infected
                                                   iri!i:cted patient more              diBicult to trot
                                                                             mor:e day:aft                         rommonly believed
                                                                                                        tmu commonly                bo:lic:.cd that Lyme l,ymo disease does
                                    11.21. Re=t studies have shown that                               .!iva not result
                                                                                         tho.< tick saliva                                        l""-llt 21 research
                                                                                                                          re.ult in death, at least           teSCalch studies
                                                      unosuppressive subsumes
                                    ¢trrie; im.munosuppressive                                    ona-
                                                                                substances that cna- have documented deaths associated with
                                     blo ticl<-bome
                                                -bornc agents~llts to invade tissues while Lyme disease (15,116,301),                                  Howover, epidemio-
                                                                                                                                        (15,16,201.J. HOWctier,
                                     pou:;tl~ilg
                                           yting the       looal immune response
                                                     thc local                     mpons• nes.  (3,4]. mThis logical studies   otudles are
                                                                                                                                         ate needed to documentdoauncnt the
                                     may allow the Lyme      lyme disease
                                                                        diselSC spirochete
                                                                                    spirodiete to dis-    dl$- fatality
                                                                                                                    &tality rates or proportionate mortality.
                                     ..minate rapidly
                                     seminate       tl<pidly and become  beo:im• entrenched
                                                                                        entttnchcd and
                                         istanc early in the disease is
                                     mistant                                         -71. Although
                                                                                   1;..71. Al.though sci- sd- Stagesstages of or disease
                                                                                                                                 di$EIQ$e
                                     entists
                                     entistl believe
                                                bdiC"' that        Lymc        dis=•
                                                            tlu.t Lyme disease is transmitted I.rm• disease may haveLyme                                d"""iacing effects if
                                                                                                                                                ha.., devastating
                                     primarily by ticks,  tick<, some studies $tudies suggest gesta-  l'l'Sta- not promptly diagnosed and adequately
                                     tional
                                     tiona.I transmission
                                               tran.s.tniS$iOn and           tmnsrn.ission by other treated.
                                                                     :illld transmission                                          mulcisynemic disorder,
                                                                                                                    tr:eated. A multisystemic                     4'm• disease
                                                                                                                                                      disonfo, Lyme      disoase
                                     in•e<:ts, blood transfusion and intimate human can
                                     insects,                                                                       oan manifest with:
                                     contact     re-121.
                                     contacr; [8-,12].
                                                                                                                    • Neurologicol
                                                                                                                        Neurological symptoms,
                                                                                                                                          .ymptoms, such as Bell's palsy   po.by
                                        In 2002, the number of Lymc               Lyme disease
                                                                                            di;<:as.e cases
                                                                                                        c;..ses
                                                                                                                        (causing   p=1ysis of fucial
                                                                                                                        (ciui.<ing paralysis        Facial   n<"'-")
                                                                                                                                                             ncnrso)
                                      reported to the US Centers      Centers: for Disease Oisca-i:c Con-
                                                                                                       Con.-
                                      trol and P""'cntion
                                                   Prevention (CDC) increased by 40%,                  40%.. • Meningitis
                                                                                                                        Meningitis- (causing
                                                                                                                                         (Qusing headache,
                                                                                                                                                       hcada.dtc.. fever
                                                                                                                                                                     fcvc.r and
                                      to 23,763
                                          23.763 casts          psi. Since
                                                      ca<es fl3).       Sina: only 10 to 15%        I 5 % of of         stiff neck)


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                • Johnson & Sirloker
                            Stricker


                           Netve inflammation (causing numbness and tingling in the rheumatologic
                      • Nerve                                                                                                                rheumatologiccomplaints,complaints, since EM         EM.rash rash is either not         not present
                                                                                                                                                                                                                                           present·
                          arms and legs)                                                                                                               urtrccogniz~d of
                                                                                                                                             or is unrecognized              or   misdiagnosed           rioi]. Misdi:1£;·nosiS is also
                                                                                                                                                                                                        [zea].     Misdiagnosis
                           EncephMitis (causing learning difficulties, confusion and made more likely by,
                       • Encephalitis
                                                                                                                                                                                the. fact that Lyme disease
                                                                                                                                                                          by. the                               disease.mimics  mimics many   o;nany
                           dementia)                                                                                                          other      syndromes.       A
                                                                                                                                                                          A    ccnttal
                                                                                                                                                                               central      diagnostit
                                                                                                                                                                                            diagnostic        difficulty
                                                                                                                                                                                                              difficuhy           in Lyme dis-
                                                                                                                                               ease is the lack of         a definitive and readily
                                                                                                                                                                      ofa·dcll.nitivc                 re•dily available
                                                                                                                                                                                                                   availabklabotatoty laboratory
                  , . • Musculoskeletal
                           M:usculoskdctal symptoms       syn:tptoms such as tnyalgias      myalgias and     an.d arthralgias,                                   diogi;osis of   ohetlvc
                                                                                                                                                                                     active infection 1201•    [20].
                                                                                                                                               test for the diagnosis
                  · · r with
                           ..;.ith oewithoat
                                     or"with<111t arthritis
                        • Heart _involvement
                                         involvement (causing    (ca!1$ing irregularities in heart rhythm Lock of definghte                                             lob<>t'dtory tests
                                                                                                                                                           defii>itlve laboratory         tdf'or                 Infection
                                                                                                                                                                                                     6e11'1$ lnfoot\On
                                                                                                                                                                                                for catty@
                            and     congestive         heart      failure)                                                                     Th~ most
                                                                                                                                               The      most-cWiaitivc           dlagrtostfo procedure for
                                                                                                                                                              -definitive diagnostic                                 for· Lyme disease   dis""5ds       is
                            Lyme disease mimics many other conditions, including biopsy and isolation of it                                                                            'll· burgclorferi
                                                                                                                                                                                             burgd..forl in      in culture [au.       121]. How-
                         psycliiatdc
                         psychiatric syndromes, progressive dementias, ·seizure                                  seizure disor-d.isor;.. ever,  ever~ B. burgthofiti            spirochetes ·:are.
                                                                                                                                                             burgdorftti ·Spirochetes              sea.rec,
                                                                                                                                                                                                   are scarce, tissue  ~sS~r:· . bound,
                                                                                                                                                                                                                                     bou~dJ: .and   and
                                                    extrapytarnidal disorders, amyotrophic lateral divide slowly [221,
                                    sttokc:;-, extrapramiclal
                         ders, strokes,                                                                                                                                      malcing it
                                                                                                                                                                     1221_, making            extremely difficult
                                                                                                                                                                                           iHl<tremdy                            to culture the
                                                                                                                                                                                                               diffleult·toculture
                                           Guillain-Barre syndrome and progressive &well-
                         sclerosis, Guillain—Barre                                                                        demyeli- organism     organism. using routine methods (23,241.                            Diagnosis of Lyme
                                                                                                                                                                                                        (l!l.2l]. Diagnosis
                         noting diseases such as multiple
                         nating                                       multiplo sclerosis [17)•                   11.. burgbr:fori disease is most commonly supported
                                                                                                         {l7J. B..burgelorfcri                                                                 suppotted by aerological   s~r<>logical tech-      ttch-
                         genospeci., are
                         genospecies            .... believed to exhibit      oxhibit strain-dependent
                                                                                             main-dependent organ-            organ." niques that detect           dettttontibodi<:s
                                                                                                                                                                              antibodies in     i11 the patient's
                                                                                                                                                                                                            p•tl.cnt's blood {2l]·        [25]. Lab-
                         otropism, with the two European species Borrelia
                         °tropism,                                                                      llomfia afreliiafoelii and oratory       otatoty techniques that detect antibodies suffer from two
                                                                                                                                                              draWb~!
         ;
                         Borrelia
                          Bomlia         g11.rinii
                                        garinii        observed
                                                       obsetved         "'
                                                                         to   produce         a   predominance                of   skin          primaty clrawb4est
                                                                                                                                                 primary                                               ·
         I'
                                   neurologie symptoms,
                          and neurologic                 sylllptolns, respectively
                                                                                rcs_pcetivcly 11").     Rm. The potential • A                       A positive•·              •._d                               --' · fl · past or                      ·
                          strain-dependent
                          strr.in-dependcni organotropism   organotr<>pism. of B. burgeforfiti       burgdtlr:fori genospe-genospo- • present             posmve antibody
                                                                                                                                                                        """"."'  ·   y.b '.response
                                                                                                                                                                                            espo·h··
                                                                                                                                                                                                Ii   sc ·"'
                                                                                                                                                                                                     ·   '
                                                                                                                                                                                                            merely
                                                                                                                                                                                                            .. °''"Y reflects
                                                                                                                                                                                                                •           re.d ci::tS
                                                                                                                                                                                                                                    h       pas..•· t. or
     '1                   ems
                          des should be kept in mind when                                       reviewing studies
                                                                                    <vlien «Viewing                studiC. from
                                                                                                                                                                 exposure
                                                                                                                                                                 aposu:re::·.~O··
                                                                                                                                                     truly diagnostic
                                                                                                                                                             diagnostic, of    of ongoing
                                                                                                                                                                                         o~t.fC .a' infection
                                                                                                                                                                                  to• bortrelia      1.l:l1c~1on. and,
                                                                                                                                                                                    on•goit>g infection
                                                                                                                                                                                                   infection
                                                                                                                                                                                                                        an. ~ ·hence, ~nceJ. is  1s .. not
                                                                                                                                                     truly
                          oth~r countries.
                          other
                               Like syphilis, Lyme disease has
                               Like                                                 has been descrihed descrih),d as having •' These                 These techniques
                                                                                                                                                               tedullqu"". rely    rdy on on thethe immune,              tcsponse following
                                                                                                                                                                                                        Unm.i.ne · response                              ng
                          duce       stag": =ly
                          three stages:                      localiud, early disseminated
                                                  early localized,                       diMcminoted and late stage                                  ~     '°""
                                                                                                                                                     exposure     and    will   necessarily
                                                                                                                                                                         will nocossarily f..U
                                                                                                                                                                    antibo<lici
                                                                                                                                                     d=able antibodies
                                                                                                                                                     detectable
                                                                                                                                                                                                 fail if   the patliOnt is
                                                                                                                                                                                                       if the:patient           is not
                                                                                                                                                                                                                                    not producing
                                                                                                                                                                                                                                          producing
                          or chronic Lyme disease. Early                    Eady dicitat,
                                                                                       disease may    m•y involve
                                                                                                               invol"<:. an ery-     ciy-
                           thcma migrans (EM) (bulls-eye or atypical) rash or
                           thema                                                                                      or•a flu-like                           are many reasons why Lyme seronegativity might occur:
                                                                                                                                                     Tbcrearemanyt<a:Janswhy1¥mescronegativityrnighto<=C:ur:
                                                                                                                                                     There
                           illness. While the EM rash alone is generally considered                           consideted           diag-          •• Serologic
                                                                                                                                                      Serologic tests
                                                                                                                                                                    t<sts may
                                                                                                                                                                            may be        given roo
                                                                                                                                                                                     be ,gi'ven            t:trly (before
                                                                                                                                                                                                   too, early                        aiitibo<liC. are
                                                                                                                                                                                                                    {bd'ote antilsodies                 o.re
                           :·~~of
                           nostic       o;;~~~-discasc,
                                             Lyme disease, only         only 68% 68% of     of reported
                                                                                                 reported cases   cases observed
                                                                                                                            obsetved                  formed);          butgdoifoi may !lot
                                                                                                                                                      formed);· B. butrioerri                      not he       pr~tin
                                                                                                                                                                                                           be present                 th• blood (it
                                                                                                                                                                                                                                 in the
                           an. EM rash I131..                                                                                                         may be in tissues) or may        ma_r have eluded
                                                                                                                                                                                                      duded.the            ilnmune system by
                                                                                                                                                                                                                   die immune                            by
                                Disseminated
                                Disscmin•,ted Lyme         J.rmc disease involves one or more organ                                                   adopting ao.cdJ.'W:ill'lleflddlt
                                                                                                                                                      adopting        cell Yind.1-deficient trform Lrfo_rm                                  ·
                            systems (most commonly musculoskeletal,         musculoskcletal, neurologic or car-                       cat·                  ·                                            I" · ·                 · bound   · ·
                            diac) as
                            diac)     as spirochetes
                                           spirochctessprcad     spread to          dis-• sites. Late-stage or per- •• Antibodies
                                                                              to distant                                                              Antibodies is            the patient's
                                                                                                                                                                         ilj the       patient's .b    blood
                                                                                                                                                                                                           ood may  may· be      be bound into         into
+---:Jll----.m-.!lff'ti;yrnime;:;l71sa5t;:;;<.c~oc;:cui;;;to;•-;m:;;;;onnl'1th;;•tto;:;:;-~yea;:;;r:;,-;;Jt;l;:;c:;:r'i1nnF.tec;;;it1i;;o:Mn~.
                                            yine                e occurs months to years er m ection,                                         --imm.~~-Mf!'O--;.....-'-                              __        _._ ......~--------­
                            and typically involves
                            and                        involves the      the musculoskeletal
                                                                                 museuloskeletal. and                     nottrologie • Antibodies
                                                                                                                and neurologic                        Antibotes may not be present            ptcs<:nt in    lb the
                                                                                                                                                                                                                  the' patient's
                                                                                                                                                                                                                          patic<:1t'• blood for          for
                            sptems
                            systems (both  {both       central      and      peripli.etal).        In
                                                                             peripheral). late-stage     late·   stage     or   persist-              other   reasons      (e.g.,   the   use   of  antibiorio;
                                                                                                                                                                                                    .;,.tibiotic:s     early
                                                                                                                                                                                                                       early'       in  the  course:of
                                                                                                                                                                                                                                             .couue,of
                            ebt Lyme disease,
                            ent                disease,. the infection is more entrenched and del-                                  diffi- 1,' the disease or,           or systemic steroid                thertpy may abrogate the
                                                                                                                                                                                               sttroid therapy
                            cult to treat. In         ln practice,
                                                           practiee, infection forms a continuum along                                                 itsunune     response
                                                                                                                                                       immune rosponsc              to   B.  burgdosferi,
                                                                                                                                                                                             burg<iarfiri, ,and   and fate)n
                                                                                                                                                                                                                           late in the disease,  dl!e:ise,
                             which early  catly and late features overlap. For instance, the                                tbe Spiro-
                                                                                                                                   spiro-              antibody levels may fan        &llto to  very    low    'fgt.'s)
                                                                                                                                                                                                v<iJ:Y.lowl"'1clsl           P2.26-24
                                                                                                                                                                                                                             l22.,._,.I ·
                             chcte and its DNA have been isolated
                             chete                                                   isoloted from                   oerebrospinal
                                                                                                    frotn the cerebrospinal                            The two mostlnOSt·<:ol\un0"1y•USed
                                                                                                                                                                            commonly used methods'   mctho& furdctcdingantibodics
                                                                                                                                                                                                                      or detecting antibodies
                                       (CSP) early in
                             fluid (CSF)                       ih the coursecou<Sc of the     the.disease
                                                                                                     disease when the EM against the spirochetal                        spitochctal agent           of
                                                                                                                                                                                              ~nt of Lyme disease                     or•
                                                                                                                                                                                                                                 di«ase are the
                             rash is still present,
                                                  prcsen.t, and spirochetes have been                               cultured from enzyme-linked
                                                                                                          boon.cultured                                                                           ""''Y
                                                                                                                                                                            immunosorbant assay (ELISA)
                                                                                                                                                    en:i:yme-linkedinrm1111ooorbent                                (ELIS,\) and       ~lid the        west-
                                                                                                                                                                                                                                              the..,....t-
                             the
                             thc skin years  y=s after primary   primatyinfe<tioninfection 12021.  f2021.                                           cm             Reoen.tsw<lie•
                                                                                                                                                    ern'. blot. Recent           studies, by the group responsible        respandblcJor       di• for the
                                                                                                                                                                         pt()flciency testing for the College
                                                                                                                                                    Lyme. disease proficiency
                                                                                                                                                    Lyme                                                               Collog<:. of AmericanJ\.tn<rlpn
                             Diagnostic dlinvitios                                                                                                  Pathologists (CAP)                tame to the conclusion that the cur-
                                                                                                                                                                        (CAf') . .:..me                                      that the
                              Failu~ to reeogni.u
                             Failure            recognize and      and. treat
                                                                           tri:at Lyme disease early         car)y on can    cm allow rently available ELISA                 ELlSA tests do       d<> not have ha~e adequate
                                                                                                                                                                                                                          adc<J,>;•t< sensitivity
                              the infection
                                     inftttion to progress, permitting a• treatable acute infec-                                    inftt- to meet the two-tiered     two•tierodoppr~ach                   tecortlmended~ytheCDC
                                                                                                                                                                                          approach recommended                           by the CDC
                              tion to becomehci::omc a relapsing chronic disease that is ultimately                         ultimattly for surveillance itgl.                             Donia has
                                                                                                                                                                                 ll•J. Morita                   Obs~rved that
                                                                                                                                                                                                       ha.i. observed                 th•t 52% of
                              less responsive to antibiotics   antibiotic:s Hsi.   [l~J. There is      is. a general consensus
                                                                                                                             consensus patients with chronic               chtt>nie, Lyme disease .are             •re. found
                                                                                                                                                                                                                            found· •n•gative
                                                                                                                                                                                                                                          negative by
            .1 ···            among the physicians who are most familiar with treating this                                             thil ELISA  ELISA but  l;>ut positive
                                                                                                                                                                     positive· by western blot.(30]•    blot Dab
              I               disorder that the earlier      corlier that th:tt Lyme disease is treated, the greater                                          wcstttn blot is recognized
                                                                                                                                                        The western                      r«'.clgliit.ed by  by thetheNatiortal)rirutiite
                                                                                                                                                                                                                         National Institute of
            I                 the chance for a• complete cure.
                                     tre:atme:nt challenge
                              est treatment
                                                                              cute. Late disease presents the great- Allergy and Infectious
                                                          ch~.Hen~ and may be refr.:r.ctory            refractory to various      v.a.d.ou$          N~clonal institutes
                                                                                                                                                     National
                                                                                                                                                                        lnfoctiou:s Diseases (NIAID),
                                                                                                                                                                  Institutes ~of.ttcaith
                                                                                                                                                                                   of Health {NIH).,·
                                                                                                                                                                                                           (NWO), _aa divis.ion
                                                                                                                                                                                                  (NTIFI), 23   :tS the most
                                                                                                                                                                                                                                     division of the
                                                                                                                                                                                                                            ino$i::. useful        method
                                                                                                                                                                                                                                       U.Scful.m.t:iliod
            .I
              I                treatment
                               t.reatm<:nt modalities,
                                                  moda..Iitie.s,                                                                                     for detecting borrelia
                                                                                                                                                                         borrdia antibodies                                  avo.ilabk (203p.
                                                                                                                                                                                                           currently available
                                                                                                                                                                                        antibodies. currently:                                 (:203)• The
                                  Prompt diagnosis of Lyme                      dis= is hampered by many factors. western blot may be
                                                                      I;me disease                                                                                                 b• used
                                                                                                                                                                                        used. toro measure
                                                                                                                                                                                                     measutt both .immunoglobulin  immunoglobulin
            I                  [202],
                                       spiroch~c can persist for years without causing symptoms
                              The spirochete
                               [202], and some p:.u:ients    patients present initially with                ~th neurologic or
                                                                                                                             q.'n1.ptoms (Ig)M and G antibodies.
                                                                                                                                                     fim, wane after
                                                                                                                                                     first,
                                                                                                                                                                          antibodies, Commonly.
                                                                                                                                                                     ofter .the
                                                                                                                                                                                               Commonly.. TgM
                                                                                                                                                                                    fitst few weeks
                                                                                                                                                                             the first            weeks.and
                                                                                                                                                                                                                    IgM.antibodies
                                                                                                                                                                                                              and do not recur.
                                                                                                                                                                                                                                 ancibodi<> appear
                                                                                                                                                                                                                                     toeur. These are
                                                                                                                                                                                                                                                      •PJ>ta<
                                                                                                                                                                                                                                                           ar<

                                                                                                                                                                                                                                                  '   ,,
                            6l4
                            534                                                                                                                                                                      Ert Rem Anti-infen. 77vr.2(4). (2004)

                                                                                                                                                                                                           Liberty002343
                                                                                                                                                                                                           Uberty002343
                                                                                                ZIMBERLINLAW                                                                  PAGE
                                                                                                                                                                                2
                                                                                                                                                                                /L
                                                                                                                                                                              HA1           25/53
09/23/2015
09/23/2016      Case
              15:50              85078359%
                                 8607835996
                                3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 68 of 501
                                                                                                                                                               ll'$almont of Lyme disease
                                                                                                                                                               Treakneel


          followed by IgG        lgG antibodies, which are regarded          n:gan:led as  "" the major =king     making diagnostic or treatment decisions. Diagnosis should be
          enduring antibody response in chronic infectious diseases.                              dis=es. based on a patient histoty,        history, including symptoms 'J'nll'rotns and exposure to
           However, in Lyme         Lym.e disease, 1gM      IgM antibodies
                                                                      antibodi"' may persist for          fur the tick voctor                   phy;ical findings' mi.
                                                                                                                               vector and physical                           (ill. In accordance with
                       suggcsting persistent infection or a• reactivation
           years, suggesting
           Yeats,                                                               rcactiw.tion of latent these recommendations,
                                                                                                                           recomrnendotions, most practitionerspractitioners=•       use a clinical defini-
           infection
           inf<etion (as    (.,is is seen, fur     =niple, in toxopl.,mosis,
                                              for example,                                   lei•hrnania- tion of Lyme disease that includes a
                                                                       toxoplasmosis, leishmania-                                                                         combination          of symptoms
         · sis aridartd cytornegalovirus
                          <:yq>megalovirus infection) Du.               [31]. A number of studies                  and clinical signs with or without positive serological support
           point to the importance of the IgM                      lgM response in recurrent or (45],              (<51. although some clinicians maintain that diagnosis should be
           pe.sistent Lyme disease [32-361.
           persistent                              I32 3G1.                                                      , supported by positive serology 04            [46).
                 Physicians treating Lyme      y..n,e disease should consider the particular      particulor •·            · ·~. •
            bonds that test
            bands              rest positive for   fur an individual .pa          dent and the specif-
                                                                              patient                specif· Ml;u;eMisuse of the CDC suniegiance
                                                                                                                                             suMiUlance criteria           for dlogno!ls
                                                                                                                                                               O!i!Eirlo 1br   diagnosis
            icity of  of the bands to the disease    disc..e 132.371.       Western blot bands have Misdiagnosis
                                                                  ll2.3n. Western                                   Misd~osis also occurs     oeruts because of misuse of the stritt              strict CDC
            been shown to be important ln                                   endcmk setting of
                                                                 in the endemic                       of the surveillance
                                                                                                                   sut'<cillancc case definition
                                                                                                                                            ddlnition and testing  ™ting standards fur         for diagnosis.
            region. A study  •tudy by Engstrom
                                             Engstrolt\ ad           roll<eagiJe< found
                                                              and colleagues         fuu.nd that two of     of The CDC surveillance  sulVcillanee definition does not take into account                 aa:ount
            llve     bands gave them a specificity
             five band,                           speciffclty of 93 to 96% and a sensitivity     seris.icivl<y neurological Lyme disease          di•=< nor chronic   cltronic Lyme digesse,    d~. and
             of
             of 100%I 00% in the   tbe 70% of the      the. patients who manufactured
                                                                                   manu.&ctured and-     anti· therefore
                                                                                                                    tberefu!l! miss.,       n"IJU1Y confirmed lrm•
                                                                                                                                   misses many                        Lyme cases.""""'· ForPor surveillance
             bodies Pal.  (38]. Another study that included 186 defined patients                                    purposes, the CDC require.   requires five f,... of
                                                                                                                                                                      often      lgG band.
                                                                                                                                                                           ten IgG      bands and two of        of
             and 320 negative controls,   ooncrols, showed            t'.l<O:llent sensitivity
                                                          •how.:& excellent         <ensitivity and       •pe· three I~,
                                                                                                   oa.nd spe-                         bands for a P"'itivc
                                                                                                                             Igivl Hand.                              result. Although
                                                                                                                                                         positive result,          Althoqgh a majority mojority
             cificity for IgM and a good sensitivity and specificity for                            fur IgG (89%) of patients with EM-confirmed          EM-<:on!li:med Lyme      tyme disease develop
              using two of    oHlvc five bands mi.   ll9].                                                                     respo,,.., at some time during the
                                                                                                                    an IgG response                                                <U~, only 22% are
                                                                                                                                                                             tbe disease,                      ate
                   The issue of ;ieroMg:ativity
                                      scronegativity with antibody detection                     teclutiqucs P"'itive
                                                                                  de!«Uon techniques                 positive by CDC criteria tom].       (4M1J. In addition, for       fur its aurveiniume
                                                                                                                                                                                                  survcillanee
              is significant.               -.:her found that only thrcC
                  sigltlfiamt. One stactrcher                                        duce of 14 patients definition, the CDC recommends a two-tiered                                   two-tieRd ..,ting   testing
              who""'"'
              who      were culture positive for B. Magda:fed     hurgib;tftri had po.itivc
                                                                                        positive antibody approach.                  H~. this approach is problematic because the
                                                                                                                     app""'-Ch. However,
              titers    [~. Another gi:oup
              titer\! I401.                 group of   of~                  sliow..:I that only
                                                           researchers showed                  Qnly 70% of   of first c;.,  tier test, the EUSA EWA test,   tmt, laeb
                                                                                                                                                                   lacks su:fflcicnt        ••nsitiviiy. The
                                                                                                                                                                             sufficient sensitivity.
              dOQllnented l;yme
              documented             Lyme disease patients patimts in their study   mudy hM           l:iiJniB· CDC has cautioned that this surveillance
                                                                                             had a `signifi-                                                      surveillance' case   ease definition
                                                                                                                                                                                               d.efinition wasWllS
               ~• antibody issponse
              cant                                  1~1.-121. Another group found
                                      response 141,421.                               fuund that     app=- developed for nat\orud
                                                                                               that approx-                               national reporting of Lymc                 dlsea$e, and that it is
                                                                                                                                                                           lfme disease,
               imately 20% of patients with Lyme
               Mutely                                                  db;ease wer:e
                                                              J:.rme disease                               1;21. not appropriate fur
                                                                                         llCtOn<:gative 1321•
                                                                                  were scronegative                                                           d.iogn~sis 1471.
                                                                                                                                            for clinical diagnosis            1•n.
               Ironically,
               Irani            scronegatlve patients may be the least able to mount
                        9Uy, ScrOnegatiVe                                                                                               ollkl~ explained,
                                                                                                                        As a CDC official        explained, the distinction
                                                                                                                                                                       disdnction betM:en             ~c
                                                                                                                                                                                         between diagnostic
                     elli:alvc defense
               an effective       defunse to   co the infection
                                                         infeaion and, and. hence,
                                                                              b..nee, may be the worst   wont goals and surveillance~"" goals is critical      critial:
               effected
               effi:<:ted awl.
                            12011.
                                                                                                                         'Survlli.llam:e
                                                                                                                         `Surveillance case <41< definitions are           maidfir
                                                                                                                                                                    ""' created       far the pOrfrOg
                                                                                                                                                                                                  purpose of
                    Other -tests can help   hdp coiwburate                 diagnosl$ of Lyme
                                                     corroborate ta diagnosis                l,ymc disease.              s~n.
                                                                                                                         standardization,           not
                                                                                                                                                    nl>t    ptttiimt      cam
                                                                                                                                                                          Mr<    -whereas
                                                                                                                                                                                ...  whmit!1      pbymittns,
                                                                                                                                                                                                  physicians
               Pol
               Polymerise          chain • reactinn  .  atn             that detects the presence of
                                                                                                                         apgropease& err on                               •
                                                                                                                                                                          of   over
                                                                                                                                                                               over-diagnosis,
                                                                                                                                                                                           ptt<,       'flimt;y
                                                                                                                                                                                                       thereby
                      bf!:tgrktftri DNA in blood, CSF
                B. bmgdorferi                                     CSF. urine,
                                                                           wine, synovial flui.d fluid or tis-
                                                                                                            cl.<-
                sues,
                '""'' is regarded
                            rego.rdcd as                   specific, but has a~ low field,
                                           a.s highly $p'!cific,                                      particu-
                                                                                            fidd, particu·
                                                                                                                         mitring  'ng they "'1n't min
                                                                                                                                             don't mint a      case,
                                                                                                                                                             4 <4ft,   surveillance
                                                                                                                                                                       mrw:illance care    cit!Jt arefxnitianr
                                                                                                                                                                                                  Jefinirnms
                                                                                                                         41'proprill#ly err
                                                                                                                         appropriately       .,,. on theth< ride
                                                                                                                                                              skit ofspecificitc
                                                                                                                                                                         spi!dficit,y, thmby
                                                                                                                                                                                         thereby assuring
                lady in body fluids
                larly                            [4',«J. Signs of
                                       fluids 143M1.                  of CNS involvement include       inclu<\e
                d=tcd CSF protein or pleocytosis,
                elevated                                    pl«>qto•is, abnottnal
                                                                               abnormal brain  brnin single-
                                                                                                                                 t"":J
                                                                                                                          that they    b not inadvertently
                                                                                                                                       do        itw:!V<Ttmtly capturt              iJI:nmtJ due
                                                                                                                                                                      capture illnesses         du,, to
                                                                                                                                                                                                      t() other
                                                                                                                          conditions'12061.
                                                                                                                          cqm/ition.s' r206J.
                photon emission computerized tomography (SPECT), mag-                                     mog-
                 netic resonance imaging (MRI) or electroencephalogram            dcctroenccphalogtam                    The CDC further notes that it is inappropriate     inapproptialle to     ro use surveil-
                                                                                                                                                                                                            survcil·
                             intrathecal antibody
                 (EEG), intrarhecal             ontibody production or a pooitivc        positive PCR for lance       hnce case definitions
                                                                                                                                      definiclons 'fin'for establishing clinicalcUnial diagnoses, deter-
                      burgtlotfm, "'a
                 B. likrizelosferi,      of a positive culrute.
                                                             culmre.                                                  rnining        •=dare!
                                                                                                                      mining the standard of          of care     necessary for
                                                                                                                                                           cm: n=ssary            fur a• partic.uill
                                                                                                                                                                                           particulat patient,
                                                                                                                      setting guiddines
                                                                                                                                 guidelines for quality assurance,=uraocc. or       or providing standards
                                                                                                                                                                                                         •=dards
              . Lyme
                 LYJTI<> disease "is a   o clinical
                                            cilnlcal diagnosis
                                                        diagnosis                                                           ttimbll1.'$1!'.Dlent~ 1471.
                                                                                                                      for reimbursement            [47).
                 Demonstration
                 Demon.$ttatlon of active       acti~ infection is not       not feasible as aa. matter of
                  routine, given the insensitivity of the PCR test, the impracticality         ilnp=tlcality Factors  Factots that may complicate                  lm<lim<>nl
                                                                                                                                                comp/ICQfe treatment
                 of culture tests, and the drawbacks    dr.twbo.cb of antibody detection   d=ion meth-    moth· B. burgelmferi,
                                                                                                                           burgbrftri, the spiral-shaped
                                                                                                                                                     •piral-shaped bacteria that causes Lyme
                  ods. Conversely,
                          C'.on""""1y, the current state         stare of diagnostic ""ting   testing cannot disease,                      ~y complex
                                                                                                                      di.sca.oe, is an extremely           eornpl<i< organism. The genetic         genetic' struc-
                  demonstrate the eradication of B. burgtlotftri          burgelorferi (because negative
                                                                                                       negotive ture of B. bragdorferi  hurgib;tftri is the most     tnO<t complex
                                                                                                                                                                                eompl<X identified
                                                                                                                                                                                                idonti!led in a ,.
                  test
                  mt results do not mean an absence           :ibsena: of infection).
                                                                               infu:tion). Due to     co weak- prokaryote
                                                                                                                       prokaryore Mi.         ~rimentally, B.
                                                                                                                                        [48J. Experimentally,                hurgdorfori has been shown
                                                                                                                                                                        /J. btaxdotfen
                  nesses in laboratory
                                laborntory tests, rem, the tbe diagnosis of Lyme disease    dis...e remains to penetrate human fibroblasts              6broblas,. and Ii..,             intraeellularly, even
                                                                                                                                                                                  live intracellularly,
                  primarily clinical,
                                  clinial, with the focus on vector         v=r exposure
                                                                                       eq>o•ure and symp- symp, when the         rho extracellular
                                                                                                                                       cxtroccllular milieu contains bacteriacidal    b.tcterioeidal levels of
                  toms that Mle.:t
                  wins             reflect the 1nultisy;temJe
                                                     mulrisystemic nature   narure of the diarist,                     coftriuonc (P,ocephin1),
                                                                                                di;ca.se, with ceftriaxonc               (Roccphin®, Roche) 1:1011.         mob This mechanismmeclianism may
                  laborntory tests
                  laboratory               playing~
                                    M!t> playing        a supporting
                                                           •Upporring role most.   (:!O)J.                             permit the spirochete to evade          cw.de normal
                                                                                                                                                                          norm.I host           defen« mecha-
                                                                                                                                                                                        hon defense          tnedia-
                             COC, US Food and
                      The CDC,                           o.nd Drug Administration
                                                                           Ad.ministration (FDA), and nisms            nisrns 12021. These Th= findings6n<Ungs are critically important, since                  olncc
                  MAID
                  NlAID have all expressed    ox:ptess«I concerti           re~ing the over-reliance
                                                              con<e<n regarding                  over-relfanco chronic infections   inftttions area.to highly dependent on intracellular  int<acdlular asylum
                  on laboratory tests    ta"' forfu1 diagnosing
                                                        diognosing Lyrne   y..n,.,dt.case     [:11,41,MSJ, with as a mode of persistence 149-50.
                                                                                  Airs (21,47,205),                                                                           lntraecllul., pathogens are
                                                                                                                                                                 [49-S!]. Intracellular
                   the FDA stating
                                 staling        '°'"'
                                             that   tests   'should
                                                            '•bould      never   be   the  primary      basis  ro< notoriously difficult to treat and cum
                                                                                                        b.,;, far                                                        cure 1521.
                                                                                                                                                                                 [52J.



                  WIvwfallttlre-CIOlg3.1:0111                                                                                                                                                                535

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                                                                                                                                                                     Uberty002344
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                                                                                                      HUL-                                                                                        25/53
                                    Case 8607835996              ZIMBERLINLAW
                                         3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 69 of 501
09/23/2015
09/23/2016                      15:50    8507835995
                       -             Stricker
                           Johnson & Snicker


                                   hurgdcrfiri displays an altered morphology, referred to
                                B. burgrlorftri                                                                       fur Lyme disease, not only means that diagnosis is a clinical
                                                                                                                      for                                                             clinictl
                            collcctivdy        t-furms. L-forms of many bacteria have long
                            collectively as 1-forms.                                                                  dete.nnination) but
                                                                                                                      determination,        ii.so !:Mt
                                                                                                                                       bur. also   that the treatment
                                                                                                                                                            t(eatnH'.:nt end point must
                                                                                                                                                                                     mu.st be
                            been shown to     ro be central in setting up chronic infection                           detcrmin.ed by other ,m,,.ns,
                                                                                                                      determined                       ~ming, by default
                                                                                                                                              means, becoming,          defuult an essentially
                             gam];
                             (5M41; and th<       eristonce of cell wall-deficient L-forms of
                                             the existence                                                            clinical determination eel,
                                                                                                                                                f'OJ.
                                 burgdorftri suggests that antibiotic
                             B. burgdojeri                                    trcaunent failures
                                                               antibioric treatment                 wilt
                                                                                           fuilurts will                 The NIAID notes the problem of false negatives and positives
                           , arlse. Some researchers
                                               rcse•vchers hypothesize
                                                             hypothcsi'" that the ability of                           wilh tho
                                                                                                                      with  the currendy   .existing tests (the ELISA and 'Western
                                                                                                                                 currcncly eiuting                             ''western blot)
                                 b_urgdorftri to change
                           ' B. burgdoirri         chAngo to a cyst form furm and back to a helical
                                                                                                 hdical                    observe;; that:
                                                                                                                       and observes  that
                              form may be   k major factors in the relapsingrelopsing and persistent
                                         Lym• disease [5H8J,
                              natur<: of Lyme
                              natum                                                                                        '.• 'Nt!ither'Yht-wi:mm
                                                                                                                               Weitherthe-warern blot nor tht         EllSA tem
                                                                                                                                                                  the ELISA     t..sts arc  ,.,fficimtly
                                                                                                                                                                                       4t'< sugietently
                                                   thot may complicate treat~•nt
                                         berets that
                                 Other fuctots                                 treatment include the                          9uil.nti'tdtivt
                                                                                                                                         rive to
                                                                                                                                              t{I enahk'one       mon;tor and
                                                                                                                                                  m1tbk ;,,.,, to monitor   awl =ablate         the effi·-
                                                                                                                                                                                    r:valuitte tlu
                              existence of     unttcated coinfections
                                           of, untreated   coinfuctions and   2Jid the slow rate of                            cacy
                                                                                                                               ctUy ofuf antibiotic thm.py        dur!.ng the count
                                                                                                                                                        therapy during              ,.,,,.,, of•f trtat>-
                                                                                                                                                                                                   treat-
                                  h~<trfori reproduction (many antibiotics
                              B. bmgdorferi                                                      actively
                                                                          antlbioci<:.$ rely on a<:tivcly                      m-mt.•• th• avail.ability               thal is/, both sensitive
                                                                                                                                                    bit, of aa ,test that                 srnsitiv. and
                                                                                                                                                                                                     and
                              dividing organisms), as well as      arc ability to either suppress
                                                                .. ii.II                     Nppre$$ or                        ;nJicdtiv< ofadiw:      infiaion with B. burgdorferi
                                                                                                                                                   ve 1*r:ft-aka          burgdomci would alto        iif.rO
                                          lmrnunc system
                               ev;idc the immune
                               evade                        iss-621,1
                                                     symem [$!1-62);,                                                                           itknli.fy thou
                                                                                                                               m1tbk on< to identify            patimtr who would
                                                                                                                                                          those patients         wouU b1'114jit     ftom
                                                                                                                                                                                           herufit from
                                                                                                                                                                    judge the
                                                                                                                                                         well dJ to judg<
                                                                                                                               anli.bwtit thm:LPY, "' urUar                thr tfcctiveneu        efmch ,'
                                                                                                                                                                                 effoctit1tn•ss ofsuch
                                        tr&alrnenl options
                             Divergent treatment   oplions                                                                      thtmtpy on 1'h< resolution ofinftctJon~
                                                                                                                                                              f infection' (20lJ.
                                                                                                                                                                            203].
                             Anffbloffc lnH:ilment
                             Antibiotic treatment                                                                                          ' ¥
                                           an1ibiollies, route of adtrtini
                             The ideal antibiotics,                               nation, and duration
                                                                        administration,          du111tion of             Two Lyme comps
                                                                                                                          No Lyrna ccimP,
                             treatment
                             treat:m<:nt for persistent
                                                 pe6'istent Lyme disease          arc not established.
                                                                         dlieasc are        ostllblishod. No                              cum:nt lack of a test that can demonstrate the
                                                                                                                          Given the current
                                       antibiotic. or combination of antibiotics appears to be
                             single antibiotic                                                                            en.dic:ation·of B.
                                                                                                                          eradication.of          burgdorftri, and the
                                                                                                                                              B, Inogdosferi,           thc lack         studies determining
                                                                                                                                                                              lo.ck of studies'   detennining
                             capable of completely eradicating the infection gab              (OJ. and treat-
                                                                                                            ti:e>t·       the optimum •lengthlength of antibiotic       tte1.ttnent or
                                                                                                                                                          antibiotic. treatment       ot even
                                                                                                                                                                                           evtn the optimum
                                                                                                                                                                                                       opdmilm
                             ment
                             m•nt failures or relapses are         2'e reported .with      .JI current
                                                                                    with ail    <:'.Urrent regi-
                                                                                                              reg!·       choke of ilittibi®c
                                                                                                                          choice        antibiotic [4311a~1. two    ~t .~
                                                                                                                                                             IWO different                       practice have
                                                                                                                                                                                  schools of pram<>:         ha"'
                             mens,, although they arc        m less common with early aggressive     awcssive             <metF
                                                                                                                          emerged. Some physicians                    ti:>r 30 days,
                                                                                                                                                                treat for
                                                                                                                                                 physi.;ians ·tt=                       i:egan:lle<s of patient
                                                                                                                                                                                 doys. regardless
                             t~t.tnent (22.6314
                             treatment      [22,6$h                                                              ~        r:cspo11$¢ uni=
                                                                                                                          response    tuts relapse
                                                                                                                                                rdap<e is shown by reliable objcctlvcobjective measures
                                                                                                                                                                                                  measw:e1 KN.f&iJ.
                                 There are frequent -discrepancies
                                                                <liscl'.Cpancies .between
                                                                                    between in vitTI)vitro and and        Other physicians                 mot ifif a diagnosis can only be made clini-
                                                                                                                                                  mason that
                                                                                                                                   physici>lls ·t'O:lSOn
                                   vitm antibiotic results [22],
                              in vitro                              gm Preac-Mursic
                                                                           Preac·Mnrsic and colleagues
                                                                                                     colle"Wcs            cally b<:cause
                                                                                                                                 because du: the current     iliognosti.c tests
                                                                                                                                                   tun:ent diagnostic                  irutdequare, then
                                                                                                                                                                            test< are inadequate,         ti=.·~
                                                                                                                                                                                                               the
                              found substantial variation in the kill rate of given antibiotics                            dctennination of the t=ttnent
                                                                                                                          determination                treatment end point poi~t must also be made clini-
                              within different strains of       ofB,    burgdcrfiri, and even within the
                                                                    B. brardorfai                                          eilly 1371.
                                                                                                                           csdly              ~t approaches
                                                                                                                                       U,,, different
                                                                                                                                 (31]. The                appto:Jdtes haYC       ~ into
                                                                                                                                                                          have crystallized     inlt> a0. polemic,
                              same
                              wnc species. They described other factors that make                   moh anti- •nti-        and at   cim<'!l rancorous debate between the two Lyme
                                                                                                                                o.t times                                                  Lyrne cutups
                                                                                                                                                                                                   =nps (70].
                                        tt~trnC·ht more difficult,
                              biotic treatment                 difficult~ including the increased viru-                       A number of conflicting
                                                                                                                                                 ror>llieting guidelines
                                                                                                                                                                 gllidd.ines reflecting
                                                                                                                                                                                teflecting the viewsvi.,,,. of the
                                                                                                                                                                                                            ofthe
                               lence of the infectin botreliae,bottdiae, the tho..lon
                                                                                  Ion      ni:ratiofi time
                                                                                           neration      ti!11.e of        twoL  L                ,                                                          ~
                                                                                                                                                                                                             Most
                                     sp1r etc1, i mon
                                  ·c spit.                i:tion in irilrnunologically
                                                                       immunologically privileged sires,      site.s1      recently", iJrte
                                                                                                                           "":ently,   Jae set of guidelines was published under the auspices
                               the inability of   cif the antibiotic to penetrate those Yates,        fitcs, and           of the Infectious DiseaseDiseu<: Society of America (IDSA) lob                    wh.ile
                                                                                                                                                                                                       C••I. while
                               insufficient
                               in·sufficient antibiotic dosage           (~J. ,Given
                                                              d.Osage (se,    Given these nriario·ns,
                                                                                              variations, it is            another
                                                                                                                           ,another set was       published. by the International Lyme
                                                                                                                                           W:I.< published                                    L~ and    ond Asso-
                                                                                                                                                                                                             k•o·
              i                unlikely that a 'one 'olle size fits 21F
                                                                      all' approach to treatment will be                             Dis"'5cs Society (ILADS)
                                                                                                                            dtted, Diseases
                                                                                                                           ciated                             (IUDS) in.                   glliddine! are evi-
                                                                                                                                                                            [37]. Both guidelines
              I
                               successful in Lyme Lfmc disease.                                                             dence-based and          peer reviewed, with
                                                                                                                                              aJtd per                    wilh the 'DM  IDSA generally rec-
              I
              ''
                                   Combinations of medications featuring different modes of
                               action (e.g., cell wall  woll acting
                                                                acting. vs. replication dependent) are
                                                                                                                            ommending
                                                                                                                            ommeJ>ding standardized
                                                                                                                                               =dudittd. short-term
                                                                                                                            recommending individualized
                                                                                                                                                                  short,torm treatment, and ILADS
                                                                                                                                                  indhlidualiZ<:d treatment
                                                                                                                                                                       ttcat:rnent based
                                                                                                                                                                                                           lLADS
                                                                                                                                                                                       bosed on the clinical
                                common
                                co.m,mon Ksi.(6'5J. Among the factorsfaaors to consider        :arc tissue and
                                                                                   con.sider arc                            course
                                                                                                                            courso of the patient.
                                                                                                                                               pdtient.
                                CNS penetration,
                                        peJ>etration, intracellular         •it•
                                                          intraedlula< site of      action, cell
                                                                                 ofaction,    cdl wall versus
                                other mechanisms
                                        medtanisms of action, patient tolerance    tol~tanee: and the exist-  exist...     Shormorrn       lr<>otrrlent
                                                                                                                           Sh6rf..term howl,                 opproocl1
                                                                                                                                                   i trim It approach
                                cnce of cednfections
                                ence        coinf•etions 166).                     admini.,ration plays
                                                               m.o. Route of administration                play> a                 shCirHotm treatment
                                                                                                                           The short-term                                           rcllected in the IDSA
                                                                                                                                                      t:re:>.t:rnent approach is reflected
                                substantial
                                sub•tantl•I role, with intraY<nou•
                                                                intravenous being the    th• .mo!t
                                                                                              most effective,              guidelines.
                                                                                                                           guiddines. Although the IDSA           IOSA iitself
                                                                                                                                                                            d is a large               o~­
                                                                                                                                                                                    Jaqy: specialty organiza-
                                followed by intramuscular
                                                    intramu•eular and , then oral         otal therapy Vsl.       [G6J.    tion, the paixel
                                                                                                                                         panel that       droted the guidelines
                                                                                                                                                 tho.t drafted                     wu narrowlydrawn
                                                                                                                                                                        guideline! was   nanowly drawli and
                                Parenteral antibiotics are        arc generally recommended when                           consl<tcd almost =elusively
                                                                                                                           oonsistod                    cxdUsivdy of academic         ~ with 'iYcll·
                                                                                                                                                                           oadenUc researchers              well-
                  I
                                there is neurological involvement, candies,       carditi.<, or complicated                known ideological
                                                                                                                                       idoologietl views, representing one of the two Lyme               camps.
                                                                                                                                                                                                  4'me camps.
 ·~··""
          I       '
              L ...
                                Lyme arthritis (it   [l~J.                                                                 The guidelines
                                                                                                                                   gllidclin"" advise that     th:u response roto treatment        usually' slow
                                                                                                                                                                                  tteo:t:ment is usually
          '       ''                 I,
                                                                                                                           and may be incomplete
                                                                                                                                              iri<Xlmpleoo but retreatrnent,        alter a• 30-day
                                                                                                                                                                      nitrcatrncnt, after              <XlUtse of
                                                                                                                                                                                             .30-<li>y course
                  I                 fiX'll<i lr<Krhrient
                                No fixed
                                treatment options
                                ttea'lment     QPllOM
                                                           paint creates divergent
                                             treatment end point         dll'llrgMt                                        antibiotics, is not llot recommended in the absence of reliable objective
                                                                                                                                                  guiddin"" also state that there are no convincing
                                                                                                                           measures. The guidelines
                                                                                                                                                                                                       obje<:rlvt
                                                                                                                                                                                                     eo1wlndng
                                There
                                The"' are
                                        mi no reliable tnicrobiologic
                                                             microbiologic or ot immunologic crkotia to                     published data        sh<>wins; that "'i""''cd
                                                                                                                                           dAnt showing               repeated or prolonged courses
                                                                                                                                                                                                COWl'e8 of oral
                                                                                                                                                                                                             ond
                                document active
                                            a<:tiYO infection
                                                     ittfi:ccion in Lyme disease
                                                                            disoluc (22,274Bir
                                                                                    [:!2,".681. W  thout reli-
                                                                                                Wlthour  tcli·             or intravenous
                                                                                                                           ear                   ru-Ati.microbiru therapy
                                                                                                                               i.tJ.tra\'etloUS antimicrobial                     dfocdvc mt
                                                                                                                                                                     thempy are effective        81lcli patients.
                                                                                                                                                                                             for such   patient<.
                                able biological markers,
                                                  l1llll"kcr0, the task
                                                                   l>Llk of determining who h"'   has the dis-
                                                                                                          dls·                 Physicians
                                                                                                                               l'hpicians advocating
                                                                                                                                                 odvooating the short-termshort-tcnn treatment approach
                                ease, the effectiveness
                                          cl!eetiY<ncss of a course
                                                                 ooume of treatment or the end point of                     note the overlap
                                                                                                                                           <M'rlap of symptoms of persistent Lyme          4-rne disease and
                                """1tmcnt       problcrn•tic. The faclc
                                treatment is problematic                        dellnitivc diagnostic
                                                                       lack of definitive    d;agnosck tests               other autoimmunc
                                                                                                                                     atttoimmunc diseases                   hypachcsiltC t~at
                                                                                                                                                            disease• and hypothesize      that any persistent


                                536                                                                                                                                         Son, Am Arithilfier, Them 2(40. (2000

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                                                                                                                                                                          TrGQlmcrmt of Lyma
                                                                                                                                                                          Treatment          di$eClse
                                                                                                                                                                                        Lyme disease


                    symptoms after treatment i:eflcct         reflect an autoimmune process determinations for Lyme                                      4tn• disease.
                                                                                                                                                                   di...,e. Similarly,
                                                                                                                                                                                 Similorly, the  die duration of
                     triggered by the infection. llasicay,  Basically, these physicians assume therapy                   dterapy should be guided    goided by clinical response to treatment, and
                     that the infection ·has                   oradicated once the patient It..
                                                  has been eradicated                                           has treatment should continue until resolution of                              laboratory abnor-
                                                                                                                                                                                           oflaborarory         olmor·
                                          presumptiv~ly adequate antibiotic treatment. malities and symptoms. The treatment guidelines
                     received the presumptively                                                                                                                                                         di.= per-
                                                                                                                                                                                        goiddines discuss           pct·
                     They provide the patient with palliative treatment for the sistent, t=IITCllt                                   recurrent and refractory Lyme disease, treatment           t<eatment failure,
                                                                                                                                                                                                                fuilure,
                   · remaining symptoms.
                                      §ymproms. The assumption that the infection has                           hos and coinfection.
                                                                                                                                 roinfeccion.
                     been
                     \>een adequately treated is presumptive because:                                                         Physicians who advocate longer-term      longcr-tctrn antibiotic treatment
                      • There have been no trials demonstratingcfumonstrating the efficacy of the                      , use     an  ··empirical
                                                                                                                                      empirical       approach        based      on the clinical evidence of
                          30-day
                          30--0ay antibiotic treatment duration                                                        · active'
                                                                                                                         actlvt:    1n1b:rum
                                                                                                                                    iiiTtetion     to   determine         treatment      duration. Evidence of
                                                                                                                         ongoing infection is 'determined Ctetermincd by examininga.tmining all    aU clinical data,
                      • There is currently no diagnostic test that can establish                  cstabli•h the  dte
                                                                                                                          including persistence of symptoms,    5}'lnptoms, serologic testing, and other           odtcr
                                                  burgdorfori
                          eradication of B. busgsimferi
                                                                                                                          forms
                                                                                                                          funns of corroborating tests         t.,,ts such
                                                                                                                                                                      sudt as   .. MRI scans, SPELT  SPECT imag•
                      • There is .no.   no evidence to support suppott the hypothesis that the                   dtc ing, neurocognitive testing,         testing. or other  othet neurological
                                                                                                                                                                                      neurol<>gkal indications.
                                 ca.us~ of the continuing symptoms is the ptesence
                          sole cause                                                                presence of Ultimately,
                                                                                                                          Ultimately. the determination
                                                                                                                                                  dttermination of elficacyof  dl:kacyof therapy
                                                                                                                                                                                             th=py depends on
                                       corn.plexes
                           immune complexes                                                                      ,        the clinical =ponse,
                                                                                                                                            response, One physician summarizes the treatment                'treatment
                           Terminating treatment despite persistent symptoms                  sy.mpto.rns is a approach   onproach
                                                                                                                          .....
                                                                                                                                         as  follow.:
                                                                                                                                            tollows:
                                                                                                                                             }!
I                      high-stakes risk for patients with       wilh progressive
                                                                        prog=ive illness. In              ln addi-
                                                                                                                                'Cumnti~· no definitive
                                                                                                                                Currently            bfimti"' tests air            a~ for
                                                                                                                                                                             art available      for assessing
                                                                                                                                                                                                      4Smsmg the
I                      tion, steroids, which 1nay
                       tions, increase
                                                     may be used to     ro curb
                                                                             CLttb 21.1t0IIIIMUne
                                                                                      autoimmune condi-
                                 inctease the progression of active infection and are con-
                                                                                                                                complete
                                                                                                                                romp/& absence
                                                                                                                                            abttna of spirochetes                  pati<M- Only
                                                                                                                                                             'J>iruch<tts in patients.           ~ through a
I                      traindic.,ed for active
                       traindicated            o.ctive Lyme disease vs).                       physiclaru; have
                                                                            (78). Some physicians
                                                                                                                                careful
                                                                                                                                ca".fol evaluation              iw:IWidua/ clinical
                                                                                                                                          1!11i1./Ulltio11 of individual          dinic,,/ data can  <an the opti-
I                      characterized
                       dtamctcriud the termination of treatment despite persistent                       pcnincnt
                                                                                                                                mum duration of treatment
                                                                                                                                indicate that
                                                                                                                                            tht#
                                                                                                                                                          matmtns be
                                                                                                                                                    if antibiotic
                                                                                                                                                        antibiotU: th=PJ
                                                                                                                                                                           ht! established
                                                                                                                                                                               tstahlishd. Our observations
                                                                                                                                                                         therapy is terminatd
                                                                                                                                                                                                      obSC"WJJiom
                                                                                                                                                                                        terminated beforebef"rt thelh<
I                      symptoms as     .. medically
                                           medicilly sanctioned negligence
                        mination of treatrirent
                                                                         nogl.ig=...., Paq,
                                            trcatrilent· may result in advanced neurological
                                                                                            (204J, because ter-
                                                                                                                                 major active
                                                                                                                                 "'4jot ttmvt! symptoms have      haw: dearal
                                                                                                                                                                           dMrtd. a mkose             /;kelf PM.
                                                                                                                                                                                         rtklp" is likely'     (74).
 !
                       injury, debilitation and death 1721.      !12J.                                       •                  Physicians who advocate a long-term treatment approach
                                                                                                                                Physicllins                                                                   opproach
                            The IDSA
                                  lDSA guidelines       ha"" drawn sharp
                                           guidd;nes have                 •lu,p criticism
                                                                                    aiticism from   &om ""'1ting
                                                                                                            tinting point to:
                                        (2"',~07} and patients
                        physicians (204,207)            patient! [208]
                                                                    (20aJ because they make strong • High rare of treatment failures                               failu= using short-term antibiotics
                        inflexible treatment recommendations based on weak evi-                                                 Studies showing
                                                                                                                  evi- •• Studies         mowing pet>i=t               in.6:aion despite
                                                                                                                                                        persistent infection         despite andbiork
                                                                                                                                                                                                onubiocic treatment
                                                                                                                                                                                                              tteatment
                        dence,
                        dencc, place         undue weight
                                    place undue       weight on  on flawed
                                                                       A.awed laboratory
                                                                                    laboratory tests,    tests, dis-
                                                                                                                  dis- •• Clinical          evidence that
                                                                                                                                Clinical evidence                 antibiotic       tmltmcnt        may
                                                                                                                                                           that antibiotic treatment may suppress but    sup!'fC!'S    but
                        count
                        count the  the diagnostic
                                        diagnostic value
                                                       value of of patient
                                                                    patient symptoms,
                                                                                  symptom•, and       and failfail to
                                                                                                                    to          not   eradicate     infi::ction    in
                                                                                                                                not eradicate infection in some patientssome     patients
                               ider individual treatment response 'fatfability,
                        consider                                                       variability, coinfec-
  .~_ _jll-~~~~~!!:.,,£!!~!!!..J!!!~~~~~~!!!!!l!l!t..!!~~~!d.S!:Dl!:~"-~·~Cli~·Gn2ical~CVl~·d~en~cc:;:o:f                                                      th::e=bc~n~efi~t:'o~f:lo:;:i:':i:::=:::::~·~m-cns
                         tions,       dent
                                      ticnt references   ces or treatm
                                                                     treatment o · s.                                           Clinical evidence of the benefit of lo                          treatment            men
                            ley do not contain any data of note regarding the treatment • Faijrable
                         thcy                                                                                                            bit clinical response of patients who are ~ted                 rem%
   E                     of   patients   with    late and    chronic     Lyme       disease.
                                                                                    dis.,.....     the
                                                                                                   The     focus    on          Th.=     physicians       believe    that     it is too early for fur  standardization
                                                                                                                                                                                                       scandardiiation
                         reliable objective measures ...       as a determinant for         fur the
                                                                                                  dte continued
                                                                                                         continue<! of treatlnenttreatment regimens, and that these regimens                       slmuld be individ-
                                                                                                                                                                                      rcgimens should             iodivid-
                         treatment of symptomatic patients is particularly         patticulady disturbing uillzed            ualized basod
                                                                                                                                        based upon the patient's symptoms and clinical cOnne.                      oourse.
                         in light of the current state  stare of diagnostic
                                                                   diognostic testing. Straubinger's From experience, they have seen that prolonged                                     proloog<d treatment ttgi"      regi-
                         animal studies proved persistent infection after antibiotic mens similar to those used                                              u...! in other chronicclironic diseases such such. as tubcr-
                                                                                                                                                                                                                     tuber-
                          treatment only by harvesting 25 tissue samples           wnplos from each        eacli dog culosis and lepn>sy      leprosy are more                keeping with the treatment
                                                                                                                                                                mnre in loecping                       t!<:atl'rient needs
                          at necropsy IMI,   («J. Animal studies
                                                               srudi0> indicate
                                                                            indico.tc that  lhar considerable of patienu                      widt ~t
                                                                                                                                  patients with                       sympro.,,. of Lyme
                                                                                                                                                       persistent symptoms                           disease:. Although
                                                                                                                                                                                           lyme disease.
                          infection with B. burgdoifiri
                                                   burgdalfiri in the  tbe CNS can he          be present with- they acknowledge that immune                       imrnune reactivity may contribute      connibute to
                          out overt
                                ovett clinical signs•igns (Mb     As the CDC, NLAID
                                                            (73]. A$                        NIAID and FDA symptoms in chronic Lyrnc                           Lyme dir  ~      me, they    regard itit.,
                                                                                                                                                                                    tbcy tcglUd         as unlikely that
                          have all aclmowledgcd             121.~7.zo>J, the commercially
                                       acknowledged, tat,47,2os1,                  conunetcially available this o:•c1Mty            reactivity accounts
                                                                                                                                                  accounu for                 majority of piugwasive
                                                                                                                                                                 fur the maj<>tity            progt=ivt symptoms
                          tests today simply
                                          sitnply cannot carry the weight of this lo•d,                load, which
                                                                                                               whicli in Lyme      lymc disease patients.patients, particularly
                                                                                                                                                                       patticulu:ly given !hat      that many of the
                          is why each of these agencies call for clinical diagnosis                 di.'l.gno•i• and symptoms characterized   chancteri7""1 as inflammatory,
                                                                                                                                                                       inllammatmy, improve  irnprovc in ea:sponse
                                                                                                                                                                                                              response to
                          discourage over reliance on laboratory Laboratory tests. rests.                                     antibioci:C ttt.attnent
                                                                                                                              antibiotic     treatment (191.  [19]. Mo~r.
                                                                                                                                                                     Moreover, some    some tnICIOlide
                                                                                                                                                                                                rnacrolide antibiotics
                                                                                                                              have recently been shown to possess not only h.acriocidal           haeriocidal dfe,;rs,
                                                                                                                                                                                                                     effects,
                           iong-terrn    treatment
                           Long-farm lreolment                                                                                            immunomodulatory cll'ccts
                                                                                                                              but also immunomodulatoty                    effects Psi.
                                                                                                                                                                                     (75].
                          The longer-term
                                 longcMerm treattnont           approacli is
                                                   treatment approach           i.! rdle<:red
                                                                                     reflected in the !LADS   ILADS
                           guidelines,
                           guiddinco. !LADSILADS is an.  an, interdisciplinary
                                                              interrusciplinary gt'Oup                    physidans Vaildolion
                                                                                          group of physicians                  Validation of guidelines
                                                                                                                                                 guldelfl'le!l
                           and researchers
                                 tesearcliers dedicated to improving the diagnosis and ttcat·                     treat- The IlADS    ILADS guidelines provide far                 v:ilidation using a sin@o-=tor,r,
                                                                                                                                                                              fur validation
                           ment of tick-borne           diseases, Members
                                        ti<:k-bo1nc dlocas.,,,       MJ.mbcr< include   indude neurologists,
                                                                                                      neurologism, prospective                  sui:vdllance database
                                                                                                                               ptospcctiv. surveillance            &,.i,.,,, and        encourage additional
                                                                                                                                                                                 ond entourage          •dditi<mal treat-
                                                                                                                                                                                                                       =at-
                           thormarelogists,
                           rh<;iam~tologisa, internists,          Family practitioners,
                                                   h1tern.i.sts, family      pra.ct•tioni:!!:l,'l';~ pediatricians,
                                                                                                     peii:a.tticia.ns~         ment                  studies. while no validation
                                                                                                                                       outcome studies,
                                                                                                                                ment outcome                                     valid...tion procedure
                                                                                                                                                                                                p"""'1urc is provided
                                                                                                                                                                                                                   pr<:ivickd
                           immunologists.
                           immunologists, ophthalmologists, dentists, and                     md psychiatrists.
                                                                                                      psyohiatri•ts. for the IDSA guidelines. !LADS                ILADS notes  note< that treatment following the
                           The ILADS guidelines stipulate    stipufate thatth.tt laboratocy
                                                                                    laboratory tests should IDSA guidelines has not                             nor been su""""1i.il
                                                                                                                                                                                successful o.ndand =ommends
                                                                                                                                                                                                      recommends lhar    that
                            play
                            pby a supportive role in the clinical   clinico.l diagnosis and         >nd treatment
                                                                                                           tl"'<\tment centers ceu,_ employing
                                                                                                                                        employing the     tho IDSA guidelines
                                                                                                                                                                          guiddlm:s pmform
                                                                                                                                                                                         petform formal
                                                                                                                                                                                                      funnal evaluations
                                                                                                                                                                                                                OV>lu.tcions


                                VrtvwfigUre-CiNgprorrl.                                                                                                                                                               537


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                           8c Molter
                   Johnson &  Stricker


                      of the
                      of   the results of their own programs. Validation of the two                         The period of follow-up appears    appeors to be critical in determining
                      r=ttnent approaches through outcome studies could provide
                      treatment                                                                          relapse rates
                                                                                             pmvide relapse       rates given the late recurrence
                                                                                                                                                recurre_ncc of symptoms in initially  initi:tlly
                      critical information regarding re,~ing the treatment of Lyme disease. recovered    recovered patients (TABLE               Sbon-tcrm studies that do not fol-
                                                                                                                                            1). Short-term
                                                                                                                                   (T.'JILE 1),

                       Two factors to bear
                       Two                   beat in mind, however, arc    are insuring sufficiently low low patients over a period of years are of questionable value,
                       long-term follow-up to capture meaningful relapse rates and given that the longer patients are followed after receiving                                meeiving anti-
                ··: ~· recording
                       ret:Ording patient
                                      patic,nt symptom data. Patients who report    repon disability biotic treatment, the higher the relapse rates climb [791.                   lnl. Recoge
                                                                                                                                                                                        Recog-
                       analpgous to congestive
                       analogous          congestiv<: heart failure should not be considered nixing       nizing that relapse may occur    0ceur long after treatment is        i.s di.soontin-
                                                                                                                                                                                    discontin-
                       well by any
                       well        aoy measure.                                                           uGd, ·Donta
                                                                                                          ued,   Donra defined cure as an         on absence of symptoms for a year        ytar
                                                                                                          or.more·
                                                                                                          or more following therapy theral?Y in his study of 277       2n patients treated
                        Faun)                 lhorl-'9rm antibiotic
                        Falllffl> rates of shod-term        anllbloHc treatment                           with tetracycline {'2). Ent.      '
                               IDSA guidelines recommend intravenous antibiotics, for
                        The IDSA.
                        2 to A.weeks
                               4 weeks or oral  orol antibiotics for                                      /'e1Sbl<mce of
                                                                    fur 4 weeks for the treatment Persistence              ot infection
                                                                                                                               ln(eclton despite        an6blottc treatment
                                                                                                                                            desp/te antibiotic        lreatmMI
                        ofpe,.istent
                        of  persistent Lyme disease (M.                                   hwnan tri- The persistence of B. burgdeferi
                                                             (6,J. There have been no human                                              burgdcrfori despite presumptively
                                                                                                                                                                    prcsum.ptivdy adequate
                        ols. proving the effectiveness of 30-day antibiotic regimens oz.
                        als                                                                       ['2)_.  antibiotic treatment has been repeatedly demonstrated by post-
  ,I
                        However, animal studies    studlies demonstrate that, th~t, while this dura- treatment isolations
                                                                                                                        i<olations of the tb.e bacteria [65].         fuct, B.
                                                                                                                                                                  ln fact,
                                                                                                                                                            [65J. In           bwgdoifm has
                                                                                                                                                                            B, bragdolfrri
                        tion of treatment may reduce the bacterial load, it does not been                  ~ cultured
                                                                                                                 culn!l<.d from patients
                                                                                                                                      poticn"' who have   hav. been given intensive
                                                                                                                                                                               interuive anti-
 '.';                   erodieate the organism 171J.
                        eradicate                          Mk A number of studies have   ha"' found                ther>.pY rtltb intravenous third
                                                                                                foutld biotic therapy:41th
                                                                                                                    ~ to
                                                                                                                                                         th.Utl-genctation     cephalosporins
                                                                                                                                                                -generation cephalosporitts

 Ii
  '!                    tre..tment failures ranging
                        treatment                    rangitlg from 24 to      $0% using
                                                                          t<l 50%   u•ing short-term
                                                                                          shorMcrm for 21      21 days    to'l1 year
                                                                                                                                 )'Oilt 180-841.                            limitotions of
                                                                                                                                        (8""""'1· Due to the known limitations            of the
                         protocols mats(1;1l!l.E ;0.               conclusion. that their protocols
                                                 1). The IDSA conclusion,                                  currently available
                                                                                            protocol. cunently         milable tests,
                                                                                                                                    tesIB, it ;,   not praccical
                                                                                                                                                is not, practical to routinely obtainobtoin lab-
      :1                 tesult in 'eventual
                         result                       r~c:overy in most
                                       (even.tual recovery                  patients*, only
                                                                    tnost patients',         serves. to oratory evidence
                                                                                       only· serves                   O'lidcoce of continuing. B. butgdogri       burgdo>fori infection
                                                                                                                                                                                  infeccion in
       I                 highlight the issue is•w; - namely what level  lcVd of success is necessary humans.
                                                                                                           hununs. However, the Straubinger   Srroob~r canine    can.In< studies, examining
                                                                                                                                                                                     =mining
                              •upport 2.11
                         to support                           n=ttnenc protocol. The question 25 tissue
                                           on inflexible treatment                                             ti<rue sanopks
                                                                                                                       ...mples per dog, support the concept of elusive        dusive yet per-
                                 pcrsi<tent Lyme
                         with persistent                 dis~ has never been what to do with sistent B. burgitatferiin.fection
                                                 Lymt disease                                                           b.ugdcrfiri infection (3     (:UJ,                            spiro<:bcre
                                                                                                                                                      4/ ], and isolation of the spirochete
      \\                 the 50 to 76%,  76%: who find                                     •pproaehes has h<:cti
                                                          flnd short-term treatment approaches                           ~redly demonstrated .in patients with persistent
                                                                                                                 been repeatedly
      II
                         successful. The issue is       i• how to treat those 24 to 50% who fail     &il symptoms
                                                                                                            symprom. of   <:>f Lyme   diseoso (TABLE
                                                                                                                               4'tn• (Nett       (TA!ll.E 2)..                          cvid~nce
                                                                                                                                                               Thno1 the weight of evidence
                                                                                                                                                          2). Thu%
      I
      !                   unde.I;'
                          under     this treatment      sipproach.
                                                        npproach.                                           favon penistentinfu:tion
                                                                                                            favors  persistent    infection in chronic Zyme     4'tne;dl=s<.
                                                                                                                                                                        disease.

       I
                          Table 1. Treatment relapses and failures     short~term therapy for Sorrels
                                                           failures of short-term             Borrelia basyclorferiinfection.
                                                                                                       bu1gd<1rll'tilnfectfon.
                          Study                       Rclap«: or failure
                                                      Relapse    fallur<:               Comments                                                                                              Ref.
                          <".
                                1

                                    ~               ~-------'·->Q.N.R!.<"lf...ialr,69~ag<;:
                                                    -a•791.1                 Eivera11769    pati~rit:s fl~}.tPQT ttd'"l'"'p• CM/US
                                                                                                                             eqi~s ft,
                                                                                                                                   re~cf ty11ie·t11seitst
                                                                                                                                          yi ‘.% tYardSt                                       ,,
                                                      (69 out of 184)             _,
                                    of.
                           Treib et a/.               >so%
                                                      >50%                                  :t 12 years
                                                                                        4.2 ±     yoa" after a 2-week
                                                                                                                  2-w.. kcourse
                                                                                                                          cou"" of intravenous ccftriaxone
                                                                                                                                                  cdtriaxonc (2 g daily),                       [361
                                                                                                                                                                                                l:l<il
                                                          total}
                                                      (44 total)                        more than half of of\hc
                                                                                                             the 44 patients with clinical signs ofncuroborrcllosis
                                                                                                                                                  of neurohorrellosis and
                                                                                        spccific intratheoal antibody production
                                                                                        specific intratheral             produotion had nonspeefic
                                                                                                                                           nonspec\fk complaint
                                                                                                                                                        <:<lll1Pl•ints
                                                                                        resembling chronic             syndrorn~ and:shoWed
                                                                                                     c::hronic fatigue syndrome    and showed persisting positive
                                                                                                                                                             pQsitive
                                                                                        immunoglobulin
                                                                                        immunoglobulln M serum tit'rs:       for.Borrf!/;a
                                                                                                                      titers for           burgdorfcri on western
                                                                                                                                 Barren° burgdorferi
                                                                                        blot analysis
                           Valooova et ot
                           Valesova    of.             3846
                                                       38'lb                             3 years after treatment of 26 patients,
                                                                                                                       paticnt>, 19 showed complete response
                                                                                                                                                    r.spons. or                                0621
                                                                                                                                                                                               (162]

                                                       (10 out of 26)                             improvement;. relapse
                                                                                         marked improvement;                                  man~festations. in four
                                                                                                                rela~ occurred in six and new manifestations
                                                                                            the: eases
                                                                                         of the  cases
                           Shadick en%
                                   ctal.               26%                               Wittiin 1 year of treatment tcn
                                                                                         Within                            ootof
                                                                                                                     ten out   of 38 patients reported relapse and had                           1791
                                                                                                                                                                                                 [79]
                                                       (10outof38)
                                                       (10 out of 38)                                         treatmcnt (five
                                                                                         repeated antibiotic treatment                      Intravenous eeftriaxonc)
                                                                                                                        (fl"" patients with intravenous  eeftriaxone)
  .                         Asch eta/.
                            Asth era/                  2846
                                                       28'lll                            Amean
                                                                                         A moan of 3.2 years after treatment 28% had relapsed rolapsed with major organ                        (1631
                                                                                                                                                                                               (163]
                                                       (60 out Of 216)
                                                       (30                               involvcmi:::nti 18% reinfectedi
                                                                                         involvement;                                                                  positi~
                                                                                                                           Rorrelia hurgdorferi antibodies remained positive
                                                                                                             reinfc<::ted. Borrefiabvrgdorferi
                                                                                         in 32%. 82 (38%) patients
                                                                                            324.82                                             Clini~ally active Lyme disease
                                                                                                             patl<nts were asymptomatic. Clinically                   di,.ast
                                                                                         found in 19 (DV.    PcrSi>tent symptoms in
                                                                                                       (9%). Persistent              in· 114 (53%)
                                                                                                                                             (53'1b)
                            Pfistor et of.
                            Pfister    al.             37%                               A
                                                                                         Amean of 8.1 8. 1 months after aa 2-week course
                                                                                                                                      coutso of intravenous
                                                                                                                                                    intrav.nous cefotaxime
                                                                                                                                                                ccfotaximc or                       (841
                                                                                                                                                                                                    [84]
                                                               0127)
                                                       (10 out of 27)                                       out on7
                                                                                         ceftriaxone, ten out   of 27 patients were symptomatic, and Borreliaborgdor/i:ri
                                                                                                                                                              &omen° burgdorferi
                                                                                         was isolated
                                                                                               iSolated from the cerebrospinal
                                                                                                                  CC:rl!:broSph1al fluid      oni::: patient
                                                                                                                                   flt.lid of one
                                     ctal.
                            Logigian cr of,            37'lll
                                                       37%                               6 months after a 2~week
                                                                                                          2-week course of intravenous eeftriaxone
                                                                                                                                       ceftriaxMe (2 gg,daily),
                                                                                                                                                        daily),                                1t641
                                                                                                                                                                                               [lG<i]
                                                       (10 out of 27)                                               improvement six (22%) showed improvement
                                                                                         17 patients (63%) showed improvement,                     improvcment but
                                                                                         then relapsed, and four (1546) >hawed no change in their
                                                                                                                 [15%) showed               th<ir condition

           !I
                         531                                                                                                                                  Firnrd4.,   Anetinfrt 7/..er, 2(4), (2004)

                                                                                                                                                                 Liberty002347
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                     85078359%                                        DocumentZIMBERLINLAN
                                                                             ZIMBERLINLAW
                                                                                142-3 Filed 11/16/18 Page 72 of 501
                                                                                                                                             Treatment of Lyme disease



                                 cviden~ of persistent
             Table 2. Laboratory evidence   persist,nt Borrelia             infection despite antibiotic treatment.
                                                                burgdorli'liinfection
                                                         ere/fa burgdorferi                              tr..atment.
              Study                    Comment$
                                       Coalmen                                                                                                                                Ref,
                     etol.
              Breier etal.             F<lllowing treatment
                                       Following  troatmtnt with four
                                                                  four"'""""      ~ftriaxone with or without methylprednisolone
                                                                       courses of ceftriaxone                  mtthylprcdnisolon• for up to 20 days.
                                                                                                                                               d•I"·                          liSsl
                                                                                                                                                                              UG~J
                                       8om:lia                  isolai.d from cultures obtain<d
                                       Borrella burgdorferi was isolated                               tnlarging skin lesions
                                                                                         obtained from enlarging
              Horowitt
              Horowitz                    pat",.nts treattd
                                       80 patients                multipl• courses
                                                    treated with multiple                                  avorage of 13 months who continued to have
                                                                            coursos of antibiotics for an average                                havo                         hos)
                                                                                                                                                                              ll66J
                                       persistent
                                       pcrsist.nt symptoms
                                                  symptom> """'were PCR   -positive
                                                                     PCR-positiV<                      ·
                                                                                                       ..., „
                   eta/.
              Oksi et of.              ~ (13 out
                                       104)(13   ollt of 32 clinical relapses) were confirm~d by POI
                                                                               wm confirmed        Pi2R·~;  ~ulture
                                                                                                         or culture                                                            Hai
                                                                                                                                                                               11021

              Bayer et al.
                       al,              97 patients with symptoms of chronic Lyme disease were PCR-positive                ~n treated with
                                                                                               PO\-positivo despite having been                                                0.671
                                                                                                                                                                               [1671
                                                                  ~riods of time
                                                        exttnd<:d periods
                                        antibiotics for extended
                           eta/.
              Preac Mursic et at Isolation Of Bom!lio burgdorferi
                                           pf Bonetio burgdorfuriby  culture in five patients, four of
                                                                  by culture                        Of whom had tested  antibody-negative on
                                                                                                                 ttsted antibody-negativc                                       leg
                                                                                                                                                                                !<>41
                                           l>ttasions
                                 previous Occasions                                                            ·
               Burraseano
               BurraS(ano               Patient treated with aa moxicillin         month~ intravenous cefotaxime
                                                                moi<icillin for 77 months,                c:cfolllxime for 26 weeks,       ccluroximc for
                                                                                                                              weeks. then cefurcctime   fur                     0681
                                                                                                                                                                                11<illl
                                        s months. Became
                                        5          Bcc:amc pregnant at start of cefotaxime.                      placenta tested positive for Bonelio
                                                                                    ce:fut11xlme. At birth, the [!Jacenta                     !lorrelia burgdorferi
               Battaferano  eta/.
               B.attafarano eta!,       AApatient
                                           paticn; had chronic septic Lyme arthritis of the knee for 77 years, despite multiple antibiotic trials and multiple
                                                                                                                                           trialsand                            0691
                                                                                                                                                                                (169]
                                         arthroscopic and open synovectomlcs.   Borrclia burgdorferi was documented in synovium and synovial
                                                                synovectomles. Borrelio                                                     SV0011ial fluid
               Haupl etc/.
               Haupt eta/.               Afu!r repeated antibiotic trcatmen~
                                         After repeated            treatment. Sorrelia burg/doll& was cultured from aa ligament sample
                                                                              Bormlio tlurgdorferi                                                                               1a21
                                                                                                                                                                                 [821

                            ~al.
               Preac-Mursic et     Paf1ent with blurred vision
                               at. Patient                                       separate month-long
                                                         Vision treated with two separate month-long r:y<:lcs   tctra~inc had symptoms that
                                                                                                      cycles of tetracycline                                                      te3l
                                                 ~ral years. Borrdio
                                   persisted for several        Bom!/io burgdorferi was cultured from iris biopsy
                Ucgncr eta
                Liegner era/.           ·After
                                         After trealm•nt
                                               treatment with cefotaximc         mihocvdine, T-i:cll
                                                              ccf<>taximc and minocycline,           stimulation test with Borre/io
                                                                                             T-cell stimulation                     burgdorferi antig~ns
                                                                                                                           Borrelia burgdomri   antigens were                     teal
                                                                                                                                                                                  [!IOI
                                                  posiliV<. A
                                         strongly positive. Ayear later,
                                                                  lattr, paired serum
                                                                                scrum and C5F
                                                                                          C$F samples were also strongly positive
                Pfisttr et al.
                Pfister                                                      tho (SP
                                                   burgdorfert cultured from the
                                          Borrelia burgdorferl
                                          Barreiro                               CSF of aa patient 7.5 months after treatment
                                                                                                                    tr•atment                                                     PHI
                                                                                                                                                                                  18<1
                Preac-Mursloetal.
                Preac-Mursic       Borrelia burgdorferi
                             eta/. &wren    burgdorkri cultured                  three patients and from the skln
                                                        culturtd from the CSF of thret                                            afu!r treatment
                                                                                                             skin of three others after                                            cm
                                                                                                                                                                                   (271
                6F,
                CSF; Cerebrospinal
                     Ctrtb,osplnal fluid:
                                   t'fujd; Pat
                                           PCR: Polymerise
                                                Polyrntrase: chain ~:1ction.
                                                             d'mln reactitim


                  The reason for fur this
                                      thiJ persistence,              known
                                                             i1' not known.
                                               crsistencc:. is
                 av~ proposed
                 ave               variow different factors, including the viru-
                      propooed various                                                                to sy hills
                                                                                                               hilis 07,2         ChroAi• syphilitic infection may have
                                                                                                                          2.921. Chronic
                                                                                                                     (17 "2.92].
              I~ncc and organotropism
              lence          orga:notropi.s:m of the    th~ bacterial strain,
                                                                          strafn. inoculuni
                                                                                   inoculum           periods of latency alternating                                     di.....
                                                                                                                                al!Ctnating with periods of active disease
              si7..C1 host immunity,
              size,                          coinfcctiOn with other tick-borne dis-
                            immunity, coinfection                                                     !~II). and lack
                                                                                                      WI,         laek of syphilis eradication despite 'adequate'adequate' treat-
              eases, insufficient
                        insuffleient antibiotic therapy (tissue                 penetration,
                                                                     (ti.s:suc penetr.2.tion,         ment is well
                                                                                                                 woU known 1991. (93]. Similar observations
                                                                                                                                                 observation• have been made
              dose or duration), intracellular
                                         intra.cdlulat location of the bacreria,
                                                                               ba.ctcrla, sal-
                                                                                             sur-     with respect to B.    JJ. 6rogetferi
                                                                                                                                burgdqrfiri 10;1.
                                                                                                                                               resi, and a number
                                                                                                                                                             numbor of studies
              vival of B. bur:4gal
              viva'           burgdqrftri in various human    hurnan tissues
                                                                        tiS$ucs (e.g.,
                                                                                  (e,g., heart        ruppon the
                                                                                                      support     th~ view    that. at
                                                                                                                      view- that,    a.t least in some
                                                                                                                                                   som,c cases,
                                                                                                                                                         case$, antibiotics
                                                                                                                                                                 mtibiocia may
               muscle,
               mwclc, spleen, and brain) and certain types         typ.. of cells, reinfec-           •upprcss but not cure Lyme
                                                                                                      suppress                              dis~c (TABLE5).
                                                                                                                                   Lyrnc disease     (TAklE •J.       ·
               tion, and theth.e ability of the bacteria to adopt different, different ,forms
                                                                                          forms
               to ensure survival
                            sutviva.I [s6-ast.
                                        ts6-8&J.                                                                               tre<Jtmet'll iegh
                                                                                                              behlnct longer treatment
                                                                                                      Theory behind                         reglmEtns
                                                                                                                                                   nens
                   Long replication time, as       .. well as                vatiability ""'Y
                                                              .. genetic variability        may       Given the high failure
                                                                                                                          fitilure and relapse rates of short       shon treatment
               also contribute to an organism's                   ""'i•tan~ to standard
                                                  orgo.nisrn'• resistance                                                 eviden~ of persistence
                                                                                                      regimens and evidence                  pcrsi•tence of B.            burgdqrfiri,
                                                                                                                                                                      /J. burgdorferi,
               lengths of antibiotic treatment ttcatmcnt [UJ.       Anti~n variation in
                                                               rob Antigen                            many, if not most, physicians practising                          =••
                                                                                                                                              pr=ising in this area, believe     bdi..ve
               Lyme disease
                       diseaBc and other diseasesdbeas.. is  i• believed to contribute to             that
                                                                                                      th.at longer durations
                                                                                                                     dura.tions of treatment may be needed        nocded to achieve
                resistance to normal
               rcsist:a.nce      nol:'nial immunologic functions and erasion        evaslon of        significant improvement or cure i4S,941.     !4l.~4J. Long-term
                                                                                                                                                                Long·tcrm antibiot-
                                                                                                                                                                              ontibiot·
                routine laboratory detection
                                          detcccion [IM'l·
                                                         toast.   Patients
                                                                  Pationts   with    persistent           arc used for a number
                                                                                                      ics are                nurnber of conditions, including tubercu-        tubereu-
               symptoms
               symptom• of    ofLyrnc      dis....., report aa longer duration of
                                  Lyme disease                                             infec-
                                                                                      ofinfec-        losis,
                                                                                                      lo•is, leprosy, recurrent acute otitis media, endocarditis,  •ndocarditis, sal- sal·
                ~lon before receiving
                tion            re~iving treatment than those      tho~e without persist-
                                                                                        persist·      rnonella infections, prophylaxis
                                                                                                      monella                      prophyloos of at-risk populations      population•
                ent symptoms Os].    !90f. In the chronic Lynie    Lyme encephalopathy
                                                                             •nceph.alopathy          (asplenic
                                                                                                      (asplenie children, young children with sickle cell disease,              discue,
               study currently
                       eurrently being
                                     boing funded
                                              funded. by the NIH, the mean     moan number            and patients with prior rheumatic fever)           fe.,.,r) and Reiter's syn-  syn·
                of years between symptom onset and treatment for over                        <>V<'r   drome,
                                                                                                      d.tome, as.as well as Lyme disease        (,$,51'd..20i;:J. While there
                                                                                                                                     di$ea.se tossiaaesi.                 chcX'«: arty
                                                                                                                                                                                  arc no
                                                                                                                                                                                       no
                3400 patients       w"'
                       p•ti•nts was 1.2        rc•rs {'1].
                                          1.:i years   rsii.                                          specific
                                                                                                       spcdl'k studies that directly assess   o.sses; the safety of long-term
                    Unfortunately,
                    Unfurtunatdy, there
                                      th•te is evidence
                                                 evidenc.i that in some       cases, antibiotic
                                                                      some""""·       a;itibiotic      antibiotic use, the FDA Center for Drug Evaluation            EV>\luation and
                treatment of late Lyme l;rrne disease,     as in late syphilis
                                                di....,e, as           syphiUs and"'1.d chronic
                                                                                        dironk         Research
                                                                                                       Researcl. reports
                                                                                                                   roports that a significant
                                                                                                                                      dgnilleant amount •mount of data   dota support
                tuberculosis
                rubcrculosis PM (S9J, may merely suppress but not eradicate      er.adicue the tho     the safety
                                                                                                           •o.foty of  long-term antibiotic therapy [2091.
                                                                                                                    oflot1.g-tcrm                                 [209].



               wwW.ruttlee-elearateete                                                                                                                                                 539

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          ^             Stricker
              Johnson & Strident'


                  The current                         Org;ni•.>.tion (WHO) recomtnen-
                        cuttent World Health Organization                        recom.mcn-      30 European patients    p•ticnts with disseminated Lyme disease            "'"·ted
                                                                                                                                                                       disoose treated
              dation forfut treating infection with Mycobllarrium            tuberculosis is a
                                                            Mycobacterium tubm:ulofis            for 100
                                                                                                 for            days 0731,
                                                                                                         I 00 days      (t7lJ, Dontl1's
                                                                                                                                Donta's study of 277    2Tl patients is of particular·
                                                                                                                                                                               particular -
              combination of      of two antimicrobial agents administered for                                  bcoiuse it showed that the
                                                                                                 interest because                                 thc longer the course of antibiot-
                                                                                                                                                                                 antihiot-
              18 months, while the WHO-sanctioned treatment for leprosy is                        ja;, · the more improvement w.is
                                                                                                 ics,                                           was seen. Following 2 months .of           of
              a .~omb'tnarion
                  combination of three antimicrobio.I             agent< administered fur
                                                 antimicrobial agents                       for   trcatmellt,
                                                                                                  treatment, 33% of patients                         sign.ificandy improved (degree
                                                                                                                                  patient! had signigrandy                          (~
              2 ·years   1"7-99] • .C:Cyle
                  years (417-991..Coylc     and   collagucs
                                                  colleagues   have  observed    the similari-
                                                                                     similati-    (!f
                                                                                                  of improvement: 75-100%). In cono:ast.               contrast, after 3 months of
 \,:           rll\$. between Lyme disease
               tietbetween                &sease and other spirochetal infections such            ti:eatme.nt, 61%
                                                                                                  treatment,         61 % of patients                              improv«i 1321.
                                                                                                                                                   slgnifica.ntly improved
                                                                                                                                 paticnr.s had significantly                     [l2J.
               as syphilis and leptospirosis,
                                      loptospirosis, both of which may also require    requit<:      •Tiv.l NWD
                                                                                                     ?he       MAID has    hiu funded thti:c                        pla~ntrollcd,
                                                                                                                                           three double-blind, placebo-controlled,
               long-term treatment regimens tegimcns [gal.
                                                         1221.                                     ttcatmcnt.<:.uteome studies
                                                                                                   treattnentatiome                 stu4i"' for fut persistent Lyme disease.
                                                                                                                                                                           diswe. One
                   The immune-evasion stater'    srrllt<gY of B. burgeloifiri
                                                                   burg,/,,rftri is analogous      study is ongoing and is expected      Cltpccll:d to be completed soon [91).     Esq. The
                to mycobacterial infections such as tuberculosis or leprosy c;..n,        ts-71,   findings of     of the other two     twO studies, one by Klempner and                 oo!-
                                                                                                                                                                                  an.d col-
                and many.physicians
                       many, physicians flnd   find the treatment guidelines for these             leaguei; rub
                                                                                                   leagues        Ml. and the other                                colloagucs Proj,
                                                                                                                                       othe< by Krupp and colleagues               lt•lJ. arc
                                                                                                                                                                                          :i.rc
                conditions in keeping with their clinical observations of what is                   oontradlctory. The Krupp study treated patients with persistent
                                                                                                    contradictory.                                                               petSi.stent
                needed for the eradication
                                       ctadication of chronic spirochetal infection in              Lyme disease with 4            4 weeks of intravenous         ccfu~one. Follow-
                                                                                                                                                   lnuavenow ceftrlaxone.
                Lym.e               (lO,n~?.HlQ.:llOJ. A number of researchers
                 Lyme disease (3%32,37,109,210j.                       re.<eru-cher. have also      ing .6   6 months of treatment,  trd.tmcnt, 64% of patients showed an                   on
                 found that longer treatment periods    period. provide a better
                                                                             b<xt<r treatment       improvement infatique                          compated with 18.5% in the pla-
                                                                                                                            iq.,fittiquc levels compared                                  p!a.
                 tesponse (TAME
                 response   (U.!ILE 41.
                                      4J.                                                           cebo group. Ace       Tll"e Klempner
                                                                                                                                   Klcrnpner ·study that treated tr.,tcd patients with
                                                                                                        Wttks of intravenous'
                                                                                                    4 weeks              intro.venous ceftriasone
                                                                                                                                           cefi:rinonc followed by 2 months of
                Contrilaity     /Onq-lerm freedman,
                Conlllcting Fong-term        lroalrrl<>nf studios
                                                          rlUd/0$                                            doxyryclino (Feriostattl°,
                                                                                                    oral doxycycline                              CollaGenex), showed no improve-
                                                                                                                                (Pctlosro.t®, Col6Genes),                          improv<-
                Swdlos of
                Studies  oflong-tctm       ttcattncnt outcomes
                             long-term treatment        outo>mes have
                                                                    h""" yielded conflicting ment by those treated             tr..tcd on the outcome measure,  m..Sure, the SF-36 (a
                tesult8. One study
                results.          •tudy by Wahlberg and colleagues
                                                                colleo.gues of 100 patients          sdf-rcported measure of ability to function).
                                                                                      potlents ielf-reported
                with late Lyme disease
                with                 di= in   in the Aland Islands compared
                                                                       compued the length                         Klcmpn.., study has generated
                                                                                                         The Klempner                                          substantio.I controversy.
                                                                                                                                                  genero.ced substantial       controveriy,
                    trd.tment with therapeutic efficacy and found that longer 1LADS
                of treatment                                                                         lLADS has issued                  detailed critique of the design flaws
                                                                                                                         luucd a•.detailed                                     flam in the
                treatment     pcrio<b were
                treo11nent periods              signiJ\cantiy more
                                        Wd'C significantly      filore successful
                                                                       suCceufu1 troll.    S"uc-. study lain.
                                                                                   (l.O!], Sue-                                        commcntarot questioned
                                                                                                                 [211], Another conunentator             questioned,    the   Je<d author's
                                                                                                                                                                              lead   authw's
                 ocssful treatment
                assail     trei.t111enc outcomes         oromcd in only four out of bias in
                                          outco111"' occurred                                                  tn the long-term
                                                                                                                           long-tetm treatment
                                                                                                                                           treotrnent study, notingnotlng that halfwayhillway
                     paticnt'l (31%)
                 13 patients     (31 %) treated
                                          ttcated with 14 daysdays of ceftriaxone.
                                                                        cefuiaxonc. ln               throUjlh the study
                                                                                       In con- through                                lilcmpner commented to the press that it
                                                                                                                            $tudy Klempner
                 traSt,               outo>mcs were seen
                 tease, successful outcomes                                            patient< was
                                                           ""'ll in 50 out of 56 patients            w.. irrational
                                                                                                              lrt.>.tion<iJ,for
                                                                                                                              for any     Lym.c disease
                                                                                                                                   llny Lyme       dlseouc patient to raketo.kc months
                                                                                                                                                                                 montfu of
                 (89%) treated
                          tr••ttcd with atlas:one         fullowed by 100 days
                                           ccfttiaxone followed              da)'$ of
                                                                                   ofunoxi·
                                                                                        surrioxi- antibiotics for        fur persisting symptoms of Lyme        Lym• disease (421. 12121. The
                 cillin (Arricutil®,   G!AxoSm.ithKline) plus probeneckl,
                        (Amoxil®, GlascoStnithKline)                 probenecid, and in 19 problem    ptoblern of bias     bLu in scientific
                                                                                                                                        <!ci<:ntllle studies
                                                                                                                                                      stu&es andand. guidelines is well-  wdl-
                 out.
                 out  of  23    P"tl•nt'l
                                patients   (83%)     treated  with  cefuiaxone
                                                                    arriaxone    followed     by      .known
                                                                                                      known        and    .ii
                                                                                                                           is  an   blue
                                                                                                                                    issue   of   particular   cone.:rn
                                                                                                                                                              concern    in   Lyme      disease
                  !OO!J.m
                   00 dxvi o   o{c4jlc!mil IBam®. l!ri1ml-~uibhl                 uibb)-Dis Oksi .hceou¢jllf~<M!tgrn                        oi:...-™>t~~:,.m.-
                                                                                                        iccatiseraf-rhe-degsee-of-sotatentrion-lstwen-the-two-Lyme
                  ob<erw:d a 9045
                 observed         90% -=llcnt   Car or or gaud    ~nse in
                                                          g«id response     in his,itudy
                                                                               Jili;,study of camps    Ql.lllj>S [!~.                        ·.                              ·



                    Tab!~ 3, Evidence
                    Table 3. Evidcn<:e that antibiotics     suppr~ss but 11ot cra~icatt Sorrel/a brlgfdorferi
                                            antibiotici may supp                                 bull'dotferi infection.
                                                                                                              li:ifection.
                    Study              Comments                                                                                                                                   Ref.
                    Breler •t al.
                    Breier etal.       Despite treatment with four courses
                                                                      C:OU"-"'S of ceftriaxone
                                                                                            n with or without methylprednlsolone
                                                                                                                    ylpredrilsolone for up to 20 days, a• patient        (1~ll
                                                                                                                                                                      r· 001
                                                    ~lcrO$US et atrophicus
                                       with lichen sclerosus                                                            vear. She repeatedly relapsed
                                                                 at:rophicus had regression of skin lesions for up to 1 year.                 relai)'ed despite
                                                                                                                                                        dcspill:
                                                 $Uectssfu! antibiotic treatment; these relapses were
                                       initially successful                                      w.re treated successfully
                                                                                                               suc:<:mfully with a course of
                                                                                                                                           ofthe  l'ame antibidtics
                                                                                                                                              the same   antibicith:s
                                       as previously used
                                                      usl!d ·                                        .
                     Petrovic eta/.
                     Petrov     at             r.peated intravenous and oral treatment,
                                       Despite repeated                      treatment symptoms improved
                                                                                                impt'O'll!d only                           treatmcn~ but
                                                                                                            ohly temporarily shortly after treatment,                              (17011
                                                                                                                                                                                   [1101
                                       r•-emcrged within weeks or months
                                       re-emerged
                     Bayer et al.         patienti; with symptoms of chronic Lyme disease. confirmed by polymerase
                                       97 patients                                                          pdlym<!ra!l<! chain reaction.
                                                                                                                                r.action. Most
                                                                                                                                          Mast of the patients
                                                                                                                                                      parrents had                  061
                                                                                                                                                                                    [111/l
                                             trea~d with antibiotics for
                                       been treated                   farcxt:cnded
                                                                          extended periods of time: It
                                                                                                    'It seems
                                                                                                        ~ems to be characteristic for
                                                                                                                                    far most
                                                                                                                                        most of the patients in our
                                              that after antibiotic-free
                                       study that,       antibiotic-fn:e periods on      month~ they had again become
                                                                                 ofa few months,                   be<::omc increasingly
                                                                                                                            incrcaslngly ill with neurological and
                                       arthritic symptoms, so that treatment had to be resumed'                               ·
                     Ferris eral.
                            era/.      Despite seven
                                               stVtn short-term antibiotic treatments received during a 2-year
                                                                                                          2-)'l!ar period,
                                                                                                                   period, the patient's condition greatly                          .(1711
                                       deteriorated. 12 months of  intravenous followed by 11
                                                                ofintrave'Mus               11 months ofoforal  antibiotics•improved
                                                                                                           oral antibiotics                               gr.,tly.
                                                                                                                             improved the quality of life greatly.
                                       Antibiotics expected to be continued in the long-term.
                                                                                    long-term, until cure or to delay progression of the disease
                           e'to/.
                     Lopez et of              long~term antibiotics (intravenous
                                        With long-term              (intra~rlous. and oral),
                                                                                      or-<'!), patient's  9encr~I condition
                                                                                               patient's. general c:ondition Improved,
                                                                                                                             Improved, but each
                                                                                                                                           c<ich antibiotic
                                                                                                                                                 an'tib1otic course
                                                                                                                                                             eour.;e. was            1[782:
                                                                                                                                                                                    [172)
                                        torlowe:d' by a relapse
                                        followed
       'f                  e~al.
                     Haupl etal.        Th~ patient
                                        The ~t'1ent had relapsing Lyme horreliosis
                                                                        borreliosis with ·c:horoiditis
                                                                                         choroiditis,1 arthritis, carditis,
                                                                                                                    c:ardltis, and
                                                                                                                               arid tendonitis.
                                                                                                                                    te:ndonftis. Repeated antibiotic                    7
                                                                                                                                                                                      [Bl!
        "
        Ii'
                                        treatment stopped progression of disease
                                                                          dis~asc but did not       complt:t~ly eliminate
                                                                                            nl'.;)t completely  -eliminate Sorrell°
                                                                                                                             Borr~lia burgdorferi. Sorrell°
                                                                                                                                                    Borre/fa burgdorferi
       'r:                              cultured from ligament
                                                      llgament sample
                                                                sample:



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                                                                                                                                             Treatment of Lyme disease



           y' Table 4. Benefit,
                       Benefit of longer treatment regimens for disseminated Botrelia burgdorl't!rl infection.
                                                                             Borrelia butydorfori   Infection.
               Study               Comment                                                                                                                Ref.
                    eta/.
               Oksi et of.         Of 165 patients with disseminated Lyme disease
                                                                          dis.ase treated for a median duration of 16    weeks, 32 had treatment failure. [1021
                                                                                                                     1Gweeks,32                           [102]
                                   'We condud•
                                   We conclude   that the treatment of Lyme borreliosis with appropriate antibiotics for more than  3 months may  not
                                   always eradicate the spirochete'
               Oksi dot
                    otal.                        trtatcd for 100 days.
                                   30 patients treated            days Conclusion: the general
                                                                                         ge9cral outcomes
                                                                                                  outcomos of infection     pati•nts with disseminated Lyme R731
                                                                                                               int.ction in patients                           [(73]
                                   borreliosis· after 3 to 4 months of therapy
                                   !synthesis                           thmpy indicate thatt~at prolonged  ~ourses of antibiotics may be beneficial
                                                                                                prolongod courses                        benclidal in this
                                   setting, since 90% of the patients showed excellent or good good treatment responses
                                                                                                                """'"'"'"'
               Donta
               Don ta               Of 277 patients with chronic Lyme
                                                                    Lym• disease
                                                                          disea.., treated       tetra<ydinc for 1 to 11
                                                                                   tre•tcd with tetracycline          11 months (mean: 4 months), 20% w  weree 1,32j
                                                                                                                                                                 (32)
                                    cured and 70%                     impr~d. 10% had treatment
                                                70'lb of the patients improved.             IT.atment failures                 · ·
                Wahlberg et al. Of 100 patients with late Lyme disease,
                         ct W.                                   di..ase, the following success            tn:atmtnt regimens were
                                                                                        su=ss rates for treatment                        en: four out of
                                                                                                                                       seen:
                                                                                                                                 wert ..                     Don
                                                                                                                                                             [IO!J
                                                  tre•ted with 14 days of ceftriaxone;
                                13 patients (31%) treated
                                13                                           ecftriaxone; 50            patients (89%)
                                                                                          so. out of 56 patient          treattd with ceftriaxone
                                                                                                                 (89'!b) treated                    folio~
                                                                                                                                      ctftrial((lne followed
                                by 100 days of arnoxicillin
                                                amoxioillin plus probenecid; and 19 out of 23 patients (83%) treated
                                                                                                                 treattd with ceftriaxone
                                                                                                                               ooftriaxonc followed by
                                             ctphadroxil
                                100 days of cephadroxil
                                                                                                                   YS



                 'Bias
                 Bias ;,    ubiquiwus, and
                         is ubiquitous,            medkal =earth
                                           awJ. medical         research ;,        t;<;c<pt#m,
                                                                           is no exception.                                                  "'1llf>lcs may be performed
                                                                                                    and extensive PCR testing of tissue samples                    perfurmed
                 From the ""'Y      outset: investigator
                              very """"11;  ;.,,,.,#gator biasbim can""' influence
                                                                          i11jl..-:t the
                                                                                      th< gen-
                                                                                           gm-      to determine the effectiveness of the treatment. This    Tbi< is
                                                                                                                                                                   i< not b-
                                                                                                                                                                          fea-
                 eral  4ltitutk towanls
                 1mJ attitude     rowan t a rest!arth       projm &seardi
                                              research projects       Research ;,       itt but
                                                                                 is at its  best                           Stttubingu's dog studies that
                                                                                                    sible in humans. Straubinger's                           th..t examined
                                                                                                                                                                    =mined
                 when
                 whm it testsmt. (or, ""'"'
                                         more ptrcisebs         fa/sifas) hypotheses.
                                                 prtcisely, fithifies)      hypotksts. Th<  The     25 tissue samples pct
                                                                                                    25   tissue           per dog demonstrated that  th..t while 30 days of
                 biased    researcher. how=
                 bitt.rd t=arr:htr.      however. has   h11S preconceived      was
                                                              prt:t:011UiVl!d ideas and       ii
                                                                                        awl. it     antibiotic therapy
                                                                                                                ther:apy may reduce
                                                                                                                                rduce the bacterial
                                                                                                                                              bactetiol load, it doesdOC< not
                          w approach
                  /;kd.y to
                  likely    "1'J'roa<:h a proj«t
                                         a project to t<I prove 4    poi11& For =m.pk,
                                                          prnv< 4 point            example, a
                                                                                            a       eradicate the organism mi.  c«J. Thus, despite
                                                                                                                                             d..pito blinding and =d-   rand-
                  ratarr:I=-
                  researcher who is   ii convinced               parlicuw treamieni
                                         w11vinctd of a particular             trratmmt ter  or,    omiza.tion, outcomes in
                                                                                                    omization,                 in· human studies
                                                                                                                                             studies. suffer from more  mol:'C
                  W(ltse.
                  worse. has a11. vau,i  in~ in it,
                                  vetted irro.,4         it~ could
                                                             cqu/J misuse    ~dmct! to
                                                                     mUu.tt science       tkm~ ·
                                                                                       tu dem-                    t.h:an those in animal
                                                                                                     unccrtti.nty than
                                                                                                     uncertainty                  animaJ. investigations.
                                                                                                                                           invcstig:uions.
                  ottsmit< lh<
                  onstrate        4fitaq of hir
                             the 11=19,        his therapy.       Epudly. an investigator
                                                     therapy Equally              immtigawr            Steiner reasons                                  fucusing on Lyme
                                                                                                                                    humao studies focusing
                                                                                                                reason• that all human                                  4'me
                            prwmai..,d ttq;ative
                  with a preconceived       negative attitude          towtmJ.r a particular
                                                           .mittuk toward;          parm:,,/a,.                           tlucsbold issues:
                                                                                                     disease face three threshold    iS$ues:
                  intervention
                  intenJmJiDn can  tan set out
                                           vta tto  disprovt! its 4fi.cac1 [lO:"JJ.
                                                 o disprove
                                                                           7
                                                                              nos).                  • Which patients should be included
                                                                                                                                     includ<:d-what
                                                                                                                                                —what is  i< the
                                                                                                                                                             tbe definition of
                                                                                                                              what....,
                                                                                                        the condition, and what    are the diagnostic criteria?
                                                                                                                                                           crlterial
                  Although the Klempner klempner study appears to contradict the
               find;                          coll             Wahl                                _
                                                                                                       • Which
                                                                                                         Which. treatment shouldshould""      med -what"'
                                                                                                                                         be tried    —            tbe alhog'Cn..is
                  neli      of Obi and toll
               Dontama and colleagues, this                                   diffcren= iin the
                                               thi< may reflect design differences                          ·r -    yme
                                                                                                                    ¥UlC          . - l It IS Cl              .peters
                                                                                                                                                               perslStcnt          "on,
                                                                                                         how long should antimicrobial            t"""""'1t be continu
                                                                                                                               antlmiaobial treatment              continued?
               studies. Both the Klempner and                            studies ·Wt:re doubl<:-
                                                          ond Krupp studiescere           double-
                        c:onttolled studies, but they each used different outcome • What end point should be established
               blind controlled                                                                                                                 "'tllbwbed ~              •hould the
                                                                                                                                                                — how should
               measures
               m""5Ures (SF-36 ""·                fatigue-severity scale).
                                        vs. the fatigue•scvcri<y        =le). The Obi, Oksi, Wil-
                                                                                             Wal-        "'!><>""'                   complaint! to treatment
                                                                                                         response of subjective complaints              tteatmont be assessed?
                berg and Dontll
                             Donna studies were   W<:te notn.ot controlled. o      ..pit< the cur- He concludes:
                                                                                Despite
                rent fu.cus
                       focus on controlled
                that noncontrolled
                                    control.led studies,
                       nonmnttollcd studies
                                                   si.udiesi it is important ro remember
                                            studi.. often provide more clinically rele-
                                                                                        remetnber
                                                                                                          137ithout
                                                                                                          to
                                                                                                          to  enable
                                                                                                              mahk
                                                                                                                         obj~vt: surrogate
                                                                                                                     an objective
                                                                                                          'Wi"'1ou.t""
                                                                                                                       recruitment
                                                                                                                       m-ruitmmt
                                                                                                                                    "'"""'" (preferably
                                                                                                                                      of
                                                                                                                                      of    homogenous
                                                                                                                                            homogmous       study
                                                                                                                                                             mdy
                                                                                                                                                                            ""'*"
                                                                                                                                                               bwbJgkai) marker
                                                                                                                                                 (prefi:mbly biological)
                                                                                                                                                                    g""'P" ""'1
                                                                                                                                                                    grog's,   every
                vant rreatmmt
                        neatm;;r.Jt   in.fOrmation
                                      information Fiodt.tos.            addition~ variations in
                                                         (lM,10(;]. In addition,
                study sample's,
                               l'I'
                         $.iUil e$, treatment
                                       tr1eatment Lyp....s           dui:ations, and outcome
                                                      types and durations,
                                                                                                          attempt
                                                                                                          attmipt  to  address
                                                                                                                       addros   clinical
                                                                                                                                 dim.c..l ~"'
                                                                                                                                          quertions   in  the  =Im
                                                                                                                                                               realm  of
                                                                                                                                                                      of(omsh   tent
                                                                                                                                                                         (pm{.rtmt
                measures makemo.kc it difficult to  t<> compare thesethes< studies,
                                                                            •rodies.
                                                                                                          Lyme  disease)
                                                                                                                di;ease)   is
                                                                                                                           it "-"•I.
                                                                                                                              doomed      almost by definition,
                                                                                                                                          ainwJt       defin;non,    to leave
                                                                                                                                                                     "' kave   these
                                                                                                                                                                               thtst
                   In a• 1<:ecn.t
                          recent commentary,
                                  commentacy, Steiner noted that         tb.at a central problem
                                                                                                          qt«>tiom (whether
                                                                                                          questions                             prowrol.t are
                                                                                                                      (wh<ther treatment protocols               apprqptiau and
                                                                                                                                                            '-"< appropriate    ,,,,,/,
                with Lyme disease
                                di•case studies
                                           •tudi"' in general, is that the patient group
                                                                                                           wh<th,,.
                                                                                                          whether   th=
                                                                                                                    there  it
                                                                                                                           er ongoing   infection)
                                                                                                                                        info:tum)    unanswered'
                                                                                                                                                     """'1SWffTtd.'

                studied may be heterogeneous, as might be cxp=.d                 expected in the          The existence
                                                                                                               cx:istcnce ohof a heterogeneous patient group suggests   suggem that
                 obsence of accepted
                absence         •=pted diagnostic
                                              diagnonic criteria
                                                               aitcria or biological
                                                                            bi<?logkal tru1tkors.
                                                                                          makers. individualization rather                                                  ~ttncnt
                                                                                                                                                 standardi:uu::ion of treatment
                                                                                                                               rathet than standardization
                 Positive therapeutic
                            ther:apeutic findings
                                             findiDg1i may therefore
                                                                 thercfute have been       m•sked approach may be more effective.
                                                                                     becn masked                                          dJi,etiV<:. Until reliable
                                                                                                                                                                 rclioble biological
               · by biological
                     biologic.! noise
                                    noioe lion.
                                            {107). The lack of     of•a homogeneous popula"popula- markers
                                                                                                        motkcro for the disease are  attJ developed, tb•<C there may be no substi-
                 tion
                 Iron in persistent Lyme disease  di....,e studies is also aka suggested in tbe   the tute for observing the   tbe patient's
                                                                                                                                    patients actual response to treatmenttreattnent to
                 treatment
                 (reatment guidelines promulgated by the IDSA.                                          determine the appropriate
                                                                                                                         apptoptiate duration of antibiotic therapy.
                    Animal studies do not suffer from the same              mne !laws
                                                                                    flaws as those        The other ongoing l.rm•  Lyme disease
                                                                                                                                            dise;se """tment
                                                                                                                                                      treatment study headed by
                 that
                 th•t plague human                     Advan~ of
                                bum= studies. Advantages               of animal models
                                                                                     model.< gener-                Columbi~ University is expected.
                                                                                             gcncr- Fallon at Columbia                              expected to be  bd: completed
                                                                                                                                                                        complcrcd in
                 ally
                 .Uy include the ability to have       Ii.ave a• study
                                                                 !tudy population that is ini-   in.i- 2005. However, if     jf Steiner's conclusion
                                                                                                                                            c.onclusion that valid~lid study results
                                                                                                                                                                                  result.S
                 tially
                 rWly homogeneous and pathogen free,              fice, insure inoculation
                                                                                 in<>GUlation with require a strong                       mark<r is correct,
                                                                                                                  •tt<>ng biological marker            corr¢ct, the debate
                                                                                                                                                                       dcbat< regard-
                 B.
                 13. borgdmferi,
                     burgd<>iferi, and quarantine
                                            qu=ntine against reinfection risk. In addi- ing the appropriate length of treatment for                             fur persistent
                                                                                                                                                                    persi•tcnt LymeI,rme
                               th«!: treatment protocol, the animal
                 tion, after the                                      a.nitnal may be sacrificed
                                                                                          S11ctifice:d disease is not   likcl.y to be
                                                                                                                   n.ot likely      he settled
                                                                                                                                        scttlt!:d soon.


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                Yrvirw.futu~rutt.~m                                                                                                                                                 541
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                   •   Johnson & Stricker


                         Favorable response to           relre~nl
                                                    lo retreatment                                        Role of evidence & consensus
                                                                                                                                   comenSl.1$ In medicine
                        As persistent Lyme disease   dis= symptoms respond to retreatment      reucattncntTh amount of attention evidence
                                                                                                          The                                          -based, medicine has garnered
                                                                                                                                             eviden°'"based.
                        with antibiotics, investigators have argued      o.rgucd. that   these   symptoms is disproportionate ·tO    to the relatively small role that it plays         plap in
                         can only be causedco.used br by  ongoing      infection.   True   post-infectiousmedical practice. Most medicine, even that which is widely
                         ")'lldrom"' do not respond to repeated antibiotics [lZJ.
                         syndromes                                                              Pt When   accepted, is not based on rigorous scientific              studies. The Institute
                                                                                                                                                        scientifkstudies.
                                                   ancimicrobhll treatment is generally followed
                       . symptoms persist, antimicrobial                                                   of Medicine (IOM),(!OM), which has prepared national standards for
                         by clinical    im~mem mum
                              £linictl improveHment                     Rclapsing disease
                                                                    5). Relapsing
                                                           (171BLE 5).              dis= is   i• obvious
                                                                                                 obviow: to            devdopment, considers the hypothetical data set
                                                                                                           guideline development,                                                       sot forth
                          the treating.    hysician and
                               tteo.tingphysicirut      "nd patient and generally responds to min-         in,
                                                                                                           iq FIGURE f indicative of how
                                                                                                        rein-                                       scientific evidence and consensus
                                                                                                                                             bow sautofic                             cot1SenSu.•
                          stitution of therapy 1851.
                         stitudon                   I•)). The trial and>nd error approach
                                                                                   approadt in medicine    might be distributed
                                                                                                   mediciltc                           ocross the entire range of healthcare
                                                                                                                       dlrulbuted across                                   healtb<ar< services
                                                                                                                                                                                         $Ctvi=
                                                    instan~ phfsicians
                          i.s a constant. For instance,
                          is                                      physicians may tittate
                                                                                       titrate medication  1117].
                                                                                                           1/14.  Medical      <ervices,
                                                                                                                               services,   furfor
                                                                                                                                                which     there   is  strong
                                                                                                                                                                      stro1tg    scientific   evi-
                          doses
                          d°""" toto. find  a• level that works best for    fut a patient and may try      dence, constitute only 4% of total medial
                                                                                                        tty a                                             medical services
                                                                                                                                                                      servia:s provided, yet   yec
                          variety of different      tmttment approaches
                                        dlffurent treatment        approoches before finding the one        51
                                                                                                            51%%  of
                                                                                                                  cif services
                                                                                                                      seivices   h•vc
                                                                                                                                 have   poor   suppor:tlvc
                                                                                                                                               supportive     scientific
                                                                                                                                                              >cientific    evidence,     or even
                           that is the most
                                        rnost effective     (109J, If
                                                ellCctlvc tio,     If a patient presents with an infec-              mtkdy. Cindy,
                                                                                                           lack it entirely.
                                                                                                       infec·                    Oeady; the bulk of medial     medical practice is about
                           tion.
                           tion,  responds     favorably
                                               &.vorably     to  antibiotic    treatment,    tdap""'   wbcn
                                                                                             relapses when  managing uncertainty in the absence                  dellniti"" research,
                                                                                                                                                  o.bsence of definitive        ruearc:h. r21.3).
                                                                                                                                                                                            Cm).
                           the treatment is    t. withdrawn       and    responds favorably
                                                                   and· "'"ponds     favorably wbenwhen the    A recent ankle
                                                                                                                           article indicates
                                                                                                                                    indicates    that  only   20%     of   medical     practice   is
                           treatment is
                           treatment       reinstituttd., there
                                        is reinstituted,     thete ist. empirical
                                                                        e1npirictl evidence of an iMec-     confirmed. by rigorous scientific resG>.rCh
                                                                                                            confirmed
                                                                                                       infec-                                             research tit (llBJ. Although some
                           tious process. 11lls
                                              This is.is not experimental
                                                              c:x:per.itncnttl treatment -— it is js the wayargue that this porcentage
                                                                                                                                percentage is  l• unduly P""'imistic,
                                                                                                                                                              pessimistic, it is agreed
                                                                                                                                                                                      o.gtecd that
                            infection ha.
                            inrection  has been treated for   fur years
                                                                   yco.rs 11
                                                                          11101.
                                                                            epl.                            medical practice
                                                                                                                       pn.ctice is often not based   b"'ed on controlled
                                                                                                                                                                   contmllcd studies•tUdics (2141.
                                                                                                                                                                                              (2t4J.
                                                                                                                  mmple, matty
                                                                                                            For enunple,                 well~ptcd practices,
                                                                                                                                many well-accepted          pr=dces, like cardiopulmo-
                                                                                                                                                                                  wdlopulmo-
                          Standard
                          St(l!l(k;(d of Core for beefing
                                         oore lor hGatlng tymo
                                                           lytM disease                                      nary resuscitation,
                                                                                                                   resusciration, close        obsetvaclon of suicide risk
                                                                                                                                        dose observation                           tisk patients,
                          Role ofof""'~
                                    evidence & h consensus1n
                                                 C<>meM!n.ltl the       .rtandatd of
                                                                 lh<l standard      or care
                                                                                       car"                  blood transfusion,
                                                                                                                    tl"'Jl$fuslon, surgical treatment of low back pain,                         tire
                                                                                                                                                                                   pai11, and the
                          Historleilly, the physician's judgment has taken the laboring tt<>Wnont
                          Historically,                                                                      treatment of      meningitis with antibiotics,
                                                                                                                           ofmcnin@tls               ruitibiotia, have no rigorous and
                          oar in medical
                          oor      mcdjctl decisions.
                                            decision.. This is reflected
                                                                  rdlea:ed in the legal standard little noti.tigorouHcienceto
                                                                                                                   nonrigorous science to support their                     (119~1"1. Similarly,
                                                                                                                                                               thoir use (119,2141.     Simibrly,
                          for determining standard
                                             sra1tdord of care
                                                           catt that is  ls determined
                                                                            d¢termined by the clm- cbn- . most
                                                                                                             mast advances          s1u:gety result
                                                                                                                   •dVllnCI" in surgery                         ditiical innovations
                                                                                                                                               re<ult from clinical        inno""tion• on        the
                                                                                                                                                                                            on.the
                          $Clt!us of professional.                           community, Since the
                                       professional judgment in the community.                       d1e part of the treating           ph)'sicllul, and the off-label use of prescrip-
                                                                                                                             t@ting physician,                                           prcscril"'
                           1950s,s, however,
                                    hoWcver, radical fur<$       dunge have swept the mcdk."1
                                                      forces of change                          medical don  clon medications ls      is wdl
                                                                                                                                          well accepted
                                                                                                                                                att<:pted limb        Th0$C practices
                                                                                                                                                              U<>:ll· These      p1>cticcs show
                           field, including
                                  i1tduding the   introduction and
                                             tho i.t1ttoduaion     OJ'.!d increased use
                                                                                      u.<e of control-
                                                                                               control· how dangerous
                                                                                                                   da.upus the leap      l"'lp ls from 'without substantial evidence
                                                                                                                                               is from                                   evidence'
                                            medic.I l'research
                           led rnidies in medical      CSCatch. and
                                                                 attd thedte increased    inl:luence of to 'without substantial
                                                                              i11creased influence                            subslll!ltial 11111ud
                                                                                                                                             value' {2t4J.
                                                                                                                                                     Pit
                           th• m<Ulagl!d     =• industry
                                                indwitey on thethe. practice
                                                                    pratice of medicine. In this     dili       There is iii a tendency to overvalue the quantitative qua11tirativc approach
                           conicxt, it is lmport:Lntt to understand
                                                          un<krsw>.d the    dte relative
                                                                                 relatiw roles       evi· of randomized controlled studies (that may be !lawed
                                                                                           role.i of eel-                                                                                     fo.ad·
                                                                                                                                                                                 flawed or Mad-
                                                             d
                           dence OJ'.!d ml;)sensiu iJt 11:tedicine,  , the risks and lltd benefits of            nate for rom:'' Ju       multimi tc
                                                                                                                                    lett multivad       te ilfo: es ·and     d m di          nde
                                                                          that each of these has              qu<intit Yi:: (but °frequently
                                                                                                                                        frequently more
                                                                                                                                       ·fu:quently      mole aappropriate)
                                                                                                                                                                 appr6priate) •ppro•ehos,
                                                                                                              su.ch as
                                                                                                              such      obsetvatitmal or longitttdinal
                                                                                                                    u observational             longitudinal studies 11141.    tz1<1. Gornto
                                                                                                                                                                                       COnttolled

                              Table s. Favorable response to Barrelia
                                                             8DIT1!1ia burble
                                                                       bu1gdorli!rirctreatmcnt.
                                                                                       eatmen
                               Study               Comments                                                                                                                                    Ref.
       '1    j'                Krupp               28 patients with persistent Lyme disease in a double-blind placebo-controlled study treated with intravenous
                                                                                                                                                     intravenous                               (lllill
                                                   cefb  iaxone for
                                                   ctftl'iaxone for 44 weeks showed aa 64% improvement rate on self-reported
                                                                       weeks showed                             sclf•reportcd fatigue scale versus 18.5% of the
              '                                    plate%)
                                                   pla~tbo group

                               Fallon
                               Rlllon              18 patients                       intravenou~ intramuscular or oral antibiotics scored better
                                                      patients retreated with either intravenous,                                         b•ttcr on overall and individual                       17741
                                                                                                                                                                                                    31
                                                                                                                                                                                               1tl7'1
                                                   measures of cognition. Those
                                                   measures               Thos;; retreated with intravenous antibiotics showed the greatest improvement
        1
  '      1''                   Oksi etal.
                                    etol.          13 patients with clinical    relaps;; and Borretip
                                                                      di.ni<:al relapse        Borrelio bungdorferi
                                                                                                        burgdorti:ri culture or polymerase
                                                                                                                                 polymcras;; chain reaction positivity
                                                                                                                                                            positlvitY were                     (1731
             \!'                                   retreated
                                                   retrl:ated for an
                                                                  an additional 44 to 6 weft
                                                                                           weeks with intravenous     11ntibioti(S. with a good response in nine of 13 (69%)
                                                                                                        iittraV<!nous antibiotics,                                      (69%)
  ' 'II'                       Done
                               Donta               98 patients retreated with either tetracycline,
                                                                                          tctraCV"linc. a combination of maerolidr
                                                                                                                             macrolidc and hydtoxychloroqulne,
                                                                                                                                             hydroxychloroqulne, or intravenous
                                                                                                                                                                     lntmvcnous                 (1:l'l2l
                                                                                                                                                                                                    2511
         UL.                                       ceftriaxone
                                                   ceft1faxont showed
                                                                sllowed a cure rate or significant improvement of 98,74    98, 74 or 8516,
                                                                                                                                      85%, respectively
            ll.'
            r::                Lawrence
                               ulwri:nce et at Despite aggressive
                                         eta/.                             intrav~nous antibiotic therapy,
                                                       aggressivt oral and intravenous                           exp~rienccd repeated
                                                                                                  thmpy, patient experienced repc•ted progressive neurologic                                  · (l7sJ
        I,/'I                                  relapses. Patient now on oral clarithromycin
                                                                             elarithromydn for 22 months with no new symptoms or deficits
                                                                                                                                    delidts     ··
         \! ,'                 Masters
                               Master.;       Pati<~nt treated with high doses of penicillin
                                              Patient                                  penidllin for 6 months:
                                                                                                         months; he relapsed and spirochetes were subsequently cultured
                                                                                                                                                                      cultu«d                   tifci
                                                                                                                                                                                                117'1
         I,1·1                                from   hi~ b14'¢d.
                                              frorn his              p~th~n~ was
                                                         blood. The patient   w.()s placed
                                                                                    pf.aced back
                                                                                            ba<:k on antibiotics         respond~d to therapy
                                                                                                       antibiotic::s and responded     then;ipy
         1]:•
      ' ;1,i:\                 Cimmino et
                                       eta{,                  ~·1th chronic Lyme
                                          at. Two patients with              Lyrne arthritis resistant
                                                                                              r1::sistant to the recommended antibiotic
                                                                                                                                 antibiotic: regimens       c:ur~d by long-term
                                                                                                                                             rr:gimens were cured     long·term                 ti74
                                                                                                                                                                                                [ti?)
         '· ,.                                rctn:~atm(.':nt with benza
                                              retreatment                thine penicillin
                                                                   bcni~rthine  p~nidllin
         ''"



         '                   542                                                                                                                                Err    f a AnS-Afert her.   2(4). (20041

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                                                                           Treolment of
                                                                           Treatment  ol Lyme disease
                                                                                              dJseas&


             studies attempting to document the actual                                                                                                              iv
             effects of ordinary clinical care
                                            Gire arc
                                                 an: a rela-
                                                       rda-                 0%
                                                                            Oo/a
             tively new phenomenon [106).
             tlvdy                         UK. Moreover,
                                                 Mon:over,                  8.t/P.     .evil!J.i~ ·
                                                                            S_tf!!ng RY10ertcP
                                                                            No   Mnsi!nsiJs
                                                                                   fIriserirs
             the actual situations           fur controlled
                         si.tuations calling for wntrollcd                  0'%' ...•......
             studies may be quite limited.                                  Jlllldei'
                                                                            Skidotate      ""11(!~­
                                                                                     ll1;1 evident%
                                                                            N~~lill:
                                                                            No connutinua
                 ~far
                Tiernan&          equip<>iJe make controlled
                              for equipoise              controlkd                                                   No c'vidr".nce                    No evi
                                                                                                ,,.                  Strong coos'                      mor.;er.
                trW.r "}propriat<
                trialr appropriate only in lht          llhsem:e of
                                                   the absence     ef                     '

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                any ~bed                       st"""""1J treat-
                        well-establnbed standerd              l'IW--
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                 trtatmmt; thffJ ~ ""'
                 trearoten;     they   may    not corrobonur
                                                    corrobrmttc it
                 with [a[a ,.,;,,;,,'fl'dr.bi controlled
                              randomized       c1mmilltd study)
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                 "'4t   .,,,,../J ""1ttj
                 that would       deny the lht in~
                                                 intervention to   w
 :   .           tiimt  suhj«lf in the
                    me n4ects           lhr: control
                                             eontrol arm.r:rm of lht
                                                                  the
                 sew     [tab
                 "l«iy'{l!>,1].
                                                                                                                                                            klockrele
                 There is also a tendency to devalue                                                                                                        Modorole cenucnoa
                         types of qualitative evidence as
              certain cyp.:s
              anecdotal, notwithstanding the met           fact that
              historically:most
              historically    most medical research W1IS      was of
                              kia9J. The cumulative weight
              thi• nature [109),
              this
              of anecdotal "''idcnce
                                evidence can be substantial. Figure 1. Pte:~nt.89-: of rn~kaf practice                                   evlilkt'ltt:: and concensus.
                                 •                      y            •
                                                                                        Percentage medical pr~ct. based        ba~ on evidence              Q'..lncensus.
              Take~ for
              Take,            1n$tance~ the
                        for instance,           the information
                                                       1nformat1on Based  Based onoo estimates
                                                                                       t"::Stlmatts prtwided    tti~ institute
                                                                                                             by the
                                                                                                    preMded by       lnstitutt of Medicine.
                                                                                                                               Of Medicine.
              gleaned from aggregating isolated ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                          drug event reports
              adverse driig                   repom · or outcomes
                                                             outcomos research, which be evidence-based f,214).                      rai41. When guidelines,
                                                                                                                                                          gajdelincs, like those from the
               as•esses the effectiveness
               assesses         cffceti'f<:'1CS$ of 9f particular medical practices in IDSA,               IDSA. stare                                compelltng evidence, the question
                                                                                                                      state that there is no compelling
               the "'al     world,
                     real world      by     pooling     large   numbers         of    comparable           is,  what    type    of evidence?        If  the answer
                                                                                                                                                             am-r, is controlled studies,
               patlenu (1091.
               patients    [1••1· Many believe this type of outcomes research then this is hardly                            lwdly a.. surprise. Given the limited     limired circumstances
                                                                                                                                                                                  drcumscances
               may be he more meaningful than        tbo.n controlled trialsrrials because the in which controlled                       stu&es are appropriate and the cost con-
                                                                                                                          eontrolled studies                                                  eon-
                                                                                                                                              . .
               ef&ctivcness
               effectiveness     of  the     medical      raetiee
                                                          ractice    is  measured         in   act         strain
                                                                                                            sttain         sii
                                                                                                                           su           '     ·   ·        ·                          ·         ·
               practice settings (109).
                                      rm. T    T e cumulative ...!ucvalue of anecdotal
                                                                                  anecdor:d evi- of         l>f medicine
                                                                                                                m):ildnc will be supportedtuppattcd by controlled studies in the                th.c
               dencc is also
               dence        oho presumably the reason why ph                          ician profi-
                                                                              physician                     fo~cable future.
                                                                                                ptofi- foreseeable
                ciency in an area may be predicted based          b<ttd on the volume of              qf       In practice, evidence-based medicine is intended to                                ro
               similar cases
                          cues treated [109].U09J,                                                          enhance the practice of medicine by integrating the medical                   mcdieal
                   Similarly, evidence immediately available   ava.il.o.blc from the patient's
                                                                                             patient'• professional's             ""P'!'ftls• and the patient's light
                                                                                                             professional'• expertise                                          ·tight to choose
                history, clinical examination, presentation  ptcsen!lltion of symptoms, symptom•, between diagnostic and treatment options with the best
                oourse of disease, and response to treatment may
                course                                                         l'U.:t)' also be dis-dls- available external clinical evidence from systematic               sy;tcrnatie research
                counted botl\by
                            both.by guidelines that do not take these factors                                pai,1221. The best available evidence
                                                                                        factou into (121,1221.                                         evidenco means simply that       that- — the
                consideration"
                consideration      and    by    insurance     review    processes        that   deter·
                                                                                                deter-       best   evidence      available.
                                                                                                                                  aw.Hable.       It   may     come     from    a  wide  range    of
                mine the necessary
                               necessary- level of medical intervention without sources                      soutces as diverse
                                                                                                                              divel'$e as well-conducted randomized       randomlZ<ed trials
                                                                                                                                                                                          trio.ls or
                examination of the   d\e patient. Yet thesetheoe are all viral pieces of evi- expert opinion [Its].                (U3],
                 dence upon which the practice    pmctice of medicine depends. del"'nds. Guide-                 If a• relevant, well-conducted randomized trial does                     docs not
                 lines '(and
                       (and insurance comp'aniescompianii:s that
                                                               chat rely on guidelines to resolve tho                   the 1&$ue,
                                                                                                                              issue, the next
                                                                                                                                           n¢l<t bestbC\lt available evidence mar    may be long-
                                                                                                                                                                                               long,
                               rrurmr:nt or treatment reimbursement dccWons)
                 determine treatment                                                       decisions) itudinal
                                                                                                             itudiMI or observational
                                                                                                                               obscrwtional studies. studl.... If these do not provide the
                 have the necessary effect   effi:ct of suppressing
                                                         iuppressing physician expertise, answer, expert                 m-;pert opinion or clinical experience   cxpedencc may provide the
                 which is further compounded by state independent       indep<mdont aternal   external ,best  best aw.ilable
                                                                                                                     available evidence. In the treatment of complex              r:omplex multi-
                  review board decisions to the extent      oxtent that the reviewers, in variate a>nditionst           conditions, when treatment outcome studies are                     :ltc lim-
                 {um, rely on practice guidelines to
                 (urn,                                       ro frame their decisions [llOJ,       Nob ited and conflicting, the most valuable evidence                    eviden<=<> in fact may
                    The truth, is that thererhcre·isis no bright line separating
                                                                          "'parating evidence-
                                                                                            evidence. be the clinical   dinical course of an individual patient. For instance,
                  based medicine from othcr            medicine. All medicine is b
                                               other medicine,                                 ..ed on patient response to levodopa
                                                                                              based                                                            cotuddeted an important dis-
                                                                                                                                          levodop~ is considered
                  evidence, but only a small portion of it is based        b"5Cd on controlled criminative    1;rim,inative feature suggestive of Parkinson's disease. Simi-                   Simi ..
                  studies. Even proponents of the evidence-based  °"idence·based medicine larly,              l~dy, in the context of the individual     individu•l patient's clinical pres-
                        ment embrace 'compelling
                  movement                     'coml"'lling nonexperimental
                                                                noncxpcrimental evidence' entation,           enu.tion, antibiotic            responsiveness may be suggestive of
                                                                                                                              :antibi,otic te.$ponsivcness:
                  when trying to bolster the percentagepercent.age of medicine
                                                                          mcdidne claimed ro           to Lyme4'me disease.
                                                                                                                       dise..,o.


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  ,.
':•:,                       Stricker
                  Johnson & Striae!'


                        While the IDSA guidelinesgucidelinei would leave patient symptoms
                                                                                      sym,ptoms                    of the insurance company's inherent conflict of interest,
                    -— except as reflected in quantifiable tests      tem -— completely out of                      namely, making more          rno.:e moneymoney· by denying further care.                  car~.
                     th-e: emiation,
                     the   eqt.iat:ion, .it.    impo~t:a.nt to
                                         it is important    to· recall the phrase,  .'all that can
                                                                           phr:ase, 'all                            Because of this, payer             guidelines, even those shrouded in the
                                                                                                                                             parer.guidelines,
                          rne.a;sured m:iy
                     be measured        may not      ha'VC value, and all that has value may
                                                no1: have                                                           iura of science ·and
                                                                                                                    aura                     and objectivity as evidence-based
                                                                                                                                                                             evide.nce-bascd medicine, mcdicine1
                                measured'. The
                      not be measured'..              recommendation in the IDSA guide-
                                                 The.reconimend>tion                                                :are -viewed
                                                                                                                    are    viewed as less authoritative
                                                                                                                                               autb.oritativc [1321.   [ll2].
                             thot .pati~nts'
               • ·,. lines that                  •ymptoms of
                                    patients' symptoms                       distcgardcd in the
                                                                  relapse be disregarded
                                                              ofielapse                                                 The problem of bias        bi:u can result from a• number of other
                      abs~nce of
                   · absence      6f "objective
                                      ·•objective measures'            tant~mount to
                                                      meriu.res:' is tantamount      to· asking
                                                                                          :\s:king a                 factors, including entrenched ideological beliefs and profes-                          profes'
                      s.urgcon to
                      surgeon     to. operate
                                       operate, with one  one. hand tied behind
                                                                            bdtind their back.                       sil'nal territorial considerations g35].
                                                                                                                     sional                                                [ll5]. Guideline developers
                      Many conditions
                      Many.     oonditlons (Such                           disea.c, Parkinson's
                                                            Afahcimer's disease,
                                                 ($uch as Alzheimet's                 Pad<lnson's                    necessarilymakc choices: whose views arc
                                                                                                                     nacessarilymake                                                are represented on the
                                                seh~rosis and
                      dis•"'•• multiple sclerosis
                      diseases                                   psychological disorders) lack
                                                           and·psychok1gicil                                                       con\mittee, which
                                                                                                                     drafting committee,                                             indud«l and how the
                                                                                                                                                                   studios are included
                                                                                                                                                     wlii.:h studies
                       biologicol markers
                      biological     m:irke.rs and~ind therefore
                                                        thetcfore rely heavily on presenting
                                                                                        prosenting                   studies are  ""' interpreted [1271.                       guidd.ines conclude that
                                                                                                                                                           [127]. When guidelines                                ihat
                      symptom• for
                      symptoms               diagnosis. Evidence is sparse,
                                      for cdiagnoslsc                    sparse,. and none of it                     evidence is or is not convincing or compelling, the appropri-
                       shoul.d be ignored,
                       should        ign:Oi:ed,                                                                      ate question is,     is to whom?
                                                                                                                                                   whom/ ,Whe·n,  When, as is          more often than. not
                                                                                                                                                                                  i:s: ·more
                                       .·.. ··
                                                                                                                                               1

                                                                                                                      the case, the science is                                              conflicdngj 'there
                                                                                                                                                          n.;11.rrowi limited and conflicting,
                                                                                                                                                     ii;· narrow,                                             ~there
                    Role of
                    ROie       evidence-besed guidelines
                            of"-"'ldeno~d                                                                                           inajor leap between what the evidence lays out and
                                                                                                                      cm be aa. major
                                                                                                                      can
                    Unlike Lyme  Lym~ discasei,
                                           disease" which was                 dis<overed until the late
                                                                 W"5 not discovered                          l•tc what the           guidelineuuggcst'
                                                                                                                               rhe guidelines,       suggest' 12151. (215].
                    l.970s,. ;he·
                    1970s,       the' treatment            protocols of many diseases,
                                         trc>tment protoool"                              diseaseo, such as     "'        Evidcnce-ba,;i;d protocols reflect value judgments about the
                                                                                                                          Evidence-basiid
                    tubereido$is,, were .e•iablished
                    tubereitiosis,                  established long ago    •go and have   h•ve been better relative importance of health and economic coutcomes                             IQUtconu:s in spe-
                    able to to· weather
                                 we:ith·er the
                    ushered in by managed care.
                                                 ~c: onslaught
                                                      ~)nsla:u:ght of cost-containment
                                                                         cost-cont:iinmcnt measures cific clinical
                                                            atre. With newly discovereddiscoverod diseases
                                                                                                                             clinico.l situations. The question is whether these issues are
                                                                                                       dis...cs being examined  =mined from the perspective   pc1$pective of the insurer, the patient,
                                                                                                                                                                                                                   =
                    like Lyme disease,di•=• .burgeoning
                                                     burgeoning treatment approaches   approaehcs do not the healthcare      h..Jthcarc provider,
                                                                                                                                             pi:ovidct, or society at large         lrug<: -— in              wonls,
                                                                                                                                                                                                in· other words,
                     have the luxuryluxuty of    ofulllfulding
                                                     unfolding over ovet time unfettered by outside whose interests              inter"'" dominated the           tbe drafting
                                                                                                                                                                       draliing panel? Nor     Not surprisingly,
                                                                                                                                                                                                       sutptisingly;
                                      influen~•· Physicians treating
                    economic influences.                                  tte..ating these newer mala- conflicting guidelines           guidelin"'·""'          common, Mt
                                                                                                                                                         are common            (!MJ. To overcome
                                                                                                                                                                                             ovi:rcome the ten-
                     dies may moy have a hard time holding            holdi~g out for the goal'        go.J· of dency toward                bi:u and to insure that a broad body of evidence
                                                                                                                                 t""""1'<1 bias                                                             evidonc:e
                     improving long-termlong·tcttn health outcomes. Deeply entrenched is fC\'iewcd                         reviewed by the drafting panel, the !OM                            recommends that
                                                                                                                                                                                      IOM ,Ocommends
                     viewpoints
                     viewp<>lnt• develop dc.:clop quickly in this environment, and eco- panels                         ponels include a• diverse group of stakeholders that may be                                    h<:
                     nomic battles may be fought by experts wearing                 W<:aring whitewhl;. coats. affected by the guidelines      guiddin°' -— treating physicians,   physici.o.ns, patients, and     ond
                          Certaioly, the treatment
                          Certainly,               tt«1tmcnt controversy in Lyme disease hz                            tcsearehers gin.
                                                                                                               has researchers          [117]. ·
                     h<:cn framed by cost-containment
                     been                          coot-containment issues, with some of                  of the           The panel drafting
                                                                                                                                           dr.fting the !LADS    ILADS guidelines included    induded primary
                      research appearing "'
                      =Ch                             to be little more than           dl'.CSS<:d up
                                                                              th"'1 dressed        np actuarial
                                                                                                       acturuial care  core clinicians, researchers, community healthcare providers,
                      tables [t~<IJ.
                                  at]. Early on, guiddin.s                        trcatmept of Lt!"• dis· and patients. ffi oonttast. the IDS~ dis! not @licit jgpnt ®oo
                                                            "delthet for the treatment
                      rase
                      case were
                              we<0 being writte   wrkten by actt:Wial firms, all           su.:h as Milliman patient '"°up•,       *ups, nor from the physicians       phyi;icians who treat the major"

                      age
                      ogc costs,
                            cost<, not
                                     not=     care [psi.
                                                     1m1.lt It has !»en
                                                                       =
                      and Roberts, whom a•:ritics """" an hired to help insdrers
                                                                        n observed that if money
                                                                                                 ins         man· ity   iry of patients
                                                                                                                                  paticnu with
                                                                                                    mon were ,are members of the IDSA 1216).
                                                                                                                                                      persistent Lyme dice
                                                                                                                                              with·.pcrsi$tent                    dis·ease ~even tho$c :who
                                                                                                                                                                     f216). When faced with divi:rgent
                      not an issue, thcl:'c  there would               tt~ttncnt controversy iin Lyme ' opinion regarding
                                                     would· be no treatment                                                           tcgarding the treatment of              of petsistcnt
                                                                                                                                                                                     persistent Lyme dFlraee, diSea.e,
                      di=<e 926).
                      disease     (126).                                                                                tho !DSA
                                                                                                                        the            panel purged its
                                                                                                                              IDSA panel,                     i« sole dissenting member (um).            (200). More-
                           Recent reviews
                          ·Recent       reviews· of    c,f practice     guldt:lincs have shown
                                                            pN.cti:ce guidelines                    $hown that ovet,    o\'el, 11 of the 12 authors    aud1ots of the guidelines were prlmiUily             primarily
                       most fail      to. meet qwlity
                                fall "'"             quality standards gm,     [1271. and that guidelines                            scientim with little or no experience
                                                                                                                        tt:Search scientists
                                                                                                                        research                                                                              p~ticnts
                                                                                                                                                                                cxperiencll:I treating patients
                       produced by specialist  speciol.ist societies are arc generally
                                                                               gener•lly of poor quality  qu.:lity with persistent
                                                                                                                                 pcroistent Lyme disease gam,          [< OOJ. Panel members who do nor               not
                        rmJ. At their best, ...
                       9zsi.                                 idcoce-b:ued guidelines represent
                                                          evidence-based                           repr.. ent an spend their days          da)'S •=ting            patientS may fail
                                                                                                                                                   treating patients                     fuil to grasp
                                                                                                                                                                                                   gri.sp either the  tbe
                        unbiased summary of the relevant research for                        fot the physician
                                                                                                      ph»sician complexity
                                                                                                                         eomplcxiry of the illness that is not reflected                rc!lect<d in controlled
                       who is  l.$ too busy to .~ele(;t select and review the fe.Jj~r.tu;;:h         pcrson;ally. studies or the seriousness of failing to treat
                                                                                        research personally.                                                                              treat: a:a patient
                                                                                                                                                                                                     padc:nt Wjthwith aa.
                       At their
                             tbei.t worst,
                                      wom, such guidelines represent attempts,              attempt:,, of third progressive
                                                                                                                         progr...,ive systemic illness.
                        parties to influence
                                          influen011 the medical mcdic..t decision-making process.                          Signiflcantly, the goals of
                                                                                                                            Significantly,                              rosearch •nd
                                                                                                                                                                    of research               rreatment a.re
                                                                                                                                                                                        and treatment         are very
                        Indeed, some critics    critiei; contend that guidelines are           arc used prima- different. Like surveillance, the goal of research is to err                                 m on  on the
                        rily to ration care and                          d~ctor's autonomy and judg- side of exclusion
                                                      a11d limit the doctor's                                                        e>:clusk>n to insure a homogeneous study                   smdy population.
                        m.enr in providing for his or her patl~nts
                        ment                                                 patients what the      tbe patients
                                                                                                         p•tients The    Tho emphasis on measuring  measu.ring re.sultsresults .based
                                                                                                                                                                                  based on reliable          objec::cive
                                                                                                                                                                                                   tellable objective
                       .actually
                        11.ctnally need [mi.    lmJ. As the foregoing suggests, the key issues criteria also makes                         makos sense in this context.    contcx:t. The        f.tct that tho.le
                                                                                                                                                                                          Th.e fact          these cri-cri"
                        in treatment                          are
                            tteatmcnt guidelines are conflict of interests            inmem and bias      biM on teria   «;ria m•y      exducle a sizable
                                                                                                                                 may exclude           siz.ible portion
                                                                                                                                                                    ponion of patientsplltients who have the ill·       ill-
                        the part
                              pa.rt of the panel  pand me1t1bers.
                                                           members.                                                      n..,.
                                                                                                                         ness is not an       issue fur
                                                                                                                                          att issue                         purposes. Treatment goitfa, on
                                                                                                                                                               res<arch pu.r.poses.
                                                                                                                                                        for research
                           Between 72 and
                           B•""""'n              ond 90%
                                                       !10% of physicians         writl~ diniotl
                                                                  ph)'ili<i•iu writing          clinical practice
                                                                                                          pmctice the other h:ut.d,    hand, err ctt on the        $~de of inclusion
                                                                                                                                                            th6 aide         indlJ.:gjQn and overdiagnows
                                                                                                                                                                                                    ovcrd.ia(!;ti,Qiii:s to
                        guidelines haV<:             undisdoS<:d conflicts of interest [130,1$1].
                                           have undisclosed                                               n30,011. insure that serious     .serious conditions
                                                                                                                                                         conditio(')S are not left untttac:cd.   untreated. When
                        While most .of
                        'X'hile              of the fucut
                                                        focus ha..."i
                                                                has been on conflicts
                                                                                   c.:onfli.c.ts that arise
                                                                                                        :ari.se as a research
                                                                                                                          tcsearch. criteria such suoh a;   as reliable objective
                                                                                                                                                                             objectivo m       ....uru arc
                                                                                                                                                                                             measures      arc applied
                        re!iult of pharmaceutical ties, conflicts
                        result                                           conflic~ f¢Su.lting
                                                                                         resulting from tics    ties to treatment              protocols, treatment goals are not met and
                                                                                                                               trcatlt'l.ent protoeols,                                                                M.d
                        with the insurance industry also              olso pose •a serious risk because patients am                   are left untreated.
        ''
        I:;!
        '              544                                                                                                                                                       Even Rev Anri4.,sfpn, Then 2(4),    (2004)
                                                                                                                                                                                  Liberty002353
                                                                                                                                                                                  Uberty002353
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                                                                                                                                                                               Tmatment of Lvme
                                                                                                                                                                               Treatment        dlsaase
                                                                                                                                                                                           Lyme disease


                       The IDSA guidelines recommend that symptomatic                                                       Notwithstonding the rise in evidence-bo;cd
                                                                                                                            Notwithstanding                             evidence-basal medicine, the
                   patients not be treated because 'there are no convincing pub- emphasis                              crnph..is on   on•a community based standard of care               a.re is not likely to
                   fished data' evidencing the efficacy of prolonged treatment
                   Ji,hed                                                                            troatment change. A survey of legal actions found that guidelines                   guiddin., plaY"d played a•
                   or retreatment.
                         rettcatment. In making this assettion,          assertion, the IDSA fails to relevant          rdevottt or pivotal role in determining negligence in less                       le" than
                   consider scores     score. of   <>f studies
                                                       studi.es evidencing persistent infection, 7% of malpractice                  mitlpractice actions                 Guidclin.., also appear to be
                                                                                                                                                                 Diu. Guidelines
                                                                                                                                                     ocions 11<1).
                         ,
                   inclu
                 · including   n
                               d  ing   t}iose
                                        tjiose listed     in TABLES
                                                  listed in              "~.
                                                              TARI.ES•4 44      Not surprisingly,
                                                                           s. Nor      surprisingly, failure
                                                                                                           failure      underused in clinical practice,    prnctice, su!!l!"'ting
                                                                                                                                                                         suggesting that their role in
                   to consider all relevant
                   !o                             relevani evidence is one of           of the pitfalls the shaping consensus may be limited ptsl.                         111~1. In p<U"t,
                                                                                                                                                                                       part, this reflects the
                   !OM
                    IOM warns     w.ttns against when guidelines are             arc drafted
                                                                                      drafted. by narrowly , realli:atlonrealiXation     that,  like   expert     t0$dmony,
                                                                                                                                                                  testimony,      the    seemingly objective
                   drawn panels,    panels. Similarly,
                                                Simifarly, the narrowness
                                                                     nauowness of the panel                 prede-      qwantlcii'ave approach
                                                                                                                      · quarititarivo                        guidelines is vulnerable to a isubjectiv-
                                                                                                                                          approacl;i of guideline.                                     'subjocciv·
                    termine•   tnes the consensus that 'there       them     is  insufficient     evidence       to      ity   of  objectivity' Nil, or thinly disguised (frequently even
                                                                                                                                    objccti:vity'    (141],
                    regard chronic Lyme disease as a separate diagnostic entity'                          entity.'       unintcntiorud) bias cloaked in science, with 'hired guns
                                                                                                                         unintentional)                                                                   guru' all
                        Seen in this lig          ht, what the IDSA
                                             light,               IOSA guidelines
                                                                          guid<:lines uc are reail:y    ~ around,
                                                                                              really'suggesting          around. Of course guidelines are             arc not created on the eve of a
                                    ph)"$icillns refrain
                    is that physicians              re&.Un from treating p;Wenm    patient until better sci-    sd· trialtrW to support one p:uty       party over the other, but the risk of their
                    ence tomes    comes along -— an idea                      u11doubtedly holds greater
                                                               id.a that undoubtedly                        ~ter misuse  misuse as      instruments of cost control rather than as
                                                                                                                                     u instrument<                                                        impartial
                                                                                                                                                                                                    as Impartial
                    appeal to insurers    insw:crs and researchers
                                                            teseai:chern than
                                                                            tlw;i patients. Yer   Yet even"""" the guides for       6>t treatment
                                                                                                                                         ueatm<:nt decisions
                                                                                                                                                        <L:cisions is widely recognized.
                                                                                                                                                                                    r=gni:r.ed.
                    strongest
                    SUODJ.!"$t proponent<                      evidence-~ medicine would not
                                         proponents of evidence-based
                     reclaim that potient.'l
                     requli;e                patients go untreated pending stronger research               rc=rch StandardSlanc:lt>r(I <l(taw
                                                                                                                                        of OM° when         different Imatment
                                                                                                                                                    When 07i1breni       lr'e¢m<mf options
                                                                                                                                                                                         oplJom W<IMexist
                     li342171. This
                     [1'6,:mJ.         Th.is notion has   bas lmn       sourully rejected by the IOM The standard
                                                                been soundly                                                     •tan<.Wd of """'                             condltlon is determined by
                                                                                                                                                          for treating a• condition
                                                                                                                                                  care fror
                                                     evideru:e is not likdy
                                      'mntific evidence
                     because 'scientific                                 likely to exist for a gt1tat         many the manner in which clinically practlsi.ng
                                                                                                       great DWiy                                                          practising physicians oauiLlly   actually
                     of the combiruttlons
                     of            combinations of      of clinical
                                                           cliniod problems                char:octcri.,tics that treat
                                                                      probl<:m.< and characteristics                              patients. Most jurisdictions recognize
                                                                                                                          neat patient<.                                   r~ that more than               thon one
                     patient< bring to clinicians in the teal world
                     patients                                                  world' tii4.
                                                                                         (ll7].                           standard of care may exist      ai.<t for treating a medical condition. For
                                    :appl'opriate role of guiddines
                         The appropriate                         guidelines is to 'ensure 1
                                                                                         ensurc that                      =pie, in
                                                                                                           patients example,
                                                                                                   th:.\t patit.:nts                         0.Ummia, ao variation of the two schools
                                                                                                                                         in California.                                                 <ehools of
                                prnctltioncrs are
                     and practitioners               ate well informed about    obout the risksrisk< and      benc-- thought or respectable minority standard is codified in its jw:y
                                                                                                         •nd bene-                                                                                                jury
                      fits of       altetnati~ courses of care'
                              of alternative                       care, ·(l       Guidt'!lines that attempt
                                                                             l7J. Guidelines
                                                                          11171.                           aite:mpt instructions                follo~
                                                                                                                           instru.ct.ions as follows:
                      to supplant,
                             supplanti rather than                inform., overstep their
                                                         th.an inform,                      thc:ir 1."0lc
                                                                                                      role in the
                                                                                                                               'Whm th=;,"""''
                                                                                                                               'Whew     there is more than one                          mrthod of-
                                                                                                                                                                         recognized method
                                                                                                                                                                   01111 mogniud                   of~,;,
                                                                                                                                                                                                       diagnosis
                      decision-making
                      decision                       proce<s. When guidelines become polemics
                                       -making process.                                                   polemi"'                                  an4 no one .,., of th<m
                                                                                                                                   matmmt. and
                                                                                                                               or treatment,                              them is .,,,;       exclusively and
                                                                                                                                                                                       used =iuJively         a.nd
                                       viewpoints of those on the drafting committee,
                      for the "iewpoints                                                     cotnmittc<, they
                                                                                                                               uniformly by all   a.U practitioners                   s-.IJng. It physician
                                                                                                                                                       prtt<ti#-olr<:TS ofgood standing.
                      no longer serve as           .. information tools thatassistth•t'assist physicians and                             nlg/;gmt if, in exercising
                                                                                                                                                                _,,,;,;,,g their        /mt jw/gmm~
                                                                                                                                                                               thrir best     judgment, thty  they
                                                                                                                                   not negligent
                                                                                                                               it Mt
                                                                                                                               ;,
                      pacien"'
                      patients          in  their   decision-making
                       prey to the criticism that they 'constitute
                                          responsibility'. and only *aerate
                       without responsibility',
  ..-----.p:::a;:te:l'll:n:r.11s:1ltie
                        paten sane pressure
                                                                            process     11371,
                                                                                        run. and instead fall
                                                                                             cx..r<:ise of power
                                                                        constitute the exercise
                                                                                 'se,!l•tate systematic
                                                           FOr the many to conform
                                               pl'CSSU1'<! for
                                                                                                m•emo.tk and •
                                                                                    eonl:;rm to the   tbe views of
                                                                                                                               sekct one
                                                                                                                               select  on< of the

                                                                                                                               }h'jtitlnMHl'lt
                                                                                                                               pr,rltrlwan'
                                                                                                                                                      approtJtd
                                                                                                                                                th< approved
                                                                                                                                                 ..~,., or one
                                                                                                                                be a wrong .selection,
                                                                                                                                                  [id31..   .
                                                                                                                                                                    ""'thods,
                                                                                                                                                                    methods, which later
                                                                                                                                                                    ont not_...,_,                ______
                                                                                                                                                                                            lottr turnt
                                                                                                                                                                                                   nurse out
                                                                                                                                                                                f1tt11Jml by certain
                                                                                                                                                                                favored          cmain other
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                                                                                                                                                                                                            out "'
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                       the few'
                       the       fewt [1041.
                                         [1CM].                                                    ,.!'                               .....blishment of a school
                                                                                                                               The establishment                  sehool of thought requires only that               tbat
                                                                                                                            a group of respectable treating physicians    physicilt!ts adhere to a•.method    method
                        Legal standard
                                     staMord of care  cars                                                                  of treatment. The size of the                   gxoup following a particular
                                                                                                                                                                      tho group
                        The legal standard  •tandiUd of care is defined as 'the care              caro and skill approach need not be particularly large.                      largo. One 'court·court in Arizona
                       ·ordinarily exercised in like
                       'ordinarily                                  eases by reputable members of the
                                                              lih cases                                                     found     65  phyidcians       sufficiont
                                                                                                                                          physicians sufficient           mg.
                                                                                                                                                                          [14'1J. The     existence
                                                                                                                                                                                          existo11ce     of different
                                                                                                                                                                                                             difforent
                        profession practisingpracti•lng in the same     saine or  ot similar locality under schools of practice            pn.etice is determined by expert testimony that,                   tbat, in
                        similor         clrcuttutanees' [1331.
                          imilar circumstances                                definod by the actual
                                                              Nal. It is defined                                prac· addition to offering opinion on practices
                                                                                                        •erual prac-                                                         practi.:OS within the commu-
                        tices of phJ1$ician
                                         physician in the         o:>mmunity, not by guidelines.
                                                            tho community,                      guidclin... The . nity, may also            o.lso introduce guidelines evidencing a treatment
                        legal emph"lismphasis on consensus provides a suitable Alter                          fur the approach, or consensus
                                                                                                      filter far                                  consensw surveys surveyll suggesting the        tho number of
                        intotest             stdc:e-holders in
                                   est of stake-holders          In guidelines. Consensus is, after all.           all, practitioners following that approach.         approaeh.
                        not only a crude measure         m ...urc of  of the cumulative anecdotal evi-            evi·                              pi:eriously, both schools of thought about Lynte
                                                                                                                                As was noted previously,                                                            Lynne
                        dcnce of practising
                        dence               prnctising physicians; it also reflects the extent to disease                    d""""' ha"V<:
                                                                                                                                        have inuodu""'
                                                                                                                                                introduced .guidelines              ~ng their treatment
                                                                                                                                                                   guidelines regarding
                        which varying  wi:ying types of evidence (including controlled studies) approach,                    approach. In addition, a number     numb..r of consensus
                                                                                                                                                                                  ....Onsen.sus •11!'1'e)'$
                                                                                                                                                                                                  surveys illustrate
                         haV"C: been critically
                         have                critieally reviewed and h•ve               dcmonmated
                                                                                have demonstrated efficacy   effiCll.CJr     the   division    within     the   m.edieal
                                                                                                                                                                medical     communiry.
                                                                                                                                                                            community.         One      survey
                                                                                                                                                                                                        sum:y found
                         in actual medicitl medical practice.                                                                that 57% of   of responding physicians                       pmlatent lJrmc
                                                                                                                                                                 physiciarul treat persistent           Lyme disease
                                                                                                                                                                                                                  dlleue
                           '• As                matter, the relevance
                              ,A,s a legal mattet,                                  eviden!"'·based medicine for
                                                                 relevo.nce of evidence-based                                          montlu or
                                                                                                                             For 3 months                  more c•sJ.
                                                                                                                                                     ot mote          pm. Fallon notes that li:>r             For over
                         p'rotocols in determining
                         protocols               de.termining the standard of care depends upon 3400 patients screened for                                      fur the Columbia persistent  persistont Lym• Lyme dis-
                         the extent to which         whieh the practice recommended reoomtnended has been.        been, ease CISC study,      tho mean duration of intravenous treatment was
                                                                                                                                     srudy, the                                                                           W11S

                         adopted within the            tbo medical
                                                            modieal community
                                                                         o:>mmunity 0391.   (139). In court, the 2.3 months        month. and the mean duration of oral                   orol antibiotic therapythorapy
                         sta.ndard of care
                         standard                 ca"' isio determined by expert      export testimony 1100].     NO).       was 7.5 months (9u.                             sutvcy, 50% of the responders
                                                                                                                                                      (91). In another surrey,
                         Although an expert        export may introduce evidence-based
                                                                                    evidencc-b.. cd protocols considered      eonside1<1d using antibiotics
                                                                                                                                                       ancibiotia for a time    dn:ie 'greater
                                                                                                                                                                                        'greacer than 1I year  ;v= in a
                         in support of testimony, the protocols            pcotocol• themselves do not symptomatic            sytnptomatlc setopositive
                                                                                                                                                11etoposicivc Lyme disease patient.    patio.nt. Almost the same
                          establish a standard of care          care [1417.
                                                                      (141].                                                  nu.mberWQuld
                                                                                                                              number                "'tend therapy to 18
                                                                                                                                          would =tend                          !8 months
                                                                                                                                                                                    mond:• if needed' ['1l.     l•~I.



                          WWW.FLItltre- dnig5.corn.                                                                                                                                                                            545


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 \!, :                       Stricker
                   Johnson & Striae!'


                       The treatment issue seems to have created a split within the                                     discontinued, a physician who elects to                                  to. withhold treatment            tteatment of
                     medical community in tcttns          practice, and all jurisdictions
                                                terms of practice.                                                      this patient's antibiotic responsive condition does                                               docs so at sub-             sub~
                     that have considered the matter have found                   standards
                                                               fuund that two stmdards                                  stantial tisk.
                                                                                                                                     risk.     The         variability            in    patient          response
                                                                                                                                                                                                         r"'lponsc                 to      treatment
                     of care exist in the treatment of
                                                     ofp¢niistent                   pas,atsi.
                                                        persistent Lyme disease [J4',>t•I·                              h.u critical implications in the treatment of Lyme disease.
                                                                                                                        has
                     When more than one standard
                                              stanihrd of care  cxls1$, practice in accord-
                                                          caf!! exists,              accord.                                'Whe11
                                                                                                                            When faced                       uncertainty, physicians
                                                                                                                                      fuaxl with ,uncertainty,                       physiduis must make an electron                              dcction
         ''        , ariee with                           standatds of care is considered
                                elthc,r of the acceptable standards             oonsidercd                               (and accept the acccimpanying   accompanying risk) .to over·              to      over-            or       undcrtreat             a
                            "th either
                      ·~table for m>lpr.i.ctice
                   ' acceptable      malpractice purpose$.
                                                   purposes.                                                             C<>ndition. 'While
                                                                                                                         condition.       Wbile insurers implement cost-oontalnment meas·            cost-containment                               meas-
                                                                                                                         uies to guard against
                                                                                                                         ures                      ~t wasteful defensive medicine, the goal of
                     tole
                     Role of clinicalcllnloal Judgment
                                                µdgrnenl when   wf1en different trealmenl
                                                                                       treatment                         th.e modi~t-matpractk•
                                                                                                                         the    meditarmilpractice system is 'to dcrer                           deter...              hoaithcare provid-
                                                                                                                                                                                                               •.• healthcare
                     QPll<>M
                     options exist    ex/$1                                                                              crs from putting patient;
                                                                                                                         ers                              p•tienti at excessive ~Ive risk        tisk of bad outcomes'         011ttomes' {l;t;J.      itach
                     Thete is a ncceswy
                     There                                interplay. between
                                           necessary interplay             betWCCn scientific        research and Medicine
                                                                                        scienlifk IC$carch                Medlcine that improves    impCQVCS             outcomes            contributes                   to     the       deterrence
                                                                                                                                                                                                                                            detertc=
                     clinical judgment. 'Professional 'Profcssion;U judgment judgment must be applied 10          to goal. The Office of Technology Assessment suggests weighing
                     the scienceseience base,
                                            b.uc, andatld science
                                                            Science must inform professional judg- the following factors                          fuctim [14<>]:   pas]:
                      mem' {117].
                      ment                                     of individualization of
                                    It tit, The degree of indivii:luallzo.tion of treatment varies            varies •• Whether
                                                                                                                              Whether         the        dis.....,
                                                                                                                                                         disease         under consideration is lifc-thre11cning
                                                                                                                                                                         undo<                                                            threatening
                      with the complexity of the illness
                      with                                         illn.,,. and the       amount of confound-
                                                                                    th'1 =ount                                or  disabling
                                                                                                                              or disabling
                               variables involved, such as
                      ing varfables                                 .. coinfections, The greater the       <he need • Whether tint           tim'i)y detectionderection changes therapy
                      for individualization, the greater the role the clinical judgment
                      of the
                      of            treating physic:i:>n
                             the treating                      pl•ys.
                                                 physician plays.                                                         • Whether the change           clrange in therapy can                 con be     be expected
                                                                                                                                                                                                                    <00pectcd to              to make
                                                                                                                                                                                                                                                   make a•
                             In Lyme
                                   Lyme disease
                                            disease, .treatment                                                                real difference             to   the     patient's
                                                                                                                               real difference to the patient's ultimate state ofhcolth   ultimate            state          of     health
                             In                          treatment response
                                                                          response is      highly variable.
                                                                                        is highly    varioble. The
                                                                                                                 The
                      confounding variables
                      confounding                             ~g the
                                                variables affecting            the count
                                                                                     cou= of   of. treatment
                                                                                                    tte•tmc:nt arcue • Whether Whcthcr the treatment option                  optio11 is readily available       •Vllil•ble and          and low   low risk.
                                                                                                                                                                                                                                                         risk.
                       ~i=nSiv~, and the amount
                       extensive,                     amount.of    of discretion required in treatment t.teatm~nt is           When the medical 'irnpllcations      implications of being wrong arc                                    art serious,:
                                                                                                                                                                                                                                                scriout,: as
                       consideroblc. Variables
                       considerable.            V.,.i•bles include:                                                        in the =                     life-dm:atening or debilitating condition Stith
                                                                                                                                     case of a life-threatening                                                                                      •uch as  LIS

                       •• Length
                             Length of     of  time   between        tick    bite,  syinptom      011$Ct,  diogriosis
                                                                                    symptom onset, diagnosis               Lyme
                                                                                                                           Lyn\e     disc
                                                                                                                                     di=se  oie      for     which          early      diagnosis
                                                                                                                                                                                       di:ignosls            or
                                                                                                                                                                                                             or.     treatment
                                                                                                                                                                                                                     t=tment                      may
                                                                                                                                                                                                                                                  may    have
                              and treatment
                             and     treatment                                                                    •        substantial consequences
                                                                                                                                              eonsequen= for the patient                    potient while the risks of treat-
                        •• Presence
                              Ptescnee of     of untreated
                                                   untre•ted (identified
                                                                     (identified or     or not
                                                                                            not yet                        ment     are   relatively
                                                                                                         identified) ment ate relatively low. cleoting. to treat
                                                                                                   yet identified)                                               low,      electing        to    treat the    the patientpatient may         may be    be the
                                                                                                                                                                                                                                                            the
                              coinfoc<lons
                              coinfcctions                                                                                 more     prudent
                                                                                                                           more pn.ident course.       course.                        '                '
                         •• Whether
                              Whether the    the patient's      itnm~e system
                                                   potlent's immune            system i;    comptomlml
                                                                                         is compromised
                                                                                                                                Approximately
                                                                                                                                Approli:imat.ly 25             25 to.        30% of
                                                                                                                                                                       to· 30%           of medical
                                                                                                                                                                                               medical malpractice   malpractice lawsuits           lawsµits
                                                                                                                            .Uege missed or delayed
                                                                                                                            allege                                           dillgttosl$ (and treatment) (ism.
                                                                                                                                                            dclayi:d diagnosis                                                                l1'7J, When
                          • Severity
                              Scm:rity of the patient's
                                                     patictt(• presenting symptorrissymptoms                                      medloal consequences of being wrong are
                                                                                                                            the medial                                                                               "-I'! seven,
                                                                                                                                                                                                                               severo, so too are            arc
                          • Presence of neurological
                                                 neur:ologioal symptoms                                                            constquet1ces of malpractice.
                                                                                                                            the consequences                          malpraetlce. Failure     Foilure to diagnose         diagno;c: and treat
                          •·-·~'lmhcr
                              Whether the     th;: course
                                                   cowse of the illness illbe;1S is  proses-he
                                                                                  i• Pl'<i!P-!""'          ·-----·:,;Ano~·  Aaron~n~M~·   ur#··~rai.lly1~a~'I,:a4;J:yeat!'l.
                                                                                                                                      bitumena               14 year     ~o!!lldub!ll\?Y!Llllwh:ii.
                                                                                                                                                                             old bin who           "lil.i11$!1i.""11·o11$!.u;1~ioci;..,!\!!9.i!.•
                                                                                                                                                                                                         then inftered,a •1i1igrigI11Jifimi,;ii'!!_Qt.~-
                              Whether the ill.n""
                           • 'Whether                        significatidj
                                                   Matta significantly affects   ~         the paticnt's)luility
                                                                                               patient's...q uality of       di:cl.in~
                                                                                                                            dedinelhognitive
                                                                                                                                       ·!*6;.gnitive                 function,
                                                                                                                                                                     fund:ion,           resulted
                                                                                                                                                                                        ·resulted           In an   on original ju~ment           judgment
                               lif<: or   fu.nctiond     level   of
                               life or functional level of achievementacliiCY1'111ent                                       of   USS3,2
                                                                                                                                  US$3.2         million
                                                                                                                                                 mi!Uon             (subsequently                reduced                to      USSI.8
                                                                                                                                                                                                                                US$1.8               million)
                                                                                                                                                                                                                                                     millli>h)
                           • Patient's ·respo=
                                             response to treatment
                                                              tteatment                                                    ,oigahut
                                                                                                                           ,against     hi•
                                                                                                                                        his     medical            provider
                                                                                                                                                                   provides          usealal.
                                                                                                                                                                                     (l<I0.219J.                                                            ·

                           • Whether the       th~ patient is antibiotic
                                                                  tntibiotic responsive                                      Role of patient              pr11fell!lnoe Whim
                                                                                                                                        pali€fl'll preference                                  dltr11renl tmatmeni
                                                                                                                                                                                   when dhterenf                     treatment
                           • Which medications
                                            medicatioti.• the patient can,      CM tolerate                                  opliOOs 11xliil
                                                                                                                             options
i                          • Whether
                                WMthi:r prior tteatmenr.,,,..
                                                       treaunenewas <u!licient rufficient in terms of antibiotic
                                                                                                            antibi<:itic Good medical
                                                                                                                                         exist
                                                                                                                                      medi<:a.l care requires       requites that              decision-making he
                                                                                                                                                                                      t.lv.t deeilioli·makin.g                               be shared to
                                type. dose and duration
                                type,                 durntlon                                                               vruyl.ttg
                                                                                                                              varying, degrees benve•n           between practitionerspractitioneni and patients inn.                                      (1171,
                                Whcthot the
                           • "Whether          tho patient telapses
                                                               tcl:aJ><C$ when treatmen
                                                                                      treattnent;. withdrawn
                                                                                                      with&.wn                Respect
                                                                                                                              R'\Spcct for the basic autonomy            autoMtny of the patient is                                   io aa fundamen-
                                                                                                                                                                                                                                                fundamen·
                           • 'Whether
                                Whether diagnostic
                                                diagnostle -         · symptoms or
                                                                tests,                     ot treatment      tcsponse tal
                                                                                               tteo.tment response            ta!' principle
                                                                                                                                   ptinciplo of medical       medial ethics 1220).           12201. Without adequat                 a,i;,qo.ate infor-
                                •umst O!Jll'>ing in&.:.tion
                                suggest     ongoing      infection                                                            mation      about             treatment
                                                                                                                                                            treatmont              options,          . their
                                                                                                                                                                                                       thcit            probable                  outi:omes,
                                                                                                                                                                                                                                                  outeomes,
                           • Rislalbcndl.t.
                                Risks/benefits of the treatment
                                                              ttl!:ltnlimt approach under   u.ndcr consideration
                                                                                                    oonsidcralion             and   the    risb
                                                                                                                                           risks         and      benefits          associated
                                                                                                                                                                                    ass<>eiated             with
                                                                                                                                                                                                            with,          eai:h,
                                                                                                                                                                                                                           each,            patients
                                                                                                                                                                                                                                            patients'i:an-  can-
i·                                                                                                                            not act~ct autonomously. The                      Tbe American Medical Association
                            • Alternative treatment
                                                  ttcatment approaches availabk     ~Vllilablc
                                                                                                                              requires that the physician            ph)'llichn disclose and discuss                            di!cuss with the
                            • Risks associated
                                          a.<;Sociated with failing to treat                                                  potient, not only the risks and benefits of the proposed treat-
                                                                                                                              patient,                                                                                                                    ttu!-
 ,,,...
 '                               Needless to say, separate scientific studies       ;tudies do notnor exist isolating ment, but also those of available                       av:Ulable treatment options (regardless
                            <acll of these variables,
                            each                 Y>tiables.                                         ..                        of their cost or the extent             <>;tent to which the treatment options are
                                 Eten
                                 Evon those who follow the             'the treatment         appr~ach advocated covered by health insurance).
                                                                               <re•tm•nt approach                                                                  il!Surance),
                            by the 'OSA  IOSA arc not at liberty to            ro ignore the clinical prescrita-
                                                                                                             present:\·          The physician's role             tole in this process .is                  is to provide information           inform:ltion
                            tion of their
                            don            th~ir patients.
                                                    patients:. In the absence of aa clear                  ~lrer.ruu:ivc
                                                                                                   clc:1.r alternative         to
                                                                                                                               to the patient
                                                                                                                                        p:il.tic:nr along :along with any treatment                                 recommendations:that
                                                                                                                                                                                          t:t¢atmcnt .tt:commcndadons                                         :.that
                            e:1.u~~ progressive
                            cause,       progo:ssive neurological symptoms in patients with a the                              tho physician
                                                                                                                                    physid"'1 may have based                     ba.<od on previous clinical                   clinic.I experience
                            prior
                             pdot diagnosis
                                       diagnosi• of Lyme disease should raise a high                  h;gh degree of and       atld a review of relevant       rd&.>.nt research,research. Regardless of the physician's                           physicians
                            suspicion that the infection                       ongcing. Similarly, if•
                                                           inf.:ction is ongoing.                         if a patient personal or professional     ptofes1tional views on the matter.                       m~tter, the           rhc final decision
              Ii
                            r~sponds 'to
                            responds         to treatment
                                                  tre:i.tmcnt and then      then. relapses when treatment is among                       treatmcnr options belongs
                                                                                                                               .unong treatment                                    bClongs to the         thc·patie?tpatient (147].       (I47J.




                                                                                                                                                                                                            tiden 1r u ilerti-infett     Then         (2004)

                                                                                                                                                                                                              Liberty002355
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                                                                                                                                                                         Treotmant of L'/TT$
                                                                                                                                                                         Treatment           diseaoo
                                                                                                                                                                                      Lyme disease


                  The reason patient preference    pi:cfcronce assumes such a large role in                                               infunnation of treatment
                                                                                                                          Whether information                       t"'atmcnt options is material for the
                     d.ccision~ma.lcing process is dear
              thi: decision-making
              the                                                 cle:u - 'because patients ulti-          uh:i- purposes of informed       infunned consent depends upon the circumstances
              mately <eap  reap the benefits and burdens of medical decisions, we of the case at hand. However, one commentator has noted that
              must end by respecting patient autonomy unless                            unlc;s there is a the duty of physician disclosure is often triggered by risks
. I
           . very compelling reason not to do so' [1471.                    rt•in.  When      a patient h       .. approximating a• I% probability.if
                                                                                                              has                                            probobility lf the severity of the risk ;,                    is
               a serious
            ··a.  se:dous illness,
                              illp.css, like Lymc            disease~ where
                                                  Lyme disease,           wh~rc different
                                                                                     di.fferie.nt treatment high [109].          [l<l9). Indeed, many physicians  physi.cians fedfeel that the best safeguard
               options
               '!prions exist                di£k<ent risk-benefit profiles, the stakes
                            eidst with different                                                    '"""'' arc against lawsuits is to give patients the full range                             wig. of treatment
               high and there is no correct treatment. The treatment choice , options                                  options·and    and withhold their personal recommendations [148I.                         [148]. In
               invol.vcs trade-offs between the risks and b.;nefits
               involves                                                            benefits of the differ-
                                                                                                         differ" •· the case-ofca.t<fijf Lyme disease, the magnitude of the risk of terminat-                 tcnninat-
                ent treatment options that only patients.                patients.-    - who know the ing treatment premaiurely                 premaiurdy can be severe, permitting a serious                    setiou•
                kinds of risksri•ks they arc   are willing to rake    take and the types of quality systemic condition to progress with the risk of irreparable                                             impatabl~
                of
                of life outcomes that      tbat matter to theni     them - are   ""' uniquely suited to injury or even                   even.death
                                                                                                                                                 death [72),1711. Most, if not all, patients patlcnts would con-       eon• ·
                make 11481.
                          (14aJ.                                                                                       sider these risk;   risks material and would wunt          want to be informed of the
                   Respect fur
                   Respect.      for autonomy is 'the          ··th• primary moral juscificatk>n justification existenceeicistenee of another maanent     treatment option that redtu:<d     reduced theseth""° risks.
                underlying the legal obligation to obtain infurmed                                    coruent.
                                                                                       informed consent.                    Granted, the common   o:immon law's           bark 1$
                                                                                                                                                                   LAVA hark      Is frequently worse than its             im
                Except in emergency                   situatiom, a healthcare ptovider
                                  emeigcncy situations,                                      provider must bite when ittljnmi:d                          ccwcnt cases are
                                                                                                                                          informed consent                     arc adjudicated
                                                                                                                                                                                      adjudiatcd itsn•  [t$lJ. The law   low
                obtain coment
                            consent from a patient for a course of treatment. The vuies                                             subotiiiclally
                                                                                                                        varies substaiima"          Ily between US states                 regarding whether the
                                                                                                                                                                               srabe$ rcgruding
                scope of th.is this duty is measured by the amount of in.furmatlon               information disclosure                    obligacion is viewed from the patient's perspective
                                                                                                                        disclosu<e obligation                                                          perspectiw: or
                 nect#U}' for a patient to exerciac
                 necessary                                             inJOrmed choice in the 11<:1.0.
                                                           exercl.!c informed                              selec- based on medreal       medical custom and on the extent and circumstances            cilCllm!itallces
                 tlon of treatments.
                 tion                          Califurnia has adopted the patient's
                            treatment$, California                                         patlmt's point of             under wbU:h
                                                                                                                 of un<L.r           which information must           mwt be disclosed. That said,             .Wd, iti.t 1$ Is
                              informed consent
                 view on infurmed             consent:                                                                   cleat that the willingness
                                                                                                                         clear                  willingnao of courts   COutt$ to permit a certain               dcgR:C of
                                                                                                                                                                                                    ""'1:ain degree
                                                                                                                         pm:malism in the put lw
                                                                                                                         paternalism                             has been rooted in the notion th.at            that phy-
                                                                                                                                                                                                                        phy·
                              patimt~ right of se4cdecision
                     'Th• pademit
                     'The                                   telf-tkdtfo" ;,         the sr:ear:ere
                                                                                is th•    measuf'I! of <>f the           si<:iaM always,
                                                                                                                         sicians      alwaJ1$. act in in the. best interest               patienti - a notion that
                                                                                                                                                                         inteiest of patients
                     physicians
                     physician's duo:  duty m         reveal Th1tl
                                                 to rt11eal.                       '"fl
                                                                  That right can be effectively  effictiwly              no longer holds in the era of managed           m~ are,        c::ate.
                     •xtm:ised
                      exercised only•nl] if  if tk                   pqssesm ltdtquate
                                                  the patient possesses                           infortn11r
                                                                                    adequate informa-
                                                                                                                              T-.kin.g
                                                                                                                              Taking patient preferences into account              ll!:'«!Unt ·not not only increases
                                                                                                                                                                                                                 inCl'eaS<lS
                      tion to    rnabk an int•tligmt
                             t() enable                             chi>ite. Th<
                                                   intelligent choice.           The ""'/e
                                                                                       scope of•ftht     phy·
                                                                                                    the phy-
                                                                                                                                        satisfu.etion; it is aho good
                                                                                                                         patient satisfaction;                        also   go<;>d hedthcare policy. When
                                                                                                                                                                                       healthcare
                     lician's     c1Jmmu11icatiom to the patient,
                      tidan's communications                                pal:knt, thm, then, must be      bt
                                                                                                                         Wennbetg
                                                                                                                         Wennber; analyzed   analyzed lnel!icletu:i&
                                                                                                                                                             inefficiencies in the Medicare system             system. by
                      m61zsttr<d by the patient's
                      measured                      p4timt's need, nred, and that is          Is whatever
                                                                                                   whatei•<r                                                                                                           found
                                                                                                                         looking at small area                  variation$ in medical practice,
                                                                                                                                                      .....,. variations                           ptaetlcc, he fuund
                      infornia"o" is material to the tkci.rion'
                      information                                      decision' (1191.
                                                                                     [14'1·
                                                                                                                      •· that
                                                                                                                          tbat most variation in preference       ~rence-,.,,..itiye
                                                                                                                                                                                  sensitive care rel!=  reflects physi-phpi·
                     The physician must disclose to •a patient material trea                          treatment clan        'an opinion. l'rc!i:rence-sensitive
                                                                                                                                                  Preference-sensitive care      coxe exists whenever different
                  optiom. In Mathis" Mmism, the~ Cdiun 11fNzpe;il .,..,.rme!Jt appmacli.. c:rist •nd '1';1j' •rig wbe,,, trcatmen~u""'-
                  disc~d thls ;..ue:                                                                                      eorru; )rudie, supporling a t!J!atment approo.:h ""' wook (as                                 (as inin
                                                                                                 ·'                        the choice oice between watchful  w:ttchful waiting,           radiation or surgery for
                                                                                                                                                                           Wlliting. !lldiation                             fur
                       'Th• (physician)." fll(>llAi hai'tl a duty.·•"' dist:ku th< two : prostate                                         cancer) or
                                                                                                                           prostate cancer)           or where
                                                                                                                                                           where the  the quality
                                                                                                                                                                           quality of   of life
                                                                                                                                                                                            life implications
                                                                                                                                                                                                   impliatioru of       of the
                                                                                                                                                                                                                            the
                       ,,.,.,..,;.,
                       recognized
                        ...~··~"' ••
                                     ' wheels
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                                                         tmt--•
                                                         trntement
                                                              .,,_,~
                                                                        so that tht
                                                                        to          the   Mti<nt Cost
                                                                                         patient
                                                                                         ~
                                                                                                     could bt
                                                                                                                           altemote treatment approaches    approaclies are signifiant (as                 in the choke
                                                                                                                                                                                                                        _,
                                                                                                                                                                                                                       ..uoice
                                                                                                                           alternate                                                                  (as in
                       sufficiently informed"'
                       "'ffet:itmt&     informed to make     make theth•final       p<rmnAl decision,
                                                                           fin4, personal       decision, As   As                         lu.mpectomy and
                                                                                                                           between lumpectomy
                                                                                                                           between                              and mastectomy
                                                                                                                                                                       masteetomy for      for breast cancer):
                                                                                                                                                                                                         cancer):
                       tht: Cobbs
                       the   O>bbs court           o:plained, (a) medical
                                         <tJurt explained                   m<dical """1x>r.       h<ing th.
                                                                                        doctor, being         the
                       men,       (*predates         the
                       expert, appret:iata ''" riJh inl=tmt risks  inherent       in  the  procedure
                                                                                      th< P''"'edu" ht ;,  he   it               Trefenwee-sensitive decisions
                                                                                                                                 'Prefernu:e"':stnsitivr                                 somttimts be
                                                                                                                                                                  decisions· must sometimes                    ma4t in
                                                                                                                                                                                                         ht! made
                       pmcrib;ng. th<
                       pracribing,        the rish
                                                risks ef of"    tkdsiim not w
                                                             a decision             to undergo th<  the neap.
                                                                                                          h'ca,..                tk    foe< •f
                                                                                                                                 the face      of scientific       um:ert#.inty about the effect
                                                                                                                                                   ttientific uncertainty                             effect of treat-
                                                                                                                                                                                                                    tre.u-
                        nsen4 """'th.
                        mmt.     and the probability
                                             pmbab;J;ty ofa "'=<fol   necres.0(1 outcome
                                                                                     <Jld'ciJ"" ofthe
                                                                                                 ofth• treat-
                                                                                                          h'cat-                 ment on        tht main outcome.
                                                                                                                                           011 the                outwm<. Th<   The choice             treatmml fir
                                                                                                                                                                                         choict of treatment             for
                      numt.
                        ment. But once                     injimnttrio11 has
                                         ,,,,,.,, this information                   mm disclosed
                                                                               h.u been                     th<Zt
                                                                                             di.rt:/ostJ, that                  pro.ru.tt cancer is a good example...
                                                                                                                                prostate                                txampk... becausebt<tilf.ll< there   haV< been
                                                                                                                                                                                                     thti't have       h«n
                        drfect ofthe
                        aspect            doaor~ expertly-au-don
                                 ofth• doctor's        expm fimaiim has              been perfinmed
                                                                               h.u httt1    p<rformtd. Tiu   The                few clinical trials w
                                                                                                                                few                            to evaluate...treatments,
                                                                                                                                                                   evaluatt.. ·""""'"''"· tht         the advantages
                                                                                                                                                                                                           advantag«
                        Wt!ighing
                        weighing oft  oftktt
                                           bete risk<      4gai"11St the individual
                                                   rich against                              $Ubj<t:titJt fears
                                                                             ;,,,J;vU{wd subjective        fom                       actitJt treatments are
                                                                                                                                 ofactive                         art 11i>t  ckar, and
                                                                                                                                                                       not clear,      ,,,.(/patients     fact aa deri-
                                                                                                                                                                                              patients face            dtci-
                               hopts of the patient
                        and hopes                 patknt is not an      11.11 tipsy    Y,iU. Such
                                                                              o:pert skill     Sui:h evalua-
                                                                                                       tvtil=-                   sion that can be
                                                                                                                                 sion                 bt characterized
                                                                                                                                                            charat:teriud as    ,,,, a" wager
                                                                                                                                                                                         wager. those who           choo,.
                                                                                                                                                                                                            wlw choose
                        tion
                        tum and"'"" decision
                                      dtcision is   i.r aa nonmedical         judgment rmrtJ<d
                                                            n()nmdkti/ judgrnmt              resented ..  to the                 active
                                                                                                                                 actitJt treatment
                                                                                                                                            matmmt """"'     make aa bet h<t that
                                                                                                                                                                              that tht      treatment does
                                                                                                                                                                                      the """""""''        tio<S inin fact
                                                                                                                                                                                                                        foct
                        P"tim' alone'
                        patient    awtte' [15:1-
                                             lt5tJ.                                                                              prowng lift
                                                                                                                                 prolong       life ,.
                                                                                                                                                     to a     sufficimt degree
                                                                                                                                                         " sufficient        degnt ,.    to be worth the known
                                                                                                                                  rish of
                                                                                                                                 14.41    oftht    proctdurtl(m).
                                                                                                                                              the procedures'        [152).
                       In the case of Mat:shies  Manhits v. Mastromonaco,
                                                                     Af41tromo11<Zc(), the New Jersey
                   Sllpreme Court also upheld the patient's
                   Supreme                                                   pati<nt's .right
                                                                                           right to make mo.kc an               Wcnnberg observes
                                                                                                                                Wennberg          obsc!VC$ that   thot patient and provider p<OVidcr values arc often
                    irlfor.mcd decision among
                    informed                          :aniOng medically rcasona.blc.                    tre.atme.::n~
                                                                                      reasonable treatment                   in conflict
                                                                                                                                   eotlflict in patient preference  pre~(Cno: situations and recommends
                    optiong:t and
                    options,      .and did not deem informed consent to have been reducing the medical practice variations in these situations by
                                                                                                                                                   sci~nti.Gc                                                      outcome~
                                                                                                                             4
                    given when the physician  phY$ician discussed only the physician's        physici""'s treat- 'reducing     reducing           scientific            uncertainty
                                                                                                                                                                        uneert.a.inry            through           outcomes
                    ment (or         nont~atmcnt:) of choice. The court
                               (ot nontreatment)                                            <:ourt stated that «seard>.      research-...    ,.and     establish(ing)
                                                                                                                                                and .....     t;.lish(ing) shared
                                                                                                                                                                             sh.,•d decision making    miking Sr      for pref-
                                                                                                                                                                                                                            pttf·
                    'physician• may
                    `physicians        rnay neither impose   irnposc their values on their patients erence-based             orena:-b0$0C[ treatments'
                                                                                                                                                    rreatrnent;1' nob  lrn>J. Implementing patient choice in
                            sulmitute their level of risk aversion for that of their preference-based treatments
                    nor substitute                                                                                                                         rrcatments may also         olso lower overall medical
                    patient$' (1501,
                    patients'      {1$0],                                                                                    costs.                incutted in connection
                                                                                                                                        Cost.$ incurred
                                                                                                                             CO!::t.'i. Costs                           o::inneccion with           preference-sensitive
                                                                                                                                                                                           wlth. . preference        ..$ensitivc


                  www.furure-druas.coot                                                                                                                                                                                   547
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i.,               •' Johnson & Strecker
                               Sllicl(~r




                     su~rJ', for instance,
                    surgerY,              instanci: decline when shared
                                                    1                                       decision~making is Role
                                                                              shued. decision-making                        /lo/e of 1nsuranc1;1
                                                                                                                                         Insurance when                       treatment options
                                                                                                                                                        wh<>n different Imolmont              opHons exist
                                                                                                                                                                                                         t;>xlsf
                     implemented 111,,2211.   n19,2211. Moreover, a significant portion of all                       alJ When managed care             =< tools began to be used          usod in the healthcare
                                                                                                                                                                                                              h"'ltheare
 1··,,(              healthcare costs ate         o.te associated
                                                        assodatcd with       end-of,lifc care,
                                                                      wirh end-of-life                                      markctplaa:, the economic incentive:
                                                                                                  Co.to, where giv- marketplace,                                      incentive~ to deny          paym~nt or
                                                                                                                                                                                         dony payment           Ol' access
                                                                                                                                                                                                                    1cces.s
 '
 I    11:•:          ing a greatergtcater weight to patient preferences    prcfe<enees may reduce the to care began to impact the medical decisions made by practi-                                                p!"aCti-
 [,"..

 :                   a.rno~nt and
                   . amount          :2.nd· degree of medical intervention.                                                  tion,;,,,. The extent to which the policies
                                                                                                                             tioners.                                        polici<.'l of insurance
                                                                                                                                                                                              insutance companies
 iii                               patlent preference
                         The patient            p1cfcrcnce issue clearly
                                                                       clwly exists in the treatment   tl"CO,tment of can interfere intcrli:<e with Lyme Lyrnc disease treatment decisions is illustrated
                      persistent Lyme disease. ·Patients      Patients should be provided with suffi-             ruffi' by a patient who died           died. within 1    I month
                                                                                                                                                                             ino1oth .of of being denied further   furthe,
                      cient information
                                 infwm•tion to weigh       wcigh and choose between the trade-offs                           irui1,1ru1ce coverage
                                                                                                            uade-offi insurance                           fut intravenous antibiotic treatment
                                                                                                                                              coV-cragc: for                                    maunent n541.   [l~J.
                      implicit
                      implidt in the treatment   tteatment choices
                                                                 choi= available.
                                                                           a.....Uable. Patients who suffer       suffet               detl· Vlith -the
                                                                                                                                 To deal"with                                     insurnnce plans can have on
                                                                                                                                                            inlluenoe that insurance
                                                                                                                                                      ·the influence
                      more serious forms     fotms of the illness or who have progressive       prog=sive illnessiUness medic medical  -,l decision making.         ·courts began applying the state legal
                                                                                                                                                         makinccourts
                      rould be expected to
                      could                                weigh the risk of side effects
                                                      to.weigh                             e!l'<c:ts from antibiot- standard  <tU>dard. of care  =e applicable to health           professionals to other
                                                                                                                                                                         htalth 1prof=ionals              othef. entities
                      ics quite differently from those who suffer               ,w:r.,r mild, nonprogressive
                                                                                                     nonprogr=iV< participating in managed            rnon.ged =·         Toda~ the same clinical
                                                                                                                                                                   care. Today                     dini'21 standard
                                                                                                                                                                                                              standard. of
                      symptoms. For some patients,        p•tients, the quality of life issues surrounding
                                                                                                         surroundin.g are     care applies to all     .U parties
                                                                                                                                                           patties involved in     nn medical decision making,
                       the wish
                              wi.ID to achieve sufficient
                                                       .ufficient functionality
                                                                    fundionality or symptom   srmptom control to . including  indudlng physicians, insurers,                                    mvi~ 11554571.
                                                                                                                                                              insun:ts) and utilization reviewers             [155-157],
                       return to work     wotk may influence treatment    tt=ent decisions. Similarly,                            Tho log.I
                                                                                                                                  The             seandatd of care is community
                                                                                                                                          legal standard                   rom<nunity based   bosed. and reflects the
                       patients who have tried a• number of antibiotic        ontibiotic treatments without practices         proctlces of treating physicians [tss].        [llll · Unfortunately,
                                                                                                                                                                                      Unfununatdy, there     the« is evi-
                       ruo:ess may weigh their chokes
                       success                                choioes differendy
                                                                        differently from          relapsl.ng patients dence to suggesti,that
                                                                                          front relapsing                                      suggesffthat many managed    tnarntged care =e organizations
                                                                                                                                                                                                    ofg.ni..tions rely   tcly
                       who have  Juve been responsive
                                                  tcsponsive to  co antibiotics
                                                                    antibiotks in the past.                                    unduly on stuntnarysuinmary protocols to deny patients the treatment
                            According to the IOM,           lOM, respect
                                                                    tcspect for patient (>".ti~nt autonomy and recommended by their physicians uzal.                                u201. This, coupled
                                                                                                                                                                                                     ooupled with the     tht
                        patielit preference
                        patient       preferenoe should also be reflected    rdl<aed in treatment guide- fact                         that' managed care
                                                                                                                               .faCt that                         organiu.tions are incentivized
                                                                                                                                                           catt organizations               incentivizcd to increase
                                                                                                                                                                                                                   inetc:Uc
                        lines atm  [117). The IDSA guidelines               sugrpt that a failed
                                                              guiddin"'' suggest                      f..iled conven-
                                                                                                               conw:n- profits by reducing costs                                ' ":!""'""• of expected
                                                                                                                                                              coses at the expense                ""pe<ted treatment
                                                                                                                                                                                                                tteatmont
                        tional
                        cional treatment
                                    treattnent is the only option, when in .f.aee               fact another viable outcomes   <>utoomes Oan),         =tes a significant potential for
                                                                                                                                                  20), creates                                     fut abuse:
                                                                                                                                                                                                       •buse:
                        treatment
                        tteatmcnt option, namely continued treatment,             treatment~ exists.ais:ts. By failing
                        to acknowledge
                              •cknowledge the treatment     t<eatmont options that exist for            fur persistent
                                                                                                                                     Much, if
                                                                                                                                     'Mu<:h,    iJIWt
                                                                                                                                                   not most,
                                                                                                                                                        moft, medical
                                                                                                                                                                mt:dkal care.
                                                                                                                                                                           care, """'      rhatwhich
                                                                                                                                                                                    even that     which is i< generally
                                                                                                                                                                                                              gmmi/Jy
                                                                                                                                    itccepud in the
                                                                                                                                    accepted          lhe medical
                                                                                                                                                           mdical community
                                                                                                                                                                       com,..,,n#y. would be denied                under
                                                                                                                                                                                                        dmitd .,,,,Ja
                        Lyme disease di•=. the ·IDSA ·guidelines  guidelines not only mislead      mislead. treating
                                                                                                                                          evidmce-bmtdsldJulard
                                                                                                                                    an evidence-bated          standard b.ca""
                                                                                                                                                                            because sofew healthcare
                                                                                                                                                                                                 hcalthcarr: services
                                                                                                                                                                                                                 s<rvk<s
                        physicians,
                        physiciani:, they            olso usurp patient autonomy
                                             th.ey also                         autormm;< Rigid guidelines
                         that !'.iii
                                                                                                                                    have· been subject to rigorous rcs<arcb.
                                                                                                                                    have                                       research. At particular risk for
                                  fail to consider patient preferenceprd'eten.:e or    ot allow for the exercise eotctcise
                                                                                                                                    denied
                                                                                                                                    denial     of 11edd
                                                                                                                                                    needed '=iw
                                                                                                                                                             services are disabled
                                                                                                                                                                               dis.,bkd    ~opk, because
                                                                                                                                                                                           people,     becaus; of the  lhe
                              dinieal discretion
                         of clinical      disctetiona<e     are inhetently
                                                                inherently paternalistic
                                                                               paretruilisri.c 11451.
                                                                                                    !M•J.
                                                                                                                                     laek
                                                                                                                                     Lack   ofrnatrntht
                                                                                                                                            of  treatment    provm
                                                                                                                                                             proven     ef[utivt
                                                                                                                                                                       effective     through
                                                                                                                                                                                     lhruugh    clinical irk/se[2ri].
                                                                                                                                                                                                            triall1m1.
                             While it is appropriate to consider treatment costs when
                         drafting
                         dtafting protocols, medicine is not an actuarial              oauarial science. In            thi; Even worse,
                                                                                                                  Jn this                                         rommentat,or< suspect
                                                                                                                                              worse; some COMIllelltatOr$                 •nspec:t that the use of
                                                         '            .                                                                                   ' as trio
                                                                                                                                                    rotoepls           . . M~I for    fQt treatmtnt
                                                                                                                                                                                             reatment denialsd~niols may mu -
                         sight. of .thee fact            th•~ the u
                                                 fuct that           ultimate' goal    oil of healthcare
                                                                                                   healthca<e Iis the be part oeilarger       oe~·targer strategy by insurers fo             to enhance profitabil-
                          improvement
                          improvemcnt of              long-term hhealth= outcomes.
                                                  oflong·term                         outcom..,. This          issue can
                                                                                                        Thl«fssuc       = ity by intentionally encouraging chronically ill patients .to                                       to
                          only be addressed by asking if rhea              tho patient is well,     well. The IDSA disenroll     \lisenroll [120}.                                                                         .
                          guidelines attempt ottempt to define wellness· wellness by excluding subjective                           The Utilization Review Accreditation.Ao::reditation Commission (URAC)
                          symptoms, but such sleights of hand do not make patients well,                              well. and the National  National, Committee for Quality      Q.uality&su.rancc,
                                                                                                                                                                                               Assurance, both insur-   iltiur-
                          Patients with persistent Lyme
                          Patieni;                               lfme disease
                                                                         di•easc suffer disability
                                                                                                di•abi!ity compara- ance accreditation organizations,       otganizations, provide that        chat only licensed phy-
                          ble to thoserhose with
                                               wirh congestive heart failure  fuilure [HJ.  us], By any definition, sicians      sieions can make  m.ke medical                        decisioru or denials. fri
                                                                                                                                                           mc:d.ical necessity decisions                              fo fact,
                                                                                                                                                                                                                           liict,
                          they are  ate not wellwell. The cost-saving benefit to insurers         ifisur= under the Standards 32 and 33 of URAC's                       URAC'•· Health Utilization Util.i"4tion Manage-
                                                                                                                                                                                                                    Man<ge--
                           IDSA guidelines from         From terminating treatment for                     symprornatic . ment
                                                                                                    fot srmpromatic               meµt Standards require that       tlut caganizations
                                                                                                                                                                           org.uiizations. provide the patient or              ot
                           patients (at  (ot least over  oVet the short-tertn)
                                                                    shotM"-'tn) is clear.    dear. Recently,
                                                                                                       Recentlr, com-rom- physician with the clinical          dinieal rationale
                                                                                                                                                                         rati<malc for the denial, which must
                           rncntators have noted that the 'single-minded
                           mentators                                        'singlecminded pursuit of eco-             ero- relaterel•tc specifically to this patient'sp•tient's condition or treatment plan.             pL.n.
                           nomic
                           nomk efficiency and emphasis       emphasi• on beneficent care           care' represents aA This is because        b=usc a physician's clinical       cliinical judgment, taking    to.king into
                           resurgence of
                           resurgence               paternalism in
                                               of paternalism             the m..a.nagcd
                                                                      io. the     managed care environment account the paticn:e$                                             clini1~ presentation and
                                                                                                                                                     patient's unique clinical                               :and course
                                                                                                                                                                                                                    coutSC of
                           that j~opatdiz.cs:
                                    jeopardizes p:tcient
                                                       patient autonomy Liss].   liSll-].                                         treatment. is key to determining the
                                                                                                                                  treatment,                                        the ·$t;1.ttdard
                                                                                                                                                                                         standard of care. When     When:. an
                               The view set forth in the           rhe IDSA guidelines, that treatment         tteatmcnt insuranceinsuronce company physician merely            m<orely reads
                                                                                                                                                                                            reads. and communicates
                                                                                                                                                                                                            communicatC$
                           should be withheld from patienrs            patients with ongoing symptoms treatment                                    guidelines to the treating
                                                                                                                                  t<eatment guidelines'                    t<eating physician, there is no 'MCI'           =r-
                           who have been previously treated, results
                           who'have                                               remits in a de      Jr: facto
                                                                                                          /&to natural-
                                                                                                                  natutal.- die   ci,. of independent
                                                                                                                                             indcpmdcnt clinical judgment. Such              Sl.lch attempts
                                                                                                                                                                                                      attemprs to elevate
                                                                                                                                                                                                                        elOV\ltC
                           istic -experiment reminiscent of the Tuskegee experiment                    experi'mcnt for form                       substan<:¢ full
                                                                                                                                  fotm over substance            Fall short of the mark.tnatk.
                           syphilis that
                           s:yphili•      that has been so widely condemned for its essential                                         Beyond this. medicalmedkal necessity
                                                                                                                                                                       n=ssity is the legal standard of                of care
                                                                                                                                                                                                                             cacc
                           failure
                           failure to   to uphold
                                            uphold· medical          ethic.~ -— namely rh!!
                                                           medical ethics                        the duty to  tO help
                                                                                                                   ht!:lp or that th:tt applies
                                                                                                                                          applies. to alldl medical      decisions.. The standard
                                                                                                                                                             tncdic:a.I decisions.               t:tandard. of wireeat!! 'i$' the
                                                                                                                                                                                                                          is the
                           cure,
                           cure,. to protect
                                          ptoto<t the paric11''s
                                                             patient's health, to provide unbiased infot-            infor- case                      o.nalytical process,
                                                                                                                                  c.ase specific analytical          pct>ccss, which producesproduces aa clinical yard-   yard·
                            mation to
                           mation        to thethe patient and to respect the P"'ient's         patient's autonomy. stick (reflecting       freflc<ting both the art and          ""-d science of medicine) .and              and
                            Not
                           l:':-lot  surprisingly,         most patients with pc~sistcnt  persistent Lym¢  Lyme disease holdf:    holds providers and       :ind managed care systems accountable         accouncablt in
                            opt
                            opt out of this   this experiment.                                                                     dct~rrn.ining exposure to liability
                                                                                                                                   determining                           liabilit;t. It is based on nation.al  national and   a.nd
              I


                          548                                                                                                                                                        Eeom At, Anti.;ftfrt. Men         );(2004)

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                    Case 3:11-cv-01807-VLB                                             ZIMBERLINLAW
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                         85078359%
                                                                                                                                                                    Tieatrno~nl of Lyme disease
                                                                                                                                                                    Treatment


              clinical physician practices, as opposed to the                        d1c medical practices employing a• standard of medical necessity                     n=sity rl:iat              slgnifi®ttly
                                                                                                                                                                                       that was significantly
                     payot review practices
              or payer                    procti= of the managed       managed, care organization
                                                                                            organiution or       ot at :2.t variance with communityconununity standards.               Consist~nt with the
                                                                                                                                                                       stand.ards. Consistent
               insurer. Allowing each provider to define medical necessity doctrine                                    doc<rine that Polio/  policy language be construed liberally in favor of
               individually would essentially    esscntiolly allow insurers to define             dcllnc their
                                                                                                             thdr       the    insured,    the   court also
                                                                                                                                                          '1.lso made it clear
                                                                                                                                                                             dear that !he  the term 'medical
                          standnd of care - a• notion that has been soundly rejected necessity' will be defined liberally ft(155].
             , own standard                                                                                                                                                  55].
               by the courts COUftll (iss].
                                       [15$].                                                                               The obligation of .insurance insurance companies is               cithe< to render
                                                                                                                                                                                          i• either
              • Guidelines do not constitute         corutitute the standard   •tandard of care, which services         scrviees in conformity with the standard of care                    rue applicable to
                must be based on the clinical judgment of practising                                        physi- , the medical community at large
                                                                                           practi<ing ph)'l<i·                                                    l:u:ge or to reimburse the insured for          fur
                cians taking into account the unique clinical presentation and '· medical-sexy                           medicafservices           proyided within that standard of care,
                                                                                                                                       - ices provided                                               rue, subject
                course of    of treatment lot    fot the particular patient. Those relying on to                              at1y express exclusions of benefits contained in the insurance
                                                                                                                         ro any                                                                          insu!llnce
                guldelin"S
                guidelines or other    othcr cost-containment mechanisms for.any                    for any part contract.
                                                                                                                         conttact. Where            •=dards
                                                                                                                                       Whe1c two standards of care exist, the obligation is to
                of the medical decision-making pr=
                of                                                        proems are not relieved of provide treatment or reimburse for                                           trca.nncnt conforming
                                                                                                                                                                            fur treatment        c:onfonning to
                 chdr obligation to follow the clinical standard of care:
                 their                                                                           ca«:                    citl1er standard of care,
                                                                                                                         either                        care. Under
                                                                                                                                                                Undeic the medical ethics doctrine     dodrinc of
                                                                                                                         autonomy and the legal principle of informed                lnfo11ned consent, the
                        'However       impmrivt! the ~rganiutliun
                        'HoW<tltl' impressive                   organization that sponsored  spomord the     th<
                                                                                                                         choice between different treatment        tteatment approaches must         m= remain
                       gu;d<!ine1, or in
                       guideline;               procm fir
                                           it. process     for developing
                                                                   tku<kping them, the fact       fact that a            with the JX\tient
                                                                                                                                       patient after consultation
                                                                                                                                                            eoosultation with the      th.e treating physician.
                                                                                                                                                                                                         ph.)'\lician.
                      protocol
                       protoroi exists
                                   txists fir
                                           for a particular
                                                     /write' alai condition
                                                                       rondino11 an   does not     mean that
                                                                                            wt "''""                              obscn& of malpractice
                                                                                                                         The absence                 rn'1.lpractice does. not ·imply the presence      p"""'1ee of   o>f
                                  proJ>O= i.r
                        what it proposer        it true.
                                                   In«. Nor does    tl«S it guarantee
                                                                              guarantu that the      tht proto-
                                                                                                         proto"
                                                                                                                          infotmed consent
                                                                                                                          informed       eoruent Dm.  [IB>J.
                        c•i accumtely
                        col                    represents ~ry
                              ar:curauly. rtpmmlt                                  pram.:.... q-lionirig
                                                                 customary practice...questioning
                        may    tu1dnm the
                        mtt.y address           JaJp<c of
                                          tht scope     oftht       gimk/illl!, how it was
                                                            the guideline,                           ~[qped
                                                                                             wa.< developed
                                                                                                                          Employff        Retirement Income
                                                                                                                          Employee R&lkoment                ll"ICQtl\G Security
                                                                                                                                                                         Secu;Uy Act
                        iuui   adopted. -the
                        and adapted                 eminence of ht•um
                                           .. th, <Xirtmc•              known ='Pli•m
                                                                                   exception to in    its ay/l-
                                                                                                          app/J.
                                   a'nd whtlhi:r
                         C4lion, and     whether "nJ          JC!Mol •!
                                                       any school         of medical
                                                                              ,,,,,JJ,al thought rej•ct>
                                                                                                       rejects it
                                                                                                                          In ltlllny
                                                                                                                                many instances,    •Ill"'
                                                                                                                                        instan<a, state law      faw may be preempted
                                                                                                                                                                                   p=mpttd by the.fcdctalthe federal
                                                                                                                          Employee Retirement Income S«;urity             Security Actkt (ERISA) for      fur insur-
                        aridadaptsa        diffen:nt .zpproach
                         .zlld rtdoptt a different      approach to treatmentmal'IM!tJ:...  .. '1141).
                                                                                                                          ance plans offered offcr<d by employers to their employees.        <:mplQ)'Cf:S. ERISA
                       Courts have held that certain         eertai.n guiddinc            d-lopers 'can be imposes
                                                                           guideline developers                            impo$<0 on the insurer the 8'1tn•        same arbitrary
                                                                                                                                                                            arbittary and capricious
                                                                                                                                                                                                "'Priciow stand-Stand-
                  held liable for·    for &ulty
                                           faulty guidelines, and that doctors (and other <td                                          appli.. to fiduciaries generally
                                                                                                                           ard that applies                             g.:newly and limits limit< enraconuac-
                                                                                                                                                                                                      exttaeoncrac-
                   mcdlcal
                   medical decision makers, including insurers) cannot pass                                pass off
                                                                                                                  olf tual and punitive               da111ap. ERISA WllS
                                                                                                                                        pu.aitive damages.                      was initially enacted
                                                                                                                                                                                                   eM<:tcd to  io pro-
                   tbeir
                   their liability by claiming that adherence                             guideUncs lw
                                                                       adherena: to guidelines             has cor- teet          "!Jl'hlst breaches
                                                                                                                           tect against       b.reacllcs of      fiduciuy duty
                                                                                                                                                            of fiduciary       duiy by thosetltosc administering
                                clink:al judgment [1%J.
                   rupted clinical                                      Third-p:u:iy payors
                                                             Lr5$E Third-patty            payi:>rn may be lia-    Ua- pensio11          plans, and its application to health insurance medical
                                                                                                                            pension plan<,
                   hie
                   ble     for  injuries    ~
                                            canted     by    negligent         utilization
                                                                               utlliutio11    review      decisions         malpOlCtke
                                                                                                                            malpractice        situations has been    becn a• contorted exercise leaving       ~ving
                .. ttl.il, .Th"'    AP!l.VJ!l .dic
                             The eMir.t.in         Vie case         .!lf .Wu1Jiiu.11....S-.,,f-C11.Ufomla-. -.inj=<I· pLtlntiffi-without an·-.deqwnrrem?:dr when: lmM!rn ··
                                                          <:11.!le .of   .WiCkiinC        .Sutte.    of  Califinnia.        injruted   plaintiffs-without            an•-adequate       iewedy       when     hunters
                   stated   d that third party tswors                   an hd .
                                                                    rs Can                              · '                               1td119 sbo ...wi:m •ffCO tm:11 "~ lont"tctm
                   mie .i         y inappropriate dcci.dons re.ult from ... implementa- pa                                        ail outcomes. Due to the inoquicics that arise wluin ERISA
                                                                                                                            pati;.\i:
                    don of cost contdnmC11t mod:lanisms' (lS<IJ, :/(Jthough the is applied IO                                                                         liiruatioru, there h.u been a trel'td
                                                                                                                                                  malpr.ctlce situations,
                                                                                                                                             to malpractice
                    patient had not sued the treating           tn:ating physi ph)'\lician, th• ease futth~ tt!Wl\J:d        toward narrowing the ERISA pre-emption,      pre...,mpcion, through:
                    noted that 'the physician       pbydeian who complies          compli""· without pro-        prQ- • Case law imposing state malpractice



 l
                                                                                                                                                                                               ll!atldanU in cases
                                                                                                                                                                       malprtctice law standards                   Gll$O$
                    tesr—wh
                    t ..1,; .when              m.edicid judgment dictates otherwise, cannot
                                    n his medical                                                             ea.a.not          involving mixedmind benefit and !t'CatmCl\ttreatment doci.oions
                                                                                                                                                                                          decisions
                    avoid his  hls ultimate
                                    ultlma"' responsibility for his patients' care:                          Signill-
                                                                                                     care.' Signifl-
                    candy, ro.st cost containment measures -..                 were one of the                fiactors • State statutory
                                                                                                  chc key factors                                              =plicldy imposing state
                                                                                                                                        stattttoiy law explicitly                                  «>mrxlon law to
                                                                                                                                                                                           stm common
                           Murray                                                                                                asCI' ""1t
                                                                                                                                can     that   might     otherwise       ha,,.
                                                                                                                                                                         haw    been    pre-emptcd
                                                                                                                                                                                        pre-empted        by ERISA.
                    in                 u
                    in Mul"Ylf;Y " Chesapeake,
                                          Ches"f"ttlte, where             the    clink as
                                                                                 clinic  .. well JI.I as the   physi-
                    ciat1 were foundeliable
                    cian            found'.liable in the      ch• USS3.2
                                                                      US$3.2 miUion           vctdlct (lGOJ.
                                                                                   million verdict        r1601. This            Recently, the Supr<me
                                                                                                                                 Reoendy,             Supreme Court ruled that state statutory         stactttory law
                     principle is also recognized t<:cogniud by the Dep:u:tment     Department of       of Quality wuld      could not survive
                                                                                                                                             "1.ltvivc an ERISABRISA preemption
                                                                                                                                                                          prc<:mptian clamp claim and i:efus<d
                                                                                                                                                                                                             refused to
                     Assurance of the American Medical .llssociacion,
                     hsW'Mlce                                                    Association, the American permit a malpractice           mtlprnctlee claim \lgllln$tagainst insureu
                                                                                                                                                                                insurers under a mixtd  mixed l=cfit
                                                                                                                                                                                                                 benefit
                    College of Medical Mcdiod Quality,
                                                     Qrnality, and d1e      the US Agency fur       for Healthcare and creannent    treatment standard in the,                 rase of Affll<t
                                                                                                                                                                         the. Ql5e         Aetna Hfal:th
                                                                                                                                                                                                      Health Inc.lttc. "u
                     Policy and  and~- Research.                                                                              Davilll, sus
                                                                                                                              Davila,         h FlaS fi7i,
                                                                                                                                         rus LEXIS     mi. (Usros 21)Ul>le2~)).
                                                                                                                                                                   Z1 JUMP 2001)1. It is noteworthy,
                                                                                                                                                                                             noteWOrthy. however,
                          In cases fucw;ing             ~ a• c11:atmcnt
                                      focusing on whether                  treatment provided is medically medi<:ally !Mt     that the Supreme Court    Coutt pointedly                                   ~t macs
                                                                                                                                                                                diffurentiatl!d the present
                                                                                                                                                                  poimedly differentiated                           cases
                     necessary, a treating            physician's judgment, while not dispositive,
                                        tt'Qting ph)"ician's                                             d4positive, from previous   pievious tnixedmixed benefit and treatment  ttoatment cases.::ases involving the '
                     is entitled to great deference by the courts.                 court!. In San-hett
                                                                                                  Sarr:httt v. Blue
                                                                                                                  B/,,,. decisions of       of treating physicians or w:ating               ph]1$iciaru' employers.
                                                                                                                                                                                treating physicians'        employcrn.
                      Shield of
                     Shia        vf Caltfirnia,
                                    CttUfornia, the court stami         stated that 'with'wid1 doubts m<pect- respect- In making  miking the ruling, JUSti=                Gimb~ and Bl:<:)"'r
                                                                                                                                                               readers Ginsburg                Breyer issued ~a con-
                      ihg coverage
                      ing    COVCf3i" resolved in favor                              subsc~iber, there
                                                               f.ivor of the subscribet,               tM« -..ill
                                                                                                               will be curring opinion, but joined the 'rising judlcial               judicial chorus urging that     th.~t
                      few cases
                             co.sos Jn
                                     in which the physician's judgment ;, so plainly unrea- Congress                          Congroos and  •rul the court revisit wba.t   what is an unjwtunjust and increaiingly
                                                                                                                                                                                                           increasingly
                                        contmy to
                      sonable or contrary             ro good medical practice, tlu.t           that the coverage ""1glcd                 RRlSA "'!limo'.
                                                                                                                               tangled ERISA          regime'. The         d..,;.,ion .,,.ult«!
                                                                                                                                                                    Tho decision        resulted in renewed
                                                                                                                                                                                                         n:newed callscal]$
                                    refused' (KU.
                      must be roliw<d'            {t<IJ. Furthermore,
                                                          Furthctmore, 'all        111 utilization review deci-  dJ:ci. fur        Congrm to either amend ERISA or paSil
                                                                                                                              for Congress                                                                  right< legis-
                                                                                                                                                                                         pass patients' rights
                      •ions must be consistent with community
                      sions                                            comrnunit;· medical standards.  standard!. In lation. Due to the             th.e fact          this area of faw
                                                                                                                                                         f.tc:r that rhis              law is currently under sig-
                      lfught:t v. Mac
                      fivers           BU,, Crosr
                                                Ova of   •f1Vonhern
                                                              N•rthern California, the           rho court found nificant      ni602t1t flux,      dte impact of ERISA on the ''""'
                                                                                                                                          l:!U>:, the                                          state law obligations
                       that           iD.<tlrcr breached the covenant
                       rbat the insurer                                      COV<:nanr of good     g<>od faith
                                                                                                            fuith by applicable to                insun:ts is beyond the scope of
                                                                                                                                              ro insurers                                  of this article.
                                                                                                                                                                                                      =idc.


                    www.futmrc-drugs.com                                                                                                                                                                          549


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           • Johnson & Stria&
                       Stricker


iI            Experl      opln;on
              Expel opinion                                                                                    represents an     :il.n important area of       Of development. Pot              insbnce~ a.
                                                                                                                                                                                          For instance,         a
              Knowledgeable and respected professional          profu;sional        groups    can,    and      recent        study       of     chronic:
                                                                                                                                                chronic       hepatitis      c·
                                                                                                                                                                             C    suggested
                                                                                                                                                                                  suggc..tted       a    novel
                                                                                                                                                                                                         nOvel
               often do, come down on opposite         oppos~«: sides of a part:icul:u             treata approach to treating heterogeneous
                                                                                      particular treat-                                              hoterogeneou.s patient groups. In that
               mcnt issue.issue, When this occurs,  oecur.s 1   the   standard       of care  embraces         stu.dy,
                                                                                                               study,     the    length       of  treatment               wa.s individualized, based
                                                                                                                                                                  given was
               the practices of each of the different schools of thought.                                      on     whether         the   patient     was
                                                                                                                                                        Wlls   deemed       to be a rapid responder,
             , Regardless`
               RcSru:dles! of the    thi:: standard of care preferred by a physician,    physician,. the       slow       partial        responder,        flat    partial     responder,
                                                                                                                                                                               re<pond«, or a null
                                                    ox<rcise the best clinical
                                   r<quircd to exercise
               physician is required                                         clinicol judgment, and             responder           urn.
                                                                                                                                   {1111.    Similar      novel     treatment      strategies
                                                                                                                                                                                   str:ategi.cs based on
               wlor treatment
               tailor     trca.tment to the individual patient's unique clinical          clinicol pres- patientpaiient individualization may be rcquiredto            required      to solve the treat-  trcot-
                                                            t~tmcnt options
                                        cxii;:tence of treatment
                ent.a.ti.on. The existence
                entation.                                                   optio-ns with different
                                                                                                diffCient ment issued—in-  i.ssua""'nf chronic Lyme disease.                   Those       with persistent
                risks and  aod benefits shifts the focus to patient preferences,           preferences. Lyme disease        disease' may be ..:cognized recognized as a• heterogenous
                                                                                                                                                                                 heterogcnou• group,
                P~tients cannot make informed autonomous choices ·among
                Patients                                                                          among consisting of patients who respond rapidly, slowly, P"'tially,                               partially,
                options unless the physician discloses to the patient                 pa<ientsufficient         corn.plctdy or
                                                                                               sufficient completdy                                          antibiotic. treatment.
                                                                                                                                      of not at all to antibiotic
                 informotion about different
                information                   diffi:rcnr treatment
                                                          ttcat!\'.lent approaches to enable the                     Another issue that may contribute to heterogeneity among
                 podent to make a meaningful choice. Once this
                 patient                                                              thls information. persistent Lyme disease                disea.se patients is the number of pathogens
                 ha.s been disclosed to the patient, the decision about treatment creating
                 has                                                                                             era.ting the illness. Since the identification of B. hiortiorfiri             hurgdorfiri as
                 shifts to the patient.                                                                          the    agent        of,  L)'.IJl<
                                                                                                                                     of Lyme        disease     ;n
                                                                                                                                                                in   1982,     15   tick-borne
                                                                                                                                                                                    tide-borne        bacterial
                                                                                                                                                                                                      bacrerial
                      In the
                           the. treatment
                                tte;:r.tlnent of persistent Lyme    Lym:e disease, two schools of pathogens have liken                                               througllout the world,
                                                                                                                                             ll"een described throughout                     wodd, indud-
                                                                                                                                                                                                        includ-
                  thought have emerged,emerged. and patients are         arc faced with a choice of ing three species of                       of.Ehr!Jr:hilz,
                                                                                                                                                  Ehrlichia,      and  four    species    (possibly
                                                                                                                                                                                          •(possibly    five) of
                  treatment options. The obligation of insurance companies is B. Butgeknirri                           h~rgdorfori Irrai.          Sclonli.sts have still not
                                                                                                                                          (11'). Scientists                          identified all of the
                                                                                                                                                                                not'identi.fied
                  to render services
                                  scrvias: in omforinity
                                                 confon.Uity withi         either community based
                                                                    witq.·,.elthet                   bas~d       pathogens that ticks may carry             carcy Pim.
                                                                                                                                                                     (11'). Until we are   ore able to idea-idenc
                  st:andard of care,
                  standard           care~ or to reimburse the       thC insured
                                                                          i.l'lSu.red for medical serv-scrv~      tify all of the infectious agents        :.gents contributing to a patient's ill-
                  ices provided within either       oither standard
                                                              scaodard of care, subject  subje<;t to any ness, difficulties may be expected in determining                  dcte<mining the appropti-appropri·
                   cioclusion of benefits
                   exclusion            hcni:fits contained in the insurance       insurance contract. ate course of treatment.                             Moreover~ .the
                                                                                                                                          ttt:atment. Moreover,             the diversity            specia . ·of
                                                                                                                                                                                  dliversir.y of species          of
                   However, in the absence   absetL<:e of a provision to the "Contrary   contrary in in. the bacteria among       =ong the tick        tick-borne
                                                                                                                                                             -borne pathogens also complicates    complicate$
                   iosurana: contract,
                   insurance        eontract, the determination
                                                         deterrn.inacion of treatment choice                      diagno;is because current antibody
                                                                                                    choicl'.: diagnosis                                        anribody tests are species-specific
                                                                                                                                                                                             specie<-specific
                   ultimately remains with
                   ulcimatdy                           th~ patient, not the insurer.
                                                with· the                                                          IIl4,11'J. Improvement in genotyping ..techniques
                                                                                                                   Ii14,1151.                                                 ~chniqucs holds promise
                        AlloWing a:i serious multisystemic
                        Alloying                      m.ultisystemic infection,infcctiOn. to progress for not only detecting             dcrecting and identifying other pathogenic       pad>ogcnic bacte- ha.etc,
                   unobot<:d an
                   unabated                            irrcv..-.ible physical
                                   cao result in irreversible            physia.l damage,         debilito- ria
                                                                                       drunage, debilita-          ri2 carried by ticks in the           d'e future {tl>J,
                                                                                                                                                                        Ins], butb11t also
                                                                                                                                                                                        oho improving the
                   Lion,
                   tion, and ond death [72).      Untrc<ttcd Lyme di
                                            rah Untreated                  di""°"" sc may mimic
                                                                                             roimk other diagnostic tests used                   u•cd to determine who .should         should be treated,tccated,
                    conditioll.$ such,
                    conditions       such. as vasculitis,
                                                 va.sculitis, demyehnating
                                                                  demyelinating disorders, motor whether a course                      cou"" of treatment is being effective,        clfective, and when
                    ncurops.disem and dementia
                    neuroncrlisease                              tol 'l!iile it wi R$; q,pW<i>£ tll .wcm~lmm~sful. • . ·.
                                                  d!;Jll~iltia n91,                                                                                                                   ,
                             pcGist.:nt Lyme disease, this cost pales in comparison with
                    treat persistent.                                                                                          i.\h~ing undcrstar
                                                                                                                       The iti~teasing            undetstandi.ng  ling of human
                                                                                                                                                                             hutnan genetics may also
                                      untr<atcd Lyme
                    the cost of untreated            qme disease manifesting as progressive influence the treatment of persistent Lyrae                                        Lyn:i• disease.
                                                                                                                                                                                         discosc. While it is       lo
                    rheumatologlc, neurologic
                    rheum,atologic,         neruologic and cardiac disorders. disordets.                            known that  that host genes (human leukocyte antigen                           cla.ss II a4e-
                                                                                                                                                                                      ;1ntigcn class            .Ue-
                                «:ntral difficulties
                        The central        diffieultia in the diagnosis and treatment of 1.S)                       le.$) rnay           as$0ciated with chronic Lyme arthritis
                                                                                                                          may be associated                                            orthritis and lack of
                    Lyme      di•=• stem
                    lfme disease          «em from the lack      lade of sufficiently sensitive and response        respon...~ to antibiotic             t~tment (l
                                                                                                                                        :mtibiotlc treatment               1~, other genes·
                                                                                                                                                                        p lei,            genes may        cventu~
                                                                                                                                                                                                  .tn<1.y evenru-
                                 biologicol markers
                     reliable biological                   of
                                                m'"kcrs of the disease,disease. Without such           tt1.a{k- ally be associated
                                                                                               •uch mark-                      HSocl..,tcd with pcrnistcncc
                                                                                                                                                         persistence of      neurologic Lyme disease
                                                                                                                                                                         ofneurologic                  dbcase in
                     evs,
                     en:j it is difficult to     dotcrmhte who hu
                                             tQ determine                           discas~, the effective- the future.
                                                                        has the disease,                                  futute. These advances, in             in. turn,. could
                                                                                                                                                                             oould.affcct            detcrinlna-
                                                                                                                                                                                      affect the deterrnina-
                     ness of a course of treatment, and the             th~ end point of treatment. [ion             tion of<>f the best course of         of treatment for an individual patient.
                     Under these circumstances,
                                         circ:t.u:nstances, :thethe best,tvidence
                                                                      bcst;;evidenCc to guide            treat~ Recently, the head of a t..rge
                                                                                               guid('. treat-                                             large pharmaceutical company disclosed
                     meat      dC(;isions may be the paticnt•s
                     mcot decisions                               patient's unique
                                                                                Unique clinical course. high failure         f.tllure rates of    of commonly prescribed
                                                                                                                                                                       pres<ribed medkatioll.$
                                                                                                                                                                                         medications duc    due to
                     Medical decision-making in            i1:1 the grey zone exists on a• comfit-   contin- the genetic variation       Vll!iation .of of patients (more (mor< than 90% of mcdi.ca-       medlar-.
                     uum,. framed by the competing
                     uum,                           rompcting goals of avoiding    avo;ding unnecessary dons                  work in only 30-50% of
                                                                                                                     tions workin                                 of patients), and the executiveccceutivc pro-
                     costs on the one hand, and         :and avoiding
                                                                avoiding· malpractice
                                                                               mal.praccicc exposure
                                                                                              cxposu1:e on posed targeting drugs 'to                        to genetically detetrnined
                                                                                                                                                                                   determined responsive
                     the other hand.hand, Here, tort rules can        cao serve a legal, medical and       o.nd patients [178).     Lila). Genetic testing'"'ting that would enable •a physician to
                      moral purpose by      b)' pt<>m<>ting
                                                 promoting medical accountability (159].          (11•1• The target drug treatment ro                    to persistent Lyme disease disea.se patients would
                      treating
                            i physician should keep
                      tracing                             ~pin     in mind
                                                                      mlnd that the fulcrum against   >gainst fundamentally
                                                                                                                      fund•mentally alto<       alter the landscape of        of Lyme diseasediscasc diagnosis
                                                                                                                                                                                                         diagn<1si.o
                      which
                      whi& these frequently competing goals must                           balan«xl is the and treatment
                                                                                 mwt be balanced                            treatment.
                      patient's .individual       cliniotl presentation and preferences.
                                   individual clinical                                                                  The 5-year .view       view in terms of the medicolegal a.ssessment           assessment ·
                                                                                                                      depends to a large degree on the                       cxtc111t to which the Lyme
                                                                                                                                                                       d1e extent                              l..yme
                      Five-year view
                      Flve-y9<'.lf                                                                                    controv~tsy
                                                                                                                      controversy can b.r:·                                Scicntifi.l;: uncertainty
                                                                                                                                                      dcp¢ladzc::d. Scientific
                                                                                                                                                  be depolarized.                          uncercainty is          not
                                                                                                                                                                                                              i:;: noc
                      A key concern with Lyme      Lifille disea.se outcomes studi     studies ro ,fate has settled by opinion _,                     —   even    the   opinion     ·Of
                                                                                                                                                                                     of    researchers,
                                                                                                                                                                                           res:earche.ts:.    More-
                      been the suggestion
                                    suggc$tion ithatthat the conflicting results of these trials over, when rcSC:\tchers                  researchers start  srart to hold entrenched viewpoints,    vic::·wpoints,
                      may reflect a h~terog1!ncous
                                          heterogeneous patient p¢pulation·(I07J.
                                                                           population non. The need science itself is in trouble. In the pr<:!sent                           present polem.ieal
                                                                                                                                                                                          polemical environ-
                                                                                                                                                                                                          cnvi(onr
                       co provide more fl~ibility
                       to                                         "t<\ndardiz.ed treatment regimens mcnt, evl:.n
                                               flexibility in standardized                                                      even the ability to design appropriate      :apptopri~te rese:irch           studi~~
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                                                                                                                                               of Lyme disease
                                                                                                                                     Treatment Of


           and interpret the results of studies in an unbiased manna         manner hashai;:      Unfununatcly; =J:die.,
                                                                                                  Unfortunately;                        adhe"' to short-term
                                                                                                                      researchers who adhere                    treatment
                                                                                                                                                   short-terrn """tmetlt
           become compromised. There is a strong need               noed for the two protocolsprotocol• have rebuffed past proposals by members of                       of
           Lyme campsc:unps to begin a• dialog, and ond it seems likely that a formal !LAOS   ILADS for cornmencing
                                                                                                                eoinmencing a dialog between the two camps.        C"-mps.
           structurod approach will be necessary.
           structured                            necessaty.                                                             legislati\'e bodies to participate
                                                                                              When invited by legislative                        participato in an open
                Attempting to achieve an artificial consensus among contentious forum, these same researchers, by and large, refuse to partic-                      panic~
            ratios is cot
            gtou"ps         flol likely to be fruitful ivy).(171). Although thc the NIH ipate. ip•te. This is clearlycleatly unacceptable conduct for those who
           -<>ffers a consensus proeess
           offers                       process using an independent panel            thar receive
                                                                               pand that       receive. public funding to conduct research. There       Thcr. can
                                                                                                                                                               e•n be no
            !O<Jks
            looks quite promising on paper, commentatorsCommentators point out that'           prog~"!!_.i!I
                                                                                      th>t' progress        in bridging the gap between she     the two cam.ps
                                                                                                                                                          camps without
            thc reality .falls
            the               falls short,
                                     •hort, suffering from a lack of     of impartiality, · dialog:the
                                                                                               dialog. The government, which holds the purse strings           stdngs for
            biased
            bio.scd evidence selection,                exdU$ion of important stake-
                                     sdcction, and exclusion                                           res..,tch grants, bas
                                                                                    srok.,. the research                     has the power and the obligation to
                         flsOJ. The concept          'leience court, first
             holdert
             holders luso".           <oncept of
                                               of a science            ftm advanced
             the 1960s, addresses many of these issues by offering stake- of open dialog and
             tbc
             holder input, impartial adjudication, managed selection of ance
                                                                                                                           =-!!"
                                                                              advanC<ld in ensure that researchers who receive grants
                                                                                                                     1U1d free
                                                                                                                                              gtanu engage in the type
                                                                                                                          ftee exchange of ideas vital to the perform-
                                                                                                            meord:t that addresses the needs of all stakeholders
                                                                                                a:nce of research
                                                                                                                                                                  pedi:>r1n-
                                                                                                                                                           mkeholders in
             evidence, and a thorough                                   'facu' arid
                                                airing of scientific 'facts'
                                     thorough· silting                          and view- this controversy.
                                                                                                       eonttOVerli")'.
             points via cross-examination 1m1.     inn. Howev<r,
                                                          However, it tnaymay bebe pr:ema-
                                                                                   prema-          In summary, although this     tlW; 5        medicolcgal perspective
                                                                                                                                        -year medicolegal
                                                                                                                                       5·Y=                  perspeaive is ls
             ture and unrealistic to rush to resolution of a• controversy not partieu(,dy              particularly optimistic,            enlightcMd funding of Lyme
                                                                                                                                    more enlightened
                                                                                                                       optimi<tic. mor:e
             where the science is stiU unfolding.                                               dis= rese'a
                                                                                                disease     ~                govetnmMt · agencies and initiation of
                                                                                                                 ' rch by government
                 At this stage, meaningful progress can          cm only be made by meaningful dialog             dialog~ between the Lyme campscamp; should ultimately
              replacing the goal        of conflict resolution with tho
                                  g<>al of                                     more realis- 1""'1
                                                                         the mote               lead t0 ro ierolution
                                                                                                           resolution of of the 'Lyme wars'.
                                                                                                                                        WIUS'.
              tic goal
                    good of conflict delineation. This type of        (If process would
              serve to identify and quantify the extent of
              •erve                                                        consciuus and Aoknenvioatpaments
                                                                      (If consensus              l\cil;nowli:>dgemonts
              ronttoversy as
              controversy       ;a, well iu              knowledge gaps, while estab-
                                         as highlight knowlcdg<!                     esmb- The authors thank Bransfield      Btamftcld It, R, Dickson I<,     forward ID,
                                                                                                                                                          K. Dorward      D,
              lishing a rescardt
                              research agenda. For instance,
                                                           imtanec, there may be a Fallon 13,              l.i, Gaito A, Gerberditig
                                                                                                                           Gerh.:rdingJ,  J, Harris N, Harris S, Harvey
                                                                       hetorogcneity of W, Howard
                            con<Cnsus than realized on the heterogeneity
              broader consensus                                                                        Hoggard M, Johnson B, Kjemtrup A,           A. Lane
                                                                                                                                                       lane R.   Liegner K.
                                                                                                                                                             B. Liegncr
              patient or study populations. Identification of this consensus     con.,,nsus Lull R, Moore D.            0, Mo.row
                                                                                                                            Morrow S.  S, PhUUP'    S, Prelm
                                                                                                                                          Phillips S.               Sherr V.
                                                                                                                                                        Prehn W, Sheer
                                   the discussion of how meaningful classes within Smith FL
               could lead to the.diSGUssion                                                                H, Sugarman G and Winger E for helpful discussion,    discussion,,
               the group might b<:      be identified. The first step would b<        be to ro The authors o.rc     are grateful to attorneys   Gr:eavcs L, Maurer I, and
                                                                                                                                     attOrnCJ" Greaves
                                pt0e.., designed to insure that stakeholders
               establish a process                                        s,,00,holder> all ShepleyL
                                                                                                  Shepler L for 1nedicolcgal          commentary, and to Hoggard M
                                                                                                                      medicolegalcommentary,
               have an equal yoke.         Rdevo.nt issues here might include trans-
                                    vokc. Relevant                                    t<ans- for technical assistance. The authors would also like            lih tot(I thank
               parcney,
               parency,      conflicts   of interest,   confidential    voting   (to  elimi-
                                                                                      dimi-       Smith     P  oftbe.
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                                                                                                                                             dre Calif.
               forceful personalities or authority figures), proposition               fnm· ASS
                                                                       ptoppsition fram-                                  Fotilcbncr K of the Lyme
                                                                                                           ation, and Fotschner
                                                                                                  Assoiratlon,                                     4'tne Disease Founda-
                      i<>ues and other group process mechanisms to safeguard tion for continuing support. This article is dedicated to the
               ing issues
                fairness
                fairneM and impartiality.                                                          memory of Paul Lavoie.


                     Issues
                 Key issues

                •          lad< of sufficiently
                       The lack    S1Jffkitntly sensitive and reliable biological
                                                                       biol09ic:al markers of Lyme disease makes it difficult to determine who has the
                       dlstase, the effectiveness of a course
                       disease,                         eourst of treatment and the end point of treatment
                •                                       praeti~d in the grey zone,
                       The bulk of medicine today is practiced                             c\liden~ is unclear. Evidence-based
                                                                              zone. where evidence              Evidencc-bued medicine requires only that
                       medicine                   accordan~ with the evidence
                       mediciM be practiced in accordance                evidtnce that currently exists, not that treatment be withheld pending research.
                 •     Opinion is deeply divided regarding the best approach for treating persistent Lyme disease. This splitspilt has resulted In
                                                                                                                                                in two standards
                                                                                                                                                        standuds
                                                                 peeMeviewed, evidence-based
                       of care, each of which is reflected in peer-reviewed,    t\/idencc-bascd guidelines.
                 •                                       suppor~d by a strong underlying hypothesis, outcomes research is limited and conflicting.
                       While each standard of care is supported
                 •     The legal standard of care is determined by thetM practices of physicians who                   patie~ts, not by treatment guidelines.
                                                                                                  Who actually treat patients,
                 ••                                    Insurers are held to the same legal standard of care. Medical necessity
                       All healthcare providers and insurers                                                           ntc:essity is determined by the legal
                        standard of care.
                 ••     Where two standards of care                         actordan~ with either standard is acceptable for malpractice purposes.
                                                  c:arc exist, treatment in accordance                                                        purposes..
                  ••    Where two standards of care exist, the treatment decision belongs to the patient under the medical ethical principle of autonomy
                                                               consent
                        and the legal doctrine of informed consent.
                 •      Physicians must provide adequate information about treatment options, their probable outcomes,
                                                                                                                     outcomes. and the risks and benefits
                                                                                                                                                     t>E:nefits
                        assoeiatcd with each for patients to be able to act autonomously or give informed consent
                        associated



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                 '             Stricker
                     Johnson & nicker



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                     References                                                                        11
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                                                                                                              MacDonald        G.,c.tion.t Lyme
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                            Marcus LC, Suer:     Sn:eo: AC, AC. Duray fH,     PH,                                       for Disease
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                            p:mcudi.'l;i-.
                            panearditis in      i~ at. patient
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                            l.y.me     dkruc and
                            Lyme disease           ~nd babesiosis.
                                                         b:abes:iosis.                                   111>· 48(RR-7)
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                             Demonstration of
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                                                                             LYME DISEASE SYMPTOMS

The symptoms of Lyme disease are extraordinarily extensive. While you are highly unlikely to
experience all, or even most, it is important to know what might be associated with this multi-symptom
disease so that you can seek appropriate medical help promptly:
The Tick
     Tiek Bite
    you get aa. rash it may be:
 Ifyo\I
 If                             be;                                                                             Respiratory   :11nd Circulatory Systems
                                                                                                                Rt~pirarory and
            Raised, hot to touch, itchy, crusty, or cozy           oozy                                                   $hQrtlics$ of
                                                                                                                          Sheathes,        ofb(cath,
                                                                                                                                                breath, cough
            Circular, spreading out, oval, triangular,  trian.gular, or long-thin lint
                                                                                     line                                 Difllculty breathing or pneumonia
                                                                                                                          Difficulty
            Disappear and return                                                                                          Chest pain or rib soreness
             At the site of the bite or         cm other parts of your body
                                           ()t' on                                                                        Night Sweats               une~l)l~ined chills
                                                                                                                                     SWt:St$ or unexplained               ohills
                            Nott~ You may never see
                            Note:                               siee a tick or  'et a re
                                                                            ()f get    rashh and
                                                                                             i.nd still be                           palpltations1 extra
                                                                                                                          Heart palpitations,              extra beats or   or pulse skips
                            infiecttd with Lyme disease
                            infected                                                                                                 blockage, heart
                                                                                                                          Heart bloelrage,            he1'trl murmur,                pro1apse
                                                                                                                                                               rt'nJtmur, valve prolapse
        Fact:, Neck
Head, Face,      Nectk                                                                                                    Horut attack
                                                                                                                          Heart
             Headache, mild or severe                                                                                     Swelling or enlargement of heart
             racial paralysis (Bell's palsy)
             Facial                                                                                                       Diminished exercise tolerance
             Tingling of nose, cheek, or race        fhce                                                       Nturologit System
                                                                                                                Neurologic
             Twitclling
             Twitching of                    olilier muscles (motor tics)
                            Q:f facial or other                                                                           Burning or stabbing sensations      sens11idons in the body hody
             Jaw pain or stiffness (Tr     (T i 1 J like problems)                                                         Weakness. or paralysis of limbs
                                                                                                                          Weakness
             Ncok is stiff, painful, cr
             Neck                           er 1 les
                                                   ks or cracks                                                           Trcmof'!'l or unexplained shaking
                                                                                                                          Tremors
                     Throot, swollen glands
             SQrt Throat,
             Sore                          g1~ds                                                                          Seizures
             Hoarseness or vocal cord problems                                                                            White matter lesions    IC'.llions.
             Sinusitis or or increase in aa. lergy
                                                 lerg.J• symptoms                                                         Pressure in head
                            chewing. swal
             Difficulty chewing,          swat owing, speaking                                                            Numbness in body, tingling, pinpricks           pinpric~
             Change in smell,smc11, ta..<;tc
                                       taste                                                                               Poor balance,
                                                                                                                                    bBllince, dizziness, difficulty walking      waltdng
              Unexplained hair loss                                                                                        Increased motion sickness,
                                                                                                                           increased                      sickru~ss, wooziness
 Eyes(V  igen
 Eyes/Vision                                                                                                               Lighthcadedness, fainting
                                                                                                                           Lightheadedness,
              Double or blurry vision                                                                                      Stroke
              Wandering or lazy   ltlZY eye                                                                                Meningitis.
                                                                                                                           Meningitis
              Drooping eyelid                                                                                              Encephalopathy (dysfunction of the brain)
                        change~ incl. bli dness, retinal damage, optic atrophy
              Vision changes                                                                                               Encephalomyelitis (inflammation of the brain & spinal                     spfr~at cord)
             Red eyes                                                                                            Psychologk:al Well-being
                                                                                                                 Psychological
              Conjunc:tiviti!'> or
              Conjunctivitis       Qt "pinke "                                                                             Mood swings,!;Wings. irritability,
                                                                                                                                                    irritability; or extreme agitation
              Floaters or spots appea  8')pea ng in the line of sight                                                      Depression and anxiety
              Pain or inflammation o 0Y0         tycS, S, or swelling
                                                               swtllin* around
                                                                          amund eyes                                        Personality changes
              Oversensitivity to light   li~ht                                                                              Depersonalization
              Decreased perception o light or color                                                                         Malai!iC
                                                                                                                            Malaise
              Flashing    Jigh"
              FJ.,hing lights                                                                                               Suicidal thoughts (rare        (rarc cases of   ofsufoidc)
                                                                                                                                                                               suicide)
 E•r~t11ring
 Ears/Hearing                                                                                                               An1<iety/panic attacks
                                                                                                                            Anxiety/panic           atta<:ks               ·
              Decreased hearing in o or both cars               ea~s                                                        Aggres~ive behavior or impulse violence
                                                                                                                            Aggressive
              Pain   in ears
               P•in in • .,,                   ~                                                                            Obsesdvc-<:ompulsive behavior
                                                                                                                            Obsessive-compulsive
                              bu~ing in
              Ringing or buzzing                  cCor both ears Mr.$                                                       Bipotar disorder/manic episodes
                                                                                                                            Bipolar
              Sound sensitivity                                                                                             Sc.hizophrel\ic-llke slates
                                                                                                                            Schizophrenic-like               states
 Dlgt:!itivt and Excretory
 Digestive          Er.tretory System                                                                                       Demerttit1
                                                                                                                            Dementia
              Diarrhea
               Diarrhea. or    con~tip§a:tio
                           ot constipatio                                                                                   Eating disorders
              Upset stomach
                       $t(ltna.ch Oa (na.        vomiting, pain)
                                                 vomiting,                                                                                                              paranoia/hath1cinat\ons
                                                                                                                            Increased suspiciousness, paranoiailmilueinations
                          blodder (troubl
               Irritable bladder       (ttoubl starting,
                                                   storting, stopping)
                                                                 soopping)                                                  Dis.orientation (getting or feeling
                                                                                                                            Disorientation                             teeling lost)
               Unexplained weight ga n or loss          ~ss                                                                 Fcetin[( as if
                                                                                                                            Feeling            if)'Qu                     yQUr mind
                                                                                                                                                                loE1ing your
                                                                                                                                                   you are losing               01ind
                                        anordia.
               Loss of appetite, anoreatin                                                                                  Overemotional reactions,                   ecyins easily
                                                                                                                                                       reactions. crying
 Musesiloskeictal
  Mu!!l<:Qlordrnletal System                                                                                                Disturbed sleep:   sleop: difficulty felling fo!Hng or"' staying     o.•loep,
                                                                                                                                                                                      stayin8 asleep,
               JQint pain, swelling,
               Rant           ti'Welling, oror tifflites
                                                  tiffnC.'i.!l                                                                                        muc:h1 too litde
                                                                                                                                                too much,              little or early
                                                                                                                                                                                 early, awakening
                      nook
               Stiff neck                                                                                        Mental Capability
               Shifting joint      pal~s
                          joiot pains                                                                                        rofiC!fill~¢$$, memory
                                                                                                                            Forgetfulness,            OllemQty loss !OS< (short or longJong term)
                                                                                                                                                                                              tenn)
               Muscle pain or cramps  mmp5:                                                                                  Poor school or work performance    perfonnance
               Burning in feet                                                                                               Attention deficit problems, distractibility
                      !ipfrots
                Shin splints                                                                                                                     difftculty in thinking
                                                                                                                             Confusion, difficulty
               Drooping shoulders                                                                                                                       cQncentration, reading, or spelling
                                                                                                                             Difficulty with concentration,
               Loss of reflexes                                                                                              Disorientation: getting lost or going to the
                                                                                                                             Disorientation;                                              thi;: wrong place
                                                                                                                                                                                                        p1$cc
                                 c:oordinaf ntt
               Poor muscle coordinat                                                                                         'Oiffi«;"11,1JJ;y with speech (slowed,
                                                                                                                             Difficulty                                         ~lurrcd or stammering)
                                                                                                                                                                   (.slowed, slurred          i;tamrncring)
                Los~ of muscle
               LOSS      muscle ton;  tone, mm $Cle      wcak.oe.ss
                                                    [lc weakness                                                             Dyslexia-type reversals, Difficulty      Diffio~lty with writing
                                                                                                                             Word retrieval problems (can't           (c11:n'C remember       word~l~tQp mid-sentence)
                                                                                                                                                                               n::mcmber words/stop         m\cl ..scntcncc)
                                                                                                                             Forgetting how to perform      perl'brm simple task   t.Mk
                                                                                                                             Problems with numbers




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                                                THE,PITFALLS
                                 LYME DISEASE: THE    PITFALLS OF                                     ~vs< ..s~o
                                     LABORATORY TESTING                                         I                  ~
                                         John Drulle, M.D.                                      ::i                ~

      Since Lyme disease is           diagoose Lyme disease in
                                      diagnose                           do not
                                                                         do   not develop
                                                                                  develop                          ..
      caused by a spirochete          certain diagnostic                 measurable antibodies.
      bacteria, Borrelia               dilemmas,
                                       dilemmas. Similar tests           This is usually due to
      burgdorferi,
      burgdorferi. the ideal          are currently used in              antibiotics given early in
      diagnostic test would be         diagnosing certain cases          the infection for Lyme or
      one which could isolate               AlDS 1 and we hear no
                                       of AIDS,                          non-Lyme infections.
      the bacteria from the           outcry from the same               There is significant strain
      p!ji.tient by culture or
      patient                          critics who would deny            variability in Lyme
      direct stain. This is            their application of Lyme         bacteria isolated in .
      unfortunately, rarely
      uofortunately'                   disease.                          different geographic
      accomplished. The Lyme           Currently available               areas, and since
                                                                                       sillce
      bacteria do not grow in          commercial tests for              commercial tests have
      standard laboratory              Lyme disease provide              been developed from
      culture media, and they          indirect evidence of               certai.D particular isolates,
                                                                         certain
      arc         present-4D· the
      are only present-in              exposure to the Lyme               they may be incapable of
      body in small numbers,           bacteria. When someone             detecting antibodies to aa
      and may only be present           is infected with the Lyme         different strain of Lyme
       in tissues which are not        bacteria, the immune               bacteria, It is
                                                                          bacteria.      ill also
      readily accessible. Other        system responds by                 possible that some
       tests capable of direct          making specific proteins,         people's immune systems
      detection of the Lyme            called antibodies, whose           do not recognize the
       bacteria are under               role is to seek out eh            Lyme bacteria as an
       development. These               Lyme bacteria, attach to          invader and do not
       include antigen detection        them and initiate the             produce specific bacteria
       methods, which look for          process of destruction. In  ln    and their fragments, they
                        Lyme
       fragments of the Lyme            most patients, these              may combine with all the
       bacteria in body tissues         antibodies are unable to          circulating Lyme specific
       (urine, blood, spinal          · 'destroy
                                        destroy the Lyme                  antibodies, Current
       fluid, joint fluid, tears        bacteria, which by                 oommercial antibody tests
                                                                          commercial
       and breast milk) and PCR          methods which are not             for Lyme can only detect
       or DNA probes, which             completely understood,             free circulating
       can find the genetic              may remain alive in the           antibodies, and are
        material of the Lyme             human body for 1'1WlY
                                                            many           incapable of detecting
       bacteria in a tissue                             or
                                        years, in spite of high            those bound up in
       sample. A number of               "titers• or concentrations
                                         "titers"                          immune complexes.
                                                                                      complexes,
        university and commercial            antibodies. Detectable
                                         of antibodies,                    Investigational tests have
        research facilities are          levels of these antibodies
                                                          a.ntibodies      been developed to free
        currently evaluating these       may not be found until 3          these sequestered
        tests, and they are                           after' exposure.
                                         to 8 weeks after                  a.ntibod ies and render
                                                                           antibodies
        available to practicing                       illneH may be
                                         Sigllificant illness
                                         Significant                       them measurable by the   the.
        physicians as                    present before the test is        standard tests. There      Is
                                                                                               Tb ere is
        investigation.al tools.
        investigational                  positive. Most people              wide variability between
        Although they are not             who present with the              tests of commercial
        currently FDA approved           ·characteristic EM
                                         characteristic                     laboratories, and it is not
        for use by commercial             (erythema migrans) rash                        bave a serum
                                                                            unusual to have
         laboratories, we cannot          of Lyme disease test              sample test positive in one
         ignore their presence and        negative at that time. A          lab and negative in
         their benefit in helping         number of patients clearly        another.

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             The percentage of Lyme             AIDS. It may be useful           primarily clinical, based
             patieots who test negative
             patients                           to sort out false positive       on the patient's history,
             on the antibody tests is           tests and in cases where         symptoms, and physical
                         100 3 if the test
             close to 100%                      the antibody titer is            findings. The laboratory
             is performed earlyurly in the      "borderline". Since its
                                                *borderline".                    tests may be a useful
             infection, to anywhere             results depend on the            adjunct in making the
             between 5%  53 and 40% in          presence of Lyme specific        diagnosis, but negative
             late disease, depending on                          sallle
                                                antibodies, the same             results do not nile
                                                                                                 rule out the
             the· particular published
             the                                factors which can cause a        possibility of the disease.
             data we wish to cite. It is        negati:Ve _serologic
                                                negative  serologic test
             also known that false                    ca.use a negative
                                                may Cause
             positive tests can occur.          Western Blot.                    [ In ·1997 - 6 years after
             These may be due to                                                 the original publication -
             other previous or current          The most common errors           Dr. Drulle's article and
             spirochetal infections such              by.physicians
                                                made by   physicians in          rnajor message are still
                                                                                 major
                 s:yph ilis, tick-borne
             as syphilis,    tick •borne        interpreting these
                                                             lhese               remarkably accurate: we
             relapsiog fever,
             relapsing                          previously mentioned tests       still have few direct
             leptospirosis and                  are:                             detection methods, the
                             sonie..patient.s
             gingivitis. Some_patients          1) A negative test               ·gold. standard"
                                                                                 "gold,  standard• tests for
             who have rheumatoid                excludes the diagnosis                                 have•
                                                                                 diagnosis and cure haves
             arthriris, Lupus, or
             arthritis,                         of Lyme.                         not yet been developed,
             mononucleosis may test             2) A negative test in            and the diagnosis of Lyme
             positive. Some people              someone who previously           disease is primarily
             who appear to be in good           tested positjve and                         The. main
                                                                                 clinical. The
              health and have no Lyme
              health                                      antibiotic·
                                                received antibiotic              advances have been in
             related symptoms may                                   "cure•.
                                                treatment implies "cure".         PCR testing, which has
              test positive. This may                                            been the subject of
                         pa.~t exposure to
              indicate past                       It must be stressed that       numerous ·research
                                                                                              research articles
              the Lyme bacteria, with             these tests do not             (e.g.  • Borrelia
                                                                                  {e.g. "Borrelia
             spontaneous recovery, or                        with· symptoms
                                                  correlate with                  burgdorferi DNA in the
              it may represent a                  and activity of the Lyme        Urine of
                                                                                         of Treated Patients
              dormant infection which           · bacteria once antibiotics       with Chronic Lyme
              may activate at some                    initialed. There is no
                                                  are initiated.                            Symptoms·,
                                                                                 Disease Symptoms",
              furure date and cause
              future                              currently available test for   Bayer, Infection        1996,
                                                                                           lnfection 24, 1996.
              clinical disease. This has          cure. Physicians who           -• study supported largely
              been well documented in             monitor Lyme titers
                                                                    titers        by the Lyme Disease
              the European literature.            (concentration of               Association ofof New
                                                  antibodies) during and                     PCR testing is
                                                                                  Jersey). PCR
             The Western Blot is now                    alitiblotic therapy,
                                                  after antibiotic  therapy,      now offered by several
             commercially available               and pronounce patients          commercial laboratories.
             for Lyme disease. Here               "cured• when their test
                                                  "cured*                                 the. apparent
                                                                                  Given the
             various sized Lyme                   becomes negative, do not        paucizy of organisms and
                                                                                  paucity
             antibodies are allowed to            understand what they are             poorly-understood
                                                                                  the poorly  -understood
             migrate on a strip of filter         measuring andand are            pathogenesis of Lyme
             paper. They separate into            wasting the patients'           diswe, this situation may
                                                                                  disease,                 rnay
             distinct bands, and serve            money and doing them a          exist for years more.
             as a "fingerprint" for               disservice.                     - Ken Fordyce, former
             Lyme disease. This                                                   Chairman, 1992-1995,
             technique is wrongly                Tbe major message
                                                 The        messag'e I            Governor's Lyme Disease
             thought 10
                      to be a                    would like to impart is          Advisoty Council, NJ)
                                                                                  Advisory              NJ]
              'confirmatory test" for
              "confirmatory                      that in 1991 the diagnosis
                                 io
              Lyme, which it is in               of Lyme disease is
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                                                     ~ovember 13, 2008
                                                     Z•lovember



                             Dear Friends:

                                      Please accept my warmest greetings to each of you
                              attending Turn the Corner Foundation's Third Annual Gala,
                              - ....
                             .Unmask A Cure..
                                         Cure.                                ·

                                    lI join you in recognizing tonight's honorees for their
                             support and contributions to Turn the Corner: Bernard Raxlen,
                             M.D.,
                             M.D,, recipient of the Humanitarian Award, and Andy-Abrahams
                                                                               Andy Abrlilharns
                             Wilson, recipient of           Vision of Hope Award.
                                                of the 2008 Vislon          Award. 1I am also
                             delighted to send my congratulations to the recipients ofthe
                                                                                     of.the      i:>
                             Courage Award: Alicia Brown, Cydney Chase, Kathy Fowler, ''A
                             Michele Matthews, Jordan fisher                   Statlender, Ph.D.,
                                                          Fisher Smith, Sheila Statlender.
                             and Lindsay Zweibel.
                                           ZweibeL
                                                                                 \
                                     Since its inception in 2002, Turn the Comet
                                                                            ComJ Foundation
                             dedicated its efforts to the support of research, education,
                                             illllovative treatments for Lyme disease and otl1er
                             awareness and innovative                                       other
                             tick·bome diseases. I commend your commitment to provide
                             tick-borne
                             hope, encouragement and essential services !Or far the individuals and
                             families who are affected this disease.

                                       You have my best wishes for a memorable and successful
                             event.

                                                               yours,
                                                     Sincerely yours.


                                                 ~(~ (2..u._C'.A.;._i-_
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                                                                                 m         .

                                                    Hillary Rodham Clinton
                                                    United States Senator




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                                                  November 13, 2008



                   Friends:
              Dear friends:

                      Please accept
                                 ept my
                                     ray warmest greeting$                       Tum the Corner
                                                 greetings as you gather for the Turn
                                                                          Cure." I am grateful-for
                               ird Annual Fundraising Gala, "Unmask A Cure'
              Founda:t:io&'s Thlrd                                                    g;atefui"for the
              opporrunity to recognize
                                 ognize the fine
                                            fme work of Turn the Corner and tonight's honorees.

                       Since its inception, Turn    Comer's mission has always
                                            Tum the Corner's               alway$ been to . educate and
              help those individuals that have been affected by Lyme disease. By helping to fund
              hospitals, colleges, medical association and other research organization, Turn the Corner
              has help make strides in how Lyme disease and other tick-borne diseases       ar~ diagnosed,
                                                                                  dlseases ar
                                                                                         effort! and the '·
              treated_ and prevented. I would like to thank all the supporters for their effort
              treated
              services they provide to countless New Yorkers.                                    -

                      Further, I would like to extend my congratulations to tonight's honorees, Bernard 'N.
                                                                                                          '
              D Raxlen, MD, recipient of the 2008 Humanitarian Award and Andy Abrahams Wilson,
              recipient of the 2008 Vision of Hope Award. The commitment and support for the
              community throughout these years serves as inspiration to us all. Their support of Turn
                                                                                                    Tum
                  Comer has aided its ability to grow and prosper. I am
              the Corner                                             arn honored to join'iin
                                                                                     join\in this show of
              support for their hard work.                          -                     \

                      Again, congratulations
                              congrattllations and thank you for your hard work and dedication on behalf
              of many young New Yorkers. I know that the Turn Tum the Corner
                                                                       Cotner Foundation will continue
                                rnany more years to come,
              these efforts for many                 corne. Best wishes for a wonderful evening.

                                                     Sincerely,

                                                     CAJ,.; St.. ....I
                                                     Charles E. Schumer
                                                     United States Senator




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                             Bernard D. Raxlen, MD
                             zoo8 Humanitarian Award Recipient
                             2o428

                             Bernard D. Raxlen, MD became   b~came interested in Tick ByrneBorne
                                     (induCling Lyrn'e
                             Disease (incltiding Lyme disease) in 1988 because of the chronic
                             undiagnosed symptoms of his patients. Previously, he had. had spent
                             a decade in private practice
                                                 pritctice pioneering nutritional and integrative
                             psychiatry and medicine.

                                Dr. Raxlen's practice was situated in the highly Lyme   -endemic
                                                                                   Lyme-endemic
 areas of Westchester and Fairfield counties before moving to New York City. Over the past
 zo
 2'> years, he has successfully treated over 4,000
                                                4,000 case of Tick-Borne Disease, specializing in
 neuropsychiatric and neurocognitive complications. Dr. Raxlen is unique amongst psychiatri;rts
                                                                                     psychiatrfas
 because he initiates a total comprehensive treatment program which utilizes both'oral
 ·because                                                                           both' oral and
 intravenous antibiotiCs,
.intravenous   antibiotics, as well as other treatment strategies such as neuropharmacology and
                                                                                .,
 stress management.

 }1e was one of the founding members and former secretary of the board of governors of ILADS
:<'He                                                                                  I LADS
                                                                          a~ immunologist,
 (the International Lyme and Associated Disease Society) and, along with atr
'..(rlle                                                                     immun.ologist, he
 was clinically responsible for a new Lyme peptide antigen test.
j""as                                                                       I

i:Dr. Raxlen has been a featured speaker in more than 6o     60 workshops and on television
a-tworks like ABC, NBC and FOX over the years ··on
metworks                                                     on topics including
                                                                         induding psychiatry,
i!PsYchoneuroimmunology
iisychoneuroimmunology     and  Tick-Borne  Disease.  He  has  been featured on the Discovery
l~a.nnel                                                                   Under Our Skin.
 itahannel show Mystery Diagnosis and, more recently, in the documentary Unili!:r




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                                                Law LLC
                                      Zimberlin Law
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                                       267 Main
                                       (p) 860.783.5999 II (f) 860.783.5996
                                        p) 860783.5999
                                       www.zimberlinlaw.com

    Winona W. Zimberlin                                                                 By appointment on1y;
                                                                                        Bynmoimmermonly;
    Russell D. Zimberlin                                                                Hanford Office
                                                                                        Hartford
                                                                                                    Stri:ct
                                                                                        2 Congress Strecl
                                                                                        Hartford,
                                                                                        li•rtford, CT 06114


                                              August 9, 2016

                 -603-334-5708, 2 p,
    Facsimile: Il-603-334-5708,   p.
    Nancy Winterer
    Appeals Review Consultant
    Liberty Life Assurance Company of Boston
    PO Box 7213
    London, KY 40742-7611

    Dear Ms. Winterer:

             RE:    Haley Spears
             DOB:
             DOB:  REDACTED
             Your claim#: 250039

    Enclosed please find a report from Dr. Saul. This corrects a typo in the previous report.
                                                                                       eport.


                                                                 Very truly yours,

                                                                  (Jiw{     3-11
                                                                 Winona W. Zimberlin
    WWZ:




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                                                  DISEASE ASSOCIATES,PC
                                                          ASSOCIATES, PC
                                                                            --"-- - - - ___
                   INTERNAL MEDICINE & INFECTIOUS ❑1SEASE
                                   --- ---·           ~--·--     "---                               _..,....._,..,.~

                         K SAUL M.D. GORAN MILJKOVIC M.D. DAVID J. LOBO M.D.
                    ZANE K.



      July 13, 2016
      Re: Haley Spears
      008    REDACTED
      DOB REDACTED



                                              20J.O until June 2014. She underwent two courses of antibiotic
       II treated Haley Spears from August 2010
                                                        terni Lyme disease. II observed her on and off antibiotic
       therapy. This is the standard of care for long term
       therapy. She was under my care for advanced, debilitating Lyme          disease. She had chronic
                                                                        Lyn1e disease,           chronle fatigue,
        difficulty concentrating, headaches and joint pain. Despite fatigue, she had difficulty sleeping at night.
        Sl'e was not medically able to work in any capacity. She was not capable of a sedentary work position
        she
        due to cognitive difficulties.
        clue                                                             as.signed tasks. Her Fatigue prevented any
                          difficulties" She couldn't maintain focus to assigned
        durabl~ or sustained physical work effort. She was unable to maintain
        durable                                                           nisintaln standing, lifting, pulling, reaching
        or grasping at a job on a sustained 40 hour a week basis. She was clearly motivated to get better and
                       again./\!",
       begin working again.                                           tim(>S. Long term chronic Lyme disease can
                                As of 2014 she remained fatigued at times.
        take many years to resolve.

                                                  Medic~! Interventions.
       I have reviewed the report of Behavioral Medical    Interventions" I disagree
                                                                            di>agree with their conclusions. None
                                                                                     di,~ase. Ms. Spears' diagnosis
                                       Spear>" None of them are experts in Lyme disease.
       of those doctors examined Ms. Spears.
       w••
       was confirmed by cerebrospinal fluid testing onof\ February 3, 21J09.
                                                                      2009. Dr. Crossley is
                                                                                          i' incorrect when he
                                                          F~bnmrv 3, 2009 meant nothing without aa positive
       states that the positive igG western blot test on February
                        s~rum.
       western blot on serum.

       Dr.
       Or. Crossley stated that "the evidence shows sellteported                            t,hat to opine that Ms.
                                                        sel'f,.rnponed symptoms" and uses that                  Ms"
                                                                   tim~lrnme in question. Fatigue cannot he
       Spears did not have any functional impairment for the timeframe                                     be verified
                                                                                                              vmlfied
           X·rBY or other objective testing. Neither can headaches nor joint pair.
       by x-ray                                                                pain. He offered no evidence to
       refute the patient's credible report of fotiglle,
                                               fatigue, headaches or pain.

       II have reviewed the October 14, 2010 report of Dr. Brusch. He did not contact me prior to his report. He
        opined that the positive igG western blot in the C5r
                                                         CSF was aa false positive" He is incorrect. Ms. Spears'
                                                                    fobe positive.                       Sp1'ars'
       diagnoses were confirmed by clinical exam
                                             exani and history.
                                                         histo1y

       I have reviewed the IME exam of Dr. Courtney. By his own admission, he is not aa specialist In Lyme
       disease and is not aa specialist in infectious disease. He examined Ms. Spears after she returned
                                                                                                    r<"turned to work.
                                                                                                                 work"
       His exam in 2016 has no relevance to Ms. Spears' condition at  e<t th~
                                                                          the time II treated her. lie
                                                                                                   He is incorrect
       when he concludes
                 conclude> that Ms. Spears did not have any incapacitating diagnosis,
                                                                                diagnosis. She did have numerous
       diagnoses, as shown in her medical records. She had chronic multi-system illness.




     3241
     3241 Main Street, Suite R
                             B Stratford, CT 06614 •• Phone: 203-383-4466
                                                             203-383-4466 •• Fax: 203-383-4499
                                                                             Fax: 203-383-4499
     2600 Post Road, Suite 2 Southport, CT 06890 •·Phone:
                                                   Phone: 203-259-8087 •• Fax: 203-256-5974
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                                        (p) 860.783,5999
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                                        www.zimberlinlaw.com

     Winona W. Zimberlin                                                                  appointment
                                                                                       By appointmcm     ooly:
     Russell D. Zimberlin                                                              HW'lf<lfd Office
                                                                                       Hanford     Oflico
                                                                                          Congrcs~ Street
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     July 13, 2016

     Facsimile: 1-603-334-5708 , 2p.
                                 2p,
     Nancy Winterer
     Appeals Review Consultant
     Liberty Life Assurance Company of
                                     of Boston
     PO Box 7213
                  40742-7611
     London, KY 40742-7611

     Dear Ms. Winterer:

             RE:     Haley Spears
             DOB: REDACTED
             DOB:
             Your claim.
                  claim#:#: 250039

             Attached please find:
                             find:

             l. Report of Dr. Saul, 7/13/16, lI p.
             1.

        Dr. Saul states that he has reviewed the report of Behavioral Medical Interventions, and
     disagrees with their conclusions. His reasoning is set forth in his letter.


             Additional documentation will be provided. Thank you.


                                                                 Very truly yours,




     WWZ:
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                       INTERNAL MEDICINE & INFECTIOUS DISEASE ASSOCIATES,PC
                                    M.O. GORAN MILJKOVIC M.D. DAVID J. LOBO M,D.
                            K. SAUL M.D.
                       ZANE K,                                              M.D.


          July 13, 2016
          Re: Haley Spears
          REDACTED
               REDACTED



                                                                             underwen! two courses of antibiotic
          I treated Haley Spears from August 2010 until June 2014. She underwent                         iinlibiotic
          therapy. This is the standard of care for long term Lyme disease. I observed her on and off antibiotic
          therapy,
          therapy. She was under my care for advanced, debilitating Lyme disease. She had chronic fatigue,
          difficulty concentrating, headaches and joint pain. Despite fatigue, she had difficulty sleeping at night.
          She was not medically able to work in any capacity. Sh"      wos not capable of a sedentary work position
                                                                  She was
          due to cognitive difficulties. She could maintain focus       assi~ned tasks. Her Fatigue prevented any
                                                              foc1Js to assigned
                                                                                                       pullin~, reaching
          durable or sustained physical work effort. She was unable to maintain standing, lifting, pulling,
                                                                 basis, She was clearly motivated to get better and
           or grasping at aa job on aa sustained 40 hour aa week basis.
                                                                                                           disea•e can
                                                  r"mained fatigued at times. Long term chronic Lyme disease
          begin working again. As of 2014 she remained
           take many years to resolve.

                                                             1nt@rventions. I disagree with their conclusions. None
          I have reviewed the report of Behavioral Medical Interventions.
          of those doctors examined Ms. Spears.
                                          Spe.,s. None of them are experts in ;n Lyme disease. Ms. Spears' diagnosis
          was confirmed by cerebrospinal fluid testing on February 3, 2009. Dr. Crossley isi; incorrect when he
                                   lgG western blot test on February 3, 2009 meant nothing without a positive
          states that the positive igG
          western blot on serum.

          Dr. Crossley stated
                       s!ated that
                              thst "the evidence shows self-reported symptoms" and uses that to opine 'that
                                                                                                         that Ms.
          Spears did not have any functional Impairment for the timeframe in question, Fatigue cannot be verified
          by x-ray          objectiv~ testing. ·Neither
             x-rav or other objective          Neither can headaches nor joint pain. He offered no evidence to
                                                  fatis'1e, headaches
          refute the patient's credible report of fatigue,  head3ches or pain.

           II have reviewed the October 14, 2010 report of Dr. Brusch,
                                                                 Brusch. He did not contact me prior to to his report. He
           opined th~t
                    that the positive igG western blot in the CSF was a false positive. He is incorrect. ms,
                                                                                                         Ms, spears'
                                                                                                             Spears'
                                                  e~am and history.
           diagnoses were confirmed by clinical exam

          I have reviewed the IME exam of Dr,  Dr. Courtney. By his own
                                                                    dwn admission, he i$is not aa specialist in Lyme
          disease and is not aa specialist In infectious disease. He examined Ms. Spears after she returned
                                                                                                       retumed to work,
          His exam in 2016          relevanc~ to Ms. Spears' condition at the time I treated her. He
                      2015 has no relevance                                                           H~ is incorrect
                                                                                                             incorr~ct
                               th~t Ms. Spears
          when he concludes that         spurs did notno\ have any incapacitating
                                                                   incapaci'tating diagnosis. She did have numerous
          diagnoses, as shown in her medical records. She had  hed chronic multi-system illness.




           Zane au\, M.D




          3241
          3241 Main Street, Suite B
                                  t3 Stratford, CT 06614 ••Phone: 203-383-4466 •·Fax:
                                                           Phone: 203-383-4466        203-383-4499
                                                                                 Fax: 203-303-4499
          2600 Post Road,
                    Road, Suite 2 Southport, CT 06890 •·Phone:
                                                        Phone: 203-259-8087 •·Fax:
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                                        Zirnberlin Law LLC
                                        Zimberlin
                                        267 Main Street IIManchester,
                                                          Manchester, CT 06042
                                            860.783.59991 (f) 860.783.5996
                                        (p) 860.783.5999
                                        www.zimberlinlaw.com
                                        vrarw.zimberlinlaw.com

                  Zimberli.n
      Winona W. Zimberlin                                                                 By appointment only:
                                                                                                         Or'lly:

      Russell D. Zimberlin                                                                Hartford Office
                                                                                            Con~ss Street
                                                                                          2 Congress
                                                                                          Hartford
                                                                                          H artt'<ird, CT
                                                                                                       (;T 06114




      July 13, 2016

      Facsimile: 1-603-334-5708
      Nancy Winterer
      Appeals Review Consultant
      Liberty Life Assurance Company of Boston
         Boa 7213
      PO Box
                   40742-761 I
      London, KY 40742-7611

      Dear Ms. Winterer:

              RE:     Haley Spears
              DOB: REDACTED
              DOB:
              Your claim #: 250039

             Pursuant to your June 1.6,
                                   16, 2016 letter, we are requesting a.
                                                                      a review of the denial.
      Additional documentation will be submitted at a later time. Thank you.


                                                                  Very truly yours,




      WWZ:
                                                                  ~berlin
                                                                     nona     Zimberlin




                                                                                               Liberty002377
                                                                                               Liberty002377
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                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
                                                                                                Secure
                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: June 16,
  Date: June 16, 2016
                 2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               28
                                   28

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
This       and any
      fax, and any attachments
                   attachments thereto,
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                                          is intended   only for
                                                             for the
                                                                 the use
                                                                     use of
                                                                         of the
                                                                            the addressee(s)
                                                                                addressee(s) named
                                                                                                named herein
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                                                                                                               and may   contain legally
                                                                                                                    may contain  legally
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privileged  and/or confidential
                   confidential information.
                                information. IfIf you
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                                                                                        of this      you are
                                                                                                fax, you are hereby
                                                                                                             hereby notified
                                                                                                                     notified that
                                                                                                                              that any
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dissemination, distribution  or copying  of this
                                copying of   this fax, and any
                                                  fax, and  any attachments   thereto, is
                                                                attachments thereto,      strictly prohibited.
                                                                                       is strictly prohibited. If
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                                                                                                                      have received  this fax in
                                                                                                                                          fax in
error,
error, please notify me
       please notify me by  telephone at
                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
                                                                  permanently shred
                                                                                shred the
                                                                                       the original
                                                                                            original and
                                                                                                     and any
                                                                                                         any copy
                                                                                                              copy of
                                                                                                                    of any
                                                                                                                       any fax
                                                                                                                           fax and  any printout
                                                                                                                               and any   printout
thereof.
thereof.




                                                                                                                               Liberty002378
                                                                                                                               Li berty002378
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                                                                    Liberty Life
                                                                    Liberty Life Assurance
                                                                                 Assurance Company
                                                                                            Company ofof Boston
                                                                                                         Boston
                                                                    Group
                                                                    Group Benefits  Disability Claims
                                                                           Benefits Disability Claims
            Liberty-                                                P.O. Box
                                                                    P.O.      7213
                                                                         Box 7213
                                                                    London, KY
                                                                    London,  KY 40742-7213
                                                                                 40742-7213
            MutuaL                                                  Phone No.:
                                                                    Phone  No.: (888)
                                                                    Secure Fax
                                                                    Secure
                                                                                (888) 437-7611
                                                                            Fax No.:
                                                                                      437-7611
                                                                                No.: (603) 334-5708
                                                                                     (603) 334-5708
              INSURANCE



June 16,
June     2016
     16, 2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:     Long Term Disability
        Long Term  Disability (LTD)
                              (LTD) Benefits
                                    Benefits
        UTC Choice
        UTC  Choice
        Claim #:
        Claim    REDACTED
              #: REDACTED
        Claimant: Haley
        Claimant: Haley Spears
                        Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

We have
We  have completed
         completed the
                     the remand
                         remand review
                                 review of
                                        of Haley
                                            Haley Spears'
                                                  Spears’ Long Term Disability
                                                          Long Term Disability (LTD)
                                                                               (LTD) claim
                                                                                     claim and
                                                                                           and
have maintained
have            the decision
     maintained the decision to
                             to deny
                                deny benefits.
                                     benefits.

This remand
This remand review
              review and
                       and analysis
                           analysis considered
                                     considered all
                                                all the
                                                    the medical
                                                        medical and
                                                                and claim
                                                                    claim documentation
                                                                          documentation contained
                                                                                          contained in
                                                                                                    in
Ms. Spears’
Ms.          Short Term
     Spears' Short  Term Disability   (STD) and
                           Disability (STD)  and Long
                                                 Long Term
                                                        Term Disability administrative record,
                                                             Disability administrative         whether
                                                                                       record, whether
or not
or     specifically referenced
   not specifically            in this
                    referenced in this document.
                                       document.

Haley Spears
Haley  Spears submitted
                 submitted aa disability
                              disability claim
                                         claim for   her absence
                                                for her   absence from
                                                                   from work
                                                                         work beginning
                                                                               beginning on
                                                                                         on September
                                                                                             September 27,
                                                                                                        27,
2008, as
2008, as aa result
             result of
                    of headaches.
                       headaches. At
                                   At that
                                       that time,
                                            time, Ms.
                                                  Ms. Spears
                                                       Spears was
                                                               was covered
                                                                    covered under
                                                                             under the
                                                                                   the United
                                                                                       United Technologies
                                                                                              Technologies
Corporation (UTC)
Corporation    (UTC) Short
                        Short Term
                               Term Disability
                                     Disability Plan,
                                                  Plan, aa self-insured
                                                           self-insured plan  administered by
                                                                         plan administered by Liberty
                                                                                               Liberty Life
                                                                                                       Life
Assurance Company
Assurance    Company of  of Boston  (Liberty), and
                            Boston (Liberty),  and for
                                                     for LTD   benefits, the
                                                         LTD benefits,   the UTC
                                                                             UTC Group
                                                                                  Group Disability
                                                                                         Disability Income
                                                                                                    Income
Policy,
Policy, aa fully
           fully insured
                  insured policy
                          policy administered
                                 administered byby Liberty.
                                                    Liberty.

Under Ms.
Under   Ms. Spears'
            Spears’ disability  income coverage,
                     disability income             STD benefits
                                         coverage, STD   benefits began
                                                                  began on
                                                                        on 10/4/08  and had
                                                                            10/4/08 and  had aa maximum
                                                                                                maximum
benefit  date of  3/27/09. For   disability from  her  own  occupation,  the LTD   benefit
benefit date of 3/27/09. For disability from her own occupation, the LTD benefit begin datebegin   date is
                                                                                                        is
3/28/09 with
3/28/09   with aa maximum     benefit date
                  maximum benefit           of 3/27/11.
                                      date of            As of
                                               3/27/11. As  of 3/28/11
                                                                3/28/11 and
                                                                        and forward,   to be
                                                                             forward, to  be eligible
                                                                                              eligible for
                                                                                                       for
continued benefits,
continued  benefits, the
                     the Policy
                         Policy requires  Ms. Spears
                                 requires Ms.         to be
                                               Spears to be disabled
                                                            disabled from  any occupation.
                                                                     from any  occupation.

At the
At  the time
        time Ms.
              Ms. Spears'
                   Spears’ absence
                            absence from
                                      from work
                                             work began
                                                    began on
                                                           on 9/27/08,
                                                              9/27/08, her
                                                                         her job
                                                                             job was
                                                                                  was titled
                                                                                      titled Administrative
                                                                                              Administrative
Support with
Support   with the
               the physical   demands of
                    physical demands     of sitting
                                            sitting 40%
                                                     40% of
                                                          of the
                                                             the time
                                                                  time in
                                                                        in an
                                                                           an eight hour day,
                                                                              eight hour   day, lifting
                                                                                                 lifting 11 %,
                                                                                                             %,
walking 5%,
walking   5%, and
              and standing
                   standing 4%,
                             4%, and
                                  and typing
                                       typing 50%
                                               50% ofof an
                                                        an eight hour day.
                                                           eight hour  day. Ms.
                                                                            Ms. Spears
                                                                                 Spears was
                                                                                         was required
                                                                                              required toto lift
                                                                                                             lift
up to
up  to 10  pounds, and
       10 pounds,   and her
                         her job
                             job allowed
                                  allowed her
                                            her to
                                                 to change  positions frequently.
                                                    change positions   frequently. Typical
                                                                                   Typical duties
                                                                                             duties included
                                                                                                      included
routine secretarial
routine  secretarial and
                     and clerical
                          clerical support,
                                   support, scheduling
                                             scheduling appointments
                                                          appointments andand meetings,
                                                                               meetings, maintaining
                                                                                          maintaining files,
                                                                                                          files,
reviewing mail
reviewing        and assisting
            mail and assisting with
                                with mail
                                     mail distribution,
                                           distribution, and
                                                         and assist
                                                             assist in
                                                                    in preparation of reports.
                                                                       preparation of reports.

Claim Summary
Claim Summary



                                                   1 of 27
                                                   1 of 27                                          Liberty002379
                                                                                                    Li berty002379
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During this
During  this period, Ms. Spears
             period, Ms.   Spears was
                                   was being
                                        being treated
                                                treated by
                                                        by Primary Care Physician
                                                           Primary Care  Physician (PCP)
                                                                                   (PCP) Evan
                                                                                           Evan Schiff,
                                                                                                  Schiff,
MD, for
MD,       asthma, was
      for asthma,  was evaluated
                        evaluated by by Endocrinologist
                                         Endocrinologist Robert   Oberstein, MD,
                                                           Robert Oberstein, MD, for
                                                                                  for aa multi
                                                                                         multi nodular
                                                                                                 nodular
thyroid goiter,
thyroid goiter, and
                and was
                     was being
                          being treated
                                 treated by
                                          by Gastroenterologist
                                              Gastroenterologist James
                                                                 James O'Brien,
                                                                       O’Brien, MD,
                                                                                 MD, for
                                                                                       for aa history
                                                                                              history of
                                                                                                      of
abdominal pain,
abdominal  pain, diarrhea, gastritis and
                 diarrhea, gastritis and colitis.
                                         colitis.

On 5/16/08,
On  5/16/08, Ms.
               Ms. Spears
                    Spears was
                            was examined
                                 examined by  by Dr.
                                                  Dr. Schiff.
                                                      Schiff. The
                                                              The results
                                                                    results of
                                                                            of the
                                                                                the physical
                                                                                     physical exam
                                                                                              exam areare
documented to
documented    to be
                 be within
                    within normal
                           normal limits.  On 8/29/08,
                                   limits. On           Ms. Spears
                                               8/29/08, Ms.         reported to
                                                            Spears reported   to Dr. Schiff’s office
                                                                                 Dr. Schiff's office that
                                                                                                     that
she had
she had gone
         gone to
               to the
                  the emergency
                      emergency room
                                 room the
                                        the night before with
                                            night before with aa migraine
                                                                 migraine headache.
                                                                           headache. After
                                                                                      After an
                                                                                            an MRI
                                                                                               MRI and
                                                                                                     and
CT of
CT  of the
       the brain,
           brain, Ms.
                  Ms. Spears was referred
                      Spears was  referred to
                                           to Neurologist
                                              Neurologist David  Silvers, MD.
                                                          David Silvers,  MD.

A 9/23/08
A  9/23/08 telephone
            telephone note
                        note from    Dr. Schiff's
                              from Dr.   Schiff’s office
                                                   office indicates
                                                          indicates Ms.
                                                                     Ms. Spears'
                                                                          Spears’ mother
                                                                                   mother called
                                                                                            called the
                                                                                                   the office
                                                                                                        office
expressing concern
expressing  concern that
                      that Ms.
                            Ms. Spears
                                Spears was
                                         was in
                                              in need  of medication
                                                 need of  medication for
                                                                       for anxiety/depression.
                                                                           anxiety/depression. Ms.
                                                                                                 Ms. Spears'
                                                                                                      Spears’
mother   wanted the
mother wanted     the office
                       office to
                              to know    Ms. Spears
                                  know Ms.     Spears had
                                                       had "suffered
                                                            “suffered from
                                                                       from Anxiety
                                                                              Anxiety && BiPolar    Disorder
                                                                                           BiPolar Disorder
following” an
following"   an assault
                 assault at
                         at the
                            the age
                                 age of
                                      of 13.
                                         13. Dr.  Schiff’s office
                                              Dr. Schiff's  office records
                                                                   records indicate
                                                                            indicate Ms.
                                                                                     Ms. Spears
                                                                                           Spears called
                                                                                                   called the
                                                                                                           the
office on
office on the
          the night  of 9/25/08
               night of 9/25/08 reporting    she did
                                  reporting she  did not “feel right
                                                     not "feel       about Dr.
                                                               right about  Dr. Silvers,
                                                                                Silvers, therefore
                                                                                         therefore she
                                                                                                   she is
                                                                                                        is not
                                                                                                           not
going back
going  back to
            to him.
                him. She
                     She will
                          will find  another neurologist.”
                               find another   neurologist."

After submitting
After  submitting her
                   her STD     claim, on
                         STD claim,     on 10/7/08,    Ms. Spears
                                            10/7/08, Ms.     Spears spoke
                                                                      spoke with
                                                                            with the
                                                                                  the STD
                                                                                        STD Disability   Case
                                                                                              Disability Case
Manager (DCM).
Manager   (DCM). The The record
                            record of of that
                                          that conversation
                                                 conversation indicates
                                                                indicates Ms.
                                                                           Ms. Spears
                                                                                 Spears reported
                                                                                           reported she
                                                                                                     she was
                                                                                                          was
experiencing chronic
experiencing   chronic head
                         head and
                               and neck     pain, severe
                                      neck pain,    severe nausea    and vomiting.
                                                            nausea and    vomiting. Upcoming
                                                                                     Upcoming testing
                                                                                                  testing was
                                                                                                          was
scheduled for
scheduled  for 10/8/08
                10/8/08 andand aa neurology     appointment was
                                   neurology appointment       was scheduled
                                                                     scheduled for
                                                                                for 10/24/08.
                                                                                     10/24/08. Ms.Ms. Spears
                                                                                                        Spears
reported she
reported she also
              also has
                   has asthma
                        asthma and
                                 and chronic
                                      chronic bronchitis.
                                                bronchitis. Ms.
                                                            Ms. Spears
                                                                 Spears reported  that she
                                                                         reported that  she had
                                                                                            had no
                                                                                                 no more  sick
                                                                                                    more sick
pay, and
pay,  and expressed
          expressed herher concern
                            concern about
                                       about accruing
                                              accruing vacation
                                                         vacation time
                                                                   time while
                                                                          while on
                                                                                on STD.
                                                                                    STD. Ms. Ms. Spears   also
                                                                                                  Spears also
questioned if
questioned if she
              she was
                   was eligible  for education
                        eligible for  education benefits
                                                  benefits while
                                                           while on
                                                                 on STD.
                                                                     STD. The
                                                                           The DCM
                                                                                DCM referred
                                                                                       referred Ms.
                                                                                                Ms. Spears
                                                                                                     Spears to
                                                                                                            to
Human Resources
Human   Resources atat UTC
                       UTC for
                             for the
                                  the answer
                                      answer toto these
                                                  these questions.
                                                        questions.

On 11/3/08,
On  11/3/08, Neurologist Barry Gordon,
             Neurologist Barry Gordon, DO,    provided the
                                         DO, provided    the diagnoses
                                                             diagnoses of
                                                                        of common
                                                                            common migraine,   frequent
                                                                                     migraine, frequent
tension headaches,
tension headaches, nonspecific white matter
                   nonspecific white         lesion, and
                                     matter lesion,  and reported
                                                          reported that
                                                                   that the
                                                                        the episodes
                                                                            episodes of
                                                                                     of "zoning
                                                                                        “zoning out"
                                                                                                 out” as
                                                                                                      as
reported by
reported by Ms.
            Ms. Spears,
                Spears, were
                        were due
                             due to
                                 to fatigue.
                                    fatigue.

Dr. Silvers
Dr. Silvers completed
             completed aa Restrictions
                            Restrictions Form
                                         Form on
                                               on 11/11/08.    Dr. Silvers
                                                   11/11/08. Dr.           reported he
                                                                   Silvers reported  he first
                                                                                        first saw
                                                                                              saw Ms.
                                                                                                    Ms. Spears
                                                                                                         Spears
on 9/8/08.
on  9/8/08. Dr.   Silvers reported
             Dr. Silvers   reported the
                                     the diagnoses
                                         diagnoses ofof migraine   and encephalopathy,
                                                        migraine and    encephalopathy, andand indicated
                                                                                                 indicated Ms.
                                                                                                            Ms.
Spears had
Spears   had the
              the capacity
                  capacity toto perform
                                perform sedentary
                                         sedentary work.
                                                    work. Dr.
                                                            Dr. Silvers'
                                                                Silvers’ 11/14/08  office visit
                                                                         11/14/08 office    visit note  reports,
                                                                                                  note reports,
“She has
"She   has frequent
           frequent migraine,    blackout of
                     migraine, blackout    of unclear
                                              unclear etiology  but doubt
                                                       etiology but  doubt epilepsy.
                                                                            epilepsy. Additional
                                                                                      Additional complaints
                                                                                                    complaints
including insomnia,
including               stuttering, question
            insomnia, stuttering,   question of
                                             of aa role
                                                   role of
                                                        of stress
                                                           stress may  be playing
                                                                  may be            here. II told
                                                                           playing here.     told her
                                                                                                   her that
                                                                                                       that she
                                                                                                            she
can follow-up
can  follow-up either   with myself
                 either with          or Dr.
                              myself or  Dr. Gordon."
                                             Gordon.”

On 11/25/08,
On             Ms. Spears
    11/25/08, Ms.   Spears consulted
                            consulted with
                                       with Joachim
                                             Joachim Baehring,
                                                        Baehring, MD,
                                                                   MD, Neuro-Oncology.        Although Ms.
                                                                          Neuro-Oncology. Although       Ms.
Spears reported
Spears reported her
                 her speech
                      speech was
                             was "off,"
                                  “off,” "memory
                                          “memory gaps,"
                                                     gaps,” word
                                                             word finding   difficulties, and
                                                                   finding difficulties,  and stuttering,
                                                                                              stuttering, on
                                                                                                           on
exam, Dr.
exam,  Dr. Baehring
           Baehring reported,
                      reported, "Language
                                “Language is    fluent. There
                                             is fluent. There are
                                                               are no  cognitive deficits.”
                                                                   no cognitive    deficits." Dr.
                                                                                              Dr. Baehring
                                                                                                   Baehring
did report
did report he
            he noticed   Ms. Spear's
                noticed Ms.   Spear’s stuttering,
                                       stuttering, "on
                                                    “on aa couple
                                                            couple ofof occasions
                                                                        occasions during
                                                                                    during her
                                                                                             her visit."
                                                                                                 visit.” No
                                                                                                          No
abnormalities were
abnormalities   were reported   on physical
                      reported on   physical exam.
                                               exam. Dr.Dr. Baehring
                                                            Baehring provided      the diagnoses
                                                                        provided the    diagnoses ofof right
                                                                                                        right
temporal lobe
temporal  lobe signal
                signal abnormality
                        abnormality of
                                     of unknown
                                         unknown etiology;
                                                     etiology; benign
                                                               benign pineal
                                                                         pineal region
                                                                                 region cyst;
                                                                                         cyst; headache
                                                                                               headache of of
unknown etiology,
unknown   etiology, likely
                    likely multifactorial.
                           multifactorial.

A 12/10/08
A 12/10/08 Phone
           Phone Note
                 Note from   Dr. Baehring's
                       from Dr.  Baehring’s office
                                             office reports
                                                    reports Ms.
                                                            Ms. Spears
                                                                 Spears called that date
                                                                        called that date regarding
                                                                                          regarding her
                                                                                                    her
headache treatment
headache treatment regimen.
                   regimen. Since   Dr. Baehring
                             Since Dr.  Baehring was
                                                  was primarily
                                                       primarily monitoring   the MRI
                                                                  monitoring the  MRI abnormalities,
                                                                                         abnormalities,
Ms. Spears
Ms.         was advised
    Spears was  advised to
                         to return
                            return to
                                   to Dr. Silvers or
                                      Dr. Silvers  or alternatively,
                                                      alternatively, contact the Fairfield
                                                                     contact the Fairfield Neurology
                                                                                             Neurology


                                                   2 of 27
                                                   2 of 27                                      Liberty002380
                                                                                                Li berty002380
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headache clinic.
headache clinic.

All the
All  the medical    documentation contained
          medical documentation         contained inin Ms.
                                                        Ms. Spears       disability claim
                                                               Spears disability             file at
                                                                                     claim file    at that
                                                                                                      that time,
                                                                                                             time, was
                                                                                                                     was
reviewed by
reviewed    by Liberty’s   Consulting Neurologist
                Liberty's Consulting                    Frisso Potts,
                                          Neurologist Frisso              MD. Dr.
                                                                  Potts, MD.     Dr. Potts’12/18/08
                                                                                     Potts'12/18/08 report
                                                                                                        report ofof that
                                                                                                                     that
review   concluded    Ms.  Spears,    “appears   to  have   nearly    daily headaches,    the
review concluded Ms. Spears, "appears to have nearly daily headaches, the severity of which is  severity  of   which   is
likely to
likely  to preclude
            preclude her
                       her from
                            from working,"
                                    working,” and
                                                and "Concurrently,
                                                      “Concurrently, the  the claimant's
                                                                                claimant’s medications
                                                                                             medications are  are being
                                                                                                                   being
adjusted and
adjusted   and improvement
               improvement is   is expected
                                   expected as
                                             as treatment
                                                 treatment of of the
                                                                 the reported
                                                                      reported headaches
                                                                                 headaches progresses."
                                                                                              progresses.” Dr. Dr. Potts
                                                                                                                    Potts
also indicated,
also  indicated, "It
                  “It appears
                       appears reasonable
                                  reasonable toto extend
                                                   extend thethe no    work recommendation
                                                                   no work     recommendation until until the
                                                                                                           the end
                                                                                                                 end ofof
January, at
January,   at which
              which time
                     time effective
                           effective treatment
                                       treatment from     the reported
                                                   from the    reported headaches
                                                                          headaches is is likely  to have
                                                                                          likely to  have occurred."
                                                                                                            occurred.”
Dr. Potts
Dr.         spoke with
     Potts spoke  with Dr.    Gordon and
                        Dr. Gordon     and Dr.
                                            Dr. Silvers
                                                 Silvers for   this review.
                                                          for this   review. Dr.
                                                                              Dr. Gordon
                                                                                   Gordon reported
                                                                                             reported he
                                                                                                       he had
                                                                                                            had placed
                                                                                                                 placed
no  restrictions on
no restrictions  on Ms.
                    Ms. Spears'
                          Spears’ work
                                    work activity,
                                           activity, and
                                                     and Dr.    Silvers indicated
                                                           Dr. Silvers   indicated Ms.
                                                                                     Ms. Spears
                                                                                          Spears was
                                                                                                   was able
                                                                                                        able toto return
                                                                                                                  return
to work
to work on on aa part-time
                 part-time basis
                              basis on
                                     on 1/8/09,   and progress
                                         1/8/09, and    progress to to full  time work
                                                                        full time   work by 2/9/09. Dr. Potts then
endorsed Dr.
endorsed  Dr. Silvers'
              Silvers’ plan  for Ms.
                       plan for  Ms. Spears’  return to
                                      Spears' return to work
                                                        work date
                                                               date of
                                                                     of 1/8/09.
                                                                        1/8/09.

At the
At  the request
        request ofof Dr.  O’Brien, Ms.
                      Dr. O'Brien,    Ms. Spears    was evaluated
                                           Spears was   evaluated by by Rheumatologist     Barbara Kage,
                                                                         Rheumatologist Barbara      Kage, MD,
                                                                                                             MD, on
                                                                                                                  on
1/6/09.
1/6/09. Dr.
         Dr. Kage      documented Ms.
               Kage documented        Ms. Spears
                                            Spears report
                                                    report of
                                                            of fatigue,
                                                                fatigue, night   sweats, weight
                                                                          night sweats,   weight loss/gain;    hands
                                                                                                   loss/gain; hands
changing color
changing    color inin the
                       the cold,   dry eyes
                            cold, dry   eyes and
                                              and dry
                                                   dry mouth,    stiffness in
                                                       mouth, stiffness     in the
                                                                               the morning,   jaw pain,
                                                                                   morning, jaw     pain, headache;
                                                                                                          headache;
eye pain,
eye   pain, blurred
             blurred double
                       double vision,
                                vision, floaters,
                                          floaters, flashes;  asthmatic shortness
                                                    flashes; asthmatic     shortness ofof breath;
                                                                                          breath; chest
                                                                                                    chest tightness;
                                                                                                           tightness;
heartburn, abdominal
heartburn,   abdominal pain,      diarrhea, nausea;
                           pain, diarrhea,             recurrent sinus
                                              nausea; recurrent    sinus and
                                                                          and ear   infections; muscle
                                                                                ear infections;           weakness,
                                                                                                 muscle weakness,
tingling and
tingling  and numbness;      anxiety; bruising
               numbness; anxiety;       bruising easily;
                                                 easily; ringing
                                                          ringing inin ears.
                                                                       ears. On
                                                                             On exam,
                                                                                 exam, Dr.
                                                                                        Dr. Kage    reported, "Pt
                                                                                            Kage reported,     “Pt in
                                                                                                                   in
no acute distress,"
no acute   distress,” and
                       and she
                            she was
                                was well
                                      well developed,
                                            developed, had
                                                         had no   obvious deformities,
                                                              no obvious                  had excellent
                                                                            deformities, had  excellent grooming,
                                                                                                          grooming,
and was
and   was oriented
           oriented to to person,
                           person, place
                                     place and
                                            and time.
                                                 time. Dr.   Kage reported
                                                        Dr. Kage      reported Ms.
                                                                                Ms. Spears’    history and
                                                                                     Spears' history    and current
                                                                                                              current
medical   conditions suggested
medical conditions      suggested an an immune-mediated       inflammatory disorder,
                                         immune-mediated inflammatory          disorder, and
                                                                                          and she
                                                                                               she would
                                                                                                    would work
                                                                                                            work up
                                                                                                                  up
Ms. Spears
Ms.           for aa connective
     Spears for      connective tissue
                                  tissue disease.
                                          disease.

Ms. Spears
Ms. Spears did return to
           did return to part-time work on
                         part-time work on 1/8/09.
                                           1/8/09.

Ms. Spears
Ms.  Spears was
              was first
                   first evaluated
                         evaluated byby Dario
                                         Dario Zagar,
                                               Zagar, MD,
                                                       MD, Neurologist    in Fairfield,
                                                             Neurologist in  Fairfield, CT,
                                                                                         CT, on
                                                                                              on 1/12/09,
                                                                                                 1/12/09, for
                                                                                                           for
management
management of  of her
                  her migraine    headaches. On
                        migraine headaches.    On exam,
                                                   exam, Dr.  Zagar noted
                                                          Dr. Zagar        Ms. Spears
                                                                     noted Ms.  Spears was
                                                                                         was well
                                                                                              well appearing,
                                                                                                   appearing,
alert, oriented
alert, oriented to
                to time
                   time place
                          place and
                                 and person,
                                     person, well
                                             well nourished,  and "Patient
                                                   nourished, and “Patient did
                                                                            did not appear uncomfortable."
                                                                                not appear   uncomfortable.”
Dr. Zagar
Dr.  Zagar reported
             reported no    disorientation, remote
                        no disorientation,  remote memory     was not
                                                     memory was    not impaired,   short term
                                                                        impaired, short   term memory
                                                                                                memory waswas
normal,
normal, an an adequate
               adequate fund
                           fund ofof knowledge
                                      knowledge waswas demonstrated,
                                                         demonstrated, nono language     abnormalities were
                                                                             language abnormalities     were
demonstrated, and
demonstrated,    and no     abnormalities in
                        no abnormalities        attention were
                                            in attention   were demonstrated.
                                                                 demonstrated. Dr.       Zagar’s assessment
                                                                                   Dr. Zagar's    assessment
included common
included     common migraine          inadequately controlled;
                         migraine inadequately        controlled; lumbago;
                                                                    lumbago; possible
                                                                                possible systemic
                                                                                             systemic lupus
                                                                                                       lupus
erythematosus (SLE).
erythematosus    (SLE). Ms.
                          Ms. Spears   was to
                               Spears was   to maintain
                                               maintain aa headache
                                                           headache diary,
                                                                      diary, continue
                                                                             continue her
                                                                                        her medications,  and
                                                                                            medications, and
add Migranal
add  Migranal nasal    spray as
                nasal spray   as an
                                 an abortive
                                    abortive treatment.
                                             treatment.

The follow
The follow up
            up rheumatology
               rheumatology office
                            office visit
                                   visit was
                                         was on
                                             on 1/19/09.
                                                1/19/09. Dr.
                                                         Dr. Kage reported that
                                                             Kage reported that the
                                                                                the test
                                                                                    test results
                                                                                         results and
                                                                                                 and
Ms. Spears'
Ms.  Spears’ medical  history suggested
              medical history suggested anan autoimmune
                                              autoimmune inflammatory    disorder. Plaquenil
                                                           inflammatory disorder.    Plaquenil was
                                                                                                 was
prescribed.
prescribed.

On 1/20/09,
On  1/20/09, Ms.
              Ms. Spears  was seen
                  Spears was   seen by
                                     by Neurologist   James Donaldson,
                                        Neurologist James                  MD, of
                                                              Donaldson, MD,     of the
                                                                                    the UConn
                                                                                         UConn Medical
                                                                                                 Medical
Group. Dr.
Group.       Donaldson reported
        Dr. Donaldson   reported he
                                  he observed
                                     observed Ms.
                                               Ms. Spears
                                                    Spears to
                                                            to appear
                                                               appear depressed,
                                                                       depressed, and
                                                                                  and she
                                                                                       she reported
                                                                                           reported poor
                                                                                                    poor
sleep. Dr.
sleep. Dr. Donaldson
           Donaldson indicated  the patch
                      indicated the patch seen
                                          seen on
                                               on MRI
                                                   MRI in   Ms. Spears
                                                         in Ms. Spears right
                                                                        right temporal
                                                                              temporal lobe  was likely
                                                                                        lobe was likely aa
low-grade glioma,
low-grade  glioma, and
                    and her
                        her headaches
                            headaches were
                                        were likely
                                             likely muscle    contraction headaches.
                                                     muscle contraction    headaches. He
                                                                                       He recommended
                                                                                           recommended
Nortriptyline as Dr.
Nortriptyline as Dr. Gordon
                     Gordon had
                             had ordered,
                                  ordered, amitriptyline,
                                           amitriptyline, or
                                                          or other
                                                             other antidepressant.
                                                                   antidepressant.

On 1/22/09,
On          all the
   1/22/09, all the claim
                    claim forms required for
                          forms required for an
                                             an LTD application were
                                                LTD application were sent
                                                                     sent to
                                                                          to Ms.
                                                                             Ms. Spears
                                                                                 Spears for her
                                                                                        for her


                                                       3 of 27
                                                       3 of 27                                          Liberty002381
                                                                                                        Liberty002381
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completion, and
completion,  and return
                  return to
                          to Liberty.
                             Liberty. It   was requested
                                       It was  requested that
                                                         that Ms.
                                                               Ms. Spears    complete and
                                                                    Spears complete    and return  the forms
                                                                                            return the  forms
as soon
as soon as
         as possible  as the
            possible as  the additional
                             additional information   was required
                                          information was   required for
                                                                       for the
                                                                           the LTD   eligibility decision.
                                                                               LTD eligibility   decision. It
                                                                                                            It
was noted
was        that the
     noted that the forms
                    forms were
                            were to
                                 to be
                                    be returned  to Liberty
                                        returned to Liberty no
                                                             no later than 4/28/09.
                                                                later than  4/28/09.

After Ms.
After  Ms. Spears'
            Spears’ 1/24/09   request to
                    1/24/09 request   to see
                                          see another
                                               another neurologist,   in February
                                                        neurologist, in    February 2009
                                                                                     2009 Dr.
                                                                                            Dr. Schiff
                                                                                                 Schiff
documented, "Nurse
documented,  “Nurse called
                    called to
                           to inform
                              inform that
                                     that II was
                                             was uncomfortable
                                                 uncomfortable with
                                                                with her
                                                                     her shopping
                                                                           shopping for
                                                                                    for neurologists
                                                                                         neurologists ++
therefore was
therefore was uncomfortable
              uncomfortable with
                             with managing   her care-
                                  managing her   care- She
                                                       She should
                                                           should find
                                                                  find aa new
                                                                          new doctor  as an
                                                                               doctor as an internist."
                                                                                            internist.”

Ms. Spears
Ms.  Spears followed
              followed upup with
                             with Dr.
                                   Dr. Beahring   on 1/27/09.
                                        Beahring on   1/27/09. The
                                                                The MRI
                                                                      MRI ofof the
                                                                                the brain
                                                                                    brain that
                                                                                           that date
                                                                                                date was
                                                                                                      was
unchanged from
unchanged          the October
            from the   October 2008
                                 2008 MRI.
                                       MRI. On On exam,
                                                   exam, Dr.
                                                          Dr. Baerhing   reported Ms.
                                                               Baerhing reported   Ms. Spears   was fully
                                                                                        Spears was   fully
awake, alert
awake,  alert and
              and oriented,
                   oriented, with
                             with clear
                                   clear and
                                         and fluent
                                             fluent speech.
                                                    speech. Impression   was reported
                                                            Impression was             as right
                                                                              reported as       temporal
                                                                                          right temporal
lobe signal
lobe signal of
            of unknown
               unknown etiology,
                          etiology, benign pineal region
                                    benign pineal        cyst, and
                                                  region cyst, and likely
                                                                   likely multifactorial headaches.
                                                                          multifactorial headaches.

At the
At  the 2/5/09
         2/5/09 office
                office visit,
                       visit, Dr.  Kage prescribed
                              Dr. Kage   prescribed Zoloft.
                                                     Zoloft. Dr.
                                                             Dr. Kage's
                                                                 Kage’s 2/9/09
                                                                         2/9/09 Patient  Call In
                                                                                Patient Call  In note  states,
                                                                                                  note states,
“pt states
"Pt  states she
            she agrees
                agrees to
                        to working
                           working 4  4 hours
                                        hours daily
                                               daily per
                                                     per your
                                                         your discussion
                                                              discussion with
                                                                          with her
                                                                                her at
                                                                                    at last
                                                                                       last appt...
                                                                                            appt… pt    states
                                                                                                     pt states
her papers
her  papers should
              should state
                      state she
                             she needs   to work
                                  needs to   work morning    hours so
                                                   morning hours    so she
                                                                       she can
                                                                            can go
                                                                                 go home
                                                                                     home and
                                                                                            and rest
                                                                                                  rest in
                                                                                                       in the
                                                                                                           the
afternoons.” The
afternoons."    The claim
                     claim file   contains aa note
                             file contains    note dated  2/9/09 from
                                                    dated 2/9/09        Dr. Kage
                                                                  from Dr.         that states,
                                                                            Kage that   states, "Due
                                                                                                “Due toto her
                                                                                                           her
medical
medical condition,    Ms. Spears
           condition, Ms.           should reduce
                           Spears should    reduce her
                                                    her work
                                                        work schedule
                                                              schedule to
                                                                        to 4
                                                                           4 hours
                                                                              hours per
                                                                                     per day.
                                                                                         day. II recommend
                                                                                                 recommend
that she
that  she be
          be allowed
             allowed to
                      to work
                         work mornings     only.”
                                 mornings only."

Dr. Zagar
Dr.  Zagar performed
            performed aa lumbar
                           lumbar puncture    on 2/9/09,
                                    puncture on   2/9/09, and
                                                          and reevaluated
                                                                reevaluated Ms.
                                                                            Ms. Spears  on 2/17/09.
                                                                                 Spears on 2/17/09. Ms.
                                                                                                      Ms.
Spears reported
Spears   reported increased   headaches after
                   increased headaches    after the
                                                the lumbar
                                                     lumbar puncture,
                                                               puncture, no vision problems,
                                                                         no vision problems, no   memory
                                                                                              no memory
lapses,
lapses, no  depression or
         no depression  or anxiety.
                            anxiety. Assessment
                                     Assessment that
                                                  that date
                                                       date included
                                                             included common
                                                                       common migraine,   well controlled;
                                                                                migraine, well controlled;
probable SLE;
probable   SLE; probable
                 probable Lyme    disease. Ms.
                           Lyme disease.   Ms. Spears
                                                Spears was
                                                         was to
                                                              to continue Topamax 100
                                                                 continue Topamax  100 mg  daily, and
                                                                                       mg daily,  and was
                                                                                                      was
later started
later started on
              on IV
                 IV antibiotics
                     antibiotics under
                                 under the
                                       the direction
                                           direction of
                                                      of Dr.
                                                         Dr. Zagar.
                                                             Zagar.

On 3/5/09,
On          Ms. Spears
    3/5/09, Ms. Spears saw
                        saw Dr.  O’Brien in
                             Dr. O'Brien   in follow  up for
                                              follow up   for her
                                                              her GI
                                                                  GI issues.
                                                                      issues. She
                                                                              She presented   as oriented
                                                                                   presented as  oriented to
                                                                                                          to
time, place,
time, place, and
             and person,  and in
                 person, and  in no acute distress,
                                 no acute   distress, with
                                                      with normal  affect. Dr.
                                                           normal affect.  Dr. O'Brien
                                                                                O’Brien reported
                                                                                          reported that
                                                                                                    that Ms.
                                                                                                         Ms.
Spears upper
Spears upper and
              and lower  GI symptoms
                  lower GI  symptoms "seem
                                       “seem to to be
                                                   be side
                                                      side effects
                                                           effects of
                                                                   of medicines
                                                                       medicines onon several
                                                                                      several occasions.
                                                                                              occasions. As
                                                                                                         As
the meds  change, so do her side effects.”  The  plan was  for Ms. Spears   to follow  up as
the meds change, so do her side effects." The plan was for Ms. Spears to follow up as needed.needed.

All the
All the medical
        medical documentation
                 documentation on  on file was reviewed
                                      file was  reviewed byby Liberty’s Consulting Physician
                                                              Liberty's Consulting             Board
                                                                                     Physician Board
Certified in
Certified    Internal Medicine
          in Internal Medicine andand Board
                                      Board Certified
                                              Certified in  Occupational Medicine,
                                                         in Occupational Medicine, Oyebode
                                                                                      Oyebode Taiwo,
                                                                                               Taiwo, MD.
                                                                                                       MD.
Dr. Taiwo's
Dr. Taiwo’s reports
              reports are
                      are dated
                          dated 2/25/09
                                 2/25/09 and
                                           and 3/9/09.
                                               3/9/09. After
                                                        After his
                                                              his phone
                                                                  phone contact  with Dr.
                                                                        contact with       O’Brien, and
                                                                                       Dr. O'Brien, and
attempted phone
attempted  phone contact   and attempted
                  contact and   attempted written
                                            written contact
                                                     contact (as
                                                             (as Dr.
                                                                 Dr. Kage
                                                                     Kage specifically
                                                                           specifically requested)
                                                                                        requested) with
                                                                                                   with Dr.
                                                                                                         Dr.
Kage, Dr.
Kage,  Dr. Taiwo
           Taiwo reported
                   reported Ms.
                             Ms. Spears    currently had
                                  Spears currently   had "non-specific
                                                          “non-specific upper
                                                                        upper and
                                                                               and lower
                                                                                    lower gastrointestinal
                                                                                          gastrointestinal
symptoms. Dr.
symptoms.        O’Brien had
            Dr. O'Brien   had placed
                               placed no
                                       no restrictions  on Ms.
                                           restrictions on  Ms. Spears'
                                                                Spears’ activities."
                                                                        activities.” [Ms.
                                                                                     [Ms. Spears had no
                                                                                          Spears had  no
Primary  Care Provider
Primary Care             at this
               Provider at  this time
                                 time for
                                       for Dr.  Taiwo to
                                           Dr. Taiwo   to contact].
                                                          contact].

Ms. Spears
Ms.           was first
      Spears was   first evaluated  by Family
                         evaluated by  Family Medicine
                                                Medicine physician
                                                           physician Kristin   Giannini, MD,
                                                                       Kristin Giannini,  MD, on
                                                                                               on 3/10/09.
                                                                                                   3/10/09.
Headaches are
Headaches    are the
                 the only
                      only complaint
                           complaint documented.
                                      documented. On  On exam,
                                                          exam, Dr.   Giannini reported
                                                                  Dr. Giannini  reported Ms.
                                                                                          Ms. Spears
                                                                                              Spears to
                                                                                                      to be
                                                                                                         be
alert, cooperative
alert, cooperative and
                     and well
                          well groomed,
                               groomed, "Not
                                           “Not in  acute distress
                                                 in acute  distress or
                                                                    or Sickly,"
                                                                       Sickly,” well
                                                                                 well nourished,  and well
                                                                                       nourished, and  well
developed with
developed   with normal    posture, with
                  normal posture,   with aa normal   voice. No
                                            normal voice.        abnormalities were
                                                            No abnormalities   were recorded
                                                                                      recorded on
                                                                                               on physical
                                                                                                   physical
exam. On
exam.   On the
            the Neuropsychiatric    portion of
                 Neuropsychiatric portion    of the
                                                the exam,   Dr. Giannini
                                                     exam, Dr.    Giannini reported,
                                                                           reported, "Mental
                                                                                      “Mental status
                                                                                               status exam
                                                                                                      exam
performed with
performed    with findings   of –Oriented
                   findings of   —Oriented X3X3 with
                                                  with appropriate
                                                        appropriate mood     and affect
                                                                      mood and    affect and
                                                                                         and demonstrates
                                                                                              demonstrates
appropriate judgment
appropriate  judgment and
                        and insight."
                            insight.” Assessment
                                      Assessment that
                                                    that visit
                                                         visit included asthma and
                                                               included asthma  and Lyme   disease.
                                                                                     Lyme disease.

At her
At her 3/16/09
       3/16/09 appointment
               appointment with
                           with Dr. Zagar, Ms.
                                Dr. Zagar, Ms. Spears
                                               Spears was
                                                      was accompanied
                                                          accompanied by
                                                                      by her
                                                                         her mother.
                                                                             mother. Ms.
                                                                                     Ms.


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                                                  4 of 27                                     Liberty002382
                                                                                              Li berty002382
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Spears reported
Spears reported her
                 her headaches
                     headaches had
                                had improved
                                     improved onon the
                                                    the Topamax.
                                                        Topamax. Dr.    Zagar documented
                                                                    Dr. Zagar  documented upon
                                                                                             upon review
                                                                                                   review
of systems
of systems that
            that Ms.
                 Ms. Spears
                      Spears reported
                              reported fatigue,
                                       fatigue, stuttering,
                                                stuttering, "Increase
                                                            “Increase inin cognitive
                                                                           cognitive problems,
                                                                                      problems, spelling,
                                                                                                 spelling,
vocabulary, math,
vocabulary,  math, etc.
                    etc. Dizziness
                         Dizziness and
                                    and memory
                                        memory lapses     or loss.
                                                   lapses or  loss. No   tremor. No
                                                                    No tremor.        difficulty walking.
                                                                                  No difficulty  walking.
Numbness.”
Numbness." OnOn exam,
                 exam, no
                        no neurologic, psychiatric or
                           neurologic, psychiatric  or mental status exam
                                                       mental status exam findings
                                                                            findings are
                                                                                     are documented.
                                                                                         documented.

Dr. Kage's
Dr. Kage’s 3/9/09
           3/9/09 office
                    office visit
                           visit note  reports Dr.
                                 note reports  Dr. Kage advised Ms.
                                                   Kage advised  Ms. Spears
                                                                      Spears to
                                                                              to consult
                                                                                 consult with
                                                                                         with an
                                                                                              an Infectious
                                                                                                 Infectious
Disease specialist. There
Disease specialist. There are
                           are 3/17/09
                               3/17/09 and
                                         and 3/18/09
                                              3/18/09 phone
                                                      phone notes  from Dr.
                                                            notes from   Dr. Kage’s  office which
                                                                             Kage's office  which indicate
                                                                                                   indicate
Dr. Kage
Dr.       advised Ms.
    Kage advised    Ms. Spears
                         Spears that
                                 that it
                                      it was
                                         was okay
                                              okay for
                                                   for Ms.
                                                       Ms. Spears
                                                           Spears to
                                                                   to see
                                                                      see the
                                                                          the Lyme   Clinic at
                                                                               Lyme Clinic  at Yale run by
                                                                                               Yale run  by
Rheumatologists,
Rheumatologists, asas they
                      they would
                           would provide
                                   provide anan assessment
                                                assessment of
                                                           of all
                                                              all her
                                                                  her medical
                                                                      medical problems.
                                                                               problems.

Ms. Spears'
Ms.  Spears’ returned
             returned to
                       to work
                           work on on aa part-time
                                         part-time basis
                                                    basis on
                                                          on 1/8/09.  Although Dr.
                                                             1/8/09. Although  Dr. Silvers indicated Ms.
                                                                                   Silvers indicated Ms.
Spears should
Spears should progress
               progress to
                         to full time work
                            full time   work by
                                              by 2/9/09,
                                                 2/9/09, Ms.
                                                         Ms. Spears
                                                             Spears continued  working part-time
                                                                     continued working part-time through
                                                                                                 through
3/24/09, at
3/24/09, at which
            which time
                  time she
                        she stopped
                             stopped all
                                       all work.
                                           work.

On 3/26/09
On  3/26/09 Ms.Ms. Spears
                    Spears was
                           was evaluated
                                evaluated by by Robert   Schoen, MD,
                                                Robert Schoen,     MD, ofof New   Haven Rheumatology.
                                                                            New Haven      Rheumatology. Dr.Dr.
Schoen reported
Schoen    reported Ms.
                   Ms. Spears'
                        Spears’ medical    history, current
                                 medical history,   current medications
                                                             medications asas Topamax,
                                                                              Topamax, Plaquenil,    Prevacid,
                                                                                          Plaquenil, Prevacid,
Asacol, folic
Asacol,   folic acid,
                acid, Singular,
                      Singular, and
                                and vitamins.
                                     vitamins. Physical
                                                Physical exam     was documented
                                                           exam was    documented as as within
                                                                                         within normal   limits.
                                                                                                normal limits.
Diagnoses
Diagnoses provided      were headache,
             provided were   headache, fatigue,
                                          fatigue, arthralgias;
                                                   arthralgias; abnormal
                                                                 abnormal MRI
                                                                            MRI scan
                                                                                  scan of
                                                                                        of the
                                                                                            the brain;
                                                                                                brain; positive
                                                                                                       positive
Lyme    disease Western
Lyme disease     Western blot
                           blot bands
                                bands onon CSF
                                            CSF with
                                                  with negative    peripheral blood
                                                         negative peripheral   blood serology.
                                                                                      serology. Dr.Dr. Schoen
                                                                                                       Schoen
reported, "My
reported,   “My best
                 best estimation  is that
                      estimation is  that she
                                           she does
                                               does not   have and
                                                     not have   and has
                                                                     has not had Lyme
                                                                         not had  Lyme disease
                                                                                          disease as
                                                                                                  as the
                                                                                                     the cause
                                                                                                          cause
for her
for her symptoms."
         symptoms.” Dr.Dr. Schoen
                           Schoen recommended
                                    recommended the  the antibiotics
                                                         antibiotics be
                                                                     be stopped,
                                                                        stopped, and
                                                                                  and that
                                                                                       that Ms.
                                                                                            Ms. Spears
                                                                                                 Spears pursue
                                                                                                        pursue
further workup
further workup with
                  with Dr.
                       Dr. Zagar,
                           Zagar, Dr.
                                   Dr. Kage,   and endocrinology.
                                       Kage, and    endocrinology.

On 3/30/09,
On           Dr. Schoen
    3/30/09, Dr. Schoen documented:
                           documented:
   II spoke
      spoke to
            to Dr.
                Dr. Zagar
                      Zagar on
                             on March
                                March 30,
                                        30, 2009.
                                            2009. II indicated
                                                     indicated that,
                                                               that, in
                                                                     in my  opinion, the
                                                                        my opinion,   the patient
                                                                                          patient does
                                                                                                  does not
                                                                                                        not
   have central
   have   central nervous     system Lyme
                    nervous system            disease and
                                       Lyme disease     and she
                                                             she has
                                                                 has been
                                                                       been treated
                                                                             treated adequately
                                                                                      adequately for
                                                                                                   for this
                                                                                                       this
   possibility. He
   possibility. He indicated
                      indicated that
                                that the
                                     the patient
                                         patient and
                                                  and her
                                                       her mother   were dissatisfied
                                                           mother were   dissatisfied with
                                                                                       with my  opinion. II
                                                                                            my opinion.
   indicated that
   indicated  that II would
                      would support
                             support their
                                     their decision
                                           decision to
                                                    to get
                                                       get an
                                                           an additional
                                                              additional opinion,
                                                                         opinion, if
                                                                                  if they
                                                                                     they wish.
                                                                                          wish.

As requested
As  requested byby Dr.   Giannini, on
                    Dr. Giannini,   on 3/30/09,
                                        3/30/09, Saqib
                                                  Saqib Naseer,     MD, evaluated
                                                          Naseer, MD,     evaluated Ms.
                                                                                     Ms. Spears
                                                                                            Spears from
                                                                                                     from aa
Cardiology perspective
Cardiology   perspective due
                          due to
                               to her
                                  her reported
                                      reported palpitations,
                                                 palpitations, racing
                                                               racing heartbeat,
                                                                       heartbeat, occasional
                                                                                  occasional dyspnea
                                                                                                dyspnea on
                                                                                                         on
exertion, and
exertion, and chest
               chest discomfort.
                      discomfort. Although
                                   Although there
                                              there were
                                                     were no   acute concerns
                                                           no acute   concerns at
                                                                                at that
                                                                                   that time,
                                                                                         time, Dr.
                                                                                                 Dr. Naseer
                                                                                                      Naseer
reported he
reported  he would
             would have
                     have Ms.
                           Ms. Spears
                                 Spears return  for an
                                        return for  an echocardiogram
                                                        echocardiogram andand treadmill
                                                                               treadmill test,
                                                                                           test, and
                                                                                                 and Holier
                                                                                                      Holter
monitor.
monitor. Results   of the
           Results of  the 4/1/09
                            4/1/09 pulmonary
                                    pulmonary test
                                                 test reported,
                                                      reported, "mild
                                                                  “mild reversible
                                                                         reversible airway
                                                                                     airway obstruction,"
                                                                                               obstruction,”
consistent with
consistent  with asthma.
                 asthma. Ms.
                          Ms. Spears
                               Spears saw
                                       saw Dr.
                                            Dr. Giannini
                                                 Giannini again
                                                           again onon 4/8/09
                                                                      4/8/09 for
                                                                             for ear
                                                                                  ear pain.
                                                                                      pain. Dr.Dr. Giannini
                                                                                                   Giannini
reported Ms.
reported  Ms. Spears
              Spears was
                     was alert
                          alert and
                                and oriented
                                    oriented and
                                             and in
                                                  in no acute distress.
                                                     no acute  distress.

The benefit
The  benefit begin
               begin date
                     date for
                           for Ms.
                               Ms. Spears'
                                   Spears’ LTD
                                            LTD claim
                                                  claim is
                                                         is 3/28/09.
                                                             3/28/09. AsAs of
                                                                            of 3/28/09,  Ms. Spears
                                                                               3/28/09, Ms.   Spears needed    to
                                                                                                       needed to
have fulfilled
have  fulfilled the
                the Policy’s  Elimination Period,
                    Policy's Elimination   Period, meet   the Policy's
                                                    meet the   Policy’s definition   of disability
                                                                          definition of disability and
                                                                                                    and all
                                                                                                        all other
                                                                                                            other
terms of
terms  of the
           the UTC
               UTC Group
                     Group Disability
                             Disability Income  Policy. The
                                        Income Policy.  The Policy     states:
                                                              Policy states:
    “Disability”
    "Disability" oror “Disabled”   means:
                      "Disabled" means:
        i.
        L “Disability”
             "Disability" oror “Disabled”  means that
                               "Disabled" means    that during
                                                        during the    Elimination Period
                                                                  the Elimination   Period and
                                                                                             and the   next 24
                                                                                                  the next  24
             months of
             months  of Disability
                        Disability the
                                    the Covered   Person, as
                                         Covered Person,    as aa result  of Injury
                                                                  result of  Injury or
                                                                                    or Sickness,
                                                                                        Sickness, is
                                                                                                   is unable
                                                                                                      unable to
                                                                                                              to
             perform the
             perform       Material and
                      the Material   and Substantial
                                          Substantial Duties
                                                      Duties of of his
                                                                   his Own
                                                                        Own Occupation;     and
                                                                              Occupation; and
       ii. thereafter,
       ii.               the Covered
             thereafter, the           Person is
                              Covered Person   is unable
                                                  unable to   perform, with
                                                           to perform,    with reasonable
                                                                               reasonable continuity,
                                                                                            continuity, the
                                                                                                         the
             Material and
             Material  and Substantial
                             Substantial Duties
                                          Duties of
                                                 of Any
                                                    Any Occupation.
                                                         Occupation.

    "Elimination Period" means
    "Elimination Period" means aa period
                                  period of
                                         of consecutive days of
                                            consecutive days of Disability
                                                                Disability or
                                                                           or Partial
                                                                              Partial Disability
                                                                                      Disability


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                                                   5 of 27                                       Liberty002383
                                                                                                 Li berty002383
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   for which
   for which no
             no benefit
                benefit is payable. The
                        is payable.     Elimination Period
                                    The Elimination Period is shown in
                                                           is shown in the Schedule of
                                                                       the Schedule of Benefits
                                                                                       Benefits
   and begins
   and begins on
              on the first day
                 the first day of
                               of Disability.
                                  Disability.

    If the
    If the Covered  Person returns
           Covered Person   returns to
                                     to work for any
                                        work for any thirty   or fewer
                                                      thirty or   fewer days
                                                                        days during
                                                                              during the Elimination
                                                                                     the Elimination
    Period and
    Period  and cannot
                 cannot continue,  Liberty will
                        continue, Liberty       count only
                                           will count  only those    days the
                                                             those days   the Covered  Person is
                                                                              Covered Person     Disabled
                                                                                              is Disabled
    or Partially
    or  Partially Disabled
                  Disabled to satisfy the
                           to satisfy     Elimination Period.
                                      the Elimination  Period.

    Elimination Period:
    Elimination   Period:
    The  greater of:
    The greater  of:
        a. the
       a.  the end of the
               end of the Covered Person's sick
                          Covered Person's sick pay,
                                                pay, Short
                                                     Short Term Disability Benefits;
                                                           Term Disability Benefits; or
                                                                                     or
        b. 180
        b. 180 days.
                days.

     “Own    Occupation” means the Covered Person's
     "Own Occupation"                           Person’s occupation that he was performing
                                                                                   performing when his
    Disability or Partial Disability began. For the purposes
                                                    purposes of determining Disability under this policy,
                                                                                                  policy,
    Liberty will consider the Covered Person's
                                        Person’s occupation as it is normally performed in the national
    economy.

Ms. Spears
Ms. Spears was
            was first
                 first evaluated
                       evaluated byby Lauren
                                      Lauren Gouin
                                              Gouin Young,
                                                     Young, Naturopathic
                                                              Naturopathic Doctor,   on 4/20/09.
                                                                             Doctor, on  4/20/09. Ms.
                                                                                                  Ms.
Spears reported
Spears reported symptoms
                symptoms including
                            including neck,
                                       neck, knee and foot
                                             knee and foot pain,
                                                           pain, fatigue,
                                                                 fatigue, migraines, severe brain
                                                                          migraines, severe brain fog,
                                                                                                  fog,
swollen hands,
swollen  hands, and
                and night    sweats, Dr.
                      night sweats,  Dr. Gouin
                                          Gouin Young
                                                 Young recommended
                                                        recommended dietary
                                                                         dietary changes
                                                                                 changes and
                                                                                          and dietary
                                                                                               dietary
supplements. Treatment
supplements. Treatment later
                         later included acupuncture.
                               included acupuncture.

On 4/21/09,
On  4/21/09, Ms.
              Ms. Spears
                    Spears was
                            was first  evaluated by
                                first evaluated  by Bernard
                                                     Bernard Raxlen,   MD, board
                                                              Raxlen, MD,    board certified
                                                                                    certified in
                                                                                              in Psychiatry
                                                                                                 Psychiatry
and specializes
and  specializes in
                  in the
                     the treatment
                          treatment ofof Lyme   disease. Ms.
                                         Lyme disease.     Ms. Spears
                                                                 Spears reported
                                                                        reported her
                                                                                  her symptoms
                                                                                       symptoms included
                                                                                                    included
“Horrible migraines
"Horrible              (no medicine
            migraines (no               worked),” seizures,
                             medicine worked),"    seizures, inability
                                                             inability to
                                                                       to walk
                                                                           walk up
                                                                                 up stairs,
                                                                                     stairs, non-restorative
                                                                                             non-restorative
sleep and
sleep and insomnia,
           insomnia, pain
                      pain everywhere
                            everywhere including
                                         including joint
                                                   joint pain
                                                         pain and
                                                              and eye
                                                                   eye pain  with blurred
                                                                       pain with  blurred vision,
                                                                                           vision, difficulty
                                                                                                   difficulty
speaking and
speaking  and slurred
               slurred speech,
                       speech, night  sweats, and
                               night sweats,   and palpitations.
                                                   palpitations. IV  antibiotics were
                                                                  IV antibiotics were prescribed.
                                                                                       prescribed.

On 4/27/09,
On  4/27/09, Dr.
               Dr. Zagar
                   Zagar indicated
                           indicated Ms.
                                      Ms. Spears
                                           Spears was
                                                    was accompanied
                                                         accompanied by by her
                                                                            her parents.
                                                                                 parents. Ms.
                                                                                           Ms. Spears
                                                                                                Spears reported
                                                                                                        reported
she had
she  had seen
          seen Dr.   Raxlen and
                Dr. Raxlen    and Dr.
                                   Dr. Raxlen   thinks "Lyme
                                        Raxlen thinks    “Lyme disease
                                                                 disease was
                                                                          was the
                                                                                the diagnosis
                                                                                     diagnosis and
                                                                                                and that
                                                                                                     that longer
                                                                                                           longer
term treatment
term  treatment was
                  was required."
                       required.” Dr.
                                    Dr. Zagar
                                         Zagar reported,     “Headaches are
                                                 reported, "Headaches      are well
                                                                               well controlled,
                                                                                      controlled, physical
                                                                                                   physical and
                                                                                                              and
cognitive complaints remained unchanged," and the physical findings included "Patient did not
cognitive   complaints   remained    unchanged,”     and  the  physical  findings   included   “Patient  did  not
appear uncomfortable."
appear   uncomfortable.” Dr. Dr. Zagar
                                  Zagar advised,
                                         advised, "I“I am
                                                       am skeptical
                                                            skeptical about
                                                                       about the
                                                                              the utility
                                                                                   utility of
                                                                                           of further  antibiotic
                                                                                              further antibiotic
treatment, given
treatment,   given the
                    the paucity
                        paucity of of evidence
                                       evidence toto show
                                                      show that
                                                             that prolonged    antibiotics provide
                                                                   prolonged antibiotics    provide additional
                                                                                                      additional
benefit. They
benefit.   They would
                 would like    to proceed
                         like to  proceed with
                                           with treatment
                                                  treatment asas recommended
                                                                 recommended by   by Dr.
                                                                                      Dr. Raxlen.”   On 5/1/09,
                                                                                           Raxlen." On    5/1/09,
ConnectiCare issued
ConnectiCare    issued its
                       its denial
                            denial for services provided
                                   for services provided by by Dr.
                                                               Dr. Raxlen,   an out-of-network
                                                                    Raxlen, an  out-of-network provider.
                                                                                                 provider.

Internal Medicine, Occupational
Internal Medicine,  Occupational Medicine
                                   Medicine physician,    Dr. Taiwo,
                                              physician, Dr.  Taiwo, completed    an updated
                                                                       completed an  updated review
                                                                                              review of
                                                                                                     of the
                                                                                                         the
medical   documentation in
medical documentation      in Ms.
                              Ms. Spears’    claim file.
                                    Spears' claim          His 5/13/09
                                                    file. His   5/13/09 report
                                                                          report concluded,
                                                                                 concluded, "Ms.
                                                                                              “Ms. Spears'
                                                                                                    Spears’
records do
records  do not  support any
             not support  any specific
                               specific limitations or restrictions
                                        limitations or  restrictions that
                                                                     that would
                                                                           would prevent  her from
                                                                                  prevent her       sitting,
                                                                                               from sitting,
standing or
standing  or walking
             walking at
                     at aa sedentary
                           sedentary physical  demand level
                                      physical demand    level from  3/24/09 through
                                                               from 3/24/09  through the
                                                                                      the present.”
                                                                                          present."

The denial
The  denial for
             for STD
                 STD benefits
                       benefits was
                                 was issued
                                     issued on
                                             on 5/13/09.
                                                5/13/09. Ms.Ms. Spears
                                                                 Spears had
                                                                          had returned  to work
                                                                              returned to  work part-time   on
                                                                                                 part-time on
1/8/09,  although she
1/8/09, although    she did
                         did not  progress to
                             not progress   to full
                                               full time
                                                    time work
                                                           work onon 2/8/09
                                                                       2/8/09 as
                                                                               as had
                                                                                  had been
                                                                                       been outlined
                                                                                             outlined by
                                                                                                       by Dr.
                                                                                                           Dr.
Silvers. Instead
Silvers.           Ms. Spears
         Instead Ms.    Spears continued
                                continued working
                                           working part
                                                     part time
                                                           time until
                                                                 until she
                                                                        she left
                                                                            left work
                                                                                 work completely
                                                                                       completely beginning
                                                                                                   beginning
3/25/09. Based
3/25/09.  Based onon the
                     the medical
                         medical documentation
                                  documentation on on file
                                                      file and
                                                            and Dr.   Taiwo’s medical
                                                                 Dr. Taiwo's            review, STD
                                                                               medical review,        benefits
                                                                                                STD benefits
were denied
were  denied after
               after 2/8/09,
                     2/8/09, since
                             since the
                                   the medical
                                        medical records
                                                records onon file
                                                              file did
                                                                   did not  support Ms.
                                                                        not support Ms. Spears'
                                                                                          Spears’ inability  to
                                                                                                  inability to
perform the
perform  the material   and substantial
              material and  substantial duties
                                        duties of
                                               of her
                                                  her job
                                                      job on
                                                           on aa full time basis.
                                                                 full time basis.


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                                                   6 of 27                                       Liberty002384
                                                                                                 Li berty002384
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Dr. Gianinni
Dr.  Gianinni saw
               saw Ms.
                    Ms. Spears
                         Spears for an asthma
                                for an  asthma recheck
                                                recheck onon 6/18/09.
                                                             6/18/09. Ms.
                                                                      Ms. Spears
                                                                           Spears reported  improvement
                                                                                   reported improvement
with her
with  her headaches
          headaches with
                      with an
                            an increase
                               increase in  Topamax, and
                                         in Topamax,    and reported  her Asthma
                                                            reported her  Asthma was
                                                                                   was "doing
                                                                                        “doing fine.”   On
                                                                                                 fine." On
exam, Dr.
exam,       Giannini reported
        Dr. Giannini   reported Ms.
                                Ms. Spears   was alert,
                                     Spears was   alert, cooperative,
                                                         cooperative, well
                                                                       well groomed,
                                                                            groomed, and
                                                                                      and "Not
                                                                                           “Not in in acute
                                                                                                      acute
distress or
distress or Sickly."
            Sickly.” Dr.
                      Dr. Giannini
                           Giannini also
                                    also reported,
                                          reported, "Mental
                                                    “Mental status
                                                              status exam
                                                                     exam performed
                                                                            performed with
                                                                                       with findings    of-
                                                                                              findings of-
Oriented X
Oriented  X3 3 with
               with appropriate
                     appropriate mood  and affect
                                 mood and   affect and
                                                   and demonstrates
                                                        demonstrates appropriate
                                                                      appropriate judgment
                                                                                  judgment and
                                                                                             and insight."
                                                                                                  insight.”
There was
There  was no   tenderness or
            no tenderness  or abnormalities
                              abnormalities noted  on physical
                                             noted on physical exam.
                                                                exam.

On 7/18/09,
On  7/18/09, Ms.
             Ms. Spears   was evaluated
                  Spears was   evaluated by
                                          by Sam
                                             Sam Donta,     MD, Infectious
                                                   Donta, MD,                Disease. Dr.
                                                                 Infectious Disease.   Dr. Donta
                                                                                           Donta indicated
                                                                                                   indicated
his impression
his impression was,
                was, "she
                      “she has
                            has chronic
                                chronic multi-symptom      illness consistent
                                         multi-symptom illness                 with aa chronic
                                                                    consistent with             fatigue and
                                                                                       chronic fatigue  and
fibromyalgia  of long
fibromyalgia of  long standing
                       standing duration
                                 duration that
                                          that may   well be
                                               may well   be due
                                                              due to
                                                                   to Lyme   Disease in
                                                                      Lyme Disease    in part
                                                                                         part or
                                                                                              or in
                                                                                                 in whole."
                                                                                                     whole.”
Dr. Donta
Dr. Donta recommended
           recommended aa different
                             different course  of treatment
                                       course of  treatment over
                                                              over the
                                                                    the next two years
                                                                        next two  years for
                                                                                         for Chronic
                                                                                             Chronic Lyme
                                                                                                      Lyme
Disease.
Disease.

Ms. Spears
Ms.  Spears was
              was evaluated  by Dr.
                  evaluated by   Dr. Kage
                                      Kage onon 7/20/09,   at which
                                                 7/20/09, at  which time
                                                                      time Dr.
                                                                            Dr. Kage   reported, "Pt
                                                                                 Kage reported,   “pt feels
                                                                                                       feels
disabled d/t
disabled  d/t memory  lapses, off/on
              memory lapses,  off/on fatigue...
                                     fatigue… Neck
                                                 Neck pain  & Rt
                                                       pain &  Rt parietal
                                                                  parietal HA
                                                                           HA pain
                                                                                pain wakes
                                                                                      wakes the
                                                                                             the patient  up
                                                                                                 patient up
at night;
at         Few years
   night; Few   years ago-
                      ago- "bulls
                            “bulls eye”   rash ’05.”
                                    eye" rash   '05." Dr.   Kage also
                                                        Dr. Kage   also reported,
                                                                         reported, "I
                                                                                    “I will
                                                                                       will reevaluate   her
                                                                                            reevaluate her
regarding any
regarding  any Connective
               Connective Tissue
                           Tissue Disease
                                   Disease once
                                            once she
                                                  she completes
                                                      completes her
                                                                 her antibiotic
                                                                      antibiotic regimen."
                                                                                 regimen.”

On 7/31/09,
On  7/31/09, Ms.
              Ms. Spears    had aa follow
                   Spears had              up visit
                                   follow up   visit with
                                                     with Dr.
                                                           Dr. Baehring.   Ms. Spears
                                                                Baehring. Ms.   Spears reported
                                                                                        reported her
                                                                                                  her headache
                                                                                                      headache
had not
had      worsened in
     not worsened   in frequency
                       frequency or or intensity,
                                       intensity, and
                                                  and denied
                                                       denied nausea   and vomiting.
                                                                nausea and   vomiting. Dr.
                                                                                       Dr. Baehring    reported,
                                                                                            Baehring reported,
“Apparently she
"Apparently   she had
                  had been
                        been diagnosed
                              diagnosed with
                                          with babesiosis,
                                                babesiosis, Bartonella
                                                             Bartonella infections
                                                                          infections and
                                                                                     and borreliosis.
                                                                                          borreliosis. II am
                                                                                                          am not
                                                                                                             not
certain what
certain what these
              these diagnoses
                     diagnoses are
                                 are based
                                     based on."
                                             on.” On
                                                  On neurologic    exam, Dr.
                                                       neurologic exam,         Baehring found
                                                                           Dr. Baehring          Ms. Spears
                                                                                          found Ms.           to
                                                                                                      Spears to
be "fully
be “fully awake
           awake and
                  and alert
                        alert and
                              and oriented.
                                   oriented. Language
                                              Language is is fluent. There are
                                                             fluent. There   are no cognitive deficits."
                                                                                 no cognitive  deficits.” There
                                                                                                           There
was no
was      change in
     no change      the MRI
                 in the  MRI ofof the
                                   the brain
                                        brain from   the previous
                                              from the              studies and
                                                         previous studies    and intervals
                                                                                 intervals between
                                                                                           between scans
                                                                                                     scans was
                                                                                                             was
increased to
increased  to one
              one year.
                  year.

A Patient
A          Call In
   Patient Call  In note  from Dr.
                     note from   Dr. Kage’s   office dated
                                       Kage's office dated 8/3/09,   states, "Pt
                                                            8/3/09, states,  “pt wrote
                                                                                  wrote letter  for you
                                                                                        letter for  you toto sign,
                                                                                                             sign,
please review…
please               Inform her
        review... Inform     her that
                                  that per  Dr. B.
                                        per Dr.    Kage, Labs
                                                B. Kage,        July ’09-
                                                          Labs July         autoimmune rheumatic
                                                                       '09- autoimmune     rheumatic screen
                                                                                                        screen is
                                                                                                                is
ok.”  Liberty   received  a letter   from Dr. Kage   dated  8/4/09  reporting  Ms.   Spears  is
ok." Liberty received a letter from Dr. Kage dated 8/4/09 reporting Ms. Spears is unable to work unable  to  work
“part time
"part time or
            or full
               full time,
                    time, and
                          and it
                               it is
                                  is medically
                                      medically necessary
                                                necessary for  her to
                                                           for her to be
                                                                      be on
                                                                          on full time disability.”
                                                                             full time disability."

After her
After her appointment
           appointment withwith Dr.  Zagar in
                                Dr. Zagar    in late
                                                late June
                                                     June 2009,
                                                          2009, Ms.
                                                                 Ms. Spears
                                                                      Spears saw
                                                                               saw Dr.
                                                                                    Dr. Zagar
                                                                                        Zagar next   on 10/26/09.
                                                                                                next on  10/26/09.
She was
She  was accompanied
            accompanied by    by her
                                  her mother.
                                        mother. Ms.Ms. Spears
                                                        Spears reported
                                                                 reported she
                                                                            she thought
                                                                                  thought she
                                                                                            she was
                                                                                                  was improving
                                                                                                        improving
overall-speech and
overall-speech    and conversation
                        conversation waswas better,
                                               better, back
                                                       back and
                                                             and neck     pain and
                                                                    neck pain   and migraines     had improved.
                                                                                      migraines had     improved.
Fatigue was
Fatigue  was still
               still an
                     an issue,  sleeping 88 to
                         issue, sleeping      to 13   hours per
                                                  13 hours  per day,
                                                                 day, trouble
                                                                       trouble sleeping
                                                                                sleeping at
                                                                                          at times,
                                                                                             times, and
                                                                                                     and "She
                                                                                                           “She is
                                                                                                                 is
“shot” for
"shot"  for aa few
               few days
                     days ifif she
                               she is
                                    is particularly
                                       particularly busy."
                                                      busy.” On
                                                              On neurological    exam, Dr.
                                                                   neurological exam,         Zagar reported
                                                                                         Dr. Zagar    reported no
                                                                                                                no
cognitive or
cognitive  or speech
               speech difficulties
                         difficulties or
                                       or deficits.
                                           deficits. As
                                                     As for
                                                         for the
                                                             the treatment
                                                                  treatment plan,
                                                                              plan, Dr.
                                                                                     Dr. Zagar
                                                                                         Zagar documented
                                                                                                 documented his his
concern regarding
concern  regarding treatment
                      treatment with
                                  with ongoing
                                        ongoing IV IV antibiotics.
                                                      antibiotics. Additionally,
                                                                   Additionally, Dr.
                                                                                   Dr. Zagar
                                                                                       Zagar recommended
                                                                                              recommended Ms.  Ms.
Spears’ consult
Spears'  consult with
                    with aa Psychologist,
                             Psychologist, aa Clinical
                                                 Clinical Social
                                                           Social Worker
                                                                   Worker for    relaxation training
                                                                             for relaxation   training and
                                                                                                         and sleep
                                                                                                             sleep
hygiene, and
hygiene,  and Provigil
               Provigil oror Ritalin
                             Ritalin for
                                      for fatigue.  Ms. Spears
                                          fatigue. Ms.           was to
                                                         Spears was   to consider
                                                                         consider the
                                                                                    the options.
                                                                                        options.

During the
During   the STD   appeal review,
              STD appeal    review, all
                                     all the
                                         the medical   documentation in
                                             medical documentation     in Ms.
                                                                           Ms. Spears’   disability claim
                                                                               Spears' disability   claim file
                                                                                                           file
was reviewed
was   reviewed byby Michael
                     Michael Silverman,
                               Silverman, MD,MD, Board
                                                   Board Certified
                                                          Certified in
                                                                     in Infectious  Disease and
                                                                        Infectious Disease    and in  Internal
                                                                                                   in Internal
Medicine, and
Medicine,    and aa certified   Medical Examiner.
                     certified Medical     Examiner. Dr.   Silverman’s 11/23/09
                                                       Dr. Silverman's                report of
                                                                           11/23/09 report    of that
                                                                                                  that review
                                                                                                        review
indicated the
indicated  the medical    documentation on
                medical documentation       on file
                                                file did
                                                     did not  support evidence
                                                         not support   evidence ofof any
                                                                                      any infectious
                                                                                           infectious disease
                                                                                                       disease
process, nor
process,       did it,
          nor did  it, despite
                       despite Ms.
                               Ms. Spears'
                                    Spears’ symptoms
                                              symptoms ofof headaches,
                                                             headaches, leg
                                                                          leg and
                                                                              and upper
                                                                                   upper back
                                                                                          back pain,   support
                                                                                                pain, support
restrictions and/or
restrictions and/or limitations
                     limitations for
                                 for Ms.
                                     Ms. Spears’    work activity,
                                           Spears' work  activity, as
                                                                   as of
                                                                      of 2/8/09
                                                                         2/8/09 and
                                                                                and forward.
                                                                                     forward.


                                                    7 of 27
                                                    7 of 27                                       Liberty002385
                                                                                                  Li berty002385
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In
In aa letter
      letter dated
             dated 1/29/10, Ms. Spears
                   1/29/10, Ms.         was notified
                                 Spears was           that the
                                             notified that the denial
                                                               denial for
                                                                      for continued
                                                                          continued STD
                                                                                    STD benefits
                                                                                        benefits beyond
                                                                                                 beyond
2/8/09 was
2/8/09    was upheld.
               upheld. At
                       At the
                           the request
                                request of
                                        of the
                                           the Plan
                                               Plan fiduciary,    United Technologies
                                                      fiduciary, United   Technologies Corporation,
                                                                                       Corporation, Ms.
                                                                                                    Ms.
Spears was
Spears   was then
              then provided
                   provided aa second
                               second opportunity
                                      opportunity to
                                                   to appeal
                                                      appeal the
                                                              the STD
                                                                  STD denial.
                                                                       denial.

On 1/20/10,
On           Ms. Spears
    1/20/10, Ms.         presented to
                 Spears presented   to Dr.
                                       Dr. Giannini's
                                           Giannini’s office
                                                      office to
                                                              to have
                                                                  have State
                                                                        State assistance
                                                                              assistance forms    completed.
                                                                                          forms completed.
Ms. Spears
Ms.  Spears reported, “Has definitely
            reported, "Has  definitely improved   overall. Has
                                       improved overall.   Has been
                                                                 been off
                                                                       off antibiotics...
                                                                           antibiotics… Memory
                                                                                          Memory still
                                                                                                    still not
                                                                                                          not
very good.
very  good. Symptoms
             Symptoms not    as frequent,
                        not as             often, severe.
                                frequent, often,  severe. Has
                                                           Has been
                                                                 been severely
                                                                        severely fatigued.
                                                                                  fatigued. Sleep
                                                                                              Sleep still
                                                                                                    still not
                                                                                                          not
good.” Dr.
good."  Dr. Giannini
            Giannini reported
                     reported on
                               on exam,  Ms. Spears
                                  exam, Ms.          was alert,
                                              Spears was   alert, in
                                                                  in no  acute distress,
                                                                     no acute  distress, and
                                                                                         and did
                                                                                              did not appear
                                                                                                  not appear
sickly. Mental
sickly.   Mental status
                  status exam
                          exam findings    indicated Ms.
                                 findings indicated   Ms. Spears
                                                            Spears waswas oriented
                                                                            oriented in    all spheres,
                                                                                       in all  spheres, had
                                                                                                          had
appropriate mood
appropriate       and affect
            mood and   affect with
                              with appropriate
                                   appropriate judgment
                                                judgment and
                                                           and insight.
                                                                insight.

After her
After  her first  office visit
           first office   visit with
                                with Dr.
                                      Dr. Raxlen
                                           Raxlen on on 4/21/09,
                                                         4/21/09, Ms.
                                                                   Ms. Spears
                                                                        Spears saw
                                                                                 saw Dr.
                                                                                       Dr. Raxlen
                                                                                           Raxlen almost
                                                                                                    almost monthly
                                                                                                             monthly
for the
for the remainder
         remainder of  of 2009.
                           2009. In    2010, Ms.
                                   In 2010,    Ms. Spears     had four
                                                     Spears had    four office
                                                                         office visits
                                                                                  visits with
                                                                                         with Dr.
                                                                                                Dr. Raxlen.     From
                                                                                                     Raxlen. From
February 2011
February   2011 through
                   through June
                             June 2013,
                                    2013, office
                                            office visits
                                                    visits were
                                                           were every
                                                                  every other
                                                                         other month.     From Ms.
                                                                                 month. From     Ms. Spears'
                                                                                                      Spears’ Trout
                                                                                                                Trout
Brook Drive
Brook   Drive residence
                residence inin West
                                West Hartford,
                                       Hartford, CTCT toto Dr.
                                                           Dr. Raxlen's
                                                                Raxlen’s West     79th Street
                                                                           West 79th    Street office
                                                                                               office in
                                                                                                       in New    York
                                                                                                          New York
City, Ms.
City,  Ms. Spears
           Spears traveled
                     traveled 117
                                117 miles    each way.
                                     miles each     way. MapQuest
                                                          MapQuest indicates      with moderate
                                                                       indicates with               traffic, this
                                                                                         moderate traffic,   this is
                                                                                                                  is aa
two hour
two  hour drive.
          drive. Dr.
                   Dr. Raxlen’s    2/16/10 office
                        Raxlen's 2/16/10     office visit
                                                     visit note starts with,
                                                           note starts with, "-Pt
                                                                              “-Pt rode
                                                                                   rode in
                                                                                         in Mardi
                                                                                            Mardi Gras
                                                                                                    Gras parade
                                                                                                          parade x x4 4
hrs on
hrs on 2/13!
        2/13! —Sleep
               –Sleep better
                         better but
                                 but still
                                     still erratic.
                                           erratic. –Feels   okay if
                                                    —Feels okay       able to
                                                                   if able to sleep
                                                                               sleep 13   hours+ -not
                                                                                      13 hours+         depressed or
                                                                                                  -not depressed     or
anxiety —off
anxiety  –off antibiotics
               antibiotics x2x2 months.”    Ms. Spears
                                 months." Ms.     Spears also
                                                           also reported
                                                                reported continued     vision problems,
                                                                          continued vision     problems, stuttering,
                                                                                                           stuttering,
night  sweats, tingling
night sweats,    tingling in
                           in right  temporal lobe,
                               right temporal           right foot,
                                                 lobe, right   foot, and
                                                                     and left
                                                                          left forearm.
                                                                                forearm. She     advised she
                                                                                            She advised    she had
                                                                                                                had aa
slight improvement
slight improvement in   in energy,  and headaches
                           energy, and    headaches were
                                                      were controlled
                                                             controlled with
                                                                         with Migranal.
                                                                                Migranal.

On 3/19/10,
On   3/19/10, inin the
                    the history
                          history ofof present   illness, Dr.
                                        present illness,        Zagar reported,
                                                           Dr. Zagar     reported, "Stopped
                                                                                    “Stopped all all antibiotics
                                                                                                      antibiotics inin
December 2009
December    2009 as as per  Dr. Raxlen.
                        per Dr.            She felt
                                 Raxlen. She         that she
                                                felt that she "hit
                                                               “hit aa plateau"
                                                                       plateau” prior
                                                                                 prior to
                                                                                        to that.
                                                                                           that. Was
                                                                                                 Was doing
                                                                                                        doing fairly
                                                                                                                fairly
well for
well  for some
          some time.
                 time. "Nowhere
                        “Nowhere nearnear normal.   But slight
                                          normal. But    slight energy   increase.” "Totally
                                                                energy increase."    “Totally crashed
                                                                                               crashed after
                                                                                                         after about
                                                                                                               about
5 weeks...
5 weeks… Considering
             Considering restarting
                            restarting meds.    Total of
                                        meds. Total    of 7
                                                          7 months
                                                            months of of antibiotics
                                                                         antibiotics over
                                                                                      over the
                                                                                           the last
                                                                                                last year."
                                                                                                     year.” Despite
                                                                                                             Despite
Ms. Spear's
Ms.  Spear’s self-reported
              self-reported cognitive
                               cognitive complaints,
                                          complaints, Dr.
                                                        Dr. Zagar
                                                             Zagar documented
                                                                     documented no no cognitive    issues on
                                                                                       cognitive issues    on exam.
                                                                                                               exam.
Dr. Zagar
Dr.  Zagar reported,
            reported, "Since
                         “Since it  has been
                                 it has  been aa year
                                                 year at
                                                       at this
                                                          this point,
                                                               point, II am
                                                                         am no
                                                                             no longer
                                                                                 longer comfortable      facilitating
                                                                                          comfortable facilitating
their IV
their     antibiotic treatments
      IV antibiotic   treatments asas prescribed
                                      prescribed byby Dr.
                                                      Dr. Raxlen….
                                                           Raxlen.... II will
                                                                         will prescribe   one more
                                                                              prescribe one   more month.”
                                                                                                     month."

In
In Dr. Kage’s Patient
   Dr. Kage's          Call In
               Patient Call In note dated 5/6/10,
                               note dated 5/6/10, Dr.
                                                  Dr. Kage
                                                      Kage reported,
                                                           reported, "I
                                                                     “I am
                                                                        am not going to
                                                                           not going to prescribe
                                                                                        prescribe
treatments for
treatments for Lyme.”
               Lyme."

The claim
The  claim file
             file contains correspondence from
                  contains correspondence          ConnectiCare dated
                                             from ConnectiCare    dated 4/9/10
                                                                         4/9/10 in
                                                                                in response  to Dr.
                                                                                   response to  Dr. Raxlen’s
                                                                                                    Raxlen's
request for
request  for IVIV hydration
                   hydration three
                              three days
                                     days per   week. The
                                           per week.  The letter
                                                           letter to
                                                                   to Ms.
                                                                      Ms. Spears
                                                                           Spears states,
                                                                                   states, "Based
                                                                                           “Based upon
                                                                                                    upon the
                                                                                                          the
medical
medical information      submitted for
          information submitted      for review,
                                         review, there
                                                  there is
                                                        is no
                                                           no physician     documentation (office
                                                                physician documentation     (office progress
                                                                                                     progress
notes  or laboratory
notes or                studies) of
           laboratory studies)   of aa disease
                                       disease or
                                                or condition
                                                   condition that
                                                              that requires
                                                                    requires intravenous
                                                                             intravenous hydration
                                                                                           hydration several
                                                                                                      several
times per
times        week. Additionally,
       per week.    Additionally, there
                                    there is
                                           is no documentation that
                                              no documentation    that you
                                                                        you cannot
                                                                             cannot maintain    hydration by
                                                                                     maintain hydration    by
drinking adequate
drinking  adequate amounts
                     amounts ofof oral
                                  oral fluids.”
                                       fluids."

During the
During   the second
              second STD     appeal review,
                       STD appeal    review, Dr.   Silverman was
                                              Dr. Silverman    was asked
                                                                     asked toto review
                                                                                 review allall the
                                                                                               the additional
                                                                                                    additional
documentation received
documentation    received in
                          in support
                             support of
                                      of Ms.
                                         Ms. Spears’  claim. As
                                             Spears' claim.  As in
                                                                 in Dr.  Silverman’s first
                                                                    Dr. Silverman's          review, multiple
                                                                                       first review, multiple
attempts to
attempts  to reach Dr. Raxlen
             reach Dr.          were unsuccessful.
                        Raxlen were  unsuccessful. On
                                                    On 4/8/10,
                                                         4/8/10, Dr.
                                                                 Dr. Silverman    did speak
                                                                      Silverman did   speak with
                                                                                               with Dr. Kage.
                                                                                                    Dr. Kage.
Dr. Silverman’s
Dr.                 summary of
     Silverman's summary       of that
                                  that conversation
                                        conversation reports,   “She stated
                                                      reports, "She    stated that
                                                                               that there
                                                                                    there waswas no
                                                                                                  no clearcut
                                                                                                      clearcut
evidence of
evidence   of rheumatological   disorder which
              rheumatological disorder    which would
                                                 would explain
                                                         explain the
                                                                  the claimant's
                                                                      claimant’s current     symptomatology
                                                                                   current symptomatology
from her
from  her perspective,”  and she
           perspective," and  she would
                                  would defer
                                          defer to
                                                to Dr.
                                                   Dr. Raxlen   regarding Ms.
                                                       Raxlen regarding     Ms. Spears'
                                                                                 Spears’ tick-borne
                                                                                           tick-borne illness.
                                                                                                       illness.
As aa result
As    result of
             of this
                this second
                     second review,
                             review, Dr.
                                      Dr. Silverman  continued to
                                          Silverman continued    to report
                                                                    report the
                                                                            the medical    documentation on
                                                                                 medical documentation      on


                                                      8 of 27
                                                      8 of 27                                         Liberty002386
                                                                                                      Li berty002386
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file did not
file did      support evidence
         not support            of an
                      evidence of  an infectious disease process,
                                      infectious disease  process, and
                                                                    and despite  Ms. Spears’
                                                                         despite Ms.          self-reported
                                                                                     Spears' self-reported
symptoms, the
symptoms,    the medical
                 medical documentation
                          documentation did
                                         did not  support restrictions
                                              not support  restrictions and/or
                                                                        and/or limitations
                                                                               limitations for Ms. Spears'
                                                                                           for Ms.  Spears’
work activity
work   activity to
                to preclude
                   preclude her
                            her from
                                from performing   her job
                                     performing her   job as
                                                          as of
                                                             of 2/8/09
                                                                 2/8/09 and
                                                                        and forward.
                                                                             forward.

On the
On  the Physical
        Physical Residual     Functional Capacity
                   Residual Functional      Capacity Questionnaire
                                                       Questionnaire completed
                                                                        completed by by Dr.   Zagar on
                                                                                        Dr. Zagar    on 6/21/10,
                                                                                                         6/21/10, Dr.
                                                                                                                  Dr.
Zagar reported
Zagar   reported Ms.
                   Ms. Spears'
                         Spears’ diagnoses
                                   diagnoses areare CNS
                                                      CNS Lyme
                                                             Lyme disease
                                                                      disease and
                                                                               and migraine.
                                                                                     migraine. Symptoms
                                                                                                   Symptoms werewere
reported as
reported  as neck/shoulder      pain, migraine,
              neck/shoulder pain,                  fatigue, cognitive
                                        migraine, fatigue,                 impairment, and
                                                               cognitive impairment,      and joint
                                                                                               joint pains.
                                                                                                      pains. On
                                                                                                              On this
                                                                                                                  this
form, Dr.
form,       Zagar indicated
        Dr. Zagar    indicated Ms.
                                 Ms. Spears
                                        Spears has
                                                 has anxiety
                                                       anxiety affecting
                                                                 affecting her
                                                                             her physical
                                                                                   physical condition.
                                                                                              condition. Dr.   Zagar
                                                                                                           Dr. Zagar
reported Ms.
reported  Ms. Spears
               Spears isis able
                           able to
                                to sit
                                   sit one
                                        one hour
                                            hour at
                                                  at aa time
                                                        time before
                                                               before changing
                                                                      changing position;
                                                                                  position; would
                                                                                             would need
                                                                                                     need 15
                                                                                                           15 minute
                                                                                                              minute
breaks every
breaks         two hours;
        every two    hours; can
                             can lift
                                  lift up
                                       up to
                                           to 10
                                              10 pounds     occasionally. Dr
                                                  pounds occasionally.       Dr Zagar
                                                                                Zagar reported,
                                                                                       reported, "Main
                                                                                                   “Main issues
                                                                                                           issues are
                                                                                                                   are
cognitive- trouble
cognitive-  trouble with
                      with memory,
                            memory, word word finding,
                                               finding, concentration,
                                                          concentration, andand fatigue    requiring frequent
                                                                                 fatigue requiring    frequent naps.
                                                                                                                naps.
On the
On  the Medical
         Medical Source     Assessment (Mental)
                  Source Assessment       (Mental) form,
                                                      form, in   the categories
                                                              in the categories ofof Understanding
                                                                                     Understanding and and Memory,
                                                                                                            Memory,
Sustained Concentration
Sustained  Concentration and and Persistence,
                                   Persistence, and
                                                 and Adaptation,
                                                       Adaptation, Dr.Dr. Zagar
                                                                            Zagar indicated    Ms. Spears
                                                                                   indicated Ms.    Spears was
                                                                                                            was able
                                                                                                                 able
to perform
to           the task
   perform the   task oror function   with noticeable
                           function with                  difficulty or
                                            noticeable difficulty     or unable
                                                                          unable to
                                                                                  to perform
                                                                                     perform thethe task
                                                                                                    task or
                                                                                                          or function
                                                                                                             function
on aa regular,
on    regular, reliable  schedule. Under
               reliable schedule.    Under Social
                                             Social Interaction,
                                                     Interaction, Dr.
                                                                    Dr. Zagar
                                                                         Zagar mostly    indicated Ms.
                                                                                 mostly indicated    Ms. Spears
                                                                                                          Spears was
                                                                                                                 was
able to
able  to perform
         perform thethe tasks
                         tasks with
                                with no   observable limits,
                                       no observable              other than,
                                                         limits, other   than, "accept
                                                                                “accept instructions
                                                                                          instructions and
                                                                                                        and respond
                                                                                                             respond
appropriately to
appropriately  to criticism,"
                   criticism,” that
                                that would
                                      would bebe performed
                                                 performed withwith noticeable   difficulty.
                                                                     noticeable difficulty.

Ms. Spears
Ms. Spears was
            was seen
                 seen inin the
                           the office
                               office by
                                       by Dr.  Giannini on
                                           Dr. Giannini  on 7/9/10.  The office
                                                            7/9/10. The  office note  states:
                                                                                note states:
   Patient words: She
   Patient words:   She is   here to
                          is here to fill out disability
                                     fill out disability papers.
                                                         papers. She
                                                                 She has
                                                                     has been
                                                                         been treated
                                                                               treated for  chronic Lyme
                                                                                        for chronic Lyme and
                                                                                                           and
   because of
   because  of this
                this is
                     is not   able to
                         not able  to work.
                                       work. She
                                              She has
                                                   has had
                                                        had neuroLyme
                                                            neuroLyme andand has
                                                                              has serious
                                                                                   serious enough
                                                                                            enough symptoms
                                                                                                    symptoms
   related to
   related to this
               this that
                    that she
                          she is  unable to
                               is unable   to hold
                                              hold down
                                                   down aa job.
                                                            job. Cannot
                                                                  Cannot focus,
                                                                          focus, poor
                                                                                  poor concentration,
                                                                                        concentration, cannot
                                                                                                        cannot
   perform simple
   perform   simple tasks.
                      tasks. Can
                              Can be
                                   be fine
                                       fine 11 minute
                                               minute and
                                                        and then
                                                            then extreme
                                                                  extreme fatigue   and has
                                                                           fatigue and   has to
                                                                                              to go
                                                                                                 go lay down.
                                                                                                    lay down.
   Also has
   Also  has dizziness,
             dizziness, nausea,    vomiting, and
                           nausea, vomiting,   and chronic
                                                   chronic headaches.
                                                            headaches.

On 7/9/10,
On   7/9/10, Dr.
              Dr. Giannini
                   Giannini reported
                              reported Ms.
                                       Ms. Spears
                                             Spears was
                                                     was alert,
                                                          alert, cooperative
                                                                 cooperative and
                                                                              and well
                                                                                   well groomed,
                                                                                        groomed, not    in acute
                                                                                                   not in    acute
distress, not
distress,       sickly, well
           not sickly,    well nourished,  well developed,
                               nourished, well    developed, and
                                                               and well
                                                                    well hydrated
                                                                          hydrated with
                                                                                    with normal
                                                                                          normal posture
                                                                                                   posture andand
normal    voice. Dr.
normal voice.    Dr. Giannini
                       Giannini documented
                                 documented on on exam
                                                   exam for
                                                         for Neuropsychiatric,    “Thought Process/Cognitive
                                                             Neuropsychiatric, "Thought      Process/Cognitive
Function- attention
Function-    attention deficit,
                         deficit, reading
                                  reading comprehension
                                           comprehension impaired,
                                                             impaired, word
                                                                         word comprehension
                                                                                comprehension impaired
                                                                                                 impaired and and
concentration    impaired    (during  conversation   in office   had  trouble staying  on  task
concentration impaired (during conversation in office had trouble staying on task and following and   following
conversation. Could
conversation.    Could not   remember dates)."
                         not remember    dates).” Assessment
                                                  Assessment andand Plan  stated, "Lyme
                                                                     Plan stated, “Lyme disease."
                                                                                          disease.” It
                                                                                                     It is
                                                                                                        is noted
                                                                                                            noted
that this
that  this 7/7/10
           7/7/10 treatment
                    treatment record,
                               record, after
                                       after Ms.
                                             Ms. Spears'
                                                  Spears’ explicit,
                                                           explicit, self-reported
                                                                     self-reported symptoms
                                                                                   symptoms that
                                                                                               that date,
                                                                                                    date, isis the
                                                                                                               the
only record
only   record on
              on file
                   file in which Dr.
                        in which  Dr. Giannini
                                      Giannini reported
                                                 reported anything
                                                           anything on
                                                                     on Neuropsychiatric    exam, other
                                                                         Neuropsychiatric exam,    other than
                                                                                                           than aa
normal
normal mental     status exam.
          mental status   exam.

On 7/9/10
On  7/9/10 Dr.
            Dr. Giannini
                Giannini then
                            then completed
                                 completed the
                                             the same
                                                  same forms
                                                        forms asas completed
                                                                   completed by
                                                                              by Dr.
                                                                                  Dr. Zagar
                                                                                      Zagar onon 6/21/10,
                                                                                                 6/21/10, and
                                                                                                          and
provided aa similar
provided     similar assessment
                      assessment toto Dr.
                                       Dr. Zagar's.
                                            Zagar’s. Dr.
                                                      Dr. Giannini
                                                           Giannini indicated    Ms. Spears
                                                                      indicated Ms.   Spears has
                                                                                               has depression
                                                                                                   depression
affecting her
affecting her physical
              physical condition.
                         condition. Dr.
                                     Dr. Giannini
                                          Giannini reported:
                                                    reported:
    Due to
    Due  to all
            all of
                of Haley's
                   Haley’s symptoms
                              symptoms sheshe is
                                              is unable
                                                 unable to
                                                         to complete
                                                            complete aa workday
                                                                         workday due
                                                                                   due to
                                                                                        to extreme
                                                                                           extreme cognitive
                                                                                                    cognitive
    dysfunction and
    dysfunction  and fatigue.   She can
                       fatigue. She can bebe fine
                                             fine one
                                                   one minute
                                                       minute and
                                                                and severely
                                                                     severely fatigued
                                                                              fatigued and
                                                                                        and needing   to go
                                                                                             needing to  go to
                                                                                                            to
    bed the
    bed the next.
            next. She   has minimal
                   She has    minimal to
                                      to no  ability to
                                          no ability to concentrate,
                                                        concentrate, stay
                                                                      stay on
                                                                           on task,
                                                                              task, focus  or remember
                                                                                    focus or  remember even
                                                                                                         even
    simple things
    simple things at
                   at this
                      this point.
                           point. She
                                  She is
                                       is unable
                                          unable to
                                                  to work
                                                     work at
                                                           at this
                                                              this time
                                                                   time and
                                                                        and for
                                                                            for likely the next
                                                                                likely the       several years
                                                                                           next several  years
    and probably
    and probably beyond.
                   beyond.

In 2010, Ms.
In 2010, Ms. Spears
             Spears was
                    was treated
                        treated by
                                by Dr.
                                    Dr. Cynthia
                                        Cynthia Grosso,
                                                 Grosso, Chiropractor,
                                                          Chiropractor, for
                                                                        for neck and upper
                                                                            neck and  upper back
                                                                                            back pain.
                                                                                                  pain.
Treatment was
Treatment  was recommended   two to
               recommended two    to three
                                     three times
                                           times per  week and
                                                  per week  and began
                                                                began on
                                                                       on 6/2/10.
                                                                          6/2/10. Ms.
                                                                                  Ms. Spears  attended
                                                                                       Spears attended
treatment approximately
treatment approximately weekly,
                         weekly, through
                                  through 9/9/10.
                                            9/9/10. On
                                                    On 9/9/10,
                                                        9/9/10, Dr.   Grosso reported,
                                                                 Dr. Grosso   reported, "The
                                                                                        “The patient's
                                                                                              patient’s
prognosis is
prognosis is guarded
             guarded because
                     because has
                              has not  received enough
                                  not received   enough treatments
                                                         treatments to
                                                                     to determine
                                                                        determine aa prognosis."
                                                                                     prognosis.” ItIt is
                                                                                                      is


                                                      9 of 27
                                                      9 of 27                                        Liberty002387
                                                                                                     Li berty002387
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noted that Dr.
noted that Dr. Grasso's
               Grasso’s office
                        office in
                               in West
                                  West Springfield,
                                       Springfield, Massachusetts
                                                    Massachusetts is 32 miles
                                                                  is 32 miles from  Ms. Spears’
                                                                              from Ms.          West
                                                                                        Spears' West
Hartford, Connecticut
Hartford, Connecticut residence,  and according
                      residence, and  according to
                                                to Google
                                                   Google Maps,
                                                          Maps, aa 56
                                                                   56 minute  drive.
                                                                      minute drive.

On July
On  July 12,
          12, July
               July 16,  and July
                     16, and  July 20,
                                    20, 2010,
                                        2010, Ms.
                                               Ms. Spears
                                                     Spears participated
                                                             participated in
                                                                           in aa neuropsychological
                                                                                 neuropsychological evaluation
                                                                                                        evaluation
performed by
performed   by Marian
                Marian Rissenberg,     PhD,   as referred  by Dr.  Raxlen,  to  determine   the nature
                          Rissenberg, PhD, as referred by Dr. Raxlen, to determine the nature and extentand   extent
of Ms.
of Ms. Spears'
         Spears’ cognitive
                  cognitive impairment.
                              impairment. Ms.Ms. Spears
                                                  Spears reported
                                                          reported she
                                                                     she paid
                                                                          paid aa neighbor
                                                                                   neighbor toto drive
                                                                                                 drive her
                                                                                                        her the
                                                                                                             the 90
                                                                                                                  90
minutes
minutes toto Dr.
             Dr. Rissenberg’s     office, as
                  Rissenberg's office,    as she
                                             she is
                                                  is only
                                                     only able
                                                           able to
                                                                to drive
                                                                    drive short
                                                                           short distances
                                                                                  distances due
                                                                                              due to
                                                                                                  to "fatigue
                                                                                                     “fatigue andand
confusion.” Dr.
confusion."   Dr. Rissenberg    reported:
                  Rissenberg reported:
    At the
    At  the time
             time ofof testing,
                       testing, Ms.
                                 Ms. Spears'
                                      Spears’ symptoms
                                                symptoms included
                                                            included forgetfulness
                                                                        forgetfulness and
                                                                                        and poor
                                                                                              poor concentration,
                                                                                                    concentration,
    difficulty with
    difficulty  with word-retrieval,
                       word-retrieval, new     learning, following
                                         new learning,    following directions,
                                                                       directions, organizing
                                                                                    organizing andand completing
                                                                                                       completing
    tasks and
    tasks  and keeping    track of
                keeping track    of what
                                    what she
                                           she was
                                                was doing
                                                     doing or
                                                            or saying,
                                                               saying, inin addition
                                                                            addition toto fatigue,
                                                                                          fatigue, malaise,    chills
                                                                                                    malaise, chills
    and sweats,
    and  sweats, dizziness,
                   dizziness, neck   and back
                               neck and   back pain,
                                                 pain, sleep
                                                       sleep disturbance,
                                                              disturbance, increased
                                                                             increased anxiety
                                                                                         anxiety and
                                                                                                   and irritability,
                                                                                                       irritability,
    and sensitivity
    and  sensitivity to
                      to noise.
                         noise.

Dr. Rissenberg
Dr.              concluded Ms.
     Rissenberg concluded   Ms. Spears
                                 Spears demonstrated
                                           demonstrated aa "dramatic
                                                             “dramatic decline
                                                                        decline in
                                                                                in mental
                                                                                    mental status,"
                                                                                            status,” with
                                                                                                     with
impairment of
impairment   of working
                working memory,   and auditory
                         memory, and   auditory verbal
                                                  verbal memory.
                                                         memory. Dr.
                                                                   Dr. Rissenberg  reported, "The
                                                                       Rissenberg reported,  “The nature
                                                                                                    nature
and severity
and  severity of
              of these
                 these cognitive deficits, particularly
                       cognitive deficits,               coupled with
                                            particularly coupled  with Ms.
                                                                       Ms. Spears’
                                                                            Spears' physical   symptoms,
                                                                                     physical symptoms,
would preclude
would   preclude gainful
                  gainful employment
                          employment of  of any
                                              any kind
                                                   kind at
                                                         at this
                                                            this time."
                                                                 time.” Continued
                                                                         Continued aggressive
                                                                                     aggressive medical
                                                                                                  medical
treatment and
treatment  and supportive
               supportive psychotherapy
                          psychotherapy were
                                           were recommended.
                                                 recommended.

Dr. Raxlen’s
Dr. Raxlen's 7/18/10  office note
              7/18/10 office note reports, “still has
                                  reports, "still has cognitive
                                                      cognitive issues, but turns
                                                                issues, but turns off
                                                                                  off and
                                                                                      and on.
                                                                                          on. —short
                                                                                              –short term
                                                                                                     term
& long
&  long term
         term memory
               memory –friends    recall events-she
                        —friends recall  events-she does
                                                       does not  remember them...
                                                            not remember     them… cancan get
                                                                                          get overloaded
                                                                                              overloaded
easily-overwhelmed -became
easily-overwhelmed      -became confused
                                   confused atat brother's
                                                   brother’s wedding-again
                                                             wedding-again confused-couldn't
                                                                               confused-couldn’t follow
                                                                                                  follow
wedding ceremony."
wedding   ceremony.”

Ms. Spears
Ms.          returned to
     Spears returned    to see
                           see Dr.
                               Dr. Zagar
                                    Zagar on
                                          on 7/23/10,   for her
                                              7/23/10, for   her chief
                                                                 chief complaint
                                                                        complaint ofof Lyme    disease. She
                                                                                        Lyme disease.   She
reported she
reported she had
              had neuropsychological   testing due
                   neuropsychological testing  due to
                                                    to her
                                                       her issues
                                                           issues with
                                                                   with memory   and thinking.
                                                                        memory and     thinking. Although
                                                                                                  Although
Ms. Spears
Ms.         reported dizziness
    Spears reported     dizziness and
                                  and memory
                                      memory loss/lapses,    difficulty walking
                                                loss/lapses, difficulty walking and
                                                                                  and numbness,     anxiety,
                                                                                        numbness, anxiety,
and sleep
and sleep disturbances,
          disturbances, on on exam,
                              exam, Dr.  Zagar reported
                                     Dr. Zagar  reported Ms.
                                                          Ms. Spears   was alert,
                                                               Spears was  alert, oriented
                                                                                   oriented to
                                                                                             to time,
                                                                                                time, place
                                                                                                      place
and person, well nourished, and "patient did not appear uncomfortable." Dr. Zagar documented aa
and person,  well  nourished,   and “patient did  not appear  uncomfortable.”   Dr.  Zagar   documented
normal
normal neurological     exam, and,
        neurological exam,     and, "Attention
                                    “Attention demonstrated
                                                demonstrated no     abnormalities.” Topamax
                                                                no abnormalities."   Topamax was was to
                                                                                                      to be
                                                                                                         be
decreased to
decreased to see
              see if
                  if the
                     the decrease
                         decrease would
                                  would improve    Ms. Spears'
                                         improve Ms.   Spears’ cognitive
                                                                cognitive complaints.
                                                                          complaints.

Ms. Spears
Ms.  Spears was
              was first  seen in
                   first seen    the Infectious
                              in the  Infectious Disease
                                                  Disease office
                                                            office of
                                                                    of Zane
                                                                       Zane Saul,
                                                                            Saul, MD,
                                                                                   MD, onon 8/8/10.  Ms. Spears’
                                                                                            8/8/10. Ms.   Spears'
extensive history
extensive  history ofof symptoms
                        symptoms andand treatment
                                         treatment was
                                                    was documented.
                                                          documented. The The Assessment
                                                                               Assessment indicates,   “Multiple
                                                                                            indicates, "Multiple
somatic symptoms
somatic  symptoms sincesince 2008
                             2008 -HA,
                                    -HA, ?? cognition...
                                              cognition… sleep
                                                            sleep abnormalities,
                                                                   abnormalities, stuttering,
                                                                                   stuttering, fatigue
                                                                                               fatigue –multiple
                                                                                                        —multiple
specialists… ?? lyme
specialists...   lyme vs vs Psych
                            Psych issues.”    The plan
                                   issues." The    plan at
                                                        at that
                                                           that time
                                                                 time was
                                                                       was to
                                                                           to obtain
                                                                               obtain previous
                                                                                      previous records,   review,
                                                                                                records, review,
then make
then  make anan assessment.
                assessment. Dr. Dr. Saul
                                     Saul then
                                            then sees
                                                 sees Ms.
                                                       Ms. Spears
                                                             Spears onon 9/3/10.
                                                                         9/3/10. Although
                                                                                  Although hehe circled
                                                                                                circled multiple
                                                                                                         multiple
symptoms in
symptoms        the review
             in the   review ofof systems
                                   systems including
                                              including brain
                                                          brain fog,
                                                                 fog, there
                                                                       there are
                                                                              are no   cognitive or
                                                                                   no cognitive    or psychiatric
                                                                                                      psychiatric
findings
findings documented
          documented on   on exam.
                             exam. Ms.
                                     Ms. Spears
                                           Spears continues
                                                   continues toto see
                                                                   see Dr.
                                                                       Dr. Saul  for monthly
                                                                           Saul for            visits throughout
                                                                                     monthly visits   throughout
May 2011
May   2011 and
            and then
                 then every
                        every 2
                              2 to
                                to 3
                                   3 month    thereafter.
                                      month thereafter.

In
In aa letter
      letter dated
             dated 9/9/10,
                   9/9/10, Dr.
                           Dr. Raxlen  reported he
                                Raxlen reported    he had
                                                      had last  seen Ms.
                                                           last seen Ms. Spears
                                                                          Spears on
                                                                                  on 7/8/10
                                                                                     7/8/10 and
                                                                                            and that
                                                                                                 that Ms.
                                                                                                      Ms.
Spears had
Spears   had only
              only had
                   had "partial
                       “partial improvement
                                improvement in in response
                                                  response toto extensive
                                                                extensive treatment"
                                                                          treatment” of
                                                                                     of the
                                                                                        the co-infections,
                                                                                            co-infections,
and she
and  she continued
          continued to
                    to suffer
                       suffer from “debilitating physical
                              from "debilitating  physical and
                                                            and neurocognitive  symptoms.”
                                                                neurocognitive symptoms."

All the
All the medical
        medical documentation   in Ms.
                 documentation in  Ms. Spears’ claim file
                                       Spears' claim      was reviewed
                                                     file was reviewed by
                                                                       by John
                                                                           John Brusch,
                                                                                 Brusch, MD,
                                                                                         MD, Board
                                                                                               Board
Certified in
Certified in Internal Medicine and
             Internal Medicine and Infectious Disease. The
                                   Infectious Disease. The 10/14/10 report of
                                                           10/14/10 report  of that
                                                                               that review
                                                                                    review indicated,
                                                                                           indicated,


                                                     10 of 27
                                                     10 of 27                                       Liberty002388
                                                                                                    Li berty002388
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“Although many
"Although           diseases have
            many diseases    have been
                                    been involved
                                           involved toto explain
                                                         explain the
                                                                 the claimant's
                                                                     claimant’s clinical
                                                                                  clinical picture,
                                                                                           picture, there
                                                                                                       there are
                                                                                                              are
very few
very      that are
     few that  are substantiated
                    substantiated clinically."
                                   clinically.” Among
                                                 Among the
                                                         the substantiated
                                                             substantiated diseases
                                                                            diseases Dr.
                                                                                      Dr. Brusch
                                                                                          Brusch listed     were
                                                                                                    listed were
peptic ulcer
peptic ulcer disease,    Hashimoto’s thyroiditis,
               disease, Hashimoto's      thyroiditis, migraine    headaches, asthma
                                                       migraine headaches,     asthma andand irritable
                                                                                              irritable bowel
                                                                                                          bowel
syndrome. Dr.
syndrome.   Dr. Brusch    reported Ms.
                 Brusch reported    Ms. Spears
                                          Spears "does
                                                   “does not  have any
                                                          not have  any significant
                                                                         significant infectious
                                                                                      infectious disease
                                                                                                   disease that
                                                                                                             that
would impair the claimant's sustainable full time capacity as of 02108/2009," and "There is no
would  impair   the  claimant’s  sustainable    full time  capacity as of  02/08/2009,”    and   “There    is  no
evidentiary documentation
evidentiary  documentation thatthat her
                                     her listed
                                          listed medications
                                                  medications impair
                                                               impair her
                                                                       her full-time    sustainable capacity;
                                                                            full-time sustainable      capacity;
Plaquenil,  azithromycin, Mepron,
Plaquenil, azithromycin,    Mepron, Rifamin,       Topamax, Prevacid,
                                       Rifamin, Topamax,                 Asacol, Singulair,
                                                              Prevacid, Asacol,                 Zoloft, Oracit
                                                                                   Singulair, Zoloft,     Oracit
vitamins, Advair
vitamins, Advair and
                   and Proventil.”
                        Proventil."

On 10/19/10,
On  10/19/10, Ms.
               Ms. Spears
                    Spears reported
                            reported to
                                      to Dr.
                                         Dr. Gouin
                                              Gouin Young
                                                     Young that
                                                             that she
                                                                   she had
                                                                       had increased  clarity, decreased
                                                                            increased clarity, decreased
brain fog,
brain fog, improved   speech and
           improved speech    and better
                                  better retention
                                         retention with
                                                   with the
                                                        the antibiotic
                                                            antibiotic treatment
                                                                       treatment for
                                                                                  for Lyme.  Ms. Spears
                                                                                      Lyme. Ms.   Spears
also reported
also reported that
              that her
                   her insomnia
                       insomnia was
                                was erratic,
                                     erratic, and
                                              and she
                                                  she continued
                                                      continued to
                                                                 to have
                                                                    have fevers and night
                                                                         fevers and       sweats.
                                                                                    night sweats.

After Liberty
After           upheld the
       Liberty upheld    the STD
                             STD denial
                                   denial onon 1/29/10     and again
                                                 1/29/10 and     again on
                                                                        on 5/13/10,
                                                                            5/13/10, onon 10/27/10    the STD
                                                                                           10/27/10 the    STD
fiduciary,  UTC, instructed
fiduciary, UTC,   instructed Liberty to release
                             Liberty to  release all
                                                  all remaining
                                                      remaining STD
                                                                  STD benefits
                                                                        benefits to
                                                                                 to Ms.
                                                                                    Ms. Spears.
                                                                                         Spears. At
                                                                                                  At this
                                                                                                     this time,
                                                                                                          time,
there was
there was no   change in
            no change   in Liberty’s
                           Liberty's determination
                                     determination that that the
                                                             the medical   evidence on
                                                                  medical evidence    on file
                                                                                          file did
                                                                                               did not  support
                                                                                                   not support
impairment preventing
impairment                Ms. Spears
             preventing Ms.           from performing
                              Spears from    performing herher job,
                                                               job, rather
                                                                    rather it
                                                                           it was
                                                                              was the
                                                                                   the fiduciary’s  decision to
                                                                                       fiduciary's decision  to
pay STD
pay STD benefits
           benefits to
                    to Ms.
                       Ms. Spears
                           Spears through
                                  through thethe 3/27/09
                                                 3/27/09 maximum
                                                           maximum STDSTD benefit
                                                                            benefit date.
                                                                                     date.

On 11/16/10,
On  11/16/10, Liberty   issued the
                Liberty issued the LTD
                                   LTD denial
                                         denial letter. LTD benefits
                                                letter. LTD   benefits were
                                                                       were denied
                                                                            denied since
                                                                                   since Ms.
                                                                                         Ms. Spears   had
                                                                                               Spears had
not fulfilled the
not fulfilled the Policy’s Elimination Period.
                  Policy's Elimination  Period. As
                                                As noted   previously, the
                                                    noted previously,  the UTC
                                                                           UTC Group
                                                                                Group Disability
                                                                                       Disability Income
                                                                                                  Income
Policy
Policy requires,   in order
        requires, in  order to
                             to be
                                be eligible
                                   eligible for
                                            for LTD     benefits, the
                                                 LTD benefits,    the claimant
                                                                      claimant must
                                                                               must fulfill  the 180
                                                                                     fulfill the      day
                                                                                                 180 day
Elimination Period
Elimination          of continuous
              Period of continuous disability.
                                   disability.

The most
The  most recent
             recent office
                     office visit
                              visit note   on file
                                     note on         from Dr.
                                                file from   Dr. Kage
                                                                 Kage is is dated
                                                                             dated 12/23/10.      Ms. Spears'
                                                                                      12/23/10. Ms.    Spears’ chief
                                                                                                                 chief
complaint that
complaint   that date
                  date was
                       was feeling
                             feeling achy
                                      achy inin both
                                                 both shoulders,
                                                      shoulders, her
                                                                   her neck    and joints
                                                                        neck and     joints throughout
                                                                                             throughout the
                                                                                                         the day
                                                                                                             day and
                                                                                                                  and
daytime somnolence.
daytime   somnolence. Ms. Ms. Spears
                                 Spears rated
                                          rated her
                                                  her fatigue
                                                       fatigue as
                                                                as varying
                                                                    varying from       6/10 to
                                                                               from 6/10      to 10/10.   Ms. Spears
                                                                                                  10/10. Ms.   Spears
reported she
reported  she is
               is able
                  able to
                       to do
                          do light
                               light housekeeping
                                     housekeeping suchsuch as
                                                            as emptying
                                                               emptying the the dishwasher.
                                                                                 dishwasher. Dr. Dr. Kage
                                                                                                     Kage explained,
                                                                                                           explained,
“Pronounced migraine
"Pronounced      migraine headaches
                              headaches triggered
                                             triggered an an extensive
                                                              extensive work-up
                                                                             work-up whichwhich showed
                                                                                                   showed possible
                                                                                                             possible
astrocytoma,    possible  tick-borne    disease,   and  perhaps   rheumatic     autoimmune
astrocytoma, possible tick-borne disease, and perhaps rheumatic autoimmune disease." Dr. Kage   disease.”   Dr. Kage
noted  the possible
noted the              astrocytoma is
            possible astrocytoma       is being
                                           being monitored
                                                   monitored by by Yale,
                                                                    Yale, sheshe isis monitoring    the autoimmune
                                                                                       monitoring the    autoimmune
inflammatory disorder
inflammatory     disorder (with
                            (with normal       repeat rheumatic
                                     normal repeat      rheumatic lab      tests and
                                                                     lab tests    and Plaquenil      discontinued in
                                                                                         Plaquenil discontinued     in
December 2009),
December     2009), and
                      and Infectious      Disease, Dr.
                            Infectious Disease,      Dr. Raxlen,
                                                           Raxlen, isis treating
                                                                         treating thethe Lyme.
                                                                                          Lyme. Dr.     Kage further
                                                                                                   Dr. Kage   further
reported, "The
reported,  “The diagnosis
                  diagnosis ofof Lyme    disease based
                                  Lyme disease     based on
                                                          on CSF
                                                             CSF Lyme
                                                                   Lyme testtest is
                                                                                 is not  irrefutable since
                                                                                     not irrefutable since her
                                                                                                           her Lyme
                                                                                                                Lyme
serology 1.09
serology        was normal,
          1.09 was   normal, LymeLyme c6c6 test-
                                            test- negative.”
                                                  negative."

At Dr.
At  Dr. Saul’s   request, Ms.
         Saul's request,    Ms. Spears    had aa Sleep
                                 Spears had             Study on
                                                 Sleep Study    on 1/19/11.  The results
                                                                   1/19/11. The    results of
                                                                                            of the
                                                                                                the Sleep
                                                                                                     Sleep Study
                                                                                                             Study
included periodic
included   periodic limb
                     limb movement
                           movement disorder,     sleep onset
                                        disorder, sleep onset and
                                                               and sleep
                                                                   sleep maintenance     insomnia, no
                                                                          maintenance insomnia,           “snoring
                                                                                                      no "snoring
or obstructive
or  obstructive sleep
                  sleep apnea
                          apnea observed
                                  observed by by Medicare
                                                  Medicare guidelines."
                                                             guidelines.” On
                                                                           On 2/17/11,
                                                                                2/17/11, Ms.Ms. Spears
                                                                                                   Spears met
                                                                                                           met inin
consultation with
consultation   with Richard
                      Richard Shoup,     MD, Sleep
                                Shoup, MD,      Sleep Medicine
                                                       Medicine specialist.
                                                                  specialist. Ms.
                                                                              Ms. Spears
                                                                                    Spears reported      difficulty
                                                                                             reported difficulty
falling asleep
falling  asleep and
                and staying
                      staying asleep.
                               asleep. In
                                        In Dr.
                                            Dr. Shoup's
                                                Shoup’s evaluation   for the
                                                         evaluation for   the review
                                                                              review ofof systems,
                                                                                           systems, Ms.
                                                                                                      Ms. Spears
                                                                                                            Spears
reported she
reported   she had
               had no   palpitations, no
                    no palpitations,       abdominal pain,
                                       no abdominal          and "No
                                                       pain, and  “No decrease
                                                                       decrease inin ability
                                                                                     ability to
                                                                                              to concentrate,
                                                                                                  concentrate, no
                                                                                                                no
headaches, no
headaches,    no loss   of consciousness,
                  loss of   consciousness, no  no memory    loss, no
                                                  memory loss,     no complaints
                                                                       complaints of of muscle      weakness, no
                                                                                         muscle weakness,       no
seizures. Seizures
seizures.  Seizures before
                      before treated
                             treated for
                                      for CNS
                                           CNS Lyme."
                                                 Lyme.” On
                                                         On exam,
                                                              exam, Ms.
                                                                     Ms. Spears    was found
                                                                          Spears was    found to to be
                                                                                                    be alert,
                                                                                                       alert, well
                                                                                                               well
developed, well
developed,    well nourished,    “affect is
                    nourished, "affect     is normal  and positive.
                                              normal and   positive. In
                                                                      In no   acute distress."
                                                                          no acute   distress.” No       cognitive
                                                                                                    No cognitive
deficits were
deficits  were noted
               noted onon exam.
                           exam. Dr.
                                  Dr. Shoup    reported Ms.
                                       Shoup reported   Ms. Spears’   “internal clock
                                                             Spears' "internal   clock has
                                                                                        has no    regularity,” and
                                                                                             no regularity,"   and
he recommended
he  recommended Ms.  Ms. Spear    designate aa regular
                           Spear designate      regular wake-up
                                                        wake-up time,
                                                                  time, get
                                                                         get 30
                                                                             30 minutes
                                                                                 minutes of of bright
                                                                                               bright light
                                                                                                        light each
                                                                                                              each
morning,
morning, andand keep
                keep aa sleep
                         sleep diary.
                               diary. OnOn 3/24/11
                                             3/24/11 and
                                                     and 4/29/11,
                                                         4/29/11, Dr.
                                                                    Dr. Shoup
                                                                        Shoup documented
                                                                                documented no       progress with
                                                                                               no progress    with


                                                      11 of 27
                                                      11 of 27                                       Liberty002389
                                                                                                     Li berty002389
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regulating Ms.
regulating Ms. Spears'
               Spears’ sleep
                       sleep despite
                             despite multiple
                                     multiple additional
                                              additional recommendations.
                                                         recommendations.

Dr. Zagar
Dr. Zagar followed
          followed up up with
                         with Ms.
                              Ms. Spears
                                  Spears and
                                          and her
                                               her mother   on 2118/11.
                                                    mother on   2/18/11. Difficulties
                                                                          Difficulties with
                                                                                       with cognition
                                                                                             cognition and
                                                                                                       and
sleep were
sleep were reported.
            reported. Ms.
                       Ms. Spears
                            Spears indicated
                                   indicated at
                                             at that
                                                 that time
                                                      time she
                                                            she started
                                                                 started on
                                                                         on vitamin
                                                                             vitamin DD and
                                                                                         and B12,    was in
                                                                                              B12, was   in
acupuncture,  chiropractic treatment, and on adrenal    support as  recommended     by the naturopath.
acupuncture, chiropractic treatment, and on adrenal support as recommended by the naturopath. On        On
exam, Dr.
exam, Dr. Zagar
           Zagar reported
                   reported Ms.
                            Ms. Spears
                                 Spears "did
                                        “did not   appear uncomfortable,"
                                             not appear    uncomfortable,” and
                                                                             and "No
                                                                                  “No disorientation
                                                                                        disorientation was
                                                                                                       was
observed, Remote
observed, Remote memory      was not
                    memory was   not impaired,  Short term
                                     impaired, Short   term memory
                                                            memory not     impaired, An
                                                                       not impaired, An adequate
                                                                                         adequate fund   of
                                                                                                    fund of
knowledge was
knowledge    was demonstrated...
                    demonstrated… No      language abnormalities
                                      No language     abnormalities werewere demonstrated...
                                                                              demonstrated… Attention
                                                                                                 Attention
demonstrated no
demonstrated      abnormalities.”
              no abnormalities."

On 3/28/11,
On  3/28/11, the
              the LTD
                  LTD Policy    definition of
                        Policy definition   of disability
                                               disability would
                                                          would change
                                                                  change from    Ms. Spears'
                                                                           from Ms.   Spears’ disability
                                                                                              disability from
                                                                                                          from
her own
her  own occupation,
           occupation, toto disability
                            disability from   any occupation.
                                        from any    occupation. The The United
                                                                         United Technologies
                                                                                  Technologies Corporation
                                                                                                   Corporation
Group Disability
Group   Disability Income
                   Income Policy   states:
                            Policy states:
    “Disability”  or “Disabled”
    "Disability" or                means:
                      "Disabled" means:
        i.  “Disability”   or “Disabled”
        i. "Disability" or "Disabled" meansmeans that
                                                   that during
                                                        during the   Elimination Period
                                                                 the Elimination   Period and
                                                                                           and the   next 24
                                                                                                the next  24
            months of
            months   of Disability
                        Disability the
                                   the Covered    Person, as
                                        Covered Person,    as aa result of Injury
                                                                 result of  Injury or
                                                                                   or Sickness,
                                                                                      Sickness, is
                                                                                                 is unable
                                                                                                    unable to
                                                                                                            to
            perform the
            perform       Material and
                      the Material  and Substantial
                                          Substantial Duties
                                                       Duties of
                                                               of his
                                                                  his Own
                                                                      Own Occupation;     and
                                                                             Occupation; and
       ii. thereafter,
       ii.              the Covered
            thereafter, the            Person is
                             Covered Person    is unable
                                                  unable to  perform, with
                                                          to perform,   with reasonable
                                                                              reasonable continuity,
                                                                                          continuity, the
                                                                                                       the
            Material and
            Material   and Substantial
                            Substantial Duties
                                         Duties of
                                                 of Any
                                                    Any Occupation.
                                                         Occupation.

   “Any
   "Any Occupation”     means any
          Occupation" means     any occupation,
                                    occupation, for
                                                 for which
                                                     which the
                                                            the Covered  Person is
                                                                Covered Person  is reasonably  fitted
                                                                                   reasonably fitted
   considering his
   considering his training,   education, experience,
                    training, education,   experience, age,
                                                       age, physical
                                                             physical qnd
                                                                      qnd mental
                                                                          mental capacity,
                                                                                  capacity, and
                                                                                            and the
                                                                                                  the
   salary of
   salary of which
             which is
                   is at
                      at least 80% of
                         least 80%  of the
                                       the Covered  Person’s Basic
                                            Covered Person's  Basic Monthly
                                                                    Monthly Earnings.
                                                                            Earnings.

On June
On  June 15,  2011, the
          15, 2011,  the appeal
                          appeal review
                                 review ofof the
                                              the LTD   denial was
                                                  LTD denial   was completed.
                                                                   completed. The
                                                                              The determination
                                                                                   determination waswas to
                                                                                                         to
uphold the
uphold  the LTD    denial since
            LTD denial    since the
                                the Policy
                                     Policy required
                                            required Elimination
                                                       Elimination Period had not
                                                                   Period had     been fulfilled.
                                                                              not been   fulfilled. It
                                                                                                     It was
                                                                                                        was
recognized that
recognized   that Ms.
                   Ms. Spears
                        Spears sought
                                 sought medical     treatment and
                                          medical treatment    and she
                                                                    she reported
                                                                        reported various
                                                                                  various and
                                                                                            and differing
                                                                                                  differing
symptoms, Liberty
symptoms,            had determined
            Liberty had    determined that
                                       that the
                                             the medical
                                                  medical evidence  did not
                                                           evidence did     substantiate that
                                                                        not substantiate  that Ms.
                                                                                                Ms. Spears
                                                                                                    Spears
was disabled
was  disabled throughout
               throughout the
                           the entire
                               entire Elimination
                                      Elimination Period   and beyond.
                                                   Period and  beyond.

Ms. Spears
Ms. Spears followed   up with
            followed up   with Dr.
                                 Dr. Zagar
                                      Zagar regarding
                                             regarding Lyme    disease on
                                                         Lyme disease  on 8/19/11.   On exam,
                                                                           8/19/11. On   exam, Dr.
                                                                                               Dr. Zagar
                                                                                                   Zagar
reported Ms.
reported Ms. Spears
             Spears "did
                     “did not  appear uncomfortable,"
                           not appear   uncomfortable,” andand "No
                                                               “No disorientation
                                                                    disorientation was
                                                                                   was observed,
                                                                                       observed, Remote
                                                                                                 Remote
memory   was not
memory was    not impaired,  Short term
                  impaired, Short    term memory
                                          memory not      impaired, An
                                                      not impaired, An adequate
                                                                        adequate fund  of knowledge
                                                                                  fund of            was
                                                                                           knowledge was
demonstrated… No
demonstrated...   No language      abnormalities were
                       language abnormalities       were demonstrated...
                                                           demonstrated… Attention
                                                                             Attention demonstrated
                                                                                        demonstrated no
                                                                                                      no
abnormalities.” This
abnormalities." This is the last
                     is the      office visit
                            last office visit on
                                              on file
                                                 file that
                                                      that Ms.
                                                           Ms. Spears had with
                                                               Spears had  with Dr.
                                                                                Dr. Zagar.
                                                                                    Zagar.

On 9/7/11,
On  9/7/11, Ms.
             Ms. Spears   reported to
                  Spears reported  to Dr. Saul that
                                      Dr. Saul that "seems
                                                    “seems like
                                                            like her
                                                                 her cognition
                                                                     cognition is worse,” she
                                                                               is worse," she had
                                                                                              had new
                                                                                                   new
stuttering, and
stuttering, and her
                her pain
                    pain was
                          was worse.
                               worse. Dr.
                                      Dr. Saul
                                          Saul provided
                                               provided the
                                                        the diagnosis
                                                             diagnosis of
                                                                       of CNS
                                                                          CNS Lyme   and the
                                                                               Lyme and   the plan
                                                                                              plan was
                                                                                                   was
to continue
to continue current
             current treatment.
                     treatment.

Dr. Baehring's
Dr. Baehring’s 9/23/11
               9/23/11 office
                        office visit
                               visit record
                                     record indicates  on that
                                             indicates on that follow
                                                               follow up
                                                                       up visit
                                                                          visit Ms.
                                                                                Ms. Spears
                                                                                     Spears had
                                                                                            had no
                                                                                                 no
neurologic symptoms to
neurologic symptoms   to report
                         report and
                                 and her
                                      her headaches
                                          headaches were
                                                       were mostly  resolved. Again,
                                                            mostly resolved.   Again, Dr.
                                                                                      Dr. Baehring
                                                                                           Baehring
documented Ms.
documented  Ms. Spears
                Spears had
                       had no  cognitive deficits.
                            no cognitive deficits.

Regarding
Regarding aa telephone
             telephone call
                        call to
                             to Dr.
                                Dr. Gouin
                                    Gouin Young’s  office received
                                          Young's office  received from
                                                                   from Ms.
                                                                         Ms. Spears
                                                                             Spears on
                                                                                    on 11/10/11,  the
                                                                                       11/10/11, the
note indicates, "w/be
note indicates, “w/be traveling
                      traveling for
                                 for 3
                                     3 weeks.
                                       weeks. Should
                                              Should she
                                                     she up
                                                         up the
                                                             the Ester-C-what
                                                                 Ester-C-what strength-Anything
                                                                              strength-Anything else
                                                                                                 else
she should
she should increase?"
           increase?”



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                                                  12 of 27                                    Liberty002390
                                                                                              Li berty002390
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On 1/30/12.
On           Ms. Spears
   1/30/12. Ms.   Spears was
                          was evaluated
                               evaluated byby John
                                              John Tagliarini,
                                                    Tagliarini, DC,
                                                                DC, for
                                                                      for head,
                                                                          head, neck   and shoulder
                                                                                 neck and   shoulder pain.
                                                                                                     pain. Ms.
                                                                                                           Ms.
Spears reported
Spears  reported on
                  on aa scale
                        scale of
                              of 0 0 to
                                     to 10,  her discomfort
                                        10, her  discomfort ranged
                                                              ranged from
                                                                       from 5 5 to
                                                                                to 10.   Ms. Spears
                                                                                   10. Ms.     Spears reported
                                                                                                      reported
upper back
upper back pain,
             pain, mid
                   mid back
                        back pain,    lower back
                              pain, lower    back pain,
                                                   pain, shoulder
                                                         shoulder pain,
                                                                    pain, wrist
                                                                           wrist pain,
                                                                                 pain, hand
                                                                                        hand pain,  knee pain.
                                                                                              pain, knee pain.
Ankle pain,
Ankle   pain, foot
              foot pain,  joint swelling/stiffness,
                    pain, joint   swelling/stiffness, fatigue,   ringing in
                                                       fatigue, ringing       the ears,
                                                                           in the  ears, visual
                                                                                          visual disturbances,
                                                                                                 disturbances,
nausea,  loss of
nausea, loss   of appetite,
                   appetite, asthma,
                              asthma, seasonal
                                         seasonal allergies,
                                                   allergies, absence
                                                               absence seizures,
                                                                          seizures, and
                                                                                     and hypothyroid.
                                                                                           hypothyroid. Dr.Dr.
Tagliarini’s assessment
Tagliarini's assessment onon 1/30/12    indicated, "Haley's
                              1/30/12 indicated,    “Haley’s prognosis
                                                               prognosis is   good at
                                                                           is good  at this
                                                                                        this time."
                                                                                             time.” Treatment
                                                                                                    Treatment
continued with
continued  with Dr.
                Dr. Talagrini
                     Talagrini through
                                through 8/11/14.
                                          8/11/14.

Dr. Raxlen’s
Dr.             office visit
     Raxlen's office   visit notes   from March
                             notes from     March and
                                                    and June
                                                         June 2012
                                                               2012 report
                                                                      report improvement
                                                                              improvement in  in Ms.
                                                                                                 Ms. Spears'
                                                                                                       Spears’
cognition and
cognition  and communication.
                communication. As  As of
                                       of 8/3/12.
                                          8/3/12. Ms.
                                                   Ms. Spears
                                                       Spears reported
                                                               reported to
                                                                         to Dr.
                                                                            Dr. Raxlen  that her
                                                                                Raxlen that   her energy
                                                                                                  energy was
                                                                                                           was
better, she
better, she could
             could do
                   do more
                       more in
                             in aa day,
                                   day, and
                                        and she
                                             she took
                                                  took 2
                                                       2 walks
                                                         walks per
                                                                 per day.
                                                                     day. Dr.
                                                                           Dr. Raxlen’s  11/9/12 office
                                                                               Raxlen's 11/9/12   office note
                                                                                                           note
indicates Ms.
indicates  Ms. Spears
                Spears had
                        had "infrequent
                              “infrequent headaches
                                            headaches relieved    with hydration,"
                                                        relieved with   hydration,” was
                                                                                     was more     active with
                                                                                           more active     with
church bible
church   bible study
               study and
                      and other
                           other groups,
                                  groups, sleep
                                           sleep was
                                                  was improved,   exercise included
                                                      improved, exercise    included elliptical,
                                                                                      elliptical, pilates,  and
                                                                                                  pilates, and
yoga, and
yoga,  and she
            she was
                was walking
                     walking her
                               her dogs
                                    dogs every
                                          every day.   Ms. Spears
                                                day. Ms.           reported that
                                                            Spears reported  that date
                                                                                  date that
                                                                                       that she
                                                                                             she hoped
                                                                                                 hoped toto go
                                                                                                             go
back to
back  to work
         work in
               in the
                  the next few months.
                      next few  months.

Ms. Spears
Ms. Spears 11/18/12
           11/18/12 Supplemental
                     Supplemental List   as prescribed
                                    List as prescribed by
                                                       by Dr.  Gouin Young,
                                                          Dr. Gouin   Young, included
                                                                              included 14 supplements
                                                                                       14 supplements
for Ms.
for Ms. Spears to take
        Spears to take in
                       in the
                          the morning, and 6
                              morning, and  6 supplements
                                              supplements to
                                                          to take
                                                              take at
                                                                   at bedtime.
                                                                      bedtime.

Ms. Spears
Ms.         began treatment
    Spears began   treatment with
                              with Robert
                                   Robert Lang,   MD, Endocrinologist
                                           Lang, MD,   Endocrinologist in  February 2013.
                                                                       in February   2013. The
                                                                                           The 2/21/13
                                                                                                2/21/13
exam documented
exam   documented Ms.Ms. Spears’
                          Spears' mental   status as
                                  mental status    as normal. A thyroid
                                                      normal. A  thyroid ultrasound
                                                                          ultrasound and
                                                                                      and biopsy
                                                                                           biopsy were
                                                                                                   were
recommended. On
recommended.    On 2/22/13,
                     2/22/13, Ms.
                              Ms. Spears
                                   Spears had
                                           had aa follow up appointment
                                                  follow up appointment with
                                                                         with Dr.   Oberstein, at
                                                                                Dr. Oberstein, at which
                                                                                                  which
time he
time  he "strongly
         “strongly recommended
                    recommended excision,
                                    excision, now.”
                                               now." AtAt Ms.
                                                          Ms. Spears'
                                                               Spears’ office
                                                                       office visit
                                                                               visit with
                                                                                     with Dr.
                                                                                          Dr. Lang   on
                                                                                               Lang on
3/22/13, based
3/22/13, based on
                on her
                     her history
                         history of
                                 of Hashimoto's
                                     Hashimoto’s andand the
                                                        the biopsy
                                                            biopsy report,
                                                                    report, Dr.
                                                                            Dr. Lang   recommended aa
                                                                                 Lang recommended
thyroidectomy.
thyroidectomy.

Ms. Spears
Ms. Spears had
           had her
                her regular
                    regular follow   up visit
                             follow up  visit with
                                              with Dr. Baehring on
                                                   Dr. Baehring   on 4/22/13.
                                                                      4/22/13. She
                                                                               She reported
                                                                                   reported no
                                                                                            no neurologic
                                                                                               neurologic
symptoms, no
symptoms,      cognitive deficits,
           no cognitive   deficits, and
                                    and no  problems with
                                        no problems    with language.
                                                             language. Dr.   Baehring reported,
                                                                         Dr. Baehring reported, "The
                                                                                                “The two
                                                                                                      two
brain MRI
brain MRI abnormalities
           abnormalities have
                           have remained
                                  remained entirely
                                             entirely stable,"
                                                      stable,” and
                                                               and surveillance
                                                                    surveillance scans
                                                                                 scans were
                                                                                       were increased   to
                                                                                             increased to
every 2 years.  This is the last update  with
every 2 years. This is the last update with   Dr.
                                              Dr.  Baehring
                                                   Baehring  on
                                                             on file.
                                                                file.

Dr. Raxlen’s
Dr.           6/4/13 office
    Raxlen's 6/4/13   office note reports Ms.
                             note reports Ms. Spears
                                              Spears had
                                                      had "clarity
                                                           “clarity in
                                                                    in cognition,"
                                                                       cognition,” and
                                                                                   and she
                                                                                       she was
                                                                                           was exercising
                                                                                                exercising
most  days. Ms.
most days.  Ms. Spears
                  Spears was
                           was "off
                               “off shots"
                                     shots” and
                                            and weaning
                                                 weaning off
                                                           off the
                                                               the Tramadol.
                                                                    Tramadol. Ms.Ms. Spears
                                                                                     Spears reported
                                                                                             reported her
                                                                                                        her
asthma was
asthma  was better,
             better, and
                     and she
                          she was
                              was scheduled
                                   scheduled for
                                              for the
                                                  the thyroid
                                                      thyroid surgery.
                                                               surgery. Dr.
                                                                         Dr. Raxlen  reported Ms.
                                                                              Raxlen reported Ms. Spears
                                                                                                   Spears
had driven
had driven to
           to his
              his office
                  office from
                          from Boston
                               Boston that
                                       that day.
                                            day. This
                                                 This is
                                                      is the
                                                         the last office note
                                                             last office note from Dr. Raxlen
                                                                              from Dr.         on file.
                                                                                       Raxlen on  file.

After aa negative
After               cardiac work-up
         negative cardiac    work-up byby Dr.
                                           Dr. Naseer,   the thyroidectomy
                                                Naseer, the   thyroidectomy waswas performed
                                                                                    performed on on 6/27/13
                                                                                                     6/27/13 by
                                                                                                              by
Robert  Udelsman, MD.
Robert Udelsman,     MD. InIn the
                              the July
                                  July 1,  2013 follow
                                        1, 2013  follow upup office
                                                              office note
                                                                     note Dr.  Udelsman reported
                                                                           Dr. Udelsman   reported Ms.
                                                                                                    Ms. Spears
                                                                                                          Spears
recovered well
recovered    well postoperatively,
                  postoperatively, and
                                     and she
                                           she was
                                               was toto return
                                                         return toto the
                                                                     the care
                                                                          care of
                                                                               of Dr.
                                                                                   Dr. Oberstein.
                                                                                       Oberstein. Ms.
                                                                                                    Ms. Spears
                                                                                                          Spears
followed up
followed   up post-operatively   with Dr.
               post-operatively with   Dr. Oberstein
                                            Oberstein on
                                                       on 8/30/13,    and with
                                                            8/30/13, and   with Dr.
                                                                                 Dr. Lang   post-operatively on
                                                                                     Lang post-operatively    on
9/3/13. Ms.
9/3/13.  Ms. Spears   reported to
              Spears reported   to Dr.
                                   Dr. Lang   she was
                                       Lang she    was "feeling
                                                        “feeling okok but
                                                                      but not  100%. Decreased
                                                                           not 100%.  Decreased energy.    Also
                                                                                                  energy. Also
sees Endocrinologist
sees  Endocrinologist in in Hartford."
                            Hartford.” At
                                        At her
                                             her office
                                                 office visit
                                                         visit with
                                                                with Dr.
                                                                      Dr. Oberstein
                                                                           Oberstein on
                                                                                      on 11/6/13,
                                                                                          11/6/13, Ms.
                                                                                                    Ms. Spears
                                                                                                          Spears
reported she
reported  she was
               was "feeling
                    “feeling ok
                              ok in
                                 in general."
                                    general.” OnOn 11/27/13,     Dr. Lang’s
                                                     11/27/13, Dr.            office note
                                                                      Lang's office       reported Ms.
                                                                                     note reported  Ms. Spears
                                                                                                          Spears
felt better
felt better but
            but that
                that she
                     she had
                          had aa sinus
                                 sinus infection.   The treatment
                                       infection. The     treatment plan
                                                                      plan was
                                                                           was to
                                                                                to obtain
                                                                                   obtain lab  results from
                                                                                           lab results from Dr.
                                                                                                             Dr.
Oberstein and
Oberstein   and to
                to get
                   get an
                        an ultrasound
                           ultrasound one
                                       one year
                                             year from  surgery. The
                                                  from surgery.     The diagnoses
                                                                        diagnoses included
                                                                                   included hypothyroid
                                                                                              hypothyroid after
                                                                                                            after
surgery and
surgery  and history
              history of
                      of papillary
                          papillary cancer.
                                    cancer.

The most
The      recent office
    most recent office visit
                       visit note on file
                             note on file from
                                          from Dr. Saul is
                                               Dr. Saul is dated
                                                           dated 6/9/14.
                                                                 6/9/14. Ms.
                                                                         Ms. Spears
                                                                             Spears reported
                                                                                    reported doing
                                                                                             doing


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                                                   13 of 27                                      Liberty002391
                                                                                                 Liberty002391
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well off
well off antibiotics,
          antibiotics, with
                       with better
                            better energy,
                                   energy, and,
                                           and, "Thinking
                                                 “Thinking about
                                                             about trying
                                                                   trying to
                                                                          to find work.” Dr.
                                                                             find work." Dr. Saul's
                                                                                             Saul’s
assessment that
assessment  that date
                 date was
                      was Lyme,
                           Lyme, now  stable off
                                  now stable off antibiotics
                                                 antibiotics and
                                                             and Hypothyroidism.
                                                                 Hypothyroidism. Ms.
                                                                                  Ms. Spears was to
                                                                                      Spears was to
follow up with
follow up with Dr.
                Dr. Saul
                    Saul as
                         as needed.
                            needed.

On 11/17/14,
On            Ms. Spears
    11/17/14, Ms.  Spears had
                           had an
                               an appointment
                                  appointment with
                                              with Zhiheng
                                                    Zhiheng He,
                                                             He, MD,
                                                                 MD, Endocrinologist,
                                                                       Endocrinologist, in  Cambridge,
                                                                                         in Cambridge,
Massachusetts. Dr.
Massachusetts.  Dr. He
                     He reported
                         reported Ms.
                                  Ms. Spears had referred
                                      Spears had  referred herself
                                                           herself to
                                                                   to the
                                                                      the office
                                                                           office for
                                                                                  for follow
                                                                                      follow up
                                                                                              up of
                                                                                                 of her
                                                                                                    her
thyroid cancer
thyroid         and thyroidectomy.
         cancer and  thyroidectomy. Dr.   He reported
                                      Dr. He  reported Ms.
                                                        Ms. Spears
                                                             Spears had
                                                                     had just
                                                                          just moved
                                                                               moved toto Boston
                                                                                           Boston from
                                                                                                  from
Connecticut. Ms.
Connecticut.   Ms. Spears
                    Spears denied  any complaints
                            denied any complaints on
                                                   on review  of systems
                                                      review of  systems and
                                                                           and the
                                                                                the physical
                                                                                    physical exam
                                                                                              exam was
                                                                                                    was
within normal
within          limits. Lab
        normal limits.       work was
                        Lab work   was recommended
                                       recommended in in six
                                                         six weeks
                                                             weeks and
                                                                     and aa follow  up ultrasound
                                                                            follow up   ultrasound was
                                                                                                    was
recommended for
recommended    for February
                   February 2015.
                             2015.

The medical
The          documentation on
     medical documentation     on file
                                  file indicates  Ms. Spears
                                       indicates Ms.   Spears was
                                                               was treated
                                                                    treated during   the period
                                                                             during the  period 12/8/14
                                                                                                   12/8/14
through 8/26/15
through         at Maddalo
        8/26/15 at Maddalo Chiropractic
                              Chiropractic for
                                           for back
                                               back pain.
                                                    pain. Increased  pain was
                                                           Increased pain was attributed
                                                                               attributed to
                                                                                          to aa fall
                                                                                                fall on
                                                                                                     on ice
                                                                                                        ice
in January
in January 2014
           2014 and
                 and an
                      an automobile
                          automobile accident
                                      accident on
                                                on 7/9/15.
                                                   7/9/15. From
                                                            From 9/16/15
                                                                  9/16/15 through
                                                                           through 12/9/15,    Ms. Spears
                                                                                    12/9/15, Ms.     Spears
received chiropractic
received chiropractic treatment
                       treatment for
                                  for cervical,
                                       cervical, thoracic,
                                                 thoracic, and
                                                            and lumbar
                                                                lumbar pain
                                                                         pain and
                                                                               and muscle     spasm with
                                                                                     muscle spasm      with
Robert
Robert Rougeau,  DC, of
       Rougeau, DC,   of Greenacres
                          Greenacres Clinic
                                      Clinic in
                                             in Louisiana.
                                                Louisiana.

On 12/17/15,
On              Ms. Spears
    12/17/15, Ms.   Spears was
                             was evaluated
                                   evaluated byby Melissa
                                                  Melissa Albritton,
                                                            Albritton, MD,
                                                                        MD, Endocrinologist,
                                                                             Endocrinologist, in  in Bossier   City,
                                                                                                      Bossier City,
LA.   Regarding Ms.
LA. Regarding      Ms. Spears
                         Spears extensive       complaints and
                                   extensive complaints      and symptoms,
                                                                   symptoms, Dr.     Albritton reported,
                                                                                Dr. Albritton      reported, "Her
                                                                                                               “Her
complaints tend
complaints   tend to
                  to fluctuate.
                      fluctuate. It is hard
                                 It is  hard for
                                              for me  to get
                                                  me to  get aa good
                                                                good grasp
                                                                      grasp on
                                                                            on what
                                                                                what complaints
                                                                                      complaints she  she has
                                                                                                           has right
                                                                                                               right
now  as her
now as   her complaints
              complaints tend
                           tend to
                                 to vary
                                     vary from    day to
                                           from day    to day."
                                                          day.” Physical    exam was
                                                                   Physical exam   was documented
                                                                                         documented as    as within
                                                                                                              within
normal    limits. Dr.
normal limits.      Dr. Albritton
                           Albritton provided
                                         provided thethe diagnoses
                                                           diagnoses of  of Thyroid
                                                                             Thyroid cancer,
                                                                                         cancer, Post-surgical
                                                                                                      Post-surgical
hypothyroidism, and
hypothyroidism,    and Vitamin
                         Vitamin D    deficiency. Dr.
                                   D deficiency.   Dr. Albritton
                                                        Albritton reported,
                                                                   reported, "I
                                                                             “I did
                                                                                did tell
                                                                                    tell her
                                                                                         her II am
                                                                                                am notnot aa holistic
                                                                                                             holistic
therapist nor
therapist      am II aa specialist
          nor am        specialist in
                                   in infectious  diseases so
                                       infectious diseases  so if
                                                                if she
                                                                   she does
                                                                       does want
                                                                             want follow
                                                                                  follow upup for    that issue
                                                                                                for that   issue she
                                                                                                                 she
will need
will       to speak
     need to   speak with
                      with her
                            her primary
                                primary care
                                           care about
                                                 about referrals...
                                                        referrals… II have
                                                                       have encouraged
                                                                            encouraged herher toto make
                                                                                                    make sure
                                                                                                            sure she
                                                                                                                 she
establishes with
establishes with primary
                  primary care."
                            care.”

We learned
We  learned from     the LTD
              from the           forms Ms.
                         LTD forms       Ms. Spears   completed on
                                             Spears completed      on 9/8/15,
                                                                       9/8/15, that   Ms. Spears
                                                                                that Ms.   Spears returned
                                                                                                     returned to to
work full
work  full time
            time inin August      2014. Ms.
                       August 2014.      Ms. Spears
                                              Spears also
                                                       also reported
                                                            reported asas of
                                                                           of September
                                                                              September 2015,
                                                                                           2015, she
                                                                                                   she resided
                                                                                                        resided in
                                                                                                                 in
Shreveport, Louisiana.
Shreveport,  Louisiana. OnOn the
                               the Activities
                                   Activities Questionnaire
                                               Questionnaire completed
                                                               completed 9/8/15,
                                                                            9/8/15, Ms.
                                                                                     Ms. Spears   reported:
                                                                                         Spears reported:
   My condition
   My   condition has
                    has varied
                        varied from
                                 from 2009-2015:
                                        2009-2015: InIn 2009
                                                        2009 II was
                                                                 was debilitated
                                                                     debilitated +   generally could
                                                                                   + generally  could stand/walk
                                                                                                       stand/walk
   for aa few
   for    few minutes
               minutes atat aa time.
                               time. II could
                                        could walk
                                               walk from   the car
                                                     from the   car to
                                                                    to the
                                                                       the store,
                                                                            store, often
                                                                                   often this
                                                                                         this was
                                                                                               was aa challenge.
                                                                                                      challenge. II
   had bad
   had   bad days
             days +   some not
                    + some        quite as
                              not quite  as bad.
                                            bad. Sitting
                                                 Sitting varied
                                                          varied from
                                                                  from aa few
                                                                           few minutes   to over
                                                                                minutes to  over an
                                                                                                  an hour.
                                                                                                      hour. There
                                                                                                              There
   were times
   were   times II felt
                   felt better
                        better for
                                for aa period,
                                       period, then
                                               then would
                                                     would gogo down    hill again.
                                                                 down hill   again. In  Aug 2014
                                                                                     In Aug   2014 II felt
                                                                                                      felt II could
                                                                                                              could
   go back
   go  back to
             to work.
                work. II was
                         was able
                                able to
                                     to sit
                                        sit most of the
                                            most of the day   at work,
                                                         day at  work, at
                                                                        at times
                                                                           times II would
                                                                                    would nap
                                                                                           nap in
                                                                                                in my   car during
                                                                                                   my car    during
   lunch.
   lunch.

    Regarding   the use
    Regarding the   use of
                        of an
                            an assistive
                               assistive device,
                                         device, Ms.
                                                 Ms. Spears
                                                       Spears indicated,
                                                                indicated, "There
                                                                           “There were
                                                                                   were times
                                                                                         times II had
                                                                                                  had to
                                                                                                       to hold
                                                                                                          hold
    onto someone
    onto someone when
                    when walking."
                           walking.” Regarding      sitting in
                                       Regarding sitting    in aa car
                                                                  car Ms.
                                                                      Ms. Spears
                                                                           Spears stated
                                                                                   stated she
                                                                                           she could
                                                                                               could sit
                                                                                                      sit long
                                                                                                          long
    enough to
    enough  to get
                get to
                    to doctors'
                        doctors’ appointments
                                  appointments inin 2009
                                                     2009 and
                                                            and "short
                                                                  “short distances
                                                                         distances generally,"
                                                                                    generally,” and
                                                                                                  and then
                                                                                                      then in
                                                                                                            in
    “2013ish II was
    "2013ish    was able
                     able to
                          to drive
                             drive further but this
                                   further but this could  vary.”
                                                    could vary."

Regarding   her ability
Regarding her    ability to
                          to perform    personal and
                              perform personal    and household
                                                       household activities
                                                                    activities of
                                                                                of daily
                                                                                    daily living,     Ms. Spears
                                                                                            living, Ms.    Spears
reported:
reported:
   II was
      was always
          always able
                  able to
                        to go
                            go to
                                to the
                                   the bathroom
                                       bathroom myself.   Sometimes people
                                                 myself. Sometimes              would bring
                                                                       people would     bring me     meals, often
                                                                                                me meals,    often
   weekly. II did
   weekly.     did limited   grocery shopping
                   limited grocery     shopping when
                                                 when able,
                                                       able, II had
                                                                had help
                                                                     help with
                                                                           with my    finances and
                                                                                 my finances     and mail
                                                                                                       mail for
                                                                                                             for aa
   long time.
   long  time. My
               My ability
                    ability to
                             to clean
                                clean up
                                       up after
                                          after myself/after
                                                myself/after meals  varied. II had
                                                             meals varied.     had aa cleaner
                                                                                      cleaner for
                                                                                                for aa significant
                                                                                                       significant
   period of
   period  of time.
              time. Sometimes
                     Sometimes II needed     help drying
                                     needed help  drying my   hair +
                                                          my hair     getting dressed
                                                                   + getting   dressed asas well
                                                                                             well as
                                                                                                  as going   up +
                                                                                                      going up   +


                                                     14 of 27
                                                     14 of 27                                       Liberty002392
                                                                                                    Li berty002392
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    down stairs.
    down stairs. Generally
                 Generally II bathed
                              bathed myself  but there
                                     myself but   there were
                                                        were periods
                                                              periods when
                                                                      when II needed  help. II had
                                                                              needed help.     had gradual
                                                                                                   gradual
    improvement in
    improvement      time, as
                  in time, as of
                              of Aug.
                                 Aug. 2014
                                      2014 II did
                                              did not
                                                   not need assistance in
                                                       need assistance    most of
                                                                       in most of these
                                                                                  these tasks.
                                                                                        tasks.

Regarding participating in
Regarding participating     an exercise
                         in an exercise program,
                                         program, Ms.
                                                    Ms. Spears
                                                         Spears stated
                                                                stated she
                                                                        she exercised
                                                                            exercised at
                                                                                       at times
                                                                                           times as
                                                                                                 as part  of
                                                                                                     part of
her treatment plan   and  eventually  was   able  to  increase her   exercise.  She   volunteered
her treatment plan and eventually was able to increase her exercise. She volunteered for the        for  the
homeless ministry
homeless  ministry in  2015. Travel
                    in 2015.    Travel included
                                        included flying   to Florida
                                                   flying to Florida inin 2013;
                                                                          2013; flying
                                                                                  flying to
                                                                                          to California
                                                                                              California in
                                                                                                          in
December 2014;
December  2014; flying
                 flying to
                        to Louisiana  to visit
                           Louisiana to  visit "family/caregivers"
                                               “family/caregivers” (dates
                                                                    (dates not  provided); "drove
                                                                            not provided);   “drove to
                                                                                                     to MA
                                                                                                        MA
2013, 2014."
2013, 2014.”

Ms. Spears
Ms. Spears reported
              reported sheshe did
                               did experience
                                   experience memory
                                                memory and
                                                         and concentration
                                                              concentration problems,
                                                                              problems, "I
                                                                                         “I have
                                                                                            have trouble
                                                                                                   trouble
remembering dates.
remembering    dates. There
                       There were
                              were times
                                    times II could
                                             could not remember my
                                                   not remember       age or
                                                                 my age   or year
                                                                             year II was
                                                                                     was born,
                                                                                         born, how
                                                                                               how toto get
                                                                                                        get
home from
home from aa nearby     intersection, when
               nearby intersection,   when II had
                                              had Dr
                                                   Dr appointments,
                                                      appointments, tasks
                                                                    tasks to
                                                                          to complete.
                                                                             complete. While
                                                                                        While II am
                                                                                                 am much
                                                                                                     much
improved, II still
improved,    still struggle
                   struggle at
                            at times."
                               times.”

On the
On  the Claimant
        Claimant Information     Form completed
                   Information Form    completed 9/8/15,
                                                    9/8/15, Ms.
                                                            Ms. Spears    provided the
                                                                  Spears provided   the names   and addresses
                                                                                         names and   addresses
of 27
of 27 providers
       providers involved
                  involved with
                            with her
                                   her medical    care. Thus,
                                       medical care.    Thus, during
                                                               during this
                                                                        this remand
                                                                             remand review,    on Ms.
                                                                                      review, on  Ms. Spears
                                                                                                        Spears
behalf Liberty
behalf          requested the
       Liberty requested   the treatment
                                treatment records
                                           records (from
                                                    (from date
                                                           date of
                                                                 of first
                                                                    first treatment
                                                                          treatment to
                                                                                     to the
                                                                                        the present)  of all
                                                                                            present) of  all 27
                                                                                                              27
providers. Five
providers.   Five providers
                   providers did
                              did not  respond to
                                   not respond    to Liberty’s  request, however,
                                                     Liberty's request,   however, Attorney
                                                                                     Attorney Zimberlin
                                                                                                Zimberlin diddid
eventually provide
eventually  provide records
                     records from
                             from two
                                    two of
                                         of the
                                            the five; Drs. Raxlen
                                                five; Drs.          and Tagliarini.
                                                           Raxlen and     Tagliarini. Additionally,
                                                                                       Additionally, Attorney
                                                                                                     Attorney
Zimberlin forwarded
Zimberlin              records from
           forwarded records     from many
                                       many ofof the
                                                 the 22
                                                     22 physicians
                                                         physicians who
                                                                     who diddid respond
                                                                                respond to
                                                                                         to Liberty's
                                                                                            Liberty’s request,
                                                                                                       request,
as well
as well as
        as treatment
           treatment records
                      records from   the newest
                               from the           providers, Greenacres
                                         newest providers,   Greenacres Chiropractic
                                                                           Chiropractic and
                                                                                          and Dr.
                                                                                              Dr. Alberton.
                                                                                                  Alberton.

Based  on the
Based on    the information
                 information regarding
                               regarding Ms.
                                           Ms. Spear's
                                                Spear’s recent   work activity
                                                         recent work     activity and
                                                                                    and wages
                                                                                         wages provided
                                                                                                provided by  by
Attorney Zimberlin,
Attorney   Zimberlin, in
                       in mid-August    2014, Ms.
                          mid-August 2014,    Ms. Spears
                                                   Spears began
                                                           began working
                                                                  working full    time for
                                                                             full time  for Kforce,
                                                                                            Kforce, Inc.   at aa
                                                                                                     Inc. at
location in
location  in Boston,   MA. Ms.
              Boston, MA.    Ms. Spears    reported her
                                   Spears reported   her position   was Professional
                                                          position was                   Administrator. Ms.
                                                                          Professional Administrator.      Ms.
Spears worked
Spears worked forfor Kforce
                     Kforce through
                             through mid-March
                                      mid-March 2015.
                                                   2015. Beginning    3/18/15, Ms.
                                                         Beginning 3/18/15,     Ms. Spears
                                                                                      Spears took
                                                                                             took aa full
                                                                                                     full time
                                                                                                          time
Recruiter   position with
Recruiter position    with WinterWyman.
                            WinterWyman. The  The position
                                                   position was
                                                             was located
                                                                   located inin Cambridge,
                                                                                 Cambridge, MA,MA, andand the
                                                                                                            the
“expected duration
"expected   duration of
                      of the
                          the assignment"
                              assignment” waswas "four
                                                  “four months.”
                                                         months." InIn aa letter to Liberty
                                                                          letter to   Liberty dated
                                                                                              dated 12/7/15,
                                                                                                      1217/15,
Attorney Zimberlin
Attorney   Zimberlin explained,
                      explained, "Please
                                   “Please be
                                            be advised
                                               advised that
                                                        that Ms.
                                                             Ms. Spears
                                                                  Spears isis no
                                                                               no longer   working. She
                                                                                   longer working.    She last
                                                                                                            last
worked   in August  2015.  She  is seeking additional medical  treatment.”
worked in August 2015. She is seeking additional medical treatment."

Remand Review
Remand      Review
To understand
To  understand andand thoroughly
                       thoroughly evaluate
                                    evaluate Ms.
                                              Ms. Spears'
                                                   Spears’ symptoms
                                                               symptoms and
                                                                         and medical
                                                                              medical conditions
                                                                                       conditions from
                                                                                                     from
September 27, 2008 to the present, all the medical documentation on file was referred for aa
September    27,  2008  to  the present, all the  medical    documentation  on  file was referred   for
physician panel
physician   panel medical  review comprised
                  medical review  comprised ofof specialists
                                                 specialists in
                                                              in Neurology,
                                                                 Neurology, Neuropsychology,   Infectious
                                                                            Neuropsychology, Infectious
Disease,  and Internal
Disease, and            Medicine/ Endocrinology.
               Internal Medicine/  Endocrinology. Additionally,
                                                     Additionally, Ms.
                                                                    Ms. Spears
                                                                         Spears was
                                                                                was asked
                                                                                     asked to
                                                                                            to attend
                                                                                                attend an
                                                                                                        an
Independent    Medical Examination
Independent Medical      Examination (LIME)
                                       (IME) with
                                               with aa Physical    Medicine &
                                                        Physical Medicine    & Rehabilitation    (PM&R)
                                                                                Rehabilitation (PM&R)
specialist.
specialist.

The 3/4/16
The         panel review
     3/4/16 panel   review report
                             report was
                                     was completed
                                          completed byby Robert    Cooper, M.D.,
                                                          Robert Cooper,    M.D., F.A.C.E.,
                                                                                   F.A.C.E., F.A.C.P,
                                                                                              F.A.C.P,
Endocrinology, Internal
Endocrinology,             Medicine; Kent
                 Internal Medicine;    Kent Crossley,
                                              Crossley, MD,
                                                          MD, FACP,
                                                                 FACP, Infectious
                                                                         Infectious Disease,   Internal
                                                                                    Disease, Internal
Medicine; Daniel
Medicine; Daniel Kitei,
                  Kitei, DO,
                         DO, MA,
                               MA, Neurology;
                                    Neurology; Michael
                                                Michael Raymond,
                                                          Raymond, PhD,    ABN, Neuropsychology.
                                                                     PhD, ABN,   Neuropsychology. It  It
was requested
was requested for this review,
              for this review, the
                               the physicians
                                   physicians consider
                                              consider the
                                                        the periods 9/27/08 through
                                                            periods 9/27/08 through 3/27/09,
                                                                                    3/27/09, and
                                                                                             and from
                                                                                                  from
3/28/09 forward.
3/28/09 forward. The
                  The four  review physicians
                       four review  physicians all
                                               all noted the medical
                                                   noted the          records provided
                                                             medical records  provided for
                                                                                       for review
                                                                                           review and
                                                                                                    and
documented Ms.
documented  Ms. Spears’   broad spectrum
                 Spears' broad  spectrum of
                                          of medical  complaints.
                                             medical complaints.

Dr. Cooper
Dr.  Cooper reported
              reported that
                        that he
                             he was
                                 was asked
                                     asked to
                                            to look
                                               look at
                                                     at the
                                                        the medical
                                                            medical documentation
                                                                      documentation from
                                                                                     from several
                                                                                           several
perspectives, including
perspectives, including endocrinology,  rheumatology, GI,
                         endocrinology, rheumatology, GI, cardiology,
                                                          cardiology, and
                                                                      and internal
                                                                          internal medicine. From
                                                                                   medicine. From


                                                   15 of 27
                                                   15 of 27                                     Liberty002393
                                                                                                Li berty002393
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an endocrinology
an endocrinology perspective,
                   perspective, Dr.
                                Dr. Cooper
                                    Cooper reported
                                               reported there
                                                         there is
                                                               is no evidence in
                                                                  no evidence  in the
                                                                                  the available
                                                                                       available records
                                                                                                  records to
                                                                                                          to
support impairment.
support impairment. Ms.
                      Ms. Spears  has aa history
                           Spears has     history of
                                                  of thyroid
                                                      thyroid issues,
                                                              issues, including  multinodular thyroid
                                                                      including multinodular   thyroid and
                                                                                                         and
hypothyroidism. In
hypothyroidism.  In 2009,
                    2009, aa biopsy
                             biopsy of
                                    of the
                                        the thyroid
                                             thyroid was
                                                     was done
                                                           done by
                                                                 by Dr. Oberstein, which
                                                                    Dr. Oberstein, which was
                                                                                           was found   to be
                                                                                                found to  be
benign. She
benign. She had
             had her
                 her thyroid
                      thyroid removed
                              removed in in June
                                            June 2013,
                                                  2013, and
                                                          and subsequent
                                                              subsequent thyroid
                                                                           thyroid ultrasounds
                                                                                   ultrasounds showed
                                                                                                 showed nono
recurrence of
recurrence of cancer.
               cancer. From
                        From aa rheumatology/musculoskeletal
                                rheumatology/musculoskeletal perspective,
                                                                   perspective, Dr.  Cooper said
                                                                                 Dr. Cooper   said that
                                                                                                    that the
                                                                                                         the
records indicated
records indicated Dr.
                  Dr. Kage
                       Kage performed     exams of
                             performed exams      of synovitis
                                                     synovitis and
                                                                and musculoskeletal   systems which
                                                                     musculoskeletal systems   which were
                                                                                                       were
unremarkable.
unremarkable.

Dr. Cooper
Dr. Cooper further
            further reported   that Dr.
                    reported that    Dr. Giannini   opined restrictions
                                         Giannini opined    restrictions and
                                                                          and limitations
                                                                                limitations in 2010 due
                                                                                            in 2010       to Ms.
                                                                                                     due to  Ms.
Spears’ "plethora
Spears' “plethora of
                  of symptoms,
                      symptoms, but but provided
                                        provided no    clinical evidence
                                                   no clinical  evidence to to back
                                                                               back up
                                                                                     up her
                                                                                         her opinion
                                                                                             opinion within
                                                                                                      within the
                                                                                                              the
medical  records provided
medical records  provided forfor review."
                                 review.” From
                                            From aa gastroenterology
                                                      gastroenterology perspective,
                                                                          perspective, Dr.   Cooper noted
                                                                                         Dr. Cooper          that
                                                                                                      noted that
there were
there were no  abnormal findings.
            no abnormal               Finally, Dr.
                           findings. Finally,        Cooper stated
                                                Dr. Cooper    stated that
                                                                      that from
                                                                           from aa cardiology
                                                                                    cardiology perspective,    all
                                                                                                 perspective, all
exams were
exams   were also
              also normal.    Additionally, the
                   normal. Additionally,       the sleep
                                                    sleep studies
                                                           studies that
                                                                     that were
                                                                           were conducted
                                                                                  conducted were
                                                                                               were normal.
                                                                                                     normal. InIn
summary, Dr.
summary,   Dr. Cooper
               Cooper reported
                        reported there
                                  there is
                                         is insufficient
                                            insufficient evidence
                                                          evidence within
                                                                     within the
                                                                             the records
                                                                                  records to
                                                                                          to support
                                                                                             support functional
                                                                                                      functional
impairment and
impairment   and no  restrictions for
                 no restrictions   for Ms.
                                       Ms. Spears'
                                             Spears’ functional
                                                      functional capacity     including work
                                                                   capacity including    work capacity,
                                                                                                capacity, during
                                                                                                          during
the periods
the periods 9/27/08
            9/27/08 through
                     through 3/27/09,
                               3/27/09, and
                                         and from
                                              from 3/28/09    forward.
                                                    3/28/09 forward.

From an
From   an Infectious
           Infectious Disease    perspective, Dr.
                       Disease perspective,      Dr. Crossley
                                                     Crossley waswas looking
                                                                       looking at
                                                                                at whether
                                                                                   whether Ms.
                                                                                             Ms. Spears
                                                                                                   Spears has
                                                                                                           has had
                                                                                                                had
any infection
any             that would
     infection that   would be be "responsible
                                   “responsible for     her non-specific
                                                   for her                   symptoms and
                                                              non-specific symptoms      and if   these would
                                                                                               if these  would be be
functionally impairing.”
functionally  impairing." Dr.Dr. Crossley
                                  Crossley reported
                                             reported there
                                                       there isis no
                                                                   no evidence   that Ms.
                                                                      evidence that   Ms. Spears    has had
                                                                                           Spears has   had Lyme
                                                                                                             Lyme
disease or
disease  or other
            other infections   that would
                  infections that   would bebe functionally    limiting:
                                                functionally limiting:
    This conclusion
    This  conclusion is    based on
                       is based    on the
                                       the absence
                                           absence of of any
                                                          any objective
                                                                objective findings   of late-stage
                                                                           findings of  late-stage Lyme
                                                                                                     Lyme disease
                                                                                                            disease
    (typically manifest
    (typically  manifest by by arthritis,
                                arthritis, neurologic
                                           neurologic findings,
                                                         findings, oror aa cardiac
                                                                            cardiac conduction
                                                                                    conduction defect)
                                                                                                  defect) and
                                                                                                           and the
                                                                                                                 the
    totally nonspecific
    totally                self-reported symptoms
             nonspecific self-reported     symptoms notednoted byby the
                                                                      the claimant.
                                                                           claimant. Importantly,
                                                                                      Importantly, except     for aa
                                                                                                      except for
    single CSF
    single  CSF test
                 test that
                      that is
                           is impossible
                              impossible toto interpret,
                                               interpret, all
                                                          all of
                                                              of the
                                                                  the claimant's
                                                                      claimant’s testing
                                                                                  testing for
                                                                                          for tick-borne
                                                                                              tick-borne illnesses
                                                                                                          illnesses
    was negative.
    was  negative.

Dr. Crossley
Dr. Crossley concluded
              concluded there
                         there are
                                are no  documented impairments
                                    no documented      impairments for
                                                                    for the
                                                                         the periods   9/27/08 through
                                                                              periods 9/27/08   through
3/27/09, and
3/27/09, and from
             from 3/28/09
                   3/28/09 forward,
                            forward, that
                                      that would
                                           would bebe associated
                                                      associated with
                                                                 with the
                                                                       the presence   of any
                                                                            presence of  any infection.
                                                                                              infection.
“Her symptoms
"Her  symptoms are
                 are non-specific  and not
                     non-specific and        related to
                                         not related  to any
                                                         any infection...
                                                              infection… TheThe claimant's
                                                                                 claimant’s functional
                                                                                             functional
capacity would
capacity would not have been
               not have been limited
                              limited by
                                      by any
                                          any infection
                                              infection during
                                                        during the
                                                               the periods
                                                                   periods noted.”
                                                                           noted."

Dr. Kitei
Dr.        reported from
    Kitei reported  from aa neurology   standpoint:
                            neurology standpoint:
  Based    on the information   available
  Based on the information available for    for review,
                                                 review, as
                                                         as described   above, it
                                                             described above,    it is  the reviewer's
                                                                                    is the  reviewer’s opinion
                                                                                                        opinion
  within aa reasonable
  within     reasonable degree   of clinical
                         degree of  clinical probability   that the
                                               probability that  the evidence  does not
                                                                     evidence does         support impairment
                                                                                       not support  impairment
  from
  from aa neurologic    standpoint. The
            neurologic standpoint.  The claimant
                                           claimant has
                                                      has complained
                                                          complained intermittently
                                                                        intermittently of of headaches
                                                                                             headaches but
                                                                                                        but the
                                                                                                             the
  most  recent note
  most recent         including notes
                note including  notes from    2009 and
                                       from 2009    and 2010
                                                         2010 detail
                                                               detail that
                                                                      that she
                                                                           she had
                                                                               had significant
                                                                                     significant improvement.
                                                                                                  improvement.
  When she
  When     she was
               was seen
                    seen at
                          at Yale
                             Yale Neurology
                                  Neurology on   on 7/30/10,  she had
                                                     7/30/10, she  had not   had migraines
                                                                        not had   migraines forfor months,
                                                                                                   months, and
                                                                                                            and
  when she
  when    she saw
              saw Associated
                   Associated Neurologists
                                Neurologists of of Southern
                                                   Southern Connecticut
                                                              Connecticut onon 3/29/10,
                                                                                3/29/10, herher migraines were
                                                                                                migraines were
  well controlled.
  well  controlled. When
                      When she
                             she saw
                                 saw Yale
                                       Yale Neurology
                                               Neurology onon 4/22/13,
                                                                4/22/13, she
                                                                          she did
                                                                               did not    have any
                                                                                    not have    any neurologic
                                                                                                     neurologic
  symptoms and
  symptoms     and headaches
                   headaches had
                               had largely
                                   largely resolved.
                                             resolved.

Dr. Kitei
Dr.  Kitei emphasized
           emphasized Ms.
                       Ms. Spears
                           Spears has
                                  has had
                                      had consistently
                                          consistently normal
                                                       normal neurologic examinations throughout
                                                              neurologic examinations throughout
the records,
the records, and
             and no
                 no neurologic examinations that
                    neurologic examinations that were
                                                 were abnormal.
                                                      abnormal.

Dr. Raymond,
Dr. Raymond, Neuropsychologist,
                Neuropsychologist, noted    Ms. Spears'
                                     noted Ms.    Spears’ primary   complaint in
                                                           primary complaint   in 2008
                                                                                   2008 was
                                                                                         was vascular
                                                                                               vascular
headaches, and,
headaches, and, "Multiple
                 “Multiple neurological examinations were
                           neurological examinations   were negative  and nondiagnostic
                                                             negative and                with regard
                                                                          nondiagnostic with  regard to
                                                                                                     to
neurocognitive  functioning, sensorimotor
neurocognitive functioning,  sensorimotor abilities,
                                           abilities, and
                                                      and formal
                                                          formal cranial
                                                                 cranial nerve testing.” Dr.
                                                                         nerve testing." Dr. Raymond
                                                                                             Raymond


                                                     16 of 27
                                                     16 of 27                                      Liberty002394
                                                                                                   Li berty002394
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further reported:
further   reported:
     Despite   the claimant's
     Despite the    claimant’s subjective
                                  subjective neurocognitive       complaints, she
                                               neurocognitive complaints,          she was
                                                                                         was only
                                                                                              only evaluated
                                                                                                      evaluated neuro-
                                                                                                                   neuro-
     psychologically on
     psychologically    on one
                            one occasion.
                                 occasion. This
                                             This occurred
                                                    occurred per
                                                               per Dr.
                                                                    Dr. Rissenberg
                                                                         Rissenberg in  in July
                                                                                            July 2010.
                                                                                                  2010. AsAs noted,    Dr.
                                                                                                              noted, Dr.
     Rissenberg’s
     Rissenberg's conclusion       that the
                     conclusion that    the neuropsychological
                                             neuropsychological test  test results
                                                                            results "are
                                                                                     “are consistent
                                                                                           consistent with
                                                                                                         with frontal
                                                                                                               frontal or
                                                                                                                        or
     diffuse  cerebral  dysfunction    as  seen  in chronic  infectious     and  inflammatory
     diffuse cerebral dysfunction as seen in chronic infectious and inflammatory illness"          illness”  is
                                                                                                             is  certainly
                                                                                                                 certainly
     not   confirmed or
     not confirmed     or aa viable
                             viable clinical
                                     clinical explanation
                                               explanation based
                                                             based on  on the
                                                                           the neuropsychological
                                                                                neuropsychological test  test results.
                                                                                                              results. In
                                                                                                                        In
     fact, the
     fact,  the evaluation
                evaluation itself
                             itself was
                                     was cursory,
                                          cursory, non-standardized,
                                                     non-standardized, and   and was
                                                                                  was limited
                                                                                        limited byby the
                                                                                                       the exclusion
                                                                                                           exclusion of of
     formal   effort testing,
     formal effort   testing, as
                              as noted   above. Premorbid
                                  noted above.                 levels of
                                                  Premorbid levels      of intellectual
                                                                           intellectual functioning      appeared to
                                                                                          functioning appeared       to be
                                                                                                                        be
     miscalculated    based on
     miscalculated based     on the
                                 the method    and rationale
                                      method and     rationale documented
                                                                documented in       that prior
                                                                                in that         report. Overall,
                                                                                         prior report.   Overall, based
                                                                                                                    based
     on those
    on   those assessment
                assessment factors,   it is
                             factors, it    highly unusual
                                         is highly  unusual that
                                                              that aa neuropsychologist
                                                                      neuropsychologist wouldwould be be able
                                                                                                          able to
                                                                                                                to render
                                                                                                                   render
    aa clinical  opinion with
       clinical opinion   with any
                                any degree
                                     degree ofof neuropsychological       certainty.
                                                 neuropsychological certainty.

Dr. Raymond
Dr.           concluded, "the
    Raymond concluded,   “the preponderance  of clinical
                              preponderance of  clinical evidence contained within
                                                         evidence contained within this
                                                                                   this file does not
                                                                                        file does not
support neurocognitive
support  neurocognitive impairment,”
                        impairment," for the periods
                                     for the  periods 9/27/08
                                                       9/27/08 through
                                                                through 3/27/09,
                                                                         3/27/09, and
                                                                                  and from
                                                                                       from 3/28/09
                                                                                              3/28/09
forward.
forward.

In response to
In response  to Liberty’s request for
                Liberty's request        further clarification,
                                     for further  clarification, Dr.
                                                                   Dr. Raymond
                                                                        Raymond reported
                                                                                     reported onon 3/22/16    that:
                                                                                                    3/22/16 that:
    Dr. Rissenberg’s neuropsychological     evaluation,  dated   July, 2010,  albeit   nonstandardized
    Dr. Rissenberg's neuropsychological evaluation, dated July, 2010, albeit nonstandardized and somewhat and  somewhat
    cursory, would
    cursory, would certainly  preclude any
                   certainly preclude   any conclusions    regarding the
                                             conclusions regarding     the claimant's
                                                                           claimant’s current
                                                                                         current impairments,
                                                                                                 impairments, cause    of
                                                                                                                 cause of
    impairments, severity ofof impairments,
                                impairments, oror limitations
                                                   limitations inin functional    capacity… the
                                                                    functional capacity...     the neuropsychological
                                                                                                    neuropsychological
    evaluation completed
    evaluation completed inin July,
                               July, 2010,
                                     2010, is   obsolete as
                                            is obsolete   as it  is 6
                                                              it is 6 years
                                                                       years old.
                                                                              old. Furthermore,
                                                                                    Furthermore, thethe evaluation   was
                                                                                                         evaluation was
    nonstandardized, somewhat cursory,
                                  cursory, and without formal effort testing. Thus, given the dearth  dearth of updated
    neuropsychological data,
    neuropsychological  data, the
                              the aforementioned
                                   aforementioned information,
                                                     information, inin and
                                                                        and of
                                                                            of itself,
                                                                                itself, does  not reflect
                                                                                        does not  reflect the
                                                                                                          the claimant's
                                                                                                              claimant’s
    impairments, cause
    impairments, cause of
                       of any
                          any impairments,     severity of
                                impairments, severity   of impairments,
                                                            impairments, oror limits
                                                                               limits on
                                                                                       on functional
                                                                                          functional capacity.
                                                                                                      capacity.

On 3/2/16,
On  3/2/16, Dr. Cooper spoke
            Dr. Cooper  spoke with
                               with Dr.
                                    Dr. Lang.
                                        Lang. Dr.  Cooper’s summary
                                               Dr. Cooper's  summary of
                                                                      of that
                                                                         that conversation
                                                                              conversation was
                                                                                           was sent
                                                                                                sent to
                                                                                                     to
Dr. Lang.
Dr.         Dr. Lang
    Lang. Dr.         signed his
                 Lang signed  his agreement
                                  agreement to
                                             to Dr.
                                                Dr. Cooper's
                                                    Cooper’s summary
                                                               summary on
                                                                        on 3/3/16,  which stated,
                                                                            3/3/16, which  stated, "Dr.
                                                                                                   “Dr.
Lang  stated there
Lang stated  there should
                   should be
                          be no impact on
                             no impact  on her
                                           her functionality
                                               functionality from an endocrine
                                                             from an endocrine perspective."
                                                                               perspective.”

Since Dr.
Since  Dr. Lang   was the
            Lang was    the only
                            only attending
                                  attending physician
                                              physician that
                                                           that responded
                                                                responded to to the
                                                                                the review
                                                                                    review physicians’
                                                                                              physicians' multiple
                                                                                                           multiple
attempts to
attempts  to speak
             speak to
                    to attending
                       attending physicians,
                                  physicians, on on 3/16/16,
                                                    3/16/16, the
                                                               the physician   panel review
                                                                    physician panel   review report
                                                                                               report was
                                                                                                      was faxed  to
                                                                                                           faxed to
Drs. Zagar,
Drs.  Zagar, Saul,
              Saul, Rissenberg,
                    Rissenberg, Kage,
                                  Kage, Gouin
                                           Gouin Young,
                                                   Young, Giannini,
                                                             Giannini, Baehring,     and Dr.
                                                                         Baehring, and     Dr. Raxlen   (Dr. Donta
                                                                                                Raxlen (Dr.  Donta
had retired).
had  retired). The
               The cover
                     cover letter
                            letter requested
                                   requested thethe providers
                                                     providers review
                                                                  review the
                                                                           the panel   report and
                                                                               panel report    and comment,
                                                                                                    comment, andand
should he/she
should  he/she disagree
                disagree with
                           with the
                                the medical    findings, to
                                     medical findings,     to please  provide his/her
                                                              please provide    his/her medical    opinion and
                                                                                         medical opinion    and the
                                                                                                                the
medical   basis for
medical basis   for his/her
                     his/her disagreement.
                              disagreement. Additionally,
                                               Additionally, it    was offered
                                                                it was   offered that
                                                                                  that if
                                                                                        if an
                                                                                           an attending
                                                                                               attending physician
                                                                                                         physician
would like
would   like to
              to speak
                 speak with
                          with aa review
                                   review physician
                                             physician to to discuss
                                                              discuss his/her
                                                                       his/her medical      opinion, aa telephone
                                                                                 medical opinion,        telephone
consultation would
consultation   would bebe scheduled
                           scheduled atat aa mutually    agreeable time.
                                             mutually agreeable      time. Follow
                                                                             Follow up
                                                                                     up calls
                                                                                          calls were
                                                                                                were made
                                                                                                      made toto the
                                                                                                                the
physicians’ offices
physicians'  offices to
                      to confirm  their receipt
                         confirm their  receipt ofof the
                                                     the faxed
                                                          faxed report.
                                                                 report.

Despite numerous
Despite               additional calls
          numerous additional       calls byby Liberty   to request
                                                Liberty to   request the
                                                                      the providers’      responses, ultimately
                                                                            providers' responses,       ultimately
responses were
responses  were received
                  received from
                              from Dr.     Zagar, and
                                     Dr. Zagar,    and Dr.
                                                        Dr. Rissenberg.
                                                             Rissenberg. On On 4/18/16,
                                                                                 4/18/16, Attorney
                                                                                             Attorney Zimberlin
                                                                                                        Zimberlin
submitted aa statement
submitted     statement from
                           from Dr.     Giannini. Dr.
                                  Dr. Giannini.    Dr. Zagar's
                                                        Zagar’s 4/6/16
                                                                 4/6/16 response      addressed January
                                                                          response addressed       January 2009
                                                                                                             2009
through October
through  October 2011,
                   2011, the
                           the period
                                period ofof time
                                            time Ms.
                                                  Ms. Spears
                                                       Spears was
                                                               was under
                                                                    under his
                                                                            his care.
                                                                                care. Dr.
                                                                                       Dr. Zagar
                                                                                            Zagar reviewed
                                                                                                    reviewed Ms.
                                                                                                               Ms.
Spears’ symptoms
Spears' symptoms andand treatment,
                          treatment, indicating:
                                       indicating:
    She continued
    She  continued to
                    to have
                        have fatigue     and cognitive
                               fatigue and    cognitive issues
                                                        issues which
                                                                which limited    her daily
                                                                       limited her    daily functioning,
                                                                                             functioning, and
                                                                                                            and in
                                                                                                                in
    my  opinion  she  was   unable  to  work,  even  on a part-time  basis.  At the time   I was  seeing
    my opinion she was unable to work, even on a part-time basis. At the time I was seeing her, she       her, she
    seemed to
    seemed   to do  little outside
                do little   outside of
                                     of seeing
                                         seeing her
                                                 her doctors
                                                      doctors because
                                                               because ofof her
                                                                             her various
                                                                                  various symptoms.
                                                                                            symptoms. SheShe was
                                                                                                               was
    unable to
    unable  to drive
               drive or
                      or handle
                          handle some
                                   some other
                                          other basic
                                                 basic daily
                                                       daily activities.
                                                             activities. Neuropsychological       testing done
                                                                         Neuropsychological testing        done in
                                                                                                                in


                                                        17 of 27
                                                        17 of 27                                        Liberty002395
                                                                                                        Li berty002395
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    2010 showed
    2010  showed cognitive
                   cognitive impairment,   which was
                              impairment, which   was consistent  with her
                                                       consistent with her subjective
                                                                           subjective symptoms.
                                                                                      symptoms. While
                                                                                                 While II
    would agree
    would   agree that
                   that the
                         the diagnosis
                              diagnosis of
                                         of CNS
                                            CNS Lyme      was not
                                                   Lyme was    not certain,  she clearly
                                                                    certain, she  clearly has
                                                                                          has had
                                                                                               had some
                                                                                                    some
    multisystem  disorder (e.g.,
    multisystem disorder    (e.g., an
                                   an unspecified
                                      unspecified autoimmune
                                                  autoimmune disorder    or fibromyalgia)
                                                                disorder or                that produced
                                                                            fibromyalgia) that  produced
    her constellation
    her constellation of
                       of multiple
                          multiple somatic
                                    somatic and
                                            and cognitive
                                                 cognitive symptoms,
                                                           symptoms, and
                                                                       and which
                                                                           which affected
                                                                                  affected her
                                                                                           her enough
                                                                                               enough to
                                                                                                       to
    impair her
    impair her daily
               daily function.
                      function.

In  regard to
In regard  to Dr.
              Dr. Raymond’s
                  Raymond's neuropsychological      report and
                                neuropsychological report  and conclusions,
                                                               conclusions, Dr.
                                                                             Dr. Rissenberg’s    4/6/16
                                                                                  Rissenberg's 4/6/16
response defended
response           her testing
          defended her  testing methodology  and conclusions
                                methodology and  conclusions indicating  that her
                                                              indicating that her "assessment
                                                                                   “assessment ofof Ms.
                                                                                                    Ms.
Spears was
Spears  was appropriate
            appropriate and
                         and comprehensive,
                             comprehensive, reflecting
                                            reflecting the
                                                       the highest
                                                           highest standards
                                                                   standards and
                                                                             and best
                                                                                  best practices  of my
                                                                                       practices of  my
field…”
field..."

On 4/13/16,
On  4/13/16, Dr.
             Dr. Giannini  reported [the
                 Giannini reported  [the dates
                                         dates of
                                               of the
                                                  the period  Dr. Giannini
                                                      period Dr.  Giannini references
                                                                            references are
                                                                                        are unknown]:
                                                                                            unknown]:
   II was
      was treating
          treating Haley
                   Haley during
                           during the
                                   the period
                                       period in
                                               in question
                                                  question for
                                                             for headaches
                                                                 headaches and
                                                                             and fatigue.
                                                                                  fatigue. Headaches
                                                                                           Headaches andand
   fatigue have
   fatigue have no   specific objective
                 no specific  objective evidence   to indicate
                                         evidence to  indicate quality
                                                                quality and
                                                                        and severity.
                                                                            severity. They
                                                                                       They are
                                                                                             are measured
                                                                                                  measured
   based on
   based  on the
              the patient
                  patient subjective
                          subjective report.
                                      report. During
                                              During this
                                                       this period
                                                            period Haley's
                                                                   Haley’s headaches
                                                                             headaches and
                                                                                         and fatigue
                                                                                              fatigue were
                                                                                                       were
   severe enough
   severe  enough that
                    that she
                         she would
                              would have
                                      have spent
                                            spent significant
                                                  significant amounts
                                                               amounts ofof time
                                                                            time away
                                                                                   away from
                                                                                         from aa job.
                                                                                                   job. She
                                                                                                        She
   would have
   would   have been
                  been an
                        an unreliable
                            unreliable employee
                                        employee andand missed    many days
                                                          missed many    days ofof work.
                                                                                    work. She
                                                                                           She was
                                                                                                 was most
                                                                                                       most
   definitely disabled
   definitely disabled during  this period.
                        during this period.

Dr. Rissenberg’s
Dr.                comments were
    Rissenberg's comments        were sent
                                       sent to
                                            to Dr.
                                                 Dr. Raymond,
                                                     Raymond, andand Dr.  Zagar’s comments
                                                                      Dr. Zagar's   comments were
                                                                                                were sent
                                                                                                      sent to
                                                                                                           to Dr.
                                                                                                              Dr.
Kitei, to
Kitei, to determine
          determine if   the attending
                      if the  attending providers’     responses changed
                                         providers' responses     changed their
                                                                            their previous   conclusions, and
                                                                                  previous conclusions,    and to
                                                                                                               to
provide the
provide  the medical
             medical rationale    to support
                       rationale to  support their
                                               their conclusions.
                                                     conclusions. On
                                                                   On 4/29/16,
                                                                       4/29/16, Dr.
                                                                                  Dr. Kitei
                                                                                      Kitei reported:
                                                                                            reported:
    The current
    The   current records
                  records do do not   offer any
                                 not offer   any additional
                                                   additional information
                                                               information from
                                                                              from aa neurologic    standpoint…
                                                                                        neurologic standpoint...
    From aa neurologic
    From                   standpoint there
              neurologic standpoint     there isis no  additional information
                                                   no additional  information that
                                                                                 that would
                                                                                       would alter
                                                                                              alter my
                                                                                                    my previous
                                                                                                        previous
    opinion that
    opinion  that the
                  the evidence
                       evidence does
                                   does not   support impairment
                                         not support    impairment from
                                                                     from aa neurologic    standpoint. As
                                                                              neurologic standpoint.    As noted
                                                                                                            noted
    previously, the
    previously,  the claimant
                      claimant complained
                                  complained intermittently     of headaches
                                                 intermittently of  headaches butbut notes  including 2009
                                                                                      notes including  2009 and
                                                                                                              and
    2010 detailed
    2010   detailed that
                     that she
                            she had
                                  had significant
                                       significant improvement
                                                      improvement andand she
                                                                           she has
                                                                                 has had
                                                                                       had consistently
                                                                                            consistently normal
                                                                                                          normal
    neurological  examinations as
    neurological examinations      as detailed   previously.
                                      detailed previously.

Dr. Raymond
Dr.            discussed methodology
    Raymond discussed     methodology andand standards
                                             standards for
                                                         for neuropsychological   testing in
                                                             neuropsychological testing   in the
                                                                                             the field.
                                                                                                  field. Dr.
                                                                                                         Dr.
Raymond   concluded:
Raymond concluded:
    Based on
    Based   on the
                the information  available for
                    information available   for review,
                                                review, asas described
                                                             described above,
                                                                        above, it
                                                                               it is
                                                                                  is the
                                                                                     the reviewer’s   opinion
                                                                                         reviewer's opinion
    within aa reasonable
    within     reasonable degree
                           degree ofof neuropsychological     certainty that
                                       neuropsychological certainty     that neurocognitive   impairment is
                                                                             neurocognitive impairment        is
    not  supported within
    not supported    within the
                             the time
                                 time frame
                                        frame in  question (9/27/08
                                               in question    (9/27/08 —– 3/31/15).
                                                                          3/31/15). While
                                                                                     While Dr.
                                                                                             Dr. Rissenberg
                                                                                                   Rissenberg
    raised concerns
    raised             regarding the
            concerns regarding    the undersigned's
                                       undersigned’s clinical
                                                        clinical opinions
                                                                  opinions and
                                                                            and conclusions,    the concerns
                                                                                 conclusions, the    concerns
    were addressed
    were  addressed byby the
                         the undersigned
                              undersigned as
                                           as previously
                                               previously referenced.
                                                            referenced. With
                                                                         With all
                                                                              all due
                                                                                  due respect,
                                                                                       respect, the
                                                                                                 the concerns
                                                                                                     concerns
    raised by
    raised by Dr.
                Dr. Rissenberg
                    Rissenberg did
                                did not
                                     not change  or alter
                                         change or  alter the
                                                           the undersigned's
                                                               undersigned’s opinions
                                                                              opinions as
                                                                                        as previously
                                                                                           previously stated
                                                                                                         stated
    in the
    in the initial
           initial and
                   and addendum
                       addendum reports
                                   reports dated
                                           dated 2/13/16
                                                  2/13/16 and
                                                            and 3/16/16,
                                                                3/16/16, respectively.
                                                                         respectively.

The PM&R
The   PM&R Independent       Medical Examination
              Independent Medical       Examination took
                                                       took place
                                                             place onon 3/14/16,
                                                                         3/14/16, asas performed
                                                                                         performed by by Jenness
                                                                                                          Jenness
Courtney, MD,
Courtney,  MD, inin Shreveport,
                    Shreveport, LA.LA. Dr.Dr. Courtney
                                              Courtney also
                                                         also reviewed
                                                              reviewed all all the
                                                                               the medical    documentation in
                                                                                    medical documentation       in
Ms. Spears'
Ms.  Spears’ disability
             disability claim
                        claim file.  The IME
                               file. The  IME report
                                                report indicated, “The claimant
                                                       indicated, "The   claimant isis aa former  administrative
                                                                                          former administrative
assistant who
assistant who was
                was 3131 years
                          years old
                                 old atat her
                                          her date
                                               date of
                                                     of disability,
                                                        disability, September
                                                                     September 27, 27, 2008,
                                                                                         2008, initially   due to
                                                                                                initially due   to
headaches. This
headaches.  This evaluation
                  evaluation isis to
                                   to determine
                                       determine the
                                                   the claimant's
                                                       claimant’s functional
                                                                    functional capacity
                                                                                  capacity for
                                                                                             for the
                                                                                                 the periods    of
                                                                                                       periods of
September 27,
September  27, 2008,
                2008, through
                       through March
                                 March 27,27, 2009,"
                                              2009,” and
                                                      and from  3/38/09 forward.
                                                          from 3/38/09     forward. Regarding     the history
                                                                                      Regarding the     history of
                                                                                                                of
Ms. Spears'
Ms.  Spears’ illness,
             illness, Dr. Courtney reported:
                      Dr. Courtney    reported:
    A comprehensive
    A  comprehensive medical
                        medical history
                                   history was
                                            was attempted;
                                                 attempted; however,
                                                             however, thisthis claimant
                                                                                claimant refused
                                                                                           refused toto give
                                                                                                         give any
                                                                                                              any
    substantial history.
    substantial history. Upon
                          Upon questioning
                                 questioning concerning
                                                concerning her
                                                            her initial
                                                                 initial migraine    headaches, this
                                                                         migraine headaches,       this claimant
                                                                                                         claimant


                                                    18 of 27
                                                    18 of 27                                     Liberty002396
                                                                                                 Li berty002396
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    stated that
    stated that this
                this was
                     was only
                          only the
                                the symptom
                                     symptom of of her
                                                   her real
                                                        real problems.   She stated
                                                             problems. She    stated that
                                                                                      that she
                                                                                           she no  longer has
                                                                                                no longer  has any
                                                                                                               any
    problems related
    problems   related to
                        to this
                           this event.  She attributes
                                event. She   attributes all
                                                         all of
                                                             of the
                                                                 the problems
                                                                     problems asas related
                                                                                   related toto bacterial/parasitic
                                                                                                bacterial/parasitic
    infections. She
    infections.  She states
                      states that
                              that treatment
                                   treatment for    these infections
                                               for these   infections remedied
                                                                       remedied herher symptoms.
                                                                                        symptoms. WhenWhen asked
                                                                                                             asked
    specific questions
    specific questions about
                         about the
                                 the history
                                      history and
                                              and course
                                                    course of
                                                            of events
                                                                events during
                                                                        during the
                                                                                the time
                                                                                     time periods
                                                                                            periods stated
                                                                                                     stated above,
                                                                                                            above,
    the patient
    the         states that
        patient states that she
                             she was
                                  was instructed   by her
                                       instructed by  her lawyer
                                                           lawyer not   to answer
                                                                    not to answer these
                                                                                   these questions.
                                                                                          questions.

Regarding  Ms. Spears’
Regarding Ms.              activity level,
                 Spears' activity   level, Dr.
                                           Dr. Courtney
                                                Courtney reported:
                                                           reported:
   She was
   She  was questioned
              questioned concerning
                            concerning her
                                        her ability
                                              ability to
                                                      to perform
                                                         perform activities
                                                                   activities of
                                                                              of daily
                                                                                 daily living.  When she
                                                                                       living. When   she was
                                                                                                           was at
                                                                                                                at
   her worst
   her  worst during
                during the
                         the time
                             time frame
                                   frame after
                                            after September
                                                  September 27, 27, 2008,
                                                                    2008, she
                                                                            she reports
                                                                                reports that
                                                                                         that she
                                                                                              she had
                                                                                                   had problems
                                                                                                        problems
   with fatigue,
   with  fatigue, pain,
                   pain, and
                          and decreased
                               decreased energy.    She also
                                           energy. She   also reports
                                                               reports neurocognitive    deficits, where
                                                                       neurocognitive deficits,    where she
                                                                                                         she had
                                                                                                             had
   difficulties with
   difficulties  with memory
                        memory andand confusion.
                                       confusion. SheShe states
                                                          states that
                                                                 that her
                                                                      her mother   and the
                                                                           mother and    the home
                                                                                             home health
                                                                                                    health nurse
                                                                                                            nurse
   would aid
   would    aid her
                 her with
                       with activities
                             activities of
                                        of daily    living such
                                             daily living   such asas dressing
                                                                      dressing and
                                                                                 and bathing.
                                                                                      bathing. She
                                                                                                 She reports
                                                                                                      reports no
                                                                                                               no
   problems at
   problems    at this
                  this time.
                       time.

Dr. Courtney
Dr. Courtney concluded:
               concluded:
    In  summary, my
    In summary,      my overall
                           overall impression
                                     impression regarding
                                                  regarding the
                                                              the insured’s    current verifiable
                                                                   insured's current     verifiable physical
                                                                                                     physical
    impairments and
    impairments   and limitations,
                       limitations, as
                                     as well
                                        well as
                                              as her
                                                 her maximum
                                                     maximum full-time      work capacity,
                                                                full-time work              again, the
                                                                                 capacity, again,  the patient
                                                                                                       patient
    specifically states
    specifically states that
                         that she
                              she does
                                  does not   have these
                                        not have   these problems
                                                         problems atat this
                                                                       this point,
                                                                            point, that
                                                                                   that she
                                                                                        she was
                                                                                            was fully   healed
                                                                                                 fully healed
    with the
    with the treatments
              treatments that
                           that were
                                 were provided
                                       provided toto her.
                                                     her. Her
                                                          Her only
                                                               only complaints
                                                                      complaints have
                                                                                   have to
                                                                                         to do
                                                                                            do with
                                                                                                with reduced
                                                                                                      reduced
    energy, which
    energy, which she
                    she attributes
                         attributes to
                                    to hypothyroid
                                       hypothyroid disease   and her
                                                     disease and her history
                                                                      history of
                                                                              of thyroidectomy.
                                                                                 thyroidectomy.

    As far
    As  far as
            as to
               to the
                  the extent
                      extent of
                             of which
                                which the
                                       the results
                                           results of
                                                   of this
                                                      this Independent  Medical Examination
                                                           Independent Medical     Examination provide
                                                                                                 provide any
                                                                                                         any
    information concerning
    information   concerning the
                              the periods
                                   periods of
                                           of September    27, 2008,
                                               September 27,   2008, through
                                                                     through March
                                                                               March 27,
                                                                                       27, 2009,
                                                                                           2009, apparently
                                                                                                  apparently
    the patient
    the  patient was
                 was placed   on work
                      placed on   work restrictions,
                                        restrictions, from
                                                      from my   review, at
                                                             my review,  at least
                                                                            least from  November of
                                                                                   from November    of 2008
                                                                                                       2008
    through January
    through   January of
                       of 2009,
                          2009, in
                                 in which
                                    which she
                                           she was
                                                was to
                                                     to return
                                                        return to
                                                               to work.
                                                                   work. Again,
                                                                         Again, there
                                                                                  there was
                                                                                        was aa reviewer  that
                                                                                               reviewer that
    noted  that from
    noted that  from March
                      March 24,
                              24, 2009,
                                  2009, through
                                         through May
                                                   May 11,   2009, she
                                                         11, 2009, she had
                                                                       had no   verifiable evidence
                                                                            no verifiable  evidence of
                                                                                                     of why
                                                                                                        why
    the patient
    the patient could
                 could not work.
                       not work.

Dr. Courtney
Dr. Courtney reported,
              reported, regarding
                        regarding the
                                   the period  from March
                                       period from    March 2009
                                                              2009 forward:
                                                                    forward:
    it does not appear that the patient had any incapacitating diagnosis.
    it does not  appear that the  patient  had  any  incapacitating               She had
                                                                      diagnosis. She    had apparently
                                                                                            apparently been
                                                                                                         been
    previously taken
    previously  taken off
                       off work.
                            work. The
                                    The chiropractic
                                          chiropractic notations
                                                         notations ofof lumbalgia    and cervical
                                                                         lumbalgia and     cervical segment
                                                                                                     segment
    dysfunction and
    dysfunction  and cervicalgia
                     cervicalgia would
                                  would not    be aa reason
                                          not be     reason for  the patient
                                                             for the  patient to
                                                                              to not  be able
                                                                                 not be   able to
                                                                                               to perform  at
                                                                                                  perform at
    least sedentary
    least sedentary work
                    work during
                          during that
                                 that period
                                      period of
                                              of time.
                                                 time. There
                                                        There are
                                                               are no
                                                                   no current  restrictions/limitations.
                                                                       current restrictions/limitations.

On 3/14/16,
On   3/14/16, Liberty
               Liberty received
                       received aa letter
                                   letter from
                                          from Attorney
                                                Attorney Zimberlin
                                                          Zimberlin indicating
                                                                         indicating Dr.  Courtney was
                                                                                    Dr. Courtney     was rude
                                                                                                         rude and
                                                                                                               and
argumentative, unprepared,
argumentative,    unprepared, accused
                               accused Ms. Ms. Spears   of failing
                                                Spears of    failing toto cooperate,   and did
                                                                           cooperate, and    did not   do his
                                                                                                   not do  his job
                                                                                                                job
because he
because    he asked
              asked Ms.
                     Ms. Spears'
                          Spears’ her
                                   her diagnoses
                                        diagnoses rather
                                                   rather than
                                                           than determining
                                                                  determining thethe diagnoses
                                                                                     diagnoses himself.
                                                                                                  himself. In   his
                                                                                                            In his
letter of
letter of reply
           reply to
                 to Attorney
                    Attorney Zimberlin's
                              Zimberlin’s 3/14/16
                                             3/14/16 letter,
                                                      letter, Dr.
                                                               Dr. Courtney
                                                                    Courtney stated,
                                                                                stated, "It
                                                                                        “It is
                                                                                            is aa patient's
                                                                                                  patient’s job
                                                                                                            job to
                                                                                                                 to
comply with
comply     with requests
                requests to
                          to provide
                             provide detailed
                                        detailed history
                                                  history of
                                                           of the
                                                               the illnesses    including diagnosis
                                                                     illnesses including    diagnosis and
                                                                                                        and prior
                                                                                                              prior
treatment at
treatment    at doctor's
                doctor’s appointments.
                          appointments. When
                                           When asked
                                                   asked toto do    the above,
                                                               do the     above, Ms.
                                                                                  Ms. Spears
                                                                                        Spears responded
                                                                                                  responded with
                                                                                                              with
irritability and
irritability and refusal  to cooperate."
                  refusal to cooperate.” Dr.     Courtney did
                                             Dr. Courtney    did review
                                                                  review thethe complete
                                                                                complete medical
                                                                                            medical records    that
                                                                                                      records that
were provided
were             to him.
       provided to  him.

In summary, based
In summary,     based on
                       on aa thorough
                             thorough review    of all
                                        review of  all the
                                                       the medical  documentation in
                                                           medical documentation       Ms. Spears'
                                                                                    in Ms. Spears’ disability
                                                                                                    disability
claim file,
claim  file, the
              the four  specialty medical
                  four specialty             review and
                                    medical review    and the
                                                           the PM&R
                                                               PM&R IME      completed during
                                                                        IME completed    during this
                                                                                                 this remand
                                                                                                      remand
review, it
review,  it is
            is determined
               determined that
                             that the
                                  the medical
                                      medical evidence
                                               evidence does
                                                          does not provide sufficient
                                                               not provide  sufficient proof
                                                                                       proof that
                                                                                             that Ms.
                                                                                                  Ms. Spears
                                                                                                       Spears
was unable
was  unable toto perform
                 perform her
                           her own
                               own occupation
                                     occupation continuously
                                                 continuously throughout
                                                                throughout the
                                                                            the Policy’s Elimination Period,
                                                                                Policy's Elimination  Period,
24 months
24 months OwnOwn Occupation
                   Occupation period,     and the
                                  period, and the Any
                                                  Any Occupation
                                                        Occupation period   beginning on
                                                                     period beginning  on 3/28/11.
                                                                                          3/28/11.


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                                                    19 of 27                                      Liberty002397
                                                                                                  Li berty002397
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Remand Assessment
Remand      Assessment
To meet
To         the definition
    meet the   definition of
                          of disability
                             disability throughout
                                         throughout the
                                                    the three
                                                        three phases
                                                              phases of
                                                                     of this
                                                                        this claim,
                                                                             claim, the
                                                                                    the Elimination
                                                                                        Elimination Period,
                                                                                                    Period,
the Own
the  Own Occupation
            Occupation period,
                          period, and
                                  and the
                                        the Any
                                             Any Occupation
                                                  Occupation period,  Ms. Spears
                                                              period, Ms.   Spears must   provide proof
                                                                                    must provide         of
                                                                                                  proof of
continued impairment which prevented her
continued    impairment    which   prevented    her from
                                                    from performing     her own
                                                           performing her    own Administrative
                                                                                  Administrative Support
                                                                                                   Support
occupation through
occupation    through 3/27/11,   and prevented
                        3/27/11, and   prevented her
                                                  her from
                                                      from performing    any occupation
                                                            performing any    occupation for  which she
                                                                                          for which  she is
                                                                                                         is
fitted,
fitted, from
        from 3/28/11   forward.
              3/28/11 forward.

The UTC
The UTC Group
          Group Disability
                 Disability Income
                             Income Policy    states:
                                      Policy states:
   Disability Benefit
   Disability Benefit
   When   Liberty receives
   When Liberty             Proof that
                  receives Proof   that aa Covered    Person is
                                            Covered Person   is Disabled
                                                                Disabled due
                                                                           due to  Injury or
                                                                                to Injury or Sickness
                                                                                             Sickness and
                                                                                                       and
   requires
   requires the Regular Attendance
            the Regular   Attendance of of aa Physician,
                                              Physician, Liberty
                                                          Liberty will pay the
                                                                  will pay  the Covered   Person aa
                                                                                 Covered Person
   Monthly Benefit
   Monthly  Benefit after
                     after the end of
                           the end   of the  Elimination Period,
                                        the Elimination   Period, subject
                                                                  subject to  any other
                                                                           to any  other provisions
                                                                                         provisions of
                                                                                                     of this
                                                                                                        this
   policy. The
   policy.     benefit will
           The benefit  will be
                             be paid
                                paid for
                                       for the  period of
                                           the period  of Disability
                                                          Disability if
                                                                     if the
                                                                        the Covered   Person gives
                                                                             Covered Person   gives to
                                                                                                    to
   Liberty Proof
   Liberty Proof of
                  of continued:
                      continued:
       1. Disability;
       1. Disability;
       2. Regular
       2. Regular Attendance
                   Attendance ofof aa Physician;
                                      Physician; and
                                                   and
       3. Appropriate
       3. Appropriate Available
                        Available Treatment.
                                   Treatment.

   The  Proof must
    The Proof  must be
                     be given
                        given upon   Liberty's request
                               upon Liberty's            and at
                                                request and  at the
                                                                the Covered   Person's expense.
                                                                     Covered Person's   expense. In
                                                                                                  In
   determining whether
   determining    whether the
                          the Covered   Person is
                              Covered Person     is Disabled,
                                                    Disabled, Liberty
                                                              Liberty will   not consider
                                                                        will not consider employment
                                                                                           employment
   factors including,
   factors             but not
            including, but not limited
                                limited to, interpersonal conflict
                                        to, interpersonal           in the
                                                           conflict in the workplace,
                                                                            workplace, recession,  job
                                                                                       recession, job
   obsolescence,   paycuts, job  sharing  and  loss of a professional  or  occupational  license
   obsolescence, paycuts, job sharing and loss of a professional or occupational license or      or
   certification.
   certification.

Proof is defined
Proof is defined by by the
                       the Policy   as:
                           Policy as:
   "Proof"     means the
   "Proof" means        the evidence
                            evidence in    support of
                                        in support   of aa claim
                                                           claim for
                                                                  for benefits
                                                                       benefits and
                                                                                and includes,
                                                                                     includes, but
                                                                                                but is
                                                                                                    is not
                                                                                                       not limited
                                                                                                            limited
   to,
   to, the   following:
       the following:
   1. a
   1.   a claim
          claim form
                   form completed
                         completed andand signed
                                            signed (or   otherwise formally
                                                     (or otherwise   formally submitted)
                                                                                submitted) by
                                                                                            by the
                                                                                                the Covered
                                                                                                    Covered
        Person claiming
        Person    claiming benefits;
                             benefits;
   2. an
   2.   an attending
            attending Physician's
                         Physician's statement
                                       statement completed
                                                    completed andand signed
                                                                      signed (or  otherwise formally
                                                                              (or otherwise   formally submitted)
                                                                                                         submitted)
        by  the  Covered   Person's    attending    Physician;
        by the Covered Person's attending Physician; and         and
   3. the
   3.        provision by
        the provision    by the  attending Physician
                             the attending    Physician of of standard
                                                              standard diagnosis,
                                                                         diagnosis, chart
                                                                                     chart notes,
                                                                                           notes, lab   findings,
                                                                                                   lab findings,
        test
        test results,  x-rays and/or
              results, x-rays  and/or other
                                         other forms
                                                forms of
                                                       of objective
                                                           objective medical
                                                                      medical evidence
                                                                                evidence in  support of
                                                                                          in support   of aa claim
                                                                                                             claim
        for benefits.
       for   benefits.
   Proof must
   Proof   must bebe submitted
                      submitted inin aa form
                                         form or
                                               or format
                                                   format satisfactory
                                                            satisfactory to  Liberty.
                                                                          to Liberty.

Elimination Period
Elimination   Period
At the
At the onset
        onset of
              of the
                 the LTD
                     LTD Policy’s   Elimination Period
                           Policy's Elimination Period from  9/27/08 through
                                                       from 9/27/08  through 3/27/09,
                                                                             3/27/09, Ms.
                                                                                      Ms. Spears'
                                                                                          Spears’
chief complaint
chief complaint was
                 was severe
                     severe headaches.
                            headaches. In  the months
                                        In the        from September
                                               months from  September 2008
                                                                       2008 through
                                                                            through January
                                                                                    January 2009,
                                                                                            2009,
Ms. Spears
Ms.   Spears was
               was evaluated
                     evaluated byby five
                                      five Neurologists,   two Rheumatologists,
                                            Neurologists, two                      Endocrinology,
                                                                 Rheumatologists, Endocrinology,
Gastroenterology, and
Gastroenterology,  and Cardiology.
                       Cardiology. Physical
                                    Physical examinations were normal.
                                             examinations were normal.

Ms. Spears'
Ms.  Spears’ self-reported
              self-reported symptoms
                             symptoms increased
                                         increased during  the Elimination
                                                    during the  Elimination Period.
                                                                               Period. Reported    symptoms
                                                                                        Reported symptoms
progressed from
progressed   from headaches
                     headaches with
                                 with nausea   and vomiting
                                      nausea and    vomiting toto include
                                                                   include blackouts/seizures,
                                                                              blackouts/seizures, insomnia,
                                                                                                    insomnia,
stuttering, and
stuttering, and in
                 in November     2008 included
                     November 2008     included memory
                                                 memory gaps    and stuttering.
                                                          gaps and    stuttering. By    January, Ms.
                                                                                    By January,   Ms. Spears
                                                                                                       Spears
complained of
complained    of fatigue,
                  fatigue, night  sweats, weight
                           night sweats,   weight loss/gain;
                                                  loss/gain; dry
                                                             dry eyes
                                                                  eyes andand dry
                                                                               dry mouth,    stiffness in
                                                                                     mouth, stiffness   in the
                                                                                                           the
morning,   jaw pain,
morning, jaw    pain, headache;
                       headache; eye
                                  eye pain,
                                      pain, blurred
                                            blurred double
                                                    double vision,
                                                            vision, floaters,
                                                                     floaters, flashes;  asthmatic shortness
                                                                                flashes; asthmatic   shortness


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                                                     20 of 27                                       Liberty002398
                                                                                                    Li berty002398
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of breath;
of  breath; chest
            chest tightness;
                  tightness; heartburn,
                             heartburn, abdominal
                                         abdominal pain,
                                                   pain, diarrhea,
                                                         diarrhea, nausea;   recurrent sinus
                                                                    nausea; recurrent   sinus and
                                                                                               and ear
                                                                                                    ear
infections; muscle
infections;         weakness, tingling
            muscle weakness,  tingling and
                                       and numbness; anxiety; bruising
                                           numbness; anxiety; bruising easily;
                                                                       easily; ringing
                                                                               ringing in
                                                                                       in her
                                                                                          her ears.
                                                                                              ears.

Despite the
Despite the increase
            increase in
                     in self-reported
                        self-reported symptoms,
                                       symptoms, Ms.
                                                 Ms. Spears'
                                                     Spears’ cognitive
                                                             cognitive and
                                                                       and physical
                                                                           physical exams
                                                                                    exams remained
                                                                                           remained
normal,  and  she was  able  to return  to work on a part time basis beginning on  1/8/09, remained
normal, and she was able to return to work on a part time basis beginning on 1/8/09, remained
working part
working       time through
         part time through 3/24/09.
                            3/24/09.

There are
There  are multiple  inconsistencies noted
            multiple inconsistencies        in Ms.
                                      noted in Ms. Spears'
                                                   Spears’ medical   records. There
                                                           medical records.   There are
                                                                                    are no
                                                                                        no findings  on
                                                                                           findings on
exam including
exam  including the
                 the neurological  or musculoskeletal
                      neurological or                  exams by
                                      musculoskeletal exams   by Dr.  Giannini on
                                                                 Dr. Giannini  on 3/10/09.
                                                                                  3/10/09. On
                                                                                           On 4/21/09,
                                                                                               4/21/09,
Ms. Spears
Ms. Spears reported
             reported to
                       to Dr.
                          Dr. Raxlen that she
                              Raxlen that she experiences “Horrible migraines
                                              experiences "Horrible            (no medicine
                                                                     migraines (no           worked),”
                                                                                   medicine worked),"
while on
while on 4/27/09,
           4/27/09, Dr.
                    Dr. Zagar
                         Zagar reported,
                               reported, "Headaches
                                          “Headaches are
                                                      are well
                                                          well controlled,
                                                               controlled, only
                                                                           only 2
                                                                                2 migraines
                                                                                  migraines in
                                                                                             in the
                                                                                                the last
                                                                                                    last
couple of
couple  of months.”
           months."

Since Ms.
Since  Ms. Spears'
            Spears’ self-reported
                     self-reported symptoms
                                    symptoms were
                                                were not  consistent with
                                                     not consistent  with the
                                                                          the medical
                                                                              medical evidence  and her
                                                                                       evidence and her
actual functional
actual              abilities continuously
        functional abilities  continuously throughout
                                            throughout the
                                                        the Elimination
                                                            Elimination Period,   Ms. Spears'
                                                                          Period, Ms.  Spears’ STD
                                                                                               STD and
                                                                                                    and
LTD    claims were
LTD claims     were denied.
                      denied. AsAs noted   previously, STD
                                    noted previously,  STD benefits
                                                              benefits were
                                                                       were paid   through the
                                                                              paid through  the 3/27/09
                                                                                                3/27/09
maximum     benefit date
maximum benefit     date based
                           based on
                                 on the
                                    the fiduciary’s decision, not
                                        fiduciary's decision,     based on
                                                              not based  on Liberty’s assessment of
                                                                            Liberty's assessment of Ms.
                                                                                                    Ms.
Spears’ level
Spears'        of impairment.
         level of impairment.

Own Occupation
Own     Occupation Period
                     Period
During the
During   the Own
             Own Occupation
                  Occupation period
                                  period from    3/28/09 through
                                           from 3/28/09   through 3/27/11,
                                                                   3/27/11, as
                                                                            as Drs.  Raxlen, Zagar,
                                                                               Drs. Raxlen,   Zagar, Giannini,
                                                                                                     Giannini,
and Saul
and         endorsed the
      Saul endorsed    the diagnosis
                           diagnosis of  of Lyme    disease, Ms.
                                             Lyme disease,    Ms. Spears'
                                                                   Spears’ physical
                                                                            physical examinations
                                                                                       examinations remained
                                                                                                     remained
normal.   Although fatigue
normal. Although    fatigue became
                             became aa prominently
                                          prominently reported
                                                        reported symptom,
                                                                  symptom, there
                                                                             there is
                                                                                   is no
                                                                                      no evidence  Ms. Spears
                                                                                          evidence Ms.  Spears
tried the
tried  the medications
           medications for
                         for fatigue   that Dr.
                             fatigue that     Dr. Zagar
                                                  Zagar recommended
                                                         recommended in  in October
                                                                            October 2009.
                                                                                      2009. Additionally,
                                                                                             Additionally, Ms.
                                                                                                           Ms.
Spears appeared
Spears   appeared to
                   to have
                        have little,
                              little, if  any, improvement
                                      if any,   improvement in     her sleep,
                                                               in her  sleep, despite
                                                                              despite Dr.   Shoup’s February
                                                                                        Dr. Shoup's  February
through April
through   April 2011
                2011 recommendations
                      recommendations regarding        sleep hygiene.
                                             regarding sleep  hygiene.

Ongoing inconsistencies
Ongoing                     continued, as
           inconsistencies continued,   as evidenced
                                           evidenced in     the medical
                                                        in the           records. On
                                                                medical records.    On 2/16/10,
                                                                                         2/16/10, Ms.
                                                                                                  Ms. Spears
                                                                                                       Spears
reported to
reported  to Dr.
             Dr. Raxlen  that she
                 Raxlen that  she was
                                  was able
                                       able to
                                            to travel
                                               travel to
                                                      to Louisiana  and rode
                                                          Louisiana and  rode in
                                                                              in the
                                                                                  the Mardi
                                                                                      Mardi Gras
                                                                                              Gras parade  for
                                                                                                   parade for
four hours
four hours onon 2/13/10.
                2/13/10. On
                         On 3/19/10,
                              3/19/10, one
                                       one month
                                            month later,   Ms. Spears
                                                    later, Ms.  Spears reported  to Dr.
                                                                       reported to   Dr. Zagar  that once
                                                                                          Zagar that once her
                                                                                                          her
antibiotics were
antibiotics  were stopped
                   stopped in
                           in December
                               December 2009,
                                          2009, and
                                                  and after
                                                       after 5
                                                             5 weeks
                                                               weeks of
                                                                      of feeling
                                                                         feeling "fairly
                                                                                   “fairly well,"
                                                                                           well,” she
                                                                                                  she "totally
                                                                                                      “totally
crashed.” At
crashed."  At this
               this appointment,
                    appointment, despite
                                  despite Ms.
                                          Ms. Spears’     cognitive complaints,
                                                Spears' cognitive   complaints, Dr.    Zagar documented
                                                                                 Dr. Zagar    documented no no
cognitive issues
cognitive  issues on
                   on exam.
                      exam.

On the
On   the Physical
           Physical Residual     Functional Capacity
                      Residual Functional    Capacity Questionnaire
                                                         Questionnaire andand Medical
                                                                               Medical Source     Assessment
                                                                                          Source Assessment
(Mental) forms
(Mental)           dated 6/21/10,
           forms dated    6/21/10, Dr.
                                    Dr. Zagar
                                        Zagar reported
                                                reported Ms.
                                                          Ms. Spears
                                                               Spears experiences
                                                                       experiences symptoms
                                                                                     symptoms of of neck   and
                                                                                                    neck and
shoulder pain,
shoulder    pain, migraines,
                  migraines, fatigue,
                               fatigue, joint
                                        joint pains,
                                               pains, and
                                                       and cognitive
                                                            cognitive impairment
                                                                       impairment including     trouble with
                                                                                     including trouble    with
memory,
memory, wordword finding,
                   finding, concentration,
                             concentration, although
                                             although hehe had
                                                           had never     documented abnormal
                                                                never documented       abnormal findings
                                                                                                 findings onon
exam. Similarly
exam.   Similarly onon 7/9/10,  Ms. Spears’
                        7/9/10, Ms.  Spears' description   of her
                                              description of  her symptoms
                                                                   symptoms were
                                                                               were documented
                                                                                      documented inin aa letter
                                                                                                         letter
from Dr.
from   Dr. Giannini
            Giannini and
                       and on
                            on the
                                the Physical  Residual Functional
                                    Physical Residual    Functional Capacity
                                                                      Capacity Questionnaire
                                                                                 Questionnaire and
                                                                                                and Medical
                                                                                                     Medical
Source Assessment
Source    Assessment (Mental)
                       (Mental) forms
                                  forms completed
                                         completed by by Dr.  Giannini. Dr.
                                                          Dr. Giannini.       Giannini’s 7/9/10
                                                                          Dr. Giannini's          office visit
                                                                                           7/9/10 office  visit
note  is the
note is  the only
             only of
                   of Dr.  Giannini’s office
                      Dr. Giannini's   office visit
                                              visit notes (before and
                                                    notes (before and after
                                                                        after 7/9/10)
                                                                              7/9/10) in  which Dr.
                                                                                       in which      Giannini
                                                                                                Dr. Giannini
documents on
documents    on exam,   any concern
                 exam, any   concern regarding
                                     regarding cognitive
                                                 cognitive difficulties.
                                                           difficulties.

In July 2010,
In July  2010, Ms.
               Ms. Spears
                   Spears reported
                          reported to
                                   to Dr.
                                      Dr. Raxlen   her cognitive
                                           Raxlen her             impairment "turns
                                                        cognitive impairment    “turns off
                                                                                        off and
                                                                                            and on."
                                                                                                 on.” In
                                                                                                      In
August and
August  and September  2010, Ms.
             September 2010, Ms. Spears
                                 Spears reported  to Dr.
                                         reported to  Dr. Saul
                                                          Saul she
                                                               she has
                                                                   has "brain
                                                                       “brain fog.”  On 10/19/10,
                                                                               fog." On              Ms.
                                                                                          10/19/10, Ms.
Spears reports
Spears  reports to
                to Dr.
                   Dr. Gouin
                       Gouin Young   that she
                             Young that   she had
                                               had increased
                                                    increased cognitive
                                                               cognitive clarity,
                                                                         clarity, better
                                                                                   better retention  and
                                                                                          retention and
improved speech.
improved   speech.


                                                  21 of 27
                                                  21 of 27                                     Liberty002399
                                                                                               Li berty002399
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Any  Occupation Period
Any Occupation     Period
There have
There  have been
            been measurably     fewer medical
                   measurably fewer              records submitted
                                        medical records   submitted in  support of
                                                                     in support of Ms.
                                                                                   Ms. Spears’
                                                                                         Spears' impairing
                                                                                                 impairing
conditions for
conditions     the Any
           for the  Any Occupation
                          Occupation phase,
                                        phase, beginning
                                               beginning 3/28/11.    The review
                                                           3/28/11. The   review physicians,  Drs. Cooper,
                                                                                 physicians, Drs.  Cooper,
Crossley, Kitei,
Crossley, Kitei, and
                 and Raymond,
                      Raymond, allall reported
                                      reported there
                                               there is
                                                     is insufficient
                                                        insufficient evidence
                                                                      evidence within
                                                                               within the
                                                                                       the medical
                                                                                           medical records
                                                                                                    records
to support
to support functional
           functional impairment,
                        impairment, and
                                      and therefore
                                           therefore no  restrictions for
                                                     no restrictions  for Ms.
                                                                           Ms. Spears’
                                                                               Spears' functional  activity,
                                                                                        functional activity,
including work
including work activity,
                 activity, from 3/28/11 forward.
                           from 3/28/11   forward.

Discrepancies
Discrepancies in   Ms. Spears’
               in Ms.           reported symptoms
                        Spears' reported   symptoms continue
                                                      continue to
                                                                to be
                                                                   be evident.  On 8/19/11,
                                                                       evident. On  8/19/11, Dr.  Zagar
                                                                                              Dr. Zagar
documented normal
documented           findings on
             normal findings   on the
                                   the cognitive
                                        cognitive and
                                                   and physical
                                                       physical portions
                                                                 portions of
                                                                          of his
                                                                             his exam;  on 9/7/11,
                                                                                 exam; on   9/7/11, Ms.
                                                                                                    Ms.
Spears reported
Spears reported toto Dr.
                     Dr. Saul
                          Saul that
                               that her
                                     her cognition
                                          cognition was
                                                     was worse;
                                                          worse; Dr.
                                                                  Dr. Beahring   documented aa normal
                                                                       Beahring documented       normal
neurologic  and cognitive
neurologic and             exam on
                 cognitive exam  on 9/23/11.
                                      9/23/11. In
                                                In November   2011 Ms.
                                                   November 2011     Ms. Spears
                                                                         Spears reported
                                                                                 reported to
                                                                                          to Dr.
                                                                                             Dr. Gouin
                                                                                                  Gouin
Young’s office
Young's  office she
                she would
                    would be
                           be traveling
                              traveling for  three weeks.
                                         for three weeks.

In March through
In March   through August
                    August 2012,
                           2012, Dr.   Raxlen reported
                                   Dr. Raxlen  reported improvement
                                                          improvement in  in Ms.
                                                                             Ms. Spears'
                                                                                  Spears’ cognition
                                                                                          cognition and
                                                                                                     and
speech, and
speech, and as
             as of
                of November
                   November 2012,
                              2012, Ms.
                                     Ms. Spears
                                          Spears reported
                                                  reported being
                                                             being active
                                                                     active with
                                                                            with church  groups, having
                                                                                 church groups,  having
improved sleep,
improved  sleep, and
                 and engaging
                     engaging in
                              in regular
                                 regular exercise (elliptical, Pilates,
                                         exercise (elliptical, Pilates, yoga),
                                                                        yoga), and
                                                                               and walking
                                                                                   walking her
                                                                                           her dogs.
                                                                                               dogs.

In June 2013,
In June  2013, Ms.
                 Ms. Spears
                     Spears had
                             had the
                                 the thyroidectomy
                                     thyroidectomy with
                                                     with no
                                                          no postoperative    complications. Ms.
                                                              postoperative complications.      Ms. Spears
                                                                                                     Spears
reported traveling
reported  traveling to
                    to Florida
                       Florida in
                               in 2013.
                                  2013. She
                                         She continued  to have
                                              continued to  have the
                                                                  the capacity   to travel
                                                                       capacity to   travel to
                                                                                            to her
                                                                                               her medical
                                                                                                   medical
appointments in
appointments    in New   York City.
                   New York    City. In  June 2014,
                                      In June  2014, Ms.
                                                      Ms. Spears
                                                           Spears reported    to Dr.
                                                                    reported to   Dr. Saul
                                                                                        Saul that
                                                                                              that she
                                                                                                   she had
                                                                                                       had
increased energy
increased          and was
           energy and  was looking
                            looking for work. Ms.
                                    for work.  Ms. Spears
                                                   Spears returned
                                                           returned to
                                                                     to work
                                                                        work full
                                                                              full time
                                                                                   time in  August 2014.
                                                                                         in August  2014.

Based  on the
Based on  the claim   and medical
              claim and            documentation on
                           medical documentation    on file,
                                                        file, not only does
                                                              not only  does the
                                                                             the medical
                                                                                  medical evidence
                                                                                            evidence fail
                                                                                                      fail to
                                                                                                           to
support impairment
support  impairment precluding     Ms. Spears
                        precluding Ms.            from performing
                                         Spears from     performing herher own
                                                                            own Administrative
                                                                                   Administrative Support
                                                                                                    Support
occupation, and
occupation,  and then
                  then any
                         any occupation,
                              occupation, the
                                            the documentation
                                                documentation on  on file
                                                                      file fails
                                                                           fails to
                                                                                  to support
                                                                                      support Ms.
                                                                                                Ms. Spears'
                                                                                                    Spears’
symptoms were
symptoms   were of
                 of aa frequency,
                       frequency, severity,
                                  severity, and
                                             and duration,
                                                 duration, to
                                                            to have
                                                               have precluded
                                                                    precluded herher ability
                                                                                     ability to
                                                                                             to perform   her
                                                                                                perform her
occupation throughout
occupation  throughout thethe 9/27/08
                              9/27/08 through
                                       through 3/27/09
                                                 3/27/09 Elimination
                                                           Elimination Period,     throughout the
                                                                         Period, throughout     the 3/28/09
                                                                                                    3/28/09
through 3/27/11
through  3/27/11 Own
                  Own Occupation
                          Occupation Period,   and at
                                     Period, and    at the
                                                       the 3/28/11
                                                             3/28/11 beginning
                                                                     beginning of of the
                                                                                      the Any
                                                                                           Any Occupation
                                                                                                 Occupation
period, and
period, and forward.
            forward.

Additional   Remand Analysis
Additional Remand       Analysis
Of note,
Of        there have
    note, there have been
                      been references
                             references to
                                         to Ms.
                                            Ms. Spears’
                                                 Spears' mental    health and
                                                          mental health    and recommendations
                                                                                recommendations forfor mental
                                                                                                       mental
health treatment
health  treatment throughout
                   throughout thethe claim
                                      claim file,  however, there
                                             file, however,    there are
                                                                     are no
                                                                          no mental    health evaluations
                                                                               mental health  evaluations or
                                                                                                           or
treatment records
treatment  records on
                    on file.
                        file. Dr.  Silvers questioned
                              Dr. Silvers               the role
                                           questioned the    role of
                                                                  of stress
                                                                     stress in   Ms. Spears’
                                                                             in Ms.          symptoms. Ms.
                                                                                     Spears' symptoms.   Ms.
Spears’ mother
Spears'          reported her
         mother reported    her concern
                                 concern regarding
                                          regarding Ms.
                                                      Ms. Spears'
                                                           Spears’ mental    health. Dr.
                                                                    mental health.   Dr. Donaldson
                                                                                          Donaldson reported
                                                                                                     reported
Ms. Spears’
Ms.           appeared depressed.
     Spears' appeared    depressed. Dr.
                                      Dr. Kage    prescribed Zoloft.
                                           Kage prescribed     Zoloft. On
                                                                       On forms,
                                                                            forms, Dr.
                                                                                    Dr. Zagar  indicated Ms.
                                                                                         Zagar indicated Ms.
Spears has
Spears   has anxiety
             anxiety affecting
                       affecting her
                                  her physical
                                       physical condition,
                                                  condition, and
                                                              and Dr.   Giannini reported
                                                                    Dr. Giannini    reported depression
                                                                                             depression was
                                                                                                         was
affecting Ms.
affecting  Ms. Spears'
                Spears’ physical    condition. Dr.
                         physical condition.         Zagar and
                                                Dr. Zagar   and Rissenberg     recommended psychotherapy.
                                                                 Rissenberg recommended       psychotherapy.
Dr. Saul's
Dr.  Saul’s office
             office also
                     also questioned
                            questioned the
                                         the role
                                             role ofof mental    health in
                                                       mental health     in Ms.
                                                                             Ms. Spears'
                                                                                   Spears’ multiple
                                                                                            multiple somatic
                                                                                                      somatic
complaints.
complaints.

As noted
As        previously, Dr.
    noted previously,  Dr. Kage    had succinctly
                            Kage had    succinctly explained
                                                   explained Ms.
                                                             Ms. Spears
                                                                  Spears medical
                                                                          medical work-up
                                                                                   work-up was
                                                                                            was set
                                                                                                  set in
                                                                                                      in
motion  by her
motion by  her complaints
               complaints ofof increased, severe headaches;
                               increased, severe headaches; "Pronounced
                                                            “Pronounced migraine   headaches triggered
                                                                          migraine headaches  triggered
an extensive
an extensive work-up
              work-up which
                       which showed
                                showed possible
                                        possible astrocytoma,
                                                 astrocytoma, possible
                                                              possible tick-borne
                                                                       tick-borne disease, and perhaps
                                                                                  disease, and  perhaps
rheumatic autoimmune
rheumatic   autoimmune disease."
                           disease.” Ms.
                                      Ms. Spears     pursued multiple
                                            Spears pursued             opinions and
                                                             multiple opinions    and treatment
                                                                                       treatment from
                                                                                                   from
numerous  specialists for
numerous specialists      these possible
                      for these  possible conditions.
                                          conditions.



                                                  22 of 27
                                                  22 of 27                                   Liberty002400
                                                                                             Li berty002400
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There was
There   was no    brain tumor
              no brain   tumor although
                                 although careful
                                             careful surveillance
                                                      surveillance was
                                                                     was required
                                                                          required to  to establish  that fact.
                                                                                          establish that        The
                                                                                                          fact. The
rheumatology work-up
rheumatology     work-up indicated
                             indicated no    rheumatic autoimmune
                                        no rheumatic      autoimmune disease.
                                                                         disease. The
                                                                                    The presence
                                                                                           presence ofof tick-borne
                                                                                                         tick-borne
disease has
disease  has been
              been disputed,
                     disputed, although
                                although Ms.
                                           Ms. Spears
                                                 Spears was
                                                         was extensively
                                                              extensively treated
                                                                            treated for
                                                                                      for that
                                                                                          that condition.
                                                                                               condition. Whether
                                                                                                           Whether
or not
or not aa specific
          specific medical    condition or
                    medical condition     or diagnosis
                                              diagnosis existed
                                                         existed does
                                                                  does not
                                                                       not determine      whether Ms.
                                                                            determine whether      Ms. Spears
                                                                                                        Spears met
                                                                                                                met
the Policy’s   definition  of disability; it is Ms. Spears’   functional  capacity   that  determines  whether
the Policy's definition of disability; it is Ms. Spears' functional capacity that determines whether she        she
had the
had  the ability
          ability to
                  to perform
                      perform her
                                her own
                                    own occupation
                                          occupation through
                                                        through 3/27/11,
                                                                 3/27/11, and
                                                                            and any
                                                                                 any occupation
                                                                                        occupation thereafter.
                                                                                                    thereafter. Ms.
                                                                                                                Ms.
Spears’ self-reported
Spears'   self-reported symptoms
                          symptoms were
                                      were not    consistent with
                                              not consistent   with the
                                                                    the overwhelmingly
                                                                         overwhelmingly normalnormal medical    and
                                                                                                       medical and
cognitive exams,
cognitive  exams, and
                    and did
                         did not  coincide with
                              not coincide   with her  actual functional
                                                   her actual              abilities.
                                                               functional abilities.

This remand
This  remand review
                review has
                        has taken
                              taken into
                                    into consideration
                                           consideration thethe opinions
                                                                opinions andand assessments
                                                                                  assessments of of all
                                                                                                    all Ms.
                                                                                                         Ms. Spears'
                                                                                                              Spears’
treating physicians.
treating               Ms. Spears'
         physicians. Ms.     Spears’ attending
                                      attending physicians
                                                  physicians have
                                                                have had
                                                                       had the
                                                                            the opportunity
                                                                                 opportunity to to directly
                                                                                                   directly observe,
                                                                                                             observe,
listen to,
listen to, and
            and examine    Ms. Spears.
                 examine Ms.     Spears. The
                                          The documentation
                                               documentation of    of each   attending physician
                                                                       each attending    physician hashas been
                                                                                                          been fully
                                                                                                                 fully
considered; Ms.
considered;    Ms. Spears'
                    Spears’ reported     symptoms and
                              reported symptoms       and functional
                                                            functional activity,
                                                                         activity, asas well
                                                                                         well as
                                                                                               as each   physician’s
                                                                                                   each physician's
reported objective
reported   objective physical
                      physical exam
                                 exam findings,     imaging and
                                        findings, imaging      and laboratory      test results,
                                                                     laboratory test    results, and
                                                                                                  and their
                                                                                                       their medical
                                                                                                             medical
expertise. Alternatively,
expertise.   Alternatively, the
                             the expert
                                  expert reviewing
                                          reviewing physicians
                                                       physicians whowho have
                                                                           have examined
                                                                                   examined thethe medical
                                                                                                    medical records
                                                                                                              records
over the
over  the course
           course of
                   of Ms.
                      Ms. Spears'
                          Spears’ claim,
                                    claim, have
                                            have their
                                                  their specialized
                                                         specialized medical      expertise, and
                                                                        medical expertise,    and aa comprehensive
                                                                                                     comprehensive
perspective based
perspective   based on
                     on all
                        all the
                            the medical    information from
                                 medical information             the numerous
                                                          from the                physicians who
                                                                      numerous physicians      who have
                                                                                                     have evaluated
                                                                                                           evaluated
Ms. Spears.
Ms.  Spears. These
              These peer
                      peer review
                           review physicians
                                    physicians have
                                                have had
                                                       had the
                                                             the opportunity
                                                                  opportunity toto review,   compare and
                                                                                    review, compare     and contrast
                                                                                                             contrast
all medical
all medical evaluator’s
              evaluator's findings,   as well
                           findings, as   well as
                                               as the
                                                   the frequency,
                                                       frequency, duration,
                                                                      duration, consistency
                                                                                 consistency andand severity
                                                                                                     severity of
                                                                                                               of Ms.
                                                                                                                  Ms.
Spears’ self-reported
Spears'  self-reported symptoms.
                        symptoms.

The review
The   review physicians    are all
               physicians are  all board
                                   board certified
                                          certified in
                                                    in their
                                                       their specialties
                                                              specialties and
                                                                          and are
                                                                               are qualified
                                                                                     qualified to
                                                                                               to review
                                                                                                  review and
                                                                                                          and
interpret medical
interpret  medical records
                     records and
                             and opine
                                  opine on
                                        on medical   functionality. Additionally,
                                             medical functionality.   Additionally, Drs.   Taiwo, Silverman,
                                                                                      Drs. Taiwo,  Silverman,
Crossley, and
Crossley,    and Raymond
                    Raymond are are certified
                                     certified Medical
                                                 Medical Examiners.
                                                            Examiners. AllAll the
                                                                                the attending
                                                                                       attending physicians'
                                                                                                  physicians’
documentation and
documentation     and opinions
                       opinions have
                                have been
                                      been fully  considered. The
                                            fully considered.   The reviewing
                                                                     reviewing physicians'
                                                                                 physicians’ conclusions
                                                                                              conclusions are
                                                                                                           are
based on
based   on the
           the totality
               totality of
                        of medical documentation on
                           medical documentation    on file, including consistencies
                                                       file, including                  and inconsistencies
                                                                        consistencies and   inconsistencies in
                                                                                                            in
Ms. Spears'
Ms.  Spears’ self-reported
               self-reported symptoms
                             symptoms andand functional
                                              functional activity,
                                                          activity, as
                                                                    as well
                                                                       well as
                                                                            as all
                                                                                all the
                                                                                    the documented
                                                                                         documented medical
                                                                                                      medical
data.
data.

The UTC
The UTC Group
          Group Disability
                  Disability Income
                             Income Policy     states:
                                       Policy states:
   Discontinuation of
   Discontinuation    of the
                         the Long
                             Long Term      Disability Benefit
                                     Term Disability      Benefit
   The  Monthly Benefit
   The Monthly    Benefit will
                           will cease  on the
                                cease on   the earliest   of:
                                                earliest of:
       1. the
      1.       date the
           the date the Covered    Person fails
                         Covered Person      fails to provide Proof
                                                   to provide    Proof ofof continued
                                                                             continued Disability
                                                                                        Disability or
                                                                                                    or Partial
                                                                                                       Partial
           Disability and
          Disability   and Regular
                            Regular Attendance
                                      Attendance of of aa Physician;
                                                           Physician;
       2. the
       2.      date the
           the date the Covered    Person fails
                         Covered Person      fails to cooperate in
                                                   to cooperate     in the   administration of
                                                                        the administration   of the  claim. Such
                                                                                                the claim.  Such
           cooperation includes,
           cooperation   includes, but
                                    but is
                                         is not
                                            not limited
                                                 limited to,   providing any
                                                           to, providing    any information
                                                                                 information or
                                                                                              or documents
                                                                                                  documents
           needed to
           needed      determine whether
                   to determine               benefits are
                                   whether benefits     are payable
                                                             payable or or the  actual benefit
                                                                            the actual benefit amount
                                                                                                amount due.
                                                                                                         due.
       3. the
      3.       date the
           the date the Covered    Person refuses
                         Covered Person      refuses to   be examined
                                                      to be    examined or or evaluated
                                                                               evaluated at
                                                                                          at reasonable
                                                                                             reasonable
           intervals;
           intervals;
       4.
       4. the  date the
           the date the Covered    Person refuses
                         Covered Person      refuses to
                                                      to receive    Appropriate Available
                                                          receive Appropriate       Available Treatment;
                                                                                               Treatment;
       5. the
      5.       date the
           the date the Covered    Person refuses
                         Covered Person      refuses aa job
                                                         job with    the Sponsor
                                                               with the   Sponsor where    workplace
                                                                                    where workplace
           modifications or
           modifications   or accommodations
                              accommodations were          made to
                                                   were made          allow the
                                                                  to allow    the Covered  Person to
                                                                                  Covered Person       perform
                                                                                                    to perform
           the Material and
           the Material   and Substantial
                               Substantial Duties
                                             Duties ofof the   job;
                                                          the job;
       6.
       6. the  date the
           the date the Covered    Person is
                         Covered Person         able to
                                             is able      work in
                                                      to work    in his
                                                                    his Own
                                                                          Own Occupation
                                                                                Occupation onon aa part-time
                                                                                                   part-time
           basis, but
           basis, but chooses
                       chooses not
                                 not to;
                                     to;
       7.  the date
       Z the   date the
                     the Covered    Person's current
                         Covered Person's      current Partial
                                                          Partial Disability
                                                                    Disability earnings    exceed 80.00%
                                                                                 earnings exceed    80.00% ofof
           his Basic
           his Basic Monthly
                      Monthly Earnings;
                                  Earnings;
           Because the
          Because    the Covered    Person's current
                          Covered Person's      current earnings
                                                           earnings maymay fluctuate,
                                                                             fluctuate, Liberty
                                                                                        Liberty will  average
                                                                                                 will average


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                                                                                                     Liberty002401
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            earnings over
            earnings   over three
                            three consecutive
                                  consecutive months
                                              months rather
                                                      rather than
                                                             than immediately  terminating his
                                                                  immediately terminating  his
            benefit once
            benefit once 80.00%
                          80.00% ofof Basic
                                      Basic Monthly
                                            Monthly Earnings
                                                     Earnings has
                                                               has been
                                                                   been exceeded.
                                                                        exceeded.
        8. the
        8.      date the
            the date  the Covered  Person is
                          Covered Person  is no
                                             no longer
                                                longer Disabled
                                                       Disabled according
                                                                according to
                                                                          to this policy;
                                                                             this policy;
        9. the
        9.  the end  of the
                end of      Maximum Benefit
                        the Maximum   Benefit Period;
                                              Period; or
                                                      or
        10. the
        10.     date the
            the date  the Covered  Person dies.
                          Covered Person  dies.

According to
According    to the
                the earnings
                    earnings records
                              records submitted
                                       submitted by
                                                 by Attorney
                                                     Attorney Zimberlin,
                                                              Zimberlin, Ms.
                                                                          Ms. Spears
                                                                               Spears returned
                                                                                      returned to
                                                                                                to work,
                                                                                                   work,
full time,
full time, in August 2014.
           in August   2014. At
                              At Kforce,
                                 Kforce, Ms.
                                         Ms. Spears'
                                              Spears’ averaged
                                                      averaged earnings  of approximately
                                                                earnings of approximately $2749.00
                                                                                           $2749.00 per
                                                                                                      per
month.  In March
month. In   March 2015,
                    2015, Ms.
                          Ms. Spears
                               Spears combined
                                       combined monthly   earnings from
                                                 monthly earnings  from Kforce   and WinterWyman
                                                                         Kforce and  WinterWyman was was
$1119.00. In
$1119.00.      April 2015
            In April  2015 Ms.
                            Ms. Spears
                                  Spears earned
                                         earned $4658.00,
                                                $4658.00, and
                                                           and in
                                                               in May
                                                                   May 2015
                                                                        2015 she
                                                                              she earned
                                                                                  earned $5151.00
                                                                                         $5151.00 with
                                                                                                     with
WinterWyman. Ms.
WinterWyman.      Ms. Spears'
                       Spears’ average
                                average monthly
                                        monthly earnings  over the
                                                 earnings over the three
                                                                   three months  March, April,
                                                                         months March,   April, and
                                                                                                and May
                                                                                                     May
2015, was
2015,  was $3642.00,
            $3642.00, greater
                        greater than
                                than 80%  of Ms.
                                     80% of  Ms. Spears'
                                                 Spears’ $4422.00
                                                         $4422.00 Basic   Monthly Earnings
                                                                    Basic Monthly  Earnings prior
                                                                                            prior to
                                                                                                   to her
                                                                                                      her
absence from
absence         work in
         from work    in September   2008.
                         September 2008.

The Policy
The        states:
    Policy states:
   "Basic  Monthly Earnings"
    "Basic Monthly    Earnings" means
                                  means the
                                        the Covered  Employee's monthly
                                            Covered Employee's    monthly rate  of earnings
                                                                           rate of           from the
                                                                                   earnings from   the
   Sponsor in
   Sponsor     effect for
            in effect for the
                          the calendar
                              calendar year
                                       year immediately
                                            immediately prior
                                                         prior to the date
                                                               to the date Disability
                                                                            Disability or
                                                                                       or Partial
                                                                                           Partial
   Disability begins.
   Disability begins. However,
                       However, such
                                 such earnings will not
                                      earnings will not include
                                                        include bonuses,
                                                                bonuses, commissions,     overtime pay
                                                                          commissions, overtime     pay
   and extra
   and  extra compensation.
              compensation.

Although Ms.
Although  Ms. Spears'
              Spears’ earnings'
                      earnings’ did
                                 did not exceed 80%
                                     not exceed  80% of
                                                      of her
                                                         her Basic Monthly Earnings
                                                             Basic Monthly Earnings until
                                                                                    until the
                                                                                          the Spring
                                                                                              Spring
of 2015,
of 2015, Ms.
         Ms. Spears
             Spears did
                    did return to work
                        return to work full  time in
                                        full time in August
                                                     August 2014.
                                                            2014.

Attorney Zimberlin's
Attorney  Zimberlin’s 12/7/15   letter states,
                        12/7/15 letter states, "Please
                                               “Please be
                                                        be advised
                                                            advised that
                                                                    that Ms.
                                                                         Ms. Spears   is no
                                                                              Spears is  no longer  working.
                                                                                            longer working.
She last
She  last worked
          worked inin August
                      August 2015.
                              2015. She
                                     She isis seeking
                                              seeking additional
                                                       additional medical   treatment… Based
                                                                   medical treatment...   Based onon Spears'
                                                                                                     Spears’
recent decline
recent  decline in  health, Liberty
                 in health,          should not
                            Liberty should    not limit  its consideration
                                                  limit its  consideration of
                                                                            of this
                                                                               this claim
                                                                                     claim to
                                                                                            to aa seven
                                                                                                  seven year
                                                                                                        year
period.” However,
period."  However, it it is
                         is noted that the
                            noted that  the WinterWyman
                                              WinterWyman Job  Job Order
                                                                    Order on
                                                                           on file,
                                                                               file, indicates   Ms. Spears'
                                                                                     indicates Ms.   Spears’
position was
position  was aa four
                 four month
                      month period  only, beginning
                             period only,  beginning 3/18/15.
                                                      3/18/15.

Additionally, Dr.
Additionally,      He’s 11/17/14
               Dr. He's             office note
                         11/17/14 office         reports Ms.
                                           note reports  Ms. Spears    had no
                                                              Spears had    no complaints   in the
                                                                                complaints in  the reviews
                                                                                                    reviews of
                                                                                                             of
systems, and
systems,   and the
               the physical   exam was
                   physical exam     was within
                                          within normal    limits. Dr.
                                                   normal limits.          Albritton’s 12/17/15
                                                                     Dr. Albritton's               office note
                                                                                        12/17/15 office    note
indicates Ms.
indicates  Ms. Spears   reported extensive
                Spears reported    extensive complaints
                                               complaints and
                                                           and symptoms,
                                                                 symptoms, although
                                                                               although again,
                                                                                         again, the
                                                                                                 the physical
                                                                                                      physical
exam was
exam  was reported
            reported to
                     to be
                         be within
                             within normal
                                    normal limits.    Furthermore, at
                                             limits. Furthermore,     at the
                                                                         the March
                                                                              March 2016
                                                                                      2016 IME,    Ms. Spears
                                                                                            IME, Ms.    Spears
reported to
reported  to Dr.
             Dr. Courtney
                 Courtney that
                            that she
                                 she no
                                     no longer   had symptoms
                                         longer had   symptoms from
                                                                  from her
                                                                         her previous
                                                                              previous tick-borne
                                                                                       tick-borne infections,
                                                                                                    infections,
and Dr.
and Dr. Courtney
        Courtney reported    Ms. Spears
                   reported Ms.           currently has
                                  Spears currently  has no  restrictions or
                                                         no restrictions  or limitations
                                                                             limitations for work activities.
                                                                                         for work   activities.

The UTC
The  UTC Group      Disability Income
          Group Disability     Income Policy  further states:
                                       Policy further states:
   "Active   Employment" means
    "Active Employment"        means the  Employee must
                                     the Employee    must be
                                                           be actively
                                                              actively at
                                                                       at work
                                                                          work for
                                                                               for the
                                                                                    the Sponsor:
                                                                                        Sponsor:
   1. on
   1.  on aa full-time
              full-time basis
                         basis and
                               and paid
                                   paid regular   earnings;
                                         regular earnings;
   2. for
   2.  for at
            at least   the minimum
                least the  minimum number
                                     number of of hours
                                                  hours shown
                                                         shown inin the Schedule of
                                                                    the Schedule   of Benefits;
                                                                                      Benefits; and
                                                                                                and either
                                                                                                    either
       perform such
       perform     such work:
                         work:
       a. at
       a. at the   Sponsor's usual
              the Sponsor's         place of
                              usual place  of business;
                                              business; or
                                                        or
       b. at
       b. at aa location
                 location authorized
                           authorized by
                                      by the  Sponsor.
                                          the Sponsor.

   An Employee
   An Employee will    be considered
                 will be  considered actively
                                      actively atat work
                                                    work if  he was
                                                          if he  was actually
                                                                      actually at
                                                                               at work
                                                                                  work on
                                                                                       on the
                                                                                          the day
                                                                                              day
   immediately preceding:
   immediately preceding:
   1. a
   1. a weekend
        weekend (except  where one
                 (except where  one or
                                    or both
                                       both ofof these days are
                                                 these days are scheduled
                                                                scheduled work
                                                                          work days);
                                                                                days);
   2. holidays
   2. holidays (except
               (except when
                        when the holiday is
                             the holiday is aa scheduled
                                               scheduled work
                                                          work day);
                                                                day);


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                                                                                               Li berty002402
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   3. paid
   3. paid vacations;
           vacations;
   4. any non-scheduled
   4. any non-scheduled work    day;
                          work day;
   5. an
   5. an excused
         excused leave   of absence
                  leave of  absence (except  medical leave
                                     (except medical       for the
                                                     leave for the Covered  Person's own
                                                                   Covered Person's  own disabling
                                                                                          disabling
      condition and
      condition and lay-off);
                     lay-off); and
                               and
   6. an emergency
   6. an emergency leave    of absence
                      leave of absence (except  emergency medical
                                        (except emergency  medical leave  for the
                                                                    leave for the Covered  Person's
                                                                                  Covered Person's
      own disabling
      own  disabling condition).
                     condition).

The Policy
The         also indicates:
     Policy also indicates:
   "Employee"     means aa person
    "Employee" means        person in  Active Employment
                                    in Active Employment withwith the Sponsor.
                                                                  the Sponsor.
   "Sponsor"     means the
    "Sponsor" means         entity to
                        the entity    whom this
                                   to whom        policy is
                                             this policy is issued.”
                                                            issued."

Based on this
Based on  this Active
                 Active Employment
                          Employment provision,     Ms. Spears
                                         provision, Ms.    Spears would
                                                                    would not   have been
                                                                            not have   been in
                                                                                             in Active
                                                                                                 Active
Employment since
Employment  since her
                   her termination
                       termination from
                                    from UTC,
                                          UTC, and
                                                and thus
                                                    thus not  eligible for
                                                          not eligible for LTD
                                                                           LTD benefits
                                                                                benefits under
                                                                                         under the
                                                                                               the UTC
                                                                                                   UTC
Group Disability
Group Disability Income
                 Income Policy,
                          Policy, for any new
                                  for any      period of
                                          new period  of disability.
                                                         disability.

Ms. Spears
Ms. Spears is  also not
            is also not eligible
                        eligible for
                                 for LTD
                                     LTD benefits  under the
                                          benefits under the Successive
                                                             Successive Periods  of Disability
                                                                         Periods of Disability policy
                                                                                               policy
provision. That
provision. That provision
                 provision states:
                           states:
   Successive Periods
   Successive   Periods of
                         of Disability
                            Disability
   With
    With respect
          respect to
                   to this policy, "Successive
                      this policy,               Periods of
                                     "Successive Periods  of Disability"
                                                              Disability" means
                                                                          means aa Disability
                                                                                    Disability which
                                                                                                which is
                                                                                                      is
   related  or due
   related or   due to
                     to the  same cause(s)
                        the same    cause(s) as
                                             as aa prior
                                                   prior Disability
                                                          Disability for
                                                                     for which
                                                                         which aa Monthly
                                                                                  Monthly Benefit
                                                                                             Benefit was
                                                                                                     was
   payable.
   payable.

   A Successive
   A  Successive Period
                  Period ofof Disability
                              Disability will
                                          will be
                                                be treated  as part
                                                   treated as   part of
                                                                     of the  prior Disability
                                                                         the prior   Disability if, after
                                                                                                if, after
   receiving Disability benefits
   receiving Disability  benefits under
                                  under this policy, aa Covered
                                        this policy,             Person:
                                                        Covered Person:
   1. returns
   1.  returns to his Own
               to his  Own Occupation
                            Occupation onon an
                                             an Active
                                                Active Employment
                                                        Employment basis
                                                                     basis for
                                                                           for less
                                                                               less than six continuous
                                                                                    than six  continuous
       months; and
       months;  and
   2. performs
   2.  performs all
                 all the Material and
                     the Material  and Substantial
                                       Substantial Duties
                                                     Duties of
                                                            of his
                                                               his Own
                                                                   Own Occupation.
                                                                        Occupation.

    To qualify for
    To qualify for a
                   a Successive
                     Successive Periods
                                Periods of
                                        of Disability
                                            Disability benefit,
                                                       benefit, the
                                                                the Covered Person must
                                                                    Covered Person must experience
                                                                                        experience
    more than
    more than aa 20%
                 20% loss
                      loss of
                           of Basic
                              Basic Monthly
                                    Monthly Earnings.
                                            Earnings.

   Benefit payments
   Benefit payments will be subject
                    will be subject to
                                    to the
                                       the terms of this
                                           terms of      policy for
                                                    this policy for the
                                                                    the prior
                                                                        prior Disability.
                                                                              Disability.

   If aa Covered
   If              Person returns
         Covered Person    returns to  his Own
                                   to his  Own Occupation   on an
                                                Occupation on   an Active
                                                                    Active Employment
                                                                            Employment basis
                                                                                          basis for
                                                                                                for six
                                                                                                     six
   continuous months
   continuous   months or
                        or more,
                           more, the  Successive Period
                                 the Successive  Period of
                                                        of Disability
                                                           Disability will
                                                                      will be
                                                                           be treated as aa new
                                                                              treated as    new period
                                                                                                 period
   of Disability.
   of  Disability. The
                   The Covered  Person must
                       Covered Person   must complete  another Elimination
                                             complete another  Elimination Period.
                                                                            Period.

   If aa Covered
   If            Person becomes
         Covered Person  becomes eligible
                                  eligible for
                                           for coverage
                                               coverage under  any other
                                                         under any  other group
                                                                          group long  term disability
                                                                                 long term  disability
   coverage, this
   coverage,  this Successive
                   Successive Period
                              Period of
                                      of Disability
                                          Disability provision
                                                     provision will cease to
                                                               will cease     apply to
                                                                           to apply to that
                                                                                        that Covered
                                                                                             Covered
   Person.
   Person.

In our review
In our          of Haley
        review of  Haley Spears'
                           Spears’ claim,
                                    claim, Liberty
                                            Liberty did fully consider
                                                    did fully  consider the
                                                                        the ruling
                                                                             ruling by
                                                                                    by the
                                                                                        the Social
                                                                                             Social Security
                                                                                                    Security
Administration (SSA)
Administration   (SSA) toto approve
                            approve Social
                                       Social Security
                                              Security Disability
                                                        Disability Income    (SSDI) benefits.
                                                                   Income (SSDI)      benefits. Ms.
                                                                                                Ms. Spears'
                                                                                                     Spears’
SSDI benefits
SSDI   benefits were
                were approved
                      approved atat the
                                    the Administrative
                                         Administrative Law   Judge level
                                                         Law Judge   level on
                                                                           on 2/25/11.
                                                                               2/25/11. It  should be
                                                                                         It should  be noted
                                                                                                       noted
that while
that  while we
             we fully
                 fully considered
                       considered thethe SSA's
                                          SSA’s ruling,
                                                 ruling, the
                                                         the decision
                                                              decision by
                                                                        by the
                                                                            the SSA    does not
                                                                                 SSA does         determine
                                                                                              not determine
entitlement to
entitlement  to benefits
                benefits under
                         under the
                                the terms
                                     terms and
                                           and conditions   of the
                                                conditions of  the UTC
                                                                   UTC Group
                                                                         Group Disability
                                                                                 Disability Income
                                                                                             Income Policy.
                                                                                                      Policy.
The Administrative
The   Administrative Law     Judge’s Decision
                       Law Judge's               reports Ms.
                                       Decision reports   Ms. Spears'
                                                                Spears’ self-reported
                                                                        self-reported symptoms
                                                                                        symptoms and and the
                                                                                                          the
intensity and
intensity  and persistence   of her
                persistence of   her symptoms,
                                       symptoms, were
                                                   were considered
                                                          considered at
                                                                      at "face
                                                                          “face value."
                                                                                  value.” Additionally
                                                                                           Additionally the
                                                                                                          the


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                                                  25 of 27                                   Liberty002403
                                                                                             Li berty002403
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opinions of
opinions of Dr.
            Dr. Raxlen, Zagar, and
                Raxlen, Zagar, and Giannini
                                     Giannini were
                                              were afforded
                                                   afforded significant
                                                            significant weight
                                                                        weight compared
                                                                               compared to
                                                                                        to other
                                                                                           other
examining physicians,
examining physicians, and/or
                      and/or medical review physicians.
                             medical review physicians.

Prior  to the
Prior to   the 2/25/11
                2/25/11 SSA
                          SSA Decision,    Liberty obtained
                               Decision, Liberty   obtained the
                                                              the medical
                                                                  medical reviews    of Dr.
                                                                            reviews of  Dr. Potts,  Neurology;
                                                                                             Potts, Neurology;
Dr.  Taiwo,    Internal  Medicine   and   Occupational    Medicine;  Dr.  Silverman,  Infectious
Dr. Taiwo, Internal Medicine and Occupational Medicine; Dr. Silverman, Infectious Disease; Dr.    Disease;  Dr.
Brusch,   Infectious Disease.
Brusch, Infectious     Disease. Since
                                 Since the
                                       the 2/25/11
                                            2/25/11 SSA
                                                     SSA Decision,
                                                           Decision, Liberty  has obtained
                                                                      Liberty has  obtained updated
                                                                                             updated treatment
                                                                                                      treatment
records, and
records,    and hashas considered
                         considered the
                                      the medical      reviews by
                                            medical reviews      by Dr.    Cooper, Internal
                                                                      Dr. Cooper,               Medicine and
                                                                                     Internal Medicine      and
Endocrinology; Dr.
Endocrinology;        Dr. Crossley
                            Crossley Infectious
                                        Infectious Disease;
                                                      Disease; Dr.
                                                                 Dr. Kitei,
                                                                        Kitei, Neurology;
                                                                                Neurology; Dr. Dr. Raymond,
                                                                                                     Raymond,
Neuropsychology;
Neuropsychology; IME   IME performed
                            performed by by Dr.
                                            Dr. Courtney,
                                                Courtney, PM&R;      that were
                                                            PM&R; that     were not
                                                                                not considered  by the
                                                                                    considered by   the SSA
                                                                                                         SSA in
                                                                                                             in
its determination
its determination process.     Dr. Potts
                      process. Dr.        reported it
                                   Potts reported     was reasonable
                                                   it was  reasonable for   Ms. Spears
                                                                       for Ms.          to remain
                                                                                Spears to  remain out
                                                                                                   out of
                                                                                                        of work
                                                                                                           work
while medications
while   medications werewere being
                              being regulated
                                     regulated for    her headaches;
                                                 for her   headaches; through
                                                                        through 1/8/09.   All other
                                                                                 1/8/09. All  other reviewing
                                                                                                     reviewing
physicians reported
physicians    reported the
                         the medical   evidence was
                             medical evidence     was insufficient
                                                        insufficient to
                                                                     to support
                                                                         support impairment
                                                                                  impairment precluding
                                                                                               precluding Ms.
                                                                                                            Ms.
Spears from
Spears          full time
         from full   time work.
                           work.

Conclusion
Conclusion
We conducted
We  conducted aa thorough
                  thorough and
                             and independent    review of
                                  independent review    of Haley
                                                           Haley Spears'
                                                                   Spears’ entire  claim. In
                                                                           entire claim.        summary, we
                                                                                            In summary,   we
acknowledge that
acknowledge   that Ms.
                   Ms. Spears    has had
                        Spears has    had multiple  symptoms associated
                                           multiple symptoms    associated with
                                                                            with her
                                                                                 her condition.
                                                                                      condition. However,
                                                                                                    However,
the information
the  information does
                    does not     contain physical
                           not contain      physical exam
                                                       exam findings,     diagnostic test
                                                               findings, diagnostic     test results,
                                                                                               results, valid
                                                                                                        valid
neuropsychological   test results,
neuropsychological test   results, or
                                   or other
                                       other forms  of medical
                                             forms of            documentation supporting
                                                       medical documentation     supporting herher symptoms
                                                                                                   symptoms
remained of
remained  of such
             such severity,
                   severity, frequency
                             frequency andand duration,
                                              duration, that
                                                        that the
                                                             the symptoms
                                                                  symptoms resulted
                                                                             resulted in
                                                                                       in restrictions
                                                                                          restrictions and/or
                                                                                                       and/or
limitations rendering Ms.
limitations rendering   Ms. Spears
                              Spears unable
                                       unable to
                                               to perform
                                                   perform the
                                                             the duties
                                                                  duties of
                                                                         of her
                                                                             her occupation
                                                                                  occupation continuously
                                                                                                 continuously
throughout and
throughout  and beyond
                beyond the
                         the Policy’s   Elimination Period.
                             Policy's Elimination    Period.

Having carefully
Having  carefully considered
                  considered all
                              all of
                                  of the
                                     the information
                                         information submitted
                                                     submitted in
                                                               in support
                                                                  support of
                                                                           of Haley
                                                                              Haley Spears’  claim, our
                                                                                    Spears' claim,  our
position remains
position remains that
                   that proof
                        proof of
                               of Ms.
                                   Ms. Spears'
                                         Spears’ continued
                                                 continued disability
                                                           disability in  accordance with
                                                                      in accordance    with the
                                                                                            the Policy
                                                                                                 Policy
provisions has
provisions has not
               not been  provided. Therefore,
                    been provided.   Therefore, no
                                                no Long Term Disability
                                                   Long Term  Disability benefits
                                                                         benefits will
                                                                                  will be
                                                                                       be paid.
                                                                                          paid.

This claim
This claim decision
           decision reflects  an evaluation
                     reflects an evaluation of
                                             of the
                                                the claim
                                                    claim facts and United
                                                          facts and United Technologies
                                                                           Technologies Corporation
                                                                                        Corporation
Group Disability
Group  Disability Income
                  Income Policy
                          Policy provisions.
                                 provisions.

Liberty
Liberty Life    Assurance Company
          Life Assurance    Company of   of Boston
                                            Boston will
                                                     will allow
                                                           allow Ms.
                                                                  Ms. Spears
                                                                       Spears the
                                                                                the opportunity
                                                                                    opportunity to
                                                                                                 to submit
                                                                                                    submit aa
second, optional
second,   optional request
                   request for   review. Since
                             for review.  Since this
                                                 this optional
                                                      optional review
                                                                review is
                                                                        is not required by
                                                                           not required by the
                                                                                           the Policy
                                                                                                Policy or
                                                                                                       or the
                                                                                                           the
Court’s remand
Court's  remand order,
                  order, it
                         it is
                            is requested
                               requested that
                                          that you
                                               you notify  Liberty within
                                                    notify Liberty  within 45
                                                                            45 days
                                                                               days from your receipt
                                                                                    from your  receipt of
                                                                                                       of this
                                                                                                          this
letter, of
letter, of your
           your request
                 request for   the optional
                          for the  optional review.
                                             review. AtAt that
                                                          that time,
                                                               time, we
                                                                     we will
                                                                          will determine
                                                                               determine aa schedule
                                                                                            schedule for
                                                                                                      for the
                                                                                                           the
submission of
submission    of documents
                 documents for    that review.
                              for that review. Your
                                                Your request
                                                       request for
                                                               for the
                                                                   the optional
                                                                       optional review
                                                                                 review should
                                                                                        should be
                                                                                                be submitted
                                                                                                   submitted
to:
to:
                 Liberty
                 Liberty Life
                          Life Assurance     Company of
                                 Assurance Company        of Boston
                                                              Boston
                                  Liberty   Mutual Benefits
                                  Liberty Mutual     Benefits
                                  Attention:   Nancy Winterer
                                  Attention: Nancy      Winterer
                                  P.O. Box
                                  P.O.  Box 7213
                                             7213
                                  London,
                                  London, KYKY 40742-7213
                                                 40742-7213
                                  Secure Fax
                                  Secure   Fax No.:
                                                No.: (603)   334-5708
                                                      (603) 334-5708

Nothing  in this
Nothing in  this letter should be
                 letter should be construed
                                  construed as
                                             as aa waiver
                                                   waiver of
                                                          of any
                                                             any Liberty
                                                                   Liberty Life  Assurance Company
                                                                            Life Assurance   Company ofof
Boston rights
Boston rights and
              and defenses
                   defenses under
                             under the
                                   the above
                                       above captioned
                                              captioned Policy,  and all
                                                        Policy, and  all of
                                                                         of these
                                                                            these rights
                                                                                  rights and
                                                                                         and defenses
                                                                                             defenses are
                                                                                                      are
reserved to
reserved to the
            the Company,
                Company, whether
                           whether or
                                    or not they are
                                       not they are specifically
                                                    specifically mentioned
                                                                 mentioned herein.
                                                                             herein.




                                                  26 of 27
                                                  26 of 27                                     Liberty002404
                                                                                               Li berty002404
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 129 of 501



If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                              27 of 27
                                              27 of 27                Liberty002405
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                                                                            1 of 2
           From 9175346271 1.917.534.6271 Tue May 24 11:45:10 2016 MDT Page 1
         Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 130 of 501




Fax
To :   Nancy Winterer Liberty Mutual           Date :    2016-05-24

Fax
Fax::   +16033345708                           Subject::
                                               Subject     H.Spears Neuropsy Review

From :   Dr. Marian Rissenberg                 Email
                                               Email::   dr.marian@rissenberg.com

Phone
Phone::   9142326245                                  2
                                               Pages::2
                                               Pages



p Urgent Ei
D        ~ Please Reply D
                        ❑ For Review D Please Recycle D
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Claim#    REDACTED
          REDACTED




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             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 131 of 501

 M. Rissenberg, Ph.D., Neuropsychologist
 125 Katonah Avenue
 Katpnal:),. N.Y. 10536
 Katonah                                                                                             Invoice
 (914) 23f-6245
       23L-6245
 Tax ID # XX-XXXXXXX
 NPI # 1457634354

 Bill To:
      Nancy Winterer
Clien\liberty Mutual Insurance - Disability
ClientLiberty
      Long Term Disability Benefits



                                                                            1
                                                                      Page: 1

     DATE                                  DESCRIPTION                                     AMOUNT
                                                                          REDACTED
                                                                          REDACTED
    4/6/16      Neuropsychological Consultation - Haley Spears Claim#                         $1,250.00




                                                                             Sales Tax:            $0.0(
                                                                                                   $0.00
                                                                        Total Amount:          $1,250.0(
                                                                                               $1,250.00
                                                                        Amt Applied:               $0.0(
                                                                                                   $0.00
                                                                         Balance Due:          $1,250.0(
                                                                                               $1,250.00


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May 04
May 04 2016
       2016 09:24:44
            09:24:44 206.812.6420
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                                                  Document               LMG David
                                                                         LMG DauidPage
                                                           142-3 Filed 11/16/18    Dalby               001
                                                                                       132 of 501 Page 001




                                                 FAX COVER SHEET
          To: Nancy Winterer                                   From: David Dalby <ddalby@mcn"com>
                                                                                 <ddalby©mcn.corn>

          Company:                                                   05/04116 09:23:16
                                                               Date: 05/04/16 09 23 16 AM

          Fax Number: 603-334-5708                             Pages (Including cover): 2

          Re: Final Report Attached



          Notes:

          Hello Nancy,

          Please find the :reeponee
          Pleaee           response regarding claim          1500391 attached. If you
                                                    claim#: 2.500391              vou have any questions
                                                                                               queestiones or concerns
                                                                                                              concemes
          please
          plea.ee don't hesitate
                        heeita.te to let me kno'\'.l;r.
                                            know.

          Thank you!
                you!

          David Dalby
          Client Services Coordinator

          Medical
          M"dical Consultants Network
                              N"twork LLC
          Medical Judgment Nationwide

          Seattle, WA
          P: (206) 621-9097 x 2282
          F: (206) 812-6420
                   8'12-6420
          Mailto: ddalby@mcn.com
                  ddalby@mcn"com
          http://www.mcn.com
          http://www"mcn"com




          Confidentiality Notice:
                             Na!ice: This facsimile and itstts attachments are intended only for the addressee(s) and
          it may contain confidential or legally privileged information. Use, disclosure, dissemination, or
          distribution of this facsimile by an unauthorized recipient
                                                                mdpient is strictly prohibited. Please notify the sender
          immediately                          Consultant.s Network LLC at 800-636-3926 ifir you are not the
          imrnfidiately and contact Medical Consultants
          intended recipient and arrange for theth'1 return of these documents without reading or saving itii in1n any
          mariner.
          manner

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                                                                     Dalby




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            Shreveport,             71101· 444.3
                          LouistsnA 71104-443                                                      F~"' (318) 424-4044
                                                                                                                424-4Cl44.




                 fhfley Spears

            Attn: David Dalby
            Attn


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           lt is a patient                          reqw.,sts to provide detailed hi
                   patient"s job to comply with requests                                   tory of
                                                                                       h story          illnesses
                                                                                                 of the ;finesses
           including diagnosis and prior treatment at doctor's appointment. When            hen asked to do thethe
           above, Mrs. Spears responded              hl'itabi!ity and refusal
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                                                                                         erate.   The  claimunt"s
                                                                                                       claimant's
           record~> were
           records         revk.wcd and commented on
                     wt;n: reviewed                       on in the   report..
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              ~··                  M.D.
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           Jet IleSS Courtney
           Jenriess    urtney lIl,




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             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 134 of 501




                                  Northwest  Louisi
                                  Nol'thwest Louisi•    Ph       I Me
                                                             III, M.D.
                                                  Coul'tney, Ill,
                                       Jenness D. Courtney,
                                                         WISIITSMM                            3;115015


           1801 F~irfielcl Ave., Suite # 411
           1801 Fairfield                411                                        Phone (318) 424-4224
           Shteveport, Louisiana 71101-4443
           Shreveport,                                                                Fax (318) 424-4044




            Re: Haley Spears
            Claim  #: REDACTED
            Claim #:  REDACTED

            Attn: David Dalby


           It                    lo comply with requests to provide detailed hi tory of the illnesses
           fl is a patient's job to
           including diagnosis and prior treatment at doctor's appointment. hen asked to         do the
                                                                                              to do
                                                 ilTitability and n:fusal
           above, Mrs. Spears responded with Mitability           refusal to coo erate. The claimant's
           records were reviewed and commented on in the report,report.




                          '~----·
           Jenness Courtney III, M.D.




                                                                                                Liberty002410
                                                                                                Liberty002410
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                                                                                 952-927-7147 FAX
                                                                        OFFICE@R3CONTINUUM.COM




R3 CONTINUUM
April 29, 2016
                                          'CONFIDENTIAL**
                                          **CONFIDENTIAL**



Nancy Winterer
Liberty Mutual
London, KY

Re: Haley Spears
Claim No: REDACTED
Web ID: 577726

Dear Ms. Winterer:

This report will serve as an addendum to my original report dated 3/4/16 and Neuropsychology
addendum report dated 3/22/16 related to Haley Spears, after reviewing the additional information
received. Services have been completed on this file, and specific questions you have asked are
addressed at the end of this report.

Conclusion

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
                                                                                       reviewer's opinion
Based on a review of the provided data as summarized and analyzed below, it is the reviewer’s
within a reasonable degree of clinical probability that the evidence does not support impairment from a
neurologic standpoint in regards to the complaints of headache.

Michael Raymond, PhD, ABN, Neuropsychology:
Based on a review of the provided data as summarized and analyzed below, it is the reviewer’s
                                                                                      reviewer's opinion
within a reasonable degree of neuropsychological certainty that: there is no valid objective evidence to
support neurocognitive deficits associated with chronic headache or a plethora of other reported
possible etiologies within the time frame of 9/27/08 –
                                                     — 3/31/15.

Referral Information:
Age (DOB): REDACTED
Gender: FEMALE
DOD: 09/27/2008
Diagnoses listed on referral: headache

Medical Issue

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
The primary medical issue in question in this review is noted as in addition to the original question on
whether there is any neurologic impairment, additional records were provided including Dr. Zagar’s
                                                                                               Zagar's
response and whether that response changes my previous conclusions.




                                                                                       Liberty002411
                                                                                       Liberty002411
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Nancy Winterer                                                                   Re: Haley Spears
April 29, 2016                                                                        Page 2 of 5




Michael Raymond, PhD, ABN, Neuropsychology:
The primary medical issue in question in this review, from a neuropsychological perspective, is noted
as: whether there is evidence to support neurocognitive deficits that would be functionally impairing
within the time frame in question from 9/27/08 —– 3/31/15. While the claimant has been evaluated and
treated by multiple medical specialists for a host of various etiologies (e.g., thyroid disease, dyspnea,
pineal cysts, Lyme disease, systemic lupus erythematosus, fibromyalgia, etc), prior neurological
examinations were negative with regard to neurocognitive functioning. Serial cerebral MRI's MRI’s identified
                                                                                     Rissenberg’s rebuttal
a nonspecific and stable right temporal lesion of idiopathic etiology. Despite Dr. Rissenberg's
        undersigned’s conclusions (2/13/16, 3/16/16), her statements and concerns, do not change or
of the undersigned's
alter the undersigned's
          undersigned’s initial impressions and conclusions as clearly stated within the aforementioned
reports. Specifically, the preponderance of clinical evidence contained within the file does not support
neurocognitive impairment within a designated time frame.

Additional Information Reviewed

   1. Attending Physician Statements completed by Dario Zagar, MD, Neurology, dated 4/6/16
   2. Peer Review and Related Correspondence completed by Marian Rissenberg, PhD,
      Neuropsychology
   3. Miscellaneous Documents

Summary of Records

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
All provided records were reviewed.

A letter from Dr. Zagar dated 4/2/16 was reviewed in which he noted that he cared for Haley Spears
from January 2009 until October 2011. She had complained of symptoms including headaches, fatigue,
joint pain, digestive problems, and cognitive complaints, and had the possibility of CNS Lyme disease.
He noted that he felt that her fatigue and cognitive issues limited her daily functioning so that in his
opinion she was unable to work even on a part time basis. He felt that her neuropsychological testing
done in 2010 showed cognitive impairment.

There is also a letter from Dr. Rissenberg which essentially defends the neuropsychological testing that
was performed and argues against the points made by Dr. Raymond.

Michael Raymond, PhD, ABN, Neuropsychology:
                                                              Rissenberg’s clinical review and rebuttal of
Some previous records already reviewed in addition to Dr. Rissenberg's
    undersigned’s previous conclusions was reviewed. Specifically, Dr. Rissenberg indicated that her
the undersigned's
                                                                   “supports the high probability that my
interpretation of the neuropsychological test results (July, 2010) "supports
assessment of Ms. Spears was thorough and appropriate and my opinion is well founded".
                                                                                     founded”.

Dr. Rissenberg, in her response (4/6/16) listed 5 areas of concern with regard to the undersigned's
                                                                                      undersigned’s peer
review regarding her neuropsychological assessment of the claimant dated July, 2010.

The undersigned, with all due respect, indicated that Dr. Rissenberg's
                                                           Rissenberg’s neuropsychological evaluation
was considered cursory or abbreviated. It must be noted that the vast majority of neuropsychological
reports have a section titled "tests
                              “tests administered";
                                     administered”; Dr. Rissenberg's
                                                        Rissenberg’s report did not include such a section
nor was there an attached data sheet with the exception of WAIS-III and WMS-III test scores. In
addition, the undersigned did not have access to raw neuropsychological test data. Respectfully, the


                                                                                         Liberty002412
                                                                                         Liberty002412
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Nancy Winterer                                                                     Re: Haley Spears
April 29, 2016                                                                          Page 3 of 5




                                             “cursory”, and not a comprehensive neuropsychological
evaluation completed by Dr. Rissenberg, is "cursory",
evaluation. According to Dr. Rissenberg, the assessment only included the WAIS-III, WMS-III, and a
measure of constructional praxis and motor programming. A depression and anxiety inventory was
also administered. No additional comprehensive personality assessment was included. Furthermore,
no formal effort testing was completed. From a neuropsychological test battery perspective, a
comprehensive neuropsychological evaluation, such as the Halstead Reitan Neuropsychological
                                      Rissenberg’s evaluation must be considered flexible or known as a
Battery, was not administered. Dr. Rissenberg's
“casually-composed” battery. While this is often utilized by neuropsychologists, there is no research
"casually-composed"
completed about a particular combination of tests used and there is no consensus regarding the
interpretation with individuals with suspected brain damage. Thus, clinical inferences are difficult and
when made, are often inaccurate. This evaluation would not withstand the Daubert or Frye challenge
regarding the standards of admissibility.

The undersigned utilized the term "nonstandardized"
                                     “nonstandardized” depicting Dr. Rissenberg's
                                                                      Rissenberg’s evaluation. Once
again, as previously noted, the term nonstandardized was utilized based on a flexible rather than a
fixed approach to neuropsychological assessment. Once again, a flexible or casually composed
battery of tests is not research based such as the HRB which evaluates a full range of
neuropsychological functions dependent upon the integrity of the brain. This evaluation is well defined
within the research regarding clinical patterns of test performance, and thus, when administered and
interpreted correctly, can result in rendering clinical conclusions with sensitivity and specificity.

The undersigned questioned Dr. Rissenberg's
                                    Rissenberg’s statement regarding the claimant's
                                                                             claimant’s premorbid level of
cognitive abilities. Specifically, Dr. Rissenberg indicated that the claimant was estimated to have an IQ
in the high average range. In her rebuttal, Dr. Rissenberg indicated "I  “I used the standard practice in the
field of clinical neuropsychology considering multiple factors to obtain the best estimate of Ms. Spears'
                                                                                                      Spears’
premorbid cognitive capacity at around the 75th75th percentile (IQ of 110). Respectfully, the best practice in
clinical neuropsychology to estimate premorbid intellectual abilities is by utilizing the Barona, regression
equation utilizing demographic variables. This was not completed. Furthermore, an excellent marker
of premorbid intellectual functioning would be formal academic achievement in areas of reading and
spelling. The National Adult Reading Test (NART) or reading section of the Wide Range Achievement
Test (WRAT) was not utilized. Dr. Rissenberg indicated that she utilized "hold"“hold” scores (e.g., tests that
hold up well following any form of brain damage). However, within the evaluation completed by Dr.
                                     “hold” test scores were on the WAIS-III information and vocabulary
Rissenberg, the most noteworthy "hold"
subtests with standard scores of 8 and 9, respectively. These scores are clearly within the average and
not high average range.

                            “there is clear and objective evidence, as well as clinical evidence, of
Dr. Rissenberg indicated "there
                                              function”. Once again, the undersigned disagrees with this
significant impairment in multiple areas of function".
statement based on a dearth of comprehensive objective and valid neuropsychological test results. Dr.
Rissenberg’s conclusion that the neuropsychological test results were "consistent
Rissenberg's                                                                 “consistent with frontal or diffuse
                                                                         illness” certainly cannot be
cerebral dysfunction as seen in chronic infectious and inflammatory illness"
ascertained by the neuropsychological test results, or lack thereof, reported. While there is some
performance variability, this, in and of itself, does not reflect organically induced cognitive impairment.
In fact, personality variables, adjustment difficulties, or other behavioral concomitants, might have
contributed to the clinical picture. Unfortunately, formal personality assessment was not administered
by Dr. Rissenberg. More importantly, and as previously noted, formal effort testing was not completed.
One cannot simply dismiss formal effort testing based on a few subtest scores or perceived test taking
behaviors. It is imperative that a neuropsychological assessment is completed in a valid fashion in
order for the neuropsychologist to render an opinion with any degree of neuropsychological certainty.


                                                                                           Liberty002413
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Nancy Winterer                                                                   Re: Haley Spears
April 29, 2016                                                                        Page 4 of 5




This coincides with a position paper of the National Academy of Neuropsychology which was approved
in November, 2004. While Dr. Rissenberg completed the claimant's
                                                               claimant’s evaluation as a clinical as opposed
to a forensic evaluation, according to the above noted position paper, "assessment
                                                                            “assessment of response validity,
as a component of a medically necessary evaluation, is medically necessary. When the potential for
secondary gain increases the incentive for symptom exaggeration or fabrication and/or when
neuropsychologists become suspicious of insufficient effort or inaccurate or incomplete reporting,
neuropsychologists can, and must, utilize symptom validity tests and procedures to assist in the
                                                                 obtained”. While Dr. Rissenberg may not
determination of the validity of the information and test data obtained".
have perceived the need for formal freestanding or embedded validity tests to be administered, it is the
current practice in both clinical and forensic settings, that validity tests be administered in order to
accurately identify the potential for invalid test results which clearly would result in invalid clinical
interpretation.

Analysis

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
Please see my original analysis for details of past records. The current records do not offer any
additional information from a neurologic standpoint. Dr. Rissenberg, a neuropsychologist, wrote a
                                               Raymond’s assessment was not accurate. As noted in my
detailed letter regarding his opinion that Dr. Raymond's
original report, I was asked to not opine on neuropsychological or cognitive issues so this is not
relevant to my report. Dr. Zagar's
                           Zagar’s note also details that he felt that the claimant was limited in
functioning due to fatigue and cognitive issues so was unable to work, but as previously noted, opining
on the cognitive issues and any impaired functioning in that regard will be yielded to Dr. Raymond for
this report as per my instructions. From a neurologic standpoint there is no additional information that
would alter my previous opinion that the evidence does not support impairment from a neurologic
standpoint. As noted previously, the claimant complained intermittently of headaches but notes
including 2009 and 2010 detailed that she had significant improvement and she has had consistently
normal neurological examinations as detailed previously.

Michael Raymond, PhD, ABN, Neuropsychology:
Based on the information available for review, as described above, it is the reviewer's
                                                                              reviewer’s opinion within a
reasonable degree of neuropsychological certainty that neurocognitive impairment is not supported
within the time frame in question (9/27/08 —
                                           – 3/31/15). While Dr. Rissenberg raised concerns regarding
    undersigned’s clinical opinions and conclusions, the concerns were addressed by the undersigned
the undersigned's
as previously referenced. With all due respect, the concerns raised by Dr. Rissenberg did not change
or alter the undersigned's
             undersigned’s opinions as previously stated in the initial and addendum reports dated
2/13/16 and 3/16/16, respectively. Furthermore, the neuropsychological test results (2010) are clearly
                                                     claimant’s current level of adaptive abilities (e.g.,
obsolete and thus, they would not coincide with the claimant's
including the time frame through 3/31/15).

Questions
The below questions are answered for the timeframe of 9/27/2008 through 3/27/2009 and 3/28/2009
through 3/31/2015. Please refer to the Analysis section above for additional details and rationale
supporting this reviewer's
                reviewer’s opinions.




                                                                                        Liberty002414
                                                                                        Liberty002414
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Nancy Winterer                                                                     Re: Haley Spears
April 29, 2016                                                                          Page 5 of 5




Dr. Kitei

    1. Please review Dr. Zagar's                         314116 multi-disciplinary peer review.
                                  4/6/16 response to the 3/4/16
                          Zagar’s 416116
       Please indicate if Dr. Zagar's
                              Zagar’s response changes your previous conclusions, and provide
       the medical/neurologic rationale to support your conclusions.

       No, Dr. Zagar's
               Zagar’s response did not change my previous conclusions because there are no
       additional details offered regarding neurologic impairment. The previously listed diagnoses,
       including headaches, fatigue, joint pain, digestive problems, and cognitive complaints were
       discussed in my previous report and while Dr. Zagar's
                                                       Zagar’s opinion is that the claimant was unable to
       work due to fatigue and cognitive issues, I was specifically asked to not opine on
       neuropsychological and cognitive issues because there is another reviewer opining on those
       issues and discussing the neuropsychological testing. My previous report discussed in detail
       why the evidence does not support impairment from a neurologic standpoint.

Dr. Raymond

    1. Please review Dr. Rissenberg's   4/6/16 response to the neuropsychological portion of the
                          Rissenberg’s 416116
       3/4/16 multidisciplinary per review. Please indicate if Dr. Rissenberg's
       3/4116                                                      Rissenberg’s response changes
       your previous conclusions, and provide the medical/neuropsychological rationale that
       support your conclusions.

        As previously discussed within the body of this addendum, the review of previous and additional
        records do not change or alter the undersigned’s
                                           undersigned's previous clinical conclusions. The rationale for
        this is noted above.

Sincerely,



Michael Raymond, PhD, ABN
Board Certified Neuropsychologist
New Jersey License # SI02529
                      SIO2529



Daniel Kitei, DO, MA
Board Certified Neurologist
Board Certified Neuromuscular Medicine
Colorado License #47342

All                                                  of the author. There is no conflict of
All opinions in this report are solely the opinions of                                   of interest. There is
no doctor/provider-patient treatment relationship, and the author
                                                               author did
                                                                      did not personally
                                                                               personally examine the
          All opinions are advisory only, independent, and are based upon a reasonable degree of
claimant. All                                                                                           of
medical certainty and evidence-based
medical                                   medical concepts, considering
                         evidence-based medical                considering all
                                                                           all the data available at the time
of preparation
of preparation of
                of this report. This report is not intended as a recommendation regarding
                                                                                     regarding any decisions
on a claim or
           or administrative functions to be made or   or enforced. R3 does not make claim decisions.




                                                                                          Liberty002415
                                                                                          Llberty002415
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                          Curriculum Vitae

                 Daniel J. Kitei D.O., M.A.
 Board Certified Neurologist and Neuromuscular Specialist



  Medical
  MEDICAL
  Training
  TRAINING
     2008
     2008           American Board
                    American Board of   Psychiatry and Neurology
                                     ofPsychiattyand   Neurology
                    Board Certified
                    Board Certified in
                                    in Neurology
                                       Neurology
      2009
      2009          American Board
                    American Board of   Psychiatry and
                                     ofPsychiatry  and Neurology
                                                       Neurology
                    Board Certified
                    Board Certified in
                                    in Neuromuscular
                                       Neuromuscular Medicine
                                                       Medicine
    2008-2009
    2008-2009       Harvard Medical
                    Hamm'     Medical School   Neuromuscular Program
                                        SchoolNeuromuscular     Program
                    Neuromuscular/EMG Fellowship
                    Neuromuscular/EMG        Fellowship
                    Massachusetts General
                    Massachusetts     General Hospital
                                               Hospital
                    Brigham and
                    Brigham   and Women's
                                   Women’s Hospital
                                              Hospital
    2005-2008
    2005-2008       University
                    UniversityofofConnecticut    Health Center
                                   ConnecticutHealth    Center
                    Neurology   Residency
                    Neurology Residency
                    Chief Resident
                    Chief  Resident 2007-2008
                                     2007-2008
                       Visiting Rotation
                      Visiting  Rotation at
                                          at the
                                             the University
                                                 University of
                                                            of California
                                                               California at
                                                                          at San
                                                                             San Francisco-Exposure
                                                                                 Francisco-Exposure to  to
                    MDA/ALS clinic,
                    MDA/ALS     clinic, EMG/NCS,
                                        EMG/NCS, Single
                                                    Single fiber
                                                           fiber EMG,
                                                                 EMG, Spine
                                                                       Spine and
                                                                              and nerve
                                                                                   nerve injury
                                                                                         injury clinics
                                                                                                clinics
                       Visiting Rotation
                      Visiting  Rotation at
                                          at Stanford
                                             Stanford University-Exposure
                                                      University-Exposure to to MDA/ALS
                                                                                MDA/ALS clinic,
                                                                                           clinic,
                    EMG/NCS, intra-operative
                    EMG/NCS,                       monitoring, Epilepsy
                                 intra-operative monitoring,   Epilepsy Monitoring
                                                                         Monitoring Unit,
                                                                                     Unit, Grid
                                                                                           Grid Placement
                                                                                                 Placement
    2004-2005
    2004-2005       Tucson   Hospitals Medical
                    TucsonHospitals     Medical Education
                                                  Education Program,
                                                             Program, Tucson,   Arizona
                                                                       Tucson, Arizona
                    Transitional Internship
                    Transitional  Internship




 Education
 EDUCATION
    2000-2004
    2000-2004       Arizona College
                    Arizona College of
                                    ofOsteopathic Medicine, Glendale,
                                       OsteopathicMedicine,             Arizona
                                                            Glendale, Anmita
                    Medical School
                    Medical School
                    Neurology Rotations
                    Neurology Rotations at
                                        at Barrow
                                           Barrow Neurologic
                                                  Neurologic Institute,
                                                             Institute, Mayo
                                                                        Mayo Clinic
                                                                              Clinic Scottsdale,
                                                                                     Scottsdale, AZ
                                                                                                 AZ
    1999-2000
    1999-2000       University
                    Universityof
                               ofCalifornia
                                  California at
                                             atSanta  Barbara
                                                Santa Barbara
                    Master’s Degree
                    Master's Degree
                    Religious Studies
                    Religious  Studies and
                                       and Global
                                            Global Medicine
                                                   Medicine
    1995-1999
    1995-1999       University
                    Universityof
                               ofCalifornia
                                  California at
                                             atSanta  Barbara
                                                Santa Barbara
                    Bachelor of
                    Bachelor  of Arts
                                 Arts
                    Pre-Med and
                    Pre-Med  and Religious
                                  Religious Studies
                                             Studies
    1991-1995
    1991-1995       Brophy College
                    Brophy         Preparatory, Phoenic
                           College Preparatory, Phoenix, Arizona
                                                         Arizona
                    High School
                    High School




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                                                                                                             1
                                                                                                Liberty002416
                                                                                                Liberty002416
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Activities AND
ACTIVITIES and
   Awards
   AWARDS
      2008
      2008          University
                    Universityof
                               ofConnecticut Resident Teacher
                                 ConnecticutResident          Award
                                                      TeacherAward
                    Awarded each
                    Awarded    each year
                                     year to
                                          to the
                                             the resident
                                                 resident who
                                                           who displayed    the highest
                                                                 displayed the  highest level
                                                                                         level of
                                                                                               of teaching
                                                                                                  teaching
                    excellence
                    excellence
    2006-2007
    2006-2007       University
                    UniversityofofConnecticut    Award for
                                   ConnecticutAward         Excellence in
                                                        forExcellence   in Stroke
                                                                           Stroke Treatment
                                                                                    Treatment
                    Awarded to
                    Awarded    to the
                                  the Resident
                                      Resident who
                                                 who showed
                                                      showed the
                                                               the highest
                                                                    highest efficiency
                                                                            efficiency and
                                                                                       and quality
                                                                                            quality in  Acute
                                                                                                     in Acute
                    Stroke Treatment
                    Stroke  Treatment
    2005-2007
    2005-2007       American
                    Amen  -canCouncil
                                CouncilofofGraduate    Medical Education
                                           Graduate Medical      Education
                    University of
                    University     Connecticut Board
                                of Connecticut   Board Member
                                                        Member
                    Creation and
                    Creation   and improvement
                                    improvement of of policy for the
                                                      policy for the Capital
                                                                     Capital Area
                                                                              Area Health
                                                                                    Health Consortium
                                                                                           Consortium
    2005-2007
    2005-2007       University
                    UniversityofofConnecticut    Resident Forum
                                   ConnecticutResident     Forum
                    Neurology Residency
                    Neurology    Residency Representative
                                            Representative
                    Creation and
                    Creation   and improvement
                                    improvement of of policy for the
                                                      policy for the University
                                                                     University of
                                                                                 of Connecticut
                                                                                    Connecticut and
                                                                                                  and
                    associated    hospitals
                    associated hospitals
      2007
      2007          Internal Review
                    Internal Review Committee
                                      Committee
                    Reviewed individual
                    Reviewed    individual UCONN
                                           UCONN residency
                                                    residency programs
                                                                programs with
                                                                           with faculty
                                                                                 faculty members
                                                                                         members forfor quality
                                                                                                        quality
                    of education
                    of education and
                                   and presented
                                        presented aa resident
                                                      resident perspective
                                                                perspective on   particular program’s
                                                                              on particular program's
                    strengths and
                    strengths   and weaknesses
                                     weaknesses
    2003-2004
    2003-2004       Arizona College
                    Arizona  College OfOfOsteopathic    Medicine Admissions
                                         Osteopathic Medicine      Admissions Committee
                                                                                 Committee
                    Student representative
                    Student   representative toto admissions
                                                  admissions committee
                                                               committee
      2002
      2002          Health Education
                    Health Education Learning
                                      Learning Programs
                                               Programs
                    Student of
                    Student of the
                               the Year
                                   Year 2002
                                        2002
    1996-2000
    1996-2000       University
                    Universityof
                               ofCalifornia
                                 California at
                                            atSanta  Barbara Academic
                                               Santa Barbara Academic Honors
                                                                       Honors
                    Graduated Cum
                    Graduated   Cum Laude,
                                     Laude, Golden
                                             Golden Key
                                                    Key National
                                                        National Honor
                                                                 Honor Society,
                                                                       Society, Who's
                                                                                Who’s Who
                                                                                      Who National
                                                                                          National
                    Dean’s List
                    Dean's List
    1993-1995
    1993-1995       AZA Youth
                    AZ4 Youth Organization
                               Organization
                    Chapter President,
                    Chapter  President, Southwestern
                                        Southwestern Regional
                                                      Regional Chairman
                                                               Chairman



Publications
PUBLICATIONS
    and
    AND
  research
  RESEARCH
     2010
     2010           Eugene M,
                    Eugene  M, Kitei
                               Kitei D,
                                     D, Silvers
                                        Silvers D.
                                                D. Clinical
                                                   Clinical Reasoning:
                                                            Reasoning: A
                                                                       A 75-year-old woman with
                                                                         75-year-old woman with visual
                                                                                                visual
                    disturbances
                    disturbances and  unilateral ataxia.
                                  and unilateral          Neurology 2010;
                                                  ataxia. Neurology 2010; 75;  e29
                                                                           75; e29

      2008
      2008          Kitei D,
                    Kitei D, DiMario
                             DiMario F.
                                     F. Childhood
                                        Childhood Orbital Pseudotumor: Case
                                                  Orbital Pseudotumor: Case Report
                                                                            Report and
                                                                                   and Literature
                                                                                       Literature
                    Review.  Journal of
                    Review. Journal  ofChild Neurology 2008;
                                        ChildNeurology  2008; 23(4)
                                                              23(4) 425-430
                                                                    425-430
      2008
      2008          Kitei, D,
                    Kitei, D, Lee
                              Lee N,
                                  N, MERCI
                                      MERCI Clot
                                              Clot Retrieval
                                                   Retrieval in
                                                              in Acute
                                                                 Acute Stroke-Comparing
                                                                        Stroke-Comparing IVTPA,
                                                                                              IVTPA, IATPA,
                                                                                                       IATPA,
                    MERCI Retrieval
                    MERCI   Retrieval and
                                        and Combination
                                             Combination therapy
                                                            therapy (in
                                                                     (in progress)
                                                                         progress)
    2005-2008
    2005-2008       Hartford Hospital
                    Hartford  Hospital Stroke
                                         Stroke Center
                                                 Center
                    Participated in
                    Participated   in enrollment,
                                      enrollment, examinations
                                                   examinations &  & data    collection for
                                                                      data collection    for multiple
                                                                                             multiple studies
                                                                                                       studies
                    including the Multi-Merci Trial (Evaluating the efficacy of the MERCI clot retrieval
                    including  the  Multi-Merci  Trial (Evaluating  the  efficacy  of the  MERCI   clot retrieval
                    device  for acute
                    device for  acute ischemic
                                       ischemic stroke),
                                                  stroke), The
                                                           The FAST
                                                                FAST trial
                                                                      trial (Evaluating
                                                                            (Evaluating Factor
                                                                                          Factor 77 for
                                                                                                    for acute
                                                                                                        acute
                    hemorrhagic stroke
                    hemorrhagic     stroke treatment),
                                           treatment), The
                                                         The PRoFESS
                                                             PRoFESS Trial
                                                                         Trial (comparing
                                                                               (comparing aggrenox
                                                                                             aggrenox and
                                                                                                        and plavix
                                                                                                             plavix
                    for stroke
                    for stroke prevention)
                                prevention)
      2005
      2005          University
                    Universityof   Arizona Diabetes
                                ofkizona    Diabetes Research
                                                       Research Lab
                                                                  Lab
                    Research Assistant
                    Research   Assistant for
                                           for basic science laboratory,
                                               basic science   laboratory, genetic    testing
                                                                             genetic testing




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                                                                                                      Liberty002417
                                                                                                      Liberty002417
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 Lectures AND
 LECTURES  and
presentations
PRESENTATIONS
      2009
      2009           Swedish  Medical Center
                     SwedishMedical    CenterGrand   Rounds
                                               GrandRounds
                     Neuromuscular Emergencies
                     Neuromuscular   Emergencies
       2009
       2009          Harvard Medical
                     HatvatrfMedical School   Neuromuscular Program
                                       SchoolNeuromuscular   Program
                     Brain-Computer Interface
                     Brain-Computer   Interface in neuromuscular disease
                                                in neuromuscular disease
     2006-2007
     2006-2007       University
                     Universityof
                                ofConnecticut  Medical School
                                  ConnecticutMedical    School
                     Guest lectures
                     Guest lectures on
                                    on Parkinson's
                                        Parkinson’s Disease,
                                                    Disease, Multiple
                                                             Multiple Sclerosis,
                                                                      Sclerosis, Physical
                                                                                 Physical Exam
                                                                                          Exam
       2007
       2007          University
                     Universityof
                                ofConnecticut Department of
                                  ConnecticutDepattment      Neurology Grand
                                                           ofNeurology        Rounds
                                                                        GtandRounds
                     Acute Stroke
                     Acute Stroke Treatment-Review
                                  Treatment-Review of
                                                    of current
                                                       current therapies
                                                               therapies and
                                                                         and Presentation
                                                                             Presentation of
                                                                                          of Data
                                                                                             Data
                     from Hartford
                     from Hartford Hospital-A
                                   Hospital-A Regional
                                              Regional Stroke
                                                       Stroke Center
                                                              Center
     2005-2007
     2005-2007       Neuromuscular Conferences,
                     Neuromuscular  Conferences, University
                                                 Universityof
                                                            ofConnecticut  Dept of
                                                              ConnecticutDept      Neurology
                                                                                ofNeurology
                     Limb Girdle
                     Limb Girdle Muscular
                                 Muscular Dystrophy
                                          Dystrophy 2A-Clinical,
                                                    2A-Clinical, pathological aspects
                                                                 pathological aspects
                     Myotonia-Disease states
                     Myotonia-Disease states and
                                             and electrolyte
                                                 electrolyte abnormalities
                                                             abnormalities
                     Muscle Cramps-Clinical
                     Muscle Cramps-Clinical causes
                                            causes and
                                                   and pathology
                                                        pathology
     2005-2007
     2005-2007       Grand Rounds Case
                     GrandRounds       Presentations, University
                                  Case Presentations, Universityof
                                                                 ofConnecticut Dept of
                                                                   ConnecticutDept     Neurology
                                                                                    ofNeurology
                     Creutzfeldt-Jacob Disease-Clinical,
                     Creutzfeldt-Jacob Disease-Clinical, MRI,
                                                          MRI, EEG,
                                                                EEG, CSF
                                                                      CSF findings
                                                                          findings
                     Microhemorrhages-The use
                     Microhemorrhages-The    use of
                                                  of MRI
                                                     MRI for
                                                         for diagnosis
                                                             diagnosis and
                                                                        and treatment
                                                                             treatment
                     Carotid Dissection-Pathology
                     Carotid Dissection-Pathology and
                                                    and clinical
                                                        clinical presentation
                                                                 presentation
                     Multiple Sclerosis-A
                     Multiple Sclerosis-A rare
                                          rare spinal
                                               spinal cord
                                                      cord lesion
                                                           lesion presenting   with painful
                                                                   presenting with          feet
                                                                                    painful feet
                     Venous Sinus
                     Venous  Sinus Thrombosis-Evaluation
                                   Thrombosis-Evaluation andand treatment
                                                                 treatment


Volunteer AND
VOLUNTEER     and
  teaching
  TEACHING
   History
   HISTORY
    2010-2011
    2010-2011        Rocky Vista
                     Rocky        Medical School
                            Vista Medical  School
                     Clinical Assistant
                     Clinical Assistant Professor
                                        Professor
     2008-2009
     2008-2009       Harvard Medical
                     Harvard Medical School
                                     School
                     Preceptor for
                     Preceptor for Medical
                                   Medical Student
                                           Student Neurology
                                                   Neurology Education
                                                             Education
     2002-2004
     2002-2004       Maemonides Social
                     Maemonides           Action Club
                                   SocialAction  Club of Midwestern University
                                                      ofMidwestern  University
                     Vice President
                     Vice President
     2001-2003
     2001-2003       “Head
                     "HeadStart”   Health Care
                            Start'Health       For Underprivileged
                                          CareFor  UnderprivilegedChildren
                                                                   Children
                     Volunteer for
                     Volunteer for medical
                                   medical exams  and patient
                                           exams and   patient education,
                                                               education, Phoenix,
                                                                          Phoenix, Arizona
                                                                                   Arizona
     2001-2003
     2001-2003       TOPS  High School
                     TOPSHigh   SchoolSports Physicals
                                       SportsPhysicals
                     Performed hundreds
                     Performed  hundreds of
                                         of physicals for underprivileged
                                            physicals for underprivileged athletes,
                                                                          athletes, Phoenix,
                                                                                    Phoenix, AZ
                                                                                             AZ
     1996-2003
     1996-2003       Health Education
                     Health Education Learning
                                      Learning Programs
                                               Programs
                     Assistant for
                     Assistant for Medical
                                   Medical Education,
                                           Education, Phoenix,
                                                      Phoenix, Arizona
                                                               Arizona
     1998-2001
     1998-2001       Union Hills Family
                     UnionHills  Family Physicians
                                        Physicians
                     Assistant to
                     Assistant to physicians,
                                  physicians, office managerial duties,
                                              office managerial duties, Glendale,
                                                                        Glendale, Arizona
                                                                                  Arizona
     1996-1999
     1996-1999       Campus    Learning Assistance
                     CampusLeamkg         Assistance Programs
                                                     Programs
                     Conducted math
                     Conducted    math and
                                         and physics  tutorials for
                                             physics tutorials  for undergraduate
                                                                    undergraduate students
                                                                                  students
                     University of
                     University     California, Santa
                                 of California, Santa Barbara
                                                       Barbara
     1994-1995
     1994-1995       Arizona Recreation
                     Arizona  Recreation Center
                                           Centerfor  the Handicapped
                                                  forthe  Handicapped
                     Activity creation
                     Activity creation and  supervision for
                                        and supervision  for physically and mentally
                                                             physically and mentally disabled, Glendale,AZ
                                                                                     disabled, Glendale,AZ




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                                                                                                   Liberty002418
                                                                                                   Liberty002418
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Work HISTORY
WORK history
      2011
      2011         Rocky Mountain
                   Rocky Mountain Neurology
                                   Neurology
                   Neurologist, Managing
                   Neurologist, Managing Partner
                                         Partner
    2009-2010
    2009-2010      Blue Sky
                   Blue  Sky Neurosciences
                             Neurosciences
                   Neurologist
                   Neurologist
                   Englewood, CO
                   Englewood,  CO
    2006-2007
    2006-2007      Jefferson Radiology
                   Jefferson Radiology
                   Physician On
                   Physician  On Site
                                 Site
                   Hartford, Connecticut
                   Hartford, Connecticut




 Memberships
 MEMBERSHIPS
and LICENSURE
AND Licensure
    2009-2011
    2009-2011       State
                    State of
                          ofColorado  Medical License
                             Colorado Medical License #47342
                                                      #47342
    2006-2009
    2006-2009       State
                    State of
                          ofConnecticut Medical License
                             ConnecticutMedical License #044585
                                                        #044585
    2008-2009
    2008-2009       State
                    State of Massachusetts Medical
                          ofMassachusetts  Medical License
                                                   License #235826
                                                           #235826
    2005-2008
    2005-2008       American Council
                    Ameiican  Councilof
                                     ofGraduate  Education Board
                                        Graduate Education Board Member
                                                                 Member
    2005-2011
    2005-2011       American Academy
                    AmenCan   Academy Of Neurology Member
                                       OfNeurology Member
    2004-2011
    2004-2011       American Medical
                    American  Medical Association
                                      Association Member
                                                  Member
    2004-2011
    2004-2011       American Osteopathic
                    Ameiican             Association Member
                             OsteopathicAssociation  Member




  Hobbies
  HOBBIES
     Tennis
     Tennis        Ranked 19
                   Ranked     in Southwestern
                           19 in Southwestern United
                                              United States
                                                     States Junior
                                                            Junior Tennis
                                                                   Tennis
                   Arizona Representative
                   Arizona Representative to
                                          to Hermosillo,
                                             Hermosillo, Mexico
                                                         Mexico International
                                                                International Tennis
                                                                              Tennis Exchange
                                                                                     Exchange
     Exercise
     Exercise      Certified Personal
                   Certified Personal Trainer
                                      Trainer and
                                              and active
                                                  active in
                                                         in multiple
                                                            multiple sports
                                                                     sports
    Theater/TV
    Theater/TV     Principal and
                   Principal and featured
                                 featured roles in over
                                          roles in over 15
                                                        15 productions
                                                           productions
      Poker
      Poker        Future World
                   Future World Poker
                                Poker Tour
                                      Tour Winner
                                           Winner (Hopefully)
                                                  (Hopefully)
      Travel
      Travel       Traveled extensively
                   Traveled extensively and
                                        and always
                                            always interested
                                                   interested in
                                                              in aa new
                                                                    new place
                                                                        place




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                                                                                          Liberty002419
                                                                                          Liberty002419
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                            CURRICULUM VITAE

                            Michael J. Raymond
                               866-927-0184



EDUCATION:

1981                   Ph.D. Rehabilitation (Psychology), Florida
                       State University, Tallahassee, Florida

1978                   M.S. Rehabilitation Counseling, University of
                       Scranton, Scranton, Pennsylvania

1974                   B.A. History/Education, St. Francis College, Loretto,
                       Pennsylvania

PROFESSIONAL EXPERIENCE:

     – Present
2010 —           Clinical Associate Professor
                  Department of Clinical Sciences, The Commonwealth
                  Medical College, Scranton, Pennsylvania.
                      Provide clinical practicum teaching and supervision of
                      medical students with primary emphasis in
                      clinical/forensic neuropsychology and rehabilitation.

     – Present
2010 —           Consulting Neuropsychologist
                  Neuropsychological Rehabilitation Services
                  Neptune, New Jersey.

                     Provide comprehensive clinical and forensic
                     neuropsychological assessment and consultation.

     – Present
2005 —           Neuropsychological Consultant
                  Behavioral Medical Interventions
                  Minneapolis, Minnesota.

Updated 5.5.14


                                                                       Liberty002420
                                                                       Li berty002420
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                         Provided clinical and forensic neuropsychological
                         consultation.

     – 2010
2004 —             Director, Adult Neuropsychology Services
                    Comprehensive Neuropsychological Specialties,
                    Monmouth Beach, New Jersey.
                         Provide comprehensive clinical and forensic
                         neuropsychological assessment and consultation.

     – Present
2002 —             Clinical Professor,
                    Department of Psychology, Philadelphia College of
                    Osteopathic Medicine, Philadelphia, Pennsylvania.
                         Provide clinical practicum teaching and supervision for
                         doctoral psychology students with primary emphasis on
                         clinical neuropsychology and rehabilitation.

1998 - 2000        Visiting Professor,
                   Trnava University, Graduate School of Public Health
                    and Nursing, Trnava, Slovak Republic.
                          Taught graduate courses with primary emphasis on
                          neuropathology, rehabilitation and neuropsychology.

1994 - 1997        Adjunct Professor,
                   Marywood University, Graduate School of Arts and Sciences
                   (Psychology), Scranton, Pennsylvania.
                         Taught graduate level courses with primary emphasis
                         on neuroanatomy, neuropsychological assessment and
                         neurological disorders.

1992 - 2006        Surveyor, Brain Injury Programs,
                   Commission on Accreditation of Rehabilitation Facilities,
                        Tucson, Arizona.

1990 - 2006        Neuropsychologist,
                   Monmouth Neuropsychology Associates,
                   Red Bank, New Jersey.
                        Provided comprehensive clinical and forensic
                        neuropsychological assessment and consultation.

Updated 5.5.2014                        2


                                                                        Liberty002421
                                                                        Li berty002421
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1988 - Present     Director, Clinical/Forensic Neuropsychology,
                   Clinical Director, Brain Injury/Sports Concussion Program,
                   The John Heinz Institute of Rehabilitation Medicine, Wilkes-
                   Barre, Pennsylvania.
                         Provide comprehensive inpatient/outpatient
                         neuropsychological consultation to physicians,
                         and multidisciplinary rehabilitation team, provide
                         consultation to the
                         consultation to the Veteran's
                                             Veteran’s Administration
                                                        Administration Medical
                                                                       Medical
                         Center (VAMC), inservice training/education and
                         research. Provide expert forensic neuropsychological
                         testimony. Provide all managerial, administrative and
                         supervisory duties to a five (5) person department,
                         including cognitive rehabilitation and psychometry and
                         sports concussion program affiliated with professional,
                         college, and high school teams.

     – 1998
1986 —1998         Neuropsychologist, (part-time), Wyoming Valley Health Care
                   System, First Hospital Wyoming Valley, Wilkes-Barre,
                   Pennsylvania.
                         Provided comprehensive inpatient neuropsychological
                         consultation to the psychiatry service, including adult,
                         adolescent, children and addictive treatment programs.
                         Participated in biweekly staff meetings and inservice
                         training.

1986 - 1988        Neuropsychologist, Director, Psychological Services,
                   The John Heinz Institute of Rehabilitation Medicine, Wilkes-
                   Barre, Pennsylvania.
                         Provided comprehensive inpatient/outpatient
                         neuropsychological consultations to the medical service
                         and multidisciplinary rehabilitation team, pain/stress
                         management, cognitive rehabilitation, psychotherapy,
                         inservice training and research. Provided all managerial,
                         administrative and supervisory duties to seven (7) person
                         Department of Psychological Services. Developed a
                         neuropsychological laboratory and contributed toward the
                         development of a cognitive rehabilitation service and
                         brain injury rehabilitation program.

Updated 5.5.2014                        3


                                                                        Liberty002422
                                                                        Li berty002422
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1985 - 1986        Neuropsychologist, Neurorehab Associates, Inc., Rochester
                   New York.
                        Provided comprehensive neuropsychological consultation
                        including assessment and evaluation for day rehabilitation
                        patients and outpatients and individual, family and group
                        psychotherapy. Responsible for the supervision of the
                        neuropsychology service including a staff psychologist
                        and three (3) psychometrists. Contributed to the
                        development of a comprehensive day rehabilitation
                        service for neurologically impaired individuals. Provided
                        consultation to the interdisciplinary rehabilitation team.
                        Participated in weekly neurology grand rounds, The
                        University of Rochester School of Medicine.

1982 - 1985        Clinical Psychologist, (part-time), Family Counseling Clinic,
                   Mansfield, Pennsylvania.
                         Provided intake/brief psychological evaluations and
                         individual family psychotherapy.

1981 - 1985        Clinical Psychologist, Department of Rehabilitation Medicine,
                   Clinical Psychology Section, The Williamsport Hospital
                   and Medical Center, Williamsport, Pennsylvania.
                         Provided consultations to the medical service and
                         multidisciplinary rehabilitation team, neuropsychological
                         assessment and evaluation, pain/stress management,
                         psychotherapy and inservice training. Consultant and
                         contributing editor to the Department of Sports Medicine.

1979 - 1981        Graduate Assistant, Department of Human Services and
                        Studies, Florida State University, Tallahassee, Florida.
                        Instructor: Medical and Psychological Aspects of
                        Disability, 5 hour undergraduate course.

                         Supervisor: Undergraduate intern and field experience,
                                     7 quarters.
                         Researcher: Curriculum Development, Task Force of
                                     Independent Living.1979 —– 1980

1979 - 1980        Directed Individual Study, Department of Psychology,
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                    Tallahassee Pain and Stress Management Institute,
                    Tallahassee, Florida.
                          Training and practice in pain/stress management utilizing
                          a variety of biofeedback modalities and relaxation
                          techniques.

1978 - 1979         Psychological Associate, Divine Providence Hospital,
                    Community Mental Health Center, Williamsport,
                    Pennsylvania.
                         Provided individual, marital and family psychotherapy,
                         psychological and neuropsychological assessment and
                         evaluation, and consultation with the Lycoming County
                         Prison.

1/78 - 6/78         Clinical Psychology Intern, Department of Rehabilitation
                    Medicine, Neuropsychology Section, Geisinger Medical Center,
                    Danville, Pennsylvania.
                          Training and practice in medical consultations (i.e.,
                          neurology, pediatrics, rehabilitation medicine, psychiatry,
                          etc.), provided neuropsychological assessment and
                          evaluation involved with neurologyurology/neurosurgery
                          conferences and rehabilitation medicine grand rounds.

9/77 - 12/77        Graduate Practicum, Department of Psychiatry, Clinical
                    Psychology Section, VA Medical Center, Wilkes-Barre,
                    Pennsylvania.
                         Training and practice in psychiatric consultations,
                         Individual/group therapy, and neuropsychological
                         assessment.

9/77 - 12/77       Graduate Practicum, Department of Career Development,
                   Williamsport Area Community College, Williamsport,
                   Pennsylvania.
                          Training and practice in individual and group
                          vocational counseling, and psychological/vocational
                          assessment and evaluation of college students and
                          community residents.

1974 - 1976         Supervisor, Division of Distribution, Grand Union Company,
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                   Elmwood Park, New Jersey.
                       Supervised union personnel and clerical staff; majority of
                       responsibilities included: productivity, cost analysis and
                       inventory control.



PRESENTATIONS:

November 2011            The American Board of Professional Neuropsychology
                         Preparation for Application, Work Sample Submission
                         and Examination. The National Academy of
                         Neuropsychology Annual Meeting, Marco Island, Florida.

October 2011             Behavioral Manifestations in Brain Injury. Brain Injury
                         Team Inservice. John Heinz Institute of Rehabilitation
                         Medicine, Wilkes-Barre, Pennsylvania.

September 2011           Neurocognitive Deficits in Epilepsy. Epilepsy Support
                         Group, Wilkes-Barre, Pennsylvania.

May 2011                 Clinical and Forensic Neuropsychological Aspects of
                         MTBI . The DiSepio Symposium Series, Saint Francis
                         MTBI.
                         University, Loretto, Pennsylvania.

May 2011                 Roundtable Discussion: Future Trends in Sports
                         Concussion Management. The DiSepio Symposium
                         Series, Saint Francis University, Loretto, Pennsylvania.

March 2011               Neuropsychological Performance in a Patient Following
                         Resection of a Vestibular Schwannoma. American
                                                                 3rd Annual
                         College of Professional Neuropsychology 3rd
                         Conference, Las Vegas, Nevada.

March 2011               Concussions. Call The Doctor, WVIA TV, Avoca,
                         Pennsylvania.

December 2010            Schools Treat Concussions Seriously, Newspaper
                         Interview/Article, The
                         Interview/Article,     Citizen’s Voice,
                                            The Citizen's Voice, Wilkes-Barre,
                                                                 Wilkes-Barre,
                         Pennsylvania.
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November 2010          Concussions Drawing More Attention, Newspaper
                       Interview /Article, The Times Tribune, Scranton,
                       Pennsylvania.

November 2010          Use Your Head When Making Decisions About Sports
                       Concussion, Wilkes-Barre Junior Penguins, Wilkes-
                       Barre, Pennsylvania.

October 2010           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, Vancouver, Canada.

October 2010           Neuropsychological Consequences of Moyamoya
                       Disease: A Clinical Case Study. The National Academy
                       of Neuropsychology Annual Meeting, Vancouver,
                       Canada.

May 2010               Speed that Hurts: MVA & TBI: WILK Radio, Wilkes-
                       Barre, Pennsylvania.

February 2010          Anoxic Encephalopathy Following Cardiac Arrest.
                       American College of Professional Neuropsychology
                       Conference, Las Vegas, Nevada.

November 2009          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, New Orleans,
                       Louisiana.

October 2009           Work-Related Mild Traumatic Brain Injury: Forensic
                       Neuropsychological Assessment 2009. Northeast
                       Regional Occupational Health and Safety Conference,
                       Wilkes-Barre, Pennsylvania.

October 2009           Clinical and Forensic Neuropsychology: An Overview.
                       Brain Injury Rehabilitation Team, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.
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April 2009             Visual Perceptual Symptoms Associated with Right
                       Hemispheric Pathology do not Affect Performance on the
                       TOMM. American College of Professional
                       Neuropsychology Conference, San Diego, California.

March 2009             Clinical Consideration in Sports Concussion
                       Management. Southeast Georgia Healthcare System,
                       Brunswick, Georgia.

October 2008           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, New York, New
                       York.

October 2008           Neuropsychological Consequences of Autosomal
                       Dominant Cerebellar Atrophy: A Clinical Study. The
                       National Academy of Neuropsychology Annual Meeting,
                       New York, New York.

October 2008           Concussion Among High School Athletes. Sports Fever,
                       1340 FOX Sports Radio, Wilkes-Barre, Pennsylvania.

September 2008         Traumatic Brain Injury: Healing the Body and Mind.
                       Call The Doctor, WVIA TV, Avoca, Pennsylvania.

September 2008         Expect the Unexpected: Signs and Symptoms of TBI.
                       Pastoral Care Conference, Wilkes-Barre, Pennsylvania

August 2008            Clinical and Legal Implications of Sports Concussion.
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

August 2008            Consequences of Sports Concussion. Sports Fever,
                       WSWB TV, Wilkes-Barre, Pennsylvania.

June 2008              Signs, Symptoms, and Treatment of Sports Concussion in
                       High School Athletes. Toyota High School Sports Show,
                       FOX 56 TV, Wilkes-Barre, Pennsylvania.
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February 2008          Sports Concussion: Tackling the Common Myths. You
                       Be The Judge, FOX 56 TV, Wilkes-Barre, Pennsylvania.

February 2008          Traumatic Brain Injury Overview. You Be The Judge,
                       FOX 56 TV, Wilkes-Barre, Pennsylvania.

February 2008          Mild Traumatic Brain Injury in the Workplace: Clinical
                       and Forensic Neuropsychological Considerations. PES1:
                       Worker’s Compensation
                       Worker's Compensation Conference,
                                               Conference, Las Vegas, Nevada.
                                                           Las Vegas, Nevada.

November 2007          Cumulative Effects of Multiple Concussion: A
                       Neuropsychological Case Study. The National Academy
                       of Neuropsychology Annual Meeting, Scottsdale,
                       Arizona.

November 2007          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Scottsdale, Arizona.

October 2007           Management of Sports Concussion; Sue Henry Show,
                       WILK Radio, Wilkes-Barre, Pennsylvania.

September 2007         Current Trends in Sports Concussion Management,
                       Sports Talk Saturday, WILK Radio, Wilkes-Barre,
                       Pennsylvania.

March 2007             Work-Related Mild Traumatic Brain Injury: Forensic
                       Neuropsychological Assessment. Workers Injury Law
                                           12th Annual Conference, San
                       and Advocacy Group, 12th
                       Antonio, Texas.

March 2007             Ethical Representation of Brain Injured Workers.
                                                                 12th Annual
                       Workers Injury Law and Advocacy Group, 12th
                       Conference, San Antonio, Texas.

November 2006          Sports Concussion: An Overview for the High School
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                       Athlete. Wilkes-Barre Area School District, Wilkes-
                       Barre, Pennsylvania.

October 2006           Sacred Stories of Sudden Disability, Moderator, Panel
                       Discussion, John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

October 2006           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       San Antonio, Texas.

October 2006           Neuropsychological Sequela in a Patient with a
                       Tumefactive Demyelinating Lesion. The National
                       Academy of Neuropsychology Annual Meeting, San
                       Antonio, Texas.

September 2006         Sports Concussion Management, Sports Talk, WILK
                       Radio, Wilkes-Barre, Pennsylvania.

May 2006               Sports Concussion, Advance (2006, 16, 18), Interview,
                       King of Prussia, Pennsylvania.

May 2006               Survivor/Family Panel Discussion; Moderator, 2006
                       Statewide TBI Conference, Anchorage, Alaska.

May 2006               Neuropsychological Assessment: Clinical/Forensic
                       Implications, 2006 Statewide TBI Conference,
                       Anchorage, Alaska.

May 2006               Sports Concussion, 2006 Statewide TBI Conference,
                       Anchorage, Alaska.

April 2006             Sports Concussion Management, WNEP-TV Health
                       Watch.


April 2006             Program Aims to Assess Concussions. Times Leader

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                       Newspaper Interview (April 25, 2006), Wilkes-
                       Barre, Pennsylvania.

March 2006             Traumatic Brain Injury and Concussion Management,
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

November 2005          Medical Overview: Traumatic Brain Injuries. The
                       Critical Medical, Legal and Funding Issues for Children
                       and Adults with Spinal Cord and Traumatic Brain
                       Injuries, Wilkes-Barre, Pennsylvania.

October 2005           Test of Memory Malingering (TOMM) Performance in
                       Persons with Right Hemisphere Lesions. The National
                       Academy of Neuropsychology Annual Meeting, Tampa,
                       Florida.

October 2005           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Tampa, Florida.

August 2005            Sports Concussion Management, Sports Medicine
                       Conference, John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

November 2004          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission,
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Seattle, Washington.

November 2004          Neuropsychological Findings in a Patient with HELLP
                       Syndrome. The National Academy of Neuropsychology
                       Annual Meeting, Seattle, Washington.




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June 2004              Strategies & Techniques to Improve Adjustment
                       Difficulties following Brain Injury, Brain Injury Support
                       Group, John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

June 2004              Neuropsychological Assessment of Mild Brain Injury in
                       Patients with Spinal Injuries, Brain Injury Association of
                       Pennsylvania Annual Meeting, Harrisburg, Pennsylvania.

February 2004          Community Awareness of Traumatic Brain Injury,
                       Catholic Television Network, Scranton, Pennsylvania.

October 2003           Left Temporal Parietal Infarct Secondary to Idiopathic
                       Thrombocytopenia Purpura: A Neuropsychological Case
                       Study. The National Academy of Neuropsychology
                       Annual Meeting, Dallas, Texas.

March 2003             Neurocognitive and Behavioral Concomitants of
                       Traumatic Brain and Spinal Injuries, Allied Services
                       Rehabilitation Hospital, Scranton, Pennsylvania.

November 2002          Neuropsychological Manifestations of Multiple Sclerosis,
                       National Multiple Sclerosis Society Meeting, Matamoras,
                       Pennsylvania.

October 2002           Neuropsychological Performance in a Patient with Von
                       Hippel-Lindau Disease, The National Academy of
                       Neuropsychology Annual Meeting, Miami, Florida.

August 2002            Family Intervention Strategies Following Brain Injury,
                       Brain Injury Support Group, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 2002            Cognitive and Behavioral Symptoms of Sjogren
                       Syndrome, Susquehanna Neuropsychology Group,
                       Wilkes-Barre, Pennsylvania.

November 2001          Neuropsychological Assessment: A Clinical Overview.
                       Interdisciplinary Approach to Brain Injury Rehabilitation,
                       Allied Services John Heinz Institute of Rehabilitation
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                       Medicine, Wilkes-Barre, Pennsylvania.

November 2001          Neuropsychological Manifestations in a Case of Sjogren
                       Syndrome , The National Academy of Neuropsychology
                       Annual Meeting, San Francisco, California.

May 2001               Neuropsychological Aspects of Mild Brain Injury,
                       Association of Rehabilitation Nurses, Wilkes-Barre,
                       Pennsylvania.

November 2000          Central Neurocytoma: Serial Neuropsychological
                       Findings, The National Academy of Neuropsychology
                       Annual Meeting, Orlando, Florida.

November 2000          Neuropsychological Assessment and Treatment of
                       Multiple Sclerosis, National Multiple Sclerosis Society,
                       Wilkes-Barre, Pennsylvania.

October 2000           Post Concussion: An Oft Neglected Syndrome, Medical
                       Staff Meeting, Allied Services John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

September 2000         An Expert Opinion on Concussion, Times Leader
                       Newspaper (interview), Wilkes-Barre, Pennsylvania.

May 2000               Neuropsychological Assessment of Acquired Brain
                       Injuries, Luzerne/Lackawanna County Critical Care
                       Association, Moosic, Pennsylvania.

November 1999          Neurobehavioral Sequelae of Immunotherapy
                       Anaphylaxis, The National Academy of Neuropsychology
                       Annual Meeting, San Antonio, Texas.

October 1999           Neuropsychological Assessment: A Clinical Overview.
                       Interdisciplinary Approach to Brain Injury Rehabilitation,
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

September 1999         Signs, Symptoms, and Suggestions of Everyday
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                       Concussion, Brain Injury Support Group, John Heinz

                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

August 1999            Concussion in Sports, WWDL 105 FM Radio, Scranton,
                       Pennsylvania.

May 1999               Symptom Exaggeration and Mild Traumatic Brain Injury:
                       An Unbelievable Case, Advanced Workshop in Applied
                       Clinical Neuropsychology, The Reitan Society Annual
                       Meeting, San Diego, California.

April 1999             Neurobehavioral Consequences of Acquired Brain Injury,
                       Outpatient Services, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

November 1998          Repeal of the Helmet Law; Clinical Considerations,
                       WBRE (NBC) TV, Wilkes-Barre, Pennsylvania.

November 1998          Brainwave-R: Cognitive Strategies and Techniques for
                       Brain Injury Rehabilitation, The Reitan Society Meeting,
                       18th Annual Conference of the National Academy of
                       Neuropsychology, Washington, D.C.

September 1998         Multidisciplinary Approach to Rehabilitation, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

September 1998         Viral Encephalitis: A Case Study Based on Serial HRNB
                       Performances, The Reitan Society Annual Meeting,
                       Tuscon, Arizona.

August 1998            International Teleconference on Rehabilitation,
                       University of Scranton, Scranton, Pennsylvania.

June 1998              Post Concussion: An Oft Neglected Syndrome, Medical
                       Staff Meeting, Allied Services Rehabilitation Hospital,
                       Scranton, Pennsylvania.


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May 1998               Neurological Rehabilitation in the United States; Panel
                       Discussion, Trnava University, Slovak Republic.

May 1998               Model Brain Injury Program; Panel Discussion,
                       International Brain Injury Association Educational
                       Lecture Series, Prague, Czech Republic.

May 1998               Major Consequences of Mild Brain Injury, International
                       Brain Injury Association Educational Lecture Series,
                       Prague, Czech Republic.

April 1998             Common Misconceptions about Brain Injury Among
                       Survivors and Family Members, Brain Injury Support
                       Group, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

January 1998           Mild Brain Injury; Multispecialty Perspectives, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

December 1997          Photostimulation and Seizures: The Japanese Cartoon
                       Dilemma. WARM Radio (590 AM), Pittston,
                       Pennsylvania.

November 1997          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       Las Vegas, Nevada.

November 1997          Neuropsychological Dysfunction in a Mixed Dominant
                       Patient Following a Left Temporoparietal Abscess, The
                       National Academy of Neuropsychology Annual Meeting,
                       Las Vegas, Nevada.

November 1997          Recovery from Traumatic Brain Injury: A Cognitive
                       Rehabilitation Case Study, The Brain Injury Association
                       Annual National Symposium, Philadelphia, Pennsylvania.

May 1997               Overview of Neuropsychological/Cognitive Services:
                       Diagnosis and Treatment of Neurological Disorders, The

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                       John Heinz Institute of Rehabilitation Medicine,
                       Tunkhannock Clinic, Tunkhannock, Pennsylvania.


May 1997               Overview of Neuropsychological/Cognitive Services:
                       Diagnosis and Treatment of Neurological Disorders, The
                       John Heinz Institute of Rehabilitation Medicine, Hazleton
                       Clinic, Hazleton, Pennsylvania.

February 1997          The Effects of Traumatic Brain Injury on the Survivor
                       and Family, Brain Injury Support Group, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1996          Neuropsychological Consultation in Rehabilitation,
                       The National Academy of Neuropsychology Annual
                       Meeting, New Orleans, Louisiana.

November 1996          Neuropsychological Dysfunction in a Patient with
                       Multiple Meningiomas, Reitan Society Meeting,
                       New Orleans, Louisiana.

April 1996             Neurobehavioral Consequences of Brain Injury,
                       Valley Crest Nursing Facility, Wilkes-Barre,
                       Pennsylvania.

November 1995          Traumatic Brain Injuries, Panel Discussion, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

November 1995          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       San Francisco, California.

November 1995          Neuropsychological Aspects of Posthallucinogen
                       Perception Disorder, Reitan Society Meeting,
                       San Francisco, California.

October 1995           Neurosurgical/Neuropsychological Collaboration in the

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                       Diagnosis and Treatment of Meningioma, WBRE
                       (NBC) TV, Wilkes-Barre, Pennsylvania.



August 1995            Current Perspectives of Brain Injury Rehabilitation, Brain
                       Injury Support Group, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 1995            Forensic Neuropsychological Considerations in
                       Traumatic Brain Injury Cases, Litigation Department,
                       Hourigan, Kluger, Spohrer, Quinn, Wilkes-Barre,
                       Pennsylvania.

March 1995             Careers in Psychology, Kings College, Wilkes-Barre,
                       Pennsylvania.

January 1995           Brainwave-R: A Comprehensive Cognitive Rehabilitation
                       Program, Applied Cognitive Rehabilitation Training
                       Seminar, Albuquerque, New Mexico.

December 1994          Assessment of Malingering (part 2), Psychology
                       Department, First Hospital Wyoming Valley, Wilkes-
                       Barre, Pennsylvania.

November 1994          Assessment of Malingering (part 1), Psychology
                       Department, First Hospital Wyoming Valley, Wilkes-
                       Barre, Pennsylvania.

November 1994          Rehabilitation Overview, Medical Staff, Headley Court,
                       Surrey, England.

November 1994          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       Orlando, Florida.

November 1994          The Effects of Unilateral Vascular Lesions and Gender on
                       Visual-Spatial and Verbal Auditory Attention, The
                       National Academy of Neuropsychology Annual
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                       Meeting, Orlando, Florida.

November 1994          Predictive Validity of Neuropsychological Deficit Scale
                       and Halstead Impairment Index in Mild Traumatic Brain

                       Injury: A Two Center Study, The Reitan Society
                       Meeting, Orlando, Florida.

April 1994             Neurobehavioral Consequences of Acquired Brain Injury,
                       Meadows Nursing and Rehabilitation Center, Dallas,
                       Pennsylvania.

February 1994          Summary Challenge Moderator: The National Forum
                       Conference on Federal Healthcare Legislation,
                       Washington, D.C.

December 1993          Neuropsychological Overview, Wilkes University
                       Nursing Students, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

December 1993          Traumatic Brain Injury: The Transition from
                       Rehabilitation to College, Luzerne County Community
                       College, Nanticoke, Pennsylvania.

November 1993          Grand Rounds: Penetrating Head Injury Without
                       Neuropsychological Deficits, The Susquehanna
                       Neuropsychology Group, Wilkes-Barre, Pennsylvania.

November 1993          Medicolegal Aspects of Epilepsy, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1993           Moderator: Reitan Society Meeting, The National
                       Academy of Neuropsychology Annual Meeting,
                       Phoenix, Arizona.

October 1993           The Neuropsychologist as Consultant in Rehabilitation,
                       The National Academy of Neuropsychology Annual
                       Meeting, Phoenix, Arizona.

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May 1993               Neuropsychological Assessment of Traumatic Brain
                       Injury, Head Trauma Awareness Group, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

April 1993             Head Injuries, Call The Doctor, WVIA TV, Avoca,
                       Pennsylvania

February 1993          Careers in Psychology, Kings College, Wilkes-Barre,
                       Pennsylvania.

January 1993           The Transition from Rehabilitation to School, Luzerne
                       Intermediate Unit, Wilkes-Barre, Pennsylvania.

November 1992          Medicolegal Aspects of Minor Head Injury, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

September 1992         Neuropsychology Overview: College Misericordia
                       Nursing Students, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

September 1992         Behavioral Problems Following Traumatic Brain Injury,
                       Head Injury Support Group, Wilkes-Barre, Pennsylvania.

May 1992               Minor Head Injury: Neuropsychological Perspectives,
                       The Second Annual Educational Conference of the JMA
                       Foundation, Baltimore, Maryland.

April 1992             Neuropsychological Consequences of Traumatic Brain
                       Injury, Head Trauma Symposium, Marywood University,
                       Scranton, Pennsylvania.

April 1992             Neuropsychological Aspects of Minor Head Injury, Mild
                       Traumatic Brain Injury Conference, Reading,
                       Pennsylvania.

March 1992             Neuropsychological Rehabilitation: A Clinical Overview,


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                       American Rehabilitation Nursing Association, Wilkes-
                       Barre, Pennsylvania.



March 1992             Neuropsychology Overview, Lycoming College Nursing
                       Students, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

February 1992          Halstead - Reitan Neuropsychological Battery (2 Part
                       series), Psychology Department, First Hospital Wyoming
                       Valley, Wilkes-Barre, Pennsylvania.

February 1992          The Use of the Knox's Cube Test and Digit Span in
                       Assessing Memory and Attention, International
                       Neuropsychological Society Annual Meeting, San Diego
                       California.

February 1992          Neuropsychological Assessment: An Adjunct to
                       Neurological Diagnosis, The Seventh Annual University
                       of Scranton Psychology Conference, Scranton,
                       Pennsylvania.

January 1992           Management of the Aggressive Patient, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

November 1991          Medicolegal Aspects of Symptom Exaggeration and
                       Malingering: A Clinical Update, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1991          Antiseizure Medication and Cognitive Performance,
                       Nursing Department, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 1991            Minor Head Injury Rehabilitation, PARF Conference,
                       Harrisburg, Pennsylvania.



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August 1991            Head Trauma Rehabilitation Overview, St. Francis
                       Medical Center, Poughkeepsie, New York.

June 1991              Helmet Law and Head Injury, WBRE (NBC) TV,
                       Wilkes-Barre, Pennsylvania.

May 1991               Neuropsychology Overview, Nursing Department, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

April 1991             Neuropsychological Aspects of Minor Head Injury, The
                       First Annual Educational Conference of The National
                       Brain Injury Research Foundation, Washington, D.C.

March 1991             Neuropsychological Sequelae in Acute Carbon Monoxide
                       Encephalopathy, The Sixth National Traumatic Brain
                       Injury Symposium, Baltimore, Maryland.

February 1991          Handedness and Gender Effects on the Relative
                       Preservation of Visuospatial Versus Verbal Function
                       Following Right Hemisphere Stroke, The Sixth Annual
                       University of Scranton Psychology Conference, Scranton,
                       Pennsylvania.

January 1991           Depression vs. Dementia, Apple A Day, WVIA TV,
                       Avoca, Pennsylvania.

November 1990          Medicological Aspects of Competency in Dementia, The
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

November 1990          Handedness and Gender Effects on the Relative
                       Preservation of Visuospatial Versus Verbal Function
                       Following Right Hemisphere Stroke, The National
                       Academy of Neuropsychology Annual Meeting, Reno,
                       Nevada.

October 1990           Head Trauma Rehabilitation, Southern Tier Independence
                       Center Head Injury Conference, Binghamton, New York.


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August 1990            Overview of Neuropsychological/Cognitive
                       Services, Veterans Administration Medical Center,
                       Wilkes-Barre, Pennsylvania.

June 1990              Neuropsychological Assessment Tutorial, Psychology
                       Department, First Hospital Wyoming Valley,
                       Wilkes-Barre, Pennsylvania.

March 1990             Neuropsychological Consideration of Minor Head Injury,
                       Crawford Rehabilitation Services, Denver, Colorado.

February 1990          Medicolegal Aspects of Malingering: A
                       Neuropsychological Perspective, Central Rehabilitation
                       Associates, Inc., Camp Hill, Pennsylvania.

January 1990           Minor Head Injury, Apple A Day, WVIA TV, Avoca,
                       Pennsylvania.

December 1989          Head Trauma Rehabilitation: Behavioral Management
                       Strategies, Nursing Department, The John Heinz Institute
                       of Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

November 1989          Medicolegal Aspects of Symptom Exaggeration and
                       Malingering, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

September 1989         Halstead-Reitan Neuropsychological Battery (3 part
                       series), Psychology Department, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

June 1989              Interpersonal Communication Training, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

May 1989               Neuropsychology Update: Post-Concussive Syndrome,
                       Department of Neurology/Neurosurgery, Community
                       Medical Center, Scranton, Pennsylvania.


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March 1989             Current Trends in Head Trauma Rehabilitation, WARM
                       Radio, Avoca, Pennsylvania.


March 1989             Personal Injury Litigation, A Neuropsychological
                       Perspective, Luzerne County Bar and Library
                       Association, Wilkes-Barre, Pennsylvania.

December 1988          Neuropsychological Deficit Scale: A Clinical Case
                       Review, Susquehanna Neuropsychology Group,
                       Wilkes-Barre, Pennsylvania.

December 1988          WAIS-R Implications in Neuropsychological
                       Assessment, (3 part series), Psychology Department, First
                       Hospital Wyoming Valley, Wilkes-Barre, Pennsylvania.

November 1988          Neuropsychological Aspects of Diffuse Histiocytic
                       Lymphoma, The National Academy of
                       Neuropsychologists Annual Meeting, Orlando, Florida.

November 1988          Medicolegal Aspects of Minor Head Injury, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1988          Halstead-Reitan Neuropsychological Battery, Graduate
                       Psychology Class, Marywood College, Scranton,
                       Pennsylvania.

November 1988          Wechsler Memory Scale-Revised, Psychology
                       Department, First Hospital Wyoming Valley,
                       Wilkes-Barre, Pennsylvania.

September 1988         Head Trauma Rehabilitation, Apple A Day, WVIA TV,
                       Avoca, Pennsylvania.

September 1988         Neuropsychological Investigation in Traumatic Brain
                       Injury: A Cognitive Rehabilitation Case Study, Cognitive
                       Rehabilitation: Community Reintegration Through

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                       Scientifically Based Practice, Richmond, Virginia.

June 1988              Neuropsychology Overview, United Rehabilitation
                       Services, Wilkes-Barre, Pennsylvania.

June 1988              Behavioral Sequelae of Stroke, Nursing Department, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

February 1988          Neuropsychological Investigation in Right Hemisphere
                       Stroke: A Rehabilitation Case Study, The Fourth Annual
                       Psychology Conference, University of Scranton,
                       Scranton, Pennsylvania.

November 1987          Neuropsychological Assessment (3 part series),
                       Department of Psychological Services, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1987           Worker's Compensation Developments - 1987;
                       Neuropsychological Testimony, The Dickinson School of
                       Law, Carlisle, Pennsylvania.

October 1987           Neuropsychological Investigation in Right Hemisphere
                       Stroke: A Rehabilitation Case Study, The National
                       Academy of Neuropsychologists Annual Meeting,
                       Chicago, Illinois.

May 1987               Psychological Considerations in Multiple Sclerosis,
                       Multiple Sclerosis Society, Wilkes-Barre, Pennsylvania.

March 1987             Neuropsychological Assessment: Halstead-Reitan
                       Battery, Psychology Department, First Hospital
                       Wyoming Valley, Wilkes-Barre, Pennsylvania.

March 1987             Psychological Considerations in Stroke Rehabilitation,
                       Meadows Nursing Facility, Dallas, Pennsylvania.

February 1987          Similar Neuropsychological Findings from

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                       Cardiovascular Abnormalities: A Comparison Case
                       Study, The Third Annual Psychology Conference,
                       University of Scranton, Scranton, Pennsylvania.


February 1987          Neuropsychological Assessment: Halstead-Reitan
                       Battery, Psychology Department, First Hospital
                       Wyoming Valley, Wilkes-Barre, Pennsylvania.

February 1987          Behavioral Sequelae of Head Trauma, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

February 1987          WAIS-R Implications in Neuropsychological
                       Assessment, Department of Psychological Services, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

January 1987           Pain Management for the Elderly, Senior Citizen Group,
                       Salvation Army, Wilkes-Barre, Pennsylvania.

January 1987           Introduction to Neuropsychological Assessment,
                       Department of Psychological Services, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1986           Similar Neuropsychological Findings from
                       Cardiovascular Abnormalities: A Comparison Case
                       Study, The National Academy of Neuropsychologists
                       Annual Meeting, Las Vegas, Nevada.

August 1986            WAIS-R Implications in Neuropsychological
                       Assessment, Department of Psychological Services,
                       The John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

May 1986               Bedside Neuropsychological Examination, Department of
                       Psychological Services, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

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December 1985          Differential Diagnosis of Dementia, Neuropsychology
                       Service, Neurorehab Associates, Rochester, New York.


August 1985            Halstead-Reitan Neuropsychological Battery,
                       Neuropsychology Service, Neurorehab Associates,
                       Rochester, New York.

October 1984           Differential Intellectual Sequelae of Right Hemisphere
                       CVA in Left vs. Right-Handed Patients. The National
                       Academy of Neuropsychologists Annual Meeting, San
                       Diego, California.

March 1984             Neuropsychological Aspects of Head Trauma, SUN
                       Home Health Agency, Part II, Sunbury, Pennsylvania.

January 1984           Neuropsychological Aspects of Head Trauma, SUN
                       Home Health Agency, Part I, Sunbury, Pennsylvania.

June 1983              Neuropsychology Inservice, Department of
                       Nursing, Williamsport Hospital, Williamsport,
                       Pennsylvania.

May 1983               Learning Disabilities and Neuropsychological
                       Assessment, Office of Vocational Rehabilitation,
                       Williamsport, Pennsylvania.

November 1982          Sports Psychology Winter Workshop, The Department of
                       Sports Medicine, Williamsport Hospital, Williamsport,
                       Pennsylvania.

March 1982            Psychological Aspects of Asthma, The Central
                      Pennsylvania Lung and Health Service Association,
                      Williamsport, Pennsylvania.

February 1982          Coping with the Cancer Patient, Department of
                       Hematology/Oncology, Williamsport Hospital,
                       Williamsport, Pennsylvania.


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BOARDS AND COMMITTEES:

     – Present
2007 —                 National Alumni Board of Directors, Florida State
                       University Alumni Association, Tallahassee, Florida.

     – Present
2003 —                 Medical Advisor, National Brain and Spinal Cord Injury
                       Prevention Program, Think First Program, Wilkes-Barre,
                       Pennsylvania.

     – 2002
2001 —                 Examiner and Site Coordinator for Standardization
                       Sample of the Reynolds Intellectual Assessment Scales
                       (RIAS), Psychological Assessment Resources (PAR),
                       Lutz, Florida.

     – 2005
2001 —                 Manuscript Reviewer, Rehabilitation Psychology,
                       Washington, D.C.

     – 2005
2000 —                 Member, Clinical Practitioner Task Force: National
                       Academy of Neuropsychology, Denver, Colorado.

     – 2002
1999 —                 Board Member, Coalition of Clinical Practitioners in
                       Neuropsychology, Tucson, Arizona.

     – 2000
1999 —                 President, Reitan Society, Tucson, Arizona.

1998 - Present         Editorial Board, Journal of Cognitive Rehabilitation,
                       Indianapolis, Indiana.

1997 - 2006            Editorial Board, Journal of Forensic Neuropsychology,
                       Dallas, Texas.

1996 - Present         New Jersey Board of Psychological Examiners
                       (Examiner; Neuropsychology) Newark, New Jersey.

1996 - Present         Editorial Board, The Professional Neuropsychologist.
                       Bethesda, Maryland.

     – 1997
1996 —1997             APA Continuing Education Committee, Marywood


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                       University, Scranton, Pennsylvania.

1996 - 1998            Professional Affairs Committee, National Academy of
                       Neuropsychology, Aurora, Colorado.

1995 - 1998            Vice-President, Reitan Society, Danville, Pennsylvania.

     – 2007
1995 —                 President, American College of Professional
                       Neuropsychology, White River Junction, Vermont.

1994 - 1997            Chairperson, Public Relations Committee, National
                       Academy of Neuropsychology, Aurora, Colorado.

1994 - Present         Executive Director, American Board of Professional
                       Neuropsychology, White River Junction, Vermont.

1993 - 2006            Consulting Editor, Archives of Clinical Neuropsychology
                       College Station, Texas.

1993 - 1995            Co-Chairperson, Reitan Society, Danville, Pennsylvania.

1993 - 1997            Program Committee, National Academy of
                       Neuropsychology, Aurora, Colorado.

1993 - 1994            Coordinator, Professional Lecture Series, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

     – 2000
1992 —                 Editorial Board, Allied Services, Scranton, Pennsylvania.

1992 - 1993            Reitan Society Steering Committee, Danville,
                       Pennsylvania.

1992 - 1998            Physicians Health Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1992 - 2006            Commission on Accreditation of Rehabilitation Facilities
                       (CARF), Surveyor, Tucson, Arizona.



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1991 - Present         American Board of Professional Neuropsychology
                       (Examiner) White River Junction, Vermont.

1989 - 1994            Medical Advisory Council, The National Brain Injury
                       Research Foundation, Washington, D.C.

1989 - 1994            Editorial Board, (Associate Editor), The Journal of Head
                       Injury, Washington, D.C.

1989 - 2007            Research Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1987 - Present         Medical Records Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - Present         Brain Injury Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - 2007            Quality Assurance Committee, The John Heinz Institute
                       of Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - 2008            Medical Staff Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1987 - 1988            Advisory Board Member, NHIF Northeast Region,
                       Wilkes-Barre, Pennsylvania.

1986 - 1987            Patient/Family Education Committee, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

1985 - 1986            Board Member, Neurorehab Associates, Inc., Rochester,
                       New York.

1985 - 1986            Board Member, NHIF Eastern Region, Rochester,
                       New York.

1984 - 1986            Board Member, NHIF Eastern Region, Williamsport,
                       Pennsylvania.


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1983 - 1985              Employee Health, Fitness and Recreation Program,
                         Williamsport Hospital, Williamsport, Pennsylvania.

1982 - 1985              Board Member, Counseling Clinic, United Methodist
                         Home for Children, Mansfield, Pennsylvania.

1981 - 1985              Behavioral Science Committee, Williamsport Hospital,
                         Williamsport, Pennsylvania.


                  LICENSURE:
CERTIFICATION AND LICENSURE:

                          American Board of Forensic Examiners,
                               Diplomate (1303) (Neuropsychology)
                          American Board of Professional Disability Consultants,
                               Diplomate (P-132)
                          American Board of Professional Neuropsychology,
                               Diplomate (232)
                          American Board of Professional Neuropsychology,
                               Added Qualifications in Rehabilitation (112) and
                               Forensics (127)
                         ImPACT Consultant, Sports Concussion Management
                         New Jersey State Board of Psychological Examiners
                               (SI02529)




AWARDS AND HONORS:

              Healthcare Hero Award, Times Leader, 2010
              Distinguished Neuropsychologist Award, American Board of
                    Professional Neuropsychology, 2003
              Ad-Hoc Member on Rehabilitation, Hospital Association of
                    Pennsylvania, 1999.
              Charter Member, Coalition of Clinical Practitioners in
                    Neuropsychology, 1999.
                                              – 2000.
              President, Reitan Society, 1998 —
              Honorary Professorship, Trnava University, 1998.


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             Charter Member, Reitan Society, 1997.
             Diplomate, American Board of Forensic Examiners, 1995.
             Distinguished Alumnus Award in Medicine, St. Francis College, 1995.
             Fellow, American College of Professional Neuropsychology, 1995.
             Fellow, National Academy of Neuropsychology, 1994.
             Diplomate, American Board of Professional Disability Consultants,
                   1993.
             Diplomate, American Board of Professional Neuropsychology, 1991.
             Fellow, Pennsylvania Psychological Association, 1990.
             Graduate Assistantship, Florida State University, 1979 - 1981.
             Rho Chi Sigma, Rehabilitation Counseling Services Honor Society,
                   1979.
             Rehabilitation Services Administration Traineeship Award,
                   1976 - 1978.


             MEMBERSHIPS::
PROFESSIONAL MEMBERSHIPS

             American Board of Forensic Examiners (Diplomate)
             American Board of Professional Neuropsychology (Diplomate)
             American College of Forensic Examiners
             American College of Professional Neuropsychology (Fellow)
             American Psychological Association; (1, 22, 40)
             Brain Injury Association
             Coalition of Neuropsychology (Charter Member)
             International Neuropsychological Society
             National Academy of Neuropsychology (Fellow)
             National Brain Injury Research Foundation
             New Jersey Neuropsychological Society
             Reitan Society (President, Vice President)
             Society for Cognitive Rehabilitation
             Susquehanna Neuropsychology Group (Past President)
             National Brain and Spinal Cord Injury Prevention Program; Think
             First Program (Medical Advisor)

RESEARCH/PUBLICATIONS:

             Raymond, M.J. (in press). Neuropsychological performance in a
                 Patient following resection of a vestibular schwannoma.


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                                                                      Liberty002450
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                   Applied Neuropsychology (abstract).

             Raymond, M.J. (2010). Neuropsychological consequences of
                 Moyamoya Disease: A clinical case study. Archives of
                 Clinical Neuropsychology, 25, 6 (abstract).


             Raymond, M.J. (2010). Anoxic encephalopathy following
                 cardiac arrest. Applied Neuropsychology, 17, 3 (abstract).

             Bennett, T.L. & Raymond, M.J. (2010). Neuropsychological
                  assessment in disability determination, fitness for duty and
                  rehabilitation planning. In A.M. Horton & L.C. Hartlage (Eds).
                                                                 nd
                  Handbook of Forensic Neuropsychology, 22nd        edition, New
                  York, Springer.

             Sewick, B. & Raymond, M.J. (2009). Visual perceptual
                  symptoms associated with right hemisphere pathology do not
                  affect performance on the Test of Memory Malingering
                  (TOMM). Applied Neuropsychology, 16, 4 (abstract).

             Raymond, M.J. (2008). Neuropsychological consequences of
                 autosomal dominant cerebellar atrophy: a clinical study.
                 Archives of Clinical Neuropsychology, 23, 6 (abstract).

             Bennett, T.L. & Raymond, M.J. (2008). The neuropsychology
                  of traumatic brain injury. In A.M. Horton, D. Wedding & J.
                  Webster (Eds.). The Neuropsychology Handbook, Volume 3,
                  New York, Springer.

             Raymond, M.J. (2007). Work-related mild traumatic brain injury:
                                                         Worker’s First
                 forensic neuropsychological assessment. Worker's   First
                 Watch, Fall.

             Raymond, M.J. (2007). Cumulative effects of multiple concussions: a
                 neuropsychological case study. Archives of Clinical
                 Neuropsychology, 22, 7 (abstract).

             Raymond, M.J. (2007). Playball: not so fast my friend; a sports
                 concussion case study. ImPACT Newsletter, Spring.

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             Raymond, M.J. (2006). Neuropsychological sequela in a patient with
                 a tumefactive demyelinating lesion. Archives of Clinical
                 Neuropsychology, 21, 6 (abstract).


             Raymond, M.J. & Sewick, B.G. (2005). Test of Memory Malingering
                 (TOMM) performance in persons with right hemispheric lesions.
                 Archives of Clinical Neuropsychology, 20, 7 (abstract).

             Raymond, M.J. (2005). Neuropsychological profile of a patient with a
                 CSF assay
                 CSF  assay suggestive
                             suggestive of
                                        of Alzheimer's
                                           Alzheimer’s Disease.
                                                       Disease. Applied
                 Neuropsychology, 12, 4 (abstract).

             Raymond, M.J. (2004). Neuropsychological findings in a patient with
                 HELLP syndrome. Archives of Clinical Neuropsychology,
                 19, 7 (abstract).

             Raymond, M.J. (2003). Forensic neuropsychological assessment in
                 cases of mild traumatic brain injury. Workers First Watch, 3,
                 3.

             Raymond, M. J. (2003). Left temporal parietal infarct secondary to
                 Idiopathic Thrombocytopenia Purpura: A neuropsychological
                 case study. Archives of Clinical Neuropsychology, 18, 8
                 (abstract).

             Bennett, T.L. & Raymond, M.J. (2003). Utilizing
                  neuropsychological testing in disability determination and
                  rehabilitation planning. In A. M. Horton & L.C. Hartlage
                  (Eds.), Handbook of Forensic Neuropsychology, New York,
                  Springer.

             Raymond, M. J. (2003). Neuropsychological features of Von
                 Hippel-Lindau disease. New Jersey Neuropsychological
                 Society Newsletter, Winter/Spring.

             Raymond, M. J. (2002). Cognitive and behavioral symptoms in a
                 case of Sjogren syndrome. Journal of Cognitive


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                   Rehabilitation, Fall.

             Raymond, M. J. (2002). Neuropsychological performance in a case of
                 Von Hippel-Lindau disease. Archives of Clinical
                 Neuropsychology, 17, 8 (abstract).

             Raymond, M.J. (2001). Neuropsychological manifestations in a
                 case of Sjogren syndrome. Archives of Clinical
                 Neuropsychology, 16, 8 (abstract).

             Raymond, M.J. (2000). Central Neurocytoma: serial
                 neuropsychological findings. Archives of Clinical
                 Neuropsychology, 15, 8 (abstract).

             Raymond, M. J. (1999). Symptom exaggeration and mild traumatic
                 brain injury: An unbelievable case. Reitan Society Bulletin, 5
                 (abstract).

             Raymond, M. J. (1999). Neurobehavioral sequelae of immunotherapy
                 anaphylaxis. Archives of Clinical Neuropsychology, 14, 8
                 (abstract).

             Raymond, M.J., Bewick, K.C., Bennett, T.L., Malia, K.B. (1999).
                 A comprehensive functional approach to brain injury
                 rehabilitation. Brain Injury Source, Fall.

             Raymond, M.J., Castellino, R.M. (1999). The role of the clinical
                 neuropsychologist in the assessment and treatment of
                 rehabilitation patients. Special issue: Rehabilitation. Journal
                 of Health Management and Public Health, 4, 3.

             Raymond, M.J., Bewick, K.C., Kennedy, A. & Duffy, T.F. (1999).
                 A model program for brain injury rehabilitation. Special issue:
                 Rehabilitation. Journal of Health Management and Public
                 Health, 4, 3.

             Raymond, M.J. & Bennett, T.L. (1999). Introduction and overview.
                 In M.J. Raymond, T.L. Bennett, L.C. Hartlage & C.M.
                                Mild Traumatic
                 Cullum (Eds.), Mild  Traumatic Brain   Injury: A
                                                  Brain Injury:  A Clinician’s
                                                                   Clinician's

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                   Guide, Austin, Texas: Pro-Ed.

             Bennett, T.L. & Raymond, M.J. (1999). Psychotherapeutic
                  interventions for individuals with mild traumatic brain injury.
                  In M.J. Raymond, T.L. Bennett, L.C. Hartlage &

                   C.M. Cullum (Eds.), Mild Traumatic Brian Injury: A
                   Clinician’s Guide,
                   Clinician's Guide, Austin, Texas: Pro-Ed.

             Raymond, M.J., Bennett, T.L., Hartlage, L.C., & Cullum, C.M.
                 (1999). Mild
                         Mild Traumatic     Brain Injury:
                               Traumatic Brain     Injury: AA Clinician's
                                                              Clinician’s
                 Guide, Austin, Texas: Pro-Ed.

             Raymond, M.J. (1998). Viral encephalitis; A case study based on
                 serial HRNB performance. Reitan Society Bulletin, 4
                 (abstract).

             Malia, K.B., Raymond, M.J., Bewick, K.C., & Bennett, T.L.
                   (1998). Information processing deficits and brain
                   injury: Preliminary results, Neuro Rehabilitation, 11, 3.

             Raymond, M.J. (1998). Post concussion: An often neglected
                 syndrome. Northeast Rehab. September/October.

             Bennett, T.L., Raymond, M.J., Malia, K.B., Bewick, K.C., Linton,
                  B.S. (1998). Rehabilitation of attention and concentration
                  deficits following brain injury. Journal of Cognitive
                  Rehabilitation, March/April.

             Raymond, M.J. (1998). Neuropsychological dysfunction in a mixed
                 dominant patient following a left temporoparietal abscess.
                 Archives of Clinical Neuropsychology, 13, 1 (abstract).

             Raymond, M.J. (1997). Neuropsychological dysfunction in a
                 patient with multiple meningiomas. Reitan Society Bulletin, 3
                 (abstract).

             Bennett, T.L. & Raymond, M.J. (1997). Mild brain injury: An
                  overview. Applied Neuropsychology, 4, 1.

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             Bennett, T.L. & Raymond, M.J. (1997). Emotional
                  consequences of and psychotherapy for individuals
                  with mild brain injury. Applied Neuropsychology, 4, 1.


             Malia, K.B., Bewick, K.C., Raymond, M.J., & Bennett, T.L. (1997).
                   Brainwave R: Cognitive Strategies and Techniques
                   for Brain Injury Rehabilitation, Austin, Texas: Pro-Ed.

             Raymond, M.J. (1996). Neuropsychological aspects of
                 posthallucinogen perception disorder. Reitan Society Bulletin,
                 2, 1 (abstract).

             Martin, R.C., Franzen, M.D., & Raymond, M.J. (1996). The
                   effects of unilateral vascular lesions and gender on visual-
                   spatial and verbal-auditory attention span. Applied
                   Neuropsychology, 3, 4.

             Raymond, M.J., Bewick, K.C., Malia, K.B., & Bennett, T.L. (1996).
                 A comprehensive approach to memory rehabilitation
                 following brain injury. Journal of Cognitive Rehabilitation.
                 November/December.

             Malia, K.B., Bewick, K.C., Raymond, M.J., & Bennett, T.L. (1996).
                   Memory: A comprehensive approach. Society for Cognitive
                   Rehabilitation Newsletter, 4, 3.

             Raymond, M.J., Bennett, T.L., Malia, K.B., & Bewick, K.C. (1996).
                 Rehabilitation of visual processing deficits following brain
                 injury. Neuro Rehabilitation, 6, 3.

             Rojas, D.C., Raymond, M.J., & Bennett, T.L. (1995). Predictive
                   validity of the neuropsychological deficit scale and halstead
                   impairment index in mild brain injury: A two center study.
                   Reitan Society Bulletin, 1, 1 (abstract).

             Bewick, K.C., Raymond, M.J., Malia, K.B., & Bennett, T.L. (1995).
                  Metacognition as the ultimate executive: Techniques and tasks

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                   to facilitate executive functions. Neuro Rehabilitation, 5, 4.

             Martin, R.C., Franzen, M.D., & Raymond, M.J. (1995). The effects
                   of unilateral vascular lesions and gender on visual-spatial and
                   verbal-auditory attention. Archives of Clinical
                   Neuropsychology, 10, 4 (abstract).

             Raymond, M.J. (1994). Neuropsychological consultation in
                 rehabilitation. New Jersey Rehab, 3.

             Raymond, M.J. (1994). Aging and neuropsychological assessment.
                 Archives of Clinical Neuropsychology, 9, 6. (book review).

             Raymond, M.J. (1992). Neuropsychiatric sequelae in acoustic
                 neuroma. Bulletin of the National Academy of
                 Neuropsychology, 8, 4.

             Raymond, M.J. (1992). Opening doors: The significance of
                 neuropsychological assessment in neurorehabilitation. Rehab
                 Management, June/July.

             Franzen, M.D., McCracken, L.M., Raymond, M.J., Haut, M.W., &
                   Haut, J.S. (1992). The use of the knox's cube test and digit
                   span in assessing memory and attention. Journal of Clinical
                   and Experimental Neuropsychology, 14, 1 (abstract).

             Naugle, R.I. & Raymond, M.J. (1991). Neuropsychological
                  sequelae of stroke as a function of handedness. Perceptual
                  and Motor Skills, 73.

             Raymond, M.J. & Naugle, R.I. (1991). Handedness and gender
                 effects on the relative preservation of visuospatial versus
                 verbal function following right hemisphere stroke. Archives
                 of Clinical Neuropsychology, 6, 3 (abstract).

             Raymond, M.J. (1991). Neuropsychological assessment: An adjunct
                 to neurological diagnosis. Hospital News, June.

             Raymond, M.J. (1990). Neuropsychological aspects of minor head

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                   injury. The Journal of Head Injury, 4.

             Raymond, M.J. (1989). Major consequences of minor head injury.
                 JMA Bulletin, 2.


             Raymond, M.J. (1989). Neuropsychological aspects of diffuse
                 histiocytic lymphoma: A case report. Archives of Clinical
                 Neuropsychology, 4, 2 (abstract).

             Raymond, M.J. (1988). Neuropsychological investigation in right
                 hemisphere stroke: A rehabilitation case study. Bulletin:
                 The National Academy of Neuropsychologists, 5 (abstract).

             Raymond, M.J. (1986). Similar neuropsychologic findings from
                       cardiovascular abnormalities: A comparison case study.
                       Archives of Clinical Neuropsychology, 1, 3 (abstract).

             Raymond, M.J. & Hartlage, L.C. (1985). Differential intellectual
                 sequelae of right hemisphere CVA in left vs. right-handed
                 patients. The International Journal of Clinical
                 Neuropsychology, 7 (abstract).

             Raymond, M.J. (1985). Headache among athletes.
                 The Williamsport News, Winter.

             Raymond, M.J. (1984). Psychological effects of running.
                 The Williamsport News, Spring.

             Raymond, M.J. (1984). Chronic pain: The pain that really hurts.
                 The Williamsport News, Summer/Fall.

             Raymond, M.J. (1983). Drug abuse among student athletes.
                 The Williamsport News, Spring.

             Raymond, M.J. (1983). Control of pre-competition anxiety.
                 The Williamsport News, Winter.

             Raymond, M.J. (1982). The choking phenomenon.

Updated 5.5.2014                        38
                                                                         Liberty002457
                                                                         Li berty002457
    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 182 of 501




                   The Williamsport News, Fall.

             Raymond, M.J. (1982). The psychological importance of sporting
                 activities for disabled individuals. The Williamsport News,
                 Summer.

             Raymond, M.J. (1982). Depression: The effects on athletic
                 performance. The Williamsport News, Spring.

             Raymond, M.J. (1981). A comparison of WAIS performances
                 between right and left-handed left hemiplegic persons.
                 Doctoral Dissertation, Florida State University.

             Raymond, M.J. (1980). (contributing ed.) Independent Living
                 Curriculum for Master's Degree Rehabilitation Programs.
                 Tallahassee, Florida: The National Commission of
                 Rehabilitation Education Task Force on Independent Living,
                 Florida State University.

             Raymond, M.J. (1978). The significance university upperclassmen
                 have on influencing drug and alcohol usage by freshman
                 females. Unpublished Master's Scholarly Paper, University of
                 Scranton.


PROFESSIONAL GOALS AND INTERESTS:

             Clinical: Brain injury rehabilitation, neuropsychological assessment
                       and evaluation, forensic neuropsychology, sports
                       concussion management and cognitive remediation.

           Teaching: Neuropsychology, rehabilitation psychology,
                     neuropsychological assessment, forensic neuropsychology,
                     and supervision and training of students in research and
                     clinical activities.

           Research: Diagnosis and treatment of central nervous system
                     disorders and neuropsychological correlates of behavior.

     Administrative: Program evaluation and development, quality

Updated 5.5.2014                        39
                                                                         Liberty002458
                                                                         Li berty002458
    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 183 of 501




                      assurance, peer review and neurorehabilitation
                      consultation.

REFERENCES:

      References furnished upon request.




Updated 5.5.2014                       40
                                                                       Liberty002459
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                  Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 184 of 501

               (j                                                                            CE
                                                                                        INVOICE
R3
R3 CONTINUUM                                                                             Invoice Date:            04/29/2016
d/b/a Crisis Care Network, Behavioral Medical Interventions, Crisis Management Intl
                                                                               lnt'I
                                                                                         Invoice #:
                                                                                         Invoice#:                577726-3
4115 Ayrshire Dr SW
                                                                                         Invoice Due Date:        05/29/2016
Wyoming, MIMl 49418
                                                                                         Payment Terms:           Net 30 days




 Bill
 Bill To:
    London, KY
    PO Box 7207
    London, KY 40742



                  Referred By                                             Claim
                                                                          Claim##                                 Claimant Name
                 Nancy Winterer                                           REDACTED
                                                                          REDACTED                                 Haley Spears
                                                  11                                                11


               Delivery Method                                     Invoice Currency                            Customer Reference #
                                                                                                                                  #
                       Other                      11
                                                                           USO
                                                                           USD                      11
                                                                                                                        n/a


   Qty/Hrs          Service Provided                        Description                         Specialty              Rate        Amount

        2.00   File Review                   Report by Michael Raymond                 Neuropsychology                 $178.00         $356.00



        0.90                                 Report by Dr. Daniel Kitei                Neurology                       $301.75         $271.58



        1.00                                 Admin Fees - Flat                                                           $50.00         $50.00



        1.00                                 Surcharge                                                                 $169.40         $169.40



                                                                                       Subtotal                                        $846.98

                                                                                        Sales Tax                                        $0.00

                                                                                        Total Invoice Amount
                                                                                        Total                                          $846.98

                                                                                       Payment/Credit Applied                            $0.00

                                                                                        TOTAL                                          $846.98


                                                            Thank you for your business.

                                                                   Please remit to:

                                                                    R3 Continuum
                                                                 4115 Ayrshire DR SW
                                                                  Wyoming,
                                                                  Wyoming, MI
                                                                            Ml 49418

                                               If you have any questions, please contact Accounting at:
                                                                              965-2411
                                                                Phone: (616) 965-2411
                                                        Email: accounting@r3continuum.com
                                                                       ID#:
                                                               Federal ID #: XX-XXXXXXX




                                                                                                                      Liberty002460
                                                                                                                      Li berty002460
                                                                     Page 11of1
                                                                            of 1
          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 185 of 501
Liberty Life
Liberty Life Assurance
              Assurance Company
                        Company of
                                of Boston
                                   Boston
Group Benefits
Group Benefits Disability
                Disability Claims
                           Claims
P.O. Box
P.O. Box 7213
         7213
London, KY
London,    40742-7213
        KY 40742-7213




WINONA
WINONA ZIMBERLIN
       ZIMBERLIN
ATTORNEY AT
ATTORNEY AT LAW
            LAW
267 MAIN
267      STREET
    MAIN STREET
MANCHESTER
MANCHESTER CT 06042
           CT 06042




                                                                        Liberty002461
                                                                        Liberty002461
        Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 186 of 501


                                                                    Liberty Life
                                                                    Liberty Life Assurance
                                                                                 Assurance Company
                                                                                            Company ofof Boston
                                                                                                         Boston
                                                                    Group
                                                                    Group Benefits  Disability Claims
                                                                           Benefits Disability Claims
            Liberty-                                                P.O. Box
                                                                    P.O.      7213
                                                                         Box 7213
                                                                    London, KY
                                                                    London,  KY 40742-7213
                                                                                 40742-7213
            MutuaL                                                  Phone No.:
                                                                    Phone  No.: (888)
                                                                    Secure Fax
                                                                    Secure
                                                                                (888) 437-7611
                                                                            Fax No.:
                                                                                      437-7611
                                                                                No.: (603) 334-5708
                                                                                     (603) 334-5708
              INSURANCE


April 27,
April 27, 2016
          2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:     Long Term Disability
        Long Term  Disability (LTD)
                              (LTD) Benefits
                                    Benefits
        UTC Choice
        UTC  Choice
        Claim #:
        Claim    REDACTED
              #: REDACTED
        Claimant: Haley
        Claimant: Haley Spears
                        Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

This letter
This letter responds
            responds to
                     to your
                        your correspondence
                             correspondence dated April 25,
                                            dated April 25, 2016.
                                                            2016.

In the April
In the April 25,
             25, 2016
                 2016 letter
                      letter you
                             you wrote,
                                 wrote, "Your
                                        “Your most   recent letter
                                               most recent  letter states
                                                                   states you
                                                                          you were
                                                                              were including
                                                                                    including all
                                                                                              all the
                                                                                                  the
Liberty
Liberty file subsequent to
        file subsequent to the
                           the remand.
                               remand. The
                                         The file
                                             file you
                                                  you sent
                                                      sent did
                                                           did not  contain any
                                                                not contain any of
                                                                                 of the
                                                                                    the medical
                                                                                        medical
information we
information  we provided,  the numerous
                 provided, the numerous forms   we provided
                                          forms we  provided and
                                                              and the
                                                                   the internal
                                                                       internal Liberty
                                                                                Liberty notes.”
                                                                                        notes."

On April
On  April 11,  2016, you
          11, 2016,  you requested
                         requested aa copy  of the
                                      copy of   the IME   report, "and
                                                    IIVIE report, “and any
                                                                        any other
                                                                             other documents
                                                                                   documents youyou have
                                                                                                     have
regarding this
regarding  this claim,
                claim, subsequent
                       subsequent to
                                   to my
                                      my last  request.” Therefore,
                                          last request."    Therefore, on
                                                                       on April
                                                                            April 15, 2016, the
                                                                                  15, 2016,  the IME
                                                                                                 IIVIE report
                                                                                                       report
and all
and all other
        other documents
               documents generated
                          generated after
                                     after March
                                           March 17,    2016 were
                                                   17, 2016  were forwarded
                                                                    forwarded toto your
                                                                                   your attention.
                                                                                         attention.
Previously,  per your
Previously, per   your March
                       March 17,  2016 request,
                              17, 2016  request, on
                                                  on March
                                                      March 22,
                                                             22, 2016,
                                                                  2016, aa copy
                                                                           copy of
                                                                                of the
                                                                                   the entire
                                                                                       entire claim   file
                                                                                               claim file
including all
including  all the
               the medical
                   medical information   and forms
                           information and   forms you
                                                     you provided,
                                                          provided, was
                                                                     was forwarded    to your
                                                                           forwarded to  your office.
                                                                                               office.

Your April
Your    April 13, 2016 and
              13, 2016 and April
                           April 25,
                                 25, 2016
                                     2016 letters  both state,
                                           letters both state, "I
                                                               “I previously
                                                                  previously made
                                                                              made aa request
                                                                                      request that
                                                                                               that Liberty
                                                                                                    Liberty
pay the
pay the physicians
         physicians from
                     from whom
                          whom you
                                 you are
                                      are requesting
                                          requesting new   reports. II did
                                                      new reports.     did not
                                                                           not receive
                                                                               receive aa response
                                                                                          response from
                                                                                                    from
you.”99
you.

Your March
Your  March 17,   2016 letter
             17, 2016   letter ended  with, "In
                               ended with,  “In regard
                                                 regard to
                                                         to your
                                                            your request
                                                                  request to
                                                                          to the
                                                                             the eight
                                                                                 eight doctors
                                                                                        doctors identified  in
                                                                                                identified in
your March
your March 16,   2016 letter,
             16, 2016  letter, is
                               is Liberty willing to
                                  Liberty willing  to pay
                                                      pay these
                                                           these doctors
                                                                 doctors for
                                                                          for their
                                                                              their time
                                                                                    time in
                                                                                          in responding  to
                                                                                             responding to
your request?”
your request?" II apologize.
                   apologize. II did
                                  did not
                                      not understand   this question
                                          understand this             was aa request
                                                            question was     request that
                                                                                      that Liberty reimburse
                                                                                           Liberty reimburse
Ms. Spears'
Ms.  Spears’ attending
             attending physicians
                        physicians for   their time
                                     for their time to
                                                     to respond
                                                        respond to
                                                                 to the
                                                                    the multi-disciplinary   peer review
                                                                        multi-disciplinary peer   review
report.
report.

Your April
Your  April 25,
            25, 2016
                2016 letter states, "I
                     letter states, “I believe
                                       believe Liberty  agreed to
                                               Liberty agreed  to pay
                                                                  pay Dr.
                                                                      Dr. Rissenberg
                                                                           Rissenberg for   her time.
                                                                                        for her time.
Please advise whether
Please advise whether Liberty   will pay
                       Liberty will   pay for the other
                                          for the other requested  reports, and
                                                        requested reports,  and if
                                                                                if so,
                                                                                   so, the
                                                                                       the amount
                                                                                           amount Liberty
                                                                                                   Liberty
will pay.”
will pay."




                                                   1 of 2
                                                   1 of 2                                           Liberty002462
                                                                                                    Li berty002462
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 187 of 501




On March
On  March 16,  2016, aa request
           16, 2016,    request was
                                was sent
                                      sent to
                                           to eight
                                              eight of
                                                    of Ms.
                                                       Ms. Spears'
                                                            Spears’ attending
                                                                     attending physicians,  to review
                                                                               physicians, to         and
                                                                                               review and
respond to
respond to the
           the March
               March 4, 4, 2016
                           2016 multi-disciplinary
                                multi-disciplinary peer   review. A
                                                     peer review.  A response  was requested
                                                                      response was  requested byby March
                                                                                                   March
25, 2016.
25, 2016. Follow-up
           Follow-up telephone
                       telephone calls
                                  calls were
                                         were made   to each
                                               made to  each of
                                                              of the
                                                                 the physicians’ offices. Several
                                                                     physicians' offices. Several weeks
                                                                                                   weeks
have passed
have         since the
     passed since  the requested   response date
                        requested response    date and
                                                   and no  further follow-up
                                                       no further            requests will
                                                                   follow-up requests  will be
                                                                                            be pursued.
                                                                                                pursued. No
                                                                                                         No
payment has
payment  has been
              been issued
                   issued byby Liberty
                               Liberty to
                                        to any
                                           any of
                                               of these
                                                  these providers.
                                                         providers.

If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                                 2 of 2
                                                 2 of 2                                     Liberty002463
                                                                                            Li berty002463
                        8502474194
                        8602474194                       ATTY WINONA ZIMBERLN                          PAGE       01/01
                                                                                                                  01/01
04/25/2015
04/25/2016   13:30
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 188 of 501


                                         Zimberlin Law LLC
                                         267 Main Street II Manchester, CT 06042
                                                            I (f) 860.783.5996
                                             860.783.59991(f)860.783.5996
                                         (p) 860.783.5999
                                         www.zimbcrlinlaw.com
                                         www.zimberlinlaw.com

       'iVinona
       Winona W. Zimberlin                                                                   11ppofntment Only:
                                                                                          By appointment  only:

       Russe.JJ D. Zimberlin
       Russell                                                                            Hart{0rd Offlee
                                                                                          Hartford  Offici:
                                                                                          ·2
                                                                                          2 Congress Street
                                                                                           Hatttbrd, CT 01,114
                                                                                          Hanford.      1)6} 14




       April 25, 2016

       Facsimile: 1-603-334-5708
       Nancy Winterer
       Appeals Review Consultant
       Liberty Life Assurance Company of Boston
       PO Box 7213
       London, KY 40742-7611

       Dear Ms. Winterer:

              RE:    Haley Spears
              DOB: REDACTED
              Your claim #: 250039

              Your most recent letter states that you were including all the Liberty file subsequent to
       the remand. The file you sent did not contain any of the medical information we provided, the
       numerous forms we provided and the internal Liberty notes.

              I previously made a request that Liberty pay the physicians from whom you are
       requesting new reports. I did not receive a response from you. I believe Liberty agreed to pay Dr.
       Rissenberg for her time.

             Please advise whether Liberty will pay for the other requested reports, and if so, the
       amount Liberty will pay. Thank you.


                                                                   Very truly yours,


                                                                  (jJtCU
                                                                             Zim.berlin
                                                                   Winona W. Zimberlin
       WWZ:




                                                                                               Liberty002464
                                                                                               Liberty002464
                      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 189 of 501



R3
R3 CONTINUUM
               a                                                                            INVOICE
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                                                                                             Invoice#:
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R3 Continuum, LLC
                                                                                             Invoice Due Date:      05/11/2016
d/b/a Crisis Care Network, Behavioral Medical Interventions,
                                                                                             Payment Terms:         Net 30 days
Crisis Management International
4115 Ayrshire Dr SW
Wyoming, MIMl 49418



 Bill To:
 London, KY
 PO Box 7207
 London, KY 40742



                  Referred By                                             Claim
                                                                          Claim##                                   Claimant Name
                 Nancy Winterer                                           REDACTED
                                                                          REDACTED                                   Haley Spears
                                                                                                                           Sp ea rs
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               Delivery Method                                       Invoice Currency                            Customer Reference #
                                                                                                                                    #
                      Other                       I11I                      USD                         I11I              n/a


  Qty/Hrs           Service Provided                     Description                            Specialty            Rate             Amount

      49.00    File Review                 Report by Michael Raymond                    Neuropsychology               $178.00             $8,722.00



      33.30                                Report by Dr. Daniel Kitei                   Neurology                     $301.75         $10,048.28



      51.30                                Report by Robert Cooper                      Endocrinology                 $335.75         $17,223.98



        6.50                               Report by Dr. Kent Crossley                  Infectious Disease            $255.00             $1,657.50



        1.00                                            Flat
                                           Admin Fees - Flat                                                           $50.00               $50.00




                                                                                        Subtotal                                      $37,
                                                                                                                                      $37,701.15
                                                                                                                                           701.75

                                                                                        Sales Tax                                             $0.00

                                                                                        Total Invoice Amount
                                                                                        Total                                         $37,701.75

                                                                                        Payment/Credit Applied                                $0.00

                                                                                        TOTAL                                         $37, 701.75
                                                                                                                                      $37,701.75


                                                               Thank you for your business.

                                                                     Please remit to:

                                                                      R3 Continuum
                                                                   4115 Ayrshire DR SW
                                                                    Wyoming,
                                                                    Wyoming, MI
                                                                              Ml 49418

                                                If you have any questions, please contact Accounting at:
                                                                         ID#:
                                                                Federal ID  #: XX-XXXXXXX
                                                                  Phone : (866) 927-0184
                                                                 Phone:
                                                         Email: accounting@r3continuum.com


                                                                                                                         Liberty002465
                                                                                                                         Li berty002465
                                                                        Page 11of1
                                                                               of 1
                                                      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 190 of 501



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                                                                                               WINONA ZIMBERLIN
                                                                                               267 MAIN STREET                                                                                 ~
                                                                                                  MANCHESTER CT 06042-3538
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    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 191 of 501




Addendum Questions
Addendum Questions for Dr. Raymond:
                   for Dr. Raymond:

   1. Please
   1. Please review
             review Dr.
                     Dr. Rissenberg's
                         Rissenberg’s 4/6/16
                                      4/6/16 response to the
                                             response to the neuropsychological
                                                             neuropsychological portion
                                                                                  portion of
                                                                                          of the
                                                                                             the
      3/4/16 multi-disciplinary
      3/4/16 multi-disciplinary per
                                per review.
                                    review. Please
                                            Please indicate
                                                   indicate if Dr. Rissenberg's
                                                            if Dr. Rissenberg’s response
                                                                                response
      changes your
      changes  your previous
                    previous conclusions, and provide
                             conclusions, and  provide the
                                                       the medical/neuropsychological
                                                           medical/neuropsychological rationale
                                                                                        rationale
      that support
      that support your
                   your conclusions.
                        conclusions.




                                                                                     Liberty002467
                                                                                     Li berty002467
    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 192 of 501




Addendum Questions
Addendum Questions for
                   for Dr.
                       Dr. Kitei:
                           Kitei:

   1. Please
   1. Please review
             review Dr.
                     Dr. Zagar's
                         Zagar’s 4/6/16
                                  4/6/16 response
                                         response to
                                                   to the
                                                      the 3/4/16
                                                          3/4/16 multi-disciplinary
                                                                 multi-disciplinary peer
                                                                                    peer review.
                                                                                         review.
      Please indicate
      Please indicate if
                      if Dr.
                         Dr. Zagar's
                             Zagar’s response
                                     response changes
                                              changes your
                                                        your previous
                                                             previous conclusions,
                                                                      conclusions, and
                                                                                    and provide
                                                                                        provide
      the medical/neurologic
      the medical/neurologic rationale
                              rationale to
                                        to support
                                           support your
                                                   your conclusions.
                                                         conclusions.




                                                                                      Liberty002468
                                                                                      Li berty002468
04/15/2015
04/15/2016    09:29
              09:29      8502474194
                         8602474194                    ATTY WINONA ZIMBERLN                           PAGE    01/02
                                                                                                              01/02
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 193 of 501


                                      Zimberlin Law LLC
                                      267 Main Street II Manchester, CT 06042
                                      (p) 860.783.5999 II (1)
                                                          (f) 860.783.5996
                                      www.zimberlinlaw.com

    Winona W. Zimberlin                                                                appointm1;nt only:
                                                                                    By appointment
                                                                                    Sy              onl:r·:
    Russell D. Zimberlin                                                            Hartford Office
                                                                                             Offi "c
                                                                                    2 Congress Street
                                                                                    Hartford, CT 061.1.4
                                                                                                  06114



                                             April 14, 2016


     Facsimile: 1-603-422-7909. 2 pages.
     Facsimile: 1-603-422-7909,   pages.

    Nancy Winterer
    Appeals Review Consultant
    Liberty Life Assurance Company of Boston
    100 Liberty Way
    Mail Stop 02G
    Dover, NH 03820

    Dear Ms. Winterer:

             RE:      Haley Spears
                      DOB: REDACTED

           Please find
                  fmd enclosed a medical report from Dr. Kristin Giannini dated April 13, 2016.
    Thank you.

                                                              Very truly yours,

                                                              1./"()1111
                                                              ,,.~

                                                              Winona W. Zimberlin

    WWZ:rlc
    Enclosure




                                                                                           Liberty002469
                                                                                           Liberty002469
 04/15/2015 09:29
 e14/1n1:Z[216   09:29     8502474194
                           8602474194
      — — Case 3:11-cv-01807-VLB                                     ATTY WINONA ZIMBERLN
                                           Document               142-3  Filed 11/16/18 Page 194 of 501 PAGE 02/02
                                                                                                                 02/02
04/1412016 TRU
04/14/2016    ~·!J 10!05
                   10• 05 FAX 8608756271 RoCkville                    whys                            JiO QzIQ Q~
                                                                                                      1E092/002




                                                          Mecll~al Associates,
                                             Healthwise Medical
                                             Hoalthwise                          ~~P
                                                                   A9$aclates, I.P.P
                                                            FamllY Physicians
                                                 Rockville Family   Ph'{l!lclans
                                                                 Teke, Ste
                                                   s20 Hartford Tpke,
                                                   520                  S\:f! M
                                                      VernanL CT 06066
                                                      Vernon,      D61JG8
                                                        87'-63zl Far.
                                           Phone;(S60) 87-0371
                                           Phoner,(660)           fax: (860) 979-0056
                                                                               979.0056


 HALEY SPEARS
 74 HEATH STREET
 SOMERVlLLE, CT 62145
 SOMERVI,LLE,
 ooe: REDACTED
 DDB;



 04/13/2016
 04(13/2016
 To whom It may concern:



                  Hmley during the period M
 I was treating Haley                      in question for
                                                         fOr headaches
                                                             readaches and fatigue. Headaches
                                                                                    Headachl'!s and fatigue have no specific
 objective evidence to indicate   quallty and severlt,i.
                         Indicate quality      severity, They are measured based on patient subjective report. During this
  period Haley's headaches        li!ltlg~ were severe enough that she would have spent significant arniauntS
                  heiidaches and fatigue                                                                           ~me away from
                                                                                                                of time
                                                                                                      11mount.$ Of
 aa job. She would have been an unreliable employee and missed many days of work,   work. She was most definitely
                                                                                                          dennitely disabled
             pii.rlod.
 d~ring this period,
 during




         AGIANNINI MD
 KRISTIN A         MO




                                                                                                               Liberty002470
                                                                                                               Libel
                                                                                                                   -4/002470
            Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 195 of 501
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Libertx
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                     91 7199 9991
                     91      9991 7033'6439
                                  7033 6439 4326
INSURANCE




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                              11111111"" 11111111111111111" 1111111"111
                                                                        1111111
                                                                                      '(ft:fp"J°t 1
               Winona Zimberlin
               Attorney At Law
               267 Main Street
               Manchester, CT 06042




                                                                                                   Liberty002471
                                                                                                   Liberty002471
    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 196 of 501




n0062751
_____
From:                      Nancy
                 Winterer, Nancy
Sent:            Thursday, April 14, 2016 9:37:53 AM
To:              Clara Easter (ceaster@mcn.com)
Subject:         PM&R IME Addendum
Attachments:
Attachments:     RE IME.pdf

Good Morning Clara,



I need to request an addendum from Dr. Courtney regarding the IME he completed on
Haley S.
Haley S.

Claim #
Claim #REDACTEDMCN
               MCN Number:
                   Number: 1-C193333S2
                           1-C193333S2



For the
For the addendum:
        addendum:

Liberty Life
Liberty Life requests
             requests Dr.
                      Dr. Courtney
                          Courtney review
                                   review the
                                          the attached
                                              attached 3/14/16 letter and
                                                       3/14/16 letter and comment.
                                                                          comment.



Please let
Please    let me
              me know
                 know ifif you
                           you need
                               need me
                                    me to
                                       to send
                                          send this
                                               this addendum
                                                    addendum request
                                                             request through
                                                                     through the
                                                                             the system,
                                                                                 system,
or if this email is sufficient.



      you Clara,
Thank you Clara,

Nancy



Nancy Winterer

       Review Consultant
Appeal Review Consultant

Group Benefits/Liberty
Group Benefits/Liberty Life
                       Life Assurance
                            Assurance Company
                                      Company of
                                              of Boston
                                                 Boston

100 Liberty
100 Liberty Way
            Way Mail
                  Mail Stop
                       Stop 02G  Dover, NH
                            02G Dover,  NH 03820|
                                            038201 Phone: 1-888-437-7611 Ext.
       SDN: 8-731-64011Secure
16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

This e-mail, and any attachments thereto, is intended for the use of the addressees and
may contain
may  contain personal,
             personal, confidential
                       confidential and/or
                                    and/or privileged
                                           privileged information.
                                                      information. If
                                                                   If you
                                                                      you are
                                                                          are not
                                                                              not the
                                                                                  the



                                                                              Liberty002472
                                                                              Li berty002472
    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 197 of 501




intended recipient of this e-mail, you are hereby notified that any dissemination,
distribution or copying of this e-mail, and any attachments thereto, is strictly
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telephone at 603-750-7550, ext. 16401 and permanently delete the original and any
copy of any e-mail and any printout thereof or attachments thereto.




                                                                               Liberty002473
                                                                               Li berty002473
                                                 ATTY    ATTY WINONA ZIMBERLN                             PAGE
                                                                                                          HAbh        01/01
                                                                                                                      Ul/Ui
04/13/2015
04/13/2016     Case
             13:19      8502474194
                      3:11-cv-01807-VLB
                        8602474194      Document 142-3 Filed 11/16/18 Page 198 of 501




                                          Zimberlin Law LLC
                                          267 Main Street Il Manchester, CT 06042
                                          (p) 860.783.5999 II (I)
                                                              (f) 860.783.5996
                                          ww.zimberlinlaw.com
                                          www.zimberlinlaw.com

               \V. Zimberlin
       Winona W.                                                                           Sy nppointmcnt
                                                                                           By appointment only:
       Russell D. Zimberlin                                                                             Offic~
                                                                                           Hartford Officc
                                                                                             Congrc!l~ Street
                                                                                           2 Congress     Streel
                                                                                           J-Tll.fttbrd, CT 06114
                                                                                           Hartford,        061 l 4




       April 13, 2016

       Facsimile: 1-603-334-5708
       Nancy Winterer
       Appeals Review Consultant
       Liberty Life Assuran.ce
                    Assurance Company of Boston
       PO Box 7213
       London, KY 40742-7611

       Dear Ms. Winterer:

              RE:    Haley Spears
              DOB: REDACTED
                         #: 250039
                   claim#:
              Your claim


              I previously made a request that Liberty pay the physicians from whom you are
       requesting new reports. II. did not receive a response from you. I believe Liberty agreed to pay Dr,
                                                                                                        Dr.
       Rissenberg for her time.

             Please advise whether Liberty will pay for the other requested reports, and if so, the
       amount Liberty will pay. Thank you.


                                                                    V cry truly yours,
                                                                    Very



                                                                    Winona W. Zimberlin
       WWZ:




                                                                                                  Liberty002474
                                                                                                  Liberty002474
          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 199 of 501
Liberty Life
Liberty Life Assurance
              Assurance Company
                        Company of
                                of Boston
                                   Boston
Group Benefits
Group Benefits Disability
                Disability Claims
                           Claims
P.O. Box
P.O. Box 7213
         7213
London, KY
London,    40742-7213
        KY 40742-7213




WINONA
WINONA ZIMBERLIN
       ZIMBERLIN
ATTORNEY AT
ATTORNEY AT LAW
            LAW
267 MAIN
267      STREET
    MAIN STREET
MANCHESTER
MANCHESTER CT 06042
           CT 06042




                                                                        Liberty002475
                                                                        Liberty002475
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 200 of 501


                                                              Liberty Life
                                                              Liberty Life Assurance
                                                                           Assurance Company
                                                                                      Company ofof Boston
                                                                                                   Boston
                                                              Group
                                                              Group Benefits  Disability Claims
                                                                     Benefits Disability Claims
             Liberty-                                         P.O. Box
                                                              P.O.      7213
                                                                   Box 7213
                                                              London, KY
                                                              London,  KY 40742-7213
                                                                           40742-7213
             MutuaL                                           Phone No.:
                                                              Phone  No.: (888)
                                                              Secure Fax
                                                              Secure
                                                                          (888) 437-7611
                                                                      Fax No.:
                                                                                437-7611
                                                                          No.: (603) 334-5708
                                                                               (603) 334-5708
              INSURANCE



April 14,
April     2016
      14, 2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim    REDACTED
             #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

Per  your April
Per your  April 11, 2016 request,
                11, 2016 request, enclosed
                                  enclosed is
                                           is aa copy
                                                 copy of
                                                      of the
                                                         the documents
                                                             documents in
                                                                       in Ms.
                                                                          Ms. Spears’ disability claim
                                                                              Spears' disability claim
file since your
file since your previous
                previous request.
                         request.
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax  No.: (603) 334-5708
Secure Fax No.: (603) 334-5708




                                               1 of 11
                                               1 of                                           Liberty002476
                                                                                              Li berty002476
                                                 ATTY    ATTY WINONA ZIMBERLN                             PAGE
                                                                                                          HAbh        01/01
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04/13/2015
04/13/2016     Case
             13:19      8502474194
                      3:11-cv-01807-VLB
                        8602474194      Document 142-3 Filed 11/16/18 Page 201 of 501




                                          Zimberlin Law LLC
                                          267 Main Street Il Manchester, CT 06042
                                          (p) 860.783.5999 II (I)
                                                              (f) 860.783.5996
                                          ww.zimberlinlaw.com
                                          www.zimberlinlaw.com

               \V. Zimberlin
       Winona W.                                                                           Sy nppointmcnt
                                                                                           By appointment only:
       Russell D. Zimberlin                                                                             Offic~
                                                                                           Hartford Officc
                                                                                             Congrc!l~ Street
                                                                                           2 Congress     Streel
                                                                                           J-Tll.fttbrd, CT 06114
                                                                                           Hartford,        061 l 4




       April 13, 2016

       Facsimile: 1-603-334-5708
       Nancy Winterer
       Appeals Review Consultant
       Liberty Life Assuran.ce
                    Assurance Company of Boston
       PO Box 7213
       London, KY 40742-7611

       Dear Ms. Winterer:

              RE:    Haley Spears
              DOB: REDACTED
                         #: 250039
                   claim#:
              Your claim


              I previously made a request that Liberty pay the physicians from whom you are
       requesting new reports. II. did not receive a response from you. I believe Liberty agreed to pay Dr,
                                                                                                        Dr.
       Rissenberg for her time.

             Please advise whether Liberty will pay for the other requested reports, and if so, the
       amount Liberty will pay. Thank you.


                                                                    V cry truly yours,
                                                                    Very



                                                                    Winona W. Zimberlin
       WWZ:




                                                                                                  Liberty002477
                                                                                                  Liberty002477
                      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 202 of 501



R3
R3 CONTINUUM
               a                                                                            INVOICE
                                                                                             Invoice Date:
                                                                                             Invoice #:
                                                                                             Invoice#:
                                                                                                                    04/11/2016
                                                                                                                    5 77726-1
                                                                                                                    577726-1
R3 Continuum, LLC
                                                                                             Invoice Due Date:      05/11/2016
d/b/a Crisis Care Network, Behavioral Medical Interventions,
                                                                                             Payment Terms:         Net 30 days
Crisis Management International
4115 Ayrshire Dr SW
Wyoming, MIMl 49418



 Bill To:
 London, KY
 PO Box 7207
 London, KY 40742



                  Referred By                                             Claim
                                                                          Claim##                                   Claimant Name
                 Nancy Winterer                                           REDACTED
                                                                          REDACTED                                   Haley Spears
                                                                                                                           Sp ea rs
                                                  I11I                                                  I11I

               Delivery Method                                       Invoice Currency                            Customer Reference #
                                                                                                                                    #
                      Other                       I11I                      USD                         I11I              n/a


  Qty/Hrs           Service Provided                     Description                            Specialty            Rate             Amount

      49.00    File Review                 Report by Michael Raymond                    Neuropsychology               $178.00             $8,722.00



      33.30                                Report by Dr. Daniel Kitei                   Neurology                     $301.75         $10,048.28



      51.30                                Report by Robert Cooper                      Endocrinology                 $335.75         $17,223.98



        6.50                               Report by Dr. Kent Crossley                  Infectious Disease            $255.00             $1,657.50



        1.00                                            Flat
                                           Admin Fees - Flat                                                           $50.00               $50.00




                                                                                        Subtotal                                      $37,
                                                                                                                                      $37,701.15
                                                                                                                                           701.75

                                                                                        Sales Tax                                             $0.00

                                                                                        Total Invoice Amount
                                                                                        Total                                         $37,701.75

                                                                                        Payment/Credit Applied                                $0.00

                                                                                        TOTAL                                         $37, 701.75
                                                                                                                                      $37,701.75


                                                               Thank you for your business.

                                                                     Please remit to:

                                                                      R3 Continuum
                                                                   4115 Ayrshire DR SW
                                                                    Wyoming,
                                                                    Wyoming, MI
                                                                              Ml 49418

                                                If you have any questions, please contact Accounting at:
                                                                         ID#:
                                                                Federal ID  #: XX-XXXXXXX
                                                                  Phone : (866) 927-0184
                                                                 Phone:
                                                         Email: accounting@r3continuum.com


                                                                                                                         Liberty002478
                                                                                                                         Li berty002478
                                                                        Page 11of1
                                                                               of 1
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 203 of 501




n0062751
_____
From:                       Nancy
                  Winterer, Nancy
Sent:             Monday, April 11, 2016 4:53:42 PM
To:               'drraxlen@aol.com'; 'bernardraxlenmd@aol.com'
                  'drraxlen@aol.com;
Subject:          Request for your Response
Attachments:      Dr. Raxlen
                  Dr. Raxlen cover letter.pdf; PEER REVIEW-03.07.2016.pdf

Hello Dr. Raxlen,



Nayalie in your office suggested I contact you directly by email.



On March 16, 2016 Liberty Life faxed a multi-disciplinary medical review report to you,
regarding your
regarding your patient
                patient Haley Spears, DOB
                        Haley Spears,  DOB REDACTEDWe
                                             REDACTEDWe are    are the
                                                                   the Disability insurer for
Ms. Spears
Ms.          and we
    Spears and   we are
                     are currently
                         currently evaluating
                                   evaluating her
                                               her claim
                                                   claim for
                                                          for disability from 9/27/08 through
the present.
the           We asked
    present. We   asked that
                         that you
                              you read
                                   read the
                                        the attached
                                            attached report
                                                       report and
                                                              and provide
                                                                   provide your
                                                                             your medical
                                                                                  medical
        and the
opinion and  the

medical basis for any disagreement in writing via return fax. (fax number:
603-334-5708).
603-334-5708).



Additionally, it
Additionally, it was
                 was indicated
                     indicated we
                                we would
                                    would like
                                          like to
                                                to schedule
                                                   schedule aa phone   consultation between
                                                               phone consultation   between
you and
you and Dr.
         Dr. Crossley,
              Crossley, Infectious
                         Infectious Disease
                                    Disease review
                                              review physician,   to discuss
                                                       physician, to discuss your
                                                                             your medical
                                                                                  medical
opinion. You
opinion.  You were
                 were asked
                      asked to
                             to contact
                                contact me
                                        me atat 1-888-437-7611
                                                1-888-437-7611 Ext.Ext. 16401
                                                                        16401 to
                                                                              to schedule
                                                                                 schedule the
                                                                                          the
phone  consultation at
phone consultation    at a
                         a mutually
                           mutually agreeable
                                    agreeable time.
                                                 time.



We would
We  would greatly
           greatly appreciate
                   appreciate your
                              your input,
                                   input, although we are working within time
constraints. Please respond on or before
constraints. Please  respond  on or         Friday April 15, 2016 with your medical
                                    before Friday
opinion, and/or
opinion, and/or to
                to have
                   have a
                        a phone  consultation with
                          phone consultation   with Dr.
                                                    Dr. Crossley
                                                        Crossley to
                                                                 to discuss
                                                                    discuss you
                                                                            you medical
                                                                                medical
opinion.



              your time
Thank you for your time and
                        and consideration.
                            consideration.

Nancy Winterer




                                                                                   Liberty002479
                                                                                   Li berty002479
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 204 of 501




Nancy Winterer

       Review Consultant
Appeal Review Consultant

Group Benefits/Liberty
Group Benefits/Liberty Life
                       Life Assurance
                            Assurance Company
                                      Company of
                                              of Boston
                                                 Boston

100 Liberty
100 Liberty Way
            Way Mail
                  Mail Stop
                       Stop 02G  Dover, NH
                            02G Dover,  NH 03820|
                                            038201 Phone: 1-888-437-7611 Ext.
       SDN: 8-731-64011Secure
16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

      e-mail, and
This e-mail,  and any
                   any attachments
                        attachments thereto,
                                       thereto, is
                                                is intended
                                                   intended for
                                                              for the
                                                                  the use  of the
                                                                       use of  the addressees
                                                                                    addressees andand
may contain
may   contain personal,
               personal, confidential
                          confidential and/or
                                        and/or privileged
                                               privileged information.
                                                            information. If If you
                                                                               you are
                                                                                     are not
                                                                                          not the
                                                                                              the
intended recipient
intended   recipient of
                     of this
                        this e-mail,
                             e-mail, you
                                      you are
                                          are hereby
                                              hereby notified
                                                       notified that
                                                                 that any
                                                                       any dissemination,
                                                                           dissemination,
distribution or
distribution or copying
                 copying of
                          of this
                             this e-mail,
                                  e-mail, and
                                          and any
                                              any attachments
                                                    attachments thereto,
                                                                    thereto, is
                                                                              is strictly
                                                                                 strictly
prohibited.
prohibited. IfIf you
                 you have
                     have received    this e-mail
                           received this   e-mail in error, please notify me via e-mail and via
telephone at
telephone   at 603-750-7550,
               603-750-7550, ext.ext. 16401
                                      16401 and
                                             and permanently      delete the
                                                   permanently delete     the original and any
copy of
copy  of any
         any e-mail
              e-mail and
                      and any
                           any printout
                                printout thereof
                                         thereof or
                                                  or attachments
                                                     attachments thereto.
                                                                     thereto.




                                                                                         Liberty002480
                                                                                         Li berty002480
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 205 of 501




n0062751
_____
From:              Microsoft Outlook
Sent:              Monday, April 11, 2016 4:53:49 PM
To:                                    bernardraxlenmd@aol.com
                   drraxlen@aol.com; bemardraxlenmd@aol.com
Subject:           Relayed: Request for your Response
Attachments:       Request for your Response.msg

Delivery to these recipients or groups is complete, but no delivery notification
was sent
was  sent by the destination
          by the destination server:

drraxlen@aol.com (drraxlen@aol.com)
drraxlen@aol.com (drraxlen@aol.com)

bernardraxlenmd@aol.com (bernardraxlenmd@aol.com)
bernardraxlenmd@aol.com (bernardraxlenmd@aol.com)

Subject: Request
Subject: Request for
                 for your
                     your Response
                          Response




                                                                         Liberty002481
04/11/2015
04/11/2016    15:38
              15:38       8502474194
                          8602474194                  ATTY WINONA ZIMBERLN                         PAGE
                                                                                                   PAGE      01/01
                                                                                                             01/01
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 206 of 501




                                       Zimberlin Law LLC
                                                       I Manchester, CT 06042
                                       267 Main Street [Manchester,
                                       (p) 860.783.5999        860783.5996
                                                         J (f) 860.783.5996
                                           860.783.59991(0
                                       www.zimberlinlaw.c
                                       www.zimberlinlaw.com  om

      Winona \V.
              W. Zimberlin                                                           By
                                                                                     By nppointm1;nt
                                                                                        appointment on1y;
                                                                                                     only;
      Russell D.
              D Zimberlin                                                            Hartford  Office
                                                                                     Hartford Office
                                                                                       Congress Street
                                                                                     2 Congrc!1!1
                                                                                     Hartford,     061I 4
                                                                                     Hanford, CT 06114




      April 11, 2016
            11,2016

      Facsimile: 1-603-334-5708
                  l-603-334-5708
      Nancy Winterer
      Appeals Review Consultant
      Liberty Life Assurance Company of Boston
      PO Box 7213
      P4
      London, KY 40742-7611
                    40742-7611

      Dear Ms. Winterer:
               Winterer:

               RE:    Haley Spears
               DOB: "®
               DOW    REDACTED



               Your claim
                    claim#:
                          #: 250039


             Please send me the report of your IME
                                                ME doctor and any other documents you have
      regarding this claim, subsequent to my last request.

               11lank
               Thank you.


                                                               Very truly yours,


                                                               tt§Jl{W
                                                                            (
                                                               Winona W. Zimberlin
      WWZ:




                                                                                         Liberty002482
                                                                                         Liberty002482
    Apr. 7.
    Apr. 7. 2016 1ll:OSAM
                    1 :08AM                neurologi
                                           neurolog                                                     No. 7492
                                                                                                        No.        P. 1I
                                                                                                                   P.
                 Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 207 of 501


.                ',
       -Associated Neurologists of Southern Connecticut 13.C,

                 Kenneth Si.,ge~ M.D.
                 Kenn"th Siegel,                                 Jaff"ry Gross, M.D.
                                                                 Jeffery
                 Peter McAlust
                 Pe<ar         ..r, M.D.
                       McAllister,                               Anthony Quzn
                                                                         Quan Hong, l\ll.D.
                                                                    '                          .
                 Srlnaili Kadiml, l\j.D., F .R.C.S
                 Srinatil                                        Darla
                                                                 t\arlo Zager,
                                                                        Zag"l', M.D.       •
                           Tcotha.kar, M.D.
                 Thomas B. Tooth-alter, MJJ.           ·.        Hazer's. ~ PA70.
                                                                 Bozana Cza, PA-;C
                     Karen Liroein,
                           Brown, PA-C
                                    PA-G                                o·esai, PA-C
                                                                 Shilpa tiesa,  PA--C
                 'Amy Palmer,
                 "Amy Palme;r, Ph.D                              Christine McCarthy, Fil,0
                                                                                     Pi 1.D
                •n                           1              '
                     Deb   De!Ve=hio-S~ully)MS,
                     lJe;b Del Vecchio-Spully;MS, LPC, NCO
                                                       NCC


       Mairr
       Main Office:

       75 lingo Highway Cutoff
       phone: (20.3) 3134133
       FairM1d, CT n824




        Phone: /          c~ Jd'P-}76#/(/,tr§V/ Phone;                       (203) 333-1133.~. //,(
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        Date:                     . 7/--,?-?£ .                 Page i of   ;;z__




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                                     neurolog                                                                                   No.
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             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 208 of 501


                              Associated Neurologists
                               of Southern Connecticut, P.
                                                        P.C.
                                                           C.

    41612016
    4/6/2016



    Re: SPEARS, HALEY

    To Whom it May Conceit:
                   Concern:

    1I cared for Haley Spears from January of 2009 through October of 2011, and can only
     comment on her situation at that time since I have not been in contact with her in the interim.
     Ms. Spears was dealing with symptoms including frequent headaches, severe fatigue, joint
     pains, digestive problems, and cognitive complaints. Testing was notable for a positive CSF
     Lyme IgG antibody, suggestive of the possibility of CNS Lyrne
                                                               Lyme disease. She was also under
     the care of a rheumatologist and infectious disease specialist for her issues, and received long
    term antibiotic therapy and a variety of symptomatic treatments with only minimal
     improvement in her symptoms. She continued to have fatigue and cognitive issues which
     limited her daily functioning, and in my opinion she was unable to work, even on a part-time
    basis. At the time I was seeing her, she seemed to do little outside of seeing her doctors
     because of her various symptoms. She was unable to drive or handle some other basic daily
                                                    20 I 0 showed cognitive impairment, which was
     activities. Neuropsychological testing done in 2010
     consistent with her subjective symptoms.

    While I would agree that a diagnosis of CNS Lyme was not certain, she clearly has had some
    multisystem disorder (e.g., an unspecified autoimmune disorder or tibromyalgia)
    muitisystem                                                       fibromyalgia) that
    produced her constellation of multiple somatic and cognitive symptoms, and which affected
    her enough to impair her daily functioning.

    To be frank, on review of your physicians' assessments of her prior medical records, it is
    clear that each took as skeptical and unsympathetic a viewpoint as possible when assessing
    her case, which is unfair to this unfortunate young woman. I am certain that if any of them
    had been her treating physician rather than an insurance reviewer they would not have taken
    the same approach.

    Please feel free to contact me with any questions.

    Sincerely,

     ;:y,-:~;'~--·."-.,
      ,/,     ,!


    Dario M. Zagar, MD


                             l(ln~s Highway
                          75 Kings  HIQhw.!ly Cutoff II Fairfield,
                                                        Falrfleld, Connealcut   06624 II tel:203-333-1133
                                                                    Connecticut 06824                         fii!l~:203.333.3937
                                                                                         te:l:203-333-ll33 II fax:203.333.3937
                                Boston Post Road Il Milford,
                           670 Roston                              Conn~cut 06460 I tel.:203.877.1414
                                                       MllfOrl'1 1 Connecticut         tel.:203.677.1414 II fax:203.877.3144
                                                                                                            fax.:203.877.3144
                                                                    wwwanscneuro.com
                                                                    www.a"scneurQ.C::Om


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Fax
To :   Nancy Winterer, Liberty Mutual          Date :    2016-04-06

      16033345708
Fax : 16033345708                              Subject::
                                               Subject      H.Spears Response

From :   Dr. Marian Rissenberg                 Email
                                               Email::   dr.marian@rissenberg.com

Phone
Phone::   9142326245                                  6
                                               Pages::6
                                               Pages



D Urgent ❑D Please Reply ❑D For Review D Please Recycle ❑
p                                                       D Please Comment
Comments::
Comments




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                                                                                              N BERG, PH  ,D.
                                                                                                     01111.5y c,

                                  Liberty Mutual Insurance, Long Term Disability Benefits
                                  Attention Nancy Winterer, Appeal Review Consultant
                                  By Fax to (603) 334-5708
                                  April 6, 2016

                                  Review and Response Re: Haley Spears; (DOB REDACTED        REDACTED
                                                                                      Claim# REDACTED
                                                                             REDACTEDClaim#

                                  I have reviewed the report dated 3/4/16 prepared by Robert Cooper, M.D., Kent
                                  Crossley, M.D., Daniel Kitei, D.O. and Michael Raymond, Ph.D. of Behavioral
                                                                                                concemmg my
                                  Medical Interventions, and will address the comments concerning
                                  neuropsychological assessment in July 2010 of Haley Spears.

                                          allached a copy of my Curriculum Vitae, which attests
                                  I have attached                                              allests to
                                                                                                       lo my training,
                                                                                                                   lhe
                                  experience and expertise in the field of clinical neuropsychology, in general, the
                                  assessment ofOJ neuropsychological impairment due to lo injury and illness, and the
                                                                                             infeclious/inllammalory
                                  neuropsychological impact of Lyme disease and other infectious/inflammatory
                                  conditions, in particular. II believe it supports the high probability that my
                                  assessment ofOJ Ms. Spears was thorough and appropriate and my opinions well
                                  founded.
                                  founded.

                                  1.) Dr. Raymond characterizes my neuropsychological assessment as "cursory"
                                  or "abbreviated." It was not.

                                  The assessment was comprehensive, involving 9 hours direct patient contact, and
                                  8 hours review and analysis, and comprising:

                                  Review of medical records
                                  Review of independent input from both parents, via email, regarding Ms. Spear's
                                  past and present academic, vocational, and social emotional functioning
                                  Phone interview with a colleague and close friend of four years regarding above
                                  Completion of a self-report history and symptom inventory by Ms. Spears
                                                     ( 60 minutes)
                                  Clinical Interview (60
                                  Formal, individual, standardized testing of cognitive, executive, motor and
                                  affective (emotional and psychological) functioning, specifically:
                                  Wechsler Adult Intelligence Scale - III (complete battery - 12 subtests)
                                  Wechsler Memory Scale - iiiTH (complete batter - 11 subtests)
                                  The Beck Depression Inventory
         125 Katonah Avenue
                                  The Beck Anxiety Inventory
         Karonah, NY 10536
         Katonah,                 Draw-a-Person Test
               (914) 232-6245     Luria Motor Programs Test
dr.rnarian@rissenbergnorn
dr. m;:i ria n@rissen berg.corn




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                                                                                H. SPEARS
                                                        RISSENBERG RESPONSE RE: H.
                                                        RlSSENBERG

                                                                                       PACI-~ 2
                                                                                       PAGE   2


                                                                                nol.
       2.) Dr. Raymond characterizes my assessment as "nonstandardized." It was not.

                                                                           nom1ed
       The tests and methods are widely used and carefully and extensively nonned
                                                        field. See
       and standardized to the highest standards in the field. Sec above.

                                                                 prcmorbid cognitive
       3.) Dr. Raymond suggests that my estimate of Ms. Spears' premorbid
       capacity is "miscalculated," or overestimated. it
                                                      Tt is not.

       I used the standard best practice in the field of clinical neuropsychology -
       considering multiple factors - to obtain the best estimate of Ms. Spears'
       premorbid cognitive capacity at around the 75th percentile (IQ of 110). This
                              lo determine the degree of deficit, if any, demonstrated on
       estimate is necessary to
       testing. These factors are education, work history, "hold" scores (scores on tests
       relatively insensitive tolo the effects of brain injury or disease), and "best
       perfom1ance" (the highest scores or difficulty
       performance"                         dillieully level obtained).

       Ms. Spears is a high school graduate who completed two years of college. The
       average IQ for a high school graduate is 110 (75th percentile). "Educational
       attainment is the best single demographic predictor of IQ." (Doerr &        & Carlin,
       1991) Ms. Spears had been working three-and-a-half years at her job as an
       executive administrative assistant at Pratt and Whitney (manufacturers of
       turbine engines) when she had to take medical leave due to illness in March
       2009. "An occupational history is another important step in evaluating
       premorbid functioning."
                   functioning." (Doerr &  & Carlin, 1991) Ms. Spears' highest cognitive
       score was at the 75th percentile, and scores at the 50th percentile were obtained
                                                                       "inlralest variability"
       on several tests of abstract reasoning. On each of these, "intratest
       (more difficult items are correctly solved while some easier are missed) was
                                         dillicully level of the test
       evident. In this case, it is the difficulty               lest items solved that best
       estimates premorbid ability. "For intellectually impaired persons, the least
       depressed abilities are the best remaining behavioral representatives of the
       original intellectual potential." (Lezak, 2012).

       4.) Dr. Raymond argues that the results of my assessment provide no evidence
       of impairment. This is not correct.

       There is clear and objective evidence, as well as clinical evidence, of significant
                                            function. Ms. Spears obtained a Working
       impairment in multiple areas of function.
                                                              statisticanv significant (p <
                             12'h percentile. This represents statistically
       Memory Index at the 12th
       .05) Ms. Spears' Auditory Delayed Memory Index was at the 6111     6th percentile, in
       the Borderline Defective range, impaired by any standard.




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                                                                 RISSENBERG
                                                                 RISSh'NHh'R(7 RESPONSE
                                                                               RhSPONSh RE:
                                                                                        Rh': H.
                                                                                             H SPEARS
                                                                                                SPK1RS

                                                                                 PACT
                                                                                 PAGE 3
                                                                                      3

            Dr, Raymond notes, in support of his wholesale dismissal of my
       5.) Dr.
       neuropsychological assessment of Ms. Spears, the lack of "formal
                                                                  "fomml effort testing
       (c,g,, embedded or freestanding)."
       (e.g.,               freestanding)," However, such testing was not necessary or
       appropriate to the circumstances.

                      lesling" can be important
       While "effort testing"           imporlanl to
                                                   lo rule out
                                                           oul a lack of effort or malingering
       when scores arc consistently low, it is not indicated when there arc relatively
       higher scores obtained, as was the case with        wilh Ms.
                                                                  Ms, Spears, which alone
                            ellorl, particularly when they
       demonstrate good effort,                         lhey are obtained on measures of a
               or cognitive functions.
       variety of             functions. Furthermore, abundant clinical evidence of    or good
                                               test-laking behavior, including her continued
       effort was provided by Ms. Spears' test-taking
       attempt to solve increasingly difficult items on a subtest, after failing easier ones
       (see intratest variability, as noted above), and after the time limit had been
       exceeded,
       exceeded.

                                                            314116, I maintain that my
       In sum, having reviewed the Physician Review of 3/4/16,
       ncuropsychological assessment of Ms. Spears was appropriate and
       neuropsychological
       comprehensive, reflecting the highest standards and best practices of my field,
       that my analysis and interpretation of the results was fully informed and valid,
            lhal the results,
       and that      resulls, using widely used, extensively normed and standardized,
       objective neuropsychological tests, demonstrate statistically significant
       impaim1enl of cognitive function.
       impairment                function.
                     (--    '-
        ~
        Risse~berg,       Ph,O,
       Marian Risse berg, Ph.D.
       Neuropsychologist
                      Lie# 009016
       New York State Lic#




       Doerr, Hans U,0., and Carlin, Albert
                                     Alhert S. (1991)
                                               (I 99 I) Forensic Neuropsychology
                                                                 Neuropsvchology: Legal and
       Scientific Bases.
                  Bases, The Guillbrd
                             Guilford Press.
                                      Press, New York, London.
                                                          London,

               Afuriel Deutsch, Howleson,
       Lezak, Muriel             Howieson, Diane B.,  B,, Bigler.
                                                          Bigler, Erin D..D,, and Tranel,
                                                                                      Triplet Daniel (2012)
       Neuropsychological
       l\leuro1Jsy•chological Assessment, 5th  Elfilion,  (J.~fVr£f
                                          .5th Edition, Oxford University
                                                                    lJniver.<;,'i(v Press. New
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       Oxford.




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                           MARIAN RISSENBERG, PH.D.

                                   Curriculum Vita

Education

     o   Doctorate, Experimental Psychology/Cognitive Neuroscience, New York
              University, Graduate School of Arts and Science, Department of Psychology,
              New York, NY

     o   Post Doctoral Fellowship, Neuropsychology, Cornell University Medical
              College, Department of Neurology, Division of Neuroscience, New York,
              NY

Certification                                               License## 009016
                     New York State Certified Psychologist, License

Professional Experience

1989 - Present       Neuropsychologist, Private Practice, Katonah, NY

1991 - Present       Neuropsychologist, Consulting Medical Staff, Department of
                     Psychiatry, Northern Westchester Hospital, Mt. Kisco, NY

1994 - Present       Director, Center for Neuropsychology, Katonah, NY

2003 - Present       Clinical &
                              & Research Supervisor, Doctoral and Post-Doctoral
                     Neuropsychology, Center for Neuropsychology

2008 - 2012          Consulting Psychologist, Stony Lodge Hospital, Ossining, NY

2006-- 2007
2006                 Adjunct Professor, Department of Psychology, Manhattanville
                     College, Purchase, NY

1998 - 2003          Assistant Clinical Professor of Medical Psychology, Department of
                     Psychiatry, Columbia University College of Physicians and
                     Surgeons, New York, NY

1988 - 1991          Psychologist, Adjunct Medical Staff, Four Winds Hospital, Cross
                     River, NY

1986 - 1988          Assistant Professor of Psychology, Department of Neurology,
                     Cornell University Medical College, New York, NY

1981-1984            Teaching Assistant, New York University, Graduate School of Arts
                     and Science, New York, NY

1979-1981            Assistant Psychologist, Alzheimer's Research Center, Department of
                     Psychiatry, New York University Medical Center, New York, NY

             Memberships: American Psychological Association; International Dyslexia
Professional Memberships:
Association; International Foundation for Autism Research; International
Neuropsychological Society

Teaching Experience: Introductory Psychology, Abnormal Psychology, Memory &    &
Cognition, Biological Bases of Behavior (Physiological Psychology), Neuropsychology

125
125 KATONAH AVE, KATONAH, N.Y., 10536
    KATONAHAVE,                 10536   I   dr.marian@rissenberg.com
                                            dr. marian@rissenberg.com 1(914)232-6245
                                                                      I (914) 232-6245




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                          MARIAN RISSENBERG, PH.D.
                                             PH.D.


Publications

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Alzheimer's type. Journal of Clinical and Experimental Neuropsychology, 7(2), 156.

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               & Glanzer, M. (1986) Picture superiority in free recall: The effects of
                                                                        41(1 ), 64-71.
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               & Glanzer, M. (1987) Free recall and word finding ability in normal aging
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cognitive deficits in children with chronic Lyme disease. The Journal of Neuropsychiatry
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Presentations

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                                                                        & tick-borne
disorders, International Scientific Conference.

Greico, J. &
           & Rissenberg, M. (2013) Attention and Learning in Children with Lyme Disease
and ADHD. American Academy of Clinical Neuropsychology, Annual Scientific Meeting.

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           & Rissenberg, M. (2013) Working Memory in Children with Lyme Disease
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Rissenberg, M. (2010) Pitocin and Autism Spectrum Disorder. International Foundation
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Rissenberg, M. (2005) Neuropsychological Presentation of Chronic Lyme Disease.
International Lyme and Associated Disease Society, Annual Scientific Meeting.

Rissenberg, M. (1994) Characteristics of cognitive deficit in Lyme borreliosis. Lyme
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Rissenberg, M. (1986) The Stroop effect in normal aging and Alzheimer's disease.
American Psychological Association, Annual Scientific Meeting.

Rissenberg, M. && Chambers, S. (1996) Neuropsychological deficits in chronic Lyme
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Rissenberg, M. && Leonardi, D. (2000) Neuropsychological evaluation of children with
Lyme disease: Implications for education and treatment. Lyme disease and other
spirochetal &
            & tick-borne disorders, International Scientific Conference.




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               Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 215 of 501

                                                                                                   Medical Consultants
                                                                                                           Consultants Network,
                                                                                                                       Network, LLC
AO -0% 1M                                                                                          Medical
                                                                                                            1301 5th
                                                                                                            1301     Ave, Suite
                                                                                                                 5th Ave,  Suite 2900
                                                                                                                  Seattle, WA
                                                                                                                  Seattle,
                                                                                                                                 2900
                                                                                                                           WA 98101
1VI%.1 i ®                                                                                                               XX-XXXXXXX
                                                                                                                Tax ID: XX-XXXXXXX

MEDICAL CONSULTANTS NETWORK°



                                                       #: N101453
                                               Invoice #: N101453
                                                 Invoice Date:
                                                 Invoice Date: 04/05/2016
                                                               04/05/2016


ATTN:
ATTN:         Nancy Winterer
              Nancy  Winterer
              Liberty Mutual
              Liberty Mutual Insurance
                             Insurance
              P.O. Box
              P.O. Box 7210
                       7210
              London, KY
              London,  KY 40742
                          40742



MCN #:        1-C193333
              1-C193333                                      Coverage:
                                                             Coverage:      Disability-Long Term
Claim #(s):
Claim #(s):   REDACTED
              REDACTED

Claimant:
Claimant:     Haley Spears
              Haley Spears
DOL/DOI:      09/27/2008
              09/27/2008


DATE OF       PROVIDER               SPECIALTY               SERVICE                                                      AMOUNT
SERVICE
SERVICE
03/14/2016
03/14/2016    Jenness Courtney
              Jenness Courtney                Medicine &
                                     Physical Medicine &     Independent Medical
                                                             Independent Medical                                          $3,850.00
                                                                                                                          $3,850.00
                                     Rehabilitation
                                     Rehabilitation          Evaluation
                                                             Evaluation
                                                             INVOICE TOTAL                                                $3,850.00
                                                                                                                          $3,850.00




For proper
For proper credit,
           credit, please
                   please indicate
                          indicate invoice
                                   invoice #
                                           # N101453
                                             N101453 on your payment
                                                     on your         to:
                                                             payment to:
Tax ID#: XX-XXXXXXX
Medical Consultants Network, LLC
1301 5th
1301 5th Ave,
         Ave, Suite
              Suite 2900
                    2900
Seattle, WA 98101

Thank you
Thank you for
          for choosing
              choosing MCN
                       MCN for
                           for your
                               your medical
                                    medical judgment
                                            judgment needs!
                                                     needs!

A finance charge of 1% per month (12% per annum) will be assessed
                                                 will be assessed on
                                                                  on all
                                                                     all charges
                                                                         charges outstanding
                                                                                 outstanding more
                                                                                             more than
                                                                                                  than 60
                                                                                                       60
days after
days  after the
            the date
                date of
                     of this
                        this invoice.

Please notify
Please  notify MCN
               MCN accounting
                   accounting of
                              of any
                                 any discrepancies
                                     discrepancies within
                                                   within 30
                                                          30 days of the
                                                             days of the invoice
                                                                         invoice date.
                                                                                 date.
(206) 219-4910 Phone
(206) 812-6410 Fax
(206)
accounting@mcn.com
accountingQmcn.com
                                                                                                             Liberty002491
                                                                                                             Liberty002491
 Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 216 of 501



  r%
J WN®
                                                                    901 Boren Avenue,
                                                                    901 Boren Avenue, Suite
                                                                         Seattle, WA
                                                                         Seattle,
                                                                                             1400
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MEDICAL CONSULTANTS NETWORK ®                                                     F: 206.812.6420
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                                                                                   www.mcn.com




March 14,
March 14, 2016
          2016



Nancy Winterer
Nancy  Winterer
LIBERTY MUTUAL
LIBERTY   MUTUAL INSURANCE
                  INSURANCE
P.O. Box
P.O. Box 7210
         7210
London, KY
London,  KY 40742-7210
            40742-7210



Re: Haley
Re: Haley Spears
           Spears
Claim Number:
Claim Number: REDACTED
Date of
Date of Injury:
        Injury: September
                September 27,
                          27, 2008
                              2008
MCN Number:
MCN  Number: 1-C19333352
                1-C193333S2

Dear Ms.
Dear Ms. Winterer:
         Winterer:

Thank you
Thank   you for    allowing Medical
              for allowing   Medical Consultants  Network, LLC,
                                      Consultants Network,   LLC, to
                                                                  to schedule
                                                                       schedule an an
independent medical
independent   medical examination
                       examination on Haley Spears.
                                   on Haley Spears. The
                                                    The following
                                                        following is
                                                                  is a
                                                                     a report
                                                                       report of
                                                                              of the
                                                                                  the
examination
examination performed
              performed on   March 14,
                          on March  14, 2016. Jenness Courtney,
                                        2016. Jenness            MD, prepared
                                                      Courtney, MD,   prepared and
                                                                                 and
dictated this report.
dictated this report.

The opinions
The  opinions expressed
               expressed inin this  report are
                               this report are those
                                                those ofof the
                                                           the physician,   and do
                                                               physician, and        not reflect
                                                                                 do not   reflect
the
the opinions
     opinions of  Medical Consultants
               of Medical    Consultants Network,
                                           Network, LLC.LLC. The
                                                               The examinee
                                                                     examinee waswas informed
                                                                                       informed
that
that this
     this examination   was at
          examination was     at the
                                 the request  of Liberty
                                     request of   Liberty Mutual
                                                           Mutual Insurance,
                                                                    Insurance, that
                                                                                  that aa written
                                                                                          written
report would
report  would be
               be sent   to that
                   sent to   that agency,  and that
                                   agency, and         the examination
                                                  that the  examination waswas for
                                                                                 for evaluative
                                                                                     evaluative
purposes only.
purposes          Furthermore, the
           only. Furthermore,      the examinee
                                        examinee waswas informed
                                                         informed that
                                                                     that the  purpose of
                                                                          the purpose      of the
                                                                                              the
examination
examination waswas to   address specific
                     to address             injuries or
                                   specific injuries    or conditions,   as outlined
                                                            conditions, as    outlined by by the
                                                                                              the
requesting party,
requesting         was not
            party, was   not meant
                              meant to
                                     to constitute
                                         constitute a  general medical
                                                     a general  medical examination,
                                                                          examination, and and is
                                                                                                is
not a
not  a substitute  for her
       substitute for   her personal
                             personal physician(s)
                                        physician(s) or    health care.
                                                       or health           The examinee
                                                                   care. The     examinee waswas
informed at
informed   at the
              the time
                  time of   the examination
                         of the  examination notnot to
                                                     to engage   in any
                                                         engage in   any physical
                                                                         physical maneuvers
                                                                                     maneuvers
beyond what
beyond   what she
               she could
                    could tolerate,
                           tolerate, or  which she
                                      or which        felt were
                                                 she felt  were beyond
                                                                beyond herher limits,
                                                                               limits, or
                                                                                        or could
                                                                                            could
cause  physical harm
cause physical  harm or   injury.
                       or injury.

The dictated
The          report is
    dictated report is as
                       as follows:
                          follows:

The patient
The patient was
            was instructed
                  instructed that
                              that this was a
                                   this was a one-time
                                               one-time evaluation  and that
                                                         evaluation and that no
                                                                             no
physician and
physician and patient
              patient relationship
                      relationship would
                                   would be
                                         be established.
                                            established.

The claimant
The  claimant is
               is aa former
                     former administrative
                             administrative assistant
                                            assistant who
                                                       who was
                                                            was 31  years old
                                                                 31 years old at
                                                                              at her
                                                                                 her
date of
date  of disability,
          disability, September
                       September 27,
                                   27, 2008,   initially due
                                        2008, initially  due to   headaches.
                                                              to headaches.     This
                                                                                This
evaluation is
evaluation  is to  determine the
               to determine   the claimant’s functional capacity
                                  claimant's functional  capacity for
                                                                  for the
                                                                      the periods of
                                                                          periods of
September 27,
September    27, 2008,
                  2008, through   March 27,
                         through March    27, 2009,   and March
                                              2009, and   March 28,
                                                                  28, 2009, through
                                                                      2009, through
March 31,
March  31, 2015.
           2015.




                                                                                         Liberty002492
                                                                                         Li berty002492
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HISTORY OF PRESENT ILLNESS:

A comprehensive
A                    medical history
  comprehensive medical       history was
                                      was attempted;
                                            attempted; however,
                                                         however, this
                                                                   this claimant    refused to
                                                                         claimant refused    to
give any
give  any substantial    history. Upon
           substantial history.     Upon questioning
                                            questioning concerning
                                                          concerning herher initial
                                                                             initial migraine
                                                                                      migraine
headaches, this
headaches,    this claimant    stated that
                    claimant stated    that this    was only
                                              this was   only the   symptom of
                                                               the symptom            her real
                                                                                  of her   real
problems. She
problems.    She stated
                  stated that
                           that she  no longer
                                she no   longer has
                                                 has any
                                                      any problems
                                                           problems related
                                                                      related to
                                                                               to this
                                                                                   this event.
                                                                                         event.
She attributes
She  attributes all
                 all of
                     of the
                        the problems
                             problems as    related to
                                        as related  to bacterial/parasitic
                                                       bacterial/parasitic infections.
                                                                             infections. She
                                                                                           She
states  that treatment
states that  treatment forfor these  infections remedied
                              these infections    remedied her
                                                             her symptoms.
                                                                 symptoms. When  When asked
                                                                                         asked
specific
specific questions    about the
          questions about        history and
                             the history   and course   of events
                                                course of  events during
                                                                  during thethe time   periods
                                                                                time periods
stated  above, the
stated above,   the patient
                    patient states  that she
                             states that      was instructed
                                          she was  instructed by
                                                              by her
                                                                  her lawyer
                                                                       lawyer not
                                                                               not to   answer
                                                                                     to answer
these
these questions.
       questions.


PAST MEDICAL HISTORY:

As far
As     as a
   far as a past  medical history
             past medical  history and
                                   and surgical  history, she
                                        surgical history, she reports
                                                              reports that her past
                                                                      that her past
medical history
medical history was
                was negative
                    negative prior to 2008.
                             prior to 2008.

Illnesses:
Illnesses:   She
             She reports a history
                 reports a history of
                                   of asthma, ulcers, goiter,
                                      asthma, ulcers, goiter, and
                                                              and Hashimoto's
                                                                  Hashimoto’s
thyroiditis.
thyroiditis.

Operations: She
Operations: She reports
                reports having
                        having a
                               a thyroidectomy in June
                                 thyroidectomy in June of
                                                       of 2013.
                                                          2013.

Allergies: She
Allergies: She reports
               reports no
                       no drug
                          drug allergies, only seasonal
                               allergies, only          allergies.
                                               seasonal allergies.

Medications:
Medications:   She
               She reports
                    reports Singulair
                            Singulair for
                                      for asthma
                                          asthma type
                                                 type allergies, levothyroxine
                                                      allergies, levothyroxine
replacement, and
replacement, and Xopenex
                 Xopenex inhaler.
                         inhaler.


REVIEW OF SYSTEMS:

As far
As     as HEENT,
   far as  HEENT, she
                    she reports
                         reports Singulair
                                 Singulair for her allergy
                                           for her allergy symptoms,
                                                           symptoms, no
                                                                     no cough,
                                                                        cough,
hemoptysis, or
hemoptysis,    shortness of
            or shortness    breath.
                         of breath.

Cardiovascular: She
Cardiovascular:  She reports  a history
                      reports a history of  palpitations related
                                         of palpitations related to the infections,
                                                                 to the infections, but
                                                                                    but
takes no medications,
takes no medications, and
                      and these
                          these are  intermittent.
                                 are intermittent.

Gastrointestinal Symptoms:
Gastrointestinal   Symptoms: Constipation,
                                 Constipation, diarrhea, bloating, and
                                               diarrhea, bloating, and cramping
                                                                       cramping that
                                                                                that
she attributes all
she attributes     to thyroid
               all to thyroid disease.
                              disease.

Endocrine: See
Endocrine:     Past Medical
           See Past Medical History
                            History for
                                    for thyroid findings.
                                        thyroid findings.

Genitourinary: No
Genitourinary: No dysuria, hematuria, frequency,
                  dysuria, hematuria, frequency, or urgency.
                                                 or urgency.

Musculoskeletal: She
Musculoskeletal: She reports
                     reports that she had
                             that she had a
                                          a car accident recently;
                                            car accident recently; however,
                                                                   however, those
                                                                            those
symptoms, which are
symptoms, which       being treated
                 are being  treated by
                                    by a
                                       a chiropractor,  have no
                                          chiropractor, have no bearing
                                                                  bearing on  this
                                                                          on this
report.
report.




                                                                                      Liberty002493
                                                                                      Li berty002493
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SOCIOECONOMIC HISTORY:

Physical Activity
Physical   Activity Level:
                     Level: She
                              She was
                                   was questioned
                                         questioned concerning      her ability
                                                       concerning her    ability to
                                                                                  to perform
                                                                                      perform
activities
activities of
           of daily living. When
              daily living.  When she    was at
                                    she was    at her
                                                  her worst
                                                       worst during   the time
                                                              during the    time frame
                                                                                  frame after
                                                                                         after
September 27,
September    27, 2008,   she reports
                 2008, she   reports that
                                       that she   had problems
                                             she had    problems with
                                                                   with fatigue,    pain, and
                                                                          fatigue, pain,  and
decreased
decreased energy.
             energy. She      also reports
                         She also   reports neurocognitive
                                               neurocognitive deficits,      where she
                                                                 deficits, where     she had
                                                                                          had
difficulties with memory
difficulties with memory andand confusion.
                                 confusion. SheShe states
                                                    states that  her mother
                                                           that her  mother andand the  home
                                                                                    the home
health nurse
health   nurse would
                would aid   her with
                        aid her  with activities
                                       activities of
                                                   of daily  living such
                                                       daily living  such asas dressing
                                                                                dressing and
                                                                                          and
bathing. She
bathing.   She reports  no problems
               reports no  problems atat this time.
                                         this time.

As far
As      as her
   far as  her exercise
               exercise regimens,
                        regimens, she  reports exercising
                                  she reports  exercising now
                                                          now one
                                                               one time  a week,
                                                                    time a week, but
                                                                                 but
only  when she
only when       feels good.
            she feels good. She
                            She does
                                does some   walking and
                                      some walking  and jogging,  also some
                                                         jogging, also      aerobics
                                                                       some aerobics
and light
and  light weights.
           weights.

She reports
She reports that
             that she worked for
                  she worked  for approximately
                                  approximately one    year following
                                                  one year  following this
                                                                      this event.
                                                                           event. She
                                                                                   She
worked in
worked  in recruitment
           recruitment and  hiring in
                        and hiring in a
                                      a staffing
                                        staffing firm.  This was
                                                 firm. This   was a full-time job
                                                                  a full-time job that
                                                                                  that
she
she discontinued  in August
    discontinued in  August of
                            of 2015.
                               2015.


PHYSICAL EXAMINATION:

On  physical examination,
On physical  examination, overall,
                          overall, this
                                   this claimant was very
                                        claimant was  very restricted
                                                           restricted in
                                                                      in any
                                                                         any answers.
                                                                             answers.
She basically
She  basically refused,
               refused, again,
                        again, to   give any
                                to give        history. She
                                          any history.    She did
                                                               did allow
                                                                    allow aa physical
                                                                             physical
examination.
examination.

Her gait
Her  gait was
          was non-antalgic
              non-antalgic and
                           and reciprocal. She was
                               reciprocal. She was able
                                                   able to
                                                        to perform
                                                           perform tandem,
                                                                   tandem, toe, and
                                                                           toe, and
heel walking.
heel walking.

Cervical
Cervical range
          range of motion was
                of motion   was normal
                                normal with
                                       with flexion,
                                            flexion, extension, lateral bending,
                                                     extension, lateral bending, and
                                                                                 and
rotation. Lumbar
rotation.  Lumbar range
                   range of motion was
                         of motion was normal
                                       normal with
                                               with flexion
                                                    flexion and
                                                            and extension.
                                                                extension.

Strength testing
Strength  testing of
                  of the   upper extremities
                      the upper                and lower
                                   extremities and   lower extremities
                                                            extremities showed
                                                                        showed herher to
                                                                                      to be
                                                                                         be
5/5 with shoulder
5/5 with  shoulder abduction,
                     abduction, elbow    flexion, elbow
                                  elbow flexion,  elbow extension,   wrist extension,
                                                         extension, wrist              grip,
                                                                           extension, grip,
thumb
thumb abduction,    fifth digit
       abduction, fifth         adduction, hip
                          digit adduction,  hip flexion,
                                                flexion, hip
                                                         hip extension,
                                                             extension, knee  flexion, knee
                                                                        knee flexion,  knee
extension,
extension, dorsiflexion,   plantar flexion,
            dorsiflexion, plantar   flexion, and
                                             and extensor    hallucis longus
                                                   extensor hallucis  longus extension
                                                                              extension ofof
the great toe.
the great toe.

Circumferences
Circumferences of the biceps
               of the biceps were
                             were taken; right 37
                                  taken; right 37 cm, left 35
                                                  cm, left 35 cm.
                                                              cm.

Straight leg
Straight leg raise
             raise was
                   was negative
                       negative in
                                in sitting
                                   sitting and supine.
                                           and supine.

Sensation was
Sensation was tested  with pinprick
               tested with pinprick and  Semmes-Weinstein monofilament
                                    and Semmes-Weinstein       monofilament and    noted
                                                                               and noted
to be normal
to be normal for   sharp, dull,
              for sharp,        and soft
                          dull, and soft touch
                                          touch throughout
                                                 throughout thethe upper
                                                                    upper extremity  and
                                                                           extremity and
lower extremity
lower extremity dermatomes
                 dermatomes C5,
                              C5, C6,
                                  C6, C7,
                                      C7, C8,  T1, L2,
                                           C8, Ti, L2, L3,
                                                       L3, L4,
                                                           L4, L5,
                                                               L5, and S1.
                                                                   and Si.

Deep Tendon
Deep  Tendon Reflexes:
               Reflexes: Biceps
                         Biceps 2+
                                 2+ and
                                    and symmetrical,    triceps 2+
                                          symmetrical, triceps     and symmetrical,
                                                                2+ and symmetrical,
brachioradialis 2+
brachioradialis 2+ and
                    and symmetrical,  patella and
                        symmetrical, patella   and ankle
                                                    ankle also
                                                           also 2+ and symmetrical.
                                                                2+ and symmetrical.
Negative Hoffmann's,
Negative Hoffmann’s, negative
                      negative Babinski's,
                               Babinski’s, negative
                                           negative clonus.
                                                    clonus.




                                                                                     Liberty002494
                                                                                     Li berty002494
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Gastroc
Gastroc circumference;  right 36.5
        circumference; right   36.5 cm, left 37.5
                                    cm, left 37.5 cm.   Leg lengths
                                                   cm. Leg  lengths were
                                                                    were also measured
                                                                         also measured
from the
from the anterior
          anterior superior iliac spine
                   superior iliac spine to
                                        to the
                                           the superior
                                                superior edge
                                                          edge of
                                                               of the medial malleolus,
                                                                  the medial  malleolus,
noted to
noted    be 87.5
      to be 87.5 cm
                 cm on
                     on the right, 88
                        the right, 88 cm  on the
                                      cm on       left.
                                              the left.

Ankle range
Ankle  range of  motion actively
              of motion actively was
                                 was normal
                                     normal with
                                              with dorsiflexion  and plantar
                                                    dorsiflexion and          flexion.
                                                                      plantar flexion.
Hip range
Hip  range of  motion was
            of motion was normal
                           normal bilaterally
                                   bilaterally with
                                               with flexion,
                                                     flexion, extension, internal and
                                                              extension, internal and
external rotation. FABERE's
external rotation. FABERE’s examination  was negative.
                            examination was   negative.

Shoulder range
Shoulder  range of motion was
                of motion was normal
                              normal in
                                     in all planes, flexion,
                                        all planes, flexion, abduction,
                                                             abduction, internal
                                                                        internal and
                                                                                 and
external rotation. She
external rotation.  She showed no impingement
                        showed no  impingement signs,
                                                 signs, negative
                                                         negative Hawkins,
                                                                  Hawkins, negative
                                                                            negative
Neer’s. Wrist
Neer's. Wrist range
              range of motion was
                    of motion was normal
                                  normal with
                                         with extension
                                               extension and
                                                          and flexion.
                                                              flexion.

Knee range
Knee range of motion actively
           of motion actively was
                              was also normal with
                                  also normal with flexion and extension.
                                                   flexion and extension.

She displayed
She  displayed nono tender
                     tender points
                             points or   myofascial trigger
                                     or myofascial            points. Palpation
                                                     trigger points.   Palpation was
                                                                                  was
performed on
performed   on the
                the cervical
                    cervical paraspinals,  thoracic paraspinals,
                              paraspinals, thoracic paraspinals, lumbar
                                                                  lumbar paraspinals,
                                                                          paraspinals,
shoulder
shoulder areas,
         areas, around  the scapulae,
                 around the            including the
                             scapulae, including the levator
                                                     levator scapulae and rhomboids.
                                                             scapulae and  rhomboids.
There was
There was no
           no muscle
              muscle atrophy    and no
                       atrophy and   no palpable  spasms. There
                                         palpable spasms.   There were
                                                                   were also no visual
                                                                        also no visual
spasms.
spasms.


REVIEW OF MEDICAL RECORDS:

An extensive
An            review of
    extensive review   of medical
                          medical records
                                  records that were provided
                                          that were          for this
                                                    provided for this case was
                                                                      case was
performed. These
performed.  These will
                  will be
                       be summarized.
                          summarized.

There is
There  is a triage from
          a triage      Hartford Hospital
                   from Hartford  Hospital Emergency
                                           Emergency Room.
                                                      Room. The
                                                             The doctor  is Dushyant
                                                                  doctor is Dushyant
Parikh, MD.
Parikh, MD. Employer
               Employer is
                         is Filene's.
                            Filene’s. The
                                      The diagnosis  was laceration
                                           diagnosis was laceration of
                                                                    of the  left index
                                                                       the left  index
finger. Laboratory
finger.  Laboratory reports
                     reports were
                             were also
                                  also noted.
                                       noted.

There is
There  is an
          an Allergy
              Allergy Associates
                      Associates of Hartford report,
                                 of Hartford report, Dr.
                                                      Dr. Srinivasan, April of
                                                          Srinivasan, April  of 2002.  It
                                                                                2002. It
reports  symptomatic   rhinitis and seasonal exacerbations.   It mentions   skin testing,
reports symptomatic rhinitis and seasonal exacerbations. It mentions skin testing,
with a
with    reaction to
     a reaction   to dust mites, molds,
                     dust mites, molds, cat
                                        cat dander,
                                            dander, grasses,
                                                     grasses, trees, and ragweed.
                                                              trees, and             She
                                                                          ragweed. She
deferred
deferred oral
           oral steroids  and Benadryl.
                steroids and   Benadryl. He
                                         He stated   he would
                                             stated he   would bebe discussing   various
                                                                     discussing various
options,  including immunotherapy.
options, including   immunotherapy.

There is
There is documentation
         documentation of her FVC
                       of her FVC and
                                  and FEV1.
                                      FEV1.

There is
There is a
         a note
           note also from Dr.
                also from  Dr. Srinivasan
                               Srinivasan dated
                                           dated September
                                                  September 22,
                                                              22, 2003, which reports
                                                                  2003, which  reports
she has long-standing
she has long-standing severe  asthma. She
                      severe asthma.        uses a
                                       She uses     nebulizer two
                                                 a nebulizer  two to
                                                                  to three
                                                                     three times a day
                                                                           times a day
to
to control
   control the
           the severity. It states
               severity. It         anxiety and
                            states anxiety  and symptoms
                                                 symptoms of of claustrophobia   might
                                                                claustrophobia might
cause her asthma
cause her asthma symptoms
                  symptoms to   flare. This
                             to flare. This was
                                            was a  note To
                                                a note  To Whom
                                                           Whom ItIt May
                                                                     May Concern.
                                                                         Concern.

There are
There are follow-up
           follow-up visits
                      visits with
                             with this
                                  this same    physician, as
                                       same physician,     as well
                                                              well as
                                                                   as lab
                                                                      lab work,
                                                                          work, that are
                                                                                that are
presented, and
presented, and these
                these extend  from the
                      extend from       initial date
                                    the initial      until 2004.
                                                date until 2004.

Then in
Then in 2007, there is
        2007, there is a Dr. Schiff,
                       a Dr. Schiff, Hartford
                                     Hartford Medical
                                              Medical Group, who performed
                                                      Group, who performed labs.
                                                                           labs.




                                                                                Liberty002495
                                                                                Li berty002495
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On   June 14,
On June    14, 2007,
               2007, there   is Connecticut
                      there is   Connecticut GI,   and there
                                               GI, and   there is
                                                                is a
                                                                   a note
                                                                      note from
                                                                           from Amy
                                                                                  Amy Coates,
                                                                                        Coates,
APRN, also
APRN,    also signed  by Donna
              signed by   Donna Cipolla,     MD. The
                                   Cipolla, MD.    The chief
                                                          chief complaint    was diarrhea.
                                                                 complaint was    diarrhea. ItIt
started
started approximately
         approximately two     years ago.
                         two years          She describes
                                     ago. She                having diarrhea
                                                 describes having    diarrhea ten
                                                                               ten times
                                                                                   times aa day
                                                                                            day
and significant
and                weight loss.
      significant weight  loss. TheThe impression
                                        impression states
                                                       states that
                                                              that she   has diarrhea,
                                                                     she has             worse
                                                                               diarrhea, worse
under   stress  and  with  certain  foods;   intermittent    GERD   (gastroesophageal
under stress and with certain foods; intermittent GERD (gastroesophageal reflux          reflux
disease)
disease) symptoms
           symptoms andand epigastric
                             epigastric discomfort,      which have
                                          discomfort, which      have been
                                                                       been responsive
                                                                              responsive toto aa
proton pump
proton   pump inhibitor
                inhibitor in
                          in the
                              the past.
                                   past. She
                                          She also  reports bright
                                               also reports   bright red
                                                                      red rectal  bleeding and
                                                                          rectal bleeding   and
anal   burning, likely
anal burning,    likely hemorrhoidal.
                         hemorrhoidal. Given Given the
                                                     the constellation
                                                           constellation of    her symptoms,
                                                                          of her    symptoms,
irritable bowel
irritable  bowel syndrome
                  syndrome is is most
                                 most likely.
                                       likely. Will
                                                Will need
                                                      need to  rule out
                                                            to rule      inflammatory bowel
                                                                     out inflammatory    bowel
disease.   She has
disease. She   has been
                    been given
                         given Protonix,
                                 Protonix, Anusol,
                                            Anusol, and
                                                     and Imodium.
                                                           Imodium. SheShe is
                                                                           is being
                                                                              being scheduled
                                                                                     scheduled
for endoscopy
for  endoscopy and
                 and colonoscopy.
                      colonoscopy.

There are
There     several lab
      are several lab reports,
                      reports, which
                               which are
                                     are basically
                                         basically comprehensive metabolic profiles,
                                                   comprehensive metabolic profiles,
CBCs, and urinalysis.
CBCs, and urinalysis.

June 29,
June  29, 2007,   Donna Cipolla,
           2007, Donna    Cipolla, MD.
                                   MD. There
                                          There was
                                                 was a   gastrointestinal endoscopy.
                                                      a gastrointestinal  endoscopy.
Impression: Normal
Impression:  Normal esophagus,
                      esophagus, clean-based  gastric ulcer.
                                  clean-based gastric ulcer. The
                                                             The patient  was started
                                                                  patient was started
on Prilosec and told to hold aspirin and NSAIDs.
on Prilosec and told to hold aspirin and NSAIDs.

There are
There   are also
              also biopsies
                     biopsies that
                                that were
                                      were taken.
                                              taken. TheyThey report
                                                                report inflammatory
                                                                        inflammatory changes
                                                                                         changes
characteristic
characteristic of    microscopic colitis,
                 of microscopic               no evidence
                                     colitis, no   evidence of    inflammatory bowel
                                                              of inflammatory     bowel disease.
                                                                                         disease.
Duodenum: No
Duodenum:      No evidence
                    evidence of   inflammatory disease.
                              of inflammatory                 Stomach Biopsy:
                                                    disease. Stomach    Biopsy: NoNo evidence
                                                                                      evidence of
                                                                                               of
gastritis. A
gastritis.  A discrete   ulcer is
               discrete ulcer   is not
                                   not identified.
                                       identified. ThisThis was
                                                            was both
                                                                  both in
                                                                       in the  antral and
                                                                           the antral and fundic
                                                                                           fundic
mucosa. Also
mucosa.     Also in
                  in the  gastric body,
                      the gastric   body, no
                                           no discrete    ulcer is
                                                discrete ulcer   is identified.
                                                                    identified. The
                                                                                 The impression
                                                                                      impression
basically states
basically  states the
                   the colon  is normal
                        colon is normal on     biopsy. Internal
                                           on biopsy.    Internal hemorrhoids
                                                                   hemorrhoids were
                                                                                 were found.
                                                                                       found.

September 14,
September  14, 2007,
               2007, the impression again
                     the impression again for
                                          for the upper gastrointestinal
                                              the upper gastrointestinal endoscopy,
                                                                         endoscopy,
non-bleeding, erythematous
non-bleeding,               gastropathy, healed
              erythematous gastropathy,  healed ulcer.
                                                ulcer.

There is
There   is aa note
              note from
                     from the     Division of
                            the Division         Endocrinology, Connecticut
                                             of Endocrinology,                      Multispecialty
                                                                    Connecticut Multispecialty
Group,
Group, appointment       January 21,
         appointment January         21, 2008.
                                          2008. TheThe patient     is seen
                                                          patient is   seen in
                                                                             in consultation
                                                                                 consultation for  for
thyroid   nodules.    The  active  problems     are  listed  as ulcerative   colitis,
thyroid nodules. The active problems are listed as ulcerative colitis, a fatty liver,  a fatty  liver,
thyroid
thyroid cyst,
           cyst, systemic      lupus erythematosus,
                  systemic lupus                             plantar fasciitis,
                                        erythematosus, plantar          fasciitis, and     migraine
                                                                                    and migraine
headaches. It
headaches.      It states
                    states that
                             that the    patient was
                                   the patient     was noted
                                                          noted to     have a
                                                                  to have         goiter in
                                                                              a goiter     in 2004.
                                                                                                2004.
Apparently, nodules
Apparently,    nodules were
                         were sampled,
                                 sampled, two
                                            two cytologies
                                                  cytologies forfor cysts.    They were
                                                                     cysts. They      were normal.
                                                                                             normal.
Her review
Her  review ofof systems    noted very
                  systems noted      very poor
                                           poor energy,     poor memory
                                                  energy, poor     memory and and concentration,
                                                                                    concentration,
gastrointestinal issues,
gastrointestinal   issues, vision
                            vision blurred
                                    blurred onon and
                                                  and off   with migraines,
                                                        off with  migraines, and     ringing in
                                                                               and ringing     in the
                                                                                                  the
ears.   Her medications
ears. Her    medications werewere listed
                                   listed at
                                           at this
                                               this time.     Those included
                                                     time. Those      included Amitiza,
                                                                                 Amitiza, Asacol,
                                                                                              Asacol,
Prevacid, gabapentin,
Prevacid,   gabapentin, Zofran,     B12, Pepcid,
                          Zofran, B12,    Pepcid, Frova,
                                                    Frova, Maxalt,
                                                            Maxalt, Zomig,     Imitrex, folic
                                                                      Zomig, Imitrex,     folic acid,
                                                                                                 acid,
and Singulair.
and   Singulair. Thyroid
                    Thyroid examination
                               examination showed
                                               showed abnormalities,
                                                          abnormalities, cobblestone         texture,
                                                                            cobblestone texture,
without distinct
without   distinct dominant      nodule. Assessment:
                    dominant nodule.       Assessment: Hashimoto's
                                                            Hashimoto’s thyroiditis,       non-toxic
                                                                           thyroiditis, non-toxic
multinodular goiter.
multinodular    goiter. ItIt states
                              states she
                                      she does   have Hashimoto's,
                                           does have     Hashimoto’s, based
                                                                         based on on the
                                                                                      the antibody
                                                                                           antibody
testing, and  should   have   periodic  testing  of TSH    going
testing, and should have periodic testing of TSH going forward.  forward.

There is
There  is a  Patient Encounter,
          a Patient   Encounter, April
                                  April 8,
                                        8, 2008,   Provider James
                                            2008, Provider   James O’Brien,  MD. This
                                                                    O'Brien, MD.   This is
                                                                                        is a
                                                                                           a
followup for
followup  for microscopic
               microscopic colitis.   There is
                             colitis. There  is a
                                                a differential
                                                  differential diagnosis given of
                                                               diagnosis given    recurrent
                                                                               of recurrent
peptic ulcer
peptic  ulcer disease,
               disease, exacerbation
                         exacerbation of   lymphocytic colitis,
                                       of lymphocytic             new inflammatory
                                                         colitis, new inflammatory bowel
                                                                                     bowel
disease
disease or  irritable bowel
         or irritable bowel syndrome.
                            syndrome.




                                                                                            Liberty002496
                                                                                            Li berty002496
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There is
There is a Spirometry Report
         a Spirometry Report from Hartford Medical,
                             from Hartford Medical, April
                                                    April 29,
                                                          29, 2008.
                                                              2008.

There are
There  are notes
            notes from
                  from the
                        the Hartford
                            Hartford Medical
                                     Medical Group for vaccines.
                                             Group for vaccines. These
                                                                 These included
                                                                       included
hepatitis B
hepatitis B and
            and Gardasil.
                Gardasil.

There is
There is a laboratory report,
         a laboratory report, collected June 3,
                              collected June 3, 2008, a skin
                                                2008, a skin tag
                                                             tag of the vulva.
                                                                 of the vulva.

There was
There was aa GYN
              GYN examination.     There was
                   examination. There    was a
                                             a tiny
                                               tiny condyloma,   HurriCaine applied,
                                                    condyloma, HurriCaine   applied,
multiple healing
multiple healing areas. Patient to
                 areas. Patient to see
                                   see dermatology in two
                                       dermatology in     weeks.
                                                      two weeks.

There is
There  is cytology
          cytology from
                     from aa cervical
                             cervical smear. HPV DNA
                                      smear. HPV DNA was
                                                     was detected. Negative for
                                                         detected. Negative for
intraepithelial lesion
intraepithelial lesion or malignancy.
                       or malignancy.

There are
There are lab
          lab reports
              reports in
                      in which
                         which chlamydia and gonorrhea
                               chlamydia and gonorrhea were
                                                       were not
                                                            not detected.
                                                                detected.

August 28,
August  28, 2008,   Saint Francis
              2008, Saint  Francis Hospital,
                                   Hospital, Harford,
                                             Harford, Connecticut,   Emergency
                                                       Connecticut, Emergency
Department, Thomas
Department,  Thomas Turbiak,
                     Turbiak, MD.
                              MD. Diagnosis:
                                   Diagnosis: Migraine
                                              Migraine headaches.
                                                       headaches. The
                                                                    The patient
                                                                        patient
was prescribed
was prescribed Benadryl.
               Benadryl.

There is
There   is a
           a CT
              CT of
                  of the head performed
                     the head performed on   August 28,
                                          on August  28, 2008.   No intra-axial
                                                          2008. No   intra-axial or
                                                                                 or extra-
                                                                                    extra-
axial fluid collections.
axial fluid                Low attenuation
              collections. Low  attenuation changes
                                            changes are
                                                     are present  in the
                                                         present in  the white
                                                                         white matter
                                                                                matter of
                                                                                        of
the right temporal
the right              lobe, which
            temporal lobe,   which may
                                    may represent
                                        represent gliosis
                                                  gliosis or
                                                           or edema.
                                                              edema. A A follow-up   brain
                                                                         follow-up brain
MRI is
MRI  is recommended.
        recommended.

There is
There  is a
          a lab
            lab report
                report which
                       which has
                             has a
                                 a circle
                                   circle around HEP panel
                                          around HEP panel cytomegalovirus
                                                           cytomegalovirus antibody
                                                                           antibody
iron profile,
iron          August 28,
     profile, August  28, 2008.
                          2008.

August 29,
August 29, 2008, Emergency Department
           2008, Emergency Department Discharge
                                      Discharge Instructions.
                                                Instructions.

MRI of
MRI  of the  brain performed
        the brain   performed on on September
                                     September 2, 2, 2008. Within the
                                                     2008. Within      white matter
                                                                   the white matter of
                                                                                    of the
                                                                                       the
right temporal
right             lobe, there
      temporal lobe,          is a
                        there is a 1.7
                                   1.7 x
                                       x 0.8
                                         0.8 cm  lobulated lesion
                                              cm lobulated lesion demonstrating increased
                                                                  demonstrating increased
signal
signal on     T2-weighted images.
         on T2-weighted        images.      It does
                                            It         not enhance
                                                does not     enhance following
                                                                       following contrast
                                                                                  contrast
administration. It
administration.     It may
                       may represent
                            represent an     inactive demyelinating
                                         an inactive                 plaque. A
                                                      demyelinating plaque.   A low-grade
                                                                                low-grade
glioma is
glioma  is less
           less likely.
                likely.

October  6, 2008,
October 6,         MRI of
            2008, MRI     the brain,
                       of the brain, with
                                     with and without contrast.
                                          and without             Again, basically
                                                        contrast. Again, basically it
                                                                                   it
states
states aa stable, non-enhancing white
          stable, non-enhancing  white matter
                                        matter lesion
                                                lesion in
                                                        in the
                                                           the right
                                                               right temporal  lobe.
                                                                     temporal lobe.
Surveillance is
Surveillance is recommended,  with a
                recommended, with    repeat MRI
                                   a repeat MRI in
                                                in six
                                                   six months.
                                                       months.

Patient Encounter,
Patient Encounter, James
                     James W.
                            W. O’Brien, MD. Assessment:
                               O'Brien, MD. Assessment: Nausea,
                                                        Nausea, abdominal
                                                                abdominal pain,
                                                                          pain,
lymphocytic colitis,
lymphocytic colitis, and
                      and constipation.
                          constipation.

November 3,
November    3, 2008, Dr. Barry
               2008, Dr. Barry Gordon.   Impression: Migraine
                               Gordon. Impression:     Migraine headaches,
                                                                headaches, frequent
                                                                           frequent
tension
tension type   headaches. Recommendations:
         type headaches.     Recommendations: Continue       with Neurontin,
                                                   Continue with  Neurontin, added
                                                                              added
Pamelor, samples
Pamelor,  samples of Treximet to
                  of Treximet  to stop
                                  stop migraines,
                                       migraines, and hydrocodone as
                                                  and hydrocodone     needed.
                                                                   as needed.

Neurologic followup
Neurologic followup with
                    with David
                         David S. Silvers, MD.
                               S. Silvers, MD.             Diagnosis:
                                                           Diagnosis:     Migraine and
                                                                          Migraine and
encephalopathy.
encephalopathy.




                                                                                 Liberty002497
                                                                                 Li berty002497
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There are
There are restrictions from Dr.
          restrictions from Dr. Silvers
                                Silvers on
                                        on November
                                            November 11,11, 2008,  that indicated
                                                            2008, that  indicated the
                                                                                  the
claimant had sedentary
claimant had             work capacity
              sedentary work            and could
                              capacity and          not return
                                              could not  return to  work because
                                                                 to work   because of
                                                                                    of
migraines and
migraines and encephalopathy.   This restriction
              encephalopathy. This               was to
                                     restriction was to stay in place
                                                        stay in       until January
                                                                place until January 1,
                                                                                    1,
2009.
2009.

Evergreen Imaging
Evergreen   Imaging Center,   ultrasound of
                     Center, ultrasound  of the
                                            the thyroid. Impression: Multinodular
                                                thyroid. Impression:    Multinodular
goiter. Ultrasound
goiter.  Ultrasound of
                     of the
                        the abdomen.   Impression: Probable
                            abdomen. Impression:   Probable mild
                                                            mild fatty
                                                                 fatty infiltration
                                                                       infiltration of
                                                                                    of
the liver; otherwise
the liver;           normal.
           otherwise normal.

Lab reports
Lab  reports from    Manchester Memorial
              from Manchester     Memorial Hospital,
                                           Hospital, November
                                                     November 19,
                                                              19, 2008. ANA was
                                                                  2008. ANA was
positive, ferritin
positive, ferritin and
                   and iron
                       iron low,
                            low, ALT
                                 ALT high.
                                     high.

Yale Brain
Yale Brain Tumor
            Tumor Center.   Impression: Right
                    Center. Impression:  Right temporal lobe signal
                                               temporal lobe        abnormality of
                                                             signal abnormality of
unknown etiology,
unknown              pineal region
           etiology, pineal region cyst, which appears
                                   cyst, which           benign, and
                                                appears benign,  and headache
                                                                      headache of
                                                                                of
unknown etiology.
unknown   etiology.

James O'Brien,
James  O’Brien, MD,
                MD, December
                    December 16,
                             16, 2008. Discussed rheumatologic
                                 2008. Discussed rheumatologic workup
                                                               workup for
                                                                      for a high
                                                                          a high
titer
titer positive ANA.
      positive ANA.

A note
A  note from  Dr. Potts.
        from Dr.   Potts. These
                           These recommendations
                                  recommendations state,    “Provide a
                                                     state, "Provide a description
                                                                       description ofof the
                                                                                        the
claimant’s  impairments.” The
claimant's impairments."      The claimant   appears to have  nearly daily headaches,
                                   claimant appears to have nearly daily headaches, the the
severity
severity of  which is
         of which   is likely
                       likely to preclude her
                              to preclude   her from working. Currently,
                                                from working.   Currently, the
                                                                            the claimant’s
                                                                                claimant's
medications are
medications    are being
                     being adjusted
                             adjusted andand improvement
                                              improvement is  is expected.
                                                                 expected.     It appears
                                                                               It  appears
reasonable to
reasonable   to extend
                 extend the    no-work recommendation
                          the no-work    recommendation until
                                                           until the
                                                                 the end
                                                                      end of   January, at
                                                                           of January,   at
which time
which  time effective
             effective treatment   for the
                       treatment for       headaches should
                                       the headaches  should occur.
                                                              occur.

Physical Therapy
Physical  Therapy Initial
                    Initial Evaluation,
                            Evaluation, December
                                         December 22, 22, 2008.   The diagnosis
                                                          2008. The              was
                                                                       diagnosis was
headaches. Treatments
headaches.   Treatments would
                          would include
                                 include cervical  range of
                                          cervical range    motion, improved
                                                         of motion, improved posture,
                                                                             posture,
manual therapy,
manual  therapy, therapeutic
                 therapeutic exercise,
                              exercise, and  modalities.
                                        and modalities.

Frisso A.
Frisso A. Potts,
           Potts, MD,
                  MD, December
                       December 23,
                                 23, 2008,
                                     2008, states
                                            states that, “Dr. Silvers
                                                   that, "Dr.  Silvers called me and
                                                                       called me and
indicated that
indicated that the
               the claimant would return
                   claimant would return to work on
                                         to work     January 7,
                                                  on January  7, 2009.”
                                                                 2009."

Lab reports
Lab          from January
    reports from   January 7,
                            7, 2009,  show anti-DNA
                               2009, show    anti-DNA double-stranded
                                                      double-stranded 7.5,   which was
                                                                        7.5, which  was
high. ANA was positive, protein C antigen negative, antinuclear antibody (ANA) 75,
high. ANA   was  positive, protein C  antigen negative, antinuclear antibody  (ANA)  75,
noted to
noted     be high,
       to be  high, and   HLA-B27 detected.
                    and HLA-B27                 There was
                                     detected. There   was a  lupus anticoagulant
                                                            a lupus                 not
                                                                     anticoagulant not
detected,
detected, anti-Sjögren less than
          anti-SjOgren less than 5,  Lyme antibody
                                  5, Lyme  antibody screen negative.
                                                    screen negative.

Dr. Zagar,
Dr.        Monday, January
    Zagar, Monday,   January 12,
                             12, 2009, visit was
                                 2009, visit was headache
                                                 headache related.
                                                          related.            Assessment:
                                                                              Assessment:
Common   migraine, lumbago.
Common migraine,   lumbago.

Rheumatology and
Rheumatology    and Allergy
                     Allergy Institute
                              Institute of
                                        of Connecticut,   Barbara Kage,
                                            Connecticut, Barbara    Kage, MD.
                                                                           MD. Her
                                                                                Her report
                                                                                     report
describes
describes the  abnormal lab
          the abnormal    lab findings,  and states
                              findings, and  states that
                                                     that she
                                                          she does   not meet
                                                              does not   meet ACR
                                                                               ACR criteria
                                                                                    criteria
for a
for a diagnosis
      diagnosis of systemic lupus
                of systemic   lupus erythematosus.
                                     erythematosus. SheShe states
                                                           states that  in view
                                                                   that in view of the high
                                                                                of the high
complexity
complexity of  her presentation,
            of her presentation, “I   have advised
                                   "I have advised her
                                                    her to start Plaquenil."
                                                        to start Plaquenil.”

There is
There is a Bone Density
         a Bone Density Report.
                        Report.




                                                                                   Liberty002498
                                                                                   Li berty002498
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There is
There  is UConn
          UConn Medical
                 Medical Group   Neurology Associates
                          Group Neurology   Associates from
                                                       from January
                                                            January 20,
                                                                    20, 2009.   It
                                                                         2009. It
basically states
basically states that, “Her headaches,
                 that, "Her headaches, II believe,
                                          believe, are muscle contraction
                                                   are muscle contraction tension
                                                                          tension
headaches.” James
headaches."  James Donaldson
                    Donaldson III,
                              III, MD.
                                   MD.

Connecticut   Multispecialty Group,
Connecticut Multispecialty   Group, from      Dr. Robert
                                       from Dr.     Robert Oberstein.
                                                            Oberstein.   Assessment:
                                                                         Assessment:
Endocrine labs revealed non-specific abnormal findings; Hashimoto's thyroiditis;
Endocrine  labs revealed  non-specific  abnormal    findings; Hashimoto’s thyroiditis;
non-toxic, multinodular
non-toxic, multinodular goiter.
                        goiter. Follow-up
                                Follow-up visit
                                           visit in
                                                 in one month.
                                                    one month.

Lab report,
Lab         Dr. Zagar.
    report, Dr.        It mentions
                Zagar. It mentions Borrelia
                                   Borrelia burgdorferi
                                            burgdorferi IgG
                                                        IgG antibody
                                                            antibody detected, IgM
                                                                     detected, IgM
not detected.
not detected.

Followup with
Followup with a
              a physician’s assistant on
                physician's assistant    February 3,
                                      on February 3, 2009. The chief
                                                     2009. The chief complaint was
                                                                     complaint was
headaches.
headaches.

There is
There  is a
          a cerebrospinal
            cerebrospinal fluid
                          fluid study, negative for
                                study, negative for malignant
                                                    malignant cells
                                                              cells and white blood
                                                                    and white blood
cells.
cells. Color was clear.
       Color was clear.

February of
February of 2009, Barbara Kage,
            2009, Barbara Kage, MD.
                                MD. Treatment
                                    Treatment plan basically the
                                              plan basically the same.
                                                                 same.

Recurring notes
Recurring notes from
                from Rheumatology
                     Rheumatology and
                                  and Allergy
                                      Allergy Institute.
                                              Institute.

Associated Neurologists
Associated Neurologists of Southern Connecticut,
                        of Southern              handwritten note.
                                    Connecticut, handwritten note.

Dr. Zagar,
Dr.          February 17,
    Zagar, February    17, 2009.
                           2009. He He reports
                                       reports the
                                                the rheumatological
                                                    rheumatological evaluation       was felt
                                                                        evaluation was        to
                                                                                         felt to
be most
be  most consistent      with systemic
            consistent with                lupus erythematosus
                                systemic lupus     erythematosus and        ulcerative colitis,
                                                                      and ulcerative    colitis,
although repeat
although    repeat studies   are being
                    studies are    being performed,
                                          performed, andand mentioned
                                                              mentioned the     probability of
                                                                           the probability    of
Lyme disease.
Lyme   disease. HeHe states,
                     states, "It
                             “It is
                                 is unclear
                                    unclear to
                                             to me
                                                me how
                                                    how this   latest finding
                                                          this latest finding fits
                                                                               fits in
                                                                                    in with
                                                                                       with her
                                                                                            her
complicated
complicated picture.
                picture. Given
                          Given herher subjective
                                        subjective cognitive    issues and
                                                    cognitive issues         headaches, it
                                                                        and headaches,     it is
                                                                                              is
possible that
possible          Lyme disease
           that Lyme    disease is is playing
                                      playing a a role,
                                                  role, though
                                                          though nono evidence
                                                                        evidence of of primary
                                                                                       primary
infection was
infection  was seen.”   He will
                 seen." He   will discuss  with Dr.
                                  discuss with   Dr. Kage
                                                     Kage and
                                                            and Dr.
                                                                 Dr. Baehring
                                                                     Baehring regarding
                                                                               regarding next
                                                                                           next
course
course of
        of action,  which will
            action, which  will likely
                                likely be
                                       be intravenous
                                          intravenous ceftriaxone     for four
                                                         ceftriaxone for        weeks. Serum
                                                                          four weeks.    Serum
Lyme titers,
Lyme           including WB,
      titers, including  WB, are   negative, no
                              are negative,  no bands.
                                                 bands.

There is
There is a review, apparently
         a review,  apparently by
                               by a Dr. Taiwo,
                                  a Dr. Taiwo, MD,
                                               MD, and
                                                   and it
                                                       it is
                                                          is in
                                                             in review
                                                                review of her medical
                                                                       of her medical
records up
records up to  that point.
            to that        No recommendations.
                    point. No recommendations.

Rheumatology and
Rheumatology    and Allergy
                     Allergy Institute
                              Institute of
                                         of CT
                                            CT states   that there
                                                 states that there are
                                                                    are excerpts   from Up-To-
                                                                         excerpts from   Up-To-
Date that
Date      state that
     that state       the diagnosis
                 that the diagnosis of   neurologic Lyme
                                      of neurologic    Lyme disease
                                                              disease should    not be
                                                                       should not   be made
                                                                                        made in
                                                                                              in
patients who
patients who are
              are seronegative.     There are
                    seronegative. There      are more
                                                  more reports
                                                         reports that
                                                                  that state,
                                                                        state, however,
                                                                               however, that   a
                                                                                          that a
negative test
negative  test for   Lyme antibodies
               for Lyme     antibodies in in the
                                               the cerebrospinal     fluid does
                                                    cerebrospinal fluid            not exclude
                                                                            does not    exclude
neurologic Lyme
neurologic  Lyme disease.    It is
                   disease. It  is difficult
                                   difficult to
                                              to determine
                                                 determine the    sensitivity or
                                                             the sensitivity   or specificity
                                                                                  specificity of
                                                                                              of
cerebrospinal   fluid Lyme
cerebrospinal fluid    Lyme antibody
                              antibody testing.
                                          testing. TheThe plan
                                                            plan was
                                                                  was toto consult    infectious
                                                                            consult infectious
disease.
disease.

There is
There is a report of
         a report of confirmation
                     confirmation of Lyme disease
                                  of Lyme         by Dr.
                                          disease by Dr. Zagar.
                                                         Zagar.

There is
There   is a
           a followup  by Dr.
             followup by  Dr. Giannini,  March 10,
                               Giarmini, March 10, 2009,   Family Practice,
                                                    2009, Family  Practice, basically
                                                                            basically
stating  what the
stating what      above notations
              the above notations concerning Lyme disease
                                  concerning Lyme          were.
                                                   disease were.




                                                                                       Liberty002499
                                                                                       Li berty002499
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Dr. Zagar
Dr. Zagar states
           states atat followup
                       followup on   March 16,
                                  on March  16, 2009,
                                                2009, that   she is
                                                       that she  is on
                                                                    on ceftriaxone
                                                                        ceftriaxone 2 2 grams
                                                                                        grams
intravenous via
intravenous    via PICC
                   PICC line
                         line for
                              for her
                                  her Lyme
                                      Lyme IgG
                                            IgG WB
                                                WB positivity
                                                    positivity on
                                                                on cerebrospinal    fluid. He
                                                                    cerebrospinal fluid.    He
states
states she  is having
        she is  having more
                        more fatigue
                              fatigue and
                                      and cognitive  issues over
                                          cognitive issues   over the  last couple
                                                                  the last  couple of  weeks.
                                                                                    of weeks.
Work is
Work   is noted
          noted to   be a
                  to be    problem, even
                         a problem,  even though
                                          though she    is only
                                                   she is        working four
                                                           only working    four hours
                                                                                 hours aa day.
                                                                                          day.
She sleeps most of the day when not at work. He states she is seeing a specialist at
She  sleeps  most   of the day  when  not at work.  He   states she is seeing  a  specialist at
Yale for
Yale  for her
          her Lyme
               Lyme positivity.
                     positivity.

There is
There   is New
           New Haven
                 Haven Rheumatology,
                         Rheumatology, MarchMarch 16,
                                                   16, 2009,   Robert Schoen,
                                                        2009, Robert     Schoen, MD.
                                                                                  MD. He
                                                                                       He reports,
                                                                                          reports,
“I had
"I had a a lengthy
           lengthy discussion     with the
                     discussion with         patient and
                                         the patient  and her
                                                            her mother.
                                                                mother. My  My best
                                                                               best estimation
                                                                                     estimation isis
that
that she
      she does      not have
             does not     have and     has not
                                 and has     not had
                                                 had Lyme
                                                        Lyme disease
                                                                disease as as the
                                                                              the cause
                                                                                   cause for    her
                                                                                          for her
symptoms.”
symptoms." It    It states
                     states that
                              that although
                                   although she     had several
                                               she had              bands on
                                                          several bands         IgG western
                                                                            on IgG   western blot
                                                                                               blot
cerebrospinal
cerebrospinal fluid
                  fluid testing,   her peripheral
                         testing, her     peripheral serology     was negative,
                                                       serology was      negative, which
                                                                                    which is
                                                                                           is also
                                                                                               also
against
against the
          the diagnosis
               diagnosis of     Lyme disease.
                             of Lyme    disease. She     has now
                                                   She has    now received
                                                                     received treatment    for the
                                                                               treatment for    the
possibility of
possibility   of central      nervous system
                   central nervous       system Lyme
                                                  Lyme disease,        including four
                                                           disease, including            weeks of
                                                                                  four weeks     of
ceftriaxone
ceftriaxone therapy.
              therapy. "My “My opinion     would be
                                 opinion would    be that
                                                       that this  is sufficient
                                                             this is             treatment, and
                                                                      sufficient treatment,  and II
recommended to
recommended        to the
                       the patient   and her
                            patient and    her mother
                                                mother that
                                                         that she
                                                               she gogo off
                                                                         off this
                                                                             this treatment   now.
                                                                                  treatment now.
They may get another opinion, but I would stop the antibiotic therapy at present. II
They  may    get another    opinion,  but  I would   stop  the  antibiotic  therapy  at present.
think  that she
think that        needs to
             she needs    to pursue
                             pursue other
                                      other diagnostic    avenues.”
                                             diagnostic avenues."

She did
She did see a Dr.
        see a Dr. Naseer,
                  Naseer, MD,
                          MD, regarding
                              regarding palpitations.
                                        palpitations. He
                                                      He recommended
                                                         recommended a Holter.
                                                                     a Holter.

She also
She      had a
    also had  a multistage
                multistage stress
                             stress test.  These were
                                    test. These  were non-ischemic.
                                                       non-ischemic. Although
                                                                      Although she was
                                                                               she was
not able
not able to
         to achieve
            achieve aa target heart rate,
                       target heart rate, she
                                          she did
                                              did do
                                                  do reasonably well.
                                                     reasonably well.

There is
There is a pulmonary report
         a pulmonary   report also,
                               also, April
                                     April 1,
                                           1, 2009.  The impression
                                              2009. The   impression showed   it was
                                                                      showed it  was
spirometry
spirometry showing   mild reversible
            showing mild    reversible airway
                                        airway obstruction,  with air
                                                obstruction, with air trapping   and
                                                                       trapping and
normal diffusion
normal diffusion capacity, which can
                 capacity, which      be seen
                                  can be seen in
                                              in asthma.
                                                 asthma.

Rockville Family
Rockville Family Physicians,
                 Physicians, Dr.
                             Dr. Giannini. Otalgia.
                                 Giannini. Otalgia.

There was
There was testing  for B.
           testing for  B. burgdorferi.
                           burgdorferi. Both
                                        Both were
                                             were noted
                                                  noted to be negative.
                                                        to be negative. Babesia
                                                                        Babesia FISH
                                                                                FISH
was negative,
was negative, human
              human ehrlichiosis.
                       ehrlichiosis.

Evaluation by
Evaluation  by Bernard
               Bernard Raxlen,
                       Raxlen, MD.
                               MD. There
                                   There was
                                         was a
                                             a Lyme
                                               Lyme Disease
                                                    Disease Symptom
                                                            Symptom Checklist,
                                                                    Checklist,
April 21,
April 21, 2009.
          2009.

There were
There  were several
            several CT   scans that
                      CT scans      were performed
                               that were performed of the abdomen
                                                   of the         and also
                                                          abdomen and also again
                                                                           again
involving her
involving her goiter.
              goiter.

There were
There were continued
             continued followups with Rheumatology
                       followups with Rheumatology and
                                                   and Allergy
                                                       Allergy Institute
                                                               Institute of
                                                                         of
Connecticut.
Connecticut.

There is
There  is an
          an evaluation
              evaluation from   Dr. Taiwo.
                          from Dr.  Taiwo. The
                                             The date  is May
                                                  date is May 11,
                                                               11, 2009.  The assessment
                                                                   2009. The   assessment
states
states that    Ms. Spears
        that Ms.             has recently
                    Spears has              been evaluated
                                  recently been    evaluated byby multiple
                                                                   multiple practitioners,
                                                                             practitioners,
including three
including         neurologists, an
           three neurologists,   an internist,
                                    internist, two
                                               two rheumatologists,
                                                   rheumatologists, a   neuropsychologist
                                                                      a neuropsychologist
who specializes
who  specializes inin Lyme
                      Lyme disease,
                             disease, and
                                      and a  naturopathic clinician.
                                           a naturopathic               Her diagnosis
                                                            clinician. Her             and
                                                                            diagnosis and
treatment    plan remains
treatment plan      remains unclear.      Her records
                               unclear. Her     records do    not support
                                                          do not    support any
                                                                             any specific
                                                                                   specific
limitations or
limitations  or restrictions  that would
                restrictions that  would prevent   her from
                                          prevent her  from sitting,  standing, or
                                                             sitting, standing,    walking
                                                                                or walking




                                                                                          Liberty002500
                                                                                          Li berty002500
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at a
at a sedentary  physical demand
      sedentary physical        level from
                         demand level from March
                                           March 24,
                                                 24, 2009,
                                                     2009, through the present
                                                           through the present
time.
time.

There is
There  is Advanced
          Advanced Orthopaedics
                      Orthopaedics && Sports  Medicine, Dr.
                                      Sports Medicine,   Dr. Pedro
                                                             Pedro Romero.
                                                                   Romero. A A 31-year-
                                                                               31-year-
old female who
old female   who sustained
                  sustained an
                            an injury
                               injury to
                                      to the left index
                                         the left index finger.
                                                        finger. Diagnosis:
                                                                Diagnosis: Crush
                                                                           Crush injury
                                                                                 injury
of the
of the left
       left index
            index  finger.
                   finger.

Followups with
Followups with Dr.
               Dr. Giannini.
                   Giannini. Chronic
                             Chronic daily headaches.
                                     daily headaches.

There is
There   is a  note from
           a note         Dr. Bernard
                   from Dr.   Bernard Raxlen
                                       Raxlen from    June 22,
                                                from June    22, 2009.  The notes
                                                                 2009. The    notes states
                                                                                    states To
                                                                                           To
Whom It
Whom     It May
            May Concern.
                 Concern. It It basically
                                basically states
                                          states that  it is
                                                  that it is not
                                                             not possible
                                                                  possible for
                                                                            for Ms.
                                                                                Ms. Spears
                                                                                    Spears to
                                                                                           to
work full
work   full time
            time or  part time,
                 or part  time, and
                                 and disability leave is
                                     disability leave is medically
                                                          medically necessary.
                                                                    necessary. Treatment
                                                                                 Treatment is
                                                                                            is
likely to
likely  to last
            last a minimum of
                 a minimum      of twelve  months. He
                                   twelve months.      He is
                                                           is noted
                                                              noted to
                                                                     to be
                                                                         be Neuropsychiatry
                                                                             Neuropsychiatry
Nutritional Medicine,
Nutritional    Medicine, Systemic
                           Systemic Lyme
                                     Lyme Disease,
                                            Disease, and
                                                       and Tick-borne
                                                             Tick-borne Illnesses.
                                                                         Illnesses. HeHe also
                                                                                         also
started   her on
started her   on Zithromax,    rifampin, and
                  Zithromax, rifampin,        Mepron for
                                         and Mepron    for a  minimum of
                                                            a minimum   of three  months.
                                                                            three months.

Dr. Zagar,
Dr.        followup dated
    Zagar, followup         June 29,
                    dated June   29, 2009,
                                     2009, states initially feeling
                                           states initially feeling better.
                                                                    better. "I
                                                                            “I thought
                                                                                thought II
was going
was  going to
            to end up in
               end up  in a
                          a wheelchair,"
                            wheelchair,” then improved. Headaches
                                         then improved.     Headaches have
                                                                        have improved.
                                                                               improved.
Migraines are
Migraines  are responding.   The assessment
               responding. The               again, Lyme
                                 assessment again,  Lyme disease,
                                                            disease, common     migraine,
                                                                     common migraine,
and possible  systemic  lupus erythematosus.  Continue    Topamax,
and possible systemic lupus erythematosus. Continue Topamax, Lexapro.Lexapro.

There is
There   is a  note from
            a note  from Sam     Donta, MD,
                           Sam Donta,     MD, Infectious
                                               Infectious Disease.
                                                           Disease. He He reports
                                                                          reports in in her
                                                                                        her history
                                                                                             history
that
that antibodies
      antibodies forfor co-infections    Babesia, Bartonella,
                        co-infections Babesia,     Bartonella, and   Ehrlichia are
                                                               and Ehrlichia         negative. She
                                                                                are negative.    She
apparently had
apparently    had a a blood
                      blood test
                             test that   showed Babesia
                                   that showed     Babesia organisms.
                                                            organisms. SheShe continues
                                                                                continues to   have
                                                                                            to have
a PICC
a  PICC line
          line in
               in place.
                   place. The
                            The impression
                                  impression is is chronic   multi-symptom illness
                                                   chronic multi-symptom        illness consistent
                                                                                         consistent
with chronic
with             fatigue and
      chronic fatigue     and fibromyalgia
                               fibromyalgia syndrome
                                               syndrome of    long-standing duration
                                                           of long-standing    duration that    may
                                                                                          that may
well be
well  be due
           due to   Lyme disease
                to Lyme    disease inin part
                                         part or  in whole.
                                              or in  whole. She
                                                              She has
                                                                    has had
                                                                        had nono obvious
                                                                                   obvious overall
                                                                                             overall
improvement, which
improvement,       which may
                           may bebe due
                                     due to  her not
                                          to her   not having
                                                        having as
                                                                as effective
                                                                   effective ofof aa treatment
                                                                                     treatment for
                                                                                                 for
chronic    Lyme disease
chronic Lyme               as is
                  disease as   is possible.
                                  possible. He
                                             He recommended
                                                  recommended changing        from azithromycin
                                                                   changing from      azithromycin
to
to clarithromycin,
    clarithromycin, discontinue        Mepron and
                        discontinue Mepron       and rifampin,
                                                       rifampin, as   there is
                                                                  as there   is no
                                                                                 no evidence
                                                                                     evidence that
                                                                                                that
she  has chronic
she has              Babesiosis or
           chronic Babesiosis        Bartonellosis, and
                                  or Bartonellosis,   and discontinue    all supplemental
                                                           discontinue all   supplemental C   C and
                                                                                                and
B  vitamins.     He  stated,  “We   will  plan  to alternate  courses   of  Plaquenil
B vitamins. He stated, "We will plan to alternate courses of Plaquenil and Biaxin       and   Biaxin
with tetracycline
with  tetracycline over
                      over the  next two
                           the next        years.”
                                      two years."

There is
There is a  Dr. Lauren
         a Dr.  Lauren Gouin
                        Gouin of
                              of Connecticut  Natural Health
                                 Connecticut Natural   Health Specialists,
                                                              Specialists, who
                                                                           who states
                                                                               states
that Haley is
that Haley is unable
              unable to
                     to perform
                        perform the
                                the duties
                                    duties of
                                           of her
                                              her job.
                                                  job.

There is
There is a followup with
         a followup  with Yale
                          Yale Neurosurgery.
                                Neurosurgery.                 It states
                                                              It states that Haley remains
                                                                        that Haley remains
asymptomatic from MRI
asymptomatic from MRI abnormalities.
                      abnormalities.

Barbara Kage,
Barbara   Kage, MD,
                 MD, notes
                       notes on  August 4,
                             on August   4, 2009,
                                            2009, to   Liberty Life
                                                    to Liberty  Life Assurance
                                                                     Assurance Company,
                                                                               Company,
that Haley is
that Haley   is not
                not able
                    able to work part
                         to work part time
                                      time or full time,
                                           or full       and that
                                                   time, and       her treatment
                                                              that her           is to
                                                                       treatment is    last
                                                                                    to last
for at
for at least
       least twelve  months.
              twelve months.

There is
There  is a letter from
          a letter        Haley Spears,
                    from Haley   Spears, October  1, 2009,
                                          October 1, 2009, due
                                                            due to
                                                                to a
                                                                   a denial
                                                                      denial of
                                                                              of claim  for
                                                                                  claim for
disability benefits. It
disability benefits.   It mentions,
                          mentions, "When
                                     “When II returned
                                              returned to  work on
                                                       to work      January 8,
                                                                 on January    8, 2009, my
                                                                                  2009, my
intention was
intention  was to  work part
                to work   part time for one
                               time for      month while
                                        one month   while building
                                                          building up
                                                                   up to
                                                                       to full
                                                                          full time  hours.
                                                                               time hours.
Dr. Kage
Dr. Kage stated
           stated that   moving to
                   that moving    to full
                                     full time hours on
                                          time hours      February 9,
                                                      on February   9, 2009,   was not
                                                                       2009, was     not an
                                                                                         an




                                                                                          Liberty002501
                                                                                          Liberty002501
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option because II struggled
option because               working four
                  struggled working         hours a
                                       four hours a day
                                                     day due
                                                          due toto exhaustion,  my
                                                                    exhaustion, my
continued medical complications,
continued medical complications, pain, and neurocognitive
                                 pain, and neurocognitive difficulties.”
                                                          difficulties."

Patient Encounter,
Patient Encounter, James
                   James O’Brien,  MD. The
                          O'Brien, MD.  The assessment    was for
                                             assessment was        gastrointestinal
                                                               for gastrointestinal
symptoms.
symptoms. Continue   those medications.
            Continue those medications. Follow
                                        Follow up
                                               up in
                                                  in one year.
                                                     one year.

Unremarkable CT
Unremarkable CT of
                of the abdomen and
                   the abdomen     pelvis, which
                               and pelvis, which was
                                                 was also
                                                     also performed
                                                          performed during
                                                                    during this
                                                                           this
time.
time.

There is
There   is an   MLS Peer
           an MLS      Peer Review
                             Review Services
                                       Services note,
                                                 note, November
                                                         November 23,  23, 2009.     Medical
                                                                           2009. Medical
documentation
documentation was was summarized.
                       summarized. Several
                                        Several questions   were noted,
                                                questions were     noted, including,
                                                                          including, "Is
                                                                                      “Is the
                                                                                          the
diagnosis
diagnosis and   treatment of
           and treatment       late stage
                            of late        Lyme disease
                                    stage Lyme            within the
                                                 disease within       area of
                                                                  the area of expertise
                                                                              expertise of  a
                                                                                         of a
physician trained
physician           in psychiatry?”
           trained in                   Also, "Do
                        psychiatry?" Also,     “Do the
                                                    the records
                                                        records support     the presence
                                                                  support the   presence ofof
Lyme disease
Lyme   disease oror any
                    any other     infectious process?”
                          other infectious                 This reviewer
                                              process?" This                 noted that
                                                                 reviewer noted    that the
                                                                                          the
significance
significance of  the testing
             of the  testing was
                             was not
                                   not consistent  with the
                                       consistent with  the diagnosis
                                                            diagnosis of   neuroborreliosis,
                                                                        of neuroborreliosis,
and there
and  there were
            were no
                  no other
                      other diagnostic
                             diagnostic tests
                                          tests supporting
                                                supporting evidence
                                                             evidence ofof co-infections,
                                                                           co-infections, of
                                                                                           of
which treatment
which   treatment waswas based
                           based by by Dr.
                                         Dr. Raxlen.
                                              Raxlen.    Basically, the
                                                         Basically,        patient had
                                                                      the patient   had no no
substantiation
substantiation to
                to support
                   support the
                             the diagnoses.   This is
                                 diagnoses. This    is Michael
                                                       Michael Silverman,
                                                               Silverman, MD.
                                                                            MD.

Continued lab reports
Continued lab reports are noted.
                      are noted.

Continued rheumatology reports
Continued rheumatology reports from
                               from Barbara
                                    Barbara Kage,
                                            Kage, MD,
                                                  MD, are
                                                      are noted.
                                                          noted.

There is
There is a note from
         a note      Bridget Patterson-Marshall,
                from Bridget Patterson-Marshall, MD.
                                                 MD.

Followup with
Followup with Rockville
              Rockville Family
                        Family Physicians.
                               Physicians.

Endocrine followup,
Endocrine           March 12,
          followup, March 12, 2010.
                              2010.

Followup, March
Followup, March 19,
                19, 2010, Dr. Zagar.
                    2010, Dr. Zagar.

Dr. Zagar
Dr.         noted on
     Zagar noted    on March
                        March 26,
                               26, 2010,
                                   2010, that
                                            that the history mentioned
                                                 the history  mentioned difficulties  with
                                                                         difficulties with
speech,  memory issues,
speech, memory      issues, coming   and going.
                            coming and    going. Doing
                                                   Doing well
                                                          well at
                                                               at some  point. He
                                                                  some point.   He stated
                                                                                    stated
that  he informed
that he   informed themthem that
                             that since
                                   since itit has
                                               has been
                                                   been one    year, he
                                                          one year,  he no   longer feels
                                                                         no longer    feels
comfortable   facilitating their
comfortable facilitating   their antibiotic
                                 antibiotic treatments
                                             treatments as  prescribed by
                                                         as prescribed by Dr.
                                                                          Dr. Raxlen.
                                                                              Raxlen. HeHe
recommended continuing
recommended                  Topamax.
                continuing Topamax.

There is
There is an
         an initial
             initial visit
                     visit by
                           by Juliana
                              Juliana Hoyle,
                                      Hoyle, RN,
                                             RN, April
                                                 April 13,
                                                       13, 2010, Home Health
                                                           2010, Home Health Aide
                                                                             Aide
Supervision.
Supervision.

There is
There is a note from
         a note      Digestive Health
                from Digestive Health Specialists, Dr. O’Brien.
                                      Specialists, Dr. O'Brien.

There is
There  is another    note from
           another note    from MLS
                                  MLS Peer
                                        Peer Review
                                             Review Services,  Dr. Michael
                                                     Services, Dr.  Michael Lee
                                                                             Lee Silverman,
                                                                                  Silverman,
April 22,
April 22, 2010.
           2010. ItIt states
                      states that  numerous attempts
                             that numerous    attempts were
                                                        were sent
                                                              sent to Dr. Raxlen
                                                                   to Dr. Raxlen for
                                                                                  for return
                                                                                       return
phone consultation,
phone   consultation, but but no
                               no contact    was made.
                                    contact was    made. He He went
                                                                went onon to   state in
                                                                           to state    in his
                                                                                           his
conclusion,
conclusion, he he says,
                   says, "It
                          “It is
                              is my
                                  my opinion,    within a
                                       opinion, within     reasonable degree
                                                        a reasonable    degree ofof medical
                                                                                     medical
certainty,
certainty, that
            that the
                 the diagnoses    are not
                      diagnoses are   not appropriate
                                           appropriate with
                                                        with respect
                                                             respect to  Lyme disease,
                                                                      to Lyme  disease, and
                                                                                          and
specifically  neuroborreliosis. There
specifically neuroborreliosis.      There has
                                          has not
                                               not been
                                                   been any
                                                        any documentation     revealing any
                                                             documentation revealing      any
evidence
evidence of
          of other   tick-borne illness
              other tick-borne   illness supporting
                                         supporting these
                                                     these diagnoses.”
                                                           diagnoses."



                                                                                     Liberty002502
                                                                                     Li berty002502
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Continued
Continued reports from rheumatology,
          reports from               Dr. Kage,
                       rheumatology, Dr. Kage, with
                                               with basically
                                                    basically the
                                                              the same
                                                                  same
recommendations.
recommendations.

There is
There  is Grosso Chiropractic. Apparently,
          Grosso Chiropractic. Apparently, the
                                            the patient  was seen.
                                                patient was   seen. She  is currently
                                                                     She is currently
unemployed. She
unemployed.        has had
               She has had neck
                             neck problems,
                                  problems, aching,
                                              aching, stiffness,
                                                      stiffness, throbbing,  stabbing
                                                                 throbbing, stabbing
pain, upper back problems, appear to be getting worse.
pain, upper back problems, appear to be getting worse.

There are
There are multiple
          multiple notes
                   notes regarding
                         regarding her
                                   her treatments.
                                       treatments.

Dr. Giannini,
Dr. Giannini, dated  July 9,
              dated July   9, 2010, Functional Capacity
                              2010, Functional          Assessment. Due
                                               Capacity Assessment.  Due to Haley’s
                                                                         to Haley's
symptoms,   unable to
symptoms, unable      to complete
                          complete a a normal
                                       normal workday
                                                workday due   to extreme
                                                         due to  extreme cognitive
                                                                          cognitive
dysfunction and fatigue.
dysfunction and  fatigue.

There is
There  is a  neuropsychologist’s report,
          a neuropsychologist's   report, July
                                           July of
                                                 of 2010,  which is
                                                    2010, which  is rather
                                                                    rather extensive.
                                                                             extensive.
Apparently, she
Apparently,  she noted
                 noted a a dramatic
                           dramatic decline   in mental
                                     decline in   mental status.
                                                         status. It
                                                                 It states
                                                                    states that
                                                                            that these
                                                                                 these
findings are
findings  are consistent  with frontal
              consistent with  frontal or
                                        or diffuse
                                            diffuse cerebral
                                                    cerebral dysfunction,
                                                             dysfunction, as   seen in
                                                                           as seen   in
chronic infectious or
chronic infectious    inflammatory illness.
                   or inflammatory  illness.

Dr. Raxlen
Dr.  Raxlen wrote
               wrote a       report on
                         a report         September 9,
                                     on September      9, 2010,   basically noting
                                                           2010, basically  noting the
                                                                                    the
neuropsychological testing,
neuropsychological     testing, and
                                 and states
                                     states that  this evaluation
                                             that this evaluation strongly
                                                                  strongly supports Ms.
                                                                           supports Ms.
Spears’ eligibility
Spears'             for full
        eligibility for full time
                             time disability benefits.
                                  disability benefits.

There is
There  is a
          a Liberty
            Liberty Life
                     Life Assurance
                          Assurance Company
                                       Company Case      Report. In
                                                    Case Report.   In this,
                                                                       this, there
                                                                             there isis a
                                                                                        a Clinical
                                                                                           Clinical
Summary. At
Summary.     At the
                the end,
                     end, the  recommendations state,
                           the recommendations               “Although many
                                                      state, "Although    many diseases       have
                                                                                  diseases have
been involved
been involved toto explain
                    explain the
                             the claimant’s
                                 claimant's clinical
                                              clinical picture,
                                                        picture, there
                                                                 there are    very few
                                                                         are very   few that    are
                                                                                          that are
substantiated
substantiated clinically.”
                clinically." ItIt says,   “From an
                                   says, "From      an infectious
                                                        infectious disease
                                                                     disease evaluation,
                                                                                evaluation, the the
claimant
claimant does   not have
          does not   have any   restrictions or
                           any restrictions       limitations to
                                              or limitations      her activity
                                                               to her            from February
                                                                       activity from    February
8, 2009,
8, 2009, forward.”
           forward." It It goes
                           goes onon to
                                      to state   that, "Dr.
                                          state that,   “Dr. Raxlen
                                                             Raxlen trained
                                                                      trained primarily
                                                                                 primarily as as aa
psychiatrist. He
psychiatrist.  He does   not have
                   does not   have any
                                    any formal    infectious disease
                                         formal infectious              training, and
                                                              disease training,    and isis not
                                                                                            not ID
                                                                                                 ID
board certified.
board             Based on
       certified. Based       his submitted
                          on his  submitted documentation,
                                               documentation, his his practice
                                                                       practice pattern
                                                                                  pattern ofof the
                                                                                                the
diagnosis   and management
diagnosis and    management of       Lyme disease
                                 of Lyme     disease does     not adhere
                                                       does not    adhere to to the    guidelines
                                                                                 the guidelines
established
established byby the    Infectious Disease
                  the Infectious     Disease Society
                                               Society of     America.” This
                                                          of America."       This is is by
                                                                                         by John
                                                                                              John
Brusch,  MD.
Brusch, MD.

Followup, Dr.
Followup,   Dr. Robert
                 Robert Oberstein,
                        Oberstein, for
                                    for Hashimoto's
                                        Hashimoto’s thyroiditis.  No further
                                                     thyroiditis. No  further workup
                                                                               workup at
                                                                                      at
this
this point.  It does
     point. It       mention that
                does mention that the  thyroid function
                                   the thyroid function tests
                                                        tests are fluctuating.
                                                              are fluctuating.

Followups are
Followups     noted with
          are noted  with Dr.
                          Dr. Zagar
                              Zagar once  again, and
                                    once again,  and Dr.
                                                     Dr. Giannini
                                                         Giannini of Family Practice.
                                                                  of Family Practice.
She was
She was seen for an
        seen for    upper respiratory
                 an upper respiratory infection.
                                      infection.

Dr. Cynthia
Dr. Cynthia Grosso,
            Grosso, Chiropractic
                    Chiropractic Care, December 30,
                                 Care, December 30, 2010.
                                                    2010.

January 19,
January 19, 2011,  a sleep
             2011, a sleep study.  Impression: Periodic
                           study. Impression:  Periodic limb
                                                         limb movement
                                                               movement disorder,
                                                                         disorder,
sleep
sleep onset and sleep
      onset and sleep maintenance
                      maintenance insomnia,
                                  insomnia, no
                                            no obstructive  sleep apnea.
                                               obstructive sleep  apnea.

Sleep Medicine
Sleep Medicine Consultation, February 17,
               Consultation, February 17, 2011, Dr. Shoup.
                                          2011, Dr. Shoup.

Again there
Again       is an
      there is    Internal Medicine
               an Internal Medicine && Infectious
                                        Infectious Disease,
                                                   Disease, Zane
                                                            Zane Saul, MD, on
                                                                 Saul, MD,     March 7,
                                                                            on March   7,
2011. He reports
2011. He  reports that,
                  that, basically,
                        basically, she is unable
                                   she is unable to work in
                                                 to work in any
                                                            any capacity at this
                                                                capacity at this time.
                                                                                 time.



                                                                                         Liberty002503
                                                                                         Li berty002503
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There are
There are follow-up notes from
          follow-up notes from Dr.
                               Dr. Shoup
                                   Shoup with
                                         with Sleep
                                              Sleep Medicine
                                                    Medicine Associates.
                                                             Associates.

There are
There      followups with
       are followups  with Dr.
                            Dr. Baehring,
                                Baehring, basically
                                           basically stating
                                                     stating that  her benign
                                                              that her benign pineal
                                                                              pineal cyst
                                                                                     cyst
is unchanged.
is unchanged. The
                The right
                    right temporal  lobe abnormalities
                          temporal lobe   abnormalities are   likewise unchanged.
                                                          are likewise unchanged.

There is
There is a
         a dermatology
           dermatology report,  Jennifer Pennoyer,
                        report, Jennifer Pennoyer, MD.
                                                   MD. The
                                                       The patient
                                                           patient is
                                                                   is being
                                                                      being seen
                                                                            seen for
                                                                                 for
a congenital nevus of the left dorsal hand.
a congenital nevus of the left dorsal hand.

Followup with
Followup with Dr.
              Dr. Naseer,
                  Naseer, Cardiology.
                          Cardiology.

Followup with
Followup with Dr.
              Dr. Oberstein for her
                  Oberstein for her goiter,
                                    goiter, February
                                            February 28,
                                                     28, 2012.
                                                         2012.

Dr. Romero,
Dr. Romero, June
            June 12,
                 12, 2012. Tendinitis of
                     2012. Tendinitis of the
                                         the foot.
                                             foot.

Followup, Kristin
Followup, Kristin Giannini, MD.
                  Giannini, MD.

Followup, Dr.
Followup,  Dr. Robert
               Robert Oberstein.
                      Oberstein. Assessment:
                                  Assessment:         Non-toxic, multinodular
                                                      Non-toxic, multinodular goiter.
                                                                              goiter.
Euthyroid, no
Euthyroid, no new
              new medication
                  medication needed.
                             needed.

Followup, Kristin
Followup, Kristin Giannini, MD, November
                  Giannini, MD, November 19,
                                         19, 2012,
                                             2012, for
                                                   for allergic
                                                       allergic rhinitis
                                                                rhinitis and
                                                                         and otalgia.
                                                                             otalgia.

There is
There is a   Women’s Health
          a Women's  Health note
                            note for Preventive Medicine,
                                 for Preventive Medicine, Carla Desantis, MD,
                                                          Carla Desantis, MD,
February 1,
February 1, 2013.
            2013.

There is
There  is a
          a followup  with Dr.
            followup with  Dr. Oberstein.
                               Oberstein. Apparently,
                                          Apparently, she had multiple
                                                      she had multiple nodules
                                                                       nodules at
                                                                               at
this point which  were growing. He recommended  excision.
this point which were growing. He recommended excision.

There is
There is a Thyroid Ultrasound
         a Thyroid  Ultrasound With
                                 With Consult  For Biopsy.
                                      Consult For  Biopsy. Apparently,
                                                             Apparently, there  was a
                                                                         there was  a
cytology
cytology report  which showed
         report which   showed a   left thyroid
                                 a left         fine needle
                                        thyroid fine  needle aspiration, Hürthle cell
                                                             aspiration, Hiirthle cell
neoplasm. It
neoplasm.  It appears
              appears that
                      that they recommended that
                           they recommended    that she have a
                                                    she have a thyroidectomy.
                                                               thyroidectomy.

James O’Brien,
James           MD, followup,
       O'Brien, MD, followup, April
                              April 11,
                                    11, 2013. Discussed gastroesophageal
                                        2013. Discussed gastroesophageal reflux
                                                                         reflux
disease.
disease.

She had
She  had followup
          followup with
                   with Dr.
                        Dr. Naseer
                            Naseer on
                                   on April
                                      April 19,
                                            19, 2013,
                                                2013, and
                                                      and they
                                                          they did an
                                                               did an
echocardiogram.
echocardiogram.

Dr. Robert
Dr. Robert Udelsman.
           Udelsman. Plan
                     Plan was
                          was total
                              total thyroidectomy.
                                    thyroidectomy.

There is
There  is a
          a note
            note from  Dr. Baehring.
                 from Dr.  Baehring. It
                                      It states
                                         states that
                                                that on  neurologic examination,
                                                      on neurologic examination, she  is
                                                                                  she is
fully awake,  alert, and oriented.   Language    is fluent. No  cognitive deficits.
fully awake, alert, and oriented. Language is fluent. No cognitive deficits. No      No
cranial neuropathies.
cranial neuropathies.

Dr. Naseer
Dr. Naseer noted
            noted myocardial
                  myocardial perfusion
                               perfusion imaging
                                         imaging revealed
                                                 revealed no
                                                          no evidence
                                                             evidence of ischemia,
                                                                      of ischemia,
and her
and  her ventricular
         ventricular ejection fraction was
                     ejection fraction was normal.
                                           normal. Apparently,
                                                    Apparently, Dr.
                                                                Dr. Naseer
                                                                    Naseer cleared
                                                                            cleared
her for
her for surgery.
        surgery.

There is
There is a
         a surgical
           surgical date
                    date of  June 27,
                          of June  27, 2013, for a
                                       2013, for  a total
                                                    total thyroidectomy, Dr. Robert
                                                          thyroidectomy, Dr. Robert
Udelsman. Final
Udelsman.  Final diagnosis noted incidental
                 diagnosis noted incidental papillary
                                            papillary thyroid microcarcinoma.
                                                      thyroid microcarcinoma.



                                                                                 Liberty002504
                                                                                 Li berty002504
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There is
There is a
         a followup,
           followup, Yale
                     Yale University
                          University School
                                     School of  Medicine, Department
                                             of Medicine, Department of Surgery, Dr.
                                                                     of Surgery, Dr.
Robert Udelsman.
Robert  Udelsman. She
                   She came   in for
                        came in  for a follow-up appointment
                                     a follow-up appointment on
                                                              on that
                                                                 that day.
                                                                      day. She  was
                                                                           She was
begun on
begun     Synthroid.
       on Synthroid.

There is
There is an
         an appointment,  August 2,
            appointment, August    2, 2013. It states
                                      2013. It states that Haley Spears
                                                      that Haley Spears is
                                                                        is here
                                                                           here for
                                                                                for aa
mind/body   consultation. There is a wellness plan basically noted.
mind/body consultation. There is a wellness plan basically noted.

Followup with
Followup with her
              her endocrinologist, Dr. Oberstein.
                  endocrinologist, Dr. Oberstein.

Continued
Continued followups with endocrinology
          followups with               and pulmonology
                         endocrinology and pulmonology physician's
                                                       physician’s assistants.
                                                                   assistants.

Followups with
Followups with Dr.
               Dr. Cappelluti for asthma
                   Cappelluti for asthma and allergic rhinitis.
                                         and allergic rhinitis.

A neck
A neck ultrasound
       ultrasound was
                  was performed,
                      performed, which
                                 which showed
                                       showed no
                                              no definitive metastatic disease.
                                                 definitive metastatic disease.

Cambridge  Medical Specialties,
Cambridge Medical    Specialties, Dr.
                                  Dr. He
                                       He mentions
                                           mentions that
                                                     that she   had thyroid
                                                           she had          papillary
                                                                    thyroid papillary
carcinoma
carcinoma Stage I, T1NO.
          Stage I, T1N0. In
                          In the
                             the past, this was
                                 past, this was 9. No further
                                                9. No further treatment noted.
                                                              treatment noted.

December 17,
December   17, 2015,
                2015, Willis-Knighton  Health System.
                      Willis-Knighton Health   System.         There is
                                                               There is an
                                                                        an office visit
                                                                           office visit
discussing her diagnoses
discussing her           in an
               diagnoses in an endocrine
                               endocrine followup.
                                         followup.

There is
There is an
         an attorney’s note.
            attorney's note.

In addition
In          to the
   addition to     medical records,
               the medical records, also noted there
                                    also noted       is a
                                               there is a section
                                                          section denoted
                                                                  denoted Chart
                                                                          Chart
Notes.
Notes.

The first
The first is
          is from  January 30,
             from January    30, 2012, Dr. Tagliarini,
                                 2012, Dr. Tagliarini, Chiropractic,
                                                       Chiropractic, and  it reports
                                                                      and it reports all
                                                                                     all of
                                                                                         of
her previous
her previous problems     noted above
               problems noted           and that
                                  above and  that she  was also
                                                  she was        in auto
                                                            also in  auto accidents.   Her
                                                                          accidents. Her
diagnosis  was cervicalgia.
diagnosis was   cervicalgia.

There are
There are 63
          63 pages
             pages of
                   of those notes.
                      those notes.

There are
There are rheumatology   notes then
          rheumatology notes        noted. These
                               then noted.   These are  handwritten notes,
                                                    are handwritten notes, difficult to
                                                                           difficult to
read. They
read. They are,  however, reviewed
            are, however, reviewed in
                                   in their
                                      their entirety.
                                            entirety.

There is
There  is also
          also a
               a report
                 report from
                         from aa Maddalo
                                 Maddalo Chiropractic
                                           Chiropractic practice,
                                                          practice, December
                                                                    December 8,
                                                                              8, 2014.  It
                                                                                 2014. It
said
said she  has been
     she has   been under
                    under chiropractic   for a
                            chiropractic for a long
                                               long time   for her
                                                      time for  her neck,
                                                                    neck, lower
                                                                          lower back,
                                                                                back, and
                                                                                      and
scoliosis pain. Several
scoliosis pain.  Several motor
                         motor vehicle
                                vehicle accidents, it reports.
                                        accidents, it  reports.

There are
There are 42
          42 pages
             pages of
                   of those notes.
                      those notes.

There is
There is a
         a Confidential Investigative Report.
           Confidential Investigative Report.

There appears
There appears to be a
              to be   United States
                    a United States District
                                    District Court
                                             Court in
                                                   in Connecticut
                                                      Connecticut document.
                                                                  document.

There are
There are ophthalmology reports that
          ophthalmology reports that are reviewed.
                                     are reviewed.

There is
There is a Liberty Mutual
         a Liberty Mutual report
                            report from
                                   from May
                                         May 13,
                                             13, 2009, in which
                                                 2009, in which it
                                                                it appears that they
                                                                   appears that they
denied
denied short-term
       short-term disability  benefits beyond
                   disability benefits beyond February
                                              February 8,
                                                       8, 2009.
                                                          2009.



                                                                                  Liberty002505
                                                                                  Li berty002505
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There is
There  is an
          an Office
              Office of  the Attorney
                      of the Attorney General,     State of
                                         General, State   of Connecticut   letter, where
                                                              Connecticut letter,  where the
                                                                                          the
Assistant Attorney
Assistant  Attorney General
                      General isis writing
                                   writing in
                                           in support
                                               support ofof the
                                                             the claim
                                                                 claim of  Haley Spears
                                                                        of Haley   Spears for
                                                                                           for
short-term
short-term disability   benefits. Basically,
             disability benefits.   Basically, it
                                               it states
                                                  states that  he is
                                                          that he  is asking  Liberty Life
                                                                      asking Liberty  Life to
                                                                                            to
reconsider its
reconsider  its earlier
                earlier denial and grant
                        denial and  grant full
                                          full disability
                                               disability coverage
                                                           coverage to  Haley Spears.
                                                                     to Haley Spears.

There are
There   are several
             several court-related
                     court-related documents
                                     documents disputing
                                                 disputing short-term
                                                           short-term and long-term
                                                                      and long-term
disability
disability claims. These are
           claims. These are briefly
                              briefly reviewed however.
                                      reviewed however.


DISCUSSION:

II will
   will now
        now address the following
            address the following questions that have
                                  questions that have been
                                                      been specifically asked of
                                                           specifically asked    me.
                                                                              of me.

1)
1)     Comprehensive
       Comprehensive medical
                      medical history,
                                history, including
                                         including chief
                                                   chief complaint,
                                                         complaint, present
                                                                    present illness,
                                                                            illness, past
                                                                                     past
       medical/surgical
       medical/surgical history,
                        history, medications/allergies,
                                 medications/allergies, and
                                                         and review
                                                             review of systems.
                                                                    of systems.

       II was
          was asked,  for the
               asked, for the periods
                                periods of  September 27,
                                         of September   27, 2008,
                                                            2008, through     March 27,
                                                                    through March     27, 2009,
                                                                                          2009,
        and  then  March    28,  2009,  through  the  present,  to  obtain   a
        and then March 28, 2009, through the present, to obtain a comprehensivecomprehensive
        medical history,
       medical     history, including
                              including thethe chief
                                                chief complaint,      present illness,
                                                       complaint, present        illness, past
                                                                                            past
        medical/surgical history,
       medical/surgical     history, medications/allergies,
                                      medications/allergies, and
                                                               and review
                                                                     review ofof systems,   and
                                                                                 systems, and
        to
        to consider
            consider chiropractic
                      chiropractic treatment      records on
                                      treatment records    on file.
                                                               file. AsAs noted
                                                                           noted earlier,
                                                                                   earlier, this
                                                                                            this
        claimant  was apprehensive
        claimant was    apprehensive in  in providing
                                            providing any
                                                       any medical
                                                            medical history.
                                                                       history. When
                                                                                  When asked
                                                                                          asked
        why she
       why    she could    not do
                   could not         so, she
                                 do so,  she stated
                                              stated she   was basically
                                                      she was    basically informed
                                                                            informed by  by her
                                                                                             her
        attorney not
        attorney  not to
                       to answer
                          answer those
                                    those questions.    She went
                                           questions. She   went onon to   state that
                                                                        to state that she   had
                                                                                       she had
        neurocognitive deficits
       neurocognitive     deficits and
                                    and aa poor
                                            poor memory,
                                                 memory, and,
                                                            and, therefore,
                                                                  therefore, she
                                                                               she refused
                                                                                    refused toto
        give adequate
        give            history.
             adequate history.

       As far
       As  far as
               as chiropractic
                  chiropractic treatments,
                                 treatments, she   basically was
                                              she basically   was being
                                                                   being treated   for what
                                                                          treated for   what
       appears to
       appears       be myofascial
                 to be   myofascial pain.
                                     pain. She,
                                            She, as
                                                  as aa result,
                                                        result, had
                                                                 had several
                                                                      several chiropractic
                                                                               chiropractic
       manipulations. She
       manipulations.           underwent traction
                           She underwent    traction and
                                                       and chiropractic    manipulation a
                                                            chiropractic manipulation       a
       multitude of
       multitude   of times.   Her basic
                      times. Her   basic complaints   were tightness,
                                         complaints were                throbbing, aching,
                                                             tightness, throbbing,   aching,
       and discomfort
       and   discomfort in in the   upper back.
                               the upper   back.     These symptoms
                                                     These     symptoms are      related to
                                                                            are related    to
       myofascial pain
       myofascial   pain syndrome.
                          syndrome. ItIt was
                                         was alluded
                                              alluded to  in her
                                                       to in  her medical
                                                                  medical record
                                                                            record that
                                                                                    that she
                                                                                          she
       was possibly
       was   possibly dealing    with fibromyalgia,
                        dealing with  fibromyalgia, although
                                                      although that    would not
                                                                  that would    not be
                                                                                     be the
                                                                                          the
       definitive
       definitive diagnosis.
                    diagnosis.     Myofascial pain
                                   Myofascial   pain syndrome
                                                      syndrome wouldwould be be the    likely
                                                                                 the likely
       description
       description of   what she
                     of what  she was
                                  was dealing  with at
                                      dealing with  at that
                                                       that time.
                                                             time.

2)
2)     Comprehensive
       Comprehensive functional
                          functional history.   Include past
                                      history. Include   past and
                                                              and current
                                                                   current reported
                                                                             reported daily
                                                                                        daily
       activities;
       activities; how
                    how the
                          the insured’s   spine pain,
                              insured's spine   pain, whole
                                                       whole body
                                                              body pain,
                                                                     pain, and
                                                                            and decreased
                                                                                   decreased
       energy
       energy limits
                 limits her
                         her functionality;
                             functionality; maximum
                                              maximum reported     sitting, standing,
                                                          reported sitting,  standing, and
                                                                                         and
       walking
       walking capacity
                  capacity per  session and
                            per session  and per
                                              per eight-hour
                                                  eight-hour workday,
                                                              workday, and
                                                                         and the
                                                                               the insured’s
                                                                                    insured's
       reported
       reported participation
                     participation in in work,
                                            work, activities
                                                    activities of
                                                                of daily
                                                                     daily living,
                                                                               living, and
                                                                                         and
       recreation/hobbies.
       recreation/hobbies.

       As far
       As       as a
           far as   a functional   history, she
                      functional history,         was asked
                                            she was    asked specifically
                                                               specifically concerning
                                                                            concerning herher
       activities
       activities of
                   of daily living. The
                      daily living.  The patient
                                          patient would
                                                   would not
                                                           not give
                                                                give any
                                                                     any history
                                                                          history regarding
                                                                                    regarding
       whether or
       whether       not she
                 or not       needed aid.
                         she needed         Finally, when
                                      aid. Finally,  when asked
                                                            asked in
                                                                   in a
                                                                      a yes/no
                                                                        yes/no fashion,
                                                                                fashion, she
                                                                                          she
       did state that
       did state  that she  needed aid.
                       she needed        Review of
                                    aid. Review      her records
                                                  of her  records noted
                                                                   noted that,
                                                                          that, at
                                                                                at times, her
                                                                                   times, her
       mother did
       mother        aid her
                did aid  her with
                             with her
                                   her activities
                                       activities of
                                                  of daily living. When
                                                     daily living.  When asked
                                                                          asked specifically
                                                                                 specifically



                                                                                       Liberty002506
                                                                                       Li berty002506
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      about length
      about  length of
                    of time
                       time that she could
                            that she could sit,
                                           sit, stand,
                                                stand, or walk, she
                                                       or walk, she did not report
                                                                    did not report any
                                                                                   any
      clear
      clear answer.
            answer.

3)
3)    Comprehensive
      Comprehensive neuromuscular
                        neuromuscular examination.         Include complete
                                          examination. Include               spine exam
                                                                   complete spine   exam
      [including spine
      [including  spine range
                         range ofof motion,
                                    motion, the
                                              the presence/absence
                                                  presence/absence of    spasm, postural
                                                                      of spasm,  postural
      deviations,
      deviations,     signs
                      signs      of
                                 of     neural
                                        neural     irritation];
                                                   irritation];    neurological
                                                                   neurological     exam
                                                                                    exam
      [motor/sensory/reflexes/Babinski
      [motor/sensory/re   flexes/Babinski reflexes];
                                            reflexes]; tender
                                                        tender point
                                                                 point exam;
                                                                        exam; and
                                                                                and gait
                                                                                      gait
      assessment.    Include a
      assessment. Include     a detailed
                                 detailed neck
                                           neck and
                                                 and upper
                                                      upper extremity
                                                              extremity exam,
                                                                        exam, to
                                                                               to include
                                                                                  include
      joint range
      joint  range ofof motion,
                         motion, circumferential
                                   circumferential arm/forearm
                                                     arm/forearm measurements,
                                                                     measurements, andand
      motor/sensory
      motor/sensory exam.
                       exam.

      A comprehensive
      A                  neuromuscular examination
        comprehensive neuromuscular                  was performed,
                                         examination was performed, and
                                                                    and that is
                                                                        that is
      noted in
      noted in the
               the Physical
                   Physical Examination
                            Examination section.
                                        section.

4)
4)    Assessment of
      Assessment  of objective
                     objective physical
                                physical deconditioning: Any evidence
                                         deconditioning: Any evidence of
                                                                      of generalized
                                                                         generalized
      muscle
      muscle atrophy,
             atrophy, resting
                       resting tachycardia,
                               tachycardia, and/or
                                            and/or poor
                                                    poor muscle
                                                         muscle tone?
                                                                tone? Please
                                                                      Please discuss.
                                                                             discuss.

      No objective
      No  objective physical
                    physical deconditioning noted. No
                             deconditioning noted.   No muscle
                                                        muscle atrophy.
                                                                atrophy. No
                                                                         No muscle
                                                                            muscle
      atrophy. No abnormal
      atrophy. No            muscle tone.
                   abnormal muscle        Heart rate
                                    tone. Heart rate not
                                                     not assessed.
                                                         assessed.

5)
5)    Opinion
      Opinion regarding
               regarding verifiable
                           verifiable physical
                                       physical impairment:
                                                 impairment: Based
                                                               Based onon the
                                                                            the review
                                                                                review of
                                                                                       of
      functional
      functional evidence,
                 evidence, clinical
                            clinical exam
                                     exam findings,
                                            findings, and
                                                      and diagnostic
                                                          diagnostic test
                                                                      test evidence,
                                                                           evidence, does
                                                                                     does
      the
      the insured
          insured have
                   have any
                        any verifiable
                              verifiable functional
                                         functional impairment?
                                                     impairment? ForFor any
                                                                        any impairment
                                                                              impairment
      confirmed,
      confirmed, please
                  please provide
                         provide the
                                   the clinical,
                                       clinical, diagnostic,
                                                 diagnostic, and/or
                                                             and/or functional
                                                                     functional evidence
                                                                                 evidence
      supporting your
      supporting  your opinion.
                       opinion.

      II have
         have been
                been asked
                         asked mymy opinion
                                      opinion regarding
                                                  regarding verifiable
                                                                verifiable physical
                                                                             physical impairment.
                                                                                         impairment.
       Based on
      Based        the review
              on the      review of   functional evidence,
                                  of functional      evidence, clinical
                                                                  clinical examination       findings,
                                                                            examination findings,
       and diagnostic
       and  diagnostic testtest evidence,
                                evidence, waswas the
                                                   the insured
                                                         insured noted
                                                                    noted to    have any
                                                                            to have   any verifiable
                                                                                            verifiable
       functional impairment?
       functional   impairment? As    As far
                                          far as
                                               as from
                                                   from March
                                                          March 28,28, 2009,
                                                                        2009, and
                                                                                and to
                                                                                    to the    present,
                                                                                         the present,
       the patient had
       the patient   had multiple
                            multiple complaints
                                       complaints that       were basically
                                                      that were     basically non-verifiable.
                                                                                non-verifiable. HerHer
       complaints
       complaints werewere gastrointestinal
                              gastrointestinal related,
                                                   related, migraine
                                                               migraine headache
                                                                           headache related,      and
                                                                                        related, and
       what she
      what         would attribute
             she would       attribute to    her Hashimoto's
                                        to her     Hashimoto’s thyroiditis
                                                                    thyroiditis and
                                                                                  and the
                                                                                        the eventual
                                                                                             eventual
       diagnosis
       diagnosis of
                  of thyroid
                       thyroid cancer.     She also
                                 cancer. She    also would
                                                      would attribute
                                                                attribute her
                                                                           her symptoms
                                                                                symptoms to      Lyme
                                                                                              to Lyme
       disease,  which II am
       disease, which         am not
                                   not an
                                        an expert
                                              expert in in its
                                                            its diagnosis;     however, there
                                                                 diagnosis; however,       there are
                                                                                                   are
       conflicting
       conflicting opinions
                     opinions as as to  whether or
                                     to whether          not this
                                                    or not    this truly
                                                                    truly existed   as a
                                                                           existed as    a diagnosis.
                                                                                           diagnosis.
       The patient
      The   patient reports
                      reports nono impairment
                                    impairment as   as of   now, and
                                                         of now,         per my
                                                                   and per    my examination,
                                                                                  examination, she she
       shows  no functional
       shows no    functional impairment.
                                 impairment. As    As far   as the
                                                       far as   the periods
                                                                     periods from    September 27,
                                                                               from September      27,
       2008,
       2008, through
               through MarchMarch 27, 27, 2009,      apparently the
                                            2009, apparently          the patient    had multiple
                                                                           patient had       multiple
       physicians who
       physicians    who supported
                             supported her her inability
                                                 inability to to even
                                                                  even dodo sedentary       activities.
                                                                              sedentary activities.
       Seeing as
       Seeing  as II did   not see
                     did not    see her,
                                     her, II did  review her
                                             did review     her records
                                                                 records and
                                                                           and find    it difficult
                                                                                 find it             to
                                                                                          difficult to
       dispute
       dispute their
                their findings,
                        findings, although
                                   although they
                                               they are
                                                     are subjective.
                                                           subjective.

6)
6)    Opinion
      Opinion regarding
                 regarding medically-supported
                            medically-supported physical
                                                   physical restrictions/limitations:
                                                             restrictions/limitations: ForFor
      any
      any physical
             physical impairment
                        impairment confirmed,        please   provide     specific
                                       confirmed, please provide specific physical  physical
      restrictions/limitations.
      restrictions/limitations. Please
                                Please define
                                        define by
                                                by type
                                                   type of
                                                        of task  [sitting, standing,
                                                            task [sitting, standing, lifting,
                                                                                      lifting,
      etc.],
      etc.], as
             as well
                  well as
                       as frequency
                          frequency ofof task   [never, occasional,
                                         task [never,   occasional, frequent,
                                                                       frequent, constant].
                                                                                   constant].
      Include duration
      Include   duration of
                          of physical
                             physical restrictions/limitations.
                                      restrictions/limitations. IsIs there
                                                                     there any
                                                                            any medical
                                                                                  medical oror
      functional
      functional evidence   supporting your
                   evidence supporting  your opinion?
                                              opinion?



                                                                                             Liberty002507
                                                                                             Li berty002507
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Medical Consultants
Medical Consultants Network,
                    Network, LLC
                             LLC                                    Claim Number:
                                                                    Claim Number: REDACTED
March 14,
March 14, 2016
          2016                                                             Re: Haley
                                                                           Re: Haley Spears
                                                                                     Spears
                                                                                    Page 17
                                                                                    Page 17


      As far
      As   far as medically-supported physical
               as medically-supported        physical restrictions
                                                        restrictions and
                                                                       and limitations,
                                                                              limitations, II have
                                                                                              have
      been asked
      been   asked to
                    to define   the frequency
                        define the    frequency ofof tasks,  including sitting,
                                                     tasks, including     sitting, standing,   and
                                                                                    standing, and
      lifting, and
      lifting,  and the
                      the duration
                            duration of   of these   limitations.
                                              these limitations.       It would
                                                                       It  would be   be virtually
                                                                                          virtually
      impossible, based
      impossible,   based on on the     review of
                                  the review    of these   records, to
                                                   these records,     to determine
                                                                          determine whatwhat this
                                                                                               this
      patient  could   have  done    from   September    27, 2008,   through
      patient could have done from September 27, 2008, through March 27,         March   27, 2009,
                                                                                             2009,
      without examination
      without   examination of of the    patient; however,
                                    the patient;  however, herher limitations,
                                                                  limitations, again,
                                                                                   again, seem
                                                                                          seem toto
      be more
      be   more subjective
                  subjective thanthan objective      regarding her
                                          objective regarding     her headaches,
                                                                         headaches, headache
                                                                                         headache
      frequency, and
      frequency,   and her
                         her myofascial
                              myofascial complaints.       Apparently, the
                                            complaints. Apparently,              patient was
                                                                           the patient    was able
                                                                                               able
      to  work at
      to work   at least
                   least part
                          part time
                                time during
                                        during that  period, but
                                                that period,   but seemed
                                                                    seemed to      be plagued
                                                                                to be  plagued byby
      fatigue. Again,
      fatigue.  Again, her
                         her limitations
                             limitations would
                                            would be
                                                   be subjective   at best.
                                                       subjective at   best.

7)
7)    Assessment of
      Assessment    of excessive
                        excessive or
                                  or atypical
                                      atypical pain
                                                pain behaviors:
                                                     behaviors: Note
                                                                  Note any
                                                                        any excessive
                                                                             excessive or
                                                                                       or
      atypical
      atypical pain
                  pain behaviors
                          behaviors observed
                                       observed during
                                                   during the     Independent Medical
                                                            the Independent      Medical
      Examination.
      Examination. Does Does the
                               the insured’s
                                    insured's reported
                                               reported pain    severity and
                                                         pain severity   and functional
                                                                               functional
      limitations
      limitations correlate
                   correlate with    your clinical
                               with your   clinical exam
                                                    exam findings,
                                                          findings, the
                                                                     the diagnostic
                                                                          diagnostic test
                                                                                      test
      evidence,
      evidence, and
                and treatment
                      treatment requirements?
                                 requirements?

      As far
      As     as assessment
         far as assessment of   her atypical
                             of her  atypical pain  behaviors, the
                                               pain behaviors, the patient  reports that
                                                                    patient reports that
      she  has no
      she has   no problems
                    problems atat this
                                   this time,   as she
                                         time, as       basically got
                                                   she basically   got better
                                                                        better with
                                                                               with the
                                                                                     the
      treatments
      treatments that   were provided.
                  that were  provided. FromFrom a  review of
                                                 a review of the   records, it
                                                              the records,  it would
                                                                               would be
                                                                                      be
      determined
      determined that
                   that she
                        she attributes  her problems
                            attributes her   problems specifically
                                                       specifically to
                                                                    to the Lyme disease
                                                                       the Lyme disease
      diagnosis.
      diagnosis.

8)
8)    Assessment of
      Assessment  of functional
                     functional inconsistencies:
                                  inconsistencies: Compare
                                                    Compare thethe insured’s
                                                                   insured's functional
                                                                              functional
      statements and
      statements and clinical
                      clinical observations,
                               observations, and
                                             and discuss
                                                  discuss any
                                                          any inconsistencies
                                                              inconsistencies noted.
                                                                               noted.

      Patient reports
      Patient  reports no
                        no functional
                             functional limitations
                                        limitations at  this time.
                                                     at this time. Patient
                                                                   Patient reported
                                                                            reported
      debilitating fatigue, headaches,
      debilitating fatigue, headaches, and
                                       and cognitive
                                            cognitive dysfunction which are
                                                      dysfunction which are difficult
                                                                             difficult
      to
      to objectively
         objectively document.
                     document.

9)
9)    Conclusions:
      Conclusions: Summary
                      Summary of    your overall
                                 of your overall impression
                                                 impression regarding
                                                             regarding the
                                                                        the insured’s
                                                                            insured's
      current
      current verifiable physical impairments, medically-supported physical
                 verifiable  physical  impairments,    medically-supported   physical
      restrictions/limitations,
      restrictions/limitations, and
                                and maximum
                                    maximum full-time
                                             full-time work
                                                       work capacity.
                                                            capacity.

      In summary,
      In summary, my my overall
                          overall impression
                                  impression regarding
                                                regarding the
                                                           the insured's
                                                               insured’s current   verifiable
                                                                          current verifiable
      physical impairments
      physical  impairments andand limitations,
                                     limitations, as
                                                   as well
                                                      well as
                                                           as her
                                                              her maximum
                                                                  maximum full-time
                                                                             full-time work
                                                                                        work
      capacity,  again, the
      capacity, again,   the patient
                             patient specifically    states that
                                        specifically states that she
                                                                  she does  not have
                                                                      does not   have these
                                                                                       these
      problems at
      problems    at this  point, that
                     this point,         she was
                                   that she   was fully
                                                   fully healed
                                                         healed with
                                                                  with the
                                                                       the treatments
                                                                           treatments that
                                                                                         that
      were provided
      were provided to     her. Her
                       to her.   Her only
                                       only complaints   have to
                                            complaints have    to do  with reduced
                                                                   do with reduced energy,
                                                                                     energy,
      which she
      which   she attributes
                      attributes to       hypothyroid disease
                                    to hypothyroid       disease andand her
                                                                          her history
                                                                                history of of
      thyroidectomy.
      thyroidectomy.

      As far
      As  far as
              as to  the extent
                  to the          of which
                          extent of   which the
                                             the results
                                                   results of
                                                            of this
                                                                this Independent
                                                                     Independent Medical
                                                                                     Medical
      Examination provide
      Examination   provide any
                              any information
                                   information concerning
                                                  concerning thethe periods
                                                                    periods of  September
                                                                             of September
      27,
      27, 2008,  through March
           2008, through    March 27,
                                    27, 2009,   apparently the
                                        2009, apparently           patient was
                                                              the patient  was placed
                                                                                 placed onon
      work restrictions,
      work  restrictions, from
                          from my
                                my review,
                                     review, at
                                             at least
                                                 least from
                                                       from November
                                                              November of of 2008
                                                                             2008 through
                                                                                    through
      January of
      January  of 2009,   in which
                   2009, in  which she
                                     she was
                                          was to
                                              to return
                                                   return to
                                                           to work.
                                                               work. Again,
                                                                       Again, there
                                                                               there was
                                                                                      was aa
      reviewer that
      reviewer  that noted
                      noted that  from March
                             that from   March 24,24, 2009,  through May
                                                      2009, through    May 11,
                                                                             11, 2009,   she
                                                                                  2009, she
      had no
      had  no verifiable
              verifiable evidence
                         evidence ofof why
                                       why the
                                            the patient
                                                 patient could
                                                         could not
                                                                 not work.
                                                                      work. As
                                                                             As far
                                                                                 far as
                                                                                     as that
                                                                                        that



                                                                                         Liberty002508
                                                                                         Li berty002508
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Medical Consultants
Medical Consultants Network,
                    Network, LLC
                             LLC                                            Claim Number:
                                                                            Claim Number: REDACTED
March 14,
March 14, 2016
          2016                                                                     Re: Haley
                                                                                   Re: Haley Spears
                                                                                             Spears
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         extension   from that
         extension from           period of
                            that period   of time
                                              time through    March 31,
                                                     through March   31, 2015,   it does
                                                                          2015, it         not
                                                                                    does not
         appear that
         appear  that the
                       the patient  had any
                           patient had       incapacitating diagnosis.
                                        any incapacitating               She had
                                                             diagnosis. She  had apparently
                                                                                   apparently
         been previously
         been              taken off
               previously taken        work. The
                                   off work.   The chiropractic  notations of
                                                    chiropractic notations    lumbalgia and
                                                                           of lumbalgia   and
         cervical  segment dysfunction
         cervical segment    dysfunction and
                                           and cervicalgia   would not
                                                 cervicalgia would  not be
                                                                        be aa reason
                                                                              reason for
                                                                                       for the
                                                                                           the
         patient  to not be  able to  perform   at least sedentary work   during  that
         patient to not be able to perform at least sedentary work during that period   period
         of
         of time.
            time.

         There are
         There are no
                   no current
                      current restrictions/limitations.
                              restrictions/limitations.




Jenness Courtney,
Jenness            MD
         Courtney, MD
Physical Medicine
Physical Medicine &
                  & Rehabilitation,
                    Rehabilitation, Board
                                    Board Certified
                                          Certified
nsa:T 0316
nsa:T       Hal Spe
       0316 Hal Spe Courtney
                    Courtney
Client Services
Client Services RN:
                RN: Amy
                    Amy Berroyer;
                         Berroyer; Please
                                   Please call
                                          call if
                                               if questions
                                                  questions (206)-621-9097
                                                            (206)-621-9097
You may
You  may comment
          comment onon your
                       your examination
                            examination experience
                                          experience online
                                                      online at
                                                              at http://www.mcn.com/contact-us/surveys
                                                                 http://www.mcn.com/contact-us/surveys




                                                                                                    Liberty002509
                                                                                                    Li berty002509
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                   Interventions
Behavioral Medical Interventions
6600 France Ave S
Suite 245
                                                                                         INVOICE
Edina, MN 55435                                                                          Invoice
                                                                                         Invoice Date:             03/23/2016
                                                                                         Invoice #:
                                                                                         Invoice#:                 5 77726-2
                                                                                                                   577726-2
                                                                                         Invoice
                                                                                         Invoice Due Date:         04/22/2016
Voice:   (952) 927-0184                                                                  Payment Terms:            Net 30 days
Fax:



 Bill To:
 London, KY
 PO Box 7207
 London, KY 40742



                      Referred By                                      Claim
                                                                       Claim##                                     Claimant Name
                     Nancy Winterer                                    REDACTED
                                                                       REDACTED                                      Haley Spears
                                               I11I                                                 I11I

                   Delivery Method                                 Invoice
                                                                   Invoice Currency                             Customer Reference
                                                                                                                         Reference##
                          Other                I11I                      USD                        I11I                 n/a


   Qty/Hrs              Service Provided                 Description                            Specialty               Rate        Amount

            0.50   File Review             Report by Michael Raymond                   Neuropsychology                  $178.00          $89.00



            0.10                           Admin Fees - Hourly                                                            $85.00          $8.50



            1.00                           Surcharge                                                                      $24.38         $24.38



                                                                                       Subtotal                                         $121.88

                                                                                        Sales Tax                                         $0.00

                                                                                        Total Invoice Amount
                                                                                        Total                                           $121.88

                                                                                       Payment/Credit Applied                             $0.00

                                                                                        TOTAL                                           $121.88
                                                                                                                                        $l2l.88


                                                          Thank you for your business.

                                                                   Please remit to:

                                                                 4115 Ayrshire DR SW
                                                                 Wyoming, MIMl 49418

                                              If you have any questions, please contact Accounting at:
                                              If                                                   at :
                                                             Federal ID #: XX-XXXXXXX
                                                                     ID#:
                                                              Phone: (866) 927-0184
                                                   Email: accounting@behavioralmedical.com




                                                                       11of1
                                                                         of 1


                                                                                                                        Liberty002510
                                                                                                                        Liberty002510
                                                   6600 France
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18  PageAve.
                                                                 235S.,ofSuite
                                                                          501245
         e .I                                                  Edina, MN 55435
                                                          1-866-927-0184 phone
I     Behavioral •Medical                                      952-927-7147 fax
      Interventions                                office@behavioralmedical.com


March 22, 2016
                                          **CONFIDENTIAL**



Nancy Winterer
Liberty Mutual
London, KY

Re: Haley Spears
          REDACTED
Claim No: REDACTED
Web ID: 577726

Dear Ms. Winterer:

This report will serve as an addendum to my original report dated 3/4/16, related to Haley Spears, after
reviewing the additional information received. Services have been completed on this file, and specific
questions you have asked are addressed at the end of this report.

Conclusion
Based on a review of the provided data as summarized and analyzed below, it is the reviewer’s
                                                                                     reviewer's opinion
within a reasonable degree of clinical probability that my opinion from my original report has not
changed.

Referral Information:
Age (DOB): REDACTED
Gender: FEMALE
DOD: 09/27/2008
Diagnoses listed on referral: headache

Medical Issue
The primary medical issue in question in this review is noted as further clarification regarding my
opinion on the neuropsychological testing that was done.

Analysis
Based on the information available for review, as described above, it is the reviewer’s
                                                                                reviewer's opinion within a
reasonable degree of clinical probability that . . . As previously stated in initial report dated 2/13/2016,
analysis of the case has not changed, and thus reflects the responses to the following questions.

Questions
The below questions are answered for the timeframe of 9/27/08 through 3/27/09 and 3/28/09 through
3/31/15. Please refer to the Analysis section above for additional details and rationale supporting this
reviewer’s opinions.
reviewer's




                                                                                         Liberty002511
                                                                                         Liberty002511
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Nancy Winterer                                                                                     Re: Haley Spears
March 22, 2016                                                                                          Page 2 of 2



    1. Please explain the reason you conclude the data provided for this review was "mostly
                                                                                    “mostly
       obsolete.”
       obsolete."

         From a neuropsychological perspective, the undersigned concluded that the data was "mostly
                                                                                               “mostly
         obsolete” based on updated neuropsychological information. As previously noted, the claimant
         obsolete"
         had only undergone one neuropsychological evaluation in July, 2010 which was deemed
         abbreviated, nonstandardized, and did not include formal effort testing. Within the time frame
         through 3/31/15, this information is clearly obsolete (e.g., 6 years old).

    2. Please explain how the data you described as "mostly
                                                    “mostly obsolete"
                                                            obsolete” reflects on the claimant's
                                                                                      claimant’s
       impairments, cause of any impairments, severity of any impairments, duration of any
       impairments, and functional capacity during the periods 9/27/2008 through 3/27/2009, and
       3/28/2009 through 3/31/2015.

         Once again, and from a neuropsychological perspective, the neuropsychological evaluation
         completed in July, 2010, is obsolete as it is 6 years old. Furthermore, the evaluation was
         nonstandardized, somewhat cursory, and without formal effort testing. Thus, given the dearth of
         updated neuropsychological data, the aforementioned information, in and of itself, does not
                     claimant’s impairments, cause of any impairments, severity of impairments, or limits
         reflect the claimant's
         on functional capacity.

                              “obsolete (6 years old)"
    3. Please explain how the "obsolete          old)” results of Dr. Rissenberg's
                                                                      Rissenberg’s July 2010
                                                    claimant’s impairments, cause of any
       neuropsychological evaluation reflect on the claimant's
       impairments, severity of any impairments, duration of any impairments, and functional
                                                       3/27/2009, and 3/28/2009 through 3/31/2015.
       capacity during the periods 9/27/2008 through 312712009,

                              Rissenberg’s neuropsychological evaluation, dated July, 2010, albeit
         As noted above, Dr. Rissenberg's
         nonstandardized and somewhat cursory, would certainly preclude any conclusions regarding the
         claimant’s current impairments, cause of impairments, severity of impairments, or limitations in
         claimant's
         functional capacity. In essence, without having comprehensive and updated neuropsychological
         data, the undersigned was unable to render a clinical opinion regarding limitations, restrictions,
         or functional capability, with any degree of neuropsychological certainty.

Sincerely,

    \-",----           \
Michael Raymond, PhD, ABN
Board Certified Neuropsychologist
New Jersey License # S102529
                     SIO2529

                                solely the opinions of
All opinions in this report are solely               of the author. There is no conflict of
                                                                                         of interest. There is no doctorfprovider-
                                                                                                                  doctor/provider-
patient treatment relationship, and the author did not personally examine the claimant. All opinions are advisory only,
patient
independent, and are based upon a reasonable degree of     of medical certainly
                                                                       certainty and evidence-based medical concepts,
considering all the data available at the time of
                                                of preparation
                                                   preparation ofof this report. This report Ls
                                                                                             is not intended as a recommendation
regarding any decisions on a claim or administrativefunctions                      eriforced. EMI
                                                          functions to be made or enforced.   BMI does not make claim decisions.


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                            CURRICULUM VITAE

                            Michael J. Raymond
                               866-927-0184



EDUCATION:

1981                   Ph.D. Rehabilitation (Psychology), Florida
                       State University, Tallahassee, Florida

1978                   M.S. Rehabilitation Counseling, University of
                       Scranton, Scranton, Pennsylvania

1974                   B.A. History/Education, St. Francis College, Loretto,
                       Pennsylvania

PROFESSIONAL EXPERIENCE:

     – Present
2010 —           Clinical Associate Professor
                  Department of Clinical Sciences, The Commonwealth
                  Medical College, Scranton, Pennsylvania.
                      Provide clinical practicum teaching and supervision of
                      medical students with primary emphasis in
                      clinical/forensic neuropsychology and rehabilitation.

     – Present
2010 —           Consulting Neuropsychologist
                  Neuropsychological Rehabilitation Services
                  Neptune, New Jersey.

                     Provide comprehensive clinical and forensic
                     neuropsychological assessment and consultation.

     – Present
2005 —           Neuropsychological Consultant
                  Behavioral Medical Interventions
                  Minneapolis, Minnesota.

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                         Provided clinical and forensic neuropsychological
                         consultation.

     – 2010
2004 —             Director, Adult Neuropsychology Services
                    Comprehensive Neuropsychological Specialties,
                    Monmouth Beach, New Jersey.
                         Provide comprehensive clinical and forensic
                         neuropsychological assessment and consultation.

     – Present
2002 —             Clinical Professor,
                    Department of Psychology, Philadelphia College of
                    Osteopathic Medicine, Philadelphia, Pennsylvania.
                         Provide clinical practicum teaching and supervision for
                         doctoral psychology students with primary emphasis on
                         clinical neuropsychology and rehabilitation.

1998 - 2000        Visiting Professor,
                   Trnava University, Graduate School of Public Health
                    and Nursing, Trnava, Slovak Republic.
                          Taught graduate courses with primary emphasis on
                          neuropathology, rehabilitation and neuropsychology.

1994 - 1997        Adjunct Professor,
                   Marywood University, Graduate School of Arts and Sciences
                   (Psychology), Scranton, Pennsylvania.
                         Taught graduate level courses with primary emphasis
                         on neuroanatomy, neuropsychological assessment and
                         neurological disorders.

1992 - 2006        Surveyor, Brain Injury Programs,
                   Commission on Accreditation of Rehabilitation Facilities,
                        Tucson, Arizona.

1990 - 2006        Neuropsychologist,
                   Monmouth Neuropsychology Associates,
                   Red Bank, New Jersey.
                        Provided comprehensive clinical and forensic
                        neuropsychological assessment and consultation.

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1988 - Present     Director, Clinical/Forensic Neuropsychology,
                   Clinical Director, Brain Injury/Sports Concussion Program,
                   The John Heinz Institute of Rehabilitation Medicine, Wilkes-
                   Barre, Pennsylvania.
                         Provide comprehensive inpatient/outpatient
                         neuropsychological consultation to physicians,
                         and multidisciplinary rehabilitation team, provide
                         consultation to the
                         consultation to the Veteran's
                                             Veteran’s Administration
                                                        Administration Medical
                                                                       Medical
                         Center (VAMC), inservice training/education and
                         research. Provide expert forensic neuropsychological
                         testimony. Provide all managerial, administrative and
                         supervisory duties to a five (5) person department,
                         including cognitive rehabilitation and psychometry and
                         sports concussion program affiliated with professional,
                         college, and high school teams.

     – 1998
1986 —1998         Neuropsychologist, (part-time), Wyoming Valley Health Care
                   System, First Hospital Wyoming Valley, Wilkes-Barre,
                   Pennsylvania.
                         Provided comprehensive inpatient neuropsychological
                         consultation to the psychiatry service, including adult,
                         adolescent, children and addictive treatment programs.
                         Participated in biweekly staff meetings and inservice
                         training.

1986 - 1988        Neuropsychologist, Director, Psychological Services,
                   The John Heinz Institute of Rehabilitation Medicine, Wilkes-
                   Barre, Pennsylvania.
                         Provided comprehensive inpatient/outpatient
                         neuropsychological consultations to the medical service
                         and multidisciplinary rehabilitation team, pain/stress
                         management, cognitive rehabilitation, psychotherapy,
                         inservice training and research. Provided all managerial,
                         administrative and supervisory duties to seven (7) person
                         Department of Psychological Services. Developed a
                         neuropsychological laboratory and contributed toward the
                         development of a cognitive rehabilitation service and
                         brain injury rehabilitation program.

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1985 - 1986        Neuropsychologist, Neurorehab Associates, Inc., Rochester
                   New York.
                        Provided comprehensive neuropsychological consultation
                        including assessment and evaluation for day rehabilitation
                        patients and outpatients and individual, family and group
                        psychotherapy. Responsible for the supervision of the
                        neuropsychology service including a staff psychologist
                        and three (3) psychometrists. Contributed to the
                        development of a comprehensive day rehabilitation
                        service for neurologically impaired individuals. Provided
                        consultation to the interdisciplinary rehabilitation team.
                        Participated in weekly neurology grand rounds, The
                        University of Rochester School of Medicine.

1982 - 1985        Clinical Psychologist, (part-time), Family Counseling Clinic,
                   Mansfield, Pennsylvania.
                         Provided intake/brief psychological evaluations and
                         individual family psychotherapy.

1981 - 1985        Clinical Psychologist, Department of Rehabilitation Medicine,
                   Clinical Psychology Section, The Williamsport Hospital
                   and Medical Center, Williamsport, Pennsylvania.
                         Provided consultations to the medical service and
                         multidisciplinary rehabilitation team, neuropsychological
                         assessment and evaluation, pain/stress management,
                         psychotherapy and inservice training. Consultant and
                         contributing editor to the Department of Sports Medicine.

1979 - 1981        Graduate Assistant, Department of Human Services and
                        Studies, Florida State University, Tallahassee, Florida.
                        Instructor: Medical and Psychological Aspects of
                        Disability, 5 hour undergraduate course.

                         Supervisor: Undergraduate intern and field experience,
                                     7 quarters.
                         Researcher: Curriculum Development, Task Force of
                                     Independent Living.1979 —– 1980

1979 - 1980        Directed Individual Study, Department of Psychology,
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                    Tallahassee Pain and Stress Management Institute,
                    Tallahassee, Florida.
                          Training and practice in pain/stress management utilizing
                          a variety of biofeedback modalities and relaxation
                          techniques.

1978 - 1979         Psychological Associate, Divine Providence Hospital,
                    Community Mental Health Center, Williamsport,
                    Pennsylvania.
                         Provided individual, marital and family psychotherapy,
                         psychological and neuropsychological assessment and
                         evaluation, and consultation with the Lycoming County
                         Prison.

1/78 - 6/78         Clinical Psychology Intern, Department of Rehabilitation
                    Medicine, Neuropsychology Section, Geisinger Medical Center,
                    Danville, Pennsylvania.
                          Training and practice in medical consultations (i.e.,
                          neurology, pediatrics, rehabilitation medicine, psychiatry,
                          etc.), provided neuropsychological assessment and
                          evaluation involved with neurologyurology/neurosurgery
                          conferences and rehabilitation medicine grand rounds.

9/77 - 12/77        Graduate Practicum, Department of Psychiatry, Clinical
                    Psychology Section, VA Medical Center, Wilkes-Barre,
                    Pennsylvania.
                         Training and practice in psychiatric consultations,
                         Individual/group therapy, and neuropsychological
                         assessment.

9/77 - 12/77       Graduate Practicum, Department of Career Development,
                   Williamsport Area Community College, Williamsport,
                   Pennsylvania.
                          Training and practice in individual and group
                          vocational counseling, and psychological/vocational
                          assessment and evaluation of college students and
                          community residents.

1974 - 1976         Supervisor, Division of Distribution, Grand Union Company,
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                   Elmwood Park, New Jersey.
                       Supervised union personnel and clerical staff; majority of
                       responsibilities included: productivity, cost analysis and
                       inventory control.



PRESENTATIONS:

November 2011            The American Board of Professional Neuropsychology
                         Preparation for Application, Work Sample Submission
                         and Examination. The National Academy of
                         Neuropsychology Annual Meeting, Marco Island, Florida.

October 2011             Behavioral Manifestations in Brain Injury. Brain Injury
                         Team Inservice. John Heinz Institute of Rehabilitation
                         Medicine, Wilkes-Barre, Pennsylvania.

September 2011           Neurocognitive Deficits in Epilepsy. Epilepsy Support
                         Group, Wilkes-Barre, Pennsylvania.

May 2011                 Clinical and Forensic Neuropsychological Aspects of
                         MTBI . The DiSepio Symposium Series, Saint Francis
                         MTBI.
                         University, Loretto, Pennsylvania.

May 2011                 Roundtable Discussion: Future Trends in Sports
                         Concussion Management. The DiSepio Symposium
                         Series, Saint Francis University, Loretto, Pennsylvania.

March 2011               Neuropsychological Performance in a Patient Following
                         Resection of a Vestibular Schwannoma. American
                                                                 3rd Annual
                         College of Professional Neuropsychology 3rd
                         Conference, Las Vegas, Nevada.

March 2011               Concussions. Call The Doctor, WVIA TV, Avoca,
                         Pennsylvania.

December 2010            Schools Treat Concussions Seriously, Newspaper
                         Interview/Article, The
                         Interview/Article,     Citizen’s Voice,
                                            The Citizen's Voice, Wilkes-Barre,
                                                                 Wilkes-Barre,
                         Pennsylvania.
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November 2010          Concussions Drawing More Attention, Newspaper
                       Interview /Article, The Times Tribune, Scranton,
                       Pennsylvania.

November 2010          Use Your Head When Making Decisions About Sports
                       Concussion, Wilkes-Barre Junior Penguins, Wilkes-
                       Barre, Pennsylvania.

October 2010           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, Vancouver, Canada.

October 2010           Neuropsychological Consequences of Moyamoya
                       Disease: A Clinical Case Study. The National Academy
                       of Neuropsychology Annual Meeting, Vancouver,
                       Canada.

May 2010               Speed that Hurts: MVA & TBI: WILK Radio, Wilkes-
                       Barre, Pennsylvania.

February 2010          Anoxic Encephalopathy Following Cardiac Arrest.
                       American College of Professional Neuropsychology
                       Conference, Las Vegas, Nevada.

November 2009          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, New Orleans,
                       Louisiana.

October 2009           Work-Related Mild Traumatic Brain Injury: Forensic
                       Neuropsychological Assessment 2009. Northeast
                       Regional Occupational Health and Safety Conference,
                       Wilkes-Barre, Pennsylvania.

October 2009           Clinical and Forensic Neuropsychology: An Overview.
                       Brain Injury Rehabilitation Team, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.
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April 2009             Visual Perceptual Symptoms Associated with Right
                       Hemispheric Pathology do not Affect Performance on the
                       TOMM. American College of Professional
                       Neuropsychology Conference, San Diego, California.

March 2009             Clinical Consideration in Sports Concussion
                       Management. Southeast Georgia Healthcare System,
                       Brunswick, Georgia.

October 2008           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, New York, New
                       York.

October 2008           Neuropsychological Consequences of Autosomal
                       Dominant Cerebellar Atrophy: A Clinical Study. The
                       National Academy of Neuropsychology Annual Meeting,
                       New York, New York.

October 2008           Concussion Among High School Athletes. Sports Fever,
                       1340 FOX Sports Radio, Wilkes-Barre, Pennsylvania.

September 2008         Traumatic Brain Injury: Healing the Body and Mind.
                       Call The Doctor, WVIA TV, Avoca, Pennsylvania.

September 2008         Expect the Unexpected: Signs and Symptoms of TBI.
                       Pastoral Care Conference, Wilkes-Barre, Pennsylvania

August 2008            Clinical and Legal Implications of Sports Concussion.
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

August 2008            Consequences of Sports Concussion. Sports Fever,
                       WSWB TV, Wilkes-Barre, Pennsylvania.

June 2008              Signs, Symptoms, and Treatment of Sports Concussion in
                       High School Athletes. Toyota High School Sports Show,
                       FOX 56 TV, Wilkes-Barre, Pennsylvania.
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February 2008          Sports Concussion: Tackling the Common Myths. You
                       Be The Judge, FOX 56 TV, Wilkes-Barre, Pennsylvania.

February 2008          Traumatic Brain Injury Overview. You Be The Judge,
                       FOX 56 TV, Wilkes-Barre, Pennsylvania.

February 2008          Mild Traumatic Brain Injury in the Workplace: Clinical
                       and Forensic Neuropsychological Considerations. PES1:
                       Worker’s Compensation
                       Worker's Compensation Conference,
                                               Conference, Las Vegas, Nevada.
                                                           Las Vegas, Nevada.

November 2007          Cumulative Effects of Multiple Concussion: A
                       Neuropsychological Case Study. The National Academy
                       of Neuropsychology Annual Meeting, Scottsdale,
                       Arizona.

November 2007          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Scottsdale, Arizona.

October 2007           Management of Sports Concussion; Sue Henry Show,
                       WILK Radio, Wilkes-Barre, Pennsylvania.

September 2007         Current Trends in Sports Concussion Management,
                       Sports Talk Saturday, WILK Radio, Wilkes-Barre,
                       Pennsylvania.

March 2007             Work-Related Mild Traumatic Brain Injury: Forensic
                       Neuropsychological Assessment. Workers Injury Law
                                           12th Annual Conference, San
                       and Advocacy Group, 12th
                       Antonio, Texas.

March 2007             Ethical Representation of Brain Injured Workers.
                                                                 12th Annual
                       Workers Injury Law and Advocacy Group, 12th
                       Conference, San Antonio, Texas.

November 2006          Sports Concussion: An Overview for the High School
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                       Athlete. Wilkes-Barre Area School District, Wilkes-
                       Barre, Pennsylvania.

October 2006           Sacred Stories of Sudden Disability, Moderator, Panel
                       Discussion, John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

October 2006           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       San Antonio, Texas.

October 2006           Neuropsychological Sequela in a Patient with a
                       Tumefactive Demyelinating Lesion. The National
                       Academy of Neuropsychology Annual Meeting, San
                       Antonio, Texas.

September 2006         Sports Concussion Management, Sports Talk, WILK
                       Radio, Wilkes-Barre, Pennsylvania.

May 2006               Sports Concussion, Advance (2006, 16, 18), Interview,
                       King of Prussia, Pennsylvania.

May 2006               Survivor/Family Panel Discussion; Moderator, 2006
                       Statewide TBI Conference, Anchorage, Alaska.

May 2006               Neuropsychological Assessment: Clinical/Forensic
                       Implications, 2006 Statewide TBI Conference,
                       Anchorage, Alaska.

May 2006               Sports Concussion, 2006 Statewide TBI Conference,
                       Anchorage, Alaska.

April 2006             Sports Concussion Management, WNEP-TV Health
                       Watch.


April 2006             Program Aims to Assess Concussions. Times Leader

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                       Newspaper Interview (April 25, 2006), Wilkes-
                       Barre, Pennsylvania.

March 2006             Traumatic Brain Injury and Concussion Management,
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

November 2005          Medical Overview: Traumatic Brain Injuries. The
                       Critical Medical, Legal and Funding Issues for Children
                       and Adults with Spinal Cord and Traumatic Brain
                       Injuries, Wilkes-Barre, Pennsylvania.

October 2005           Test of Memory Malingering (TOMM) Performance in
                       Persons with Right Hemisphere Lesions. The National
                       Academy of Neuropsychology Annual Meeting, Tampa,
                       Florida.

October 2005           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Tampa, Florida.

August 2005            Sports Concussion Management, Sports Medicine
                       Conference, John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

November 2004          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission,
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Seattle, Washington.

November 2004          Neuropsychological Findings in a Patient with HELLP
                       Syndrome. The National Academy of Neuropsychology
                       Annual Meeting, Seattle, Washington.




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June 2004              Strategies & Techniques to Improve Adjustment
                       Difficulties following Brain Injury, Brain Injury Support
                       Group, John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

June 2004              Neuropsychological Assessment of Mild Brain Injury in
                       Patients with Spinal Injuries, Brain Injury Association of
                       Pennsylvania Annual Meeting, Harrisburg, Pennsylvania.

February 2004          Community Awareness of Traumatic Brain Injury,
                       Catholic Television Network, Scranton, Pennsylvania.

October 2003           Left Temporal Parietal Infarct Secondary to Idiopathic
                       Thrombocytopenia Purpura: A Neuropsychological Case
                       Study. The National Academy of Neuropsychology
                       Annual Meeting, Dallas, Texas.

March 2003             Neurocognitive and Behavioral Concomitants of
                       Traumatic Brain and Spinal Injuries, Allied Services
                       Rehabilitation Hospital, Scranton, Pennsylvania.

November 2002          Neuropsychological Manifestations of Multiple Sclerosis,
                       National Multiple Sclerosis Society Meeting, Matamoras,
                       Pennsylvania.

October 2002           Neuropsychological Performance in a Patient with Von
                       Hippel-Lindau Disease, The National Academy of
                       Neuropsychology Annual Meeting, Miami, Florida.

August 2002            Family Intervention Strategies Following Brain Injury,
                       Brain Injury Support Group, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 2002            Cognitive and Behavioral Symptoms of Sjogren
                       Syndrome, Susquehanna Neuropsychology Group,
                       Wilkes-Barre, Pennsylvania.

November 2001          Neuropsychological Assessment: A Clinical Overview.
                       Interdisciplinary Approach to Brain Injury Rehabilitation,
                       Allied Services John Heinz Institute of Rehabilitation
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                       Medicine, Wilkes-Barre, Pennsylvania.

November 2001          Neuropsychological Manifestations in a Case of Sjogren
                       Syndrome , The National Academy of Neuropsychology
                       Annual Meeting, San Francisco, California.

May 2001               Neuropsychological Aspects of Mild Brain Injury,
                       Association of Rehabilitation Nurses, Wilkes-Barre,
                       Pennsylvania.

November 2000          Central Neurocytoma: Serial Neuropsychological
                       Findings, The National Academy of Neuropsychology
                       Annual Meeting, Orlando, Florida.

November 2000          Neuropsychological Assessment and Treatment of
                       Multiple Sclerosis, National Multiple Sclerosis Society,
                       Wilkes-Barre, Pennsylvania.

October 2000           Post Concussion: An Oft Neglected Syndrome, Medical
                       Staff Meeting, Allied Services John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

September 2000         An Expert Opinion on Concussion, Times Leader
                       Newspaper (interview), Wilkes-Barre, Pennsylvania.

May 2000               Neuropsychological Assessment of Acquired Brain
                       Injuries, Luzerne/Lackawanna County Critical Care
                       Association, Moosic, Pennsylvania.

November 1999          Neurobehavioral Sequelae of Immunotherapy
                       Anaphylaxis, The National Academy of Neuropsychology
                       Annual Meeting, San Antonio, Texas.

October 1999           Neuropsychological Assessment: A Clinical Overview.
                       Interdisciplinary Approach to Brain Injury Rehabilitation,
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

September 1999         Signs, Symptoms, and Suggestions of Everyday
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                       Concussion, Brain Injury Support Group, John Heinz

                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

August 1999            Concussion in Sports, WWDL 105 FM Radio, Scranton,
                       Pennsylvania.

May 1999               Symptom Exaggeration and Mild Traumatic Brain Injury:
                       An Unbelievable Case, Advanced Workshop in Applied
                       Clinical Neuropsychology, The Reitan Society Annual
                       Meeting, San Diego, California.

April 1999             Neurobehavioral Consequences of Acquired Brain Injury,
                       Outpatient Services, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

November 1998          Repeal of the Helmet Law; Clinical Considerations,
                       WBRE (NBC) TV, Wilkes-Barre, Pennsylvania.

November 1998          Brainwave-R: Cognitive Strategies and Techniques for
                       Brain Injury Rehabilitation, The Reitan Society Meeting,
                       18th Annual Conference of the National Academy of
                       Neuropsychology, Washington, D.C.

September 1998         Multidisciplinary Approach to Rehabilitation, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

September 1998         Viral Encephalitis: A Case Study Based on Serial HRNB
                       Performances, The Reitan Society Annual Meeting,
                       Tuscon, Arizona.

August 1998            International Teleconference on Rehabilitation,
                       University of Scranton, Scranton, Pennsylvania.

June 1998              Post Concussion: An Oft Neglected Syndrome, Medical
                       Staff Meeting, Allied Services Rehabilitation Hospital,
                       Scranton, Pennsylvania.


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May 1998               Neurological Rehabilitation in the United States; Panel
                       Discussion, Trnava University, Slovak Republic.

May 1998               Model Brain Injury Program; Panel Discussion,
                       International Brain Injury Association Educational
                       Lecture Series, Prague, Czech Republic.

May 1998               Major Consequences of Mild Brain Injury, International
                       Brain Injury Association Educational Lecture Series,
                       Prague, Czech Republic.

April 1998             Common Misconceptions about Brain Injury Among
                       Survivors and Family Members, Brain Injury Support
                       Group, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

January 1998           Mild Brain Injury; Multispecialty Perspectives, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

December 1997          Photostimulation and Seizures: The Japanese Cartoon
                       Dilemma. WARM Radio (590 AM), Pittston,
                       Pennsylvania.

November 1997          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       Las Vegas, Nevada.

November 1997          Neuropsychological Dysfunction in a Mixed Dominant
                       Patient Following a Left Temporoparietal Abscess, The
                       National Academy of Neuropsychology Annual Meeting,
                       Las Vegas, Nevada.

November 1997          Recovery from Traumatic Brain Injury: A Cognitive
                       Rehabilitation Case Study, The Brain Injury Association
                       Annual National Symposium, Philadelphia, Pennsylvania.

May 1997               Overview of Neuropsychological/Cognitive Services:
                       Diagnosis and Treatment of Neurological Disorders, The

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                       John Heinz Institute of Rehabilitation Medicine,
                       Tunkhannock Clinic, Tunkhannock, Pennsylvania.


May 1997               Overview of Neuropsychological/Cognitive Services:
                       Diagnosis and Treatment of Neurological Disorders, The
                       John Heinz Institute of Rehabilitation Medicine, Hazleton
                       Clinic, Hazleton, Pennsylvania.

February 1997          The Effects of Traumatic Brain Injury on the Survivor
                       and Family, Brain Injury Support Group, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1996          Neuropsychological Consultation in Rehabilitation,
                       The National Academy of Neuropsychology Annual
                       Meeting, New Orleans, Louisiana.

November 1996          Neuropsychological Dysfunction in a Patient with
                       Multiple Meningiomas, Reitan Society Meeting,
                       New Orleans, Louisiana.

April 1996             Neurobehavioral Consequences of Brain Injury,
                       Valley Crest Nursing Facility, Wilkes-Barre,
                       Pennsylvania.

November 1995          Traumatic Brain Injuries, Panel Discussion, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

November 1995          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       San Francisco, California.

November 1995          Neuropsychological Aspects of Posthallucinogen
                       Perception Disorder, Reitan Society Meeting,
                       San Francisco, California.

October 1995           Neurosurgical/Neuropsychological Collaboration in the

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                                                                       Li berty002528
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                       Diagnosis and Treatment of Meningioma, WBRE
                       (NBC) TV, Wilkes-Barre, Pennsylvania.



August 1995            Current Perspectives of Brain Injury Rehabilitation, Brain
                       Injury Support Group, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 1995            Forensic Neuropsychological Considerations in
                       Traumatic Brain Injury Cases, Litigation Department,
                       Hourigan, Kluger, Spohrer, Quinn, Wilkes-Barre,
                       Pennsylvania.

March 1995             Careers in Psychology, Kings College, Wilkes-Barre,
                       Pennsylvania.

January 1995           Brainwave-R: A Comprehensive Cognitive Rehabilitation
                       Program, Applied Cognitive Rehabilitation Training
                       Seminar, Albuquerque, New Mexico.

December 1994          Assessment of Malingering (part 2), Psychology
                       Department, First Hospital Wyoming Valley, Wilkes-
                       Barre, Pennsylvania.

November 1994          Assessment of Malingering (part 1), Psychology
                       Department, First Hospital Wyoming Valley, Wilkes-
                       Barre, Pennsylvania.

November 1994          Rehabilitation Overview, Medical Staff, Headley Court,
                       Surrey, England.

November 1994          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       Orlando, Florida.

November 1994          The Effects of Unilateral Vascular Lesions and Gender on
                       Visual-Spatial and Verbal Auditory Attention, The
                       National Academy of Neuropsychology Annual
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                       Meeting, Orlando, Florida.

November 1994          Predictive Validity of Neuropsychological Deficit Scale
                       and Halstead Impairment Index in Mild Traumatic Brain

                       Injury: A Two Center Study, The Reitan Society
                       Meeting, Orlando, Florida.

April 1994             Neurobehavioral Consequences of Acquired Brain Injury,
                       Meadows Nursing and Rehabilitation Center, Dallas,
                       Pennsylvania.

February 1994          Summary Challenge Moderator: The National Forum
                       Conference on Federal Healthcare Legislation,
                       Washington, D.C.

December 1993          Neuropsychological Overview, Wilkes University
                       Nursing Students, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

December 1993          Traumatic Brain Injury: The Transition from
                       Rehabilitation to College, Luzerne County Community
                       College, Nanticoke, Pennsylvania.

November 1993          Grand Rounds: Penetrating Head Injury Without
                       Neuropsychological Deficits, The Susquehanna
                       Neuropsychology Group, Wilkes-Barre, Pennsylvania.

November 1993          Medicolegal Aspects of Epilepsy, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1993           Moderator: Reitan Society Meeting, The National
                       Academy of Neuropsychology Annual Meeting,
                       Phoenix, Arizona.

October 1993           The Neuropsychologist as Consultant in Rehabilitation,
                       The National Academy of Neuropsychology Annual
                       Meeting, Phoenix, Arizona.

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May 1993               Neuropsychological Assessment of Traumatic Brain
                       Injury, Head Trauma Awareness Group, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

April 1993             Head Injuries, Call The Doctor, WVIA TV, Avoca,
                       Pennsylvania

February 1993          Careers in Psychology, Kings College, Wilkes-Barre,
                       Pennsylvania.

January 1993           The Transition from Rehabilitation to School, Luzerne
                       Intermediate Unit, Wilkes-Barre, Pennsylvania.

November 1992          Medicolegal Aspects of Minor Head Injury, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

September 1992         Neuropsychology Overview: College Misericordia
                       Nursing Students, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

September 1992         Behavioral Problems Following Traumatic Brain Injury,
                       Head Injury Support Group, Wilkes-Barre, Pennsylvania.

May 1992               Minor Head Injury: Neuropsychological Perspectives,
                       The Second Annual Educational Conference of the JMA
                       Foundation, Baltimore, Maryland.

April 1992             Neuropsychological Consequences of Traumatic Brain
                       Injury, Head Trauma Symposium, Marywood University,
                       Scranton, Pennsylvania.

April 1992             Neuropsychological Aspects of Minor Head Injury, Mild
                       Traumatic Brain Injury Conference, Reading,
                       Pennsylvania.

March 1992             Neuropsychological Rehabilitation: A Clinical Overview,


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                       American Rehabilitation Nursing Association, Wilkes-
                       Barre, Pennsylvania.



March 1992             Neuropsychology Overview, Lycoming College Nursing
                       Students, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

February 1992          Halstead - Reitan Neuropsychological Battery (2 Part
                       series), Psychology Department, First Hospital Wyoming
                       Valley, Wilkes-Barre, Pennsylvania.

February 1992          The Use of the Knox's Cube Test and Digit Span in
                       Assessing Memory and Attention, International
                       Neuropsychological Society Annual Meeting, San Diego
                       California.

February 1992          Neuropsychological Assessment: An Adjunct to
                       Neurological Diagnosis, The Seventh Annual University
                       of Scranton Psychology Conference, Scranton,
                       Pennsylvania.

January 1992           Management of the Aggressive Patient, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

November 1991          Medicolegal Aspects of Symptom Exaggeration and
                       Malingering: A Clinical Update, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1991          Antiseizure Medication and Cognitive Performance,
                       Nursing Department, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 1991            Minor Head Injury Rehabilitation, PARF Conference,
                       Harrisburg, Pennsylvania.



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                                                                     Liberty002532
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August 1991            Head Trauma Rehabilitation Overview, St. Francis
                       Medical Center, Poughkeepsie, New York.

June 1991              Helmet Law and Head Injury, WBRE (NBC) TV,
                       Wilkes-Barre, Pennsylvania.

May 1991               Neuropsychology Overview, Nursing Department, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

April 1991             Neuropsychological Aspects of Minor Head Injury, The
                       First Annual Educational Conference of The National
                       Brain Injury Research Foundation, Washington, D.C.

March 1991             Neuropsychological Sequelae in Acute Carbon Monoxide
                       Encephalopathy, The Sixth National Traumatic Brain
                       Injury Symposium, Baltimore, Maryland.

February 1991          Handedness and Gender Effects on the Relative
                       Preservation of Visuospatial Versus Verbal Function
                       Following Right Hemisphere Stroke, The Sixth Annual
                       University of Scranton Psychology Conference, Scranton,
                       Pennsylvania.

January 1991           Depression vs. Dementia, Apple A Day, WVIA TV,
                       Avoca, Pennsylvania.

November 1990          Medicological Aspects of Competency in Dementia, The
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

November 1990          Handedness and Gender Effects on the Relative
                       Preservation of Visuospatial Versus Verbal Function
                       Following Right Hemisphere Stroke, The National
                       Academy of Neuropsychology Annual Meeting, Reno,
                       Nevada.

October 1990           Head Trauma Rehabilitation, Southern Tier Independence
                       Center Head Injury Conference, Binghamton, New York.


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August 1990            Overview of Neuropsychological/Cognitive
                       Services, Veterans Administration Medical Center,
                       Wilkes-Barre, Pennsylvania.

June 1990              Neuropsychological Assessment Tutorial, Psychology
                       Department, First Hospital Wyoming Valley,
                       Wilkes-Barre, Pennsylvania.

March 1990             Neuropsychological Consideration of Minor Head Injury,
                       Crawford Rehabilitation Services, Denver, Colorado.

February 1990          Medicolegal Aspects of Malingering: A
                       Neuropsychological Perspective, Central Rehabilitation
                       Associates, Inc., Camp Hill, Pennsylvania.

January 1990           Minor Head Injury, Apple A Day, WVIA TV, Avoca,
                       Pennsylvania.

December 1989          Head Trauma Rehabilitation: Behavioral Management
                       Strategies, Nursing Department, The John Heinz Institute
                       of Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

November 1989          Medicolegal Aspects of Symptom Exaggeration and
                       Malingering, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

September 1989         Halstead-Reitan Neuropsychological Battery (3 part
                       series), Psychology Department, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

June 1989              Interpersonal Communication Training, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

May 1989               Neuropsychology Update: Post-Concussive Syndrome,
                       Department of Neurology/Neurosurgery, Community
                       Medical Center, Scranton, Pennsylvania.


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March 1989             Current Trends in Head Trauma Rehabilitation, WARM
                       Radio, Avoca, Pennsylvania.


March 1989             Personal Injury Litigation, A Neuropsychological
                       Perspective, Luzerne County Bar and Library
                       Association, Wilkes-Barre, Pennsylvania.

December 1988          Neuropsychological Deficit Scale: A Clinical Case
                       Review, Susquehanna Neuropsychology Group,
                       Wilkes-Barre, Pennsylvania.

December 1988          WAIS-R Implications in Neuropsychological
                       Assessment, (3 part series), Psychology Department, First
                       Hospital Wyoming Valley, Wilkes-Barre, Pennsylvania.

November 1988          Neuropsychological Aspects of Diffuse Histiocytic
                       Lymphoma, The National Academy of
                       Neuropsychologists Annual Meeting, Orlando, Florida.

November 1988          Medicolegal Aspects of Minor Head Injury, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1988          Halstead-Reitan Neuropsychological Battery, Graduate
                       Psychology Class, Marywood College, Scranton,
                       Pennsylvania.

November 1988          Wechsler Memory Scale-Revised, Psychology
                       Department, First Hospital Wyoming Valley,
                       Wilkes-Barre, Pennsylvania.

September 1988         Head Trauma Rehabilitation, Apple A Day, WVIA TV,
                       Avoca, Pennsylvania.

September 1988         Neuropsychological Investigation in Traumatic Brain
                       Injury: A Cognitive Rehabilitation Case Study, Cognitive
                       Rehabilitation: Community Reintegration Through

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                       Scientifically Based Practice, Richmond, Virginia.

June 1988              Neuropsychology Overview, United Rehabilitation
                       Services, Wilkes-Barre, Pennsylvania.

June 1988              Behavioral Sequelae of Stroke, Nursing Department, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

February 1988          Neuropsychological Investigation in Right Hemisphere
                       Stroke: A Rehabilitation Case Study, The Fourth Annual
                       Psychology Conference, University of Scranton,
                       Scranton, Pennsylvania.

November 1987          Neuropsychological Assessment (3 part series),
                       Department of Psychological Services, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1987           Worker's Compensation Developments - 1987;
                       Neuropsychological Testimony, The Dickinson School of
                       Law, Carlisle, Pennsylvania.

October 1987           Neuropsychological Investigation in Right Hemisphere
                       Stroke: A Rehabilitation Case Study, The National
                       Academy of Neuropsychologists Annual Meeting,
                       Chicago, Illinois.

May 1987               Psychological Considerations in Multiple Sclerosis,
                       Multiple Sclerosis Society, Wilkes-Barre, Pennsylvania.

March 1987             Neuropsychological Assessment: Halstead-Reitan
                       Battery, Psychology Department, First Hospital
                       Wyoming Valley, Wilkes-Barre, Pennsylvania.

March 1987             Psychological Considerations in Stroke Rehabilitation,
                       Meadows Nursing Facility, Dallas, Pennsylvania.

February 1987          Similar Neuropsychological Findings from

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                       Cardiovascular Abnormalities: A Comparison Case
                       Study, The Third Annual Psychology Conference,
                       University of Scranton, Scranton, Pennsylvania.


February 1987          Neuropsychological Assessment: Halstead-Reitan
                       Battery, Psychology Department, First Hospital
                       Wyoming Valley, Wilkes-Barre, Pennsylvania.

February 1987          Behavioral Sequelae of Head Trauma, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

February 1987          WAIS-R Implications in Neuropsychological
                       Assessment, Department of Psychological Services, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

January 1987           Pain Management for the Elderly, Senior Citizen Group,
                       Salvation Army, Wilkes-Barre, Pennsylvania.

January 1987           Introduction to Neuropsychological Assessment,
                       Department of Psychological Services, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1986           Similar Neuropsychological Findings from
                       Cardiovascular Abnormalities: A Comparison Case
                       Study, The National Academy of Neuropsychologists
                       Annual Meeting, Las Vegas, Nevada.

August 1986            WAIS-R Implications in Neuropsychological
                       Assessment, Department of Psychological Services,
                       The John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

May 1986               Bedside Neuropsychological Examination, Department of
                       Psychological Services, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

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December 1985          Differential Diagnosis of Dementia, Neuropsychology
                       Service, Neurorehab Associates, Rochester, New York.


August 1985            Halstead-Reitan Neuropsychological Battery,
                       Neuropsychology Service, Neurorehab Associates,
                       Rochester, New York.

October 1984           Differential Intellectual Sequelae of Right Hemisphere
                       CVA in Left vs. Right-Handed Patients. The National
                       Academy of Neuropsychologists Annual Meeting, San
                       Diego, California.

March 1984             Neuropsychological Aspects of Head Trauma, SUN
                       Home Health Agency, Part II, Sunbury, Pennsylvania.

January 1984           Neuropsychological Aspects of Head Trauma, SUN
                       Home Health Agency, Part I, Sunbury, Pennsylvania.

June 1983              Neuropsychology Inservice, Department of
                       Nursing, Williamsport Hospital, Williamsport,
                       Pennsylvania.

May 1983               Learning Disabilities and Neuropsychological
                       Assessment, Office of Vocational Rehabilitation,
                       Williamsport, Pennsylvania.

November 1982          Sports Psychology Winter Workshop, The Department of
                       Sports Medicine, Williamsport Hospital, Williamsport,
                       Pennsylvania.

March 1982            Psychological Aspects of Asthma, The Central
                      Pennsylvania Lung and Health Service Association,
                      Williamsport, Pennsylvania.

February 1982          Coping with the Cancer Patient, Department of
                       Hematology/Oncology, Williamsport Hospital,
                       Williamsport, Pennsylvania.


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BOARDS AND COMMITTEES:

     – Present
2007 —                 National Alumni Board of Directors, Florida State
                       University Alumni Association, Tallahassee, Florida.

     – Present
2003 —                 Medical Advisor, National Brain and Spinal Cord Injury
                       Prevention Program, Think First Program, Wilkes-Barre,
                       Pennsylvania.

     – 2002
2001 —                 Examiner and Site Coordinator for Standardization
                       Sample of the Reynolds Intellectual Assessment Scales
                       (RIAS), Psychological Assessment Resources (PAR),
                       Lutz, Florida.

     – 2005
2001 —                 Manuscript Reviewer, Rehabilitation Psychology,
                       Washington, D.C.

     – 2005
2000 —                 Member, Clinical Practitioner Task Force: National
                       Academy of Neuropsychology, Denver, Colorado.

     – 2002
1999 —                 Board Member, Coalition of Clinical Practitioners in
                       Neuropsychology, Tucson, Arizona.

     – 2000
1999 —                 President, Reitan Society, Tucson, Arizona.

1998 - Present         Editorial Board, Journal of Cognitive Rehabilitation,
                       Indianapolis, Indiana.

1997 - 2006            Editorial Board, Journal of Forensic Neuropsychology,
                       Dallas, Texas.

1996 - Present         New Jersey Board of Psychological Examiners
                       (Examiner; Neuropsychology) Newark, New Jersey.

1996 - Present         Editorial Board, The Professional Neuropsychologist.
                       Bethesda, Maryland.

     – 1997
1996 —1997             APA Continuing Education Committee, Marywood


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                       University, Scranton, Pennsylvania.

1996 - 1998            Professional Affairs Committee, National Academy of
                       Neuropsychology, Aurora, Colorado.

1995 - 1998            Vice-President, Reitan Society, Danville, Pennsylvania.

     – 2007
1995 —                 President, American College of Professional
                       Neuropsychology, White River Junction, Vermont.

1994 - 1997            Chairperson, Public Relations Committee, National
                       Academy of Neuropsychology, Aurora, Colorado.

1994 - Present         Executive Director, American Board of Professional
                       Neuropsychology, White River Junction, Vermont.

1993 - 2006            Consulting Editor, Archives of Clinical Neuropsychology
                       College Station, Texas.

1993 - 1995            Co-Chairperson, Reitan Society, Danville, Pennsylvania.

1993 - 1997            Program Committee, National Academy of
                       Neuropsychology, Aurora, Colorado.

1993 - 1994            Coordinator, Professional Lecture Series, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

     – 2000
1992 —                 Editorial Board, Allied Services, Scranton, Pennsylvania.

1992 - 1993            Reitan Society Steering Committee, Danville,
                       Pennsylvania.

1992 - 1998            Physicians Health Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1992 - 2006            Commission on Accreditation of Rehabilitation Facilities
                       (CARF), Surveyor, Tucson, Arizona.



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1991 - Present         American Board of Professional Neuropsychology
                       (Examiner) White River Junction, Vermont.

1989 - 1994            Medical Advisory Council, The National Brain Injury
                       Research Foundation, Washington, D.C.

1989 - 1994            Editorial Board, (Associate Editor), The Journal of Head
                       Injury, Washington, D.C.

1989 - 2007            Research Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1987 - Present         Medical Records Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - Present         Brain Injury Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - 2007            Quality Assurance Committee, The John Heinz Institute
                       of Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - 2008            Medical Staff Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1987 - 1988            Advisory Board Member, NHIF Northeast Region,
                       Wilkes-Barre, Pennsylvania.

1986 - 1987            Patient/Family Education Committee, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

1985 - 1986            Board Member, Neurorehab Associates, Inc., Rochester,
                       New York.

1985 - 1986            Board Member, NHIF Eastern Region, Rochester,
                       New York.

1984 - 1986            Board Member, NHIF Eastern Region, Williamsport,
                       Pennsylvania.


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1983 - 1985              Employee Health, Fitness and Recreation Program,
                         Williamsport Hospital, Williamsport, Pennsylvania.

1982 - 1985              Board Member, Counseling Clinic, United Methodist
                         Home for Children, Mansfield, Pennsylvania.

1981 - 1985              Behavioral Science Committee, Williamsport Hospital,
                         Williamsport, Pennsylvania.


                  LICENSURE:
CERTIFICATION AND LICENSURE:

                          American Board of Forensic Examiners,
                               Diplomate (1303) (Neuropsychology)
                          American Board of Professional Disability Consultants,
                               Diplomate (P-132)
                          American Board of Professional Neuropsychology,
                               Diplomate (232)
                          American Board of Professional Neuropsychology,
                               Added Qualifications in Rehabilitation (112) and
                               Forensics (127)
                         ImPACT Consultant, Sports Concussion Management
                         New Jersey State Board of Psychological Examiners
                               (SI02529)




AWARDS AND HONORS:

              Healthcare Hero Award, Times Leader, 2010
              Distinguished Neuropsychologist Award, American Board of
                    Professional Neuropsychology, 2003
              Ad-Hoc Member on Rehabilitation, Hospital Association of
                    Pennsylvania, 1999.
              Charter Member, Coalition of Clinical Practitioners in
                    Neuropsychology, 1999.
                                              – 2000.
              President, Reitan Society, 1998 —
              Honorary Professorship, Trnava University, 1998.


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             Charter Member, Reitan Society, 1997.
             Diplomate, American Board of Forensic Examiners, 1995.
             Distinguished Alumnus Award in Medicine, St. Francis College, 1995.
             Fellow, American College of Professional Neuropsychology, 1995.
             Fellow, National Academy of Neuropsychology, 1994.
             Diplomate, American Board of Professional Disability Consultants,
                   1993.
             Diplomate, American Board of Professional Neuropsychology, 1991.
             Fellow, Pennsylvania Psychological Association, 1990.
             Graduate Assistantship, Florida State University, 1979 - 1981.
             Rho Chi Sigma, Rehabilitation Counseling Services Honor Society,
                   1979.
             Rehabilitation Services Administration Traineeship Award,
                   1976 - 1978.


             MEMBERSHIPS::
PROFESSIONAL MEMBERSHIPS

             American Board of Forensic Examiners (Diplomate)
             American Board of Professional Neuropsychology (Diplomate)
             American College of Forensic Examiners
             American College of Professional Neuropsychology (Fellow)
             American Psychological Association; (1, 22, 40)
             Brain Injury Association
             Coalition of Neuropsychology (Charter Member)
             International Neuropsychological Society
             National Academy of Neuropsychology (Fellow)
             National Brain Injury Research Foundation
             New Jersey Neuropsychological Society
             Reitan Society (President, Vice President)
             Society for Cognitive Rehabilitation
             Susquehanna Neuropsychology Group (Past President)
             National Brain and Spinal Cord Injury Prevention Program; Think
             First Program (Medical Advisor)

RESEARCH/PUBLICATIONS:

             Raymond, M.J. (in press). Neuropsychological performance in a
                 Patient following resection of a vestibular schwannoma.


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                   Applied Neuropsychology (abstract).

             Raymond, M.J. (2010). Neuropsychological consequences of
                 Moyamoya Disease: A clinical case study. Archives of
                 Clinical Neuropsychology, 25, 6 (abstract).


             Raymond, M.J. (2010). Anoxic encephalopathy following
                 cardiac arrest. Applied Neuropsychology, 17, 3 (abstract).

             Bennett, T.L. & Raymond, M.J. (2010). Neuropsychological
                  assessment in disability determination, fitness for duty and
                  rehabilitation planning. In A.M. Horton & L.C. Hartlage (Eds).
                                                                 nd
                  Handbook of Forensic Neuropsychology, 22nd        edition, New
                  York, Springer.

             Sewick, B. & Raymond, M.J. (2009). Visual perceptual
                  symptoms associated with right hemisphere pathology do not
                  affect performance on the Test of Memory Malingering
                  (TOMM). Applied Neuropsychology, 16, 4 (abstract).

             Raymond, M.J. (2008). Neuropsychological consequences of
                 autosomal dominant cerebellar atrophy: a clinical study.
                 Archives of Clinical Neuropsychology, 23, 6 (abstract).

             Bennett, T.L. & Raymond, M.J. (2008). The neuropsychology
                  of traumatic brain injury. In A.M. Horton, D. Wedding & J.
                  Webster (Eds.). The Neuropsychology Handbook, Volume 3,
                  New York, Springer.

             Raymond, M.J. (2007). Work-related mild traumatic brain injury:
                                                         Worker’s First
                 forensic neuropsychological assessment. Worker's   First
                 Watch, Fall.

             Raymond, M.J. (2007). Cumulative effects of multiple concussions: a
                 neuropsychological case study. Archives of Clinical
                 Neuropsychology, 22, 7 (abstract).

             Raymond, M.J. (2007). Playball: not so fast my friend; a sports
                 concussion case study. ImPACT Newsletter, Spring.

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             Raymond, M.J. (2006). Neuropsychological sequela in a patient with
                 a tumefactive demyelinating lesion. Archives of Clinical
                 Neuropsychology, 21, 6 (abstract).


             Raymond, M.J. & Sewick, B.G. (2005). Test of Memory Malingering
                 (TOMM) performance in persons with right hemispheric lesions.
                 Archives of Clinical Neuropsychology, 20, 7 (abstract).

             Raymond, M.J. (2005). Neuropsychological profile of a patient with a
                 CSF assay
                 CSF  assay suggestive
                             suggestive of
                                        of Alzheimer's
                                           Alzheimer’s Disease.
                                                       Disease. Applied
                 Neuropsychology, 12, 4 (abstract).

             Raymond, M.J. (2004). Neuropsychological findings in a patient with
                 HELLP syndrome. Archives of Clinical Neuropsychology,
                 19, 7 (abstract).

             Raymond, M.J. (2003). Forensic neuropsychological assessment in
                 cases of mild traumatic brain injury. Workers First Watch, 3,
                 3.

             Raymond, M. J. (2003). Left temporal parietal infarct secondary to
                 Idiopathic Thrombocytopenia Purpura: A neuropsychological
                 case study. Archives of Clinical Neuropsychology, 18, 8
                 (abstract).

             Bennett, T.L. & Raymond, M.J. (2003). Utilizing
                  neuropsychological testing in disability determination and
                  rehabilitation planning. In A. M. Horton & L.C. Hartlage
                  (Eds.), Handbook of Forensic Neuropsychology, New York,
                  Springer.

             Raymond, M. J. (2003). Neuropsychological features of Von
                 Hippel-Lindau disease. New Jersey Neuropsychological
                 Society Newsletter, Winter/Spring.

             Raymond, M. J. (2002). Cognitive and behavioral symptoms in a
                 case of Sjogren syndrome. Journal of Cognitive


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                   Rehabilitation, Fall.

             Raymond, M. J. (2002). Neuropsychological performance in a case of
                 Von Hippel-Lindau disease. Archives of Clinical
                 Neuropsychology, 17, 8 (abstract).

             Raymond, M.J. (2001). Neuropsychological manifestations in a
                 case of Sjogren syndrome. Archives of Clinical
                 Neuropsychology, 16, 8 (abstract).

             Raymond, M.J. (2000). Central Neurocytoma: serial
                 neuropsychological findings. Archives of Clinical
                 Neuropsychology, 15, 8 (abstract).

             Raymond, M. J. (1999). Symptom exaggeration and mild traumatic
                 brain injury: An unbelievable case. Reitan Society Bulletin, 5
                 (abstract).

             Raymond, M. J. (1999). Neurobehavioral sequelae of immunotherapy
                 anaphylaxis. Archives of Clinical Neuropsychology, 14, 8
                 (abstract).

             Raymond, M.J., Bewick, K.C., Bennett, T.L., Malia, K.B. (1999).
                 A comprehensive functional approach to brain injury
                 rehabilitation. Brain Injury Source, Fall.

             Raymond, M.J., Castellino, R.M. (1999). The role of the clinical
                 neuropsychologist in the assessment and treatment of
                 rehabilitation patients. Special issue: Rehabilitation. Journal
                 of Health Management and Public Health, 4, 3.

             Raymond, M.J., Bewick, K.C., Kennedy, A. & Duffy, T.F. (1999).
                 A model program for brain injury rehabilitation. Special issue:
                 Rehabilitation. Journal of Health Management and Public
                 Health, 4, 3.

             Raymond, M.J. & Bennett, T.L. (1999). Introduction and overview.
                 In M.J. Raymond, T.L. Bennett, L.C. Hartlage & C.M.
                                Mild Traumatic
                 Cullum (Eds.), Mild  Traumatic Brain   Injury: A
                                                  Brain Injury:  A Clinician’s
                                                                   Clinician's

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                   Guide, Austin, Texas: Pro-Ed.

             Bennett, T.L. & Raymond, M.J. (1999). Psychotherapeutic
                  interventions for individuals with mild traumatic brain injury.
                  In M.J. Raymond, T.L. Bennett, L.C. Hartlage &

                   C.M. Cullum (Eds.), Mild Traumatic Brian Injury: A
                   Clinician’s Guide,
                   Clinician's Guide, Austin, Texas: Pro-Ed.

             Raymond, M.J., Bennett, T.L., Hartlage, L.C., & Cullum, C.M.
                 (1999). Mild
                         Mild Traumatic     Brain Injury:
                               Traumatic Brain     Injury: AA Clinician's
                                                              Clinician’s
                 Guide, Austin, Texas: Pro-Ed.

             Raymond, M.J. (1998). Viral encephalitis; A case study based on
                 serial HRNB performance. Reitan Society Bulletin, 4
                 (abstract).

             Malia, K.B., Raymond, M.J., Bewick, K.C., & Bennett, T.L.
                   (1998). Information processing deficits and brain
                   injury: Preliminary results, Neuro Rehabilitation, 11, 3.

             Raymond, M.J. (1998). Post concussion: An often neglected
                 syndrome. Northeast Rehab. September/October.

             Bennett, T.L., Raymond, M.J., Malia, K.B., Bewick, K.C., Linton,
                  B.S. (1998). Rehabilitation of attention and concentration
                  deficits following brain injury. Journal of Cognitive
                  Rehabilitation, March/April.

             Raymond, M.J. (1998). Neuropsychological dysfunction in a mixed
                 dominant patient following a left temporoparietal abscess.
                 Archives of Clinical Neuropsychology, 13, 1 (abstract).

             Raymond, M.J. (1997). Neuropsychological dysfunction in a
                 patient with multiple meningiomas. Reitan Society Bulletin, 3
                 (abstract).

             Bennett, T.L. & Raymond, M.J. (1997). Mild brain injury: An
                  overview. Applied Neuropsychology, 4, 1.

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             Bennett, T.L. & Raymond, M.J. (1997). Emotional
                  consequences of and psychotherapy for individuals
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                       cardiovascular abnormalities: A comparison case study.
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                 females. Unpublished Master's Scholarly Paper, University of
                 Scranton.


PROFESSIONAL GOALS AND INTERESTS:

             Clinical: Brain injury rehabilitation, neuropsychological assessment
                       and evaluation, forensic neuropsychology, sports
                       concussion management and cognitive remediation.

           Teaching: Neuropsychology, rehabilitation psychology,
                     neuropsychological assessment, forensic neuropsychology,
                     and supervision and training of students in research and
                     clinical activities.

           Research: Diagnosis and treatment of central nervous system
                     disorders and neuropsychological correlates of behavior.

     Administrative: Program evaluation and development, quality

Updated 5.5.2014                        39
                                                                         Liberty002551
                                                                         Liberty002551
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                      assurance, peer review and neurorehabilitation
                      consultation.

REFERENCES:

      References furnished upon request.




Updated 5.5.2014                       40
                                                                       Liberty002552
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          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 277 of 501
Liberty Life
Liberty Life Assurance
              Assurance Company
                        Company of
                                of Boston
                                   Boston
Group Benefits
Group Benefits Disability
                Disability Claims
                           Claims
P.O. Box
P.O. Box 7213
         7213
London, KY
London,    40742-7213
        KY 40742-7213




WINONA
WINONA ZIMBERLIN
       ZIMBERLIN
ATTORNEY AT
ATTORNEY AT LAW
            LAW
267 MAIN
267      STREET
    MAIN STREET
MANCHESTER
MANCHESTER CT 06042
           CT 06042




                                                                        Liberty002553
                                                                        Liberty002553
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 278 of 501


                                                                Liberty Life
                                                                Liberty Life Assurance
                                                                             Assurance Company
                                                                                        Company ofof Boston
                                                                                                     Boston
                                                                Group
                                                                Group Benefits  Disability Claims
                                                                       Benefits Disability Claims
             Liberty-                                           P.O. Box
                                                                P.O.      7213
                                                                     Box 7213
                                                                London, KY
                                                                London,  KY 40742-7213
                                                                             40742-7213
             MutuaL                                             Phone No.:
                                                                Phone  No.: (888)
                                                                Secure Fax
                                                                Secure
                                                                            (888) 437-7611
                                                                        Fax No.:
                                                                                  437-7611
                                                                            No.: (603) 334-5708
                                                                                 (603) 334-5708
              INSURANCE



March 22,
March 22, 2016
          2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim    REDACTED
             #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

As per
As  per your
        your March
              March 17,  2016 request,
                     17, 2016          enclosed please
                              request, enclosed   please find
                                                         find aa complete
                                                                 complete copy
                                                                          copy of
                                                                               of Ms.
                                                                                  Ms. Spears disability
                                                                                      Spears disability
claim file
claim  file since
            since remanded
                  remanded by
                            by the
                               the court
                                   court for this appeal
                                         for this appeal review.
                                                          review.
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax  No.: (603) 334-5708
Secure Fax No.: (603) 334-5708




                                                1 of 11
                                                1 of                                            Liberty002554
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                                                          ATTY WINONA ZIMBERLN
                                                          ATTY                                              PAGE         01/01
                                                                                                                         1:11
03/17/2015
03/17/2016    Case
             14:29     8502474194
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                                          Zi1nberlin Law LLC
                                          Zimberlin
                                                          I .Manchester, CT 06042
                                          267 Main Street !Manchester,
                                          (p)
                                          (p) 860.783.5999  I (1) 860.783.5996
                                              860.783.59991(f)
                                          www.zimbcrlinlaw.com
                                          www2imberlinlawcom

       Winona W. Zimberlin                                                                  By r:ippointtticn1: only
                                                                                            Hy appointment      only:

       Russell D. Zimberlin                                                                 l·hlr1 Cord
                                                                                            HO     fhrd Offiee
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                                                                                            1
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                                                                                               Conb'rfc.5s Street
                                                                                            Hartford.
                                                                                            H11rtf0rd. CT 0611,10611 1
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                                                 March 17,
                                                        7 2016
                                                           016

       Facsimile: 1-603-334-5708
       Nancy Winterer
       Appeals Review Consultant
       Liberty Life Assurance Company of Boston
                                         Roston
       PO Box 7213
       London, KY 40742-7611
                    40742- 7611

       Dear Ms. Wi.nterer:
                Winterer:

              RE::
              RE:    Haley Spears
                     Flaky
              DOB: REDACTED
              Your clairri#:
                   claim#: 250039

       I am requesting a complete copy of the Liberty Mutual claim file on this claimant,
                                                                                claimant including, but.
                                                                                                    bu1
       not limited to, peer reviews from the "four independent peer reviewers" referred to in your letter
       of March 16, 2016. Documents which have already been provided to me in the administrative
       record filed with the court need not be provided again.

       In regard to your request to the eight doctors identified in your March 16, 2016 letter, is Liberty
       willing to pay these doctors for their time in responding to your request?

       Thank you.



                                                                    Very truly yours,


                                                                             '
                                                                        non W. Zimberlin
                                                                       inona.
       WWZ:




                                                                                                   Liberty002555
                                                                                                   Liberty002555
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 280 of 501




n0062751
_____
From:            Sheila Bearden
                 Sheila Bearden
Sent:            Wednesday, March
                 Wednesday,  March 16, 2016 4:03:13 PM
                                   16, 2016
To:              Winterer, Nancy
Subject:         RE: Peer Addendum Request Claim No: REDACTEDWeb ID: 577726

   Nancy,
Hi Nancy,



   week’s been going well so far,
My week's                    far, thanks
                                  thanks for
                                         for asking!
                                             asking! Hope
                                                     Hope the
                                                          the same
                                                              same for
                                                                   for you?
                                                                       you?



                    We’ll get
This email will do. We'll get the
                              the addendum
                                  addendum opened
                                           opened and
                                                  and sent
                                                      sent to
                                                           to Dr
                                                              Dr Raymond;
                                                                 Raymond; due
                                                                          due date
                                                                              date
     be 3/30.
will be 3/30.



Please let
Please let me
           me know should you
              know should you require
                              require any
                                      any further
                                          further assistance
                                                  assistance at
                                                             at all,
                                                                all, thank
                                                                     thank you.
                                                                           you.



Sheila 0.
Sheila O. Bearden
          Bearden

Client Services
Client Services Coordinator Ill
                            III



Behavioral Medical Interventions (BMI)

6600 France
6600 France Ave.
            Ave. S.,
                 S., Suite
                     Suite 245
                           245

       MN 55435
Edina, MN 55435

Direct: 952-641-0635
Direct: 952-641-0635

Fax: 952-927-7147
Fax:

Sheila.bearden@behavioralmedical.com
Sheila.beardenObehavioralmedical.com

www.behavioralmedical.com
www.oenavioraimealcai.com

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                                                                              Liberty002556
                                                                              Li berty002556
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                                                                           use of the
individual and
individual and entity
                entity to
                       to whom
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                                                      disclosure under
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Any unauthorized    review, use,
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                                                  distribution of
                                                               of this
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including any attachment, is prohibited. If you are not the intended recipient, please
including  any attachment,   is prohibited. If you  are  not the intended recipient, please
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advise  the sender
             sender by  reply email,
                    by reply  email, or
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                                        forward to
                                                 to Office@BehavioralMedical.com,
                                                    Office@BehavioralMedical.com, and   and
destroy all
destroy  all copies
             copies of
                    of the
                       the original
                           original message.
                                    message.



From: Winterer, Nancy [mailto:NANCY.WINTERER@LibertyMutual.com]
                      [mailto:NANCY.WINTERER@LibertyMutual.com]
Sent: Wednesday,
Sent: Wednesday, March 16, 2016 12:25 PM
To: Sheila
To: Sheila Bearden
           Bearden <sheila.bearden@behavioralmedical.com>
                   <sheila.bearden@behavioralmedical.com>
Subject: Peer Addendum   Request Claim
Subject: Peer Addendum Request   Claim No:
                                       No: REDACTEDWeb ID: 577726



      Shelia,
Hello Shelia,

II need
   need to
        to get
           get an
               an addendum
                  addendum from
                           from Dr.
                                Dr. Raymond
                                    Raymond to
                                            to his
                                               his part
                                                   part of the review on H.S.

The questions
The questions are:
              are:



(1) Please
(1) Please explain
            explain the
                    the reason
                        reason you
                               you conclude
                                   conclude the
                                            the data
                                                data provided for this
                                                     provided for this review
                                                                       review was
                                                                              was
“mostly obsolete."
"mostly obsolete.”

                                                     “mostly obsolete"
(2) Please explain how the data you described as "mostly      obsolete” reflects on the
clmnt’s impairments,
clmnt's impairments, cause
                     cause of
                            of any
                               any impairments,
                                   impairments, severity
                                                 severity of
                                                           of any
                                                              any impairments,
                                                                  impairments, duration  of
                                                                                duration of
any impairments, and
                 and functional
                      functional capacity
                                 capacity during
                                          during the
                                                 the periods
                                                      periods 9/27/2008   through
                                                               9/27/2008 through
3/27/2009, and 3/28/2009
3/27/2009, and            through 3/31/2015.
               3/28/2009 through   3/31/2015.

(3) Please
(3)  Please explain
             explain how
                     how the
                          the "obsolete
                              “obsolete (6
                                         (6 years
                                            years old)"
                                                  old)” results
                                                        results of
                                                                of Dr.
                                                                   Dr. Rissenberg's
                                                                       Rissenberg’s July
                                                                                    July
2010 neuropsychological
2010 neuropsychological evaluation
                           evaluation reflect
                                      reflect on
                                              on the
                                                 the clmnt's
                                                     clmnt’s impairments,
                                                             impairments, cause
                                                                            cause of
                                                                                  of any
                                                                                     any
impairments, severity of any impairments, duration of any impairments,
                                                             impairments, and
                                                                            and functional
                                                                                functional
capacity during
capacity during the
                the periods
                    periods 9/27/2008   through 3/27/2009,
                             9/27/2008 through               and 3/28/2009
                                                 3/27/2009, and              through
                                                                   3/28/2009 through
3/31/2015.



Please let
Please let me
           me know  if II need
              know if     need to
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                   due date
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                                                                                   Liberty002557
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     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 282 of 501




                   Hope you
Thank you, Shelia! Hope you are
                            are having
                                having a
                                       a good
                                         good week.
                                              week.



Nancy
Nancy



Nancy Winterer

       Review Consultant
Appeal Review Consultant

Group Benefits/Liberty
Group Benefits/Liberty Life
                       Life Assurance
                            Assurance Company
                                      Company of
                                              of Boston
                                                 Boston

100 Liberty
100 Liberty Way
            Way Mail
                  Mail Stop
                       Stop 02G  Dover, NH
                            02G Dover,  NH 03820|
                                            038201 Phone: 1-888-437-7611 Ext.
       SDN: 8-731-64011Secure
16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

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This e-mail,  and any
                   any attachments
                        attachments thereto,
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intended recipient
intended   recipient of
                     of this
                        this e-mail,
                             e-mail, you
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distribution or
distribution or copying
                 copying of
                          of this
                             this e-mail,
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                                                                    thereto, is
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prohibited.
prohibited. IfIf you
                 you have
                     have received    this e-mail
                           received this   e-mail in error, please notify me via e-mail and via
telephone at
telephone   at 603-750-7550,
               603-750-7550, ext.ext. 16401
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                                                   permanently delete     the original and any
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copy  of any
         any e-mail
              e-mail and
                      and any
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                                printout thereof  or attachments
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      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 283 of 501




n0062751
_____
From:                            E-mail Gateway
                       RightFax E-mail  Gateway
Sent:                  Wednesday, March
                       Wednesday,   March 16,  2016 1:00:16 PM
                                           16, 2016
To:                    Winterer, Nancy
Subject:               Your fax has been successfully sent to Bernard Raxlen, MD at 516-336-8440.

Your fax
Your   fax has
            has been
                  been successfully
                         successfully sentsent toto Bernard
                                                    Bernard Raxlen,
                                                             Raxlen, MD
                                                                     MD at
                                                                        at 516-336-8440.
                                                                           516-336-8440.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:46:54 PM
Sent to
Sent   to 516-336-8440
          516-336-8440 with   with remote ID ""
Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
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n0062751
_____
From:                            E-mail Gateway
                       RightFax E-mail  Gateway
Sent:                  Wednesday, March
                       Wednesday,   March 16,  2016 1:03:49 PM
                                           16, 2016
To:                    Winterer, Nancy
Subject:               Your fax has been successfully sent to Kristin Giannini, MD at 860-979-0056.

Your fax
Your   fax has
            has been
                  been successfully
                         successfully sentsent toto Kristin
                                                    Kristin Giannini,
                                                             Giannini, MD at 860-979-0056.
                                                                       MD at 860-979-0056.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:50:07 PM
Sent to
Sent   to 860-979-0056
          860-979-0056 with   with remote
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Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
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      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 285 of 501




n0062751
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From:                           E-mail Gateway
                      RightFax E-mail  Gateway
Sent:                 Wednesday, March
                      Wednesday,   March 16,  2016 1:05:28 PM
                                          16, 2016
To:                   Winterer, Nancy
Subject:              Your fax has been successfully sent to Joachim Baehring, MD at 203-737-2591.

Your fax
Your   fax has
            has been
                  been successfully
                         successfully sentsent toto Joachim  Baehring, MD
                                                    Joachim Baehring,  MD at 203-737-2591.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:48:30 PM
Sent to
Sent   to 203-737-2591
          203-737-2591 with   with remote
                                    remote ID ID "203 737 2591"
Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
                          Successful SendSend
Page record: 1 - 23
Elapsed time: 14:43 on channel 28




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      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 286 of 501




n0062751
_____
From:                            E-mail Gateway
                       RightFax E-mail  Gateway
Sent:                  Wednesday, March
                       Wednesday,   March 16,
                                           16, 2016 1:05:32 PM
To:                    Winterer, Nancy
Subject:               Your fax has been successfully sent to Barbara Kage, MD at 860-646-7999.

Your fax
Your   fax has
            has been
                  been successfully
                         successfully sentsent toto Barbara
                                                    Barbara Kage,
                                                             Kage, MD
                                                                   MD at
                                                                      at 860-646-7999.
                                                                         860-646-7999.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:51:52 PM
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Sent   to 860-646-7999
          860-646-7999 with   with remote ID "FAX                  Il
                                                                       "
Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
                          Successful SendSend
Page record: 1 - 23
Elapsed time: 12:50 on channel 29
Elapsed




                                                                                           Liberty002562
                                                                                           Li berty002562
      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 287 of 501




n0062751
_____
From:                            E-mail Gateway
                       RightFax E-mail  Gateway
Sent:                  Wednesday, March
                       Wednesday,   March 16,  2016 1:23:36 PM
                                           16, 2016
To:                    Winterer, Nancy
Subject:               Your fax has been successfully sent to Lauren Gouin Young, ND at 860-812-2025.

Your fax
Your   fax has
            has been     successfully sent
                  been successfully       sent toto Lauren
                                                     Lauren Gouin     Young, ND
                                                              Gouin Young,   ND at
                                                                                at 860-812-2025.
                                                                                   860-812-2025.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:54:45 PM
Sent to
Sent   to 860-812-2025
          860-812-2025 with   with remote ID ""
Result: (0/339;4/11)
Result:   (0/339;4/11) Remote
                           Remote end  end was
                                            was ringing
                                                   ringing but
                                                             but did not answer
                                                                 did not answer
Page record: NONE SENT
Elapsed time:
Elapsed     time: 00:41 on channel 0
------------------------------------------------------------
Time:
Time: 3/16/2016 1:09:24 PM
Sent to
Sent   to 860-812-2025
          860-812-2025 with   with remote ID ""
Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
                          Successful SendSend
Page record:
Page    record: 1 - 23
Elapsed time: 13:23 on channel 19
Elapsed




                                                                                                   Liberty002563
                                                                                                   Liberty002563
      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 288 of 501




n0062751
_____
From:                            E-mail Gateway
                       RightFax E-mail  Gateway
Sent:                  Wednesday, March
                       Wednesday,   March 16,
                                           16, 2016 1:32:25 PM
To:                    Winterer, Nancy
Subject:               Your fax has been successfully sent to Dario Zagar, MD at 203-333-3937.

Your fax
Your   fax has
            has been
                  been successfully
                         successfully sentsent toto Dario
                                                    Dario Zagar,
                                                             Zagar, MD
                                                                    MD at
                                                                       at 203-333-3937.
                                                                          203-333-3937.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:55:46 PM
Sent to
Sent   to 203-333-3937
          203-333-3937 with   with remote
                                    remote ID ID ""
Result: (3/301;0/0)
Result:   (3/301;0/0) BusyBusy signal
                                 signal detected
                                          detected
Page record: NONE SENT
Elapsed time:
Elapsed     time: 00:25
                   00:25 on channel 13
------------------------------------------------------------
Time:
Time: 3/16/2016 1:14:39 PM
Sent to
Sent   to 203-333-3937
          203-333-3937 with   with remote
                                    remote ID ID ""
Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
                          Successful SendSend
Page record:
Page    record: 1 - 23
Elapsed time: 17:13 on channel 18




                                                                                            Liberty002564
                                                                                            Li berty002564
      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 289 of 501




n0062751
_____
From:                            E-mail Gateway
                       RightFax E-mail  Gateway
Sent:                  Wednesday, March
                       Wednesday,   March 16,  2016 1:32:30 PM
                                           16, 2016
To:                    Winterer, Nancy
Subject:               Your fax has been successfully sent to Zane Saul, MD at 203-383-4499.

Your fax
Your   fax has
            has been     successfully sent
                  been successfully       sent toto Zane
                                                    Zane Saul,
                                                            Saul, MD
                                                                  MD at
                                                                     at 203-383-4499.
                                                                        203-383-4499.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:53:09 PM
Sent to
Sent   to 203-383-4499
          203-383-4499 with   with remote
                                    remote ID ""
Result: (3/301;0/0)
Result:   (3/301;0/0) BusyBusy signal
                                 signal detected
                                          detected
Page record: NONE SENT
Elapsed time:
Elapsed     time: 00:17 on channel 19
------------------------------------------------------------
Time: 3/16/2016 1:08:13 PM
Sent to
Sent   to 203-383-4499
          203-383-4499 with   with remote
                                    remote ID ""
Result: (0/339;0/0)
Result:   (0/339;0/0) Successful
                         Successful Send Send
Page record:
Page    record: 1 - 23
Elapsed time:
Elapsed     time: 23:33 on channel 4




                                                                                               Liberty002565
                                                                                               Li berty002565
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 290 of 501




n0062751
_____
From:                              E-mail Gateway
                         RightFax E-mail  Gateway
Sent:                    Wednesday, March
                         Wednesday,   March 16,  2016 1:50:39
                                             16, 2016 1:50:39 PM
To:                      Winterer, Nancy
Subject:                 Fax to Marian Rissenberg, PhD abandoned after 5 attempts.

                   Rissenberg, PhD
Fax to Marian Rissenberg,           PhD abandoned
                                           abandoned after after 5
                                                                 5 attempts.
                                                                   attempts.
------------------------------------------------------------
From: Winterer, Nancy Nancy
------------------------------------------------------------
Time: 3/16/2016 12:57:39 PM
Sent to
Sent   to 914-232-6245
          914-232-6245 with   with remote ID ""
Result: (0/316;0/0)
Result:   (0/316;0/0) Answer
                          Answer (probably
                                    (probably human)
                                                  human) detected
                                                             detected
Page record: NONE SENT
Elapsed time:
Elapsed     time: 00:39
                   00:39 onon channel
                                channel 8  8
------------------------------------------------------------
Time:
Time: 3/16/2016 1:15:48 PM
Sent to
Sent   to 914-232-6245
          914-232-6245 with   with remote ID ""
Result: (0/316;0/0)
Result:   (0/316;0/0) Answer
                          Answer (probably
                                    (probably human)
                                                  human) detected
                                                             detected
Page record:
Page    record: NONE SENT
Elapsed time:
Elapsed     time: 00:39
                   00:39 onon channel 15
------------------------------------------------------------
Time: 3/16/2016 1:26:08 PM
Sent to
Sent   to 914-232-6245
          914-232-6245 with   with remote ID ""
Result: (0/316;0/0) Answer (probably human) detected
Page record: NONE SENT
Elapsed time:
Elapsed     time: 00:39
                   00:39 on channel 14
------------------------------------------------------------
Time: 3/16/2016 1:36:49 PM
Sent to
Sent   to 914-232-6245
          914-232-6245 with   with remote ID ""
Result: (0/316;0/0)
Result:   (0/316;0/0) Answer
                          Answer (probably
                                    (probably human)
                                                  human) detected
                                                             detected
Page record:
Page    record: NONE SENT
Elapsed time:
Elapsed     time: 00:39
                   00:39 on channel 11
------------------------------------------------------------
Time: 3/16/2016 1:46:29 PM
Sent to
Sent   to 914-232-6245
          914-232-6245 with   with remote ID ""
Result: (0/316;0/0) Answer (probably human) detected
Page record: NONE SENT
Elapsed time:
Elapsed     time: 00:02
                   00:02 on channel 15




                                                                                     Liberty002566
                                                                                     Li berty002566
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 291 of 501

                                                               Group Benefits
                                                               Group  Benefits Disability
                                                                               Disability Claims
                                                                                          Claims
                                                               Liberty Life
                                                                       Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
         Liberty'                                              Liberty
                                                                    Box 7213
                                                               P.O. Box  7213
         Mutual.                                               London, KY 40742-7213
                                                               Phone No.:
                                                                      No.: (888)
                                                                           (888) 437-7611
             INSURANCE
                                                               Secure Fax No.:
                                                               Secure Fax       603-334-5708
                                                                           No.: 603-334-5708


          2016
March 16, 2016


Dario Zagar,
Dario Zagar, MD
Associated Neurologists of
Associated Neurologists of Southern
                           Southern CT

Fax: 203-333-3937
Fax: 203-333-3937

RE:    Long Term Disability
                   Disability Benefits
                              Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number:
       Claim Number: REDACTED

         Zagar:
Dear Dr. Zagar:

         Life Assurance
Liberty Life  Assurance Company
                         Company of of Boston
                                       Boston is
                                              is currently
                                                 currently reviewing
                                                            reviewing aa long
                                                                         long term disability claim
related to
related to your
           your patient,
                patient, Haley
                         Haley Spears.
                               Spears. AA comprehensive multi-disciplinary independent
                                                                               independent
         record review
medical record  review was
                         was recently
                             recently conducted
                                      conducted to
                                                 to assist
                                                    assist in
                                                           in assessing Ms.
                                                                        Ms. Spears'
                                                                            Spears’ disability
claim.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                         we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
    your review
for your  review and
                 and comment.
                     comment. In In the
                                    the event
                                        event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any
                                                                        any of
                                                                            of the
                                                                               the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
medical basis for  your disagreement in writing
               for your                  writing via
                                                   via return
                                                       return fax.       number: 603-334-5708)
                                                              fax. (fax number:   603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time to provide comment, please let us know and we will afford you additional time
additional time to provide comment, please let us know and we will afford you additional time
to respond.
to respond.

      we would
Also, we would like
                like to
                     to schedule a phone consultation
                                         consultation between
                                                      between you
                                                               you and
                                                                    and Dr. Kitei
                                                                             Kitei to
                                                                                   to discuss
                                                                                      discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                      Nancy Winterer
                                            Winterer at
                                                      at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                     schedule the
                                              the phone
                                                  phone consultation
                                                         consultation at
                                                                      at aa mutually
                                                                            mutually agreeable
                                                                                     agreeable
time.
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
        Review Consultant
Appeal Review   Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909


                                                                                                 Liberty002567
                                                                                                 Liberty002567
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 292 of 501

                                                                Group Benefits
                                                                Group  Benefits Disability
                                                                                Disability Claims
                                                                                           Claims
                                                                Liberty Life
                                                                        Life Assurance
                                                                             Assurance Company
                                                                                        Company ofof Boston
         Liberty'                                               Liberty
                                                                     Box 7213
                                                                P.O. Box  7213
         Mutual.                                                London, KY 40742-7213
                                                                Phone No.:
                                                                       No.: (888)
                                                                            (888) 437-7611
             INSURANCE
                                                                Secure Fax No.:
                                                                Secure Fax       603-334-5708
                                                                            No.: 603-334-5708


          2016
March 16, 2016


Zane Saul,
Zane Saul, MD
           MD

     203-383-4499
Fax: 203-383-4499

RE:    Long Term
       Long        Disability Benefits
             Term Disability  Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number: REDACTED
       Claim

         Saul:
Dear Dr. Saul:

         Life Assurance
Liberty Life  Assurance Company
                          Company of of Boston
                                        Boston is
                                               is currently
                                                  currently reviewing
                                                             reviewing aa long
                                                                          long term disability claim
related to your  patient, Haley Spears.
related to your patient, Haley Spears. A A comprehensive
                                           comprehensive     multi-disciplinary
                                                             multi-disciplinary independent
                                                                                independent
         record review
medical record   review was
                          was recently
                              recently conducted
                                       conducted to
                                                  to assist
                                                     assist in
                                                            in assessing Ms.
                                                                         Ms. Spears'
                                                                             Spears’ disability
                this review,
claim. During this   review, Kent Crossley, MD, Infectious
                                                   Infectious Disease,
                                                               Disease, contacted
                                                                        contacted your
                                                                                  your office
                                                                                       office but
                                                                                               but
was unable
was  unable to
             to speak
                speak with
                       with you.
                            you.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                         we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
    your review
for your  review and
                 and comment.
                     comment. In In the
                                    the event
                                        event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any
                                                                        any of
                                                                            of the
                                                                               the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
medical basis for  your disagreement in writing
               for your                  writing via
                                                   via return
                                                       return fax.       number: 603-334-5708)
                                                              fax. (fax number:   603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time to provide comment, please let us know and we will afford you additional time
additional time to provide comment, please let us know and we will afford you additional time
to respond.
to respond.

      we would
Also, we would like
                like to
                     to schedule a phone consultation
                                         consultation between
                                                      between you
                                                               you and
                                                                    and Dr.
                                                                         Dr. Crossley to discuss
                                                                                         discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                      Nancy Winterer
                                            Winterer at
                                                      at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                     schedule the
                                              the phone
                                                  phone consultation
                                                         consultation at
                                                                      at aa mutually
                                                                            mutually agreeable
                                                                                     agreeable
time.
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
        Review Consultant
Appeal Review   Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909


                                                                                                  Liberty002568
                                                                                                  Liberty002588
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                                                               Group Benefits
                                                               Group  Benefits Disability
                                                                               Disability Claims
                                                                                          Claims
                                                               Liberty Life
                                                                       Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
         Liberty'                                              Liberty
                                                                    Box 7213
                                                               P.O. Box  7213
         Mutual.                                               London, KY 40742-7213
                                                               Phone No.:
                                                                      No.: (888)
                                                                           (888) 437-7611
             INSURANCE
                                                               Secure Fax No.:
                                                               Secure Fax       603-334-5708
                                                                           No.: 603-334-5708


          2016
March 16, 2016


Marian Rissenberg,
Marian  Rissenberg, PhD
                    PhD
Center for Neuropsychology
Center for Neuropsychology
             Ave
125 Katonah Ave
              10536
Katonah, NY 10536

Fax: 914-232-6245

RE:    Long Term   Disability Benefits
             Term Disability  Benefits
       Patient Name:
       Patient Name: Haley
                      Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number:
       Claim  Number: REDACTED
                       REDACTED



         Rissenberg:
Dear Dr. Rissenberg:

Liberty Life Assurance Company of Boston
                                       Boston is
                                              is currently
                                                 currently reviewing a long term disability claim
related to
related to your
           your patient,
                patient, Haley
                         Haley Spears.
                               Spears. AA comprehensive multi-disciplinary independent
                                                                              independent
medical record
medical  record review
                review was
                         was recently
                             recently conducted
                                      conducted to
                                                 to assist
                                                    assist in
                                                           in assessing
                                                              assessing Ms.
                                                                        Ms. Spears'
                                                                            Spears’ disability
claim.

               provider for
As a medical provider   for Ms.
                            Ms. Spears,
                                Spears, we
                                        we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
for your review and comment. In thethe event
                                       event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any of the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate
                                 appreciate it
                                            it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical
                                                                            medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
         basis for
medical basis      your disagreement
               for your disagreement in
                                      in writing
                                         writing via
                                                   via return
                                                       return fax. (fax number:
                                                              fax. (fax  number: 603-334-5708)
                                                                                  603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or before March 25, 2016. If you
                                                                     you should
                                                                          should require
                                                                                 require
additional time
additional time to
                to provide
                   provide comment,
                           comment, please
                                    please let
                                           let us
                                               us know
                                                  know and
                                                       and we
                                                           we will
                                                              will afford
                                                                   afford you
                                                                          you additional
                                                                              additional time
                                                                                         time
to respond.
to respond.

Also, we
Also, we would
          would like
                like to
                     to schedule
                        schedule aa phone
                                    phone consultation
                                           consultation between
                                                        between you
                                                                you and
                                                                     and Dr.
                                                                         Dr. Raymond
                                                                              Raymond toto
discuss your
discuss your medical opinion.
                      opinion. Please
                               Please contact
                                       contact Nancy
                                               Nancy Winterer
                                                      Winterer at
                                                               at 1-888-437-7611 Ext.
                                                                                   Ext. 16401  by
                                                                                         16401 by
or before
or before March
          March 25,
                  25, 2016
                      2016 and
                           and we
                                we will
                                    will schedule
                                         schedule the
                                                  the phone
                                                      phone consultation
                                                            consultation at
                                                                         at aa mutually
                                                                               mutually agreeable
                                                                                        agreeable
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in rer
Appeal Review
Appeal  Review Consultant
                Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611
                  437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax  No.: (603) 422-7909
Secure Fax No.: (603) 422-7909
                                                                                                 Liberty002569
                                                                                                 Liberty002569
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 294 of 501

                                                               Group Benefits
                                                               Group  Benefits Disability
                                                                               Disability Claims
                                                                                          Claims
                                                               Liberty Life
                                                                       Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
         Liberty'                                              Liberty
                                                                    Box 7213
                                                               P.O. Box  7213
         Mutual.                                               London, KY 40742-7213
                                                               Phone No.:
                                                                      No.: (888)
                                                                           (888) 437-7611
             INSURANCE
                                                               Secure Fax No.:
                                                               Secure Fax       603-334-5708
                                                                           No.: 603-334-5708


          2016
March 16, 2016


Bernard Raxlen, MD
Lyme Resource
Lyme  Resource Medical

Fax: 516-336-8440
Fax: 516-336-8440

RE:    Long Term Disability
                   Disability Benefits
                              Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number:
       Claim Number: REDACTED

         Raxlen:
Dear Dr. Raxlen:

         Life Assurance
Liberty Life  Assurance Company
                         Company of of Boston
                                       Boston is
                                              is currently
                                                 currently reviewing
                                                            reviewing aa long
                                                                         long term disability claim
related to
related to your
           your patient,
                patient, Haley
                         Haley Spears.
                               Spears. AA comprehensive multi-disciplinary independent
                                                                               independent
         record review
medical record  review was
                         was recently
                             recently conducted
                                      conducted to
                                                 to assist
                                                    assist in assessing Ms.
                                                                        Ms. Spears'
                                                                            Spears’ disability
claim.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                         we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
    your review
for your  review and
                 and comment.
                     comment. In In the
                                    the event
                                        event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any
                                                                        any of
                                                                            of the
                                                                               the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
medical basis for  your disagreement in writing
               for your                  writing via
                                                   via return
                                                       return fax.       number: 603-334-5708)
                                                              fax. (fax number:   603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time to provide comment, please let us know and we will afford you additional time
additional time to provide comment, please let us know and we will afford you additional time
to respond.
to respond.

                like to
Also, we would like  to schedule a phone consultation
                                         consultation between
                                                      between you
                                                               you and Dr.Dr. Crossley
                                                                              Crossley to
                                                                                       to discuss
                                                                                          discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                      Nancy Winterer
                                            Winterer at
                                                      at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                     schedule the
                                              the phone
                                                  phone consultation
                                                         consultation at
                                                                      at aa mutually
                                                                            mutually agreeable
                                                                                     agreeable
time.
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
        Review Consultant
Appeal Review   Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909


                                                                                                 Liberty002570
                                                                                                 Liberty002570
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 295 of 501

                                                               Group Benefits
                                                               Group  Benefits Disability
                                                                               Disability Claims
                                                                                          Claims
                                                               Liberty Life
                                                                       Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
         Liberty'                                              Liberty
                                                                    Box 7213
                                                               P.O. Box  7213
         Mutual.                                               London, KY 40742-7213
                                                               Phone No.:
                                                                      No.: (888)
                                                                           (888) 437-7611
             INSURANCE
                                                               Secure Fax No.:
                                                               Secure Fax       603-334-5708
                                                                           No.: 603-334-5708


          2016
March 16, 2016


Barbara Kage, MD
Barbara
                 Allergy Institute
Rheumatology and Allergy Institute of
                                   of CT

Fax: 860-646-7999
Fax: 860-646-7999

RE:    Long Term Disability
                   Disability Benefits
                              Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number:
       Claim Number: REDACTED

         Kage:
Dear Dr. Kage:

         Life Assurance
Liberty Life  Assurance Company
                         Company of of Boston
                                       Boston is
                                              is currently
                                                 currently reviewing
                                                            reviewing aa long
                                                                         long term disability claim
related to
related to your
           your patient,
                patient, Haley
                         Haley Spears.
                               Spears. AA comprehensive multi-disciplinary independent
                                                                               independent
         record review
medical record  review was
                         was recently
                             recently conducted
                                      conducted to
                                                 to assist
                                                    assist in
                                                           in assessing Ms.
                                                                        Ms. Spears'
                                                                            Spears’ disability
claim.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                         we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
    your review
for your  review and
                 and comment.
                     comment. In In the
                                    the event
                                        event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any
                                                                        any of
                                                                            of the
                                                                               the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
medical basis for  your disagreement in writing
               for your                  writing via
                                                   via return
                                                       return fax.       number: 603-334-5708)
                                                              fax. (fax number:   603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time to provide comment, please let us know and we will afford you additional time
additional time to provide comment, please let us know and we will afford you additional time
to respond.
to respond.

                like to
Also, we would like  to schedule a phone consultation
                                         consultation between
                                                      between you
                                                               you and
                                                                    and Dr.
                                                                         Dr. Cooper
                                                                             Cooper toto discuss
                                                                                         discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                      Nancy Winterer
                                            Winterer at
                                                      at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                     schedule the
                                              the phone
                                                  phone consultation
                                                         consultation at
                                                                      at aa mutually
                                                                            mutually agreeable
                                                                                     agreeable
time.
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
        Review Consultant
Appeal Review   Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909


                                                                                                 Liberty002571
                                                                                                 Liberty002571
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 296 of 501

                                                               Group Benefits
                                                               Group  Benefits Disability
                                                                               Disability Claims
                                                                                          Claims
                                                               Liberty Life
                                                                       Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
         Liberty'                                              Liberty
                                                                    Box 7213
                                                               P.O. Box  7213
         Mutual.                                               London, KY 40742-7213
                                                               Phone No.:
                                                                      No.: (888)
                                                                           (888) 437-7611
             INSURANCE
                                                               Secure Fax No.:
                                                               Secure Fax       603-334-5708
                                                                           No.: 603-334-5708


          2016
March 16, 2016


Lauren Gouin
Lauren Gouin Young,
             Young, ND
                     ND
CT Natural Health Specialists
CT Natural Health Specialists

Fax: 860-812-2025
Fax: 860-812-2025

RE:    Long Term Disability
                   Disability Benefits
                              Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number:
       Claim Number: REDACTED

         Young:
Dear Dr. Young:

         Life Assurance
Liberty Life  Assurance Company
                         Company of of Boston
                                       Boston is
                                              is currently
                                                 currently reviewing
                                                            reviewing aa long
                                                                         long term disability claim
related to
related to your
           your patient,
                patient, Haley
                         Haley Spears.
                               Spears. AA comprehensive multi-disciplinary independent
                                                                               independent
         record review
medical record  review was
                         was recently
                             recently conducted
                                      conducted to
                                                 to assist
                                                    assist in
                                                           in assessing Ms.
                                                                        Ms. Spears'
                                                                            Spears’ disability
claim.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                         we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
    your review
for your  review and
                 and comment.
                     comment. In In the
                                    the event
                                        event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any
                                                                        any of
                                                                            of the
                                                                               the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
medical basis for  your disagreement in writing
               for your                  writing via
                                                   via return
                                                       return fax.       number: 603-334-5708)
                                                              fax. (fax number:   603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time to provide comment, please let us know and we will afford you additional time
additional time to provide comment, please let us know and we will afford you additional time
to respond.
to respond.

                like to
Also, we would like  to schedule a phone consultation
                                         consultation between
                                                      between you
                                                               you and
                                                                    and Dr.
                                                                         Dr. Cooper
                                                                             Cooper toto discuss
                                                                                         discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                      Nancy Winterer
                                            Winterer at
                                                      at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                     schedule the
                                              the phone
                                                  phone consultation
                                                         consultation at
                                                                      at aa mutually
                                                                            mutually agreeable
                                                                                     agreeable
time.
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
        Review Consultant
Appeal Review   Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909


                                                                                                 Liberty002572
                                                                                                 Liberty002572
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 297 of 501

                                                                Group Benefits
                                                                Group  Benefits Disability
                                                                                Disability Claims
                                                                                           Claims
                                                                Liberty Life
                                                                        Life Assurance
                                                                             Assurance Company
                                                                                        Company ofof Boston
         Liberty'                                               Liberty
                                                                     Box 7213
                                                                P.O. Box  7213
         Mutual.                                                London, KY 40742-7213
                                                                Phone No.:
                                                                       No.: (888)
                                                                            (888) 437-7611
             INSURANCE
                                                                Secure Fax No.:
                                                                Secure Fax       603-334-5708
                                                                            No.: 603-334-5708


          2016
March 16, 2016


Kristin Giannini, MD
                  Physicians
Rockville Family Physicians

Fax: 860-979-0056
Fax: 860-979-0056

RE:    Long Term Disability
                   Disability Benefits
                              Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number:
       Claim Number: REDACTED

     Dr. Giannini:
Dear Dr. Giannini:

         Life Assurance
Liberty Life  Assurance Company
                          Company of of Boston
                                        Boston is
                                               is currently
                                                  currently reviewing
                                                             reviewing aa long
                                                                          long term disability claim
related to
related to your
           your patient,
                 patient, Haley
                          Haley Spears.
                                Spears. AA comprehensive multi-disciplinary independent
                                                                                independent
         record review
medical record   review was
                          was recently
                              recently conducted
                                       conducted to
                                                  to assist
                                                     assist in
                                                            in assessing Ms.
                                                                         Ms. Spears'
                                                                             Spears’ disability
                     review, Robert Cooper, MD, Internal Medicine, contacted
claim. During this review,                                              contacted your
                                                                                  your office
                                                                                        office but
                                                                                               but
was unable
was  unable to
             to speak
                speak with
                       with you.
                            you.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                        we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
for your review and comment. In thethe event
                                       event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any of the medical
                                                                                   medical findings
                                                                                           findings
   the report,
in the report, we
               we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
         basis for
medical basis      your disagreement  in writing   via return fax. (fax  number:  603-334-5708)
               for your disagreement in writing via return fax. (fax number: 603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time
additional time to
                to provide
                   provide comment,
                           comment, please
                                    please let
                                           let us
                                               us know
                                                  know and
                                                       and we
                                                           we will
                                                              will afford
                                                                   afford you
                                                                          you additional
                                                                              additional time
                                                                                         time
to respond.
to respond.

         would like
Also, we would  like to
                     to schedule
                        schedule aa phone
                                    phone consultation
                                          consultation between
                                                       between you
                                                                you and
                                                                     and Dr.
                                                                          Dr. Cooper
                                                                              Cooper toto discuss
                                                                                          discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                       Nancy Winterer
                                             Winterer at
                                                       at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                      schedule the
                                               the phone
                                                   phone consultation
                                                          consultation at
                                                                       at aa mutually
                                                                             mutually agreeable
                                                                                      agreeable
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
Appeal Review
Appeal  Review Consultant
                Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909

                                                                                                  Liberty002573
                                                                                                  Liberty002573
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 298 of 501

                                                               Group Benefits
                                                               Group  Benefits Disability
                                                                               Disability Claims
                                                                                          Claims
                                                               Liberty Life
                                                                       Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
         Liberty'                                              Liberty
                                                                    Box 7213
                                                               P.O. Box  7213
         Mutual.                                               London, KY 40742-7213
                                                               Phone No.:
                                                                      No.: (888)
                                                                           (888) 437-7611
             INSURANCE
                                                               Secure Fax No.:
                                                               Secure Fax       603-334-5708
                                                                           No.: 603-334-5708


          2016
March 16, 2016


Joachim Baehring, MD
Yale Cancer
Yale Cancer Center
            Center
Fax: 203-737-2591

RE:    Long Term
       Long        Disability Benefits
             Term Disability  Benefits
               Name: Haley
       Patient Name:  Haley Spears
                             Spears
       Date of
       Date of Birth:
               Birth: REDACTED
       Claim Number: REDACTED
       Claim

         Baehring:
Dear Dr. Baehring:

         Life Assurance
Liberty Life  Assurance Company
                         Company of of Boston
                                       Boston is
                                              is currently
                                                 currently reviewing
                                                            reviewing aa long
                                                                         long term disability claim
related to your patient, Haley Spears.
related to your patient, Haley Spears. AA comprehensive
                                          comprehensive     multi-disciplinary
                                                            multi-disciplinary independent
                                                                               independent
         record review
medical record  review was
                         was recently
                             recently conducted
                                      conducted to
                                                 to assist
                                                    assist in
                                                           in assessing Ms.
                                                                        Ms. Spears'
                                                                             Spears’ disability
               this review,
claim. During this  review, Daniel Kitei, MD,
                                          MD, Neurology,
                                               Neurology, contacted
                                                              contacted your
                                                                        your office
                                                                             office but
                                                                                    but was
                                                                                        was unable
                                                                                            unable
to speak
to speak with
          with you.
               you.

      medical provider
As a medical   provider for
                        for Ms.
                            Ms. Spears,
                                Spears, we
                                         we are
                                            are providing
                                                 providing you
                                                             you with
                                                                 with aa copy
                                                                         copy of
                                                                              of the
                                                                                 the medical
                                                                                     medical report
                                                                                             report
    your review
for your  review and
                 and comment.
                     comment. In In the
                                    the event
                                        event that
                                               that you
                                                    you disagree
                                                         disagree with
                                                                   with any
                                                                        any of
                                                                            of the
                                                                               the medical
                                                                                   medical findings
                                                                                           findings
       report, we
in the report, we would
                  would greatly
                         greatly appreciate it if
                                               if you
                                                  you would
                                                       would provide
                                                              provide your
                                                                       your medical opinion
                                                                                     opinion and
                                                                                             and the
                                                                                                 the
medical basis for  your disagreement in writing
               for your                  writing via
                                                   via return
                                                       return fax.       number: 603-334-5708)
                                                              fax. (fax number:   603-334-5708)

Please provide
Please provide your
                your comments
                     comments to
                              to us
                                 us by
                                    by or
                                       or before
                                          before March
                                                  March 25,
                                                        25, 2016.
                                                            2016. If
                                                                   If you
                                                                      you should
                                                                          should require
                                                                                 require
additional time to provide comment, please let us know and we will afford you additional time
additional time to provide comment, please let us know and we will afford you additional time
to respond.
to respond.

      we would
Also, we would like
                like to
                     to schedule a phone consultation
                                         consultation between
                                                      between you
                                                               you and
                                                                    and Dr. Kitei
                                                                             Kitei to
                                                                                   to discuss
                                                                                      discuss
your medical
your  medical opinion.
              opinion. Please
                       Please contact
                              contact Nancy
                                      Nancy Winterer
                                            Winterer at
                                                      at 1-888-437-7611 Ext. 16401 by or
before March
before March 25,
               25, 2016
                   2016 and
                         and we
                             we will
                                will schedule
                                     schedule the
                                              the phone
                                                  phone consultation
                                                         consultation at
                                                                      at aa mutually
                                                                            mutually agreeable
                                                                                     agreeable
time.
time.


Sincerely,
Sincerely,



Nancy Winterer
Nancy    in
        Review Consultant
Appeal Review   Consultant
Phone No.:
Phone  No.: (888)
            (888) 437-7611 Ext. 16401
Secure Fax
Secure Fax No.:
            No.: (603)
                 (603) 422-7909
                       422-7909


                                                                                                 Liberty002574
                                                                                                 Liberty002574
        Case 3:11-cv-01807-VLB
 UPS CampusShip: Shipment Label Document 142-3 Filed 11/16/18 Page 299 of 501
                                                                           Page 11of1
                                                                                  of 1
                                                67 1(411„, -13d6351
 UPS CampusShip: View/Print Label

 1. Ensure there are no other shipping or tracking labels attached to your package. Select the
    Print button on the print dialog box that appears. Note: If your browser does not support this function
                          File) menu to print the label.
    select Print from the File

 2. Fold the printed label at the solid line below. Place the label in a UPS Shipping Pouch. If you do
    not have a pouch, affix the folded label using clear plastic shipping tape over the entire label.

 3. GETTING YOUR SHIPMENT TO UPS
    Customers with a Daily Pickup
    Your driver will pickup your shipment(s) as usual.

   Customers without a Daily Pickup
   Take your package to any location of The UPS Store®, UPS Access Point(TM) location, UPS Drop
   Box, UPS Customer Center, UPS Alliances (Office Depot® or Staples®) or Authorized Shipping Outlet
   near you. Items sent via UPS Return Services(SM) (including via Ground) are also accepted at Drop
   Boxes. To find the
                  th_e location nearest you, please visit the Resources area of CampusShip and select
   UPS Locations.
   Schedule a same day or future day Pickup to have a UPS driver pickup all your CampusShip
   packages.
   Hand the package to any UPS driver in your area.
            Point™
UPS Access PointTM
THE UPS STORE
1931
1931 WOODBURY AVE
PORTSMOUTH ,NH 03801 03801


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          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 300 of 501


                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
                                                                                                Secure
                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: March 16,
  Date: March 16, 2016
                  2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               3
                                   3

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
This       and any
      fax, and any attachments
                   attachments thereto,
                                 thereto, is intended only
                                          is intended   only for
                                                             for the
                                                                 the use
                                                                     use of
                                                                         of the
                                                                            the addressee(s)
                                                                                addressee(s) named
                                                                                                named herein
                                                                                                       herein and
                                                                                                               and may   contain legally
                                                                                                                    may contain  legally
privileged and/or
privileged  and/or confidential
                   confidential information.
                                information. IfIf you
                                                  you are
                                                       are not the intended
                                                           not the           recipient of
                                                                   intended recipient      this fax,
                                                                                        of this      you are
                                                                                                fax, you are hereby
                                                                                                             hereby notified
                                                                                                                     notified that
                                                                                                                              that any
                                                                                                                                   any
dissemination,  distribution or
dissemination, distribution  or copying  of this
                                copying of   this fax, and any
                                                  fax, and  any attachments   thereto, is
                                                                attachments thereto,      strictly prohibited.
                                                                                       is strictly prohibited. If
                                                                                                               If you
                                                                                                                  you have  received this
                                                                                                                      have received  this fax in
                                                                                                                                          fax in
error,
error, please notify me
       please notify me by  telephone at
                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
                                                                  permanently shred
                                                                                shred the
                                                                                       the original
                                                                                            original and
                                                                                                     and any
                                                                                                         any copy
                                                                                                              copy of
                                                                                                                    of any
                                                                                                                       any fax
                                                                                                                           fax and  any printout
                                                                                                                               and any   printout
thereof.
thereof.




                                                                                                                               Liberty002576
                                                                                                                               Li berty002576
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                                                                     Liberty Life
                                                                     Liberty Life Assurance
                                                                                  Assurance Company
                                                                                             Company ofof Boston
                                                                                                          Boston
                                                                     Group
                                                                     Group Benefits  Disability Claims
                                                                            Benefits Disability Claims
            Liberty-                                                 P.O. Box
                                                                     P.O.      7213
                                                                          Box 7213
                                                                     London, KY
                                                                     London,  KY 40742-7213
                                                                                  40742-7213
            MutuaL                                                   Phone No.:
                                                                     Phone  No.: (888)
                                                                     Secure Fax
                                                                     Secure
                                                                                 (888) 437-7611
                                                                             Fax No.:
                                                                                       437-7611
                                                                                 No.: (603) 334-5708
                                                                                      (603) 334-5708
              INSURANCE


March 16,
March     2016
      16, 2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:     Long Term Disability
        Long Term  Disability (LTD)
                              (LTD) Benefits
                                    Benefits
        UTC Choice
        UTC  Choice
        Claim #:
        Claim    REDACTED
              #: REDACTED
        Claimant: Haley
        Claimant: Haley Spears
                        Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

As we
As  we have
       have discussed
             discussed in  our previous
                        in our previous correspondence,
                                           correspondence, Liberty’s
                                                                Liberty's deadline
                                                                           deadline for
                                                                                     for making
                                                                                         making aa
determination has
determination   has been
                    been tolled
                         tolled by
                                by its
                                    its need
                                        need toto obtain
                                                  obtain medical
                                                           medical records
                                                                     records from   the 27
                                                                              from the  27 medical    providers
                                                                                            medical providers
Ms. Spears
Ms.  Spears identified on remand.
            identified on  remand. WeWe received
                                          received medical       records from
                                                      medical records    from 2424 of
                                                                                   of those
                                                                                      those 27
                                                                                             27 medical
                                                                                                 medical
providers. At
providers. At your
               your request,
                    request, we
                             we provided
                                 provided thethe claim
                                                  claim file   without the
                                                          file without  the 3
                                                                            3 remaining
                                                                               remaining sets
                                                                                           sets of
                                                                                                of medical
                                                                                                   medical
records to
records to an
           an independent   third party
              independent third   party to
                                         to schedule
                                             schedule peer
                                                        peer reviews
                                                               reviews with
                                                                        with physicians    board certified
                                                                              physicians board    certified in
                                                                                                            in
appropriate specialties.
appropriate specialties. We   have received
                         We have    received thethe independent
                                                    independent peerpeer review
                                                                         review report
                                                                                  report from   the four
                                                                                         from the   four
independent peer
independent  peer reviewers   and have
                   reviewers and   have sent
                                         sent that
                                                that report
                                                     report toto the
                                                                 the medical
                                                                     medical providers    who rendered
                                                                               providers who    rendered
opinions regarding
opinions             Ms. Spears’
         regarding Ms.            work capacity
                         Spears' work    capacity for    their review
                                                     for their  review and
                                                                        and comment.
                                                                             comment. Please     ask Ms.
                                                                                         Please ask   Ms. Spears
                                                                                                          Spears
to encourage
to encourage the
              the following
                  following physicians
                             physicians to to respond
                                              respond toto Liberty's
                                                             Liberty’s requests
                                                                       requests for   contact:
                                                                                  for contact:

    (1) Bernard
    (1) Bernard Raxlen,   MD
                 Raxlen, MD
    (2) Lauren
    (2)         Gouin Young,
        Lauren Gouin   Young, ND
                              ND
    (3) Zane
    (3) Zane Saul,  MD
              Saul, MD
    (4) Joachim
    (4) Joachim Baehring,  MD
                 Baehring, MD
    (5) Dario
    (5)        Zagar, MD
        Dario Zagar,  MD
    (6) Barbara
    (6)          Kage, MD
        Barbara Kage,  MD
    (7) Kristin
    (7) Kristin Giannini,
                Giannini, MD
                          MD
    (8) Marian
    (8) Marian Rissenberg,
                Rissenberg, PhD,
                            PhD, Neuropsychology
                                 Neuropsychology

Liberty’s deadline has
Liberty's deadline  has been
                         been further  tolled by
                              further tolled  by the
                                                   the need  to conduct
                                                       need to  conduct an
                                                                         an IME.
                                                                            MM. You     advised Liberty
                                                                                   You advised  Liberty Life
                                                                                                        Life
on February
on  February 4,
             4, 2016
                2016 that
                      that Ms.
                           Ms. Spears    agreed to
                                Spears agreed     to attend
                                                     attend an
                                                             an IME.
                                                                IME. The
                                                                      The IME    was originally
                                                                           IME was   originally scheduled
                                                                                                scheduled for
                                                                                                          for
February 29,
February  29, 2016,
              2016, but
                     but Ms.
                         Ms. Spears   did not
                              Spears did        attend the
                                           not attend   the IME.  At your
                                                            IME. At   your request,
                                                                           request, the
                                                                                    the IME  was
                                                                                         IME was
rescheduled for
rescheduled      March 14,
             for March       2016. We
                         14, 2016.  We have
                                         have received    confirmation that
                                               received confirmation     that the
                                                                              the IME
                                                                                  IME took
                                                                                       took place
                                                                                            place on
                                                                                                  on March
                                                                                                      March
14, 2016.  We   generally receive  the  results  of an  IME   within 2-3 weeks.   We therefore
14, 2016. We generally receive the results of an IME within 2-3 weeks. We therefore anticipate anticipate
receiving the
receiving the IME
              IME results
                    results by
                            by the
                               the end   of March.
                                    end of  March.




                                                    1 of 2
                                                    1 of 2                                            Liberty002577
                                                                                                      Li berty002577
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If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                              2 of 2
                                              2 of 2                  Liberty002578
                                                                      Li berty002578
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Clmnt is
Clmnt  is former Administrative Assistant
          former Administrative  Assistant who
                                           who was
                                                 was 31yo
                                                     31yo at
                                                           at her
                                                              her DOD
                                                                   DOD 9/27/2008,  initially due
                                                                        9/27/2008, initially due to
                                                                                                 to
Headaches. We
Headaches.   We are
                 are assessing
                     assessing clmnt's
                                clmnt’s functional
                                         functional capacity
                                                    capacity for
                                                               for the
                                                                   the periods
                                                                       periods 9/27/2008   through
                                                                               9/27/2008 through
3/27/2009, and
3/27/2009,  and 3/28/09
                3/28/09 through
                        through the
                                 the present.
                                     present. In addition to
                                              In addition to this
                                                             this IME, the medical
                                                                  IME, the medical documentation
                                                                                   documentation
is being
is being reviewed
         reviewed by
                  by Infectious Disease; Neurology;
                     Infectious Disease;  Neurology; Neuropsychology;
                                                      Neuropsychology; Internal   Medicine.
                                                                         Internal Medicine.

Please address:
Please  address:
1. For
1.  For the
         the periods
              periods 9/27/2008
                        9/27/2008 through
                                   through 3/27/2009,
                                            3/27/2009, andand 3/28/09
                                                               3/28/09 through
                                                                        through the
                                                                                 the present,
                                                                                     present, please
                                                                                              please
    provide aa Comprehensive
   provide      Comprehensive medical
                                  medical history, including chief
                                          history, including   chief complaint,
                                                                     complaint, present
                                                                                present illness,
                                                                                        illness, past
                                                                                                  past
    medical/surgical history,
   medical/surgical    history, medications/allergies,
                                medications/allergies, and
                                                       and review
                                                            review of
                                                                   of systems.
                                                                      systems. (Please
                                                                                (Please be
                                                                                        be certain
                                                                                           certain to
                                                                                                    to
    consider the
    consider  the Chiropractic
                  Chiropractic treatment
                                treatment records
                                          records on
                                                   on file
                                                       file from
                                                            from May
                                                                 May 2010
                                                                      2010 through
                                                                            through December
                                                                                     December 2015
                                                                                                 2015
    in responding
    in responding to
                   to this
                      this question).
                           question).

2. For
2. For the
        the periods
             periods 9/27/2008
                     9/27/2008 through
                                  through 3/27/2009,
                                            3/27/2009, and
                                                         and 3/28/09
                                                              3/28/09 through
                                                                        through the
                                                                                 the present,
                                                                                     present, please
                                                                                               please
   provide aa Comprehensive
   provide      Comprehensive functional      history. Include
                                 functional history.               past and
                                                         Include past    and current
                                                                             current reported
                                                                                      reported daily
                                                                                                daily
   activities; how
   activities; how the
                   the insured's
                       insured’s spine
                                  spine pain,
                                        pain, whole
                                                whole body
                                                       body pain,
                                                             pain, and
                                                                   and decreased
                                                                       decreased energy   has limited
                                                                                  energy has  limited
   her functionally;
   her               maximum reported
       functionally; maximum    reported sitting,
                                           sitting, standing,
                                                    standing, and
                                                              and walking
                                                                   walking capacity
                                                                            capacity per
                                                                                     per session
                                                                                         session and
                                                                                                  and
   per 8
   per  8 hour
            hour workday,
                  workday, and
                             and the
                                   the insured's
                                        insured’s reported
                                                     reported participation
                                                               participation in
                                                                              in work,
                                                                                 work, ADLs,
                                                                                         ADLs, andand
   recreation/hobbies.
   recreation/hobbies.

3. Comprehensive
3. Comprehensive neuromuscular
                    neuromuscular examination.
                                   examination. Include   complete spine
                                                 Include complete   spine exam
                                                                           exam [including
                                                                                  [including spine
                                                                                              spine
   ROM, the
   ROM,   the presence/absence
               presence/absence ofof spasm,
                                     spasm, postural
                                              postural deviations,
                                                        deviations, signs
                                                                     signs of
                                                                            of neural
                                                                                neural irritation];
                                                                                        irritation];
   neurological exam
   neurological exam [motor/sensory/reflexes/Babinski
                       [motor/sensory/reflexes/Babinski reflexes];
                                                         reflexes]; tender
                                                                    tender point
                                                                            point exam;
                                                                                   exam; and
                                                                                           and gait
                                                                                                gait
   assessment. Include
   assessment.   Include aa detailed
                            detailed neck
                                     neck and
                                           and upper
                                                upper extremity
                                                       extremity exam
                                                                  exam toto include
                                                                             include joint
                                                                                      joint ROM,
                                                                                             ROM,
   circumferential arm/forearm
   circumferential arm/forearm measurements,
                                measurements, and
                                               and motor/sensory
                                                   motor/sensory exam.
                                                                   exam.

4. Assessment
4. Assessment of of objective
                     objective physical
                               physical deconditioning:
                                         deconditioning: Any
                                                         Any evidence
                                                              evidence of
                                                                        of generalized
                                                                           generalized muscle
                                                                                       muscle
   atrophy, resting
   atrophy, resting tachycardia,
                    tachycardia, and/or
                                 and/or poor
                                        poor muscle
                                             muscle tone?
                                                    tone? Please
                                                          Please discuss.
                                                                 discuss.

5. Please provide
5. Please  provide your
                    your opinion
                          opinion regarding
                                   regarding verifiable
                                             verifiable physical
                                                        physical impairment:
                                                                  impairment: Based
                                                                                Based on
                                                                                       on the
                                                                                          the review
                                                                                               review
   functional  evidence, clinical
   functional evidence,   clinical exam
                                   exam findings,   and diagnostic
                                          fmdings, and   diagnostic test
                                                                    test evidence,
                                                                         evidence, does
                                                                                    does the
                                                                                         the insured
                                                                                              insured
   have any
   have  any verifiable
              verifiable functional  impairment? For
                         functional impairment?    For any
                                                        any impairment
                                                             impairment confirmed,
                                                                          confirmed, please
                                                                                      please provide
                                                                                             provide
   the clinical,
   the           diagnostic, and/or
       clinical, diagnostic, and/or functional
                                    functional evidence  supporting your
                                               evidence supporting   your opinion.
                                                                           opinion.

6. Opinion regarding
6. Opinion               medically-supported physical
             regarding medically-supported       physical restrictions/limitations:
                                                            restrictions/limitations: For
                                                                                       For any
                                                                                            any physical
                                                                                                 physical
   impairment confirmed,
   impairment                please provide
                confirmed, please   provide specific
                                              specific physical
                                                        physical restrictions/limitations.
                                                                  restrictions/limitations. Please
                                                                                            Please define
                                                                                                   define
   by type
   by type of
           of task
              task [sitting,
                   [sitting, standing,
                             standing, lifting,
                                       lifting, etc.], as well
                                                etc.], as well as
                                                                as frequency  of task
                                                                   frequency of  task [never,
                                                                                      [never, occasional,
                                                                                              occasional,
   frequent, constant]. Include
   frequent, constant].  Include duration
                                 duration ofof physical
                                               physical restrictions/limitations.
                                                          restrictions/limitations. Is
                                                                                    Is there
                                                                                       there any
                                                                                             any medical
                                                                                                 medical
   or functional
   or functional evidence
                 evidence supporting.
                            supporting.

7. Assessment of
7. Assessment   of excessive
                   excessive or
                              or atypical
                                  atypical pain
                                           pain behaviors:
                                                 behaviors: Note
                                                             Note any
                                                                   any excessive
                                                                        excessive or
                                                                                   or atypical
                                                                                      atypical pain
                                                                                               pain
   behaviors observed
   behaviors  observed during
                        during the
                               the IME.  Does the
                                   IME. Does   the insured's
                                                   insured’s reported
                                                             reported pain
                                                                       pain severity
                                                                            severity and
                                                                                     and functional
                                                                                         functional
   limitations correlate
   limitations correlate with
                         with your
                               your clinical
                                     clinical exam
                                              exam findings,   the diagnostic
                                                     findings, the  diagnostic test
                                                                                test evidence,
                                                                                     evidence, and
                                                                                                and
   treatment requirements?
   treatment requirements? Please
                             Please

8. Assessment of
8. Assessment   of functional
                   functional inconsistencies:  Compare the
                               inconsistencies: Compare   the insured's
                                                              insured’s functional
                                                                        functional statements
                                                                                   statements and
                                                                                              and
   clinical observations, and discuss any inconsistencies  noted.
   clinical observations, and discuss any inconsistencies noted.




                                                                                            Liberty002579
                                                                                            Li berty002579
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9. Conclusions: Summary
9. Conclusions:  Summary of of your
                               your overall
                                    overall impression
                                            impression regarding
                                                       regarding the
                                                                   the insured's
                                                                       insured’s current
                                                                                 current verifiable
                                                                                         verifiable
   physical impairments,
   physical  impairments, medically-supported
                          medically-supported physical
                                                physical restrictions/limitations,
                                                          restrictions/limitations, and
                                                                                    and maximum
                                                                                         maximum
   full-time work capacity.
   full-time work capacity.

10. Please
10. Please comment
           comment on on the
                          the extent
                              extent to
                                     to which
                                        which the
                                               the results
                                                   results of
                                                           of this
                                                              this IME
                                                                   IME provide
                                                                         provide any
                                                                                 any information
                                                                                     information that
                                                                                                  that
    can be
    can  be used
            used to
                  to evaluate
                     evaluate Ms.
                               Ms. Spears’   diagnoses and
                                     Spears' diagnoses   and restrictions
                                                              restrictions and
                                                                           and limitations
                                                                               limitations during
                                                                                           during the
                                                                                                   the
    following two
    following  two time
                   time periods:
                         periods:
        1. 9/27/2008
        1.             through 3/27/2009
            9/27/2008 through   3/27/2009
        2. 3/28/2009
        2.  3/28/2009 through
                       through 3/31/2015
                                3/31/2015




                                                                                         Liberty002580
                                                                                         Li berty002580
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n0062751
_____
From:           National Scheduling
                National Scheduling
Sent:           Monday, March 14, 2016 4:22:45 PM
                Monday,
To:             Winterer, Nancy
Subject:        Claimant Attended Exam, Claim # REDACTEDClaimant: Hal Spe

Dear Nancy Winterer,

We have confirmed with Dr.
                        Dr. Courtney
                            Courtney that
                                     that claimant
                                          claimant Hal
                                                   Hal Spe
                                                       Spe attended
                                                           attended the
                                                                    the scheduled
                                                                        scheduled
IME on 3/14/2016 at 12:00
                    12:00 PM.
                          PM.

We will
We  will keep
         keep you
              you updated
                  updated should
                          should we encounter any
                                 we encounter any unexpected
                                                  unexpected delays in obtaining
                                                             delays in obtaining this
                                                                                 this
report.
report.

Thank you for choosing MCN!

Sincerely,

The MCN Team




PLEASE NOTE: This message was sent using
                          was sent using Transport
                                         Transport Layer
                                                   Layer Security.
                                                         Security.




                                                                            Liberty002581
                                                                            Liberty002581
03/14/2015
03/14/2016   15:57
             16:57     8502474194
                       8602474194                         ATTY WINONA ZIMBERLN                          PAGE       01/01
                                                                                                                   01/01
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 306 of 501




                                          Zin1berlin Law LLC
                                          Zimberlin
                                          267 Main Street IF Manchester, CT 06042
                                              860.783.5999 [ (f) 860.783.5996
                                          (p) 860.783.59991(0
                                              w.zim her! inla.‘v.corn
                                          www.zimberlinlaw.com

       Winona W, Zimberlin                                                                  By appointment only:
       Russell D. Zimberlin                                                                  H;;iritl1rd Office
                                                                                            Hanford
                                                                                               Conercss Street
                                                                                            2 Congress
                                                                                            Illortford.
                                                                                              lartford. CT 06114


                                                 March 14, 2016

       Facsimile: 1-603-334-5708
                   l-603<334-5708
       Nancy Winterer
       Appeals Review Consultant
       Liberty Life Assurance Company
                              Compa11y of Bosto❑
                                          Boston
       PO Box 7213
       London, KY 40742-7611
                     40742-761 J

       Dear Ms. Winterer:

              RE:    Haley Spears
              DOB: REDACTED
              Your claim#: 250039

       Ms. Spears had her appointment with your medical consultant. In addition to being rude and
       argumentative, your consultant was unprepared. Ho    He mentioned several.
                                                                            several times that this was a
       1400 page medical record which he only "scanned." He expressed confusion as to why he had
       been asked.
       been. asked to conduct this exam, after Ms.
                                                l'v!s. Spears had already returned to work. He repeatedly
       asked Ms. Spears what her various diagnoses were, which evidences his lack of knowledge as to
       what was in her medical.
                        medical record. Incredibly, when Ms. Spears was unable to articulate her various
       diagnoses, he accused.
                      accused her of failing to cooperate.

                        job. not Ms. Spears', to arrive at a diagnosis. If your consultant wanted to know
       It is a doctor's job,
       what diagnoses have been given to Ms. Spears by her doctors, all he had to do was to read the
       file.

                                                                     Very truly yours,

                                                                      roigx_91
       WWZ:
                                                                     WinonaW.
                                                                     Winona W. Zimberlin




                                                                                                Liberty002582
                                                                                                Liberty002582
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 307 of 501




n0062751
_____
From:             Delano Stark
                  Delano  Stark
Sent:             Friday, March 11, 2016 3:40:13 PM
To:               Winterer, Nancy
Subject:          RE: For Spears IME 3/14/16

   Nancy,
Hi Nancy,



It’s no
It's no big  deal. I've
         big deal. I’ve just
                        just faxed
                             faxed over
                                    over these
                                         these updated
                                                updated questions
                                                         questions to
                                                                   to Dr.
                                                                      Dr. Courtney's
                                                                          Courtney’s office
                                                                                     office
and left
and   left a
           a voicemail
             voicemail with
                       with his
                             his assistant
                                 assistant to
                                           to use
                                              use these
                                                  these questions
                                                        questions in
                                                                  in place of the
                                                                     place of the previous
                                                                                  previous
questions. You
questions.     You have
                   have a a good
                            good weekend
                                  weekend yourself! Thanks!



-Del



From: Winterer, Nancy [mailto:NANCY.WINTERER@LibertyMutual.com]
Sent: Friday, March 11, 2016 11:28 AM
Sent:
    Delano Stark
To: Delano Stark
Subject: For
Subject: For Spears
              Spears IME
                     IME 3/14/16
Importance: High



I apologize on this Friday afternoon, but I have tweaked some of the IME questions
again, added
again, added one
              one more
                   more question
                         question (question
                                  (question #10)
                                             #10) to
                                                  to the
                                                     the list
                                                         list for
                                                              for Dr.
                                                                  Dr. Courtney
                                                                      Courtney on
                                                                               on Monday
                                                                                  Monday
3/14.



Please confirm you have received this request and that it will be used for the IME on
3/14/16.



           Del.
Thank you, Del.

Have a
Have a good
       good weekend.
            weekend.

Nancy
Nancy




                                                                                   Liberty002583
                                                                                   Li berty002583
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Nancy Winterer

       Review Consultant
Appeal Review Consultant

Group Benefits/Liberty
Group Benefits/Liberty Life
                       Life Assurance
                            Assurance Company
                                      Company of
                                              of Boston
                                                 Boston

100 Liberty
100 Liberty Way
            Way Mail
                  Mail Stop
                       Stop 02G  Dover, NH
                            02G Dover,  NH 03820|
                                            038201 Phone: 1-888-437-7611 Ext.
       SDN: 8-731-64011Secure
16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

      e-mail, and
This e-mail,  and any
                   any attachments
                        attachments thereto,
                                       thereto, is
                                                is intended
                                                   intended for
                                                              for the
                                                                  the use
                                                                       use of
                                                                            of the
                                                                               the addressees
                                                                                    addressees andand
may contain
may   contain personal,
               personal, confidential
                          confidential and/or
                                        and/or privileged
                                               privileged information.
                                                            information. If If you
                                                                               you are
                                                                                     are not
                                                                                          not the
                                                                                              the
intended recipient
intended   recipient of
                     of this
                        this e-mail,
                             e-mail, you
                                      you are
                                          are hereby
                                              hereby notified
                                                       notified that
                                                                 that any
                                                                       any dissemination,
                                                                           dissemination,
distribution or
distribution or copying
                 copying of
                          of this
                             this e-mail,
                                  e-mail, and
                                          and any
                                              any attachments
                                                    attachments thereto,
                                                                    thereto, is
                                                                              is strictly
                                                                                 strictly
prohibited.
prohibited. IfIf you
                 you have
                     have received    this e-mail
                           received this   e-mail in error, please notify me via e-mail and via
telephone at
telephone   at 603-750-7550,
               603-750-7550, ext.ext. 16401
                                      16401 and
                                             and permanently      delete the
                                                   permanently delete     the original and any
copy of
copy  of any
         any e-mail
              e-mail and
                      and any
                           any printout
                                printout thereof
                                         thereof or
                                                  or attachments
                                                     attachments thereto.
                                                                     thereto.




                          was sent
PLEASE NOTE: This message was sent using
                                   using Transport Layer Security.
                                         Transport Layer Security.




                                                                                         Liberty002584
                                                                                         Li berty002584
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Clmnt is
Clmnt  is former Administrative Assistant
          former Administrative  Assistant who
                                           who was
                                                 was 31yo
                                                     31yo at
                                                           at her
                                                              her DOD
                                                                   DOD 9/27/2008,  initially due
                                                                        9/27/2008, initially due to
                                                                                                 to
Headaches. We
Headaches.   We are
                 are assessing
                     assessing clmnt's
                                clmnt’s functional
                                         functional capacity
                                                    capacity for
                                                               for the
                                                                   the periods
                                                                       periods 9/27/2008   through
                                                                               9/27/2008 through
3/27/2009, and
3/27/2009,  and 3/28/09
                3/28/09 through
                        through the
                                 the present.
                                     present. In addition to
                                              In addition to this
                                                             this IME, the medical
                                                                  IME, the medical documentation
                                                                                   documentation
is being
is being reviewed
         reviewed by
                  by Infectious Disease; Neurology;
                     Infectious Disease;  Neurology; Neuropsychology;
                                                      Neuropsychology; Internal   Medicine.
                                                                         Internal Medicine.

Please address:
Please address:
1. For
1.  For the
         the periods
              periods 9/27/2008
                        9/27/2008 through
                                   through 3/27/2009,
                                            3/27/2009, andand 3/28/09
                                                               3/28/09 through
                                                                        through the
                                                                                 the present,
                                                                                     present, please
                                                                                              please
    provide aa Comprehensive
   provide      Comprehensive medical
                                 medical history,  including chief
                                          history, including   chief complaint,
                                                                     complaint, present
                                                                                present illness,
                                                                                        illness, past
                                                                                                 past
    medical/surgical history,
   medical/surgical    history, medications/allergies,
                                medications/allergies, and
                                                       and review
                                                            review of
                                                                   of systems.
                                                                      systems. (Please
                                                                                (Please be
                                                                                        be certain
                                                                                           certain to
                                                                                                   to
    review the
    review  the Chiropractic
                Chiropractic treatment
                              treatment records
                                        records on
                                                 on file
                                                    file from  May 2010
                                                         from May   2010 through
                                                                          through December
                                                                                  December 2015
                                                                                             2015 in
                                                                                                   in
    response to
    response  to this
                 this question).
                      question).

2. For
2. For the
        the periods
             periods 9/27/2008
                     9/27/2008 through
                                  through 3/27/2009,
                                            3/27/2009, and
                                                         and 3/28/09
                                                              3/28/09 through
                                                                        through the
                                                                                 the present,
                                                                                     present, please
                                                                                               please
   provide aa Comprehensive
   provide      Comprehensive functional      history. Include
                                 functional history.               past and
                                                         Include past    and current
                                                                             current reported
                                                                                      reported daily
                                                                                                daily
   activities; how
   activities; how the
                   the insured's
                       insured’s spine
                                  spine pain,
                                        pain, whole
                                                whole body
                                                       body pain,
                                                             pain, and
                                                                   and decreased
                                                                       decreased energy   has limited
                                                                                  energy has  limited
   her functionally;
   her               maximum reported
       functionally; maximum    reported sitting,
                                           sitting, standing,
                                                    standing, and
                                                              and walking
                                                                   walking capacity
                                                                            capacity per
                                                                                     per session
                                                                                         session and
                                                                                                  and
   per 8
   per  8 hour
            hour workday,
                  workday, and
                             and the
                                   the insured's
                                        insured’s reported
                                                     reported participation
                                                               participation in
                                                                              in work,
                                                                                 work, ADLs,
                                                                                         ADLs, andand
   recreation/hobbies.
   recreation/hobbies.

3. Comprehensive
3. Comprehensive neuromuscular
                    neuromuscular examination.
                                   examination. Include   complete spine
                                                 Include complete   spine exam
                                                                           exam [including
                                                                                  [including spine
                                                                                              spine
   ROM, the
   ROM,   the presence/absence
               presence/absence ofof spasm,
                                     spasm, postural
                                              postural deviations,
                                                        deviations, signs
                                                                     signs of
                                                                            of neural
                                                                                neural irritation];
                                                                                        irritation];
   neurological exam
   neurological exam [motor/sensory/reflexes/Babinski
                       [motor/sensory/reflexes/Babinski reflexes];
                                                         reflexes]; tender
                                                                    tender point
                                                                            point exam;
                                                                                   exam; and
                                                                                           and gait
                                                                                                gait
   assessment. Include
   assessment.   Include aa detailed
                            detailed neck
                                     neck and
                                           and upper
                                                upper extremity
                                                       extremity exam
                                                                  exam toto include
                                                                             include joint
                                                                                      joint ROM,
                                                                                             ROM,
   circumferential arm/forearm
   circumferential arm/forearm measurements,
                                measurements, and
                                               and motor/sensory
                                                   motor/sensory exam.
                                                                   exam.

4. Assessment
4. Assessment of of objective
                     objective physical
                               physical deconditioning:
                                         deconditioning: Any
                                                         Any evidence
                                                              evidence of
                                                                        of generalized
                                                                           generalized muscle
                                                                                       muscle
   atrophy, resting
   atrophy, resting tachycardia,
                    tachycardia, and/or
                                 and/or poor
                                        poor muscle
                                             muscle tone?
                                                    tone? Please
                                                          Please discuss.
                                                                 discuss.

5. For the
5. For  the periods
             periods 9/27/2008
                      9/27/2008 through
                                   through 3/27/2009,
                                             3/27/2009, and
                                                         and 3/28/09
                                                              3/28/09 through
                                                                       through the
                                                                                 the present,
                                                                                     present, please
                                                                                                please
   provide your
   provide   your opinion
                    opinion regarding
                              regarding verifiable
                                          verifiable physical
                                                      physical impairment:
                                                               impairment: Based
                                                                              Based on
                                                                                     on the
                                                                                         the review
                                                                                               review
   functional  evidence, clinical
   functional evidence,   clinical exam
                                    exam findings,   and diagnostic
                                          fmdings, and   diagnostic test
                                                                    test evidence,
                                                                         evidence, does
                                                                                    does the
                                                                                         the insured
                                                                                              insured
   have any
   have  any verifiable
              verifiable functional   impairment? For
                         functional impairment?     For any
                                                        any impairment
                                                             impairment confirmed,
                                                                          confirmed, please
                                                                                      please provide
                                                                                             provide
   the clinical,
   the           diagnostic, and/or
       clinical, diagnostic, and/or functional
                                     functional evidence supporting your
                                                evidence supporting  your opinion.
                                                                           opinion.

6. Opinion regarding
6. Opinion    regarding medically-supported
                          medically-supported physical
                                                   physical restrictions/limitations:
                                                               restrictions/limitations: For
                                                                                          For the
                                                                                               the periods
                                                                                                    periods
   9/27/2008   through 3/27/2009,
   9/27/2008 through     3/27/2009, and
                                      and 3/28/09
                                            3/28/09 through
                                                     through the
                                                               the present,
                                                                   present, for
                                                                             for any
                                                                                 any physical
                                                                                     physical impairment
                                                                                               impairment
   confirmed, please
   confirmed,    please provide
                        provide specific
                                  specific physical
                                            physical restrictions/limitations.
                                                      restrictions/limitations. Please
                                                                                 Please define
                                                                                         define by
                                                                                                by type
                                                                                                    type of
                                                                                                         of
   task [sitting,
   task [sitting, standing,
                  standing, lifting, etc.], as
                            lifting, etc.],  as well
                                                well as
                                                     as frequency
                                                        frequency of of task
                                                                        task [never,
                                                                             [never, occasional,
                                                                                     occasional, frequent,
                                                                                                  frequent,
   constant]. Include
   constant].            duration of
                Include duration     of physical
                                        physical restrictions/limitations.
                                                    restrictions/limitations. Is   there any
                                                                                Is there  any medical
                                                                                                medical or
                                                                                                         or
   functional  evidence supporting.
   functional evidence    supporting.

7. Assessment of
7. Assessment   of excessive
                   excessive or
                              or atypical
                                  atypical pain
                                           pain behaviors:
                                                 behaviors: Note
                                                             Note any
                                                                   any excessive
                                                                        excessive or
                                                                                   or atypical
                                                                                      atypical pain
                                                                                               pain
   behaviors observed
   behaviors  observed during
                        during the
                               the IME.  Does the
                                   IME. Does   the insured's
                                                   insured’s reported
                                                             reported pain
                                                                       pain severity
                                                                            severity and
                                                                                     and functional
                                                                                         functional
   limitations correlate
   limitations correlate with
                         with your
                               your clinical
                                     clinical exam
                                              exam findings,   the diagnostic
                                                     findings, the  diagnostic test
                                                                                test evidence,
                                                                                     evidence, and
                                                                                                and
   treatment requirements?
   treatment requirements? Please
                             Please




                                                                                             Liberty002585
                                                                                             Li berty002585
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8. Assessment of
8. Assessment   of functional
                   functional inconsistencies:
                              inconsistencies: For
                                                For the
                                                    the periods
                                                        periods 9/27/2008 through 3/27/2009,
                                                                9/27/2008 through 3/27/2009, and
                                                                                             and
   3/28/09 through
   3/28/09  through the
                      the present,
                           present, compare
                                    compare thethe insured's
                                                    insured’s functional statements and
                                                              functional statements  and clinical
                                                                                         clinical
   observations, and
   observations, and discuss  any inconsistencies
                      discuss any                 noted.
                                  inconsistencies noted.

9. Conclusions: Summary
9. Conclusions:  Summary of of your
                               your overall
                                    overall impression
                                            impression regarding
                                                       regarding the
                                                                   the insured's
                                                                       insured’s current
                                                                                 current verifiable
                                                                                         verifiable
   physical impairments,
   physical  impairments, medically-supported
                          medically-supported physical
                                                physical restrictions/limitations,
                                                          restrictions/limitations, and
                                                                                    and maximum
                                                                                         maximum
   full-time work capacity.
   full-time work capacity.




                                                                                      Liberty002586
                                                                                      Li berty002586
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n0062751
_____
From:                       Nancy
                  Winterer, Nancy
Sent:             Thursday,
                  Thursday, March  10, 2016 2:39:18 PM
                             March 10,
To:               'Delano Stark'
Subject:          RE: Appointment Confirmed, Adjusted cover letter questions

Thanks! I will send the questions over shortly.
                        questions over shortly.



                    [mailto:dstark@mcn.com]
From: Delano Stark [mailto:dstark@mcn.com]
Sent: Thursday,
Sent: Thursday, March
                March 10, 2016 1:38 PM
              Nancy
To: Winterer, Nancy
Subject: Appointment
Subject: Appointment Confirmed,
                      Confirmed, Adjusted
                                  Adjusted cover
                                           cover letter
                                                 letter questions
                                                        questions



   Nancy,
Hi Nancy,



I am confirming that we have this IME scheduled for 12pm on Monday 3/14/16 with Dr.
Courtney. If
Courtney.    If you
                you would
                    would like
                          like for
                               for us
                                   us to
                                      to adjust
                                         adjust the
                                                the cover
                                                     cover letter
                                                           letter questions
                                                                  questions we've
                                                                             we’ve sent
                                                                                     sent out
                                                                                          out to
                                                                                              to
the doctor
the doctor you
            you can
                 can send
                     send the
                           the questions
                                questions into
                                           into me
                                                me right
                                                    right now,
                                                          now, and
                                                                and II can
                                                                       can get
                                                                           get that
                                                                               that taken
                                                                                    taken care
                                                                                           care
   for you.
of for you.



Thanks!



-Del



From: Winterer, Nancy [mailto:NANCY.WINTERER@LibertyMutual.com]
                      [mailto:NANCY.WINTERER@LibertyMutual.com]
Sent: Thursday,
Sent: Thursday, March 10, 2016 10:22 AM
    Delano Stark
To: Delano Stark
Subject: RE:
Subject: RE: IME
             IME appointment
                 appointment later
                              later in
                                    in the
                                       the day
                                           day



Hi Del,




                                                                                    Liberty002587
                                                                                    Li berty002587
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 312 of 501




II just
   just wanted to confirm
        wanted to confirm that
                          that from
                               from your
                                    your end, the IME for Ms. Spears is still on for 12pm
 on Monday
 on  Monday 3/14/16.
             3/14/16.



Also, I need to tweak the questions for the IME. How is the best way to get the final
questions to
questions  to you
              you for
                  for the
                      the IME
                          IME MD-
                              MD- should
                                  should II email
                                            email the
                                                  the questions
                                                      questions to
                                                                to you,
                                                                   you, or
                                                                        or send
                                                                           send them
                                                                                them
through  the referral system.
through the referral system.



Thanks, Del.

Nancy
Nancy



                    [mailto:dstark@mcn.com]
From: Delano Stark [mailto:dstark@mcn.com]
Sent: Tuesday,
Sent: Tuesday, March
                March 01,
                      01, 2016 2:05 PM
To: Winterer, Nancy
Subject: RE:
Subject: RE: IME
              IME appointment
                  appointment later
                               later in
                                     in the
                                        the day
                                            day



   Nancy,
Hi Nancy,



II was
   was able
        able to
             to get
                get this
                     this rescheduled
                          rescheduled for
                                       for Monday
                                           Monday March      14th at
                                                    March 14th    at 12:00PM. I will send out a
 full cost details message here in a little bit, and I will also make sure to send out an
 appointment letter
 appointment    letter to
                       to the
                          the attorney's
                              attorney’s office.
                                         office. Thank
                                                 Thank you!



-Del



                      [mailto:NANCY.WINTERER@LibertyMutual.com]
From: Winterer, Nancy [mailto:NANCY.WINTERER@LibertyMutual.com]
Sent: Tuesday,
Sent: Tuesday, March
               March 01,
                     01, 2016 10:38 AM
    Delano Stark
To: Delano Stark
Subject: RE: IME appointment later in the day
Importance: High




                                                                                    Liberty002588
                                                                                    Li berty002588
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Good Afternoon Del,
Good



Please go
Please go ahead
          ahead and
                  and reschedule
                       reschedule Ms.
                                   Ms. Spears'
                                       Spears’ IME
                                               IME with  Dr. Courtney.
                                                    with Dr. Courtney. Please
                                                                         Please
reschedule with their earliest appointment, and notify Atty Zimberlin in writing.



Thank you very much, and let me know if you need any further information.



Nancy
Nancy



Nancy Winterer

Appeal Review Consultant

Group Benefits/Liberty Life Assurance Company of Boston

100 Liberty
100 Liberty Way
            Way Mail
                  Mail Stop
                       Stop 02G  Dover, NH
                            02G Dover,  NH 03820|
                                            038201 Phone: 1-888-437-7611 Ext.
       SDN: 8-731-64011Secure
16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

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                                        thereof or
                                                 or attachments
                                                    attachments thereto.
                                                                   thereto.



                    [mailto:dstark@mcn.com]
From: Delano Stark [mailto:dstark@mcn.com]
Sent: Monday,
Sent: Monday, February
                February 29,
                         29, 2016 3:34 PM
              Nancy
To: Winterer, Nancy
Subject: RE:
Subject: RE: IME
              IME appointment
                  appointment later
                               later in
                                     in the
                                        the day
                                            day



   Nancy,
Hi Nancy,




                                                                                    Liberty002589
                                                                                    Li berty002589
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That’s okay
That's okay Nancy.
             Nancy. II spoke
                       spoke with
                              with the
                                   the claimant's
                                       claimant’s attorney
                                                  attorney and
                                                             and she
                                                                 she confirmed
                                                                      confirmed the
                                                                                the claimant
                                                                                    claimant
would not
would  not attend
           attend the
                  the appointment.
                      appointment. II also
                                       also spoke
                                            spoke the
                                                  the office
                                                       office of
                                                              of Dr.
                                                                 Dr. Courtney
                                                                     Courtney just
                                                                              just now,
                                                                                   now, and
                                                                                        and
they had
they had confirmed
         confirmed the
                     the claimant
                         claimant did not show
                                  did not show up
                                                up to
                                                   to this
                                                      this appointment.
                                                            appointment.



II have
   have also
          also heard
               heard from
                      from Dr.
                           Dr. Courtney's
                               Courtney’s office
                                           office that
                                                   that they
                                                        they do
                                                             do have
                                                                have availability
                                                                     availability to
                                                                                  to reschedule
                                                                                     reschedule
 this IME
 this IME onon either
               either 3/14 or 3/21
                      3/14 or 3/21 should you wish to reschedule this IME. I will hold off
 until I hear back from you
                          you before  making any
                              before making    any scheduling
                                                     scheduling arrangements,
                                                                arrangements, but
                                                                                but please  let
                                                                                     please let
                       Mutual would
 me know if Liberty Mutual     would like
                                     like get
                                          get this
                                              this rescheduled,
                                                    rescheduled, and
                                                                  and II would certainly be
                                                                         would certainly    able
                                                                                         be able
 to get
 to get that
         that done
              done for
                    for you.
                        you. Thank you!



-Del



From: Winterer, Nancy [mailto:NANCY.WINTERER@LibertyMutual.com]
                      rmailto:NANCY.WINTERER@LibertyMutual.coml
Sent: Monday,
Sent: Monday, February 29, 2016 12:14 PM
To: Delano Stark
Subject: RE:
Subject: RE: IME
             IME appointment
                 appointment later
                              later in
                                    in the
                                       the day
                                           day



Hi Del,

II apologize
   apologize II am
                am not
                   not getting
                       getting back to you
                               back to you until now. Most
                                           until now. Most likely
                                                           likely the clmnt will not present
 for the IME today.

Please let me know when you find out definitively.



Thank you.

Nancy
Nancy



Nancy Winterer

       Review Consultant
Appeal Review Consultant

Group Benefits/Liberty
Group Benefits/Liberty Life
                       Life Assurance
                            Assurance Company
                                      Company of
                                              of Boston
                                                 Boston




                                                                                     Liberty002590
                                                                                     Li berty002590
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16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

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                                                  or attachments
                                                     attachments thereto.
                                                                     thereto.




                    [mailto:dstark@mcn.com]
From: Delano Stark [mailto:dstark@mcn.com]
Sent: Friday, February 26, 2016 3:46 PM
              Nancy
To: Winterer, Nancy
Subject: RE: IME appointment later in the day



   Nancy,
Hi Nancy,



I just wanted to give you a heads up that the claimant called in again inquiring about
whether or
whether   or not
             not we
                 we would
                     would be   able to
                           be able   to reschedule
                                        reschedule this
                                                     this appointment.
                                                          appointment. She
                                                                         She hashas let
                                                                                     let me
                                                                                         me know
                                                                                             know
that she has a family member on death bed, and there's there’s a possibility that she won't
                                                                                        won’t be
able to
able  to make
         make this
               this appointment.
                    appointment. II did
                                      did not
                                          not directly
                                              directly contact
                                                       contact the
                                                               the claimant
                                                                   claimant as as there
                                                                                  there is
                                                                                         is an
                                                                                            an
attorney, on
attorney,  on the
              the case,
                  case, but
                        but II just
                               just wanted
                                    wanted to
                                            to give you a
                                               give you  a heads
                                                           heads up
                                                                  up about
                                                                      about this.
                                                                              this.



II told
   told her
        her that
              that as
                   as far
                      far as
                          as II know
                                know Liberty
                                      Liberty Mutual
                                               Mutual wants
                                                      wants toto proceed  with this
                                                                 proceed with    this appointment,
                                                                                      appointment,
 and that
 and   that II was
               was not
                    not allowed
                        allowed toto directly contact her.
                                     directly contact her. Since   she has
                                                             Since she  has anan attorney
                                                                                  attorney for
                                                                                            for this
                                                                                                this
 case, she
 case,   she was
               was informing
                    informing meme that
                                    that the
                                         the attorney's
                                              attorney’s office
                                                         office was
                                                                was difficult
                                                                    difficult to
                                                                              to get
                                                                                  get in touch with,
                                                                                      in touch  with,
 and wanted
 and   wanted to to have
                    have us
                          us contact
                              contact Liberty
                                       Liberty Mutual
                                                Mutual about
                                                        about rescheduling
                                                               rescheduling this
                                                                              this examination. I
 know this is late, and most likely within the 24 hour time frame for late cancellations, but
II just
   just thought
        thought II should
                    should let
                            let you
                                 you know.




                                                                                         Liberty002591
                                                                                         Liberty002591
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 316 of 501




      you,
Thank you,

-Del



From: Winterer, Nancy [mailto:NANCY.WINTERER@LibertyMutual.com]
                      [mailto:NANCY.WINTERER@LibertyMutual.com]
Sent: Thursday, February
Sent: Thursday, February 25, 2016 4:10 AM
    Delano Stark
To: Delano Stark
Subject: RE:
Subject: RE: IME
             IME appointment
                 appointment later
                              later in
                                    in the
                                       the day
                                           day



                          have not
Thank you Del !! If you have   not already,
                                   already, please send a
                                            please send a revised
                                                          revised appointment
                                                                  appointment letter
                                                                              letter to
                                                                                     to
the atty,
the atty, Liberty,
          Liberty, etc.
                   etc. Thank
                        Thank you.
                              you.

Nancy
Nancy



Nancy Winterer

       Review Consultant
Appeal Review Consultant

Group Benefits/Liberty
Group Benefits/Liberty Life
                       Life Assurance
                            Assurance Company
                                      Company of
                                              of Boston
                                                 Boston

100 Liberty
100 Liberty Way
            Way Mail
                  Mail Stop
                       Stop 02G
                            02G Dover,
                                 Dover, NH
                                        NH 03820|
                                            038201 Phone: 1-888-437-7611 Ext.
       SDN: 8-731-64011Secure
16401 SDN:   8-731-6401|Secure Fax:
                               Fax: 603-422-79091
                                    603-422-7909| nancy.winterer@libertymutual.com
                                                  nancy.winterer@libertymutual.com

This e-mail, and any attachments thereto, is intended for the use of the addressees and
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may   contain personal,
               personal, confidential
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                                                           information. If
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                 you have
                     have received   this e-mail
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telephone at
telephone   at 603-750-7550,
               603-750-7550, ext.
                                ext. 16401
                                     16401 and
                                            and permanently     delete the
                                                 permanently delete    the original and any
copy of any e-mail and any printout thereof or attachments thereto.




From: Delano Stark [mailto:dstark@mcn.com]
Sent: Wednesday,
Sent: Wednesday, February
                   February 24, 2016 6:45 PM
              Nancy
To: Winterer, Nancy
Subject: IME
Subject: IME appointment
              appointment later
                          later in
                                in the
                                   the day
                                       day




                                                                                   Liberty002592
                                                                                   Li berty002592
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 317 of 501




   Nancy,
Hi Nancy,



Claimant: Hal.
Claimant: Hal. Spe.
               Spe.

Claim# REDACTED
Claim#



The original IME appointment we had set     set up
                                                up with
                                                   with Dr.
                                                        Dr. Courtney
                                                             Courtney forfor the
                                                                             the above
                                                                                  above claimant
                                                                                         claimant
     for Monday,
was for  Monday, February       29th at
                     February 29th   at 11:00AM.
                                        11:00AM. II received
                                                     received a a call
                                                                  call from
                                                                       from the
                                                                              the claimant
                                                                                  claimant about
                                                                                            about
                informing me
an hour ago informing     me that
                               that she
                                    she had
                                         had another
                                              another doctor's
                                                       doctor’s appointment
                                                                 appointment the the very
                                                                                     very same
                                                                                          same day
                                                                                                 day
earlier in the morning, and would be preferring an    an afternoon
                                                         afternoon appointment.
                                                                     appointment. II told
                                                                                        told her
                                                                                             her that
                                                                                                  that
we  would   need   approval  from  Liberty Mutual  in order  to confirm   a rescheduling,
we would need approval from Liberty Mutual in order to confirm a rescheduling, but I        but I
told her
told her that
          that II would
                  would get
                        get in
                            in contact
                               contact with  the provider’s
                                        with the             office to
                                                 provider's office  to see
                                                                        see what
                                                                             what they
                                                                                   they had
                                                                                        had
available.
available.



                Dr. Courtney's
Luckily for us, Dr. Courtney’s office
                                 office had
                                        had availability
                                              availability at at 2:00PM
                                                                 2:00PM on on the
                                                                               the very
                                                                                    very same
                                                                                         same dayday to
                                                                                                      to
reschedule this
reschedule   this appointment.
                  appointment. II told
                                    told the
                                         the office
                                              office that
                                                       that we
                                                            we would
                                                                 would like
                                                                        like to
                                                                              to push  the
                                                                                  push the
appointment back
appointment          to that
               back to  that time
                             time slot
                                  slot at
                                       at 2PM.
                                          2PM. II did did not
                                                           not call
                                                               call the
                                                                    the claimant
                                                                        claimant back     to notify
                                                                                    back to  notify
them because
them             there was
      because there     was an
                             an attorney
                                attorney listed
                                          listed on on the
                                                        the case.
                                                            case. However,
                                                                     However, the  the claimant
                                                                                       claimant did
                                                                                                  did
end up
end up calling
        calling back   just now,
                back just   now, asking
                                 asking meme ifif II was
                                                     was able
                                                          able to
                                                                to get
                                                                   get a
                                                                       a later
                                                                          later appointment
                                                                                 appointment date
                                                                                                date to
                                                                                                      to
                  “Yes, we now have
which I told her "Yes,            have this
                                        this scheduled
                                              scheduled for  for 2:00PM
                                                                 2:00PM on on February     29th instead
                                                                                February 29th   instead
of 11:00AM.”
   11:00AM."



II just
   just wanted  to let
         wanted to let you
                       you know  that the
                           know that  the appointment
                                          appointment date,
                                                      date, location,
                                                            location, and
                                                                      and physician  are all
                                                                           physician are all
 still the
 still the same,
           same, but  now the
                 but now   the appointment
                               appointment time
                                            time has
                                                 has been
                                                     been bumped    back to
                                                          bumped back     to 2PM
                                                                             2PM instead
                                                                                  instead of
                                                                                          of
 11:00AM.



      you,
Thank you,



Del Stark
Del
Customer Service
Customer          Representative
          Service Representative




                                                                                            Liberty002593
                                                                                            Li berty002593
    Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 318 of 501




Medical Consultants
Medical Consultants Network
                    Network ®
                            ®

Medical Judgment
Medical          Nationwide
        Judgment Nationwide

National Scheduling,
National Scheduling, Seattle
                     Seattle WA
                             WA

P: 206.621.9097 Ext 2212
P:

   206.623.4956
F: 206.623.4956

dstark@mcn.com
www.mcn.com
www.mcn.com




                          was sent
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                                                                     Liberty002594
                                                                     Li berty002594
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                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
                                                                                                Secure
                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: March 10,
  Date: March 10, 2016
                  2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               2
                                   2

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
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      fax, and any attachments
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error,
error, please notify me
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                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
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                                                                                                                    of any
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                                                                                                                               and any   printout
thereof.
thereof.




                                                                                                                               Liberty002595
                                                                                                                               Li berty002595
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                                                             Liberty Life
                                                             Liberty Life Assurance
                                                                          Assurance Company
                                                                                     Company ofof Boston
                                                                                                  Boston
                                                             Group
                                                             Group Benefits  Disability Claims
                                                                    Benefits Disability Claims
             Liberty-                                        P.O. Box
                                                             P.O.      7213
                                                                  Box 7213
                                                             London, KY
                                                             London,  KY 40742-7213
                                                                          40742-7213
             MutuaL                                          Phone No.:
                                                             Phone  No.: (888)
                                                             Secure Fax
                                                             Secure
                                                                         (888) 437-7611
                                                                     Fax No.:
                                                                               437-7611
                                                                         No.: (603) 334-5708
                                                                              (603) 334-5708
              INSURANCE



March 10,
March     2016
      10, 2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:     Long Term Disability
        Long Term  Disability (LTD)
                              (LTD) Benefits
                                    Benefits
        UTC Choice
        UTC  Choice
        Claim #:
        Claim    REDACTED
              #: REDACTED
        Claimant: Haley
        Claimant: Haley Spears
                        Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

This letter
This letter is
            is to
               to confirm
                  confirm Ms.
                          Ms. Spears'
                              Spears’ IME appointment on:
                                      IME appointment on:

Monday March
Monday March 14, 2016 at
             14, 2016 at 12:00PM
                         12:00PM

With:
With:

Jenness D.
Jenness    Courtney, III,
        D. Courtney, III, MD
                          MD
Physical Medicine &
Physical Medicine & Rehabiltation
                     Rehabiltation
9045 Ellerbe
9045 Ellerbe Road
             Road Suite
                   Suite 107
                           107
Shreveport, LA
Shreveport,     71106
            LA 71106
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                               1 of 11
                                               1 of                                          Liberty002596
                                                                                             Li berty002596
                                                   6600 France
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18  PageAve.
                                                                 321S.,ofSuite
                                                                          501245
         e .I                                                  Edina, MN 55435
                                                          1-866-927-0184 phone
I     Behavioral •Medical                                      952-927-7147 fax
      Interventions                                office@behavioralmedical.com


March 4, 2016
                                        **CONFIDENTIAL**



Nancy Winterer
Liberty Mutual
London, KY

Re: Haley Spears
          REDACTED
Claim No: REDACTED
Web ID: 577726

Dear Ms. Winterer:

We have received and processed the referral of the file on Haley Spears for the purpose of file review
and provider contact. All records provided by Liberty Mutual were reviewed. Services have been
completed on this file, and below is a summary of findings and conclusions.

Conclusion

Robert Cooper, M.D., F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:
Based on a review of the provided data as summarized and analyzed below, it is the reviewer's
                                                                                      reviewer’s opinion
within a reasonable degree of clinical probability that the evidence does not support global impairment
and that the claimant is able to work without restriction for the timeframe of 9/27/2008 through
3/27/2009 and 3/28/2009 through 3/31/2015.

Kent Crossley, MD, FACP, Infectious Disease, Internal Medicine:
Based on a review of the provided data as summarized and analyzed below, it is the reviewer's
                                                                                       reviewer’s opinion
within a reasonable degree of clinical probability that there is no evidence the claimant has had Lyme
disease or other infections that would be functionally limiting.

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
Based on a review of the provided data as summarized and analyzed below, it is the reviewer's
                                                                                      reviewer’s opinion
within a reasonable degree of clinical probability that the evidence does not support impairment from a
neurological standpoint.

Michael Raymond, PhD, ABN, Neuropsychology:
Based on a review of the provided data as summarized and analyzed below (e.g., voluminous,
redundant, and mostly obsolete), it is this reviewer’s
                                            reviewer's opinion within a reasonable degree of
neuropsychological certainty that: there is no valid objective evidence to support neurocognitive deficits
associated with chronic headache or a plethora of other reported possible etiologies, within the
                     – 3/31/15.
timeframe of 9/27/08 —




                                                                                       Liberty002597
                                                                                       Liberty002597
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Nancy Winterer                                                                   Re: Haley Spears
March 4, 2016                                                                        Page 2 of 19




Referral Information
Age (DOB): REDACTED
Gender: FEMALE
DOD: 09/27/2008
Listed attending physician (s): Robert Lang, MD, Endocrinology, Zane Saul, MD, Infectious Disease,
Joachim Baehring, MD, Neurology, Neuro-Oncology, and Kristin Giannini, MD, Family Practice
Diagnoses listed on referral: headache

Medical Issue

Robert Cooper, M.D., F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:
According to a medical report dated 1/20/10, Kristin Giannini, MD, stated that due to joint pains from
Lyme Disease, need for daily antibiotics and fatigue and memory loss, the claimant is not able to work
at the current time: able to sit for 2 hours but no standing or walking, occasionally lifting/carrying up to
5 lbs., capable of simple grasping and fine manipulation, pushing and pulling with left hand but not right
hand, capable of using feet for repetitive pushing and pulling as in operating foot controls, occasionally
bending, squatting, crawling but no climbing or reaching. No unprotected heights, being around moving
machinery, exposure to marked changes in temperature and humidity, driving automotive equipment or
exposure to dust and fumes. In a functional capacity assessment dated 7/9/10, Dr. Giannini stated the
claimant was unable to work for the next several years and beyond, due to extreme cognitive function
and fatigue. In an attending physician letter dated 2/9/09, Barbara Kage, MD, rheumatology stated the
claimant is able to work 4 hours in the morning. In an attending physician letter dated 8/4/09, Dr. Kage
stated the claimant is not able to work part-time or full–time
                                                       full—time for a minimum of 12 months. At issue is
whether the evidence in the chart supports that the claimant is impaired with restrictions and limitations,
and whether or not the evidence supports that the claimant is unable to work during the periods
9/27/2008 through 3/27/2009, and 3/28/09 through 3/31/2015.

Kent Crossley, MD, FACP, Infectious Disease, Internal Medicine:
The primary medical issue in question in this review is to determine if the claimant has had any infection
that would be responsible for her non-specific symptoms and if these would be functionally impairing.
     “Lyme literate"
Her "Lyme   literate” specialists have stated she was unable to work because of these symptoms caused
by Lyme disease. For example, Dr. Raxlen on 6/22/09 wrote that she would not be able to work for "at “at
least twelve months."
             months.”

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
The primary medical issue in question in this review is unclear from a neurologic standpoint, but the
Attending Physician Statement notes the claimant had cognitive problems and migraine according to
Barbara Kage in 2009. In 2010, Dr. Raxlen felt that the claimant had Lyme disease and "can't
                                                                                        “can’t work."
                                                                                               work.”
There is a note of fatigue and cognitive changes from Dario Zagar and an Attending Physician Statement
from Dr. Giannini that the claimant had some lifting and cognitive limitations.

Michael Raymond, PhD, ABN, Neuropsychology:
The primary medical issue in question in this review, from a neuropsychological perspective, is noted
as: whether there is evidence to support neurocognitive deficits that would be functionally impairing
within the time frame in question from 9/27/08 —– 3/31/15. A plethora of possible etiologies, the vast


                                                                                        Liberty002598
                                                                                        Li berty002598
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Nancy Winterer                                                                     Re: Haley Spears
March 4, 2016                                                                          Page 3 of 19




majority of which were nonspecific, were laced within the voluminous medical record review. The
claimant was evaluated by well over 15 medical specialists including, but not limited to internal
medicine, neurology, rheumatology, endocrinology, immunology, oncology, infectious disease,
psychiatry, sleep medicine, general surgery, orthopedic surgery, and neuropsychology, to name a few.
The claimant's
     claimant’s primary complaint was vascular headache in 2008. However, she has been evaluated
and treated for a host of other etiologies including, but not limited to gastrointestinal disease, thyroid
disease, dyspnea, pineal cyst, Lyme disease, systemic lupus erythematosus, fibromyalgia, etc. The
claimant was evaluated by numerous neurologists as part of her subjective complaints of reduced
cognitive efficiency. Multiple neurological examinations were negative and nondiagnostic with regard
to neurocognitive functioning, sensorimotor abilities, and formal cranial nerve testing. Prior serial
          MRI’s identified a nonspecific and stable right temporal lobe lesion of idiopathic etiology. A
cerebral MRI's
pineal cyst was also noted. Despite these multiple problems and subjective neurocognitive complaints,
the claimant had only undergone one neuropsychological evaluation in July 2010. The evaluation was
an abbreviated and nonstandardized assessment which did not include formal effort testing (e.g.,
embedded or freestanding). A number of specific subtest scores were noted within the body of the report
and the WAIS-III and WMS-III summary report was attached. The undersigned did not have access to
neuropsychological raw test data. While Dr. Rissenberg, neuropsychologist, indicated "on     “on formal
testing, Ms. Spears was highly motivated and gave her best effort on all tasks",
                                                                             tasks”, there is no objective
evidence to support this, and thus, this can be easily scrutinized. This is especially borne out with
numerous subjective complaints of the claimant which were highlighted throughout the report as well as
within the behavioral observations section. For some reason, Dr. Rissenberg indicated "based  “based on her
education and work history and aspects of her current test performance, Ms. Spears premorbid
                                                                                                75th percentile
intellectual capacity is estimated to be in at least the high end of the average range or the 75th
(a full-scale IQ of 115). Once again, this statement appears somewhat erroneous and in all likelihood an
overestimate of the claimants premorbid level of intellectual functioning at the time of the evaluation.
For the most part, the claimants general intellectual and memory abilities were relatively consistent and
within the average to low average range. In summary, Dr. Rissenberg opined that "these  “these findings are
consistent with frontal or diffuse cerebral dysfunction as seen in chronic infectious or inflammatory
illness.” Once again, and based on a rather cursory neuropsychological assessment, this statement can
illness."
certainly be easily scrutinized and one which does not appear to be justified based on the
neuropsychological test results, or lack thereof. Furthermore, these results must be considered obsolete
(6 years old).

Records List
What follows is an outline of the records reviewed to prepare for this report:

   1. Attending Physician Statements completed by:
         a. Prasad Srinivasan, MD, Allergy and Immunology, dated 9/22/03
         b. David Silvers, MD, Neurology, dated 1/6/08 through 11/11/08
         c. Provider Whose Signature is Illegible, dated 4/29/08
         d. Evan Schiff, MD, Internal Medicine, dated 9/11/08 and 10/10/08
         e. Barry Gordon, DO, Neurology, dated 10/13/08 and 11/13/08
         f. Joachim Baehring, MD, Neurology, Neuro-Oncology, dated 12/11/08 and undated
         g. Barbara Kage, MD, FACR, Rheumatology, dated 2/9/09 and 8/4/09
         h. Dario Zagar, MD, Neurology, dated 5/26/09 through 6/21/10 and undated


                                                                                          Liberty002599
                                                                                          Li berty002599
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Nancy Winterer                                                       Re: Haley Spears
March 4, 2016                                                            Page 4 of 19




        i. K. Dondlinger, RN on behalf of Dr. Zagar, dated 6/12/09
        j. Bernard Raxlen, MD, Psychiatry and Lyme Disease and Carolyn Welcome, PA-C,
            dated 6/22/09 through 9/9/10
        k. Lauren Gouin, ND, dated 7/21/09
        l. Kristin Giannini, MD, Family Practice, dated 1/20/10 and 7/9/10
        1.
        m. Dr. Raxlen, dated 5/27/10
        n. Zane Saul, MD, Infectious Disease, dated 3/7/11
        o. Unsigned Provider, undated
   2. Medical Records, Correspondence and/or Consultations completed by:
        a. Hartford Hospital and Medical Group, dated 11/22/99 through 6/17/14 and undated
        b. Dr. Srinivasan, dated 4/9/02 through 11/10/04 and undated
        c. Manchester Ophthalmology, dated 1/27/04 through 4/28/13
        d. Vanishing Veins, dated 5/25/04 through 1/20/09 and undated
        e. Dr. Gouin, dated 8/27/04 through 1/16/13 and undated
        f. Connecticut GI, dated 6/14/07 and 10/4/07
        g. Unknown Facility, dated 11/13/07 through 4/1/15
        h. Digestive Health Specialists, dated 4/8/08 through 4/17/14
        i. Women's Health Connecticut, dated 7/10/08 through 9/11/13
        j. Thomas Turbiak, MD, Emergency Medicine, dated 8/28/08 and 8/29/08
        k. Dr. Silvers, dated 9/8/08 through 11/17/08
        l. Dr. Gordon, dated 10/1/08 and 11/3/08
        1.
        m. Yale Neurology/Medical Oncology, dated 11/25/08 through 4/22/13
        n. Physical Therapy Center of Rocky Hill, dated 12/22/08
        o. Dr. Kage, dated 1/6/09 through 2/18/11 and undated
        p. Unknown Facility, dated 1/6/09 through 5/6/10
        q. Associated Neurologists of Southern Connecticut, dated 1/12/09 through 8/19/11 and
            illegibly dated
        r. James Donaldson III, MD, Neurology and Internal Medicine, dated 1/20/09
        s. Connecticut Multispecialty Group, dated 1/21/09 through 4/10/14
        t. Professional Home Care Services, dated 2/27/09 through 5/7/10
        u. St. Vincent's Medical Center, dated 2/27/09 and 3/2/09
        v. Critical Home Care Services, dated 3/3/09 and 9/13/09
        w. Rockville Family Physicians, dated 3/10/09 through 11/25/13
        x. Unknown Facility, dated 3/25/09
        y. Robert Schoen, MD, Rheumatology, dated 3/26/09 and 3/30/09
        z. Saqib Naseer, MD, FACC, FASNC, Nuclear and Noninvasive Cardiology, dated
            3/30/09 through 1/27/14
        aa. Lyme Resource Medical, dated 4/21/09 through 6/4/13 and undated
        bb. Pedro Romero, MD, Orthopedic Surgery, dated 6/9/09 and 6/12/12
        cc. Sam Donta, MD, Infectious Disease, dated 7/18/09
        dd. Bridget Patterson-Marshall, MD, Neurology, dated 1/13/10 through 4/8/10
        ee. Visiting Nurse Association of Central Connecticut, dated 3/30/10 through 5/10/10
            and undated
        ff. Cynthia Grosso, DC, dated 5/26/10 through 9/9/10
        gg. Provider Whose Signature is Illegible, dated 8/5/10


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          hh. Dr. Saul, dated 9/3/10 through 6/9/14
           hh.Dr.
          ii. Richard Shoup, MD, Sleep Medicine, dated 2/17/11 through 4/29/11
          jj. Lynn Fairchild, PA-C, dated 1/23/12
          kk. Tagliarni Chiropractic, dated 1/30/12 through 8/11/14
          ll. Office of Robert Lang, MD, PC, dated 2/21/13 through 7/10/14
          11.
           mm.       Robert Udelsman, MD, MBA, General Surgery, dated 4/22/13 through 7/1/13
          nn. Zhiheng He, MD, Endocrinology, dated 11/17/14
           nn.Zhiheng
          oo. Candace Maddalo, DC, dated 12/7/14 through 8/26/15
          pp. Robert Rougeau, DC, dated 9/16/15 through 12/2/15
          qq. Mary Albritton, MD, Endocrinology, dated 12/17/15
          rr. Provider Whose Signature is Illegible, illegibly dated
   3. Diagnostics
   4. Labs
   5. Medications
   6. Independent Evaluation completed by Marian Rissenberg, PhD, Neuropsychology, dated
       7/2010
   7. Client Internal Claim Review Notes/Interviews
   8. Occupational Information/Job Description
   9. Peer Reviews and Related Correspondence completed by:
          a. Frisso Potts, MD, Neurology, dated 12/18/08 and 12/23/08
          b. Oyebode Taiwo, MD, MPH, Internal Medicine, dated 2/25/09 through 5/11/09
          c. Michael Silverman, MD, Internal Medicine and Infectious Disease, dated 11/23/09
              through 4/22/10
          d. John Brusch, MD, Internal Medicine and Infectious Disease, dated 10/14/10
   10. Confirmatory Letters completed by:
          a. Dawn Garcia, NP, dated 5/14/09
          b. James O'Brien, MD, Gastroenterology, dated 5/11/09
   11. Surveillance/Investigative Reports
   12. Employee Statements
   13. Collateral Statements
   14. Employer Statements
   15. Attorney Correspondence and/or Legal Documents
   16. Social Security Claim Forms/Documents
   17. Client Documents
   18. Miscellaneous Documents
   19. Duplicate Documents
   20. Authorizations

Summary of Records

Robert Cooper, M.D., F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:
All records noted above were reviewed in their entirety. I will summarize those portions of the records
received that have relevance to the questions and timeframe identified for this review, and within the
scope of my areas of endo/IM/rheum/gastro/cardio/pulmonary and sleep medicine/primary care.



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The claimant is a 38-year-old female with a medical history pertinent for headache.

The claimant saw Kristin Giannini, MD for primary care. On 3/10/09, Dr. Giannini noted the claimant
complained of headaches. There was also a history of multi-nodular thyroid and possible
hypothyroidism. A biopsy of thyroid nodule was benign. There was a questionable history of ulcerative
colitis and possible autoimmune liver disease. Physical exam showed blood pressure of 138/74 and
pulse of 80. Rest of exam including thyroid, cardiac, pulmonary and musculoskeletal exam was noted to
be normal. On 6/18/09, the claimant complained of headaches. Physical exam was again noted to be
normal. On 11/19/12, Dr. Giannini noted a normal physical exam.

The claimant sees Barbara Kage, MD, for management of joint pain, lower back pain, and positive
ANA. On 1/19/09, Dr. Kage noted a blood pressure of 105/63. Rest of exam was normal was no
synovitis or inflammation on joint exam with normal range of motion. A workup for connective tissue
                                                                              Raynaud’s phenomenon.
disease was ordered. On 7/20/09, Dr. Kage noted the claimant has a history of Raynaud's
There was also a history of GERD, ulcer, and microscopic colitis. Repeat ANA was negative casting
doubt on diagnosis of Connective tissue disease. Glucosamine and chondroitin were prescribed, and
Plaquenil was continued. Follow-up with ID was recommended.

The claimant saw James 0' O’ Brien, MD, GI for management of ulcer. On 10/14/08, Dr. 0'
                                                                                      O’ Brien noted
                        “Overall she has improved."
Prevacid was helping. "Overall           improved.” Physical exam showed "mild
                                                                          “mild suprapubic
tenderness”. Rest of exam was normal was abdomen soft and no rebound tenderness. Liver size was
tenderness".
normal. Cardiac, pulmonary and neurologic exam was normal. On 10/8/09, abdominal exam was noted
                  O’Brien noted gastrointestinal symptoms are in remission except for rare gassiness.
to be normal. Dr. O'Brien
On 6/10/11, physical exam including abdominal exam was normal. IBS/ bacterial overgrowth were
                                                     O’Brien noted Dexilant was controlling symptoms
questioned as cause of symptoms. On 4/11/2013, Dr. O'Brien
of heartburn. Diet/lifestyle changes were recommended.

The claimant saw Robert Oberstein, MD, endocrinology for management of a multi-nodular goiter. On
1/21/09, Dr. Obsterstein noted the claimant underwent three biopsies of a left thyroid nodule which were
benign. Physical exam did not reveal a dominant thyroid nodule. On 11/6/13, the claimant was being
treated for hypothyroidism with Synthroid. TSH was 1.28.

The claimant saw Melissa Albritton, MD, endocrinology for management of postsurgical
hypothyroidism and thyroid cancer. On 12/17/15, Dr. Albritton noted the claimant had a history of
thyroidectomy in 6/2013 with presence of 0.4 cm micropapillary cancer. Repeat thyroid ultrasounds
showed no recurrence of cancer. Physical exam including neck, respiratory, cardiac and musculoskeletal
exam was noted to be normal.

The claimant saw Erika Cappelluti, MD, pulmonary for management of asthma. On 4/10/14, Dr.
Cappelluti noted the claimant has a history of asthma. She was using her rescue inhaler. Physical exam
including cardiac, pulmonary and musculoskeletal exam was noted to be normal.

The claimant saw Saqib Najeer, MD, cardiology, MD for management of palpitations and chest pain. On
3/30/09, Dr. Najeer noted the claimant had palpitations and atypical chest pain. On physical exam, blood
pressure was 120/80. Cardiac exam was noted to be normal. An echo, Holter, and stress test was


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ordered. On 2/14/12, Dr. Najeer noted the claimant had no cardiac symptoms. Physical exam was noted
to be normal. On 6/12/13, Dr. Najeer noted the claimant had a normal stress test without any ischemic
changes. An echocardiogram was normal with ejection fraction of 55-60 %.

The claimant saw Richard Sharp, MD, sleep medicine for evaluation of sleep apnea. On 2/17/11, Dr.
Sharp noted the claimant had infrequent snoring. Physical exam was noted to be normal. A sleep study
revealed the absence of sleep apnea. Better sleep hygiene was discussed. On 4/29/11, Dr. Sharp noted a
normal physical exam. Sleep hygiene was again discussed. Dr. Sharp felt there was no need for further
follow-up.

Kent Crossley, MD, FACP, Infectious Disease, Internal Medicine:
The records provided for review document that the claimant has had a broad spectrum of medical
complaints. These were noted in a letter by Dr. Raxlen (a self-designated "Lyme
                                                                              “Lyme disease expert")
                                                                                              expert”) on
6/22/09 to include fatigue, sensitivity to smells, slurred speech, sensitivity to sound, neck pain, night
sweats, fever, heart palpitations, gastrointestinal problems, joint pain, muscle weakness, fasciculations,
neuropathy, sleep disturbances, depression, anxiety, and neurocognitive deficits.

The claimant told some providers that she had had a tick bite and a "target"
                                                                      “target” lesion at age 16. Dr. Raxlen
concluded, based on this history — – and the symptoms noted in his letter —
                                                                          – that she had Lyme disease. He
also decided that Ms. Spears was infected with Borrelia and Bartonella (two other infections potentially
carried by ticks). He initiated therapy with intravenous antibiotics (azithromycin) and also ordered oral
rifampin and Mepron. In October 2009, she was being treated with ceftriaxone and oral doxycycline
and noted to have ‘only
                   'only partial relief of symptoms.' She was also seen by a naturopath (Dr. Gouin) in
2009-13. He noted that she reported fatigue and brain fog and a period of three days during which she
was unable to walk.

Dr. Schoen, a rheumatologist, who saw here on 3/26/2009 wrote that "she
                                                                    “she does not and has not had
Lyme disease as the cause for her symptoms."
                                  symptoms.” One provider noted that by January 2010, she had
received intravenous Rocephin via a PICC line for a period of some seven months.

By late 2010, she was being treated by an infectious diseases specialist (Dr. Saul). He saw her initially
on 9/3/10 and wrote that she felt worse and had complaints of brain fog, fatigue, headache, and
arthralgias. He treated her with azithromycin and Mepron initially for "Lyme
                                                                         “Lyme disease and co-
infections”. By February 2011, she was being treated with a regimen of Mepron, Levaquin, Omnicef
infections".
and azithromycin. On 3/7/11, he wrote that she had "advanced
                                                        “advanced debilitating Lyme disease.”
                                                                                      disease." He
continued to treat her with other antibiotics until June 2012 when these drugs were discontinued. He
wrote that she gradually got worse from June until December 2012 and for this reason, he ordered
intramuscular Bicillin. By 7/1/13, she was noted to be doing well off all antibiotics. On 3/7/14, he
                                                                “tested positive for Lyme”
reported that she had had a tick bite in December 2013 which "tested                 Lyme" and she was
treated with Omnicef. He discontinued the antibiotics and noted by 6/9/14 that she was doing well off
antibiotics.

Extensive testing for Lyme disease was entirely negative in 2008 - 2010. She also had tests for other
tick-borne infections (Anaplasma, Ehrlichiosis, Babesia, Bartonella and Babesia) in April 2009. All of
these tests were negative. A single specimen of cerebrospinal fluid was tested on 2/3/09 and reported to


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have a positive IgG Western Blot for Borrelia burgdorferi. The IgM was negative. CSF glucose and
protein were normal. As noted on the test report, there were no interpretive criteria for this test on CSF.
In the context of an individual who has never had a single positive Western Blot on serum, this result is
not meaningful.

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
The claimant is a 38-year-old woman with a long medical history. She was seen at The Hartford
Hospital Medical Group and most of the notes are illegible but on 9/11/09 it is noted she had PICC line
infection while be treated for presumed chronic Lyme disease. She saw Dr. Turbiak in the emergency
department on 8/28/08 with migraines, and CT scan of her head revealed low attenuation in the right
temporal lobe.

She saw Dr. Silvers from neurology on 9/8/08 complaining of blacking out and headache and physical
examination was normal. On 11/14/08, she was on Neurontin and Pamelor and was complaining of
headaches four days out of the week at a 10 out of 10, and she had a 24 hour EEG that was
unremarkable. She saw Dr. Gordon from neurology on 10/1/08, and it was noted that her MRI had
shown a right internal capsule white matter lesion. EEG revealed a nonspecific abnormality. On 11/3/08,
she complained of daily headaches and zoning out, and physical examination revealed a normal
neurologic examination.

She was seen at Yale Neurology on 11/25/08, and physical examination was normal. On 1/27/09, she
complained of persistent headaches, but they were better and that her speech had improved, but she
complained of fatigue. Physical examination was again normal. On 7/31/09, she had a normal
neurologic examination. On 7/30/10, she had not had migraines for months, and physical examination
was normal. On 9/23/11, she had no neurologic symptoms and headaches had largely resolved. She had
a normal neurologic examination, and MRI revealed no change. On 4/22/13, she had no neurologic
symptoms. She saw Dr. Kage on 7/20/09, and it was noted that her Lyme serology was normal, and
Lyme IGM was negative, and Lyme IGG revealed four bands. She was seen at Associated Neurologists
of Southern Connecticut on 1/12/09 complaining of headache. On 2/17/09, she was given Topamax. On
2/26/09, Lyme disease was mentioned without any clear evidence of that diagnosis. On 3/16/09, it was
noted that she was getting ceftriaxone. On 4/27/09, she had some cognitive complaints and complained
                                              “skeptical about further IV
of one migraine a month. Her physician was "skeptical                                        disease.”
                                                                       W treatment for Lyme disease."
On 6/29/09, it was noted that headache improved overall. On 10/26/09, she complained of migraines two
times a month and complained of fatigue. On 3/29/10, it was noted that migraines were well controlled,
and she complained of some cognitive difficulty. Physical examination revealed a normal neurological
examination. On 7/23/10, she complained of cognitive difficulty. On 10/29/10, her Topamax was
tapered, and she had no migraines but still complained of cognitive difficulty. On 8/23/11, she
complained of cognitive difficulty and had a normal neurological examination.

She saw Dr. Schoen on 3/26/09 who did not think her symptoms were from Lyme disease and noted that
her serology was negative.

She saw Dr. Saul on 7/1/13 and had no recurrence of Lyme symptoms. On 3/7/13, she was reportedly
doing well. On 6/9/14, her energy level was reportedly better. She saw Al Britton from endocrinology
on 12/17/15 and had a history of thyroid cancer with fluctuating symptoms.


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Her lab on 8/21/09 revealed negative Borrelia burgdorferi testing, negative western blot, and negative
Lyme antibody. She had neuropsychological testing by Dr. Rissenberg in July 2010 which reportedly
revealed a significant decline.

Michael Raymond, PhD, ABN, Neuropsychology:
All records were reviewed in their entirety. Below please find a summary of those records deemed most
relevant to the questions and time frame identified for this review and with the scope of my practice and
area of expertise as a board certified neuropsychologist.

As previously referenced, the medical record review contained voluminous, redundant, and obsolete
records to the clinical issue and timeframe currently under review. Records were provided by multiple
specialists as previously discussed. Furthermore, only one neuropsychological assessment was
completed, albeit in a cursory and nonstandardized fashion, in July 2010.

By way of history, the claimant is a 37-year-old, right-handed female with a high school education and
some additional college courses. She had been employed as an administrative assistant until her date of
disability (9/27/08) initially the result of headaches. Numerous other symptoms and possible etiologies
were reported. The undersigned will only discuss the most salient information regarding the claimant's
                                                                                              claimant’s
neuropsychological status in accordance with her subjective neurocognitive complaints. Medical
colleagues, in internal medicine, infectious disease, and neurology, have also reviewed these records and
will comment accordingly within their area of expertise.

Attending physician statements (APS) were completed by multiple medical specialists.

On 1/13/08, Dr. Silvers, neurologist, indicated "it“it is my recommendation that Haley Spears return to
work on a part-time basis, and work her way up to full-time status within the next month".
                                                                                         month”. Primary
diagnosis was migraine. In contrast, a second form was completed on 11/11/08 indicating that the
claimant was restricted from 9/29/08 —    – 12/8/08 as a result of migraine and encephalopathy. On 10/1/08,
Dr. Gordon, neurologist, completed a restrictions form indicating that there were "none"“none” restrictions
from a physical, mental, or cognitive perspective. Another neurological APS was completed by Dr.
Zagar from 5/26/09 —  – 6/21/10. In a letter, Dr. Zagar indicated, "Unfortunately,
                                                                     “Unfortunately, while she has had
improvement in headaches, she continues to have fatigue and cognitive issues which limit her daily
functioning, and, in my opinion, have made her unable to work at this time. I expect that she will be
able to return to work in the next few months, probably initially part time and later hopefully full time,
but that it is detrimental to her to expect that at this time."
                                                         time.” A similar letter was completed on 10/6/09
                                                  “fatigue and cognitive issues".
once again indicating that she was limited by "fatigue                    issues”. On 6/22/09, Dr. Raxlen,
neuropsychiatrist with specialties in nutritional medicine and systemic Lyme disease, indicated that the
claimant has been diagnosed with Lyme disease. Dr. Raxlen indicated "at      “at this time it is not possible for
Ms. Spears to work full time or part time, and disability leave is medically necessary for her. Due to the
duration of her illness and the extensive, multisystemic nature of her symptoms, particularly the
                                                                                         months”. On 1/20/10,
neurological involvement, her treatment is very likely to last for a minimum of 12 months".
Dr. Raxlen completed a mental residual functional capacity assessment indicating that the claimant was
“markedly limited”
"markedly    limited" in essentially all aspects of memory and cognitive functioning, including "remember
                                                                                                      “remember
locations, understanding very short simple instructions, carrying out detailed instructions, performing


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activities within a schedule, and set realistic goals and make plans independently.”
                                                                     independently." It appears that this
form was completed without any formal neurocognitive or mental status assessment; this was merely
                         claimant’s subjective report/complaints.
completed based on the claimant's

                                   claimant’s initial complaints/symptoms involved vascular headaches
From a historical perspective, the claimant's
(migraines). Over the course of a few months, she had been evaluated by numerous neurologists. An
initial cerebral MRI (9/2/08) identified a nonspecific right temporal lesion. She was evaluated
neurologically by Dr. Silvers whose neurological examination was unremarkable which included mental
status examination, sensorimotor evaluation, gait and coordination, and cranial nerve testing. An EEG
                     “rare” polymorphic delta slowing in both temporal regions. A repeat MRI (10/6/08)
(9/18/08) identified "rare"
identified a stable and non-enhancing white matter lesion involving the right temporal lobe. This was
considered to be a possible chronic demyelinating plaque.

On 11/3/08, the claimant was seen for another neurological evaluation, per Dr. Gordon. Neurological
evaluation was unremarkable. Impression included common migraine and nonspecific white matter
lesion that represented a "scar".
                          “scar”.

Based on questionable neuroimaging findings, the claimant was evaluated per Dr. Baehring, neuro-
oncologist, at Yale University School of Medicine (11/25/08). It was noted that "Ms. “Ms. Spears presents to
                                             opinion”. Physical examination, including an extensive
the Yale Neurology Clinic seeking another opinion".
neurological examination was unremarkable. She was deemed alert and oriented with fluent language
    “no cognitive deficits".
and "no            deficits”. Dr. Baehring also noted a small pineal cyst of insignificance. His
impression included a right temporal lobe signal abnormality of unknown etiology, pineal cyst, and
headache of unknown etiology. The claimant was re-evaluated per Dr. Baehring on 4/22/13. This was
based on the recommendation for interval surveillance of the right temporal lesion and pineal cyst.
                                      “since her last office visit, she has no neurologic symptoms to
Within the clinic note, it was noted: "since
report.” Neurological evaluation was unremarkable. In conclusion, Dr. Baehring indicated "I
report."                                                                                       “I am very
              Haley’s status. The two brain MRI abnormalities have remained entirely stable, and I think
pleased with Haley's
                                                                       years.”
we can now increase the intervals between surveillance scans to 2 years."

A neurology peer review was completed by Dr. Potts, on 12/18/08 and 12/23/08, respectively. Dr. Potts
commented on the claimant's headaches indicating that "she“she appears to have nearly daily headaches, the
severity of which is likely to preclude her from working. Currently, the claimant's
                                                                           claimant’s medications are
being adjusted. It appears reasonable to extend the no work recommendation until the end of January.”
                                                                                                January."
On 12/23/08, Dr. Potts indicated that a "return
                                          “return to work date of 1/7/09 appears reasonable".
                                                                                 reasonable”. Furthermore,
                                                                       “who indicated he had not placed
it was noted that Dr. Potts had spoken with Dr. Gordon, neurologist "who
any restrictions or limitations on the claimant's work capacity and had not recommended she stay out of
work.”
work. 99




On 10/6/09, a letter was forwarded per Dr. Zagar, neurologist, addressing the claimant's overall status.
Specifically, Dr. Zagar indicated "I
                                  “I have been following Haley Spears for her neurological issues caused
by CNS Lyme disease since January 2009. These symptoms include frequent headaches, severe fatigue,
joint pain, digestive problems, and cognitive complaints. She remains unable to work even on a part-
      basis.”
time basis."



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An independent peer review was completed by Dr. Silverman, internist, on 11/23/09 and 4/22/10. As is
customary in peer reviews, the report included a summary of medical documentation, peer to peer
consultation, conclusion, and responses to referral questions. With regard to Lyme disease, Dr.
Silverman indicated "the
                       “the claimant does not have any history or evidence of Lyme disease. A lumbar
puncture was completed on 2/3/09 which was positive by IgG for Borrelia antibodies, but negative for
IgM. The significance of this testing is not consistent with a diagnosis of neuroborreliosis. Regarding
impairment, Dr. Silverman indicated "there
                                        “there is no clear-cut evidence of impairment from 2/8/09 to the
present. Physical exams do not support evidence of restrictions and/or limitations".
                                                                            limitations”. In a follow-up peer
review (4/22/10), Dr. Silverman indicated "it “it is my opinion, with a reasonable degree of medical
certainty, that the diagnoses are not appropriate with respect to Lyme disease, and specifically
neuroborreliosis. In addition, to date, there has not been any documentation revealing any evidence of
other tick-borne illness supporting these other diagnoses. The claimant has been receiving multiple
courses of other intravenous therapies, all of which are not standard of care in treatment for these
diagnoses which indeed had not been confirmed or further elucidated through requests for information
by Dr. Raxlen".
        Raxlen”. As previously noted, the claimant had only undergone one neuropsychological
assessment since 2008. This was completed per Dr. Rissenberg in July 2010. The evaluation was
marginal from a neuropsychological perspective, non-comprehensive, and nonstandardized.
Furthermore, no effort testing was administered (e.g., embedded, freestanding). A number of subtest
scores were noted within the body of the report, and WAIS-III and WMS-III summary report
information was attached to the report. The undersigned did not have access to raw neuropsychological
test data. Furthermore, at this juncture, the test results must be considered obsolete (6 years old). In any
event, the test results and opinion, of Dr. Rissenberg, can respectfully be challenged. In particular, it
                                   “highly motivated and gave her best effort on all tasks."
was noted that the claimant was "highly                                                tasks.” Once again,
this can be easily scrutinized based on the fact that no formal effort testing was administered. In
addition, Dr. Rissenberg, for some unknown reason, appeared to have overestimated the claimant’s
                                                                                              claimant's
premorbid level of intellectual functioning (1/15). Based on review of specific subtest scores, level of
education, and work history, it is more likely that the claimant has been functioning within the average
range of general intelligence. As a result of a rather cursory neuropsychological assessment without
formal effort testing, the interpretation of neuropsychological test data is limited, and thus, a
neuropsychologist would not be able to render an opinion with any degree of neuropsychological
                                                       “these findings are consistent with frontal or diffuse
certainty. Despite this, Dr. Rissenberg opined that "these
cerebral dysfunction as seen in chronic infectious or inflammatory illness."
                                                                       illness.”

On 9/9/10, Dr. Raxlen, in letter form, highlighted a number of subjective complaints of the claimant,
including "brain
          “brain fog, confusion, and memory problems."
                                                 problems.” Furthermore, he commented on the
aforementioned neuropsychological evaluation indicating that Dr. Rissenberg had opined that a "marked
                                                                                                “marked
decline in overall intellectual functioning was among the findings. Dr. Rissenberg's
                                                                        Rissenberg’s evaluation strongly
supports Ms. Spears’
              Spears' eligibility for full-time disability benefits."
                                                           benefits.”

Provider Interview with Robert Lang, MD, Endocrinology completed by Robert Cooper, M.D.,
F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:
Please refer to attached appendix




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Provider Interview with Zane Saul, MD, Infectious Disease completed by Kent Crossley, MD,
FACP, Infectious Disease, Internal Medicine:
I called Dr. Saul’s                    29th at 11:00 am, March 11stst at 1:00 pm, and March 2nd
             Saul's office on February 29th                                                 2nd at 10:00 am
and 3:00 pm. I had been told he would call me back on the afternoon of 3/2/16. He did not.

Provider Interview with Joachim Baehring, MD, Neurology, Neuro-Oncology completed by Daniel
Kitei, DO, MA, Neurology, Neuromuscular Medicine:
Multiple attempts were made to reach Dr. Baehring: on 2/25/16 at 11:00 am when a message was left
with Kay; on 2/26/16 at 9:30 am when a message was left with June; and on 2/29/16 at 1:00 pm when a
message was left with Kay. No return calls were placed. If a return call is placed, an addendum will be
dictated.

Provider Interview with Kristin Giannini, MD, Family Practice completed by Robert Cooper,
                                                                                        Coopers
M.D., F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:
I attempted to reach Dr. Giannini on 2/18/16 at 315PM EST, and a message was left on the office
voicemail. A second attempt was made on 2/19/16 at 1215PM EST, and a message was left on the office
voicemail. A third attempt was made on 2/24/16 at 1135AM EST, and a message was left on the office
voicemail.

Panel Call facilitated by Erin Truesdale
A panel call was facilitated between Dr. Kent Crossley, Infectious Disease; Dr. Michael Raymond,
Neuropsychology; Dr. Daniel Kitei, Neurology; and Dr. Robert Cooper, Endocrinology on 3/2/16 at
5:30 PM CST.

Dr. Cooper stated that he was asked to look at the case from several perspectives, including
endocrinology, rheumatology, GI, and cardiology. From an endocrinology perspective, Dr. Cooper
opines that there is no evidence in the available records to support impairment. The claimant has a
history of thyroid issues, including multinodular thyroid and hypothyroidism. In 2009, a biopsy of the
thyroid was done by Dr. Oberstein, which was found to be benign. She had her thyroid removed in June
2013, and subsequent thyroid ultrasounds showed no recurrence of cancer. From a
rheumatology/musculoskeletal perspective, Dr. Cooper said that the records indicated Dr. Kage
performed exams of synovitis and musculoskeletal systems on 1/19/09 and 7/20/09 which were
                                            claimant’s PCP, Dr. Giannini, opined restrictions and
unremarkable. Dr. Cooper added that the claimant's
limitations in 2010 due to her plethora of symptoms, but provided no clinical evidence to back up her
opinion within the medical records provided for review. From a gastroenterological perspective, Dr.
Cooper noted that there were no abnormal findings. Finally, Dr. Cooper stated that from a cardiology
perspective, all exams within the available evidence were also normal. Additionally, sleep studies were
conducted that were normal. In summary, Dr. Cooper opines that, overall, there is no evidence within
the available records to support functional impairment for the timeframe in question.

Per Dr. Crossley, he found nothing in the available records to support impairment, and he agrees with
    Cooper’s assessment. The claimant's
Dr. Cooper's                     claimant’s symptoms were first reported in 2007, and her broad spectrum
of medical complaints included fatigue, sensitivity to smells, slurred speech, sensitivity to sound, neck
pain, night sweats, fever, heart palpitations, gastrointestinal problems, joint pain, muscle weakness,
fasciculations, neuropathy, sleep disturbances, depression, anxiety, and neurocognitive deficits. Dr.


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Crossley noted that the claimant seemed to bounce from one doctor to the next for several years until she
found Dr. Raxlen, who opined that she had Lyme disease, as well as Borrelia and Bartonella infections.
He began the claimant on an antibiotic regimen, including azithromycin, rifampin, and Mepron. In
October 2009, the claimant was being treated with ceftriaxone and oral doxycycline. She also saw a
naturopath, who gave her more antibiotics. By 2010, the claimant told Dr. Saul that she felt worse. Dr.
Crossley added that there is a very telling note within the available records, however, by Dr. Schoen,
which stated that the claimant has never had Lyme disease as the cause of her symptoms. Dr. Saul
continued to give the claimant more antibiotics until 2012. Interestingly, the claimant reported in 2013
that her symptoms became worse when she was off the antibiotics, but by June 2014, her symptoms had
drastically improved off of antibiotics. Dr. Crossley went on to say that there had been numerous tests
done over the years, and all of them were negative, with the exception of one. This was cerebrospinal
fluid tested on 2/3/09, which was reported to have a positive IgG Western Blot for Borrelia burgdorferi.
Dr. Crossley stated that, for a person who has never had a single positive Western Blot on serum, this
result means nothing. Overall, the evidence shows self-reported symptoms and a lack of objective data.
Thus, Dr. Crossley opines that functional impairment is not supported for the timeframe in question.

Dr. Kitei stated that he agrees with both Dr. Cooper and Dr. Crossley in that there is nothing within the
available records to support impairment. He stated that Lyme disease can cause neurological symptoms,
but while he was looking over the records, he was questioning that diagnosis. Starting in 2008, the
claimant had more than ten neurological tests done, which were all normal. She was seen at Yale
Neurology, where a physical examination was found to be normal. The claimant has also complained of
headaches. In 2013, Dr. Kitei noted that the claimant no longer reported headaches and that they had
resolved. On 3/7/13, the claimant saw Dr. Saul and reported at that time to be doing well, and by 6/9/14,
her energy level was better. At that time, her subjective complaints had improved, as well. Dr. Kitei
deferred opining on cognitive impairment to the neuropsychologist reviewing the case. In conclusion,
Dr. Kitei opined that there was no evidence in the records to support functional impairment.

Dr. Raymond commented that he agrees with the above reviewers’
                                                           reviewers' assessments. He stated that the
claimant had seen 15 different specialists and eight different neurologists over the course of her
treatment. Dr. Raymond said that there is no evidence in the available documentation that the claimant
is suffering from neurocognitive abnormalities. There was a neuropsychological evaluation done on one
occasion, by Dr. Rissenberg in July 2010. This evaluation rendered only marginal results, and no
validity testing or formal effort testing was administered. Regardless, Dr. Rissenberg concluded that the
              “consistent with frontal or diffuse cerebral dysfunction as seen in chronic infectious and
results were "consistent
inflammatory illness."
                illness.” Dr. Raymond disagrees with this assessment. The only abnormal finding was in
    Raxlen’s mental residual functional capacity assessment on 1/20/10, which indicated that the
Dr. Raxlen's
               “markedly limited"
claimant was "markedly     limited” in memory and cognitive functioning, including "remember
                                                                                       “remember locations,
understanding very short simple instructions, carrying out detailed instructions, performing activities
                                                            independently.” However, Dr. Raymond notes
within a schedule, and set realistic goals and make plans independently."
                                                  claimant’s actual functional abilities at the time. Dr.
that this assessment does not coincide with the claimant's
Raymond opines that there is no evidence in the records to support functional impairment, and no
etiology to support any neuropsychological diagnoses.

The reviewers agreed with each other's
                                 other’s findings and had no additional questions. With nothing further to
add, they were thanked for their time, and the panel call concluded.


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Analysis

Robert Cooper, M.D., F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:
                                                                             reviewer’s opinion within a
Based on the information available for review, as described above, it is the reviewer's
reasonable degree of clinical probability that the evidence does not support global impairment and that
the claimant is able to work without restrictions during the periods 9/27/2008 through 3/27/2009, and
3/28/09 through 3/31/2015.

Although the claimant has a history of micropapillary thyroid cancer, she underwent total thyroidectomy
in 6/2013 and has not had any recurrence of the cancer. She appears to be clinically and biochemically
euthyroid as was noted by Dr. Oberstein on 11/6/13 and Dr. Albritton on 12/17/15. There are no findings
on exams of synovitis or musculoskeletal finds by Dr. Kage on exams on 1/19/09 or 7/20/09 to support
the degree of impairment opined in her attending physician letters on 2/9/09 and 8/4/09. There are no
findings on exams including neurological or musculoskeletal exams by Dr. Giannini 3/10/09 or 11/19/12
support effect on functionality or supporting ongoing restrictions or limitations opined on 1/20/10 or
7/9/10. There was no evidence of a GI disorder leading to ongoing restrictions or limitations. There are
                                               O’Brien to support impairment from a gastrointestinal
no focal abdominal findings on exams by Dr. O'Brien
perspective. Dr. Najeer noted that the claimant had no cardiac symptoms. Stress test, echo, and Holter
were noted to be normal. The claimant had a sleep study which failed to reveal the presence of sleep
apnea.

Kent Crossley, MD, FACP, Infectious Disease, Internal Medicine:
There is no evidence the claimant has had Lyme disease or other infections that would be functionally
limiting. This conclusion is based on the absence of any objective findings of late-stage Lyme disease
(typically manifest by arthritis, neurologic findings, or a cardiac conduction defect) and the totally non-
specific self-reported symptoms noted by the claimant. Importantly, except for a single CSF test that is
                                    claimant’s testing for tick-borne illnesses was negative. Several
impossible to interpret, all of the claimant's
writers have noted that neurological Lyme disease does not occur in individuals with a negative serum
Western Blot studies. As noted by one recent reviewer (Halperin JJ. Nervous system Lyme disease.
Infect Dis Clin North Am 2015; 29:241-53), neurological Lyme disease is part of disseminated
infection, and it is not seen in the absence of positive serum tests for Borrelia antibody. I agree with Dr.
Brusch (infectious diseases) who wrote in his peer review report of 9/27/10 that Ms. Spears "does
                                                                                                “does not
have Lyme disease of any type."
                             type.” Moreover, as Halperin notes, this infection is easily treated with oral
antibiotics and the first course of doxycycline the claimant received would have been effective therapy.

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:
                                                                             reviewer’s opinion within a
Based on the information available for review, as described above, it is the reviewer's
reasonable degree of clinical probability that the evidence does not support impairment from a
neurologic standpoint. The claimant has complained intermittently of headaches but the most recent note
including notes from 2009 and 2010 detail that she had significant improvement. When she was seen at
Yale Neurology on 7/30/10, she had not had migraines for months, and when she saw Associated
Neurologists of Southern Connecticut on 3/29/10, her migraines were well controlled. When she saw
Yale Neurology on 4/22/13, she did not have any neurologic symptoms and headaches had largely
resolved. The claimant has had consistently normal neurologic examinations, most recently on 4/22/13
at Yale Neurology but there are over ten normal neurologic examinations throughout the records and no


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neurologic examinations that were abnormal. The claimant has complained of Lyme disease, and that
diagnosis is in question, but I will yield to the infectious disease reviewer in regards to Lyme disease.
The claimant has also had cognitive complaints, but there is a reviewer from neuropsychology reviewing
the case in that regard, so I will also not opine on that.

Michael Raymond, PhD, ABN, Neuropsychology:
Based on the information available for review, as described above, it is the reviewer's
                                                                              reviewer’s opinion with a
reasonable degree of neuropsychological certainty that neurocognitive impairment is not supported
within the time frame in question (9/27/08 —– 3/31/15). While the claimant had been evaluated by 5 or 6
different neurologists, all neurological examinations, as previously discussed, were well within the
normal range. There was no suggestion, whatsoever, of reduced cognitive efficiency. The only
suggestion for "inattention,
                “inattention, brain fog, memory loss"
                                                 loss” were reported as part of an interview and based
              claimant’s subjective report. Initial problems began that were primarily related to vascular
solely on the claimant's
headaches. Additional problems began when the claimant underwent an initial cerebral CT scan and
multiple cerebral MRI's
                   MRI’s identifying a nonspecific right temporal lesion and eventual pineal cyst.
Fortunately, serial evaluations had remained stable and without evidence of an acute process. A
plethora of other subjective complaints and medical issues were noted and addressed over time.

Despite the claimant’s
             claimant's subjective neurocognitive complaints, she was only evaluated
neuropsychologically on one occasion. This occurred per Dr. Rissenberg in July 2010. As noted, Dr.
Rissenberg’s conclusion that the neuropsychological test results "are
Rissenberg's                                                     “are consistent with frontal or diffuse
cerebral dysfunction as seen in chronic infectious and inflammatory illness"
                                                                     illness” is certainly not confirmed
or a viable clinical explanation based on the neuropsychological test results. In fact, the evaluation itself
was cursory, non-standardized, and was limited by the exclusion of formal effort testing, as noted above.
Premorbid levels of intellectual functioning appeared to be miscalculated based on the method and
rationale documented in that prior report. Overall, based on those assessment factors, it is highly
unusual that a neuropsychologist would be able to render a clinical opinion with any degree of
neuropsychological certainty.

In summary, the preponderance of clinical evidence contained within this file does not support
neurocognitive impairment within the designated time frame.

Questions
The below questions are answered for the timeframe of 9/27/2008 through 3/27/2009 and 3/28/2009
through 3/31/2015. Please refer to the Analysis section above for additional details and rationale
                reviewer’s opinions.
supporting this reviewer's

Robert Cooper, M.D., F.A.C.E., F.A.C.P, Endocrinology, Internal Medicine:

   1. Please contact PCP Kristin Giannini, MD, who treated claimant 3/10/09 through 11/25/13,
      regarding Ms. Spear's
                     Spear’s condition, treatment, and functional capacity.

       See provider interview section




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   2. Please contact Endocrinologist Robert Lang, MD, who treated claimant from 2/21/13
      through 7/10/14, regarding Ms. Spear's
                                     Spear’s condition, treatment, and functional capacity.

      See provider interview section

   3. From an Internal Medicine and Endocrinology perspective, based on the available medical
                                    claimant’s impairments, cause of any impairments, severity of
      evidence, please describe the claimant's
      impairments, and the duration of any impairments, during the periods 9/27/2008 through
      3/27/2009, and 3/28/09 through 3/31/2015.

      From an Internal Medicine and Endocrinology perspective, based on the available medical
      evidence, the claimant should have no impairments during the periods 9/27/2008 through
      3/27/2009, and 3/28/09 through 3/31/2015

   4. Based on the medical evidence, from an Endocrinology and Internal Medicine perspective,
      please provide your best assessment of the claimant's
                                                     claimant’s functional capacity (including
      activities of daily living, physical capacity for work, capacity to travel) during the periods
      9/27/2008 through 3/27/2009, and 3/28/09 through 3/31/2015.

      Based on the medical evidence, from an Endocrinology and Internal Medicine perspective, there
                                 claimant’s functional capacity (including activities of daily living,
      should be no effect on the claimant's
      physical capacity for work, capacity to travel) should not be during the periods 9/27/2008
      through 3/27/2009, and 3/28/09 through 3/31/2015.

Kent Crossley, MD, FACP, Infectious Disease, Internal Medicine:

   1. Please contact Zane Saul, MD, who treated claimant from 8/8/10 through 6/9/14, regarding
      Ms. Spear's
          Spear’s condition, treatment, and functional capacity.

      Please see the above notes. Dr. Saul did not return my calls.

   2. From an Infectious Disease perspective, based on the available medical evidence, please
                   claimant’s impairments, cause of any impairments, severity of impairments,
      describe the claimant's
      and the duration of any impairments, during the periods 9/27/2008 through 3/27/2009, and
      3/28/09 through 3/31/2015.

      I see no documented impairments for the periods of time noted that would be associated with the
      presence of any infection. Her symptoms are non-specific and not related to any infection.

   3. Based on the medical evidence, from an Infectious Disease perspective, please provide your
      best assessment of the claimant's
                             claimant’s functional capacity (including activities of daily living,
      physical capacity for work, capacity to travel) during the periods 9/27/2008 through
      3/27/2009, and 3/28/09 through 3/31/2015.




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      The claimant's
          claimant’s functional capacity would not have been limited by any infection during the
      periods noted. Her non-specific symptoms are not the consequence of any infection.

Daniel Kitei, DO, MA, Neurology, Neuromuscular Medicine:

   1. Please also contact Joachim Baehring, MD, who treated claimant from 11/25/08 through
      4/22/13, regarding Ms. Spear's
                             Spear’s condition, treatment, and functional capacity.

      Multiple attempts were made to reach Dr. Baehring as noted above and no return calls were
      placed.

   2. From a Neurology perspective, based on the available medical evidence, please describe the
      claimant’s impairments, cause of any impairments, severity of impairments, and the
      claimant's
      duration of any impairments, during the periods 9/27/2008 through 3/27/2009, and 3/28/09
      through 3/31/2015.

      Please see the Analysis section above.

   3. Based on the medical evidence, from a Neurology perspective, please provide your best
      assessment of the claimant's
                        claimant’s functional capacity (including activities of daily living,
      physical capacity for work, capacity to travel) during the periods 9/27/2008 through
      3/27/2009, and 3/28/09 through 3/31/2015.

      Please see the Analysis section above.

Michael Raymond, PhD, ABN, Neuropsychology:

   1. Please explain the results and conclusions of the July 2010 Neuropsychological Evaluation
      by Marian Rissenberg, PhD including areas of cognitive strength and weakness,
      psychological findings, results of validity testing.

      Respectfully, the results and conclusions rendered by Dr. Rissenberg following her July 2010
      neuropsychological evaluation, are of concern and easily refuted. Specifically, the conclusion
               “findings that are consistent with frontal and diffuse cerebral dysfunction as is seen in
      included "findings
      chronic infectious and inflammatory illness".
                                             illness”. That evaluation was cursory, non-standardized,
      and without formal effort testing. Premorbid level of intellectual functioning appeared to be
      miscalculated as it is highly unlikely that the claimant functioned within the high average range
      of general intelligence. The evaluation, despite being obsolete, did not objectively support
      neurocognitive strengths or weaknesses at the time of the evaluation.

   2. Based on the medical evidence, from a Neuropsychology perspective, please provide your
      best assessment of the claimant’s
                             claimant's functional capacity (including activities of daily living,
      capacity for work, capacity to travel) during the periods 9/27/2008 through 3/27/2009, and
      3/28/09 through 3/31/2015.



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        Unfortunately, based on a dearth of neuropsychological evidence, the undersigned is unable to
        render a conclusive clinical opinion regarding functional capability with any degree of
        neuropsychological certainty within the requested timeframe. However, the available
        neuropsychological evidence offered in the medical record does not support presence of
        neurocognitive impairments or restrictions, including activities of daily living (ADL) for the
        noted timeframe.

If you need any further assistance, please do not hesitate to call.

Sincerely,

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Daniel Kitei, DO, MA
Board Certified Neurologist
Board Certified Neuromuscular Medicine
Colorado License #47342

                                   --,

,./Z                --------
Robert Cooper, M.D., F.A.C.E., F.A.C.P
Board Certified Endocrinologist
Board Certified Internal Medicine
Massachusetts License #204180
New Jersey License #25MA07589200
New York License #198082
Pennsylvania License # MD057608L




Kent Crossley, MD, FACP
Board Certified Internal Medicine
Board Certified Infectious Disease
Minnesota License #18766




Michael Raymond, PhD, ABN
Board Certified Neuropsychologist
New Jersey License # SIO2529
                     SI02529




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March 4, 2016                                                                        Page 19 of 19




All opinions in this report are solely the opinions of
                                                    of the author. There is no conflict of
                                                                                        of interest. There is
no doctor/provider-patient treatment relationship, and the author did not personally
                                                                             personally examine the
claimant. All opinions are advisory only, independent, and are based upon a reasonable degree of      of
medical certainty and evidence-based medical concepts, considering all the data available at the time of    of
preparation of
preparation  of this report. This report is not intended as a recommendation regarding any decisions on
                            functions to be made or enforced. BMI
a claim or administrativefunctions                             BMI does not make claim decisions.




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                                                                   6600 France Ave. S., Suite 245
                                                                               Edina, MN 55435
                                                                          1-866-927-0184 phone
l      Behavioral •Medical                                                     952-927-7147 fax
       Interventions                                               office@behavioralmedical.com




March 2, 2016
                                    **CONFIDENTIAL**


Robert Lang, MD                                                    Re: Haley Spears
Fax: (203) 248-6933                                                Claim No: REDACTED
                                                                   DOB:
                                                                   DOB: REDACTED
Dear Dr. Lang:

Thank you for taking the time to discuss your patient, Haley Spears, with me. The following is a
summary of our conversation on 2/19/16 at 12:00 pm ET. Please review it, make any comments
or corrections you might have, and sign and fax this letter back to me. A response is
respectfully requested within five business days from the date of this letter. If you do not
respond, I will conclude that this letter is an accurate representation of our conversation.

Dr. Lang stated Ms. Spears was found to have an incidental thyroid cancer. She was being
treated with levothyroxine. Dr. Lang stated there should be no impact on her functionality from
an endocrine perspective.

Again, I appreciate the opportunity to discuss Haley Spears with you.

Sincerely,



Robert Cooper, M.D., F.A.C.E., F.A.C.P
Board Certified Endocrinologist
Board Certified Internal Medicine
Massachusetts License #204180
New Jersey License #25MA07589200
New York License #198082
Pennsylvania License # MD057608L




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MAF/04/2016/FRI 09:56 AM      DR. ROBERT LANG
                              DR.                                          248 6933
                                                                   No. 203 240
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           Case
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           Robert Lang, MD                                                                  Re: Haley Spears
           March 2, 2016                                                                         Page 3 of
                                                                                                        of33




                            Please Complete and Fax to Confidential Fcu;.-
                                                                    Fax: 952-927-7147

                                                         acc1irate representation of our conversation and my
           I have read the above and agree that it is an accurate
           assessment of my patient, Haley Spears.

           Addle()
           Additional comments:




                        / ! I
                 ~.~rt{)l/t
           Robert Lang, MD                    ·                                  Date




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                                                                        03/04/2016
                                                                        03/04/2016                (GMT-05:00)
                                                                                           9:53AM (GMT-05:00)
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                            CURRICULUM VITAE

                            Michael J. Raymond
                               866-927-0184



EDUCATION:

1981                   Ph.D. Rehabilitation (Psychology), Florida
                       State University, Tallahassee, Florida

1978                   M.S. Rehabilitation Counseling, University of
                       Scranton, Scranton, Pennsylvania

1974                   B.A. History/Education, St. Francis College, Loretto,
                       Pennsylvania

PROFESSIONAL EXPERIENCE:

     – Present
2010 —           Clinical Associate Professor
                  Department of Clinical Sciences, The Commonwealth
                  Medical College, Scranton, Pennsylvania.
                      Provide clinical practicum teaching and supervision of
                      medical students with primary emphasis in
                      clinical/forensic neuropsychology and rehabilitation.

     – Present
2010 —           Consulting Neuropsychologist
                  Neuropsychological Rehabilitation Services
                  Neptune, New Jersey.

                     Provide comprehensive clinical and forensic
                     neuropsychological assessment and consultation.

     – Present
2005 —           Neuropsychological Consultant
                  Behavioral Medical Interventions
                  Minneapolis, Minnesota.

Updated 5.5.14


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                         Provided clinical and forensic neuropsychological
                         consultation.

     – 2010
2004 —             Director, Adult Neuropsychology Services
                    Comprehensive Neuropsychological Specialties,
                    Monmouth Beach, New Jersey.
                         Provide comprehensive clinical and forensic
                         neuropsychological assessment and consultation.

     – Present
2002 —             Clinical Professor,
                    Department of Psychology, Philadelphia College of
                    Osteopathic Medicine, Philadelphia, Pennsylvania.
                         Provide clinical practicum teaching and supervision for
                         doctoral psychology students with primary emphasis on
                         clinical neuropsychology and rehabilitation.

1998 - 2000        Visiting Professor,
                   Trnava University, Graduate School of Public Health
                    and Nursing, Trnava, Slovak Republic.
                          Taught graduate courses with primary emphasis on
                          neuropathology, rehabilitation and neuropsychology.

1994 - 1997        Adjunct Professor,
                   Marywood University, Graduate School of Arts and Sciences
                   (Psychology), Scranton, Pennsylvania.
                         Taught graduate level courses with primary emphasis
                         on neuroanatomy, neuropsychological assessment and
                         neurological disorders.

1992 - 2006        Surveyor, Brain Injury Programs,
                   Commission on Accreditation of Rehabilitation Facilities,
                        Tucson, Arizona.

1990 - 2006        Neuropsychologist,
                   Monmouth Neuropsychology Associates,
                   Red Bank, New Jersey.
                        Provided comprehensive clinical and forensic
                        neuropsychological assessment and consultation.

Updated 5.5.2014                        2


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1988 - Present     Director, Clinical/Forensic Neuropsychology,
                   Clinical Director, Brain Injury/Sports Concussion Program,
                   The John Heinz Institute of Rehabilitation Medicine, Wilkes-
                   Barre, Pennsylvania.
                         Provide comprehensive inpatient/outpatient
                         neuropsychological consultation to physicians,
                         and multidisciplinary rehabilitation team, provide
                         consultation to the
                         consultation to the Veteran's
                                             Veteran’s Administration
                                                        Administration Medical
                                                                       Medical
                         Center (VAMC), inservice training/education and
                         research. Provide expert forensic neuropsychological
                         testimony. Provide all managerial, administrative and
                         supervisory duties to a five (5) person department,
                         including cognitive rehabilitation and psychometry and
                         sports concussion program affiliated with professional,
                         college, and high school teams.

     – 1998
1986 —1998         Neuropsychologist, (part-time), Wyoming Valley Health Care
                   System, First Hospital Wyoming Valley, Wilkes-Barre,
                   Pennsylvania.
                         Provided comprehensive inpatient neuropsychological
                         consultation to the psychiatry service, including adult,
                         adolescent, children and addictive treatment programs.
                         Participated in biweekly staff meetings and inservice
                         training.

1986 - 1988        Neuropsychologist, Director, Psychological Services,
                   The John Heinz Institute of Rehabilitation Medicine, Wilkes-
                   Barre, Pennsylvania.
                         Provided comprehensive inpatient/outpatient
                         neuropsychological consultations to the medical service
                         and multidisciplinary rehabilitation team, pain/stress
                         management, cognitive rehabilitation, psychotherapy,
                         inservice training and research. Provided all managerial,
                         administrative and supervisory duties to seven (7) person
                         Department of Psychological Services. Developed a
                         neuropsychological laboratory and contributed toward the
                         development of a cognitive rehabilitation service and
                         brain injury rehabilitation program.

Updated 5.5.2014                        3


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1985 - 1986        Neuropsychologist, Neurorehab Associates, Inc., Rochester
                   New York.
                        Provided comprehensive neuropsychological consultation
                        including assessment and evaluation for day rehabilitation
                        patients and outpatients and individual, family and group
                        psychotherapy. Responsible for the supervision of the
                        neuropsychology service including a staff psychologist
                        and three (3) psychometrists. Contributed to the
                        development of a comprehensive day rehabilitation
                        service for neurologically impaired individuals. Provided
                        consultation to the interdisciplinary rehabilitation team.
                        Participated in weekly neurology grand rounds, The
                        University of Rochester School of Medicine.

1982 - 1985        Clinical Psychologist, (part-time), Family Counseling Clinic,
                   Mansfield, Pennsylvania.
                         Provided intake/brief psychological evaluations and
                         individual family psychotherapy.

1981 - 1985        Clinical Psychologist, Department of Rehabilitation Medicine,
                   Clinical Psychology Section, The Williamsport Hospital
                   and Medical Center, Williamsport, Pennsylvania.
                         Provided consultations to the medical service and
                         multidisciplinary rehabilitation team, neuropsychological
                         assessment and evaluation, pain/stress management,
                         psychotherapy and inservice training. Consultant and
                         contributing editor to the Department of Sports Medicine.

1979 - 1981        Graduate Assistant, Department of Human Services and
                        Studies, Florida State University, Tallahassee, Florida.
                        Instructor: Medical and Psychological Aspects of
                        Disability, 5 hour undergraduate course.

                         Supervisor: Undergraduate intern and field experience,
                                     7 quarters.
                         Researcher: Curriculum Development, Task Force of
                                     Independent Living.1979 —– 1980

1979 - 1980        Directed Individual Study, Department of Psychology,
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                    Tallahassee Pain and Stress Management Institute,
                    Tallahassee, Florida.
                          Training and practice in pain/stress management utilizing
                          a variety of biofeedback modalities and relaxation
                          techniques.

1978 - 1979         Psychological Associate, Divine Providence Hospital,
                    Community Mental Health Center, Williamsport,
                    Pennsylvania.
                         Provided individual, marital and family psychotherapy,
                         psychological and neuropsychological assessment and
                         evaluation, and consultation with the Lycoming County
                         Prison.

1/78 - 6/78         Clinical Psychology Intern, Department of Rehabilitation
                    Medicine, Neuropsychology Section, Geisinger Medical Center,
                    Danville, Pennsylvania.
                          Training and practice in medical consultations (i.e.,
                          neurology, pediatrics, rehabilitation medicine, psychiatry,
                          etc.), provided neuropsychological assessment and
                          evaluation involved with neurologyurology/neurosurgery
                          conferences and rehabilitation medicine grand rounds.

9/77 - 12/77        Graduate Practicum, Department of Psychiatry, Clinical
                    Psychology Section, VA Medical Center, Wilkes-Barre,
                    Pennsylvania.
                         Training and practice in psychiatric consultations,
                         Individual/group therapy, and neuropsychological
                         assessment.

9/77 - 12/77       Graduate Practicum, Department of Career Development,
                   Williamsport Area Community College, Williamsport,
                   Pennsylvania.
                          Training and practice in individual and group
                          vocational counseling, and psychological/vocational
                          assessment and evaluation of college students and
                          community residents.

1974 - 1976         Supervisor, Division of Distribution, Grand Union Company,
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                   Elmwood Park, New Jersey.
                       Supervised union personnel and clerical staff; majority of
                       responsibilities included: productivity, cost analysis and
                       inventory control.



PRESENTATIONS:

November 2011            The American Board of Professional Neuropsychology
                         Preparation for Application, Work Sample Submission
                         and Examination. The National Academy of
                         Neuropsychology Annual Meeting, Marco Island, Florida.

October 2011             Behavioral Manifestations in Brain Injury. Brain Injury
                         Team Inservice. John Heinz Institute of Rehabilitation
                         Medicine, Wilkes-Barre, Pennsylvania.

September 2011           Neurocognitive Deficits in Epilepsy. Epilepsy Support
                         Group, Wilkes-Barre, Pennsylvania.

May 2011                 Clinical and Forensic Neuropsychological Aspects of
                         MTBI . The DiSepio Symposium Series, Saint Francis
                         MTBI.
                         University, Loretto, Pennsylvania.

May 2011                 Roundtable Discussion: Future Trends in Sports
                         Concussion Management. The DiSepio Symposium
                         Series, Saint Francis University, Loretto, Pennsylvania.

March 2011               Neuropsychological Performance in a Patient Following
                         Resection of a Vestibular Schwannoma. American
                                                                 3rd Annual
                         College of Professional Neuropsychology 3rd
                         Conference, Las Vegas, Nevada.

March 2011               Concussions. Call The Doctor, WVIA TV, Avoca,
                         Pennsylvania.

December 2010            Schools Treat Concussions Seriously, Newspaper
                         Interview/Article, The
                         Interview/Article,     Citizen’s Voice,
                                            The Citizen's Voice, Wilkes-Barre,
                                                                 Wilkes-Barre,
                         Pennsylvania.
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November 2010          Concussions Drawing More Attention, Newspaper
                       Interview /Article, The Times Tribune, Scranton,
                       Pennsylvania.

November 2010          Use Your Head When Making Decisions About Sports
                       Concussion, Wilkes-Barre Junior Penguins, Wilkes-
                       Barre, Pennsylvania.

October 2010           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, Vancouver, Canada.

October 2010           Neuropsychological Consequences of Moyamoya
                       Disease: A Clinical Case Study. The National Academy
                       of Neuropsychology Annual Meeting, Vancouver,
                       Canada.

May 2010               Speed that Hurts: MVA & TBI: WILK Radio, Wilkes-
                       Barre, Pennsylvania.

February 2010          Anoxic Encephalopathy Following Cardiac Arrest.
                       American College of Professional Neuropsychology
                       Conference, Las Vegas, Nevada.

November 2009          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, New Orleans,
                       Louisiana.

October 2009           Work-Related Mild Traumatic Brain Injury: Forensic
                       Neuropsychological Assessment 2009. Northeast
                       Regional Occupational Health and Safety Conference,
                       Wilkes-Barre, Pennsylvania.

October 2009           Clinical and Forensic Neuropsychology: An Overview.
                       Brain Injury Rehabilitation Team, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.
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April 2009             Visual Perceptual Symptoms Associated with Right
                       Hemispheric Pathology do not Affect Performance on the
                       TOMM. American College of Professional
                       Neuropsychology Conference, San Diego, California.

March 2009             Clinical Consideration in Sports Concussion
                       Management. Southeast Georgia Healthcare System,
                       Brunswick, Georgia.

October 2008           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. The National Academy of
                       Neuropsychology Annual Meeting, New York, New
                       York.

October 2008           Neuropsychological Consequences of Autosomal
                       Dominant Cerebellar Atrophy: A Clinical Study. The
                       National Academy of Neuropsychology Annual Meeting,
                       New York, New York.

October 2008           Concussion Among High School Athletes. Sports Fever,
                       1340 FOX Sports Radio, Wilkes-Barre, Pennsylvania.

September 2008         Traumatic Brain Injury: Healing the Body and Mind.
                       Call The Doctor, WVIA TV, Avoca, Pennsylvania.

September 2008         Expect the Unexpected: Signs and Symptoms of TBI.
                       Pastoral Care Conference, Wilkes-Barre, Pennsylvania

August 2008            Clinical and Legal Implications of Sports Concussion.
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

August 2008            Consequences of Sports Concussion. Sports Fever,
                       WSWB TV, Wilkes-Barre, Pennsylvania.

June 2008              Signs, Symptoms, and Treatment of Sports Concussion in
                       High School Athletes. Toyota High School Sports Show,
                       FOX 56 TV, Wilkes-Barre, Pennsylvania.
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February 2008          Sports Concussion: Tackling the Common Myths. You
                       Be The Judge, FOX 56 TV, Wilkes-Barre, Pennsylvania.

February 2008          Traumatic Brain Injury Overview. You Be The Judge,
                       FOX 56 TV, Wilkes-Barre, Pennsylvania.

February 2008          Mild Traumatic Brain Injury in the Workplace: Clinical
                       and Forensic Neuropsychological Considerations. PES1:
                       Worker’s Compensation
                       Worker's Compensation Conference,
                                               Conference, Las Vegas, Nevada.
                                                           Las Vegas, Nevada.

November 2007          Cumulative Effects of Multiple Concussion: A
                       Neuropsychological Case Study. The National Academy
                       of Neuropsychology Annual Meeting, Scottsdale,
                       Arizona.

November 2007          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Scottsdale, Arizona.

October 2007           Management of Sports Concussion; Sue Henry Show,
                       WILK Radio, Wilkes-Barre, Pennsylvania.

September 2007         Current Trends in Sports Concussion Management,
                       Sports Talk Saturday, WILK Radio, Wilkes-Barre,
                       Pennsylvania.

March 2007             Work-Related Mild Traumatic Brain Injury: Forensic
                       Neuropsychological Assessment. Workers Injury Law
                                           12th Annual Conference, San
                       and Advocacy Group, 12th
                       Antonio, Texas.

March 2007             Ethical Representation of Brain Injured Workers.
                                                                 12th Annual
                       Workers Injury Law and Advocacy Group, 12th
                       Conference, San Antonio, Texas.

November 2006          Sports Concussion: An Overview for the High School
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                       Athlete. Wilkes-Barre Area School District, Wilkes-
                       Barre, Pennsylvania.

October 2006           Sacred Stories of Sudden Disability, Moderator, Panel
                       Discussion, John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

October 2006           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       San Antonio, Texas.

October 2006           Neuropsychological Sequela in a Patient with a
                       Tumefactive Demyelinating Lesion. The National
                       Academy of Neuropsychology Annual Meeting, San
                       Antonio, Texas.

September 2006         Sports Concussion Management, Sports Talk, WILK
                       Radio, Wilkes-Barre, Pennsylvania.

May 2006               Sports Concussion, Advance (2006, 16, 18), Interview,
                       King of Prussia, Pennsylvania.

May 2006               Survivor/Family Panel Discussion; Moderator, 2006
                       Statewide TBI Conference, Anchorage, Alaska.

May 2006               Neuropsychological Assessment: Clinical/Forensic
                       Implications, 2006 Statewide TBI Conference,
                       Anchorage, Alaska.

May 2006               Sports Concussion, 2006 Statewide TBI Conference,
                       Anchorage, Alaska.

April 2006             Sports Concussion Management, WNEP-TV Health
                       Watch.


April 2006             Program Aims to Assess Concussions. Times Leader

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                       Newspaper Interview (April 25, 2006), Wilkes-
                       Barre, Pennsylvania.

March 2006             Traumatic Brain Injury and Concussion Management,
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

November 2005          Medical Overview: Traumatic Brain Injuries. The
                       Critical Medical, Legal and Funding Issues for Children
                       and Adults with Spinal Cord and Traumatic Brain
                       Injuries, Wilkes-Barre, Pennsylvania.

October 2005           Test of Memory Malingering (TOMM) Performance in
                       Persons with Right Hemisphere Lesions. The National
                       Academy of Neuropsychology Annual Meeting, Tampa,
                       Florida.

October 2005           The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Tampa, Florida.

August 2005            Sports Concussion Management, Sports Medicine
                       Conference, John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

November 2004          The American Board of Professional Neuropsychology
                       Preparation for Application, Work Sample Submission,
                       and Examination. Special Topic Workshop. The
                       National Academy of Neuropsychology Annual Meeting,
                       Seattle, Washington.

November 2004          Neuropsychological Findings in a Patient with HELLP
                       Syndrome. The National Academy of Neuropsychology
                       Annual Meeting, Seattle, Washington.




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June 2004              Strategies & Techniques to Improve Adjustment
                       Difficulties following Brain Injury, Brain Injury Support
                       Group, John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

June 2004              Neuropsychological Assessment of Mild Brain Injury in
                       Patients with Spinal Injuries, Brain Injury Association of
                       Pennsylvania Annual Meeting, Harrisburg, Pennsylvania.

February 2004          Community Awareness of Traumatic Brain Injury,
                       Catholic Television Network, Scranton, Pennsylvania.

October 2003           Left Temporal Parietal Infarct Secondary to Idiopathic
                       Thrombocytopenia Purpura: A Neuropsychological Case
                       Study. The National Academy of Neuropsychology
                       Annual Meeting, Dallas, Texas.

March 2003             Neurocognitive and Behavioral Concomitants of
                       Traumatic Brain and Spinal Injuries, Allied Services
                       Rehabilitation Hospital, Scranton, Pennsylvania.

November 2002          Neuropsychological Manifestations of Multiple Sclerosis,
                       National Multiple Sclerosis Society Meeting, Matamoras,
                       Pennsylvania.

October 2002           Neuropsychological Performance in a Patient with Von
                       Hippel-Lindau Disease, The National Academy of
                       Neuropsychology Annual Meeting, Miami, Florida.

August 2002            Family Intervention Strategies Following Brain Injury,
                       Brain Injury Support Group, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 2002            Cognitive and Behavioral Symptoms of Sjogren
                       Syndrome, Susquehanna Neuropsychology Group,
                       Wilkes-Barre, Pennsylvania.

November 2001          Neuropsychological Assessment: A Clinical Overview.
                       Interdisciplinary Approach to Brain Injury Rehabilitation,
                       Allied Services John Heinz Institute of Rehabilitation
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                       Medicine, Wilkes-Barre, Pennsylvania.

November 2001          Neuropsychological Manifestations in a Case of Sjogren
                       Syndrome , The National Academy of Neuropsychology
                       Annual Meeting, San Francisco, California.

May 2001               Neuropsychological Aspects of Mild Brain Injury,
                       Association of Rehabilitation Nurses, Wilkes-Barre,
                       Pennsylvania.

November 2000          Central Neurocytoma: Serial Neuropsychological
                       Findings, The National Academy of Neuropsychology
                       Annual Meeting, Orlando, Florida.

November 2000          Neuropsychological Assessment and Treatment of
                       Multiple Sclerosis, National Multiple Sclerosis Society,
                       Wilkes-Barre, Pennsylvania.

October 2000           Post Concussion: An Oft Neglected Syndrome, Medical
                       Staff Meeting, Allied Services John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

September 2000         An Expert Opinion on Concussion, Times Leader
                       Newspaper (interview), Wilkes-Barre, Pennsylvania.

May 2000               Neuropsychological Assessment of Acquired Brain
                       Injuries, Luzerne/Lackawanna County Critical Care
                       Association, Moosic, Pennsylvania.

November 1999          Neurobehavioral Sequelae of Immunotherapy
                       Anaphylaxis, The National Academy of Neuropsychology
                       Annual Meeting, San Antonio, Texas.

October 1999           Neuropsychological Assessment: A Clinical Overview.
                       Interdisciplinary Approach to Brain Injury Rehabilitation,
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

September 1999         Signs, Symptoms, and Suggestions of Everyday
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                       Concussion, Brain Injury Support Group, John Heinz

                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

August 1999            Concussion in Sports, WWDL 105 FM Radio, Scranton,
                       Pennsylvania.

May 1999               Symptom Exaggeration and Mild Traumatic Brain Injury:
                       An Unbelievable Case, Advanced Workshop in Applied
                       Clinical Neuropsychology, The Reitan Society Annual
                       Meeting, San Diego, California.

April 1999             Neurobehavioral Consequences of Acquired Brain Injury,
                       Outpatient Services, John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

November 1998          Repeal of the Helmet Law; Clinical Considerations,
                       WBRE (NBC) TV, Wilkes-Barre, Pennsylvania.

November 1998          Brainwave-R: Cognitive Strategies and Techniques for
                       Brain Injury Rehabilitation, The Reitan Society Meeting,
                       18th Annual Conference of the National Academy of
                       Neuropsychology, Washington, D.C.

September 1998         Multidisciplinary Approach to Rehabilitation, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

September 1998         Viral Encephalitis: A Case Study Based on Serial HRNB
                       Performances, The Reitan Society Annual Meeting,
                       Tuscon, Arizona.

August 1998            International Teleconference on Rehabilitation,
                       University of Scranton, Scranton, Pennsylvania.

June 1998              Post Concussion: An Oft Neglected Syndrome, Medical
                       Staff Meeting, Allied Services Rehabilitation Hospital,
                       Scranton, Pennsylvania.


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May 1998               Neurological Rehabilitation in the United States; Panel
                       Discussion, Trnava University, Slovak Republic.

May 1998               Model Brain Injury Program; Panel Discussion,
                       International Brain Injury Association Educational
                       Lecture Series, Prague, Czech Republic.

May 1998               Major Consequences of Mild Brain Injury, International
                       Brain Injury Association Educational Lecture Series,
                       Prague, Czech Republic.

April 1998             Common Misconceptions about Brain Injury Among
                       Survivors and Family Members, Brain Injury Support
                       Group, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

January 1998           Mild Brain Injury; Multispecialty Perspectives, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

December 1997          Photostimulation and Seizures: The Japanese Cartoon
                       Dilemma. WARM Radio (590 AM), Pittston,
                       Pennsylvania.

November 1997          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       Las Vegas, Nevada.

November 1997          Neuropsychological Dysfunction in a Mixed Dominant
                       Patient Following a Left Temporoparietal Abscess, The
                       National Academy of Neuropsychology Annual Meeting,
                       Las Vegas, Nevada.

November 1997          Recovery from Traumatic Brain Injury: A Cognitive
                       Rehabilitation Case Study, The Brain Injury Association
                       Annual National Symposium, Philadelphia, Pennsylvania.

May 1997               Overview of Neuropsychological/Cognitive Services:
                       Diagnosis and Treatment of Neurological Disorders, The

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                       John Heinz Institute of Rehabilitation Medicine,
                       Tunkhannock Clinic, Tunkhannock, Pennsylvania.


May 1997               Overview of Neuropsychological/Cognitive Services:
                       Diagnosis and Treatment of Neurological Disorders, The
                       John Heinz Institute of Rehabilitation Medicine, Hazleton
                       Clinic, Hazleton, Pennsylvania.

February 1997          The Effects of Traumatic Brain Injury on the Survivor
                       and Family, Brain Injury Support Group, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1996          Neuropsychological Consultation in Rehabilitation,
                       The National Academy of Neuropsychology Annual
                       Meeting, New Orleans, Louisiana.

November 1996          Neuropsychological Dysfunction in a Patient with
                       Multiple Meningiomas, Reitan Society Meeting,
                       New Orleans, Louisiana.

April 1996             Neurobehavioral Consequences of Brain Injury,
                       Valley Crest Nursing Facility, Wilkes-Barre,
                       Pennsylvania.

November 1995          Traumatic Brain Injuries, Panel Discussion, Call The
                       Doctor, WVIA TV, Avoca, Pennsylvania.

November 1995          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       San Francisco, California.

November 1995          Neuropsychological Aspects of Posthallucinogen
                       Perception Disorder, Reitan Society Meeting,
                       San Francisco, California.

October 1995           Neurosurgical/Neuropsychological Collaboration in the

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                       Diagnosis and Treatment of Meningioma, WBRE
                       (NBC) TV, Wilkes-Barre, Pennsylvania.



August 1995            Current Perspectives of Brain Injury Rehabilitation, Brain
                       Injury Support Group, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 1995            Forensic Neuropsychological Considerations in
                       Traumatic Brain Injury Cases, Litigation Department,
                       Hourigan, Kluger, Spohrer, Quinn, Wilkes-Barre,
                       Pennsylvania.

March 1995             Careers in Psychology, Kings College, Wilkes-Barre,
                       Pennsylvania.

January 1995           Brainwave-R: A Comprehensive Cognitive Rehabilitation
                       Program, Applied Cognitive Rehabilitation Training
                       Seminar, Albuquerque, New Mexico.

December 1994          Assessment of Malingering (part 2), Psychology
                       Department, First Hospital Wyoming Valley, Wilkes-
                       Barre, Pennsylvania.

November 1994          Assessment of Malingering (part 1), Psychology
                       Department, First Hospital Wyoming Valley, Wilkes-
                       Barre, Pennsylvania.

November 1994          Rehabilitation Overview, Medical Staff, Headley Court,
                       Surrey, England.

November 1994          Neuropsychological Consultation in Rehabilitation, The
                       National Academy of Neuropsychology Annual Meeting,
                       Orlando, Florida.

November 1994          The Effects of Unilateral Vascular Lesions and Gender on
                       Visual-Spatial and Verbal Auditory Attention, The
                       National Academy of Neuropsychology Annual
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                       Meeting, Orlando, Florida.

November 1994          Predictive Validity of Neuropsychological Deficit Scale
                       and Halstead Impairment Index in Mild Traumatic Brain

                       Injury: A Two Center Study, The Reitan Society
                       Meeting, Orlando, Florida.

April 1994             Neurobehavioral Consequences of Acquired Brain Injury,
                       Meadows Nursing and Rehabilitation Center, Dallas,
                       Pennsylvania.

February 1994          Summary Challenge Moderator: The National Forum
                       Conference on Federal Healthcare Legislation,
                       Washington, D.C.

December 1993          Neuropsychological Overview, Wilkes University
                       Nursing Students, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

December 1993          Traumatic Brain Injury: The Transition from
                       Rehabilitation to College, Luzerne County Community
                       College, Nanticoke, Pennsylvania.

November 1993          Grand Rounds: Penetrating Head Injury Without
                       Neuropsychological Deficits, The Susquehanna
                       Neuropsychology Group, Wilkes-Barre, Pennsylvania.

November 1993          Medicolegal Aspects of Epilepsy, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1993           Moderator: Reitan Society Meeting, The National
                       Academy of Neuropsychology Annual Meeting,
                       Phoenix, Arizona.

October 1993           The Neuropsychologist as Consultant in Rehabilitation,
                       The National Academy of Neuropsychology Annual
                       Meeting, Phoenix, Arizona.

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May 1993               Neuropsychological Assessment of Traumatic Brain
                       Injury, Head Trauma Awareness Group, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

April 1993             Head Injuries, Call The Doctor, WVIA TV, Avoca,
                       Pennsylvania

February 1993          Careers in Psychology, Kings College, Wilkes-Barre,
                       Pennsylvania.

January 1993           The Transition from Rehabilitation to School, Luzerne
                       Intermediate Unit, Wilkes-Barre, Pennsylvania.

November 1992          Medicolegal Aspects of Minor Head Injury, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

September 1992         Neuropsychology Overview: College Misericordia
                       Nursing Students, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

September 1992         Behavioral Problems Following Traumatic Brain Injury,
                       Head Injury Support Group, Wilkes-Barre, Pennsylvania.

May 1992               Minor Head Injury: Neuropsychological Perspectives,
                       The Second Annual Educational Conference of the JMA
                       Foundation, Baltimore, Maryland.

April 1992             Neuropsychological Consequences of Traumatic Brain
                       Injury, Head Trauma Symposium, Marywood University,
                       Scranton, Pennsylvania.

April 1992             Neuropsychological Aspects of Minor Head Injury, Mild
                       Traumatic Brain Injury Conference, Reading,
                       Pennsylvania.

March 1992             Neuropsychological Rehabilitation: A Clinical Overview,


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                       American Rehabilitation Nursing Association, Wilkes-
                       Barre, Pennsylvania.



March 1992             Neuropsychology Overview, Lycoming College Nursing
                       Students, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

February 1992          Halstead - Reitan Neuropsychological Battery (2 Part
                       series), Psychology Department, First Hospital Wyoming
                       Valley, Wilkes-Barre, Pennsylvania.

February 1992          The Use of the Knox's Cube Test and Digit Span in
                       Assessing Memory and Attention, International
                       Neuropsychological Society Annual Meeting, San Diego
                       California.

February 1992          Neuropsychological Assessment: An Adjunct to
                       Neurological Diagnosis, The Seventh Annual University
                       of Scranton Psychology Conference, Scranton,
                       Pennsylvania.

January 1992           Management of the Aggressive Patient, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

November 1991          Medicolegal Aspects of Symptom Exaggeration and
                       Malingering: A Clinical Update, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1991          Antiseizure Medication and Cognitive Performance,
                       Nursing Department, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

August 1991            Minor Head Injury Rehabilitation, PARF Conference,
                       Harrisburg, Pennsylvania.



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August 1991            Head Trauma Rehabilitation Overview, St. Francis
                       Medical Center, Poughkeepsie, New York.

June 1991              Helmet Law and Head Injury, WBRE (NBC) TV,
                       Wilkes-Barre, Pennsylvania.

May 1991               Neuropsychology Overview, Nursing Department, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

April 1991             Neuropsychological Aspects of Minor Head Injury, The
                       First Annual Educational Conference of The National
                       Brain Injury Research Foundation, Washington, D.C.

March 1991             Neuropsychological Sequelae in Acute Carbon Monoxide
                       Encephalopathy, The Sixth National Traumatic Brain
                       Injury Symposium, Baltimore, Maryland.

February 1991          Handedness and Gender Effects on the Relative
                       Preservation of Visuospatial Versus Verbal Function
                       Following Right Hemisphere Stroke, The Sixth Annual
                       University of Scranton Psychology Conference, Scranton,
                       Pennsylvania.

January 1991           Depression vs. Dementia, Apple A Day, WVIA TV,
                       Avoca, Pennsylvania.

November 1990          Medicological Aspects of Competency in Dementia, The
                       John Heinz Institute of Rehabilitation Medicine, Wilkes-
                       Barre, Pennsylvania.

November 1990          Handedness and Gender Effects on the Relative
                       Preservation of Visuospatial Versus Verbal Function
                       Following Right Hemisphere Stroke, The National
                       Academy of Neuropsychology Annual Meeting, Reno,
                       Nevada.

October 1990           Head Trauma Rehabilitation, Southern Tier Independence
                       Center Head Injury Conference, Binghamton, New York.


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August 1990            Overview of Neuropsychological/Cognitive
                       Services, Veterans Administration Medical Center,
                       Wilkes-Barre, Pennsylvania.

June 1990              Neuropsychological Assessment Tutorial, Psychology
                       Department, First Hospital Wyoming Valley,
                       Wilkes-Barre, Pennsylvania.

March 1990             Neuropsychological Consideration of Minor Head Injury,
                       Crawford Rehabilitation Services, Denver, Colorado.

February 1990          Medicolegal Aspects of Malingering: A
                       Neuropsychological Perspective, Central Rehabilitation
                       Associates, Inc., Camp Hill, Pennsylvania.

January 1990           Minor Head Injury, Apple A Day, WVIA TV, Avoca,
                       Pennsylvania.

December 1989          Head Trauma Rehabilitation: Behavioral Management
                       Strategies, Nursing Department, The John Heinz Institute
                       of Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

November 1989          Medicolegal Aspects of Symptom Exaggeration and
                       Malingering, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

September 1989         Halstead-Reitan Neuropsychological Battery (3 part
                       series), Psychology Department, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

June 1989              Interpersonal Communication Training, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

May 1989               Neuropsychology Update: Post-Concussive Syndrome,
                       Department of Neurology/Neurosurgery, Community
                       Medical Center, Scranton, Pennsylvania.


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March 1989             Current Trends in Head Trauma Rehabilitation, WARM
                       Radio, Avoca, Pennsylvania.


March 1989             Personal Injury Litigation, A Neuropsychological
                       Perspective, Luzerne County Bar and Library
                       Association, Wilkes-Barre, Pennsylvania.

December 1988          Neuropsychological Deficit Scale: A Clinical Case
                       Review, Susquehanna Neuropsychology Group,
                       Wilkes-Barre, Pennsylvania.

December 1988          WAIS-R Implications in Neuropsychological
                       Assessment, (3 part series), Psychology Department, First
                       Hospital Wyoming Valley, Wilkes-Barre, Pennsylvania.

November 1988          Neuropsychological Aspects of Diffuse Histiocytic
                       Lymphoma, The National Academy of
                       Neuropsychologists Annual Meeting, Orlando, Florida.

November 1988          Medicolegal Aspects of Minor Head Injury, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

November 1988          Halstead-Reitan Neuropsychological Battery, Graduate
                       Psychology Class, Marywood College, Scranton,
                       Pennsylvania.

November 1988          Wechsler Memory Scale-Revised, Psychology
                       Department, First Hospital Wyoming Valley,
                       Wilkes-Barre, Pennsylvania.

September 1988         Head Trauma Rehabilitation, Apple A Day, WVIA TV,
                       Avoca, Pennsylvania.

September 1988         Neuropsychological Investigation in Traumatic Brain
                       Injury: A Cognitive Rehabilitation Case Study, Cognitive
                       Rehabilitation: Community Reintegration Through

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                       Scientifically Based Practice, Richmond, Virginia.

June 1988              Neuropsychology Overview, United Rehabilitation
                       Services, Wilkes-Barre, Pennsylvania.

June 1988              Behavioral Sequelae of Stroke, Nursing Department, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

February 1988          Neuropsychological Investigation in Right Hemisphere
                       Stroke: A Rehabilitation Case Study, The Fourth Annual
                       Psychology Conference, University of Scranton,
                       Scranton, Pennsylvania.

November 1987          Neuropsychological Assessment (3 part series),
                       Department of Psychological Services, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1987           Worker's Compensation Developments - 1987;
                       Neuropsychological Testimony, The Dickinson School of
                       Law, Carlisle, Pennsylvania.

October 1987           Neuropsychological Investigation in Right Hemisphere
                       Stroke: A Rehabilitation Case Study, The National
                       Academy of Neuropsychologists Annual Meeting,
                       Chicago, Illinois.

May 1987               Psychological Considerations in Multiple Sclerosis,
                       Multiple Sclerosis Society, Wilkes-Barre, Pennsylvania.

March 1987             Neuropsychological Assessment: Halstead-Reitan
                       Battery, Psychology Department, First Hospital
                       Wyoming Valley, Wilkes-Barre, Pennsylvania.

March 1987             Psychological Considerations in Stroke Rehabilitation,
                       Meadows Nursing Facility, Dallas, Pennsylvania.

February 1987          Similar Neuropsychological Findings from

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                       Cardiovascular Abnormalities: A Comparison Case
                       Study, The Third Annual Psychology Conference,
                       University of Scranton, Scranton, Pennsylvania.


February 1987          Neuropsychological Assessment: Halstead-Reitan
                       Battery, Psychology Department, First Hospital
                       Wyoming Valley, Wilkes-Barre, Pennsylvania.

February 1987          Behavioral Sequelae of Head Trauma, Nursing
                       Department, The John Heinz Institute of Rehabilitation
                       Medicine, Wilkes-Barre, Pennsylvania.

February 1987          WAIS-R Implications in Neuropsychological
                       Assessment, Department of Psychological Services, The
                       John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

January 1987           Pain Management for the Elderly, Senior Citizen Group,
                       Salvation Army, Wilkes-Barre, Pennsylvania.

January 1987           Introduction to Neuropsychological Assessment,
                       Department of Psychological Services, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

October 1986           Similar Neuropsychological Findings from
                       Cardiovascular Abnormalities: A Comparison Case
                       Study, The National Academy of Neuropsychologists
                       Annual Meeting, Las Vegas, Nevada.

August 1986            WAIS-R Implications in Neuropsychological
                       Assessment, Department of Psychological Services,
                       The John Heinz Institute of Rehabilitation Medicine,
                       Wilkes-Barre, Pennsylvania.

May 1986               Bedside Neuropsychological Examination, Department of
                       Psychological Services, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

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December 1985          Differential Diagnosis of Dementia, Neuropsychology
                       Service, Neurorehab Associates, Rochester, New York.


August 1985            Halstead-Reitan Neuropsychological Battery,
                       Neuropsychology Service, Neurorehab Associates,
                       Rochester, New York.

October 1984           Differential Intellectual Sequelae of Right Hemisphere
                       CVA in Left vs. Right-Handed Patients. The National
                       Academy of Neuropsychologists Annual Meeting, San
                       Diego, California.

March 1984             Neuropsychological Aspects of Head Trauma, SUN
                       Home Health Agency, Part II, Sunbury, Pennsylvania.

January 1984           Neuropsychological Aspects of Head Trauma, SUN
                       Home Health Agency, Part I, Sunbury, Pennsylvania.

June 1983              Neuropsychology Inservice, Department of
                       Nursing, Williamsport Hospital, Williamsport,
                       Pennsylvania.

May 1983               Learning Disabilities and Neuropsychological
                       Assessment, Office of Vocational Rehabilitation,
                       Williamsport, Pennsylvania.

November 1982          Sports Psychology Winter Workshop, The Department of
                       Sports Medicine, Williamsport Hospital, Williamsport,
                       Pennsylvania.

March 1982            Psychological Aspects of Asthma, The Central
                      Pennsylvania Lung and Health Service Association,
                      Williamsport, Pennsylvania.

February 1982          Coping with the Cancer Patient, Department of
                       Hematology/Oncology, Williamsport Hospital,
                       Williamsport, Pennsylvania.


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BOARDS AND COMMITTEES:

     – Present
2007 —                 National Alumni Board of Directors, Florida State
                       University Alumni Association, Tallahassee, Florida.

     – Present
2003 —                 Medical Advisor, National Brain and Spinal Cord Injury
                       Prevention Program, Think First Program, Wilkes-Barre,
                       Pennsylvania.

     – 2002
2001 —                 Examiner and Site Coordinator for Standardization
                       Sample of the Reynolds Intellectual Assessment Scales
                       (RIAS), Psychological Assessment Resources (PAR),
                       Lutz, Florida.

     – 2005
2001 —                 Manuscript Reviewer, Rehabilitation Psychology,
                       Washington, D.C.

     – 2005
2000 —                 Member, Clinical Practitioner Task Force: National
                       Academy of Neuropsychology, Denver, Colorado.

     – 2002
1999 —                 Board Member, Coalition of Clinical Practitioners in
                       Neuropsychology, Tucson, Arizona.

     – 2000
1999 —                 President, Reitan Society, Tucson, Arizona.

1998 - Present         Editorial Board, Journal of Cognitive Rehabilitation,
                       Indianapolis, Indiana.

1997 - 2006            Editorial Board, Journal of Forensic Neuropsychology,
                       Dallas, Texas.

1996 - Present         New Jersey Board of Psychological Examiners
                       (Examiner; Neuropsychology) Newark, New Jersey.

1996 - Present         Editorial Board, The Professional Neuropsychologist.
                       Bethesda, Maryland.

     – 1997
1996 —1997             APA Continuing Education Committee, Marywood


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                       University, Scranton, Pennsylvania.

1996 - 1998            Professional Affairs Committee, National Academy of
                       Neuropsychology, Aurora, Colorado.

1995 - 1998            Vice-President, Reitan Society, Danville, Pennsylvania.

     – 2007
1995 —                 President, American College of Professional
                       Neuropsychology, White River Junction, Vermont.

1994 - 1997            Chairperson, Public Relations Committee, National
                       Academy of Neuropsychology, Aurora, Colorado.

1994 - Present         Executive Director, American Board of Professional
                       Neuropsychology, White River Junction, Vermont.

1993 - 2006            Consulting Editor, Archives of Clinical Neuropsychology
                       College Station, Texas.

1993 - 1995            Co-Chairperson, Reitan Society, Danville, Pennsylvania.

1993 - 1997            Program Committee, National Academy of
                       Neuropsychology, Aurora, Colorado.

1993 - 1994            Coordinator, Professional Lecture Series, The John
                       Heinz Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

     – 2000
1992 —                 Editorial Board, Allied Services, Scranton, Pennsylvania.

1992 - 1993            Reitan Society Steering Committee, Danville,
                       Pennsylvania.

1992 - 1998            Physicians Health Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1992 - 2006            Commission on Accreditation of Rehabilitation Facilities
                       (CARF), Surveyor, Tucson, Arizona.



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1991 - Present         American Board of Professional Neuropsychology
                       (Examiner) White River Junction, Vermont.

1989 - 1994            Medical Advisory Council, The National Brain Injury
                       Research Foundation, Washington, D.C.

1989 - 1994            Editorial Board, (Associate Editor), The Journal of Head
                       Injury, Washington, D.C.

1989 - 2007            Research Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1987 - Present         Medical Records Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - Present         Brain Injury Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - 2007            Quality Assurance Committee, The John Heinz Institute
                       of Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1986 - 2008            Medical Staff Committee, The John Heinz Institute of
                       Rehabilitation Medicine, Wilkes-Barre, Pennsylvania.

1987 - 1988            Advisory Board Member, NHIF Northeast Region,
                       Wilkes-Barre, Pennsylvania.

1986 - 1987            Patient/Family Education Committee, The John Heinz
                       Institute of Rehabilitation Medicine, Wilkes-Barre,
                       Pennsylvania.

1985 - 1986            Board Member, Neurorehab Associates, Inc., Rochester,
                       New York.

1985 - 1986            Board Member, NHIF Eastern Region, Rochester,
                       New York.

1984 - 1986            Board Member, NHIF Eastern Region, Williamsport,
                       Pennsylvania.


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1983 - 1985              Employee Health, Fitness and Recreation Program,
                         Williamsport Hospital, Williamsport, Pennsylvania.

1982 - 1985              Board Member, Counseling Clinic, United Methodist
                         Home for Children, Mansfield, Pennsylvania.

1981 - 1985              Behavioral Science Committee, Williamsport Hospital,
                         Williamsport, Pennsylvania.


                  LICENSURE:
CERTIFICATION AND LICENSURE:

                          American Board of Forensic Examiners,
                               Diplomate (1303) (Neuropsychology)
                          American Board of Professional Disability Consultants,
                               Diplomate (P-132)
                          American Board of Professional Neuropsychology,
                               Diplomate (232)
                          American Board of Professional Neuropsychology,
                               Added Qualifications in Rehabilitation (112) and
                               Forensics (127)
                         ImPACT Consultant, Sports Concussion Management
                         New Jersey State Board of Psychological Examiners
                               (SI02529)




AWARDS AND HONORS:

              Healthcare Hero Award, Times Leader, 2010
              Distinguished Neuropsychologist Award, American Board of
                    Professional Neuropsychology, 2003
              Ad-Hoc Member on Rehabilitation, Hospital Association of
                    Pennsylvania, 1999.
              Charter Member, Coalition of Clinical Practitioners in
                    Neuropsychology, 1999.
                                              – 2000.
              President, Reitan Society, 1998 —
              Honorary Professorship, Trnava University, 1998.


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             Charter Member, Reitan Society, 1997.
             Diplomate, American Board of Forensic Examiners, 1995.
             Distinguished Alumnus Award in Medicine, St. Francis College, 1995.
             Fellow, American College of Professional Neuropsychology, 1995.
             Fellow, National Academy of Neuropsychology, 1994.
             Diplomate, American Board of Professional Disability Consultants,
                   1993.
             Diplomate, American Board of Professional Neuropsychology, 1991.
             Fellow, Pennsylvania Psychological Association, 1990.
             Graduate Assistantship, Florida State University, 1979 - 1981.
             Rho Chi Sigma, Rehabilitation Counseling Services Honor Society,
                   1979.
             Rehabilitation Services Administration Traineeship Award,
                   1976 - 1978.


             MEMBERSHIPS::
PROFESSIONAL MEMBERSHIPS

             American Board of Forensic Examiners (Diplomate)
             American Board of Professional Neuropsychology (Diplomate)
             American College of Forensic Examiners
             American College of Professional Neuropsychology (Fellow)
             American Psychological Association; (1, 22, 40)
             Brain Injury Association
             Coalition of Neuropsychology (Charter Member)
             International Neuropsychological Society
             National Academy of Neuropsychology (Fellow)
             National Brain Injury Research Foundation
             New Jersey Neuropsychological Society
             Reitan Society (President, Vice President)
             Society for Cognitive Rehabilitation
             Susquehanna Neuropsychology Group (Past President)
             National Brain and Spinal Cord Injury Prevention Program; Think
             First Program (Medical Advisor)

RESEARCH/PUBLICATIONS:

             Raymond, M.J. (in press). Neuropsychological performance in a
                 Patient following resection of a vestibular schwannoma.


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                   Applied Neuropsychology (abstract).

             Raymond, M.J. (2010). Neuropsychological consequences of
                 Moyamoya Disease: A clinical case study. Archives of
                 Clinical Neuropsychology, 25, 6 (abstract).


             Raymond, M.J. (2010). Anoxic encephalopathy following
                 cardiac arrest. Applied Neuropsychology, 17, 3 (abstract).

             Bennett, T.L. & Raymond, M.J. (2010). Neuropsychological
                  assessment in disability determination, fitness for duty and
                  rehabilitation planning. In A.M. Horton & L.C. Hartlage (Eds).
                  Handbook of Forensic Neuropsychology, 2nd    2nd edition, New
                  York, Springer.

             Sewick, B. & Raymond, M.J. (2009). Visual perceptual
                  symptoms associated with right hemisphere pathology do not
                  affect performance on the Test of Memory Malingering
                  (TOMM). Applied Neuropsychology, 16, 4 (abstract).

             Raymond, M.J. (2008). Neuropsychological consequences of
                 autosomal dominant cerebellar atrophy: a clinical study.
                 Archives of Clinical Neuropsychology, 23, 6 (abstract).

             Bennett, T.L. & Raymond, M.J. (2008). The neuropsychology
                  of traumatic brain injury. In A.M. Horton, D. Wedding & J.
                  Webster (Eds.). The Neuropsychology Handbook, Volume 3,
                  New York, Springer.

             Raymond, M.J. (2007). Work-related mild traumatic brain injury:
                                                         Worker’s First
                 forensic neuropsychological assessment. Worker's   First
                 Watch, Fall.

             Raymond, M.J. (2007). Cumulative effects of multiple concussions: a
                 neuropsychological case study. Archives of Clinical
                 Neuropsychology, 22, 7 (abstract).

             Raymond, M.J. (2007). Playball: not so fast my friend; a sports
                 concussion case study. ImPACT Newsletter, Spring.

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             Raymond, M.J. (2006). Neuropsychological sequela in a patient with
                 a tumefactive demyelinating lesion. Archives of Clinical
                 Neuropsychology, 21, 6 (abstract).


             Raymond, M.J. & Sewick, B.G. (2005). Test of Memory Malingering
                 (TOMM) performance in persons with right hemispheric lesions.
                 Archives of Clinical Neuropsychology, 20, 7 (abstract).

             Raymond, M.J. (2005). Neuropsychological profile of a patient with a
                 CSF assay
                 CSF  assay suggestive
                             suggestive of
                                        of Alzheimer's
                                           Alzheimer’s Disease.
                                                       Disease. Applied
                 Neuropsychology, 12, 4 (abstract).

             Raymond, M.J. (2004). Neuropsychological findings in a patient with
                 HELLP syndrome. Archives of Clinical Neuropsychology,
                 19, 7 (abstract).

             Raymond, M.J. (2003). Forensic neuropsychological assessment in
                 cases of mild traumatic brain injury. Workers First Watch, 3,
                 3.

             Raymond, M. J. (2003). Left temporal parietal infarct secondary to
                 Idiopathic Thrombocytopenia Purpura: A neuropsychological
                 case study. Archives of Clinical Neuropsychology, 18, 8
                 (abstract).

             Bennett, T.L. & Raymond, M.J. (2003). Utilizing
                  neuropsychological testing in disability determination and
                  rehabilitation planning. In A. M. Horton & L.C. Hartlage
                  (Eds.), Handbook of Forensic Neuropsychology, New York,
                  Springer.

             Raymond, M. J. (2003). Neuropsychological features of Von
                 Hippel-Lindau disease. New Jersey Neuropsychological
                 Society Newsletter, Winter/Spring.

             Raymond, M. J. (2002). Cognitive and behavioral symptoms in a
                 case of Sjogren syndrome. Journal of Cognitive


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                   Rehabilitation, Fall.

             Raymond, M. J. (2002). Neuropsychological performance in a case of
                 Von Hippel-Lindau disease. Archives of Clinical
                 Neuropsychology, 17, 8 (abstract).

             Raymond, M.J. (2001). Neuropsychological manifestations in a
                 case of Sjogren syndrome. Archives of Clinical
                 Neuropsychology, 16, 8 (abstract).

             Raymond, M.J. (2000). Central Neurocytoma: serial
                 neuropsychological findings. Archives of Clinical
                 Neuropsychology, 15, 8 (abstract).

             Raymond, M. J. (1999). Symptom exaggeration and mild traumatic
                 brain injury: An unbelievable case. Reitan Society Bulletin, 5
                 (abstract).

             Raymond, M. J. (1999). Neurobehavioral sequelae of immunotherapy
                 anaphylaxis. Archives of Clinical Neuropsychology, 14, 8
                 (abstract).

             Raymond, M.J., Bewick, K.C., Bennett, T.L., Malia, K.B. (1999).
                 A comprehensive functional approach to brain injury
                 rehabilitation. Brain Injury Source, Fall.

             Raymond, M.J., Castellino, R.M. (1999). The role of the clinical
                 neuropsychologist in the assessment and treatment of
                 rehabilitation patients. Special issue: Rehabilitation. Journal
                 of Health Management and Public Health, 4, 3.

             Raymond, M.J., Bewick, K.C., Kennedy, A. & Duffy, T.F. (1999).
                 A model program for brain injury rehabilitation. Special issue:
                 Rehabilitation. Journal of Health Management and Public
                 Health, 4, 3.

             Raymond, M.J. & Bennett, T.L. (1999). Introduction and overview.
                 In M.J. Raymond, T.L. Bennett, L.C. Hartlage & C.M.
                                Mild Traumatic
                 Cullum (Eds.), Mild  Traumatic Brain   Injury: A
                                                  Brain Injury:  A Clinician’s
                                                                   Clinician's

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                   Guide, Austin, Texas: Pro-Ed.

             Bennett, T.L. & Raymond, M.J. (1999). Psychotherapeutic
                  interventions for individuals with mild traumatic brain injury.
                  In M.J. Raymond, T.L. Bennett, L.C. Hartlage &

                   C.M. Cullum (Eds.), Mild Traumatic Brian Injury: A
                   Clinician’s Guide,
                   Clinician's Guide, Austin, Texas: Pro-Ed.

             Raymond, M.J., Bennett, T.L., Hartlage, L.C., & Cullum, C.M.
                 (1999). Mild
                         Mild Traumatic     Brain Injury:
                               Traumatic Brain     Injury: AA Clinician's
                                                              Clinician’s
                 Guide, Austin, Texas: Pro-Ed.

             Raymond, M.J. (1998). Viral encephalitis; A case study based on
                 serial HRNB performance. Reitan Society Bulletin, 4
                 (abstract).

             Malia, K.B., Raymond, M.J., Bewick, K.C., & Bennett, T.L.
                   (1998). Information processing deficits and brain
                   injury: Preliminary results, Neuro Rehabilitation, 11, 3.

             Raymond, M.J. (1998). Post concussion: An often neglected
                 syndrome. Northeast Rehab. September/October.

             Bennett, T.L., Raymond, M.J., Malia, K.B., Bewick, K.C., Linton,
                  B.S. (1998). Rehabilitation of attention and concentration
                  deficits following brain injury. Journal of Cognitive
                  Rehabilitation, March/April.

             Raymond, M.J. (1998). Neuropsychological dysfunction in a mixed
                 dominant patient following a left temporoparietal abscess.
                 Archives of Clinical Neuropsychology, 13, 1 (abstract).

             Raymond, M.J. (1997). Neuropsychological dysfunction in a
                 patient with multiple meningiomas. Reitan Society Bulletin, 3
                 (abstract).

             Bennett, T.L. & Raymond, M.J. (1997). Mild brain injury: An
                  overview. Applied Neuropsychology, 4, 1.

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             Bennett, T.L. & Raymond, M.J. (1997). Emotional
                  consequences of and psychotherapy for individuals
                  with mild brain injury. Applied Neuropsychology, 4, 1.


             Malia, K.B., Bewick, K.C., Raymond, M.J., & Bennett, T.L. (1997).
                   Brainwave R: Cognitive Strategies and Techniques
                   for Brain Injury Rehabilitation, Austin, Texas: Pro-Ed.

             Raymond, M.J. (1996). Neuropsychological aspects of
                 posthallucinogen perception disorder. Reitan Society Bulletin,
                 2, 1 (abstract).

             Martin, R.C., Franzen, M.D., & Raymond, M.J. (1996). The
                   effects of unilateral vascular lesions and gender on visual-
                   spatial and verbal-auditory attention span. Applied
                   Neuropsychology, 3, 4.

             Raymond, M.J., Bewick, K.C., Malia, K.B., & Bennett, T.L. (1996).
                 A comprehensive approach to memory rehabilitation
                 following brain injury. Journal of Cognitive Rehabilitation.
                 November/December.

             Malia, K.B., Bewick, K.C., Raymond, M.J., & Bennett, T.L. (1996).
                   Memory: A comprehensive approach. Society for Cognitive
                   Rehabilitation Newsletter, 4, 3.

             Raymond, M.J., Bennett, T.L., Malia, K.B., & Bewick, K.C. (1996).
                 Rehabilitation of visual processing deficits following brain
                 injury. Neuro Rehabilitation, 6, 3.

             Rojas, D.C., Raymond, M.J., & Bennett, T.L. (1995). Predictive
                   validity of the neuropsychological deficit scale and halstead
                   impairment index in mild brain injury: A two center study.
                   Reitan Society Bulletin, 1, 1 (abstract).

             Bewick, K.C., Raymond, M.J., Malia, K.B., & Bennett, T.L. (1995).
                  Metacognition as the ultimate executive: Techniques and tasks

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                   to facilitate executive functions. Neuro Rehabilitation, 5, 4.

             Martin, R.C., Franzen, M.D., & Raymond, M.J. (1995). The effects
                   of unilateral vascular lesions and gender on visual-spatial and
                   verbal-auditory attention. Archives of Clinical
                   Neuropsychology, 10, 4 (abstract).

             Raymond, M.J. (1994). Neuropsychological consultation in
                 rehabilitation. New Jersey Rehab, 3.

             Raymond, M.J. (1994). Aging and neuropsychological assessment.
                 Archives of Clinical Neuropsychology, 9, 6. (book review).

             Raymond, M.J. (1992). Neuropsychiatric sequelae in acoustic
                 neuroma. Bulletin of the National Academy of
                 Neuropsychology, 8, 4.

             Raymond, M.J. (1992). Opening doors: The significance of
                 neuropsychological assessment in neurorehabilitation. Rehab
                 Management, June/July.

             Franzen, M.D., McCracken, L.M., Raymond, M.J., Haut, M.W., &
                   Haut, J.S. (1992). The use of the knox's cube test and digit
                   span in assessing memory and attention. Journal of Clinical
                   and Experimental Neuropsychology, 14, 1 (abstract).

             Naugle, R.I. & Raymond, M.J. (1991). Neuropsychological
                  sequelae of stroke as a function of handedness. Perceptual
                  and Motor Skills, 73.

             Raymond, M.J. & Naugle, R.I. (1991). Handedness and gender
                 effects on the relative preservation of visuospatial versus
                 verbal function following right hemisphere stroke. Archives
                 of Clinical Neuropsychology, 6, 3 (abstract).

             Raymond, M.J. (1991). Neuropsychological assessment: An adjunct
                 to neurological diagnosis. Hospital News, June.

             Raymond, M.J. (1990). Neuropsychological aspects of minor head

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                   injury. The Journal of Head Injury, 4.

             Raymond, M.J. (1989). Major consequences of minor head injury.
                 JMA Bulletin, 2.


             Raymond, M.J. (1989). Neuropsychological aspects of diffuse
                 histiocytic lymphoma: A case report. Archives of Clinical
                 Neuropsychology, 4, 2 (abstract).

             Raymond, M.J. (1988). Neuropsychological investigation in right
                 hemisphere stroke: A rehabilitation case study. Bulletin:
                 The National Academy of Neuropsychologists, 5 (abstract).

             Raymond, M.J. (1986). Similar neuropsychologic findings from
                       cardiovascular abnormalities: A comparison case study.
                       Archives of Clinical Neuropsychology, 1, 3 (abstract).

             Raymond, M.J. & Hartlage, L.C. (1985). Differential intellectual
                 sequelae of right hemisphere CVA in left vs. right-handed
                 patients. The International Journal of Clinical
                 Neuropsychology, 7 (abstract).

             Raymond, M.J. (1985). Headache among athletes.
                 The Williamsport News, Winter.

             Raymond, M.J. (1984). Psychological effects of running.
                 The Williamsport News, Spring.

             Raymond, M.J. (1984). Chronic pain: The pain that really hurts.
                 The Williamsport News, Summer/Fall.

             Raymond, M.J. (1983). Drug abuse among student athletes.
                 The Williamsport News, Spring.

             Raymond, M.J. (1983). Control of pre-competition anxiety.
                 The Williamsport News, Winter.

             Raymond, M.J. (1982). The choking phenomenon.

Updated 5.5.2014                        38
                                                                         Liberty002655
                                                                         Li berty002655
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                   The Williamsport News, Fall.

             Raymond, M.J. (1982). The psychological importance of sporting
                 activities for disabled individuals. The Williamsport News,
                 Summer.

             Raymond, M.J. (1982). Depression: The effects on athletic
                 performance. The Williamsport News, Spring.

             Raymond, M.J. (1981). A comparison of WAIS performances
                 between right and left-handed left hemiplegic persons.
                 Doctoral Dissertation, Florida State University.

             Raymond, M.J. (1980). (contributing ed.) Independent Living
                 Curriculum for Master's Degree Rehabilitation Programs.
                 Tallahassee, Florida: The National Commission of
                 Rehabilitation Education Task Force on Independent Living,
                 Florida State University.

             Raymond, M.J. (1978). The significance university upperclassmen
                 have on influencing drug and alcohol usage by freshman
                 females. Unpublished Master's Scholarly Paper, University of
                 Scranton.


PROFESSIONAL GOALS AND INTERESTS:

             Clinical: Brain injury rehabilitation, neuropsychological assessment
                       and evaluation, forensic neuropsychology, sports
                       concussion management and cognitive remediation.

           Teaching: Neuropsychology, rehabilitation psychology,
                     neuropsychological assessment, forensic neuropsychology,
                     and supervision and training of students in research and
                     clinical activities.

           Research: Diagnosis and treatment of central nervous system
                     disorders and neuropsychological correlates of behavior.

     Administrative: Program evaluation and development, quality

Updated 5.5.2014                        39
                                                                         Liberty002656
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                      assurance, peer review and neurorehabilitation
                      consultation.

REFERENCES:

      References furnished upon request.




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                         Robert J. Cooper, M.D., F.A.C.E., F.A.C.P.

PROFESSIONAL EXPERIENCE:

New England Endocrine & Thyroid Center, PC                                                                 04/01/2013 - Present
Springfield, MA

Owner of single specialty solo medical practice; Clinical Endocrinologist. Established newly formed endocrine practice.
Manage personnel including medical assistant and front desk personnel. Clinical practice treating thyroid disorders, adrenal
disorders, pituitary disorders, lipid disorders, calcium and bone disorders, diabetes and general endocrine disorders. Perform
ultrasound guided thyroid biopsies, fine needle aspirations, and radioactive iodine treatments. Work directly with and educate
cytopathology fellows and pathology residents.

Baystate Medical Center                                                                                               – 03/29/2013
                                                                                                           03/26/2012 —
Springfield, MA

Attending Physician, Department of Endocrinology; Work directly with and educate Fellows, Medical Residents and Medical
Students. Perform ultrasound guided thyroid biopsies, fine needle aspirations, and radioactive iodine treatments. Teaching
practice treating diabetes, thyroid disorders, adrenal disorders, pituitary disorders, lipid disorders, calcium and bone disorders,
and general endocrine disorders.

Holyoke Medical Center                                                                                     12/2003 - 03/2012
Holyoke, MA

Chief of Medicine (05/2005 — – 03/2009); Director of Endocrine Center for Excellence; Director of Ultrasound Thyroid
Biopsy/Fine Needle Aspiration Clinic; Attending Physician, Department of Endocrinology. Manage personnel including
registered nurse, office manager and front desk personnel. Perform ultrasound guided thyroid biopsies, fine needle aspirations,
and radioactive iodine treatments. Clinical practice treating thyroid disorders, adrenal disorders, pituitary disorders, lipid
disorders, calcium and bone disorders, and general endocrine disorders.


Baystate Medical Center                                                                                            – 11/2003
                                                                                                           03/2000 —
Springfield, MA

Attending Physician, Department of Endocrinology; Director of Ultrasound Thyroid Biopsy/Fine Needle Aspiration Clinic;
Coordinator of Endocrine Resident elective; Assistant Fellowship Director (05/2002 —   – 01/2003); Worked directly with and
educated Fellows, Medical Residents and Medical Students. Performed ultrasound guided thyroid biopsies, fine needle
aspirations, and radioactive iodine treatments. Teaching practice treating diabetes, thyroid disorders, adrenal disorders, pituitary
disorders, lipid disorders, calcium and bone disorders, and general endocrine disorders.

East End Endocrine Associates, P.C.                                                                                – 02/2000
                                                                                                           11/1998 —
Westhampton Beach, NY

Co-partner of single specialty group; Clinical Endocrinologist. Established newly formed endocrine practice. Managed
personnel including medical assistant, office manager and front desk personnel. Initiated glucose monitoring protocol at
Southampton Hospital, Southampton, NY. Clinical practice treating diabetes, thyroid disorders, adrenal disorders, pituitary
disorders, lipid disorders, calcium and bone disorders, and general endocrine disorders.




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Fellowships (See Education Section)                                                                           – 10/1998
                                                                                                      07/1996 —

Queens-Long Island Medical Group                                                                              – 06/1996
                                                                                                      07/1995 —
Flushing, NY

Internal Medicine Physician, HMO affiliated multispecialty group. Clinical practice treating general medical care of adults 18
years of age and older.

EDUCATION:

University of Pennsylvania                                                                            – 06/1983
                                                                                              09/1982 —
Philadelphia, PA

State University of New York at StonyBrook                                                            – 06/1988
                                                                                              09/1983 —
StonyBrook, NY
Degree: B.S. in Biology and Psychology

Albert Einstein College of Medicine                                                           08/1988 - 06/1992
Bronx, NY
Degree: M.D.

Long Island Jewish Hospital                                                                           – 06/1993
                                                                                              07/1992 —
New Hyde Park, NY
Position: First Year Medical Intern (PGY1)

Long Island Jewish Hospital                                                                           – 06/1994
                                                                                              07/1993 —
New Hyde Park, NY
Position: Second Year Medical Resident (PGY2)

Long Island Jewish Hospital                                                                           – 06/1995
                                                                                              07/1994 —
New Hyde Park, NY
Position: Third Year Medical Resident (PGY3)

See Employment Section                                                                                – 06/1996
                                                                                              07/1995 —

Medical College of Pennsylvania                                                                       – 10/1996
                                                                                              07/1996 —
Philadelphia, PA
Position: First Year Fellow in Cardiology

Long Island Jewish Hospital                                                                           – 06/1997
                                                                                              11/1996 —
New Hyde Park, NY
Position: First year Fellow in Endocrinology (PGY4)

Winthrop University Hospital                                                                          – 10/1998
                                                                                              07/1997 —
Mineola, NY
Position: Second year Fellow in Endocrinology (PGYS)
                                              (PGY5)




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LICENSURE AND BOARD CERTIFICATIONS:

MA License #204180 - Current
NY License #198082 - Current
PA License #MD-057608-L - Current
NJ License #25MA07589200 - Current

1996 - Certified Diplomate, American Board of Internal Medicine
                                                                –
1998 - Certified Diplomate, American Board of Internal Medicine —
       Subspecialty Boards on Endocrinology, Diabetes and Metabolism
2000 - Certified Thyroid Ultrasound and Ultrasound Guided FNA Biopsy
2004 - Certified Bone Densitometry
2006 - Recertified ABIM —– Internal Medicine
2008 - Recertified ABIM - Endocrinology

HONORS AND AWARDS:
HONORS

2004 - Fellow - American College of Endocrinology (F.A.C.E.)
     – Fellow —
2015 —         – American College of Physicians (F.A.C.P.)


TEACHING APPOINTMENTS:

Tufts University School of Medicine                                           – Present
                                                                         2000 —
136 Harrison Avenue
Boston, MA
Position: Assistant Professor of Medicine


OTHER PROFESSIONAL EXPERIENCE:
Behavioral Medical Interventions                                              – Present
                                                                         2015 —
Edina, MN
                              – Reviewing medical content and accuracy
Position: Consultant Services —

VeriMed HealthCare Network                                                    – Present
                                                                         2008 —
West Palm Beach, FL
                              – Reviewing medical content and accuracy
Position: Consultant Services —

 PROFESSIONAL MEMBERSHIPS:

American College of Physicians
American Association of Clinical Endocrinologists
American Thyroid Association
American Diabetes Association
American College of
Thyroidology The Endocrine
Society




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OFFICE AND COMMITTEE ASSIGNMENTS
                     ASSIGNMENTS IN
                                 IN PROFESSIONAL SOCIETIES:


Editor MedStudy Internal Medicine Board Review                                                     – Present
                                                                                              2013 —

Advisory Board for the Connecticut American Diabetes Association Annual Meeting               2003 - Present

Cardiometabolic Health Congress
– Panelist for Symposium on Oral Anti-Hyperglycemic Therapy and Cardiovascular Risk Reduction 2009
—
– Advisory Board
—                                                                                             2005 - Present

                                                  –
American Association of Clinical Endocrinologists —
Legislative and Regulatory Committee                                                          2002 - Present
Endocrine Board Review Committee                                                              2013 - Present

Radiation Safety Committee Member                                                             2003 - 2012
– Baystate Heath Systems and Holyoke Medical Center
—

Contracts Committee Member                                                                    2003 - 2012
– Holyoke Medical Center
—

Pharmacy and Therapeutics Committee                                                           2003 - 2012
– Holyoke Medical Center
—

Faculty Member of Testosterone Update                                                         2009

Quality Assurance and Quality Improvement Committee                                           2005 - 2009
– Holyoke Medical Center
—

Practice Care Assessment Committee                                                            2005 - 2009
– Holyoke Medical Center
—

                      – Clinical Endocrinology Update
The Endocrine Society —                                                                       2004 and 2001
– Lecture and demonstration on Use of Thyroid Ultrasound in Evaluating Thyroid Nodules
—

                      –National Meeting
The Endocrine Society —National                                                               2003
– Preceptor for Thyroid Ultrasound Course
—

American Board of Internal Medicine                                                           2002
– Subspecialty Board of Endocrinology, Diabetes and Metabolism —
—                                                              – Committee
to review ABIM Subspecialty Board Examination Questions

                                                  – National Meeting
American Association of Clinical Endocrinologists —                                           2001
– Lecture and Preceptor for Thyroid Ultrasound Certification Course
—




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                                                                                                 Liberty002661
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PUBLICATIONS:

Pantanowitz L, Panetti C, Goulart R, Cooper RJ. Cholesterol Crystals in the Thyroid Gland. ACTA Cytologica: The Journal of
Clinical Cytology and Cytopathology 51(2): 249-251, March-April 2007.

Tollin SR, Resta C, Cooper RJ, Westra WH, Udelsman R. Familial Cushing's
                                                                  Cushing’s Syndrome with Idiopathic ACTH-Independent
Bilateral Macronodular Adrenocortical Hyperplasia Successfully Treated by Laparoscopic Adrenalectomy.
The Endocrinologist 10(5): 341-346, 2000.

Cooper RJ, Belilos E, Drexler S, et al. Idiopathic Giant-Cell Granulomatous Hypophysitis Mimicking Acute Meningitis.
Am J Med Sci 318(5): 339-342 (November),1999.


RESEARCH EXPERIENCE:
RESEARCH

FutureCare Studies, Inc.                                                                              2004 - Present
                     th
                    4 Floor
354 Birnie Avenue, 4th
Springfield, MA 01107

Position: Sub-Investigator

        “A multi-center, double-blind, randomized, parallel-group study to compare the effect of 24 weeks treatment with LAF
        "A
        237 (50mg qd or bid) to placebo as add-on therapy to pioglitazone 45 mg qd in patients with type 2 diabetes
                                                       monotherapy”
        inadequately controlled with thiazolidinedione monotherapy"

        “A double-blind, randomized, placebo-controlled, parallel study to evaluate the efficacy and safety of AndroGel, as an
        "A
        adjunct to oral hypoglycemic therapy, in the treatment of hypogonadal men with type 2 diabetes”
                                                                                                diabetes"

        “Efficacy and safety of inhaled human insulin (Exubera) compared with subcutaneous human insulin in the therapy of
        "Efficacy
        adult subjects with type 1 or type 2 diabetes mellitus and chronic asthma: A one year, multi-center, randomized,
        outpatient, open-label, parallel-group comparative trial"
                                                            trial”

        “Efficacy and safety of inhaled human insulin (Exubera) compared with subcutaneous human insulin in the therapy of
        "Efficacy
        adult subjects with type 1 or type 2 diabetes mellitus and chronic obstructive pulmonary disease: A one year, multi-
        center, randomized, outpatient, open-label, parallel-group comparative trial"
                                                                                 trial”

        “A one-year, open, randomized, parallel, three-arm study comparing Exubera (insulin dry powder pulmonary inhaler)
        "A
        vs. Avandia (rosiglitazone maleate) as add-on therapy vs. Exubera substitution of sulfonylurea in patients with type 2
        diabetes, poorly controlled on combination sulfonylurea and metformin treatment"
                                                                              treatment”


Position: Principal Investigator                                                                      October 2006

        “Acrostudy —
        "Acrostudy – A multicenter, post marketing surveillance study of Somavert therapy in patients with Acromegaly in the
           and Europe"
        US and Europe”




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SPEAKER/LECTURE BUREAU:

Takeda Pharmaceuticals
Abbott Pharmaceuticals
Salix Pharmaceuticals
Otsuka Pharmaceuticals
Eisai Pharmaceuticals
Jansen Pharmaceuticals




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                               CURRICULUM VITAE
                               CURRICULUM VITAE


                                Kent Bertram
                                Kent Bertram Crossley
                                             Crossley

Citizenship:
Citizenship:                    U.S.A.
                                U.S.A.

Education:
Education:

 1964 B.A.
 1964 B.A.                      Carleton College,
                                Carleton College, Northfield,
                                                  Northfield, Minnesota
                                                              Minnesota

 1968 B.S.,
 1968 B.S., M.D.
            M.D.                University of
                                University of Minnesota
                                              Minnesota Medical
                                                        Medical School
                                                                School
                                Minneapolis, Minnesota
                                Minneapolis,  Minnesota

 1997 M.
 1997 M. Div.
         Div.                   Luther
                                Luther Seminary,
                                       Seminary, St. Paul, Minnesota
                                                 St. Paul, Minnesota

 2000 M.H.A.
 2000 M.H.A.                    Carlson School
                                Carlson        of Management,
                                        School of Management,
                                University of
                                University of Minnesota.
                                              Minnesota.

                                Thesis: Professional
                                Thesis: Professional Satisfaction of U.S.
                                                     Satisfaction of U.S.
                                Healthcare Chaplains
                                Healthcare Chaplains

Postdoctoral Training:
Postdoctoral Training:

 1968-69
 1968-69                 Intern
                         Intern in Internal Medicine,
                                in Internal Medicine, University
                                                      University of
                                                                 of Minnesota
                                                                    Minnesota
                         Hospitals, Minneapolis,
                         Hospitals,  Minneapolis, Minnesota
                                                  Minnesota

 1969-71
 1969-71                 Resident in
                         Resident in Internal
                                     Internal Medicine,
                                              Medicine, University
                                                        University of
                                                                   of Minnesota
                                                                      Minnesota
                         Hospitals, Minneapolis,
                         Hospitals, Minneapolis, Minnesota
                                                 Minnesota

 1971-73
 1971-73                 Research Fellow
                         Research  Fellow in  Medicine (Infectious
                                           in Medicine (Infectious Diseases),
                                                                   Diseases), Harvard
                                                                              Harvard
                         Medical School
                         Medical          and Thorndike
                                  School and  Thorndike Memorial
                                                         Memorial Laboratory;
                                                                   Laboratory;
                         Clinical Fellow,
                         Clinical Fellow, II and IV
                                          II and IV (Harvard)
                                                    (Harvard) Medical
                                                              Medical Services,
                                                                       Services,
                         Boston City
                         Boston  City Hospital,
                                      Hospital, Boston,
                                                Boston, Massachusetts
                                                        Massachusetts


Professional Experience:
Professional Experience:

 1973-75
 1973-75                 Chief, Infectious
                         Chief, Infectious Diseases
                                           Diseases Section, Department of
                                                    Section, Department of Medicine
                                                                           Medicine
                         and Preventive
                         and Preventive Medicine
                                         Medicine Officer,
                                                  Officer, Fitzsimons
                                                           Fitzsimons Army
                                                                      Army
                         Medical Center,
                         Medical  Center, Denver,
                                          Denver, Colorado
                                                  Colorado (Major,
                                                             (Major, US
                                                                     US Army
                                                                        Army Medical
                                                                             Medical
                         Corps)
                         Corps)




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1975-96
1975-96               Chief, Infectious
                      Chief, Infectious Disease
                                        Disease Section, Department of
                                                Section, Department of
                      Internal Medicine, St.
                      Internal Medicine,     Paul-Ramsey Medical
                                         St. Paul-Ramsey  Medical Center,
                                                                  Center, St.
                                                                          St.
                      Paul, Minnesota
                      Paul, Minnesota

1975-79
1975-79               Assistant Professor
                      Assistant Professor of
                                          of Medicine,
                                             Medicine, University
                                                       University of
                                                                  of Minnesota
                                                                     Minnesota
                      Medical School,  Minneapolis, Minnesota
                      Medical School, Minneapolis, Minnesota

1979-87
1979-87               Associate Professor
                      Associate Professor of
                                          of Medicine,
                                             Medicine, University
                                                       University of
                                                                  of
                      Minnesota Medical
                      Minnesota  Medical School,  Minneapolis, Minnesota
                                          School, Minneapolis, Minnesota

1985-87
1985-87               Clinical Associate
                      Clinical Associate Professor,
                                         Professor, College
                                                    College of
                                                            of Pharmacy,
                                                               Pharmacy,
                      University of
                      University of Minnesota,
                                    Minnesota, Minneapolis,
                                               Minneapolis, Minnesota
                                                             Minnesota

1987-
1987-                 Professor of
                      Professor of Medicine,
                                   Medicine, University
                                             University of
                                                        of Minnesota
                                                           Minnesota Medical
                                                                     Medical
                      School, Minneapolis, Minnesota
                      School, Minneapolis, Minnesota

1987-
1987-                 Professor, College
                      Professor, College of
                                         of Pharmacy,
                                            Pharmacy, University
                                                      University of
                                                                 of Minnesota,
                                                                    Minnesota,
                      Minneapolis, Minnesota
                      Minneapolis, Minnesota

1988-90
1988-90               Acting Chief,
                      Acting Chief, Department
                                    Department of
                                               of Internal Medicine, St.
                                                  Internal Medicine,     Paul-
                                                                     St. Paul-
                      Ramsey Medical
                      Ramsey  Medical Center,
                                      Center, St. Paul, Minnesota
                                              St. Paul, Minnesota

1990-96
1990-96               Chief, Department
                      Chief, Department of
                                         of Internal Medicine, St.
                                            Internal Medicine,     Paul-Ramsey
                                                               St. Paul-Ramsey
                      Medical Center,
                      Medical Center, St. Paul, Minnesota
                                      St. Paul, Minnesota

1995
1995                  Visiting Scholar
                      Visiting         in Medicine,
                               Scholar in Medicine, Cambridge
                                                    Cambridge University
                                                              University School of
                                                                         School of
                      Clinical Medicine,
                      Clinical Medicine, Cambridge,
                                          Cambridge, England
                                                     England

1996-
1996-                 Associate Chief
                      Associate Chief of
                                      of Staff for Education,
                                         Staff for            Minneapolis Veterans
                                                   Education, Minneapolis Veterans
                      Affairs Medical
                      Affairs Medical Center
                                      Center (MVAMC),
                                              (MVAMC), Minneapolis,
                                                          Minneapolis, Minnesota.
                                                                       Minnesota.

1998-
1998-                 Director, Education
                      Director,           Product Line,
                                Education Product        Minneapolis VAMC;
                                                   Line, Minneapolis VAMC;
                      Designated Educational
                      Designated              Official and
                                  Educational Official and Designated
                                                           Designated Learning  Officer,
                                                                      Learning Officer,
                      MVAMC; VISN
                      MVAMC;     VISN 13
                                       13 [later
                                          [later VISN
                                                 VISN 23]
                                                       23] Academic
                                                           Academic Affiliations
                                                                     Affiliations Officer
                                                                                  Officer

2011
2011                  Acting Chief
                      Acting Chief of
                                   of Staff, Minneapolis VA
                                      Staff, Minneapolis VA Healthcare
                                                            Healthcare System
                                                                       System

2011 -- Present
2011    Present       Chief of
                      Chief of Staff, Minneapolis VA
                               Staff, Minneapolis VA Healthcare
                                                     Healthcare System
                                                                System


Certification and
Certification and Licensure:
                  Licensure:

                      Diplomate of
                      Diplomate of the
                                   the National
                                       National Board
                                                Board of
                                                      of Medical
                                                         Medical Examiners (1969)
                                                                 Examiners (1969)

                      Diplomate of
                      Diplomate of the
                                   the American
                                       American Board
                                                Board of
                                                      of Internal Medicine (1973)
                                                         Internal Medicine (1973)




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                        Diplomate of
                        Diplomate of the
                                     the American
                                          American Board
                                                    Board of
                                                          of Internal  Medicine in
                                                              Internal Medicine    the
                                                                                in the
                        Subspecialty of Infectious
                        Subspecialty of Infectious Diseases
                                                   Diseases (1974)
                                                            (1974)

                        Licensed to practice
                        Licensed to practice medicine
                                             medicine in
                                                      in Minnesota
                                                         Minnesota

Memberships:
Memberships:

                        Fellow, American
                        Fellow,  American College
                                            College of
                                                     of Physicians
                                                        Physicians
                        Fellow, Infectious
                        Fellow,              Diseases Society
                                 Infectious Diseases          of America
                                                      Society of America
                        American Society
                        American   Society for   Microbiology
                                            for Microbiology
                        British Society
                        British Society for  the Study
                                         for the       of Infection
                                                 Study of Infection
                        Fellow, Society
                        Fellow,  Society for  Healthcare Epidemiology
                                          for Healthcare               of America
                                                         Epidemiology of  America
                        Hospital Infection
                        Hospital  Infection Society
                                            Society
                        American College
                        American   College ofof Physician
                                                Physician Executives
                                                          Executives

Offices Held:
Offices Held:

1985-86
1985-86                 Councilor, Society
                        Councilor,         of Hospital
                                   Society of Hospital Epidemiologists of America
                                                       Epidemiologists of America

1986-88
1986-88                 Director, Minnesota
                        Director, Minnesota Chapter,
                                            Chapter, National
                                                     National Foundation
                                                              Foundation for
                                                                         for
                        Infectious Diseases
                        Infectious Diseases

1985-88
1985-88                 Chairman, Minnesota
                        Chairman, Minnesota Medical
                                            Medical Association
                                                    Association Task Force on
                                                                Task Force on
                        AIDS
                        AIDS

1988-94
1988-94                 Director (and
                        Director (and member
                                      member of
                                              of the
                                                 the Executive Committee),
                                                     Executive Committee),
                        Minnesota Association
                        Minnesota  Association of
                                               of Public
                                                  Public Teaching
                                                         Teaching Hospitals
                                                                  Hospitals

1999-2001
1999-2001               Chairman, Community
                        Chairman,  Community Council
                                              Council on
                                                      on Graduate
                                                         Graduate Medical
                                                                  Medical Education,
                                                                          Education,
                        University of
                        University of Minnesota
                                      Minnesota Medical
                                                Medical School
                                                        School

2010-
2010-                   Vice-chair, Metropolitan
                        Vice-chair, Metropolitan Minnesota
                                                 Minnesota Council
                                                           Council on
                                                                   on Graduate
                                                                      Graduate
                        Medical Education.
                        Medical Education.

Consultant Positions:
Consultant Positions:

1973-75
1973-75                 Consultant in
                        Consultant in Infectious Diseases to
                                      Infectious Diseases to the
                                                             the Fifth
                                                                 Fifth United
                                                                       United States
                                                                              States
                        Army
                        Army

1976-78
1976-78                 Consultant, Center
                        Consultant, Center for
                                           for Disease
                                               Disease Control,
                                                       Control, Atlanta,
                                                                Atlanta, Georgia
                                                                         Georgia --
                        Study to Evaluate
                        Study to          the Efficacy
                                 Evaluate the          of Nosocomial
                                              Efficacy of Nosocomial Infection
                                                                      Infection
                        Control (SENIC)
                        Control (SENIC)

1976-79
1976-79                 Editorial Advisor, Minnesota
                        Editorial Advisor, Minnesota Communicable
                                                     Communicable Disease
                                                                  Disease
                        Newsletter
                        Newsletter




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1977-78
1977-78                Medical Consultant
                       Medical  Consultant to
                                           to the
                                              the Epidemiology
                                                  Epidemiology Unit,
                                                               Unit, Communicable
                                                                     Communicable
                       Diseases Section,
                       Diseases          Minnesota Department
                                Section, Minnesota  Department of
                                                               of Health
                                                                  Health

1977-79
1977-79                Originator and
                       Originator and Co-director,
                                      Co-director, Minnesota
                                                   Minnesota Department
                                                             Department of
                                                                        of Health
                                                                           Health
                       Communicable Diseases
                       Communicable   Diseases Seminar
                                               Seminar

1978-81
1978-81                Consultant and
                       Consultant and Chairman,
                                      Chairman, Task   Force on
                                                  Task Force on Utilization
                                                                Utilization of
                                                                            of
                       Prophylactic Antibiotics
                       Prophylactic Antibiotics in
                                                in Surgery; Foundation for
                                                   Surgery; Foundation     Health
                                                                       for Health
                       Care Evaluation,
                       Care             Minneapolis, Minnesota
                            Evaluation, Minneapolis,  Minnesota

1988-1990
1988-1990              IDSA/FDA    Reviewer for
                       IDSA/FDA Reviewer          Guidelines for
                                             for Guidelines       New Anti-
                                                              for New Anti-
                       infective Drugs
                       infective Drugs (urinary
                                       (urinary tract
                                                tract infections)
                                                      infections)

1995-1996
1995-1996              Member, Prophylactic
                       Member,  Prophylactic Antibiotic
                                             Antibiotic Project
                                                        Project Advisory
                                                                Advisory Group,
                                                                         Group,
                       Foundation for
                       Foundation for Health
                                      Health Care
                                             Care Evaluation, Minneapolis
                                                  Evaluation, Minneapolis

1997-
1997-                  Member, Medical
                       Member,  Medical Education
                                        Education and
                                                  and Research
                                                      Research Cost
                                                               Cost (MERC)
                                                                    (MERC)
                       Advisory Committee,
                       Advisory Committee, Minnesota
                                           Minnesota Department
                                                      Department of
                                                                 of Health
                                                                    Health

2010 --
2010                   Consultant, Behavioral
                       Consultant, Behavioral Medical
                                              Medical Interventions, Minneapolis,
                                                      Interventions, Minneapolis,
                       Minnesota
                       Minnesota


1993-
1993-          Journal reviewer for:
               Journal reviewer for:

                       Annals of
                       Annals  of Internal  Medicine
                                   Internal Medicine
                       Clinical Infectious
                       Clinical Infectious Diseases
                                            Diseases
                       Journal  of Infectious
                       Journal of  Infectious Diseases
                                              Diseases
                       Journal  of the
                       Journal of  the American
                                       American Geriatric
                                                  Geriatric Society
                                                            Society
                       Journal  of the
                       Journal of  the American
                                       American Medical
                                                  Medical Association
                                                           Association
                       New England
                       New  England Journal    of Medicine
                                       Journal of Medicine
                       Infection Control and
                       Infection Control   and Hospital
                                               Hospital Epidemiology
                                                        Epidemiology
                       Anaerobe
                       Anaerobe


Editorial Board Member:
Editorial Board Member:

1988-2006
1988-2006                     Infectious Disease
                              Infectious Disease News
                                                 News

1996-2002
1996-2002                     Surgical
                              Surgical Infections Forum
                                       Infections Forum


Hospital Activities:
Hospital Activities:

1976-96
1976-96                Chairman, Infection
                       Chairman, Infection Control
                                           Control Committee,
                                                   Committee, St. Paul-Ramsey
                                                              St. Paul-Ramsey
                       Medical Center
                       Medical Center



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1978-96
1978-96          Member, Continuing
                 Member,  Continuing Medical
                                     Medical Education Committee, Ramsey
                                             Education Committee, Ramsey
                 Foundation
                 Foundation

1979-96
1979-96          Chairman, St.
                 Chairman,     Paul-Ramsey Medical
                           St. Paul-Ramsey Medical Center/Ramsey
                                                   Center/Ramsey
                 Foundation Research Committee
                 Foundation Research Committee

1985-86
1985-86          Member, Finance
                 Member, Finance Committee;
                                 Committee; Program
                                            Program Development
                                                    Development
                 Committee, Ramsey
                 Committee, Ramsey Clinic
                                   Clinic

1985-87
1985-87          Member, Administrative
                 Member,  Administrative Committee,
                                         Committee, Medical
                                                    Medical Education and
                                                            Education and
                 Research Foundation
                 Research Foundation

1987-88
1987-88          Interim President, Ramsey
                 Interim President, Ramsey Foundation
                                           Foundation

1987-96
1987-96          Director, Ramsey
                 Director, Ramsey Clinic
                                  Clinic Board
                                         Board

1988-91
1988-91          Chairman of
                 Chairman of the
                             the Board
                                 Board of
                                       of Directors,
                                          Directors, Ramsey
                                                     Ramsey Foundation
                                                            Foundation

1988-96
1988-96          Member, Pension
                 Member,  Pension Board
                                  Board of
                                        of Trustees, Ramsey Clinic/Ramsey
                                           Trustees, Ramsey Clinic/Ramsey
                 Foundation
                 Foundation

1990-96
1990-96          Member, Medical
                 Member,  Medical Education
                                  Education Committee,
                                            Committee, St. Paul Ramsey
                                                       St. Paul Ramsey
                 Medical Center
                 Medical Center

1994-96
1994-96          Member, Operation
                 Member, Operation Improvement
                                   Improvement Steering Committee, St.
                                               Steering Committee, St.
                 Paul Ramsey
                 Paul Ramsey Medical
                             Medical Center
                                     Center

1993-96
1993-96          Co-chair, Department
                 Co-chair, Department of
                                       of Medicine
                                          Medicine Outpatient
                                                   Outpatient Operations
                                                              Operations
                 Committee, St.
                 Committee,      Paul Ramsey
                             St. Paul Ramsey Medical
                                             Medical Center
                                                     Center

1993-95
1993-95          Co-chair, Department
                 Co-chair, Department of
                                       of Medicine
                                          Medicine Quality
                                                   Quality Improvement
                                                           Improvement
                 Committee, St.
                 Committee,      Paul Ramsey
                             St. Paul Ramsey Medical
                                             Medical Center
                                                     Center

1996-8
1996-8           Member, Continuous
                 Member, Continuous Quality
                                    Quality Improvement Task Force,
                                            Improvement Task Force,
                 Minneapolis VA
                 Minneapolis VA Medical
                                Medical Center
                                        Center

1997-
1997-            Chairman, Infection
                 Chairman, Infection Control
                                     Control Committee,
                                             Committee, Minneapolis
                                                        Minneapolis VA
                                                                    VA
                 Medical Center
                 Medical Center

1997-9
1997-9           Chairman, Educational
                 Chairman,             Council, VISN
                           Educational Council, VISN 13
                                                     13 (Veterans
                                                        (Veterans Integrated
                                                                  Integrated
                 Service Network);
                 Service Network);

2004-
2004-            Chair, VISN
                 Chair, VISN 23
                             23 Pandemic
                                Pandemic Influenza Planning Committee
                                         Influenza Planning Committee




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Medical School
Medical        Activities:
        School Activities:

1989-96
1989-96                Member, Intern
                       Member,  Intern Selection Committee, Department
                                       Selection Committee, Department of
                                                                       of
                       Medicine
                       Medicine

1994-95
1994-95                Member, Search
                       Member,          Committee for
                                 Search Committee for Chairman,
                                                      Chairman, Department
                                                                Department of
                                                                           of
                       Internal Medicine
                       Internal Medicine

1995-6
1995-6                 Member, Promotions
                       Member,  Promotions and
                                           and Tenure Committee, Department
                                               Tenure Committee, Department of
                                                                            of
                       Medicine
                       Medicine

1995-6
1995-6                 Member, Faculty
                       Member,     Faculty Development
                                           Development Committee;
                                                       Committee; Managed
                                                                   Managed Care
                                                                           Care
                       Initiative, University of
                       Initiative, University of Minnesota
                                                 Minnesota Medical
                                                           Medical School
                                                                   School

1996-
1996-                  Member, Graduate
                       Member,  Graduate Education Council, University
                                         Education Council, University of
                                                                       of Minnesota
                                                                          Minnesota
                       Medical School
                       Medical School

2004-9
2004-9                 Member, Admissions
                       Member,  Admissions Committee,
                                           Committee, University
                                                      University of
                                                                 of Minnesota
                                                                    Minnesota
                       Medical School
                       Medical School

2006-9
2006-9                 Co-chair, Admissions
                       Co-chair, Admissions Committee,
                                            Committee, University
                                                       University of
                                                                  of Minnesota
                                                                     Minnesota
                       Medical School
                       Medical School

2007-9
2007-9                 Member, Admission
                       Member, Admission Oversight
                                          Oversight Committee,
                                                    Committee, University
                                                               University of
                                                                          of
                       Minnesota Medical
                       Minnesota Medical School
                                         School

2010-
2010-                  Member, Admissions
                       Member, Admissions Executive  Committee, University
                                           Executive Committee, University of
                                                                           of
                       Minnesota Medical
                       Minnesota Medical School
                                         School

PUBLICATIONS
PUBLICATIONS

1.
1.      CROSSLEY KB,
        CROSSLEY      KB, KJELLSTRAND
                           KJELLSTRAND CM:    CM: Intraperitoneal
                                                   Intraperitoneal insulin
                                                                   insulin for control of
                                                                           for control of
blood sugar
blood sugar in diabetic patients
            in diabetic patients during
                                 during peritoneal
                                        peritoneal dialysis. Br Med
                                                   dialysis. Br Med JJ 1:269-270,
                                                                       1:269-270, 1971.
                                                                                   1971.

2.
2.       CROSSLEY KB,
         CROSSLEY    KB, SPINK  WW: Recurrent
                         SPINK WW:     Recurrent meningitis:
                                                 meningitis: meningeal
                                                             meningeal defect
                                                                       defect found
                                                                              found
after 12th
after 12th attack.
           attack. JAMA 216:331, 1971.
                   JAMA 216:331, 1971.

3.
3.     CROSSLEY KB:
       CROSSLEY KB: Management
                    Management of
                               of intravenous
                                  intravenous infusions. N Engl
                                              infusions. N Engl JJ Med
                                                                   Med
284:1037, 1971.
284:1037, 1971.

4.
4.      CROSSLEY KB,
        CROSSLEY     KB, MATSEN
                          MATSEN JM:   The scalp-vein
                                  JM: The  scalp-vein needle:
                                                      needle: aa prospective
                                                                 prospective study
                                                                             study of
                                                                                   of
the associated
the associated complications.
               complications. JAMA 220:985-987, 1972.
                              JAMA 220:985-987, 1972.

5.
5.      CROSSLEY KB,
        CROSSLEY      KB, BIGOS
                           BIGOS ST, ST, JOFFE CD: Hemophilus
                                         JOFFE CD:   Hemophilus influenzae    pericarditis: aa
                                                                  influenzae pericarditis:
report of
report of two
          two cases in adults
              cases in adults with
                              with aa summary
                                      summary of
                                              of the
                                                 the literature. Am Heart
                                                     literature. Am  Heart JJ 85:246-251,
                                                                              85:246-251,
1973.
1973.



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6.
6.       CROSSLEY KB,
         CROSSLEY     KB, MATSEN
                            MATSEN JM:     Intravenous catheter-associated
                                       JM: Intravenous                     bacteremia:
                                                       catheter-associated bacteremia:
the role
the      of the
    role of the diagnostic
                diagnostic laboratory.
                           laboratory. Appl
                                       Appl Microbiol
                                            Microbiol 26:1006-1007,
                                                      26:1006-1007, 1973.
                                                                     1973.

7.
7.      CROSSLEY KB:
        CROSSLEY   KB: The  bacterial pneumonias.
                        The bacterial pneumonias. pp
                                                  pp 114-137
                                                     114-137 in
                                                             in Twenty-seventh
                                                                Twenty-seventh
Annual  Symposium on Pulmonary  Diseases, Washington:  US Government  Printing
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Office, 1974.
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8.
8.      WILLIAMS DN,
        WILLIAMS    DN, CROSSLEY
                        CROSSLEY KB, KB, HOFFMAN
                                         HOFFMAN C   C etet al.:
                                                            al.: Parenteral
                                                                 Parenteral clindamycin
                                                                            clindamycin
phosphate: pharmacology
phosphate: pharmacology with
                         with normal
                              normal and
                                     and abnormal
                                         abnormal liver
                                                  liver function   and effect
                                                        function and          on nasal
                                                                       effect on nasal
staphylococci. Antimicrob
staphylococci. Antimicrob Agents
                          Agents Chemother
                                 Chemother 7:153-158,   1975.
                                            7:153-158, 1975.

9.
9.      IANNINI
        IANNINI PB, PB, CROSSLEY
                        CROSSLEY KB:KB: Therapy
                                          Therapy of
                                                  of Staphylococcus
                                                     Staphylococcus aureus
                                                                    aureus bacteremia
                                                                           bacteremia
associated with
associated with aa removable
                   removable focus of infection.
                             focus of infection. Ann
                                                 Ann Intern Med 84:558-560,
                                                     Intern Med             1976.
                                                                84:558-560, 1976.

10.
10.      CROSSLEY KB:
         CROSSLEY     KB: The   complications of
                           The complications    of parenteral
                                                   parenteral hyperalimentation.
                                                              hyperalimentation. pp
                                                                                 pp 469-
                                                                                    469-
479 in
479     Najarian JS,
     in Najarian     Delaney JP
                 JS, Delaney    (eds.) Critical
                             JP (eds.) Critical Surgical  Care, New
                                                Surgical Care,  New York:
                                                                      York: Stratton
                                                                            Stratton
Intercontinental Medical Book
Intercontinental Medical  Book Corp.,
                                Corp., 1977.
                                       1977.

11.
11.    LAVERDIERE
       LAVERDIERE M,    M, CROSSLEY
                            CROSSLEY K,  K, SABATH
                                            SABATH LD:       Clinical evaluation
                                                       LD: Clinical   evaluation of
                                                                                 of aa
combination of
combination of pirbenicillin-tobramycin
               pirbenicillin-tobramycin in
                                        in the
                                           the treatment
                                               treatment of
                                                          of severe
                                                             severe Pseudomonas
                                                                    Pseudomonas
aeruginosa infections.
aeruginosa             Curr Ther
           infections. Curr  Ther Res
                                  Res 21:464-467,
                                      21:464-467, 1977.
                                                    1977.

12.
12.     LANDESMAN
        LANDESMAN B,   B, CROSSLEY
                          CROSSLEY KB:
                                   KB: Methicillin-resistant
                                       Methicillin-resistant Staphylococcus
                                                             Staphylococcus
aureus infection.
aureus            APIC 5:52,
       infection. APIC       1977.
                       5:52, 1977.

13.
13.    ZASKE  D, CROSSLEY
       ZASKE D,  CROSSLEY K:
                          K: Amikacin:
                             Amikacin: aa new
                                          new aminoglycoside
                                              aminoglycoside antibiotic.
                                                             antibiotic. Minn
                                                                         Minn
Med 61:123-126,
Med             1978.
    61:123-126, 1978.

14.
14.     FAVILLE RJ,
        FAVILLE   RJ, ZASKE
                      ZASKE DE,
                             DE, KAPLAN
                                  KAPLAN EL,     CROSSLEY KB,
                                            EL, CROSSLEY     KB, SABATH
                                                                 SABATH LD,LD,
QUIE PG:
QUIE  PG: Staphylococcus
           Staphylococcus aureus
                          aureus endocarditis:
                                 endocarditis: combined therapy with
                                               combined therapy with vancomycin
                                                                     vancomycin and
                                                                                and
rifampin. JAMA
rifampin. JAMA 240:1963-1965,   1978.
                240:1963-1965, 1978.

15.
15.     LEE BK, CROSSLEY
        LEE BK,  CROSSLEY KB,KB, GERDING
                                  GERDING DN: DN: The
                                                   The association
                                                        association between
                                                                    between
Staphylococcus aureus
Staphylococcus aureus bacteremia
                      bacteremia and
                                 and bacteriuria.
                                     bacteriuria. Am
                                                  Am JJ Med
                                                        Med 65:303-306,  1978.
                                                             65:303-306, 1978.

16.
16.     DEMUTH PJ,
        DEMUTH     PJ, GERDING   DN, CROSSLEY
                       GERDING DN,    CROSSLEY KB:
                                               KB: Staphylococcus
                                                   Staphylococcus aureus
                                                                  aureus
bacteriuria. Arch
bacteriuria. Arch Intern Med 139:78-80,
                  Intern Med 139:78-80, 1979.
                                        1979.

17.
17.      CROSSLEY K,
         CROSSLEY      K, LOESCH
                          LOESCH D,   D, LANDESMAN
                                         LANDESMAN B,    B, MEAD
                                                             MEAD K, K, CHERN
                                                                         CHERN M, M,
STRATE
STRATE R:  R: An
              An outbreak
                  outbreak ofof infections caused by
                                infections caused by strains
                                                     strains of
                                                             of Staphylococcus
                                                                Staphylococcus aureus
                                                                                 aureus
resistant to
resistant to methicillin
             methicillin and
                         and aminoglycosides.
                             aminoglycosides. I.   Clinical Studies.
                                                I. Clinical  Studies. JJ Infect Dis 139:273-
                                                                         Infect Dis 139:273-
279, 1979.
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18.
18.      CROSSLEY K,
         CROSSLEY     K, LANDESMAN
                          LANDESMAN B,      B, ZASKE
                                               ZASKE D:D: AnAn outbreak
                                                                outbreak of
                                                                         of infections
                                                                            infections caused
                                                                                       caused
by strains
by strains of
           of Staphylococcus
              Staphylococcus aureus
                               aureus resistant  to methicillin
                                       resistant to methicillin and
                                                                and aminoglycosides.
                                                                    aminoglycosides. II.
                                                                                       II.
Epidemiologic
Epidemiologic Studies.
                Studies. JJ Infect Dis 139:280-287,
                            Infect Dis 139:280-287, 1979.
                                                      1979.

19.
19.    CROSSLEY K,
       CROSSLEY   K, MEAD
                     MEAD K:
                          K: A
                             A modified
                               modified device
                                        device for replica plating.
                                               for replica plating. JJ Clin
                                                                       Clin Path
                                                                            Path
32:409-411, 1979.
32:409-411, 1979.

20.
20.      ROTSCHAFER J,
         ROTSCHAFER         CROSSLEY K,
                         J, CROSSLEY     K, ZASKE
                                             ZASKE D, D, VISTE
                                                         VISTE R: R: Comparative
                                                                     Comparative study
                                                                                 study of
                                                                                       of
cefaclor and
cefaclor and amoxicillin
             amoxicillin in treatment of
                         in treatment of urinary
                                         urinary tract
                                                 tract infection.
                                                       infection. Urology
                                                                  Urology 14:233-236,
                                                                          14:233-236,
1979.
1979.

21.
21.     CROSSLEY K,
        CROSSLEY     K, IRVINE  P, WARREN
                        IRVINE P,  WARREN JB,      LEE BK,
                                               JB, LEE BK, MEAD
                                                            MEAD K:
                                                                  K: Tetanus  and
                                                                      Tetanus and
diphtheria immunity
diphtheria immunity in
                    in urban
                       urban Minnesota
                             Minnesota adults.
                                       adults. JAMA    242:2298-2300, 1979.
                                                JAMA 242:2298-2300,   1979.

22.
22.     HOLTAN N,
        HOLTAN    N, CROSSLEY
                     CROSSLEY K, K, PRIES
                                    PRIES C:
                                          C: Prevalence
                                             Prevalence of
                                                        of intestinal
                                                           intestinal parasites
                                                                      parasites in
                                                                                in aa
Laotian
Laotian immigrant population. Minn
        immigrant population. Minn Med
                                   Med 62:749-752,
                                       62:749-752, 1979.
                                                   1979.

23.
23.   CROSSLEY K,
      CROSSLEY       K, ROTSCHAFER
                        ROTSCHAFER JC,     CHERN MM,
                                       JC, CHERN    MM, MEAD
                                                          MEAD K, K, ZASKE D:
                                                                     ZASKE D:
Comparison of
Comparison of aa radioimmunoassay and aa microbiologic
                 radioimmunoassay and    microbiologic assay
                                                       assay for measurement of
                                                             for measurement of serum
                                                                                serum
vancomycin concentrations.
vancomycin concentrations. Antimicrob
                           Antimicrob Agents
                                       Agents Chemother
                                              Chemother 17:654,
                                                          17:654, 1980.
                                                                   1980.

24.
24.     ROTSCHAFER J,
        ROTSCHAFER          MEAD K,
                         J, MEAD    K, CHERN
                                       CHERN M, M, CROSSLEY
                                                   CROSSLEY K:  K: Evaluation   of aa
                                                                    Evaluation of
radioimmunoassay for
radioimmunoassay        measurements of
                    for measurements   of serum
                                          serum vancomycin
                                                vancomycin concentration.   pp. 521-523
                                                            concentration. pp.  521-523
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in Nelson JD  and Grassi
          JD and         C (eds.)
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                                            Chemotherapy and
                                                         and Infectious
                                                             Infectious Disease.
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                the 11th
                    11th Congress
                         Congress of
                                   of Chemotherapy
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                                                    and the
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                                                            19th Interscience Conference
                                                                 Interscience Conference
on Antimicrobial
on  Antimicrobial Agents
                  Agents and
                          and Chemotherapy,
                              Chemotherapy, Washington,
                                              Washington, DC:
                                                           DC: The
                                                                The American
                                                                     American Society
                                                                                Society
for Microbiology,
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                   1980.

25.
25.      CROSSLEY K,
         CROSSLEY      K, SOLLIDAY
                          SOLLIDAY J:      Comparison of
                                        J: Comparison   of rectal
                                                           rectal swabs
                                                                  swabs and
                                                                        and stool
                                                                              stool cultures
                                                                                    cultures
for the
for the detection
        detection of
                  of gastrointestinal
                     gastrointestinal carriage
                                      carriage of
                                               of Staphylococcus
                                                  Staphylococcus aureus.
                                                                   aureus. JJ Clin
                                                                              Clin Microbiol
                                                                                   Microbiol
11:433-434, 1980.
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26.
26.     HALEY RW,
        HALEY     RW, SCHABERG
                        SCHABERG DR,   DR, MCMC CLISH
                                                 CLISH DK,
                                                         DK, QUADE
                                                              QUADE D,D, CROSSLEY
                                                                          CROSSLEY KB, KB,
CULVER DH,
CULVER     DH, MORGAN
                 MORGAN WM,  WM, MC MC GOWAN
                                        GOWAN JE,  JE, JR,
                                                       JR, SHACHTMAN
                                                           SHACHTMAN RH:   RH: The
                                                                                 The
accuracy of
accuracy  of retrospective
             retrospective chart
                            chart review
                                  review in
                                          in measuring
                                             measuring nosocomial
                                                        nosocomial infection
                                                                   infection rates.
                                                                             rates. Results
                                                                                    Results
of validation
of validation studies
              studies in
                      in pilot
                         pilot hospitals.
                               hospitals. Am
                                           Am JJ Epidemiol  111:516-533, 1980.
                                                 Epidemiol 111:516-533,  1980.

27.
27.    HALEY RW,
       HALEY    RW, HOOTON
                     HOOTON TM,  TM, SCHOENFELDER
                                      SCHOENFELDER JR,         CROSSLEY KB,
                                                           JR, CROSSLEY     KB, QUADE
                                                                                 QUADE
D, STANLEY
D, STANLEY RC,RC, CULVER
                  CULVER DH: DH: Effect   of an
                                   Effect of an infection
                                                infection surveillance
                                                          surveillance and
                                                                       and control
                                                                           control
program on
program on the
           the accuracy
               accuracy of
                        of retrospective
                           retrospective chart
                                         chart review.  Am JJ Epidemiol
                                               review. Am                111:543-555,
                                                              Epidemiol 111:543-555,
1980.
1980.

28.
28.     CROSSLEY K,
        CROSSLEY       K, WARREN
                          WARREN JB:     Acute ethanol
                                    JB: Acute   ethanol intoxication and serum
                                                        intoxication and serum
bactericidal activity
bactericidal activity against
                      against Hemophilus
                              Hemophilus influenzae.
                                         influenzae. JJ Stud Alcohol 41:749-752,
                                                        Stud Alcohol  41:749-752, 1980.
                                                                                  1980.




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29.
29.    IRVINE
       IRVINE P,P, CROSSLEY
                   CROSSLEY K:
                            K: Tetanus
                               Tetanus and
                                       and the
                                           the institutionalized elderly. JAMA
                                               institutionalized elderly. JAMA
244:2159-2160, 1980.
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30.
30.   BAKER D,
      BAKER   D, ROTSCHAFER
                 ROTSCHAFER JC,   JC, SAWCHUK
                                      SAWCHUK R,   R, CROSSLEY
                                                      CROSSLEY KB,
                                                               KB, SOLEM
                                                                   SOLEM LD:
                                                                         LD:
Vancomycin pharmacokinetics.
Vancomycin pharmacokinetics. JJ Pediatr
                                Pediatr 97:502-503, 1980.
                                        97:502-503, 1980.

31.
31.    TOFTE
       TOFTE RW,RW, SOLLIDAY
                     SOLLIDAY J,      CROSSLEY KB•
                                   J, CROSSLEY    KB: Antimicrobial
                                                       Antimicrobial susceptibility
                                                                       susceptibility of
                                                                                      of
Acinetobacter calcoaceticus,
Acinetobacter                Serratia marcescens,
              calcoaceticus, Serratia  marcescens, Pseudomonas
                                                   Pseudomonas fluorescens
                                                                  fluorescens and
                                                                               and
Pseudomonas maltophilia
Pseudomonas   maltophilia to
                          to three
                             three novel
                                   novel cephalosporin-like antibiotics. JJ Antimicrob
                                         cephalosporin-like antibiotics.    Antimicrob
Chemother 6:799-801,
Chemother             1980.
           6:799-801, 1980.

32.
32.     ZASKE   DE, CROSSLEY
        ZASKE DE,   CROSSLEY KB,
                              KB, STRATE RJ: Aminoglycoside
                                  STRATE RJ: Aminoglycoside toxicity
                                                            toxicity (letter).
                                                                     (letter).
N Engl
N Engl JJ Med
          Med 303:1002, 1980.
              303:1002, 1980.

33.
33.      TOFTE  RW, CROSSLEY
         TOFTE RW,  CROSSLEY K:
                             K: Clinical
                                Clinical experience with toxic-shock
                                         experience with toxic-shock syndrome.
                                                                     syndrome. N
                                                                               N
Engl
Engl JJ Med
        Med 303:1417,
            303:1417, 1980.
                      1980.

34.
34.     CROSSLEY K,
        CROSSLEY      K, JOHNSON
                         JOHNSON J,       MUDGE R:
                                       J, MUDGE     R: A
                                                       A comparative
                                                          comparative study
                                                                       study of
                                                                             of nosocomial
                                                                                nosocomial
infections caused
infections        by strains
           caused by strains of
                              of S.
                                 S. aureus
                                    aureus of
                                           of differing
                                              differing antimicrobial
                                                        antimicrobial susceptibilities.
                                                                      susceptibilities. pp
                                                                                        pp
937-941  in Proceedings
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                          of the
                             the IV
                                 W International
                                     International Symposium
                                                   Symposium onon Staphylococci   and
                                                                  Staphylococci and
Staphylococcal
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                Infections, Stuttgart:   Gustav Fischer
                             Stuttgart: Gustav   Fischer Verlag,
                                                         Verlag, 1981.
                                                                 1981.

35.
35.     ROTSCHAFER J,
        ROTSCHAFER        MEAD K,
                       J, MEAD    K, CROSSLEY
                                     CROSSLEY K: K: Recent
                                                     Recent studies
                                                            studies of
                                                                    of the
                                                                        the
pharmacokinetics of
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                  Infect Dis. 2009;63:201-7.

131. CROSSLEY
131. CROSSLEY KB, KB, JEFFERSON
                      JEFFERSON K,K, FOWLER
                                     FOWLER V  V AND
                                                 AND ARCHER
                                                       ARCHER G  [editors]: The
                                                               G [editors]: The
Staphylococci in Human
Staphylococci in Human Disease.
                       Disease. Oxford:
                                Oxford: Wiley-Blackwell,
                                        Wiley-Blackwell, 2009.
                                                         2009.

132. GATTERMAN
132. GATTERMAN S,      CROSSLEY KB:
                    S, CROSSLEY    KB: Urinary
                                        Urinary Tract
                                                Tract Infection
                                                      Infection in CROSSLEY KB,
                                                                in CROSSLEY    KB,
JEFFERSON
JEFFERSON K,K, FOWLER
               FOWLER V   V AND
                            AND ARCHER
                                  ARCHER G G [editors]:
                                              [editors]: The
                                                         The Staphylococci
                                                             Staphylococci in Human
                                                                           in Human
Disease. Oxford:
Disease. Oxford: Wiley-Blackwell,
                 Wiley-Blackwell, 2009.
                                  2009.

133. CROSSLEY
133. CROSSLEY KB,KB, JOHN
                      JOHN J:
                            J: Treatment  of Staphylococcal
                               Treatment of                  Infection in
                                             Staphylococcal Infection  in CROSSLEY
                                                                          CROSSLEY
KB, JEFFERSON
KB,  JEFFERSON K, K, FOWLER
                     FOWLER V  V AND
                                 AND ARCHER
                                      ARCHER G    G [editors]:
                                                    [editors]: The
                                                               The Staphylococci
                                                                    Staphylococci in
                                                                                  in
Human Disease.
Human   Disease. Oxford:
                 Oxford: Wiley-Blackwell,
                         Wiley-Blackwell, 2009.
                                          2009.

134. CROSSLEY
134.  CROSSLEY KB, KB, PETERSON
                       PETERSON PK:  PK: Infections  in the
                                          Infections in the elderly
                                                            elderly in
                                                                    in MANDELL
                                                                       MANDELL GL, GL,
BENNETT JE,
BENNETT         DOLIN R
            JE, DOLIN  R (editors)
                         (editors) Principles
                                   Principles and
                                              and Practice
                                                  Practice of
                                                            of Infectious Diseases (7th
                                                               Infectious Diseases (7th
edition), New
edition), New York:
               York: Elsevier, 2009.
                     Elsevier, 2009.

135. CROSSLEY
135.  CROSSLEY K:    K: Review:
                        Review: intranasal
                                 intranasal mupirocin
                                            mupirocin ointment
                                                      ointment reduces
                                                               reduces Staphylococcus
                                                                       Staphylococcus
aureus infections
aureus            in nasal
       infections in nasal carriers.
                           carriers. Evid
                                     Evid Based
                                          Based Med
                                                Med 2009;14:110.
                                                      2009;14:110.

136. CROSSLEY
136.  CROSSLEY KB: KB: Streptococci.    in Mayhall
                          Streptococci. in Mayhall CG
                                                   CG (editor)
                                                       (editor) Hospital
                                                                Hospital Epidemiology
                                                                         Epidemiology
and Infection
and Infection Control, (4rd edition)
              Control, (4rd          Baltimore: Williams
                            edition) Baltimore: Williams &
                                                         & Wilkins,
                                                            Wilkins, 2010.
                                                                     2010.

137. STONE
137.          ND, ASHRAF
       STONE ND,   ASHRAF MS,  MS, CALDER
                                    CALDER J,     CRNICH CJ,
                                               J, CRNICH   CJ, CROSSLEY
                                                                CROSSLEY KB    KB et
                                                                                  et al.
                                                                                     al.
Surveillance definitions of
Surveillance definitions of infections
                            infections in
                                       in long-term care facilities:
                                          long-term care             revising the
                                                         facilities: revising the McGeer
                                                                                  McGeer
criteria. (Accepted
criteria. (Accepted for publication in
                    for publication in Infect
                                       Infect Control
                                              Control Hosp
                                                      Hosp Epidemiol.)
                                                            Epidemiol.)


GRADUATE STUDENT
GRADUATE         MENTORSHIPS [M.P.H.
         STUDENT MENTORSHIPS [M.P.H. or
                                     or M.H.A.
                                        M.H.A. Committees]
                                               Committees]

Joseph
Joseph Thurn, M.D. [M.P.H.]
       Thurn, M.D.   [M.P.H.] Needlestick
                              Needlestick Injuries and Needle
                                          Injuries and Needle Disposal
                                                              Disposal in
                                                                       in Minnesota
                                                                          Minnesota
Physicians’ Offices.
Physicians' Offices. 1992
                      1992

Aaron DeVries,
Aaron DeVries, M.D.
               M.D. [M.P.H.]
                    [M.P.H.] Toxic
                             Toxic Shock
                                   Shock Syndrome. 2005.
                                         Syndrome. 2005.

Megan Alavi
Megan   Alavi [M.H.A]    Applying Emergency
              [M.H.A] Applying               Response Lessons
                                  Emergency Response  Lessons Learned from Hurricane
                                                              Learned from  Hurricane
Katrina to
Katrina to Pandemic
           Pandemic Influenza:
                     Influenza: An
                                An Analysis
                                   Analysis of
                                            of the
                                               the Minnesota
                                                   Minnesota Department
                                                             Department of
                                                                        of Health
                                                                           Health
Pandemic Influenza
Pandemic             Plan. 2007.
           Influenza Plan. 2007.

Nelay Kothari,
Nelay  Kothari, M.D.
                M.D. [M.H.A.]
                     [M.H.A.] Antibiotic
                              Antibiotic Prescribing
                                         Prescribing in
                                                     in Minnesota
                                                        Minnesota Long-term Care
                                                                  Long-term Care
Facilities. 2007.
Facilities. 2007.




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                                                                                   Liberty002680
                                                                                   Li berty002680
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Katherine Waters,
Katherine Waters, D.V.M.
                  D.V.M. [M.P.H.]
                          [M.P.H.] Prevalence
                                      Prevalence of
                                                 of methicillin-resistance
                                                    methicillin-resistance Staphylococcus
                                                                           Staphylococcus
aureus (MRSA)
aureus (MRSA) infection
               infection in
                         in pets
                            pets living
                                 living in households where
                                        in households where aa child has been
                                                               child has been diagnosed
                                                                              diagnosed
with MRSA.
with MRSA. 2007.
             2007.

Pamela Adams,
Pamela Adams, D.V.M.
               D.V.M. [M.P.H.]  Consultative Report•
                      [M.P.H.] Consultative  Report: Minnesota
                                                     Minnesota County
                                                               County Foreign
                                                                      Foreign
Animal Disease
Animal Disease Response
               Response Support Guide.  2010.
                        Support Guide. 2010.

Nicole Khoury,
Nicole Khoury, Ph.D.
                Ph.D. [M.P.H.]
                      [M.P.H.] Consultative
                                Consultative Report:
                                             Report: The
                                                     The Role
                                                          Role Electronic
                                                               Electronic Surveillance
                                                                          Surveillance
Systems Play in
Systems Play in Improving Infection Control
                Improving Infection Control Investigation. 2010.
                                            Investigation. 2010.




U.S. PATENTS
U.S. PATENTS

CROSSLEY KB.
CROSSLEY KB. Oligodynamic
             Oligodynamic Catheter.
                          Catheter. US
                                    US Patent
                                       Patent 4054139
                                              4054139 issued
                                                      issued 10/18/1977
                                                             10/18/1977

CROSSLEY KB.
CROSSLEY     KB. Method
                 Method and
                        and Apparatus
                            Apparatus to
                                      to Prevent
                                         Prevent Infections. US Patent
                                                 Infections. US Patent 6551346
                                                                       6551346
issued 4/22/2003
issued 4/22/2003




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                                                                                Liberty002681
                                                                                Liberty002681
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                          Curriculum Vitae

                 Daniel J. Kitei D.O., M.A.
 Board Certified Neurologist and Neuromuscular Specialist



  Medical
  MEDICAL
  Training
  TRAINING
     2008
     2008           American Board
                    American Board of   Psychiatry and Neurology
                                     ofPsychiattyand   Neurology
                    Board Certified
                    Board Certified in
                                    in Neurology
                                       Neurology
      2009
      2009          American Board
                    American Board of   Psychiatry and
                                     ofPsychiatry  and Neurology
                                                       Neurology
                    Board Certified
                    Board Certified in
                                    in Neuromuscular
                                       Neuromuscular Medicine
                                                       Medicine
    2008-2009
    2008-2009       Harvard Medical
                    Hamm'     Medical School   Neuromuscular Program
                                        SchoolNeuromuscular     Program
                    Neuromuscular/EMG Fellowship
                    Neuromuscular/EMG        Fellowship
                    Massachusetts General
                    Massachusetts     General Hospital
                                               Hospital
                    Brigham and
                    Brigham   and Women's
                                   Women’s Hospital
                                              Hospital
    2005-2008
    2005-2008       University
                    UniversityofofConnecticut    Health Center
                                   ConnecticutHealth    Center
                    Neurology   Residency
                    Neurology Residency
                    Chief Resident
                    Chief  Resident 2007-2008
                                     2007-2008
                       Visiting Rotation
                      Visiting  Rotation at
                                          at the
                                             the University
                                                 University of
                                                            of California
                                                               California at
                                                                          at San
                                                                             San Francisco-Exposure
                                                                                 Francisco-Exposure to  to
                    MDA/ALS clinic,
                    MDA/ALS     clinic, EMG/NCS,
                                        EMG/NCS, Single
                                                    Single fiber
                                                           fiber EMG,
                                                                 EMG, Spine
                                                                       Spine and
                                                                              and nerve
                                                                                   nerve injury
                                                                                         injury clinics
                                                                                                clinics
                       Visiting Rotation
                      Visiting  Rotation at
                                          at Stanford
                                             Stanford University-Exposure
                                                      University-Exposure to to MDA/ALS
                                                                                MDA/ALS clinic,
                                                                                           clinic,
                    EMG/NCS, intra-operative
                    EMG/NCS,                       monitoring, Epilepsy
                                 intra-operative monitoring,   Epilepsy Monitoring
                                                                         Monitoring Unit,
                                                                                     Unit, Grid
                                                                                           Grid Placement
                                                                                                 Placement
    2004-2005
    2004-2005       Tucson   Hospitals Medical
                    TucsonHospitals     Medical Education
                                                  Education Program,
                                                             Program, Tucson,   Arizona
                                                                       Tucson, Arizona
                    Transitional Internship
                    Transitional  Internship




 Education
 EDUCATION
    2000-2004
    2000-2004       Arizona College
                    Arizona College of
                                    ofOsteopathic Medicine, Glendale,
                                       OsteopathicMedicine,             Arizona
                                                            Glendale, Anmita
                    Medical School
                    Medical School
                    Neurology Rotations
                    Neurology Rotations at
                                        at Barrow
                                           Barrow Neurologic
                                                  Neurologic Institute,
                                                             Institute, Mayo
                                                                        Mayo Clinic
                                                                              Clinic Scottsdale,
                                                                                     Scottsdale, AZ
                                                                                                 AZ
    1999-2000
    1999-2000       University
                    Universityof
                               ofCalifornia
                                  California at
                                             atSanta  Barbara
                                                Santa Barbara
                    Master’s Degree
                    Master's Degree
                    Religious Studies
                    Religious  Studies and
                                       and Global
                                            Global Medicine
                                                   Medicine
    1995-1999
    1995-1999       University
                    Universityof
                               ofCalifornia
                                  California at
                                             atSanta  Barbara
                                                Santa Barbara
                    Bachelor of
                    Bachelor  of Arts
                                 Arts
                    Pre-Med and
                    Pre-Med  and Religious
                                  Religious Studies
                                             Studies
    1991-1995
    1991-1995       Brophy College
                    Brophy         Preparatory, Phoenic
                           College Preparatory, Phoenix, Arizona
                                                         Arizona
                    High School
                    High School




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                                                                                                Liberty002682
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Activities AND
ACTIVITIES and
   Awards
   AWARDS
      2008
      2008          University
                    Universityof
                               ofConnecticut Resident Teacher
                                 ConnecticutResident          Award
                                                      TeacherAward
                    Awarded each
                    Awarded    each year
                                     year to
                                          to the
                                             the resident
                                                 resident who
                                                           who displayed    the highest
                                                                 displayed the  highest level
                                                                                         level of
                                                                                               of teaching
                                                                                                  teaching
                    excellence
                    excellence
    2006-2007
    2006-2007       University
                    UniversityofofConnecticut    Award for
                                   ConnecticutAward         Excellence in
                                                        forExcellence   in Stroke
                                                                           Stroke Treatment
                                                                                    Treatment
                    Awarded to
                    Awarded    to the
                                  the Resident
                                      Resident who
                                                 who showed
                                                      showed the
                                                               the highest
                                                                    highest efficiency
                                                                            efficiency and
                                                                                       and quality
                                                                                            quality in  Acute
                                                                                                     in Acute
                    Stroke Treatment
                    Stroke  Treatment
    2005-2007
    2005-2007       American
                    Amen  -canCouncil
                                CouncilofofGraduate    Medical Education
                                           Graduate Medical      Education
                    University of
                    University     Connecticut Board
                                of Connecticut   Board Member
                                                        Member
                    Creation and
                    Creation   and improvement
                                    improvement of of policy for the
                                                      policy for the Capital
                                                                     Capital Area
                                                                              Area Health
                                                                                    Health Consortium
                                                                                           Consortium
    2005-2007
    2005-2007       University
                    UniversityofofConnecticut    Resident Forum
                                   ConnecticutResident     Forum
                    Neurology Residency
                    Neurology    Residency Representative
                                            Representative
                    Creation and
                    Creation   and improvement
                                    improvement of of policy for the
                                                      policy for the University
                                                                     University of
                                                                                 of Connecticut
                                                                                    Connecticut and
                                                                                                  and
                    associated    hospitals
                    associated hospitals
      2007
      2007          Internal Review
                    Internal Review Committee
                                      Committee
                    Reviewed individual
                    Reviewed    individual UCONN
                                           UCONN residency
                                                    residency programs
                                                                programs with
                                                                           with faculty
                                                                                 faculty members
                                                                                         members forfor quality
                                                                                                        quality
                    of education
                    of education and
                                   and presented
                                        presented aa resident
                                                      resident perspective
                                                                perspective on   particular program’s
                                                                              on particular program's
                    strengths and
                    strengths   and weaknesses
                                     weaknesses
    2003-2004
    2003-2004       Arizona College
                    Arizona  College OfOfOsteopathic    Medicine Admissions
                                         Osteopathic Medicine      Admissions Committee
                                                                                 Committee
                    Student representative
                    Student   representative toto admissions
                                                  admissions committee
                                                               committee
      2002
      2002          Health Education
                    Health Education Learning
                                      Learning Programs
                                               Programs
                    Student of
                    Student of the
                               the Year
                                   Year 2002
                                        2002
    1996-2000
    1996-2000       University
                    Universityof
                               ofCalifornia
                                 California at
                                            atSanta  Barbara Academic
                                               Santa Barbara Academic Honors
                                                                       Honors
                    Graduated Cum
                    Graduated   Cum Laude,
                                     Laude, Golden
                                             Golden Key
                                                    Key National
                                                        National Honor
                                                                 Honor Society,
                                                                       Society, Who's
                                                                                Who’s Who
                                                                                      Who National
                                                                                          National
                    Dean’s List
                    Dean's List
    1993-1995
    1993-1995       AZA Youth
                    AZ4 Youth Organization
                               Organization
                    Chapter President,
                    Chapter  President, Southwestern
                                        Southwestern Regional
                                                      Regional Chairman
                                                               Chairman



Publications
PUBLICATIONS
    and
    AND
  research
  RESEARCH
     2010
     2010           Eugene M,
                    Eugene  M, Kitei
                               Kitei D,
                                     D, Silvers
                                        Silvers D.
                                                D. Clinical
                                                   Clinical Reasoning:
                                                            Reasoning: A
                                                                       A 75-year-old woman with
                                                                         75-year-old woman with visual
                                                                                                visual
                    disturbances
                    disturbances and  unilateral ataxia.
                                  and unilateral          Neurology 2010;
                                                  ataxia. Neurology 2010; 75;  e29
                                                                           75; e29

      2008
      2008          Kitei D,
                    Kitei D, DiMario
                             DiMario F.
                                     F. Childhood
                                        Childhood Orbital Pseudotumor: Case
                                                  Orbital Pseudotumor: Case Report
                                                                            Report and
                                                                                   and Literature
                                                                                       Literature
                    Review.  Journal of
                    Review. Journal  ofChild Neurology 2008;
                                        ChildNeurology  2008; 23(4)
                                                              23(4) 425-430
                                                                    425-430
      2008
      2008          Kitei, D,
                    Kitei, D, Lee
                              Lee N,
                                  N, MERCI
                                      MERCI Clot
                                              Clot Retrieval
                                                   Retrieval in
                                                              in Acute
                                                                 Acute Stroke-Comparing
                                                                        Stroke-Comparing IVTPA,
                                                                                              IVTPA, IATPA,
                                                                                                       IATPA,
                    MERCI Retrieval
                    MERCI   Retrieval and
                                        and Combination
                                             Combination therapy
                                                            therapy (in
                                                                     (in progress)
                                                                         progress)
    2005-2008
    2005-2008       Hartford Hospital
                    Hartford  Hospital Stroke
                                         Stroke Center
                                                 Center
                    Participated in
                    Participated   in enrollment,
                                      enrollment, examinations
                                                   examinations &  & data    collection for
                                                                      data collection    for multiple
                                                                                             multiple studies
                                                                                                       studies
                    including the Multi-Merci Trial (Evaluating the efficacy of the MERCI clot retrieval
                    including  the  Multi-Merci  Trial (Evaluating  the  efficacy  of the  MERCI   clot retrieval
                    device  for acute
                    device for  acute ischemic
                                       ischemic stroke),
                                                  stroke), The
                                                           The FAST
                                                                FAST trial
                                                                      trial (Evaluating
                                                                            (Evaluating Factor
                                                                                          Factor 77 for
                                                                                                    for acute
                                                                                                        acute
                    hemorrhagic stroke
                    hemorrhagic     stroke treatment),
                                           treatment), The
                                                         The PRoFESS
                                                             PRoFESS Trial
                                                                         Trial (comparing
                                                                               (comparing aggrenox
                                                                                             aggrenox and
                                                                                                        and plavix
                                                                                                             plavix
                    for stroke
                    for stroke prevention)
                                prevention)
      2005
      2005          University
                    Universityof   Arizona Diabetes
                                ofkizona    Diabetes Research
                                                       Research Lab
                                                                  Lab
                    Research Assistant
                    Research   Assistant for
                                           for basic science laboratory,
                                               basic science   laboratory, genetic    testing
                                                                             genetic testing




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                                                                                                      Liberty002683
                                                                                                      Li berty002683
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 Lectures AND
 LECTURES  and
presentations
PRESENTATIONS
      2009
      2009           Swedish  Medical Center
                     SwedishMedical    CenterGrand   Rounds
                                               GrandRounds
                     Neuromuscular Emergencies
                     Neuromuscular   Emergencies
       2009
       2009          Harvard Medical
                     HatvatrfMedical School   Neuromuscular Program
                                       SchoolNeuromuscular   Program
                     Brain-Computer Interface
                     Brain-Computer   Interface in neuromuscular disease
                                                in neuromuscular disease
     2006-2007
     2006-2007       University
                     Universityof
                                ofConnecticut  Medical School
                                  ConnecticutMedical    School
                     Guest lectures
                     Guest lectures on
                                    on Parkinson's
                                        Parkinson’s Disease,
                                                    Disease, Multiple
                                                             Multiple Sclerosis,
                                                                      Sclerosis, Physical
                                                                                 Physical Exam
                                                                                          Exam
       2007
       2007          University
                     Universityof
                                ofConnecticut Department of
                                  ConnecticutDepattment      Neurology Grand
                                                           ofNeurology        Rounds
                                                                        GtandRounds
                     Acute Stroke
                     Acute Stroke Treatment-Review
                                  Treatment-Review of
                                                    of current
                                                       current therapies
                                                               therapies and
                                                                         and Presentation
                                                                             Presentation of
                                                                                          of Data
                                                                                             Data
                     from Hartford
                     from Hartford Hospital-A
                                   Hospital-A Regional
                                              Regional Stroke
                                                       Stroke Center
                                                              Center
     2005-2007
     2005-2007       Neuromuscular Conferences,
                     Neuromuscular  Conferences, University
                                                 Universityof
                                                            ofConnecticut  Dept of
                                                              ConnecticutDept      Neurology
                                                                                ofNeurology
                     Limb Girdle
                     Limb Girdle Muscular
                                 Muscular Dystrophy
                                          Dystrophy 2A-Clinical,
                                                    2A-Clinical, pathological aspects
                                                                 pathological aspects
                     Myotonia-Disease states
                     Myotonia-Disease states and
                                             and electrolyte
                                                 electrolyte abnormalities
                                                             abnormalities
                     Muscle Cramps-Clinical
                     Muscle Cramps-Clinical causes
                                            causes and
                                                   and pathology
                                                        pathology
     2005-2007
     2005-2007       Grand Rounds Case
                     GrandRounds       Presentations, University
                                  Case Presentations, Universityof
                                                                 ofConnecticut Dept of
                                                                   ConnecticutDept     Neurology
                                                                                    ofNeurology
                     Creutzfeldt-Jacob Disease-Clinical,
                     Creutzfeldt-Jacob Disease-Clinical, MRI,
                                                          MRI, EEG,
                                                                EEG, CSF
                                                                      CSF findings
                                                                          findings
                     Microhemorrhages-The use
                     Microhemorrhages-The    use of
                                                  of MRI
                                                     MRI for
                                                         for diagnosis
                                                             diagnosis and
                                                                        and treatment
                                                                             treatment
                     Carotid Dissection-Pathology
                     Carotid Dissection-Pathology and
                                                    and clinical
                                                        clinical presentation
                                                                 presentation
                     Multiple Sclerosis-A
                     Multiple Sclerosis-A rare
                                          rare spinal
                                               spinal cord
                                                      cord lesion
                                                           lesion presenting   with painful
                                                                   presenting with          feet
                                                                                    painful feet
                     Venous Sinus
                     Venous  Sinus Thrombosis-Evaluation
                                   Thrombosis-Evaluation andand treatment
                                                                 treatment


Volunteer AND
VOLUNTEER     and
  teaching
  TEACHING
   History
   HISTORY
    2010-2011
    2010-2011        Rocky Vista
                     Rocky        Medical School
                            Vista Medical  School
                     Clinical Assistant
                     Clinical Assistant Professor
                                        Professor
     2008-2009
     2008-2009       Harvard Medical
                     Harvard Medical School
                                     School
                     Preceptor for
                     Preceptor for Medical
                                   Medical Student
                                           Student Neurology
                                                   Neurology Education
                                                             Education
     2002-2004
     2002-2004       Maemonides Social
                     Maemonides           Action Club
                                   SocialAction  Club of Midwestern University
                                                      ofMidwestern  University
                     Vice President
                     Vice President
     2001-2003
     2001-2003       “Head
                     "HeadStart”   Health Care
                            Start'Health       For Underprivileged
                                          CareFor  UnderprivilegedChildren
                                                                   Children
                     Volunteer for
                     Volunteer for medical
                                   medical exams  and patient
                                           exams and   patient education,
                                                               education, Phoenix,
                                                                          Phoenix, Arizona
                                                                                   Arizona
     2001-2003
     2001-2003       TOPS  High School
                     TOPSHigh   SchoolSports Physicals
                                       SportsPhysicals
                     Performed hundreds
                     Performed  hundreds of
                                         of physicals for underprivileged
                                            physicals for underprivileged athletes,
                                                                          athletes, Phoenix,
                                                                                    Phoenix, AZ
                                                                                             AZ
     1996-2003
     1996-2003       Health Education
                     Health Education Learning
                                      Learning Programs
                                               Programs
                     Assistant for
                     Assistant for Medical
                                   Medical Education,
                                           Education, Phoenix,
                                                      Phoenix, Arizona
                                                               Arizona
     1998-2001
     1998-2001       Union Hills Family
                     UnionHills  Family Physicians
                                        Physicians
                     Assistant to
                     Assistant to physicians,
                                  physicians, office managerial duties,
                                              office managerial duties, Glendale,
                                                                        Glendale, Arizona
                                                                                  Arizona
     1996-1999
     1996-1999       Campus    Learning Assistance
                     CampusLeamkg         Assistance Programs
                                                     Programs
                     Conducted math
                     Conducted    math and
                                         and physics  tutorials for
                                             physics tutorials  for undergraduate
                                                                    undergraduate students
                                                                                  students
                     University of
                     University     California, Santa
                                 of California, Santa Barbara
                                                       Barbara
     1994-1995
     1994-1995       Arizona Recreation
                     Arizona  Recreation Center
                                           Centerfor  the Handicapped
                                                  forthe  Handicapped
                     Activity creation
                     Activity creation and  supervision for
                                        and supervision  for physically and mentally
                                                             physically and mentally disabled, Glendale,AZ
                                                                                     disabled, Glendale,AZ




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                                                                                                   Liberty002684
                                                                                                   Li berty002684
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Work HISTORY
WORK history
      2011
      2011         Rocky Mountain
                   Rocky Mountain Neurology
                                   Neurology
                   Neurologist, Managing
                   Neurologist, Managing Partner
                                         Partner
    2009-2010
    2009-2010      Blue Sky
                   Blue  Sky Neurosciences
                             Neurosciences
                   Neurologist
                   Neurologist
                   Englewood, CO
                   Englewood,  CO
    2006-2007
    2006-2007      Jefferson Radiology
                   Jefferson Radiology
                   Physician On
                   Physician  On Site
                                 Site
                   Hartford, Connecticut
                   Hartford, Connecticut




 Memberships
 MEMBERSHIPS
and LICENSURE
AND Licensure
    2009-2011
    2009-2011       State
                    State of
                          ofColorado  Medical License
                             Colorado Medical License #47342
                                                      #47342
    2006-2009
    2006-2009       State
                    State of
                          ofConnecticut Medical License
                             ConnecticutMedical License #044585
                                                        #044585
    2008-2009
    2008-2009       State
                    State of Massachusetts Medical
                          ofMassachusetts  Medical License
                                                   License #235826
                                                           #235826
    2005-2008
    2005-2008       American Council
                    Ameiican  Councilof
                                     ofGraduate  Education Board
                                        Graduate Education Board Member
                                                                 Member
    2005-2011
    2005-2011       American Academy
                    AmenCan   Academy Of Neurology Member
                                       OfNeurology Member
    2004-2011
    2004-2011       American Medical
                    American  Medical Association
                                      Association Member
                                                  Member
    2004-2011
    2004-2011       American Osteopathic
                    Ameiican             Association Member
                             OsteopathicAssociation  Member




  Hobbies
  HOBBIES
     Tennis
     Tennis        Ranked 19
                   Ranked     in Southwestern
                           19 in Southwestern United
                                              United States
                                                     States Junior
                                                            Junior Tennis
                                                                   Tennis
                   Arizona Representative
                   Arizona Representative to
                                          to Hermosillo,
                                             Hermosillo, Mexico
                                                         Mexico International
                                                                International Tennis
                                                                              Tennis Exchange
                                                                                     Exchange
     Exercise
     Exercise      Certified Personal
                   Certified Personal Trainer
                                      Trainer and
                                              and active
                                                  active in
                                                         in multiple
                                                            multiple sports
                                                                     sports
    Theater/TV
    Theater/TV     Principal and
                   Principal and featured
                                 featured roles in over
                                          roles in over 15
                                                        15 productions
                                                           productions
      Poker
      Poker        Future World
                   Future World Poker
                                Poker Tour
                                      Tour Winner
                                           Winner (Hopefully)
                                                  (Hopefully)
      Travel
      Travel       Traveled extensively
                   Traveled extensively and
                                        and always
                                            always interested
                                                   interested in
                                                              in aa new
                                                                    new place
                                                                        place




                                                                                                  4
                                                                                          Liberty002685
                                                                                          Li berty002685
               Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 410 of 501

                                                                                                   Medical Consultants
                                                                                                           Consultants Network,
                                                                                                                       Network, LLC
AO -0% 1M                                                                                          Medical
                                                                                                            1301 5th
                                                                                                            1301     Ave, Suite
                                                                                                                 5th Ave,  Suite 2900
                                                                                                                  Seattle, WA
                                                                                                                  Seattle,
                                                                                                                                 2900
                                                                                                                           WA 98101
1VI%.1 i ®                                                                                                               XX-XXXXXXX
                                                                                                                Tax ID: XX-XXXXXXX

MEDICAL CONSULTANTS NETWORK°



                                                          N100271
                                               Invoice #: N100271
                                                 Invoice Date:
                                                 Invoice Date: 02/29/2016
                                                               02/29/2016


ATTN:
ATTN:         Nancy Winterer
              Nancy  Winterer
              Liberty Mutual
              Liberty Mutual Insurance
                             Insurance
              P.O. Box
              P.O. Box 7210
                       7210
              London, KY
              London,  KY 40742
                          40742



MCN #:        1-C193333
              1-C193333                                      Coverage:
                                                             Coverage:      Disability-Long Term
Claim #(s):
Claim #(s):   REDACTED
              REDACTED

Claimant:
Claimant:     Haley Spears
              Haley Spears
DOL/DOI:      09/27/2008
              09/27/2008


DATE OF       PROVIDER               SPECIALTY               SERVICE                                                      AMOUNT
SERVICE
SERVICE
02/29/2016
02/29/2016    Jenness Courtney
              Jenness Courtney                Medicine &
                                     Physical Medicine &     No Show
                                                             No                                                            $675.00
                                                                                                                           $675.00
                                     Rehabilitation
                                     Rehabilitation
                                                             INVOICE TOTAL                                                 $675.00
                                                                                                                           $675.00




For proper
For proper credit,
           credit, please
                   please indicate
                          indicate invoice
                                   invoice #
                                           # N100271
                                             N100271 on your payment
                                                     on your         to:
                                                             payment to:
Tax ID#: XX-XXXXXXX
Medical Consultants Network, LLC
1301 5th
1301 5th Ave,
         Ave, Suite
              Suite 2900
                    2900
Seattle, WA 98101

Thank you
Thank you for
          for choosing
              choosing MCN
                       MCN for
                           for your
                               your medical
                                    medical judgment
                                            judgment needs!
                                                     needs!

A finance charge of 1% per month (12% per annum) will be assessed
                                                 will be assessed on
                                                                  on all
                                                                     all charges
                                                                         charges outstanding
                                                                                 outstanding more
                                                                                             more than
                                                                                                  than 60
                                                                                                       60
days after
days  after the
            the date
                date of
                     of this
                        this invoice.

Please notify
Please  notify MCN
               MCN accounting
                   accounting of
                              of any
                                 any discrepancies
                                     discrepancies within
                                                   within 30
                                                          30 days of the
                                                             days of the invoice
                                                                         invoice date.
                                                                                 date.
(206) 219-4910 Phone
(206) 812-6410 Fax
(206)
accounting@mcn.com
accountingQmcn.com
                                                                                                             Liberty002686
                                                                                                             Li berty002686
          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 411 of 501


                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
                                                                                                Secure
                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: March 1,
  Date: March    2016
              1, 2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               3
                                   3

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
This       and any
      fax, and any attachments
                   attachments thereto,
                                 thereto, is intended only
                                          is intended   only for
                                                             for the
                                                                 the use
                                                                     use of
                                                                         of the
                                                                            the addressee(s)
                                                                                addressee(s) named
                                                                                                named herein
                                                                                                       herein and
                                                                                                               and may   contain legally
                                                                                                                    may contain  legally
privileged and/or
privileged  and/or confidential
                   confidential information.
                                information. IfIf you
                                                  you are
                                                       are not the intended
                                                           not the           recipient of
                                                                   intended recipient      this fax,
                                                                                        of this      you are
                                                                                                fax, you are hereby
                                                                                                             hereby notified
                                                                                                                     notified that
                                                                                                                              that any
                                                                                                                                   any
dissemination,  distribution or
dissemination, distribution  or copying  of this
                                copying of   this fax, and any
                                                  fax, and  any attachments   thereto, is
                                                                attachments thereto,      strictly prohibited.
                                                                                       is strictly prohibited. If
                                                                                                               If you
                                                                                                                  you have  received this
                                                                                                                      have received  this fax in
                                                                                                                                          fax in
error,
error, please notify me
       please notify me by  telephone at
                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
                                                                  permanently shred
                                                                                shred the
                                                                                       the original
                                                                                            original and
                                                                                                     and any
                                                                                                         any copy
                                                                                                              copy of
                                                                                                                    of any
                                                                                                                       any fax
                                                                                                                           fax and  any printout
                                                                                                                               and any   printout
thereof.
thereof.




                                                                                                                               Liberty002687
                                                                                                                               Li berty002687
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                                                                     Liberty Life
                                                                     Liberty Life Assurance
                                                                                  Assurance Company
                                                                                             Company ofof Boston
                                                                                                          Boston
                                                                     Group
                                                                     Group Benefits  Disability Claims
                                                                            Benefits Disability Claims
            Liberty-                                                 P.O. Box
                                                                     P.O.      7213
                                                                          Box 7213
                                                                     London, KY
                                                                     London,  KY 40742-7213
                                                                                  40742-7213
            MutuaL                                                   Phone No.:
                                                                     Phone  No.: (888)
                                                                     Secure Fax
                                                                     Secure
                                                                                 (888) 437-7611
                                                                             Fax No.:
                                                                                       437-7611
                                                                                 No.: (603) 334-5708
                                                                                      (603) 334-5708
              INSURANCE



March 1,
March 1, 2016
         2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:     Long Term Disability
        Long Term  Disability (LTD)
                              (LTD) Benefits
                                    Benefits
        UTC Choice
        UTC  Choice
        Claim #:
        Claim    REDACTED
              #: REDACTED
        Claimant: Haley
        Claimant: Haley Spears
                        Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

This letter
This letter responds
            responds to
                     to your
                        your correspondence dated February
                             correspondence dated February 27,
                                                           27, 2016
                                                               2016 and
                                                                    and February
                                                                        February 29,
                                                                                 29, 2016.
                                                                                     2016.

Ms. Spears
Ms. Spears disability
           disability claim
                      claim file currently contains
                            file currently contains over
                                                     over 4700
                                                          4700 pages  of medical
                                                               pages of          documentation. A
                                                                         medical documentation. A
complete copy
complete copy of
              of the
                 the medical   documentation on
                      medical documentation   on file
                                                  file was
                                                       was sent
                                                           sent for
                                                                for the
                                                                    the IME physician’s review.
                                                                        IME physician's review.

Ms. Spears
Ms.         is covered
     Spears is covered under
                        under aa group
                                 group disability income policy
                                       disability income  policy sponsored
                                                                 sponsored by   her employer,
                                                                            by her   employer, and
                                                                                               and which
                                                                                                   which
is governed
is governed by
            by the
                the Employee
                    Employee Retirement
                                Retirement Income   Security Act
                                           Income Security   Act (ERISA).
                                                                  (ERISA). WeWe respectfully
                                                                                  respectfully disagree
                                                                                               disagree
with your
with your position  that we
          position that  we must  allow Ms.
                            must allow  Ms. Spears   to videotape
                                             Spears to  videotape the
                                                                   the IME.  The United
                                                                       IME. The   United Technologies
                                                                                           Technologies
Corporation Group
Corporation  Group Disability
                     Disability Income
                                Income Policy   contains the
                                        Policy contains  the following  provision related
                                                             following provision   related to
                                                                                           to
Examinations:
Examinations:

    Examination
    Examination

    Liberty, at its
    Liberty, at  its own
                     own expense,
                         expense, may   have the
                                   may have    the right
                                                   right and
                                                         and opportunity
                                                             opportunity to
                                                                         to have
                                                                            have aa Covered
                                                                                    Covered Person,  whose
                                                                                             Person, whose
    Injury or Sickness
    Injury or Sickness is   the basis
                         is the basis of
                                      of aa claim,
                                            claim, examined
                                                    examined or
                                                              or evaluated  at reasonable
                                                                 evaluated at  reasonable intervals
                                                                                          intervals deemed
                                                                                                    deemed
    necessary
    necessary byby Liberty.  This right
                    Liberty. This right may
                                        may bebe used
                                                  used as
                                                       as often
                                                          often as
                                                                as reasonably
                                                                   reasonably required.
                                                                               required.

We are
We   are unable
           unable to
                   to agree
                      agree to
                             to your
                                 your request
                                        request to
                                                 to have
                                                    have third
                                                            third parties  or videographers
                                                                   parties or videographers present    during the
                                                                                               present during  the
IME.
IME. It    will interfere
       It will  interfere with
                          with the
                                the independent
                                    independent nature
                                                    nature of of the
                                                                 the examination
                                                                     examination to to have
                                                                                       have third
                                                                                             third parties
                                                                                                   parties present
                                                                                                           present
during the
during   the examination.
              examination. If   Ms. Spears
                             If Ms.  Spears agrees
                                              agrees toto attend
                                                           attend the
                                                                   the IME
                                                                        IME we
                                                                             we will
                                                                                 will agree
                                                                                       agree to
                                                                                              to provide
                                                                                                 provide her
                                                                                                          her with
                                                                                                              with
transportation and
transportation    and if
                      if she
                         she wishes
                              wishes to
                                      to have
                                          have you
                                                you or
                                                     or aa third
                                                            third party
                                                                  party accompany
                                                                         accompany herher to
                                                                                          to the
                                                                                              the IME,
                                                                                                  IME, we
                                                                                                        we would
                                                                                                            would
request that
request   that you
               you or
                    or the
                       the third
                           third party
                                  party remain
                                         remain inin the
                                                     the waiting
                                                          waiting room
                                                                    room while
                                                                           while the
                                                                                 the IME   is conducted
                                                                                      IME is   conducted and
                                                                                                          and Ms.
                                                                                                              Ms.
Spears could
Spears   could consult   with you
                consult with   you or
                                   or the
                                       the third
                                           third party
                                                  party in
                                                         in the
                                                            the waiting
                                                                 waiting room,
                                                                          room, if
                                                                                if necessary.
                                                                                   necessary.

At this
At this time,
        time, we
              we are
                 are proceeding to reschedule
                     proceeding to            the IME.
                                   reschedule the      MCN will
                                                  IME. MCN will contact
                                                                contact you
                                                                        you directly
                                                                            directly regarding
                                                                                     regarding that
                                                                                               that
appointment.
appointment.



                                                    1 of 2
                                                    1 of 2                                           Liberty002688
                                                                                                     Li berty002688
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If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                              2 of 2
                                              2 of 2                  Liberty002689
                                                                      Li berty002689
02/29/2015
02/29/2016   15:52
             16:52     8502474194
                       8602474194                       ATTY WINONA ZIMBERLN                          PAGE
                                                                                                      PAGE       01/01
                                                                                                                 01/01
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 414 of 501


                                        Zimberlin Law LLC
                                        267 Main Street II Manchester, CT 06042
                                        (p) 860.783.5999 II (0
                                                            (f) 860.783.5996
                                        www.zimberlinlaw.com
                                        \VWW.zimberlinlaw.com

      Winona W. Zimberlin                                                               By appointment
                                                                                           Bppointment only:
                                                                                                       ot'lly:
      Russell D,
              D. Zimberlin                                                              Hnrtford Office
                                                                                        Hartford
                                                                                        2 Congress Street
                                                                                        Hnrtfurd,
                                                                                        Hanford, CT 06114


                                             February 29, 2016


                 1~603-334-5708
      Facsimile: 1-603-334-5708

      Nancy Winterer
      Appeals Review Consultant
      Liberty Life Assurance Company of Boston
      PO Box 7213
                   40742-7611
      London, KY 40742-7611

      Dear Ms,
           Ms. Winterer:

             RE•
             RE:    Haley Spears
             DOB: REDACTED
             Your claim#: 250039

      Ms. Spears was unable to attend the scheduled IME :for  for today due to a family emergency. Our
      office did speak to Del at Medical Consultants Network about rescheduling this appointment.
               confinn. with Dr. Courtney's office that they do have March.
      He did confirm,                                                 March 14 or March 21 available at
      this time.
           tires. Del has infonn.ed
                          informed our office that Liberty Mutual must approve the rescheduling of this
                                    know when Liberty approves the reschedullug
      appointment. Please let me kliow                                 rescheduling of this appointment,
                                                                                            appointment.
      Thank you.

                                                                  Very truly yours,



                                                                  Winona W,
                                                                         W. Zimbcrlin
                                                                            Zimberlin
      WWZ:rle
      WWZ:rlc




                                                                                             Liberty002690
                                                                                             Liberty002690
02/27/2015
02/27/2016    11:35
              11:36    8502474194
                       8602474194                       ATTY WINONA ZIMBERLN                            PAGE     01/01
                                                                                                                 01/01
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 415 of 501


                                       Zimberlin Law LLC
                                       267 Main Street I Manchester, CT 06042
                                       (p) 860.783.5999 II (0
                                                           (f) 860.783.5996
                                       www.zimberlinlaw.com
                                       www.zimberlinlawcorn

                  Zimberlin
      Winona W. Zimberlin.                                                                appo;ntmcnt only;
                                                                                       By appointment
      Russell D. Zimberlin                                                             Hartford
                                                                                       l-lartffird Office
                                                                                       2 Congress Street
                                                                                       Bartrnr4,     Clr 06114
                                                                                       1-l:;irtford, C


                                             February 27, 2016


      Facsimile: 1-603-334-5708

      Nancy Winterer
      Appeals Review Consultant
      Liberty Life Assurance Company of Boston
      PO Box 7213
      London, KY 40742-7611

      Dear Ms. Winterer:

              RE:    Haley Spears
              DOB: REDACTED
              Your claim#: 250039

      There is no provision in the LTD plan which bars Ms. Spears from having another person
      present in the exam room or videotaping the exam. Your letter does not cite to such a provision.
      Liberty Life cannot impose conditions on this exam if the plan does not authorize it to do so.

                                                          IME doctor. If complete records were not
      Please advise which records Liberty provided to the TME
      provided, we will provide them to the doctor.

                                                                 Vcry truly yours,
                                                                 Very

                                                                     ~/7Q/
                                                                 .I lr-,J!.Je!
                                                                             . f./·
                                                                 Winona W. Z1. bcrlm
      WWZ:dz




                                                                                             Liberty002691
                                                                                             Liberty002691
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 416 of 501




n0062751
_____
From:              Delano Stark
                   Delano Stark
Sent:              Wednesday, February
                   Wednesday,   February 24,
                                         24, 2016
                                              2016 6:45:08 PM
To:                Winterer, Nancy
Subject:           IME appointment later in the day

   Nancy,
Hi Nancy,



Claimant: Hal.
Claimant: Hal. Spe.
               Spe.

Claim# REDACTED
Claim#



The original IME appointment we had set    set up
                                               up with
                                                  with Dr.
                                                       Dr. Courtney
                                                           Courtney forfor the
                                                                           the above
                                                                               above claimant
                                                                                       claimant
     for Monday,
was for  Monday, February      29th at
                    February 29th   at 11:00AM.
                                       11:00AM. II received
                                                   received a a call
                                                                call from
                                                                     from the
                                                                            the claimant
                                                                                claimant about
                                                                                          about
                                                     doctor’s appointment the very same day
an hour ago informing me that she had another doctor's
earlier in the morning, and would be preferring an  an afternoon
                                                       afternoon appointment.
                                                                   appointment. II told
                                                                                      told her
                                                                                           her that
                                                                                               that
we would need approval from Liberty Mutual in order to confirm a rescheduling, but I
told her
told her that
          that II would
                  would get
                        get in
                            in contact
                               contact with
                                       with the
                                            the provider’s office to
                                                provider's office to see
                                                                      see what
                                                                           what they
                                                                                 they had
                                                                                      had
available.
available.



                Dr. Courtney's
Luckily for us, Dr. Courtney’s office
                               office had
                                       had availability
                                             availability at
                                                           at 2:00PM
                                                              2:00PM onon the
                                                                          the very
                                                                              very same
                                                                                   same dayday to
                                                                                                to
reschedule this
reschedule   this appointment.
                  appointment. II told
                                  told the
                                        the office
                                             office that
                                                    that we
                                                         we would
                                                              would like
                                                                    like to
                                                                         to push the
                                                                            push the
appointment back to that time slot at 2PM. I did not call the claimant back to notify
them because
them             there was
      because there    was an
                           an attorney
                              attorney listed
                                         listed on
                                                 on the
                                                     the case.
                                                         case. However,
                                                                 However, thethe claimant
                                                                                 claimant did
                                                                                            did
end up calling back just now, asking me if I was able to get a later appointment date to
                  “Yes, we now have
which I told her "Yes,          have this
                                       this scheduled
                                             scheduled forfor 2:00PM
                                                              2:00PM onon February   29th instead
                                                                           February 29th  instead
of 11:00AM.”
   11:00AM."



II just
   just wanted  to let
         wanted to let you
                       you know  that the
                           know that  the appointment
                                          appointment date,
                                                      date, location,
                                                            location, and
                                                                      and physician  are all
                                                                           physician are all
 still the
 still the same,
           same, but  now the
                 but now   the appointment
                               appointment time
                                            time has
                                                 has been
                                                     been bumped    back to
                                                          bumped back     to 2PM
                                                                             2PM instead
                                                                                  instead of
                                                                                          of
 11:00AM.



      you,
Thank you,




                                                                                       Liberty002692
                                                                                       Li berty002692
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Del Stark
Del
Customer Service
Customer          Representative
          Service Representative


Medical Consultants Network ®

Medical Judgment
Medical          Nationwide
        Judgment Nationwide

National Scheduling,
National Scheduling, Seattle
                     Seattle WA
                             WA

P: 206.621.9097 Ext 2212
P:

   206.623.4956
F: 206.623.4956

dstark@mcn.com
www.mcn.com
www.mcn.com




                          was sent
PLEASE NOTE: This message was sent using
                                   using Transport Layer Security.
                                         Transport Layer Security.




                                                                     Liberty002693
                                                                     Li berty002693
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 418 of 501




n0062751
_____
From:               Clara Easter
                    Clara Easter
Sent:               Tuesday,  February 09,
                    Tuesday, February  09, 2016
                                           2016 3:37:46 PM
To:                 Winterer, Nancy
Subject:            Appointment Scheduled for Claim #: REDACTED; Claimant: Hal Spe

Dear Nancy Winterer:

We would like to thank you for your referral and to inform you that the following exam has been scheduled
for the above-referenced claimant:

Date &
Date & Time:
       Time: 02/29/2016 11:00 AM

Consultant: Dr. Jenness
Consultant: Dr. Jenness Courtney
                        Courtney

Specialty: Physical Medicine & Rehabilitation

Location: Office of Exams/Mailing/Billing --9045
                                          --9045 Ellerbe
                                                 Ellerbe Rd,
                                                         Rd, Suite
                                                             Suite 107, Shreveport, LA
                                                                   107, Shreveport, LA 71106
                                                                                       71106

Address: 9045
Address: 9045 Ellerbe
              Ellerbe Rd,
                      Rd, Suite
                          Suite 107,
                                107, Shreveport,
                                     Shreveport, LA
                                                 LA 71106

This provider is outside MCN In-Network Pricing. The fee for this service is $2,850.00 (Flat Rate).

If the claimant fails to show for this exam, the No-Show fee will be $700.00.

Please notify
Please notify MCN
              MCN of
                  of a
                     a cancellation no later
                       cancellation no later than
                                             than 2/24/2016 at 11
                                                  2/24/2016 at 11 AM
                                                                  AM to
                                                                     to avoid
                                                                        avoid a
                                                                              a Late
                                                                                Late Cancel Fee of
                                                                                     Cancel Fee of
$700.00.
$700.00.

   appointment letter
An appointment letter will be mailed
                      will be mailed to
                                     to the
                                        the attorney
                                            attorney and
                                                     and copied
                                                         copied to
                                                                to you
                                                                   you for
                                                                       for your
                                                                           your records.
                                                                                records.

Please feel
Please feel free
            free to
                 to call
                    call us
                         us at
                            at 206.621.9097 if you
                               206.621.9097 if you have
                                                   have any
                                                        any questions or if
                                                            questions or if we may be
                                                                            we may    of further
                                                                                   be of further
assistance.
assistance.

Thank you for choosing MCN!

Sincerely,

        Bean
Brianna Bean




                          was sent
PLEASE NOTE: This message was sent using
                                   using Transport Layer Security.
                                         Transport Layer Security.




                                                                                               Liberty002694
                                                                                               Li berty002694
CIND.YBRETON
CINDY BRETON
                                                      0.0 LBS                 LTR
Case 3:11-cv-01807-VLB
603-750-7550
603-750 7550             Document0.0
                                 142-3LBS     LTR Page 419
                                       Filed 11/16/18   1 OF    1
                                                           of 501                                  1OF1
LIBERTY MUJUAL-DOVER-009.6
        MUTUAL-DOVER-0096
100
100 LIBERTY WAY
    LIBERTY WAY       .
OOVI!R NH 03820
DOVER     03820

SHIP TO:
  BRIANNA BEAN
  MCN
  SUITE 1400
  901 BOREN AVENUE
        SEATTLE WA 98104-3543


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Office/Dept Number: 009603304
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                                                            WIVINV50            0 1/2016
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                                                                                   Liberty002695
CIND.YBRETON
CINDY BRETON
                                                      0.0 LBS                 LTR
Case 3:11-cv-01807-VLB
603-750-7550
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                                 142-3LBS     LTR Page 420
                                       Filed 11/16/18   1 OF    1
                                                           of 501                                  1OF1
LIBERTY MUJUAL-DOVER-009.6
        MUTUAL-DOVER-0096
100
100 LIBERTY WAY
    LIBERTY WAY       .
OOVI!R NH 03820
DOVER     03820

SHIP TO:
  BRIANNA BEAN
  MCN
  SUITE 1400
  901 BOREN AVENUE
        SEATTLE WA 98104-3543


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UPS NEXT DAY AIR SAVER
TRACKING#:  l Z 248 96X 29 9003 3680
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BILLING: P/P
         PAP
SIGNATURE REQUIRED


Office/Dept Number: 009603304
                                            C-S
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      Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 421 of 501




                                Liberty
                                Liberty Mutual
                                        Mutual -- Independent
                                                  Independent Evaluation
                                                              Evaluation
                                                                 IME
                                                                 IME
    Requested By:
    Requested By:      Nancy Winterer
                       Nancy  Winterer                                                                         Document Locations
                                                                                                              —Document Locations
                       Disability Claims
                       Disability Claims
                       P.O. Box
                       P.O.  Box 7206
                                  7206                                                                          El Document
                                                                                                                   Document List
                                                                                                                              List
                       London, KYKY 40742-7206
                       London,
                       (888)
                                     40742-7206
                             437-7611 x16401
                                       x16401
                                                                                                                ❑  Correspondence
                                                                                                                   Correspondence
                       (888) 437-7611
                 Fax: (603)
                 Fax:       334-5708
                      (603) 334-5708
                                                                                                                ❑ Paper
                                                                                                                   Paper File
                                                                                                                         File


   Return
   Return Report to: GBLibertyVendorReferrals@libertymutual.com
          Report to: GBLibertyVendorReferrals@libertymutual.com


  Customer Name:
  Customer Name:       UTC CHOICE
                       UTC CHOICE                                                          Date Sent:
                                                                                           Date Sent:        2/9/2016
                                                                                                             2/9/2016

      Funding type:
      Funding type:    CON
                       CON                                              Coverage       LTD
                                                                                 Type: LTD
                                                                        Coverage Type:

   Claimant Name:
   Claimant Name:      HALEY A
                       HALEY A SPEARS
                               SPEARS                                         Claim #:
                                                                              Claim #:      REDACTED
                                                                                            REDACTED



 Claimant Address:
 Claimant Address:     9000 WEST WILDERNESS
                       9000 WEST WILDERNESS                              Claimant
                                                                         Claimant SSN:
                                                                                  SSN: REDACTED
                       WAY#190
                       WAY#190
                                                                        Claimant DOB:
                                                                        Claimant DOB:       REDACTED

              City:
              City:    SHREVEPORT
                       SHREVEPORT                                      Claimant TeL
                                                                       Claimant Tel. #:
                                                                                     #:     (860) 930-0887
                                                                                            (860) 930-0887

              State:
              State:   LA
                       LA                                              Claimant DOD: 9/27/2008
                                                                       Claimant DOD: 9/27/2008
               Zip:
               Zip:    71106-0000
                       71106-0000
                                                                     Primary Diagnosis:
                                                                     Primary Diagnosis:     Headache
                                                                                            Headache
           Gender:
           Gender:     FEMALE
                       FEMALE                                            Att. Physician:
                                                                              Physician:
                                                                         Att.
    Specialist Type
    Specialist Type                                                          Physician:     n/a
       Requested ::
       Requested
                       Physical Medicine
                       Physical Medicine and
                                         and Rehabilitation
                                             Rehabilitation (PM&R)
                                                            (PM&R)           Physician:     n/a
                                                                            Phone/Fax
                                                                            Phone/Fax


Referral Questions:
Referral Questions:                                                   Vendor Chosen:
                                                                      Vendor Chosen:           Medical Consultant
                                                                                               Medical Consultant Network
                                                                                                                  Network




   Claimant Name:
   Claimant Name:      HALEY A
                       HALEY A SPEARS
                               SPEARS




                                                                                                                            Liberty002697
                                                                                                                            Liberty002697
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                                    Liberty
                                    Liberty Mutual
                                            Mutual -- Independent
                                                      Independent Evaluation
                                                                  Evaluation
                                                                           IME
                                                                           IME
Clmnt is
Clmnt  is former  Administrative Assistant
          former Administrative  Assistant who
                                           who was
                                               was 31yo
                                                    31yo at
                                                         at her DOD 9/27/2008,
                                                            her DOD   9/27/2008, initially
                                                                                  initially due to Headaches.
                                                                                            due to Headaches. We
                                                                                                               We are
                                                                                                                   are assessing
                                                                                                                       assessing clmnt’s
                                                                                                                                 clmnt's functional
                                                                                                                                         functional
capacity for
capacity     the periods
         for the periods 9/27/2008   through 3/27/2009,
                         9/27/2008 through   3/27/2009, and   3/28/09 through
                                                         and 3/28/09   through 3/31/2015.
                                                                               3/31/2015. In In addition
                                                                                                addition to
                                                                                                         to this
                                                                                                            this IME,
                                                                                                                 IME, the
                                                                                                                      the medical
                                                                                                                          medical documentation
                                                                                                                                   documentation isis
being reviewed
being reviewed byby Infectious
                    Infectious Disease;
                               Disease; Neurology;
                                        Neurology; Neuropsychology;
                                                   Neuropsychology; Internal
                                                                     Internal Medicine.
                                                                              Medicine.

Please address:
Please address:
1.Comprehensive medical
1.Comprehensive medical history, including chief
                        history, including chief complaint,
                                                 complaint, present illness, past
                                                            present illness, past medical/surgical
                                                                                  medical/surgical history,
                                                                                                   history, medications/allergies,
                                                                                                            medications/allergies, and
                                                                                                                                   and review
                                                                                                                                       review of
                                                                                                                                              of
systems.
systems.

2.Comprehensive functional
2.Comprehensive                history. Include
                   functional history.  Include past
                                                past and
                                                     and current   reported daily
                                                         current reported    daily activities;
                                                                                   activities; how
                                                                                               how the
                                                                                                   the insured's
                                                                                                       insured’s spine
                                                                                                                 spine pain, whole body
                                                                                                                       pain, whole body pain,
                                                                                                                                        pain, and
                                                                                                                                              and
decreased energy
decreased         limits her
           energy limits her functionally;
                             functionally; maximum
                                           maximum reported     sitting, standing,
                                                      reported sitting,  standing, and  walking capacity
                                                                                   and walking            per session
                                                                                                 capacity per session and
                                                                                                                      and per 8 hour
                                                                                                                          per 8 hour workday,
                                                                                                                                     workday, and
                                                                                                                                               and the
                                                                                                                                                   the
insured’s reported
insured's reported participation
                    participation in
                                  in work,
                                     work, ADLs,
                                           ADLs, and
                                                  and recreation/hobbies.
                                                       recreation/hobbies.

3.Comprehensive neuromuscular
3.Comprehensive     neuromuscular examination.     Include complete
                                     examination. Include               spine exam
                                                             complete spine   exam [including  spine ROM,
                                                                                    [including spine  ROM, thethe presence/absence
                                                                                                                  presence/absence of  spasm, postural
                                                                                                                                    of spasm,  postural
deviations, signs
deviations, signs of
                  of neural
                     neural irritation];
                            irritation]; neurological
                                         neurological exam   [motor/sensory/reflexes/Babinski reflexes];
                                                      exam [motor/sensory/reflexes/Babinski                  tender point
                                                                                                  reflexes]; tender  point exam; and gait
                                                                                                                           exam; and gait assessment.
                                                                                                                                          assessment.
Include aa detailed
Include             neck and
           detailed neck and upper
                              upper extremity
                                      extremity exam
                                                exam toto include
                                                          include joint ROM, circumferential
                                                                  joint ROM,                    arm/forearm measurements,
                                                                               circumferential arm/forearm      measurements, and
                                                                                                                               and motor/sensory
                                                                                                                                   motor/sensory exam.
                                                                                                                                                   exam.

4.Assessment of
4.Assessment  of objective
                 objective physical
                           physical deconditioning:
                                    deconditioning: Any
                                                    Any evidence
                                                        evidence of
                                                                 of generalized
                                                                    generalized muscle
                                                                                muscle atrophy, resting tachycardia,
                                                                                       atrophy, resting tachycardia, and/or
                                                                                                                     and/or poor
                                                                                                                            poor muscle
                                                                                                                                 muscle tone?
                                                                                                                                        tone?
Please discuss.
Please discuss.

5.Opinion regarding
5.0pinion            verifiable physical
           regarding verifiable          impairment: Based
                                physical impairment: Based on
                                                           on the
                                                              the review
                                                                  review functional
                                                                         functional evidence,
                                                                                    evidence, clinical
                                                                                              clinical exam
                                                                                                       exam findings, and diagnostic
                                                                                                            findings, and              test evidence,
                                                                                                                           diagnostic test  evidence,
does the
does the insured
         insured have
                 have any  verifiable functional
                      any verifiable  functional impairment?
                                                 impairment? For
                                                             For any
                                                                 any impairment
                                                                     impairment confirmed,
                                                                                 confirmed, please  provide the
                                                                                            please provide  the clinical, diagnostic, and/or
                                                                                                                clinical, diagnostic, and/or
functional
functional evidence supporting your
           evidence supporting   your opinion.
                                       opinion.

6.Opinion regarding
6.0pinion             medically-supported physical
            regarding medically-supported    physical restrictions/limitations:
                                                      restrictions/limitations: For
                                                                                  For any
                                                                                       any physical
                                                                                             physical impairment
                                                                                                      impairment confirmed,
                                                                                                                  confirmed, please  provide specific
                                                                                                                              please provide  specific physical
                                                                                                                                                       physical
restrictions/limitations. Please
restrictions/limitations. Please define
                                 define by  type of
                                        by type  of task
                                                    task [sitting, standing, lifting,
                                                         [sitting, standing, lifting, etc.], as well
                                                                                      etc.], as well as
                                                                                                     as frequency of task
                                                                                                        frequency of task [never, occasional, frequent,
                                                                                                                          [never, occasional, frequent,
constant]. Include
constant]. Include duration
                    duration of  physical restrictions/limitations.
                              of physical restrictions/limitations. Is
                                                                     Is there
                                                                        there any
                                                                              any medical
                                                                                   medical or or functional evidence supporting.
                                                                                                 functional evidence  supporting.

7. Assessment of
7.Assessment  of excessive
                 excessive or
                           or atypical
                              atypical pain  behaviors: Note
                                       pain behaviors:  Note any
                                                              any excessive
                                                                  excessive or  atypical pain
                                                                             or atypical pain behaviors
                                                                                              behaviors observed    during the
                                                                                                        observed during    the IME.
                                                                                                                               IME. Does
                                                                                                                                      Does the
                                                                                                                                           the insured's
                                                                                                                                               insured’s
reported pain
reported      severity and
         pain severity and functional  limitations correlate
                           functional limitations            with your
                                                   correlate with your clinical
                                                                       clinical exam
                                                                                exam findings,  the diagnostic
                                                                                      findings, the            test evidence,
                                                                                                    diagnostic test            and treatment
                                                                                                                    evidence, and  treatment
requirements?
requirements?

8.Assessment of
&Assessment  of functional
                functional inconsistencies:
                           inconsistencies: Compare
                                            Compare the
                                                    the insured's
                                                        insured’s functional statements and
                                                                  functional statements and clinical
                                                                                            clinical observations, and discuss
                                                                                                     observations, and discuss any inconsistencies
                                                                                                                               any inconsistencies
noted.
noted.

9.Conclusions: Summary
9.Conclusions:  Summary of of your
                              your overall impression regarding
                                   overall impression regarding the insured’s current
                                                                the insured's         verifiable physical
                                                                              current verifiable physical impairments,
                                                                                                          impairments, medically-supported
                                                                                                                       medically-supported physical
                                                                                                                                           physical
restrictions/limitations, and
restrictions/limitations, and maximum
                              maximum full-time    work capacity.
                                         full-time work capacity.




Instructions For
Instructions     Vendor:
             For Vendor:




    Claimant Name:
    Claimant Name:        HALEY A
                          HALEY A SPEARS
                                  SPEARS




                                                                                                                                              Liberty002698
                                                                                                                                              Liberty002698
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                                  Liberty
                                  Liberty Mutual
                                          Mutual -- Independent
                                                    Independent Evaluation
                                                                Evaluation
                                                            IME
                                                            IME




Attorney Information
Attorney Information (if
                     (if applicable):
                         applicable):

All correspondence
All correspondence MUST
                     MUST gogo through
                                through clmnt's attorney:
                                        clmnt's attorney:
Winona Zimberlin
Winona   Zimberlin
Zimberlin  Law LLC
Zimberlin Law   LLC
267 Main
267  Main Street
          Street
Manchester, CT
Manchester,  CT 06042
                 06042
(p) 860.783.5999 (f)
(p) 860.783.5999      860.783. 5996
                  (f) 860.783. 5996




    Claimant Name:
    Claimant Name:      HALEY A
                        HALEY A SPEARS
                                SPEARS




                                                                             Liberty002699
                                                                             Liberty002699
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 424 of 501




PANEL
PANEL REVIEW:      Clmnt is
         REVIEW: Clmnt       former Administrative
                          is former Administrative Assistant
                                                    Assistant who
                                                              who was
                                                                   was 31yo at her
                                                                       31yo at her DOD
                                                                                   DOD 9/27/2008,
                                                                                        9/27/2008,
initially due
initially      to Headaches.
          due to   Headaches. We We are   assessing clmnt’s
                                      are assessing            functional capacity
                                                      clmnt's functional           for the
                                                                          capacity for the periods
                                                                                            periods
9/27/2008    through 3/27/2009,
9/27/2008 through       3/27/2009, and
                                    and 3/28/09    through 1/31/2015.
                                         3/28/09 through     1/31/2015. In
                                                                         In addition
                                                                            addition to
                                                                                     to this
                                                                                         this panel
                                                                                              panel
review, clmnt
review,   clmnt will
                will be
                     be examined  and records
                        examined and  records will
                                              will be reviewed by
                                                   be reviewed      PM&R.
                                                                 by PM&R.

Referral for
Referral for PANEL
             PANEL review
                   review by:
                          by:
Infectious Disease
Infectious Disease
Neurology
Neurology
Neuropsychology
Neuropsychology
Endocrinology/Internal Medicine
Endocrinology/Internal  Medicine (please  include review
                                 (please include   review of
                                                           of Rheumatology,
                                                              Rheumatology, Gastroenterology,
                                                                            Gastroenterology,
Cardiology, Pulmonology,
Cardiology,  Pulmonology, Sleep
                          Sleep Medicine, and Primary
                                Medicine, and  Primary Care
                                                        Care records)
                                                             records)

INFECTIOUS DISEASE:
INFECTIOUS  DISEASE:
Please
Please contact Zane Saul,
       contact Zane  Saul, MD
                           MD (P-203-259-8087
                                (P-203-259-8087 F-203-383-4499),
                                                 F-203-383-4499), who    treated clmnt
                                                                    who treated          from
                                                                                  clmnt from
8/8/10 through 6/9/14,
8/8/10 through         regarding Ms.
               6/9/14, regarding Ms. Spear's
                                     Spear’s condition, treatment and
                                             condition, treatment     functional capacity.
                                                                  and functional capacity.

From an
From       Infectious Disease
      an Infectious           perspective, based
                      Disease perspective,         on the
                                            based on   the available
                                                           available medical
                                                                      medical evidence,
                                                                               evidence, please
                                                                                          please
describe the clmnt’s
describe the          impairments, cause
              clmnt's impairments, cause of  any impairments,
                                          of any impairments, severity  of impairments,
                                                               severity of impairments, and  the
                                                                                        and the
duration  of any
duration of       impairments, during
             any impairments,         the periods
                               during the          9/27/2008 through
                                           periods 9/27/2008  through 3/27/2009,
                                                                        3/27/2009, and
                                                                                   and 3/28/09
                                                                                        3/28/09
through 3/31/2015.
through  3/31/2015.

Based
Based on   the medical
       on the  medical evidence,   from an
                        evidence, from   an Infectious
                                             Infectious Disease
                                                         Disease perspective,
                                                                 perspective, please
                                                                                please provide   your
                                                                                        provide your
best
best assessment
     assessment of   the clmnt’s
                  of the          functional capacity
                         clmnt's functional            (including activities
                                              capacity (including            of daily
                                                                  activities of       living, physical
                                                                                daily living, physical
capacity  for work,
capacity for  work, capacity to travel)
                    capacity to  travel) during  the periods
                                         during the  periods 9/27/2008
                                                              9/27/2008 through
                                                                           through 3/27/2009,     and
                                                                                     3/27/2009, and
3/28/09  through 3/31/2015.
3/28/09 through  3/31/2015.

NEUROLOGY:
NEUROLOGY:
Please
Please also
        also contact Joachim Baehring,
             contact Joachim  Baehring, MD (P-203-785-7284 F-203-737-2591),
                                        MD (P-203-785-7284  F-203-737-2591), who  treated
                                                                              who treated
clmnt  from 11/25/08
clmnt from    11/25/08 through
                        through 4/22/13,
                                4/22/13, regarding
                                         regarding Ms.  Spear’s condition,
                                                   Ms. Spear's             treatment and
                                                                condition, treatment  and
functional capacity.
functional capacity.

From aa Neurology
From    Neurology perspective,
                  perspective, based  on the
                               based on  the available
                                             available medical
                                                       medical evidence,
                                                                evidence, please
                                                                          please describe  the
                                                                                  describe the
clmnt’s impairments, cause
clmnt's impairments,       of any
                     cause of      impairments, severity
                              any impairments,  severity of
                                                         of impairments,
                                                            impairments, and
                                                                          and the
                                                                               the duration of
                                                                                   duration of
any impairments, during
any impairments,         the periods
                  during the           9/27/2008 through
                              periods 9/27/2008   through 3/27/2009,   and 3/28/09
                                                            3/27/2009, and   3/28/09 through
                                                                                      through
3/31/2015.
3/31/2015.

Based  on the
Based on    the medical
                 medical evidence,   from aa Neurology
                         evidence, from       Neurology perspective,
                                                          perspective, please    provide your
                                                                         please provide     your best
                                                                                                 best
assessment
assessment of    the clmnt’s
              of the           functional capacity
                      clmnt's functional            (including activities
                                          capacity (including   activities of
                                                                            of daily  living, physical
                                                                               daily living,  physical
capacity  for work,
capacity for  work, capacity  to travel)
                     capacity to travel) during the periods
                                         during the  periods 9/27/2008
                                                              9/27/2008 through
                                                                           through 3/27/2009,     and
                                                                                     3/27/2009, and
3/28/09  through 3/31/2015.
3/28/09 through   3/31/2015.

NEUROPSYCHOLOGY:
NEUROPSYCHOLOGY:




                                                                                         Liberty002700
                                                                                         Li berty002700
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Please explain the
Please explain   the results
                      results and
                               and conclusions
                                    conclusions of the July
                                                of the July 2010
                                                            2010 Neuropsychological  Evaluation by
                                                                  Neuropsychological Evaluation by
Marian   Rissenberg, PhD,
Marian Rissenberg,            including areas
                       PhD, including    areas of
                                               of cognitive  strength and
                                                   cognitive strength and weakness,
                                                                          weakness, psychological
                                                                                     psychological
findings, results
findings, results of
                  of validity testing.
                     validity testing.

Based
Based on the medical
      on the medical evidence,  from aa Neuropsychology
                      evidence, from    Neuropsychology perspective,
                                                           perspective, please   provide your
                                                                         please provide  your best
                                                                                               best
assessment
assessment of  the clmnt’s
           of the          functional capacity
                   clmnt's functional           (including activities
                                       capacity (including activities of
                                                                      of daily living, capacity
                                                                         daily living,          for
                                                                                       capacity for
work,
work, capacity  to travel)
      capacity to  travel) during  the periods
                           during the   periods 9/27/2008    through 3/27/2009,
                                                 9/27/2008 through      3/27/2009, andand 3/28/09
                                                                                          3/28/09
through 3/31/2015.
through 3/31/2015.

ENDOCRINOLOGY/INTERNAL
ENDOCRINOLOGY/INTERNAL MEDICINE       (please include
                           MEDICINE (please    include review
                                                        review of
                                                               of Rheumatology,
                                                                  Rheumatology, Cardiology,
                                                                                Cardiology,
Pulmonology, Sleep
Pulmonology, Sleep Medicine,
                   Medicine, and
                             and Primary
                                 Primary Care records):
                                         Care records):

Please
Please contact
       contact PCP
               PCP Kristin Giannini, MD
                   Kristin Giannini, MD (P-860-872-8321
                                         (P-860-872-8321 F-860-875-6271),
                                                           F-860-875-6271), who  treated clmnt
                                                                            who treated  clmnt
3/10/09 through 11/25/13,
3/10/09 through 11/25/13, regarding
                           regarding Ms.  Spear’s condition,
                                      Ms. Spear's            treatment and
                                                  condition, treatment     functional capacity.
                                                                       and functional capacity.

Please
Please contact Endocrinologist Robert
       contact Endocrinologist Robert Lang,
                                      Lang, MD (P-203-248-4362 F-203-248-6933),
                                            MD (P-203-248-4362 F-203-248-6933), who treated
                                                                                who treated
clmnt  from 2/21/13
clmnt from    2/21/13 through
                       through 7/10/14,
                                7/10/14, regarding
                                          regarding Ms.
                                                     Ms. Spear's
                                                         Spear’s condition,  treatment and
                                                                  condition, treatment  and
functional capacity.
functional capacity.

From an
From      Internal Medicine
      an Internal  Medicine and    Endocrinology perspective,
                              and Endocrinology  perspective, based
                                                              based on   the available
                                                                     on the  available medical
                                                                                       medical
evidence,
evidence, please
           please describe  the clmnt’s
                   describe the          impairments, cause
                                 clmnt's impairments,         of any
                                                       cause of  any impairments,
                                                                     impairments, severity
                                                                                    severity of
                                                                                             of
impairments, and
impairments,        the duration
               and the  duration of
                                  of any  impairments, during
                                     any impairments,          the periods
                                                       during the  periods 9/27/2008   through
                                                                           9/27/2008 through
3/27/2009,
3/27/2009, and
            and 3/28/09  through 3/31/2015.
                3/28/09 through   3/31/2015.

Based
Based on    the medical
         on the  medical evidence,   from an
                          evidence, from        Endocrinology and
                                            an Endocrinology         Internal Medicine
                                                                and Internal  Medicine perspective,
                                                                                         perspective,
please
please provide   your best
         provide your        assessment of
                        best assessment      the clmnt’s
                                          of the         functional capacity
                                                 clmnt's functional           (including activities
                                                                     capacity (including activities of
                                                                                                    of
daily
daily living,
      living, physical
              physical capacity for work,
                       capacity for work, capacity to travel)
                                          capacity to travel) during the periods
                                                              during the         9/27/2008 through
                                                                         periods 9/27/2008   through
3/27/2009,
3/27/2009, andand 3/28/09  through 3/31/2015.
                  3/28/09 through   3/31/2015.




                                                                                         Liberty002701
                                                                                         Liberty002701
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 426 of 501




n0062751
_____
From:               Clara Easter
                    Clara Easter
Sent:               Tuesday,  February 09,
                    Tuesday, February  09, 2016
                                           2016 3:37:46 PM
To:                 Winterer, Nancy
Subject:            Appointment Scheduled for Claim #: REDACTED; Claimant: Hal Spe

Dear Nancy Winterer:

We would like to thank you for your referral and to inform you that the following exam has been scheduled
for the above-referenced claimant:

Date &
Date & Time:
       Time: 02/29/2016 11:00 AM

Consultant: Dr. Jenness
Consultant: Dr. Jenness Courtney
                        Courtney

Specialty: Physical Medicine & Rehabilitation

Location: Office of Exams/Mailing/Billing --9045
                                          --9045 Ellerbe
                                                 Ellerbe Rd,
                                                         Rd, Suite
                                                             Suite 107, Shreveport, LA
                                                                   107, Shreveport, LA 71106
                                                                                       71106

Address: 9045
Address: 9045 Ellerbe
              Ellerbe Rd,
                      Rd, Suite
                          Suite 107,
                                107, Shreveport,
                                     Shreveport, LA
                                                 LA 71106

This provider is outside MCN In-Network Pricing. The fee for this service is $2,850.00 (Flat Rate).

If the claimant fails to show for this exam, the No-Show fee will be $700.00.

Please notify
Please notify MCN
              MCN of
                  of a
                     a cancellation no later
                       cancellation no later than
                                             than 2/24/2016 at 11
                                                  2/24/2016 at 11 AM
                                                                  AM to
                                                                     to avoid
                                                                        avoid a
                                                                              a Late
                                                                                Late Cancel Fee of
                                                                                     Cancel Fee of
$700.00.
$700.00.

   appointment letter
An appointment letter will be mailed
                      will be mailed to
                                     to the
                                        the attorney
                                            attorney and
                                                     and copied
                                                         copied to
                                                                to you
                                                                   you for
                                                                       for your
                                                                           your records.
                                                                                records.

Please feel
Please feel free
            free to
                 to call
                    call us
                         us at
                            at 206.621.9097 if you
                               206.621.9097 if you have
                                                   have any
                                                        any questions or if
                                                            questions or if we may be
                                                                            we may    of further
                                                                                   be of further
assistance.
assistance.

Thank you for choosing MCN!

Sincerely,

        Bean
Brianna Bean




                          was sent
PLEASE NOTE: This message was sent using
                                   using Transport Layer Security.
                                         Transport Layer Security.




                                                                                               Liberty002702
                                                                                               Li berty002702
          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 427 of 501


                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
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                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: February 9,
  Date: February 9, 2016
                    2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               2
                                   2

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




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This       and any
      fax, and any attachments
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                                                                            the addressee(s)
                                                                                addressee(s) named
                                                                                                named herein
                                                                                                       herein and
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                   confidential information.
                                information. IfIf you
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                                                           not the           recipient of
                                                                   intended recipient      this fax,
                                                                                        of this      you are
                                                                                                fax, you are hereby
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dissemination, distribution  or copying  of this
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                                                                                                                                          fax in
error,
error, please notify me
       please notify me by  telephone at
                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
                                                                  permanently shred
                                                                                shred the
                                                                                       the original
                                                                                            original and
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thereof.
thereof.




                                                                                                                               Liberty002703
                                                                                                                               Li berty002703
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 428 of 501


                                                               Liberty Life
                                                               Liberty Life Assurance
                                                                            Assurance Company
                                                                                       Company ofof Boston
                                                                                                    Boston
                                                               Group
                                                               Group Benefits  Disability Claims
                                                                      Benefits Disability Claims
             Liberty-                                          P.O. Box
                                                               P.O.      7213
                                                                    Box 7213
                                                               London, KY
                                                               London,  KY 40742-7213
                                                                            40742-7213
             MutuaL                                            Phone No.:
                                                               Phone  No.: (888)
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                                                               Secure
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                                                                       Fax No.:
                                                                                 437-7611
                                                                           No.: (603) 334-5708
                                                                                (603) 334-5708
              INSURANCE



February 9,
February 9, 2016
            2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim    REDACTED
             #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

Thank you
Thank you for
          for your
              your letter of February
                   letter of February 4,
                                      4, 2016
                                         2016 indicating
                                              indicating Ms.
                                                         Ms. Spears
                                                             Spears will
                                                                    will attend
                                                                         attend an
                                                                                an IME.
                                                                                   IME.

As we
As  we discussed
       discussed on
                 on the
                    the telephone
                        telephone last  week, the
                                   last week, the IME  will be
                                                  IME will  be completed
                                                               completed by
                                                                          by aa physician
                                                                                physician specializing
                                                                                          specializing
in Physical
in          Medicine &
   Physical Medicine  & Rehabilitation.  An independent
                         Rehabilitation. An               medical vendor
                                             independent medical   vendor will
                                                                          will be
                                                                                be directly
                                                                                   directly in
                                                                                            in touch
                                                                                               touch
with you
with you regarding
         regarding specific
                   specific arrangements
                            arrangements for
                                           for the
                                               the examination,
                                                   examination, including the name
                                                                including the        of the
                                                                               name of  the examining
                                                                                             examining
physician.
physician.

Ms. Spears
Ms. Spears may
           may be
                be accompanied
                   accompanied toto the
                                    the IME,
                                        IME, however,
                                              however, that
                                                        that person
                                                             person would
                                                                    would need to stay
                                                                          need to stay in
                                                                                       in waiting
                                                                                          waiting
room and
room and not be present
         not be present during
                        during the
                               the actual
                                    actual examination.
                                           examination.
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                               1 of 11
                                               1 of                                            Liberty002704
                                                                                               Li berty002704
                                                 ATTY    ATTY WINONA ZIMBERLN                          PAGE
                                                                                                       HAbh       01/01
02/04/2015
02/04/2016     Case
             15:43
             15:43      8502474194
                      3:11-cv-01807-VLB
                        8602474194      Document 142-3 Filed 11/16/18 Page 429 of 501


                                          Zimberlin Law LLC
                                          267 Main Street II Manchester, CT 06042
                                          (p) 860.783.5999 II (f) 860.783.5996
                                          www.zimberlinlaw.com

       Winona W. Zimberlin                                                                 By appointment only:
       Russell D. Zimberlin
       RusseU                                                                              Hartfrird Office
                                                                                           Hartford
                                                                                             Congrc!is Street
                                                                                           2 Congress
                                                                                           Hartft)Td, CT 06114
                                                                                           Hartford,


                                                February 4, 2016


       Facsimile: 1-603-334-5708
                  l-603-334-5708

       Nancy Winterer
       Appeals Review Consultant
       Liberty Life Assurance Company of Boston
       PO Box 7213
                    40742-761 I
       London, KY 40742-7611

       Dear Ms. Winterer:

              RE:    Haley Spears
              DOB:  REDACTED
                           REDACTED
              Your claim#: REDACTED

                                                                                               Ts there any
               Ms. Spears will attend an. IME. Please advise as to the name of this evaluator. is
       objection if Ms. Spears brings another person with her to the exam?



                                                                    Very truly yours,



                                                                    ~w·
                                                                    · -.. . ·· w pz
                                                                    Wifibna
                                                                                    p;j
                                                                                 bl 1·
                                                                                 tim1
                                                                     mona W.. Zimberlin
                                                                                   er m
       WWZ:dz
       Enclosure




                                                                                                Liberty002705
                                                                                                Liberty002705
       Case 3:11-cv-01807-VLB
UPS CampusShip: Shipment Label Document 142-3 Filed 11/16/18 Page 430 of 501
                                                                          Page 11of1
                                                                                 of 1


UPS CampusShip: View/Print Label

1. Ensure there are no other shipping or tracking labels attached to your package. Select the
   Print button on the print dialog box that appears. Note: If your browser does not support this function
   select Print from the File menu to print the label.

2. Fold the printed label at the solid line below. Place the label in a UPS Shipping Pouch.
                                                                                          Pouch . If you do
   not have a pouch, affix the folded label using clear plastic shipping tape over the entire label.

3. GETTING
   GETIING YOUR SHIPMENT TO UPS
   Customers with a Daily Pickup
   Your driver will pickup your shipment(s) as usual.

   Customers without a Daily Pickup
   Take your package to any location of The UPS Store®, UPS Access Point(TM) location,
                                                                                  location , UPS Drop
   Box, UPS Customer Center, UPS Alliances (Office Depot® or Staples®) or Authorized Shipping Outlet
   near you. Items sent via UPS Return Services(SM) (including via Ground) are also accepted at Drop
   Boxes. To find the location nearest you, please visit the Resources area of CampusShip and select
   UPS Locations.
   Schedule a same day or future day Pickup to have a UPS driver pickup all your CampusShip
   packages.
   Hand the package to any UPS driver in your area.
UPS Access PoIntTM
            Point™
THE UPS STORE
1931
1931 WOODBURY AVE
PORTSMOUTH ,NH 03801 03801


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          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 431 of 501


                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
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                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: February 2,
  Date: February 2, 2016
                    2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               2
                                   2

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
This       and any
      fax, and any attachments
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                                                                                                named herein
                                                                                                       herein and
                                                                                                               and may   contain legally
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privileged and/or
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                                information. IfIf you
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                                                                   intended recipient      this fax,
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                                                                                                fax, you are hereby
                                                                                                             hereby notified
                                                                                                                     notified that
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dissemination,  distribution or
dissemination, distribution  or copying  of this
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                                                                                                                      have received  this fax in
                                                                                                                                          fax in
error,
error, please notify me
       please notify me by  telephone at
                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
                                                                  permanently shred
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thereof.
thereof.




                                                                                                                               Liberty002707
                                                                                                                               Li berty002707
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 432 of 501


                                                                Liberty Life
                                                                Liberty Life Assurance
                                                                             Assurance Company
                                                                                        Company ofof Boston
                                                                                                     Boston
                                                                Group
                                                                Group Benefits  Disability Claims
                                                                       Benefits Disability Claims
             Liberty-                                           P.O. Box
                                                                P.O.      7213
                                                                     Box 7213
                                                                London, KY
                                                                London,  KY 40742-7213
                                                                             40742-7213
             MutuaL                                             Phone No.:
                                                                Phone  No.: (888)
                                                                Secure Fax
                                                                Secure
                                                                            (888) 437-7611
                                                                        Fax No.:
                                                                                  437-7611
                                                                            No.: (603) 334-5708
                                                                                 (603) 334-5708
              INSURANCE



February 2,
February 2, 2016
            2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim    REDACTED
             #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

This letter
This        is in
     letter is in follow up to
                  follow up to our
                               our telephone
                                   telephone conversation
                                             conversation yesterday,
                                                          yesterday, February
                                                                     February 1,
                                                                              1, 2016.
                                                                                 2016.

You called
You  called regarding  Liberty Life's
            regarding Liberty   Life’s plan
                                        plan to
                                              to have
                                                   have Ms.
                                                         Ms. Spears
                                                              Spears attend
                                                                       attend an
                                                                               an Independent    Medical
                                                                                   Independent Medical
Examination (IME).
Examination  (IME). We
                     We discussed
                         discussed the
                                    the purpose
                                        purpose of of the
                                                      the IME
                                                          IME isis due  to the
                                                                   due to  the Court's
                                                                               Court’s recommendation,
                                                                                        recommendation,
and to
and to have
       have Ms.
            Ms. Spears'
                 Spears’ medical
                         medical condition
                                  condition asas of
                                                  of 2008
                                                     2008 and
                                                           and 2009
                                                                2009 asas well
                                                                          well as
                                                                               as her
                                                                                  her current
                                                                                       current condition,
                                                                                               condition,
assessed by
assessed    way of
         by way of the
                   the examiner's
                       examiner’s review   of all
                                   review of  all the
                                                  the medical
                                                       medical records  and physical
                                                               records and   physical examination.
                                                                                      examination.

Liberty
Liberty Life  is requesting
         Life is requesting that
                             that you
                                  you advise
                                      advise us
                                             us in writing, whether
                                                in writing, whether Ms.
                                                                     Ms. Spears agrees to
                                                                         Spears agrees to attend
                                                                                          attend an
                                                                                                 an IME.
                                                                                                    IME.
Time is
Time  is of
         of the
            the essence  in this
                 essence in this matter and the
                                 matter and the IME
                                                IME needs   to be
                                                     needs to  be arranged
                                                                  arranged as
                                                                           as soon
                                                                              soon as
                                                                                   as possible.
                                                                                      possible.

Please  advise in
Please advise  in writing,
                  writing, on
                           on or
                              or before
                                 before Friday,
                                        Friday, February
                                                February 5,
                                                         5, 2016,
                                                            2016, as
                                                                  as to
                                                                     to whether
                                                                        whether Ms.
                                                                                Ms. Spears
                                                                                    Spears agrees
                                                                                           agrees
to attend
to attend an
          an IME.
             IME.
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                                1 of 11
                                                1 of                                            Liberty002708
                                                                                                Li berty002708
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                                Liberty
                                Liberty Mutual
                                        Mutual -- Independent
                                                  Independent Evaluation
                                                              Evaluation
                                                    Peer
                                                    Peer Review
                                                         Review
    Requested By:
    Requested By:      Nancy Winterer
                       Nancy  Winterer                                                                   Document Locations
                                                                                                        —Document Locations
                       Disability Claims
                       Disability Claims
                       P.O. Box
                       P.O.  Box 7206
                                  7206                                                                    El Document
                                                                                                             Document List
                                                                                                                        List
                       London, KYKY 40742-7206
                       London,
                       (888)
                                     40742-7206
                             437-7611 x16401
                                       x16401
                                                                                                          ❑  Correspondence
                                                                                                             Correspondence
                       (888) 437-7611
                 Fax: (603)
                 Fax:       334-5708
                      (603) 334-5708
                                                                                                          ❑ Paper
                                                                                                             Paper File
                                                                                                                   File


   Return
   Return Report to: GBLibertyVendorReferrals@libertymutual.com
          Report to: GBLibertyVendorReferrals@libertymutual.com


  Customer Name:
  Customer Name:       UTC CHOICE
                       UTC CHOICE                                                    Date Sent:
                                                                                     Date Sent:        1/29/2016
                                                                                                       1/29/2016

      Funding type:
      Funding type:    CON
                       CON                                        Coverage       LTD
                                                                           Type: LTD
                                                                  Coverage Type:

   Claimant Name:
   Claimant Name:      HALEY A
                       HALEY A SPEARS
                               SPEARS                                   Claim #:
                                                                        Claim #:      REDACTED
                                                                                      REDACTED



 Claimant Address:
 Claimant Address:     9000 WEST WILDERNESS
                       9000 WEST WILDERNESS                        Claimant
                                                                   Claimant SSN:
                                                                            SSN:     REDACTED
                       WAY#190
                       WAY#190
                                                                  Claimant DOB:
                                                                  Claimant DOB:       REDACTED

              City:
              City:    SHREVEPORT
                       SHREVEPORT                             Claimant TeL
                                                              Claimant Tel. #:
                                                                            #:        (860) 930-0887
                                                                                      (860) 930-0887

              State:
              State:   LA
                       LA                                         Claimant DOD: 9/27/2008
                                                                  Claimant DOD: 9/27/2008
               Zip:
               Zip:    71106-0000
                       71106-0000
                                                            Primary Diagnosis:
                                                            Primary Diagnosis:        Headache
                                                                                      Headache
           Gender:
           Gender:     FEMALE
                       FEMALE                                      Att. Physician:
                                                                        Physician:
                                                                   Att.
    Specialist Type
    Specialist Type                                                    Physician:     see below
       Requested ::
       Requested
                       Other
                       Other                                           Physician:     see below
                                                                      Phone/Fax
                                                                      Phone/Fax


Referral Questions:
Referral Questions:                                           Vendor Chosen:
                                                              Vendor Chosen:             Behavioral Management,
                                                                                         Behavioral Management, Inc.
                                                                                                                Inc.




   Claimant Name:
   Claimant Name:      HALEY A
                       HALEY A SPEARS
                               SPEARS




                                                                                                                       Liberty002709
                                                                                                                       Li berty002709
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                                   Liberty
                                   Liberty Mutual
                                           Mutual -- Independent
                                                     Independent Evaluation
                                                                 Evaluation
                                                                  Peer
                                                                  Peer Review
                                                                       Review
PANEL REVIEW:
PANEL     REVIEW: Clmnt
                     Clmnt isis former  Administrative Assistant
                                former Administrative   Assistant who
                                                                  who was
                                                                       was 31yo
                                                                           31yo at her DOD
                                                                                at her DOD 9/27/2008,
                                                                                             9/27/2008, initially
                                                                                                        initially due
                                                                                                                  due to
                                                                                                                      to Headaches.
                                                                                                                         Headaches. We
                                                                                                                                    We are
                                                                                                                                       are
assessing clmnt’s
assessing clmnt's functional  capacity for
                  functional capacity      the periods
                                       for the periods 9/27/2008   through 3/27/2009,
                                                       9/27/2008 through    3/27/2009, and  3/28/09 through
                                                                                        and 3/28/09 through 1/31/2015.
                                                                                                              1/31/2015.

Referral for
Referral for PANEL
             PANEL review     by:
                      review by:
Endocrinology
Endocrinology
Gastroenterology
Gastroenterology
Infectious Disease
Infectious Disease
Neurology
Neurology
Neuropsychology
Neuropsychology
Internal Medicine
Internal Medicine (please  include review
                   (please include review of Rheumatology, Cardiology,
                                          of Rheumatology, Cardiology, Pulmonology,
                                                                       Pulmonology, Sleep Medicine, Ophthalmology,
                                                                                    Sleep Medicine, Ophthalmology, Dermatology,
                                                                                                                   Dermatology, and
                                                                                                                                and Primary
                                                                                                                                    Primary
Care records)
Care records)

ENDOCRINOLOGY:
ENDOCRINOLOGY:
Please contact
Please         Robert Lang,
       contact Robert       MD (P-203-248-4362
                      Lang, MD                   F-203-248-6933), who
                                 (P-203-248-4362 F-203-248-6933), who treated
                                                                      treated clmnt
                                                                              clmnt from 2/21/13 through
                                                                                    from 2/21/13 through 7/10/14, regarding Ms.
                                                                                                         7/10/14, regarding Ms. Spear's
                                                                                                                                Spear’s
condition, treatment
condition, treatment and
                     and functional
                         functional capacity.
                                    capacity.

From an
From      Endocrinology perspective,
       an Endocrinology  perspective, based on the
                                      based on the available
                                                   available medical
                                                             medical evidence,
                                                                     evidence, please describe the
                                                                               please describe  the clmnt's
                                                                                                    clmnt’s impairments,
                                                                                                            impairments, cause of any
                                                                                                                         cause of any impairments,
                                                                                                                                      impairments,
severity of
severity of impairments,
            impairments, and
                         and the
                             the duration
                                 duration of
                                          of any
                                             any impairments,
                                                 impairments, during  the periods
                                                               during the periods 9/27/2008
                                                                                  9/27/2008 through
                                                                                               through 3/27/2009,
                                                                                                       3/27/2009, and
                                                                                                                   and 3/28/09
                                                                                                                        3/28/09 through
                                                                                                                                  through
1/31/2015.
1/31/2015.

Based on
Based     the medical
       on the medical evidence,
                        evidence, from    an Endocrinology
                                    from an  Endocrinology perspective,   please provide
                                                             perspective, please          your best
                                                                                  provide your  best assessment
                                                                                                     assessment of
                                                                                                                of the
                                                                                                                   the clmnt’s
                                                                                                                       clmnt's functional
                                                                                                                               functional capacity
                                                                                                                                          capacity
(including
(including activities
           activities of
                      of daily living, physical
                         daily living,          capacity for
                                       physical capacity     work, capacity
                                                         for work, capacity to
                                                                            to travel) during the
                                                                               travel) during the periods
                                                                                                  periods 9/27/2008
                                                                                                           9/27/2008 through
                                                                                                                      through 3/27/2009,
                                                                                                                               3/27/2009, and
                                                                                                                                           and 3/28/09
                                                                                                                                               3/28/09
through 1/31/2015.
through  1/31/2015.

GASTROENTEROLOGY:
GASTROENTEROLOGY:
Please contact
Please         James O'Brien,
       contact James O’Brien, MD
                              MD (P-860-649-3477   F-860-649-0011), who
                                   (P-860-649-3477 F-860-649-0011), who treated clmnt from
                                                                        treated clmnt      4/8/08 through
                                                                                      from 4/8/08 through 4/17/14,
                                                                                                          4/17/14, regarding
                                                                                                                   regarding Ms.
                                                                                                                             Ms. Spear's
                                                                                                                                 Spear’s
condition, treatment
condition, treatment and
                     and functional
                         functional capacity.
                                    capacity.

From aa Gastroenterology
From     Gastroenterology perspective,
                          perspective, based
                                       based on the available
                                             on the available medical
                                                              medical evidence, please describe
                                                                      evidence, please          the clmnt’s
                                                                                       describe the         impairments, cause
                                                                                                    clmnt's impairments, cause of any impairments,
                                                                                                                               of any impairments,
severity of
severity of impairments,
            impairments, and
                         and the
                             the duration
                                 duration of
                                          of any
                                             any impairments,
                                                 impairments, during  the periods
                                                               during the periods 9/27/2008
                                                                                  9/27/2008 through
                                                                                              through 3/27/2009,
                                                                                                       3/27/2009, and
                                                                                                                   and 3/28/09
                                                                                                                       3/28/09 through
                                                                                                                                through
1/31/2015.
1/31/2015.

Based on
Based     the medical
       on the medical evidence,
                        evidence, from
                                    from aa Gastroenterology
                                            Gastroenterology perspective,
                                                              perspective, please
                                                                            please provide  your best
                                                                                   provide your  best assessment
                                                                                                      assessment of
                                                                                                                 of the
                                                                                                                    the clmnt’s
                                                                                                                        clmnt's functional
                                                                                                                                functional capacity
                                                                                                                                           capacity
(including
(including activities
           activities of
                      of daily living, physical
                         daily living,          capacity for
                                       physical capacity     work, capacity
                                                         for work, capacity to
                                                                            to travel) during the
                                                                               travel) during the periods
                                                                                                  periods 9/27/2008
                                                                                                          9/27/2008 through
                                                                                                                      through 3/27/2009,
                                                                                                                              3/27/2009, and
                                                                                                                                           and 3/28/09
                                                                                                                                               3/28/09
through 1/31/2015.
through  1/31/2015.

INFECTIOUS DISEASE:
INFECTIOUS      DISEASE:
Please contact
Please contact Zane  Saul, MD
               Zane Saul,  MD (P-203-259-8087
                               (P-203-259-8087 F-203-383-4499), who treated
                                               F-203-383-4499), who treated clmnt
                                                                            clmnt from 8/8/10 through
                                                                                  from 8/8/10 through 6/9/14,
                                                                                                      6/9/14, regarding Ms. Spear's
                                                                                                              regarding Ms. Spear’s
condition, treatment
condition, treatment and
                     and functional
                          functional capacity.
                                     capacity.

From an
From     Infectious Disease
      an Infectious Disease perspective,
                            perspective, based
                                         based on  the available
                                                on the available medical
                                                                 medical evidence,
                                                                         evidence, please
                                                                                   please describe the clmnt's
                                                                                          describe the clmnt’s impairments,
                                                                                                               impairments, cause of any
                                                                                                                            cause of any
impairments, severity
impairments, severity of impairments, and
                      of impairments, and the
                                           the duration
                                               duration of
                                                        of any  impairments, during
                                                            any impairments,         the periods
                                                                             during the  periods 9/27/2008
                                                                                                 9/27/2008 through
                                                                                                            through 3/27/2009,
                                                                                                                     3/27/2009, and   3/28/09
                                                                                                                                 and 3/28/09
through 1/31/2015.
through 1/31/2015.

Based on
Based     the medical
       on the medical evidence,
                        evidence, from    an Infectious
                                    from an  Infectious Disease
                                                         Disease perspective, please provide
                                                                 perspective, please          your best
                                                                                     provide your  best assessment
                                                                                                        assessment of
                                                                                                                   of the
                                                                                                                      the clmnt’s
                                                                                                                          clmnt's functional
                                                                                                                                  functional capacity
                                                                                                                                             capacity
(including
(including activities
           activities of
                      of daily living, physical
                         daily living,          capacity for
                                       physical capacity     work, capacity
                                                         for work, capacity to
                                                                            to travel) during the
                                                                               travel) during the periods
                                                                                                  periods 9/27/2008
                                                                                                          9/27/2008 through
                                                                                                                     through 3/27/2009,
                                                                                                                             3/27/2009, and
                                                                                                                                          and 3/28/09
                                                                                                                                               3/28/09
through 1/31/2015.
through  1/31/2015.

NEUROLOGY:
NEUROLOGY:
Please contact
Please         Dario Zagar,
       contact Dario        MD (P-203-333-1133
                     Zagar, MD                    F-203-333-3937), who
                                (P-203-333-1133 F-203-333-3937),     who treated
                                                                          treated clmnt
                                                                                  clmnt from  2/26/09 through
                                                                                        from 2/26/09    through 8/19/11,
                                                                                                                8/19/11, regarding
                                                                                                                         regarding Ms.
                                                                                                                                   Ms. Spear’s
                                                                                                                                       Spear's
condition, treatment
condition, treatment and
                     and functional
                         functional capacity.
                                    capacity. Please
                                              Please also contact Joachim
                                                     also contact Joachim Baehring,
                                                                           Baehring, MID
                                                                                     MD (P-203-785-7284
                                                                                          (P-203-785-7284 F-203-737-2591),   who treated
                                                                                                            F-203-737-2591), who treated clmnt
                                                                                                                                         clmnt
from  11/25/08 through
from 11/25/08   through 4/22/13,
                        4/22/13, regarding
                                  regarding Ms.
                                             Ms. Spear's
                                                 Spear’s condition, treatment and
                                                         condition, treatment  and functional capacity.
                                                                                   functional capacity.

From aa Neurology
From     Neurology perspective, based on
                   perspective, based on the
                                          the available
                                              available medical
                                                        medical evidence, please describe
                                                                evidence, please          the clmnt’s
                                                                                 describe the         impairments, cause
                                                                                              clmnt's impairments, cause of any impairments,
                                                                                                                         of any impairments,
severity of
severity of impairments,
            impairments, and
                         and the
                             the duration
                                 duration of
                                           of any
                                              any impairments,
                                                  impairments, during  the periods
                                                                during the periods 9/27/2008
                                                                                   9/27/2008 through
                                                                                               through 3/27/2009,
                                                                                                        3/27/2009, and
                                                                                                                    and 3/28/09
                                                                                                                        3/28/09 through
                                                                                                                                 through
1/31/2015.
1/31/2015.

Based on
Based      the medical
        on the medical evidence,
                         evidence, from
                                     from aa Neurology
                                             Neurology perspective,
                                                         perspective, please
                                                                      please provide
                                                                             provide your
                                                                                      your best
                                                                                           best assessment
                                                                                                assessment of the clmnt’s
                                                                                                           of the clmnt's functional capacity (including
                                                                                                                          functional capacity (induding
activities of
activities of daily
              daily living,
                    living, physical
                            physical capacity
                                      capacity for work, capacity
                                               for work,          to travel)
                                                         capacity to travel) during the periods
                                                                             during the periods 9/27/2008
                                                                                                9/27/2008 through   3/27/2009, and
                                                                                                           through 3/27/2009,        3/28/09 through
                                                                                                                                 and 3/28/09   through
1/31/2015.
1/31/2015.

NEUROPSYCHOLOGY:
NEUROPSYCHOLOGY:
Please explain
Please         the results
       explain the results and
                           and conclusions
                                conclusions of  the July
                                             of the July 2010
                                                         2010 Neuropsychological
                                                               Neuropsychological Evaluation
                                                                                      Evaluation by
                                                                                                 by Marian
                                                                                                    Marian Rissenberg,
                                                                                                           Rissenberg, PhD,
                                                                                                                       PhD, including
                                                                                                                             including areas
                                                                                                                                       areas of
                                                                                                                                             of cognitive
                                                                                                                                                cognitive
strength and
strength      weakness, and
         and weakness,   and psychological
                              psychological findings.   Please discuss
                                             findings Please    discuss how
                                                                        how the
                                                                              the strengths
                                                                                  strengths and weaknesses obtained
                                                                                            and weaknesses obtained on  testing represent
                                                                                                                    on testing  represent the
                                                                                                                                          the following:
                                                                                                                                              following:
•Valid effort
•Valid effort on the part
              on the part of  the claimant
                           of the claimant to
                                           to perform   at her
                                               perform at  her highest
                                                               highest leveL
                                                                       level.

    Claimant Name:
    Claimant Name:       HALEY A
                         HALEY A SPEARS
                                 SPEARS




                                                                                                                                          Liberty002710
                                                                                                                                          Liberty002710
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 435 of 501




                                   Liberty
                                   Liberty Mutual
                                           Mutual -- Independent
                                                     Independent Evaluation
                                                                 Evaluation
                                                                 Peer
                                                                 Peer Review
                                                                      Review
❑ Appear consistent or inconsistent with Ms. Spears' subjective complaints.
I I Compared with estimated levels of previous function.
❑ Whether results of testing were influenced by factors such as secondary gain- financial or emotional, lack of job to return to, lack of motivation,
etc.
etc.

From aa Neuropsychology
From    Neuropsychology perspective,   based on
                          perspective, based on the
                                                the available
                                                    available medical
                                                              medical evidence,
                                                                      evidence, please
                                                                                please describe
                                                                                       describe any
                                                                                                any cognitive and psychological
                                                                                                    cognitive and psychological impairments,
                                                                                                                                impairments, cause
                                                                                                                                             cause
of any
of     impairments, severity
   any impairments, severity of impairments, and
                             of impairments, and the
                                                 the duration
                                                     duration of  any impairments,
                                                               of any impairments, during
                                                                                    during the periods 9/27/2008
                                                                                           the periods            through 3/27/2009,
                                                                                                       9/27/2008 through  3/27/2009, and
                                                                                                                                      and
3/28/09 through
3/28/09  through 1/31/2015.
                 1/31/2015.

Based on
Based     the medical
       on the medical evidence,
                        evidence, from
                                    from aa Neuropsychology
                                            Neuropsychology perspective,
                                                              perspective, please
                                                                            please provide
                                                                                   provide your
                                                                                           your best  assessment of
                                                                                                 best assessment    the clmnt's
                                                                                                                 of the clmnt’s functional
                                                                                                                                functional capacity
                                                                                                                                           capacity
(including
(including activities
           activities of
                      of daily living, capacity
                         daily living,          for work,
                                       capacity for work, capacity to travel)
                                                          capacity to travel) during
                                                                              during the
                                                                                     the periods
                                                                                         periods 9/27/2008   through 3/27/2009,
                                                                                                 9/27/2008 through   3/27/2009, and
                                                                                                                                  and 3/28/09
                                                                                                                                      3/28/09 through
                                                                                                                                               through
1/31/2015.
1/31/2015.

INTERNAL MEDICINE
INTERNAL     MEDICINE (please  include review
                       (please include review of
                                              of Rheumatology,
                                                 Rheumatology, Cardiology, Pulmonology, Sleep
                                                               Cardiology, Pulmonology, Sleep Medicine,
                                                                                              Medicine, Ophthalmology, Dermatology, and
                                                                                                        Ophthalmology, Dermatology, and
Primary Care
Primary Care records):
             records):

Please contact
Please         Kristin Giannini,
       contact Kristin           MD (P-860-872-8321
                       Giannini, MD                   F-860-875-6271), who
                                      (P-860-872-8321 F-860-875-6271), who treated clmnt 3/10/09
                                                                           treated clmnt 3/10/09 through
                                                                                                 through 11/25/13,
                                                                                                         11/25/13, regarding Ms. Spear's
                                                                                                                   regarding Ms. Spear’s
condition, treatment
condition, treatment and
                      and functional
                          functional capacity.
                                     capacity.

From an
From     Internal Medicine
      an Internal Medicine perspective,
                            perspective, based
                                         based on the available
                                               on the           medical evidence,
                                                      available medical           please describe
                                                                        evidence, please describe the
                                                                                                  the clmnt's
                                                                                                      clmnt’s impairments,
                                                                                                              impairments, cause of any
                                                                                                                           cause of any
impairments, severity
impairments,  severity of impairments, and
                       of impairments, and the
                                           the duration
                                               duration of
                                                        of any  impairments, during
                                                           any impairments,         the periods
                                                                             during the  periods 9/27/2008
                                                                                                 9/27/2008 through
                                                                                                            through 3/27/2009,
                                                                                                                    3/27/2009, and   3/28/09
                                                                                                                                 and 3/28/09
through 1/31/2015.
through 1/31/2015.

Based on
Based     the medical
       on the medical evidence,
                        evidence, from    an Internal
                                    from an  Internal Medicine
                                                      Medicine perspective,  please provide
                                                                perspective, please          your best
                                                                                    provide your  best assessment
                                                                                                       assessment of
                                                                                                                  of the
                                                                                                                     the clmnt’s
                                                                                                                         clmnt's functional
                                                                                                                                 functional capacity
                                                                                                                                            capacity
(including
(including activities
           activities of
                      of daily living, physical
                         daily living,          capacity for
                                       physical capacity     work, capacity
                                                         for work, capacity to
                                                                            to travel) during the
                                                                               travel) during the periods
                                                                                                  periods 9/27/2008
                                                                                                          9/27/2008 through
                                                                                                                     through 3/27/2009,
                                                                                                                             3/27/2009, and
                                                                                                                                          and 3/28/09
                                                                                                                                              3/28/09
through 1/31/2015.
through  1/31/2015.




Instructions For
Instructions     Vendor:
             For Vendor:




    Claimant Name:
    Claimant Name:      HALEY A
                        HALEY A SPEARS
                                SPEARS




                                                                                                                                       Liberty002711
                                                                                                                                       Liberty002711
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                                 Liberty
                                 Liberty Mutual
                                         Mutual -- Independent
                                                   Independent Evaluation
                                                               Evaluation
                                               Peer
                                               Peer Review
                                                    Review




Attorney Information
Attorney Information (if
                     (if applicable):
                         applicable):




    Claimant Name:
    Claimant Name:      HALEY A
                        HALEY A SPEARS
                                SPEARS




                                                                            Liberty002712
                                                                            Liberty002712
          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 437 of 501


                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
                                                                                                Secure
                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: January 25,
  Date: January 25, 2016
                    2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               2
                                   2

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
This       and any
      fax, and any attachments
                   attachments thereto,
                                 thereto, is intended only
                                          is intended   only for
                                                             for the
                                                                 the use
                                                                     use of
                                                                         of the
                                                                            the addressee(s)
                                                                                addressee(s) named
                                                                                                named herein
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                                                                                                               and may   contain legally
                                                                                                                    may contain  legally
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privileged  and/or confidential
                   confidential information.
                                information. IfIf you
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                                                           not the           recipient of
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                                                                                                             hereby notified
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                                copying of   this fax, and any
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                                                                                                                      have received  this fax in
                                                                                                                                          fax in
error,
error, please notify me
       please notify me by  telephone at
                         by telephone     (888) 437-7611
                                       at (888)   437-7611 and
                                                             and permanently
                                                                  permanently shred
                                                                                shred the
                                                                                       the original
                                                                                            original and
                                                                                                     and any
                                                                                                         any copy
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                                                                                                                               and any   printout
thereof.
thereof.




                                                                                                                               Liberty002713
                                                                                                                               Li berty002713
       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 438 of 501


                                                             Liberty Life
                                                             Liberty Life Assurance
                                                                          Assurance Company
                                                                                     Company ofof Boston
                                                                                                  Boston
                                                             Group
                                                             Group Benefits  Disability Claims
                                                                    Benefits Disability Claims
             Liberty-                                        P.O. Box
                                                             P.O.      7213
                                                                  Box 7213
                                                             London, KY
                                                             London,  KY 40742-7213
                                                                          40742-7213
             MutuaL                                          Phone No.:
                                                             Phone  No.: (888)
                                                             Secure Fax
                                                             Secure
                                                                         (888) 437-7611
                                                                     Fax No.:
                                                                               437-7611
                                                                         No.: (603) 334-5708
                                                                              (603) 334-5708
              INSURANCE



January 25,
January 25, 2016
            2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

I am in receipt of your January 12, 2016
                        January 12,      fax regarding
                                    2016 fax regarding our telephone conversation
                                                       our telephone              that
                                                                     conversation that
date.

My recollection from this conversation is that you advised you are not going to submit any
further medical documentation
                 documentation in support of Ms.Ms. Spears’
                                                    Spears' appeal. I also recall that you
stated  that you
stated that  you did  not want
                  did not want current  medical documentation
                               current medical                  considered in
                                                 documentation considered   in this
                                                                               this appeal
                                                                                    appeal
review, only documentation submitted through December 31, 2015.

                         Court’s recommendation that Liberty "would
Taking into account the Court's                                “would be well advised, upon
reconsideration, rather than simply
                             simply conducting
                                    conducting a paper review ofof [Spears’]
                                                                   [Spears'] claim,
                                                                             claim, to have an
independent medical
independent  medical examination
                      examination performed
                                   performed on [Spears]…”, Liberty
                                             on [Spears]...",         is planning
                                                              Liberty is planning to
                                                                                  to have
                                                                                      have Ms.
                                                                                           Ms.
Spears attend an Independent Medical Examination (IME).

In light of your comments however, prior to scheduling the IME, we want to confirm that Ms.
Spears   agrees to
Spears agrees     to attend
                     attend an
                            an IME.
                               IME. In
                                    In the
                                       the interest
                                           interest of
                                                    of time,
                                                       time, please  advise me
                                                             please advise  me by Wednesday
                                                                               by Wednesday
February 3,
February    3, 2016,
               2016, as to whether Ms.
                                   Ms. Spears
                                        Spears is willing to attend an IME.
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.
Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




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                       8602474194                         ATTY WINONA ZIMBERLN                        PAGE       01/08
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             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 439 of 501

                                         Zimberlin Law LLC
                                         267 Main Street I Manchester, CT 06042
                                                           I (f) 860.783,5996
                                             860.783.59991(f)860.783.5996
                                         (p) 860.783.5999
                                         www.zimberlinlaw.com
                                         wwv,.zimberliulaw.com

       Winona W. Zimbcrlin
                   Zimberlin                                                               <ippointment only:
                                                                                       By appointment
                                                                                       13y
       Russell D. Zimberlin
                  Zim.berlin                                                            Hartford Of
                                                                                        1-lanrend Office
                                                                                       22 Congress
                                                                                          C:<mgrc;:ss Street
                                                                                       H,rtford, CT 06114
                                                                                       Hanford,         061 14



                                               January 11,
                                                       1 1, 2016


      Facsimile: 1-603-422-7909, 8 pages.

      Nancy Winterer
              Wintercr
      A.ppcals Review Consultant
      Appeals
      Liberty Life Assuran.ee
                   Assurance Company of Boston
      100 Liberty Way
      Mail Stop 02G
      .Dover,
      Dover, NH 03820

      Dear !Vis.
           Ms. Winterer:

              RE:   Haley Spears
              DOB: REDACTED


      Enc.losed please find:
      Enclosed         find:

              1.
              l. Melissa Albritton.
                         Albritton, M.D., 12/17/15, 7p.


                                                                              yours,
                                                                   Very truly yours.


                                                                   0\.~·Q_(,(
                                                                   Wino11a Zimberlin
                                                                   Winona

      wwz
      WWZ




                                                                                           Liberty002715
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                Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 440 of 501


                                                                                                     Laura Kimball-Ravari, M.D. FACE




~:.fllllllllEALTH
                                                                                                                       Albritton. M.D.
                                                                                                              Melissa Albritton,
                                                                                                      Sammi Smith, APRN, MSN, ACNP-C
                                                                                                                               ACNP-c
                                                                                                            Vickey Burnett APRN, FNP-C
10MSINIGHTONHL4ITH SY51tit1
                   SYS11M                                                                                         Jennifer Angelo, PA-C
                                                                                                                                   PA-c

                                                                                                                            Endocrinology
                                                                                                                     Endocrine Specialists
                                                                                                                                Spedalists
                                                                                                               2449 Hospital Dr, Suite 400
                                                                                                                    Bossier City, LA 71111
                                                                                                                                     71111
                                                                                                                   Phone: (318) 212-7902
                                                                                                                      Fax: (318) 212-7905


PATIENT:                    Haley Spears
DATE OF BIRTH:              REDACTEDAGE: 38
                            REDACTEDAGE:
DATE:                       December 17, 2015
VISIT TYPE:                 Office Visit


                 38-ye•r-old female who presents for initial evaluation in this clinic for endocrine follow up of thyroid cancer and
Ms. Spears is a 30-year-old
                                                medic•! history of:
post-surgical hypothyroidism. She has a past medical
1.       Hashimoto's thyroid disease.
2.        Post-surgical hypothyroidism.
3.       Thyroid cancer.
4.       GERD.
          GERO.
5.       Colitis.
G.
6.       Cardiac arrhythmia.
7.        Chronic pain.
8.        Chronic tick borne disease.
                                               He. He is an endocrinologist with the Kingbridge Health Alliance. She had a total
She was previously followed by a Dr. Zhiheng He,
thyreidectorny in June 2013 and was found to have a 0.4 cm micropapillary carcinoma. It Is
thyroidectomy                                                                                  is my understanding that radioiodine was not
given due to the very small size of the tumor. It looks like the plan was to keep her TSH between 0.1    O. 1 and 0.5. She has had thyroid
ultrasounds and the most recent one was March 2015 which showed no evidence of recurrence,recurrence. The last lab
                                                                                                                 Jab was have on her is from
May 2015. She did not get lab prior to this appointment.
                                            appointment She says she has had lab recently but it has not been sent to us. She is
currently taking Synthroid. She uses brand name only. She takes 50 mcg pills, but she takes two of them on Monday through Friday
and then 1-11.2
          1-1/2 on Saturday and Sunday. She says this dose was changed three weeks ago.

She says that at one point prior to her thyroid surgery she was on Armour Thyroid.
                                                                             Thyroid, She says she has been on as high a dose of
Synthroid as 125 mcg. She has recently moved here and is changing care    care to here. She does not know how long she will be in this
area but will be trying to get her records sent to us in the near future,
                                                                  future.

She says she had chronic tick borne disease which required IV antibiotic therapy for a very long time. It sounds like she had PICC
                 year. She was followed by an infectious disease specialist and a psychiatrist who also specialized in Infectious
lines for over a year,
disease. She said she saw a neuro-oncologist. She says that she ultimately was asymptomatic from that disease a few years ago but
was quite sick for quite some time prior to that.

Her complaints tend to fluctuate. It is hard for me to get a good grasp on what complaints she has right now as her complaints tend to
vary from day to day. She does stale
                                 state that she has occasional palpitations. She also reports some problems with energy and weight
fluctuations,
ftuctuations. She has trouble sleeping sometimes. She does have some occasional irritability and anxious feeling. She notes dry hair,
dry skin, and some breakout on the skin on her face but she attributes that to having a dairy on a recent trip. She says she is very
sensitive to dairy. She has seen a holistic provider who worked her up for triggers for asthma. She says she was told dairy was a big
trigger,
trigger. She says she was not determined to be sensitive to gluten. She denies any blood pressure fluctuations.
                                                                                                          ftuctuations. She says she does
sometimes have fluctuations in her blood sugar but that is only if she goes a long period of time without eating. She reports some
chronic pain. She says that she was diagnosed with Raynaud's syndrome. She also has some heat intolerance and will occasionally
get cold in her hands and feet, but for the most part she feels that she is sensitive to heat. She does occasionally have night sweats.
She has intermittent hoarseness,
                      hoarsene$$, She
                                    $he also
                                         a1$0 has
                                               h.as intermittent                                    If she has any type of dairy, She
                                                    iiitermittent diarrhea, which seems to be worse if
denies any dysphagia. She says she does have ridges on her nails. She says she is supposed to be taking Vitamin D once a week
but she has forgotten that over the last few weeks and rust just remembered this past week. She says her cycles are fairly regular. She
has never tried to become pregnant and has never had a miscarriage. She does think that she has been told she has cysts on her
ovaries in the past. She says she
                                .she has palpitations and at one point was told she had an arrhythmia but that might have been
associated with the tick borne disease. She says she did have cardiology evaluation at that time.

Haley Spears D013: REDACTED Encounter Date: 12/17/15
             DOB: REDACTEDEncounter




                                                                                                                    Liberty002716
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                                                                      ATTY WINONA ZIMBERLN
                                                                      ATTY                                          PAGE     03/08
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Thyroid:
History: Thyroid Cancer
History;
Type:
         Diagoosis:
Date of Diagnosis:
Other Comments:
              thyroidectomy
6/2013: total thyroldectomy
History of Thyroid Cancer:Yes
Stage: I
Stage:l     Date of Diagnosis: {Date of DX}
Pathology: 0.4 cm papillary carcinoma. isthmus,
                                       isthmus. no invasion,
                                                   invasion.
Head or neck radiation: No
Family history of Thyroid Cancer: No
Family history of Thyroid Disease: Yes



      Past Medical/Surgical History
                            Histoi:v
Disease/disorder        Onset Date                 Manaoement
                                                   Management                 Date       Comments
                                                   birthmark biopsy                      TCM 12/17/2015 -
                                                   Thyroidectomy              2013
Asthma                                                                                       TCM 12/17/2015     -
Cancer, thyroid                                                                                  12/17
                                                                                             TCM 12/   /2015
                                                                                                     17/2015    -
Cardiac dysrhythmias                                                                         TCM 12/17/2015
                                                                                                 12/17/2015     -
Chronic pain                                                                                 TCM 12/17/2015     -
Chronic Tick Borne                                                                           TCM 12/17/2015
                                                                                                 12/17/2015     -
Disease
Colitis                                                                                      TCM 12/17/2015 -
GERD
Headache, migraine
Thvroid disease
Thyroid


         Currently pregnant: no.

         Social History
                Histo!]
         Preferred language is English. Born
                                        Sorn In Shreveport, LA.
                                                            LA
         Education I/ Employment I/ Occupation I/ Military Experience
         The patient has a(n) some college education.


Em l'O ment
Employment                               His to
                                         History                Sta tu$
                                                                Status         Retired        Restrictions
                                                                                              Restriction
                                                                unem lo ed
                                                                unemployed
       Patient has no military experience.
       Marital Statue
                Statw;; 1I Family 1I Social Support
       Currently single.
       ooes not have children,
       Does              chiloren.
       The patient lives with 1 brother(s).
                                  brother(•).
       Tobacco
       Patient is a non-smoker.
                    nan-smoker.
       Alcohol
       There is a history
                   hf story of alcohol use.
       Type: variety.Alcohol is consumed socially. 1 drink
       Caffeine
       The patient uses caffeine: coffee and chocolate..
                                               chocolate .. - 0-1
                                                              0-1 cup a day
Haley Spears DOB:
             DOS: REDACTEDEncounter
                    REDACTEDEncounter Date: 12/17/15
                                                  12117115                     2



                                                                                                             Liberty002717
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        Lifestyle
        Moderate activity level. Exercises occasionally.
                                           occasfonally.
        Diet includes: regular diet.
                               diet



Allergies:

lnnredient
Ingredient                         Re
                                   Reaction
                                       ion       Medication Name                      Comment
ERYTHROMYCIN BASE                  Nausea/Vomiti
                                   rig
                                   n<l




Activ    (Ire ion !Sta~ed
Active Medications S      Before Visi
                                  Visit!:
Medication Name                                                  n+u         Description
                                                                             Descrilltion
                                                                 qty
Xopenex HFA 45 mcg/actuation aerosol inhaler                     0           inhale 2 puff by inhalation route every 6 hours
                                                                             as needed
Vitamin D2 50,000 unit capsule                                   0           take"l capsule by Oral route every week
                                                                             take
Synthroid 50 mcg tablet                                          0           take by oral route 2 tablets Monday through
                                                                             Fridav and 1.5 tablets Saturday
                                                                             Friday                 Saturdav and Sunday
                                                                                                                 Sund av

REVIEW OF SYSTEMS
System
Svstem                    Neg/Pos
                          Nea/Pos           Details                                       .


Neuro                     Positive          Headache,
                                             Headache.
GI                        Positive          Decreased appetite, Diarrhea, Heartburn.
Herna/Lymph
 Hema/Lymph               Positive          Easy bruising.
GU                        Positive          Hot flashes.
MS                        Positive          Back pain, Joint pain.
Integumentary             Positive          Brittle nails, +dry
                                                           + dry skin. +dry
                                                                        + dry hair.
Cardio                    Positive          Irregular heartbeat/palpitations.
Eyes                      Positive          Dry eyes.
Constitutional            Positive          Change in appetite, Fatigue, Increased appetite, Irritability, Night sweats, Weight
                                            gain.
Allergic/Imrnuno
Allergic/lmmuno           Positive          Seasonal allergies.
 Psych                    Positive          Insomnia.
Endocrine                 Positive          Heat intolerance.
Integumentary             Negative          Brittle hair and hair loss.
Endocrine                 Negative          Cold intolerance, polydipsia and polyphagia.
Eyes                      Negative          Eye redness, itchy eyes and vision loss.
Hema/Lymph                Negative          Easy bleeding and lymphadenopathy,
                                                                  lymphadenopathy.
Neuro                     Negative          Dizziness, extremity weakness, gait disturbance, numbness in extremity, seizures
                                            and tremors.
Psych                     Negative          Anxiety.
GI                        Negative          Abdominal pain, constipation, nausea and vomiting.
ENMT
ENIVIT                    Negative          Dysphagia, hoarseness, lump in throat and nasal congestion.
Respiratory               Negative          Chronic cough, cough and dyspnea,
                                                                           dyspnea.
GU                        Negative          Dysuria, hematuria and polyuria.
Constitutional            Negative          Decreased activity, generalized weakness, lethargy, malaise and pallor.
Cardio                    Neaative
                          Neoative          Chest pain
                                                   nain and edema.



      SIGNS_
VITAL SIGNS
Haley Spears DOB: REDACTED Encounter Date: 12/17/15
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                                                                                                          Liberty002718
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01/11/2015
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Last menses was 11/19/2015.
Time        BP         Position             Temp F        Pulse        Res
                                                                       Resp        Htln
                                                                                   Ht In        Wtlb
                                                                                                Wt lb        BMI          BSA           Pain
 9:29 AM    120/77     sittin
                       sitting                            75           16           66          121
                                                                                                121          19.53                      0/10

PULSE OXIMETRY RESULTS
Time         Pulse Ox Rest             Pulse                     OxAm_b%
                                                           Pulse Ox Amb%
 9:29 AM                               75



MEASURED BY
Time     Measured by
9:29 AM  Tina C. McHugh, LPN

Dhvsical Exam;
Physical
 Exam                             Findinos
                                  Findings       Details
 Constitutional                   Normal        Well developed.
 Eyes                             Normal        Conjunctiva - Right: Normal, LeftLeft: Normal. Pupil - Right          left: Normal.
                                                                                                       Right: Normal, Left:
 Neck Exam                        Comments       no palpable thyroid tissue noted. no abnormal neck masses noted.
 Neck Exam                        Normal                          l11mph nodes - Normal. Cervical lymph nodes - Normal.
                                                Submandibular lymph
 Respiratory                      Normal         Auscultation - Normal. Effort - Normal.
 Cardiovascular                   Normal                  rhythm. No murmurs, gallops, or rubs.
                                                Regular rhythm.
 Abdomen                          Normal        Inspection - Normal. Auscultation - Normal. No abdominal tenderness. No
                                                hepatic enlargement.
 Skin                             Normal                       Normal.
                                                Inspection - Normal,
 Musculoskeletal                  Normal        Visual  overview  of all four extremities is normal.
 Extremity                        Normal        No edema.
 Neurological                     Normal        Cranial nerves - Cranial nerves IIII through XII grossly intact.
                                                                                                         intact DTRs - Normal.
 Psychiatric                      Normal        Orientation
                                                 Orientat'lon - Oriented to time, place, person & & situation. Appropriate mood and
                                                affect.

Assessme11VPlan:
Assessment/Plan:
1.         Thyroid cancer.
2.         Post-surgical
           Post"surgical hypothyroidism,
                         hypothyroidism.
3.         Vitamin D deficiency.
Ms. Spears is a 38-year-old female who was referred here for endocrine follow up of thyroid cancer. I have reviewed the Information
that I have available to me. I have told her that we will be happy to check thyroid levels and a thyroglobulin today. I would like her goal
TSH to be between
             belween about 0.1
                            0.1 and 0.5. We will be happy to work with her to get her levels to a spot where she feels the best,  best If her
Ta
T3 is low we may consider putting her on a low dose of Cytomel,
                                                           Cytomsl. I did tell her that I am not a holistic therapist nor am I a specialist in
any type of infectious disease so if she does want follow up for that issue she will need to speak with her primary care about about referrals.
                                                                                                                                      referrals_
I will also check a Vitamin D level today because she does report a history of having a low Vitamin D.    D We will
                                                                                                                  will get
                                                                                                                       get a
                                                                                                                           a thyroglobulin
                                                                                                                             thyroglobulin panel
                                                                                                                                            panel
as I don't see where she has had one recently. She will be due for a thyroid ultrasound in   In the Spring of
                                                                                                            of2016.                ordered for
                                                                                                               2016, This can be ordered     for
her follow up appointment. I have encouraged her to make sure she establishes with primary care as it seems that there may be some          some
other medical issues going on and we'll mainly be focused on thyroid.

Order thyroid ultrasound
Obtain previous medical records
Check thyroid levels today

The
The total time spent with the patient was 70+ minutes. More than 50%
                                                                 50% of this time was spent counseling
                                                                                            counseling and
                                                                                                       and
coordinating the care for the patient.

Follow-Ui;i Visit:
Follow-Uo   Visit
4 months


Haley Spears DOB: REDACTED Encounter Date: 12/17115
                                           12117115                                   4



                                                                                                                         Liberty002719
                                                                                                                         Uberty002719
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                            8602474194                          ATTY WINONA ZIMBERLN                         PAGE      05/08
                                                                                                                       06/08
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                     Assessment:
        Functional Assessment:
        learning Instructions: Written: No, Verbal: No;
        Learning
        Barrier:    N/A
                    NIA
        Comprehension Level: Written: Yes, Verbal:
                                               Verbal~ Yes;

        Funtional Assessment:       N/A
                                    NIA
        Nutritional Assessment;
                    Assessment        N/A
                                      NIA
        Evidence of Abuse: No
        Patient feels safe in his/her environment.
        Diet: Diet:
                Diet regular diet.
                             diet

Document Generated by: Lisa Wisby 12/18/2015

I, Lisa Wisby, am transcribing for Mary
I,                                 MafY Melissa Albritton MD on 12/18/2015 at 2:18 PM

I, Mary Melissa Albritton MD, personally performed the services described in this documentation, as transcribed by Lisa
I,
Wisby, and it is both accurate and complete.



Electronically signed by Mary                                    12:41 PM
                         MafY Melissa Albritton MD on 12/21/2015 12:41




Haley Spears DOS: REDACTEDEncounter
                  REDACTEDEncounter Date: 12/17/15
                                          12/17115



                                                                                                       Liberty002720
                                                                                                       Liberty002720
01/11/2015
01/11/2016     15:55
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                           8602474194                               ATTY WINONA ZIMBERLN                                 PAGE     07/08
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                                                                                Page   of22


   Endocrine Specialists                                        Spears, Haley
   2449 Hospital Drive                                                               #190
                                                        9000 West Wilderness Way 41190
   Bossier City, LA, 711111914                               Shreveport, LA,  71106
                                                                         LA . 7l,106
                                                              Person #: 1049779
                                                                        l.049779
                                                                    Sex; FF
                                                                    Sex:
                                                               DOB: REDACTED

   Ordering: Albritton MD, Mary Melissa       Performing#:
                                              Performing It: Meditech                  Location: WK Endocrine Specialists
   Tests Ordered
          Ordered:: Thyroid Stimulating Hormone (TSH), Thyroglob"lin  P•nel Tumor Mrk (THYROGLOBPNL),
                                                       Thyroglobulin Panel            (THYROGLOBPNl), T3 Free (T3FREE), T4 Fre
   e (T4
   e (T4FREE),
         FREE), Vitamin D Total (25-OH)
                                (25-0H) (VITAMIN())
                                        (VITAMIND)


   Thyro Tumor MrkjCollectIon
               Mrk (Collection Date: 12/17/2015 11:01, Status: Final}
                                                               Fin•ll



                                                                                                           ·i.n the context
                                                                                              interpreted. In       contG:1xt
                                          of TSH    l~vels,     aerial Tq measurements    radioiodinc
                                                                                  nts and radiolodine
                                          ablation  st~tll:J,
                                          ablation statue,    Tg 112velc1 of 0.1 -2.0
                                                                                 .. 2.0 ng/mr.
                                                                                        ng/mr. In
                                                                                                \.n athyrotic
                                                                                                    athyrotic
                                          individuals on suppressive
                                          individuals                       rapy indicate a low risk  risk of
                                                       detectable recurrent papillary/foUjcular   icular thyroid



                                          - -- --- - -- --- - --- ---,'\DDI TI QNl\1 INFORMATION
                                                                       100ITIuNAL    IN FORMA'l' ION- - -- - -- - - - - -- -- - - --
                                                              Thyroglobulin flagging is
                                                     NOT~: Thyroglebuiln
                                          PLEASE NOTE:                                      is based on athyrotic
                                                                                                                athyrotic
                                          reference vaJ.ues.
                                                         values.

                                              thyroglobulin and thyroulobulin
                                          The thyrboichulin          thyroglobulin antibody testing
                                                                                                testing
                                                                             a.ssays manufactured.
                                                       imrnunoenz~/:rtlat.ic assays
                                          methods are immunconzymatio                manufactured by Deokman
                                                                                                      Beckman
                                                  Inc. and performed on the Unicel
                                          Coulter Inc.                              Unicel. DXI
                                                                                            DXI 800.

                                                           from different
                                          Values obtained from  different assay methods or kits
                                                                                           kits
                                          may be different  and cannot be used interchangeably.
                                                 different and                 interchangeably.

                                              results cannot be interpreted
                                          The results           interpreted as absolute evidence
                                                                                   disease.
                                          for the presence or absence of malignant disease.

                                                Pe:rformed by:
                                          Test Performed
                                          Mayo Clinic
                                                Clinic Laboratories
                                                           Laboratories - ROOhester
                                                                             Rochester Superior Drive
                                                                                                  Drive
                                          200 first
                                              lr.i.:tst Street    sw, Rochester,
                                                        StrG:iGJt SW, Rocl1G1ster., MN 55905
                                          Laboratory
                                          Laboratr.Yry Director:
                                                         Director: William G. Morice,
                                                                                    Morice, lI, M.D.
                                                                                                M.D.,, Rh
                                                                                                       Ph. D.
                                                                                                           IJ.
   Thyro Tumor 1,1
               l.l      ng/ml H
                        ng/mLH     II
   Mrk                                                                 REFERENCE VALUE
                                          - ---- --- - - - - --- -- - -REFERENCF. VALUE-- - -- - -- - - - - -- --- - -- ---- --
                                          A thy.~ot i c <0.1
                                          Athyrotic      <O .1
                                          Intacc Thyroid <=33
                                          Intact

   Thyroglob, Ab <1.8
   Thyroglob.           IU/mL
                        Ill/mL     <4.0

   Vitamin D
           D 25-OH
             2S·OH (Collection Date: 12/17/2015 11:01,
                                                11:01. status:
                                                       Status: Final}
                                                               Final!
   Component     Result Units Flag Range Comment
   Vitamin D 25- 41.2   ng/mL
                        nemL       30.0· Adult Vitamin
                                   30,0-                   D Status
                                               V.1 1- amin D status                      Range
                                                                                         Range
   OH
   0H                              100,0
                                   100.0
                                                                                                ng/mL
                                                                                            <20 ng/mI,



   Patient: Spears, Haley
   Patient:         Haley,, DOB:
                            DOB: REDACTED




                                                                                                                 Liberty002721
                                                                                                                 Liberty002721
                                                                      ATTY WINONA ZIMBERLN
                                                                      ATTY                                            PAGE      08/08
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01/11/2015
01/11/2016     15:55
               16:55
                Case        8502474194
                            8602474194
                         3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 446 of 501    of2
                                                                                     Page 2 of 2


                                                       * Insufficiency
                                                       *  Ina:u Fficiency                 20-30 isg/ml,
                                                                                          20-3D  ng/mL
                                                          Suf1::tciency
                                                       ~· Sufficiency
                                                       *                                  30-lOO ag/mL
                                                                                          30-100  ng/mL

                                               As      10/16/1. 1~, the Vitami
                                               As of 10/1671'i,          Vitamin D Total'l'otal atdey
                                                                                                as;;;JGJ.J.< has been
                                                                 1~0 he
                                               standat·diz<::::d to
                                               standardizad          be in alignment;:.
                                                                                      nt with the  th~ ID-LC/MS/MS
                                                                                                            ID-LC/~;;;/MS 25(06)
                                                                                                                          25 (OH)
                                               Vitamj.n D
                                               Vitamin       r~fl8r~nce moasur
                                                          D refore:we    mG1ar~1.i.rem~nt  fJrocr::dure.
                                                                                      nt procedure.

                               12/17/2015 11:01, Status: Final)
             (Collection Date: 12/17/2015
    T4 Free iCollection

    Component                                                Result   Units        Flag     Range                 Comment
    T4 Free                                                  1.20
                                                             1,20     ng/dL
                                                                      ng/d1                 0.8-1.5

    T3 Free (Collection        12lPl2015 11:01,
            !Collec:tlon Date: 12117/2015        ~tatus: Final)
                                          ll:Ol, Status:
    Component                                                Result   Units        Flag     Range
    T3 Free                                                  2.60     pg/ml
                                                                      pttirni.              2.00·3.60
                                                                                            2.00.3,60

    TSH ('ollection       12£17[201511:01,
         Collection Date: 12117/2015 11:01, Status: Final)

    Component
    Cornponent                                               Result   Units        Flag     Range
                                                                                            Rance                 Comment
    TSH                                                      3.950    ulU/mL                0.370-4.550




                                        REDACTED
    Patient:
    Patic11t; Spears, Haley
                      Hai<;y , DOB: Fa'




                                                                                                                Liberty002722
                                                                                                                Liberty002722
01/12/2015
01/12/2016   17:03
             17:03      8502474194
                        8602474194                         ATTY WINONA ZIMBERLN                             PAGE      01/01
                                                                                                                      01/01
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 447 of 501

                                          Zitnberlin Law LLC
                                          Zimberlin
                                          267 Main Street II Manchester,
                                                             l\fanchester, CT 06042
                                          (p) 860383. 5999 II (0
                                              860.783.5999     (f) 860.7815996
                                                                   860.783.5996
                                          www.zimberl inlaw.corn
                                          www.zimberlinlaw.com

      Winona W.
              4V, Zimberlin                                                                  13y sppointmcnt only:
                                                                                             By appointment
      Russell D. Zimberlin                                                                   I!afford
                                                                                               Tartford Office
                                                                                             22 Congress
                                                                                                Congrcst\ Street
                                                                                              Honfor<I.     06114
                                                                                              Hanford, CT 061    14


                                                             20 I 6
                                                 January 12, 2016


      Facsimile: 1-603-422· 7909, 11 page
                  -603-422-7909,

      Nancy Winterer
      Appeals Review Consultant
      .Appeals
      Liberty Life Assurance Company of Boston
      100 Liberty Way
      Mail Stop 02G
      Dover, NH 03820

      Dear Ms. Winterer:

              RE: T-Taley
                   Haley Spears
              DOB: REDACTED


      This will confirm our discussion today that we would like Liberty to make a decision regarding
      Ms. Spears' disability claim. In the event that Liberty reinstates her benefits, we reserve the right to
      add additional documents to the record. As we indicated, Ms. Spears is currently pursuing medical
      treatment.

      Thank you.
                                                                      Very truly yours,
                                                                                 you.rs,


                                                                      '.ii~~ttC@
                                                                         .....
                                                                             Zimberlin
                                                                      Winona Zimberlb:i

      wwz
      WWZ




                                                                                                   Liberty002723
                                                                                                   Liberty002723
          Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 448 of 501


                                                                                                Liberty Life
                                                                                                Liberty Life Assurance
                                                                                                             Assurance Company
                                                                                                                        Company ofof Boston
                                                                                                                                     Boston
                                                                                                Group
                                                                                                Group Benefits  Disability Claims
                                                                                                       Benefits Disability Claims
               Liberty-                                                                         P.O. Box
                                                                                                P.O.      7213
                                                                                                     Box 7213
                                                                                                London, KY
                                                                                                London,  KY 40742-7213
                                                                                                             40742-7213
               MutuaL                                                                           (888)
                                                                                                Secure
                                                                                                      437-7611
                                                                                                (888) 437-7611
                                                                                                Secure Fax
                                                                                                        Fax No.:
                                                                                                            No.: (603)
                                                                                                                 (603) 334-5708
                                                                                                                       334-5708
                   INSURANCE


  Date: January 12,
  Date: January     2016
                12, 2016

  To:
  To:        WINONA ZIMBERLIN
             WINONA   ZIMBERLIN
             ATTORNEY AT
             ATTORNEY   AT LAW
                           LAW
             267 MAIN
             267 MAIN STREET
                      STREET
             MANCHESTER CT
             MANCHESTER   CT 06042
                             06042


  Attn:
  Attn:




  Fax:
  Fax:       (860) 247-4194
             (860) 247-4194

  From: Nancy
  From:        Winterer
        Nancy Winterer
        Appeal Review
        Appeal          Consultant
                Review Consultant
        Phone
        Phone No.:  (888) 437-7611
               No.: (888) 437-7611
        Secure Fax
        Secure Fax No.:  (603) 334-5708
                    No.: (603) 334-5708

  Total Pages
  Total Pages
  (Including Cover):
  (Including Cover):               2
                                   2

  RE:
  RE:

  Claim #:
  Claim     REDACTED
        #: REDACTED
  Claimant: Haley
  Claimant: Haley Spears
                  Spears

  UTC Choice
  UTC Choice




This fax,
This       and any
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                   confidential information.
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error,
error, please notify me
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       Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 449 of 501


                                                                Liberty Life
                                                                Liberty Life Assurance
                                                                             Assurance Company
                                                                                        Company ofof Boston
                                                                                                     Boston
                                                                Group
                                                                Group Benefits  Disability Claims
                                                                       Benefits Disability Claims
             Liberty-                                           P.O. Box
                                                                P.O.      7213
                                                                     Box 7213
                                                                London, KY
                                                                London,  KY 40742-7213
                                                                             40742-7213
             MutuaL                                             Phone No.:
                                                                Phone  No.: (888)
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                                                                            (888) 437-7611
                                                                        Fax No.:
                                                                                  437-7611
                                                                            No.: (603) 334-5708
                                                                                 (603) 334-5708
              INSURANCE



January 12,
January 12, 2016
            2016

Winona W.
Winona  W. Zimberlin
            Zimberlin
Attorney At
Attorney At Law
            Law
267 MAIN
267 MAIN STREET
           STREET
MANCHESTER, CT
MANCHESTER,      CT 06042
                     06042

RE:
RE:    Long Term Disability
       Long Term  Disability (LTD)
                             (LTD) Benefits
                                   Benefits
       UTC Choice
       UTC  Choice
       Claim #:
       Claim    REDACTED
             #: REDACTED
       Claimant: Haley
       Claimant: Haley Spears
                       Spears

Dear Winona
Dear Winona Zimberlin:
            Zimberlin:

This note
This      is in
     note is in follow up to
                follow up to our
                             our telephone
                                 telephone discussion
                                           discussion this
                                                      this afternoon.
                                                           afternoon.

For your
For  your information,
          information, regarding
                        regarding the
                                   the requested
                                        requested treatment
                                                  treatment records
                                                             records from
                                                                     from all
                                                                          all 27
                                                                              27 physicians
                                                                                  physicians Ms.
                                                                                              Ms. Spears
                                                                                                   Spears
listed on
listed  on the
           the September
                September 8,8, 2015
                                2015 Claimant
                                       Claimant Information
                                                  Information Form,
                                                                Form, as
                                                                       as outlined
                                                                          outlined in
                                                                                    in our
                                                                                       our letter
                                                                                             letter dated
                                                                                                    dated
December 10,
December        2015, no
            10, 2015,     response has
                      no response    has been
                                         been received
                                               received from   Dr. Donaldson
                                                        from Dr.              (although his
                                                                   Donaldson (although   his January
                                                                                             January 20,
                                                                                                      20,
2009 consultation
2009   consultation note is on
                    note is on file), from Lori
                               file), from       Fitts, MD,
                                            Lori Fitts, MD, nor
                                                             nor from  Gaurab Basu,
                                                                 from Gaurab   Basu, MD.
                                                                                      MD. TheThe records
                                                                                                  records
from Taliarini
from  Taliarini Chiropractic
                Chiropractic were
                             were received   from your
                                   received from   your office
                                                        office on
                                                               on December
                                                                  December 22,
                                                                            22, 2015.
                                                                                 2015.

II apologize
   apologize this
             this information
                  information was
                              was not
                                  not readily available at
                                      readily available at the
                                                           the time
                                                               time of
                                                                    of our
                                                                       our discussion.
                                                                           discussion.
If you have
If you have any
            any questions regarding this
                questions regarding this matter,
                                         matter, please contact me.
                                                 please contact me.

Sincerely,
Sincerely,

Nancy  Winterer
Nancy Winterer
Appeal Review
Appeal          Consultant
        Review Consultant
Phone
Phone No.:  (888) 437-7611
       No.: (888) 437-7611 Ext.
                            Ext. 16401
                                 16401
Secure Fax
Secure Fax No.:  (603) 334-5708
            No.: (603) 334-5708




                                                1 of 11
                                                1 of                                            Liberty002725
                                                                                                Li berty002725
01/04/2016
01/04/2015 16:35
            15:35    8602474194
                     8502474194               ATTY WINONA ZIMBERLN              PAGE 01/02
                                                                                     01/02
           Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 450 of 501

                                      Winona W. Zimberlin
                                             Attorney At Law
                                            2 Congress Street
                                         Hartford, CT 06114-1024


                                         Telephone (860) 249-5291
                                         Facsimile (860) 247-4194

                                           December 28, 2015



                           1-603-422-7909. 2 pages.
     Facsimile: Facsimile: 1-603-422-7909,   pages.

     Nancy Winterer
     Appeals Review Consultant
             Lifo Assurance Company of Boston.
     Liberty Life                      Boston
     100 Liberty Way
     Mail Stop 02G
     Dover, NH 03820

     Dear Ms. Wioterer:
              Winterer:

            RE:    Haley Spears
                   DOB:
                   DOB: REDACTED

            Please be advised that our office is moving to Manchester, CT. Please see the attached for
     our new address and telephone numbers. Thank you.

                                                                Very truly yours,



                                                                Winona W. Zimberlin

     WWZ:rlc
     WWZ:rle
     Enclosure




                                                                                          Liberty002726
01/04/2015
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                        8602474194                   ATTY WINONA ZIMBERLN                    PAGE      02/02
                                                                                                       02/02
             Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 451 of 501




              We have moved to:



                                     Zimberlin Law LLC
                                     267 Main Street II Manchester, CT 06042
                                     (p) 860.783.5999] (0
                                      p) 860.78159991    (f) 860.783.5996


                  Zimberl in
      Winona W. Zimb¢rlin                                                      Hy
                                                                               A.y appointment only
                                                                                               only:
      Russell D. Zimberlin                                                     H~rt~'ord Office
                                                                               Hartford
                                                                               2 Congress
                                                                                 Congr.:::ss Street
                                                                                             Strc~t
                                                                               Hsrl~cl. CT 06114
                                                                               Hartford,




                                                                                   Liberty002727
                                                                                   Liberty002727
                                             ATTY WINONA ZIMBERLN             PAGE 01/U2
                                                                                   01/02
12/28/2015 16:25
           15:25    8602474194
                    8502474194
            Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 452 of 501

                                       Winona W. Zimberlin
                                              Attorney At Law
                                             2 Congress Street
                                          Hartford, CT 06114-1024


                                          Telephone (860) 249-5291
                                          Facsimile (860) 247-4194
                                                          24 7-4194

                                            December 28, 2015



      Facsimile.· Facsimile: 1-603-422-7909.
      Fac                      603-4227909 2 pages.

      Nancy Winterer
      Appeals Review Consultant
      Liberty Life Assuranc.e
                   Assurance Company of Boston
        00 Liberty Way
      I100
      Mail Stop 02G
      Dover, NH 03820

      Dear Ms. 'Vinterer:
               Winterer:

             RE:    Haley Spears
                    DOB: REDACTED

             Please be advised that our office is moving to Manchester, CT. Please see the attached for
      our new address and telephone numbers. Thank you.

                                                                 Very truly yours,
                                                                 ('fY  17/
                                                                 .IXJ.AP'-
                                                                  Winona W. Zimberlin
                                                                            Zirnberlin

      WWZ:rlc
      Enclosure




                                                                                            Liberty002728
                     Case 3:11-cv-01807-VLB Document 142-3 ZIMBEKLN              PAGE
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                                                                                   of 501
                                                        ATTY
                                                        ATTY WIHOHA
                                                             WINONA ZIMBERLH
                       8602474194
                       85024741 '34
12/28/2015
12/28/2015   16:25
             15:25




             We are moving 12/29/15
                           12/29/15 to:



                                      Zimberlin Law LLC
                                      Zimberlin
                                      267 Main Street Ij Manchester, CT 06042
                                          860.783.5999 j (t) 860,247,4194
                                      (p) 860.783,59991(f)   860.247.4194


     Winona W. Zimberlin                                                        By appointment only:
     Russell D. Zimberlin                                                       Hartford Offioo
                                                                                          Office
                                                                                2 Congrcs'
                                                                                  Congress Street
                                                                                Hartfurd, Cr
                                                                                Hartford,     06l 14
                                                                                          Cf()61t4




                                                                                             Liberty002729
                                                                                             Liberty002729
     Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 454 of 501
                                  Winona W. Zimberlin
                                         Attorney At Law
                                        2 Congress Street
                                     Hartford, CT 06114-1024


                                     Telephone (860) 249-5291
                                     Facsimile (860) 247-4194

                                       December 17, 2015




Nancy Winterer
                                                                   l
                                                               ~ llll~ (\11
                                                               C_Lainci
Appeals Review Consultant                                         95       06 39 I
                                                                  () Cj CO39
Liberty Life Assurance Company of Boston
100 Liberty Way
Mail Stop 02G
Dover, NH 03820

Dear Ms. Winterer;
         Winterer:

       RE:     Haley Spears
               DOB: REDACTED

        Please find enclosed medical records from Tag,liarini
                                                     Tagliarini Chiropractic, PC. Please be advised
that I will forward any additional records received to your attention. Thank you.

                                                            Very truly yours,

                                                             r{;Y()o/
                                                            ~~imberlin
                                                              ona W. Zimberlin

WWZ:rlc
Enclosure




                                                                                       Liberty002730
                  Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 455 of 501
                                                                                Tagliarini Chiropractic,PC
 Chart Notes                                                                    836 Farmington Ave. #229
 Haley Spears                                                                   West Hartford, CT 06119
                                                                                Phone: 860-236-2225
                                                                                Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol
                                                       Pol## NONE              Insured     REDACTED
    Date 01/30/2012
    Provider Dr. John Taqlianni
                      Taqliarini, D C..
                                  D.C

           Subjective:
           Haley presented today for a consulation and examination. Haley complained of shoulder,
           cranial and cervical discomfort that is localized. Haley's discomfort has been present for the
           past three and a half years and is most noticeable during the day and in the afternoon. The
           symptoms become aggravated by: holding phone, movement of shoulders, hands typing on
           computer, postions with head tilted, and motion of neck. The symptoms are reduced by:
           medication, accupuncture, natural pain patches, TENS machine, applying heat to the
           involved area, resting and massage. The discomfort was described as sharp, shooting and
           burning and has been frequent (comes and goes). Haley has seen another chiropractor, a
           medical doctor and a physical therapist so far for her current symptoms and has had X-rays,
           an MRI (neck and brain, 9/08, 10/08, 1/08, 6/08, 6/09, 6/10, and 8/11),
                                                                               8/11 ), spinal tap, blood test,
           ultra sound and a CT scan previously done. On a scale of 0 to 10 with 10 being the worst,
           she described the intensity of the discomfort as being a range 5 to 10. She has tried pain
           medication, muscle relaxers, heat, Injections and physical therapy to alleviate the pain so far.far.
           She reported the origin of her discomfort to be tick borne diseases. She noted that the
           following activities are affected by her symptoms: social life, church, work, walking, sleeping,
           running, driving/riding in a car, house work and exercising.

           Haley reported that she also has the following current conditions: upper back pain, mid back
           pain, lower back pain, shoulder pain, wrist pain, hand pain, knee pain , ankle pain, foot pain,
           joint swelling/stiffness, fatigue, ringing in the ears (tinnitus), visual disturbances, nausea, loss
           of appetite, asthma, seasonal allergies, absent seizures and hypothyroid.

           Haley reported that she has had the following conditions in the past: headaches, lower back
           pain, elbow pain, wrist pain, hand pain, knee pain , ankle pain, foot pain, jaw pain/TMJ, joint
           swelling/stiffness, dizziness, reflux, abnormal weight gain, abnormal weight loss,
           constipation, ulcers, chronic sinusitis, excessive thirst, excessive urination, anxiety, frequent
           illness, epilepsy, hot flashes, birth control pills and painful periods/cramps.

           Haley reported that she was sepsis in 2008 and has had a colonoscopy and endoscopy.

           Haley also reported that she was in an auto accident.

           Objective:
           Haley is a 34 year old female who today would be described as; alert and oriented in person,
           place and time. Haley's vital signs were taken. Her blood pressure was; 113/ 78 mmHg. Her
           pulse measured 73. She is 5'5.5" tall. She weighs 129.2 pounds.

           Manual, subjectively rated strength tests were performed on some of the major muscle
           groups of the upper extremities, based on the AMA Guides to the Evaluation of Permanent
           Impairment, 4th Ed., 1993/5th ed., 2001. A rating scale of five to zero is used, five being
Printed:     Wednesday, December 16, 2015 5:18:06 PM                                                   1 Of
                                                                                                  Page 1      63
                                                                                                    Liberty002731
                                                                                                    Liberty002731
                  Case 3:11-cv-01807-VLB Document 142-3 Filed 11/16/18 Page 456 of 501
                                                                                 Tagliarini Chiropractic,PC
 Chart Notes                                                                     836 Farmington Ave. #229
 Haley Spears                                                                    West Hartford, CT 06119
                                                                                 Phone: 860-236-2225
                                                                                 Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       POI # NONE               Insured     REDACTED

    Date 01/30/2012
    Provider Dr. John Tagliarini,  p.c.
                      Taqliari11i, D.C.                                     ••• continued from previous page
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                                                                                                        pa11e ***
           normal. Muscle strength losses of the upper extremities indicate new logical facilitation
                                                            S/S reveals a decrease in normal bilateral
           resulting from, to the cervical spine. Less than 5/5
           muscle strength indicative of subluxation based neurological dysfunction. The areas that
                                                                             (CS), elbow flexors (C5,6)
           tested weak during the examination include: shoulder abductors (C5),                   (CS,6)
           and elbow extensors (C7). These muscles were rated at a grade 3 out of 5   S on the right.

           Active cervical ranges of motion were within normal limits.

           Stiffness was noted by the patient in the following active ranges of spinal motion: cervical
           flexion, cervical extension, cervical left rotation, cervical right rotation and cervical right lateral
           flexion.

           Haley tested negative for Dejerine's Triad. A positive test is when the patient's pain
           increases when she coughs, sneezes or bears down and indicates a space occupying lesion,
           most commonly a herniated or protruding interevrtebral disc.

           The Cervical Distraction Test was negative. This test is performed seated with the patient's
           head in a neutral position. The doctor then lifts the patient's head. A decrease in pain upon
           distraction is a positive test and indicates nerve root compression and/or facet capsulitis.

           Foramina'
           Foraminal Compression Test was positive bilaterally. A Foramina'
                                                                     Foraminal Compression test was
           performed on this patient in order to localize the cervical pain. Downward pressure was
           applied to the top of the head while the patient's head was rotated towards the side of
           complaint. The test is then performed on the opposite side. A positive test indicates
           foramina!
           foraminal encroachment or nerve root compression.

           Palpation revealed tenderness in the following areas; bilateral upper cervical area, bilateral
           upper thoracic area, bilateral mid thoracic area and bilateral lumbar area.

           Palpation of the muscles revealed spasm in the following areas; bilateral cervical area,
           bilateral upper thoracic area and bilateral mid thoracic area.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C5,
                                             CS, T3 and T7.

           Assessment:
           Haley's prognosis is good at this time.

           Plan:
           I've advised Haley that it is necessary to see her 2x per week for 6 weeks. The objective
           during this time will be to correct subluxation, correct postural distortions, decrease muscle

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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient:Spears, Haley                             DOB: REDACTED
                                                                                                REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                     Insured

    Date   01130/2012
           01/30/2012
              Or; :John
    Provider Dr.        Tapliarini, D.C.
                  John Tagiiarini   O.C.                                         ••• continued                       "**
                                                                                                from previous page ***
                                                                                     continue.dfrol11
           spasm, increase flexibility, reduce adhesions, increase joint mobility, restore biomechanical
           integrity, improve range of motion and to improve the patients daily functional capacity. To
           accomplish this, we will be performing low-force manipulation to correct subluxation and
           increase joint mobility. After this 6 week time frame, a re-examination will be performed to
           monitor the patients
                        patient's progress and determine the need for further care.

           Haley was given the following applicable patient education handouts at today's visit: Icing
           Instructions. Cold packs were prescribed to Haley for use 12-15 minutes at a time to reduce
           inflammation, swelling and discomfort in the affected area.

           Diagnosis     739.1: Cervical Interseg.
                                         lnterseg. Somatic Dysfunction, 739.1
                                                                        739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                         Liberty002733
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                                                                              Tagliarini Chiropractic,PC
 Chart Notes                                                                  836 Farmington Ave. #229
 Haley Spears                                                                 West Hartford, CT 06119
                                                                              Phone: 860-236-2225
                                                                              Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       Pol # NONE            Insured
                                                                                        REDACTED
    Date   02/23/2012
              Dr. John Tagliarini,
    Provider Dr.       taglfarini, D.C.
                          '
           Subjective:
           Haley sought treatment today complaining of constant tightness and throbbing discomfort in
           the upper back. She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with movement and
           prolonged sitting. The discomfort was reported to decrease with rest, medication and heat.

           Haley also complained of constant tightness and throbbing discomfort in the back of the
           neck. She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to increase with movement and prolonged sifting.sitting.
           The discomfort was reported to decrease with rest, medication and heat.

           Haley also complained of constant sharp, tightness and throbbing discomfort in the right
           trapezius. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with movement and
           prolonged sifting.
                      sitting. The discomfort was reported to decrease with rest, medication and heat.

           Haley also complained of constant sharp, tightness and throbbing discomfort in the left
           trapezius. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with movement and
           prolonged sitting. The discomfort was reported to decrease with rest, medication and heat.

           Haley also complained of frequent aching and tightness discomfort in the mid back. She
           rated the intensity of discomfort as a level 6 on a scale of 1
                                                                        1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with movement and prolonged sifting.sitting. The
           discomfort was reported to decrease with rest and medication.

           Haley also complained of frequent aching and tightness discomfort in the low back. She rated
           the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to increase with movement and prolonged sifting.
                                                                                      sitting. The
           discomfort was reported to decrease with rest and medication.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C5, T3 and T7.

           Assessment:
           Haley's prognosis is good at this time.
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                                                                                                  Liberty002734
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                                                                                      Tagliarini Chiropractic,PC
Chart Notes                                                                           836 Farmington Ave. #229
Haley Spears                                                                          West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient:    Spears, Haley                         DOB: REDACTED
                                                      Pol#
                                                      Pol # NONE                     Insured
                                                                                               REDACTED
    Ins Co Medicare CT

    Date   02/23/2012
    Providers
    provider Dr. John Tani  anniD.C.
                      Tai;iliarini; D.C.                                         •••           from previouspage***
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           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return twice a week.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                          Liberty002735
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                                                                             Tagliarini Chiropractic,PC
Chart Notes                                                                  836 Farmington Ave. #229
Haley Spears                                                                 West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

    Patient:     Spears, Haley                         DOB: REDACTED
                                                       Pol#                 Insured
                                                                                      REDACTED
    Ins Co Medicare CT                                 POI # NONE

    Date   02/28/2012
    Orovider
    Provider Dr. Jessica TagliariniD.C.
                         Tas,iiarini, b.C.

           Subjective:
           Haley sought treatment today complaining of constant tightness discomfort in the right
           trapezius. She rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to decrease with rest, chiropractic care
           and medication.

           Haley also complained of constant aching and tightness discomfort in the back of the neck.
           She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of constant tightness discomfort in the mid back. She rated the
           intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of constant dull and throbbing discomfort in the buttocks. She rated
           the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley noted immediate relief after her last treatment followed by a short period of soreness.



           Objective:
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           Intersegmental
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: right C1, C2, C5, C6, T3, T7, T12 and right pelvis.

           Joint dysfunction was found bilaterally at the T1
                                                          T1 sternocostal junction. This was accompained
           by fixation, point tenderness at the site as well as the belly of the anterior scalene
           musculature. By adjusting the ribs anterior to posterior, pressure and tension is relieved at
           the anterior scalenes decreasing muscle spasm, and increasing ROM of the joint.

           Assessment:
           Haley's prognosis is good at this time. Haley reported feeling better after the treatment.

           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return twice a week.
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 Chart Notes                                                                         Tagliarini Chiropractic,PC
                                                                                     836 Farmington Ave. #229
 Haley Spears                                                                        West Hartford, CT 06119
                                                                                     Phone: 860-236-2225
                                                                                     Fax: 860-231-0077

    Patient: Spears, Haley                           DOB: REDACTED
    Ins Co Medicare CT                               Pol
                                                     Pol## NONE                     Insured
                                                                                              REDACTED
    Date   02/28/2012
                         Tagliarini, D
    Provider Dr. Jessica Tagliarini  D;C.
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           Diagnosis    739.1: Cervical Interseg.
                                        lnterseg. Somatic Dysfunction, 739.1
                                                                       739.1
                                            723.1
                        723.1: Cervicalgia, 723.1
                        739.2: Thoracic Interseg.
                                         lnterseg. Somatic Dysfunction, 739.2




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                                                                                                        Liberty002737
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 Chart Notes                                                                  Tagliarini Chiropractic,PC
                                                                              836 Farmington Ave. #229
 Haley Spears                                                                 West Hartford, CT 06119
                                                                              Phone: 860-236-2225
                                                                              Fax:
                                                                              Fax:860-231-0077
                                                                                   860-231-0077

    Patient: Spears, Haley                             DOB: REDACTED
    Ins Co Medicare CT                                 Pol
                                                       Pol## NONE            Insured   REDACTED
    Date 03/01/2012
    Provider Dr. John Tagliarini,
    Providers         Tagiiarini, D.C.
                                 '
           Subjective:
           Haley sought treatment today complaining of constant dull and aching discomfort in the
           buttocks. She rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being
           the most severe. The discomfort was reported to decrease with chiropractic care.

           Haley also complained of frequent dull and aching discomfort in the back of the right hip. She
           rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care.

           Haley also complained of constant sharp, aching, lightness
                                                               tightness and throbbing discomfort in the
           right trapezius. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to decrease with rest, chiropractic care,
           medication, ice and heat.

           Haley also complained of constant sharp, aching and tightness discomfort in the left
           trapezius. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with applied pressure. The
           discomfort was reported to decrease with rest, chiropractic care, medication and ice.

           Haley also complained of constant dull and aching discomfort in the upper back. She rated
           the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to increase with applied pressure. The discomfort was reported
           to decrease with rest, chiropractic care, medication, ice and heat.

           Haley also complained of constant aching, lightness
                                                       tightness and throbbing discomfort in the back of
           the neck. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being
                                                                                      1to10
           the most severe. The discomfort was reported to increase with applied pressure. The
           discomfort was reported to decrease with rest, chiropractic care, medication, ice and heat.

           Haley also complained of frequent dull, aching and throbbing discomfort in the mid back. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with applied pressure. The discomfort was
           reported to decrease with rest, chiropractic care, medication, ice and heat.



           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient: Spears, Haley                            DOB: REDACTED
    Ins Co Medicare CT                                Pol
                                                      Pol## NONE                     Insured
                                                                                               REDACTED
    Date   03/01/2012
                 Jol)nTa~iiarini,
    Provider Dr. John  Tagliarini D.C.                                               continued from previous
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                                                                                                     prelfious page •••
           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: right C1, C2, C5,         T?, T12 and right pelvis.
                                                           CS, C6, T3, T7,

           Joint dysfunction was found bilaterally at the T1
                                                          T1 sternocostal junction. This was accompained
           by fixation, point tenderness at the site as well as the belly of the anterior scalene
           musculature. By adjusting the ribs anterior to posterior, pressure and tension is relieved at
           the anterior scalenes decreasing muscle spasm, and increasing ROM of the joint.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return twice a week.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                         Liberty002739
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 Chart Notes                                                                 Tagliarini Chiropractic,PC
                                                                             836 Farmington Ave. #229
 Haley Spears                                                                West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

     Patient:    Spears, Haley                        DOB: REDACTED
                                                      DOB:
    Ins Co Medicare CT                                Pol
                                                      Pol## NONE            Insured   REDACTED
    Date 03/06/2012
    Provider Dr. Jessica Tagiiarini,
                         ta!!iiarini, D.C.

           Subjective:
           Haley sought treatment today complaining of constant dull and tightness discomfort in the
           back of the neck. She rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with
           10 being the most severe. The discomfort was reported to decrease with rest, chiropractic
           care, medication, ice and heat.

           Haley also complained of constant dull and tightness discomfort in the right trapezius. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care, medication, ice
           and heat.

           Haley also complained of constant dull and tightness discomfort in the left trapezius. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care, medication, ice
           and heat.

           Haley also complained of constant dull and tightness discomfort in the upper back. She rated
           the intensity of discomfort as a level 4 on a scale of 1 to 10
                                                                       1O with 10
                                                                               1O being the most severe.
           The discomfort was reported to decrease with rest, chiropractic care, medication, ice and
           heat.



           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: right C1, C5,
                                                       CS, C6, T3 and T6.

           Joint dysfunction was found bilaterally at the T1
                                                          T1 sternocostal junction. This was accompained
           by fixation, point tenderness at the site as well as the belly of the anterior scalene
           musculature. By adjusting the ribs anterior to posterior, pressure and tension is relieved at
           the anterior scalenes decreasing muscle spasm, and increasing ROM of the joint.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                     Insured   REDACTED
    Date   03/06/2012
     rovider > Dr.
    Provider
    P                      Ta!:fliarini, b,c.
               br. Jessica TagiiariniD.C.                                        ••• confirmed
                                                                                     continued from          pa~e •••
                                                                                               from previous page
           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return twice a week.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739,1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                         Liberty002741
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 Chart Notes                                                                       Tagliarini Chiropractic,PC
                                                                                   836 Farmington Ave. #229
 Haley Spears                                                                      West Hartford, CT 06119
                                                                                   Phone: 860-236-2225
                                                                                   Fax: 860-231-0077

    Patient: Spears, Haley                             DOB: REDACTED
                                                                                             REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       Pol # NONE                 Insured
    Date 03/15/2012
    Provider
    .Provider Dr.
              br. John tagiiarini
                       Tagliarini, D.C.

           Subjective:
           Haley sought treatment today complaining of constant aching and tightness discomfort in the
           right trapezius. She rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to decrease with rest, chiropractic care
           and medication.

           Haley also complained of constant aching and tightness discomfort in the left trapezius. She
           rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of intermittent dull and aching discomfort in the buttocks. She rated
           the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to decrease with chiropractic care.

           Haley also complained of constant aching and tightness discomfort in the upper back. She
           rated the intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of constant tightness discomfort in the back of the neck. She rated the
           intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest, chiropractic care and medication.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints. Multiple subluxations with spasm, hypomobility and end point
           tenderness were found and adjusted at the following levels: right C1, left C5, T3, T8
                                                                                              TB and
           right pelvis.

           Assessment:
           Haley's condition is showing improvement as anticipated.

           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a week.

           Diagnosis     739.1: Cervical Interseg.
                                          lnterseg. Somatic Dysfunction, 739.1
                                                                         739.1
                         723.1:
                         723. 1: Cervicalgia, 723.1
                                               723. 1
                         739.2: Thoracic Interseg.
                                           lnterseg. Somatic Dysfunction, 739.2



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 Chart Notes                                                              Tagliarini Chiropractic,PC
                                                                          836 Farmington Ave. #229
 Haley Spears                                                             West Hartford, CT 06119
                                                                          Phone: 860-236-2225
                                                                          Fax: 860-231-0077

    Patient:    Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE          Insured
                                                                                    REDACTED
    Date 03/15/2012
    Provider Dr. John Tagliarini,
                      Ta11liarini, D C o.c.                          ***continued frdm,previous
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                                                                                             Liberty002743
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 Chart Notes                                                                 Tagliarini Chiropractic,PC
                                                                                 Fannington Ave. #229
                                                                             836 Farmington
 Haley Spears                                                                West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

    Patient: Spears, Haley                             DOB: REDACTED
                                                                                        REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       Pol # NONE           Insured

    Date        03/22/2012
    Provider      Johll Tagliarini,
    i>r9vider Dr. John  tagliarini, D
                                    D.C:.
                                      C

           Subjective:
           Haley sought treatment today complaining of constant tightness discomfort in the right
           trapezius. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10
                                                                                       1to10
           being the most severe.
           Haley also complained of constant tightness discomfort in the left trapezius. She rated the
           intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with chiropractic care and medication.

           Haley also complained of frequent dull and aching discomfort in the right trapezius. She rated
           the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of constant dull, aching and tightness discomfort in the back of the
           neck. She rated the intensity of discomfort as a level 4 on a scale of 'I1to10
                                                                                     to 10 with 10 being the
           most severe. The discomfort was reported to decrease with chiropractic care and medication.

           Haley also complained of constant dull, aching and tightness discomfort in the upper back.
           She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of frequent throbbing discomfort in the buttocks. She rated the
           intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of frequent dull, aching and tightness discomfort in the low back. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.



           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints. Multiple subluxations with spasm, hypomobility and end point
           tenderness were found and adjusted at the following levels: right Cl,
                                                                              C 1, left C5,
                                                                                        CS, T3, T8 and
           right pelvis.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.
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                                                                                                Liberty002744
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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                     Insured
                                                                                               REDACTED
    Date   03/22/2012
                 john Tagharini
    Provider Dr. John Tagliarini, D.C.                                           **** continued  from previous pape ***
                                                                                      continl!ed trompreviouspage

           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a week.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                         Liberty002745
                                                                                                         Liberty002745
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 Chart Notes                                                                 Tagliarini Chiropractic,PC
                                                                             836 Farmington Ave. #229
 Haley Spears                                                                West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

    Patient: Spears, Haley                            DOB: REDACTED
    Ins Co Medicare CT                                Pol
                                                      Pol## NONE            Insured   REDACTED
    Date 03/26/2012
    Provider i Dr,
               Dr. John Tagliarini,
                        taqlla)"in1, D C
                                     D.C.

           Subjective:
           Haley sought treatment today complaining of constant sharp, tightness and throbbing
           discomfort in the right trapezius. She rated the intensity of discomfort as a level 6 on a scale
           of 1 to 10 with 10 being the most severe. The discomfort was reported to decrease with rest,
           chiropractic care and medication.

           Haley also complained of constant dull, tightness and throbbing discomfort in the back of the
           neck. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10
                                                                                               1Obeing the
           most severe. The discomfort was reported to decrease with rest, chiropractic care and
           medication.

           Haley also complained of constant dull, aching and tightness discomfort in the upper back.
           She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest and chiropractic care.

           Haley also complained of constant aching, tightness and throbbing discomfort in the mid
           back. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to decrease with rest, chiropractic care and
           medication.

           Haley also complained of constant aching and tightness discomfort in the low back. She
           rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of constant dull, aching and tightness discomfort in the buttocks. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.



           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints. Multiple subluxations with spasm, hypomobility and end point
           tenderness were found and adjusted at the following levels: right C1, left C5, T3, TB
                                                                                              T8 and
           right pelvis.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.
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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
                                                                                                REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                     Insured

    Date    03/26/2012
         cier Dr.
    Provider
    Provi      br. John Tagliarini, D.C.                                         *** continued from
                                                                                               from previous page
                                                                                                             pafle ***
                                                                                                                   •••

           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a week.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                         Liberty002747
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 Chart Notes                                                                    Tagliarini Chiropractic,PC
                                                                                836 Farmington Ave. #229
 Haley Spears                                                                   West Hartford, CT 06119
                                                                                Phone: 860-236-2225
                                                                                     860-231.0077
                                                                                Fax: 860-231-0077

    Patient: Spears, Haley                            DOB: REDACTED
                                                      Pol#                      Insured
                                                                                          REDACTED
    Ins Co Medicare CT                                Pol # NONE

    Date   04/18/2012
           04118/2012
              br. John Tagliarini
    Provider Dr.                   b.c,
                       tagliarini, D.C.

           Subjective:
           Haley sought treatment today complaining of constant aching, tightness and throbbing
           discomfort in the back of the neck. She rated the intensity of discomfort as a level 5 on a
                                 1 O being the most severe. The discomfort was reported to decrease with
           scale of 1 to 10 with 10
           chiropractic care and medication.

           Haley also complained of constant aching and tightness discomfort in the upper back. She
           rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care and medication.

           Haley also complained of frequent aching and tightness discomfort in the mid back. She
           rated the intensity of discomfort as a level 5 on a scale of 1
                                                                        1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care and medication.



           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints. Multiple subluxations with spasm, hypomobility and end point
           tenderness were found and adjusted at the following levels: right C1, left C5,
                                                                                      CS, T3, T8
                                                                                              TB and
           right pelvis.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a week.

           Diagnosis                    lnterseg. Somatic Dysfunction, 739.1
                        739.1: Cervical Interseg.                      739.1
                                             723.1
                        723.1: Cervicalgia, 723.1
                                         lnterseg. Somatic Dysfunction, 739.2
                        739.2: Thoracic Interseg.




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                                                                                                   Liberty002748
                                                                                                   Liberty002748
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 Chart Notes                                                                 Tagliarini Chiropractic,PC
                                                                             836 Farmington Ave. #229
 Haley Spears                                                                West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                                  860-231-0077
                                                                             Fax:860-231-0077
                                                                             Fax:

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol
                                                      Pol## NONE            Insured
                                                                                       REDACTED

    Date   04/26/2012
                                  b.C.
                      Taqliarinl, D.C.
    Provider Dr. John Taqiiarini,

           Subjective:
           Haley sought treatment today complaining of frequent tightness discomfort in the back of the
           neck. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to decrease with rest, chiropractic care,
           medication and movement.

           Haley also complained of frequent tightness discomfort in the right trapezius. She rated the
           intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of frequent tightness discomfort in the left trapezius. She rated the
           intensity of discomfort as a level 3 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of frequent dull, aching and tightness discomfort in the upper back.
           She rated the intensity of discomfort as a level 4 on a scale of 1 to 10
                                                                                 1O with 10
                                                                                         1O being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of frequent dull, aching and tightness discomfort in the mid back. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.

           Haley also complained of frequent dull, aching and tightness discomfort in the low back. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest, chiropractic care and medication.



           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints. Multiple subluxations with spasm, hypomobility and end point
           tenderness were found and adjusted at the following levels: right Cl,
                                                                              C1, left C5,
                                                                                       CS, T3, T8 and
           right pelvis.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

       Plan:
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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax:860-231-0077
                                                                                      Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
                                                                                               REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                     Insured

    Date   04/26/2012
                       Ta~liarini; D.C.
                 Jo.hn Tagliarini,
    Provider Dr. John                                                                          from previous page ***
                                                                                 ••• continued from
           We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a week.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                                                         Liberty002750
                                                                                                         Liberty002750
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 Chart Notes                                                                Tagliarini Chiropractic,PC
                                                                            836 Farmington Ave. #229
 Haley Spears                                                               West Hartford, CT 06119
                                                                            Phone: 860-236-2225
                                                                            Fax: 860-231-0077

    Patient:Spears, Haley                             DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE           Insured
                                                                                     REDACTED
    Date 12/20/2012
    Provider Dr.
             br. Jessica              b.c.
                         Tagliarini, D.C.
                 Je$sicaTa!!oiiarini,

           Subjective:
           Haley presented today for a consultation and examination. Haley complained of cervical
           discomfort that radiates to both shoulders. Haley's discomfort has been present for several
           years but increased recently and is most noticeable during the day, afternoon and evening.
           The symptoms become aggravated by: activity, sitting and standing. The symptoms are
           reduced by: resting, stretching and yoga. The discomfort was described as sharp, shooting,
           dull and aching and has been frequent (comes and goes). Haley has seen a medical doctor
           so far for her current symptoms and has had no new testing previously done. On a scale of 0
           to 10 with 10 being the worst, she described the intensity of the discomfort as being a 10.
           She has tried pain medication, muscle relaxers, Tylenol, physical therapy and yoga to
           alleviate the pain so far. She reported the origin of her discomfort to be a tic born disease.
           She noted that the following activities are affected by her symptoms: walking, driving/riding in
           a car, house work, exercising and computer use. She also just started having headaches.

           Past history has not changed from her original new appointment on 1/30/12.

           Objective:
           Evaluation of the upper extremity deep tendon reflexes was found to be within normal limits.

           Active cervical ranges of motion were within normal limits.

           Stiffness and pain was noted by the patient in the following active ranges of spinal motion:
           cervical left rotation and cervical left lateral flexion.

           Palpation revealed tenderness, spasm and hypertonicity in the following areas; cervical
           region and bilateral cervical dorsal area.

           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: right C2, C5, left C6, T3, TB
                                                                        T8 and left L5.

           Assessment:
           Haley has had an exacerbation. These are episodic marked deterioration of the patient's
           condition due to acute flareups of the presenting conditions.

       Plan:
       It is recommended that Haley return in one week.

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 Chart Notes                                                                         Tagliarini Chiropractic,PC
                                                                                     836 Farmington Ave. #229
 Haley Spears                                                                        West Hartford, CT 06119
                                                                                     Phone: 860-236-2225
                                                                                     Fax: 860-231-0077

     Patient:   Spears, Haley                        DOB: REDACTED
     Ins Co Medicare CT                              Pol
                                                     Pol## NONE                     Insured
                                                                                              REDACTED
    Date 12/20/2012
    Provider
    Provider·• Dr. Jessica Tagiiarini
                           "Tagliarini,
                                  '
                                          b.c.                                  *** continued from
                                                                                •••continued
                                                                                     '
                                                                                              from previous page ***
                                                                                                    "             "   "
           Cold packs were prescribed to Haley for use 12-15 minutes at a time to reduce inflammation,
           swelling and discomfort in the affected area.

           Diagnosis    739.1: Cervical Interseg.
                                        lnterseg. Somatic Dysfunction, 739.1
                                                                       739. 1
                        723.1: Cervicalgia, 723.1
                                             723.1
                        739.2: Thoracic Interseg.
                                         lnterseg. Somatic Dysfunction, 739.2




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 Chart Notes                                                                     Tagliarini Chiropractic,PC
                                                                                 836 Farmington Ave. #229
 Haley Spears                                                                    West Hartford, CT 06119
                                                                                 Phone: 860-236-2225
                                                                                 Fax:860-231-0077
                                                                                 Fax: 860-231-0077

    Patient: Spears, Haley                            DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                Insured
                                                                                           REDACTED
    Date       01/02/2013
                      Tagiiarini, D
    Provider Dr. John Tagliarini  D.C.
                                    C

           Subjective:
           Haley sought treatment today complaining of constant tightness and throbbing discomfort in
           the left trapezius. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with
           10 being the most severe. The discomfort was reported to increase with prolonged sifting.
                                                                                                   sitting.
           The discomfort was reported to decrease with rest, chiropractic care, medication and
           movement.

           Haley also complained of frequent throbbing and tightness discomfort in the right trapezius.
           She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with prolonged sifting.
                                                                              sitting. The discomfort was
           reported to decrease with medication, chiropractic care, rest and movement.

           Haley also complained of frequent throbbing and tightness discomfort in the upper back. She
           rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10
                                                                                     1Obeing the most
           severe. The discomfort was reported to increase with prolonged sitting. The discomfort was
           reported to decrease with chiropractic care, rest, medication and movement.

           Haley also complained of frequent tightness and aching discomfort in the back of the neck.
           She rated the intensity of discomfort as a level 5
                                                            S on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with prolonged sitting.
                                                                               sitting .. The discomfort was
           reported to decrease with rest, chiropractic care, medication and movement.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, TB
                                                         T8 and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in one week.

           Diagnosis                    lnterseg. Somatic Dysfunction, 739.1
                        739.1: Cervical Interseg.                      739.1
                                            723.1
                        723.1: Cervicalgia, 723.1
                                         lnterseg. Somatic Dysfunction, 739.2
                        739.2: Thoracic Interseg.


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                                                                                                     Liberty002753
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 Chart Notes                                                              Tagliarini Chiropractic,PC
                                                                          836 Farmington Ave. #229
 Haley Spears                                                             West Hartford, CT 06119
                                                                          Phone: 860-236-2225
                                                                          Fax: 860-231-0077

    Patient: Spears, Haley                           DOB: REDACTED
    Ins Co Medicare CT                               Pol
                                                     Pol## NONE          Insured   REDACTED
    Date      01/02/2013
    Provider· t:lr.
    Provider  dr. John Tagliarini,
                       Tagliarini, D.C.
                                   i:l.C.                            *** continued from          paqe *•••
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                                                                                             Liberty002754
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 Chart Notes                                                                    Tagliarini Chiropractic,PC
                                                                                836 Farmington Ave. #229
 Haley Spears                                                                   West Hartford, CT 06119
                                                                                Phone: 860-236-2225
                                                                                Fax: 860-231-0077

    Patient: Spears, Haley                            DOB: REDACTED
                                                                                          REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                Insured

    Date   01/14/2013
              br. John Tagiiarini
    Provider Dr.       Ta!;lliarini, D C
                                     b.C.

           Subjective:
           Haley sought treatment today complaining of constant tightness, throbbing and shooting
           discomfort in the right trapezius. She rated the intensity of discomfort as a level 10 on a scale
           of 1 to 10 with 10 being the most severe. The discomfort was reported to decrease with rest,
           chiropractic care, medication and ice.

           Haley also complained of constant tightness and throbbing discomfort in the upper back. She
           rated the intensity of discomfort as a level 7 on a scale of 1
                                                                        1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with medication, chiropractic care, rest and
           ice.

           Haley also complained of constant tightness, shooting and throbbing discomfort in the left
           trapezius. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to decrease with medication, ice,
           chiropractic care and rest.

           Haley also complained of constant tightness and aching discomfort in the back of the neck.
           She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, rest, medication and
           ice.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5, T3, T8
                                                         TS and left L5.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 2 weeks.

           Diagnosis    739.1: Cervical Interseg.
                                        lnterseg. Somatic Dysfunction, 739.1
                                                                       739.1
                        723.1: Cervicalgia, 723.1
                                            723.1
                                         lnterseg. Somatic Dysfunction, 739.2
                        739.2: Thoracic Interseg.

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                                                                                                   Liberty002755
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 Chart Notes
 Chart Notes                                                              Tagliarini Chiropractic,PC
                                                                          836 Farmington Ave. #229
 Haley Spears                                                             West Hartford, CT 06119
                                                                          Phone: 860-236-2225
                                                                          Fax: 860-231-0077

    Patient:    Spears, Haley                        DOB: REDACTED
                                                     DOB:
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE          Insured
                                                                                   REDACTED
    Date   01/14/2013
    Provider Dr. John Taglianni
    Provider          Tagliarini, D
                                  D:C.
                                    C                                *** continued from          paqe ***
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                                                                                             Liberty002756
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 Chart Notes                                                                      Tagliarini Chiropractic,PC
                                                                                  836 Farmington Ave. #229
 Haley Spears                                                                     West Hartford, CT 06119
                                                                                  Phone: 860-236-2225
                                                                                  Fax: 860-231-0077

     Patient:    Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol
                                                      Pol## NONE                 Insured
                                                                                            REDACTED
    Date 02/08/2013
    Provider Dr. John Tagliarini, D.C.
                        '
           Subjective:
           Haley sought treatment today complaining of constant throbbing, tightness and aching
           discomfort in the upper back. She rated the intensity of discomfort as a level 7 on a scale of 1
           to 10 with 10 being the most severe. The discomfort was reported to decrease with
           medication and chiropractic care.

           Haley also complained of frequent dull and tightness discomfort in the back of the neck. She
           rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, medication and rest.

           Haley also complained of frequent tightness and throbbing discomfort in the mid back. She
           rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care and medication.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, T8 and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 2 weeks.

           Diagnosis     739.1: Cervical Interseg.
                                         lnterseg. Somatic Dysfunction, 739.1
                                                                        739.1
                         723.1: Cervicalgia, 723.1
                                              723.1
                         739.2: Thoracic Interseg.
                                          lnterseg. Somatic Dysfunction, 739.2




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 Chart Notes                                                                 Tagliarini Chiropractic,PC
                                                                             836 Farmington Ave. #229
 Haley Spears                                                                West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       Pol # NONE           Insured   REDACTED
    Date   02/12/2013
              br. John Tagliarini,
    Provider Dr.                   b.c.
                       Taqliarini, b •C•
           Subjective:
           Haley sought treatment today complaining of frequent aching, throbbing and tightness
           discomfort in the right trapezius. She rated the intensity of discomfort as a level 7 on a scale
           of 1 to 10 with 10 being the most severe. The discomfort was reported to increase with
           applied pressure. The discomfort was reported to decrease with chiropractic care and
           medication.

           Haley also complained of frequent tightness, aching and dull discomfort in the upper back.
           She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, medication and rest.

           Haley also complained of frequent dull and tightness discomfort in the mid back. She rated
           the intensity of discomfort as a level 5
                                                  S on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to decrease with chiropractic care, rest and medication.

           Haley also complained of frequent aching discomfort in the bottom of the left foot. She rated
           the intensity of discomfort as a level 5
                                                  S on a scale of 1 to 10 with 10 being the most severe.

           Haley also complained of frequent aching and tightness discomfort in the bottom of the right
           foot. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to decrease with chiropractic care and medication.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, TB          LS.
                                                         T8 and left L5.

           Assessment:
           Haley has had an exacerbation. These are episodic marked deterioration of the patient's
           condition due to acute flareups of the presenting conditions.
           Haley reported feeling better after the treatment.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in one week.
            Cold packs were prescribed to Haley for use 12-15
                                                          12-1S minutes at a time to reduce
           inflammation, swelling and discomfort in the affected area.

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 Chart Notes                                                                   Tagliarini Chiropractic,PC
                                                                               836 Farmington Ave. #229
 Haley Spears                                                                  West Hartford, CT 06119
                                                                               Phone: 860-236-2225
                                                                               Fax: 860-231-0077

    Patient:    Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE              Insured
                                                                                         REDACTED
    Date       02/12/2013
                      Ta~liarini, D.C.
    Provider Dr. John Taglianni
    Providers                     b.c.                                    ***continued
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       Diagnosis                    lnterseg. Somatic Dysfunction, 739.1
                    739.1: Cervical Interseg.                      739.1
                                        723.1
                    723.1: Cervicalgia, 723.1
                                     lnterseg. Somatic Dysfunction, 739.2
                    739.2: Thoracic Interseg.




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 Chart Notes                                                                   Tagliarini Chiropractic,PC
                                                                               836 Farmington Ave. #229
 Haley Spears                                                                  West Hartford, CT 06119
                                                                               Phone: 860-236-2225
                                                                               Fax: 860-231-0077

     Patient: Spears, Haley                            DOB: REDACTED
     Ins Co Medicare CT                                Pol#
                                                       Pol # NONE             Insured
                                                                                        REDACTED
     Date       03/04/2013
                      Taqliarini, D.C.
    Provider Dr. John Tagiiarini,

           Subjective:
           Haley sought treatment today complaining of frequent dull, aching and tightness discomfort in
           the back of the neck. She rated the intensity of discomfort as a level 5
                                                                                  S on a scale of 1 to 10
           with 10 being the most severe. The discomfort was reported to decrease with rest,
           chiropractic care, medication and ice.

           Haley also complained of frequent dull, aching, throbbing and tightness discomfort in the right
           trapezius. She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting. The
           discomfort was reported to decrease with chiropractic care, rest, medication and ice.

           Haley also complained of frequent dull, aching, tightness and throbbing discomfort in the left
           trapezius. She rated the intensity of discomfort as a level 5
                                                                       S on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting. The
           discomfort was reported to decrease with rest, chiropractic care, medication and ice.

           Haley also complained of intermittent dull, aching, tightness and throbbing discomfort in the
           upper back. She rated the intensity of discomfort as a level 5
                                                                        S on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting. The
           discomfort was reported to decrease with chiropractic care, rest, medication and ice.

           Haley also complained of frequent tightness, aching, throbbing and sharp discomfort in the
           bottom of the right foot. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10
           with 10 being the most severe. The discomfort was reported to decrease with medication,
           movement and rest.

           Haley also complained of frequent aching, throbbing, tightness and sharp discomfort in the
           bottom of the left foot. She rated the intensity of discomfort as a level 5
                                                                                     S on a scale of 1 to 10
           with 10 being the most severe. The discomfort was reported to decrease with rest,
           medication, ice and movement.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: Cl,
                                             C1, C5,
                                                 CS, T3, T8
                                                         TB and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                                 Chiropractic.PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                     Insured
                                                                                               REDACTED
    Date   03/04/2013
                 john Tagliarini
    Provider Dr. John Taf!liarini, D.C.                                          •••continued
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                                                                                                                  •••
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 2 weeks.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                             723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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                                                                             Tagliarini Chiropractic;PC
 Chart Notes                                                                 836 Farmington Ave. #229
Haley Spears                                                                 West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       Pol # NONE           Insured
                                                                                      REDACTED
    Date   03/25/2013
    Provider Dr. John Tagliarini,
                      Tagliarini D.C.

           Subjective:
           Haley sought treatment today complaining of frequent dull, tightness and throbbing
           discomfort in the back of the neck. She rated the intensity of discomfort as a level 5 on a
           scale of 1 to 10 with 10 being the most severe. The discomfort was reported to increase with
           prolonged sitting. The discomfort was reported to decrease with rest, chiropractic care,
           medication and ice.

           Haley also complained of frequent throbbing, tightness and dull discomfort in the right
           trapezius. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting. The
           discomfort was reported to decrease with rest, chiropractic care, medication and ice.

           Haley also complained of frequent aching, throbbing and tightness discomfort in the left
           trapezius. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting. The
           discomfort was reported to decrease with rest, chiropractic care, medication and ice.

           Haley also complained of frequent tightness, aching and throbbing discomfort in the upper
           back. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to increase with prolonged sitting. The discomfort
           was reported to decrease with medication, chiropractic care, rest, movement and ice.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5, T3, TB
                                                         T8 and left L5.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 2 weeks.




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 Chart Notes                                                                        Tagliarini Chiropractic,PC
                                                                                    836 Farmington Ave. #229
 Haley Spears                                                                       West Hartford, CT 06119
                                                                                    Phone: 860-236-2225
                                                                                         860-231.0077
                                                                                    Fax: 860-231-0077

    Patient: Spears, Haley                           DOB: REDACTED
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE                    Insured
                                                                                              REDACTED

    Date   03/25/2013
    provider  Dr.. John
    Provider Dr    John' Tagliarini, b.c.
                         Tagllarinj, D.C.                                      ••• continued  from previous page ***
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       Diagnosis                       lnterseg. Somatic Dysfunction, 739.1
                      739.1: Cervical Interseg.                       739.1
                                            723.1
                      723.1: Cervicalgia, 723.1
                                        lnterseg. Somatic Dysfunction, 739.2
                      739.2: Thoracic Interseg.




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 Chart Notes                                                                     Tagliarini Chiropractic,PC
                                                                                 836 Farmington Ave. #229
 Haley Spears                                                                    West Hartford, CT 06119
                                                                                 Phone: 860-236-2225
                                                                                      860-231~077
                                                                                 Fax: 860-231-0077

    Patient: Spears, Haley                            DOB: REDACTED
                                                                                          REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                Insured
    Date 04/08/2013
    Provider Dr. John Tagliar
                      Taglfarinl, D·.C.

           Subjective:
           Haley sought treatment today complaining of intermittent tightness and dull discomfort in the
           back of the neck. She rated the intensity of discomfort as a level 5
                                                                              S on a scale of 1 to 10 with
           10 being the most severe. The discomfort was reported to decrease with rest, chiropractic
           care and movement.

           Haley also complained of intermittent tightness discomfort in the right trapezius. She rated
           the intensity of discomfort as a level 5
                                                  S on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to increase with prolonged sitting. The discomfort was reported
           to decrease with rest, chiropractic care, medication and movement.

           Haley also complained of intermittent dull and tightness discomfort in the left trapezius. She
           rated the intensity of discomfort as a level 5
                                                        S on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with prolonged sitting. The discomfort was
           reported to decrease with rest, chiropractic care, movement and medication.

           Haley also complained of intermittent tightness, aching and throbbing discomfort in the upper
           back. She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to increase with prolonged sitting. The discomfort
           was reported to decrease with chiropractic care, rest, medication and movement.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, TB
                                                         T8 and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 2 weeks.

           Diagnosis    739.1: Cervical Interseg.
                                        lnterseg. Somatic Dysfunction, 739.1
                                                                       739.1
                                             723.1
                        723.1: Cervicalgia, 723.1
                        739.2: Thoracic Interseg.
                                         lnterseg. Somatic Dysfunction, 739.2

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 Chart Notes                                                              Tagliarini Chiropractic,PC
                                                                          836 Farmington Ave. #229
 Haley Spears                                                             West Hartford, CT 06119
                                                                          Phone: 860-236-2225
                                                                          Fax: 860-231-0077
                                                                          Fax:860-231-0077

     Patient:    Spears, Haley                       DOB: REDACTED
                                                                                    REDACTED
     Ins Co Medicare CT                              Pol#
                                                     Pol # NONE          Insured

     Date       04/08/2013
     Provider Cir.
              Dr. John Tagliarini
                       tai;iliarlni, D.C.                            ·- continued from
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 Chart Notes                                                                   Tagliarini Chiropractic,PC
                                                                               836 Farmington Ave. #229
 Haley Spears                                                                  West Hartford, CT 06119
                                                                               Phone: 860-236-2225
                                                                               Fax: 860-231-0077

     Patient:     Spears, Haley                        DOB: REDACTED
                                                                                        REDACTED
     Ins Co Medicare CT                                Pol#
                                                       Pol # NONE             Insured

     Date   04/18/2013
     Provider Dr. John Tagliarini, D.C.

           Subjective:
           Haley sought treatment today complaining of frequent tightness discomfort in the back of the
           neck. She rated the intensity of discomfort as a level 5
                                                                  S on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to increase with prolonged sitting. The discomfort
           was reported to decrease with rest, chiropractic care, medication and movement.

           Haley also complained of frequent tightness, aching and throbbing discomfort in the upper
           back. She rated the intensity of discomfort as a level 5
                                                                  S on a scale of 1 to 10 with 10 being the
           most severe. The discomfort was reported to decrease with chiropractic care, rest,
           medication and movement.

           Haley also complained of frequent tightness and dull discomfort in the right trapezius. She
           rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, rest, medication and
           movement.

           Haley also complained of frequent tightness, dull and aching discomfort in the left trapezius.
           She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, rest, medication and
           movement.

           Haley also complained of frequent shooting, sharp and tightness discomfort in the bottom of
           the right foot. She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to decrease with chiropractic care,
           medication and movement.

           Haley also complained of frequent dull, aching and tightness discomfort in the bottom of the
           left foot. She rated the intensity of discomfort as a level 5
                                                                       S on a scale of 1 to 10 with 10 being
           the most severe. The discomfort was reported to decrease with chiropractic care, rest,
           medication and movement.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, TB
                                                         T8 and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
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                                                                                                  Liberty002766
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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

     Patient:    Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol
                                                      Pol## NONE                     Insured
                                                                                                REDACTED
     Date 04/18/2013
     Provider Dr. John
                  Johll Tagliarini
                        Tagliarini, D.C.
                                    t>.C.                                        ***            from 1;>revious
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                                                                                  ** continued       previous page ***
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 3 weeks.

           Diagnosis     739.1: Cervical Interseg.
                                         lnterseg. Somatic Dysfunction, 739.1
                                                                        739.1
                         723.1: Cervicalgia, 723.1
                                              723.1
                         739.2: Thoracic Interseg.
                                          lnterseg. Somatic Dysfunction, 739.2




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 Chart Notes                                                                Tagliarini Chiropractic,PC
                                                                            836 Farmington Ave. #229
 Haley Spears                                                               West Hartford, CT 06119
                                                                            Phone: 860-236-2225
                                                                            Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      POI # NONE           Insured   REDACTED
    Date 05/16/2013
    Provider Dr. John
                 Joh11Tagliarini,
                      tagliarini,
                         ,,       D.C.
                                  b.C.

           Subjective:
           Haley sought treatment today complaining of frequent tightness and throbbing discomfort in
           the upper back. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting. The
           discomfort was reported to decrease with chiropractic care, medication and movement.

           Haley also complained of frequent tightness and aching discomfort in the back of the neck.
           She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, medication and
           movement.

           Haley also complained of frequent tightness discomfort in the right trapezius. She rated the
           intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with chiropractic care, medication and movement.

           Haley also complained of frequent dull, tightness and aching discomfort in the left trapezius.
           She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with applied pressure. The discomfort was
           reported to decrease with chiropractic care, medication and movement.

           Haley also complained of frequent tightness discomfort in the mid back. She rated the
           intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with chiropractic care, medication and movement.

           Haley also complained of frequent dull and tightness discomfort in the low back. She rated
           the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe.
           The discomfort was reported to increase with prolonged sitting. The discomfort was reported
           to decrease with chiropractic care, medication and movement.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5, T3, T8
                                                         TB and left L5.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.
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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

     Patient: Spears, Haley                           DOB: REDACTED
     Ins Co Medicare CT                               Pol#
                                                      Pol # NONE                     Insured
                                                                                               REDACTED
     Date      05/16/2013
     Provider Dr.
              br. John                o.c.
                        Ta!\liaril)i, D.C.
                  Jolin Tagliarini,                                              ***
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           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a month.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739. 1
                                              723. 1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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 Chart Notes                                                                     Tagliarini Chiropractic,PC
                                                                                 836 Farmington Ave. #229
 Haley Spears                                                                    West Hartford, CT 06119
                                                                                 Phone: 860-236-2225
                                                                                 Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE                Insured    REDACTED
    Date       06/18/2013
    Provider Dr.
             br. John Tagliarini, D.C.

           Subjective:
           Haley sought treatment today complaining of frequent tightness and dull discomfort in the
           right trapezius. She rated the intensity of discomfort as a level 4 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to decrease with rest, chiropractic care
           and movement.

           Haley also complained of frequent tightness discomfort in the back of the neck. She rated the
           intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with chiropractic care, movement and rest.

           Haley also complained of frequent tightness discomfort in the left trapezius. She rated the
           intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest, chiropractic care and movement.

           Haley also complained of frequent tightness discomfort in the upper back. She rated the
           intensity of discomfort as a level 4 on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with chiropractic care, movement and rest.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, T8
                                                         TS and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 4 weeks.

           Diagnosis                    lnterseg. Somatic Dysfunction, 739.1
                        739.1: Cervical Interseg.                      739.1
                                             723.1
                        723.1: Cervicalgia, 723.1
                        739.2: Thoracic Interseg.
                                         lnterseg. Somatic Dysfunction, 739.2




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                                                                                                     Liberty002770
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 Chart Notes                                                           Tagliarini Chiropractic,PC
                                                                       836 Farmington Ave. #229
 Haley Spears                                                          West Hartford, CT 06119
                                                                       Phone: 860-236-2225
                                                                            860-231.-0077
                                                                       Fax: 860-231-0077
     Patient:   Spears, Haley                        DOB: REDACTED
                                                                                 REDACTED
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE       Insured

    Date    06/18/2013
    Providers Dr. John Tagliarini, D.C.                              continued from previous page ***




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                                                                                          Liberty002771
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 Chart Notes                                                                     Tagliarini Chiropractic,PC
                                                                                 836 Farmington Ave. #229
 Haley Spears                                                                    West Hartford, CT 06119
                                                                                 Phone: 860-236-2225
                                                                                 Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol
                                                       Pol## NONE                Insured   REDACTED
    Date        07/18/2013
                07/18/2013
                      Tagliarini, D
    Provider Dr. John Tagiiarini  D.C
                                    C.
                                  •
           Subjective:
           Haley sought treatment today complaining of frequent tightness and dull discomfort in the
           back of the neck. She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with
           10 being the most severe. The discomfort was reported to decrease with rest and
           chiropractic care.

           Haley also complained of frequent dull and tightness discomfort in the right trapezius. She
           rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care and rest.

           Haley also complained of frequent dull, aching and tightness discomfort in the left trapezius.
           She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with rest and chiropractic care.

           Haley also complained of frequent tightness, dull and throbbing discomfort in the mid back.
           She rated the intensity of discomfort as a level 5 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care, rest and medication.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5, T3, T8 and left L5.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in 5 weeks.

           Diagnosis                     lnterseg. Somatic Dysfunction, 739.1
                         739.1: Cervical Interseg.                      739.1
                                              723.1
                         723.1: Cervicalgia, 723.1
                                          lnterseg. Somatic Dysfunction, 739.2
                         739.2: Thoracic Interseg.




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 Chart Notes                                                              Tagliarini Chiropractic,PC
                                                                          836 Farmington Ave. #229
 Haley Spears                                                             West Hartford, CT 06119
                                                                          Phone: 860-236-2225
                                                                          Fax: 860-231-0077

    Patient: Spears, Haley                           DOB: REDACTED
                                                                                     REDACTED
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE          Insured

    Date      07/18/2013
    Provider Dr. John Tagil
    Provider"         tagliarlni,D.C.
                            rini, D.C.                               *** continued flym
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                                                                                             Liberty002773
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                                                                            Tagliarini Chiropractic,PC
 Chart Notes                                                                836 Farmington Ave. #229
 Haley Spears                                                               West Hartford, CT 06119
                                                                            Phone: 860-236-2225
                                                                            Fax: 860-231-0077

    Patient:      Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                 Pol#
                                                       Pol # NONE          Insured   REDACTED
    Date 09/30/2013
    Provider .Dr.                  b.c.
                  John Tagliarini, D.C.
              Dr, John

           Subjective:
           Haley sought treatment today complaining of constant tightness and throbbing discomfort in
           the mid back. She rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with movement. The
           discomfort was reported to decrease with rest and chiropractic care.

           Haley also complained of constant tightness and throbbing discomfort in the upper back. She
           rated the intensity of discomfort as a level 5
                                                        S on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with movement. The discomfort was
           reported to decrease with rest and chiropractic care.

           Haley also complained of frequent tightness discomfort in the left trapezius. She rated the
           intensity of discomfort as a level 5
                                              S on a scale of 1 to 10 with 10
                                                                           1O being the most severe. The
           discomfort was reported to decrease with chiropractic care and rest.

           Haley also complained of frequent tightness discomfort in the right trapezius. She rated the
           intensity of discomfort as a level 5
                                              S on a scale of 1 to 10 with 10 being the most severe. The
           discomfort was reported to decrease with rest and chiropractic care.

           Haley also complained of intermittent shooting discomfort in the back of the right hip. She
           rated the intensity of discomfort as a level 6 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to decrease with chiropractic care and rest.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5,
                                                 CS, T3, T8 and left L5.
                                                                     LS.

           Assessment:
           Haley's prognosis is good at this time. Haley felt better after the adjustment and has
           experienced an increase in range of motion and muscle strength and a decrease in pain
           since treatment began.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return once a month.



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 Chart Notes                                                                     Tagliarini Chiropractic,PC
                                                                                 836 Farmington Ave. #229
 Haley Spears                                                                    West Hartford, CT 06119
                                                                                 Phone: 860-236-2225
                                                                                 Fax: 860-231-0077

    Patient:    Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                               Pol#
                                                     Pol # NONE                 Insured
                                                                                           REDACTED
    Date   09/30/2013
                      Taqliarini,D.C.
    Provider Dr. John Tagliarini, D.C.                                      •••continued from
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       Diagnosis                    lnterseg. Somatic Dysfunction, 739.1
                    739.1: Cervical Interseg.                      739.1
                                         723.1
                    723.1: Cervicalgia, 723.1
                                     lnterseg. Somatic Dysfunction, 739.2
                    739.2: Thoracic Interseg.




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 Chart Notes                                                                 Tagliarini Chiropractic,PC
                                                                             836 Farmington Ave. #229
 Haley Spears                                                                West Hartford, CT 06119
                                                                             Phone: 860-236-2225
                                                                             Fax: 860-231-0077

    Patient:     Spears, Haley                        DOB: REDACTED
    Ins Co Medicare CT                                Pol#
                                                      Pol # NONE            Insured
                                                                                       REDACTED

    Date 11/08/2013
           11 /08/2013
    Provider .Dr.
    Provider.           taqliarini, D.C.
               or. John Tagliarini, b.C.

           Subjective:
           Haley sought treatment today complaining of frequent tightness and aching discomfort in the
           upper back. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10
           being the most severe. The discomfort was reported to increase with prolonged sitting and
           movement. The discomfort was reported to decrease with chiropractic care.

           Haley also complained of frequent aching and tightness discomfort in the right trapezius. She
           rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10 being the most
           severe. The discomfort was reported to increase with movement. The discomfort was
           reported to decrease with chiropractic care.

           Haley also complained of frequent tightness and aching discomfort in the left trapezius. She
           rated the intensity of discomfort as a level 7 on a scale of 1 to 10
                                                                             10 with 10 being the most
           severe. The discomfort was reported to increase with movement. The discomfort was
           reported to decrease with chiropractic care.

           Haley also complained of intermittent tightness, aching and burning discomfort in the
           buttocks. She rated the intensity of discomfort as a level 7 on a scale of 1 to 10 with 10 being
           the most severe. The discomfort was reported to increase with movement. The discomfort
           was reported to decrease with chiropractic care.

           Objective:
           Intersegmental
           lntersegmental traction was used to traction open the individual vertebral segments, improve
           intervertebral disc hydration, decrease spasm and increase mobility, circulation and nutrition
           to the involved spinal joints.

           Multiple subluxations with spasm, hypomobility and end point tenderness were found and
           adjusted at the following levels: C1, C5, T3, T8
                                                         TB and left L5.

           Assessment:
           Haley has had an exacerbation. These are episodic marked deterioration of the patient's
           condition due to acute flareups of the presenting conditions.
           Haley reported feeling better after the treatment.

           Plan:
            We will continue to treat Haley as per the examination findings and continue the existing
           treatment plan. It is recommended that she return in one week.
            Cold packs were prescribed to Haley for use 12-15 minutes at a time to reduce
           inflammation, swelling and discomfort in the affected area.


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 Chart Notes                                                                          Tagliarini Chiropractic,PC
                                                                                      836 Farmington
                                                                                          Fannington Ave. #229
 Haley Spears                                                                         West Hartford, CT 06119
                                                                                      Phone: 860-236-2225
                                                                                      Fax: 860-231-0077

     Patient:
     Patient:Spears, Haley                           DOB: REDACTED
     Ins Co Medicare CT                              Pol#
                                                     Pol # NONE                      Insured
                                                                                               REDACTED
     Date       11/08/2013
     Provider   pr. John
        viler . Dr.       Tagnarini, n,c.
                    John·ta!'lllarini,                                          ••• continued
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           Diagnosis                    lnterseg. Somatic Dysfunction, 739,1
                        739.1: Cervical Interseg.                      739.1
                                             723.1
                        723.1: Cervicalgia, 723.1
                                         lnterseg. Somatic Dysfunction, 739.2
                        739.2: Thoracic Interseg.




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